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                                      APPENDIX C

                DEFENDANTS’ UNPUBLISHED CASES/AUTHORITIES
                            MOTION TO DISMISS

Case /Tab No.               CASE/AUTHORITY NAME                          Appx. page no.

      1.        Bailey v. Esperion Therapeutics, Inc., 2019 WL 3296235 Appx. C-001-006
                (E.D. Mich. Feb. 19, 2019)

      2.        Burback v. Brock, 2023 WL 4532803 (5th Cir. July 13, Appx. C-007-015
                2023)

      3.        Dang v. Amarin Corp. plc, 2024 WL 4285900 (D.N.J. Appx. C-016-061
                Sept. 25, 2024)

      4.        Denny v. Canaan Inc., 2023 WL 2647855 (S.D.N.Y. Mar. Appx. C-062-077
                27, 2023)

      5.        Edgar v. Anadarko Petroleum Corp., 2018 WL 3032573 Appx. C-078-092
                (S.D. Tex. June 19, 2018)

      6.        Edwards v. McDermott Int’l, 2022 WL 3927828 (S.D. Appx. C-093-100
                Tex. Aug. 30, 2022)

      7.        IMPLEMENTING THE REQUIREMENTS OF THE SARBANES- Appx. C-101-124
                OXLEY ACT § 1604, 2005 WL 487832 (2025)

      8.        In re Allscripts, Inc. Sec. Litig., 2001 WL 743411 (N.D. Appx. C-125-134
                Ill. June 29, 2001)

      9.        In re Blockbuster Inc. Sec. Litig., 2004 WL 884308 (N.D. Appx. C-135-152
                Tex. Apr. 26, 2004)

      10.       In re BP p.l.c. Sec. Litig., 2016 WL 3090779 (S.D. Tex. Appx. C-153-188
                May 31, 2016)

      11.       In re Coinbase Glob., Inc. Sec. Litig., 2024 WL 4053009 Appx. C-189-211
                (D.N.J. Sept. 5, 2024)

      12.       In re Cryolife, Inc. Sec. Litig., 2005 WL 8155579 (N.D. Appx. C-212-240
                Ga. June 17, 2005)

      13.       In re Fisker Auto. Holdings, Inc. S'holder Litig., 2015 WL Appx. C-241-263
                6039690 (D. Del. Oct. 15, 2015)

      14.       In re Nimble Storage Sec. Litig., 2017 WL 4355570 (N.D. Appx. C-264-271
                Cal. Oct. 2, 2017)
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      15.       In re Okta, Inc. Sec. Litig., 2023 WL 2749193 (N.D. Cal. Appx. C-272-290
                Mar. 31, 2023)

      16.       In re Peregrine Sys., Inc. Sec. Litig., 2005 WL 8158825 Appx. C-291-362
                (S.D. Cal. Mar. 30, 2005);

      17.       Loc. 210 Unity Pension & Welfare Funds v. McDermott Appx. C-363-373
                Int’l Inc., 2015 WL 1143081 (S.D. Tex. Mar. 13, 2015)

      18.       Meitav Dash Provident Funds & Pension Ltd. v. Spirit Appx. C-374-400
                AeroSystems Holdings, Inc., 2022 WL 377415 (N.D.
                Okla. Jan. 7, 2022)

      19.       MicroCapital Fund LP v. Conn’s Inc., 2019 WL 3451153 Appx. C-401-428
                (S.D. Tex. July 24, 2019)

      20.       New York Hotel Trades Council & Hotel Ass'n of New Appx. C-429-435
                York City, Inc. Pension Fund v. Impax Lab’ys Inc., 2019
                WL 3779262 (N.D. Cal. Aug. 12, 2019)

      21.       Oppenheim Pramerica Asset Mgmt. S.A.R.L. v. Encysive Appx. C-436-441
                Pharms., Inc., 2007 WL 2720074 (S.D. Tex. Sept. 18,
                2007)

      22.       Plaisance v. Schiller, 2019 WL 1205628 (S.D. Tex. Mar. Appx. C-442-483
                14, 2019).

      23.       Reilly v. U.S. Physical Therapy, Inc., 2018 WL 3559089 Appx. C-484-502
                (S.D.N.Y. July 23, 2018)

      24.       Rein v. Dutch Bros, Inc., 2024 WL 3105004 (S.D.N.Y. Appx. C-503-525
                June 24, 2024)

      25.       Smallen v. W. Union Co., 2019 WL 1382823 (D. Colo. Appx. C-526-562
                Mar. 27, 2019)

      26.       Utah Ret. Sys. v. McCollum, 2023 WL 8649878 (5th Cir. Appx. C-563-567
                Dec. 14, 2023)

      27.       Yang v. Nobilis Health Corp., 2021 WL 3619863 (5th Cir. Appx. C-568-571
                Aug. 13, 2021)




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                     Case No. 1




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                                                                  This claim was brought pursuant to Sections 10(b) and
                    2019 WL 3296235                               20(a) of the Securities Exchange Act of 1934, and Rule
      Only the Westlaw citation is currently available.           10b-5 promulgated thereunder. 15 U.S.C. §§ 78j(b), 78(t)
             United States District Court, E.D.                   (a); 17 C.F.R. § 240.10b-5. (Dkt. #22.) Defendants are
               Michigan, Southern Division.                       pharmaceutical company Esperion Therapeutics, Inc. and
                                                                  some of its key officers. (Dkt. #22, PageID 206–08.) Plaintiffs
       Kevin BAILEY, on behalf of himself, and                    are those who purchased or acquired Esperion common
        all others similarly situated, Plaintiffs,                stock between February 22, 2017 and May 22, 2018, when,
                            v.                                    they allege, its price was artificially inflated because of
                                                                  Defendants' materially false and misleading statements and
  ESPERION THERAPEUTICS, INC., et al., Defendants.
                                                                  omissions. (Id., PageID 202, 224–52.)
                      Case No. 18-11438
                              |                                   The following facts are taken from Plaintiffs' Amended
                      Signed 02/19/2019                           Complaint. (Dkt. #22.) Esperion is a company singularly
                                                                  focused on researching and developing a drug called
Attorneys and Law Firms                                           bempedoic acid. The hope is that this LDL-cholesterol
                                                                  reducing compound would compete with Lipitor and other
Joseph A. Hood, II, Jeremy A. Lieberman, Pomerantz LLP,
                                                                  statins (a family of drugs that lower LDL-cholesterol). (Id.,
New York, NY, for Plaintiffs.
                                                                  PageID 202–03, 212.) Bempedoic acid works differently from
Adam Slutsky, Deborah S. Birnbach, Ian Stearns, Katherine         other statins, and its value hinges largely on it producing
McKenney, Goodwin Procter LLP, Boston, MA, Matthew                fewer side effects than the LDL-cholesterol reducing drugs
J. Boettcher, Plunkett & Cooney, Bloomfield Hills, MI,            already on the market. (Id., PageID 203, 213.) Accordingly,
for Defendants Esperion Therapeutics, Inc., Timothy M.            investors are principally concerned with the safety profile of
Mayleben, Richard B. Bartram.                                     bempedoic acid.

Ian Stearns, Deborah S. Birnbach, Goodwin Procter LLP,            As part of the process to obtain Federal Drug Administration
Boston, MA, for Defendants Dov Goldstein, M.D., Daniel            (FDA) approval to market a new drug, Esperion conducted
Janney, Roger S. Newton, Ph.D, Nicole Vitullo.                    a series of clinical tests on bempedoic acid, as well as
                                                                  a bempedoic acid/ezetimibe combination pill, to prove its
                                                                  safety and efficacy. (Id., PageID 211, 214.) There are
   ORDER GRANTING DEFENDANTS' MOTION                              three phases to the clinical investigation process, with each
     TO DISMISS AMENDED COMPLAINT                                 phase having progressively refined goals and increased study
                                                                  populations. See 21 C.F.R. § 312.21. After these studies are
ROBERT H. CLELAND, UNITED STATES DISTRICT                         completed, the company sponsoring the drug submits a New
JUDGE                                                             Drug Application (NDA) to the FDA for approval. See 21
                                                                  C.F.R. § 314. The purpose of this application process is to
 *1 This is a securities fraud action by a putative class of      “(a) [f]acilitate the approval of drugs shown to be safe and
stock holders of the Defendant biopharmaceutical company,         effective; and (b) ensure the disapproval of drugs not shown
Esperion Therapeutics, Inc. Pending before the court is           to be safe and effective.” 21 C.F.R. § 314.2.
Defendants' Motion to Dismiss the Amended Complaint.
(Dkt. #35.) Plaintiffs filed a response (Dkt. #38), and           Esperion conducted its Phase 1 and 2 studies, and it then
Defendants filed a reply (Dkt. #39). The court has reviewed       began its Phase 3 program in January 2016. (Dkt. #22, PageID
the briefing and concludes that a hearing is unnecessary. See     215–16.) The class period begins on February 22, 2017 and
E.D. Mich. LR 7.1(f)(2). For the reasons stated below, the        ends on May 22, 2018. (Id., PageID 224, 249.) Defendants
court will grant the motion.                                      allege that during this time Esperion “trumpet[ed] bempedoic
                                                                  acid's safety and tolerability” despite “several red flags,” and
                                                                  then, in May 2018, “revealed alarming safety results from
                    I. BACKGROUND                                 the Phase 3 clinical trial” causing the share price to drop
                                                                  dramatically. (Id., PageID 204–05, 252.)



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                                                                     things, that Plaintiffs fail to adequately plead scienter under
                                                                     the PSLRA's heightened pleading requirements.

                       II. STANDARD
                                                                     “In the securities-fraud context, scienter includes a knowing
 *2 A court may dismiss a complaint for “failure to state a          and deliberate intent to manipulate, deceive, or defraud, and
claim upon which relief can be granted” under Federal Rule           recklessness.” Dougherty v. Esperion Therapeutics, Inc., 905
of Civil Procedure 12(b)(6). “To survive a motion to dismiss,        F.3d 971, 979 (6th Cir. 2018) (quoting Doshi v. Gen. Cable
a litigant must allege enough facts to make it plausible that        Corp., 823 F.3d 1032, 1039 (6th Cir. 2016)). Recklessness,
the defendant bears legal liability.” Agema v. City of Allegan,      in turn, “is defined as highly unreasonable conduct which is
826 F.3d 326, 331 (6th Cir. 2016) (citing Ashcroft v. Iqbal, 556     an extreme departure from the standards of ordinary care ...
U.S. 662, 678 (2009)). A complaint “requires more than labels        akin to conscious disregard.” Id. at 980 (internal quotation
and conclusions,” and must allege facts that “raise a right to       marks and citation omitted). The PSLRA requires that “the
relief above the speculative level.” Bell Atl. Corp. v. Twombly,     complaint shall, with respect to each act or omission alleged
550 U.S. 544, 555 (2007). Rule 12(b)(6) acts “to enable              to violate this chapter, state with particularity facts giving rise
defendants to challenge the legal sufficiency of complaints          to a strong inference that the defendant acted with the required
without subjecting themselves to discovery.” Yuhasz v. Brush         state of mind.” 15 U.S.C. § 78u-4(b)(2).
Wellman, Inc., 341 F.3d 559, 566 (6th Cir. 2003) (internal
citation omitted).                                                   In analyzing a motion to dismiss a § 10(b) claim, the court
                                                                     accepts the complaint's factual allegations as true, views the
Allegations of fraud are subject to heightened pleading              complaint in its entirety, and “take[s] into account plausible
requirements. Under Federal Rule of Civil Procedure 9(b),            opposing inferences.” Tellabs, Inc. v. Makor Issues & Rights,
“a party must state with particularity the circumstances             Ltd., 551 U.S. 308, 322–23 (2007). “A strong inference of
constituting fraud or mistake.” Specifically, “the complaint         scienter ‘must be more than merely plausible or reasonable—
must (1) specify the statements that the plaintiff contends          it must be cogent and at least as compelling as any opposing
were fraudulent, (2) identify the speaker, (3) state where           inference of nonfraudulent intent.’ ” Doshi, 823 F.3d at
and when the statements were made, and (4) explain why               1039 (quoting Tellabs, Inc., 551 U.S. at 314). The court
the statements were fraudulent.” Ind. State Dist. Council of         also considers nine, non-exhaustive factors in determining
Laborers and Hod Carriers Pension and Welfare Fund v.                whether a plaintiff adequately pleaded scienter:
Omnicare, Inc., 583 F.3d 935, 942–43 (6th Cir. 2009) (internal
citation omitted). The Private Securities Litigation Reform
Act (PSLRA), 15 U.S.C. § 78u-4(b), contains additional                             *3 (1) insider trading at a suspicious
pleading requirements for a securities fraud complaint, which                     time or in an unusual amount; (2)
will be identified and discussed below.                                           divergence between internal reports
                                                                                  and external statements on the same
                                                                                  subject; (3) closeness in time of
                                                                                  an allegedly fraudulent statement or
                     III. DISCUSSION
                                                                                  omission and the later disclosure of
Plaintiffs' Amended Complaint claims that Esperion violated                       inconsistent information; (4) evidence
§ 10(b) of the Exchange Act and asserts derivative lability                       of bribery by a top company official;
under § 20(a) against some of its officers. To state a §                          (5) existence of an ancillary lawsuit
10(b) claim, Plaintiffs “must allege that the defendants made                     charging fraud by a company and
material misrepresentations or omissions in connection with                       the company's quick settlement of
the sale of a security, that they did so with bad intent (i.e.,                   that suit; (6) disregard of the most
scienter), that the plaintiffs relied on the misrepresentations                   current factual information before
or omissions, and that they eventually suffered an economic                       making statements; (7) disclosure of
loss as a result.” Norfolk Cty. Ret. Sys. v. Cmty. Health Sys.,                   accounting information in such a way
Inc., 877 F.3d 687, 694 (6th Cir. 2017) (internal citation                        that its negative implications could
omitted). Defendants' Motion to Dismiss argues, among other                       only be understood by someone with
                                                                                  a high degree of sophistication; (8) the



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             personal interest of certain directors                     Plaintiffs do not allege any facts that make the timing or
             in not informing disinterested directors                   amount of the sales by the four board directors particularly
             of an impending sale of stock; and                         suspicious or unusual. The dates of the sales were spread
             (9) the self-interested motivation of                      throughout the class period: March 21 and 22, 2017;
             defendants in the form of saving their                     December 6, 15, and 18, 2017; January 25, 2018; and March
             salaries or jobs.                                          29, 2018. (Dkt. #22, PageID 253–56.) Nor do Plaintiffs allege
                                                                        any history of these Defendants' trading that would make the
                                                                        size of the sales notable. See Konkol v. Diebold, Inc., 590
Id. at 1039–40 (citing Helwig v. Vencor, Inc., 251 F.3d 540,            F.3d 390, 399 (6th Cir. 2009) (abrogated on other grounds
552 (6th Cir. 2011) (en banc)).                                         by Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 48–
                                                                        50 (2011)). Over the course of the class period, Defendant
Here, Plaintiffs' theory of scienter is that Esperion knew              Goldstein reduced his beneficial ownership of Esperion from
about safety issues with its product, bempedoic acid,                   7.7% to less than 1%; Defendant Janney reduced his from
but repeatedly made statements that it was safe. (Dkt.                  8% to 2.5%; Defendant Newton from 3.7% to 3.2%; and
#38, PageID 949–59.) Taking Plaintiffs' allegations in the              Defendant Vitullo from 10.4% to 4.4%. (Dkt. #22, PageID
complaint as true: Esperion knew about two deaths in Phase              253–56.) Meanwhile, Defendant Mayleben, the CEO of
2 by mid-2016; in mid-2017, Esperion made changes to its                Esperion, increased his holdings by 31%, and Defendant
Phase 3 safety protocols because of serious and numerous                Bartram, Esperion's CFO, increased his holdings by 53%.
adverse safety issues; and by late-2017, Esperion knew                  (Dkt. #35, PageID 322.)
of deaths in Phase 3 and “out-of-control kidney filtration
results.” (Dkt. #22, PageID 216.) Esperion, on the other                 *4 This factor does not support an inference of scienter. To
hand, argues that Plaintiffs fail to allege specific facts giving       the contrary, “[m]any courts have held that the inference of
rise to a strong inference of scienter, providing only “a               scienter is weak where an officer sells only a small fraction
patchwork of generalized allegations from four confidential             of the shares owned.” In re Credit Acceptance Corp. Secs.
informants.” (Dkt. #35, PageID 317.) As far as the Helwig               Litig., 50 F. Supp. 2d 662, 677 (E.D. Mich. April 23, 1999)
factors, neither party contends that the fourth, fifth, seventh,        (collecting cases). Moreover, courts have found “that the
and eighth factors are present here; they do not support an             CEO and CFO would have been essential participants in
inference of scienter. That leaves the first, second, third, sixth,     any scheme, thus, their having sold no stock, undermines
and ninth factors to be analyzed by the court.                          any suggestion of knowledge on the part of defendants due
                                                                        to the other sales.” In re Comshare, Inc. Secs. Litig., 1997
The first Helwig factor is “insider trading at a suspicious             WL 1091468, at *10 (E.D. Mich. Sept. 18, 1997). While
time or in an unusual amount.” Doshi, 823 F.3d at                       Plaintiffs cite cases where courts “have declined dismissal
1039. Plaintiffs allege that several Defendants “engaged                simply because defendants claimed increased holdings during
in sizable, suspicious, and unusual sales of their Esperion             the class period,” (Dkt. #38, PageID 955), those cases
common stock” during the class period. (Dkt. #22, PageID                are distinguishable in that—unlike here—the CEO of the
204.) Specifically, the complaint identifies sales made by              corporation was alleged to have sold stock during the class
Defendants Goldstein, Janney, Newton, and Vitullo, who                  period. See Willis v. Big Lots, Inc., 2016 WL 8199124 (S.D.
all served as directors on Esperion's Board and signed the              Ohio Jan. 21, 2016); Ross v. Abercrombie & Fitch Co., 501 F.
company's filings with the U.S. Securities and Exchange                 Supp. 2d 1102 (S.D. Ohio Aug. 9, 2007).
Commission (SEC). (Id., PageID 253–56.) Esperion argues
that Plaintiffs “cherry-picked” these individuals, who are              Plaintiffs also argue that Helwig factor three, “closeness in
not specifically tied to the alleged fraud or named in the              time of an allegedly fraudulent statement or omission and
complaint's substantive allegations, because they happened to           the later disclosure of inconsistent information,” Doshi, 823
sell stock during the class period. (Dkt. #35, PageID 320–23.)          F.3d at 1039, supports an inference of scienter. (Dkt. #38,
The two key individual Defendants, CEO Mayleben and CFO                 PageID 948, 952.) They claim that “Defendants issued their
Bartram, did not sell their stock during the class period and in        misstatements starting on February 22, 2017, with the last
fact significantly increased their holdings. (Id.)                      misleading statement issued on April 13, 2018” and that “the
                                                                        revelation of inconsistent information” occurred on May 2,
                                                                        2018 and May 22, 2018. (Id., PageID 952.) The Sixth Circuit



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notes that “a ‘short turnaround ma[kes] it less likely that the       clinical trials does not strongly suggest that it acted with
corporation did not know that its statement was misleading.’          scienter in stating that bempedoic acid had been viewed as
” Dougherty, 905 F.3d at 981 (quoting In re Omnicare, Inc.            safe and well-tolerated.
Securities Litigation, 769 F.3d 455, 484 (6th Cir. 2014)). It
has identified a one-week turnaround as close in time but              *5 Finally, the court looks to Helwig factor nine, “the self-
a four-month gap as not close in time. Id. (citing City of            interested motivation of defendants in the form of saving
Monroe Emps. Ret. Sys. v. Bridgestone Corp., 399 F.3d 651,            their salaries or jobs.” Doshi, 823 F.3d at 1040. Plaintiffs
684, 687–88 (6th Cir. 2005)). Here, because the issuance of           allege that Esperion's “future depends almost entirely on
dozens of similar statements over the course of 15 months             the successful clinical development, regulatory approval, and
falls far outside the time range of what constitutes a “short         commercialization of bempedoic acid” and that “lucrative
turnaround,” this factor also does not weigh in Plaintiffs'           compensation and bonuses were based on advancing the FDA
favor.                                                                process.” (Dkt. #22, PageID 203, 252.) Esperion characterizes
                                                                      this as a generic motive and argues that it fails to suggest
Next, Plaintiffs argue that an inference of scienter is supported     “concrete benefits that could be realized,” as required. (Dkt.
by the second and sixth Helwig factors: “divergence                   #35, PageID 320.) The court finds that, as in Dougherty,
between internal reports and external statements on the               “Plaintiffs' motive allegations are too general and speculative
same subject” and “disregard of the most current factual              to support an inference of scienter under the ninth Helwig
information before making statements.” Doshi, 823 F.3d at             factor.” Dougherty, 905 F.3d at 982. When “the courts
1039. They contend that because Esperion “received near-              distinguish motives common to corporations and executives
contemporaneous information regarding safety issues in the            generally from motives to commit fraud,” they note that “an
Phase 2 and 3 clinical trials ... including deaths occurring          executive's desire to protect his position within a company
during the clinical trials,” its statements that bempedoic acid       or increase his compensation” is not a sufficient motive for
was safe and well tolerated were made with scienter. (Dkt.            fraud. PR Diamonds, Inc. v. Chandler, 364 F.3d 671, 690 (6th
#38, PageID 947–52.) Defendants respond that knowledge                Cir. 2004) (abrogated on other grounds by Matrixx, 563 U.S.
of safety events does not equate to acting with “a knowing            at 48–50). Courts recognize that “earnings-based bonuses ...
and deliberate intent to manipulate, deceive, or defraud” or          are common among executives and have limited probative
recklessness. (Dkt. #35, PageID 316–320.) Esperion claims             value as to scienter.” City of Pontiac Gen. Emps.' Ret. Sys. v.
that its statements reflected its reasonable and believed             Stryker Corp., 865 F. Supp. 2d 811, 835 (W.D. Mich. 2012)
interpretation of the clinical trials, the results of which were      (internal citations omitted). The fact that Esperion wanted
publicly released. (Id., PageID 324.)                                 its key product to be successful, without more, does not
                                                                      raise an inference of fraud. See In re Omnicare, 769 F.3d
Plaintiffs do not allege specific facts that show, or even            at 484 (“If a well-pleaded complaint can allege only that a
suggest, Esperion did not believe what it stated. Esperion            corporation intended to defraud based on a desire to continue
explains that the total number of adverse events, including           earning money, without showing a particular link between the
fatalities, was not unexpected given the high-risk nature and         actual statement and a specific payment, then the heightened
medical history of the patient population. (Id., PageID 312.)         pleading standard for scienter has no bite.”)
The cumulative results of the Phase 2 and Phase 3 trials
indicated that there was a total of only 16 deaths out of             Reviewing “all the allegations holistically,” the court
more than 4,000 patients. (Dkt. #22, PageID 249.) Plaintiffs          determines that a reasonable person would not “deem the
argue that these events were especially troubling because they        inference of scienter” presented by Plaintiffs as “cogent and
“had overwhelmingly occurred in the drug group versus the             at least as compelling” as the opposing inference presented
placebo group during the trials,” (Dkt. #38, PageID 952), but         by Defendants. Matrixx, 563 U.S. at 48 (quoting Tellabs,
the disparity in deaths was merely 0.5% in the bempedoic-             Inc., 551 U.S. at 324–25). Plaintiffs' allegations implicate, at
acid group compared to 0.2% in the placebo group. (Dkt. #22,          most, five of the Helwig factors and none of them provide
PageID 249.) More importantly, Plaintiffs do not allege any           significant support for inferring scienter against Esperion.
facts contradicting Esperion's assertion that it was blinded to       Having failed to sufficiently plead scienter, Plaintiffs' § 10(b)
the data (i.e., did not know which patients experienced the           claim must be dismissed. Consequently, Plaintiffs' derivative
events) until it was released. (Dkt. #35, PageID 310.) Without        claim under § 20(a) against individual officers and directors
more, Esperion's knowledge of adverse events in ongoing               of Esperion fails and must be dismissed as well. See Doshi,



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                                                                             15.1. The court deems the footnote “request” to
823 F.3d at 1045 (citing Ind. State Dist. Council of Laborers,
                                                                             be of no consequence and will not grant Plaintiffs
583 F.3d at 947).
                                                                             leave to again amend the complaint. “Although
                                                                             [Federal Rule of Civil Procedure] 15 instructs
                                                                             courts to ‘freely give leave’ to amend, that liberal
                    IV. CONCLUSION                                           policy does not apply to the plaintiffs' one-sentence
                                                                             request.” Kuyat v. BioMimetic Therapeutics, Inc.,
IT IS ORDERED that Defendants' Motion to Dismiss the
                                                                             747 F.3d 435, 444 (6th Cir. 2014); see also La. Sch.
Amended Complaint (Dkt. #35) is GRANTED. 1                                   Emps.' Ret. Sys. v. Ernst & Young, LLP, 622 F.3d
                                                                             471, 486 (6th Cir. 2010).
1      In an easily-overlooked final footnote, Plaintiff
       “seeks leave to amend under Rule 15.” (Dkt. #38,              All Citations
       PageID 960 n.13.) The proper way to move for
       such relief is to file a motion. See E.D. Mich. LR            Not Reported in Fed. Supp., 2019 WL 3296235


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                      2023 WL 4532803                                               I. Factual Background
        Only the Westlaw citation is currently available.
         United States Court of Appeals, Fifth Circuit.          Plaintiffs-Appellants Dennis Burback, Ken Eddy, and
                                                                 Mark Andersen (“Plaintiffs”) are individual investors who
             Dennis BURBACK; Ken Eddy; Mark                      participated in two securities-related transactions that they
               Andersen, Plaintiffs—Appellants,                  allege were actually part of two fraudulent schemes. The
                               v.                                first scheme involved the use of promissory notes (the “Note
     Jordan BROCK; Four Oceans Holding, Incorporated;            Scheme”), while the second scheme is alleged to have been
       Elepreneurs U.S., L.L.C.; Elevacity U.S., L.L.C.;         related to the first and involved the purchase of stock (the
                                                                 “Stock Scheme”).
    Sharing Services Global Corporation, formerly known as
    Sharing Services, Incorporated, Defendants—Appellees.
                                                                 The Note Scheme was carried out by Robert Oblon and
                          No. 22-40609                           Defendant-Appellee Jordan Brock, who are both alleged
                                |                                to have convinced Plaintiffs to purchase promissory notes
                       FILED July 13, 2023                       based on false representations and insufficient disclosures.
                                                                 Specifically, Oblon represented to Plaintiffs that FourOceans
Appeal from the United States District Court for the Eastern     Global, LLC (“Global”), a multilevel marketing travel
District of Texas, USDC No. 4:20-CV-946                          company that he founded, was insolvent and on the brink of
                                                                 collapse and that Plaintiffs’ investments were critical to its
Attorneys and Law Firms                                          survival. In September 2015, Plaintiffs each entered into a
                                                                 note purchase agreement promising various forms of payment
Stephen W. Abbott, Attorney, Brent Taylor Caldwell, Bayko,
                                                                 from and equity ownership in Global in exchange for $33,333.
Prebeg, Faucett & Abbott, P.L.L.C., Houston, TX, for
                                                                 Plaintiffs allege that they were misled by Oblon and Brock as
Plaintiffs—Appellants.
                                                                 to the legitimacy of Global's business in the months leading
John Whitney Bowdich, Esq., Bowdich & Associates,                up to their signing the note purchase agreements. By March
P.L.L.C., Dallas, TX, Andrew Paul Speicher, Figari &             2016, it “became apparent to Plaintiffs” that Global “would be
Davenport, L.L.P., Dallas, TX, for Defendant—Appellee            a failure.” Around this time, Oblon transferred Global's assets
Jordan Brock.                                                    to Defendants-Appellees Elevacity U.S., L.L.C. (“Elevacity”)
                                                                 and Elepreneurs U.S., L.L.C. (“Elepreneurs”), two other
Janet Douvas Chafin, Jackson Walker, L.L.P., Houston, TX,        multilevel marketing companies that he founded, without
Blake Dietrich, Jackson Walker, L.L.P., Dallas, TX, for          first informing Plaintiffs. Plaintiffs never received any return
Defendants—Appellees Four Oceans Holding, Incorporated,          on their investment, nor the return of their principal, in
Elepreneurs U.S., L.L.C., Elevacity U.S., L.L.C., Sharing        connection with the Note Scheme. According to Plaintiffs,
Services Global Corporation.                                     Oblon, Brock, and others instead used this money for their
                                                                 own personal gain and to make Ponzi-like payments to
Before King, Smith, and Elrod, Circuit Judges.                   investors that were similarly situated as Plaintiffs in order to
Opinion                                                          perpetuate the Note Scheme.


Per Curiam: *                                                    The Stock Scheme is alleged to have begun in about February
                                                                 or March 2018. Plaintiffs had made repeated requests for
*                                                                updates regarding the status of the Note Scheme, expressing
         This opinion is not designated for publication. See
                                                                 concern as to “irregularities” surrounding their investments.
         5th Cir. R. 47.5.
                                                                 In March and April 2018, Brock spoke with Eddy over the
 *1 Plaintiffs appeal the dismissal of their claims alleging     phone, stating that no irregularities existed and that he, Oblon,
securities fraud in connection with two investment schemes.      and John “JT” Thatch had a “plan” to convert Plaintiffs’
For the following reasons, we AFFIRM.                            ownership and equity interests in Global into stock in a
                                                                 new company, Sharing Services, Inc., founded by Oblon.
                                                                 Sharing Services, Inc., which would later become Defendant-



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Appellee Sharing Services Global Corporation (“Sharing
Services”), had already acquired Four Oceans Holding, Inc.           The district court partially granted the motions in September
(“Holding”), Global's successor in interest; Elevacity; and          2021 (the “First Dismissal Order”). The court first dismissed
Elepreneurs in October 2017.                                         the federal securities fraud claim against Brock relating to
                                                                     the Note Scheme, holding that the claim was filed past
In June 2018, Plaintiffs attended a conference call with Brock       the applicable five-year statute of repose. The court next
and Jeff Bollinger. During the call, Brock explained that he         dismissed the federal securities fraud claims against both
and Bollinger would be taking over for Oblon as Plaintiffs’          Brock and Thatch relating to the Stock scheme, explaining
point of contact. Bollinger then told Plaintiffs that Global had     that neither claim was sufficiently pleaded in accordance
since been dissolved but that Plaintiffs would receive new           with the heightened pleading standards for fraud. The
stock in Sharing Services. Bollinger explained, though, that         court then determined that the state law fraud claims were
Plaintiffs could not directly receive Sharing Services stock         similarly not well pleaded and dismissed these claims against
and would instead need to complete their transaction with an         both defendants. The remaining claims brought against the
intermediary company so as not to raise any concerns with the        movants were dismissed as well. Each claim that the court
SEC. According to Bollinger, as a part of this plan, Plaintiffs      dismissed was dismissed without prejudice, save for the
would have to assign their interests in Global over to Custom        federal securities claim brought against Brock relating to the
Travel Holdings, Inc. (“Custom Travel”) if they ever wanted          Note Scheme.
to recover their initial investments in the Note Scheme.
                                                                     Plaintiffs filed an eight-count amended complaint in October
 *2 Each Plaintiff subsequently entered into a subscription          2021 (the “Amended Complaint”) with factual allegations
agreement in which additional consideration (apart from              that, for the purpose of this appeal, mostly hew to those in the
that already expended in the Note Scheme) was exchanged              Complaint. Notably, though, Thatch is no longer named as a
for stock in Custom Travel. Plaintiffs never received                defendant in the Amended Complaint. Like the Complaint,
Custom Travel stock certificates. At some point prior to             the Amended Complaint contains claims for federal securities
the subscription agreements’ execution, Brock and Bollinger          fraud, and state claims for statutory fraud, common law fraud,
“made clear” to Plaintiffs that they knew that Custom Travel         fraud by nondisclosure, unjust enrichment, civil conspiracy,
would soon be acquired by Sharing Services, explaining that          and breach of fiduciary duty; the remaining claims from
this was not public knowledge, Plaintiffs were not supposed          the Complaint have been eliminated. Plaintiffs bring a new
to know about the acquisition, but that Plaintiffs would not         claim for “joint and several liability for knowing participation
be in violation of SEC rules. In a June 2019 conference              and assisting in Brock's and Oblon's fraudulent conduct and
call, Brock informed Plaintiffs that Sharing Services would          breaches of fiduciary duties” in the amended complaint as
not be acquiring Custom Travel and that all of Plaintiffs’           well. Brock and the Entity Defendants subsequently moved
investments in connection with both the Note and Stock               to dismiss the Amended Complaint.
Schemes were lost.
                                                                     The court fully granted both motions in July 2022 with
In December 2020, Plaintiffs filed an 11-count complaint             prejudice (the “Second Dismissal Order”). The court first
(the “Complaint”) in the United States District Court for            addressed the claims brought against Brock, beginning by
the Eastern District of Texas naming, inter alia, Holding,           dismissing the lone federal securities fraud claim against
Elepreneurs, Elevacity, Sharing Services (collectively, the          him for the same reason it did in the First Dismissal Order,
“Entity Defendants”), Brock (collectively, with the Entity           explaining that Plaintiffs again failed to meet the heightened
Defendants, the “Defendants”), Oblon, Bollinger, Thatch,             pleading standards for fraud. The court likewise dismissed
Custom Travel, and Global as defendants. The Complaint               Plaintiffs’ state fraud claims as it did in the First Dismissal
asserts claims for federal securities fraud in violation of          Order. Turning to the Entity Defendants’ motion, the court
§ 10(b) of the Exchange Act and SEC Rule 10b-5, and                  ruled that all claims pertaining to Brock's actions must be
claims for statutory fraud, common law fraud, fraud by               dismissed because it had already held that the Amended
nondisclosure, unjust enrichment, civil conspiracy, aiding           Complaint did not adequately plead the underlying claims
and abetting, accounting, constructive trust, and breach             against Brock. The court then dismissed the claims against
of fiduciary duty under Texas law. Brock and Thatch                  the Entity Defendants as they pertained to Oblon, holding that
subsequently moved to dismiss the Complaint.                         the Amended Complaint failed to sufficiently link Oblon's



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actions to the Entity Defendants. The court dismissed the            statements were made, and explain why the statements
remaining claims against the Defendants as well.                     were fraudulent.” Dorsey v. Portfolio Equities, Inc., 540
                                                                     F.3d 333, 339 (5th Cir. 2008) (quoting Herrmann Holdings
 *3 Following the Second Dismissal Order, the parties filed          Ltd. v. Lucent Techs. Inc., 302 F.3d 552, 564–65 (5th Cir.
a joint stipulation dismissing the remainder of the claims with      2002)). “Although Rule 9(b) expressly allows scienter to
prejudice. Plaintiffs now appeal the dismissal of their federal      be ‘averred generally’, simple allegations that defendants
securities fraud claim relating to the Note Scheme against           possess fraudulent intent will not satisfy Rule 9(b).” Id.
Brock in the First Dismissal Order and raise various points of       (quoting Melder v. Morris, 27 F.3d 1097, 1102 (5th Cir.
error in the Second Dismissal Order.                                 1994)). “The plaintiffs must set forth specific facts supporting
                                                                     an inference of fraud.” Id. (quoting Melder, 27 F.3d at 1102).
                                                                     “Alleged facts are sufficient to support such an inference
                                                                     if they either (1) show a defendant's motive to commit
                        II. Discussion
                                                                     securities fraud or (2) identify circumstances that indicate
We review a district court's grant or denial of a motion to          conscious behavior on the part of the defendant.” Id. (quoting
dismiss for failure to state a claim under Rule 12(b)(6) de          Herrmann Holdings, 302 F.3d at 565). “If the facts pleaded
novo. Whitley v. BP, P.L.C., 838 F.3d 523, 526 (5th Cir.             in a complaint are peculiarly within the opposing party's
2016). To survive such a motion, a complaint must allege             knowledge, fraud pleadings may be based on information
enough facts, accepted as true, “to state a claim to relief that     and belief. However, this luxury must not be mistaken for
is plausible on its face.” Bell Atl. Corp. v. Twombly, 550           license to base claims of fraud on speculation and conclusory
U.S. 544, 570 (2007). “A claim has facial plausibility when          allegations.” Id. (quoting Tuchman v. DSC Commc'ns Corp.,
the plaintiff pleads factual content that allows the court to        14 F.3d 1061, 1068 (5th Cir. 1994)).
draw the reasonable inference that the defendant is liable
for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S.              *4 Federal securities fraud claims are subject to additional
662, 678 (2009). Although “detailed factual allegations” are         pleading requirements under the Private Securities Litigation
not required, the complaint must include “factual allegations        Reform Act of 1995 (“PSLRA”), which “enhances the
that when assumed to be true ‘raise a right to relief above          particularity requirements of Rule 9(b).” Id.; see 15 U.S.C.
the speculative level.’ ” Cuvillier v. Taylor, 503 F.3d 397,         § 78u-4(b). The PSLRA requires plaintiffs to “specify each
401 (5th Cir. 2007) (quoting Twombly, 550 U.S. at 555).              statement alleged to have been misleading, the reason or
Conclusory statements or “ ‘naked assertion[s]’ devoid of            reasons why the statement is misleading, and, if an allegation
‘further factual enhancement’ ” are insufficient. Iqbal, 556         regarding the statement or omission is made on information
U.S. at 678 (quoting Twombly, 550 U.S. at 557). “The                 and belief, the complaint shall state with particularity all facts
plausibility standard ... asks for more than a sheer possibility     on which that belief is formed.” 15 U.S.C. § 78u-4(b)(1).
that a defendant has acted unlawfully.” Id. A complaint              Additionally, under the PSLRA,
pleading facts “that are ‘merely consistent with’ a defendant's
liability ... ‘stops short of the line between possibility and
plausibility of entitlement to relief.’ ” Id. (quoting Twombly,
550 U.S. at 557). Whether the plausibility standard has been                      in any private action ... in which the
met is a “context-specific task that requires the reviewing                       plaintiff may recover money damages
court to draw on its judicial experience and common sense.”                       only on proof that the defendant acted
Id. at 679.                                                                       with a particular state of mind, the
                                                                                  complaint shall, with respect to each
Fraud claims are subject to heightened pleading requirements.                     act or omission alleged to violate this
“In alleging fraud or mistake, a party must state with                            chapter, state with particularity facts
particularity the circumstances constituting fraud or mistake.                    giving rise to a strong inference that
Malice, intent, knowledge, and other conditions of a person's                     the defendant acted with the required
mind may be alleged generally.” Fed. R. Civ. P. 9(b).                             state of mind. 1
“This Court interprets Rule 9(b) strictly, requiring a plaintiff
pleading fraud to specify the statements contended to be
fraudulent, identify the speaker, state when and where the           Id. § 78u-4(b)(2)(A).



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                                                                       regulatory requirement concerning the securities laws ... may
1                                                                      be brought not later than the earlier of ... (1) 2 years after the
        Subject to exceptions inapplicable to the case at bar.
                                                                       discovery of the facts constituting the violation; or (2) 5 years
        See 15 U.S.C. § 78u-4(b)(2)(A) & (B).
                                                                       after such violation.” 28 U.S.C. § 1658(b). The outer, five-
                                                                       year bound in § 1658 is a statute of repose, which “begin[s]
               A. The Contours of the Appeal                           to run on the date of the last culpable act or omission of
                                                                       the defendant.” China Agritech, Inc. v. Resh, 138 S. Ct.
As an initial matter, the parties disagree as to whether               1800, 1804 & n.1 (2018) (alteration in original) (quoting
Plaintiffs may challenge any of the district court's holdings          Cal. Pub. Emps.’ Ret. Sys. v. ANZ Sec., Inc., 582 U.S. 497,
in the First Dismissal Order. “If [a] district court dismisse[s]       505 (2017)); Hall v. Variable Annuity Life Ins. Co., 727 F.3d
[a] claim on the merits or with prejudice, [a] plaintiff may           372, 375 n.4 (5th Cir. 2013). Any prohibited conduct or
appeal that ruling without needing to include the claim in             omission under § 10(b) of the Exchange Act and its attendant
a later amended complaint.” Lincoln Gen. Ins. Co. v. U.S.              regulation, SEC Rule 10b-5, must occur “in connection with
Auto Ins. Servs., Inc., 787 F.3d 716, 724 (5th Cir. 2015)              the purchase or sale of any security.” 15 U.S.C. § 78j(b); 17
(citing Williams v. Wynne, 533 F.3d 360, 365 (5th Cir.                 C.F.R. § 240.10b-5. Prohibited conduct or omissions are “ ‘in
2008)); see also 6 CHARLES ALAN WRIGHT, ARTHUR                         connection with’ the purchase or sale of securities if there is
R. MILLER, & MARY KAY KANE, FEDERAL PRACTICE                           a relationship in which the fraud and the stock sale coincide
& PROCEDURE § 1476 (3d ed. 2023) (“A rule that a party                 or are more than tangentially related.” Roland v. Green, 675
waives all objections to the court's dismissal if the party elects     F.3d 503, 520 (5th Cir. 2012) (quoting Madden v. Cowen &
to amend is too mechanical and seems to be a rigid application         Co., 576 F.3d 957, 965–66 (9th Cir. 2009)), aff'd sub nom.
of the concept that a Rule 15(a) amendment completely                  Chadbourne & Parke LLP v. Troice, 571 U.S. 377 (2014).
replaces the pleading it amends. Without more, the action of
the amending party should not result in completely denying              *5 The Complaint alleges that Plaintiffs executed the note
the right to appeal the court's ruling.”). But if a claim is           purchase agreements for the Note Scheme in September
dismissed without prejudice due to a “technical defect or              2015, more than five years before they filed the Complaint
voluntary withdrawal, [a] plaintiff forfeits the right to appeal       in December 2020. Plaintiffs counter that Brock engaged
if it files an amended complaint omitting that claim.” Lincoln         in post-sale “lulling activities” to cover up the fraudulent
Gen. Ins., 787 F.3d at 724 (citing Wilson v. First Hous. Inv.          nature of the Note Scheme, becoming the latest conduct
Corp., 566 F.2d 1235, 1238 (5th Cir. 1978), vacated on other           relevant to the statute of repose and occurring within five
grounds, 444 U.S. 959 (1979)). Here, the First Dismissal               years of the Complaint's filing. Specifically, Plaintiffs point
Order dismissed the federal securities fraud claim relating to         to the transfer of Global's assets to Elevacity and Elepreneurs
the Note Scheme against Brock with prejudice. Therefore,               and the later transaction where those three entities were
Plaintiffs were not required to replead that claim in order to         acquired by Sharing Services. But we fail to see how
preserve the issue of its dismissal for appeal. Accordingly, we        those actions (and other post-September 2015 statements or
begin by addressing the district court's dismissal of that claim,      conduct) were connected to the execution of the note purchase
i.e., Plaintiffs’ only challenge to the First Dismissal Order,         agreements. Importantly, the pleadings do not sufficiently
and then turn to Plaintiffs’ appeal of the Second Dismissal            allege a connection between these post-sale actions and the
Order.                                                                 original sale, i.e., that these events were all linked as parts
                                                                       of a fraudulent scheme. Plaintiffs rely on allegations that are
                                                                       either conclusory or that the heightened pleading standards of
                                                                       Rule 9(b) and the PSLRA deem inadequate to establish such
                B. The First Dismissal Order
                                                                       a connection. 2
In its First Dismissal Order, the district court dismissed the
federal securities fraud claim relating to the Note Scheme             2       Representative allegations include:
against Brock because it was filed outside of the time
                                                                                 [T]he statements (and omissions) made by
prescribed by the applicable statute of repose.
                                                                                 these defendants ... propagated the impression
                                                                                 that Plaintiffs were investing in a legal
Claims arising under the Exchange Act involving “fraud,
                                                                                 and legitimate enterprise and not ... a
deceit, manipulation, or contrivance in contravention of a
                                                                                 scheme to take their investments and transfer


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          [Global's] assets, secretly or otherwise ..., to
          Elepreneurs, Elevacity, and/or [Holding], which           The Complaint's federal securities fraud claim against Brock
          were ultimately sold to [Sharing Services], with          was correctly dismissed for being filed outside the five-year
          no remuneration to Plaintiffs as equity owners in         statute of repose.
          [Global].
          ...
          Each Plaintiff was presented with a
                                                                                  C. The Second Dismissal Order
          unified, consistent set of exaggerations,
          misrepresentations and omissions about their
          investment, how their investments would be                            1. Federal Securities Fraud Claims
          spent, that [Global] was an ongoing, legitimate                          Relating to the Stock Scheme
          business, and there was no mention that the
                                                                     *6 The district court dismissed the federal securities fraud
          assets of [Global] would be secretly transferred
                                                                    claim relating to the Stock Scheme against Brock, holding
          to one or more entities (secret or otherwise), ...
                                                                    that the allegations in the Amended Complaint failed to
          which would be sold to [Sharing Services] with
                                                                    meet the heightened pleading standards for fraud. Because
          no remuneration as equity owners in [Global].
                                                                    the Entity Defendants were alleged to be implicated in
Plaintiffs also contend that the district court erred in            this scheme through Brock under an alter ego theory of
considering Brock's argument that the Complaint's allegations       liability, the court dismissed the parallel claims brought
relating to the Note Scheme and not implicated by the               against them as well. Plaintiffs raise two points of error in the
statute of repose were not in connection with the purchase or       court's analysis. First, they argue that that court inadequately
sale of any security. According to Plaintiffs, Brock forfeited      addressed their theories of Defendants’ “scheme liability” and
this argument because he raised it for the first time on            “lulling activities.” Second, they contend that the court did not
reply below. But this mischaracterizes the nature of Brock's        consider an SEC filing that they assert bolstered their claims.
argument, which was consistent throughout his briefing:
that the Complaint was devoid of well-pleaded allegations
concerning the Note Scheme occurring within five years
of its filing. In the opening brief on his first motion to                       a. Theories of “Scheme Liability”
dismiss, Brock argued that Plaintiffs’ claim was “barred                              and “Lulling Activities”
by the 5-year statute of repose” because it was “entirely
                                                                    Section 10(b) prohibits using or employing “any manipulative
based on an alleged fraudulent scheme to induce Plaintiffs
                                                                    or deceptive device or contrivance in contravention of such
to invest $33,333 in [Global] by executing separate Note
                                                                    rules and regulations as the [SEC] may prescribe” “in
Purchase Agreements ... on or about September 10, 2015.”
                                                                    connection with the purchase or sale of any security.” 15
He contended that all relevant allegations regarding the
                                                                    U.S.C. § 78j(b). The SEC's implementing regulation, Rule
fraudulent scheme “occurred before the September 2015
                                                                    10b-5, provides three general means of liability under § 10(b):
transaction.” Implicit in this argument is that the Complaint's
remaining allegations do not relate to the Note Scheme or             (a) To employ any device, scheme, or artifice to defraud,
invoke § 10(b) and Rule 10b-5. Brock only explicitly referred
to the language “in connection with the purchase or sale of           (b) To make any untrue statement of a material fact or to
any security” in his reply brief because Plaintiffs’ opposition       omit to state a material fact necessary in order to make the
brief relied on allegations that were wholly divorced from            statements made, in the light of the circumstances under
that requirement but would otherwise fall within the five-            which they were made, not misleading, or
year window. Plaintiffs’ briefing on the motion is further
                                                                      (c) To engage in any act, practice, or course of business
proof that they were on notice of Brock's argument and
                                                                      which operates or would operate as a fraud or deceit upon
were not prejudiced. In their initial opposition to Brock's
                                                                      any person.
motion, they explicitly addressed his argument regarding
which culpable acts or omissions triggered the statute of           17 C.F.R. § 240.10b-5.
repose. And Plaintiffs restated their arguments in a sur-reply
where they incorrectly averred (as they do here) that Brock's       “To state a securities-fraud claim under section 10(b), and
argument had been forfeited.                                        Rule 10b–5, plaintiffs must plead (1) a misstatement or


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omission; (2) of a material fact; (3) made with scienter; (4)            *7 In its Second Dismissal Order, the district court held
on which the plaintiffs relied; and (5) that proximately caused         that the Amended Complaint did not contain non-conclusory
the plaintiffs’ injuries.” Southland Sec. Corp. v. INSpire Ins.         allegations demonstrating that any of Brock's statements were
Sols., Inc., 365 F.3d 353, 362 (5th Cir. 2004). “A fact is              false when made or that he otherwise had knowledge of those
material if there is ‘a substantial likelihood that, under all          statements’ falsity. The court similarly held that Plaintiffs
the circumstances, the omitted fact would have assumed                  could not establish Brock's scienter, ruling that the Amended
actual significance in the deliberations of the reasonable              Complaint's allegations concerning Brock's roles with Global
shareholder.’ ” Id. (quoting Grigsby v. CMI Corp., 765                  and Sharing Services; receipt of shares in Sharing Services,
F.2d 1369, 1373 (9th Cir. 1985)). “Materiality ‘depends on              Inc. that were later converted into Sharing Services shares;
the significance the reasonable investor would place on the             “knowledge of the fraudulent schemes”; and the benefits
withheld or misrepresented information.’ ” Id. (quoting Basic           Sharing Services received because of those schemes did
Inc. v. Levinson, 485 U.S. 224, 240 (1988)). “[T]he required            not meet Rule 9(b) or the PSLRA's heightened pleading
state of mind [for scienter] is an intent to deceive, manipulate,       requirements. Specifically, the court correctly determined
defraud or severe recklessness.” Owens v. Jastrow, 789 F.3d             that this collection of allegations was rooted in Brock's
529, 535 (5th Cir. 2015) (second alteration in original)                roles with Global and Sharing Services, and that “[s]cienter
(quoting Lormand v. US Unwired, Inc., 565 F.3d 228, 251 (5th            in a particular case may not be footed solely on motives
Cir. 2009)).                                                            universal to corporate executives.” Ind. Elec., 537 F.3d at
                                                                        544. The court also correctly ruled that the allegations
                                                                        pertaining to the various forms of compensation Brock
             Severe recklessness is limited to                          received, including his shares in Sharing Services, could not
             those highly unreasonable omissions                        create a strong inference of scienter because the Amended
             or misrepresentations that involve not                     Complaint did not allege the value of this compensation nor
             merely simple or even inexcusable                          how it was connected to the Stock Scheme. See id. (“Incentive
             negligence, but an extreme departure                       compensation packages may be considered in conjunction
             from the standard of ordinary care, and                    with other scienter allegations but only in an extraordinary
             that present a danger of misleading                        case is it probative.” (citation omitted)).
             buyers or sellers which is either known
             to the defendant or is so obvious that                     Plaintiffs contend that the district court neglected to consider
             the defendant must have been aware of                      extra-circuit caselaw that they argue supports the proposition
             it.                                                        that “lulling activities” may constitute evidence of scienter.
                                                                        In United States v. Kelley, 551 F.3d 171 (2d Cir. 2009) (per
                                                                        curiam), the defendant orchestrated a scheme in which he
                                                                        misled clients regarding their investments and subsequently
Id. at 536 (quoting Abrams v. Baker Hughes Inc., 292 F.3d
                                                                        produced fallacious account statements to lull them into
424, 430 (5th Cir. 2002)). “To withstand a 12(b)(6) motion to
                                                                        believing that their investments were safer than they were.
dismiss, the required ‘strong inference’ of severe recklessness
                                                                        Id. at 172–73. The Second Circuit held that the district court
must be ‘more than merely “reasonable” or “permissible”—
                                                                        did not abuse its discretion in admitting into evidence the
it must be cogent and compelling, thus strong in light of
                                                                        account statements that had been produced two-to-four years
other explanations.’ ” Id. (quoting Tellabs, Inc. v. Makor
                                                                        following the purchase of securities, reasoning that although
Issues & Rts., Ltd., 551 U.S. 308, 324 (2007)). “A reviewing
                                                                        the dissemination of those statements alone could not
court therefore must ‘take into account plausible inferences
                                                                        establish a securities violation, they were relevant evidence
opposing as well as supporting a strong inference of scienter.’
                                                                        because they “tended to demonstrate [the defendant's] intent
” Id. (quoting Ind. Elec. Workers’ Pension Tr. Fund IBEW
                                                                        to defraud his clients and the scope of the schemes he
v. Shaw Grp., Inc., 537 F.3d 527, 533 (5th Cir. 2008)). “A
                                                                        employed.” Id. at 172, 175–76.
complaint will survive only if the inference of scienter is ‘at
least as compelling as any opposing inference one could draw
                                                                        Kelley is inapposite, mainly because it is an evidentiary
from the facts alleged.’ ‘[A] tie favors the plaintiff.’ ” Id.
                                                                        holding. It also lacks facts that are analogous to those in
(citation omitted) (alteration in original) (first quoting Tellabs,
                                                                        our case: there, the government had established a scheme to
551 U.S. at 324; and then quoting Lormand, 565 F.3d at 254).
                                                                        defraud that the district court determined involved post-sale



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account statements, whereas here, Plaintiffs have failed to           passages from Exhibit M that were quoted in the Amended
adequately plead a fraudulent scheme (at all) to which post-          Complaint and which they argue were overlooked by the
sale lulling activities would attach. The other caselaw cited by      district court. The first passage states that, in January 2019,
Plaintiffs is similarly inapt because the court in each case was      Sharing Services “became aware of an unliquidated amount
convinced of a scheme to defraud in which lulling activities          of potential liability arising from a series of cash advance loan
were based. See, e.g., SEC v. Holschuh, 694 F.2d 130, 143–            transactions ... entered into by eight different lending sources
44 (7th Cir. 1982) (district court properly considered post-          and a Related Party entity ... owned and/or controlled by a
sale lulling activities that were “part of a single scheme or         former Company officer.” The Amended Complaint alleges
plan ... relat[ing] back to ... earlier fraudulent conduct”);         that, upon information and belief, this former company officer
United States v. Riedel, 126 F.2d 81, 82–83 (7th Cir. 1942)           was either Brock or Oblon. The second passage states that, in
(“We are satisfied, however, that the evidence shows, and             June 2019, Sharing Services
rather clearly, that the scheme was not over.... Avoidance of
detection and prevention of recovery of money lost by the
victims are within, and often a material part of, the illegal                      became aware of a potential
scheme.”); United States v. Jones, 712 F.2d 1316, 1320–21                          liability arising out of certain
(9th Cir. 1983) (“Several investors testified that they relied                     previous transactions involving the
on the mailings as demonstrating that [their investment] was                       formation and capitalization of two
doing well and that they had made a good investment....                            legal entities affiliated with a
[T]he defendants here had an interest in the bank mailings                         Company consultant who was, at
which lulled investors into complacency regarding [their                           the time, considered the Company
investment]. The mailings furthered the fraud ....”).                              spokesperson. Without the knowledge
                                                                                   of the Company and in contravention
Plaintiffs do not otherwise meaningfully refute the district                       of the express provisions of both
court's analysis; instead, they assert that it failed to account                   the Company's Bylaws and the
for their allegations pertaining to sections (a) and (c) of Rule                   controlling Nevada Revised Statutes,
10b-5, which they refer to as “scheme liability.” But the                          this Company consultant purportedly
allegations that the district court deemed insufficient are the                    solicited investment funds from
same that underpin Plaintiffs’ theory of “scheme liability.”                       various persons, who at the time,
Accordingly, Plaintiffs’ legal theories do not disturb the                         were independent contractors of the
district court's analysis.                                                         Company.... The Company believes
                                                                                   that it is probable that these actions
                                                                                   have resulted in a material loss to the
            b. Consideration of the SEC Filing                                     investing parties and is evaluating the
                                                                                   potential exposure of these events to
 *8 Plaintiffs assert that the district court erroneously failed                   the Company.
to consider an SEC filing that was attached to their Amended
Complaint (“Exhibit M”).
                                                                      The Amended Complaint alleges that, upon information
“[A] district court ‘must consider the complaint in its entirety,     and belief, this company consultant was Oblon.
as well as other sources courts ordinarily examine when ruling        According to Plaintiffs, both of these passages sufficiently
on Rule 12(b)(6) motions to dismiss, in particular, documents         allege Defendants’ scienter and amount to a “public
incorporated into the complaint by reference, and matters of          acknowledgment of fraud.”
which a court may take judicial notice.’ ” Funk v. Stryker
Corp., 631 F.3d 777, 783 (5th Cir. 2011) (quoting Tellabs, 551        We disagree. The cited passages from Exhibit M contain
U.S. at 322).                                                         no ostensible fraudulent activity. And even assuming that
                                                                      they do, it is not apparent that they are in any way related
Exhibit M is a Form 10-Q that Sharing Services filed with the         to the Note or Stock Schemes. The Amended Complaint is
SEC in December 2019 summarizing the firm's performance               likewise devoid of any well-pleaded allegations connecting
for the third quarter of that year. Plaintiffs point to two           these events to the Note or Stock Schemes. There was thus



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no need for the district court to discuss Exhibit M or its
                                                                       The note purchase agreements were signed more than four
citations in the Amended Complaint because, without more,
                                                                       years before filing the Complaint, which was thus filed
it is wholly irrelevant to Plaintiffs’ claims. 3
                                                                       after the statute of limitations had already run. Plaintiffs
                                                                       argue, however, that the discovery rule tolled the statute of
3       Plaintiffs argue that the district court was also              limitations because they “learned of previously unknown ...
        required to take judicial notice of Exhibit M due to           facts” just “days before filing suit.” Specifically, they point
        it being an SEC filing. See Basic Cap. Mgmt., Inc. v.          to a demand letter attached to the Amended Complaint that
        Dynex Cap., Inc., 976 F.3d 585, 589 (5th Cir. 2020)            was sent to Brock in December 2020 shortly before the
        (approving of a district court taking judicial notice          Complaint was filed. But Plaintiffs fail to identify which
        of a Form 10-K filed with the SEC on a motion                  relevant facts they became aware of within four years of
        to dismiss). A full analysis of this issue would               filing the Complaint, including those facts they first learned
        be redundant considering that Exhibit M was both               upon receipt of the demand letter. Plaintiffs must provide
        explicitly cited in and incorporated by reference              well-pleaded facts in support of their claims, including an
        into the Amended Complaint, and our reasoning                  invocation of the discovery rule; a failure to do so deprives
        above would be equally applicable regardless.                  the defense of fair notice and, relatedly, an opportunity to
 *9 Accordingly, the district court did not err in dismissing          respond. See Woods v. William M. Mercer, Inc., 769 S.W.2d
the federal securities fraud claims in the Second Dismissal            515, 518 (Tex. 1988) (“A defendant who has established
Order.                                                                 that the suit is barred cannot be expected to anticipate
                                                                       the plaintiff's defenses to that bar.”). Furthermore, it is not
                                                                       apparent that any of the facts discussed in the demand letter
                                                                       are related to the Note Scheme. Therefore, the district court
    2. State Fraud Claims Relating to the Note Scheme                  did not err in dismissing the state fraud claims regarding the
                                                                       Note Scheme pursuant to the applicable statute of limitations.
Plaintiffs dispute the district court's dismissal of their state
fraud claims relating to the Note Scheme due to the applicable
statute of limitations.
                                                                                              III. Conclusion
The statute of limitations for fraud claims in Texas is four
years. TEX. CIV. PRAC. & REM. CODE ANN. § 16.004(a)                    Having found no error in the district court's rulings, the
(4). Under the discovery rule exception to the statute of              judgments are AFFIRMED.
limitations, accrual of a cause of action is deferred “until
the plaintiff knew or, exercising reasonable diligence, should
                                                                       All Citations
have known of the facts giving rise to the cause of action.”
Berry v. Berry, 646 S.W.3d 516, 524 (Tex. 2022) (quoting               Not Reported in Fed. Rptr., 2023 WL 4532803
Comput. Assocs. Int'l, Inc. v. Altai, Inc., 918 S.W.2d 453, 455
(Tex. 1996)).

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                                                                     [5] allegedly materially false and misleading statements
                   2024 WL 4285900                                   by company's officers that company's “unique” properties
      Only the Westlaw citation is currently available.              of pharmaceutical product differentiated it from existing
       United States District Court, D. New Jersey.                  available products did not support claim for securities fraud;

          Vincent DANG, et al., Plaintiffs,                          [6] allegedly materially false and misleading statements by
                      v.                                             company's officers regarding company's financial prospects
    AMARIN CORPORATION PLC, et al., Defendants.                      did not support claim for securities fraud; and

            Civil Action No. 21-19212 (RK) (TJB)                     [7] investors' allegations that officers were focused on product
                               |                                     and on winning patent infringement litigation did not carry
                  Signed September 25, 2024                          inference that officers knew or recklessly disregarded patents'
                                                                     vulnerabilities and thus did not support strong inference of
Synopsis                                                             scienter.
Background: Investors brought consolidated putative class
action on behalf of themselves and all others similarly situated
against pharmaceutical company and three of its officers             Motion granted.
under Securities Exchange Act of 1934, alleging company
and officers made material misstatements or omissions about          Procedural Posture(s): Motion to Dismiss for Failure to
company's pharmaceutical product, development in product-            State a Claim.
related patent litigation, and company's financial prospects.
Company and officers filed motion to dismiss for failure to
                                                                      West Headnotes (73)
state a claim.

                                                                      [1]     Federal Civil Procedure         Insufficiency in
                                                                              general
Holdings: The District Court, Robert Kirsch, J., held that:
                                                                              To survive a motion to dismiss for failure to state
[1] allegedly materially false and misleading statements by                   a claim, a pleading's factual allegations must
company and officers expressing belief about strength of                      be enough to raise a right to relief above the
company's patents did not support claim for securities fraud;                 speculative level. Fed. R. Civ. P. 12(b)(6).


[2] investors' allegations that company only received patents
due to withholding of material information concerning the             [2]     Federal Civil Procedure         Fraud, mistake
relevant prior art from the United States Patent and Trademark                and condition of mind
Office (USPTO) did not support claim for securities fraud;                    A complaint alleging fraud claims is subject to
                                                                              a heightened pleading standard under Federal
[3] allegedly materially false and misleading statements and                  Rule of Civil Procedure applicable to such
omissions by company and officers expressing belief about                     claims, independent of the standard applicable to
strength of company's patent were brought under safe harbor                   motions to dismiss for failure to state a claim.
under Private Securities Litigation Reform Act (PSLRA) by                     Fed. R. Civ. P. 9(b), 12(b)(6).
cautionary warnings;

[4] allegedly materially false and misleading statements by
                                                                      [3]     Federal Civil Procedure         Fraud, mistake
company and officers that pharmaceutical product made
                                                                              and condition of mind
by company were “the single most significant advance”
                                                                              A party alleging fraud must support its
in preventative cardiovascular care and that study results
                                                                              allegations with the who, what, when, where and
showed a “new paradigm in treatment” did not support
                                                                              how of the events at issue in order to comply with
securities fraud claim;
                                                                              heightened pleading standard under Federal Rule



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         of Civil Procedure applicable to fraud claims.                   Exchange Act of 1934 § 21D, 15 U.S.C.A. §
         Fed. R. Civ. P. 9(b).                                            78u-4 et seq.



 [4]     Federal Civil Procedure          Fraud, mistake           [8]    Federal Civil Procedure          Matters
         and condition of mind                                            considered in general
         Heightened pleading standard required under                      Summary Judgment             Motion to dismiss
         Federal Rule of Civil Procedure applicable to                    While a district court may normally not
         fraud claims ensures that defendants are placed                  consider matters extraneous to the pleadings
         on notice of the precise misconduct with which                   at the motion-to-dismiss stage, it may rely on
         they are charged and safeguards defendants                       documents that are integral to or explicitly relied
         against spurious charges of fraud. Fed. R. Civ. P.               upon in the complaint without converting the
         9(b).                                                            motion into one for summary judgment. Fed. R.
                                                                          Civ. P. 12(b)(6).

 [5]     Federal Civil Procedure          Fraud, mistake
         and condition of mind                                     [9]    Federal Civil Procedure          Matters
         The heightened pleading standard required under                  considered in general
         Federal Rule of Civil Procedure applicable to                    Whether matters extraneous to the pleadings may
         fraud claims is rigorously applied in securities                 be considered at the motion-to-dismiss stage
         fraud cases. Securities Exchange Act of 1934 §§                  turns on whether the claims in the complaint are
         10, 20, 20A, 15 U.S.C.A. §§ 78j(b), 78t(a), 78t-1;               based on an extrinsic document and not merely
         17 C.F.R. § 240.10b-5; Fed. R. Civ. P. 9(b).                     whether the extrinsic document was explicitly
                                                                          cited. Fed. R. Civ. P. 12(b)(6).

 [6]     Securities Regulation        Pleading
         Plaintiffs alleging securities fraud pursuant to          [10]   Federal Civil Procedure          Matters
         the Securities Exchange Act of 1934 must                         considered in general
         also comply with the heightened pleading                         The purpose of the rule that documents that
         requirements of the Private Securities Litigation                are integral to or explicitly relied upon in the
         Reform Act (PSLRA), which imposes another                        complaint may be considered by a district court
         layer of factual particularity to allegations of                 at the motion-to-dismiss stage is to prevent a
         securities fraud. Securities Exchange Act of                     plaintiff from maintaining a claim of fraud by
         1934 §§ 10, 20, 20A, 21D, 15 U.S.C.A. §§                         extracting an isolated statement from a document
         78j(b), 78t(a), 78t-1, 78u-4 et seq.; 17 C.F.R. §                and placing it in the complaint, even though if the
         240.10b-5.                                                       statement were examined in the full context of
                                                                          the document, it would be clear that the statement
                                                                          was not fraudulent. Fed. R. Civ. P. 12(b)(6).
 [7]     Securities Regulation        Pleading
         Securities Regulation        Scienter
         To allege fraud under the Private Securities              [11]   Evidence       As establishing truth of facts or
         Litigation Reform Act (PSLRA), a plaintiff                       matters noticed in general
         must state with particularity both the facts                     It is improper for a district court to take judicial
         constituting the alleged violation, and the facts                notice of the veracity and validity of a public
         evidencing scienter, i.e., the defendant's intention             document's contents when the parties dispute the
         ‘to deceive, manipulate, or defraud. Securities                  meaning and truth of the contents. Fed. R. Evid.
                                                                          201(b).



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                                                                       before United States Patent and Trademark
                                                                       Office (USPTO), including forms filed by
 [12]   Federal Civil Procedure        Matters                         company during patent application process,
        considered in general                                          examiner's rejections of application, and
                                                                       company's submissions in response, and
        Only in the clearest of cases should a district
                                                                       documents were integral to complaint's claim
        court reach outside the pleadings for facts
                                                                       that company and officers concealed a study
        necessary to resolve a case at the motion-to-
                                                                       from USPTO. Securities Exchange Act of 1934
        dismiss stage. Fed. R. Civ. P. 12(b)(6); Fed. R.
                                                                       §§ 10, 20, 20A, 21D, 15 U.S.C.A. §§ 78j(b),
        Evid. 201(b).
                                                                       78t(a), 78t-1, 78u-4 et seq.; 17 C.F.R. §
                                                                       240.10b-5; Fed. R. Evid. 201(b).

 [13]   Evidence       Securities                                      More cases on this issue
        Court would take judicial notice of SEC filings
        that were filed prior to the class period in
                                                                [15]   Evidence       Notice not taken
        putative class action against pharmaceutical
                                                                       Court would not take judicial notice of two
        company and three of its officers under Securities
                                                                       documents from patent infringement litigation
        Exchange Act of 1934, alleging company
                                                                       in putative class action against pharmaceutical
        and officers made material misstatements or
                                                                       company and three of its officers under Securities
        omissions about company's pharmaceutical
                                                                       Exchange Act of 1934, alleging company
        product, development in product-related patent
                                                                       and officers made material misstatements or
        litigation, and company's financial prospects;
                                                                       omissions about company's pharmaceutical
        amended complaint heavily discussed conduct
                                                                       product, development in product-related patent
        of company and officers that took place
                                                                       litigation, and company's financial prospects,
        prior to class period to support its allegations
                                                                       although investors argued that company and
        that statements by company and officers
                                                                       officers used documents to make inappropriate
        were misleading, disclosures in challenged
                                                                       merits-based argument and factual assertions; a
        SEC filings were relevant, and court could
                                                                       review of company's and officers' brief showed
        take judicial notice of them for purpose of
                                                                       that one document was not mentioned in the
        establishing that disclosures they contained were
                                                                       argument at all, and the other document was only
        publicly available. Securities Exchange Act of
                                                                       mentioned in a final footnote listing arguments
        1934 §§ 10, 20, 20A, 21D, 15 U.S.C.A. §§
                                                                       not made. Securities Exchange Act of 1934 §§
        78j(b), 78t(a), 78t-1, 78u-4 et seq.; 17 C.F.R. §
                                                                       10, 20, 20A, 21D, 15 U.S.C.A. §§ 78j(b), 78t(a),
        240.10b-5; Fed. R. Evid. 201(b).
                                                                       78t-1, 78u-4 et seq.; 17 C.F.R. § 240.10b-5; Fed.
        More cases on this issue                                       R. Evid. 201(b).

                                                                       More cases on this issue
 [14]   Evidence       Issuance and registration of
        copyrights, patents, and trademarks
                                                                [16]   Evidence       Securities
        Court would take judicial notice of documents
                                                                       Court would not take judicial notice of fifteen
        from company's patent prosecution proceedings
                                                                       publicly-available reports from market analysis
        in putative class action against pharmaceutical
                                                                       regarding status of patent infringement litigation
        company and three of its officers under Securities
                                                                       and analysts' investment recommendations
        Exchange Act of 1934, alleging company
                                                                       regarding company's pharmaceutical product in
        and officers made material misstatements or
                                                                       putative class action against pharmaceutical
        omissions about company's pharmaceutical
                                                                       company and three of its officers under Securities
        product, development in product-related patent
                                                                       Exchange Act of 1934, alleging company
        litigation, and company's financial prospects;
                                                                       and officers made material misstatements or
        complaint extensively discussed proceedings



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        omissions about company's pharmaceutical                        made material misstatements or omissions
        product, development in product-related patent                  about company's pharmaceutical product,
        litigation, and company's financial prospects;                  development in product-related patent litigation,
        company and officers appeared to rely on                        and company's financial prospects, although
        documents for truth of analysts' statements                     company and officers argued that because
        that company's litigation position was strong                   publicly filed forms referenced trading plans,
        and officers' statements about litigation were                  latter could be judicially noticed despite fact they
        reasonable. Securities Exchange Act of 1934 §§                  were not publicly filed; company and officers
        10, 20, 20A, 21D, 15 U.S.C.A. §§ 78j(b), 78t(a),                offered no authority suggesting that document
        78t-1, 78u-4 et seq.; 17 C.F.R. § 240.10b-5; Fed.               not publicly filed and not relied on in amended
        R. Evid. 201(b).                                                complaint could be judicially noticed. Securities
                                                                        Exchange Act of 1934 §§ 10, 20, 20A, 21D, 15
        More cases on this issue                                        U.S.C.A. §§ 78j(b), 78t(a), 78t-1, 78u-4 et seq.;
                                                                        17 C.F.R. § 240.10b-5; Fed. R. Evid. 201(b).
 [17]   Evidence       Issuance and registration of
                                                                        More cases on this issue
        copyrights, patents, and trademarks
        Court would take judicial notice of study,
        referenced by company in form submitted                  [19]   Evidence       Securities
        to United States Patent and Trademark                           A district court may take judicial notice
        Office (USPTO) as part of company's patent                      of properly-authenticated public disclosure
        application, in putative class action against                   documents filed with the United States Securities
        company and three of its officers under Securities              and Exchange Commission (SEC) because the
        Exchange Act of 1934, alleging company                          documents are required by law to be filed with
        and officers made material misstatements or                     the SEC, and no serious questions as to their
        omissions about company's pharmaceutical                        authenticity can exist. Fed. R. Evid. 201(b).
        product, development in product-related patent
        litigation, and company's financial prospects;
        study was integral to complaint, and investors'          [20]   Evidence      Matters referred to or
        claims were premised on company's and officers'                 incorporated by pleadings
        alleged concealment of study from USPTO by
                                                                        Court would take judicial notice of three
        allegedly burying it among hundreds of other
                                                                        annexes submitted by company and officers
        studies provided to patent examiner and then
                                                                        with their opposition brief that listed which
        allegedly failing to disclose this vulnerability in
                                                                        of company's and officers' statements they
        company's patent to investing public. Securities
                                                                        argued were not actionable misstatements or
        Exchange Act of 1934 §§ 10, 20, 20A, 21D, 15
                                                                        omissions in putative class action against
        U.S.C.A. §§ 78j(b), 78t(a), 78t-1, 78u-4 et seq.;
                                                                        company and three of its officers under Securities
        17 C.F.R. § 240.10b-5; Fed. R. Evid. 201(b).
                                                                        Exchange Act of 1934 alleging company
        More cases on this issue                                        and officers made material misstatements or
                                                                        omissions about company's pharmaceutical
                                                                        product, development in product-related patent
 [18]   Evidence       Securities                                       litigation, and company's financial prospects;
        Court would not take judicial notice of pre-                    those annexes were permissible organizational
        arranged trading plans adopted by senior                        tools, and given volume of statements relevant
        vice president and executive vice president                     to case by virtue of their inclusion in amended
        of company prior to class period in putative                    complaint, attempt by company and officers
        class action against company and three of                       to organize their arguments that applied to
        its officers under Securities Exchange Act                      some statements but not others was well taken.
        of 1934, alleging company and officers                          Securities Exchange Act of 1934 §§ 10, 20, 20A,



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        21D, 15 U.S.C.A. §§ 78j(b), 78t(a), 78t-1, 78u-4                authority to make them. Securities Exchange Act
        et seq.; 17 C.F.R. § 240.10b-5; Fed. R. Evid.                   of 1934 § 10, 15 U.S.C.A. § 78j(b); 17 C.F.R. §
        201(b).                                                         240.10b-5.

        More cases on this issue

                                                                 [24]   Securities Regulation       Materiality
 [21]   Evidence      Matters referred to or                            Securities Regulation       Materiality of
        incorporated by pleadings                                       violation
        Court would not take judicial notice of three                   To state a securities fraud claim under the
        annexes submitted by company and officers                       Securities Exchange Act of 1934, a plaintiff
        with their opposition brief in putative class                   must adequately allege that the defendant
        action against company and three of its                         made a material misrepresentation or omission.
        officers under Securities Exchange Act of                       Securities Exchange Act of 1934 § 10, 15
        1934 alleging company and officers made                         U.S.C.A. § 78j(b); 17 C.F.R. § 240.10b-5.
        material misstatements or omissions about
        company's pharmaceutical product, development
        in product-related patent litigation, and
                                                                 [25]   Securities Regulation       Materiality
        company's financial prospects; those annexes
                                                                        Securities Regulation       Materiality of
        contained information either not derived from
                                                                        violation
        exhibits submitted by company and officers or
        derived from exhibits court could not consider at               A statement or omission of fact is material
        that time. Securities Exchange Act of 1934 §§                   under the Securities Exchange Act of 1934
        10, 20, 20A, 21D, 15 U.S.C.A. §§ 78j(b), 78t(a),                if there is a substantial likelihood that the
        78t-1, 78u-4 et seq.; 17 C.F.R. § 240.10b-5; Fed.               disclosure of the omitted fact would have been
        R. Evid. 201(b).                                                viewed by the reasonable investor as having
                                                                        significantly altered the total mix of information
        More cases on this issue                                        made available. Securities Exchange Act of
                                                                        1934 § 10, 15 U.S.C.A. § 78j(b); 17 C.F.R. §
 [22]   Securities Regulation     Manipulative,                         240.10b-5.
        Deceptive or Fraudulent Conduct
        To survive a motion to dismiss, a plaintiff
                                                                 [26]   Securities Regulation       Misrepresentation
        bringing a securities fraud claim under the
        Securities Exchange Act of 1934 must allege:                    Securities Regulation       Matters to Be
        (1) a material misrepresentation or omission by                 Disclosed
        the defendant; (2) scienter; (3) a connection                   A statement or omission only gives rise to
        between the misrepresentations or omission and                  liability under the Securities Exchange Act of
        the purchase or sale of a security; (4) reliance                1934 if it was misleading at the time it was
        upon the misrepresentation or omission; (5)                     made; liability cannot be imposed on the basis
        economic loss; and (6) and causation. Securities                of subsequent events. Securities Exchange Act
        Exchange Act of 1934 § 10, 15 U.S.C.A. §                        of 1934 § 10, 15 U.S.C.A. § 78j(b); 17 C.F.R. §
        78j(b); 17 C.F.R. § 240.10b-5; Fed. R. Civ. P.                  240.10b-5.
        12(b)(6).


                                                                 [27]   Securities Regulation       Pleading
 [23]   Securities Regulation        Employers;                         The element of a material misrepresentation or
        respondeat superior                                             omission, as required to state a securities fraud
        In a securities fraud case, a corporation is liable             claim under the Securities Exchange Act of 1934,
        for statements by employees who have apparent                   is subject to the exacting pleading requirements



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        of the Private Securities Litigation Reform Act               Allegedly materially false and misleading
        (PSLRA). Securities Exchange Act of 1934 §§                   statements by company and officers expressing
        10, 21D, 15 U.S.C.A. §§ 78j(b), 78u-4(b)(1); 17               belief about strength of company's patents
        C.F.R. § 240.10b-5.                                           did not support claim for securities fraud in
                                                                      violation of Securities Exchange Act of 1934 in
                                                                      putative class action; statements that company
 [28]   Securities Regulation       Pleading                          believed litigation was going “very favorably,”
                                                                      that company was “vigorously” litigating its
        The purpose of the heightened pleading
                                                                      claims, that rulings “strengthened” its position,
        requirement of the Private Securities Litigation
                                                                      that its arguments were “persuasive,” that the
        Reform Act (PSLRA) is to ensure that
                                                                      litigation offered no “negative surprises,” and
        private securities actions do not become a
                                                                      that company had “a reasonable shot at winning”
        partial downside insurance policy against the
                                                                      put forward company's belief about strength
        vicissitudes of the market. Securities Exchange
                                                                      of its patents rather than asserting positive
        Act of 1934 §§ 10, 21D, 15 U.S.C.A. §§ 78j(b),
                                                                      knowledge about what outcome of litigation
        78u-4(b)(1); 17 C.F.R. § 240.10b-5.
                                                                      would be and clearly constituted opinions rather
                                                                      than statements of fact. Securities Exchange Act
                                                                      of 1934 § 10, 15 U.S.C.A. § 78j(b); 17 C.F.R. §
 [29]   Securities Regulation       Facts or opinions
                                                                      240.10b-5.
        Securities Regulation       Matters to Be
        Disclosed                                                     More cases on this issue
        The contours of what qualifies as an actionable
        misstatement are well articulated; an opinion is       [32]   Patents     Failure to disclose material
        actionable under the Securities Exchange Act                  information
        of 1934 if it (i) was not sincerely believed
                                                                      Securities Regulation       Facts or opinions
        when made; (ii) contains an expressly embedded,
                                                                      Opinions by company and officers expressing
        untrue factual assertion; or (iii) reasonably
                                                                      belief about strength of company's patents
        implies untrue facts and omits appropriate
                                                                      were not made in bad faith and thus did not
        qualifying language. Securities Exchange Act of
                                                                      support claims of securities fraud in violation of
        1934 § 10, 15 U.S.C.A. § 78j(b); 17 C.F.R. §
                                                                      Securities Exchange Act of 1934; rule providing
        240.10b-5.
                                                                      company owed duty of candor and good faith in
                                                                      dealing with United States Patent and Trademark
                                                                      Office (USPTO) required that company disclose
 [30]   Securities Regulation       Facts or opinions
                                                                      relevant information to examiner, company did
        In determining whether a plaintiff has adequately             so by submitting study on competing product
        alleged that defendant has made a material                    with its form to USPTO, investors failed to
        misrepresentation or omission, as required                    allege company ran afoul of rule by submitting
        to state a securities fraud claim under the                   study as one among several hundred documents
        Securities Exchange Act of 1934, a district court             filed with USPTO, they failed to allege bad
        must distinguish material representations from                faith or intentional misconduct, and disclosure of
        statements that constitute no more than puffery               hundreds of patents and publications is entirely
        and are understood by reasonable investors as                 consistent with company fulfilling its duty to
        such. Securities Exchange Act of 1934 § 10, 15                disclose. Securities Exchange Act of 1934 § 10,
        U.S.C.A. § 78j(b); 17 C.F.R. § 240.10b-5.                     15 U.S.C.A. § 78j(b); 17 C.F.R. § 240.10b-5.

                                                                      More cases on this issue
 [31]   Securities Regulation       Facts or opinions




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                                                                       Investors' allegations that company and officers
 [33]   Securities Regulation       Matters to Be                      knew that company's patents were issued in
        Disclosed                                                      error and that company would not succeed
        Investors' allegations that company only                       in its patent infringement litigation did not
        received patents for pharmaceutical product                    support claim for securities fraud in violation of
        because company and officers withheld material                 Securities Exchange Act of 1934 in putative class
        information concerning the relevant prior art                  action; investors failed to plead with particularity
        from the United States Patent and Trademark                    facts that demonstrated company's and officers'
        Office (USPTO) did not support claim for                       actual knowledge and failed to allege any
        securities fraud in violation of Securities                    confidential witness, internal document, or any
        Exchange Act of 1934 in putative class                         other contemporaneous source showing anyone
        action; investors pointed to nothing from                      within company at any point did not believe in
        patent infringement litigation to suggest patents'             the patents, let alone that study on competing
        invalidation was foregone conclusion over                      product would have been fatal to their patent if
        six years of litigation, and finding opinions                  it had been considered. Securities Exchange Act
        of company and officers actionable based                       of 1934 § 10, 15 U.S.C.A. § 78j(b); 17 C.F.R. §
        on bare fact that company ultimately lost                      240.10b-5; Fed. R. Civ. P. 9(b).
        patent infringement litigation would constitute
        impermissible fraud by hindsight. Securities                   More cases on this issue
        Exchange Act of 1934 § 10, 15 U.S.C.A. §
        78j(b); 17 C.F.R. § 240.10b-5.                          [36]   Securities Regulation        Forecasts,
                                                                       estimates, predictions or projections
        More cases on this issue
                                                                       Allegedly materially false and misleading
                                                                       statements and omissions by company and
 [34]   Securities Regulation       Matters to Be                      officers expressing belief about strength of
        Disclosed                                                      company's patents did not support claim for
        Investors' allegations that company only                       securities fraud in violation of Securities
        received patents for pharmaceutical product                    Exchange Act of 1934 in putative class action;
        because company and officers withheld material                 in same breath as language investors relied
        information concerning the relevant prior art                  on for their claims, company and officers
        from the United States Patent and Trademark                    also disclosed risks inherent in litigation and
        Office (USPTO) did not support claim for                       potential that patent would not be successful,
        securities fraud in violation of Securities                    cautionary statements were not limited to
        Exchange Act of 1934 in putative class                         generic disclosures buried in company's filings
        action; review of USPTO record revealed                        with United States Securities and Exchange
        strong indications that patent examiner reviewed               Commission (SEC), and statements referred
        submitted prior art, examiner stamped references               investors to their SEC disclosures which offered
        company submitted, including one listing                       standard warnings that company might not
        study on competing product, with phrase “all                   receive or be able to defend its patents. Securities
        references considered,” and his search notes                   Exchange Act of 1934 § 10, 15 U.S.C.A. §
        reflected he searched company's submissions for                78j(b); 17 C.F.R. § 240.10b-5.
        name of drug administered in and discussed by
        study. Securities Exchange Act of 1934 § 10, 15                More cases on this issue
        U.S.C.A. § 78j(b); 17 C.F.R. § 240.10b-5.
                                                                [37]   Securities Regulation        Forecasts,
        More cases on this issue
                                                                       estimates, predictions or projections
                                                                       Allegedly materially false and misleading
 [35]   Securities Regulation       Scienter                           statements and omissions by company and



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        officers expressing belief about strength of                   officers expressing belief about strength of
        company's patent were brought under safe harbor                company's patents did not support claim for
        under Private Securities Litigation Reform Act                 securities fraud in violation of Securities
        (PSLRA) by cautionary warnings and thus did                    Exchange Act of 1934 in putative class action;
        not subject company to liability for securities                investors failed to sufficiently allege company
        fraud in putative class action brought under                   and investors lacked a reasonable basis for their
        Securities Exchange Act of 1934; each of                       opinions and thus failed to sufficiently allege
        the alleged statements was a forward-looking                   company and investors had actual knowledge
        statement, addressing company's intent to defend               that their statements were false or misleading.
        its patents, its belief or hope for how litigation             Securities Exchange Act of 1934 § 10, 15
        would proceed, and its belief as to whether                    U.S.C.A. § 78j(b); 17 C.F.R. § 240.10b-5.
        it would succeed in litigation and on appeal,
        and each alleged statement was accompanied                     More cases on this issue
        with meaningful, specific warnings disclosing
        specific risks. Securities Exchange Act of 1934         [41]   Securities Regulation       Facts or opinions
        §§ 10, 21E, 15 U.S.C.A. §§ 78j(b), 78u-5(c); 17
                                                                       Allegedly materially false and misleading
        C.F.R. § 240.10b-5.
                                                                       statements by company and officers that
        More cases on this issue                                       pharmaceutical product made by company
                                                                       was “the single most significant advance” in
                                                                       preventative cardiovascular care and that study
 [38]   Securities Regulation        Forecasts,                        results showed a “new paradigm in treatment”
        estimates, predictions or projections                          did not support securities fraud claim under
        The safe harbor for forward-looking statements                 Securities Exchange Act of 1934 in putative class
        under the Private Securities Litigation                        action; statements were inactionable puffery.
        Reform Act (PSLRA) overlaps with the                           Securities Exchange Act of 1934 § 10, 15
        “bespeaks caution” doctrine, under which                       U.S.C.A. § 78j(b); 17 C.F.R. § 240.10b-5.
        cautionary language, if sufficient, renders
        the alleged forward-looking omissions or                       More cases on this issue
        misrepresentations immaterial as a matter of law.
        Securities Exchange Act of 1934 § 21E, 15               [42]   Securities Regulation       Facts or opinions
        U.S.C.A. § 78u-5(i)(1).
                                                                       Vague and general statements of optimism
                                                                       constitute no more than “puffery” and are
                                                                       understood by reasonable investors as such; such
 [39]   Securities Regulation        Forecasts,                        statements, even if arguably misleading, do not
        estimates, predictions or projections                          give rise to a federal securities claim under the
        Under both the Private Securities Litigation                   Securities Exchange Act of 1934 because they
        Reform Act (PSLRA) and the bespeaks caution                    are not material. Securities Exchange Act of
        doctrine, cautionary language must be extensive,               1934 § 10, 15 U.S.C.A. § 78j(b); 17 C.F.R. §
        specific, and directly related to the alleged                  240.10b-5.
        misrepresentation in order to render alleged
        forward-looking misrepresentation immaterial
        as a matter of law. Securities Exchange Act of          [43]   Securities Regulation       Facts or opinions
        1934 § 21E, 15 U.S.C.A. § 78u-5(i)(1).
                                                                       Statements that a drug product is “unique,” “far
                                                                       superior” to other generic drugs, should do “very
                                                                       well” and will be “well received” are puffery
 [40]   Securities Regulation       Facts or opinions                  and thus do not give rise to a federal securities
        Allegedly materially false and misleading                      claim under the Securities Exchange Act of 1934
        statements and omissions by company and                        because they are not the kind of statements



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        that a reasonable investor would have relied                     of 1934 § 10, 15 U.S.C.A. § 78j(b); 17 C.F.R. §
        upon. Securities Exchange Act of 1934 § 10, 15                   240.10b-5.
        U.S.C.A. § 78j(b); 17 C.F.R. § 240.10b-5.
                                                                         More cases on this issue


 [44]   Securities Regulation        Misrepresentation            [46]   Securities Regulation       Misrepresentation
        Statements by company's officers that company's                  Allegedly false and misleading statements
        “unique” properties of pharmaceutical product                    by company's officers that company's
        differentiated it from existing available products,              “unique” properties of pharmaceutical product
        allegedly materially false and misleading                        differentiated it from existing available products
        because only reason product received patents in                  in reducing likelihood of cardiovascular events
        first place was that company allegedly withheld                  did not support securities fraud claim under
        material information from United States Patent                   Securities Exchange Act of 1934 in putative
        and Trade Office (USPTO) examiner, did not                       class action; company sought and eventually
        support claim for securities fraud in violation of               received patent protection for product based
        Securities Exchange Act of 1934 in putative class                on results of trial showing that company's
        action; investors failed to plead with particularity             pharmaceutical product showed reduction in
        facts demonstrating that officers did not honestly               triglycerides, and decision in patent infringement
        believe or lacked a reasonable basis to believe                  litigation did not render those statements false
        patents would be upheld, and statements that                     as it did not touch on product's qualities or
        product was unique were opinions which                           characteristics for reducing cardiovascular risk.
        company and officers had reasonable belief to                    Securities Exchange Act of 1934 § 10, 15
        express. Securities Exchange Act of 1934 § 10,                   U.S.C.A. § 78j(b); 17 C.F.R. § 240.10b-5.
        15 U.S.C.A. § 78j(b); 17 C.F.R. § 240.10b-5;
        Fed. R. Civ. P. 9(b).                                            More cases on this issue

        More cases on this issue
                                                                  [47]   Securities Regulation       Misrepresentation
                                                                         Investors' allegations that company did not
 [45]   Securities Regulation        Matters to Be                       invent purified ingredient in pharmaceutical
        Disclosed                                                        product or discover any of its medical
        Statements by company's officers that company's                  characteristics did not support claim for
        “unique” properties of pharmaceutical product                    securities fraud in violation of Securities
        differentiated it from existing available products,              Exchange Act of 1934 in putative class action;
        allegedly materially false and misleading due                    investors failed to cite to any statements by
        to company's knowledge that product's positive                   company or its employees suggesting that
        effects were not unexpected given results of                     they invented ingredient or discovered its
        study on competing product made of same                          medical characteristics, and allegations failed
        fatty acid extracted from fish, did not support                  to identify anything materially misleading.
        securities fraud claim under Securities Exchange                 Securities Exchange Act of 1934 § 10, 15
        Act of 1934 in putative class action; claim                      U.S.C.A. § 78j(b); 17 C.F.R. § 240.10b-5.
        that company concealed study from USPTO
        by burying it in reference list of prior art                     More cases on this issue
        was unsupported by any particular allegations,
        and claim that company concealed two other                [48]   Securities Regulation       Misrepresentation
        studies was contradicted by fact that they were
                                                                         Allegedly materially false and misleading
        public knowledge and admittedly disclosed by
                                                                         statements by company's officers that
        company and officers. Securities Exchange Act
                                                                         publications showed that the clinical effects
                                                                         of the active ingredient in company's



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        pharmaceutical product were unique did not                     Allegedly false and misleading statements by
        support securities fraud claim under Securities                company and its officers about company's
        Exchange Act of 1934 in putative class action;                 financial prospects based on results of trial
        complaint alleged statement was false in that                  showing use of product reduced likelihood of
        product was not unique, but statement referred                 cardiovascular events did not support securities
        to compound product contained in product rather                fraud claim under Securities Exchange Act of
        than to product itself. Securities Exchange Act                1934 in putative class action; investors failed
        of 1934 § 10, 15 U.S.C.A. § 78j(b); 17 C.F.R. §                to allege any facts supporting assertion that
        240.10b-5.                                                     company and officers understood company's
                                                                       patents could not withstand scrutiny of litigation,
        More cases on this issue                                       mere existence of study on competing product
                                                                       was insufficient to plead they had such
 [49]   Securities Regulation       Materiality of                     knowledge and was not risk they were required
        violation                                                      to disclose to investing public, and while
                                                                       projections were predicated on company's ability
        In determining whether a statement was
                                                                       to maintain its patents, that risk was disclosed
        materially false and misleading as required to
                                                                       in SEC filings and concurrently with cited
        state a securities fraud claim under Securities
                                                                       statements in complaint. Securities Exchange
        Exchange Act of 1934, a district court must read
                                                                       Act of 1934 § 10, 15 U.S.C.A. § 78j(b); 17 C.F.R.
        the alleged misstatements in the context in which
                                                                       § 240.10b-5; Fed. R. Civ. P. 9(b).
        they were made. Securities Exchange Act of
        1934 § 10, 15 U.S.C.A. § 78j(b); 17 C.F.R. §                   More cases on this issue
        240.10b-5.

                                                                [52]   Securities Regulation        Facts or opinions
 [50]   Securities Regulation       Facts or opinions                  Securities Regulation        Matters to Be
                                                                       Disclosed
        Allegedly materially false and misleading
        statements by company's officers regarding                     Whether a plaintiff has alleged securities fraud
        company's financial prospects based on results                 under Securities Exchange Act of 1934 turns
        of trial showing that use of product reduced                   on whether he has adequately alleged that an
        likelihood of cardiovascular events did not                    opinion (i) was not sincerely believed when
        support securities fraud claim under Securities                made; (ii) contains an expressly embedded,
        Exchange Act of 1934 in putative class action;                 untrue factual assertion; or (iii) reasonably
        challenged statements all expressed company's                  implies untrue facts and omits appropriate
        and officer's belief in scope of product's success             qualifying language. Securities Exchange Act of
        in light of trial's results, investors' arguments              1934 § 10, 15 U.S.C.A. § 78j(b); 17 C.F.R. §
        tied back to claim that company failed to                      240.10b-5.
        disclose it could lose patent protection which
        was, in turn, based on unsubstantiated claim
        that undisclosed study on competing product             [53]   Securities Regulation        Scienter
        was fatal to company's patent claim, and                       To survive dismissal of a securities fraud claim
        challenged statements were all inactionable                    under the Securities Exchange Act of 1934, a
        opinions. Securities Exchange Act of 1934 § 10,                plaintiff must also adequately plead “scienter,”
        15 U.S.C.A. § 78j(b); 17 C.F.R. § 240.10b-5.                   which is the defendant's intention to deceive,
                                                                       manipulate, or defraud, requiring a knowing or
        More cases on this issue
                                                                       reckless state of mind. Securities Exchange Act
                                                                       of 1934 §§ 10, 21E, 15 U.S.C.A. §§ 78j(b),
 [51]   Securities Regulation       Matters to Be                      78u-5(c); 17 C.F.R. § 240.10b-5.
        Disclosed



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                                                                         Securities Litigation Reform Act (PSLRA) is one
 [54]   Securities Regulation        Scienter                            involving not merely simple or even inexcusable
        The particularity standard for pleading scienter                 negligence, but an extreme departure from the
        under the Private Securities Litigation Reform                   standards of ordinary care, and which presents
        Act (PSLRA) is met only if a reasonable person                   a danger of misleading buyers or sellers that is
        would deem the inference of scienter cogent and                  either known to the defendant or is so obvious
        at least as compelling as any opposing inference                 that the actor must have been aware of it.
        one could draw from the facts alleged. Securities                Securities Exchange Act of 1934 § 21D, 15
        Exchange Act of 1934 § 21D, 15 U.S.C.A. §                        U.S.C.A. § 78u-4(b)(2).
        78u-4(b)(2).
                                                                         1 Case that cites this headnote


 [55]   Securities Regulation        Scienter                     [59]   Securities Regulation        Scienter
        In evaluating whether the particularity standard                 Investors' allegations that officers were
        for pleading scienter under the Private Securities               focused on product and on winning patent
        Litigation Reform Act (PSLRA) is met, a                          infringement litigation did not carry inference
        district court conducts its analysis holistically to             that officers knew or recklessly disregarded
        determine whether the complaint's allegations,                   patents' vulnerabilities and thus did not support
        taken collectively, give rise to a strong                        strong inference of scienter in putative class
        inference of scienter, not whether any individual                action alleging securities fraud under Securities
        allegation, scrutinized in isolation, meets that                 Exchange Act of 1934; decision on importance
        standard. Securities Exchange Act of 1934 §                      of study on competing product, whether to
        21D, 15 U.S.C.A. § 78u-4(b)(2).                                  submit it to United States Patent & Trademark
                                                                         Office (USPTO), and whether to separately raise
                                                                         it in communications with patent examiner were
 [56]   Securities Regulation        Scienter                            granular details within broader context of patent
        Omissions and ambiguities count against                          litigation, and investors offered no particularized
        inferring scienter when district court evaluates                 allegations that officers were ever asked about
        whether particularity standard for pleading                      study or involved in any decisions about how to
        scienter under the Private Securities Litigation                 use it in patent prosecution. Securities Exchange
        Reform Act (PSLRA) is met. Securities                            Act of 1934 §§ 10, 21E, 15 U.S.C.A. §§ 78j(b),
        Exchange Act of 1934 § 21D, 15 U.S.C.A. §                        78u-5(c); 17 C.F.R. § 240.10b-5.
        78u-4(b)(2).
                                                                         More cases on this issue


 [57]   Securities Regulation        Scienter                     [60]   Securities Regulation        Scienter

        “Conscious misbehavior” that would support                       Under the “core operations” doctrine,
        a strong inference of scienter under Private                     misstatements and omissions made on core
        Securities Litigation Reform Act (PSLRA)                         matters of central importance to the company
        involves intentional fraud or other deliberate                   and its high-level executives give rise to an
        illegal behavior. Securities Exchange Act of                     inference of scienter under Private Securities
        1934 § 21D, 15 U.S.C.A. § 78u-4(b)(2).                           Litigation Reform Act (PSLRA) when taken
                                                                         together with additional allegations connecting
        1 Case that cites this headnote                                  the executives’ positions to their knowledge.
                                                                         Securities Exchange Act of 1934 §§ 10, 21E,
                                                                         15 U.S.C.A. §§ 78j(b), 78u-5(c); 17 C.F.R. §
 [58]   Securities Regulation        Scienter
                                                                         240.10b-5.
        A “reckless” statement that would support
        a strong inference of scienter under Private


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 [61]   Securities Regulation       Scienter                   [64]   Securities Regulation        Scienter
        The core operations doctrine is insufficient                  While motive and opportunity do not offer
        by itself to establish scienter under Private                 an independent route to scienter, particularized
        Securities Litigation Reform Act (PSLRA) but                  allegations regarding motive and opportunity
        should be taken into consideration when viewing               may, in combination with other allegations,
        the entirety of a complaint's allegations of                  support a strong inference of scienter under
        securities fraud under the Securities Exchange                Private Securities Litigation Reform Act
        Act of 1934. Securities Exchange Act of 1934                  (PSLRA). Securities Exchange Act of 1934 §§
        §§ 10, 21E, 15 U.S.C.A. §§ 78j(b), 78u-5(c); 17               10, 21E, 15 U.S.C.A. §§ 78j(b), 78u-5(c); 17
        C.F.R. § 240.10b-5.                                           C.F.R. § 240.10b-5.



 [62]   Securities Regulation    Scienter, Intent,             [65]   Securities Regulation        Scienter
        Knowledge, Negligence or Recklessness                         Although a district court will not infer fraudulent
        The core operations doctrine does not permit                  intent from the mere fact that some officers sold
        imputing the requisite scienter under the Private             stock, if the stock sales were unusual in scope
        Securities Litigation Reform Act (PSLRA)                      or timing, they may support an inference of
        regarding any statement made within a broad                   scienter under the Private Securities Litigation
        perimeter of the relevant core operations to an               Reform Act (PSLRA); whether a sale is unusual
        executive. Securities Exchange Act of 1934 §§                 in scope depends on factors such as the amount
        10, 21E, 15 U.S.C.A. §§ 78j(b), 78u-5(c); 17                  of profit made, the amount of stock traded, the
        C.F.R. § 240.10b-5.                                           portion of stockholdings sold, or the number of
                                                                      insiders involved, as well as whether the sales
                                                                      were normal and routine, and whether the profits
 [63]   Securities Regulation       Scienter                          were substantial relative to the seller's ordinary
                                                                      compensation. Securities Exchange Act of 1934
        Investors' allegations regarding departures from
                                                                      §§ 10, 21E, 15 U.S.C.A. §§ 78j(b), 78u-5(c); 17
        company by president and executive vice
                                                                      C.F.R. § 240.10b-5.
        president did not support strong inference
        of scienter in putative class action alleging
        securities fraud under Securities Exchange
        Act of 1934, although officers both left               [66]   Securities Regulation        Scienter
        company seven months after court of appeals                   Investors' allegations regarding stock sales by
        affirmed decision invalidating product's patents;             president, senior vice president, and executive
        complaint did not allege departures were either               vice president supported a weak inference
        contemporaneous with announcement of bad                      of scienter in putative class action alleging
        news or accompanied by any punishment, loss                   securities fraud under Securities Exchange Act
        in patent infringement litigation did not reveal              of 1934; value of stock that officers sold was
        any wrongdoing by company or officers, such                   over $83 million, a significant amount, size of
        as concealment of study on competing product                  sales in comparison to officers' holdings was
        or suspicion patents were invalid, and district               unusual, senior vice president and executive
        court's decision citing study was issued over                 vice president sold significant portions of
        one year before officers' departures. Securities              their holdings on the day results of trial
        Exchange Act of 1934 §§ 10, 21E, 15 U.S.C.A.                  demonstrating product's reduction in likelihood
        §§ 78j(b), 78u-5(c); 17 C.F.R. § 240.10b-5.                   of cardiovascular events was announced, and
                                                                      president and executive vice president had not
        More cases on this issue                                      sold any stock in two years prior to that day.
                                                                      Securities Exchange Act of 1934 §§ 10, 21E,



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        15 U.S.C.A. §§ 78j(b), 78u-5(c); 17 C.F.R. §
        240.10b-5.                                                [69]   Securities Regulation       Scienter
                                                                         Trades of stock made under automatic trading
        More cases on this issue                                         plans, consistent with terms of rule providing
                                                                         way for insiders of publicly-traded corporations
 [67]   Securities Regulation        Scienter                            to buy or sell company stock without
                                                                         violating insider trading laws, are of minimal
        Circumstances surrounding stock sales by
                                                                         value in establishing an inference of scienter
        president, senior vice president, and executive
                                                                         under Private Securities Litigation Reform Act
        vice president mitigated suspiciousness of sales
                                                                         (PSLRA). Securities Exchange Act of 1934 §§
        and lessened inference of scienter in putative
                                                                         10, 21E, 15 U.S.C.A. §§ 78j(b), 78u-5(c); 17
        class action alleging securities fraud under
                                                                         C.F.R. § 240.10b-5.
        Securities Exchange Act of 1934; class period
        stretched 31 months, executive stock sales
        following rise in stock price was not unexpected,
        president, who made vast majority of challenged           [70]   Securities Regulation       Scienter
        statements, did not sell any stock on day                        A plaintiff cannot sidestep automatic trading
        results of trial demonstrating product's reduction               plans, made under rule providing way for
        in likelihood of cardiovascular events were                      insiders of publicly-traded corporations to
        announced, and significant portion of alleged                    buy or sell company stock without violating
        suspicious sales and almost entirety of senior                   insider trading laws, by conclusory allegations
        vice president's and executive vice president's                  of strategic use of the plans in order to
        sales were of officers' stock options that vested as             lessen inference of scienter in putative class
        intended part of overall compensation package.                   action alleging securities fraud under Securities
        Securities Exchange Act of 1934 §§ 10, 21E,                      Exchange Act of 1934. Securities Exchange Act
        15 U.S.C.A. §§ 78j(b), 78u-5(c); 17 C.F.R. §                     of 1934 §§ 10, 21E, 15 U.S.C.A. §§ 78j(b),
        240.10b-5.                                                       78u-5(c); 17 C.F.R. § 240.10b-5.

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                                                                  [71]   Securities Regulation       Scienter
 [68]   Securities Regulation        Scienter                            Investors' allegations that company and officers
        Circumstances surrounding stock sales by                         bet company on receiving and maintaining patent
        president, senior vice president, and executive                  protection when they allegedly knew patents
        vice president mitigated suspiciousness of sales                 could be undone by consideration of single study
        and lessened inference of scienter in putative                   they allegedly failed to disclose was implausible
        class action alleging securities fraud under                     and thus did not support strong inference
        Securities Exchange Act of 1934; publicly filed                  of scienter in putative class action alleging
        forms noted that every trade of all three officers,              securities fraud under Securities Exchange Act
        except for approximately $2.4 million of sales                   of 1934; history of company's prosecution of
        by president, were made pursuant to a trading                    its patent application and defense of same
        plan, previously adopted by officers, consistent                 in patent infringement litigation evidenced
        with terms of rule providing way for insiders                    significant efforts company put into receiving
        of publicly-traded corporations to buy or sell                   patents over decade before district court's
        company stock without violating insider trading                  decision invalidating patent, and allegations also
        laws. Securities Exchange Act of 1934 §§ 10,                     referenced company's significant investment
        21E, 15 U.S.C.A. §§ 78j(b), 78u-5(c); 17 C.F.R.                  in building infrastructure to accommodate
        § 240.10b-5.                                                     expanded application and demand for product.
                                                                         Securities Exchange Act of 1934 §§ 10, 21E,
        More cases on this issue                                         15 U.S.C.A. §§ 78j(b), 78u-5(c); 17 C.F.R. §
                                                                         240.10b-5.


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        More cases on this issue

                                                                                           OPINION
 [72]   Securities Regulation       In general; control
        persons                                                   KIRSCH, District Judge

        Control person liability is derivative of                  *1 THIS MATTER comes before the Court on a Motion
        underlying securities fraud claim based on                to Dismiss the Amended Class Action Complaint (the
        materially false and misleading statements or             “Motion”) filed by Defendants Amarin Corporation plc
        omissions by the controlled person under                  (“Amarin”), John F. Thero, Michael W. Kalb, and Joseph
        Securities Exchange Act of 1934. Securities               T. Kennedy (together, “Defendants”). (ECF No. 58.) The
        Exchange Act of 1934 §§ 10, 20, 20A, 21D, 15              Court has carefully considered the parties’ submissions
        U.S.C.A. §§ 78j(b), 78t(a), 78t-1, 78u-4 et seq.;         and resolves the matter without oral argument pursuant
        17 C.F.R. § 240.10b-5.                                    to Federal Rule of Civil Procedure 78 and Local Civil
                                                                  Rule 78.1. For the reasons set forth below, Defendants’
                                                                  Motion to Dismiss is GRANTED and all three counts of
 [73]   Securities Regulation       Pleading                      the Amended Consolidated Class Action Complaint (the
        Insider trading claims against corporate insiders         “Amended Complaint”), (Am. Compl., ECF No. 50), are
        fail where plaintiffs fail to adequately plead            DISMISSED without prejudice.
        a predicate securities fraud claim based on
        materially false and misleading statements or
                                                                  I. BACKGROUND
        omissions under Securities Exchange Act of
                                                                  This is a putative securities fraud class action brought
        1934. Securities Exchange Act of 1934 § 10, 15
                                                                  on behalf of purchasers of Amarin's American Depositary
        U.S.C.A. § 78j(b); 17 C.F.R. § 240.10b-5.
                                                                  Shares (“ADSs”) during a two-and-a-half year period
                                                                  from September 24, 2018 to April 12, 2021 (the “Class
                                                                  Period”). Plaintiffs are the 1199SEIU Health Care Employees
                                                                  Pension Fund and Warren Drabek (“Drabek”). The suit
Attorneys and Law Firms                                           alleges that Defendants—Amarin and three of its officers—
                                                                  made material misstatements or omissions about Amarin's
Christopher A. Seeger, Christopher L. Ayers, Seeger Weiss         pharmaceutical product Vascepa, developments in Vascepa-
LLP, Ridgefield Park, NJ, for Plaintiff 1199 SEIU Health Care     related patent litigation, and Vascepa's financial prospects.
Employees Pension Fund.                                           These assurances allegedly caused Amarin's share prices
                                                                  to remain artificially high, during which time the officers
Edward Y. Kroub, Mizrahi Kroub LLP, New York, NY, for             sold millions of dollars’ worth of Amarin stock. When
Plaintiff Vincent Dang.                                           Amarin lost litigation over certain of its patents for Vascepa,
                                                                  the company's share price dropped and Plaintiffs suffered
Thomas Henry Przybylowski, Pomerantz LLP, New York,
                                                                  significant losses.
NY, for Plaintiff Todd Dorfman.

Christopher A. Seeger, Seeger Weiss LLP, Ridgefield Park,         The facts below are taken from the Amended Complaint and
NJ, for Plaintiff Warren Drabek.                                  assumed to be true solely for the purposes of deciding the
                                                                  pending Motion.
Eric Todd Kanefsky, Calcagni & Kanefsky LLP, Newark, NJ,
for Defendant Joseph T. Kennedy.
                                                                     A. AMARIN AND VASCEPA
Eric Todd Kanefsky, Martin Benjamin Gandelman, Calcagni           Amarin is a pharmaceutical company whose only product is
& Kanefsky LLP, Newark, NJ, for Defendants Amarin                 Vascepa, a purified fish oil made up of 96% eicosapentaenoic
Corporation PLC, John F. Thero, Michael W. Kalb.                  acid (“EPA”), an omega-3 fatty acid extracted from fish.
                                                                  (Compl. ¶¶ 2, 28–29.) Pure EPA is known to “lower
                                                                  triglycerides and lipoproteins in the blood without increasing



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cholesterol.” (Id. ¶ 2.) One type of lipoprotein, an
apolipoprotein called “ApoB,” moves cholesterol throughout               C. PATENT APPLICATION BEFORE THE USPTO
the body, including “bad” cholesterol called high-density                AND THE KURABAYASHI STUDY
lipoprotein cholesterol (“LDL-C”). (Id. ¶ 33.) People with            Amarin applied for a U.S. patent for Vascepa in 2010.
elevated levels of triglycerides, ApoB, and LDL-C are at a            (Id. ¶ 53.) Receiving patent protection would grant Amarin
higher risk for heart attacks and strokes, and use of pure EPA        intellectual property rights as the patent owner, along with a
is known to “decrease[ ] the risk of cardiovascular events,           20-year market exclusivity period for Vascepa. (Id. ¶¶ 5, 38,
strokes, and other negative medical outcomes.” (Id. ¶¶ 2, 33.)        45, 50.)


In 1990, a Japanese company launched a purified EPA                   To qualify for patent protection, a drug invention must be
product called Epadel in Japan; studies in the early                  useful, novel, and non-obvious. (Id. ¶ 45.) A drug invention
2000s showed that Epadel had positive results in lowering             is useful if it provides a tangible benefit. (Id. (citing 35
triglycerides, lipoproteins, cholesterol, and cardiovascular          U.S.C. § 101).) A drug invention is novel if it is not
risk. (Id. ¶¶ 3, 35.) Amarin has acknowledged that Epadel is          currently “in public use, on sale, or otherwise available to
pharmacologically equivalent to Vascepa. (Id. ¶ 35.) Several          the public.” (Id. (quoting 35 U.S.C. § 102).) Finally, a drug
studies of Epadel, of which Amarin was aware, showed the              invention is non-obvious when it is “distinct enough from
positive effects of pure EPA on different patient populations.        existing drug[ inventions] that its invention would not be
(Id. ¶¶ 3, 35–36.)                                                    obvious to ‘a person having ordinary skill in the art to
                                                                      which the claimed invention pertains.’ ” (Id. (quoting 35
In 2013, Amarin launched Vascepa as the first purified                U.S.C. § 103).) When assessing the obviousness prong, a
EPA drug introduced to the U.S. market. (Id. ¶¶ 2–3.) The             patent examiner considers the “prior art,” which comprises all
Amended Complaint alleges that since 2013, Vascepa has                “information known publicly before the effective filing date
been Amarin's “only actual or prospective product” and that           of a U.S. patent application,” including information contained
the company's profitability depended solely on Vascepa's              in foreign patents and patent applications, journal articles,
success, resulting in the company's executives and investors          and scientific papers. (Id. ¶ 46 (citation not provided).) Also
focusing exclusively on issues surrounding Vascepa. (Id. ¶¶           relevant are whether there are “secondary considerations” of
29–30; see also id. ¶¶ 156–69 (alleging Vascepa's importance          non-obviousness, including “unexpected results created by
to Amarin and its executives and quoting Defendants’                  the claimed invention.” (Id. ¶ 47.) 1
statements about Vascepa).)
                                                                      1
                                                                             See also 35 U.S.C. § 103 (A patent is invalid as
                                                                             obvious “if the differences between the claimed
   B. MARINE TRIAL AND NEW CHEMICAL
                                                                             invention and the prior art are such that the claimed
   ENTITY APPLICATION
                                                                             invention as a whole would have been obvious
 *2 In late 2009, Amarin launched a clinical trial entitled
                                                                             before the effective filing date of the claimed
“Efficacy and Safety of AMR101 (Ethyl Icosapentate) in
                                                                             invention to a person having ordinary skill in the art
Patients With Fasting Triglyceride (Tg) Levels ≥ 500 and
                                                                             to which the claimed invention pertains.”); Graham
≤ 2000 mg/dL” (the “MARINE Trial”) to demonstrate that
                                                                             v. John Deere Co. of Kansas City, 383 U.S. 1, 17,
Vascepa meaningfully reduces triglyceride levels in patients
                                                                             86 S.Ct. 684, 15 L.Ed.2d 545 (1966) (whether a
with severely high triglyceride levels. (Id. ¶ 51.) While studies
                                                                             patent claim is obvious requires considering (1)
in Japan had already established that pure EPA would reduce
                                                                             “the scope and content of the prior art”; (2) “the
triglyceride levels, the MARINE Trial was the first U.S. study
                                                                             level of ordinary skill in the pertinent art”; (3) the
to do so. (Id.) The MARINE Trial concluded in July 2011,
                                                                             “differences between the prior art and the claims at
after which Amarin submitted the trial data to the U.S. Food
                                                                             issue”; and (4) “[s]uch secondary considerations as
and Drug Administration (“FDA”). (Id. ¶¶ 51–52.) On July
                                                                             commercial success, long-felt but unsolved needs,
26, 2012, the FDA approved Vascepa for treatment of patients
                                                                             [and the] failure of others”).
with severely high triglyceride levels. (Id. ¶ 52.) Amarin was
the first company to gain FDA approval for an EPA drug in             An applicant seeking a patent must submit an application
the United States. (Id. ¶ 51.)                                        to the U.S. Patent and Trademark Office (“USPTO”),
                                                                      whose examiners assess whether the application merits
                                                                      patent protection. (Id. ¶ 45.) During the application process,


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an applicant must file a Form PTO-1449 (“Form 1449”)                 result. (Id. ¶ 71.) The examiner wrote that the “prior art is
disclosing prior art “known to the applicant to be material          either silent or teaches that there is no statistically significant
to the patentability of the claims in the application.” (Id. ¶       change in Apo-B levels when patients with [triglyceride]
54.) Form 1449's requirement dovetails with the “duty of             levels less than 150 mg/dl or between 150-499 mg/dl
candor and good faith in dealing with the USPTO” laid out            are treated with [ ] 96% pure ethyl-EPA ....” (Id. ¶ 71
in 37 C.F.R. § 1.56 (“Rule 56”), which likewise requires             (emphasis omitted) (quoting the examiner's decision).) While
disclosure of information material to patentability. (Id. ¶ 49.)     the examiner found that “the claims in the patent were prima
The Amended Complaint alleges that an applicant would                facie obvious based on the prior art,” the unexpected result
violate Rule 56 if they were to “engage in ‘inequitable              (a secondary consideration) of the reduction in ApoB helped
conduct,’ or intentionally mislead the USPTO about material          overcome the prima facie finding of obviousness. (Id.) 2
information.” (Id.) Plaintiffs state that “[o]ne form of
inequitable conduct is to ‘bury’ highly material prior art in        2       Amarin subsequently received additional patents
a long list of references in an effort to conceal the piece of
                                                                             related to Vascepa, which were continuations
material prior art from the examiner.” (Id.)
                                                                             of this first patent. (Am. Compl. ¶ 72.)
                                                                             The District Court decision invalidating these
 *3 Amarin submitted its patent application related
                                                                             patents, described below, describes the patents,
to Vascepa to the USPTO in February 2010. (Id. ¶
                                                                             which are each entitled “methods of treating
53.) The application was titled “Methods of Treating
                                                                             hypertriglyceridemia.” Amarin Pharma, Inc. v.
Hypertriglyceridemia.” (Id.) As Plaintiffs allege, the “crux”
                                                                             Hikma Pharms. USA Inc., 449 F. Supp. 3d 967,
of the patent application was a method of treating patients
                                                                             971–72 (D. Nev. 2020).
with heightened triglyceride levels—between 500 and 1,500
mg/dL—with “4 grams of 96% purified EPA over a 12-week               As part of its application, Amarin submitted its first Form
period.” (Id.) From its initial application, Amarin claimed that     1449 to the USPTO on May 23, 2011 that included 29
the MARINE Trial resulted in “a reduction in triglycerides           previously published studies and 6 previously issued U.S.
and ApoB without raising LDL-C levels.” (Id.) The patent             patents. (Id. ¶ 55.) Shortly afterwards, Amarin submitted a
examiner rejected Amarin's application four times between            second Form 1449 on June 3, 2011—several weeks before
June 20, 2011 and March 2, 2012. (Id. ¶¶ 56–70.) After               the examiner rejected Amarin's application for the first time
each rejection, Amarin made new submissions responding               —that included over 300 references to prior art studies
to the bases on which the examiner rejected the application.         and papers and over 50 previously issued U.S. and foreign
(Id.) As the Amended Complaint describes, the examiner's             patents. (Id.) Among the references in its second Form
first two rejections rested in part on the fact that based on        1449, Amarin included a paper published in 2000 about a
the prior art, it was obvious that EPA administration would          Japanese study entitled “[EPA] Effect on Hyperlipidemia in
reduce triglycerides without increasing LDL-C levels. (Id.           Menopausal Japanese Women” (the “Kurabayashi Study”).
¶¶ 56, 58.) Plaintiffs allege that in its responses to the first     (Id. ¶¶ 6, 35, 55.) The Amended Complaint alleges that the
and second rejections, Amarin “focused almost exclusively”           Kurabayashi Study “found that pure EPA lowers triglycerides
on how the reduction of triglycerides and decrease or non-           without increasing LDL-C but also has a ‘stimulatory effect
increase in LDL-C from Vascepa was not “obvious in light             on lipoprotein degradation’ which resulted in significantly
of the prior art.” (Id. ¶ 62; see also id. ¶¶ 57, 60.) After the     lower ApoB levels ....” (Id. ¶ 35 (citation not provided).)
third and fourth rejections, Amarin “dramatically changed its        Amarin was aware of the Kurabayashi Study “well before”
strategy” to argue in its third and fourth responses that the        it applied for a patent, as it “cited to [the study] as evidence
reduction in ApoB—rather than the non-increase in LDL-C              to investors that Vascepa could treat patients with elevated
—was unexpected and merited patent protection. (Id. ¶ 63;            triglycerides.” (Id. ¶ 6.)
see id. ¶¶ 64–66, 68–70.)
                                                                     Plaintiffs allege that Amarin violated its duty of candor to
After Amarin responded to the fourth rejection, the USPTO            the USPTO by not specifically raising and discussing the
granted Vascepa's patents on July 26, 2012. (Id. ¶¶ 7, 68.)          Kurabayashi Study in its multiple responses to the patent
In the official Notice of Allowance published several months         examiner, in which Amarin discussed its argument that a
later, the examiner agreed with Amarin that a reduction in           reduction in ApoB was unexpected and not supported by the
ApoB from treatment with purified EPA was an unexpected              prior art. (Id. ¶¶ 64–70.) The Amended Complaint quotes



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Amarin's submissions to the USPTO, in which Amarin wrote              examiner erred in finding that the MARINE Trial produced
that the “claimed reduction in [ApoB] is unexpected in view           unexpected results that overcame the prima facie finding of
of the prior art of record” and discussed studies other than          obviousness. (Id.)
the Kurabayashi Study, (id. ¶ 64), and that “the successful
reduction of apoB compared to a control group was entirely            After a bench trial, the Honorable Miranda M. Du, U.S.D.C.,
unexpected,” (id. ¶ 66 (emphasis omitted)). Plaintiffs allege         invalidated the patents as obvious in a 70-page March 30,
that Amarin “concealed” the Kurabayashi Study by “burying”            2020 decision. (Id. ¶ 76); see also Amarin Pharma, Inc. v.
it in the reference list of prior art included with its June 2011     Hikma Pharms. USA Inc., 449 F. Supp. 3d 967, 971 (D.
Form 1449, (id. ¶ 7), even though the study “demonstrated             Nev.), aff'd, 819 F. App'x 932 (Fed. Cir. 2020). In her factual
the exact outcome that Amarin claimed was unexpected,” (id.           findings, Judge Du reviewed six studies the Court found
¶ 65).                                                                were relevant prior art, including the Kurabayashi Study.
                                                                      Id. at 985–91. Regarding the Kurabayashi Study, Judge Du
                                                                      wrote that the study's administration of purified EPA with
   D. NEW CHEMICAL ENTITY STATUS AND THE                              another drug (estriol, known to elevate triglyceride levels)
   NEVADA PATENT LITIGATION                                           for 48 weeks to the patient population of hyperlipidemic,
 *4 While seeking patent protection for its treatment method          menopausal women, would lead a person of ordinary skill
using Vascepa, Amarin also applied to the FDA to designate            in the art to attribute the reduction in ApoB found in the
Vascepa as a new chemical entity (“NCE”). (Id. ¶ 4.)                  study to EPA. Id. at 989–90. Like the USPTO's examiner,
This designation is available for a drug with an active               Judge Du ruled that the prior art rendered the patents
ingredient the FDA has not previously approved. (Id. ¶ 42.)           “prima facie obvious.” Id. at 1007–09. Judge Du found
Classification as an NCE grants a drugmaker five years                that “the prior art showed that purified EPA produced each
of regulatory exclusivity, during which time competitors              of the claimed effects in clinical studies,” including that
cannot apply to the FDA to sell generic versions of the drug          the “Kurabayashi [Study] disclosed that EPA reduced Apo
without conducting their own trials. (Id. ¶¶ 4, 42.) However,         B.” Id. at 1007. Finally, as relevant here, Judge Du, unlike
a competitor filing an Abbreviated New Drug Application               the patent examiner, found that the “positive lipid effects”
(“ANDA”) for a drug that is the bioequivalent of a patent-            Amarin relied on were not “unexpected benefits” constituting
protected, designated NCE may certify that the patent for             a secondary consideration, because “Kurabayashi suggested
the NCE is invalid, unenforceable, or otherwise will not be           that EPA reduced Apo B levels” and the examiner “did not
infringed by the sale of the competitor's drug (a “Paragraph          consider Kurabayashi.” Id. at 1013. The Court of Appeals
IV Certification”). (Id. ¶¶ 41–43.) In that case, the competitor      for the Federal Circuit affirmed the decision on September
may file their ANDA after only four years of NCE exclusivity,         3, 2020, (Am. Compl. ¶ 14), and the Supreme Court denied
after which the patent holder may sue the ANDA-filer for              certiorari, see Amarin Pharma, Inc. v. Hikma Pharms. USA
patent infringement. (Id. ¶¶ 43–44.)                                  Inc., ––– U.S. ––––, 141 S. Ct. 2794, 210 L.Ed.2d 928 (2021).

On July 26, 2016—four years after receiving patent-
protection and the first day permitted under the regulatory               E. REDUCE-IT TRIAL
exclusivity rules—three Amarin competitors filed ANDAs                In November 2011, Amarin launched a clinical trial (the
for generic versions of Vascepa, accompanied by Paragraph             “REDUCE-IT Trial”) to demonstrate that Vascepa reduced
IV Certifications. (Id. ¶ 73.) Shortly afterwards, Amarin sued        the likelihood of “cardiovascular events” in patients with
all three companies for infringement in federal district court in     elevated triglycerides who were already taking a statin
Nevada (the “Nevada Litigation”). (Id. ¶ 74.) Amarin settled          medication to lower cholesterol. (Id. ¶ 77.) Years prior, a
with one competitor but proceeded to litigate its patents’            2007 paper published in Japan (the “JELIS Study”) had
validity against the remaining two in a consolidated action.          demonstrated that Epadel reduced cardiovascular risk in a
(Id.) Amarin's competitors argued that Amarin's method                statistically significant way. (Id. ¶ 79.) Amarin's executives
patent was an obvious innovation from a prior art and that            were aware of the JELIS Study and expected the REDUCE-
the USPTO examiner had overlooked (and Amarin had not                 IT Trial to mirror its results. (Id.) Amarin publicly stated that
highlighted) the relevant prior art from Japan. (Id. ¶ 75.)           if the REDUCE-IT Trial “succeeded in showing that Vascepa
The competitors specifically cited the Kurabayashi Study's            lowered cardiovascular risk, then the use and profitability of
finding that patients treated with purified EPA experienced           Vascepa would exponentially increase.” (Id. ¶ 78.) 3
statistically significant reduction in ApoB to argue that the


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3      Judge Du discussed the REDUCE-IT Trial in                              1. Defendants’ Statements Regarding
       finding that the secondary considerations did not                    Amarin's Patents and Vascepa's Uniqueness
       support finding Amarin's method patents non-
       obvious because there was no nexus between the                The Amended Complaint groups the Individual Defendants’
       REDUCE-IT Trial's results and the challenged                  statements into three categories. 4 One set of statements
       patents. Hikma Pharms. USA Inc., 449 F. Supp.                 deals with the strength of Amarin's patents and the Nevada
       3d at 1009–10. Specifically, Judge Du held that               Litigation. The Amended Complaint quotes Defendants’
       REDUCE-It's results turned on administering a                 statements about the Vascepa patents from healthcare
       statin along with Vascepa, unlike Vascepa that                conferences, investor calls, and SEC filings. (Id. ¶¶ 138–
       “can be, and often is, used without a statin”;                53.) These include statements made during the initial phases
       the “benefits in REDUCE-IT, however, were                     of the Nevada litigation, such as Kennedy's statement on a
       unrelated to reducing triglycerides,” which was               November 2018 earnings call that while the litigation was in
       the target of the challenged patents; REDUCE-                 its “early stages,” the District Court's Markman ruling went
       IT does not avoid increasing LDL-C, which is                  “favorably” for Amarin, (id. ¶ 138); statements made after
       part of the “claimed method of avoiding an                    Judge Du's unfavorable March 2020 decision, such as Thero's
       increase in LDL-C” in the challenged patents;                 statement on an April 2020 earnings call that “[w]e believe
       the REDUCE-IT Trial's “results were limited to                that we have numerous arguments that will contribute to a
       patients with multiple cardiovascular risk factors            strong substantive appeal,” (id. ¶ 147); and statements made
       that the asserted claims do not require”; and                 after the Federal Circuit affirmed Judge Du's decision, such
       REDUCE-IT Trial did not involve patients with                 as Thero's statement on a November 2020 earnings call that
       triglyceride levels of at least 500 mg/dL, as in the          “[w]e believe that courts were wrong in their decisions, and
       asserted claims. Id.                                          we will continue to pursue this matter, although we cannot
 *5 On September 24, 2018, Amarin announced that                     provide any guarantee of success in this pursuit,” (id. ¶ 153).
the REDUCE-IT Study had “met its primary endpoint,”
demonstrating that “patients taking purified EPA were at             4      The Court does not re-print the entirety of the
substantially less risk for a cardiovascular event than patients            statements quoted in the Amended Complaint in the
taking a placebo.” (Id. ¶ 80.)                                              Background section, as such statements contained
                                                                            in block quotes are alleged in fifty paragraphs that
                                                                            span over thirty pages of the Amended Complaint.
   F. INDIVIDUAL DEFENDANTS’ PUBLIC                                         (Am. Compl. ¶¶ 99–153.) Defendants’ specific
   STATEMENTS AND AMARIN'S SHARE PRICE                                      statements are quoted and discussed at length in the
The Amended Complaint alleges that Amarin's executives                      Discussion section.
made material misrepresentations and omissions during
the Class Period about Vascepa's patents and expected                Plaintiffs allege that these statements were materially false
profitability. The Amended Complaint recites statements              and misleading because they failed to mention that Amarin
made by three Amarin executives (the “Individual                     was not entitled to patent protection because it “only received
Defendants”): John Thero (“Thero”), Amarin's President,              patents for Vascepa because Defendants withheld material
Chief Executive Officer, and a director during the Class             information ... from the USPTO examiner,” specifically the
Period; Michael Kalb (“Kalb”), Amarin's Senior Vice                  Kurabayashi Study. (Id. ¶ 154.) Therefore, Defendants knew
President and Chief Financial Officer during the Class               or recklessly disregarded the fact that “Amarin would not
Period; and Joseph Kennedy (“Kennedy”), an Executive Vice            succeed in its litigation ... or any appeals.” (Id.)
President and Amarin's General Counsel during the Class
Period. (Id. ¶¶ 23–25.) Thero had worked at Amarin since              *6 A second set of statements alleged are those regarding
2009, Kennedy since 2011, and Kalb since 2016. (Id.) The             Vascepa's “unique” characteristics, which were made at
Class Period ran from September 24, 2018—the day Amarin              healthcare conferences, on investor calls, and in SEC filings.
announced the positive REDUCE-IT results—to April 12,                (Id. ¶¶ 99–110.) For example, Thero stated on an earnings
2021—the day Thero retired. (Id. ¶ 1.)                               call in November 2018 that “[w]e continue to reinforce that
                                                                     REDUCE-IT results are unique to Vascepa.” (Id. ¶ 101.)



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On a February 2020 earnings call, again talking about the            the study showed Vascepa “has the potential to overcome the
REDUCE-IT results, Thero said that “Vascepa is the first             limitations of multiple blockbuster prior-generation therapies.
and only drug with this new cardiovascular risk reduction            It thus has the potential to be a significant blockbuster and
indication.” (Id. ¶ 109.) Plaintiffs allege that Defendants made     help millions of patients reduce cardiovascular risk on top
material misstatements as “Vascepa was not unique, and               of standard-of-care statin therapy.” (Id. ¶ 113.) As with the
Amarin did not invent purified EPA or discover any of its            previous categories of statements, the Amended Complaint
medical characteristics,” because the relevant characteristics       alleges that these statements were false or misleading because
had already been attributed to Epadel. (Id. ¶ 111.) Plaintiffs       Amarin “did not invent purified EPA or any new use for it,”
again conclude that Amarin was not entitled to its Vascepa           Amarin was not entitled to patent protection for Vascepa,
patents and only received patents because it “withheld” the          Amarin only received patents because it “withheld” the
Kurabayashi Study. (Id.)                                             Kurabayashi Study from the USPTO, and Amarin would not
                                                                     succeed in the Nevada Litigation. (Id. ¶ 154.)


          2. Market Reaction to the REDUCE-
          IT Trial and Defendants’ Statements                             3. Individual Defendants’ Sale of Amarin Stock
           Regarding the REDUCE-IT Results
                                                                     Plaintiffs allege that Defendants’ knowledge of the weakness
Plaintiffs allege that despite its misrepresentations about          of the Vascepa patents is evidenced by the fact that
Vascepa's uniqueness and the strength of its patents,                the Individual Defendants “systematically unloaded their
Defendants created an “inflated impression of Vascepa's              personal shares” of Amarin after the REDUCE-IT results
prospects” through announcing the REDUCE-IT Trial results.           were announced. (Id. ¶ 11.) After the results were announced
(Id. ¶¶ 81–82.) Before the trial's results were announced,           but before Judge Du's decision in March 2020, Kennedy sold
Thero stated that “positive REDUCE-IT results would mean             89.19% of his shares of Amarin stock worth $36,504,087;
that a daily dose of Vascepa would be appropriate treatment          Kalb sold 65% of his shares worth $9,779,380; and Thero
for everyone with elevated triglycerides, which comprises            sold 24% of his shares worth $36,790,688. (Id. ¶¶ 95–
‘roughly 1 in 4 adults in the United States.’ ” (Id. ¶ 78            97, 170–77.) Several million dollars’ worth of Kennedy's
(citation not provided).) This would exponentially increase          and Kalb's sales were made on the day the REDUCE-IT
the potential market for Vascepa. (Id.) In this way, Defendants      results were announced. (Id. ¶ 88.) Plaintiffs allege that
“conditioned the market to believe positive results” in the          “Defendants would not have dumped such large portions of
REDUCE-IT Trial would be, in Thero's words, a “multibillion          their holdings if they truly believed Vascepa would grow
dollar opportunity” for Amarin. (Id. ¶ 84.) In short, Plaintiffs     to be a ‘multiple-billion-dollar opportunity’ as they had led
essentially allege that Defendants used the results of the           investors to believe.” (Id. ¶ 12.)
REDUCE-IT Trial to turbocharge market expectations about
their unique, patented drug.
                                                                            4. Market Reaction to the Patent Litigation
After Amarin announced the REDUCE-IT results in
September 2018, the “corresponding share price movement               *7 Plaintiffs allege Amarin's share price “came crashing
was instant and dramatic,” jumping from $2.99 per share              back to reality over the course of three disclosures in 2020 and
on the prior trading day to $12.40 per share the day results         2021.” (Id. ¶ 14.) First, after Judge Du invalidated the Vascepa
were announced. (Id. ¶ 86.) Analysts attributed this spike to        patents in March 2020, Amarin's ADS price “plummeted by
optimism from “the REDUCE-IT results and investors’ belief           more than 70% to close at $4.00 per share” the following
about what those results meant for Vascepa's prospects.” (Id.        day. (Id. ¶ 184; see also id. ¶¶ 185–90.) Second, the day
¶ 87.)                                                               after the Federal Circuit affirmed Judge Du's decision in
                                                                     September 2020, Amarin's ADS price again “fell 40.77% to
In the third category of Defendants’ statements cited in             close at $4.30 per share.” (Id. ¶ 191.) Third, Thero “suddenly”
the Amended Complaint, Defendants talked about Vascepa's             left Amarin “under suspicious circumstances” on April 12,
potential market size and value to the company based on the          2021, which Plaintiffs allege “reveal[ed] to investors he had
REDUCE-IT results. (Id. ¶¶ 112–37.) On the day Amarin                been culpable for the Company's downfall, and that the
announced the REDUCE-IT results, Thero stated on a call that         Company had given up on recovering its U.S. patents for


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Vascepa.” (Id. ¶ 14.) The Amended Complaint elaborates                      September 2018. Id. at *2. The plaintiffs alleged
that Thero being replaced with an executive from Merck                      that the defendants announced positive results from
was a “strong indicator[ ] that the Company and its senior                  the REDUCE-IT Trial without disclosing several
management believed Thero was to blame for the dramatic                     potential issues with the trial data. Id. at *2–
decline in the value of the Company.” (Id. ¶ 178.) Kennedy                  3. The Honorable Brian R. Martinotti, U.S.D.J.,
retired from the company several weeks later as well. (Id. ¶                dismissed the complaint for failure to state a claim
179.) After the announcement of Thero's retirement, Amarin's                for securities fraud, id. at *11–19, and the Third
ADS price “fell by approximately 13.01% to close at $5.08                   Circuit affirmed, No. 21-2071, 2022 WL 2128560
per share.” (Id. ¶ 195.)                                                    (3d Cir. June 14, 2022).
                                                                     After separate plaintiffs filed complaints bringing similar
                                                                     claims against Amarin, Thero, and Kalb in late 2021, (Civ.
    G. PROCEDURAL HISTORY 5
                                                                     Action No. 21-19212 (D.N.J.); Civ. Action No. 21-19911
5      The Court remarks briefly upon two prior                      (D.N.J.)), on October 27, 2022, the Honorable Georgette
       unsuccessful securities class actions filed against           Castner, U.S.D.J. issued an Order consolidating the two
       Amarin over Vascepa, although neither exerts any              matters and appointing the lead counsel and a lead plaintiff in
       preclusive effect. They are mentioned merely for              the consolidated action. (ECF Nos. 34, 35.)
       context and because Defendants’ briefing discusses
       them.                                                         Plaintiffs filed the operative 114-page Amended Consolidated
       The first securities class action, filed in this District     Class Action Complaint on January 13, 2023 on behalf of any
       in 2013, alleged that Amarin and several of its               purchaser of Amarin ADSs during the Class Period. Against
       executives made material misrepresentations from              all Defendants, the Amended Complaint alleges violations
       2010 to 2013 about “the progress of Amarin's                  of Section 10(b) of the Securities Exchange Act of 1934
       ultimately unsuccessful application to the FDA                (“Exchange Act”), 15 U.S.C. § 78j(b) and SEC Rule 10b-5, 17
       to approve its drug, Vascepa, for the treatment               C.F.R. § 240.10b-5 (“Rule 10b-5”). (Am. Compl. ¶¶ 211–18.)
       of patients with high triglyceride levels.” In re             Against the Individual Defendants, the Amended Complaint
       Amarin Corp. PLC Sec. Litig. (Amarin I), No.                  alleges violations of Section 20(a) of the Exchange Act, 15
       13-6663, 2016 WL 1644623, at *1–2 (D.N.J.                     U.S.C. § 78t(a), (id. ¶¶ 219–24), and Section 20A of the
       Apr. 26, 2016). The Honorable Freda L. Wolfson,               Exchange Act, 15 U.S.C. § 78t-1, (id. ¶¶ 225–32).
       U.S.D.J. (ret.) dismissed the complaint twice, first
       in 2015 because the plaintiffs failed to allege that           *8 On March 24, 2023, Defendants filed the Motion to
       the defendants made materially false or misleading            Dismiss at issue here. (ECF No. 58.) Defendants’ Motion
       statements or that the defendants acted with                  is supported by a brief, (ECF No. 58-1), and 117 exhibits
       scienter. Id. *4 (discussing prior decision). The             comprising approximately 1,200 pages, (ECF Nos. 58-2 to
       following year, Judge Wolfson again held that                 -125). Plaintiffs filed a brief opposing the Motion, (ECF No.
       the plaintiffs had failed to plead existence of a             65), and separately filed an Objection to Documents that May
       materially false or misleading statement. Id. at *20.         Be Judicially Noticed in response to Defendants’ 117 exhibits
       On appeal, the Third Circuit affirmed. 689 F. App'x           (“Plaintiffs’ Objection”), (ECF No. 66). Defendants filed a
       124 (3d Cir. 2017).                                           reply brief on the merits of their Motion, (ECF No. 69), and
       In the second case, filed in 2019 in this                     separately responded to Plaintiffs’ Objection, (ECF No. 70).
       District, the plaintiffs sued Amarin and several              Plaintiffs filed a reply supporting Plaintiffs’ Objection, (ECF
       of its officers alleging that the defendants made             No. 71), which Defendants objected to as an impermissible
       material misrepresentations and omissions about               sur-reply, (ECF No. 72).
       the execution and results of the REDUCE-IT
       Trial and a second trial (the ANCHOR trial).
       In re Amarin Corp. PLC Sec. Litig. (Amarin                    II. LEGAL STANDARD
       II), No. 19-6601, 2021 WL 1171669, at *1–3                     [1] Pursuant to Federal Rule of Civil Procedure 12(b)(6),
       (D.N.J. Mar. 29, 2021). As with the instant action,           the court may dismiss a complaint for “failure to state a
       the class period allegedly began when Amarin                  claim upon which relief can be granted.” For a complaint to
       announced the results of the REDUCE-IT Trial in               survive dismissal under this rule, it “must contain sufficient



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factual matter, accepted as true, to ‘state a claim to relief        must “state with particularity both the facts constituting the
that is plausible on its face.’ ” Ashcroft v. Iqbal, 556 U.S.        alleged violation, and the facts evidencing scienter, i.e., the
662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (quoting            defendant's intention ‘to deceive, manipulate, or defraud.’ ”
Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct.             Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308,
1955, 167 L.Ed.2d 929 (2007)). In evaluating the sufficiency         313, 127 S.Ct. 2499, 168 L.Ed.2d 179 (2007) (quoting Ernst
of a complaint, “[a]ll allegations in the complaint must be          & Ernst v. Hochfelder, 425 U.S. 185, 194, and n.12, 96 S.Ct.
accepted as true, and the plaintiff must be given the benefit of     1375, 47 L.Ed.2d 668 (1976)).
every favorable inference to be drawn therefrom.” Malleus v.
George, 641 F.3d 560, 563 (3d Cir. 2011) (citation omitted). A
                                                           III. DISCUSSION
pleading that “offers labels and conclusions,” “a formulistic
recitation of the elements,” or “naked assertion[s] devoid  *9 Defendants contend that Plaintiffs fail to make out a
                                                           Section 10(b) claim because the Amended Complaint fails
of further factual enhancement,” is insufficient. Iqbal, 556
U.S. at 678, 129 S.Ct. 1937 (citations and quotation marks to plead an actionable misstatement or omission, a strong
                                                           inference of scienter, and loss causation. The Individual
omitted). In short, the pleading's “[f]actual allegations must
be enough to raise a right to relief above the speculative Defendants seek dismissal of the Section 20(a) and Section
level.” Twombly, 550 U.S. at 555, 127 S.Ct. 1955 (citation 20A claims based on the failure of Plaintiffs’ Section 10(b)
omitted).                                                  claim. Finally, Defendants argue that Drabek should be
                                                           removed from the case caption. The Court addresses the
 [2] [3] [4] [5] For fraud claims, a complaint is subjectexhibits appended to Defendants’ Motion to Dismiss before
to Rule 9(b)’s heightened pleading standard “[i]ndependent reaching the merits of their arguments.
of the standard applicable to Rule 12(b)(6) motions.” In re
Rockefeller Ctr. Props., Inc. Sec. Litig., 311 F.3d 198, 216
                                                                        A. JUDICIALLY NOTICEABLE DOCUMENTS
(3d Cir. 2002). “In alleging fraud or mistake, a party must
                                                                     The parties raise a threshold dispute over what documents
state with particularity the circumstances constituting fraud
                                                                     the Court may consider in connection with deciding the
or mistake. Malice, intent, knowledge, and other conditions
                                                                     Motion to Dismiss. Defendants submitted 117 exhibits, (Exs.
of a person's mind may be alleged generally.” Fed. R. Civ. P.
                                                                     to Decl. of Peter J. Linken, ECF Nos. 58-8 to 58-125), and
9(b). A party alleging fraud must support its allegations with
“the who, what, when, where and how of the events at issue.”         six annexes, (ECF Nos. 58-2 to 58-7), with their Motion. 6
In re Rockefeller, 311 F.3d at 216 (citation omitted); see also      Plaintiffs concede that the Court may properly consider 59
Frederico v. Home Depot, 507 F.3d 188, 200 (3d Cir. 2007)            of the exhibits but contest the remaining 58 exhibits and
(“[T]he plaintiff must ... inject precision or some measure          six annexes. (ECF No. 66 at 2.) Plaintiffs contend that
of substantiation into a fraud allegation.”). Rule 9(b)’s            Defendants improperly attempt to frontload factual disputes
heightened pleading standard “ensure[s] that defendants are          at this motion to dismiss stage with their exhibits. (Id. at 5–
placed on notice of the precise misconduct with which they           18.) Defendants respond that many of the exhibits are integral
are charged, and to safeguard defendants against spurious            to the Amended Complaint's allegations and that Plaintiffs
charges of fraud.” Craftmatic Sec. Litig. v. Kraftsow, 890 F.2d      selectively included facts in the Amended Complaint to
628, 645 (3d Cir. 1989) (citations and quotations omitted).          distort what actually happened as an attempt to make it to
The standard is “rigorously applied in securities fraud cases.”      discovery. (ECF No. 70 at 1–2.) 7
Cal. Pub. Emps’ Ret. Sys. v. Chubb Corp., 394 F.3d 126,
144 (3d Cir. 2004) (citing In re Burlington Coat Factory Sec.        6      In this Opinion, all references to “Exhibit” or
Litig., 114 F.3d 1410, 1417 (3d Cir. 1997)).                                “Ex.” refer to the Exhibits to Peter J. Linken's
                                                                            Declaration.
 [6]     [7] Plaintiffs alleging securities fraud pursuant to
the Exchange Act must also comply with the heightened         7             The parties accuse each other of violating
pleading requirements of the Private Securities Litigation                  procedural rules in connection with Defendants’
Reform Act (“PSLRA”), 15 U.S.C. § 78u–4, et seq. The                        submission of exhibits and Plaintiffs’ objection
PSLRA “imposes another layer of factual particularity to                    thereto. (ECF No. 66 at 1–2; ECF No. 70
allegations of securities fraud.” In re Rockefeller, 311 F.3d               at 2 n.1; ECF No. 72.) The Court will
at 217. To allege fraud under the PSLRA, the plaintiff                      consider Plaintiffs’ Objection, (ECF No. 66), and



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       Defendants’ response, (ECF No. 70), but will
       disregard Plaintiffs’ July 20, 2023 brief, (ECF No.             3. Documents from the Nevada Litigation (Exs. 93–94).
       71), as an unauthorized sur-reply.                                 Plaintiffs challenge these two exhibits.

 [8] [9] [10] While the Court may normally “not consider               4. Analyst reports (Exs. 95–109). Plaintiffs challenge
matters extraneous to the pleadings” at the motion to dismiss             these fifteen exhibits.
stage, it may rely on documents that are “integral to or
explicitly relied upon in the complaint” without converting the        5. Kurabayashi Study (Ex. 110). Plaintiffs challenge this
motion into one for summary judgment. See In re Burlington                exhibit.
Coat, 114 F.3d at 1426 (emphasis in original) (citations
                                                                       6. Individual Defendants’ Rule 10b5-1 trading plans
omitted). The exception's applicability turns on “whether the
                                                                          (Exs. 111–117). Plaintiffs challenges these seven
claims in the complaint are ‘based’ on an extrinsic document
                                                                          exhibits.
and not merely whether the extrinsic document was explicitly
cited.” Id. at 1426 (citations omitted). The exception's purpose       7. Annexes. (ECF Nos. 58-2 to -7). Plaintiffs challenge
is to prevent a plaintiff from “maintain[ing] a claim of fraud            these documents.
by extracting an isolated statement from a document and
placing it in the complaint, even though if the statement were         8. Defendants’ Statements referenced in the Amended
examined in the full context of the document, it would be clear           Complaint. (Exs. 1 to 31). Plaintiffs do not challenge
that the statement was not fraudulent.” Id. at 1426 (citation            these documents. 8
omitted).
                                                                   Except for the documents containing statements challenged in
 [11] [12] Under Federal Rule of Evidence 201(b), the Court        the Amended Complaint, which Plaintiffs do not contest the
may also consider documents containing facts that are “not         Court may consider, the Court briefly discusses each category.
subject to reasonable dispute in that [they are] either (1)
generally known within the territorial jurisdiction of the trial   8       Plaintiffs caveat their agreement that while certain
court or (2) capable of accurate and ready determination                   documents are permissibly considered at this
by resort to sources whose accuracy cannot reasonably be                   posture such documents may not be “utilized
questioned.” In re NAHC, Inc. Secs. Litig., 306 F.3d 1314,                 for the truth of the matters asserted to factually
1331 (3d Cir. 2002) (citing Fed. R. Evid. 201(b)). However, it             argue against Plaintiffs’ well-pled allegations of
“is improper for a court to take judicial notice of the veracity           fraud.” (ECF No. 66 at 4–5.) To the extent the Court
and validity of a public document's contents when the parties              cites these documents below, it will address the
dispute the meaning and truth of the contents.” Amarin II,                 purpose for which it relies on them.
2021 WL 1171669, at *7 (quoting Lee v. City of L.A., 250
F.3d 668, 690 (9th Cir. 2001)). As the Third Circuit cautioned,
“[o]nly in the clearest of cases should a district court reach                       1. Amarin's SEC Filings
outside the pleadings for facts necessary to resolve a case” at
the motion to dismiss stage. Victaulic Co. v. Tieman, 499 F.3d      [13] Of the SEC filings included with the Motion to Dismiss,
227, 236 (3d Cir. 2007), as amended (Nov. 20, 2007).               Plaintiffs contest consideration of Exhibits 32 to 50, which
                                                                   are filings from as early as March 2011 (Ex. 32) to August
 *10 Defendants’ exhibits fall into several categories,            2018 (Ex. 50). Plaintiffs argue that because these filings
summarized below:                                                  were made outside the Class Period, the risk disclosures they
                                                                   contain “cannot cure” the alleged omissions from the Class
  1. Amarin's SEC filings (Exs. 32 to 65). Plaintiffs              Period. (ECF No. 66 at 5–6.) The Third Circuit instructs that
    challenge Exs. 32–50 but not Exs. 51–65.                       “[p]re-class period statements may be used to ascertain the
                                                                   falsity and materiality of the challenged statements.” City of
  2. Documents from the patent application before the
                                                                   Edinburgh Council v. Pfizer, Inc., 754 F.3d 159, 171 n.13 (3d
     USPTO (Exs. 66 to 92). Plaintiffs challenge Exs. 68–
                                                                   Cir. 2014) (citing In re Merck & Co., Inc. Sec. Litig, 432
     72, 75–78, 80–81, 83, 88, 92 but not Exs. 66–67, 73–74,
                                                                   F.3d 261, 272 (3d Cir. 2005)). Here, the Amended Complaint
     79, 82, 84–87, 89–91.
                                                                   heavily discusses Defendants’ conduct from 2010 to 2018 to
                                                                   support its allegations that Defendants’ statements during the



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Class Period were misleading. (Am. Compl. ¶¶ 51–76.) These
disclosures are relevant, and the Court may indisputably take
                                                                                          4. Analyst Reports
judicial notice of the challenged SEC filings for the purpose of
establishing that the disclosures they contained were publicly        [16] Defendants submitted fifteen publicly-available reports
available. See In re NAHC, 306 F.3d at 1331.                         from market analysts regarding the status of the Nevada
                                                                     litigation and the analysts’ investment recommendations
                                                                     on Amarin. (Exs. 95–109.) Plaintiffs object to their
               2. USPTO Patent Prosecution                           consideration, contending that Defendants offer them to
                                                                     show “that Amarin indeed had strong [intellectual property]
 [14] Defendants submit twenty-seven documents from                  and therefore Defendants reasonably believed it [sic] would
Amarin's MARINE patent prosecution proceedings. (Exs.                prevail in the patent litigation.” (ECF No. 66 at 11–12.)
66–92.) Plaintiffs object to the Court's consideration of fifteen    Defendants respond that they cite the reports “to show that
of the documents, (Exs. 68–72, 75–78, 80–81, 83, 88, 92),            Defendants (and the public) would have been aware that other
because they are not referenced in the Amended Complaint.            experts expressed agreement with Amarin's litigation position
(ECF No. 66 at 6–8.) Plaintiffs do not contest Defendants’           and disclosed their views that the MARINE patents were
claim that each of the challenged documents is publicly              valid.” (ECF No. 70 at 14.) Here, contrary to Defendants’
available on the USPTO's website. (Decl. of Peter J. Linken          assertions, Defendants appear to rely on these documents
¶¶ 68–94, ECF No. 58-8.) Here, the Amended Complaint                 for the truth of the analysts’ statements that Amarin's
extensively discusses and quotes from the proceedings                litigation position was strong and that Individual Defendants’
before the USPTO, including Amarin's two Form PTO-1449               statements about the litigation were reasonable. (See ECF
(the second of which included the Kurabayashi Study),                No. 58-1 at 35–36.) The Court therefore will not consider
the examiner's four rejections of Amarin's application, and          these reports for the purpose for which Defendants offer
Amarin's multiple submissions to the examiner in response.           them. See In re PTC Therapeutics, Inc. Sec. Litig., No.
(Am. Compl. ¶¶ 53–72.) Therefore, the documents from the             16-1124, 2017 WL 3705801, at *3 n.5 (D.N.J. Aug. 28,
patent prosecution history are appropriately considered both         2017) (“[T]he inferences defendants wish to draw from these
because they are integral to the Amended Complaint's claim           [analyst reports] go beyond the mere existence of statements
that Defendants “concealed” the Kurabayashi Study from               within them”).
the USPTO and because they are subject to judicial notice.
See Lexington Luminance LLC v. Bulbrite Indus., Inc., No.
22-3787, 2023 WL 143911, at *1 (D.N.J. Jan. 10, 2023)
                                                                                        5. Kurabayashi Study
(taking judicial notice of public records from the USPTO's
website); Genetic Techs. Ltd. v. Bristol-Myers Squibb Co., 72         [17] Plaintiffs object to the Court's consideration of the
F. Supp. 3d 521, 526 (D. Del. 2014) (same), aff'd, 818 F.3d          Kurabayashi Study, (Ex. 110), essentially arguing that
1369 (Fed. Cir. 2016).                                               Defendants seek to contradict the results of the Nevada
                                                                     Litigation through discussion of the Kurabayashi Study. (ECF
                                                                     No. 66 at 9–10.) Defendants counter that the Kurabayashi
        3. Documents from the Nevada Litigation                      study is the “cornerstone of Plaintiffs’ claims” and is
                                                                     mentioned in the Amended Complaint almost thirty times.
 *11 [15] Plaintiffs object to consideration of the two              (ECF No. 70 at 9–10.) The Court will consider the
documents from the Nevada Litigation, (Exs. 93–94), arguing          Kurabayashi Study because it is plainly integral to the
that Defendants use these documents “to make inappropriate           Amended Complaint. Plaintiffs’ claims are premised on
merits-based arguments and factual assertions.” (ECF No. 66          Defendants’ alleged conduct with respect to the Kurabayashi
at 8.) A review of Defendants’ brief shows that Exhibit 94 is        Study, namely that Defendants “concealed the Kurabayashi
not mentioned in the argument at all and Exhibit 93 is only          Study from the USPTO by burying it amongst hundreds of
mentioned in a final footnote listing arguments not made.            other studies provided to the patent examiner,” (Am. Compl.
(ECF No. 58-1 at 65 n.61.) Therefore, the Court need not             ¶ 7), and then failing to disclose this vulnerability in Amarin's
consider these documents.                                            patent to the investing public. 9




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9                                                                public records, Defendants do not suggest that the Rule
       Judge Wolfson's decision in Hall v. Johnson &
                                                                 10b5-1 plans are. Instead, Defendants essentially argue that
       Johnson, No. 18-1833, 2019 WL 7207491 (D.N.J.
                                                                 because the Form 4s reference the Rule 10b5-1 plans, the
       Dec. 27, 2019), is not to the contrary. There,
                                                                 latter may be judicially noticed, despite the fact that it is not
       the Court declined to consider a scientific study
                                                                 publicly filed. None of the cases Defendants cite to support
       that “addresses the merits of Plaintiff's claims,
                                                                 this proposition. As the Third Circuit explained regarding
       is not relied upon or integral to the Complaint,
                                                                 Form 4s, the Court may “take judicial notice of properly-
       and would require the court to delve into the
                                                                 authenticated public disclosure documents filed with the
       scientific evidence that forms the crux of the
                                                                 SEC.” Oran v. Stafford, 226 F.3d 275, 289 (3d Cir. 2000).
       parties’ dispute.” Id. at *11. In Hall, the contested
                                                                 Judicial notice under Rule 201 is appropriate because “the
       exhibit was an outside study defendants brought
                                                                 documents are required by law to be filed with the SEC, and
       into the case in their motion to dismiss, rather than
                                                                 no serious questions as to their authenticity can exist.” Id.
       a study treated at length in the plaintiffs’ pleading
                                                                 (quoting Kramer v. Time Warner Inc., 937 F.2d 767, 774 (2d
       whose alleged concealment was central to the case.
                                                                 Cir. 1991)). Because Defendants offer no authority suggesting
                                                                 that a document not publicly filed and not relied on in the
              6. Rule 10b5-1 Trading Plans                       Amended Complaint can be judicially noticed, the Court will
                                                                 not do so here. 10
Defendants submitted excerpts from the Individual
Defendants’ Rule 10b5-1 pre-arranged trading plans adopted       10
by Kalb and Kennedy at various dates in 2017 and 2018.                   While Defendants cite several cases in which
(Exs. 111–17.) As Judge Wolfson explained generally, “[a]                Courts have relied on Rule 10b5-1 plans directly,
Rule 10b5-1 plan is a written plan that allows corporate                 the plans in those cases appear to have been
insiders to make prearranged stock transactions.” In re                  directly filed with the SEC. See, e.g., In re
Synchronoss Techs., Inc. Sec. Litig., No. 17-2978, 2019                  Synchronoss Techs., Inc. Sec. Litig., No. 17-2978,
WL 2849933, at *5 (D.N.J. July 2, 2019) (citing 17                       2019 WL 2849933, at *16 n.11 (D.N.J. July 2,
C.F.R. § 240.10b5-1(c)). Plaintiffs object that these are                2019) (considering Rule 10b5-1 plans “because
internal company documents, not publicly available, whose                they are publicly-filed SEC documents”).
authenticity cannot be determined. (ECF No. 66 at 12–
13.) Defendants respond that courts routinely consider pre-
                                                                                           7. Annexes
arranged trading plans at the motion to dismiss stage. (ECF
No. 58-1 at 52–53; ECF No. 70 at 15, 15 n.20 (collecting          [20]    [21] Defendants submitted six annexes with their
cases).) Defendants contend that the Individual Defendants’
                                                              opposition brief. 11 Plaintiffs argue that the annexes are
Form 4s SEC filings—which Defendants also submit with
                                                              “lawyer-created documents,” “neither judicially noticeable
their Motion, (Exs. 63–65), and to which Plaintiffs do not
                                                              nor relied upon by the Complaint,” and offered to get
object, (ECF No. 66 at 2)—by themselves are sufficient “to
                                                              around Defendants’ 65-page brief limit. (ECF No. 66 at
defeat any inference of ‘suspicious’ sales here.” (ECF No.
                                                              14–15.) Plaintiffs also object that several of the charts
70 at 15.) Defendants claim that they only provided the
                                                              “employ[ ] a system designed to be confusing,” several
Rule 10b5-1 plans themselves for the limited purpose of
                                                              other annexes contain data that “ha[s] no relevance to
documenting the plans’ entry dates, set windows, amounts,
                                                              this litigation” and “alternative calculations” that rebut the
and trigger prices. (Id.)
                                                              Amended Complaint's allegations. (Id. at 15–17.) Defendants
                                                              respond that the annexes are permissible “organizational
 *12 [18] [19] The Court finds that it may not take judicial
                                                              tools” rather than legal argument. (ECF No. 70 at 16–17.)
notice of the Rule 10b5-1 trading plans. As explained in the
scienter section below, courts in the Third Circuit regularly
                                                              11
consider Form 4s to assess insider trading allegations on              Annexes A, B, and C contain charts listing which of
motions to dismiss. See Amarin II, 2021 WL 1171669, at                 Defendants’ alleged statements Defendants argue
*9 (collecting cases). The Individual Defendants’ Form 4s              are not actionable misstatement or omissions:
are publicly filed, and Plaintiffs therefore concede they are          Annex A lists “forward-looking statements”
appropriately considered. However, while the Form 4s are               accompanied by cautionary language; Annex B



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        lists statements that are puffery; and Annex C lists
        “statements of historical fact.” Annex D contains               (a) To employ any device, scheme, or artifice to defraud,
        three charts of Amarin's historical stock price
                                                                        (b) To make any untrue statement of a material fact or to
        and Thero's and Kennedy's challenged stock sales.
                                                                        omit to state a material fact necessary in order to make the
        Annex E contains charts showing Defendants’
                                                                        statements made, in the light of the circumstances under
        calculations of the Individual Defendants’ stock
                                                                        which they were made, not misleading, or
        holdings (which Defendants contend differ from
        the Amended Complaints). Annex F contains                       (c) To engage in any act, practice, or course of business
        charts matching each of the Individual Defendants               which operates or would operate as a fraud or deceit upon
        stock sales to the exhibit of their Form 4 or Rule              any person.
        10b5-1 Plan that shows the sale was pre-arranged.
                                                                      17 C.F.R. § 240.10b-5. To survive a motion to dismiss, a
The Court will not strike Annexes A, B, and C because
                                                                      plaintiff bringing a claim under Section 10(b) and Rule 10b-5
they are permissible organizational tools. See In re PTC
                                                                      must allege: “(1) a material misrepresentation or omission
Therapeutics, Inc. Sec. Litig., 2017 WL 3705801, at *3. Given
                                                                      by the defendant; (2) scienter; (3) a connection between the
the volume of statements relevant to this case by virtue of their
                                                                      misrepresentations or omission and the purchase or sale of a
inclusion in the Amended Complaint, Defendants’ attempt
                                                                      security; (4) reliance upon the misrepresentation or omission;
to organize their arguments that apply to some statements
                                                                      (5) economic loss; and (6) and causation.” Stoneridge Inv.
but not others is well taken. In contrast, Annexes D, E,
                                                                      Partners, LLC v. Sci.-Atlanta, 552 U.S. 148, 157, 128 S.Ct.
and F contain information either not derived from exhibits
                                                                      761, 169 L.Ed.2d 627 (2008) (citing Dura Pharm., Inc. v.
Defendants submitted or derived from exhibits the Court
                                                                      Broudo, 544 U.S. 336, 341–42, 125 S.Ct. 1627, 161 L.Ed.2d
cannot consider at this juncture. Therefore, the Court will not
                                                                      577 (2005)). In a securities fraud case, “[a] corporation
consider them.
                                                                      is liable for statements by employees who have apparent
                                                                      authority to make them.” Inst. Invs. Grp. v. Avaya, Inc., 564
                             ***
                                                                      F.3d 242, 252 (3d Cir. 2009) (citing Makor Issues & Rights,
                                                                      Ltd. v. Tellabs Inc., 513 F.3d 702, 708 (7th Cir. 2008)).
In summary, in deciding Defendants’ Motion to Dismiss,
the Court will consider: documents containing Defendants’
Statements referenced in the Amended Complaint, (Exs. 1 to
31); Amarin's SEC filings, (Exs. 32 to 65); documents from                     1. Actionable Misstatement or Omission
the patent application before the USPTO, (Exs. 66 to 92);
the Kurabayashi Study, (Ex. 110); and Annexes A, B, and C,      The Court begins with Defendants’ argument that the
(ECF Nos. 58-2 to -4). However, the Court will not consider:    Amended Complaint does not allege an actionable material
the two documents from the Nevada Litigation, (Exs. 93–         misrepresentation or omission. Plaintiffs’ claims are based
94); the market analyst reports, (Exs. 95–109); the Individual  on statements about Vascepa made over a two-and-a-half
Defendants’ Rule 10b5-1 trading plans, (Exs. 111–17); and       year period, set out in detailed block quotes alleged in fifty
Annexes D, E, and F, (ECF Nos. 58-5 to -7).                     paragraphs over thirty pages of the Amended Complaint.
                                                                (Am. Compl. ¶¶ 99–153.) Within the quotations, Plaintiffs
                                                                highlight certain language. Plaintiffs do not specify how any
   B. MOTION TO DISMISS SECTION 10(B) CLAIM                     specific statement is allegedly false or misleading. Instead,
 *13 [22] [23] Section 10(b) of the Exchange Act creates Plaintiffs group the statements into three sections and at the
a private cause of action for the “use or employ, in            end of each section, generally allege how those statements
connection with the purchase or sale of any security ...        are misleading. (Id. ¶¶ 111, 137, 154.) Defendants mirror
[of] any manipulative or deceptive device or contrivance in     this approach, addressing Plaintiffs’ arguments within each
contravention of such rules and regulations as the [SEC] may    of the three categories. (ECF No. 58-1 at 34–48.) The
prescribe as necessary or appropriate in the public interest or Court will not examine each statement individually, but
for the protection of investors.” 15 U.S.C. § 78j(b). SEC Rule  rather, consistent with the parties’ approach, will assess each
10b-5, which implements Section 10(b), makes it unlawful,       category of allegedly false and misleading statements and
in connection with the purchase or sale of any security:        identify specific statements as examples, where necessary.




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 [24]     [25]     [26] To make out a Section 10(b) claim, a meaningful cautionary statements; or (2) immaterial; or (3)
plaintiff must adequately allege that the defendant made “a        made without actual knowledge that the statement was false
material misrepresentation or omission.” City of Edinburgh         or misleading.” In re Aetna, Inc. Sec. Litig., 617 F.3d 272, 278
Council v. Pfizer, Inc., 754 F.3d 159, 167 (3d Cir. 2014)          (3d Cir. 2010) (citing 15 U.S.C. § 78u-5(c)). Finally, the Court
(citing Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27,      must distinguish material representations from statements
37, 131 S.Ct. 1309, 179 L.Ed.2d 398 (2011)). A statement or        that “constitute no more than ‘puffery’ and are understood by
omission of fact is material if there is “a substantial likelihood reasonable investors as such.” In re Newell Brands, 837 F.
that the disclosure of the omitted fact would have been            App'x at 874 (quoting EP Medsystems, Inc. v. EchoCath, Inc.,
viewed by the reasonable investor as having significantly          235 F.3d 865, 872 (3d Cir. 2000)).
altered the ‘total mix’ of information made available.” Basic
Inc. v. Levinson, 485 U.S. 224, 231–32, 108 S.Ct. 978, 99          12      Although the parties’ briefing, filed before the
L.Ed.2d 194 (1988) (citation omitted); see also In re Newell               Third Circuit in City of Warren confirmed that
Brands, Inc. Sec. Litig., 837 F. App'x 869, 874 (3d Cir.                   Omnicare’s framework for opinion liability applies
2020) (statements or omissions viewed “in light of all the                 to Section 10(b) claims, applying Omnicare
information then available to the market” (citation omitted)).             does not change their arguments. As the Third
Further, a statement or omission only gives rise to liability if           Circuit explained, this Circuit had “prefigured
it was “misleading at the time it was made; liability cannot be            the Omnicare framework in imposing liability
imposed on the basis of subsequent events.” In re NAHC, Inc.               for opinions ‘issued without a genuine belief
Sec. Litig., 306 F.3d 1314, 1330 (3d Cir. 2002).                           or reasonable basis.’ ” City of Warren Police,
                                                                           70 F.4th at 686 (quoting In re Merck & Co.,
 *14 [27]         [28] This element is subject to the PSLRA's
                                                                           Inc. Sec., Derivative & “ERISA” Litig., 543 F.3d
“[e]xacting pleading requirements.” City of Edinburgh, 754
                                                                           150, 166 (3d Cir. 2008)). Thus, the three-part
F.3d at 168 (citing Tellabs, Inc. v. Makor Issues & Rights,
                                                                           Omnicare framework is merely a “more developed
Ltd., 551 U.S. 308, 313, 127 S.Ct. 2499, 168 L.Ed.2d 179                   articulation” of the Third Circuit's prior test, and the
(2007)). Thus, “[a] complaint involving securities fraud must              Court's conclusion here does not change whether it
‘specify each statement alleged to have been misleading, the               applies In re Merck’s articulation or Omnicare’s.
reason or reasons why the statement is misleading, and, if an
allegation ... is made on information and belief ... all facts on   The Amended Complaint identifies three categories of
which that belief is formed.’ ” In re Newell Brands., 837 F.        purported actionable misstatements or omissions, made in
App'x at 874 (quoting 15 U.S.C. § 78u-4(b)(1)). “The purpose        connection with (1) the Nevada Litigation, (2) Vascepa's
of the heightened pleading requirements is to ensure that           “unique” characteristics, and (3) Amarin's financial prospects
private securities actions do not become ‘a partial downside        based on the release of the REDUCE-IT Trial results. (Am.
insurance policy’ against the vicissitudes of the market.” Id.      Compl. ¶¶ 99–154.) Defendants contend that Plaintiffs fail to
at 874 (quoting City of Cambridge Ret. Sys. v. Altisource Asset     plead an actionable misstatement or omission with respect to
Mgmt. Corp, 908 F.3d 872, 880 (3d Cir. 2018)).                      each category. The Court addresses each in turn.


 [29] [30] The contours of what qualifies as an actionable
misstatement are well articulated. An opinion is actionable                         i. MARINE Patent Litigation
under the securities laws if it “(i) was not sincerely believed
when made; (ii) contains an expressly embedded, untrue              The Amended Complaint cites sixteen instances in which
factual assertion; or (iii) reasonably implies untrue facts         Individual Defendants made allegedly false and misleading
and omits appropriate qualifying language.” City of Warren          statements relating to their expectation of the outcome of
Police & Fire Ret. Sys. v. Prudential Fin., Inc., 70 F.4th 668,     the patent litigation. (Am. Compl. ¶¶ 138–53.) Plaintiffs
686 (3d Cir. 2023) (citing Omnicare, Inc. v. Laborers Dist.         allege that these statements are materially false or misleading
Council Const. Indus. Pension Fund, 575 U.S. 175, 135 S.Ct.         because they failed to disclose that (1) Amarin did not invent
1318, 191 L.Ed.2d 253 (2015)). 12 Next, the PSLRA creates           purified EPA or any use for it, (2) Amarin concealed the
a “safe harbor” for forward-looking statements. Alleged             Kurabayashi Study from the USPTO, and (3) Amarin was not
misrepresentations are not actionable if the statements “are        entitled to patent protection for Vascepa and would ultimately
(1) identified as [forward-looking], and accompanied by             lose the patent litigation. (Id. ¶ 154.)



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                                                                     believed that the litigation was going “very favorably,” that
 *15 Defendants argue that Plaintiffs have not alleged               the patents were “heavily prosecuted” before the USPTO, that
any actionable statements regarding the patent litigation.           Amarin was “vigorously” litigating its claims, that certain
First, Defendants contend that the Individual Defendants’            rulings “strengthen[ed]” Amarin's position, that's arguments
statements regarding their belief that the MARINE patents            were “persuasive,” that the litigation offered no “negative
would be upheld are inactionable opinions. (ECF No. 58-1             surprises,” that Amarin was “disappointed” in Judge Du's
at 34.) Plaintiffs failed to allege that Defendants lacked           decision, that Amarin's “patents should have been upheld,”
a reasonable basis for their opinions, despite the fact that         that Amarin had “numerous arguments that will contribute to
Amarin was ultimately unsuccessful in defending its patents.         a strong substantive appeal,” that Amarin had a “a reasonable
(Id. at 34–36.) Defendants argue that Plaintiffs’ claim that         shot at winning”—put forward Amarin's belief about the
they “concealed” the Kurabayashi Study by filing it with their       strength of their patents, rather than asserting positive
Form 1449 is unsupported. (Id. at 38–39.) Further, Defendants        knowledge of what the outcome of the litigation would be.
also point out that their statements about the litigation were       As Judge Wolfson held in an analogous matter, Defendants’
repeatedly tempered by warnings about the possibility the            “statements regarding the viability of the lawsuits ... clearly
patents would be invalidated. (Id. at 36–37.) Defendants’ also       constitute opinions regarding the success of the litigation,
contend that several of their statements about the litigation        rather than statements of fact.” Hall v. Johnson & Johnson,
were forward-looking statements protected by the PSLRA's             No. 18-1833, 2019 WL 7207491, at *19 (D.N.J. Dec. 27,
safe harbor or constituting inactionable puffery. (Id. at 40–        2019) (citing Axar Master Fund, Ltd. v. Bedford, 308 F.
42.)                                                                 Supp. 3d 743, 756-57 (S.D.N.Y. 2018)); see also Laasko
                                                                     v. Endo Int'l, PLC, No. 20-7536, 2022 WL 3444038, at *4
Plaintiffs respond that Defendants’ rosy statements about the        (D.N.J. Aug. 17, 2022) (finding no actionable misstatement
litigation were not inactionable opinions because they lacked        where plaintiffs alleged that defendants “assured investors
a “reasonable basis.” (ECF No. 65 at 34.) Plaintiffs contend         they would vigorously contest the merits of the opioid-related
that Defendants ignore the Amended Complaint's allegations           actions”).
that Vascepa's patents were invalid because Amarin misled
the USPTO. (Id. at 35.) Plaintiffs argue that Defendants’            13
                                                                            (See Am. Compl. ¶ 138 (describing the court's
“generic disclosure buried in Amarin's quarterly SEC filings”
                                                                            Markman ruling was going “very favorably” for
are insufficient to render their omissions inactionable. (Id. at            Amarin and that the company “feel[s] pretty good
36.) Plaintiffs argue that the PSLRA safe harbor is unavailable
                                                                            about that”); id. ¶ 139 (“Any good product gets
because the statements about the litigation's outcome were
                                                                            ANDA filers. It'd be almost insulting if they
made with knowledge they were misleading. (Id. at 37–38.)
                                                                            weren't, I guess.... I think the results coming out
                                                                            of that claims construction was very favorable
 [31] The Court agrees with Defendants that the Amended
                                                                            to us.... [T]hese patents were heavily prosecuted
Complaint fails to allege any actionable misstatements or
                                                                            through the U.S. Patent Office and as I say, we
omissions about the Nevada Litigation. First, the fourteen
                                                                            intend to defend them vigorously.”); id. ¶ 140 (“So
challenged statements in this section are plainly opinions.
                                                                            being able to show something different for that
Describing the litigation before Judge Du's March 2020
                                                                            was deemed to be unique and the ANDA filers
decision, Defendants’ statements characterized different
                                                                            have acknowledged that where they'd have generic
stages of the litigation—after the ANDAs were filed, after
                                                                            product that they would infringe that patent ...”);
the Markman ruling, and after summary judgment—as
                                                                            id. ¶ 141 (“Our patents expire in 2030 .... We
going “very favorably” for Amarin. (Am. Compl. ¶¶ 138–
                                                                            continue to defend our patents vigorously.”); id. ¶
46.) 13 After Judge Du's unfavorable decision and ahead                     142 (“This is a global epidemic, and this is – we
of the Federal Circuit's affirmance, Defendants continued                   have global rights to the product, and we feel like
to make statements expressing optimism in the “strong                       we're just getting started.... [Our patents] all have
substantive appeal” it could make. (Id. ¶ 147–51.) 14 After                 expiries in 2030. They all have multiple claims,
the Federal Circuit affirmed, Defendants’ statements showed                 and we intend to defend those patents vigorously....
their intent to “vigorously” defend its patents and continue                So we'll see what happens relative to the end of
litigating the matter to the Supreme Court. (Id. ¶ 152–                     litigation. I can't make any predictions there other
53.) 15 These statements about the litigation—that Amarin                   than stating that we intend to defend our patents


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       vigorously, and we like our IP.”); id. ¶ 143 (“The                 invention of VASCEPA was not obvious.”); id.
       judge ruled against the [ANDA] filer's summary                     ¶ 150 (“Amarin believes strongly that the lower
       judgment motion that sought to end the case at                     court judgment was seriously flawed and that it has
       this early stage in their favor .... We see this ruling            strong arguments on appeal that could result in a
       as strengthening our position in the litigation ...                victory for Amarin.”); id. ¶ 151 (“The decision was
       should it be determined that case settlement is in                 unexpected by everyone, including, we understand,
       the company's best interest.”); id. ¶ 144 (“From                   the generic companies involved in the litigation.
       a data exclusivity perspective, in the United                      As discussed in the past, we believe that the
       States, we've protected, via patents, 2 different                  District Court decision is flawed.... Unfortunately,
       indications. Our initial indication, which is for the              the judicial process is such that it doesn't matter
       trig[lyceride]s greater than 500, is currently subject             that I, you or others conclude that the District
       to ANDA litigation.... Obviously we're confident in                Court's decision was wrong.... However, while we
       the results [expected in the litigation], which is why             believe that we have good legal arguments and that
       we're expanding our commercial infrastructure.”);                  our patents should be upheld and that we have a
       id. ¶ 145 (“[W]e believe that our legal arguments                  reasonable shot at winning, there is no way for us
       are persuasive and should prevail. The U.S. Patent                 to guarantee that the Federal Circuit will decide
       Office was convinced of the appropriateness of                     in Amarin's favor.... But regarding the patent side,
       our patents, and we believe that the court should                  clearly, we think that the right answer here should
       conclude similarly.”); id. ¶ 146 (describing a recent              be that we win and we then have exclusivity until
       proceeding in the Nevada litigation as offering                    generics could come into the market in 2029. I think
       no “real negative surprises and an increase in                     that, that is the right answer.”).)
       confidence” causing Amarin to “think that we are            15
       in a good position based upon our intellectual                     (See Am. Compl. ¶ 152 (“We believe the key court
       property”).)                                                       decisions regarding VASCEPA patents related to
                                                                          the triglyceride lowering indication have been
14                                                                        wrong and we plan to continue to pursue this matter
       (See Am. Compl. ¶ 147 (“[W]e were surprised and
       disappointed that the court determined that patent,                to the highest level.”); id. ¶ 153 (“We believe that
       upon which we relied to build our business, should                 courts were wrong in their decisions, and we will
       be considered invalid based upon arguments of                      continue to pursue this matter, although we cannot
       perceived obviousness. In doing so, in my view,                    provide any guarantee of success in this pursuit.”).)
       the court's decision ... did not fully appreciate            *16 [32] Plaintiffs argue that these opinions are nonetheless
       the importance of VASCEPA as a unique and                   actionable because they allege that Defendants made them
       valuable breakthrough therapy, for which I believe          in bad faith. (ECF No. 65 at 34.) An opinion statement is
       there is considerable evidence ....”); id. (discussing      not actionable unless it “(i) was not sincerely believed when
       Amarin's “broader belief that our patents should            made; (ii) contains an expressly embedded, untrue factual
       have been upheld as inventive and not obvious.”);           assertion; or (iii) reasonably implies untrue facts and omits
       id. (“We believe that we have numerous arguments            appropriate qualifying language.” City of Warren Police, 70
       that will contribute to a strong substantive appeal.        F.4th at 686. Plaintiffs’ primary contention in support of this
       Many of you have expressed to us examples of                point is that Defendants could not have honestly believed
       arguments that go to a point that could be argued on        they would succeed in the Nevada Litigation because they
       appeal.”); id. ¶ 148 (“Amarin believes that it has a        “concealed” the Kurabayashi Study and “misled” the USPTO
       strong basis for appeal, which will be set out in its       by doing so. (ECF No. 65 at 34–35.) As alleged in the
       opening brief ....”); id. ¶ 149 (“We have filed our         Amended Complaint, Amarin owed a “duty of candor and
       appeal to the Federal Circuit. We and our outside           good faith in dealing with the [USPTO], which includes
       counsel believe that we have numerous strong                a duty to disclose to the [USPTO] all information known
       arguments that will contribute to a substantive             to that individual to be material to patentability as defined
       appeal.... [I]t remains stunning that the invention         in this section.” 37 C.F.R. § 1.56. The disclosure duty
       of VASCEPA can now be viewed by anyone as                   “is deemed to be satisfied if all information known to be
       obvious .... Amarin is vigorously pursuing this             material to patentability of any claim issued in a patent was
       appeal. We are doing so fully convinced that the


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cited by the [USPTO] or submitted to the [USPTO] in the                     allege that Amarin violated its duty of candor to the
manner prescribed by §§ 1.97(b)–(d) and 1.98.” Id. The rule's               USPTO here.
requirements are not met when “the duty of disclosure was             [33] Plaintiffs point to nothing from the Nevada litigation
violated through bad faith or intentional misconduct.” Id.           that would suggest that the patents’ invalidation was a
                                                                     foregone conclusion over the six years of litigation. Judge
On its face, the rule simply requires that an applicant disclose     Du merely disagreed with the patent examiner, finding
relevant information to the examiner. That is exactly what           that the Kurabayashi Study suggested that results from the
Defendants did by submitting the Kurabayashi Study with              MARINE Trial were not “unexpected benefits.” Amarin
their Form 1449. (Am. Compl. ¶ 55.) Plaintiffs fail to allege        Pharma, Inc., 449 F. Supp. 3d at 1013. While Judge Du
that Amarin ran afoul of this obligation by submitting the           wrote that the USPTO “did not consider” the Kurabayashi
Kurabayashi study as one among several hundred documents
                                                                     Study, Judge Du did not blame Defendants for this. Id.
filed with the USPTO. While Plaintiffs point to language
                                                                     Finding Defendants’ opinions about the progress of the
in the rule saying that it is not met if there is “bad faith
                                                                     Nevada Litigation actionable based on the bare fact that
or intentional misconduct,” 37 C.F.R. § 1.56, they have
                                                                     Amarin ultimately lost would constitute impermissible “fraud
alleged neither here. As one court explained, “allegations
                                                                     by hindsight.” See In re Amarin Corp. PLC Sec. Litig., 689
that the prosecuting attorney attempted to bury the [USPTO]
                                                                     F. App'x 124, 132 (3d Cir. 2017) (affirming dismissal of
Examiner with less relevant references is not persuasive
                                                                     securities fraud claims where plaintiffs relied on the fact that
because disclosure of hundreds of patents and publications
                                                                     the FDA changed its initial belief after receiving new data
is also entirely consistent with the Applicants fulfilling their
                                                                     (quoting OFI Asset Mgmt. v. Cooper Tire & Rubber, 834
duty to disclose [under section 1.56].” Bridgestone Americas
                                                                     F.3d 481, 497 (3d Cir. 2016))); see also In re NAHC, 306
Tire Operations, LLC v. Speedways Tyres Ltd., No. 22-0145,
                                                                     F.3d at 1330 (“[L]iability cannot be imposed on the basis of
2023 WL 5105776, at *3 (N.D. Tex. Aug. 9, 2023). 16
                                                                     subsequent events.”). 17

16     The Federal Circuit case Plaintiffs cite in support of        17     In fact, the patent's history supports Defendants
       their argument that Amarin violated its duty to the
                                                                            reasonable belief in their opinions. As Defendants
       USPTO does not support its argument. In Molins
                                                                            note, receiving the patents granted them a
       Plc v. Textron, a patent practitioner had previously                 presumption of validity. 35 U.S.C. § 282(a). In
       represented to foreign patent offices that a study
                                                                            a 2018 Markman decision, Judge Du adopted
       was “the closest prior art” but never referenced
                                                                            Amarin's proposed definition for four of the five
       this “highly material reference” to the USPTO. 48
                                                                            disputed terms. See Amarin Pharma, Inc. v. W.-
       F.3d 1172, 1181 (Fed. Cir. 1995). The trial court
                                                                            Ward Pharms. Corp., No. 16-2525, 2018 WL
       found that when the practitioner's successors found
                                                                            3824348, at *7 (D. Nev. Aug. 10, 2018). In 2019,
       out about the omission when reviewing the file on
                                                                            Judge Du denied-in-part the generic competitors’
       reexamination, their decision to “bury” the study
                                                                            motion for summary judgment, delivering Amarin
       amid other prior art violated their duty of candor
                                                                            a partial win in defense of its patents and permitting
       because they had “knowledge of [the predecessor's]
                                                                            the matter to proceed to trial. See Amarin Pharma,
       actions in the foreign prosecutions.” Id. at 1183.
                                                                            Inc. v. W.-Ward Pharms. Int'l Ltd., 407 F. Supp. 3d
       The Federal Circuit reversed, finding that the
                                                                            1103, 1120 (D. Nev. 2019).
       trial court erred because “[t]hese circumstances
       therefore do not present clear and convincing                  *17 [34] Although not necessary to the Court's conclusion,
       evidence of intent on the part of [the successors]            a review of the USPTO record—which is a matter of public
       to conceal [the study] from the PTO during the                record and which Plaintiffs and their attorneys surely scoured
       reexamination.” Id. at 1184.                                  in drafting the Amended Complaint—further expose the
       Even had the Federal Circuit affirmed, the                    inadequacy of Plaintiffs’ allegations. As Plaintiffs note, the
       allegations of the Amended Complaint suggesting               patent examiner stamped the references Amarin submitted,
       wrongdoing would fall well below the facts                    including one listing the Kurabayashi Study, with the
       presented in Molins. As it is, Molins only                    phrase “ALL REFERENCES CONSIDERED.” (Ex. 78.) The
       underscores the point that Plaintiffs have failed to          examiner's search notes reflect that he searched Amarin's
                                                                     submissions for the word “Epadel,” (Ex. 77), which is the



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drug administered in and discussed by the Kurabayashi Study.        Washington, 368 F.3d 228, 239 (3d Cir. 2004) Cases in
In the first rejection of Amarin's patent claim in June 2011,       which a complaint adequately alleges no reasonable basis
the examiner cited three studies, (Ex. 80), all of which were       point to a contradiction between the company's internal and
listed after Kurabayashi on Amarin's Form 1449, (Ex. 74).           public statements to support the claim. See Hall, 2019 WL
Plaintiffs fail to allege how, given these strong indications       7207491, at *18 (lack of a reasonable basis found when the
that the examiner reviewed the submitted prior art, including       complaint cites “defendant's own internal statements [that]
Kurabayashi, Defendants omitted material information by not         undercut their public interpretations of the data available”);
highlighting the Kurabayashi Study to the investing public. In      In re Chemours Co. Sec. Litig., 587 F. Supp. 3d 143, 159
this light, the Amended Complaint has failed to allege facts        (D. Del. 2022) (lack of reasonable basis for an opinion that
supporting its assertion that “Amarin only received patents for     a company's liability may be several hundreds of millions
Vascepa because Defendants withheld material information            of dollars found when defendants had received an internal,
concerning the relevant prior art from the USPTO.” (Am.             undisclosed report that the liability may be up to two billion
Compl. ¶ 154); see also Molins PLC v. Textron, Inc., 48 F.3d        dollars). Even “allegations [that] show a difference of opinion
1172, 1184 (Fed. Cir. 1995) (assuming examiner considered           within” a company regarding publicly-stated opinions may
references when he “initialed each reference, indicating his        be insufficient. See City of Edinburgh, 754 F.3d at 170.
consideration of the same, and stated that he had considered        Here, Plaintiffs do allege any confidential witness, internal
all of the cited prior art”). While these documents do not, at      document, or any other contemporaneous source, In re Newell
this stage of the litigation, show what the patent examiner         Brands, 837 F. App'x at 875 (“Plaintiff's allegations fail to
actually did or did not do, they undermine Plaintiffs’ bare         refer to contemporaneous sources showing that Defendants’
allegations of what Defendants knew—i.e. their “reasonable          statements were false or misleading.”), showing that anyone
basis”—for their in opinions about the litigation. 18               within Amarin at any point did not believe in the MARINE
                                                                    patents, let alone specifically that the Kurabayashi Study
18                                                                  would have been fatal to their patent had it been considered.
       Again, although not necessary for the Court's
                                                                    Defendants are therefore not “plausibly alleged to have lacked
       decision, a review of the Kurabayashi Study shows
                                                                    sincerity in making” their statements. Amaya, 258 F. Supp. 3d
       differences between it and the MARINE Trial—
                                                                    at 468–69.
       unacknowledged and unaddressed by the Amended
       Complaint—that undermine Plaintiffs’ allegation
                                                                     [36] Finding that these statements did not make an actionable
       that Defendants could not have had a reasonable
                                                                    omission is supported by Defendants’ contemporaneous,
       basis for their opinions. For example, the MARINE
                                                                    tempering words about their likelihood of success in
       Trial was conducted on patients with triglyceride
                                                                    the litigation. The Court engages in a “full reading” of
       levels of 500 to 2000 mg/dL, (Am. Compl. ¶
                                                                    Defendants’ statements “under the PSLRA's heightened
       51), and the crux of Amarin's patent based on
                                                                    pleading requirements,” City of Edinburgh, 754 F.3d at 169,
       the MARINE Trial is a treatment for patients
                                                                    considering whether Defendants’ “use of cautionary language
       with triglyceride levels between 500 and 1,500
                                                                    in analyzing whether the plain language of [their public
       mg/dL, (id. ¶ 53); in contrast, the Kurabayashi
                                                                    statements] was false or misleading,” id. at 177 n.16. In the
       Study's patient population had triglyceride levels
                                                                    same breath as language Plaintiffs rely on for their claims,
       of only 150 to 400 mg/dL, (Ex. 110 at 522). The
                                                                    Defendants also disclosed the risks inherent in litigation and
       MARINE Trial subjects received only Vascepa (i.e.
                                                                    the potential that the patent would not be successful. For
       EPA), (Am. Compl. ¶ 51), while the Kurabayashi
                                                                    example, at a June 12, 2019 healthcare conference, Thero
       Study participants received both Epadel (EPA) and
                                                                    talked about the litigation but concluded “we'll see what
       estriol, (Ex. 110 at 521).
                                                                    happens relative to the end of litigation. I can't make any
 [35] Plaintiffs contend that it is enough for them to allege       predictions there other than stating that we intend to defend
that Defendants “knew that ‘Amarin's patents were issued            our patents vigorously ....” (Am. Compl. ¶ 142.) 19 These
in error’ and ‘Amarin would not succeed in its litigation           cautionary statements are not limited to “generic disclosures
against the ANDA filers.’ ” (ECF No. 65 at 34 (quoting              buried” in the company's SEC filings, (ECF No. 65 at 36), but
Am. Compl. ¶ 154).) However, Plaintiffs must not just               rather follow on the heels of the alleged misstatements from
allege “actual knowledge” but also “plead with particularity        the Amended Complaint.
facts that so demonstrate.” GSC Partners CDO Fund v.



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19
        (See also Am. Compl. ¶ 138 (warning to “just
                                                                      20
        wait until really the second half of [2019]”); id. ¶                 (See also Am. Compl. ¶ 143 (“Due to the complex
        145 (acknowledging “risk in any litigation”); id.                    nature of patent litigation, we refer investors to
        ¶ 146 (“[T]here's risk involved with any ANDA                        the court's order and other court documents for
        litigation ....”); id. ¶ 147 (maintaining belief in                  further detail, which can be located through the
        Amarin's patents after Judge Du's decision but                       FAQ section of our Investor Relations website. We
        cautioning that the “appeal process likely won't                     also refer investors to the Risk Factors section in
        focus on much of the content which I just                            today's Form 10-Q for detail. We intend to continue
        expressed, and therefore, such arguments matter                      to vigorously defend our patents but don't intend
        little”); id. ¶ 151 (describing Amarin's intent to                   to go into more detail on that today.”).) Other
        and basis for appealing Judge Du's decision but                      contemporaneous statements referred investors to
        noting that “[u]nfortunately, the judicial process                   the public record of the Nevada Litigation. (See
        is such that it doesn't matter that I, you or others                 e.g., id. ¶ 141 (“The public record for the ANDA
        conclude that the District Court's decision was                      litigation is available for all to view and many
        wrong”); id. ¶ 152 (acknowledging “there is no                       have.”).)
        way for us to guarantee that the Federal Circuit              21
        will decide in Amarin's favor” and that the “Federal                 These disclosures are evident both from the public
        Circuit could rule in favor of the generic companies                 statements and SEC filings directly referenced in
        and confirm the District Court decision” because                     the Amended Complaint as well as in the filings
        “overturning a lower court ruling has not been easy                  publicly available from the SEC; from filings
        in the industry historically”); id. ¶ 153 (noting that               throughout the USPTO patent prosecution process
        Amarin “cannot provide any guarantee of success                      up through the end of the Class Period. (See
        in” its appeal to the Supreme Court).)                               generally Exs. 3–62.)
        Before Judge Du's ruling, Thero explicitly                    Plaintiffs point to cases in which courts have found generic
        contemplated losing the Nevada Litigation,                    warnings of litigation risk inadequate to cure material
        warning that “the court's decision on this matter             omissions. (ECF No. 65 at 36.) However, these cases
        is expected near the end of March” and that “it               involved much more egregious misstatements and much
        would be a considerable setback to pharmaceutical             weaker curative disclosures. In Rosenbaum Cap. LLC v.
        development and patient care if we do not prevail             Bos. Commc'ns Grp., Inc., the company's statement that
        in this litigation.” (Id. ¶ 145.)                             it had a “meritorious defense” in an infringement action
 *18 Defendants’ statements also referred investors to their          were insufficient where it took steps to design a new
SEC disclosures, such as Thero's statements on a November             system with “unnecessary components in order to make the
5, 2019 earnings call “refer[ring] investors to the court's order     new system appear different from” the patent-holder's and
                                                                      obtained opinion letters from law firms that the company
and other court documents for further detail.” (Id. ¶ 143.) 20
                                                                      knew were based on insufficient knowledge. 445 F. Supp.
“[S]elective statements of optimism concerning [litigation]
                                                                      2d 170, 172, 176 (D. Mass. 2006). Likewise in Meyer v.
are generally not misleading when a company also ‘explicitly
                                                                      Jinkosolar Holdings Co., the Second Circuit found a generic
caution[s] investors’ that the results of the [litigation] are
                                                                      warning of regulatory risk inadequate, where the company's
still uncertain.” Paxton v. Provention Bio, Inc., No. 21-11613,
                                                                      public statements that it employed “pollution abatement
2022 WL 3098236, at *12 (D.N.J. Aug. 4, 2022) (quoting
                                                                      equipment and ... monitoring environmental teams on duty
City of Edinburgh, 754 F.3d at 168–69). A review of Amarin's
                                                                      24 hours a day” conflicted with concurrent private reports
SEC filings from well before and into the Class Period offer
                                                                      to environmental regulators of substantial, existing problems.
standard warnings that Amarin may not receive or be able to
                                                                      761 F.3d 245, 251 (2d Cir. 2014). While Defendants did not
defend its patents. 21 In re Amarin Corp. PIC Sec. Litig., No.        disclose the specific risk of Judge Du citing the Kurabayashi
21-2071, 2022 WL 2128560, at *3 (3d Cir. June 14, 2022)               Study as the reason for overturning Amarin's patents, the
(“We further agree with the District Court that the plaintiffs’       Amended Complaint lacks any allegation that Defendants
theory of omission liability is unpersuasive given Amarin's           should have known of this possibility. See Williams v. Globus
contemporaneous disclosures [in quarterly and annual SEC              Med, Inc., 869 F.3d 235, 243 (3d Cir. 2017) (company does
filings] regarding the mineral oil placebo.”).                        not have a duty to disclose a risk that had not “actually


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materialized” at the time of the allegedly misleading prior     with meaningful, specific warnings disclosing specific risks,
disclosure).                                                    such as that Thero “can't make any predictions [about the
                                                                Nevada Litigation] other than stating that we intend to
 [37]    [38]     [39] Defendants’ warnings also bring their defend our patents vigorously.” (Am. Compl. ¶ 142; see also
statements under the PSLRA's safe harbor. Under the PSLRA,      Exs. 3–62.) Further, Defendants’ forward-looking statements
“forward-looking” statements are not actionable if they are     are nonactionable because Plaintiffs “have not sufficiently
“(1) identified as such, and accompanied by meaningful          pleaded a strong inference that defendants acted with actual
cautionary statements; or (2) immaterial; or (3) made without   knowledge that their projections were false or misleading.”
actual knowledge that the statement was false or misleading.”   Avaya, 564 F.3d at 259. As the Amended Complaint fails
In re Aetna, Inc., 617 F.3d at 278 (citing 15 U.S.C.            to allege that Defendants lacked a reasonable basis for their
§ 78u-5(c)). The PSLRA's definition of “forward-looking         opinions, they have also failed to plead actual knowledge. See
statement” includes “projections of future performance,         Intel Corp. Inv. Pol'y Comm. v. Sulyma, 589 U.S. 178, 184,
plans and objectives for future operations, and assumptions     140 S.Ct. 768, 206 L.Ed.2d 103 (2020) (“[T]o have ‘actual
underlying statements about future financial, economic or       knowledge’ of a piece of information, one must in fact be
operational performance.” Id. at 279 (citing 15 U.S.C. §        aware of it.”).
78u–5(i)(1)). This safe harbor for forward-looking statements
overlaps with the Third Circuit's “bespeaks caution” doctrine,
under which “cautionary language, if sufficient, renders the
                                                                            ii. Vascepa's “Unique” Characteristics
alleged [forward-looking] omissions or misrepresentations
immaterial as a matter of law.” EP Medsystems, 235 F.3d at      The Amended Complaint cites to a number of public
874 (quoting In re Donald J. Trump Casino Sec. Litig.-Taj       statements made by Defendants—all by Thero except for
Mahal Litig., 7 F.3d 357, 371 (3d Cir. 1993)). “Under both      one by Craig Granowitz (“Granowitz”), Amarin's Chief
the PSLRA and the bespeaks caution doctrine, cautionary         Medical Officer—about Vascepa's “unique” properties that
language must be extensive, specific, and directly related to   differentiated it from existing available products. (Am.
the alleged misrepresentation ....” Lewakowski v. Aquestive     Compl. ¶¶ 99–110.) Plaintiffs allege that these were false or
Therapeutics, Inc., No. 21-3751, 2023 WL 2496504, at *5         misleading statements that omitted key information because
(D.N.J. Mar. 14, 2023) (citing In re Aetna, 617 F.3d at 282; In “Vascepa was not unique, and Amarin did not invent purified
re Donald J. Trump, 7 F.3d 357 at 371–72).                      EPA or discover any of its medical characteristics.” (Id. ¶
                                                                 111.) Therefore, Plaintiff concludes again, Amarin was not
 *19 [40] Each of the criteria for the PSLRA safe harbor are     entitled to patent protection for Vascepa and only received a
met here. Forward-looking statements are “broadly defined”       patent because it “withheld material information” from the
in the PSLRA, Avaya, 564 F.3d at 255, to include, among          USPTO examiner. (Id.)
other statements, those about “future economic performance,
including any such statement contained in a discussion and       Defendants argue that Plaintiffs’ challenge to these statements
analysis of financial condition by the management or in          “rests on the same flawed assertion of a purported failure to
the results of operations included pursuant to the rules and     disclose the ‘fragility’ and ‘vulnerability’ of the MARINE
regulations of the Commission” as well as “any statement of      patents.” (ECF No. 58-1 at 43 (quoting Am. Compl. ¶¶
the assumptions underlying or relating to” such statements.      13, 111).) Defendants further argue that the Amended
15 U.S.C. § 78u-5(i)(1)(C)–(D). As summarized above, each        Complaint's allegations regarding Vascepa's uniqueness
of the alleged statements about the Nevada Litigation address    “erroneously conflates both (i) obviousness with uniqueness
Amarin's intent to defend its patents, Amarin's belief and/      and (ii) REDUCE-IT with MARINE.” (Id. at 43.) Defendants
or hope for how the litigation will proceed, Amarin's belief     conclude that several of the statements alleged in this section
of whether it will succeed in the litigation and on appeal.      are inactionable puffery or forward-looking statements that
(See Am. Compl. ¶¶ 138–53.) These sort of statements fit         fall under the PSLRA's safe harbor. (Id. at 44.)
comfortably within the forward-looking statement definition.
See also Laasko, 2022 WL 3444038, *5 (“litigation                Plaintiffs respond that statements making “specific
risk disclosures were forward-looking statements”). These        comparisons” between two drugs are “actionable when
statements were accompanied, often contemporaneously but         scientific studies suggest” they are not. (ECF No. 65 at
also in Amarin's SEC filings from around the same time,          39.) By calling Vascepa “unique,” Defendants inaccurately



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asserted that Vascepa was different from Epadel, which the                  the medical community that is familiar with this
Kurabayashi Study showed was not true. (Id.) Plaintiffs                     important drug. They emphasize, as do the medical
also point to two other studies—the JELIS study and                         society, that the results of REDUCE-IT should
Katayama study—that they allege demonstrated that Epadel,                   not be generalized to any other product.”); id. ¶
and therefore Vascepa, had these same qualities. (Id. at 39–                109 (“Vascepa represents a new class of proven
40.) Plaintiffs argue that whether a drug is “unique” is a fact,            preventative therapy.”).)
not an opinion, and that even if it were an opinion, Defendants   *20 [44] Plaintiffs say the uniqueness claims were
lacked a reasonable basis to express it. (Id. at 40.) Plaintiffs misleading because Amarin was “not entitled to patent
also argue that the several statements Defendants point to are   protection for Vascepa” because the only reason it received
neither puffery nor protected by the FSLA safe harbor. (Id. at   patents in the first place was because it “withheld material
41–42.)                                                          information” from the USPTO examiner. (Am. Compl.
                                                                 ¶ 111(b).) This claim again turns on the argument that
 [41] [42] [43] The Court finds that Plaintiffs have failed Defendants knew or should have known that the Kurabayashi
to allege any actionable statement within this group of          Study would eventually be cited by Judge Du as part of
twelve statements either. At the outset, a number of the         her decision invalidating Vascepa's patents. As explained
statements constitute inactionable puffery as “vague and         above, Plaintiffs have not alleged facts with particularity
general statements of optimism ‘constitute no more than          either that Defendants did “not honestly believe[ ]” or lacked
‘puffery’ and are understood by reasonable investors as          a “reasonable basis” to believe the patents would be upheld.
such.’ ” In re Advanta Corp. Sec. Litig., 180 F.3d 525, 538      City of Edinburgh, 754 F.3d at 170. Therefore, statements that
(3d Cir. 1999) (quoting In re Burlington Coat, 114 F.3d at       Vascepa was unique (and impliedly different from Epadel) are
1428 n.14). “Such statements, even if arguably misleading,       opinions which Defendants had a reasonable belief to express.
do not give rise to a federal securities claim because they
are not material.” Id. (citations omitted). Statements that a     [45] To the extent Plaintiffs allege that these statements were
drug product is “unique,” “far superior” to other generic        inaccurate not just because of Kurabayashi but also because
drugs, should do “very well” and will be “well received”         of the JELIS and Katayama studies, (ECF No. 65 at 39–40
are puffery because they are “not the kind of statements         (discussing same)), these allegations are likewise inadequate.
that a reasonable investor would have relied upon.” Bauer        While Plaintiffs claim that Amarin “buried” the Kurabayashi
v. Eagle Pharms., Inc., No. 16-3091, 2017 WL 2213147, at         Study from the USPTO—which, as the Court has already
*12 (D.N.J. May 19, 2017) (citing In re Burlington Coat,         explained, is unsupported by any particular allegations—
114 F.3d at 1426); see also In re Neurotrope, Inc. Sec.          Plaintiffs cannot even make the same claim about either
Litig., 315 F. Supp. 3d 721, 734 (S.D.N.Y. 2018) (finding        JELIS or Katayama. As alleged in the Amended Complaint,
puffery when stating that a drug trial results “provide exciting the patent examiner's rejection of Amarin's application for
evidence of a new therapeutic approach”). Likewise here, the     the MARINE patent was rejected several times in part based
Amended Complaint's allegations that Vascepa is “the single      on the Katayama study. (Am. Compl. ¶¶ 56, 61.) While
most significant advance” in preventative cardiovascular care    the Amended Complaint alleges that Defendants “knew the
or that the REDUCE-IT results show a “new paradigm in            JELIS study in Japan had already proven that ‘EPA treatment
treatment” are inactionable puffery. (Am. Compl. ¶¶ 100–         reduced the frequency of major coronary events’ ” at the
01.) 22                                                              time Amarin launched the REDUCE-IT Trial, its executives
                                                                     publicly “acknowledged it closely mirrored the JELIS study,”
22                                                                   with Granowitz telling investors several months before the
          (Am. Compl. ¶ 100 (“An additional 25% relative
          risk reduction in REDUCE-IT, on top of well-               start of the Class Period (when the REDUCE-IT results were
          controlled LDL cholesterol through statin therapy,         announced) that “we believe that REDUCE-IT has a very
          positions Vascepa as the single most significant           high probability of success” because “JELIS was the most
          advance in preventative cardiovascular drug                similar to REDUCE-IT in terms of the drug, a pure EPA
          therapy since the advent of statin therapy.”); id.         product as well as the dosing.” (Id. ¶ 79.) 23 Because the
          ¶ 101 (“This is a – with the REDUCE-IT results             Katayama and JELIS studies were public knowledge and
          an opportunity to provide medical therapy that             admittedly disclosed by Defendants, differentiating Vascepa
          is a new paradigm in treatment ...”); id. ¶ 107            from other drugs is not misleading. See In re Celgene Corp.
          (“I'm hearing tremendous support for Vascepa from          Sec. Litig., No. 18-4772, 2019 WL 6909463, at *12 (D.N.J.


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Dec. 19, 2019) (finding no actionable statements where             “a reduction in triglycerides and ApoB without raising
the “shortcomings for clinical studies” that plaintiffs allege     LDL-C levels.” (Id. ¶ 53). It was on the basis of the
defendant failed to disclose “was publicly disclosed and           MARINE Trial results that Amarin sought and eventually
acknowledged by” defendant); see also In re Sanofi-Aventis         received patent protection for Vascepa. (Id. ¶¶ 53–72.)
Sec. Litig., No. 07-10279, 2009 WL 3094957, at *5 (S.D.N.Y.        The Amended Complaint's allegations relating to the patent
Sept. 25, 2009) (finding no actionable statements where            prosecution before the USPTO make no mention of Vascepa's
allegedly non-disclosed “safety data” was “unequivocally           use for reducing cardiovascular risk (i.e. the REDUCE-
demonstrate[d]” by the complaint to have been “made                IT indication). (Id.) In contrast, the REDUCE-IT Trial
available to the public through [defendant's] press releases,      demonstrated that “patients taking purified EPA were at
S.E.C. filing, and various medical publications”).                 substantially less risk for a cardiovascular event than patients
                                                                   taking a placebo.” (Id. ¶ 80.) As Judge Du explained
23                                                                 in finding the REDUCE-IT results irrelevant to Amarin's
       Further undermining the Amended Complaint's
       allegation that the statements about REDUCE-IT              secondary considerations arguments, “there is no nexus
       were misleading in light of JELIS, Defendants               between REDUCE-IT and the Asserted Claims” for the
       further cite the Court to other portions of their SEC       patents issued by the USPTO. Hikma Pharms. USA Inc., 449
       filings in which they repeatedly disclosed that the         F. Supp. 3d at 1010. While the patents for Vascepa were issued
       REDUCE-IT Trial sought to expand on the JELIS               based on the MARINE method, any claim as to uniqueness
       study. (See Ex. 52 at 12 (“In Japan, ethyl-EPA is           related to the REDUCE-IT indication. (See, e.g., Am. Compl.
       marketed under the product name of Epadel .... Due          ¶ 100 (describing an “additional 25% relative risk reduction
       to the limitation of JELIS, further study was needed        in REDUCE-IT” as “the single most significant advance in
       through the REDUCE-IT study to determine the                preventative cardiovascular drug therapy”).) 24 Even reading
       clinical benefit, if any, of EPA therapy in statin-         these statements to mean that Defendants were representing
       treated patients with elevated triglyceride levels          that Amarin's REDUCE-IT indication was unique, those
       in a patient population beyond that studied in              statements were not rendered inactionable by Judge Du's
       JELIS.”); see also id. ¶ 54 at 10 (same).)                  decision, which did not touch on Vascepa's qualities or
       Further, the Court notes that in one of the prior           characteristics for the REDUCE-IT indication, and therefore
       securities fraud class action suits against Amarin,         did not render these statements false.
       the plaintiffs there alleged that the defendants—
       Amarin and several executives, including Thero              24
                                                                          (See Am. Compl. ¶ 100 (“An additional 25%
       —made actionable misstatements in 2010 to 2013                     relative risk reduction in REDUCE-IT, on top
       when they “repeatedly miscited JELIS as support                    of well-controlled LDL cholesterol through statin
       for the efficacy of Vascepa, despite their actual                  therapy, positions Vascepa as the single most
       knowledge of critical distinctions between JELIS                   significant advance in preventative cardiovascular
       and ANCHOR and REDUCE–IT.” In re Amarin                            drug therapy since the advent of statin therapy.”);
       Corp. PLC, No. 13-6663, 2015 WL 3954190,                           id. ¶ 101 (“We continue to reinforce that REDUCE-
       at *8 (D.N.J. June 29, 2015). In other words,                      IT results are unique to Vascepa it cannot be
       while those plaintiffs alleged actionable statements               generalized any prior generation add-on to statin,
       because the defendants compared REDUCE-                            such as fenofibrates and that the REDUCE-IT
       IT and JELIS, here Plaintiffs allege actionable                    results cannot be generalized to common fish
       statements because Defendants did not talk about                   oil or omega-3 mixture products, particularly
       JELIS when discussing REDUCE-IT. While the                         those that contain the omega-3 acid, DHA....
       opposite allegations are certainly not preclusive,                 This is a – with the REDUCE-IT results an
       the inconsistency is striking.                                     opportunity to provide medical therapy that is
 *21 [46] Indeed, the Court notes the critical distinction                a new paradigm in treatment ....”); id. ¶ 102
between the MARINE Trial and the REDUCE-IT Trial.                         (“Vascepa has demonstrated clinical effects that
The MARINE Trial demonstrated that Vascepa reduced                        have not been shown for any other product.
triglycerides in patients with severe hypertriglyceridemia.               The clinical effects of Vascepa demonstrated in
(Am. Compl. ¶ 51.) Throughout its application to the                      REDUCE-IT cannot be generalized to any other
USPTO, Amarin maintained that the MARINE Trial showed                     product.”); id. ¶ 104 (“We do not envision that


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       we will compete with therapies for managing                         ingredient of which has been shown to have
       LDL cholesterol. Rather, Vascepa presents a new                     clinical effects which are different from any other
       opportunity for healthcare professionals to help                    drug.” (emphasis added)); id. ¶ 106 (“Vascepa is
       patients reduce their cardiovascular risk.”); id. ¶                 – has a mechanism of action, which is unique.
       107 (“I'm hearing tremendous support for Vascepa                    The FDA has deemed it to be a new chemical
       from the medical community that is familiar with                    entity.” (emphasis added)); id. ¶ 108 (“This is a
       this important drug. They emphasize, as do the                      unique molecule. It's been deemed a new chemical
       medical society, that the results of REDUCE-IT                      entity by the FDA. It is – it has multiple effects that
       should not be generalized to any other product.”);                  have not been shown for any other molecule.”).)
       id. ¶ 109 (“Vascepa represents a new class of
       proven preventative therapy. Vascepa is the first
       and only drug with this new cardiovascular risk                         iii. Financial Prospects of REDUCE-
       reduction indication. Our launch of Vascepa for                                IT and Vascepa's Prospects
       this new indication reflects the uniqueness of
                                                                      *22 In the final group of statements Plaintiffs cite in
       Vascepa.”).)
                                                                     support of their claim, Defendants make statements regarding
 [47] [48] [49] Other statements are not adequately alleged Amarin's financial prospects resulting from the results of
to be misleading because on their face they do not refer             the REDUCE-IT Trial. (Am. Compl. ¶¶ 112–36.) Of the 25
to Vascepa. The Amended Complaint alleges falsity in that            quoted statements, only three were made or signed by Kalb,
“Vascepa was not unique.” (Am. Comp. ¶ 111(a).) However,             with the rest made by Thero. (Id.) The Amended Complaint
some of the complained-of statements refer not to Vascepa            alleges that these statements were actionable because they
—Amarin's drug—but to EPA, the compound Vascepa                      failed to disclose (1) if it lost patent protection, Amarin
contains, such as Thero's November 2018 statement that               would have to compete with generic manufacturers and
“[p]ublications in recent years have shown that the clinical         would not have the same market share, (2) the loss of
effects of the active ingredient in Vascepa are unique.” (Id.        patent protection would “dramatically undermine the positive
                           25                                        REDUCE-IT results,” and (3) Amarin was “not entitled” to its
¶¶ 101 (emphasis added).) As to the Amended Complaint's
claim that “Amarin did not invent purified EPA or discover           patents and only received them because it “withheld material
any of its medical characteristics,” (id. ¶ 111(a)), Plaintiffs cite information ... from the USPTO.” (Id. ¶ 137.)
to no statements by Amarin or its employees suggesting that
they did. The Court must read the alleged misstatements in           Defendants argue that the Amended Complaint does not
the context in which they were made. City of Edinburgh, 754          allege an actionable omission because of Amarin's extensive
F.3d at 171. Read in context, these statements fail to identify      disclosure “warn[ing] of these very risks regarding both
anything “materially misleading” about these statements. In          MARINE patent invalidity and generic competition.” (ECF
re NAHC, 306 F.3d at 1330 (citing In re Burlington Coat, 114         No. 58-1 at 45.) Further, Defendants contend that the
F.3d at 1419).                                                       financial predictions are inactionable opinions because the
                                                                     Amended Complaint does not allege that Thero and Kalb
25                                                                   did not honestly believe their opinions and also that they
        (See also Am. Compl. ¶ 102 (“The active
                                                                     fall under the PSLRA's safe harbor. (Id. at 45–47.) Finally,
        pharmaceutical ingredient in Vascepa has a unique
                                                                     Defendants argue that some statements in this section are
        molecular structure. Vascepa has demonstrated
                                                                     puffery or accurate statements of historical fact. (Id. at 47–
        clinical effects that have not been shown for
                                                                     48.) Plaintiffs’ response, as with the prior two groups of
        any other product. The clinical effects of
                                                                     statements, turns on the argument that Defendants failed to
        Vascepa demonstrated in REDUCE-IT cannot be
                                                                     “disclos[e] material information concerning the validity of
        generalized to any other product.”); id. ¶ 103
                                                                     Vascepa's patents.” (ECF No. 65 at 20–21.) Applying this
        (“There's data out there showing that EPA, ... the
                                                                     allegation, Plaintiffs reason that Defendants’ disclosures of
        active ingredient in our drug, has a positive effect
                                                                     litigation risks were inadequate, that their opinions about
        on each of those steps ....” (emphasis added));
                                                                     Vascepa's financial prospects lacked a reasonable basis, and
        id. ¶ 105 (“As a reminder, Vascepa capsules
                                                                     that the safe harbor is unavailable. (Id. at 22–30.)
        are not an omega-3 mixture but a drug product
        consisting of icosapent ethyl, the single active



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 [50] The Court finds that as a matter of law, Defendants’          or a sentiment which the mind forms of persons or things.”
statements about the financial prospects from the REDUCE-           Omnicare, 474 U.S. at 183, 106 S.Ct. 477 (citation omitted)
IT study are not materially false or misleading, largely for the    (cleaned up).
reasons explained in the preceding sections. The challenged
statements here all express Defendants’ belief in the scope of      26
                                                                           (See also Am. Compl. ¶ 115) (“[T]he REDUCE-IT
Vascepa's success in light of the REDUCE-IT Trial's results.
                                                                           results positions Vascepa to lead a new paradigm
(Am. Compl. ¶¶ 112–36.) In pleading why these statements
                                                                           in patient care beyond cholesterol management....
are allegedly false, each of the three reasons Plaintiffs give
                                                                           While we do believe that REDUCE-IT results
ties back to the claim that the Individual Defendants’ failed
                                                                           will help transform Vascepa into becoming a
to disclose that it could lose patent protection, which in
                                                                           multibillion-dollar brand, we intend to wait until
turn is based on the previously-addressed, unsubstantiated
                                                                           healthcare professionals better appreciate the
claim that the undisclosed Kurabayashi Study was fatal to
                                                                           results for the REDUCE-IT study and better
Amarin's patent claim. (Id. ¶ 137.) Plaintiffs’ opposition brief
                                                                           appreciate the existing managed care coverage in
affirms that this is the basis for Plaintiffs’ claims about these
                                                                           affordable pricing of Vascepa before we provide
statements. (ECF No. 65 at 22–30.) Although no further
                                                                           revenue guidance.”); id. ¶ 116 (“[R]oughly 1
discussion is necessary to find these statements inactionable,
                                                                           in 4 adults in the United States have elevated
the Court briefly addresses additional arguments when only
                                                                           triglycerides, but fewer than 4% of those patients
tend to bolster and support this outcome.
                                                                           are treated with any therapy .... Or is it all 25%,
                                                                           and we're about twice but that's about $80 billion.
First, the statements are all inactionable opinions. As one
                                                                           I don't think we'll get there, but that's the size of
representative statement alleged, at a September 2018 call
                                                                           the potential opportunity.”); id. ¶ 117 (“We will be
announcing the results of the REDUCE-IT Study, Thero said:
                                                                           pursuing a[n] expanded indication with the FDA
                                                                           for cardiovascular risk prevention, and we believe
                                                                           this is a multibillion-dollar opportunity.”); id. ¶
             Fast forward through over a decade                            121 (“We anticipate Vascepa revenue growth to
             and hundreds of millions of dollars                           accelerate further after label expansion approval
             of big pharma clinical development                            and with a larger sales team, and then again
             to REDUCE-IT. With approximately                              after we commence promotion of Vascepa for
             25% relative risk reduction on top of                         cardiovascular risk reduction on television and
             statin therapy now demonstrated, we                           through other media.”); id. ¶ 122 (“With the success
             have confirmed that our easy-to-use                           of our launch of Vascepa for this important new
             drug, that's inexpensive, with broad                          indication, we believe that Amarin will create
             reimbursement coverage, significantly                         growth and significant shareholder value.”); id. ¶
             reduces cardiovascular risk. It thus                          123 (“[W]e're working to be at a support multiple
             has the potential to overcome the                             billions in revenues, and we're using a strategy
             limitations of multiple blockbuster                           that has multiple suppliers competing against
             prior-generation therapies. It thus has                       themselves.”); id. ¶ 124 (“But if we just look at
             the potential to be a significant                             the population of patients with triglycerides from
             blockbuster and help millions of                              135 and above, that's about 90 million people in
             patients reduce cardiovascular risk on                        United States. If we look at statin treated patients
             top of standard-of-care statin therapy.                       with elevated triglycerides 135 and above, that's
                                                                           about 15 million patients in the United States.”);
                                                                           id. ¶ 126 (“At this time, we are projecting that
(Am. Compl. ¶ 113.) The statements from Thero or Kalb                      total net revenue for 2020 will be in the range of
reflect similar projections about the “potential for Vascepa               $650 million to $700 million, mostly from sales
to help millions of patients,” (id. ¶ 114), or their belief                of Vascepa in the United States.... However ...
“that REDUCE-IT results will help transform Vascepa into                   at this time, we are not providing guidance
becoming a multibillion-dollar brand,” (id. ¶ 115). 26 Each of             regarding annual revenue levels beyond 2020.”);
these expressions of Vascepa's potential is “a belief, a view,             id. ¶ 127 (“We are committed to making Vascepa a


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       multibillion-dollar brand and a standard of care for                 there were “concerning” issues with the product
       patients with persistent high cardiovascular risk.”);                and that the company should not ship the product
       id. ¶ 130 (“This is the advent of a new era in                       with the issues.” 620 F. Supp. 3d 167 at 186. The
       preventative cardiovascular care.”); id. ¶ 131 (“As                  complaint contained “allegations from multiple
       previously described, we believe that a U.S. sales                   confidential witnesses demonstrating that critical
       force of 800 sales representatives, supported by our                 employees working on [the drug] and its defects ...
       other promotional activities, is positioned to make                  understood that the FDA in this meeting de facto
       Vascepa a multibillion-dollar brand.”); id. ¶ 134                    demanded the imposition of a ship hold until the
       (“VASCEPA is rapidly becoming a new pillar in                        BD could resolve the defects.” Id.
       preventative cardiovascular care. We have the drug,                                      ***
       the signs, the people and the resources to, and we
       believe, being quite successful in the U.S., Europe     In sum, the Amended Complaint has not adequately alleged
       and rest of the world.”).                               that any of Defendants’ statement about the USPTO
 *23 [51]         [52] Thus, whether Plaintiffs have alleged proceedings, the Nevada Litigation, Vascepa's characteristics,
securities fraud turns on whether they have adequately alleged or Amarin's financial prospects based on the REDUCE-IT
that an opinion “(i) was not sincerely believed when made;     Study were actionable, because they were reasonably held
(ii) contains an expressly embedded, untrue factual assertion; opinions accompanied by appropriate disclosures, supported
or (iii) reasonably implies untrue facts and omits appropriate by reasonable belief, appropriately caveated, and protected
qualifying language.” City of Warren Police, 70 F.4th at       by the PSLRA's safe harbor. 28 At the Amended Complaint's
686. Plaintiffs argue that “Defendants may not describe a      core is Plaintiffs’ allegation that Amarin and its executives
favorable picture of material issue without including the      knew that the company was not entitled to patent protection
details that would have presented a complete and less          for Vascepa but nonetheless sought and defended the patents.
favorable one.” (ECF No. 65 at 21 (quoting Industriens         Plaintiffs’ theory of liability would impose a duty that
Pensionsforsikring v. Becton, Dickinson & Co., 620 F. Supp.    Congress sought to avoid through the PSLRA's heightened
3d 167, 186 (D.N.J. 2022)).) 27 Plaintiffs have failed to            pleading standard. See In re NAHC, 306 F.3d at 1330
allege any facts supporting the assertion that “Defendants           (“[L]iability cannot be imposed on the basis of subsequent
understood that Vascepa's patents could not withstand the            events.”). The Honorable Michael Vazquez, U.S.D.J. (ret.)
scrutiny of litigation.” (ECF No. 65 at 17.) As explained            explained the concern well:
above, the mere existence of the Kurabayashi Study—
Plaintiffs’ only basis for their allegation that Defendants
should have known of that their patents were invalid—is                          Plaintiffs seem to contend that
insufficient to plead that Defendants’ had such knowledge                        a company must also make a
and is not a risk Defendants were required to disclose to                        complete mea culpa when disclosing
the investing public. While the projections for Amarin's                         the investigation and its potential
market power after REDUCE-IT were predicated on Amarin's                         legal implications. Such a position
ability to maintain its patents, this risk was disclosed, both                   does not find support in the
concurrently with the cited statements in the Amended                            law. ... Plaintiffs do not claim that
Complaint, and in Amarin's SEC filings. Thus, the Court finds                    Defendants made a misrepresentation
that the Amended Complaint fails to allege with particularity                    or actionable omission concerning
that Defendants lacked a reasonable basis for their opinions,                    the nature of the investigation itself
that they were not sincerely held, or that they contained untrue                 nor as to the potential legal liability
factual assertions.                                                              faced by [the corporate defendant].
                                                                                 Plaintiffs do contend, however,
27                                                                               that [the corporate defendant's]
       In Industriens Pensionsforsikring, Judge Chesler
       found that complaint had adequately alleged an                            disclosures were misleading because
       actionable omission because defendants had made                           they concealed the true extent of
       rosy financial projections about their drug without                       the company's legal exposure ... The
       disclosing that the FDA had told the company that                         law required [the corporate defendant]



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            to disclose the investigation and its                  in isolation, meets that standard.’ ” In re Hertz Glob. Holdings
            potential legal ramifications, which                   Inc., 905 F.3d 106, 114 (3d Cir. 2018) (quoting Tellabs,
            [the corporate defendant] appears to                   Inc., 551 U.S. at 323, 127 S.Ct. 2499). “[O]missions and
            have done.                                             ambiguities count against inferring scienter.” Tellabs, Inc.,
                                                                   551 U.S. at 323, 127 S.Ct. 2499.

In re Galena Biopharma, Inc. Sec. Litig., No. 17-929, 2019         The Amended Complaint asserts that its alleged facts permit
WL 5957859, at *10–11 (D.N.J. Nov. 12, 2019). Defendants           the “strong[ ] infer[ence] [that] Defendants knew or recklessly
cannot pluck a piece of evidence that the Court in the Nevada      disregarded that their Class Period statements were materially
Litigation relied on in reaching its decision to argue now         false or misleading to investors.” (Am. Compl. ¶ 155.)
that Defendants’ decade of optimistic opinions about their         Plaintiffs further allege several facts they contend support
patents were fraudulent, absent any particularized allegations     scienter. First, Plaintiffs allege that because Vascepa was
that Defendants had conflicting information at the time or         Amarin's sole product on which Amarin's financial success
otherwise lacked a reasonable basis for their opinions. The        depended, the Individual Defendants “exclusively focused on
Amended Complaint does not do so here, and this claim must         issues concerning Vascepa in their day-to-day work.” (Id. ¶
fail.                                                              157; see also id. ¶¶ 156–61.) Second, Plaintiffs point to the
                                                                   Individual Defendants’ repeated, detailed public statements
28                                                                 about Vascepa as showing they played an “integral role” in
       As explained at the outset, given Plaintiffs’
                                                                   REDUCE-IT and the MARINE litigation. (Id. ¶ 163; see also
       pleading approach to quote large volumes of
                                                                   id. ¶¶ 162–69.) Third, Plaintiffs contend that the Individual
       text without specifying how each statement
                                                                   Defendants’ stock trading history during the Class Period, in
       was allegedly misleading, the Court does not
                                                                   which they “sold over 5.4 million shares of Amarin ADSs at
       quote and discuss every single statement from
                                                                   artificially inflated prices,” supports scienter. (Id. ¶ 170; see
       the Amended Complaint. For the avoidance of
                                                                   also id. ¶¶ 170–77.) Finally, the Amended Complaint alleges
       doubt, the Court notes that it has assessed each
                                                                   that Thero's and Kennedy's departures from the company in
       statement in Plaintiffs’ Amended Complaint, even
                                                                   April 2021 support an inference of wrongdoing. (Id. ¶¶ 178–
       if not discussed herein. For the above-mentioned
                                                                   79.)
       reasons, the Court finds that Plaintiffs fail to allege
       an actionable omission or misstatement.
                                                                  Defendants respond that the Amended Complaint's discussion
                                                                  of the Individual Defendants’ stock sales, which may be
                    2. Inference of Scienter                      probative of motive, does not establish scienter because the
                                                                  scope and timing of the sales were not suspicious. (ECF No.
 *24 [53] [54] [55] [56] To survive dismissal, Plaintiffs58-1 at 48–55.) Defendants argue that Plaintiffs have offered
must also adequately plead scienter, which is “the defendant's    no fact—“from a confidential witness, internal document,
intention to deceive, manipulate, or defraud,” Tellabs, 551       or otherwise”—supporting the claim that the Individual
U.S. at 313, 127 S.Ct. 2499 (citation and quotations omitted),    Defendants “knew or believed the MARINE patents shouldn't
requiring “a knowing or reckless state of mind,” Avaya, 564       be granted, were invalid when granted, or would be
F.3d at 267 (citing Advanta., 180 F.3d at 534–35). “Under         invalidated in the MARINE Patent Litigation.” (Id. at 56.)
the PSLRA's second pleading requirement, a plaintiff must         Defendants contend that the more compelling inference from
‘state with particularity facts giving rise to a strong inference Defendants’ conduct is that they believed in their patents
that the defendant acted with the required state of mind.’ ”      and that Vascepa would have the financial success they
Id. at 267 (quoting 15 U.S.C. § 78u–4(b)(2)). This standard       expected. (Id. at 56–57.) Defendants argue that the remaining
is met “only if a reasonable person would deem the inference      allegations in the Amended Complaint—the importance of
of scienter cogent and at least as compelling as any opposing     Vascepa to Amarin, the Individual Defendants’ seniority at
inference one could draw from the facts alleged.” Tellabs,        the company, and Thero's and Kennedy's retirement—even
551 U.S. at 324, 127 S.Ct. 2499. The Court conducts this          taken together are not sufficient to support a strong inference
analysis “holistically to determine whether [the complaint's]     of scienter. (Id. at 57–59.)
allegations, ‘taken collectively, give rise to a strong inference
of scienter, not whether any individual allegation, scrutinized



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 [57]       [58] Here, the Amended Complaint's scienter            “the most powerful evidence of scienter is the content
allegations are insufficient to satisfy the PSLRA's “strong        and context of [defendants’] statements themselves.” 564
inference” requirement. The Court begins with Plaintiffs’          F.3d at 269. True, however in Avaya, this referred to chief
allegations of “reckless or conscious behavior.” Avaya, 564        financial officer's “explicit[ ]” denials that the company was
F.3d at 267. “Conscious misbehavior involves ‘intentional          discounting its products in the face of pricing pressure in
fraud or other deliberate illegal behavior.’ ” In re Radian Sec.   response to “repeated questions about pricing by analysts.”
Litig., 612 F. Supp. 2d 594, 613 (E.D. Pa. 2009) (quoting          Id. In other words, the fact that a company officer makes
Advanta, 180 F.3d at 535). “A reckless statement is one            a statement about a topic does not necessarily support the
involving not merely simple, or even inexcusable negligence,       inference that he knows all facts relevant to that topic. Id.
but an extreme departure from the standards of ordinary care,      at 270 (“The mere fact that a defendant made a statement
and which presents a danger of misleading buyers or sellers        about earnings, therefore, does not necessarily imply he
that is either known to the defendant or is so obvious that the    would have been aware of particular pricing developments.”).
actor must have been aware of it.” Avaya, 564 F.3d at 267 n.42     Avaya may be factually similar had analysts asked about the
(quoting Advanta, 180 F.3d at 535).                                Kurabayashi Study and the possibility of Amarin losing the
                                                                   Nevada Litigation because of it, and in response Individual
 *25 Plaintiffs make three related arguments about the             Defendants denied that possibility. See Rahman v. Kid
importance of Vascepa to Amarin and the Individual                 Brands, Inc., 736 F.3d 237, 246 (3d Cir. 2013) (distinguishing
Defendants’ involvement with the Nevada Litigation. The            Avaya because “in Avaya the individuals who denied that
basic allegations Plaintiffs rely on for these arguments are       there was intense competition were responding to pointed
sufficiently alleged. Vascepa was Amarin's “sole product,”         inquiries from analysts during multiple conference calls that
to which the company “devoted substantial resources.” (Am.         addressed pricing problems”).
Compl. ¶ 156.) The Individual Defendants each held senior
leadership positions at the company during the Class               Plaintiffs do not allege anything comparable here. Instead,
Period, and Thero and Kennedy were executives at the               Plaintiffs call out only general statements by the Individual
company during the patent prosecution. (Id. ¶¶ 23–25, 163.)        Defendants that indicate their focus on the patent litigation.
Plaintiffs allege that the Individual Defendants were “highly      (Am. Compl. ¶¶ 162–69.) The Amended Complaint alleges
sophisticated” as a result of their managerial (Thero), legal      that Kennedy said he “[l]ed Amarin's strategy” in the
(Kennedy), and financial (Kalb) experience. (Id. ¶¶ 157–           successful prosecution of over 40 patents, (id. ¶ 163),
60.) All three Individual Defendants spoke to investors about      which may refer to the six MARINE patents challenged
the Nevada Litigation, Vascepa's financial significance to         in the Nevada Litigation. Regarding Thero, the Amended
Amarin, and the REDUCE-IT Results. (Id. ¶¶ 164–68; see             Complaint cites Thero's statement that he had been “part
also id. ¶¶ 99–153.) As such, Plaintiffs have pled facts           of Amarin” since the “genesis” of Vascepa. (Id. ¶ 164.)
sufficient to infer that given Vascepa's importance to the         After the Nevada Litigation commenced, Thero and Kalb
company, the Individual Defendants would have been focused         both made statements that Amarin was “focused on” or
on the Nevada Litigation and familiar or even involved with        “prioritizing” wining the litigation. (Id. ¶¶ 166–68.) In
major litigation decisions.                                        contrast to these broad statements of Defendants’ priorities,
                                                                   the decision on the importance of the Kurabayashi Study,
 [59] However, Plaintiffs carry their inferences too far by        whether to submit it to the USPTO, and whether to separately
concluding that therefore the alleged misrepresentations           raise it in communications with the examiner are specific
and omissions—i.e. their patents’ fundamental flaw from            considerations and granular details within the broader context
failing to disclose the Kurabayashi Study—were “of such a          of the patent litigation. Plaintiffs offer no particularized
nature [that] they would have been approved by corporate           allegations that the Individual Defendants were ever asked
officials sufficiently knowledgeable about the Company             about the Kurabayashi Study or were involved in any
to know those statements and omissions were false and              decisions about how to use it in the patent prosecution.
misleading.” (Id. ¶ 161.) Plaintiffs’ allegations that the         Therefore, these statements by the Individual Defendants
Individual Defendants were focused on Vascepa and winning          do not create a strong inference that Plaintiffs knew about
the Nevada Litigation does not carry the inference that            the alleged concealment of the Kurabayashi Study from the
they therefore knew or recklessly disregarded the patents’         examiner. 29
vulnerabilities. Plaintiffs cite Avaya for the proposition that



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29                                                               allegations that further suggest that the officer had knowledge
       The other cases Plaintiffs cite on this point,
       (ECF No. 65 at 44–45), likewise support the               of the fact in question.”); Advanta, 180 F.3d at 539 (rejecting
       general proposition that an executive who publicly        “allegations that a securities-fraud defendant, because of his
       professes expertise on a subject can broadly be           position within the company, ‘must have known’ a statement
       inferred to know what is happening within that            was false or misleading”). While the core operations doctrine
                                                                 offers weak support for inferring scienter, it is not enough
       subject at the company. See Allegheny Cnty.
                                                                 here.
       Employees’ Ret. Sys. v. Energy Transfer IP, 532
       F. Supp. 3d 189, 203 (E.D. Pa. 2021); In re PTC
                                                                  [63] In contrast, here, Plaintiffs’ allegations regarding
       Therapeutics, Inc. Sec. Litig., No. 16-1124, 2017
                                                                 Thero's and Kennedy's departures from the company do not
       WL 3705801, at *17 (D.N.J. Aug. 28, 2017);
                                                                 support an inference of scienter. Plaintiffs point to the fact
       Gauquie v. Albany Molecular Rsch., Inc., No.
                                                                 that they left in April 2021—“seven months after the Federal
       14-6637, 2016 WL 4007591, at *2 (E.D.N.Y. July
                                                                 Circuit affirmed the District Court's invalidation of Vascepa's
       26, 2016). They do not support the inference that
                                                                 patents”—as evidence of their state of mind. (ECF No. 65
       because the Individual Defendants were focused
                                                                 at 46.) The Third Circuit has found that “[r]esignations or
       on Vascepa and the Nevada Litigation, they
                                                                 terminations might form a piece to the scienter puzzle ... if,
       were aware of the Kurabayashi Study, considered
                                                                 for example, a relatively contemporaneous and public firing
       its potential relevance to Amarin receiving or
                                                                 is accompanied by extreme corporate punishment such as the
       defending its patents, and therefore possessed
                                                                 denial of previously accrued benefits.” Fain v. USA Techs.,
       requisite scienter when speaking about the Nevada
                                                                 Inc., 707 F. App'x 91, 97 (3d Cir. 2017) (citing Abrams v.
       Litigation.
                                                                 Baker Hughes Inc., 292 F.3d 424, 434 (5th Cir. 2002)).
 *26 [60]        [61]    [62] Plaintiffs’ related reliance on the
“core operations” doctrine fails for the same reason. (ECF        The Amended Complaint does not allege that the departures
No. 65 at 45–46.) “[U]nder the core operations doctrine,          were either contemporaneous with the announcement of
misstatements and omissions made on ‘core matters of central      bad news or accompanied by any punishment. Thero and
importance’ to the company and its high-level executives          Kennedy both left the company in April 2021, (Am. Compl.
gives rise to an inference of scienter when taken together with   ¶¶ 178–79), which was seven months after the Federal Circuit
additional allegations connecting the executives’ positions to    affirmed Judge Du's decision. However, Amarin's loss in the
their knowledge.” In re Urban Outfitters, Inc. Sec. Litig., 103   Nevada Litigation did not “reveal” any wrongdoing; in other
F. Supp. 3d 635, 653–54 (E.D. Pa. 2015) (quoting Rahman,          words, as explained above, no facts came to light through
736 F.3d at 246). This doctrine is insufficient by itself         Judge Du's decision or the Federal Circuit's affirmance that
to establish scienter but should be taken “in consideration       Amarin, let alone any Individual Defendant, concealed the
when viewing the entirety” of the Amended Complaint's             Kurabayashi Study or that at the time the USPTO issued
allegations. In re: Enzymotec Sec. Litig., No. 14-5556,           the patents, Defendants knew or even suspected them to be
2015 WL 8784065, at *18 (D.N.J. Dec. 15, 2015). As                invalid. Therefore, the fact that two Individual Defendants’
explained above, Plaintiffs have certainly alleged adequately     departures from the company followed the court decisions,
that Vascepa was important to Amarin and the Individual           absent any allegation that they were in any way punished
Defendants. The USPTO prosecution and Nevada Litigation           or censured, does not evidence scienter. See Hoey v. Insmed
did not involve an ancillary part of Amarin's business;           Inc., No. 16-4323, 2018 WL 902266, at *23 (D.N.J. Feb. 15,
plainly, the Individual Defendants were sensitive to Amarin's     2018) (“Plaintiff fails to adequately allege an extraordinary
patents. However, the core operations doctrine does not
                                                                  corporate punishment against Dr. Gupta.”). 30 Further, Judge
permit imputing the requisite scienter regarding any statement
                                                                  Du's decision citing the Kurabayashi Study was handed
made within a broad perimeter of the relevant core operations
                                                                  down in March 2020, over one year before the executives’
to an executive. See Rahman, 736 F.3d at 246 (distinguishing
                                                                  departures. This is not the “relatively contemporaneous and
the core operations doctrine's application in Avaya); see
                                                                  public firing,” Fain, 707 F. App'x at 97, that could support
also Nat'l Junior Baseball League v. Pharmanet Dev. Grp.
                                                                  scienter. Cf. Van Dongen v. CNinsure Inc., 951 F. Supp. 2d
Inc., 720 F. Supp. 2d 517, 556 (D.N.J. 2010) (“[I]t is not
                                                                  457, 474 (S.D.N.Y. 2013) (inference of scienter supported
automatically assumed that a corporate officer is familiar
                                                                  by retirement of executive “on the same day” a research
with certain facts just because these facts are important to
                                                                  firm released a negative report about the company); Hoey,
the company's business; there must be other, individualized


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2018 WL 902266, at *23 (inference of scienter not found            id. ¶¶ 170–77.) As summarized in its embedded charts, the
even where executive resigned “shortly after” negative results     Amended Complaint alleges that during the two-and-a-half
announced). 31                                                     year Class Period, Thero sold shares worth $36,790,688,
                                                                   Kennedy sold shares worth $36,504,087, and Kalb sold shares
30                                                                 worth $9,779,380. (Id. ¶ 170.) Thero and Kalb had not sold
       In fact, rather than punishment, Thero and Kennedy
                                                                   any shares in the two years prior to the start of the class period,
       received consulting contracts with Amarin after
                                                                   during which time Kennedy sold shares worth $2,138,688.
       departing, as set out in Amarin's public Form 8-Ks
                                                                   (Id. ¶¶ 173–75.) On the day the Class Period began—which
       filed in April 2021. (See Exs. 60, 61.)
                                                                   is also the day the REDUCE-IT results were announced—
31                                                                 Kennedy sold 83.21% of his holdings, at the time worth over
       Statements quoted in the Amended Complaint that
       Thero's replacement would be “responsible for               $11 million. (Id. ¶ 173.) On that same day, Kalb sold 90.91%
       reversing the business’ decline” and that Thero             of his then-holdings, which were worth over $1.5 million. (Id.
       must “take responsibility” for Amarin's loss in             ¶ 174.) 32 Plaintiffs argue that these sales are “suspicious” and
       the Nevada Litigation, (Am. Comp. ¶ 178), are               support the inference that the Individual Defendants knew the
       generic statements that would be expected about             patents would eventually be invalidated. (ECF No. 65 at 48–
       any executive of a company that experienced a               57.)
       significant litigation disappointment, as the Nevada
       Litigation certainly was. See In re Hertz, 905              32      The Court recognizes that the amounts and
       F.3d at 119 (“But pleading scienter requires more                   percentages of the Individual Defendants’ stock
       than pleading a link between bad news and an                        sales alleged in the Amended Complaint do not
       executive's resignation. Changes in leadership are                  perfectly add up. For example, while the Amended
       only to be expected when leadership fails. That is                  Complaint alleges that Kalb sold 90.91% of
       not, in itself, a symbol of fraud.”).                               his Amarin ADS holdings worth $1,563,514 on
 *27 [64] [65] Finally, the Court considers the Amended                    September 24, 2018, it also alleges that he sold
Complaint's allegations related to the Individual Defendants’              65.07% of his holdings worth $9,779,380 over the
stock sales. While “motive and opportunity” do not offer                   entire Class Period. (Am. Compl. ¶ 174.) Unless
an “independent route to scienter” following Tellabs,                      he subsequently acquired more stock after selling
particularized allegations regarding motive and opportunity                90.91% of his shares worth approximately $1.5
may, in combination with other allegations, support a strong               million in September 2018, it would be impossible
inference of scienter. Avaya, 564 F.3d at 277 (citing Tellabs,             for the approximately $9.8 million worth of
551 U.S. at 323–29, 127 S.Ct. 2499). Although the Court                    stock he acquired over the entire Class Period
“will not infer fraudulent intent from the mere fact that some             to constitute 65.07% of his holdings. The Court
officers sold stock,” id. at 279 (quoting Advanta, 180 F.3d at             assumes that for Kalb and the other Defendants,
540), “if the stock sales were unusual in scope or timing, they            this disconnect is explained by the fact that they
may support an inference of scienter,” id. (emphasis added).               acquired a substantial number of shares during the
“Whether a sale is ‘unusual in scope’ depends on factors such              Class Period.
as ‘the amount of profit made, the amount of stock traded,         Defendants disagree. (ECF No. 58-1 at 48–55.) According to
the portion of stockholdings sold, or the number of insiders       Defendants, Plaintiffs’ focus on Kalb's and Kennedy's sales
involved,’ ” In re Suprema Specialties, Inc. Sec. Litig., 438      made on the day the Class Period began omits that Thero
F.3d 256, 277 (3d Cir. 2006) (quoting Wilson v. Bernstock, 195     made 68 of the 73 statements which Plaintiffs challenge.
F. Supp. 2d 619, 635 (D.N.J. 2002)), as well as “whether the       (Id. at 49.) Defendants argue that Kalb's and Kennedy's
sales were ‘normal and routine,’ and whether the profits were      sales on the day the REDUCE-IT results were announced,
substantial relative to the seller's ordinary compensation,” id.   on which the share price sharply jumped after a period of
(quoting In re Burlington Coat, 114 F.3d at 1423).                 low value, reflected the executives “rationally monetiz[ing]”
                                                                   their shares. (Id. at 50–51.) Defendants contest Plaintiffs’
Plaintiffs would infer scienter from the Amended Complaint's       characterization of the percentages of shares the Individual
allegations that the Individual Defendants “sold over 5.4          Defendants sold because the Amended Complaint “wrongly
million shares of Amarin ADSs at artificially inflated prices”     ignores their exercisable options.” (Id. at 51.) Further, the
during the Class Period. (Am. Compl. ¶ 170; see generally


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Individual Defendants offer their Rule 10b5-1 plans, which         of holdings sold tells only part of the story. Courts have
they contend show that the Individual Defendants’ trades           routinely found that even large percentages of holdings sold
were almost all planned prior to the Class Period. (Id. at 52–     at first blush appearing suspicious are not sufficient to infer
54.)                                                               scienter when other factors, such as the timing of the relevant
                                                                   sales, weigh against that inference.” In re Hertz, 905 F.3d
 *28 [66] On balance, the Individual Defendants’ stock             at 121. The fact that the Class Period stretched 31 months
sales somewhat contribute to an inference of scienter here,        cuts against inferring scienter when the company's officers
albeit weakly. In Plaintiff's favor, the value of the stock the    sold significant amounts of stock during that period. In re
three Individual Defendants sold was over $83 million, a           Burlington Coat, 114 F.3d at 1424 (observing that because
significant amount. The Amended Complaint alleges that             “corporate executives are compensated in terms of stock
over the entire Class Period, Thero sold 24.30% of his             and stock options,” it is not unusual that “these individuals
shares; and during a portion of the Class Period—from the          will trade those securities in the normal course of events”).
announcement of the REDUCE-IT results until the issuance           Thus, executive stock sales following the rise in stock price
of Judge Du's decision—Kennedy sold 89.19% of his shares           is not unexpected. See In re Party City Sec. Litig., 147
and Kalb sold 65.07%. (Id. ¶¶ 173–75.) The size of these           F. Supp. 2d 282, 312 (D.N.J. 2001) (“Trading following
sales in comparison to the Individual Defendants holdings          public announcements simply evidences compliance with the
is unusual and supports Plaintiffs’ position. In re Suprema        securities laws.”). The significance of Kalb and Kennedy
Specialties, 438 F.3d at 278 (finding complaint “plausibly         selling large portions of their shares on the day the REDUCE-
alleged that the sales were not normal or routine” for             IT results were announced is lessened by the fact that Thero
defendant officers who each “is alleged to have sold over          —who made the vast majority of the statements that Plaintiffs
30 percent of his holdings”); see also In re: Enzymotec,           challenged—did not sell any stock that day, (Am. Compl.
2015 WL 8784065, at *19 (finding complaint alleged stock           ¶ 170); had the Individual Defendants in fact known since
sales “unusual in scope” where one defendant sold 35%              2011 (when they allegedly “buried” the Kurabayashi Study in
of his total holdings and another sold 42%). 33 Likewise           the Form 1449) that the patents were vulnerable, one would
somewhat supporting this inference is the fact that two            have expected them all, including the CEO, to unload their
Defendants—Kennedy and Kalb—sold significant portions              shares when the price spiked after the REDUCE-IT results
of their holdings on the day the REDUCE-IT results were            were announced.
announced, (Am. Compl. ¶¶ 173–74), and two Defendants—
Thero and Kennedy—did not sell any stock in the two years          A review of the Individual Defendants’ publicly filed
prior to that day, (id. ¶¶ 174–75). See McDermid v. Inovio         Individual Form 4s further mitigates the suspiciousness of the
Pharms., Inc., 520 F. Supp. 3d 652, 654 (E.D. Pa. 2021)            stock sales. 34 While the Court agrees with Plaintiffs that it
(finding unusual that defendants had not “sold stock in the        cannot judicially notice the Rule 10b5-1 plans themselves,
year-and-a-half leading up to their 2020 sales”).                  Courts routinely consider publicly-filed Form 4s (which here
                                                                   reference the Rule 10b5-1 plans). See In re Hertz Glob.
33                                                                 Holdings, Inc. Sec. Litig., No. 13-7050, 2017 WL 1536223,
       As noted above in the section addressing
                                                                   at *22 n.10 (D.N.J. Apr. 27, 2017), aff'd, 905 F.3d 106 (3d
       Defendants’ exhibits, the Court does not consider
                                                                   Cir. 2018) (considering Form 4s in deciding motion to dismiss
       Defendants’ re-calculation of the percentages of
                                                                   and noting “it can take judicial notice of the public filings
       the Individual Defendants’ sales and holdings to
                                                                   showing that the challenged sales by the defendants were
       account for their exercisable options, as that annex
       relies on documents not submitted to the Court in           made pursuant to 10b5-1 plans”); see also Amarin II, 2021
       conjunction with Defendants’ Motion for its data.           WL 1171669, at *9; In re Merck Co., Inc., Sec., Derivative &
       (Annex E.)                                                  “Erisa” Litig., No. 05-1151, 2006 WL 8460903, at *4 (D.N.J.
                                                                   Jan. 20, 2006) (“It is ... without dispute that SEC Forms 4
 [67] However, the stock sales alleged in the Amended              and 5 are in fact SEC filings” subject to judicial notice.).
Complaint are a far cry from the “ship's captain exiting into      A significant portion of the suspicious sales alleged in the
the safety of a lifeboat while assuring the passengers that all    Amended Complaint—indeed, almost the entirety of Kalb's
is well” that Plaintiffs argue. (ECF No. 65 at 48 (quoting In re   and Kennedy's—were of the Individual Defendants’ stock
Scholastic Corp. Sec. Litig., 252 F.3d 63, 67 (2d Cir. 2001)).)    options that vested. (Exs. 63–65 (showing that Individual
As the Third Circuit has explained, “the pure percentage           Defendants’ stock sales occurred the same day or shortly after



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they were purchased at option prices).) Although the sale of        35    The only sales that were not pursuant to the Rule
stock options may still contribute to an inference of scienter,           10b5-1 were Thero's two November 2020 sales
it is somewhat less because the “proceeds were the result                 of 567,405 shares worth a combined $2,318,569.
of accumulated stock options and were an intended part of                 (Am. Compl. ¶ 170.) The two sales were made
their overall compensation package.” Advanta, 180 F.3d at                 months after Judge Du's March 2020 decision and
541 (citing In re Burlington Coat, 114 F.3d at 1424).                     at a share price of $4.13 and $4.07, well below
                                                                          the price at which the other sales alleged in the
34                                                                        Amended Complaint were made. (Id.; see also Ex.
       Defendants contend that it is “plaintiff's burden
       to plead suspicious stock sales, including that                    63 at 7.)
       any 10b5-1 plan providing for the sales was                        Plaintiffs argue that the Rule 10b5-1 plans were
       entered into during the [class period] and at a                    entered into fraudulently while Defendants knew
       suspicious time.” (ECF No. 58-1 at 53 n.52.)                       the patents would be invalidated, eliminating any
       Plaintiffs respond that “the existence of a Rule                   cleansing effect the plans could have. (ECF No.
       10b5-1 Trading Plan is an affirmative defense                      65 at 55–56); see Villare v. Abiomed, Inc., No.
       that must be pled and proved.” (ECF No. 65                         19-7319, 2021 WL 4311749, at *21 (S.D.N.Y.
       at 55.) Both parties’ positions go too far. While                  Sept. 21, 2021) (finding a Rule 10b5-1 plan does
       Courts in this District routinely consider Rule                    not undermine scienter when it is “entered into
       10b5-1 plans in determining whether scienter is                    or strategically amended to take advantage of an
       adequately pled, the cases do not support imposing                 inflated stock price or insider information”). But
       a “burden” on Plaintiffs to affirmatively plead                    a plaintiff cannot sidestep the Rule 10b5-1 plans
       how the Rule 10b5-1 plans do not undermine the                     by “conclusory” allegations of strategic use of the
       scienter allegations.                                              plans. Id. (citing Koplyay v. Cirrus Logic, Inc., No.
 *29 [68] [69] [70] More importantly, almost every sale                   13-790, 2013 WL 6233908, at *6 (S.D.N.Y. Dec.
for all three Individual Defendants was entered into pursuant             2, 2013)). Plaintiffs allege that Defendants knew
to a Rule 10b5-1 plan. “Pursuant to SEC Rule 10b5-1, a                    of the patents’ vulnerability since at least 2011
person's trading is not ‘on the basis of’ material non-public             when they sought patent protection for Vascepa.
information, such as the allegedly fraudulent practices here,             Given this long time frame, it is to be expected that
if the person adopted, and sold their securities pursuant to              the executives would have entered a Rule 10b5-1
a written trading plan consistent with the terms of Rule                  plan at some point. Plaintiffs cannot rely on their
                                                                          claim of Defendants’ decade-long deceit in order to
10b5-1.” In re Synchronoss Techs., Inc. Sec. Litig., No.
                                                                          argue that any action taken within that period—like
17-2978, 2019 WL 2849933, at *16 (D.N.J. July 2, 2019)
                                                                          entering into the plans—supports their inference of
(discussing 17 C.F.R. § 240.10b5-1(c)(1)). Courts in this
                                                                          scienter.
district hold that “[t]rades made under automatic trading
plans are of minimal value in establishing an inference of     [71] Cutting against scienter, Defendants argue that Amarin's
scienter.” Lovallo v. Pacira Pharm., Inc., No. 14-6172, 2015  investment of “hundreds of millions of dollars” in Vascepa's
WL 7300492, at *13 (D.N.J. Nov. 18, 2015) (citing Avaya,      development weakens any inference of intent to defraud.
564 F.3d at 279); see also In re Synchronoss Sec. Litig.,     (ECF No. 58-1 at 60.) Indeed, the history of Amarin's
705 F. Supp. 2d 367, 410 n.56 (D.N.J. 2010); In re Audible    prosecution of its patent application before the USPTO and
Inc. Sec. Litig., No. 05-1027, 2007 WL 1062986, at *12        defense of same in the Nevada Litigation—as alleged in great
(D.N.J. April 3, 2007). Here, the public Form 4s note that    detail in the Amended Complaint and chronicled in Amarin's
every trade of all three Individual Defendants—except for     SEC filings—evidences the significant efforts Defendants put
approximately $2.4 million of sales by Thero in November      into receiving their patents over the decade before Judge Du's
2020—were made “pursuant to a Rule 10b5-1 trading plan        decision. (See Am. Compl. ¶¶ 55–154; see also Exs. 1–62.)
previously adopted” by the Individual Defendants. (Exs. 63–   Defendants’ statements alleged in the Amended Complaint
65.) 35
         This further undercuts the inference Plaintiffs draw also reference Amarin's significant investment in building
from Defendants’ stock sales.                                 infrastructure to accommodate expanded application and
                                                              demand for Vascepa. For example, in a February 2020 SEC
                                                              filing, Thero stated “we believe that a U.S. sales force of
                                                              800 sales representatives, supported by our other promotional


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activities, is positioned to make Vascepa a multibillion-               *30 Tying these pieces together, the Court conducts a
dollar brand.” (Id. ¶ 131.)    36
                                   The Amended Complaint's             “holistic review” of the Amended Complaint to weigh the
allegation that Defendants bet the company on receiving and            inferences for and against scienter. In re Hertz, 905 F.3d at
maintaining patent protection when they knew the patents               121. Here, the “opposing inference one could draw from the
could be undone by the consideration single study they                 facts alleged” is stronger than the one Plaintiffs draw from
failed to disclose is implausible. See In re Celgene, 2019             their allegations. Tellabs, Inc., 551 U.S. at 324, 127 S.Ct.
WL 6909463, at *13 (“[I]t is not plausible (absent specific            2499. Certainly, the facts Plaintiffs pled create the inference
contrary evidence) to believe that Celgene would continue              that the Individual Defendants were aware of and involved
with this large-scale, expensive Phase III trial merely for the        with the Nevada Litigation, that they promoted Vascepa's use
sake of appearances.”); see also City of Edinburgh, 754 F.3d           after the REDUCE-IT results were announced, and that they
at 170 (“Moreover, the initiation of Phase 3 cost millions of          were optimistic about the strength of the MARINE patents
dollars and required FDA approval, rendering it improbable             and Vascepa's financial outlook. Likewise, Plaintiffs have
that defendants would have continued if they did not believe           alleged that the Individual Defendants’ stock sales created
their interpretation of the interim results or if they thought the     the motive to make material omissions or misrepresentation,
                                                                       which offers tepid support for their scienter allegations.
drug a complete failure.”). 37

                                                                       However, the Amended Complaint fails to allege facts
36      In March 2021, Thero informed investors that                   supporting a strong inference that Defendants knew or
        Amarin was “doubling the size of our sales force”              should have known that they would lose patent protection
        in order to focus on what Amarin considered a                  for Vascepa. Plaintiffs’ case relies on Defendants knowing
        “global opportunity.” (Am. Compl. ¶ 136; see also              that the patent litigation was likely to be invalidated
        id. ¶ 114 (“We are very excited about the potential            because of their knowledge that the Kurabayashi Study had
        for Vascepa to help millions of patients and we                been improperly “concealed” from the patent examiner or
        are acting accordingly to expand on our established            otherwise “buried.” As explained in the preceding sections,
        commercial foundation, including existing broad                Plaintiffs have not pled with particularity any facts supporting
        managed care coverage and extensive key opinion                these assertions. Even had someone at the company thought
        leader support.”); id. ¶ 115 (“Following REDUCE-               the Kurabayashi Study would eventually undermine Amarin's
        IT success, we have been in an active dialogue                 patents, Plaintiffs have not alleged any facts suggesting
        with companies in our supply chain as well as                  that this information was shared with the named Individual
        with certain companies that might be added to our              Defendants. And while Plaintiffs are not required to allege
        supply chain. To ensure that we can further increase           scienter via any specific avenue, the absence of any allegation
        our supply capacity.”).)                                       from inside the company—from a confidential witness or
37                                                                     internal document—that Defendants did not believe in the
        See also Gompper v. VISX, Inc., 298 F.3d 893,
                                                                       strength of their patents is significant. See Sapir v. Averback,
        897 (9th Cir. 2002) (finding no scienter inference
                                                                       No. 14-7331, 2016 WL 554581, at *10 (D.N.J. Feb. 10,
        from fact that company sued its competitors for
                                                                       2016) (“Amended Complaint fails to cite a single document
        patent infringement because “it is equally if not
                                                                       or witness that corroborates allegations of scienter.”). Put
        more plausible that [the company] consistently
                                                                       differently, Plaintiffs do not allege that any of the Japanese
        initiated litigation in defense of its patents because
                                                                       studies they point to were concealed by Defendants or not in
        it and its officers believed the patents were
                                                                       the public domain. Rather, they argue that Defendants should
        valid”); Cozzarelli v. Inspire Pharms., 549 F.3d
                                                                       have weighed the evidence differently from the outset—as
        618, 627 (4th Cir. 2008) (finding inference of
                                                                       Judge Du eventually did in invalidating the patents rather than
        scienter undercut where the “complaint portrays
                                                                       as the USPTO did in granting them—and avoided making
        [defendant's drug] as the ‘lead development
                                                                       any statements about the company's future that depended on
        product’ on which [defendant's] future as a
                                                                       Amarin defending its patents.
        company depended” because it was “improbable
        that [defendant] would stake its existence on a drug
                                                                       The more plausible inference drawn from the Amended
        and a clinical trial that the company thought was
                                                                       Complaint's allegations is that Defendants honestly believed
        doomed to failure”).
                                                                       in their patents and Amarin's opportunity to expand its



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business based on the strength of its intellectual property.           defendants cannot be liable” under Section 20(a). Rahman,
Plaintiffs allege that Defendants knew the patents should not          736 F.3d at 247 (quoting Avaya, 564 F.3d at 252). Likewise,
be issued since Amarin first sought patent protection in 2011.         insider trading claims against corporate insiders fail where
For Plaintiffs to be correct, Defendants would have had to             plaintiffs have “failed to adequately plead a predicate section
work for almost a decade—conducting long-term studies,                 10(b) violation.” City of Edinburgh, 754 F.3d at 175.
interacting with regulatory bodies, advocating to the USPTO,
suing their competitors, forcefully litigating from the district       Therefore, because the Court finds that Plaintiffs fail to state a
court to the Supreme Court—knowing that the patents would              claim under Section 10(b), the Amended Complaint's counts
be invalidated and seeking to profit from their stock in the           alleging Section 20(a) and 20A claims (Counts Two and
interim. Nothing in the Amended Complaint suggests such                Three) must also be dismissed without prejudice for failure to
deception on the part of the Defendants. Thus, Plaintiffs              state a claim.
do not provide sufficient allegations to support a “strong
inference” of scienter. See 15 U.S.C. § 78u–4(b)(2). 38                   D. DRABEK'S STATUS ON THE CAPTION
                                                                       Finally, Defendants request that the Court strike Warren
38                                                                     Drabek from the case caption because the Amended
       Plaintiffs argue that because they adequately
       alleged scienter as to each Individual Defendant,               Complaint does not “explain[ ] why his addition is necessary
       their scienter is imputed to Amarin and they have               at this time.” (ECF No. 58-1 at 63.) Defendants argue that
       therefore adequately pleaded Amarin's scienter.                 Drabek was not named as a Plaintiff in either of the two
       (ECF No. 65 at 47.) However, the Court finds                    prior complaints and that he never sought appointment as
       that Plaintiffs have not alleged a strong inference             lead plaintiff. (Id. at 64.) Defendants contend that Drabek's
       of scienter with respect to the any Defendant,                  inclusion is a “tactic” the Court should prevent. (Id. at 65.)
       including Amarin.
                                                                       The Court agrees with Plaintiffs that Defendants do not cite
                             ***
                                                                       any legal authority or concrete reasoning behind this request.
                                                                       (ECF No. 65 at 64–65.) Defendants do not adequately explain
 *31 Therefore, Plaintiffs have not met the heightened
                                                                       how Drabek's inclusion is a “tactic” or why it is improper.
pleading standard as required by the PSLRA to plead either
                                                                       Absent any rationale or authority for Defendants’ request, the
an actionable misstatement or omission or scienter. 39                 Court declines to address Drabek's status in this action at this
                                                                       time and will deny Defendants’ request.
39     Because the Court has concluded that Plaintiffs
       have failed to sufficiently plead the first two
       elements of a securities fraud claim, it is                                            CONCLUSION
       unnecessary to address Plaintiffs’ allegations of
       loss causation.                                          For the foregoing reasons, Defendants’ Motion to Dismiss
                                                                is GRANTED, and Plaintiffs’ Complaint is hereby
   C. MOTION TO DISMISS SECTION 20(A) CLAIM                     DISMISSED without prejudice. An appropriate Order
 [72] [73] Against the Individual Defendants, the Amended accompanies this Opinion.
Complaint alleges violations of Sections 20(a) and 20A of
the Exchange Act, 15 U.S.C. §§ 78t(a), 78t-1. Section 20(a)
                                                                All Citations
control person liability “ ‘is derivative of an underlying
violation of Section 10(b) by the controlled person.’ Inasmuch  --- F.Supp.3d ----, 2024 WL 4285900
as there cannot be Section 10(b) liability here, the individual

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                     2023 WL 2647855                                                       I. Background
        United States District Court, S.D. New York.
                                                                    A. Facts 1
         Jason DENNY, Individually and on Behalf                    1      The following facts, which are assumed true for
          of All Others Similarly Situated, Plaintiff,
                                                                           purposes of this Opinion and Order, are taken from
                              v.
                                                                           the Amended Complaint, Dkt. 65 (“Am. Compl.”),
                  CANAAN INC., Nangeng
                                                                           as well as documents incorporated by reference
              Zhang, and Tong He, Defendants.                              in the Amended Complaint. See Interpharm, Inc.
                                                                           v. Wells Fargo Bank, Nat'l Ass'n, 655 F.3d 136,
                      21 Civ. 3299 (JPC)
                                                                           141 (2d Cir. 2011) (explaining that on a motion
                               |
                                                                           to dismiss pursuant to Rule 12(b)(6), the court
                    Signed March 27, 2023
                                                                           must “assum[e] all facts alleged within the four
Attorneys and Law Firms                                                    corners of the complaint to be true, and draw[ ]
                                                                           all reasonable inferences in plaintiff's favor”);
Samuel Howard Rudman, Robbins Geller Rudman & Dowd                         Chambers v. Time Warner, Inc., 282 F.3d 147,
LLP, Melville, NY, for Plaintiff.                                          153 (2d Cir. 2002) (“[O]n a motion to dismiss,
                                                                           a court may consider documents attached to the
Daniel L. Cantor, O'Melveny & Myers LLP, New York, NY,                     complaint as an exhibit or incorporated in it by
Meg Kalikman Lippincott, Los Angeles, CA, William Ka                       reference....” (internal quotation marks omitted)).
Hing Pao, O'Melveny & Myers, LLP, Los Angeles, CA, for
Defendant Canaan Inc.                                               This case arises out of the proposed class's purchases of
                                                                    American Depositary Shares (“ADSs”) of Canaan between
                                                                    February 10, 2021 and April 9, 2021 (the “Class Period”).
                                                                    Am. Compl. ¶ 1. Canaan is a Cayman Islands corporation
                  OPINION AND ORDER
                                                                    that primarily manufactures and sells cryptocurrency mining
JOHN P. CRONAN, United States District Judge:                       equipment. Id. ¶¶ 16, 23. In 2018, 2019, and 2020, sales of this
                                                                    equipment comprised 99.7%, 97.7% and 94.4% respectively
 *1 Lead Plaintiffs Bill Lu and Liying Huang allege that            of Canaan's total revenue. Id. ¶ 27. Canaan's ADSs are
Defendants Canaan, Inc. (“Canaan”), Nangeng Zhang (“Mr.             publicly traded on the Nasdaq. Id. ¶ 2. Mr. Zhang is the
Zhang”), and Tong He (“Mr. He”) made knowingly false                founder of Canaan, and has served as its CEO and as
and misleading statements in violation of Section 10(b) of          Chairman of its Board of Directors since that founding. Id.
the Securities Exchange Act of 1934 (“Exchange Act”), 15            ¶ 18. Mr. He has served as Canaan's Director of Finance
U.S.C. § 78j(b), and Securities and Exchange Commission             since July 2020 and served as its acting CFO from February
(“SEC”) Rule 10b-5, 17 C.F.R. § 240.10b-5, and in violation         2021 to August 2021. Id. ¶ 19. Lead Plaintiffs allege that
of Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a).           both Mr. Zhang and Mr. He “because of their positions within
Defendants have moved to dismiss the Amended Complaint,             [Canaan] possessed the power and authority to control the
arguing that it fails to adequately plead a substantive Section     contents of Canaan's SEC filings, press releases, and other
10(b) violation because Lead Plaintiffs have not alleged that       market communications.” Id. ¶ 21. Lead Plaintiffs further
Defendants made materially false or misleading statements or        allege that Mr. Zhang and Mr. He “were provided with copies
that they did so with the requisite scienter. Because the Court     of the Company's SEC filings and press releases ... prior to or
determines that one of Defendants’ alleged misstatements            shortly after their issuance and had the ability and opportunity
was outside of the class period and inactionable, another           to prevent their issuance or to cause them to be corrected.” Id.
was not materially false or misleading, and the third was not
made with the requisite scienter, the Court grants Defendants’       *2 On November 30, 2020, Canaan issued a press release
motion in its entirety.                                             attached as Exhibit 99.1 to a Form 6-K filed with the SEC,
                                                                    which was titled “Canaan Inc. Reports Unaudited Third
                                                                    Quarter 2020 Financial Results” and announced Canaan's
                                                                    financial results for the quarter ending September 30, 2020.



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Id. ¶ 28; see Dkt. 71-2 at 2-12 (“11/30/20 Press Release”).         and logistics.” Id. The press release quoted Mr. Zhang as
This press release reported a 20.7% decrease in total               saying:
computing power sales from the same period in 2019 and a
13.4% quarter-over-quarter increase in such sales compared
to the second quarter of 2020, as well as a 75.7% year-over-                     In late 2020, we shifted our client base
year revenue decrease and 8.5% quarter-over-quarter revenue                      to mostly publicly traded companies
decrease. 11/30/20 Press Release at 1. The press release                         and bitcoin-focused investment funds
contained quotations from both Mr. Zhang, as the Chairman                        which tend to place sizable orders with
and CEO of Canaan, and Quanfu Hong (“Mr. Hong”), then the                        longer-term commitment. As a result,
CFO of Canaan. Mr. Hong mentioned, among other things,                           we can now forecast our revenue
the rebounding market demand for Bitcoin mining machines                         much more precisely. Our increased
and pre-sale orders that Canaan had received: “[T]he demand                      revenue visibility is not only enabling
for mining machines in the market continued to rebound                           us to plan our production and logistics
during the third quarter, and we have received a large number                    well in advance, but also helping us
of pre-sale orders which are scheduled for delivery starting in                  to optimize our cost structure and
the fourth quarter of 2020.” Id. at 2.                                           improve our customer satisfaction rate.
                                                                                 Above all, it should help us achieve
Mr. Hong resigned as CFO effective immediately for                               profitable growth for the long run.
“personal reasons” on February 9, 2021. Am. Compl. ¶ 30.
The next day, which is the start of the Class Period, Canaan
issued a press release again attached as Exhibit 99.1 to a          Id.
Form 6-K filed with the SEC and signed by Mr. Zhang, which
was titled “Canaan Announces Improved Revenue Visibility            On Monday, February 8, 2021, two days before this press
in 2021.” Id. ¶ 32; see Dkt. 71-3 at 104-06 (“2/10/21 Press         release was issued, Canaan's ADSs opened trading at $6.91
Release”). Lead Plaintiffs rely on multiple statements made in      each. Am. Compl. ¶ 33. The shares closed trading on Friday,
the February 10, 2021 press release that touted the company's       February 12, 2021, at $13.04 each. Id.
increased revenue visibility thanks to purchase orders for
Bitcoin mining machines. The release stated:
                                                                    On April 9, 2021, a magazine called Decrypt published an
                                                                    interview with Mr. Zhang in an article titled, “Canaan CEO Is
                                                                    Bullish on Bitcoin Mining Ahead of Earnings – The Nasdaq-
            Canaan ... announced that its revenue                   listed manufacturer of crypto mining hardware has seen its
            visibility has improved substantially in                stock jump almost 1000% in six months.” Id. ¶ 36; Dkt.
            2021 as a result of attaining purchase                  71-3 (“Decrypt Article”) at 1. The article began: “Canaan
            orders totaling more than 100,000                       founder and CEO Nangeng Zhang has reason to be chipper.
            units of bitcoin mining machines                        His Beijing-based company is reporting earnings on Monday,
            from customers in North America.                        when it will disclose Q4 and full 2020 results, and the
            Many of those purchase orders were                      outlook is rosy.” Decrypt Article at 2. The article attributed
            placed with prepayment and will
                                                                    several statements to Mr. Zhang. 2 Mr. Zhang was quoted
            likely occupy the Company's current
                                                                    as saying that “Canaan has secured a large number of pre-
            manufacturing capacity entirely for the
                                                                    sale orders for its mining machines,” and that “as institutional
            full year of 2021 and beyond.
                                                                    interest in Bitcoin continues to strengthen, so will the entry
                                                                    of more actors into Bitcoin mining.” Id. The article described
                                                                    Canaan as “one of the world's largest manufacturers of mining
2/10/21 Press Release at 1. It further stated that “[w]ith          hardware,” and observed that “[a]ll [presumably referring to
those fully committed purchase orders, the Company now              manufacturers of mining hardware] have seen demand for
enjoys a much higher degree of revenue visibility and more          their products soar in recent months.” Id. The article reported
precise forecast. As such the Company is able to leverage           that “Canaan anticipates it will have no problem fulfilling its
such information and additional liquidity to conduct its            bulging order book,” but did not attribute that anticipation to
component purchases, production scheduling, warehousing             Mr. Zhang. Id. at 4. The article proceeded to paraphrase Mr.


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Zhang as saying “that the company had secured chips from                        foundation for solid revenue growth in
a number of fabrication plants in advance of the worldwide                      2021.
shortage of processors—which has impacted the gaming,
computing, and automotive industry, as well as Bitcoin
mining.” Id. Mr. Zhang then was quoted: “Our approach is one       Id. at 2. Additionally, Mr. He was quoted as saying, among
of a multi-fab strategy, where we collaborate and work with        other things: “Due to supply chain disruptions, as the price
a number of leading chip manufacturers to reduce supply-           of Bitcoin rallied in late 2020, we experienced a surge of
chain risks.” Id. He further was quoted: “We have been able to     demand for high-quality mining machines both in and outside
successfully secure an entire year's worth of orders for 2021,     of China.” Id.
with orders for our Avalon A1246 miners scheduled till March
2022.” Id. Mr. Zhang also was quoted to say that Canaan's          That same morning, Canaan discussed its fourth quarter and
operation of its own mining business “will significantly           2020 year end financial results on an earnings conference
strengthen our inventory management capabilities, stabilize        call. Am. Compl. ¶ 40; see Dkt. 71-3 at 166-82 (“4/12/21
our supply chain networks, and diversify our revenue stream,       Call Tr.”). On that call Mr. Zhang stated through a translator
allowing us to better optimize our mining hardware during the      that Canaan “saw a severe supply shortage in the industry”
lull seasons (where demand for mining machines tends to be         related to “chip supply” during the fourth quarter of 2020 and
weaker).” Id.                                                      into 2021. 4/12/21 Call Tr. at 10. He added that he “[could
                                                                   not] really disclose the exact number of chips that [Canaan
2                                                                  had] under production right now” but that the “strategies
       The Decrypt article contained numerous direct
       quotes from Mr. Zhang, while also paraphrasing              [Canaan had] adopted to address this problem” had “helped
       other statements that are attributed to him. For            [Canaan] achieve outstanding results in terms of keeping up”
       clarity purposes, the Court specifically notes when         and that Canaan “can effectively secure the delivery of our
       reciting a reported direct quote from Mr. Zhang.            chips from our foundry partners.” Id. He also stated that
                                                                   “since the second half of last year and the first half of this year,
 *3 Then, on the morning of April 12, 2021, Canaan issued
                                                                   most of the mining machines we sold were actually sold as
a press release regarding its fourth quarter and year end
                                                                   futures contracts, which had a fixed price. And the prices were
2020 financial results attached as Exhibit 99.1 to a Form
                                                                   actually lower than our existing machines.” Id. at 13; accord
6-K filed with the SEC and titled “Canaan Inc. Reports
                                                                   Am. Compl. ¶ 40. While Canaan ADSs closed on Friday,
Unaudited Fourth Quarter and Full Year 2020 Financial
                                                                   April 9, 2021, at $18.67 per share, they closed on Monday,
Results.” Am. Compl. ¶ 39; see Dkt. 71-3 at 141-53 (“4/12/21
                                                                   April 12, 2021, following the press release and earnings call,
Press Release”). That press release revealed a total computing
                                                                   at $13.14 per share, with trading volume “more than three
power sales decrease of 93.1% both year-over-year and
                                                                   times the average daily volume over the preceding ten trading
quarter-over-quarter, as well as a 91.75% decrease in revenue
                                                                   days.” Am. Compl. ¶ 41.
year-over-year and a 76.56% decrease in revenue quarter-
over-quarter. 4/12/21 Press Release at 1. Other financial
results for the quarter and year were similarly poor. Id. The      B. Procedural History
release quoted Mr. Zhang as saying, among other things:            Plaintiff Jason Denny filed the original Complaint in this
                                                                   action on April 15, 2021. Dkt. 1. On December 9, 2021, the
                                                                   Court granted Lu and Huang's motion for appointment as
            Although the outbreak of COVID-19                      Lead Plaintiffs, and approved their selection of lead counsel.
            caused supply chain disruptions and                    Dkt. 62. Lead Plaintiffs filed their Amended Complaint
            thus negatively impacted our revenues                  on February 7, 2022. Dkt. 65. Lead Plaintiffs allege that
            in the fourth quarter of 2020,                         Defendants committed violations of Section 10(b) of the
            our market leadership has enabled                      Exchange Act and SEC Rule 10b-5 promulgated thereunder
            us to attain US$174 million of                         (Count I), Am. Compl. ¶¶ 70-81, and that Mr. He and Mr.
            contracted orders, with US$66 million                  Zhang violated Section 20(a) of the Exchange Act (Count II),
            of cash advance from customers as of                   id. ¶¶ 82-87.
            December 31, 2020, thus laying a solid




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Defendants filed a motion to dismiss on April 8, 2022, Dkts.         2007). A complaint making fraud allegations under Section
69, 70 (“Motion”), accompanied by a motion requesting that           10(b) and Rule 10b-5 “must ‘(1) specify the statements
the Court take judicial notice of certain materials, Dkt. 71.        that the plaintiff contends were fraudulent, (2) identify the
Defendants argue that the Amended Complaint should be                speaker, (3) state where and when the statements were made,
dismissed because Lead Plaintiffs fail to plead falsity or           and (4) explain why the statements were fraudulent.’ ”
scienter with respect to alleged violations of Section 10(b)         Diesenhouse v. Social Learning & Payments, Inc., No. 20
and Rule 10b-5. 3 See Motion at 8-20. Lead Plaintiffs filed          Civ. 7436 (LJL), 2022 WL 3100562, at *4 (S.D.N.Y. Aug.
their response to both motions on June 7, 2022. Dkts. 72             3, 2022) (quoting Rombach v. Chang, 355 F.3d 164, 170 (2d
(“Opposition”), 73. Defendants filed their reply in further          Cir. 2004)). Allegations that are conclusory or unsupported by
support of their motion to dismiss on July 7, 2022. Dkt. 74          factual assertions are insufficient. See ATSI Commc'ns, 493
(“Reply”).                                                           F.3d at 99; see also Luce v. Edelstein, 802 F.2d 49, 54 (2d Cir.
                                                                     1986).
3      Defendants seek dismissal of the entire Amended
                                                                     Securities fraud claims must also satisfy the Private Securities
       Complaint, though their arguments address only
                                                                     Litigation Reform Act (“PSLRA”)’s heightened pleading
       the violations of Section 10(b) and Rule 10b-5
                                                                     requirements. Diesenhouse, 2022 WL 3100562, at *5. The
       alleged in Count One. See generally Motion.
                                                                     PSLRA requires that “the complaint shall specify each
       However, because “[t]o establish liability under
                                                                     statement alleged to have been misleading, the reason or
       section 20(a), a plaintiff ‘must first establish a
                                                                     reasons why the statement is misleading, and, if an allegation
       primary violation,’ ” Diehl v. Omega Protein
                                                                     regarding the statement or omission is made on information
       Corp., 339 F. Supp. 3d 153, 169 (S.D.N.Y. 2018)
                                                                     and belief, the complaint shall state with particularity all facts
       (quoting In re Omnicom, 597 F.3d 501, 514 n.6
                                                                     on which that belief is formed.” 15 U.S.C. § 78u-4(b)(1);
       (2d Cir. 2010)), dismissal of Count I would require
                                                                     see Gamm v. Sanderson Farms, Inc., 944 F.3d 455, 462 (2d
       dismissal of Count II.
                                                                     Cir. 2019). In pleading scienter, a complaint must “state with
                                                                     particularity facts giving rise to a strong inference that the
                                                                     defendant acted with the required state of mind.” 15 U.S.C.
                   II. Standard of Review
                                                                     § 78u-4(b)(2); see Diesenhouse, 2022 WL 3100562, at *5.
 *4 To survive a motion to dismiss for failure to state a            “[I]n determining whether the pleaded facts give rise to a
claim, “a complaint must contain sufficient factual matter,          ‘strong’ inference of scienter, the court must take into account
accepted as true, to ‘state a claim to relief that is plausible      plausible opposing inferences.” Tellabs, Inc. v. Makor Issues
on its face.’ ” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)          Rights, Ltd., 551 U.S. 308, 323 (2007). For an inference
(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570               of scienter to be strong, “a reasonable person must deem it
(2007)). A claim is plausible “when the plaintiff pleads factual     cogent and at least as compelling as any opposing inference
content that allows the court to draw the reasonable inference       one could draw from the facts alleged.” ATSI Commc'ns, 493
that the defendant is liable for the misconduct alleged.”            F.3d at 99 (brackets and emphasis omitted) (quoting Tellabs,
Id. A complaint's “[f]actual allegations must be enough to           551 U.S. at 324).
raise a right to relief above the speculative level.” Twombly,
550 U.S. at 555. Although the Court must “accept[ ] as               Although pleading standards are heightened for securities
true the factual allegations in the complaint and draw[ ] all        fraud claims, the Second Circuit has cautioned that courts
inferences in the plaintiff's favor,” Biro v. Condé Nast, 807        “must be careful not to mistake heightened pleading standards
F.3d 541, 544 (2d Cir. 2015), it need not “accept as true legal      for impossible ones.’ ” Altimeo Asset Mgmt. v. Qihoo 360
conclusions couched as factual allegations,” LaFaro v. N.Y.          Tech. Co., 19 F.4th 145, 150 (2d Cir. 2021) (quoting In
Cardiothoracic Grp., PLLC, 570 F.3d 471, 475-76 (2d Cir.             re Synchrony Fin. Sec. Litig., 988 F.3d 157, 161 (2d Cir.
2009).                                                               2021)). The PSLRA does not demand “that plaintiffs plead
                                                                     with particularity every single fact upon which their beliefs
Plaintiffs bringing securities fraud claims must satisfy             concerning false or misleading statements are based.” Novak
heightened pleading standards under Federal Rule of Civil            v. Kasaks, 216 F.3d 300, 313 (2d Cir. 2000). Nor does Rule
Procedure 9(b) in order to survive a motion to dismiss. ATSI         9(b) “require the pleading of detailed evidentiary matter in
Commc'ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 99 (2d Cir.



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securities litigation.” In re Scholastic Corp. Sec. Litig., 252        Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 37-38
F.3d 63, 72 (2d Cir. 2001).                                            (2011)). Defendants contend that Plaintiffs fail to allege a
                                                                       materially false or misleading statement, Motion at 8-17, and
                                                                       fail to plead any facts permitting an inference of scienter, id.
                                                                       at 17-20.
                        III. Discussion

A. Judicial Notice
                                                                          1. Misstatements or Omissions of Material Fact
 *5 As part of their motion to dismiss, Defendants have
                                                                       Lead Plaintiffs allege three occasions when Defendants made
filed a motion requesting that the Court take judicial notice
                                                                       “made untrue statements of material facts or omitted to state
of certain materials, which are identified in the motion as
                                                                       material facts necessary to make the statements made, in
Exhibits 1 through 9. Dkt. 71. Lead Plaintiffs have opposed
                                                                       light of the circumstances under which they were made, not
this motion in part. Dkt. 73. Lead Plaintiffs do not oppose the
                                                                       misleading,” Am. Compl. ¶ 73: (1) the November 30, 2020
Court taking judicial notice of Exhibits 1, 4, 6, 7, and 9, id. at
                                                                       press release, id. ¶ 28, (2) the February 10, 2021 press release,
2, each of which is a document incorporated into the Amended
                                                                       id. ¶ 32, and (3) the April 9, 2021 Decrypt article reporting
Complaint by reference. 4 The Court therefore grants the               an interview with Mr. Zhang, id. ¶ 36. Defendants argue that
motion with respect to those materials. With respect to the            the Amended Complaint fails to adequately plead for any of
remaining materials, the Court need not determine whether to           those occasions a material representation that was false when
take judicial notice of them in resolving Defendants’ motion           made or the omission of material information that Defendants
to dismiss. The Court therefore declines to take judicial notice       had a duty to disclose. Motion at 8. The Court will analyze
of Exhibits 2, 3, 5, and 8. 5                                          the challenged statements chronologically.

4       These materials consist of the November 30, 2020,
        February 10, 2021, and April 12, 2021 press                             i. The November 30, 2020 Press Release
        releases, the Decrypt article, and the transcript of
        the April 12, 2021 earnings call. Dkt. 71 at 1-3.              The first challenged statements come from Mr. Zhang's and
                                                                       Mr. Hong's quotes in the November 30, 2020 press release.
5       These materials consist of, respectively, Canaan's             Mr. Zhang stated, among other things: “With new generations
        Form F-1 Registration Statement filed with the                 of mining machines and AI chips in the pipeline, we are
        SEC on October 28, 2019, Canaan's ADS historical               confident that the enhanced performance of our new products
        stock data, Bitcoin's historical price data, and               will continue to bolster our competitive advantages and
        Canaan's Form 6-K reporting financial results from             solidify our market leadership going forward.” 11/30/20 Press
        the first quarter of 2021 filed with the SEC on June           Release at 2; see Am. Compl. ¶ 28. Mr. Hong, in turn,
        1, 2021. Dkt. 71 at 1-3.                                       stated that “the demand for mining machines in the market
                                                                       continued to rebound during the third quarter [of 2020], and
B. Section 10(b) and Rule 10b-5 Claims                                 we have received a large number of pre-sale orders which
Count I alleges that Defendants “carried out a plan, scheme,           are scheduled for delivery starting in the fourth quarter of
and course of conduct” that violated Section 10(b) and                 2020.” 11/30/20 Press Release at 2; see Am. Compl. ¶ 28.
Rule 10b-5 by deceiving investors, inflating and maintaining           Defendants argue that, as a threshold matter, these statements
prices of the Canaan ADSs, and causing proposed class                  are not actionable because they occurred prior to the Class
members to purchase ADSs at inflated prices. Am. Compl.                Period, which began on February 10, 2021. Motion at 9.
¶¶ 71-72. To state a claim under Section 10(b), “a complaint           Lead Plaintiffs respond that these statements “misled the
must adequately plead ‘(1) a material misrepresentation or             market” and Defendants had a “duty to correct and a duty
omission by the defendant; (2) scienter; (3) a connection              to update” the statements, thus rendering the November 30,
between the misrepresentation or omission and the purchase             2020 statements actionable. Opposition at 14 & n.7.
or sale of a security; (4) reliance upon the misrepresentation
or omission; (5) economic loss; and (6) loss causation.’ ”              *6 In the Second Circuit, a duty to update a past statement
In re DraftKings Inc. Sec. Litig., No. 21 Civ. 5739 (PAE),             “may exist when a statement, reasonable at the time it is
2023 WL 145591, at *15 (S.D.N.Y. Jan. 10, 2023) (quoting               made, becomes misleading because of a subsequent event.”



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Pipefitters Union Local 537 Pension Fund v. Am. Express               competitive advantage, 11/30/20 Press Release at 2, was
Co., 773 F. App'x 630, 632 (2d Cir. 2019) (quoting In re              “subject to a duty to update because although reasonable to
Int'l Bus. Machs. Corp. Sec. Litig., 163 F.3d 102, 110 (2d            believe at the time ..., once the bitcoin market price rose,
Cir. 1998)). “There is, however, no duty to update vague              due to the fact that [the] Company's mining machines were
statements of optimism or expressions of opinion, statements          sold on prepayment, the Company was not at a competitive
that are not material, or statements that are not forward             advantage, but a disadvantage.” Opposition at 14 n.7.
looking and do not contain some factual representation that
remains alive in the minds of investors as a continuing               As alleged, these statements were made prior to the Class
representation.” Id. (internal quotation marks and brackets           Period. Yet the Amended Complaint fails to plead facts to
omitted). On the other hand, a duty to correct “applies when          establish that any duty to update or correct them subsequently
a company makes a historical statement that at the time               arose within the Class Period. The Amended Complaint
made, the company believed to be true, but as revealed by             contains no allegation of knowledge giving rise to such
subsequently discovered information actually was not.” In re          a duty that was gained by Defendants during the Class
Int'l Bus. Machs. Corp. Sec. Litig., 163 F.3d at 109 (internal        Period. 6 Rather, the Amended Complaint is vague as to
quotation marks omitted).                                             when exactly Defendants supposedly understood that rising
                                                                      Bitcoin prices would reduce the benefits of pre-selling mining
While generally a defendant is liable “only for those                 machines in late 2020. Without any allegations stating that,
statements made during the class period,” id. at 107, courts          or how, Defendants reached such an understanding during the
have suggested that liability may arise for earlier made              Class Period, these November 30, 2020 statements are not
statements if the duty to update or correct them subsequently
                                                                      actionable. 7
arose during the class period, see IBEW Local Union No. 58
Pension Tr. Fund & Annuity Fund v. Royal Bank of Scotland
                                                                      6
Grp., PLC, 783 F.3d 383, 390 (2d Cir. 2015) (“The August 3,                  If anything, the allegations in the Amended
2007 statements regarding RBS's exposure were made prior                     Complaint suggest that Defendants gained
to the start of the Class Period and cannot be the basis of                  knowledge of the allegedly misleading nature of
liability unless there was a duty to update or correct them.”);              the November 30, 2020 statements prior to the
see also Lattanzio v. Deloitte & Touche LLP, 476 F.3d 147,                   commencement of the Class Period. For instance,
154 (2d Cir. 2007) (holding that a misstatement created by the               Lead Plaintiffs contend that Defendants had a
duty to correct a statement made outside the class period “was               duty to update or correct the quotation from
made (if at all) when a duty to correct arose”); In re Inv. Tech.            Canaan's CFO, Mr. Hong, in the November 30,
Grp., Inc. Sec. Litig., 251 F. Supp. 3d 596, 610 (S.D.N.Y.                   2020 press release. Yet, the Amended Complaint's
2017) (“The Second Circuit has held that ‘the duty to correct                scienter allegations specifically refer to Mr. Hong's
previous misstatements does not apply where the defendants                   resignation the day before the Class Period as
made the original statements before the Class Period and                     supporting an inference of scienter with respect to
became aware of the errors in those statements before the                    the February 10, 2021 press release. Am. Compl.
Class Period.’ ” (quoting In re Lions Gate Ent. Corp. Sec.                   ¶ 48. Moreover, any theory that knowledge giving
Litig., 165 F. Supp. 3d 1, 17 (S.D.N.Y. 2016))).                             rise to a duty to update or correct with respect
                                                                             to the November 30, 2020 statements was first
Lead Plaintiffs argue that Mr. Hong's statement in the                       gained after the Class Period began on February 10,
November 30, 2020 release that “demand for mining                            2021 would seem in tension with Lead Plaintiffs’
machines in the market continued to rebound during the third                 claim that statements in the February 10, 2021
quarter, and we have received a large number of pre-sale                     press release were misleading due to an omission
orders which are scheduled for delivery starting in the fourth               at the time they were made, which naturally would
quarter of 2020,” 11/30/20 Press Release at 2, “later bec[a]me               entail having the requisite knowledge at some
misleading during the Class Period when Defendants learned                   point before filing the Form 6-K with the attached
that the increasing bitcoin market made those pre-sale orders                press release on February 10, 2021. See id. ¶ 32;
a detriment rather than something positive.” Opposition at 14                Opposition at 14-15.
n.7. They further argue that Mr. Zhang's statement that a new         7
                                                                             As discussed at infra III.C, Lead Plaintiffs’
generation of mining machines would bolster the company's
                                                                             allegations on this point are insufficient to


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        establish scienter given the heightened pleading              that “the Company's touted pre-sale orders were locked in
        requirements, as they fail to allege with the                 at lower prices than the re-bounding bitcoin market prices
        requisite specificity that and how Defendants                 during the third and fourth quarters of 2020, reducing the
        understood the impact of rising Bitcoin prices                Company's ability to earn revenue from the increasing market
        during the Class Period.                                      prices during the fourth quarter 2020” and that as a result,
                                                                      “Canaan's fourth quarter 2020 sales and sales revenue had
                                                                      declined dramatically”).
          ii. The February 10, 2021 Press Release
                                                                      Section 10(b) and Rule 10b-5 “do not create an affirmative
 *7 Canaan issued a press release on February 10, 2021
                                                                      duty to disclose any and all material information.” Matrixx
titled “Canaan Announces Improved Revenue Visibility in
                                                                      Initiatives, 563 U.S. at 44. “Disclosure of an item of
2021.” 2/10/21 Press Release. The challenged statements in
                                                                      information is not required simply because it may be relevant
this release include Canaan's assertion that revenue visibility
                                                                      or of interest to a reasonable investor.” Kleinman v. Elan
had improved due to prepaid purchase orders that “will
                                                                      Corp., 706 F.3d 145, 152-53 (2d Cir. 2013) (ellipsis omitted)
likely occupy the Company's current manufacturing capacity
                                                                      (quoting Resnik v. Swartz, 303 F.3d 147, 154 (2d Cir. 2002)).
entirely for the full year of 2021 and beyond.” Id. at 1; see Am.
                                                                      Instead, absent an independent duty to speak, disclosure is
Compl. ¶ 32. The press release added a quote from Mr. Zhang,
                                                                      required “only when necessary ‘to make statements made,
saying that the increased revenue visibility was attributable to
                                                                      in the light of the circumstances under which they were
a late 2020 shift in Canaan's “client base to mostly publicly
                                                                      made, not misleading.’ ” Id. (quoting Matrixx Initiatives, 563
traded companies and bitcoin-focused investment funds.”
                                                                      U.S. at 44). “[W]hether a statement is misleading depends
2/10/21 Press Release at 1.
                                                                      on the perspective of a reasonable investor.” Omnicare, Inc.
                                                                      v. Laborers Dist. Council Const. Indus. Pension Fund, 575
Defendants argue first that no statement in the February 10,
                                                                      U.S. 175, 187 (2015) (internal quotation marks omitted). So,
2021 press release was untrue, Motion at 11, and second
                                                                      with respect to omissions “the court must determine whether
that the Amended Complaint fails to plead a valid omissions
                                                                      the omitted fact would have been material to a reasonable
theory because there is not a sufficiently close nexus between
                                                                      investor – i.e. whether ‘there is a substantial likelihood that
the statements that were made and the additional statements
                                                                      a reasonable investor would consider it important.’ ” Id. at
that Lead Plaintiffs claim had to be made to render the
                                                                      196 (brackets omitted) (quoting TSC Indus. Inc. v. Northway,
press release not misleading, id. at 11-14. Lead Plaintiffs
                                                                      Inc., 426 U.S. 438, 445 (1976)). And in particular “a duty [to
appear to cede that they are proceeding only on an omissions
                                                                      disclose omitted facts] may arise when there is ... a corporate
theory: they respond that “each of the above statements was
                                                                      statement that would otherwise be inaccurate, incomplete, or
materially false and misleading, omitting ... that the pre-
                                                                      misleading.” Stratte-McClure v. Morgan Stanley, 776 F.3d 94,
sale prepayment orders actually harmed Canaan's financial
                                                                      101 (2d Cir. 2015) (internal quotation marks omitted). Part of
outcome for the fourth quarter of 2020,” and they point
                                                                      that analysis requires a court to examine the relatedness of the
to Canaan's April 12, 2021 statement that “most of the
                                                                      statement actually made and the facts which were omitted. See
mining machines were sold as future contracts, which had
                                                                      In re Omega Healthcare Invs., Inc. Sec. Litig., 563 F. Supp. 3d
a fixed price ... actually lower than our existing machines.”
                                                                      259, 272-73 (S.D.N.Y. 2021) (“[T]o prevail on [an omission
Opposition at 15 (quoting Am. Compl. ¶¶ 38-40). Further,
                                                                      theory], plaintiffs must establish a sufficiently close nexus
Lead Plaintiffs claim that Defendants’ omission of the true
                                                                      between the affirmative statement and the alleged omission
effect of the pre-payment orders “affirmatively created an
                                                                      to demonstrate that” there is a “a duty to disclose the omitted
impression of a state of affairs that differed in a material way
                                                                      information ... in order to prevent the statement from being
from the one that actually existed,” id. (quoting In re Alstom
                                                                      materially misleading.”).
SA Sec. Litig., 406 F. Supp. 2d 433, 453 (S.D.N.Y. 2005)),
particularly when it came to how the company had performed
                                                                       *8 Here, Defendants argue that, because the press release
in the fourth quarter of 2020. That matters, Lead Plaintiffs
                                                                      concerned “only ... then-existing facts and projections
reason, because Canaan's performance in the fourth quarter of
                                                                      about how those facts would affect Canaan's future
2020 was in fact harmed by the pre-sales of mining machines,
                                                                      performance,” no reasonable investor would conclude that
yet the release trumpeted those pre-sales only as something
                                                                      those statements had anything to do with performance in
positive for the company. Id.; see Am. Compl. ¶ 38(b), (c)
                                                                      the fourth quarter, which had recently passed. Motion at
(alleging that Defendants concealed from the investing public


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12-13 (emphasis omitted). Moreover, Defendants argue that           revenue occurred, Lead Plaintiffs allege, because the “pre-
Canaan's “statements about prepaid purchase orders were             sale orders were locked in at lower prices than the re-
made in the context of how they would provide enhanced              bounding bitcoin market prices during the third and fourth
‘revenue visibility’ in 2021; they were not about how pre-          quarters of 2020, reducing the Company's ability to earn
sales would impact fourth-quarter 2020 results.” Id. at 13-14.      revenue from the increasing market prices during the fourth
And Defendants rely heavily on In re Ferroglobe PLC                 quarter 2020.” Id. ¶ 38(b). The fact that the same business
Securities Litigation, where the court held that statements         practice that was lauded in the release caused both the
which were “expressly directed to the future” could not             forward-looking revenue visibility optimism and allegedly
be viewed by a reasonable investor as related to negative           contributed significantly to the past revenue performance
performance in the past quarter. No. 19 Civ. 2368 (RA), 2020        gloom is what creates a sufficiently close relationship
WL 6585715, at *8 (S.D.N.Y. Nov. 10, 2020).                         between the two to require disclosure of the latter in order to
                                                                    render the former not misleading to a reasonable investor. Or
Lead Plaintiffs argue that, unlike the statements in                put differently, both the future revenue visibility and the past
Ferroglobe, the statements in the February 10, 2021 press           lost revenue opportunities were significant effects of the same
release were not solely forward-looking. The Court agrees.          cause, just felt in different quarters. A reasonable investor
The Amended Complaint alleges that the omission of                  learning of the touted positive effect on the future would find
information in the February 10, 2021 press release—the              material the negative effect on the present.
below market prepaid prices of the mining machines sold,
and the negative effect those pre-sales would have on revenue       9      This inference is strengthened by the fact that
in the fourth quarter of 2020—render the statements in that                the November 30, 2020 press release referenced
release misleading to a reasonable investor. Am. Compl. ¶¶                 increase pre-sales beginning in the third quarter
31-35, 38; see id. ¶ 33 (“The press release concealed the                  of 2020 and continuing into the fourth quarter.
fourth quarter's known dismal financial performance, while                 11/30/20 Press Release at 2; see Am. Compl. ¶ 28
promoting Canaan's expected future success.”). The press
release quoted Mr. Zhang as explaining that the prepaid              *9 Nor does this determination require the Court to adopt
                                                                    some legally novel “freestanding completeness requirement”
purchase orders resulted from a “late 2020” shift 8 in Canaan's
                                                                    as Defendants argue. Motion at 13. Indeed, the fact
“client base to mostly publicly traded companies and bitcoin
                                                                    allegedly omitted by Defendants was later acknowledged by
investment funds which tend to place sizable orders with
                                                                    Defendants themselves during the April 12, 2021 earnings
longer-term commitment.” 2/10/21 Press Release at 1; see
                                                                    call as contributing to the fourth quarter of 2020 financial
Am. Compl. ¶ 32. Mr. Zhang continued that “as a result
                                                                    results. Am. Compl. ¶ 40; see Dkt. 4/12/21 Call Tr. at 13
[of that shift] we can now forecast our revenue much more
                                                                    (Mr. Zhang: “[T]he price of mining machines actually moves
precisely” which increased revenue visibility “should help us
                                                                    with the Bitcoin prices only for the mining machines that are
achieve profitable growth for the long run.” 2/10/21 Press
                                                                    ready for delivery. So, since the second half of last year and
Release at 1; see Am. Compl. ¶ 32.
                                                                    the first half of this year, most of the mining machines we
                                                                    sold were actually sold as futures contracts, which had a fixed
8      Drawing all inferences in favor of Lead Plaintiffs,          price. And the prices were actually lower than our existing
       the Court assumes that an order made with                    machines.”). In other words, as alleged, in the February 10,
       “prepayment” in the fourth quarter of 2020 would             2021 press release, Defendants voluntarily touted the positive
       have meant collecting the revenue associated with            future effects of a business decision, yet hid the significant
       that order in the fourth quarter.                            negative effects of that very same decision. “Even when
In other words, as alleged, Mr. Zhang explained that it was         there is no existing independent duty to disclose information,
the shift in client base in “late 2020,” so presumably in the       once a company speaks on an issue or topic, there is a duty
                                                                    to tell the whole truth.” Meyer v. Jinkosolar Holdings Co.,
fourth and perhaps third quarters of 2020, 9 which created the
                                                                    Ltd., 761 F.3d 245, 250 (2d Cir. 2014); see also Setzer v.
prepaid purchase orders that Defendants touted for increasing
                                                                    Omega Healthcare Invs., Inc., 968 F.3d 204, 214 n.15 (2d
revenue visibility, yet the release omitted that the same late
                                                                    Cir. 2020) (holding that when the defendant spoke regarding
2020 shift in the client base—and its associated increase
                                                                    rental payments made by a large lessee, it put those payments
in locked-in prepaid orders—led to significantly reduced
                                                                    “in play” and therefore had a duty to disclose that the lessee
revenue in the previous quarter. Id. ¶ 38. This decrease in
                                                                    was only able to make rental payments because of a loan


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provided by the defendant). While it is certainly conceivable        reduce supply chain risks was not false or misleading, id. at
that the negative effect on past revenue created by a shift to       16-17.
pre-orders could be small enough that a reasonable investor
would not find it important, that is not what is alleged here.       First, there is of course no general rule that statements made
                                                                     to the media cannot form the basis for securities fraud claims.
Of course, corporate officials are only responsible for              See e.g., In re Banco Bradesco S.A. Sec. Litig., 277 F. Supp. 3d
“revealing those material facts reasonably available to them....     600, 662-64 (S.D.N.Y. 2017). But courts in this District have
Thus, allegations that defendants should have anticipated            dismissed claims arising from statements in the press that “are
future events and made certain disclosures earlier than they         not reasonably attributable to defendants and accordingly do
actually did do not suffice to make out a claim of securities        not give rise to liability under the federal securities laws.”
fraud.” Novak, 216 F.3d at 309 (citations omitted). But              Hershfang v. Citicorp., 767 F. Supp. 1251, 1255 (S.D.N.Y.
Defendants do not argue that a lack of knowledge on their            1991). In Hershfang, for instance, the court determined that
part defeats the alleged duty to disclose an omitted fact here.      statements attributed to a defendant's “spokesman” in various
For that reason, the Court treats the question of whether            news articles were insufficiently attributed to the defendant
Defendants knew the impact that the mining machine pre-              under Rule 9(b) to state a claim, 10 and then turned to other
sales would have on fourth quarter revenue at the time               portions of those articles which were “attributed to specific
they issued the February 10, 2021 press release only when            defendants” and determined that they too were not actionable
addressing scienter at infra III.C.                                  because they contained only statements of opinion. Id. at
                                                                     1256.


           iii. The April 9, 2021 Decrypt Article                    10
                                                                             The court in Banco Bradesco arguably took a
                                                                             different approach on this issue, rejecting an
The Court next turns to the April 9, 2021 Decrypt article,
                                                                             argument that a claim based on statement in an
which was titled “Canaan CEO is Bullish on Bitcoin Mining
                                                                             article attributed to an unidentified representative
Ahead of Earnings – The Nasdaq-listed manufacturer of
                                                                             of a corporate defendant should be dismissed on
crypto mining hardware has seen its stock jump almost
                                                                             the basis that it was not attributed to a specific
1000% in six months.” Decrypt Article; see Am. Compl. ¶ 36.
                                                                             individual. 277 F. Supp. 3d at 663.
The article reported that “Zhang said that the company had
secured chips from a number of fabrication plants in advance          *10 On the other hand, when a pleading sufficiently alleges
of the worldwide shortage of processors” and directly quoted         that a statement in an article is attributable to a defendant, the
Mr. Zhang as saying that the company's approach is “one              statement may be treated as being made by that defendant. In
of a multi-fab strategy, where we collaborate and work with          In re Columbia Securities Litigation, the court determined that
a number of leading chip manufacturers to reduce supply-             at the motion to dismiss stage, a statement in a Forbes article
chain risks.” Decrypt Article at 4. Lead Plaintiffs allege that      could serve as the basis for a fraud claims “[i]f, as plaintiffs
these statements “concealed from the investing public” that          allege, [one of the defendants] made a false statement to the
“Canaan had experienced significant ongoing supply chain             Forbes reporter,” because “[w]hile defendants certainly had
disruptions during the fourth quarter 2020.” Am. Compl. ¶            less than complete control over what the reporter wrote, they
38(a). Lead Plaintiffs further contend that during the April 12,     did have control over what [that defendant] said.” 747 F.
2021 earnings call, “Defendants reported the exact opposite          Supp. 237, 245 (S.D.N.Y. 1990); see also Banco Bradesco,
[of what Mr. Zhang said during the Decrypt interview],               277 F. Supp. 3d at 663 (determining that a corporate defendant
that Cannon had experienced a ‘severe supply shortage’ of            could be liable for statement made to the press by an
‘mining machine’ chips during the fourth quarter of 2020.”           unidentified spokesperson).
Opposition at 9 (quoting Am. Compl. ¶ 40). Defendants argue
that Lead Plaintiffs’ claim based on the Decrypt article fails       Thus, the quote from Mr. Zhang in the Decrypt article that
first because many statements within the article were not            the company's approach “is one of a multi-fab strategy,
made by Canaan, but by an independent reporter, Motion at            where we collaborate and work with a number of leading
14-16, and second because Mr. Zhang's statement that the             chip manufacturers to reduce supply-chain risks,” Decrypt
company was working with leading chip manufacturers to               Article at 4, clearly may be attributed to him. Further, at
                                                                     this stage, where all reasonable inferences must be drawn



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in favor of Lead Plaintiffs, the Court determines that the          see Decrypt Article at 4. Lead Plaintiffs allege that these
content of Zhang's statement, as reported in the article, “that     statements were false because “Canaan had experienced
the company had secured chips from a number of fabrication          significant ongoing supply chain disruptions during the fourth
plants in advance of the worldwide shortage of processors—          quarter 2020.” Am. Compl. ¶ 38.
which has impacted the gaming, computing, and automotive
industry, as well as Bitcoin mining,” id., may be attributed         *11 To support this claim, Lead Plaintiffs point to statements
to him as well, even though it was not a direct quote. The          made in Canaan's fourth quarter and year end 2020 financial
Decrypt article consists substantially of an interview with         results released on April 12, 2021, id. ¶ 39, as well as
Mr. Zhang, and contains multiple direct quotes and multiple         statements made by Mr. Zhang during the earnings call that
paraphrases of statements made by Mr. Zhang. The statement          day discussing those results, id. In particular, the press release
begins with “Zhang said,” id., and the Amended Complaint            announcing the financial results contained a statement by Mr.
alleges that Mr. Zhang made this statement, Am. Compl. ¶            Zhang that “[a]lthough the outbreak of COVID-19 caused
37. 11 To hold that this statement could not be attributed to       supply chain disruptions and thus negatively impacted our
Mr. Zhang in such conditions would be to determine that             revenues in the fourth quarter of 2020, our market leadership
only words within direct quotes in press articles could be          has enabled us to attain US$174 million of contracted orders,”
attributed to securities fraud defendants, a proposition which      and a statement by Mr. He that “[d]ue to supply chain
is unsupported by any caselaw cited by Defendants and which         disruptions, as the price of Bitcoin rallied in late 2020,
                                                                    we experienced a surge of demand for high quality mining
the Court declines to endorse. 12
                                                                    machines both in and outside of China.” 4/12/21 Press
                                                                    Release at 2; see Am. Compl. ¶ 39. And on the earnings
11     Lead Plaintiffs do not appear to argue, and                  call, Lead Plaintiffs allege that “Zhang stated that Canaan
       the Court does not hold, that the opening of                 experienced ‘a severe supply shortage’ of ‘mining machine’
       the article, which included a statement that the             chips during the fourth quarter of 2020.” Am. Compl. ¶ 40.
       “outlook is rosy” referring to the fourth quarter            A review of the full transcript of that call, however, shows
       and full year 2020 results, is attributable to               that he made a different statement. Mr. Zhang said, through
       Defendants. Opposition at 9-10, 13. There is of              a translator:
       course significantly more reason to doubt that such
       a claim, found only in the article's introduction,             Due to the low Bitcoin prices in the second half of
       prior to any direct reference to statements made               2020, most mining machine manufacturers reduced their
       by Mr. Zhang and without any direct attribution to             investment in fabrication during the period. As a result,
       any Defendant, could be considered a statement by              when the Bitcoin price bounced back in the second half of
       Defendants.                                                    2020, we saw a severe supply shortage in the industry. In
                                                                      addition [ ] the limited supplies across the semiconductor
12     Such a rigid rule would also open avenues for                  manufacturing sector recently also ha[ve] played a role in
       fraud by making it possible for entities and insiders          building the shortage of chips in 2021, further accelerating
       to make statements in the press without fear                   the problem of chip supply.
       of liability so long as they secured a reporter's
       agreement not to put their words in quotes.                    We cannot really disclose the exact number of chips that we
                                                                      have under production right now. But one of the strategies
The Court therefore turns to Defendants’ argument that Mr.
                                                                      we've adopted to address this problem is to maintain
Zhang's statements in the Decrypt article were not false
                                                                      our partnerships with multiple foundry partners and keep
or misleading. Motion at 16; Reply at 5-6. As stated, the
                                                                      expanding our collaborations, which has helped us achieve
Amended Complaint relies on two statements in the Decrypt
                                                                      outstanding results in terms of keeping up.
article attributable to Mr. Zhang: (1) “Zhang said that the
company had secured chips from a number of fabrication
                                                                    4/12/21 Call Tr. at 10 (emphasis added). 13
plants in advance of the worldwide shortage of processors,”
and (2) a quote from Mr. Zhang saying that “[o]ur approach
                                                                    13
is one of a multi-fab strategy, where we collaborate and                    “It is well established that ‘where the plaintiffs[’]
work with a number of leading chip manufacturers to reduce                  allegations are contradicted by a document that the
supply-chain risks.” Am. Compl. ¶ 37 (emphasis omitted);                    complaint incorporates by reference, the document



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        controls.’ ” Optionality Consulting Pte. Ltd. v.              interview that “the company had secured chips” and had
        Nekos, No. 18 Civ. 5393 (ALC), 2019 WL                        “reduce[d] supply-chain risks” were false statements when
        4523469, at *6 (S.D.N.Y. Sept. 18, 2019) (quoting             made.
        380544 Can., Inc. v. Aspen Tech., Inc., 544 F. Supp.
        2d 199, 215 (S.D.N.Y. 2008)). Defendants moved                 *12 Lead Plaintiffs’ omissions theory as to Mr. Zhang's
        the Court to consider the transcript of the April 12,         Decrypt interview statements fails for similar reasons. To
        2021 earnings call as an incorporated-by-reference            sufficiently plead that these statements were misleading
        document in their motion for judicial notice. Dkt.            because they omitted material information, Lead Plaintiffs
        71 at 4 (referring to Exhibit 9 as incorporated               must identify the information that was omitted. But again,
        by reference in the Amended Complaint). Lead                  Lead Plaintiffs contend that the omitted information was a
        Plaintiffs did not opposed that motion with respect           “severe supply shortage” of “mining machine” chips affecting
        to the April 12, 2021 transcript. Dkt. 73 at 2, 5.            Canaan, yet their allegations fail to establish that such a
                                                                      shortage occurred. In fact, Lead Plaintiffs’ omission theory
Lead Plaintiffs argue that Defendants’ statements “regarding
                                                                      is weaker than their misrepresentation theory because even
securing chips [i]n advance of the worldwide shortage of
                                                                      if the Defendants’ April 12, 2021 statements had revealed
processors’ was an outright falsehood as Defendants’ own
                                                                      that Canaan experienced a shortage of chips, they say nothing
admissions, just three days later, prove,” because “Defendants
                                                                      about the extent to which Canaan experienced that shortage.
reported the exact opposite, that Canaan had experienced ‘a
                                                                      For example, a minor shortage would be consistent with
severe supply shortage’ of ‘mining machine’ chips during
                                                                      the assertion that Canaan had previously “secured chips”
the fourth quarter of 2020.” Opposition at 9. They argue
                                                                      and “reduce[d] supply chain risks.” Without any information
further that “even if Canaan had secured chips prior to
                                                                      regarding the extent of any shortage, Lead Plaintiffs cannot
the shortage, the statement gives the false impression that
                                                                      meet the PSLRA's requirement of specifying “each statement
the Company was not affected by the shortage,” effectively
                                                                      alleged to have been misleading [and] the reason or reasons
omitting material information. Id. at 9-10.
                                                                      why the statement is misleading.” 15 U.S.C. § 78u-4(b)(1).
                                                                      And while the PSLRA does not demand “that plaintiffs plead
The flaw in Lead Plaintiffs’ argument is that they have
                                                                      with particularity every single fact upon which their beliefs
failed to adequately allege the true state of the world which
                                                                      concerning false or misleading statements are based,” Novak,
could make either a false statement false or an omission an
                                                                      216 F.3d at 313, they are required to plead at least some fact
omission. In order to establish an outright misrepresentation,
                                                                      supporting their belief. Lead Plaintiffs have not done so.
Lead Plaintiffs would need to allege either that Canaan had
not “secured chips from a number of fabrication plants in
                                                                      Accordingly, the Court determines that Lead Plaintiffs have
advance of the worldwide shortage of chips” or that Canaan
                                                                      failed to adequately allege a false or misleading statement
had not “reduce[d] supply-chain risks.” But in support of
                                                                      with respect to the April 9, 2021 Decrypt article.
those facts, Lead Plaintiffs point only to statements from
April 12, 2021 that refer either to general supply chain
disruptions without reference to chips, or to industry-wide              2. Scienter
disruptions to chips without mention of whether or to what            Because the Court concludes that Lead Plaintiffs have alleged
extent those disruptions impacted Canaan in particular. To            a false or misleading statement with respect only to the
this end, it is significant to note Lead Plaintiffs’ misstatement     February 10, 2021 press release, the Court assesses whether
in the Amended Complaint of what Mr. Zhang said during                Lead Plaintiffs have adequately pleaded scienter with respect
the earnings call. They allege that “defendant Zhang stated           to the statements in that press release.
that Canaan experienced ‘a severe supply shortage,’ ” Am.
Compl. ¶ 40 (emphasis added), whereas in fact Mr. Zhang               To plead scienter, a complaint must allege facts showing
stated that “we saw a severe supply shortage in the industry,”        “either: 1) a ‘motive and opportunity to commit the fraud’; or
Dkt. 71-3 at 175 (emphasis added). Neither the severity, nor          2) strong circumstantial evidence of conscious misbehavior or
even the existence, of the shortage as applied to Canaan is           recklessness.” Emps.’ Ret. Sys. of Gov't of the V.I. v. Blanford,
indicated by that statement. In short, Defendants’ subsequent         794 F.3d 297, 306 (2d Cir. 2015) (quoting ATSI Commc'ns,
statements about supply chain issues or chip supply chain             493 F.3d at 99). As the Second Circuit has explained:
disruptions in the industry generally are insufficient to show
that Mr. Zhang's previous statements during the Decrypt


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                                                                     performance and sales ... at the time they made their
  Circumstantial evidence can support an inference of                statements”; second, that the statements “were relayed after
  scienter in a variety of ways, including where defendants          quarter end in February ... 2021” such that “the Individual
  (1) benefitted in a concrete and personal way from                 Defendants knew, or were reckless in not knowing, the
  the purported fraud; (2) engaged in deliberately illegal           previous quarter's financial results and reasons for the results
  behavior; (3) knew facts or had access to information              months later”; third, “the magnitude of Canaan's revenue
  suggesting that their public statements were not accurate;         decline in the fourth quarter 2020 makes it simply implausible
  or (4) failed to check information they had a duty to              that the Individual Defendants did not know of the negative
  monitor.                                                           financial results and causes of those results during the
                                                                     Class Period”; fourth, “the timing and circumstances of the
  A complaint will survive if a reasonable person would
                                                                     departure of Canaan's former CFO,” Mr. Hong; fifth, that
  deem the inference of scienter cogent and at least as
                                                                     “bitcoin mining machines were the single largest income
  compelling as any opposing inference one could draw from
                                                                     producing segment for the Company”; and sixth, that Mr.
  the facts alleged.
                                                                     Zhang “founded the Company and not only served as its
Id. (quotations omitted).                                            highest-ranking officer and Chairman of the Board, but he
                                                                     also controlled 69.4% of the voting power as of December
Lead Plaintiffs allege that “each of the Individual Defendants       31, 2020.” Am. Compl. ¶¶ 45-50. Lead Plaintiffs further
acted with scienter in that they knowingly or recklessly             argue that the core operations doctrine provides supplemental
disregarded that the information disseminated to the public          support for allegations of scienter in this instance. See
contained materially false and/or misleading information             Opposition at 22.
and omitted material information.” Am. Compl. ¶ 42. In
particular, Lead Plaintiffs allege that “[i]n their respective        *13 The flaw in each of these theories is that they amount
roles as senior officers of Canaan, the Individual Defendants        to various ways that Defendants must have known specific
were able to, and did, control the information disseminated          information at the time of the February 10, 2021 statement.
to the investing public in the Company's various SEC filings,        That specific information consists of Canaan's revenue
press releases, and other public statements during the Class         figures associated with the pre-sales and that those figures
Period,” and that “[n]umerous facts ... considered collectively,     were lower than otherwise achievable because of rising
support a strong inference that Defendants knew or, at a             Bitcoin prices during the fourth quarter which Defendants
minimum, were severely reckless in not knowing, the true             could have taken advantage of had the sale price of the mining
undisclosed facts when they made their false and misleading          machines not been locked in. Essentially, Lead Plaintiffs say
                                                                     that Defendants must have known this information because
representations to investors.” Id. ¶¶ 43-44. 14
                                                                     of, for example, the timing of the statements, the positions
                                                                     of Mr. Zhang and Mr. He in Canaan, and the magnitude
14     Because Lead Plaintiffs’ theory of corporate                  of the impact on revenue. But Lead Plaintiffs never allege
       scienter is predicated on the scienter of Mr. Zhang           how Defendants would have this information, regardless of
       and Mr. He, see Opposition at 24-25; Am. Compl. ¶             how important it may have been, and “[w]here plaintiffs
       51, the Court does not separately analyze Canaan's            contend defendants had access to contrary facts, they must
       scienter. See Teamsters Local 445 Freight Div.                specifically identify the reports or statements containing this
       Pension Fund v. Dynex Cap., Inc., 531 F.3d 190,               information.” Novak, 216 F.3d at 309; accord Landesbank
       195 (2d Cir. 2008) (“In most cases, the most                  Baden-Wurttemberg v. Goldman Sachs & Co., 478 F. App'x
       straightforward way to raise [an inference of                 679, 682 (2d Cir. 2012) (“[A]n allegation that defendants
       scienter] for a corporate defendant will be to plead          had access to information that was inconsistent with their
       it for an individual defendant.”).                            alleged misstatements ‘must specifically identify the reports
Those “[n]umerous facts” include, first, that Defendants             or statements containing this information.’ ” (quoting Novak,
“made detailed statements based on purportedly personal              216 F.3d at 309)).
knowledge regarding ... the Company's sales of bitcoin
mining machines,” showing that “the Individual Defendants            The Amended Complaint contains no allegation of such a
were intently focused on Canaan's bitcoin mining machines ...        report or statement accessible to Defendants at the time
and were intimately familiar with the Company's actual               of the February 10, 2021 statement, and instead argues



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in conclusory fashion that “Canaan's dismal results [were]           that “[a]ctively communicating with the public about [an]
known to Defendants” because “the fourth quarter and year”           issue demonstrates defendants’ sensitivity to it,” Gauquie
were already completed and because the February 10, 2021             v. Albany Molecular Rsch., Inc., No. 14 Civ. 6637 (FB),
statement was made “six weeks after the fourth quarter and           2016 WL 4007591, at *2 (E.D.N.Y. July 26, 2016), but
full year 2020 ended.” Am. Compl. ¶¶ 31-32. While there              Defendants’ February 10, 2021 statements related to their
may be an intuitive appeal to the idea that Defendants must          pre-sales indicate only that they were sensitive to how those
have known about fourth quarter of 2020 revenue because              pre-sales would improve revenue visibility in 2021, not that
they were touting increased revenue visibility, that revenue         they necessarily understood how those sales had impacted
visibility was explicitly tied to 2021. Id. ¶ 32. The February       past revenue in late 2020. The fact that these statements
10, 2021 statement did not say that Defendants had increased         were made after the fourth quarter concluded also does not
revenue visibility as to the not-yet-reported financial results      raise an inference that revenue information for that quarter
of 2020, or that they already had generated revenue figures for      was available, especially absent any allegations relating to
2020. And while at least some revenue information was likely         the company's practices for when it prepares its revenue
obtainable within the company related to pre-sale orders,            information for internal review. See Lopez v. CTPartners
due to the fact that these orders were locked in during late         Exec. Search Inc., 173 F. Supp. 3d 12, 38 (S.D.N.Y. 2016)
2020, the Amended Complaint contains no allegations related          (“[T]hat a quarter has concluded does not mean that the
to how such information for each sale might have been                quarter's results have yet been tabulated.”); see also San
compiled into some sort of report accessible to Defendants,          Leandro Emergency Med. Grp. Profit Sharing Plan v. Phillip
or even that Mr. He or Mr. Zhang would have been privy               Morris Co., 75 F.3d 801, 812 (2d Cir. 1996) (“Plaintiffs’
to individual sale prices for each of the pre-sales at the time      unsupported general claim of the existence of confidential
they were made or otherwise before the February 10, 2021             company sales reports that revealed the larger decline in
statement, let alone the effects of those sale prices on the         sales is insufficient to survive a motion to dismiss” when
company's revenue. In short, the Amended Complaint does              allegedly false statement was made three weeks before final
not “specifically identify the reports or statements containing”     sales figures were announced.).
the revenue information; in essence they allege only that such
reports must have existed. 15 Such allegations are insufficient       *14 Next, the magnitude of the eventual revenue decline
to plead scienter. See In re Renewable Energy Grp. Sec.              does not raise an inference of scienter both because as
Litig., No. 22-335, 2022 WL 14206678, at *3 (2d Cir. Oct.            discussed there is no indication that Defendants had access to
25, 2022) (“These allegations amount to little more than             that information at the time of the February 10, 2021 press
speculation that documentation or evidence of internal control       release and because it is not clear what portion of that decline
deficiencies must have existed and do not specifically identify      was due to an increased volume of pre-sales. This is especially
the reports or statements containing the truthful information,       true because Lead Plaintiffs’ argument is not that the pre-
as a plaintiff generally must when contending defendants             sales alone caused a loss of revenue, but rather that because
had access to contrary facts.” (internal quotation marks and         the sales prices were locked in, Defendants were unable to
alterations omitted)).                                               take advantage of potentially higher sale prices as the price of
                                                                     Bitcoin, and the accompanying demand for mining machines,
15                                                                   rose. But the magnitude of a revenue decrease from one
       While not finding that any of these allegations
                                                                     year to another or from one quarter to another says nothing
       necessarily would have been sufficient, the Court
                                                                     about the ability of Defendants to understand that they were
       notes that Lead Plaintiffs might have alleged, for
                                                                     leaving money on the table either while they were doing it
       example, the existence of a sales report showing
                                                                     or shortly thereafter. See also In re Nielsen Holdings PLC
       the funds brought in by pre-sales, a regular practice
                                                                     Sec. Litig., 510 F. Supp. 3d 217, 231 (S.D.N.Y. 2021) (“[T]he
       of reporting preliminary revenue figures within the
                                                                     magnitude (or duration) of an adverse result does not provide
       company shortly after the end of a quarter, or that
                                                                     an independent basis for scienter.” (internal quotation marks
       Mr. Zhang and Mr. He were intimately involved
                                                                     omitted)). The Court therefore determines that the magnitude
       in each individual pre-sale such that they knew the
                                                                     of the revenue decline in this case does not raise an inference
       prices and quantities of those sales.
                                                                     of scienter.
Nor, with this path foreclosed, do Lead Plaintiffs’ other
attempts lead to a successful pleading. It may be true



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The departure of Canaan's former CFO, Mr. Hong, one                  Court concludes that the answer is no. The inference that
day before the February 10, 2021 statement, also does not            Defendants had access to fourth quarter of 2020 revenue data
sufficiently raise an inference of scienter. “Courts ... have        related to their pre-sales is not as strong as the inference that
consistently held that an officer's resignation, without more,       Defendants lacked that data a mere six weeks after the close
is insufficient to support a strong inference of scienter.”          of the quarter. For that reason, the Court determines that Lead
Gillis v. QRX Pharma Ltd., 197 F. Supp. 3d 557, 605                  Plaintiffs have failed to adequately allege scienter for the
(S.D.N.Y. 2016) (collecting cases); see also Glaser v. The9,         February 10, 2021 statement and grants the motion to dismiss
Ltd., 772 F. Supp. 2d 573, 598 (S.D.N.Y. 2011) (holding              on that ground.
that resignations “without some indicia of highly unusual
or suspicious circumstances, are insufficient to support the          *15 Because those are the only statements which the Court
required strong circumstantial evidence of scienter”). The           finds actionable, the Court dismisses Lead Plaintiffs’ Section
Amended Complaint alleges only that Mr. Hong “suddenly               10(b) and Rule 10b-5 claims.
resigned effective immediately” without explanation and
“citing only ‘personal reasons,’ ” Am. Compl. ¶ 30, and then
alleges that The Motley Fool opined that the February 10,            C. Section 20(a) Claims Against Mr. He and Mr. Zhang
2021 “financial update is oddly timed” since it immediately          Because the Court has dismissed Lead Plaintiffs’ Section
followed the CFO's resignation, id. ¶ 34. The suggestion             10(b) and Rule 10b-5 claims, the Section 20(a) claims
appears to be that this “odd[ ] timing” indicates that Mr.           likewise fail for lack of a primary violation. See, e.g., In re
Hong's resignation was related to some corporate misconduct.         Mylan N.V. Sec. Litig., 379 F. Supp. 3d 198, 215 (S.D.N.Y.
But the Amended Complaint alleges no other facts related to          2019) (dismissing Section 20(a) control liability claims after
his departure that suggest that it was related in any way to the     dismissing Section 10(b) primary violations). The Court
February 10, 2021 statements, let alone facts that give rise to      therefore also dismisses the Section 20(a) claims.
an inference of scienter.
                                                                     D. Leave to Amend
Finally, what remains is the “core operations” doctrine. See
                                                                     Under Rule 15(a) of the Federal Rules of Civil Procedure,
Opposition at 22. “The core operations doctrine provides
                                                                     a court “should freely give leave when justice so requires.”
that a court may infer that a company and its senior
                                                                     Fed. R. Civ. P. 15(a)(2). Lead Plaintiffs have asked the Court
executives have knowledge of information concerning the
                                                                     for leave to amend their Amended Complaint should the
core operations of a business, such as events affecting a
                                                                     Court rule in Defendants’ favor. Opposition at 25. Because
significant source of revenue.” Renewable Energy Grp.,
                                                                     the Amended Complaint is the first complaint submitted by
2022 WL 14206678, at *3 n.4 (internal quotation marks
                                                                     Lead Plaintiffs, the Court grants leave to amend. The Court
omitted). But the Second Circuit has “not clearly affirmed
                                                                     emphasizes that Lead Plaintiffs should only file a Second
the validity of this doctrine following the passage of the
                                                                     Amended Complaint if they are able to remedy the pleading
PSLRA.” Id. And so courts in this Circuit generally treat
                                                                     deficiencies identified herein.
core operations allegations as providing “supplementary
but not independently sufficient means to plead scienter.”
Cortina v. Anavex Life Sci. Corp., No. 15 Civ. 10162
(JMF), 2016 WL 7480415, at *7 (S.D.N.Y. Dec. 29, 2016)                                       IV. Conclusion
(internal quotation marks omitted). Because none of the Lead
                                                                     For the stated reasons, Defendants’ motion to dismiss is
Plaintiffs’ other allegations support an inference of scienter,
                                                                     granted. The Court grants Lead Plaintiffs leave to amend their
the core operations doctrine—even if it remains a valid
                                                                     Amended Complaint. In the event Lead Plaintiffs decide to
doctrine—cannot save Lead Plaintiffs’ claims.
                                                                     file another amended complaint, they must file it within thirty
                                                                     days of this Opinion and Order. If Lead Plaintiffs fail to file an
Ultimately the Court must assess, in light of these allegations
                                                                     amended complaint within thirty days, and do not show good
taken collectively, “would a reasonable person deem the
                                                                     cause to excuse the failure to do so, the Court will dismiss this
inference of scienter at least as strong as any opposing
                                                                     action with prejudice.
inference?” Tellabs, 551 U.S. at 326. For this Amended
Complaint, without any allegation specifically identifying a
                                                                     SO ORDERED.
report or statement containing omitted material facts, the



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                                                                         Reeves, Anadarko's executive vice-president, law
                     2018 WL 3032573                                     and chief administrative officer; and Darell E.
United States District Court, S.D. Texas, Houston Division.              Hollek a senior advisor at Anadarko since May
                                                                         10, 2017 and Anadarko's executive vice-president,
        Robert EDGAR, Individually and on behalf                         U.S. onshore exploration and production since
         of all others similarly situated, Plaintiff,                    April 28, 2015. (Docket Entry No. 35 at ¶¶ 28–31).
                             v.                                   Based on the law, the record, and the parties’ arguments, the
               ANADARKO PETROLEUM                                 motion to dismiss is granted, without prejudice and with leave
          CORPORATION, et al., Defendants.                        to amend by August 3, 2018. The reasons for this ruling are
                                                                  explained below.
                  Civil Action No. 17–1372
                               |
                     Signed 06/19/2018                            I. Background

Attorneys and Law Firms                                              I. The Factual Allegations
                                                                  Anadarko is a publicly traded oil and gas exploration
R. Dean Gresham, Steckler Gresham Cochran PLLC, Willie            and production company headquartered in the Woodlands.
C. Briscoe, The Briscoe Law Firm, PLLC, Dallas, TX, for           (Docket Entry No. 35 at ¶ 27). Anadarko focuses its
Plaintiff.                                                        operations on the Gulf of Mexico, the Delaware Basin in
                                                                  Texas, and the Denver–Julesburg Basin in Colorado. Id. at
Noelle M. Reed, Skadden, Arps, Slate, Meagher & Flom LLP,
                                                                  ¶ 27. Approximately one quarter of Anadarko's employees
Houston, TX, Jay B. Kasner, Pro Hac Vice, Susan Leslie
                                                                  work out of its Colorado offices. Id. at ¶ 3. The plaintiffs
Saltzstein, Pro Hac Vice, Skadden, Arps, Slate, Meagher &
                                                                  allege that Anadarko's disregard for safety regulations led to
Flom LLP, New York, NY, for Defendants.
                                                                  the endangerment and death of Colorado residents. Id. at ¶¶ 1,
                                                                  21. The plaintiffs contend that this, and Anadarko's failure to
                                                                  be honest, harmed investors and violated securities laws. The
          ORDER GRANTING MOTION TO                                plaintiffs allege the following facts.
          DISMISS, WITHOUT PREJUDICE
                                                                  In 2006, Anadarko acquired the oil and gas company,
Lee H. Rosenthal, Chief United States District Judge
                                                                  Kerr–McGee Corporation. Id. at ¶ 58. This, combined
 *1 The plaintiffs, a class of investors who purchased or         with Anadarko's acquisition of Western Gas Partners, LP,
acquired Anadarko common stock between February 8, 2016           substantially increased
and May 2, 2017, brought this securities class action against
the defendants, Anadarko Petroleum Corporation and several
                                                                  Anadarko's oil and gas interests in the Denver–Julesburg
of its executives. 1 (Docket Entry No. 35). The plaintiffs        Basin. Id. at ¶ 59. By the end of 2006, this region accounted
allege violations of § 10(b) of the Exchange Act and Rule         for 38% of Anadarko's proved onshore oil and gas reserves in
10b–5 against Anadarko and violations of § 20(a) of the           the lower 48 states. Id.
Exchange Act against the executives. Id. at ¶¶ 38, 41. The        Anadarko accrued $9 billion in environmental fines and
defendants moved to dismiss, the plaintiffs responded, and        settlements between 2011 and 2014. Id. at ¶ 4. The liabilities
the defendants replied. (Docket Entry Nos. 36, 46, 47). The       came primarily from the Macondo well explosion and the
parties appeared at a hearing on June 15 and presented oral       Kerr–McGee acquisition. Id. Anadarko paid what was the
argument.                                                         largest environmental settlement in United States history for
                                                                  the environmental damage Kerr–McGee had caused. Id. If not
1                                                                 for these fines and settlements, Anadarko would have enjoyed
       The defendant executives include: R.A. Walker,
       Anadarko's chairman since may 14, 2013,                    multi-billion dollar profits between 2011 to 2013. Id. at ¶ 5.
       chief executive officer since May 15, 2012,                Instead, Anadarko lost one billion dollars. Id.
       and president since February 2010; Robert
       G. Gwin, Anadarko's executive vice-president,               *2 On October 21, 2013, Anadarko and its closest
       finance and chief financial officer; Robert K.             competitor engaged in a land swap in the Wattenberg field,


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the most actively drilled part of the Denver–Julesburg Basin,        and environmental hazards and would require remediation.
located just north of Denver. Id. at ¶¶ 61, 77. Anadarko             Id. at ¶ 7. Anadarko authorized tens of millions of dollars for
received about 1,500 existing wells in the swap. Id. at ¶¶ 77–       remediation. Id.
80. The land surrounding the wells was primarily rural when
the wells were drilled. As Denver expanded, the surrounding          Oil prices dropped from $95.83 a barrel on September 1,
land became more residential. Id. at ¶ 80. The wells, most of        2014 to $54.56 a barrel on January 1, 2015. Id. at ¶ 73.
which were drilled 30 to 40 years ago, were not in compliance        Anadarko reversed course on its commitment and slashed
with Colorado's standards. Id. at ¶ 84. They lacked methane          its remediation budget before any substantial remediation
emission controls to prevent gas from being vented into              had been performed. Id. at ¶ 9. Senior Colorado Anadarko
residential airspace. Id. Other issues included outdated piping      executives were aware of the safety issues, but they acted to
and oil storage tanks and deteriorated cellars and cement pits       support Anadarko's bottom line by laying off 20% to 30% of
intended to prevent liquids from going into the ground or            the workforce in March 2016. Id. at ¶¶ 10–11. Included in
groundwater. Id. Anadarko's top management knew about                the layoffs were 30% of the field operations personnel who
these problems within six months after the land swap and             were responsible for well remediation, as well as 30% of the
were regularly presented with an up-to-date list of wells            company's health, safety, and environmental division. Id. at ¶
determined to be problematic by Anadarko's Colorado health,          95. There were not enough employees to operate the Denver–
safety, and environment division. Id. at ¶¶ 85–86.                   Julesburg Basin safely. Id. at ¶ 12.

At the end of 2015, Anadarko operated approximately 5,000            In late 2016 and early 2017, Anadarko “ramped up” its
vertical wells and 1,000 horizontal wells in the Wattenberg          activity in Colorado. Id. at ¶ 97. In August 2016, Anadarko
field. 2 Id. at ¶¶ 64–65. Drilling in the Wattenberg field           had one well-drilling rig in Colorado. Id. By November 2016,
accounted for 30.1% of Anadarko's worldwide oil production           it had five. Id. Despite this increased drilling, Anadarko hired
and 20.7% of its worldwide natural gas production. Id. at ¶ 65.      no additional employees. Id. One former employee brought
                                                                     up the inadequate staffing with John Christiansen, Anadarko's
2                                                                    vice-president of corporate communications, approximately
       Anadarko had several advantages over its
                                                                     12 times between late 2016 and March 2017. Id. at ¶ 99. She
       competitors in the Wattenberg field of the Denver–
                                                                     also brought her concerns to Craig Walters, vice-president
       Julesburg Basin. (Docket Entry No. 35 at ¶
                                                                     of the Denver–Julesburg Basin; Shane Fross, an engineer;
       69). Approximately 40% of Anadarko operations
                                                                     and Paul Schneider, the health, safety, and environment
       in the field were on mineral acres owned
                                                                     manager for the Denver–Julesburg Basin. Id. at ¶ 99. When
       by Anadarko, so those operations incurred no
                                                                     another former employee found out that many of Anadarko's
       lease fees. Id. Anadarko had the benefit of
                                                                     contractors did not comply with safety regulations, he sent
       economies of scale, with enough land ownership
                                                                     an email to the contractors and “everyone and their brother”
       and infrastructure to substantially reduce marginal
                                                                     within Anadarko, but he received no responses. Id. at ¶ 101.
       costs. Id. Anadarko's subsidiary, Western Gas
                                                                     Anadarko continued to hire the infringing contractors. Id.
       Partners, had “more than 240 miles of pipeline
       and two massive process treating plants in the
                                                                      *3 Anadarko determined that a 28,000–gallon oil spill in
       Wattenberg field,” which, again, allowed Anadarko
                                                                     January 2017 was caused by the lack of trained personnel.
       to operate at a significantly reduced cost. Id.
                                                                     Id. at ¶ 12. At an internal meeting to prepare for a hearing
       Altogether, “Anadarko's production costs in the
                                                                     before the Colorado Oil and Gas Conservation Commission to
       Wattenberg field were only $7.46/BOE—against
                                                                     discuss the spill, Anadarko officials noted that the cause of the
       average worldwide productions costs of $8.31/
                                                                     accident was a lack of “skilled staff.” Id. at ¶ 103. Anadarko
       BOE.” Id.
                                                                     executives decided not to inform Colorado regulators of the
Anadarko assured investors that it had turned over a new leaf        cause of the spill. Id. Fross instructed meeting attendants not
in regulation compliance. Id. at ¶ 6. Anadarko told investors        to admit that cause to during the Commission hearing. Id.
that it had the ability to monitor all the wells in the Colorado     at ¶ 102. When a senior public-relations employee voiced
region and could rapidly identify and address safety issues.         concerns about Anadarko's lack of skilled staff and safety
Id. After making these assurances, Anadarko discovered that          practices, Christiansen told her to “keep quiet” and that
several hundred wells acquired in the land swap were safety



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her job was to “shovel shit and clean up the messes that
[Anadarko's employees] make.” Id. at ¶ 104.                          Anadarko had turned on the Firestone Well, in January 2017
                                                                     to maintain the lease. Id. at ¶ 121. The well did not emit
Anadarko used its remediation budget to support production           methane when it was turned on because it did not have a
and avoid fines. Id. at ¶ 105. Anadarko chose the wells to           compressor to dispose methane. Id. at ¶¶ 122. In early April
remediate based on the amount of oil they would produce or           2017, Anadarko had sent crews to the Firestone Well. Id. at
when failing to remediate would affect Anadarko's drilling           ¶ 123. Though the crews could not explain why the well was
schedule. Id. at ¶ 106. When Anadarko drilled new horizontal         not emitting methane, Anadarko did not shut off the well. Id.
wells, it would:                                                     Because Anadarko was short-staffed, it did not check to make
                                                                     sure the Firestone Well's flowlines were not leaking. 3 Id. at
  [C]ross-reference the location against the location of the
                                                                     ¶ 125. It did not know about the existence of the leaking line
  lease-maintaining assets. Anadarko would then perform
                                                                     that caused the explosion. Id.
  mechanical integrity tests on [an] older well to ensure they
  could withstand the pressure of the nearby horizontal frack.
                                                                     3
  If the old well did not pass these tests, Anadarko would plug             A “flowline” is a surface or subsurface pipe through
  and abandon the well to install a new horizontal well. In                 which oil or gas travels from a well to process
  that way, Anadarko used the remediation budget to ensure                  equipment or storage.
  “the machine of the horizontal drilling program did not get         *4 On May 2, 2017, the Firestone–Frederick Fire
  slowed down,” rather than to address the actual health and         Department confirmed the link between Anadarko's well and
  safety risks of the wells.                                         the Firestone explosion. Id. at ¶ 18. A return line that was
                                                                     connected to the Firestone Well leaked methane into the
Id. at ¶ 107. Only when it faced potential fines for methane
                                                                     home's drains, which exploded when a hot-water heater was
emissions did Anadarko use funds in the remediation budget
                                                                     being installed. Id. at ¶ 129. Anadarko violated Colorado Oil
to remediate the high-emitting wells. Id. at ¶¶ 108–09.
                                                                     and Gas Conservation Commission Rule 1103 by abandoning
                                                                     the flowline without disconnecting and sealing it. Id. at ¶¶
Safety risks and proximity to residential areas or schools were
                                                                     18, 129. On May 3, 2017, Anadarko's stock price fell by
not factors considered in remediation. Id. at ¶ 105. According
                                                                     7.7%. Id. at ¶ 19. On June 30, 2017, Anadarko announced that
to one former employee, well remediation had “nothing to
                                                                     it had cut and sealed more than 2,400 abandoned flowlines
do with the probability of the wells, or flowlines, creating
                                                                     located within 1,000 feet of buildings, each of which violated
environmental or safety hazards. The company prioritized
                                                                     Rule 1103. Id. at ¶ 138. Anadarko additionally disconnected,
either the decommissioning of a well, the upgrade or a repair
                                                                     plugged, and abandoned 3,600 return lines. Id.
of the well, based on where the drilling schedule was.” Id.
at ¶ 110. Colorado-based upper executives met several times
                                                                     Anadarko publicly expressed sympathy in a published
to talk about how to prioritize using remediation funds to
                                                                     statement attributed to its Robert Walker, Anadarko's chief
support drilling rather than to address environmental and
                                                                     executive officer, but its executives admitted internally
safety hazards. Id. at ¶ 111. At group leadership meetings,
                                                                     that they were not worried about the explosion. Id. at ¶¶
Korby Bracken, the director of environment, regularly raised
                                                                     20, 132. At the next Anadarko town hall meeting, the
health and safety concerns. Id. at ¶ 113. His concerns were
                                                                     Firestone explosion came up only when Walker mentioned
pushed aside. Id. at ¶ 113.
                                                                     that Anadarko was “not too concerned” about it. Id. at ¶ 133.

On April 17, 2017, a home in Firestone, Colorado exploded,
                                                                     On May 24, 2017, a new methane cloud was discovered west
killing two people and critically injuring another. Id. at ¶ 14.
                                                                     of the Firestone explosion site, with even higher levels of
The home was 200 feet away from the Anadarko–operated
                                                                     methane. Id. at ¶ 136. The following day, a fire at an Anadarko
Firestone Well. Id. at ¶ 127. The well was one of the several
                                                                     oil container in Weld County, Colorado killed one worker and
hundred acquired in the land swap but was never remediated.
                                                                     injured three others. Id. at ¶ 137.
Id. at ¶ 15. On April 26, 2017, Anadarko announced that the
Firestone Well may have been involved in the explosion, and
that the company would be shutting down 3,000 similar wells             ii. The False Statement Allegations
in Colorado. Id. at ¶ 16. Anadarko's stock price fell 4.7% the       In February 2016 and 2017, Anadarko published its 2016 and
next day. Id. at ¶ 17.                                               2017 Health, Safety, and Environment Fact Sheets. Id. at ¶


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140, 153. The documents stated: “[w]e work to ensure that all          safety regulations. Further, the Company believes that the
of our activities are conducted to meet or surpass applicable          cost of maintaining compliance with these existing laws
health, safety, and environmental laws, regulations, and               and regulations will not have a material adverse effect on its
international standards.” Id. The 2016 Fact Sheet additionally         business, financial condition, results of operations, or cash
stated: “our [health, safety, and environment] team works              flows, but new or more stringently applied existing laws
seamlessly with operations and facilities to ensure compliance         and regulations could increase the cost of doing business,
with all applicable laws and regulations.” Id. at ¶ 140. The           and such increases could be material.
plaintiffs argue that these statements were false because: “(a)
Anadarko intentionally violated Colorado law and regulations         Id. at ¶¶ 143–44. The plaintiffs allege that the statement,
as a matter of course, including Rule 1103; and (b) Anadarko         “the Company believes that it is in material compliance with
knew that hundreds of the wells it had acquired in the               existing environmental and occupational health and safety
Land Swap did not comply with a variety of Colorado laws             regulations,” was false because: “(a) Anadarko intentionally
and regulations, including those violations leading to the           violated Colorado law and regulations as a matter of course,
Firestone Well explosion.” Id. at ¶ 141, 154.                        including Rule 1103; and (b) Anadarko knew that hundreds
                                                                     of the wells it had acquired in the Land Swap did not comply
On February 16, 2016, Anadarko filed its 2015 Form 10–K,             with a variety of Colorado laws and regulations.” Id. at ¶ 145.
which Walker and Robert Gwin, Anadarko's executive vice-
president of finance and chief financial officer, signed. Id. at     On August 12, 2016, Anadarko filed a Registration Statement
¶ 143. The 2015 Form 10–K stated:                                    on Form S–3, which incorporated the 2015 Form 10–K by
                                                                     reference. Id. at ¶ 152. On September 12, 2016, Anadarko sold
  Anadarko's business operations are subject to numerous             40,537,500 shares at an offering price of 54.50 per share, its
  international, provincial, federal, regional, state, tribal,       largest stock offering by dollar amount. Id. The offering raised
  local, and foreign environmental and occupational health           net proceeds of $2.2 billion. Id.
  and safety laws and regulations.
                                                                     Anadarko published a Wattenberg Integrated Operations
  ...                                                                Center Factsheet on its website. The Factsheet stated that the
                                                                     Operations Center “[p]rovides real-time remote-monitoring
  Many states where the Company operates also have, or
                                                                     capabilities for 6,800+ wells and 3,700+ tank facilities,”
  are developing, similar environmental laws and regulations
                                                                     and that it “applies state of the art oil, natural gas, and
  governing many of these same types of activities. In
                                                                     water management to Anadarko tank batteries, facilities and
  addition, many foreign countries where the Company is
                                                                     pipeline infrastructure.” Id. at ¶ 146. It also stated that
  conducting business also have, or may be developing,
                                                                     Anadarko “[i]mmediately pinpoints issues associated with
  regulatory initiatives or analogous controls that regulate
                                                                     field alerts and alarms.” Id. at ¶ 146. The plaintiffs allege that
  Anadarko's environmental-related activities. While the
                                                                     these statements were false because: “(a) a large proportion of
  legal requirements imposed under state or foreign law may
                                                                     Anadarko's facilities and pipeline infrastructure was not state
  be similar in form to U.S. laws and regulations, in some
                                                                     of the art, but old and decaying; and (b) the Operations Center
  cases the actual implementation of these requirements
                                                                     could not pinpoint issues or provide real-time monitoring
  may impose additional, or more stringent, conditions
                                                                     consistently because Anadarko did not know where many of
  or controls that can significantly alter or delay the
                                                                     its lines in Colorado were located.” Id. at ¶ 147.
  permitting, development or expansion of a project or
  substantially increase the cost of doing business. In
                                                                     In March 2016 and 2017, Anadarko published its Health,
  addition, environmental laws and regulations, including
                                                                     Safety, Environmental and Sustainability Overviews for 2015
  new or amended legal requirements that may arise in the
                                                                     and 2016 on its website. Id. at ¶¶ 148, 156. The reports,
  future to address potential environmental concerns such as
                                                                     which Walker and David McBride, Anadarko's vice-president
  air and water impacts, are expected to continue to have an
                                                                     of global health, safety, and environment signed, stated:
  increasing impact on the Company's operations.
                                                                       Oil and natural gas upstream and midstream operations are
   *5 ...
                                                                       subject to laws and regulations in every country in which
  The Company believes that it is in material compliance               Anadarko operates. Anadarko operates its global onshore
  with existing environmental and occupational health and


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  and offshore operations in compliance with the applicable         Supreme Court confirmed that Rule 12(b)(6) must be read
  laws and associated regulations.                                  in conjunction with Rule 8(a), which requires “a short and
                                                                    plain statement of the claim showing that the pleader is
  ...                                                               entitled to relief,” FED. R. CIV. P. 8(a)(2). To withstand a
                                                                    Rule 12(b)(6) motion, a complaint must contain “enough facts
  Anadarko is committed to preventing and minimizing the
                                                                    to state a claim to relief that is plausible on its face.” Id.
  impacts of spills [at all operations/everywhere it operates].
                                                                    at 570; see also Elsensohn v. St. Tammany Parish Sheriff's
  This commitment is demonstrated by the implementation
                                                                    Office, 530 F.3d 368, 372 (5th Cir. 2008). In Ashcroft v.
  of best management practices, engineering design,
                                                                    Iqbal, 556 U.S. 662 (2009), the Supreme Court elaborated
  mechanical integrity, product assessment and training.
                                                                    on the pleading standards discussed in Twombly. The Court
  Anadarko promotes a culture that allows for employee
                                                                    explained that “the pleading standard Rule 8 announces does
  involvement in maintaining a safe work environment while
                                                                    not require ‘detailed factual allegations,’ but it demands
  recognizing that environmental incidents are preventable.
                                                                    more than an unadorned, the-defendant-unlawfully-harmed-
  The teams strive for ZERO incidents. Spills can be
                                                                    me accusation.” Id. at 678 (quoting Twombly, 550 U.S. at
  prevented by designing and operating equipment and
                                                                    555). Iqbal explained that “[a] claim has facial plausibility
  training staff to avoid releases.
                                                                    when the plaintiff pleads factual content that allows the court
 *6 Id. at ¶¶ 148–50, 156–58. The plaintiffs challenge two          to draw the reasonable inference that the defendant is liable
statements: (1) “Anadarko operates its global onshore and           for the misconduct alleged.” Id. (citing Twombly, 550 U.S. at
offshore operations in compliance with the applicable laws          556).
and associated regulations”; and (2) “[t]he teams strive for
ZERO incidents. We believe spills can be prevented by               “[I]n deciding a motion to dismiss for failure to state a
designing and operating equipment and training staff to avoid       claim, courts must limit their inquiry to the facts stated
releases.” The plaintiffs allege that the statements were false     in the complaint and the documents either attached to
because: “(a) Anadarko intentionally violated Colorado law          or incorporated in the complaint.” Lovelace v. Software
and regulations as a matter of course, including Rule 1103;         Spectrum, Inc., 78 F.3d 1015, 1017 (5th Cir. 1996). A court
and (b) Anadarko knew that hundreds of the wells it had             may “consider documents integral to and explicitly relied on
acquired in the Land Swap were not in compliance with a             in the complaint, that the defendant appends to his motion
variety of Colorado laws and regulations.” Id. at ¶¶ 151, 159.      to dismiss, as well as the full text of documents that are
The plaintiffs also allege that Anadarko knew that it did not       partially quoted or referred to in the complaint.” In re Sec.
have enough employees to prevent Colorado spills and that           Litig. BMC Software, Inc., 183 F. Supp. 2d 860, 882 (S.D.
instead of hiring employees, it allowed spills when the costs       Tex. 2001) (internal quotation marks omitted). Consideration
of clean up were cheaper than remediation. Id.                      of documents attached to a defendant's motion to dismiss is
                                                                    limited to “documents that are referred to in the plaintiff's
                                                                    complaint and are central to the plaintiff's claim.” Scanlan v.
   iii. The Legal Allegations                                       Tex. A & M. Univ., 343 F.3d 533, 536 (5th Cir. 2003) (citing
The plaintiffs assert that Anadarko violated Section 10(b)
of the Exchange Act, 15 U.S.C. § 78j(b) and the Security
Exchange Commission's Rule 10b–5. Id. at ¶ 170. The                 Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498–99
plaintiffs assert that the executive committee defendants,          (5th Cir. 2000). In securities cases, courts may take judicial
Bradley Holly, Craig Walters, and John Christiansen, violated       notice of the contents of public disclosure documents that the
Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a). Id. at       law requires be filed with government agencies, such as the
¶ 182.                                                              SEC, and that are actually filed with the agency. Lovelace,
                                                                    78 F.3d at 1018 n.1. The court may consider these matters of
                                                                    public record without converting the motion into one seeking
III. The Legal Standards                                            summary judgment. See Funk v. Stryker Corp., 631 F.3d
                                                                    777, 780 (5th Cir.2011); Isquith v. Middle S. Utils., Inc.,
   A. Rule 12(b)(6)
                                                                    847 F.2d 186, 193 n.3 (5th Cir. 1988) (quoting 5 WRIGHT
Rule 12(b)(6) allows dismissal if a plaintiff fails “to
                                                                    & MILLER, FEDERAL PRACTICE AND PROCEDURE
state a claim upon which relief can be granted.” In Bell
                                                                    § 1366); Jathanna v. Spring Branch Indep. Sch. Dist., No.
Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007), the


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CIV.A. H–12–1047, 2012 WL 6096675, at *3 (S.D. Tex. Dec.             (5th Cir. 2005). “Put simply, Rule 9(b) requires ‘the who,
7, 2012).                                                            what, when, where, and how’ to be laid out.” Benchmark
                                                                     Electronics, Inc. v. J.M. Huber Corp., 343 F.3d 719, 724 (5th
   B. The Exchange Act                                               Cir. 2003); see also Carroll v. Fort James Corp., 470 F.3d
 *7 Under § 10(b) of the Securities Exchange Act of                  1171, 1174 (5th Cir. 2006).
1934, “[i]t shall be unlawful for any person, directly or
indirectly,...[t]o use or employ, in connection with the             As Judge Ellison explained in a similar case arising from
purchase or sale of any security registered on a national            the BP Deepwater Horizon securities fraud multidistrict
securities exchange...any manipulative or deceptive device or        litigation:
contrivance in contravention of such rules and regulations as
the [SEC] may prescribe as necessary or appropriate in the             The PSLRA enhances the requirements of Rule 9(b) in two
public interest or for the protection of investors.” 15 U.S.C.         ways. First, plaintiffs must “specify each statement alleged
§ 78j(b). SEC Rule 10b–5 implements § 10(b) by forbidding,             to have been misleading, [and] the reason or reasons why
among other things, the making of any “untrue statement of             the statement is misleading.” 15 U.S.C. § 78u–4(b)(1).
material fact” or the omission of any material fact “necessary         Second, for each act or omission alleged to be false or
in order to make the statements made...not misleading.” 17             misleading, plaintiffs must “state with particularity facts
C.F.R. § 240.10b–5. The Supreme Court has held that § 10(b)            giving rise to a strong inference that the defendant acted
affords a right of action to purchasers or sellers of securities       with the required state of mind.” Id. at § 78u–4(b)(2).
injured by its violation. Tellabs, Inc., v. Makor Issues &
Rights, Ltd., 551 U.S. 308, 318 (2007). “But the statutes              In order to meet these additional requirements of the
make these latter actions available, not to provide investors          PSLRA, a plaintiff must, therefore: (1) specify each
with broad insurance against market losses, but to protect             statement alleged to have been misleading; (2) identify
them against those economic losses that misrepresentations             the speaker; (3) state when and where the statement was
actually cause.” Dura Pharm., Inc. v. Broudo, 544 U.S. 336,            made; (4) plead with particularity the contents of the
345 (2005) (internal citations omitted).                               false representation; (5) plead with particularity what the
                                                                       person making the misrepresentation obtained thereby; and
To state a private claim under § 10(b), a plaintiff must allege:       (6) explain the reason or reasons why the statement is
(1) a material misrepresentation or omission by the defendant;         misleading, i.e., why the statement is fraudulent. ABC
(2) scienter; (3) a connection between the misrepresentation           Arbitrage Plaintiffs Group v. Tchuruk, 291 F.3d 336, 350
or omission and the purchase or sale of a security; (4) reliance       (5th Cir.2002). These allegations constitute the “who, what,
upon the misrepresentation or omission; (5) economic loss;             when, where, and how” required under Rule 9(b) and the
and (6) loss causation. R2 Invs. LDC v. Phillips, 401 F.3d 638,        PSLRA. Id. What constitutes particularity will necessarily
641 (5th Cir. 2005) (internal citations omitted).                      differ with the facts of each case. Guidry v. Bank of
                                                                       LaPlace, 954 F.2d 278, 288 (5th Cir.1992). A dismissal for
                                                                       failure to plead fraud with particularity as required by Rule
                                                                       9(b) is a dismissal on the pleadings for failure to state a
      1. Material Misrepresentations and Omissions                     claim. Southland Sec. Corp. v. INSpire Ins. Solutions, Inc.,
                                                                       365 F.3d 353, 361 (5th Cir.2004).
A plaintiff who asserts securities fraud in violation of § 10(b)
and Rule 10b–5 must comply with the pleading requirements             *8 In re BP p.l.c. Sec. Litig., 843 F. Supp. 2d 712, 746 (S.D.
of Federal Rule of Civil Procedure 9(b) and the Private              Tex. 2012) [“BP I”]. For each statement that the plaintiffs
Securities Litigation Reform Act. See Lormand v. U.S.                identify as misleading, they must explicitly and precisely set
Unwired, Inc., 565 F.3d 228, 239 (5th Cir. 2009); see also           out why the statement was false or misleading and why the
Tellabs, 551 U.S. at 322. Rule 9(b) requires the complaint           speaker knew (or recklessly disregarded the fact that) the
to “state with particularity the circumstances constituting the      statement was misleading.
fraud.” FED. R. CIV. P. 9(b). In the Fifth Circuit, the Rule
9(b) standard requires “specificity as to the statements (or         The Fifth Circuit has made clear its disapproval of “group
omissions) considered to be fraudulent, the speaker, when and        pleading” in securities-fraud complaints. Allegations that
why the statements were made, and an explanation why they            an undifferentiated group of “defendants” made false
are fraudulent.” Plotkin v. IP Axess Inc., 407 F.3d 690, 696         or misleading statements are insufficient. Individualized



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allegations about the specific speaker are required. The              recklessness in which the danger of misleading buyers or
plaintiffs cannot rely on or impute to individuals the collective     sellers is either known to the defendant or is so obvious that
knowledge of all or a group of persons associated with the            the defendant must have been aware of it.’ ” Flaherty &
defendant company. Ind. Elec. Workers’ Pension Tr. Fund               Crumrine Preferred Income Fund, Inc. v. TXU Corp., 565
IBEW v. Shaw Grp., Inc., 537 F.3d 527, 533 (5th Cir. 2008).           F.3d 200, 207 (5th Cir. 2009) (quoting R2 Investments LDC
                                                                      v. Phillips, 401 F.3d 638, 643 (5th Cir. 2005) ). “[F]or ‘each
Even if misrepresentations and omissions are pleaded with             act or omission alleged,’ securities fraud plaintiffs must ‘state
sufficient specificity and individualization, they must be            with particularity facts giving rise to a strong inference that
material to state a claim. There is no bright-line rule for           the defendant acted with the required state of mind.’ ” Shaw
materiality. It requires a fact-intensive inquiry into “the           Group, 537 F.3d at 533 (quoting 15 U.S.C. § 78u–4(b)(2) );
source, content, and context” of the allegedly misleading or          TXU Corp., 565 F.3d at 207.
omitted information. Matrixx Initiatives, Inc. v. Siracusano,
563 U.S. 27, 43 (2011). A representation is material if there          *9 In considering a motion to dismiss challenging whether
is a substantial likelihood that a reasonable investor would          the factual allegations create a strong inference of scienter, the
consider it important in making an investment decision. Basic         court can consider documents incorporated by reference into
Inc. v. Levinson, 485 U.S. 224, 231 (1988). Omitted facts             the complaint and matters proper for judicial notice. BP I, 843
make a statement material only if there is a “substantial             F. Supp. 2d at 748 (citing Tellabs, 551 U.S. at 323). The court
likelihood that the disclosure of the omitted fact would              looks to all of the allegations about a particular individual's
have been viewed by the reasonable investor as having                 state of mind when he or she made the statement to determine
significantly altered the ‘total mix’ of information made             whether they support a strong inference of scienter. Tellabs,
available.” BP I, 843 F. Supp.2d at 747 (citing Basic, 485 U.S.       551 U.S. at 324; Southland, 365 F.3d at 364–65. The inference
at 232).                                                              of scienter must be “cogent and compelling,” not simply
                                                                      “reasonable” or “permissive.” The inference must be “at
Applying these principles, courts have found that “corporate          least as compelling as any opposing inference one could
cheerleading” in the form of “generalized positive statements         draw from the facts alleged.” Tellabs, 551 U.S. at 324.
about a company's progress” is not a basis for liability under        The court must consider “plausible nonculpable explanations
the securities laws. Nathenson v. Zonagen Inc., 267 F.3d              for the defendant's conduct, as well as inferences favoring
400, 419 (5th Cir. 2001). “[N]o reasonable investor would             the plaintiff.” Id. at 323–24. “[O]missions and ambiguities
consider such statements material and...investors and analysts        count against inferring scienter, for plaintiffs must ‘state
are too sophisticated to rely on vague expressions of optimism        with particularity facts giving rise to a strong inference that
rather than specific facts.” BP I, 843 F. Supp. 2d at 748.            the defendants acted with the required state of mind.’ ”
The statements the plaintiffs rely on must be something more          Id. at 326 (quoting 15 U.S.C. § 78u–4(b)(2) ). “Although
than a corporate officer's generalized optimistic comments            circumstantial evidence can support a strong inference of
about the company's policies, programs, or performance. As            scienter, allegations of motive and opportunity standing alone
in other areas of the law, “puffery” is not an actionable             will not suffice.” BP I, 843 F. Supp.2d at 749 (citing Abrams
misrepresentation.                                                    v. Baker Hughes Inc., 292 F.3d 424, 430 (5th Cir. 2002) ).

                                                                      The rule against group pleading applies to scienter
                                                                      allegations. The plaintiffs must make specific factual
                          2. Scienter
                                                                      allegations about each responsible individual's state of mind
In addition to pleading that specific statements made by              when each challenged statement was made. The plaintiffs
identified persons misrepresented or omitted material facts,          cannot simply allege that some other person at the corporation
the plaintiffs must plead that the responsible person acted           knew of facts that make the statement misleading and
with the necessary culpability, or scienter. Tellabs, 551 U.S. at     impute that knowledge to the speaker. Southland, 365 F.3d
319. Section 10(b) and Rule 10b-5 are not insurance against           at 366. Allegations about another person's knowledge, or
bad corporate management. Rather, they protect only against           the defendants’ collective knowledge, are insufficient. The
intentional or knowing misstatements. Shaw Group, 537 F.3d            plaintiffs must plead facts that give rise to a strong inference
at 535. “Scienter, in the context of securities fraud, is defined     of scienter, for each individual defendant, for each alleged
as ‘an intent to deceive, manipulate, or defraud or that severe       misstatement. Id. Simply pleading that a defendant had access



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to internal information that contradicted his or her public
statements is not enough. In re BP P.L.C. Sec. Litig., 852          In re BP p.l.c. Sec. Litig., 2016 WL 3090779, at *9 (quoting
F. Supp. 2d 767, 817 (S.D. Tex. 2012) [“BP II”]. To the             Omnicare, 135 S. Ct. at 1329).
extent that the plaintiffs’ scienter argument is based on the
availability of some internal document setting out certain          4
                                                                             Even though “Omnicare was decided in the
facts, the complaint must make specific allegations about the                context of Section 11 of the Securities Act,
document, its author, contents and character, and when and                   courts have overwhelmingly applied its holdings
by whom it was received, to link it to the person making the                 in the context of alleged omissions under Section
challenged statement, at the time the statement was made.                    10(b) of the Securities Exchange Act....” In re:
Abrams, 292 F.3d at 432.                                                     BP p.l.c. Sec. Litig., No. 4:10–MD–2185, 2016
                                                                             WL 3090779, at *10 (S.D. Tex. May 31, 2016)
                                                                             (collecting cases). Its analysis bears both on the
        3. Statements of Opinion After Omnicare                              material misrepresentation aspect of a § 10(b)
                                                                             claim and on the scienter aspect. Id. Therefore, the
Omnicare, Inc. v. Laborers District Council Construction                     Omnicare opinion's discussions about an “issuer's”
Industry Pension Fund, 135 S. Ct. 1318 (2015), clarifies how                 statements are equally applicable to an Exchange
a trial court should evaluate whether a plaintiff has alleged                Act defendant speaker's statements.
an actionably misleading statement of opinion. 4 Omnicare            *10 The Omnicare Court emphasized that this avenue
provides “two potential avenues for plaintiffs to establish         to liability does not allow a plaintiff to circumvent the
the falsity of an opinion.” In re: BP p.l.c. Sec. Litig., No.       particularity and materiality requirements of a § 10(b) claim
4:10–MD–2185, 2016 WL 3090779, at *9 (S.D. Tex. May                 by alleging in general terms that the defendant improperly
31, 2016). First, “every...statement [of opinion] explicitly        failed to reveal the basis for his opinion, or failed to disclose
affirms one fact: that the speaker holds the stated belief.”        “some fact cutting the other way.” 135 S. Ct. at 1329.
Omnicare, 135 S. Ct. at 1327. A speaker can be liable for           “Reasonable investors understand that opinions sometimes
an opinion statement if the speaker did not in fact hold            rest on a weighing of competing facts; indeed, the presence
that opinion. Second, “depending on the circumstances,” a           of such facts is one reason why a [speaker] may frame a
reasonable investor could                                           statement as an opinion, thus conveying uncertainty.” Id.

                                                                    One hypothetical the Omnicare Court raised bears on the
            understand an opinion statement to                      dispute here:
            convey facts about the speaker's basis
                                                                        Consider an unadorned statement of opinion about legal
            for holding that view. Specifically, [a
                                                                        compliance: “We believe our conduct is lawful.” If the
            speaker's] statement of opinion may
                                                                        [speaker] makes that statement without having consulted a
            fairly imply facts about the inquiry the
                                                                        lawyer, it could be misleadingly incomplete. In the context
            issuer conducted or the knowledge it
                                                                        of the securities market, an investor, though recognizing
            had. And if the real facts are otherwise,
                                                                        that legal opinions can prove wrong in the end, still likely
            but not provided, the opinion statement
                                                                        expects such an assertion to rest on some meaningful
            will mislead by omission.
                                                                        legal inquiry—rather than, say, on mere intuition, however
                                                                        sincere. Similarly, if the [speaker] made the statement
                                                                        in the face of [her] lawyers’ contrary advice, or with
Id. at 1328. Even if
                                                                        knowledge that the Federal Government was taking the
  a speaker's opinion may be sincerely held, the statement              opposite view, the investor again has cause to complain:
  may nonetheless be actionable under 10b–5's omissions                 He expects not just that the issuer believes the opinion
  provision if: (I) the speaker “omits material facts about the         (however irrationally), but that it fairly aligns with the
  issuer's inquiry into or knowledge concerning a statement             information in the [speaker]’s possession at the time.
  of opinion,” and (ii) “those facts conflict with what a
                                                                    Omnicare, 135 S. Ct. at 1328–29.
  reasonable investor would take from the statement itself.”




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                                                                      A. The Health, Safety, and Environment Fact Sheet
    4. Section 20(a) of the Securities Exchange Act of 1934           Statements
                                                                    *11 Anadarko published its 2016 and 2017 Health, Safety,
Under § 20(a) of the Exchange Act, every “person who,
                                                                   and Environment Fact Sheets in February 2016 and 2017,
directly or indirectly, controls any person liable under any
                                                                   respectively. (Docket Entry No. 35 at ¶¶ 140, 153). The
provision of this chapter or of any rule or regulation
                                                                   statements are, “[w]e work to ensure that all of our
thereunder shall also be liable jointly and severally with and
                                                                   activities are conducted to meet or surpass applicable health,
to the same extent as such controlled person to any person
                                                                   safety, and environmental laws, regulations, and international
to whom such controlled person is liable....” 15 U.S.C. §
                                                                   standards,” (Docket Entry No. 35 at ¶¶ 140, 153), and “our
78t(a). Control person liability under § 20(a) is derivative,
                                                                   [health, safety, and environment] team works seamlessly
“predicated on the existence of an independent violation of
                                                                   with operations and facilities to ensure compliance with all
the securities laws.” Rubinstein v. Collins, 20 F.3d 160, 166
                                                                   applicable laws and regulations,” id. at ¶ 140.
n.15 (5th Cir. 1994). A party who fails to state an underlying
primary claim for an Exchange Act violation fails to state a
                                                                   Anadarko argues that a reasonable investor would not view
claim for control-person liability under § 20(a).
                                                                   these high-level statements as guarantees. (Docket Entry No.
                                                                   36 at 12); In re Plains All Am. Pipeline, L.P. Sec. Litig., 245
                                                                   F. Supp. 3d 870, 909 (S.D. Tex. 2017). It argues that:
                          IV. Analysis

Anadarko argues that the plaintiffs have not pleaded with
                                                                               None of Anadarko's statements
specificity why or how any of the alleged statements were
                                                                               regarding high-level regulatory and
materially false and misleading. 5 (Docket Entry No. 36 at                     legal compliance was specific to
17). “[The Private Securities Litigation Reform Act] requires                  the Land Swap wells or the
the complaint to specify each allegedly misleading statement                   wells involved in the Release and
and the reason why it is misleading....” Fin. Acquisition                      Firestone Accident. Instead, it is
Partners LP v. Blackwell, 440 F.3d 278, 287 (5th Cir. 2006).                   clear that the statements broadly
Anadarko asserts its arguments statement-by-statement.                         describe Anadarko's substantial and
                                                                               far-reaching global operations and its
5                                                                              general compliance goals. Anadarko's
         Anadarko also argues that the plaintiffs’ allegations
         of falsity that are substantially based on unnamed                    extensive global operations require
         witnesses’ statements carry no weight. (Docket                        compliance with numerous different
         Entry No. 36 at 17). “[C]ourts must discount                          health, safety, and environmental laws
         allegations from confidential sources. Such sources                   and regulations.
         afford no basis for drawing the plausible competing
         inferences required....” Indiana Elec. Workers’
         Pension Tr. Fund IBEW v. Shaw Grp., Inc., 537 F.3d        (Docket Entry No. 36 at 19). The plaintiffs respond
         527, 535 (5th Cir. 2008) (citation omitted). This         that Anadarko's statements are statements of “present
         argument is moot. On December 18, 2017, the court         fact” that Anadarko met or exceeded safety requirements.
         ordered the release of the confidential witnesses’        (Docket Entry No. 46 at 23). The plaintiffs’ argument
         names without the restriction of attorneys eyes           is unpersuasive because a reasonable investor would not
         only, on the condition that if any witness                understand Anadarko's statements as “implicitly assuring
         requests a job reference or similar recommendation        absolute compliance.” Plains, 245 F. Supp. 3d at 909.
         from Anadarko, information about the witness              Anadarko's statement that it “work[s] to ensure” that its
         role in this lawsuit must be kept from the                activities comply with applicable laws says that Anadarko
         person at Anadarko receiving the request as well          makes an effort to achieve compliance. Anadarko cites cases
         as the person who receives the reference or               in which statements that a company or corporate team works
         recommendation. (Docket Entry No. 41).                    or strives toward “ensuring” an outcome have been found too
                                                                   vague to be actionable under Section 10(b). For example, in



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New York State Teachers’ Ret. Sys. v. Fremont Gen. Corp.,
2009 WL 3112574, *15 (C.D. Cal. Sept. 25, 2009),“strive[s]
to ensure appropriate loan to collateral valuations” was “so                   [Anadarko] believes that it is in
broad or vague as to not be actionable.”                                       material compliance with existing
                                                                               environmental and occupational health
The plaintiffs’ conclusory allegation that a regulatory                        and safety regulations. Further, the
violation may have occurred despite Anadarko's work might                      Company believes that the cost of
support an inference that Anadarko's efforts fell short of its                 maintaining compliance with these
goals, not that those efforts did not occur. The “work to                      existing laws and regulations will not
ensure” statements are not actionably misleading.                              have a material adverse effect on its
                                                                               business, financial condition, results of
                                                                               operations, or cash flows, but new or
  B. The 2015 Form 10–K Statement
                                                                               more stringently applied existing laws
                                                                               and regulations could increase the cost
                         I. Timeline                                           of doing business, and such increases
                                                                               could be material.
The following timeline of alleged events is helpful:

  • February 16, 2016: Anadarko files its 2015 Form 10–K.
  (Docket Entry No. 35 at ¶ 143).                                  (Docket Entry No. 35 at ¶ 144).

  • August 12, 2016: Anadarko filed a Registration                 Anadarko argues that this statement is an opinion that “is
  Statement on Form S–3, incorporating the 2015 Form 10–           not actionable unless Plaintiff alleges facts showing that the
  K by reference. Id. at ¶ 152.                                    speaker did not actually hold the stated beliefs.” (Docket
                                                                   Entry No. 36 at 19); Omnicare, 135 S. Ct. at 1328 (“[A]
  • January, 2017: Anadarko turned on the Firestone Well.          statement of opinion is not misleading just because external
  Id. at ¶ 121.                                                    facts show the opinion to be incorrect.”). It asserts that the
                                                                   plaintiffs’ allegations are conclusory and that there are no
  • Early April, 2017: Anadarko sent crews to the Firestone
                                                                   allegations that any authorities found Anadarko noncompliant
  Well. Id. at ¶ 123.
                                                                   at the time the statements were made. (Docket Entry No. 36
  • April 17, 2017: The Firestone Well exploded. Id. at ¶ 126.     at 20). The plaintiffs respond that opinion statements can be
                                                                   misleading “where the speaker does not believe the opinion
  • May 2, 2017: Colorado Governor John Hickenlooper sent          or...omits facts that conflict with what a reasonable investor
  a notice to oil and gas operators ordering inspections and       would understand from the statement, itself.” (Docket Entry
  tests of all active and abandoned gas pipelines within 1,000     No. 46 at 22); Omnicare, 135 S. Ct. at 1329.
  feet of occupied buildings and reminding operators that
  abandoned flow lines must be cut and sealed. The notice          “To show that these opinion statements are actionable under
  gave operators until June 30, 2017 to comply. Id. at ¶ 130.      Omnicare, the plaintiffs must allege, with particularity,
                                                                   each individual defendant's knowledge of material facts
  • June 30, 2017: In response to the May 2 notice,                inconsistent with the compliance-opinion statements at
  Anadarko announced that it cut and sealed more than 2,400        issue.” Plains, 245 F. Supp. 3d at 908. In Plains, the court
  abandoned flowlines located within 1,000 feet of buildings.      found that opinion statements as to legal compliance were
  Id. at ¶ 138.                                                    not actionably misleading because the complaint “[did] not
                                                                   adequately allege that the individual defendants were aware
                                                                   of the facts the plaintiffs rely on to show that they made
                         ii. Analysis                              statements that they did not believe or knew to be false of
                                                                   misleading.” Plains, 245 F. Supp. 3d at 907–08. The court
 *12 Anadarko's 2015 Form 10–K was filed on February 16,           found that the complaint relied on group-pleading allegations
2016. (Docket Entry No. 35 at ¶ 143). The 2015 Form 10–            that “the company” or “the defendants” were aware of facts
K stated:                                                          inconsistent with the compliance-opinion statements. Id. at


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908. “[A] bare allegation that a given specific individual
knew, when the statements were made,” facts inconsistent            These allegations are insufficient. There are no particularized
with the compliance-opinion statements is not sufficient.           allegations as to individual defendants. Plains, 245 F. Supp
“[T]he plaintiffs must allege the character of the reports,         at 908. The allegations do not include facts showing that the
the author and contents, who received them, and when.” Id.          individual defendants necessarily, or even likely, knew the
(citing Abrams, 292 F.3d at 432).                                   facts that made their statements false. The plaintiffs allege
                                                                    that Walker and Gwin signed the 2015 Form 10–K, but they
The significant dates are February 16, 2016, when Anadarko          allege nothing to indicate that those defendants knew material
filed its 2015 Form 10–K, and August 12, 2016, when it              facts inconsistent with the compliance-opinion statements at
filed its Registration Statement on Form S–3. There are no          issue. Unlike Plains, the plaintiffs do not allege regulatory
allegations that on these dates, the individual defendants          notices of recordkeeping violations. The only government
knew of significant violations inconsistent with the statement      notice Anadarko received was Colorado Governor John
that Anadarko believed its operations were “in material             Hickenlooper's May 2, 2017 notice to oil and gas operators
compliance with existing environmental and occupational             ordering inspections and tests of all active and abandoned gas
health and safety regulations as a whole.” The allegations that     pipelines within 1,000 feet of occupied buildings. (Docket
come closest are:                                                   Entry No. 35 at ¶ 130). If the compliance-opinion statements
                                                                    in Plains did not form the basis of an Exchange Act claim,
   *13 [T]he problems with the wells Anadarko received              neither do Anadarko's 2015 Form 10–K statements. Plains,
  in the Land Swap were far out of proportion to what it            245 F. Supp at 909–10 (“A reasonable investor would
  was expecting. The thousands of wells it received had             understand the use of ‘hedges and disclaimers’ like the phrase
  predominantly been drilled 30 or 40 years before. In the          ‘substantialcompliance’ and would not reasonably infer that
  meantime, Colorado had tightened its safety and emissions         the company was in absolute compliance or that its regulators
  rules. The wells were not in compliance with Colorado's           had no objections to the company's compliance on any
  standards. In particular, the wells did not have methane          pipeline. Instead, reasonable investors would understand that,
  emissions controls on them at all, which were not required        for a very large pipeline company in this heavily regulated
  at the time they were drilled. And instead of pressurizing        industry, regulatory notices of recordkeeping violations on
  the gas emitted and placing it back into the system,              minor portions of the company's operation are commonplace
  the wells simply vented the gas into the air. Moreover,           and unremarkable.”).
  the wells’ piping and oil storage tanks had never been
  upgraded. Beyond that, the wells had become dangerous             The legal-compliance statements in Anadarko's 2015 Form
  with age. For example, many of the cellars and cement             10–K are not actionable. The allegations of material falsity
  pits that prevent liquids from going into the ground or           are not particularized or individualized.
  groundwater had completely deteriorated.

  ...                                                                  C. The Wattenberg Integrated Operations Center
                                                                       Factsheet Statements
  Anadarko's top management, including the Executive
                                                                    The Wattenberg Integrated Operations Center Factsheet
  Committee, well understood these problems within at most
                                                                    stated that the Operations Center “[p]rovides real-time
  six months after the Land Swap closed. The problems were
                                                                    remote-monitoring capabilities for 6,800+ wells and 3,700+
  a frequent topic of conversation.
                                                                    tank facilities,” and that it “applies state of the art oil, natural
  ...                                                               gas, and water management to Anadarko tank batteries,
                                                                    facilities and pipeline infrastructure.” (Docket Entry No. 35 at
  Anadarko's Colorado Health, Safety & Environment staff            ¶ 146). It also stated that Anadarko “[i]mmediately pinpoints
  put together a ranked excel spreadsheet of risky and              issues associated with field alerts and alarms.” Id. at ¶ 146.
  problematic wells. There were up to several hundred               The plaintiffs allege that these statements were false because:
  wells listed on the spreadsheet. The Health, Safety &             “(a) a large proportion of Anadarko's facilities and pipeline
  Environment staff regularly updated and presented the list        infrastructure was not state of the art, but old and decaying;
  to Anadarko's Colorado senior leadership team.                    and (b) the Operations Center could not pinpoint issues or
                                                                    provide real-time monitoring consistently because Anadarko
Id. at ¶¶ 84–86.



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did not know where many of its lines in Colorado were                   the applicable laws and associated regulations.” Id. at ¶¶
located.” Id. at ¶ 147.                                                 156–57.

 *14 As to the first, Anadarko argues that the                          • April 17, 2017: The Firestone Well exploded. Id. at ¶ 126.
statement describes the Operations Center's management,
                                                                        • May 2, 2017: Anadarko published a statement attributed
not Anadarko's facilities and infrastructure, as “state of the
                                                                        to Walker expressing sympathy for the families of those
art.” (Docket Entry No. 36 at 21). That is right. The plaintiffs’
                                                                        who had been killed. Id. at ¶ 132. “At the next Anadarko
allegations change the subject of Anadarko's statements from
                                                                        town hall meeting,” Walker said that Anadarko was “not
“management” to “infrastructure.” And even if the statements
                                                                        too concerned” with the Firestone explosion. Id. at ¶ 132.
did describe Anadarko's facilities and infrastructure as “state-
of-the-art,” this type of description is generally, and is here,        • May 2, 2017: Colorado Governor John Hickenlooper sent
the sort of “corporate cheerleading” that cannot be the basis           a notice to oil and gas operators ordering inspections and
of a securities-fraud claim. See Plains, 245 F. Supp. 3d at 901.        tests of all active and abandoned gas pipelines within 1,000
                                                                        feet of occupied buildings and reminding operators that
As to the second statement, the plaintiffs argue that Anadarko          abandoned flow lines must be cut and sealed. The notice
must have been aware of either regulatory failures in the               gave operators until June 30, 2017 to comply. Id. at ¶ 130.
2,400 flowlines that violated Rule 1003, or that its safety-
monitoring systems were grossly ineffective. (Docket Entry              • June 30, 2017: In response to the May 2 notice,
No. 46 at 26). Anadarko asserts that it did not represent that          Anadarko announced that it cut and sealed more than 2,400
it was able to pinpoint all regulatory failures in all wells,           abandoned flowlines located within 1,000 feet of buildings.
lines, or facilities. (Docket Entry No. 36 at 21). Anadarko             Id. at ¶ 138.
is correct. The statement represents that Anadarko could
instantaneously identify issues associated with field alerts and
alarms, not that field alerts and alarms would go off if there
                                                                                               ii. Analysis
was an issue in each of Anadarko's wells or lines.
                                                                      Anadarko published on its website its Health, Safety,
The statements in Anadarko's Wattenberg Integrated                    Environmental and Sustainability Overviews for 2015 and
Operations Center Factsheet are not actionably misleading.            2016 in March 2016 and 2017. Id. at ¶¶ 148, 156. Both
The allegations of material falsity do not accurately describe        Overviews stated: “[t]he teams strive for ZERO incidents.
the first statement and are not particularized or individualized      Spills can be prevented by designing and operating equipment
as to the second.                                                     and training staff to avoid releases” and that Anadarko
                                                                      “operates its global onshore and offshore operations
                                                                      in compliance with the applicable laws and associated
  D. Health, Safety, Environmental and Sustainability
                                                                      regulations.” Id. at ¶¶ 149–50, 157–58. The plaintiffs argue
  Overviews Statements
                                                                      that these statements were false because: “(a) Anadarko
                                                                      intentionally violated Colorado law and regulations as a
                          I. Timeline                                 matter of course, including Rule 1103; and (b) Anadarko
                                                                      knew that hundreds of the wells it had acquired in the Land
The following timeline is helpful:                                    Swap were not in compliance with a variety of Colorado
                                                                      laws and regulations.” (Docket Entry No. 35 at ¶¶ 151, 159.
  • March 12, 2016: The 2015 Health, Safety, Environmental
                                                                      The plaintiffs also allege that although Anadarko knew that
  and Sustainability Overview states: “Anadarko operates its
                                                                      it did not have enough employees to prevent Colorado spills,
  global onshore and offshore operations in compliance with
                                                                      instead of hiring employees, it allowed spills when the costs
  the applicable laws and associated regulations.” (Docket
                                                                      of clean up were cheaper than remediation. Id.
  Entry No. 35 at ¶¶ 148–49).

  • March 3, 2017: The 2016 Health, Safety, Environmental              *15 Anadarko argues that the plaintiffs’ allegation, even
  and Sustainability Overview states: “Anadarko operates its          if true, does not make the statement “[t]he teams strive for
  global onshore and offshore operations in compliance with           ZERO incidents” materially false or misleading. (Docket
                                                                      Entry No. 36 at 22). Anadarko is right. The fact that there was



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an explosion or release does not mean that Anadarko's teams          environment, signed the 2015 and 2016 Health, Safety,
did not strive for zero spills. See Owens v. Jastrow, 789 F.3d       Environmental and Sustainability Overviews. (Docket Entry
529, 544–45 (5th Cir. 2015).                                         No. 35 at ¶¶ 148, 156). The plaintiffs do not allege that
                                                                     McBride knew of Anadarko's legal violations. Walker is a
The other statement, that Anadarko “operates its global              closer call. Anadarko is correct that “the fact that an individual
onshore and offshore operations in compliance with the               defendant made a statement or signed a document containing
applicable laws and associated regulations,” is trickier.            a statement shows only that the statement is attributable to
(Docket Entry No. 35 at ¶¶ 149, 157). The plaintiffs allege that     that defendant, not that he or she had the legally required state
the Firestone Well explosion on April 17, 2017 was caused by         of mind.” Plains, 245 F. Supp. 3d at 923. But the plaintiffs
a flowline that was not disconnected or sealed, in violation of      allege that Walker knew about the Firestone Well explosion.
Colorado law. Id. at ¶ 129. The plaintiffs also allege that no       On May 2, 2017, Anadarko published a statement attributed
one checked the flowlines of the Firestone Well after turning        to Walker expressing sympathy for the families of those who
it on in January 2017 to make sure that they were not leaking.       had been killed. (Docket Entry No. 35 at ¶ 132). And later, at
Id. at ¶ 125.                                                        an Anadarko town hall meeting, Walker said that Anadarko
                                                                     was “not too concerned” with the Firestone Well explosion.
Anadarko's statement that it operated “in compliance with            Id. at ¶ 133. The question is the sufficiency of allegations
the applicable laws and associated regulations” was made             that when Walker made the statements, he knew or should
in both March 12, 2016 and March 3, 2017. Id. at ¶¶ 148,             have known that the cause of the explosion stemmed from
156. The statement is specific, is not limited, and is not an        Anadarko's violations of Rule 1103.
opinion. Unlike the statement in Plains that the company was
operating in “substantial compliance,” there is no qualifying         *16 The Firestone Well exploded in April 2017. Id. at ¶ 126.
language in Anadarko's statement. Anadarko asserted that it          The “in compliance with the applicable laws and associated
was “in compliance” with all applicable laws and regulations.        regulations” statement was made in March 12, 2016 and
The plaintiffs have sufficiently alleged that Anadarko was           March 3, 2017. Id. at ¶¶ 148, 156. Both statements were
not in compliance with all laws and regulations. At least one        made before the explosion. Anadarko's announcement that
regulation, Colorado Oil and Gas Conservation Commission             it had cut and sealed more than 2,400 abandoned flowlines
Rule 1103, was allegedly violated. Based on the plaintiffs’          located within 1,000 feet of buildings—statements that the
allegations, the statement of compliance was an actionable           plaintiffs allege show that Anadarko violated Rule 1103—did
misstatement, and one that a reasonable investor would               not come until June 30, 2017. Id. at ¶ 138. The plaintiffs have
consider important in making an investment decision. Basic           not sufficiently alleged that, at the time the 2015 and 2016
Inc. v. Levinson, 485 U.S. 224, 231 (1988).                          Health, Safety, Environmental and Sustainability Overviews
                                                                     were made, Walker had “an intent to deceive, manipulate, or
The next issues are whether the plaintiffs have adequately           defraud or that severe recklessness in which the danger of
alleged scienter as to Walker or McBride, and whether                misleading buyers or sellers is either known...or so obvious
their scienter can be imputed to Anadarko. The plaintiffs            that the defendant must have been aware of it.” Flaherty &
must allege that either Walker or McBride acted with the             Crumrine, 565 F.3d at 207; Tellabs, 551 U.S. at 319.
necessary culpability, or scienter; namely, “an intent to
deceive, manipulate, or defraud or that severe recklessness          The statement, “[t]he teams strive for ZERO incidents. Spills
in which the danger of misleading buyers or sellers is either        can be prevented by designing and operating equipment and
known...or so obvious that the defendant must have been              training staff to avoid releases,” is not actionably misleading.
aware of it.” Flaherty & Crumrine, 565 F.3d at 207; Tellabs,         The statement “[Anadarko] operates its global onshore and
551 U.S. at 319. The plaintiffs must plead facts that give rise      offshore operations in compliance with the applicable laws
to a “cogent and compelling inference” that persons to whom          and associated regulations,” is actionably misleading, but the
statements are attributed intended to deceive or were severely       plaintiffs have not sufficiently alleged Walker's scienter.
reckless. Plains, 245 F. Supp. 3d at 921.

The plaintiffs allege that both Walker, Anadarko's chairman,         V. Conclusion
chief executive officer, and president, and McBride,                 The plaintiffs have what at first looks like a narrative that
Anadarko's vice-president of global health, safety, and              would counsel against dismissal. The plaintiffs allege that
                                                                     Anadarko got bad wells in a land swap, said they were


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                                                                        the applicable laws and associated regulations” knew, or
going to remediate them, failed to remediate because of costs
                                                                        should have known, before the explosion that Anadarko was
and external financial pressures, failed to prevent explosions,
                                                                        violating at least some laws. The plaintiffs’ present complaint
and then announced that it had violated Colorado laws. The
                                                                        is insufficient.
biggest hurdle for the plaintiffs is the timing of the facts
alleged as the basis for this theory of liability. The plaintiffs
                                                                        The motion to dismiss is granted, but without prejudice and
clearly allege that at least by June 30, 2017, Anadarko
                                                                        with leave to amend. The record does not permit the court to
knew that more than 2,400 of its abandoned flowlines were
                                                                        conclude that amendment would be futile. The plaintiffs are
violating Rule 1103. But the only statement that is an
                                                                        granted leave to amend by August 3, 2018.
actionable misrepresentation—that Anadarko “operates its
global onshore and offshore operations in compliance with
the applicable laws and associated regulations”—predated                All Citations
the explosion. What the plaintiffs did not allege is that
the individuals who stated that “[Anadarko] operates its                Not Reported in Fed. Supp., 2018 WL 3032573, Fed. Sec. L.
global onshore and offshore operations in compliance with               Rep. P 100,207

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                     Case No. 6




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     Only the Westlaw citation is currently available.               MEMORANDUM AND RECOMMENDATION
United States District Court, S.D. Texas, Houston Division.
                                                                 ANDREW M. EDISON, UNITED STATES MAGISTRATE
           Miriam EDWARDS, et al., Plaintiffs.                   JUDGE
                             v.
                                                                  *1 Pending before me is Defendants' Motion to Dismiss
           MCDERMOTT INTERNATIONAL,                              Plaintiff's § 10(b) Supplemental Class Action Complaint
                 INC., et al., Defendants.                       (“Motion to Dismiss”). Dkt. 222. After carefully reviewing
                                                                 the Supplemental Class Action Complaint, the excellent
               Civil Action No. 4:18-cv-04330
                                                                 briefing submitted by both sides, and the applicable law, I
                              |
                                                                 recommend that the Motion to Dismiss be GRANTED.
                  Signed August 30, 2022

Attorneys and Law Firms
                                                                                      BACKGROUND
Michael Kenan Oldham, Reynolds Frizzell LLP, Houston,
TX, Joe Kendall, Kendall Law Group, PLLC, Dallas, TX, for        This is a securities class action lawsuit brought on behalf of
Plaintiff Miriam Edwards.                                        purchasers of the common stock of McDermott International,
                                                                 Inc. (“McDermott”) against McDermott and two of its former
Chet B. Waldman, Sean M. Zaroogian, Matthew Insley-
                                                                 top executives, President and Chief Executive Officer David
Pruitt, Robert C. Finkel, Pro Hac Vice, Wolf Popper LLP,
                                                                 Dickson (“Dickson”) and Executive Vice President and Chief
John J. Rizio-Hamilton, Lauren Ormsbee, Pro Hac Vice,
                                                                 Financial Officer Stuart Spence (“Spence”).
Bernstein Litowitz Berger & Grossman LLP, New York, NY,
James M. Fee, Labaton Sucharow LLP, New York City, NY,
                                                                 In the Corrected Class Action Complaint, Lead Plaintiff
Michael Kenan Oldham, Reynolds Frizzell LLP, Jeffrey W.
                                                                 Nova Scotia Health Employees' Pension Plan (“Nova Scotia”)
Chambers, Chambers Law Firm, Houston, TX, for Plaintiff
                                                                 brings claims under §§ 10(b) and 20(a) of the Securities
Public Employees' Retirement System of Mississippi.
                                                                 Exchange Act of 1934, and Rule 10b-5 promulgated
R. Dean Gresham, Gresham Law Group, Dallas, TX, Michael          thereunder. 1 The crux of the Corrected Class Action
Kenan Oldham, Reynolds Frizzell LLP, Houston, TX, for            Complaint is that Defendants made misrepresentations and
Plaintiff Wah Kee Ho.                                            omissions regarding the true risks and costs of McDermott's
                                                                 May 2018 merger with Chicago Bridge & Iron Company,
Michael Kenan Oldham, Reynolds Frizzell LLP, Houston,            N.V. The Corrected Class Action Complaint's proposed
TX, for Plaintiffs John Arden Ahnefeldt, Robert Brower, Jr.,     class consists of those persons and entities who purchased
Khanh L. Bui, Jignesh Chandarana, Kruitika Chandarana,           or otherwise acquired McDermott common stock between
Amira Yousuf Chowdhury, Christopher Coligado, Daniel             December 18, 2017 and September 17, 2019.
Gad, Edwin Howell, Sioe Lie Howell, Darren Hunting, Anne
Ingledew, Shital Mehta, Thomas Carl Rabin, Adam Shultz,          1      There is a separate group of plaintiffs asserting
Amit Somani, Jayaprakash Srinivasan, Aarthi Srinivasan,
                                                                        claims under § 14(a). Those claims are not at issue
Christopher Swedlow, Alexandre Tazi.
                                                                        in the pending Motion to Dismiss.
David D. Sterling, Amy Pharr Hefley, Anthony Joseph              Defendants moved to dismiss the Corrected Class Action
Lucisano, Elizabeth Pennington Furlow, Baker Botts LLP,          Complaint. In the spring of 2021, United States District Judge
Houston, TX, for Defendants McDermott International, Inc.,       George C. Hanks, Jr. denied the motion to dismiss and ordered
David Dickson, Stuart Spence.                                    that discovery proceed. See Edwards v. McDermott Int'l, Inc.,
                                                                 No. 4:18-CV-4330, 2021 WL 1421609, at *10 (S.D. Tex. Apr.
David D. Sterling, Baker Botts LLP, Houston, TX, for
                                                                 13, 2021).
Defendant Chicago Bridge & Iron Co.




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Last fall, Novia Scotia sought leave to file a Supplement to        1937, 173 L.Ed.2d 868 (2009) (quoting Bell Atl. Corp. v.
its Corrected Class Action Complaint (“Supplement”). Over           Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d
vigorous opposition, I granted Novia Scotia leave to file the       929 (2007)). “A claim has facial plausibility when the plaintiff
Supplement. I also set a briefing schedule for Defendants'          pleads factual content that allows the court to draw the
anticipated motion to dismiss the Supplement.                       reasonable inference that the defendant is liable for the
                                                                    misconduct alleged.” Iqbal, 556 U.S. at 678, 129 S.Ct. 1937.
In short, the 30-page Supplement carries forward the                “Threadbare recitals of the elements of a cause of action,
allegations of securities fraud from September 17, 2019,            supported by mere conclusory statements, do not suffice.” Id.
through McDermott's bankruptcy filing on January 23, 2020.
In doing so, the Supplement adds roughly 20 allegedly false         Section 10(b) of the Securities Exchange Act of 1934 (the
and misleading statements made by Defendants, ranging               “Exchange Act”) makes it unlawful to “use or employ, in
in time from late September 2019 through January 23,                connection with the purchase or sale of any security ...
2020. The Supplement also offers a new theory of liability,         any manipulative or deceptive device or contrivance in
arguing that Defendants had a duty to disclose that it              contravention of such rules and regulations as the [Securities
was planning for a potential bankruptcy filing. Section             and Exchange] Commission may prescribe.” 15 U.S.C. §
V of the Supplement, titled “Additional Partial Corrective          78j(b). Rule 10b–5 implements § 10(b) by forbidding, among
Disclosures,” pleads November 4–5 of 2019 and January 21–           other things, the making of any “untrue statement of material
23 of 2020 events and stock drops as partially corrective of        fact” or the omission of any material fact “necessary in order
alleged misstatements previously pleaded in the Corrected           to make the statements made ... not misleading.” 17 C.F.R §
Class Action Complaint. 2 Finally, the Supplement seeks to          240.10b–5(b). “A § 10b–5 claim is subject to both Federal
expand the class definition to cover the time period from           Rule of Civil Procedure 9(b)'s requirement that fraud be pled
September 18, 2019 through January 23, 2020.                        ‘with particularity’ and ... the requirements of the [PSLRA].”
                                                                    Abrams v. Baker Hughes Inc., 292 F.3d 424, 430 (5th Cir.
2                                                                   2002).
       As Defendants readily acknowledged at oral
       argument, they have not moved to dismiss these
                                                                    Rule 9(b) requires parties claiming fraud to “state with
       corrective disclosures from the case.
                                                                    particularity the circumstances constituting fraud.” FED. R.
 *2 As expected, Defendants have moved to dismiss the               CIV. P. 9(b). The allegations must include “the particulars of
Supplement, raising a number of distinct arguments. First,          time, place, and contents of the false representations, as well
Defendants contend that the Supplement fails to allege any          as the identity of the person making the misrepresentation
actionable false or misleading statement. Second, Defendants        and what he obtained thereby.” Benchmark Elecs., Inc. v. J.M.
argue that there is no legal duty to disclose bankruptcy            Huber Corp., 343 F.3d 719, 724 (5th Cir. 2003) (quotation
planning, and creating such a duty would lead to disastrous         omitted).
policy consequences. Third, Defendants insist that the alleged
misrepresentations are nothing more than non-actionable             Enacted by Congress in 1995, the PSLRA has “twin goals:
puffery, statements of opinion, or protected forward-looking        to curb frivolous, lawyer-driven litigation, while preserving
statements. Fourth, Defendants aver that the Supplement fails       investors' ability to recover on meritorious claims.” Tellabs,
to establish the requisite inference of scienter required under     Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322, 127
the Private Securities Litigation Reform Act (“PSLRA”).             S.Ct. 2499, 168 L.Ed.2d 179 (2007). To accomplish this goal,
                                                                    the PSLRA contains “[e]xacting pleading requirements.” Id.
                                                                    at 313, 127 S.Ct. 2499. Under the PSLRA's heightened
                                                                    pleading requirements, a plaintiff seeking to properly state
                   LEGAL STANDARD
                                                                    a Section 10(b) and Rule 10b–5 claim must allege “(1) a
Federal Rule of Civil Procedure 12(b)(6) authorizes dismissal       material misrepresentation or omission by the defendant; (2)
of a complaint when the plaintiff has failed to state a claim       scienter; (3) a connection between the misrepresentation or
upon which relief can be granted. “To survive a motion to           omission and the purchase or sale of a security; (4) reliance
dismiss, a complaint must contain sufficient factual matter,        upon the misrepresentation or omission; (5) economic loss;
accepted as true, to ‘state a claim to relief that is plausible     and (6) loss causation.” Halliburton Co. v. Erica P. John
on its face.’ ” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct.



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Fund, Inc., 573 U.S. 258, 267, 134 S.Ct. 2398, 189 L.Ed.2d              As noted, to state a claim for a violation of Section 10(b)
339 (2014) (quotation omitted).                                         and Rule 10b–5, a plaintiff must first plead a material
                                                                        misrepresentation or omission. For the reasons set forth
The scienter, or state-of-mind element of a § 10(b) and Rule            below, Nova Scotia has failed to allege any actionable
10b–5 claim, is a “mental state embracing intent to deceive,            misrepresentation or omission by Defendants.
manipulate, or defraud.” Ernst & Ernst v. Hochfelder, 425
U.S. 185, 193 n.12, 96 S.Ct. 1375, 47 L.Ed.2d 668 (1976). To
allege scienter under the PSLRA, “the complaint shall, with             A. LEGAL FRAMEWORK FOR PLEADING A
respect to each act or omission alleged to violate this chapter,        MATERIAL MISREPRESENTATION OR OMISSION
state with particularity facts giving rise to a strong inference        Under the PSLRA, securities fraud plaintiffs must “identify
that the defendant acted with the required state of mind.” 15           the particular statement they contend is false and misleading
U.S.C. § 78u–4(b)(2).                                                   and the reason why that statement is false or misleading.
                                                                        Attempting to overwhelm the court with conclusory,
 *3 Section 20(a) of the Exchange Act provides for joint and            garrulous and esoteric allegations simply does not get the job
several liability for “controlling persons” who are found to            done.” In re Capstead Mortg. Corp. Sec. Litig., 258 F. Supp.
have induced violations of the Exchange Act. 15 U.S.C. §                2d 533, 560–61 (N.D. Tex. 2003). A statement is misleading
78t(a). “To impute liability to [Dickson] and [Spence]—the              “if it would give a reasonable investor the impression of a
alleged ‘control persons’ of [McDermott] under § 20(a) of               state of affairs that differs in a material way from the one that
the Securities Exchange Act—the investors ha[ve] to show                actually exists.” Retail Wholesale & Dep't Store Union Loc.
a ‘primary violation’ under § 10(b): If the § 10(b) claim is            338 Ret. Fund v. Hewlett-Packard Co., 845 F.3d 1268, 1275
inadequate, then so is the § 20(a) claim.” Mun. Emps.' Ret.             (9th Cir. 2017) (quotation omitted).
Sys. of Mich. v. Pier 1 Imps., Inc., 935 F.3d 424, 429 (5th Cir.
2019).                                                                  District courts have found that “corporate cheerleading”
                                                                        in the form of “generalized positive statements about a
                                                                        company's progress” is not a basis for liability under federal
                                                                        securities law. Nathenson v. Zonagen Inc., 267 F.3d 400,
      OBJECTIONS TO EXHIBITS 4–6 AND 8–9                                419 (5th Cir. 2001). This is because “no reasonable investor
     ATTACHED TO THE MOTION TO DISMISS                                  would consider such statements material and ... investors and
                                                                        analysts are too sophisticated to rely on vague expressions of
As a preliminary matter, I need to address Nova Scotia's
                                                                        optimism rather than specific facts.” In re BP p.l.c. Sec. Litig.,
objection to various news articles attached to the Motion to
                                                                        843 F. Supp. 2d 712, 748 (S.D. Tex. 2012). “Statements that
Dismiss as Exhibits 4–6 and 8–9. Nova Scotia objects to
                                                                        are predictive in nature are actionable only if they were false
these exhibits on the grounds that they are not attached to or
                                                                        when made.” Shushany v. Allwaste, Inc., 992 F.2d 517, 524
incorporated in the Supplement. Nova Scotia is correct. This
                                                                        (5th Cir.1993).
is not a close call.

                                                                        To be actionable, a misrepresentation of a fact, or an omission
In considering a Rule 12(b)(6) motion, a district court
                                                                        of a fact, must also be material. See Basic Inc. v. Levinson,
may consider: (1) the pleadings and any attachment to the
                                                                        485 U.S. 224, 238, 108 S.Ct. 978, 99 L.Ed.2d 194 (1988)
pleadings; (2) documents incorporated into the complaint by
                                                                        (“It is not enough that a statement is false or incomplete,
reference; and (3) documents that a defendant attaches to its
                                                                        if the misrepresented fact is otherwise insignificant.”). “A
motion to dismiss if those documents are referenced in the
                                                                        statement or omitted fact is ‘material’ if there is a substantial
plaintiff's complaint and are central to the plaintiff's claim. See
                                                                        likelihood that a reasonable investor would consider the
Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498–
                                                                        information important in making a decision to invest.” R &
99 (5th Cir. 2000). Because the news articles at issue clearly
                                                                        W Tech. Servs. Ltd. v. Commodity Futures Trading Comm'n,
do not fall with any of these well-defined exceptions, I will
                                                                        205 F.3d 165, 169 (5th Cir. 2000).
strike Exhibits 4–6 and 8–9 from consideration.


                                                                        B. THE SUPPLEMENT FAILS TO ALLEGE A FALSE
                          ANALYSIS                                      OR MISLEADING STATEMENT




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 *4 By my count, the Supplement identifies approximately            the Agreement [with secured lenders] to finance working
20 statements that it contends are materially false or              capital and support the issuance of required performance
misleading. A close look at those statements, however, fails to     guarantees on new projects” (emphasis omitted)); id.
reveal any statement made by Defendants that was factually          (“McDermott continues to pursue the previously announced
untrue or misleading at the time it was made.                       strategic alternatives process for Lummus Technology and
                                                                    the sale process for the remaining portion of the pipe
As described in great detail in the Corrected Class Action          fabrication business.” (emphasis omitted); id. at 11 (“Our
Complaint, McDermott faced significant financial challenges         recently announced $1.7 billion financing agreement with our
in the fall of 2019. On September 18, 2019, the company's           lenders signals their confidence in our underlying business.
stock price plummeted 49 percent in morning trading after           We continue working with them to achieve a long-term
The Wall Street Journal reported that McDermott had                 balance sheet solution as we remain focused on delivering
“engaged turnaround consulting firm AlixPartners LLP to             value for our customers, employees, subcontractors, and
advise on efforts to improve cash flow and stem a recent            suppliers.” (emphasis omitted)); id. (“We continue to
spate of net losses.” Dkt. 105 at 216. Later that same day,         pursue the previously announced strategic alternative process
McDermott confirmed the hiring of the turnaround firm,              for our Lummus Technology business and the sale
stating that the company was “taking positive and proactive         process for the remaining portion of our pipe fabrication
measures ... intended to improve its capital structure and the      business.” (emphasis omitted)); id. at 12 (“Tranche B
long-term health of its balance sheet.” Id.                         funding is expected to allow McDermott to continue
                                                                    collaborative discussion regarding a long-term balance sheet
According to the Supplement, Defendants falsely convinced           solution” (emphasis omitted)).
analysts and investors that McDermott could overcome its
liquidity problems by obtaining short-term financing and             *5 The above-referenced statements are a mere sampling of
then, later on, selling its Lummus Technology business.             the statements challenged by Nova Scotia in the Supplement.
“Unbeknownst to investors,” the Supplement alleges, “the            Attached as Exhibit A to Defendants' Motion to Dismiss is an
operational issues, project delays, cost overruns, and cash         extremely helpful Appendix, listing, in one convenient place,
drains of [various projects] were insurmountable absent a           each allegedly fraudulent statement made by Defendants. 3
bankruptcy reorganization.” Dkt. 220 at 5. “Defendants'             See Dkt. 222-1. Although Defendants repeatedly described
statements were merely a scheme to maintain artificial              their efforts to ameliorate McDermott's liquidity problems,
inflation in McDermott's stock price while providing time to        they never once promised investors that a bankruptcy filing
develop and execute a prepackaged Chapter 11 restructuring          was off the table. The reality for any company is that a
plan that wiped out common stockholders.” Id. at 6. The             bankruptcy filing always remains a possibility in the event
Supplement also notes that McDermott issued a press release         its efforts to cure a severe liquidity crisis do not bear fruit.
announcing that the company had filed a prepackaged                 Indeed, McDermott expressly stated in its Form 10-Q for its
bankruptcy on January 21, 2020. See id. at 21.                      third quarter (ending September 30, 2019) that the company
                                                                    “may be compelled to seek an in-court solution, potentially
Although the Supplement is well-written and certainly               in the form of a pre-packaged or pre-arranged filing under
conveys its thematic message that Defendants reportedly             Chapter 11 of the Bankruptcy Code if we are unable to
knew that bankruptcy was a foregone conclusion, Nova Scotia         successfully negotiate a timely out-of-court restructuring
cannot point to a single statement in which Defendants              agreement with our creditors.” Dkt. 222-5 at 64.
affirmatively denied the possibility that it would file for
bankruptcy protection. At this preliminary pleading stage,          3      As an aside, Nova Scotia objects to Appendix
it is my job to look at each challenged statement, one by
                                                                           A on the ground that it seeks “to rewrite
one, to determine if it contains a false statement of fact.
                                                                           the Supplement's statements and raise argument
I have done that. The statements Nova Scotia challenge
                                                                           beyond the brief page limits.” Dkt. 230 at 22
merely identify strategic alternatives McDermott pursued
                                                                           n.3. I overrule Nova Scotia's objections. Because
in an effort to address its serious liquidity concerns. The
                                                                           Appendix A merely identifies the challenged
statements do not promise that McDermott would never
                                                                           statements verbatim in one easily accessible chart,
file a bankruptcy proceeding. See, e.g, Dkt. 220 at 8
                                                                           I view Appendix A as a helpful guide to the Court,
(alleging McDermott “expects to utilize the amounts under
                                                                           not a devious attempt to avoid page limitations.


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       See Mahoney v. Found. Med., Inc., 342 F. Supp.             (McDermott “failed to disclose that [it] was nearing an
       3d 206, 212 (D. Mass. 2018) (rejecting attempt             imminent prepackaged bankruptcy that would wipe out its
       to exclude a chart identifying misstatements and           common stockholders”). This type of failure-to-disclose-
       omissions alleged in a securities fraud complaint          bankruptcy-planning claim has been considered and rejected
       because such information is “helpful to the Court”         by district courts on both sides of the Mississippi River.
       and not “argumentative in nature”).                        See Espinoza v. Whiting, 8 F. Supp. 3d 1142, 1154 (E.D.
                                                                  Mo. 2014) (rejecting claim that a company had an obligation
In short, the Supplement fails to identify a materially false
                                                                  to disclose a material risk of bankruptcy given its poor
or misleading statement. 4 Because I have concluded that the
                                                                  financial condition), aff'd sub nom. Podraza v. Whiting, 790
Supplement does not allege an actionable misrepresentation,
                                                                  F.3d 828 (8th Cir. 2015); McNulty v. Kanode, No. A-13-
I must now determine whether the Supplement alleges an
                                                                  CV-026-LY, 2013 WL 12077503, at *12 (W.D. Tex. Nov. 6,
actionable omission.
                                                                  2013) (explaining “even if [the company] had in fact hired
                                                                  bankruptcy counsel and was seriously considering filing for
4      Because the alleged misstatements set forth in             bankruptcy, Defendants would not have been required to
       the Supplement are not, in fact, misstatements at          disclose this plan to investors” absent a duty to disclose);
       all, I need not address whether the challenged             Hutchinson v. Perez, No. 12 Civ. 1073(HB), 2012 WL
       statement+s: (i) are forward-looking statements            5451258, at *5 (S.D.N.Y. Nov. 8, 2012) (statement that
       protected by the PSLRA's safe-harbor provision; or         company had “no intention” of filing for bankruptcy was
       (ii) constitute nonactionable puffery.                     not misleading even while option was under consideration);
                                                                  Beleson v. Schwartz, 599 F. Supp. 2d 519, 527 (S.D.N.Y. Feb.
C. THE SUPPLEMENT FAILS TO ALLEGE AN                              24, 2009) (companies need not disclose contingency planning
ACTIONABLE OMISSION                                               merely because contingency ultimately materializes), aff'd,
“[I]t bears emphasis that § 10(b) and Rule 10b-5(b) do not        419 F. App'x 38 (2d Cir. 2011); In re Tower Auto. Sec.
create an affirmative duty to disclose any and all material       Litig., 483 F. Supp. 2d 327, 348 (S.D.N.Y. 2007) (company's
information.” Matrixx Initiatives, Inc. v. Siracusano, 563 U.S.   “failure to disclose its bankruptcy planning did not make its
27, 44, 131 S.Ct. 1309, 179 L.Ed.2d 398 (2011). See also          other disclosures”—such as a statement that it was pursuing
Basic, 485 U.S. at 239 n.17, 108 S.Ct. 978 (“Silence, absent      “options for easing [its] liquidity problems”—misleading).
a duty to disclose, is not misleading under Rule 10b-5.”).
“[M]erely because a reasonable investor might really like          *6 The reason district courts almost universally reject the
to know [a] fact” does not mean that a corporation has a          notion that a public company must disclose when it is
legal duty to disclose that fact. Berger v. Beletic, 248 F.       contemplating bankruptcy proceedings is grounded in “public
Supp. 2d 597, 603 (N.D. Tex. 2003). “Disclosure is required       policy justifications for allowing a company operating near
under [§ 10(b) and Rule 10b-5(b)] only when necessary ‘to         insolvency to make careful deliberations about its future,
make ... statements made, in the light of the circumstances       free from any obligation to disclose potential bankruptcy.”
under which they were made, not misleading.’ ” Matrixx, 563       Beleson, 599 F. Supp. 2d at 527. The Beleson court further
U.S. at 44–45, 131 S.Ct. 1309 (quoting Rule 10b-5). “Even         explained:
with respect to information that a reasonable investor might
consider material, companies can control what they have to
disclose under these provisions by controlling what they say                  Any standard mandating disclosure
to the market.” Id. at 45, 131 S.Ct. 1309.                                    of contingent bankruptcy planning
                                                                              would put an unacceptable burden
Nova Scotia contends that once Defendants chose to speak                      on corporations and their officers.
about their efforts to combat McDermott's liquidity issues,                   Such a standard might amount to a
they had an obligation to disclose the fact that they                         self-fulfilling prophecy, ensuring that
were considering the possibility of filing for bankruptcy.                    all companies that begin contingent
See Dkt. 220 at 12 (McDermott “failed to disclose ...                         preparations for bankruptcy would
that a prepackaged bankruptcy was forthcoming and that                        inevitably go bankrupt because, upon
McDermott's lenders would not permit access to third tranche                  disclosure of the plans, investors
funding outside of a bankruptcy proceeding”); id. at 13                       would immediately lose confidence



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            in the company and close the capital                  in a filing with the Court on September 18, 2019, that
            markets. In some cases, a rule                        “McDermott fil[ing] for bankruptcy protection” was a “strong
            requiring disclosure of bankruptcy                    possibility.” Dkt. 95 at 4.
            plans might prematurely foreclose
            other options the company may                         With its back against the wall, Nova Scotia contends
            be contemplating that could restore                   that even though McDermott allegedly knew as early as
            its financial viability and thus                      September 2019 that bankruptcy was its “only option”
            avert bankruptcy. Such a standard                     and a “foregone conclusion,” McDermott failed to publicly
            would also raise substantial practical                disclose such information. Dkt. 230 at 25–27. In making
            challenges in defining the proper                     this argument, Nova Scotia relies heavily on statements
            moment during the continuum of                        made by McDermott's Chief Transformation Officer, John
            contingency planning at which the                     Castellano, during bankruptcy proceedings on March 12,
            obligation to disclose would take                     2020, to the effect that once the company obtained bridge
            effect.                                               financing in the fall of 2019, “there really weren't any
                                                                  other options at all, other than restructuring.” Dkt. 240-2
                                                                  at 128. In Nova Scotia's mind, this statement is an express
Id.                                                               admission that McDermott knew early on that it had no
                                                                  alternative other than to seek Chapter 11 protection. But
In a footnote, Nova Scotia cites several cases for the            this view is too simplistic, as it assumes that the term
proposition that a failure to disclose an imminent bankruptcy     “restructuring” is synonymous with filing for bankruptcy.
is a material omission. See EnSource Invs. LLC v. Tatham,         This certainly is not the case, as restructuring often occurs
No. 3:17-CV-00079, 2017 WL 10648061 (S.D. Cal. Mar.               out of court by, for example, stretching out the maturity
9, 2017); Anderson v. McGrath, No. CV-11-01175-PHX-               date of obligations, partial forgiveness of principal and
DGC, 2012 WL 5381406 (D. Ariz. Nov. 1, 2012); In re               accrued interest, changing covenants in debt instruments, or
MoneyGram Int'l, Inc. Sec. Litig., 626 F. Supp. 2d 947 (D.        a combination of these and other changes. See In re Solutia,
Minn. 2009); In re McLeodUSA Sec. Litig., No. C02-0001,           Inc., No. 03-17949 PCB, 2007 WL 1302609, at *4 (Bankr.
2003 U.S. Dist. LEXIS 27915 (N.D. Iowa Aug. 7, 2003);             S.D.N.Y. May 1, 2007) (recognizing the difference between
Arnlund v. Smith, 210 F. Supp. 2d 755 (E.D. Va. 2002);            out-of-court restructuring efforts and filing for bankruptcy).
Salkind v. Wang, No. CIV.A. 93-10912-WGY, 1995 WL                 Defendants maintain that McDermott's public filings, as
170122 (D. Mass. Mar. 30, 1995). But, as pointed out              well as the entirety of Castellano's bankruptcy testimony,
by Defendants, those cases are inapposite. Each of those          expressly recognize that McDermott actively sought out-of-
cases involved “defendants affirmatively paint[ing] a rosy,       court restructuring before it finally concluded, as a last resort,
misleading picture of a company's financial status and then       that it had no alternative but to file for bankruptcy protection.
[failing to] disclose underlying liquidity problems.” Dkt.        See Dkt. 240-2 at 134 (Castellano specifically denying that
222 at 22. By contrast, McDermott expressly acknowledged          bankruptcy was a “fait accompli” as of October 21, 2019,
its fragile liquidity position and outlined various steps—        and testifying that “we knew a reorganization of some
from bridge loan financing in the short-term to a possible        form or fashion was necessary”). After carefully reviewing
sale of Lummus Technology at a future date—the company            the documents referenced in the Supplement, which clearly
considered in an effort to escape from under crippling debt.      indicate that McDermott analyzed both in-court and out-of-
Viewed in light of all the information available at the time,     court options to address its capital structure, I am unwilling
it is hard to argue with a straight face that a reasonable        to jump to the conclusion that Defendants knew all along
investor would be surprised to learn that McDermott faced         that bankruptcy was the only real alternative to its business
the real possibility of seeking bankruptcy protection. This is    problems.
particularly true given the specific disclosure in McDermott's
quarterly federal securities filings, discussed above, that the    *7 All told, I refuse to fault Defendants for failing to disclose
company “may be compelled to seek an in-court solution,           that McDermott was considering bankruptcy. In reaching
potentially in the form of a pre-packaged or pre-arranged         this conclusion, I follow the reasoning of the overwhelming
filing under Chapter 11 of the Bankruptcy Code.” Dkt. 222-5       majority of federal courts which have held that a company's
at 64. Even Nova Scotia, in this very case, recognized            “failure to disclose its bankruptcy planning [does] not make



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                                                                        For the reasons explained above, I recommend that
its other disclosures misleading.” In re Tower Auto. Sec. Litig.,
                                                                        Defendants' Motion to Dismiss Plaintiff's § 10(b)
483 F. Supp. 2d at 348. Accordingly, Nova Scotia has failed
                                                                        Supplemental Class Action Complaint (Dkt. 222) be
to allege an actionable omission.
                                                                        GRANTED. The claims arising out of the alleged additional
                                                                        materially false and misleading statements and omissions set
                              ***
                                                                        forth in ¶¶ 6–15 of the Supplement should be dismissed. At
                                                                        the same time, this recommendation is not intended to impact
In short, the Supplement has failed to identify a misleading
                                                                        the additional partial corrective disclosures set forth in ¶¶ 16–
statement or material omission actionable under § 10(b) and
                                                                        24 of the Supplement, or the extension of the class period to
Rule 10b-5(b). I thus recommend that the Supplement's new
                                                                        January 23, 2020 as described in ¶ 4 of the Supplement.
§ 10(b) and Rule 10b-5(b) claims be dismissed. Nova Scotia's
§ 20(a) claim against Dickson and Spence likewise fails, as it
                                                                        The Clerk shall provide copies of this Memorandum and
is predicated on a successful § 10(b) claim. See Emps.' Ret.
                                                                        Recommendation to the respective parties who have 14 days
Sys. v. Whole Foods Mkt., Inc., 905 F.3d 892, 905 (5th Cir.
                                                                        from receipt to file written objections pursuant to Federal
2018). Because I have concluded that Nova Scotia has failed
                                                                        Rule of Civil Procedure 72(b) and General Order 2002–
to identify a misleading statement or omission, I need not
                                                                        13. Failure to file written objections within the time period
address whether the Supplement's federal securities claims
                                                                        mentioned shall bar an aggrieved party from attacking the
should also be dismissed for the failure to allege scienter.
                                                                        factual findings and legal conclusions on appeal.
See Labs.' Loc. #231 Pension Fund v. PharMerica Corp.,
No. 3:18-CV-109-RGJ, 2019 WL 4645583, at *13 (W.D. Ky.
Sept. 24, 2019).                                                        All Citations

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                       CONCLUSION


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WGL-SOACT ¶ 1603

PRACTICAL GUIDE TO CORPORATE GOVERNANCE AND ACCOUNTING: IMPLEMENTING THE REQUIREMENTS
OF THE SARBANES-OXLEY ACT

Practical Guide to Corporate Governance and Accounting: Implementing the Requirements of the Sarbanes-Oxley Act

Implementing the Requirements of the Sarbanes-Oxley Act

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1603 Management's assessment of internal control
over financial reporting.
Under Sarbanes-Oxley Section 404(a) (see §404), management must test, evaluate, and report on the effectiveness of internal
control over financial reporting (“ICFR”). The evaluation is made as of the end of the company's most recent fiscal year.
Management must conduct its evaluation based on a suitable internal control framework. A suitable framework, such as
the COSO 1992 or 2013 Framework (the 1992 Framework will be superseded by the 2013 Framework after December
15, 2014), is one that is a recognized internal control framework, established by a body or group that has followed due-
process procedures,including the broad distribution of the framework for public comment. (For a discussion of internal control
monitoring, see §1617). Testing and evaluation must be documented in sufficient detail so that outside auditors can later examine
management's work and conclude whether management's overall assessment of internal control is supported by the evidence
of testing and evaluation.

Management has always been involved, to one degree or another, in designing, operating, documenting, testing, and monitoring
ICFR; however reporting on internal control is a new requirements of Sarbanes-Oxley.

The discussion of management's assessment of ICFR activities is based primarily on the guidance issued by the SEC in
Commission Guidance Regarding Management's Report on Internal Control Over Financial Reporting Under Section 13(a) or
15(d) of the Securities Exchange Act of 1934, SEC Release Nos. 33-8810; 34-55929, June 27, 2007 (“Guidance”). The effective
date of the SEC Guidance is June 27, 2007. Also included in this discussion, however, is additional guidance provided by the
SEC.

ICFR Evaluation Requirement

In order to comply with Sarbanes-Oxley Section 404(a) management must assess the effectiveness of its ICFR and disclose
its assessment in a report accompanying its annual financial statements. The form and content of the disclosure is discussed
at §1604. Management can use the SEC Guidance to make its ICFR assessment. If management follows this Guidance, which
describes a top-down/risk-based approach to assessing ICFR, then it will be deemed to have satisfied the ICFR testing and
evaluation requirements of Section 404(a) (). However, as discussed below, the SEC Guidance is only asafe harbor for Section
404(a) compliance, which management is not required to follow.

The top-down/risk-based approach is supposed to result in a more efficient and effective ICFR assessment because it focuses
testing primarily in areas where the risk of material control weaknesses is highest, and minimizes or eliminates testing in other
areas.


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Sanctions for Failure to Comply with Internal Control Rules

The SEC has indicated its intention to pursue enforcement actions related to poor internal control and erroneous internal control
reports. In its 2015 fiscal year report, the SEC stated that “enforcement will continue to prioritize financial reporting and
accounting fraud with an emphasis on areas including revenue and expense recognition problems, faulty valuations supporting
accounting estimates, faulty asset impairment conclusions, improper acquisition accounting, missing or insufficient disclosures,
insufficient internal controls, and the role of auditors and other gatekeepers.” U.S. Securities and Exchange Commission, Agency
Financial Report, Fiscal Year 2015 (italics added).

The SEC has the power to sanction a company that fails to comply with requirements to evaluate ICFR. It can do so, for
example, when a company fails to disclose a material weakness, even if that weakness has not resulted in a material financial
reporting error. In the Matter of Magnum Hunter Resources Corp (MHR) (SEC Release No. 34-77345, March 10, 2016), the
SEC announced a settlement in which it imposed penalties totaling $290,000 on MHR and two of its executives. In this case,
company management failed properly to implement, maintain, and evaluate internal control over financial reporting (ICFR).
In this complaint, the SEC asserted, among other things, that management failed to properly evaluate ICFR, and failed to
disclose the existence of a material weakness in its Section 404 report. The company reported its ICFR as being effective,
after concluding, without documentation to support this conclusion, thatidentified weaknesses were significant but not material.
Among other things, the SEC Release implies that management relied in some part on the absence of a material reporting
error when it concluded that an ICFR weakness was not material. On this point, the Release states that management “failed to
apply the appropriate standard when determining the severity of MHR's internal control deficiency. As detailed above, while
actual errors may inform assessments of control deficiencies, the presence of an actual error is not a prerequisite to concluding
that a material weakness exists. Rather, management is to consider whether there is a reasonable possibility that a material
misstatement will not be timely detected or prevented.”

Effective Date

An issuer must comply with the requirements of Section 404(a) after the effective date. Effective dates differ for accelerated
filers, non-accelerated filers, and foreign companies. For a complete discussion of the various effective dates, see §404.

Safe Harbor

Under SEC rules, if management conducts an evaluation of ICFR in accordance with the SEC Guidance, management will
be considered to have satisfied the annual management ICFR evaluation requirement under Section 404(a). That is, the SEC
Guidance provides a safe harbor for Section 404(a) compliance. The safe harbor is expressed as follows:
Although there are many different ways to conduct an evaluation of the effectiveness of internal control over financial reporting
to meet the requirements of this paragraph, an evaluation that is conducted in accordance with the [Guidance] issued by the
Commission in Release 34-55929, June 27, 2007 will satisfy the evaluation required by this paragraph. Exchange Act Rules
13a-15(c) and 15d-15(c).


What this rule is telling us is that compliance with the Guidance is one way to satisfy the requirements of Section 404(a) (), but
it is not the only way. It is merely a safe harbor. Companies can comply with the requirements of Section 404(a) by employing
ICFR evaluation processes that differ from the approach set out in the SEC Guidance. According to the SEC, companies that
currently comply with Section 404(a) using other methods can remain in compliance without adopting the Guidance. SEC
Release No. 33-8809, June 20, 2007.

The SEC Guidance is discussed below, starting at SEC Guidance.

A safe harbor implies a prescriptive set of rules against which compliance can be measured. However, this is not the case here.
The SEC Guidance is principles based, and describes goals rather than procedures. Therefore, companies can adopt a broad
range of ICFR evaluation methodologies and still claim to be following the Guidance, as long as those methodologies can be
described as top-down/risk-based. The SEC acknowledges that Exchange Act Rules 13a-15 and 15d-15 are unlike typical safe-
harbor provisions, which ordinarily prescribe specific conditions to be met before a company can claim safe-harbor protection.




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The SEC does not resolvethis apparent contradiction. It says only that the Guidance serves the purpose of communicating the
objectives and requirements of the ICFR evaluation. SEC Release No. 33-8811, June 20, 2007.

Management's ICFR Reporting Requirements

Under Section 404(a) of Sarbanes-Oxley (), each annual report of a public company is to be accompanied by a report by
management on the effectiveness of ICFR. Section 404(a) requires that management perform the assessment as of the end of
its most recent fiscal year.

The form and content of management's annual report on ICFR, including adverse reports, is discussed at §1604.
Note: Management is required to evaluate ICFR only as of the end of its fiscal year. However, one influential group takes the
position that management's assessment should reflect the likelihood of a material misstatement in financial statements filed
during the 12 months following the fiscal year end. For public companies such an assessment would effectively address the
reliability of quarterly statements filed during that 12 month period. See Institute of Internal Auditors, Sarbanes-Oxley Section
404: A Guide for Management by Internal Controls Practitioners, January 2008.


Outsourcing Evaluation and Testing of Controls

Many companies do not have staff capable of designing, documenting, testing and evaluating internal control, and will have
to outsource this activity. Since the passage of Sarbanes-Oxley, a number of consulting companies and software companies
have created products and services necessary to meet the new requirements. A company will have no shortage of third-party
providers to turn to. Although management can outsource many activities relating to internal control, management remains
responsible for internal control. It also remains responsible for reporting on internal control (in the Section 404(a) report).
Moreover, outsourcing internal control activities does not affect the responsibility of the company's audit committee and board
of directors to exercise oversight responsibility vis a vis financial reporting and internal control.

As discussed at Use of Independent Auditors in Internal Control Testing, below, the company can use independent auditors to
assist with some internal control work, but cannot completely outsource the work to the auditors.

Use of Independent Auditors in Internal Control Testing

Management's report on its assessment of ICFR is the result of management's own evaluation of the effectiveness of ICFR.
Auditors can play a limited role in assisting management with internal control testing and with documentation of testing. Indeed,
because the independent auditors must attest to management's conclusions on internal control, management is well advised
to obtain auditor advice as internal control systems are being designed and tested. However, the auditors cannot perform any
services that will impair their independence. In addition, any services performed in assisting management with its testing of
internal control are nonaudit services that must be specifically preapproved by the audit committee.

Preapproval of internal control related services. Under PCAOB Rule 3525, Audit Committee Pre-approval of Non-audit
Services Related to Internal Control Over Financial Reporting, in connection with seeking audit committee preapproval to
perform for an issuer audit client any permissible nonaudit service related to internal control over financial reporting, a registered
public accounting firm must do the following:
(a) describe, in writing, to the audit committee of the issuer audit client the scope of the service;

(b) discuss with the audit committee of the issuer the potential effects of the service on the independence of the firm; and

(c) document the substance of its discussion with the audit committee of the issuer. PCAOB Rule 3525.


This rule is accompanied by the following caveat:
Independence requirements provide that an auditor is not independent of his or her audit client if the auditor is not, or a reasonable
investor with knowledge of all relevant facts and circumstances would conclude that the auditor is not, capable of exercising
objective and impartial judgment on all issues encompassed within the accountant's engagement. Several principles guide the



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application of this general standard, including whether the auditor assumes a management role or audits his or her own work.
Therefore, an auditor would not be independent if, for example, management had delegated its responsibility for internal control
over financial reporting to the auditor or if the auditor had designed or implemented the audit client's internal control over
financial reporting. PCAOB Rule 3525, Note.


Risks associated with auditor involvement. It is important to get the independent auditors involved, to the extent allowable,
in the design and testing of internal control. The independent auditors must independently assess the effectiveness of internal
control. Because the auditors will ultimately judge the effectiveness of internal control, management needs to know, before new
systems are implemented, whether those systems ensure effective internal control, in the opinion of the auditors.

Management may design “Control Module 1,” a system for ensuring accurate recording of accounts receivable. After completing
design and testing of “Control Module 1,” management may ask the auditors to review the system, and to confirm that: (1)
the control objectives of the system are appropriate to the risks related to recording accounts receivable; and (2) the system is
effective in meeting those control objectives.

Failure to get the auditor's opinion on the effectiveness of internal control risks a situation where the auditors determine that the
control does not work, at a time when it is too late for management to fix the control. In addition, when management makes its
tests of internal control, the auditors should be consulted for the purpose of letting management know if its test methods and its
level of documentation will be adequate to support management's evaluation of internal control.

However, the auditors cannot get so close to the design and testing process that they lose their independence. This can happen if
the auditors (1) act in the role of management, or (2) are significantly involved in the creation of information systems or controls,
the effectiveness of which they themselves must audit. For example, indicated in PCAOB Rule 3525, above, the auditors cannot
design and implement controls, nor can the auditors take responsibility for testing and evaluating controls. The question is what
kinds of services can be performed without impairing independence? This question is not answered clearly in the rules issued
by either the SEC or the PCAOB.

The SEC has confirmed that independent auditors can give ongoing advice during the design and testing of internal control, but
such advice must be given in a way that does not compromise independence. The SEC says:
When the auditor is engaged to assist management in documenting internal controls, management must be actively involved
in the process. We understand the need for coordination between management and the auditor, however, we remind companies
and auditors that management cannot delegate its responsibility to assess its internal controls over financial reporting to the
auditor. SEC Release No. 33-8238, II.B.3.b. Auditor can provide advice. Ordinarily, the independent auditor can be involved
in the design and implementation of the system of internal control in an advisory capacity, and with the approval of the audit
committee. The auditor can also advise management on how to test controls, so long as the auditor does not make decisions as
to what controls to test, and does not evaluate the testing. In addition, the auditor can advise management on the documentation
of testing.Documentation and testing of controls. Documentation and testing of control forms the basis of management's
assertion regarding the effectiveness of ICFR. The independent auditor can provide some assistance in documentation and
testing, but in doing so must avoid impairing independence. If the auditor assumes responsibility for documenting or testing
internal control and management relies on this work in forming its assessment of ICFR, the auditors may be deemed to audit
their own work or assume a management role, which impairs their independence. This point was made by the SEC in its release
accompanying its internal control regulations:
...we remind companies and their auditors that the Commission's rules on auditor independence prohibit an auditor from
providing certain nonaudit services to an audit client. As the Commission stated in its auditor independence release, auditors
may assist management in documenting internal controls. When the auditor is engaged to assist management in documenting
internal controls, management must be actively involved in the process. We understand the need for coordination between
management and the auditor, however, we remind companies and auditors that management cannot delegate its responsibility
to assess its internal controls over financial reporting to the auditor. SEC Release No. 33-8238, II.B.3.b.Therefore, this area of
services must be approached with caution. Neither the SEC nor the PCAOB has given clear guidance on this issue. However,
in a roundtable discussion on internal control, Scott Taub, of the SEC, gave the following nonauthoritative advice:

[An appropriate role for auditors] might very well include helping management develop templates for documenting controls or
documenting testing, suggesting to management new controls that management might put in place or suggesting to management




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what types of tests management might perform or helping management do sample selection based on criteria that management
has decided should be used.

Inappropriate roles would be doing the documentation, performing the initial testing, and I've also been asked questions about
software that an auditor might provide its client. It has been asserted to me that there is software out there that some of the audit
firms have developed that actually reaches conclusions about effectiveness of internal controls. I've not seen such software,
but that would not be an appropriate role for the auditors to provide software that makes the assessment. However, providing
software that helps with documentation, that helps with sample selection that might be things that would be appropriate for the
auditors to do. PCAOB Roundtable on Reporting on Internal Control, July 29, 2003. (The complete transcript is available on
the PCAOB's website, at: http://www.pcaobus.org).




Objective of Management's Evaluation of ICFR

As discussed above at Management's ICFR Reporting Requirements, management of companies subject to the requirements of
Section 404(a) () must annually assess and report on the effectiveness of ICFR. As discussed below, at Effective Internal Control
over Financial Reporting, ICFR can be considered effective only if it is free of material weaknesses. To provide management
with a reasonable basis for its assessment of ICFR management must evaluate ICFR. “To accomplish this, management identifies
the risks to reliable financial reporting, evaluates whether controls exist to address those risks, and evaluates evidence about
the operation of the controls included in the evaluation based on its assessment of risk.” Guidance § II.A. If management can
determine, with reasonableassurance, that its system of ICFR is free of material weakness then it will have a reasonable basis
for disclosing in its annual report that ICFR is effective.

Scope of Assessment

Management is required to assess the effectiveness of its entire system of ICFR. This system includes all significant processes,
including those of subsidiaries, both domestic and foreign. In addition, significant processes outsourced to third-party service
organizations (e.g., payroll processing services) are included within the company's system of ICFR that must be covered by
the assessment.

Scope limitations not permitted. Management's annual report of the effectiveness of ICFR must contain a statement as to
whether ICFR is effective. The report cannot contain a scope limitation. If management is unable to access portions of its system
of ICFR for testing, instead of reporting a scope limitation management must determine whether the inability to assess controls
over a particular process is significant enough to conclude in its report that ICFR is not effective. Guidance § II.B.5.

There are number of reasons management would not be able to assess the effectiveness of certain portions of its ICFR. One
reason is that the company has outsourced a significant process to a service organization and management is unable to assess
the effectiveness of the organization's controls. As discussed at Service Organizations, below, there are three ways management
can assess the effectiveness of controls in a service organization. If management is not able to employ any of these three
options then it is unable to assess whether controls exists that will prevent or detect misstatements related to the work of the
service organization. If processes performed by the service organization are significant to the company's system of ICFR then
management may not be able to conclude that its system is free of material weakness. That is, management may not be able
to state that its ICFR is effective. Guidance § II.B.5.

Entities permitted to be excluded. Special rules allow management to exclude certain portions of its business from ICFR
testing while staying in compliance with the requirements of Section 404(a). These entities are:
· Entities over which management has no control, but whose assets, liabilities, and results of operations are included in its
consolidated financial statements.

· Equity investments in other entities.

· Late-year business acquisitions.




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Entities over which management has no control. Under financial reporting standards, companies must include within their
consolidated financial statements the assets, liabilities, and results of operations of certain entities over which they have no
control. Where this is the case, the question arises as to management's responsibility for reporting on the internal control of these
entities. If management is able to conduct an evaluation of internal control of such an entity, then the results of the evaluation
can be included in the Section 404(a) Report. If, on the other hand, management does not have the right to evaluate control, and
does not perform an evaluation, then management can exclude the entity from its Section 404(a) Report.

Under FASB ASC 810-10 companies must consolidate certain entities based on characteristics other than voting control. Where
there is a lack of control the company may not have the legal or contractual right to assess or modify the entity's internal control.
If the entity is material to the consolidated financial statements, management may be unable to express an opinion on internal
control and independent auditors may be confronted with a scope limitation on their audit of internal control. Thus, the question
is what is the effect of this scope limitation on management's Section 404(a) report, and on the audit of internal control?

In response, the SEC Office of the Chief Accountant has issued SEC Frequently Asked Questions on Management's Report on
Internal Control Over Financial Reporting and Certification of Disclosure in Exchange Act Periodic Reports. Revised Sept.
24, 2007. In this document, which is not authoritative, the SEC staff has indicated that, where such a scope limitation exists,
management's report on internal control can exclude the entity in question; but management must disclose information related
to the entity.

Equity investments in other entities. A similar issue relates to equity investments, where, for example, an entity's ownership
of an entity does not require it to consolidate the assets, liabilities, and results of operations of the entity, but does require
it to include in its own results of operations its share of net income or loss from the entity. For equity method investments,
management need not evaluate internal controls of the equity investee. Instead, management should evaluate controls over its
reporting, in its own financial statements, of its investment. Such controls may include, for example, controls over the selection
of accounting methods for its investment, and the recognition of equity method earnings; and controls to insure the integrity of
the investee's financial information, such as a requirement that the investee provide audited financial statements. SEC Frequently
Asked Questions on Management's Report on Internal Control Over FinancialReporting and Certification of Disclosure in
Exchange Act Periodic Reports. Revised Sept. 24, 2007.

Recent business acquisitions. Management can exclude a recently acquired business from its report on ICFR. The period
in which management may omit an assessment of an acquired business's ICFR from its assessment of the registrant's ICFR
may not extend beyond one year from the date of acquisition, and the assessment cannot be omitted from more than one
annual management report on ICFR. As a condition of the exclusion, management must disclose the identity of the acquired
business excluded and indicate the significance of the acquired business to the registrant's consolidated financial statements.
Management's report on ICFR must reference this disclosure. SEC Frequently Asked Questions on Management's Report on
Internal Control Over Financial Reporting and Certification of Disclosure in Exchange Act Periodic Reports. Revised Sept.
24, 2007.

Arguably, if management is unable to assess the effectiveness of control over a significant process within its system of ICFR,
there may be a material weakness in ICFR even if there is no material weakness in the process in question. The potential material
weakness is management's failure to adequately monitor its ICFR. If management is unable to assess control in the service
organization then it is not adequately monitoring its system of ICFR, which is at least a significant weakness in entity-level
control. (For a discussion of internal control monitoring, see §1617.)

Coordination with Independent Audit of ICFR

At the same time the SEC was writing its Guidance the PCAOB was writing Auditing Standard No. 5 (AS 2201), which is
discussed at §1605. The PCAOB and SEC made serious efforts to coordinate their respective approaches to the evaluation of
ICFR. That being said, there are two significant differences.

AS 2201 and the SEC Guidance both approach the evaluation of internal control in the same way; that is, both evaluate internal
control using a top-down/risk-based approach. However, while the approach is mandatory for auditors, management is free to
adopt any assessment method it chooses.




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In addition, management and independent auditors must approach the assessment of ICFR differently because management is
familiar with its own systems while the auditors are not. For a further discussion of the differences between the SEC Guidance
and AS 2201, see §1605, at Coordination with Management's Assessment of ICFR.

Effective Internal Control over Financial Reporting

The overall objective of ICFR is to provide reasonable assurance regarding the reliability of financial reporting and the
preparation of financial statements for external purposes in accordance with GAAP. Guidance § II.A. The objective of
management's assessment of ICFR is to determine if ICFR is effective. If control deficiencies, either individually or in
combination, constitute material weaknesses as of the end of the fiscal year, then ICFR is not effective. Guidance § II.B.1. For
a discussion of the definition of material weakness, see §1608.

Management's assessment of ICFR effectiveness must be made in accordance with a suitable control framework's definition
of effective internal control. These frameworks define those elements of ICFR that are expected to be present and functioning
in an effective internal control system. Management evaluates whether its system of ICFR includes those elements. The SEC
Guidance is not intended to replace the elements of an effective system of internal control as defined within a control framework,
but is instead designed to assist management in assessing its ICFR against a suitable framework. Guidance § II.A. For a
discussion of internal control as described by one suitable framework, the COSO, Internal Control—Integrated Framework,
see §1607.
Note: In its Guidance, the SEC identifies the following as suitable internal control frameworks: COSO, Internal Control—
Integrated Framework, Canadian Institute of Chartered Accountants, Guidance on Assessing Control, Institute of Chartered
Accountants in England & Wales, Internal Control: Guidance for Directors on the Combined Code (Turnbull Report). Other
frameworks that meet the criteria discussed at §1607 may be suitable as well.


It is important to note that, in evaluating the effectiveness of ICFR, procedures performed by auditors as part of either the audit
of ICFR or the audit of the financial statements are not part of a company's ICFR. AS 2201.05.

SEC Guidance

The remainder of this section sets out the SEC Guidance.

Background against Which Guidance Was Issued

The Guidance is the first comprehensive advice the SEC has issued on management's testing and evaluation of ICFR. When
the SEC initially promulgated requirements for compliance with SOX Section 404(a), it indicated only the end result to be
achieved, in broad terms. The SEC required “(1) that the evaluation must be based on procedures sufficient both to evaluate the
design and to test the operating effectiveness of ICFR [internal control over financial reporting]; and (2) that the assessment,
including testing, must be supported by reasonable evidential matter.” SEC Release No. 33-8762, I. The SEC did not issue
specific guidance for meeting these two objectives, because it believed that evaluation methods should vary from company to
company. The SEC continues to state that “it is impracticalto prescribe a single methodology that meets the needs of every
company.” SEC Release No. 33-8762, I.

Principles Based Guidance

The SEC Guidance is principles based rather than prescriptive. That is, it provides management with a set of principles to guide
the evaluation of ICFR but does not prescribe specific procedures to be performed.

AS 2201, by comparison, is relatively prescriptive, containing a number of procedures that auditors “must” perform as part of
the audit of ICFR. For a discussion of AS 2201, see §1605.

The SEC Guidance states, as a first set of principles, that “[m]anagement is responsible for maintaining a system of internal
control over financial reporting (“ICFR”) that provides reasonable assurance regarding the reliability of financial reporting and
the preparation of financial statements for external purposes in accordance with generally accepted accounting principles. The
rules we adopted in June 2003 to implement Section 404 of the Sarbanes-Oxley Act of 2002... require management to annually


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evaluate whether ICFR is effective at providing reasonable assurance and to disclose its assessment to investors. Management is
responsible for maintaining evidential matter, including documentation, to provide reasonable support for its assessment. This
evidence will also allow a third party, such as the company's external auditor, to consider the work performed by management.”
Guidance § I.

The SEC Guidance sets out a top-down/risk-based approach for the evaluation that is organized around two principles. The
first is that “management should evaluate whether it has implemented controls that adequately address the risk that a material
misstatement of the financial statements would not be prevented or detected in a timely manner.” The second is “management's
evaluation of evidence about the operation of its controls should be based on its assessment of risk.” This approach means,
among other things, that management can focus its testing in high-risk areas, and leave low-risk areas for such testing methods
as self-assessment and on-going monitoring. (For a discussion of internal control monitoring, see §1617.) Guidance § I.

To comply with these two principles of the top-down/risk-based approach, management need not, and indeed should not,
evaluate and test every conceivable control process; but instead should focus on those processes where control failure presents
a real risk of a material misstatement in the financial statements. This is the essence of the top-down/risk-based approach.
Management should focus its resources in those areas where the chance of material error is greatest, and should not waste
valuable and limited resources testing areas where there is a low risk that control failures will result in material misstatements.

Top-Down/Risk-Based Approach

According to the SEC Guidance, the top-down, risk-based (“TD/RB”) approach will typically be the most efficient and effective
way for management to conduct the evaluation of ICFR. Guidance § II.A. The TD/RB approach to the evaluation of ICFR begins
with the identification and assessment of the risks of material misstatement at the financial statement level, and then works down
to process-level risks and controls. This is inherently a risk-based approach, where attention is focused on accounts, disclosures,
and relevant assertions that present a reasonable possibility of material misstatement to the financial statements and related
disclosures. Under this approach management identifies controls and maintains supporting documentation for those controls in
a manner suited to the company's specificfinancial reporting risks. The controls identified and documented are those that are
important to achieving the company's specific control objectives. Management tests the design and operating effectiveness of
these controls and uses the results of these tests to support its conclusions on the overall effectiveness of ICFR. Guidance §
II.A.1. For a further discussion of the TD/RD approach see §1605, at Top-Down/Risk-Based Approach.

Employing a TD/RB approach requires management to apply its knowledge, experience and judgment to identify the areas of
the financial statements that present significant risk that the financial statements could be materially misstated and then proceed
to identify relevant controls and design appropriate procedures for documentation and testing of those controls. It is this analysis
by management that will determine the nature, extent and timing of control testing. Under the TD/RB process, management
will exercise judgment in such a way that testing performed for low risk accounts will likely be different than it will be for a
high risk accounts. The assessment of ICFR will likely be more effective if it focuses on processes and related controls that are
most likely to have a material impact on financial reporting elements.

Contrary to the top-down/risk-based approach is the “check-the-box” approach, which focuses on documenting and testing
controls, often based on checklists of controls, regardless of whether the effective operation of such controls would have a
material impact on the company's financial statements. This check-the-box approach has two critical weaknesses. First, it is very
inefficient, and consequently very expensive in terms of time wasted by company personnel, and fees paid to auditors. Second, it
may be very ineffective, since its focus is at the individual control level and may miss entirely large internal control weaknesses.

This check-the-box approach was heavily criticized by the SEC staff, which, like the PCAOB, encourages management to
approach its Section 404(a) evaluation using a top-down and risk-based approach. The following are some of the comments
from a report by the SEC staff issued in May 2005:
The feedback indicated that one reason why too many controls and processes were identified, documented and tested [during
2004 Section 404 audits] was that in many cases neither a top-down nor a risk-based approach was effectively used. Rather,
the assessment became a mechanistic, check-the-box exercise. This was not the goal of the Section 404 rules, and a better way
to view the exercise emphasizes the particular risks of individual companies. Indeed, an assessment of internal control that is
too formulaic and/or so detailed as to not allow for a focus on risk may not fulfill the underlying purpose of the requirements.
The desired approach should devote resources to the areas of greatest risk and avoid giving all significant accounts and related
controls equal attention without regard to risk. [Emphasis added]



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For a further discussion of the TD/RB approach, see SEC Staff Statement on Management's Report on Internal Control Over
Financial Reporting, May 16, 2005.

The sequential steps employed in the TD/RB approach are detailed at §1605, at Top-Down/Risk-Based Approach. In summary,
these steps, as described in AS 2201 are
1 Identify, understand, and evaluate the effectiveness of entity-level controls.

2 Identify significant accounts, beginning at the financial-statement or disclosure level, and their relevant assertions.

3 Understand the likely sources of misstatements.

4 Assess risk of misstatement.

5 Identify controls to test that prevent or detect errors or fraud on a timely basis.

6 Test controls.

7 Evaluate the effectiveness of controls.

8 Form an opinion on the effectiveness of ICFR.


Evaluating Entity-Level Controls

In connection with the TD/RB approach management evaluates entity-level controls when it assesses ICFR risks and when
it identifies and tests controls that address those risks. It considers how these entity-level controls relate to and impact each
financial reporting element (i.e., each significant account, disclosure and relevant assertion).

What are entity-level controls? There are three general categories of entity-level controls: indirect controls, monitoring controls
(discussed at §1617), and specific controls (these are not descriptive titles used in the SEC Guidance, but are convenient titles
created for purposes of this discussion). The following are descriptions of the three categories of entity-level controls, and their
general effects on ICFR:

Indirect controls. These are controls that have an important but indirect effect on the likelihood that a misstatement will be
prevented or detected on a timely basis. An example of this type of control is the control environment. The SEC Guidance does
not discuss the particular effects of these controls, but says that “these controls might affect the other controls management
determines are necessary to adequately address financial reporting risks for a financial reporting element.” Guidance § II.A.1.c.
For a more complete discussion of indirect entity-level controls, see §1617.

Monitoring controls. These are entity-level controls that are designed to identify possible breakdowns in lower-level controls.
Like indirect controls monitoring controls are not designed to adequately address financial reporting risks. Such controls may be
designed to detect a misstatement and trigger an investigation to determine if a breakdown in lower-level controls has occurred.
Guidance § II.A.1.c. For a more complete discussion of monitoring entity-level controls see §1608, at Evaluating Entity-Level
Controls, and Impact of Entity Level Controls.

Specific controls. These entity-level controls are designed to operate at a level of precision and immediacy so as to adequately
prevent or detect on a timely basis material misstatements of a financial statement element. In cases involving this type of control
management may not require other controls to address the same risk, in which case management may not need to identify or
evaluate other controls relating to this same risk. Guidance § II.A.1.c.

The SEC Guidance says that management should evaluate whether it has entity-level controls that its chosen control framework
says are necessary for effective ICFR. The following are specific examples of such controls:


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· Controls related to the control environment

· Controls over period-end financial reporting

· Controls over management override

· Entity-level risk assessment

· Monitoring activities

· Policies that address significant business control and risk management practices Guidance § II.A.1.b.


For a further discussion of specific types of entity-level controls, including the evaluation of entity-level risk, the testing of
entity-level controls, and the impact of entity-level controls, see §1605, at Evaluating Entity-Level Controls, Identifying Entity-
Level Risks, Testing Entity-Level Controls, and Impact of Entity Level Controls.

General Controls over Information Technology

A special category of entity-level control is general controls over information technology. Such controls include controls over
program development, program changes, computer operations, and access to programs and data. While IT general controls
alone do not ordinarily address specific financial reporting risks, the effectiveness of process-level IT controls often depends
upon effective IT general controls. Management should evaluate those general IT controls that are necessary for the effective
operation of other IT controls that are designed to adequately address specific financial reporting risks. It is not necessary to
evaluate general IT controls that are not relevant to addressing financial reporting risks. Guidance § II.A.1.d.

Identifying Financial Reporting Elements

Management's responsibility is to provide investors with financial statements that are fairly stated in accordance with GAAP.
When one or more financial statement amounts or disclosures contains misstatements or omissions that are material, then there
is a lack of fair reporting. In evaluating ICFR, management should identify significant financial reporting elements. Financial
reporting elements include, among other things, significant accounts and disclosures, and relevant assertions underlying
these accounts and disclosures (i.e., presentation and disclosure, existence or occurrence, valuation or allocation, rights and
obligations, and completeness). Identifying financial statement elements will enable management to take the next step in the
TD/RB process, which is to identify those risks of misstatement that could, individually or in combination, result in material
misstatements of these financial reporting elements. Guidance § II.A.1.a. (Material misstatements are discussed at §1608.)

Management is primarily concerned with identifying financial reporting elements in which material misstatements can exist,
and the potential sources of misstatements (“financial reporting risks”). Management should focus on financial reporting
elements that are material. For a further discussion of this issue, see §1605, at Identifying Significant Accounts, Disclosures,
and Assertions.

A question that is not clearly addressed by current guidelines is whether the supplementary information, included in the financial
statements, should be encompassed in the scope of management's report on its assessment of internal control over financial
reporting. For a discussion of this issue, see SEC Frequently Asked Questions on Management's Report on Internal Control
Over Financial Reporting and Certification of Disclosure in Exchange Act Periodic Reports. Revised Sept. 24, 2007.

Foreign private issuers that prepare their primary financial statements using home country accounting rules (e.g., IFRS) should
plan and scope their ICFR evaluations based on those primary statements. In addition, if they prepare and file with the SEC
a reconciliation to U.S. GAAP then the evaluation should cover procedures for preparing the reconciliation. SEC Frequently
Asked Questions on Management's Report on Internal Control Over Financial Reporting and Certification of Disclosure in
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Understanding Likely Sources of Misstatement



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In order to evaluate the effectiveness of ICFR management should identify those risks of misstatement that could, individually or
in combination, result in a material misstatement of the financial reporting elements (“financial reporting risks”). Once financial
reporting risks are identified management can then identify and test controls that adequately address those risks. Guidance §
II.A.1.a.

According to the SEC Guidance, management can use its “knowledge and understanding of the business, and its organization,
operations, and processes, to consider the sources and potential likelihood of misstatements in financial reporting elements.”
Guidance § II.A.1.a. In addition, the SEC Guidance suggests certain factors to consider. These are:
· Internal and external risk factors that impact the business, including the nature and extent of any changes in those risks, may
give rise to a risk of misstatement.

· Risks of misstatement may also arise from sources such as the initiation, authorization, processing and recording of transactions
and other adjustments that are reflected in financial reporting elements.

· Management may find it useful to consider “what could go wrong” within a financial reporting element in order to identify
the sources and the potential likelihood of misstatements and identify those that could result in a material misstatement of the
financial statements. Guidance § II.A.1.a.


Importantly, the SEC Guidance says that the manner of identifying financial reporting risks will vary based on the characteristics
of the particular company. The characteristics identified by the SEC are the size, complexity, and organizational structure of the
company and its processes and financial reporting environment, as well as the control framework used by management. The
SEC says that other characteristics can also affect the way risks are identified. Here are some ways large and small businesses
might identify financial reporting risk:

Larger, more complex businesses. In this type of business management may require a variety of company personnel, including
those with specialized knowledge, to identify financial reporting risks. Management may require the assistance of individuals
with specialized knowledge of GAAP, and knowledge of company business processes and computer technology required to
initiate, authorize, record and process transactions. Guidance § II.A.1.a.

XYZ, Inc. is a large company, with complex business processes. Management's evaluation will require the use of employees with
specialized knowledge, who understand the company's GAAP reporting requirements, business transactions, business process
activities, and information technology systems; and who know the points within the process where material misstatements,
including misstatements due to fraud, may occur.

Smaller, less complex businesses. In a small company, with centralized, less complex business processes, and little change in
the risks or processes, management gains the knowledge necessary to identify financial reporting risks through its day-to-day
involvement with the system. Guidance § II.A.1.a.

ABC, Inc. is a small company with business processes of relatively low complexity that operate on a centralized basis. There
is little year-to-year change in the business processes, or the associated control risks. In this case management's day-to-day
involvement with business processes may be enough to identify financial reporting risks.

The process of identifying potential sources of misstatement is a key part of risk assessment. Risk assessment is, in turn,
a linchpin of good ICFR. When risks are assessed in a larger company using a variety of personnel, including those with
specialized knowledge, a fair amount of documentation of the risk-assessment process will be created. In a smaller company, on
the other hand, risk-assessment may be quite informal and may not be documented well. Where there is a lack of documentation
of the risk assessment process management may have difficulty demonstrating to independent auditors the extent of the process.
For a discussion of the problems with the independent audit that can result from lack of documentation, see §1605, at Scope
Limitations, and Scaling Audits for Smaller or Less Complex Companies.

The SEC Guidance essentially asks management to start with the overriding objective of ICFR, the preparation of materially
accurate financial statements, and then bring in knowledgeable people who can identify risks to achieving the objectives
associated with specific financial reporting elements, focusing on those risks that could bring about material misstatements.


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It suggests bringing in people who are in the best position to identify risks. The SEC Guidance clearly disdains a “checklist”
approach to this process. It emphasizes the need for individuals in a position to use judgment.

This focus on specific financial reporting risks is perhaps the most important guidance from the SEC. When companies began
their initial attempts to comply with the requirements of Section 404(a) there was much discussion about the kinds of generic
controls that should exist in certain industries; there were attempts to create all-purpose checklists to assist in control evaluation;
and there was much effort to create and sell new software, or retrofit existing software, to automate the control documentation
process. There is evidence that some of this effort, and perhaps a significant portion of this effort, was wasted on minor control
systems, with relatively little importance for preventing material financial misstatements. In some cases companies may have
expended so much effort on minor control systems, that they overlooked real financial reporting risks.

For example, a recent study identified a substantial number of reported weaknesses in corporate tax departments, stemming
primarily from lack of trained personnel and lack of adequate supervision. In the rush to comply with Section 404(a), many
companies apparently did not see the tax department as an area of financial reporting risk. This may have been due to an
approach to ICFR that did not focus on identifying risks that could result in material misstatement of financial statements.

The SEC Guidance takes a completely different approach by asking company management to zero in on risks and controls that
are specific to individual company reporting objectives.

Performing Walkthroughs

Walkthroughs are used by independent auditors to understand significant processes in connection with an independent audit of
ICFR. In a walkthrough, the auditor follows a transaction from origination until it is reflected in the company's financial records.
The auditor follows the transaction through company processes, including information systems, using the same documents and
information technology that company personnel use to process transactions. Walkthroughs are ordinarily required procedures
for independent auditors.

The SEC Guidance does not make reference to walkthroughs as a tool for evaluating ICFR. For more information about the
manner in which independent auditors use walkthroughs see §1605, at Performing Walkthroughs.

Although not discussed in the SEC Guidance walkthroughs can be useful to management for two reasons. First, it can be useful
to organize ICFR system documentation around a walkthrough. This allows management to easily see the chain of information
from origination to the financial statements, and observe how various financial reporting risks within that chain might impact the
financial statements. Second, auditors ordinarily perform walkthroughs as part of their ICFR audit procedures. If management
prepares walkthrough documentation for all significant processes, the auditors may be able to use this information to reduce
the amount of their own work. This can make for a more efficient and less costly audit.

Assessing the Risk of Material Misstatement

In general, management focuses most of its efforts in evaluating the effectiveness of ICFR in areas where there is the highest
ICFR risk. It is in these areas that material misstatements are most likely to arise, and these are the areas where management's
evidence of the sufficiency of controls must be the strongest.
Note: In AS 2201, ICFR risk is referred to as risk of material misstatement, or RMM. As discussed at §1605, at Assessing the
Risk of Material Misstatement, RMM is a function of inherent risk and control risk. The accounting literature refers to inherent
risk as the risk of a material misstatement resulting from a particular activity, assuming that there are no controls over that
activity; and it refers to control risk as the risk that a given control will fail to prevent or detect a material misstatement on
a timely basis.

The SEC Guidance discusses the same concepts using somewhat different terms. The SEC uses the terms misstatement risk and
risk of control failure. Misstatement risk is the susceptibility of a particular account balance or transaction to a misstatement
that could be material to the financial statements. The SEC appears to be referring here to inherent risk. The SEC's use of the
phrase risk of control failure appears consistent with control risk. The combination of misstatement risk and risk of control
failure gives us ICFR risk, which appears to be the equivalent of RMM. See Guidance, § II.A.2.a.




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The SEC Guidance says that as misstatement risk and the risk of control failure increase then so does ICFR risk and the need
for more evidence of control effectiveness. What this means is that as ICFR risk increases management must focus more of its
ICFR evaluation and testing in those areas of increased risk, and must obtain more evidence of the effectiveness of controls.
Conversely, as ICFR risk decreases the need for evidence of control effectiveness lessens, as does the amount of attention that
must be paid to a particular area. Guidance § II.A.2.a.


 Misstatement risk (inherent risk)                      Low                                    High

 Risk of control failure (control risk)                 Low                                    High

 ICFR risk (risk of material misstatement)              Low                                    High

 Focus of ICFR                                          Less attention                         More attention

 Evidence of control effectiveness                      Less evidence                          More evidence


If the misstatement risk in a particular process is low and the risk of control failure is low, then the amount of attention devoted
to that area in the evaluation of ICFR would likewise be low. If, on the other hand, misstatement risk and the risk of control
failure are both high, then considerable attention would be devoted to the area and management would want relatively more
evidence of control effectiveness in that area.

The misstatement risk associated with an account or transaction is a function of the materiality of the associated financial
reporting element and the susceptibility of the account or transaction to misstatement. Materiality is discussed at §1608, at
Materiality. The susceptibility of a financial reporting element to misstatement depends on a number of factors. For example,
misstatement risk is increased when a financial reporting element:
· Involves judgment in determining the recorded amounts;

· Is susceptible to fraud;

· Has complex accounting requirements;

· Experiences change in the nature or volume of the underlying transactions;

· Is sensitive to changes in environmental factors, such as technological and/or economic developments;

· Involves related party transactions, critical accounting policies, or related critical accounting estimates; or

· Involves significant judgment, or complexity. Guidance § II.A.2.a.


For additional factors, see §1605, at Assessing the Risk of Material Misstatement.

The risk of control failure is also dependent on a number of factors. These factors include
· The type of control (that is, manual or automated) and the frequency with which it operates;

· The complexity of the control;

· The risk of management override;

· The judgment required to operate the control;

· The competence of the personnel who perform the control or monitor its performance;



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· Whether there have been changes in key personnel who either perform the control or monitor its performance;

· The nature and materiality of misstatements that the control is intended to prevent or detect;

· The degree to which the control relies on the effectiveness of other controls (for example, IT general controls); and

· The evidence of the operation of the control from prior year(s). Guidance § II.A.2.a.


Before it grants a line of credit to a customer, Entity X employs a control that creates a credit score for the customer. This
control must be operated by a trained individual, and operation requires a high degree of judgment. The risk of control failure
is therefore relatively high.

Before Entity X records an invoice for purchase of goods from a supplier the accounting department must first match the invoice
with proof of receipt. This control is operated manually, and so is subject to some risk of control failure. However, this is a
mechanical control calling for no judgment, and the risk of control failure is relatively low. Impact of entity-level controls. In
evaluating both the misstatement risk and the risk of control failure management should take into account entity-level controls.
In generally, as discussed at §1605, Impact of Entity Level Controls, strong entity-level controls, including, e.g., a strong control
environment, may decrease both misstatement risk and risk of control failure. Thus, all other things being equal, management's
judgment about the likelihood that a control will fail to operate effectively may be influenced by a highly effective control
environment, and thereby impact the amount of attention devoted to that control in the evaluation of ICFR, and may impact the
amount of evidence evaluated for that control. Note, however, that even a strong control environment would not eliminate the
need to evaluate the operation of the control. Guidance § II.A.2.a.

Assessment of Fraud Risk

The evaluation of ICFR risk should include an evaluation of the risk of fraud, including, e.g., fraudulent financial reporting,
misappropriation of assets, and corruption. Although all fraud, if discovered, is a concern for management, the primary focus
is on fraud that could lead to a material misstatement of the financial statements. As with all ICFR risks, the effort devoted to
the evaluation of fraud risks should be determined using the top-down/risk-based approach and should be commensurate with
the company's size and complexity. Guidance § II.A.1.a.

One type of fraud specifically discussed in the SEC Guidance is improper override of internal controls in the financial reporting
process. This type of fraud is also singled out for attention in AS 2201. For a more complete discussion of this fraud risk see
§1605, at Assessment of the Risk of Fraud.

A significant risk of fraud can exist even if there is no evidence that fraud has occurred, and this risk may constitute a material
weakness in control if not addressed. Like all other control deficiencies, deficiencies associated with fraud can exist if there is
the possibility that a material misstatement resulting from fraud would not be prevented or detected on a timely basis. Guidance
§ II.A.1.a.

Selecting Controls to Test After management has assessed and identified financial reporting risks it should evaluate whether
it has effective controls in place to adequately address those risks. A control adequately addresses a particular risk if,
when operating properly, the control prevents or detects material misstatements to financial reporting elements on a timely
basis. Management needs to identify for testing those controls that are needed to provide reasonable assurance that material
misstatements are prevented or detected on a timely basis, and for which evidence about their operation can be obtained most
efficiently. Guidance § II.A.1.b.

As discussed above, at Assessing the Risk of Material Misstatement, management should focus its attention on the areas of
ICFR risk (risk of material misstatement). Good ICFR will rely most heavily on controls in those areas, and management will
ordinarily focus its evaluation of the effectiveness of controls in areas posing the highest ICFR risk. Guidance § II.A.2.

The SEC Guidance offers the following guidance to assist management in selecting controls to test:
· Management can identify for testing controls that are preventive, detective, or a combination of both. The SEC expresses no
preference as to the type of control that may be the most effective.


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· Management may have to identify for testing more than one control to address a particular risk. Alternatively, a single control
may adequate to address a risk.

· It is not necessary to identify for testing all controls that address a particular risk.


The management of XYZ, Inc. determines that a misstatement of interest expense could result in a material misstatement of
its financial statements, and is a financial reporting risk that must be controlled. Management identifies an entity-level control
within the company's period-end financial reporting process and makes a judgment that the control is designed in a manner
that adequately addresses the risk that a material misstatement in interest expense could occur and not be detected in a timely
manner. Because this control adequately addresses this risk, management may not need to identify other controls related to
interest expense.
· It is not necessary to identify for testing redundant controls, unless redundancy itself is required to address a particular financial
reporting risk.

· As part of its criteria for selecting controls, management may consider the efficiency with which evidence of the operation of
a control can be evaluated. If more than one control adequately addresses a particular risk, management may select the control
for which evidence of operating effectiveness can be obtained most efficiently.


The management of XYZ, Inc. has identified two controls, one automated and one manual control, which are both designed to
adequately address a certain financial reporting risk. These two controls can be considered redundant controls. Management has
determined that it is more efficient to evaluate the operation of the automated control, and does so. Evaluation of the operation
of the manual control can be omitted without diminishing the quality of the ICFR testing.
· If information technology general controls are effective management may determine that automated controls are more efficient
to evaluate than manual controls. Guidance § II.A.1.b.


The SEC is clearly attempting, with its Guidance, to drive home the point that an efficient and effective evaluation of ICFR
requires much thought before controls are tested. Implicit in the process outlined by the SEC is the participation of people
with the knowledge and experience to identify financial reporting risks and to make judgments on the adequacy of controls.
This approach is antithetical to the “checklist” approach, which often employs inexperienced people armed with long lists of
controls. What comes to mind in describing the SEC approach is the old aphorism, “brains not brawn.”

For additional guidance regarding the selection of controls, see §1605, at Selecting Controls to Test.

Impact of entity-level controls. Note that management's assessment of ICFR risk, and its selection of controls to test, will take
into consideration the impact of entity-level controls. For a discussion of the impact of entity-level controls, including the effect
of either strong or weak controls on the tests of process-level controls, see §1605, at Impact of Entity-Level Controls.

Testing the Effectiveness of Controls

Management should obtain evidence that provides it with a basis for assessing the operating effectiveness of the controls selected
for testing. Management uses its ICFR risk assessment to determine the controls to test, the extent of testing, and the types of tests
to use. For a discussion of ICFR risk see Assessing the Risk of Material Misstatement, above. Controls with the highest ICFR
risk will be the focus of testing. The higher the ICFR risk the more evidence of control effectiveness is required. In addition,
tests employed for these high-risk areas will be the types of tests that garner the most evidence of operational effectiveness.
Guidance § II.A.2.b.

The selection of controls to test is discussed above at Selecting Controls to Test, and the sufficiency of evidence is discussed
below at Evidence of Control Effectiveness. In this section we will discuss various testing methods.




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Management's evaluation of ICFR has two purposes. One purpose is to provide management with a basis for an expression of an
opinion on the effectiveness of ICFR in its annual report. Much of the work associated with this evaluation will take place close
to the end of the fiscal year (i.e., the “as of” date of the assessment), and will be performed solely for the purpose of the annual
assessment. A second purpose is to provide ongoing monitoring of ICFR, which is part of a good control environment. In many
ways the second purpose serves the first because many of the ongoing activities associated with monitoring ICFR can be used to
provide evidence of control effectiveness for the annual assessment. (For a discussion of internal control monitoring, see §1617.)

What management is looking for in its tests of controls is evidence about whether the controls are effective. This testing takes
into account both design effectiveness and operating effectiveness. The design of a control is effective if the control, when
operated properly, adequately accomplishes its control objectives. A control is operated effectively if it is operated as designed.
In testing the operation of controls, tests consider such things as how the control is applied, the consistency with which it is
applied, and whether the person performing the control possesses the necessary authority and competence to perform the control
effectively. Guidance § II.A.2.b. For a further discussion of tests of controls see §1605, at Testing the Effectiveness of Controls.

The SEC Guidance says that management can obtain evidence for evaluating controls from direct tests of controls, on-going
monitoring activities, or a combination of both. The SEC Guidance also provides that evaluation methods and procedures that
can provide evidence for the annual ICFR assessment can be integrated with the daily responsibilities of company employees.
That is, activities that are performed for other reasons, such as the day-to-day management of the business, can provide relevant
evidence of control effectiveness.

Direct tests of controls are tests ordinarily performed on a periodic basis by individuals with a high degree of objectivity relative
to the controls being tested. For example, direct tests may be performed by internal auditors. These tests provide evidence as
of a single point in time (i.e., the end of the fiscal year). For purposes of management's annual assessment of ICFR, many such
tests will be performed in the time period close to the end of the fiscal year. Guidance § II.A.2.b. To increase the amount of
evidence obtained from direct testing management can increase the period covered by direct testing.

Monitoring includes management's normal, recurring activities that provide information about the operation of controls. As
discussed above, monitoring activity is important for a good control environment. In addition, however, monitoring provides
evidence to support the assessment of the operating effectiveness of the controls being monitored.

Monitoring activities include, among other things, self-assessment. Self-assessment includes assessments made by the personnel
who operate controls, and it includes ongoing assessment made by management. The quality and reliability of evidence provided
by self-assessment depends on the training and objectivity of personnel making the assessments. For example, when the person
making the assessment also operates the control then the evidence is less reliable than if management or internal auditors make
the assessment. As a rule, the lower the degree of objectivity of the person who is providing evidence of control effectiveness,
the less reliable is that evidence. Guidance § II.A.2.b.

Because the quality of evidence increases as the objectivity of the person evaluating the control increases, management will
ordinarily use personnel who are more objective to gather evidence as the ICFR risk associated with a control increases. For
example, if a control activity is judged to have a low ICFR risk, then self-assessment by the operator of the control may be
sufficient evidence of its effectiveness. If, however, the control has a high risk, such as a control that requires judgment and
involves material amounts, then ongoing monitoring of the control by internal auditors may be required. Guidance § II.A.2.b.

If on-going monitoring activities are performed by personnel who are not adequately objective, then the evidence obtained from
monitoring can be supplemented with direct testing by those who are objective, such as internal auditors. Such supplementary
testing would be appropriate for controls with relatively high ICFR risk. Direct testing of controls corroborates evidence from
on-going monitoring activities. Guidance § II.A.2.b.

Smaller public companies. Management's daily interaction with controls in smaller or less complex public companies may
provide it with sufficient evidence to evaluate the effectiveness of the operation of these controls. Management may obtain
information through on-going direct supervision of those responsible for executing controls. Whether management's daily
interaction with controls provides sufficient evidence to evaluate their effectiveness depends on facts and circumstances. Daily
interaction may be sufficient when the operation of controls is centralized and the number of personnel involved is limited.
Compare this to more complex companies, such as those with multiple management reporting layers or operating segments,
where management's direct knowledge of the operation of controls would ordinarily not be sufficient evidence for purposes of



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assessing their effectiveness. Guidance §II.A.2.b. For a further discussion of the problems associated with testing controls in
smaller companies, see §1605, at Scaling Audits for Smaller or Less Complex Companies. In addition, for a further discussion
of the sufficiency of evidence, see Evidence of Control Effectiveness, below.

The challenge for management in smaller or less complex companies, where management is able to evaluate the effectiveness
of controls based on its personal observation of controls, is documentation. Under the SEC Guidance management can use its
own observation of controls to support its assessment, but what will it take to satisfy the independent auditors that controls
are working effectively? If there is little documentary evidence of the operation of controls, other than what is in the head of
the manager who observes the controls, then the documentary evidence may be insufficient to allow independent auditors to
express an opinion on internal control. In the extreme case, the auditors may be faced with a scope limitation, and may have to
disclaim an opinion. For a further discussion see §1605, at Scope Limitations, and Scaling Audits for Smaller or Less Complex
Companies.

Timing of tests of controls. The SEC Guidance does not provide detailed information on the timing of tests of controls. For
a discussion of this issue see §1605, at Timing of Tests of Controls.

Roll-forward procedures. The SEC Guidance does not provide detailed information on roll-forward procedures. For a
discussion of this issue see §1605, at Roll-Forward Procedures.

Evidence of Control Effectiveness

Management must have reasonable evidentiary support for its annual assessment of the effectiveness of ICFR. In addition, such
support should include documentation of the methods and procedures used to gather and evaluate evidence. The focus should
be on evidence to support the effectiveness of those controls that management has identified as being adequate to address the
financial reporting risks. For a discussion of the identification of such controls see Selecting Controls to Test, above.

In its original release regarding compliance with Section 404(a), the SEC said
An assessment of the effectiveness of internal control over financial reporting must be supported by evidential matter, including
documentation, regarding both the design of internal controls and the testing processes. This evidential matter should provide
reasonable support: for the evaluation of whether the control is designed to prevent or detect material misstatements or
omissions; for the conclusion that the tests were appropriately planned and performed; and that the results of the tests were
appropriately considered. The public accounting firm that is required to attest to, and report on, management's assessment of the
effectiveness of the company's internal control over financial reporting also will require that the company develop and maintain
such evidential matter to support management's assessment. SEC Release No. 33-8238, II.B.3.d.


The SEC Guidance obviously modifies this statement by the SEC. However, the gist of the original advice remains. No matter
how management documents its assessment of internal control, that documentation must be sufficient to support that assessment.

Evidence includes documentation of the design of controls. The documentation does not need to include all controls that exist
within a process that impacts financial reporting. Instead, documentation focuses on controls that management has identified
as being adequate to address the financial reporting risks. Documentation can be maintained in various types of media (e.g.,
paper, electronic, and other media), and it can take many forms, such as policy manuals, process models, flowcharts, job
descriptions, documents, internal memorandums, and forms. In addition to supporting the evaluation of specific controls, control
documentation also serves as evidence of the effectiveness of the control environment. Such evidence shows that controls
have been identified by management (risk assessment), are being communicated to control operators, and are capable of being
monitored by management. Guidance §II.A.1.e.

Evidence also includes the results of testing the operation of specific controls. As noted above, at Testing the Effectiveness of
Controls, evidence may be obtained from direct testing of controls, on-going monitoring activities, or both.

The extent of evidence required as to the operation of controls depends on the ICFR risk associated with the control. The
higher the risk, the more evidence is required. In determining if the evidence is sufficient, management should consider both
the quantity of evidence (e.g., sample size), and the quality of the evidence. The qualitative characteristics of evidence includes:
· The nature of the evaluation procedures performed,


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· The period of time to which the evidence relates,

· The objectivity of those evaluating the controls, and

· In the case of on-going monitoring activities, the extent of validation through direct testing. Guidance § II.A.2.


Other factors that influence the nature and extent of evidential matter include
· The degree of complexity of the control (the more complex the control, the more evidence is needed of its proper operation);

· The level of judgment required to operate the control (controls requiring more judgment require more evidence of effectiveness
than simple mechanical controls); and

· The risk of material misstatement that could result from control failure (the higher the risk of misstatement the more evidence
of effectiveness is required). Guidance § II.A.2.c.


A good example of an area where controls are highly susceptible to failure, and where there should be extensive evidence of
control effectiveness, is the corporate tax function. The reasons for a high risk of failure are as follows: controls are likely to be
manual (e.g., supervisory review of tax calculations), the operations being controlled are highly complex, there is a significant
risk of management override, and material misstatements are difficult to detect. In addition, proof that this is an area of high
ICFR risk is the fact that a significant number of public company reports have identified material weaknesses involving the
corporate tax function.

In addition to evidence associated with specific tests of controls, management may document its overall strategy for evaluating
ICFR. Management may discuss in memorandum form such issues as the overall approach, the evaluation procedures, and the
basis for assessment of ICFR effectiveness. The documentation may discuss the effectiveness of controls in relation to specific
financial reporting elements, and it may discuss the entity-level controls and their impact on the effectiveness of other controls
and on management's assessment of ICFR. Guidance § II.A.2.c.

In documenting its assessment of ICFR management has the option of preparing documentation that is specific to the evaluation
or relying on evidential matter within the company's books and records. This latter option is available if the evidential matter
contained in the books and records is sufficient to provide reasonable support for its assessment. Documentation contained
within the company's books and records might include, for example, memoranda, e-mails, and instructions or directions to
and from management to company employees. However, where factors exist that require a relatively high amount of control
documentation (e.g., a control is complex, requires significant judgment, or involves material amounts), management may find
it necessary to maintain separate documentation. One example of a need to maintain separate documentation is where the audit
committee needs such documentation to exercise effective oversight over financial reporting. Guidance § II.A.2.c.

The key to good documentation is a clear focus on what is important to the evaluation, and what is not. One might refer to
this as the “less is more” rule. Too much documentation, such as descriptions of every minor control system, can obscure what
is important, which may cause an evaluator to miss gaping holes in ICFR. As noted earlier, many companies missed material
weaknesses in corporate tax functions; weaknesses that might have been caught if evaluation, testing, and documentation
focused on material financial reporting risks and controls.

Smaller public companies. In smaller companies, where management's daily involvement with controls forms the basis of its
evaluation, there may be limited documentation created specifically for the evaluation of ICFR. While management is permitted
to form an opinion on ICFR based on its own observation of control, it should consider whether to create documentation of
how its own observation of controls provided it with sufficient evidence for its assessment. Guidance § II.A.2.c. For practical
purposes, if there is little documentary evidence of management's interaction with controls, then the evidence may be insufficient
to allow independent auditors to express an opinion on internal control. For a further discussion see §1605, at Scope Limitations,
and Scaling Audits for Smaller or Less Complex Companies.




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Evaluating Identified Deficiencies

The primary objective in management's assessment of internal control is to determine if there are any material weaknesses in
ICFR. To accomplish this objective management evaluates the severity of each control deficiency that comes to its attention
during its evaluation and testing of ICFR. For a discussion of what constitutes a material weakness, see §1608 and the following.

Management cannot characterize ICFR as effective if there are one or more material weaknesses in ICFR. To determine if
ICFR is free of material weakness management assesses the severity of each deficiency to determine if it is, individually or
in combination, a material weakness as of the end of the fiscal year. In evaluating individual deficiencies it is important to
remember that multiple control deficiencies, even relatively minor deficiencies, which affect the same account or disclosure,
increase the likelihood of a material misstatement. Thus, individual deficiencies that are not by themselves material weaknesses
can become so if there is a reasonable possibility that these deficiencies, individually or in combination, would allow a material
misstatement that would not be prevented or detected in a timely manner. Guidance § II.B.1.

It is important to emphasize that the determination of whether a material weakness exists does not depend on whether a material
misstatement has actually occurred. Instead, the focus is on whether there is a reasonable possibility that the company's ICFR
will fail to prevent or detect a material misstatement on a timely basis. Guidance § II.B.1. Thus, a material weakness can exist
even though the deficiency in question has never caused a material misstatement in the financial statements.

The severity of a control deficiency depends upon both quantitative and qualitative factors. The SEC Guidance lists risk factors,
which influence either the probability that the deficiency will allow a misstatement to occur, or the materiality of that potential
misstatement.

Factors affecting the probability that a misstatement will result from a control deficiency include
· The nature of the financial reporting elements involved (for example, suspense accounts and related party transactions involve
greater risk);

· The susceptibility of the related asset or liability to loss or fraud (greater susceptibility increases risk);

· The subjectivity, complexity, or extent of judgment required to determine the amount involved (greater subjectivity,
complexity, or judgment, like that related to an accounting estimate, increases risk);

· The interaction or relationship of the control with other controls, including whether they are interdependent or redundant;

· The interaction of the deficiencies (when evaluating a combination of two or more deficiencies, whether the deficiencies could
affect the same financial statement amounts or disclosures); and

· The possible future consequences of the deficiency. Guidance § II.B.1.


Factors affecting the materiality of a misstatement resulting from a deficiency include
· The financial statement amounts or total of transactions exposed to the deficiency; and

· The volume of activity in the account balance or class of transactions exposed to the deficiency that has occurred in the current
period or that is expected in future periods. Guidance § II.B.1.


In addition, when considering the materiality of a control deficiency, or combination of deficiencies, management also should
determine “the level of detail and degree of assurance that would satisfy prudent officials in the conduct of their own affairs that
they have reasonable assurance that transactions are recorded as necessary to permit the preparation of financial statements in
conformity with GAAP. If management determines that the deficiency, or combination of deficiencies, might prevent prudent
officials in the conduct of their own affairs from concluding that they have reasonable assurance that transactions are recorded
as necessary to permit the preparation of financial statements in conformity with GAAP, then management should treat the
deficiency, or combination of deficiencies, as an indicator of a material weakness.” Guidance § II.B.1.



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It is worth noting that in estimating whether a potential misstatement is material the maximum amount that an account balance
or total of transactions can be overstated is the recorded amount, while understatements can be larger. In addition, the probability
that a small misstatement will result from a deficiency is much greater than the probability of a large misstatement. Guidance
§ II.B.1.

If an identified control deficiency has resulted in a number of minor errors that have not been detected, management should
not immediately jump to the conclusion that a large error resulting from the deficiency would not be detected and corrected.
Management should consider whether other controls exist that would detect a large misstatement, but would not operate to
detect small ones.

Individual deficiencies are not considered in a vacuum. If management notes a deficiency it should determine whether there
are compensating controls that can lessen the potential effect of that deficiency. A control that operates at a level of precision
that allows it to prevent or detect a misstatement caused by the control deficiency would be a compensating control. Guidance
§ II.B.1.

The SEC indicates that management's evaluation of a control deficiency does not depend on whether a deficiency has previously
resulted in a material misstatement. Obviously, considerable judgment must be exercised in concluding that there is a reasonable
possibility that a control failure will occur and cause a material misstatement if such a failure has never occurred in the past.
Some evaluators may be reluctant to go out on a limb and conclude that there is a material weakness in the absence of a previous
material misstatement. However, controls that have never before failed do fail, and misstatements do occur.

For example, assume XYZ, Inc. lacks entity-level controls to prevent or detect unauthorized journal entries by the corporate
controller. The fact that the controller has never made unauthorized entries should not affect the evaluation of this control
deficiency. The fact that the controller could, at any time, make entries that would materially misstate financial statements, and
that the misstatement would not be detected on a timely basis, is an indication of a material weakness in control.

Indicators of Material Weakness

As discussed above, and at §1608, whether a deficiency represents a material weakness depends on a number of quantitative and
qualitative factors. However, the SEC Guidance has identified certain factors that management should evaluate to determine
whether a deficiency in ICFR exists and, if so, whether it represents a material weakness (note that these are the same factors
identified for the same purpose in AS 2201, discussed at §1605):
· Identification of fraud, whether or not material, on the part of senior management;

· Restatement of previously issued financial statements to reflect the correction of a material misstatement;

· Identification of a material misstatement of the financial statements in the current period in circumstances that indicate the
misstatement would not have been detected by the company's ICFR; and

· Ineffective oversight of the company's external financial reporting and internal control over financial reporting by the
company's audit committee. Guidance § II.B.1.


It is important to note that these are only indicators of material weakness. They are not per se material weaknesses or even
strong indicators of material weakness. For a discussion of material weaknesses, see §1608.

The discovery by auditors of a material misstatement in financial statements is an objective indication of deficiency in ICFR
that has permitted a material misstatement to slip through. For example, a relatively large number of recently reported financial
reporting errors involving tax provisions have been charged to deficiencies in staff training and supervision. These deficiencies
have been identified as material weaknesses in ICFR. These conclusions may have been reached by the following analysis:
· The financial reporting error provides objective evidence of a problem in the preparation of the tax provision.

· That problem is identified as staff training and supervision.



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· Both training and supervision are types of controls.

· These controls failed one or more times, so it is reasonably possible that they will fail again.

· The result of the control failure was a material financial reporting error, which will likely recur if the control is not remediated.

· Thus, the deficiency in staff training and supervision is a material weakness.


It is worth noting that the conclusions reached in this analysis may be less certain if there was no material misstatement in
financial reporting. Without this misstatement, we do not have objective evidence of either the deficiencies in training and
supervision, or the likelihood that those deficiencies will result in a material financial reporting error. This is the central dilemma
for management. The SEC says that a material financial reporting misstatement is not a prerequisite to a finding of a material
weakness. However, without the evidence of a material financial reporting misstatement, how is management to evaluate the
probability that a control deficiency will result in a material misstatement? The answer is that the evaluation will require
substantial judgment on the part of knowledgeable people.

Forming an Opinion on the Effectiveness of ICFR

As discussed above, management must assess the effectiveness of ICFR. ICFR is not effective if there is a reasonable possibility
that a control deficiency, individually or in combination with others, would fail to prevent or detect a material misstatement
in a timely manner. That is, ICFR is not effective if it contains one or more material weaknesses. Management evaluates each
deficiency identified during the testing of ICFR. If there are no material weaknesses, then management should be able to
conclude that ICFR is free of material weakness, and is therefore effective.

In forming an opinion on ICFR effectiveness, it is important to guard against a natural bias toward underreporting. Studies
indicate that the majority of material weaknesses may not be reported until they result in restatements of financial statements.
For example, in a 2012 study, researchers found that when examining companies that had to restate their financial statements
“only a minority of these firms acknowledge their existing control weaknesses during their misstatement periods....” Rice, Sarah
C, and David P. Weber, “How Effective is Internal Control Reporting Under SOX 404? Determinants of the (Non-) Disclosure
of Existing Material Weaknesses,” Journal of Accounting Research, Vol. 50, No. 3, pp. 811–843 (June 2012).

Communication to Independent Auditors and the Audit Committee

Management must communicate certain deficiencies that come to its attention to the audit committee and its independent
auditors. Material weaknesses must be disclosed in management's annual report on its assessment of the effectiveness of ICFR,
and they must be disclosed to the audit committee and the independent auditors. Significant deficiencies are reported to the
audit committee and auditors, but need not be disclosed in the annual report. Guidance § II.B.1. For a discussion of material
weaknesses and significant deficiencies, see §1608.

Service Organizations

When business processes are outsourced to a service organization management can assess the ICFR within the service
organization in one of three ways. First, the organization can provide a Type 2 SAS 70 report (see below) that attests to the
effectiveness of the organization's ICFR. Alternatively, the organization can allow management to directly test the controls in
place at the service organization. If the first two options are not available management can put into place controls designed
to prevent or detect material misstatements of the service organization. Guidance § II.B.5. For a further discussion see §1605,
at Service Organizations.

For additional guidance on service organizations, see PCAOB Staff Questions and Answers, July 27, 2004, Q24 to Q26 ; also
see PCAOB Staff Questions and Answers, October 4, 2004, Q29.




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Type 2 SAS 70 report. A report (or “certification”) signifies that a service organization has had its control objectives and
control activities audited by an independent auditing firm. The report includes a detailed description of the service organization's
controls, and the auditor's opinion of whether the controls were appropriately designed, were operational, and operating
effectively. In a SAS 70 audit the auditor does not opine on the service organization ICFR as a whole, but instead provides
assurance only with regard to specific processes. The SAS 70 report was replaced by the SOC 1 report (discussed below), for
periods ending on or after June 15, 2011, with early adoption permitted.

The SAS 70 report takes two forms:

Type 1. Report on the design effectiveness of controls over a specific process.

Type 2. Report on both the design and operational effectiveness of controls over a specific process. To issue the Type 1 report
the service auditor analyzes the controls over a process, and opines as to whether the controls would be effective, as of a specific
point in time. The audit does not test the operations of the controls.

The Type 2 report is the same as Type 1, except the service auditor tests the controls over a period of time, and then opines
both as to the design and operational effectiveness of the controls. When a Type 2 report is issued the user and the auditor
performing procedures under AS 2201, can rely on the service auditor's opinion as to the design and operational effectiveness
of controls over the specific process.

If the service auditor tests both the design and operation of controls, then the report will include a description of the specific
processes being audited, and a description of the related controls; a description of the nature and scope of the service auditor's
testing; and the service auditor's opinion as to the effectiveness of the controls.

Note that a registrant's management may rely on the SAS 70 audit report of the auditor of a third party service provider even if
the auditor of the service provider is also the auditor of the registrant. Frequently Asked Questions on Management's Report on
Internal Control Over Financial Reporting and Certification of Disclosure in Exchange Act Periodic Reports. Revised Sept.
24, 2007.

In addition, management can rely on the SAS 70 audit report of the auditor of a third party service provider if that report is as of
a year-end that is different from the registrant. Frequently Asked Questions on Management's Report on Internal Control Over
Financial Reporting and Certification of Disclosure in Exchange Act Periodic Reports. Revised Sept. 24, 2007.

SOC 1 report. The SOC 1 report replaces the SAS 70 report, discussed above, for periods ending on or after June 15, 2011,
with early adoption permitted. In addition, the service auditor (i.e., the auditor that issues the SOC 1 report) must follow new
guidance when performing a service organization audit. This new guidance is set out in Statement of Standards of Attestation
Engagements 16 (SSAE 16).

The SOC 1 report is issued by the service auditor after an examination by that auditor of the service organization. The purpose
of that examination is to enable the auditor to express an opinion on the controls within that organization that are likely to
be relevant to the internal control over financial reporting of the users of that entity's services. Note that a service auditor
can also perform engagements that result in the issuance of SOC 2 or SOC 3 reports. These reports express opinions on the
service organization's controls that are relevant to the security, availability, processing integrity, confidentiality, or privacy of
its services, operations or data handling. These reports are generally not meant to provide a user organization with information
regarding internal control over financial reporting, so these reports will not be discussed here.

There are two types of SOC 1 reports. The Type 1 report opines on the service organization management's description of the
organization's system, and the suitability of the design of controls within that system to achieve the related control objectives,
as of a specified date. This is similar to the SAS 70 Type 1 report. The SOC 1 Type 2 report opines on the service organization
management's description of the organization's system, the suitability of the design of controls within that system to achieve the
related control objectives, and the operating effectiveness of the controls throughout a specified period. This report is similar
to the SAS 70 Type 2 report.

The management of the user company is meant to rely on the SOC 1 report (ordinarily the Type 2 report) when evaluating the
effect of the controls within the service organization on the user company's own internal control over financial reporting.


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Multiple Locations

In assessing the effectiveness of ICFR management generally considers all of its locations or business units. However,
management does not need to test controls in each of those locations. If financial reporting risks are adequately addressed by
entity-level controls that operate centrally, then the approach to evaluation is similar to that of a business with a single location.
However, if controls over significant risks cannot be tested from a central location management will have to perform tests at
significant locations. Guidance § II.A.3.

As with all ICFR testing, management focuses its attention on areas of significant ICFR risk. In cases of low-risk controls,
evidence gathered through self-assessment routines or other on-going monitoring activities, combined with entity-level
monitoring, may be sufficient to evaluate controls. As the control risk at these locations increases, more evidence of control
effectiveness will be required.

Note that when management evaluates the control risk at a location, for purposes of determining the extent of evidence required,
it does so by looking at the control risk associated with each financial reporting element. It does not make a single judgment of
risk for all controls at that location when deciding whether the nature and extent of evidence is sufficient. Guidance § II.A.3.

The most efficient evaluation of the operation of controls is likely to be at a central business location. If adequate controls at
this location exist, or can be created, then the Section 404(a) compliance burden will likely be reduced. Evaluating controls in
every nook and cranny of a far-flung business enterprise is exceedingly inefficient, and should be avoided if possible.



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                                                                            Allscripts was originally a drug wholesaler that provided
                                                                            prepackaged medicines to certain dispensing physicians. The
      KeyCite Yellow Flag - Negative Treatment                              Company later shifted its focus toward software sales and e-
Distinguished by In re Motorola Securities Litigation, N.D.Ill., February
                                                                            commerce. It developed and began marketing an “electronic
8, 2007
                                                                            prescribing solution” software package to doctors called
                      2001 WL 743411                                        the TouchScript ® Personal Prescriber TM (“TouchScript”).
United States District Court, N.D. Illinois, Eastern Division.              Available on both palm-top and wall-mount computers,
                                                                            TouchScript used the Internet to route drug prescriptions
    In re ALLSCRIPTS, INC. SECURITIES LITIGATION                            to pharmacies and purported to provide “connectivity” to
                                                                            managed care and other organizations.
                            No. 00 C 6796.
                                   |
                                                                            Defendants promoted the many purported benefits of
                            June 29, 2001.
                                                                            TouchScript. For instance, TouchScript would allow
                                                                            physicians to save time, because typing prescriptions is faster
                                                                            than writing them down. Furthermore, the software could
                   MEMORANDUM OPINION                                       limit malpractice liability because the system was designed
                                                                            to avoid errors and detect harmful drug interactions. Finally,
KOCORAS, J.
                                                                            TouchScript would enable physicians to generate greater
 *1 Before the Court is the Motion to Dismiss of Defendants                 revenues by dispensing certain medications directly from
Allscripts Healthcare Solutions, Inc., David B. Mullen, Glen                their offices.
E. Tullman, J. Peter Geerlofs, and Phillip J. Langley. For the
following reasons, we grant the Motion.                                     Not surprisingly, Allscripts also emphasized to the investing
                                                                            public the revenues flowing from TouchScript. Physicians
                                                                            paid Allscripts an initial implementation fee of up to
                                                                            $6,000 depending on the length of the patient list in
                         BACKGROUND                                         any given office. This fee covered the installation of
                                                                            TouchScript by an Allscripts technician. In addition,
This case arises from the sale of the common stock of
                                                                            Allscripts collected a monthly subscription of $250 from
Defendant Allscripts Inc. (“Allscripts” or the “Company”)
                                                                            each TouchScript user. Prior to and throughout the Class
on the open market. Plaintiffs are a class of persons and
                                                                            Period, Defendants continually highlighted these amounts.
entities who purchased the common stock of Allscripts on the
                                                                            Furthermore, Defendants emphasized that physicians actually
open market during the period of March 6, 2000 through and
                                                                            paid for TouchScript, unlike many other e-commerce
including February 27, 2001 (the “Class Period”). Plaintiffs
                                                                            products which were given away without charge.
named Allscripts as a Defendant as well as four individual
officers of the Company. Defendant Glen E. Tullman
                                                                             *2 Despite these promotions, Defendants were also realistic
(“Tullman”) served as Chairman of the Board of Allscripts
                                                                            about the potential shortcomings of the product. In their Form
since May 1999 and Chief Executive Officer since August
1997. Defendant David B. Mullen (“Mullen”) was Allscripts'                  10–K disclosure for 1999, 2 filed on March 30, 2000, the
President and Chief Financial Officer since August 1997.                    Company conceded that
Defendant J. Peter Geerlofs (“Geerlofs”) served as Allscripts'
Chief Medical Officer since April 2000. Defendant Phil                      2      The Court may take judicial notice of documents
Langley (“Langley”) was Allscripts' Senior Vice President of                       filed with the Securities and Exchange Commission
Business Development/Field Services. 1                                             without converting a motion to dismiss into a
                                                                                   motion for summary judgment. See Bryant v. Avado
1        On occasion this Opinion refers to Defendants                             Brands, Inc., 187 F.3d 1271, 1276–81 (11 th
         Tullman, Mullen, Geerlofs and Langley                                     Cir.1999). Moreover, the Complaint specifically
         collectively as the “Individual Defendants.”                              refers to the Form 10–K filing, so we may properly
                                                                                   refer to that document. See Wright v. Associated
For purposes of a motion to dismiss, we are obligated to
accept as true all well-pled allegations. Founded in 1986,                         Ins. Cos., 29 F.3d 1244, 1248 (7 th Cir.1994)



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       (stating that documents attached to a motion to
       dismiss are part of the pleadings if they are referred
       to in the plaintiff's complaint and are central to the                     If we fail to achieve broad
       claim”).                                                                   acceptance of our products and
                                                                                  services by physicians and other
  Our business model depends on our ability to sell our                           healthcare participants or to position
  TouchScript system to physicians and other healthcare                           our services as a preferred method
  providers and to generate usage by a large number of                            for pharmaceutical healthcare
  physicians. We have not achieved this goal with previously                      delivery, our prospects for growth
  or currently available versions of our software.                                will be diminished.
  (Allscripts Form 10–K, 3/30/00, at 23.) The Company
  also warned potential investors about the potential obstacle
  of convincing doctors to abandon traditional methods                (Id. at 23.) Thus, the Form 10–K disclosed that TouchScript
  of writing prescriptions in favor of new technological              was a new product, not yet adopted by a large number
  opportunities:                                                      of doctors, that could contain bugs or defects that would
                                                                      preclude market acceptance. Because the Form 10–K is a
                                                                      public filing, these disclosures and warnings were available
               We cannot assure you that                              to all investors.
               physicians will integrate our                       TouchScript turned out to be a hard sell. Physicians were
               products and services into their                    reluctant to use, let alone pay for, new technology unless it
               office work flow or that                            added to their practice. However, TouchScript did not add
               participants in the pharmaceutical                  to many practices because the system proved to be more
               healthcare market will accept                       time consuming and costly than prescribing in the traditional
               our products and services as a                      manner. The system frequently took as long as thirty minutes
               replacement for traditional methods                 to process a single prescription and sometimes it failed to
               of conducting pharmaceutical                        work at all. Additionally, the system required physicians to
               healthcare transactions.                            enter a patient's diagnostic code in order to call up a list
                                                                   of appropriate medications. Because TouchScript's list of
                                                                   diagnostic codes was limited, however, physicians frequently
  (Id.) In addition, the 10–K Form warned of the risk of errors    had to look up codes for similar ailments in the Physician's
  or defects in the technology:                                    Desk Reference, enter them, and choose from the lists of
                                                                   medications that appeared, thereby consuming additional
                                                                   time. Moreover, the system was often busy and unable to
               [E]arly releases of software often                  communicate with the insurer. Thus, even those practices
               contain errors or defects. We                       that could afford TouchScript ultimately lost money with the
               cannot assure you that, despite                     product due to fundamental flaws in the system.
               our extensive testing, errors will
               not be found in our new product                      *3 Despite these problems, in late 1999 Allscripts
               releases and services before or after               allegedly began to reduce the implementation fee for
               commercial release, which would                     TouchScript. In some cases, the Company eliminated the
               result in product redevelopment                     fee altogether. In addition, the Company began waiving the
               costs and loss of, or delay in, market              monthly subscription fee. In one instance, DeerPath Medical
               acceptance.                                         Associates did not pay installation or set-up charges for
                                                                   TouchScript. In another instance, in response to Dr. Howard
                                                                   Baker's expression of dissatisfaction with TouchScript, the
                                                                   Company waived the monthly fee. Allscripts continued to
  (Id. at 24.) Furthermore, the 10–K Form contained a frank
                                                                   represent to the public that customers paid for the product.
  conclusion about the risk of failure:




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Realizing that TouchScript was encountering difficulty                the physician for using the product, which is typically
penetrating the market, Allscripts decided to purchase                received on a monthly subscription basis. We also earn
existing sales channels and couple TouchScript with products          revenue from the physician from the sale of the pre-
already being sold to doctors through those channels.                 packaged medication.”
Consequently, Allscripts purchased three companies with
well-established sales channels in order to access physicians.      *4 • January 2001: Defendant Mullen tells Drug
Throughout this period of acquisitions, according to                 Topics magazine that “the idea that a patient, at
Plaintiffs, Allscripts was highly motivated to keep the price        least for the first fill, can pick up the prescription
of its common stock high. Moreover, the Company needed to            right in the physician's office is a huge convenience.
offset public shareholder concerns about dilution.                   Convenience is also manifest when the physician is
                                                                     able to electronically send the prescription straight from
Notwithstanding these problems, Plaintiffs claim that                his handheld computer to the pharmacy so that the
Defendants made false and misleading statements regarding            medication could actually be waiting by the time the
TouchScript during the Class Period. The allegedly false and         patient gets there.” At another point in the interview,
misleading statements are as follows:                                Mullen says that the monthly fee for TouchScript was
                                                                     $200.
  • March 6, 2000: Defendant Langley told The Pink Sheet
    that “one hundred percent of our clients have to pay” for    Plaintiffs believe that these statements made during the
    TouchScript.                                                 Class Period were false and misleading. As a result of the
                                                                 statements, Allscripts' common stock traded at artificially
  • March 30, 2000: In its Form 10–K for Year 1999,              inflated prices during the Class Period but ultimately
    Allscripts made numerous representations regarding           plummeted.
    TouchScript, such as:
                                                                 Plaintiffs assert that Defendants were highly motivated to
  • TouchScript is “easy to use, enabling a physician to         exaggerate sales of TouchScript because they had allocated
    complete a prescription in as little as 20 seconds”;         “an extravagant amount of Allscripts' cash and resources
                                                                 to market the system, and it simply was not selling.” An
  • TouchScript provides “valuable, objective information
                                                                 additional motivation was the three acquisitions Allscripts
    prior to and during the prescribing process”;
                                                                 had made. As Plaintiffs contend, “the higher the share
  • TouchScript offers physicians a “significant financial       price, the more buying power each share had.” Furthermore,
    opportunity through better management of pharmacy            Defendants were motivated to keep the stock price as high
    risk.”                                                       as possible to offset shareholder concerns about dilution.
                                                                 Last, the individual Defendants had motive to exaggerate
  • July 27, 2000: Allscripts issued a press release             Allscripts' performance because their annual bonuses and
    announcing its financial results from the second quarter     incentives depended on it.
    of fiscal year 2000. These results included revenues of
    $500,000 which were improperly recognized.                   On March 12, 2001, Defendants filed this two-count
                                                                 Complaint against Allscripts and the Individual Defendants.
  • August 2000: Allscripts filed Form 10Q which also
                                                                 Count I alleges violations of section 10(b) of the Securities
    reflected the improperly recognized $500,000.
                                                                 Exchange Act of 1934 (“the '34 Act”) and Rule 10b–5 of the
                                                                 Securities Exchange Commission. Count II alleges control
  • August 2000: Defendant Geerlofs comments to Modern
                                                                 person liability pursuant to section 20(a) of the '34 Act.
    Physician magazine that “[o]ther companies are trying
                                                                 Defendants have moved to dismiss the Complaint in its
    other ways to penetrate the market, often by giving
                                                                 entirety.
    products away, and they are frequently subsidized by
    pharmaceutical companies. We don't need to do that.”

  • December 19, 2000: Defendant Mullen states to Business                       STANDARD OF REVIEW
     Wire that Allscripts has “multiple recurring revenue
     streams. Beginning with the physician, we earn revenue      Plaintiffs based this action on sections 10(b) and 20(a) of
     from the TouchScript software fees that are charged to      the '34 Act and Rule 10b–5. Federal Rule of Civil Procedure


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12(b)(6) governs all of these claims. In addition, the claims       Until the Seventh Circuit does so, we shall concur with other
implicate Federal Rule of Civil Procedure 9(b) and the              courts in this District who have adopted the Second Circuit's
Private Securities Litigation Reform Act of 1995 (“PSLRA”).         pleading standard but declined to bind courts to the Second
See Rehm v. Eagle Fin. Corp., 954 F.Supp. 1246, 1250                Circuit's interpretation of that standard. See Retsky Family
(N.D.Ill.1997).                                                     Ltd. P'ship v. Price Waterhouse, No. 97 C 7694, 1998 WL
                                                                    774678 at * 1 (N.D.Ill. Oct. 21, 1998); Rehm, 954 F.Supp.
A motion to dismiss pursuant to Rule 12(b)(6) tests whether         at 1252; Fugman v. Aprogenex, Inc., 961 F.Supp. 1190, 1195
the plaintiff has properly stated a claim for which relief may      (N.D.Ill.1997). That standard requires plaintiffs to “allege
be granted. See Pickrel v. City of Springfield, Ill., 45 F.3d       facts that give rise to a strong inference of fraudulent intent.”
1115, 1118 (7th Cir.1995). The court must accept as true all
                                                                    Retsky, 1998 WL 774678 at * 1.
of the plaintiff's well-pled factual allegations as well as all
reasonable inferences. See Coates v. Illinois State Bd. of Ed.,
559 F.2d 445, 447 (7th Cir.1977). However, the court need
“not strain to find inferences favorable to the plaintiffs” which                            DISCUSSION
are not apparent on the face of the complaint. Id. The court
will dismiss a complaint under Rule 12(b)(6) only if “it is         Defendants contend that Plaintiffs have failed to state a claim
clear that no relief could be granted under any set of facts that   under section 10(b) of the '34 Act and Rule 10b–5. In order to
could be proved consistent with the allegations.” Ledford v.        state a claim under these provisions, Plaintiffs must allege that
Sullivan, 105 F.3d 354, 356 (7th Cir.1997) (quoting Hishon v.       Defendants made: (1) a false representation or an omission;
King & Spalding, 467 U.S. 69, 73, 104 S.Ct. 2229, 2232, 81          (2) of a material fact; (3) with scienter; (4) in connection
L.Ed.2d 59 (1984)).                                                 with the purchase or sale of securities; (5) upon which the
                                                                    claimant justifiably relied; and (6) that the false representation
 *5 Rule 9(b) states that “[i]n all averments of fraud or           or omission was the proximate cause of claimant's damages.
mistake, the circumstances constituting fraud or mistake            See In re Healthcare Compare Corp. Sec. Litig., 75 F.3d 276,
shall be stated with particularity.” Fed.R.Civ.P. 9(b). The         280 (7th Cir.1996). Defendants argue that Plaintiffs cannot
rule requires plaintiffs to allege the “identity of the person      establish the requisite elements of a false representation or
who made the misrepresentation, the time, place and content         omission and scienter.
of the misrepresentation, and the method by which the
misrepresentation was communicated to the plaintiff.” Vicom,
                                                                    I. Count One: Securities Fraud
Inc. v. Harbridge Merchant Svcs., Inc., 20 F.3d 771, 777 (7th
Cir.1994) (quoting Bankers Trust Co. v. Old World Republic             A. Alleged Omissions and False Representations
Ins. Co., 959 F.2d 677, 683 (7th Cir.1992)). In other words,         *6 Plaintiffs identify a handful of statements they believe are
pleading with particularity means stating “the who, what,           false and misleading and endeavor to explain the grounds for
when, where, and how: the first paragraph of any news story.”       these allegations. We find none of the allegations supportable,
DiLeo, 901 F.2d 624, 627 (7th Cir.1990).                            especially in light of the numerous frank disclosures that
                                                                    appear in Defendants' SEC filings. These filings announce
Reflecting the heightened pleading requirements of Rule 9(b),       the risks of this e-commercial venture that any reasonable
the PSLRA requires complaints to “specify each statement            investor would have spotted on his or her own. Significantly,
alleged to have been misleading, the reason or reasons why          Plaintiffs have not challenged the veracity and forthrightness
the statement is misleading, and, if an allegation regarding the    of those SEC filings. The primary purpose of these filings is,
statement or omission is made on information and belief, the        after all, to guide the decisions of the investing public. See,
complaint shall state with particularity all facts on which that    e.g., United States v. Arthur Young & Co., 465 U.S. 805, 810,
belief is formed.” 15 U.S.C. § 78u–4(b)(1). Furthermore, with       104 S.Ct. 1495, 79 L.Ed.2d 826 (1984).
respect to scienter, complaints must “state with particularity
facts giving rise to a strong inference that the defendant          Instead, Plaintiffs contend that the Individual Defendants
acted with the required state of mind.” 15 U.S.C. § 78u–            behaved fraudulently because they told falsehoods and made
4(b)(2). The Seventh Circuit has not yet addressed the              omissions about the products to newspapers and other
question whether the PSLRA standard displaces past case law         media. The statements upon which they rely, however,
regarding pleading standards in private securities litigation.      cannot support such a conclusion. As we shall explain in



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greater detail, many of the statements rely on subjective           giving products away, and they are frequently subsidized
determinations not susceptible to an assessment of truth            by pharmaceutical companies. We don't need to do that.”
or falsity. Rather, the statements amount to the kind of            Then on December 19, 2000, an interview with Defendant
touting that shareholders would expect of, indeed demand            David Mullen appeared in Business Wire. In the interview,
of, senior officers. In the words of the Seventh Circuit,           Mullen stated that Allscripts has “multiple recurring revenue
the comments are mere “puffery” lacking the “requisite              streams. Beginning with the physician, we earn revenue
specificity to be considered anything but optimistic rhetoric.”     from the TouchScript software fees that are charged to the
Searls v. Glasser, 64 F.3d 1061, 1066 (7 th Cir.1995). The          physician for using the product, which is typically received
statements do not convey any “useful information upon which         on a monthly subscription basis. We also earn revenue from
a reasonable investor would base a decision to invest,” id.,        the physician from the sale of the pre-packaged medication.”
particularly when they appear in a venue directed toward            Then in an interview in January 2001 in Drug Topics, Mullen
potential customers, rather than shareholders.                      stated that “the idea that a patient, at least for the first fill,
                                                                    can pick up the prescription right in the physician's office
In addition, Plaintiffs appear to argue that Defendants failed to   is a huge convenience. Convenience is also manifest when
divulge problems with TouchScript's technology and declines         the physician is able to electronically send the prescription
in customer satisfaction. However, Plaintiffs have failed to        straight from his handheld computer to the pharmacy so that
allege the existence of a duty to make such disclosures, and        the medication could actually be waiting by the time the
we find none in the case law. Such a duty would not comport         patient gets there.” At another point in the interview, Mullen
with the way the business world works. Markets are wont to          said that the monthly fee for TouchScript was $200.
ebb and flow. The securities laws do not require management
to apprise the public of each and every move the market             Plaintiffs offer several explanations for why these statements
may make. Nor should management “bury the shareholders              were false and misleading. First, Allscripts waived and/
in an avalanche of trivial information—a result that is hardly      or reduced fees for two resisting physicians. Specifically,
conducive to informed decisionmaking.” TSC Indus., Inc. v.          DeerPath Medical Associates did not pay installation or set-
Northway, Inc., 426 U.S. 438, 448–49, 96 S.Ct. 2126, 48             up charges in late 1999. Then in September 2000, Allscripts'
L.Ed.2d 757 (1976). As a practical matter, such a scheme            sales representatives offered to waive the monthly fee for
would saturate the business wires and confuse investors.            Dr. Howard Baker to induce him not to cancel the service.
                                                                    Second, Allscripts failed to disclose that TouchScript was
Having summarized why the case at bar cannot pass muster,           not credentialed with many insurance companies, meaning
we now turn to a careful analysis of each of the alleged            that patients could not be reimbursed for obtaining their
misstatements before us.                                            prescriptions through the physician. Third, pharmacies had
                                                                    difficulties in deciphering prescriptions. Fourth, TouchScript
                                                                    had a limited list of diagnostic codes. Last, according to
   1. Statements Regarding TouchScript and Its Customers            Plaintiffs, Allscripts experienced an average return rate of
On March 6, 2000, The Pink Sheet published Defendant                50%.
Langley's statement that “one hundred percent of our clients
have to pay” for TouchScript. Later that month, on March            We find these reasons unavailing. That the Company waived
30, Allscripts submitted its Form 10–K for Year 1999. In            the installation charge in one instance and the monthly fee
the Form 10–K, Allscript represented that TouchScript is            in another does not amount to “giving away TouchScript”
“easy to use, enabling a physician to complete a prescription       as Plaintiffs assert. Plaintiffs have not alleged that DeerPath
in as little as 20 seconds,” and that it provides “valuable,        Medical Association paid no money for TouchScript; instead,
objective information prior to and during the prescribing           the allegation is limited to nonpayment of the installation
process.” Furthermore, the Form states that TouchScript             fee but is notably silent as to the monthly subscription fee.
offers physicians a “significant financial opportunity through      The same is true of the allegation regarding Dr. Baker, which
better management of pharmacy risk.”                                speaks to waiver of the monthly fee but is silent to the
                                                                    installation fee. Neither allegation suggests that the Company
 *7 Later, in August 2000, Defendant Geerlofs commented             gave away TouchScript without receiving any payment.
to Modern Physician magazine that “[o]ther companies                Thus, these allegations do not render false or misleading
are trying other ways to penetrate the market, often by



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the statement that one hundred percent of customers pay for          the allegation were properly pled, the Form 10–K disclosures
TouchScript.                                                         again betray this supposition. If the alleged problems
                                                                     were attributable to technological glitches, the disclosures
Nor do we accept Plaintiffs' assertion that Allscripts failed        addressed such risks. If the problems stemmed from the
to disclose that TouchScript was not credentialed with many          reluctance of pharmacists to learn how to use TouchScript,
insurance companies. As an initial matter, Plaintiffs have           this possibility too was addressed by the disclosures. That the
failed to plead this allegation with the requisite particularity.    possibility of problems later materialized does not make a
Under the PSLRA, complaints must “specify the reason or              claim of omission actionable. Furthermore, it does not render
reasons why the statement is misleading, and, if an allegation       false some of the Individual Defendants' statements as to the
regarding the statement or omission is made on information           quality of the TouchScript. Such statements are nothing more
and belief, the complaint shall state with particularity all facts   than the “ ‘[s]oft, puffing’ statements” that representatives
on which that belief is formed.” 15 U.S.C. § 78u–4(b)(1). At         make to sell their products but upon which reasonable
the pleading stage, a plaintiff may satisfy this requirement         investors know not to rely. Raab v. General Physics Corp.,
by referring to internal memoranda or other documents, press         4 F.3d 286, 289–90 (4 th Cir.1993); Shaw v. Digital Equip.
releases, news articles and government-mandated filings. See
                                                                     Corp., 82 F.3d 1194, 1217 (1 st Cir.1996) (stating that “courts
In re Theragenics Corp. Sec. Litig., 137 F.Supp.2d 1339, 1345
                                                                     have demonstrated a willingness to find immaterial as a
(N.D.Ga.2001) (relying on Novak v. Kasaks, 216 F.3d 300 (2d
                                                                     matter of law a certain kind of rosy affirmation commonly
Cir.2000)). Because the instant allegation identifies no source
                                                                     heard from corporate managers and numbingly familiar to
for the information, it cannot meet this threshold requirement.
                                                                     the marketplace—loosely optimistic statements that are so
                                                                     vague, so lacking in specificity, or so clearly constituting the
 *8 Furthermore, even if properly pled, the Form 10–K
                                                                     opinions of the speaker, that no reasonable investor could find
disclosures belie this allegation. In the section outlining
                                                                     them important to the total mix of information available”)
risks related to the Company, the Form 10–K states that
                                                                     (superseded by statute on other grounds); Eisenstadt v. Centel
“[a]chieving market acceptance for our products and services
will require substantial marketing efforts.... If we fail to         Corp., 113 F.3d 738, 744 (7 th Cir.1997) (noting that general
achieve broad acceptance of our products and services                statements of customer satisfaction should not make the
by physicians and other healthcare participants ... our              “heart of a reasonable investor ... begin to flutter” because
prospects for growth will be diminished.” (Form 10–K at 23;          “[e]veryone knows that someone trying to sell something is
emphasis added.) Insurance companies are precisely those             going to look ... on the bright side”). This point is especially
“other healthcare participants” on whose participation the           worthy given that many of the alleged statements were made
success of TouchScript turned. Their participation comprised         to magazines and trade publications directed at TouchScript
a risk which the Form 10–K clearly spelled out. Thus,                customers, rather than investors or stockholders.
even if many insurance companies balked at the idea of
participating in TouchScript, Allscripts adequately disclosed         *9 Plaintiffs' fourth ground goes to the quality of the design
this possibility. That this possibility actually arose did not       of TouchScript. When a physician prescribed medication
trigger a duty to disclose on the part of Defendants. See            using TouchScript, (s)he had to enter the diagnostic code for
Wielgos v. Commonwealth Edison Co., 892 F.2d 509, 515 (7             the particular ailment. Because TouchScript had a limited list
th                                                                   of diagnostic codes, however, physicians were often unable to
   Cir.1989) (stating that “[J]ust as a firm needn't disclose that
                                                                     find applicable code in the software. Instead, they resorted to
50% of all new products vanish from the market within a short
                                                                     looking up codes for similar ailments in the Physician's Desk
time, so Commonwealth Edison needn't disclose the hazards
                                                                     Reference, then finding a code that TouchScript recognized to
of its business, hazards apparent to all serious observers and
                                                                     produce a list containing the desired medication. According
most casual ones”).
                                                                     to Plaintiffs, this time-consuming process deterred physicians
                                                                     from using TouchScript. Even if this were the case, however,
Plaintiffs next contend that pharmacies “had great difficulties
                                                                     it does not mean that Defendants omitted any material
in deciphering prescriptions sent by TouchScript.” We
                                                                     information about TouchScript. Defendants disclosed in
presume that Plaintiffs are alleging that Defendants failed to
                                                                     the Form 10–K that early versions of TouchScript were
disclose these problems. This allegation, like the prior one,
                                                                     susceptible to technological errors. If this later proved to be
fails to meet the PSLRA's pleading requirements because of
                                                                     the case, Plaintiffs had already been put on notice as to the
the dearth of information as to its source. Moreover, even if
                                                                     potential for errors and cannot recover against Defendants for


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alleged omissions or affirmative misrepresentations. See Gart      the quarter ending June 30, 2000 (the second quarter),
v. Electroscope, Inc., 24 F.Supp.2d 969, 975 (D.Minn.1998)         Allscripts improperly recognized $500,000 in revenue
(stating that in a fledgling enterprise, “it is obvious to         flowing from an agreement with IMS Health Incorporated
any reasonable investor that [the defendant] anticipated the       (“IMS”). The revision adjusted previously reported revenues
continuing evolution of its products, and that any particular      for the second quarter from $12.6 million to $12.1 million,
enhancement or new product carried with it certain risks”).        and adjusted previously reported revenues for the first six
                                                                   months of the year from $22.2 million to $21.7 million. The
Finally, Plaintiffs allege that Allscripts experienced an          revisions increased Allscripts' net loss for the second quarter
average return rate of 50% for TouchScript due to                  of 2000 from $24.3 million to $24.8 million and net loss
numerous technical problems. This allegation, too, is pled         for the first six months of 2000 from $26.3 million to $26.8
in a conclusory fashion that is ill suited to securities           million.
fraud pleadings. Plaintiffs have furnished no particularized
statements of fact to support the allegation. Even assuming        Plaintiffs believe these statements were false and misleading.
it were properly pled, the allegation does not present an          Even if this were true, however, the alleged misstatement
actionable claim because Plaintiffs have not directed us to        of earnings are immaterial in light of the total amount of
any cases establishing that Defendants had a duty to disclose      Allscripts' earnings and losses. The allegedly improperly
the average return rate of the product. Corporate executives       recognized sum reflects a mere 4% of the Company's
have no general duty to disclose every problem that arises         revenues for that quarter and just over 2% of the Company's
in selling a Company's products. Indeed, if they did, the          six-month revenues. It adjusted the Company's quarterly
daily business news would be saturated with reports of             losses by a mere 2%. Given these modest numbers, the
rises and falls in corporate revenues. What matters is that        alleged improperly recognized sum cannot as a matter of
investors were made aware of the potential for such technical      law be material. See Glassman v. Computervision Corp., 90
problems. As we have stated, a reasonable investor would           F.3d 617, 633 (1 st Cir.1996) (affirming conclusion that
have recognized immediately the risks of e-commerce. In            a minor drop of a few percentage points is inadequate to
light of these considerations, Defendants had no additional        support a claim of material difference for purposes of Rule
duty to disclose the peaks and valleys of TouchScript's sales      10b–5); In re First Union Corp. Sec. Litig., 128 F.Supp.2d
pattern.                                                           871, 895 (D.N.C.2001) (dismissing as immaterial an alleged
                                                                   misstatement of earnings of $79 million which amounted to
In sum, we do not find any of the aforementioned conduct           a mere 2.1% of operating earnings and 2.8% of earnings); In
to be actionable as omissions or false statements. Where           re Newell Rubbermaid Inc. Sec. Litig., 2000 WL 1705279, at
a company is candid about the risks it faces in selling its        *
                                                                     8 (N.D.Ill. Nov. 14, 2000) (deeming immaterial allegedly
product, it has no companion duty to report every glitch
                                                                   undisclosed expenses that amounted to 1% of the overall
that arises. This is especially true in a high-risk industry
                                                                   expense budget as “nothing more than pocket change”).
such as e-commerce, where even the most casual investor
                                                                   Because the alleged misstatement in the case at bar cannot
could recognize the risks without significant investigation.
                                                                   satisfy the materiality element, Plaintiffs' claim under section
Allscripts confronted squarely in its Form 10–K the risks
                                                                   10(b) and Rule 10b–5 cannot survive.
of its endeavor. These statements, as well as common
sense, should have put Plaintiffs on notice as to the risks
involved in this e-commercial endeavor. That some of the              B. Scienter
Individual Defendants made statements to magazines and             Plaintiffs' failure adequately to allege scienter provides an
trade publications painting the product in a positive light does   entirely independent basis to dismiss the Complaint. The
not rise to the level of misstatements. In short, none of the      PSLRA requires Plaintiffs to plead facts giving rise to
aforementioned statements forms an actionable basis for a          a “strong inference” that a particular defendant made a
claim of securities fraud.                                         specific statement with knowledge of its falsity. 15 U.S.C.
                                                                   § 78u–4(b)(2). The Seventh Circuit has not yet ruled on
                                                                   the question of the what constitutes a “strong inference”
  2. Statements Regarding Recognition of $500,000
                                                                   of such knowledge. In some circuits, the plaintiff must
 *10 On October 26, 2000, Allscripts issued a press release
                                                                   allege specific, detailed facts demonstrating the defendant's
announcing its financial results for the third quarter ending
                                                                   contemporaneous knowledge of falsity. See Bryant v.. Avado
September 30, 2000. The press release revealed that during


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Brands, Inc., 187 F.3d 1271, 1286–87 (11 th Cir.1999); In          scienter. See Chu v. Sabratek Corp., 100 F.Supp.2d 815, 823–
re Silicon Graphics, Inc. Sec. Litig., 183 F.3d 970, 979 (9        24 (N.D.Ill.2000). In fact, it is difficult to build inferences
th                                                                 of scienter upon accounting errors because such errors often
    Cir.1999). In other circuits, allegations of “motive and
                                                                   involve complex calculations about which reasonable people
opportunity” to commit fraud will give rise to a “strong
                                                                   can differ in opinion. The small magnitude of the error,
inference” of scienter. See In re Advanta Corp. Sec. Litig., 180
                                                                   the Company's prompt acknowledgement of the error, and
F.3d 525, 534–35 (3d Cir.1999); Novak v. Kasaks, 216 F.3d
                                                                   the fact that the revenue was ultimately realized all militate
300, 310–11 (2d Cir.2000). Under either pleading standard,
                                                                   against an inference of scienter in this case.
Plaintiffs cannot proceed.

                                                                   Plaintiffs also appear to raise allegations going to Defendants'
 *11 As we have already discussed, Defendants' Form 10–
                                                                   “general motive” to commit fraud. Plaintiffs suggest that
K disclosures were issued toward the beginning of the Class
                                                                   the Individual Defendants had motive to commit fraud
Period on March 30, 2000. These disclosures highlighted
                                                                   because they stood to benefit through their salaries and
the risks surrounding TouchScript, particularly with respect
                                                                   benefits. Moreover, Plaintiffs claim that the Company's
to acceptance in the medical community and problems with
                                                                   recent acquisitions supplied Defendants with a motive to
the technology. Significantly, Plaintiffs have not alleged that
                                                                   inflate the price of the Company's stock. These unsupported,
Defendants ever furnished inaccurate numbers as to the
                                                                   generalized allegations of motive are insufficient as a matter
Company's sales, margins and customers. Rather, Plaintiffs
                                                                   of law. With respect to the Individual Defendants' salary and
offer broad, unspecified allegations insinuating Defendants
                                                                   benefit incentives, that allegation is too general to satisfy
had “access to adverse, non-public information” about the
                                                                   the scienter requirement. Under Plaintiffs' argument, virtually
Company, had “conducted extensive market research” on
                                                                   any corporate executive would have the requisite intent
TouchScript, “received constant feedback” from salespeople
                                                                   to defraud, since most salaries and benefit packages have
and “paid close attention to sales trends” for the product.
                                                                   some incentive-based dimension. Moreover, with respect
These allegations paint with too broad a brush and cannot
                                                                   to the motive to inflate stock price, that too is vague.
satisfy the PSLRA's pleading standards. Without a clearer
                                                                   See, e.g., Coates v. Heartland Wireless Comm., Inc., 26
idea as to what the allegedly adverse, nonpublic information
                                                                   F.Supp.2d 910, 918 (N.D.Tex.1998) (dismissing allegation
was, it is impossible for us to determine whether the allegedly
                                                                   of motive to conceal overstatements during public offering);
undisclosed information could have rendered Defendants'
                                                                   Novak v. Kasaks, 997 F.Supp. 425, 430 n.5 (S.D.N.Y.1998)
subsequent statements untrue. So too are we unable to
                                                                   (concluding that allegations of motive to “raise capital”
measure the timing of the allegedly adverse information
                                                                   were insufficient as a matter of law to allege scienter);
against the public representations made by Defendants. It
                                                                   Glickman v. Alexander & Alexander Servs., Inc., 1996 WL
is axiomatic that Defendants could not intentionally have
made false statements without previous access to accurate          88570, at * 5 (S.D.N.Y. Feb. 29, 1996) (holding that vague
information.                                                       allegations of motive, like “desire to raise much needed
                                                                   capital,” are too general to satisfy scienter requirement).
Plaintiffs did plead with specificity regarding the two            Without more particularized allegations, Plaintiffs cannot
medical practices that allegedly received rebates for using        satisfy the scienter requirement by alleging motive.
TouchScript. However, these allegations cannot carry the day
for Plaintiffs. In the first place, many of the allegedly false
                                                                   II. Count Two: Control Group Liability
statements occurred before the two medical practices received
                                                                    *12 Plaintiffs have also raised a claim pursuant to section
the alleged rebates. Second, Plaintiffs have pointed merely to
                                                                   20(a) of the '34 Act. Section 20(a) imposes civil liability
two instances among at least several hundred customers. We
                                                                   upon persons who control others who are directly liable
cannot reasonably infer from two instances the existence of
                                                                   under the Act. 15 U.S.C. § 78t. If a Complaint does not
“widespread problems.”
                                                                   adequately allege an underlying violation of the securities
                                                                   laws, however, the district court must dismiss the section
Last, with respect to the improperly recognized revenue,
                                                                   20(a) claim. See Greebel v. FTP Software, Inc., 194 F.3d 185,
we have already noted that the amount of the revenue
                                                                   207 (1st Cir.1999). Because Plaintiffs have failed to state a
is modest in comparison to the Company's total revenue.
                                                                   claim under section 10(b) of the '34 Act, they cannot assert
Even assuming that this accounting decision violated GAAP,
merely establishing GAAP violations is not tantamount to


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                                                                  For the foregoing reasons, we dismiss Plaintiffs' complaint in
the underlying claim required by section 20(a). Thus, their
                                                                  its entirety.
section 20(a) claim must fail.


                                                                  All Citations
                     CONCLUSION
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                                                                         The first category is premised on Blockbuster's alleged
                                                                         failure to disclose, and failure to recognize as a contingent
      KeyCite Yellow Flag - Negative Treatment                           liability, its dispute with Buena Vista Home Entertainment
Distinguished by Home Solutions of America Investor Group v. Fradella,
                                                                         (“Buena Vista”). On December 31, 2002, Buena Vista, a
N.D.Tex., March 24, 2008
                                                                         division of Disney, filed suit against Blockbuster, alleging
                       2004 WL 884308                                    that Blockbuster had breached the terms of their revenue
                  United States District Court,                          sharing agreement, and seeking more than $120 million in
                  N.D. Texas, Dallas Division.                           damages. Plaintiffs contend that Defendants knew about the
                                                                         dispute with Buena Vista no later than June 20, 2001, and that
                  In re BLOCKBUSTER INC.                                 Defendants should have disclosed the dispute and treated it as
                  SECURITIES LITIGATION                                  a contingent liability in Blockbuster's financial statements.

                      No. 3:03–CV–0398–M.                                The second category is premised on Defendants' alleged
                                 |                                       fraudulent scheme to hide the losses associated with
                          April 26, 2004.                                destroying Blockbuster's VHS inventory. On September 10,
                                                                         2001, Blockbuster announced a merchandising campaign to
                                                                         destroy 25% of its VHS inventory in order to make room
          MEMORANDUM OPINION AND ORDER                                   for DVDs. Blockbuster announced that the merchandising
                                                                         campaign was completed in 2001. However, Plaintiffs
LYNN, J.                                                                 contend that the merchandising campaign was internally
                                                                         referred to as the Merchandise Opportunity Program
 *1 Before the Court is Defendants' Motion to Dismiss
                                                                         (“MOP”) and that MOP actually continued into 2002.
Plaintiffs' Amended and Consolidated Complaint, filed on
                                                                         Plaintiffs further contend that the financial statements for the
September 22, 2003. The Court grants Defendants' Motion.
                                                                         first half of 2002 were inaccurate, because they did not take
The Court dismisses Plaintiffs' Consolidated Amended
                                                                         into account the costs of the continuing VHS destruction.
Complaint, partially with prejudice and partially without
                                                                         Although the costs associated with the destruction of
prejudice.
                                                                         VHS inventory would ordinarily have been reflected in
                                                                         Blockbuster's financial statements as merchandise rental
                                                                         costs, Plaintiffs allege that the improperly deferred costs of
                       I. BACKGROUND                                     the merchandising campaign were reflected in the financial
                                                                         statements for the second half of 2002 as merchandise
This is a federal securities class action on behalf of those who         sales costs. Plaintiffs additionally allege that “shrink,” which
purchased Blockbuster securities between February 12, 2002               Blockbuster explained was the reason for the increase in
and December 17, 2002 (the “Class Period”). On December                  merchandise sales costs, was a false explanation.
18, 2002, Blockbuster announced that it would fall short of its
prior projections for the fiscal year and fourth quarter of 2002.         *2 The third category is premised on Defendants'
After this announcement, the price of Blockbuster common                 alleged misrepresentations and omissions relating to whether
stock closed at $13.64 per share, compared to the closing price          competition from mass merchants was hurting Blockbuster's
of $19.40 per share on December 17, 2002.                                business. According to Plaintiffs, the swing from DVD to
                                                                         VHS caused consumers to more frequently purchase, rather
Plaintiffs bring suit for securities fraud under Section 10(b)           than rent, DVDs. Mass merchants sell DVDs for virtually no
of the Securities Exchange Act, and Rule 10b–5, against                  profit, as a way to attract consumers into their stores, thus
Blockbuster and John Antioco, Larry Zine, and Nigel Travis               hurting Blockbuster's sales of DVDs. Plaintiffs contend that
(the “Individual Defendants”). In addition, Plaintiffs bring             Defendants misrepresented and failed to disclose the effect of
suit under Section 20(a) of the Securities Exchange Act                  this phenomenon on Blockbuster's business.
against the Individual Defendants, as control persons of
Blockbuster. Plaintiffs' allegations of fraud fall into six              Fourth, Plaintiffs allege that Defendants misrepresented that
general categories.                                                      the gross profit margin on DVD rentals was 70%, when it was
                                                                         actually lower, and that Defendants misrepresented that the



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gross profit margin on DVD rentals was 10 percentage points         see also H.R. CONF. REP. NO.. 104–369, reprinted in 1995
higher than the gross profit margin on VHS rentals when the         U.S.C.C.A.N. 730, 743 (“The first prong of the safe harbor
gross profit margin on DVD rentals was actually only 3 or 4         requires courts to examine only the cautionary statement
percentage points higher.                                           accompanying the forward-looking statement. Courts should
                                                                    not examine the state of mind of the person making the
Fifth, Plaintiffs allege that Defendants misrepresented that        statement.”). The Court finds that the following statements 1
Blockbuster was not experiencing problems with its inventory        are protected under the PSLRA safe harbor for forward-
and distribution technology, and that they failed to disclose       looking statements, and thus dismisses Plaintiffs' claims with
the actual problems Blockbuster was experiencing with that          prejudice to the extent they are premised on these statements:
technology.
                                                                    1      For ease of reference, the Court has assigned
Finally, Plaintiffs allege that, because of the Buena
                                                                           numbers to the statements excerpted from the
Vista dispute, the continuing merchandising campaign, the
                                                                           Amended Complaint. These numbers do not
competition from mass merchants, declining DVD rental
                                                                           correspond to the numbered paragraphs in the
margins, and the problems with Blockbuster's technology,
                                                                           Amended Complaint.
Defendants made numerous financial projections without a
reasonable basis.
                                                                        *3 1. “Going forward, the Company expects rental
Defendants contend that Plaintiffs' allegations of fraud should          margins will be enhanced by the continued growth of
be dismissed under Federal Rule of Civil Procedure 12(b)                 DVD as a rental format.” Am. Compl. ¶ 30.
(6) because (1) all of the alleged misrepresentations and
                                                                           2. “Our plan is to triple our retail share by 2006,
omissions are protected by the Private Securities Litigation
                                                                              increasing our revenues from approximately $400
Reform Act (“PSLRA”) safe harbor provision, as forward-
                                                                              million this year to 9 percent of approximately $20
looking statements, (2) the allegedly misrepresented and
                                                                              billion or $1.8 billion.” Am. Compl. ¶ 35; 70.
omitted information is immaterial, (3) application of the
fraud-on-the-market theory of reliance is precluded for the                3. “For the full year [2002], gross profit is expected
alleged failure to disclose the Buena Vista dispute, (4)                      to increase in the mid-single digit range, driven
Defendants did not have a duty to disclose the Buena Vista                    by a combination of sales growth and margin
dispute, (5) Plaintiffs have failed to plead a sufficient factual             improvement due to growth in higher margin DVD
basis for the alleged misrepresentations and omissions, and                   rentals. Additionally, [ ... ] the Company believes
(6) Plaintiffs have failed to plead scienter adequately. The                  that it will achieve double digit EBITDA growth,
Court will analyze each argument in turn.                                     which will result in significant EPS growth.” Am.
                                                                              Compl. ¶ 53.

                                                                           4. “For the full year [2002], gross profit is expected
                 II. PSLRA SAFE HARBOR
                                                                              to increase in the mid-single digit range, driven
The PSLRA provides a safe harbor for “any forward-looking                     by a combination of sales growth and margin
statement, whether written or oral, if and to the extent that the             improvement due to growth in higher margin
forward-looking statement is identified as a forward-looking                  DVD rentals. Additionally, for the full year,
statement, and is accompanied by meaningful cautionary                        the percentage increase in worldwide same store
statements identifying important factors that could cause                     revenues is expected to be in the low to mid-single
actual results to differ materially from those in the forward-                range. For the full year, the Company believes that
looking statement.” 15 U.S.C. § 78u–5(c)(1)(A)(i). If a                       it will achieve double digit EBITDA growth, which
forward-looking statement is identified as forward-looking                    will result in growth of 2002 EPS over 2001 cash
and accompanied by meaningful cautionary statements, the                      EPS of at least 20%.” Am. Compl. ¶ 60.
statement is not actionable and the defendant's state of mind is
                                                                           5. “Given the strengthening in Q2, we expect gross
irrelevant. In re Enron Corp. Securities, Derivative & ERISA
                                                                              profit to grow in mid-single digit for the quarter
Litigation, 235 F.Supp.2d 549, 575 (S.D.Tex.2002) (citing
                                                                              and low single digit comp store sales. This growth
Harris v. Ivax Corp., 182 F.3d 799, 803 (11th Cir.1999));
                                                                              translates into strong EBITDA growth. We expect


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             the [gross profit] to grow at least in the mid-single    margins, profits, earnings before interest, taxes, depreciation,
             range that translates into double digit EBITDA           and amortization (“EBITDA”), earnings per share (“EPS”),
             growth. In summary, we are pleased with store            share of the retail market, and consumer demand-thus
             operations that set the industry standard in terms       qualifying as forward-looking statements under the PSLRA.
             (sic) execution and diligence.” Am. Compl. ¶ 61.
                                                                      A statement that qualifies as forward-looking under the
        6. “Moving forward, we are strategically positioning          PSLRA is protected by the safe harbor if it is identified
           Blockbuster to become a complete source for                as forward-looking and “accompanied by meaningful
           movies and games with innovative marketing and             cautionary statements identifying important factors that could
           merchandising initiatives designed to strengthen           cause actual results to differ materially” from those in
           our rental proposition while increasing our share of       the forward-looking statement. 15 U.S.C. § 78u–5(c)(1)
           the growing retail market.” Am. Compl. ¶ 69.               (A)(i). The PSLRA specifically provides that, in the case
                                                                      of an oral forward-looking statement, the aforementioned
        7. “During the second quarter of 2002, we increased
                                                                      requirement shall be deemed met if the forward-looking
           our focus on the sale of new movies and
                                                                      statement is accompanied by a cautionary statement that
           games to complement our rental offerings and to
                                                                      identifies the statement as forward-looking, states that actual
           accommodate increased demand. As a result of this
                                                                      results might differ materially from those projected, and
           increased focus, we expanded the selection in our
                                                                      incorporates by reference meaningful cautionary language
           stores for DVD and games hardware and software.
                                                                      in a readily available written document. 15 U.S.C. § 78u–
           We expect the strong growth in merchandise sales
                                                                      5(c)(2). The PSLRA is silent about whether meaningful
           to continue for the rest of the year and beyond, as
                                                                      cautionary language can be incorporated by reference when
           we anticipate consumer demand for these products
                                                                      the forward-looking statement is written, rather than oral.
           will continue to grow.” Am. Compl. ¶ 75.
                                                                      The PSLRA safe harbor is “based on aspects of ... the
        8. “Beginning in August, as a result of the investments       judicial[ly] created ‘bespeaks caution’ doctrine.” H.R. CONF.
           we made in product and marketing to initiate               REP. NO.. 104–369, reprinted in 1995 U.S.C.C.A.N. 730,
           new consumer programs, we experienced increased            742. The Fifth Circuit has characterized the bespeaks
           sales momentum in both our rental and retail               caution doctrine as merely reflecting “the unremarkable
           business. That momentum continues, and we                  proposition that statements must be analyzed in context.”
           believe positions the company to exceed previous           Rubinstein v. Collins, 20 F.3d 160, 167 (5th Cir.1994).
           fourth quarter guidance and achieve full-year              In light of this characterization, the Court concludes that,
           expectations and double-digit revenue growth in            as long as the reference is clear and explicit so that the
           2003 and beyond.” Am. Compl. ¶ 78.                         referenced cautionary language can fairly be viewed as part
                                                                      of the “context” surrounding the written forward-looking
        9.     “In line with current analyst consensus                statement, the PSLRA safe harbor for written forward-
             expectations, the Company believes that it               looking statements can be satisfied by meaningful cautionary
             will achieve full-year 2002 EPS growth of                language that is incorporated by reference. See Karacand v.
             approximately 30% over 2001 EPS, excluding               Edwards, 53 F.Supp.2d 1236, 1245 (D.Utah 1999) (holding
             charges, of $1.01.” Am. Compl. ¶ 78.                     that, because the bespeaks caution doctrine does not require
                                                                      the cautionary language to be in the same document as the
         *4 10. “For the fourth quarter, we expect results
                                                                      alleged misstatement or omission, the PSLRA similarly does
          to exceed current expectations, meaning you can
                                                                      not impose such a requirement). This conclusion is buttressed
          expect analysts (sic) add the three cent shortfall in
                                                                      by the illogic of allowing incorporation by reference into
          the third quarter to the full year results, leaving full-
                                                                      oral statements, when the listener may mishear or forget
          year estimates unchanged.” Am. Compl. ¶ 79.
                                                                      the location of the referenced cautionary language, but not
The definition of “forward-looking statement” includes
                                                                      allowing incorporation by reference into written statements,
statements containing a projection of revenues, income, or
                                                                      when the reader is at significantly less risk of misinterpreting
earnings per share; statements of the plans and objectives
                                                                      or forgetting.
of management for future operations; and statements of
future economic performance. 15 U.S.C. § 78u–5(i)(1). The
ten statements listed above project future growth in rental


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 *5 In order to qualify as meaningful cautionary language,                     increased focus on the DVD format.
the language must identify important factors that could                        These forward-looking statements
cause actual results to differ materially from those in the                    are based on Blockbuster's current
forward-looking statement. 15 U.S.C. § 78u–5(c)(1)(A)(i). In                   intent, expectations, estimates, and
Harris v. Ivax Corp., the Ninth Circuit rejected the plaintiffs'               projections and are not guarantees
argument that the cautionary language was “mere boilerplate”                   of future performance. These
because it was “detailed and informative” and told “the                        statements involve risks, uncertainties,
reader in detail what kind of misfortunes could befall the                     assumptions, and other factors that
company and what the effect could be.” Harris v. Ivax Corp.,                   could cause actual results to vary
182 F.3d 799, 807 (11th Cir.1999). Contrary to Plaintiffs'                     materially from those expressed
assertion, the cautionary language need not list the specific                  in or indicated by them. Factors
risk factor alleged to have rendered the forward-looking                       include, among others: Blockbuster's
statement false. Harris, 182 F.3d at 807 (“To be ‘meaningful,’                 ability to effectively execute its
must the cautionary language explicitly mention the factor                     re-merchandising plans; consumer
that ultimately belies a forward-looking statement? We think                   demand for DVDs and the impact
not.”) (citing the House Conference Report accompanying the                    of competitive product and service
PSLRA).                                                                        offerings and pricing; the impact of
                                                                               technological shifts on Blockbuster's
In order to analyze whether the forward-looking statements                     business; and other factors, as set
alleged in the Amended Complaint are within the PSLRA safe                     forth under the heading “Cautionary
harbor, “the Court must examine piecemeal the statements                       Statements” in Blockbuster's annual
made by the company as expressed in the pleadings.” In re                      report on Form 10–K for the fiscal year
Enron, 235 F.Supp.2d 549, 576 (S.D.Tex.2002). Therefore,                       ended December 31, 2000.
the Court will separately analyze each statement listed above
to determine whether it satisfies the PSLRA safe harbor. Each
statement is accompanied by language warning the reader             *6 Blockbuster's annual report on Form 10–K for the fiscal
that the news release, call, or report contains forward-looking    year ended December 31, 2000 includes seven pages of
statements, identifying numerous risk factors that could cause     cautionary statements, which are incorporated by reference
the projections to vary, and referencing additional risk factors   into the paragraph quoted above. Therefore, the Court finds
contained in Blockbuster's annual report. For example, the         that the forward-looking statements are identified as such and
following language, which accompanies Statement 1, typifies        are accompanied by meaningful cautionary language, thus
the type of language accompanying Statements 1–10.                 satisfying the PSLRA safe harbor.

                                                                   The following statements are forward-looking, but were not
             This news release contains forward-                   identified as such and were not accompanied by cautionary
             looking statements relating to                        language. Thus, the safe harbor is not satisfied as to these
             Blockbuster's plans to re-merchandise                 statements:
             its    stores,   including,   without
             limitation, statements related to the                   11. In response to a question about the impact of DVD
             following: Blockbuster's plans to                         sales on Blockbuster: “We think the retail business will
             increase the presence of DVDs and                         continue to grow and we think the rental business will
             DVD players in its stores and                             continue to grow....” Am. Compl. ¶ 54.
             the related elimination of slower-
                                                                     12. “I mean, we've got a great business, a great brand ... we
             moving VHS units and games;
                                                                       feel comfortable in our ability to grow our business in
             Blockbuster's expectations regarding
                                                                       a meaningful and sustainable way over a long period of
             the anticipated financial impact of
                                                                       time. And if that translates, and hopefully it should, to a
             its re-merchandising efforts; and
                                                                       higher stock price, then we don't think the upside is over
             Blockbuster's intent to implement
                                                                       for Blockbuster.” Am. Compl. ¶ 62.
             marketing initiatives to support its



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                                                                   statement exists. For example, assume a hypothetical case in
  13. “We really did not know how to compete against retail        which Company X made glowing financial projections and
    DVD in 2001. I think we have figured that out, and you         simultaneously fraudulently represented that Company X had
    will see that reflected in our results for the balance of      entered into a profitable contract. Later, because it had not
    2002.” Am. Compl. ¶ 63.                                        entered into the profitable contract, Company X was forced to
                                                                   significantly alter its financial projections and Company X's
Defendants argue that, in addition to the thirteen statements      stock price dropped precipitously as a result. If Defendants'
identified above as forward-looking, the Court should treat        argument were accepted, the fraudulent misrepresentation
this entire case as a “forward-looking statements case.”           about the profitable contract would not be actionable merely
Plaintiffs' suit is premised on the drop in stock price            because it affected a financial projection. Therefore, simply
that followed Blockbuster's amended financial projections.         by making financial projections, a company would insulate
Therefore, relying on Harris v. Ivax Corp. and Lemmer              itself from liability for virtually all fraudulent statements
v. Nu–Kote Holding, Inc., Defendants argue that, even              and omissions because, in the securities context, material
if Plaintiffs could show that Defendants made fraudulent           statements and omissions are invariably related, at least
misrepresentations and omissions about, for example, the           tangentially, to a company's current and future financial
destruction of VHS inventory, those misrepresentations             position. The Court rejects Defendants' argument that this
and omissions would be shielded because Plaintiffs                 is entirely a “forward-looking statements case.” To the
complain solely about their effect on Blockbuster's financial      extent that Plaintiffs allege that Defendants made material
projections, which are themselves protected forward-looking        misrepresentations and omissions that are independently
statements. In Harris, the Ninth Circuit held that a plaintiff     actionable without reference to the protected forward-looking
could not premise a lawsuit on the absence of a material           statements, the PSLRA safe harbor does not apply.
factor in the cautionary language accompanying a forward-
looking statement because “the entire list of factors is treated
as a forward-looking statement.” Harris, 182 F.3d at 807.
Similarly, in Lemmer, the court found that a plaintiff could not                       III. MATERIALITY
assert a claim for fraudulent omissions of material fact where
                                                                   A misrepresentation or omission of information is material
the plaintiff contended that the duty to disclose the material
                                                                   if there is a substantial likelihood that a reasonable investor
fact arose from the forward-looking statements: “That is, she
                                                                   would consider the information to have significantly altered
bases her claims on omissions of material fact which Nu–Kote
                                                                   the total mix of information about investing in the company.
was required to communicate because they conflicted with
                                                                   ABC Arbitrage Plaintiffs Group v. Tchuruk, 291 F.3d 336, 361
Nu–Kote's vague statements about current operations and
                                                                   (5th Cir.2002). “[G]eneralized, positive statements about the
predictions about future results. Accordingly, the omissions
                                                                   company's competitive strengths, experienced management,
of material fact on which the Complaint is based are subject
                                                                   and future prospects are not actionable because they are
to the ‘safe harbor’ for forward-looking statements.” Lemmer
                                                                   immaterial.” Rosenzweig v. Azurix Corp., 332 F.3d 854,
v. Nu–Kote Holding, Inc., No. 3:98–CV–0161–L, 2001 WL
                                                                   869 (5th Cir.2003). “Vague, loose optimistic allegations
1112577, at *5 (N.D.Tex. Sept. 6, 2001) (Lindsay, J.).
                                                                   that amount to little more than corporate cheerleading are
                                                                   ‘puffery,’ projections of future performance not worded as
 *7 The Court agrees with Harris that Plaintiffs' claims
                                                                   guarantees, and are not actionable under federal securities law
cannot be premised on the failure to include a risk factor
                                                                   because no reasonable investor would consider such vague
in the cautionary language accompanying a forward-looking
                                                                   statements material and because investors and analysts are too
statement. Similarly, the Court agrees with Lemmer that
                                                                   sophisticated to rely on vague expressions of optimism rather
Plaintiffs cannot assert a claim based on the failure to
                                                                   than specific facts.” In re Sec. Litig. BMC Software, Inc., 183
disclose information if the duty to disclose is premised on the
                                                                   F.Supp.2d at 888. The Court finds Statements 11–13, supra,
forward-looking statement. However, the Court does not read
                                                                   and Statements 14–15, excerpted below, to be mere vague
these cases to suggest that, simply because a representation
                                                                   expressions of corporate optimism, and thus dismisses with
or omission would affect a forward-looking statement,
                                                                   prejudice Plaintiffs' claims to the extent they are premised on
the representation or omission is non-actionable. If the
                                                                   these statements.
representation or omission is fraudulent, independent of the
existence of a forward-looking statement, the representation
or omission is not shielded simply because a forward-looking


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                                                                   significantly altered the total mix of information about
   *8 14. “[W]e undertook a number of key initiatives              investing in Blockbuster. The Court is not looking to the drop
    to strengthen our core business and drive growth               in stock price to establish materiality and “save” Plaintiffs'
    in profitability, including re-merchandising our stores        claims, but rather is analyzing the potential materiality
    to expand our selection of higher margin DVDs                  of the allegedly omitted and false information and the
    and dedicating more of our sales area to high-                 impact such had on the restatement. Therefore, the Court
    growth new game formats and promising new business             rejects Defendants' argument that ABC Arbitrage compels
    opportunities.” Am. Compl. ¶ 53.                               the Court to hold that, even if a reasonable jury could find
                                                                   the information allegedly misrepresented or omitted to be
  15. “Our first quarter performance speaks to the strengths
                                                                   material, it is immaterial simply because Plaintiffs have failed
    of our business and validates the strategy that we
                                                                   to allege that the stock price dropped upon public disclosure
    implemented last year focusing on high-growth game
                                                                   of the information.
    and DVD formats.” Am. Compl. ¶ 60.

                                                                    *9 That this interpretation of ABC Arbitrage is logical
In addition to arguing that many of the statements identified
                                                                   is demonstrated by the following hypothetical: Company
by Plaintiffs are immaterial puffery, Defendants argue that
                                                                   X makes glowing financial projections for the year and
none of the alleged misrepresentations and omissions are
                                                                   knowingly misrepresents that Company X has entered into
material because Plaintiffs have not alleged that they
                                                                   a profitable contract. Because the glowing projections are
affected Blockbuster's stock price. However, Plaintiffs have
                                                                   based on the false representations regarding the profitable
alleged that (1) the stock price dropped when Blockbuster
                                                                   contract, halfway through the year, Company X is forced to
announced that it would fall short of its prior projections
                                                                   amend its projections, projecting a poor second half of the
and (2) the reason that Blockbuster was unable to meet
                                                                   year. The stock price of Company X plummets. The reason
its prior projections was because of existing problems that
                                                                   that Company X restates its projections is because the revenue
were misrepresented or omitted prior to the announcement.
                                                                   from the unsecured contract is not forthcoming, but Company
Therefore, Plaintiffs have alleged that the stock price dropped
                                                                   X does not disclose that this is the reason for the restatement,
as a result of disclosure of the effect of underlying facts that
                                                                   and manages to keep the true reason secret. If Defendants'
were misrepresented and omitted.
                                                                   argument were accepted, Company X's misrepresentation
                                                                   about the profitable contract would be immaterial and thus
Defendants, relying on ABC Arbitrage, contend that this
                                                                   non-actionable. The Court does not interpret ABC Arbitrage
indirect allegation of an effect on stock price is insufficient.
                                                                   to compel this result. Therefore, the Court rejects Defendants'
In ABC Arbitrage, the Fifth Circuit found that the plaintiffs
                                                                   argument that all of Plaintiffs' claims should be dismissed for
did not plead sufficiently that the alleged misrepresentations
                                                                   failure to allege materiality.
and omissions were material because the plaintiffs did
not plead that the predictions did not account for known
problems and losses. ABC Arbitrage, 291 F.3d at 361.
Without that, the Court found that no reasonable investor                                 IV. RELIANCE
would view the information as significantly altering the
total mix of information about investing in the company.           Defendants, relying on Nathenson v. Zonagen, 267 F.3d 400
Id. Then, the Court found that the mere drop in stock price        (5th Cir.2001), contend that the failure to disclose the Buena
following an announced anticipated failure to meet previous        Vista dispute is not actionable because Plaintiffs rely on the
expectations, where misrepresented and omitted problems            “fraud on the market” theory of reliance and the eventual
allegedly contributed to the failure to meet expectations, was     disclosure of the Buena Vista lawsuit did not negatively
not sufficient to “save” Plaintiffs' claims. Id. at 362.           affect the stock price. In Nathenson, the plaintiffs alleged that
                                                                   the defendants misrepresented that certain medical research
In contrast to the facts in ABC Arbitrage, here a reasonable       trials had produced statistically significant results. Id. at
jury could find that a reasonable investor would have              417. The plaintiffs relied on the fraud-on-the-market theory,
viewed the dispute with Buena Vista, the alleged scheme to         which is based on the rebuttable presumption that potentially
destroy Blockbuster's VHS inventory, the alleged negative          significant publicly disseminated information is reflected in
effect of competition from mass merchants, and the alleged         the price of stock traded on an efficient market. Throughout
misrepresentations about DVD rental margins to have                the several months following the defendants' disclosure that



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the research trials had not produced statistically significant
results, the stock price rose. Id. at 418. The Fifth Circuit
held: “If the market price was not actually affected by the
                                                                                     V. DUTY TO DISCLOSE
statement, reliance on the market price does not of itself
become reliance on the statement.” Id. at 419. Therefore, the       According to Plaintiffs, Buena Vista notified Blockbuster no
Court held that the plaintiffs were unable to use the fraud-        later than June 20, 2001 that Buena Vista viewed Blockbuster
on-the-market theory to establish reliance and affirmed the         as breaching their contract and causing Buena Vista damages
district court's dismissal of the complaint with respect to the     of almost one hundred million dollars. Buena Vista did not
alleged misrepresentations. Id.                                     file suit against Blockbuster until December 31, 2002, which
                                                                    was after the Class Period. However, Plaintiffs allege that
In Nathenson, the plaintiffs' suit was premised on affirmative      Blockbuster should have disclosed its dispute with Buena
misrepresentations; in the present case, Plaintiffs' suit is        Vista during the Class Period. Between June 20, 2001, when
premised on a failure to disclose the Buena Vista dispute.          Blockbuster allegedly learned of the potential for liability
“[W]here the gravamen of the fraud is a failure to disclose,        to Buena Vista, and December 17, 2002, the end of the
as opposed to a fraudulent misrepresentation, a plaintiff is        Class Period, Blockbuster filed one Form 10–K report and
entitled to a rebuttable presumption of reliance.” Krogman          several Form 10–Q reports. Plaintiffs allege that Blockbuster
v. Sterritt, 202 F.R.D. 467, 478 (N.D.Tex.2001) (Lynn, J.)          should have disclosed in these reports its potential liability
(relying on Affiliated Ute Citizens v. United States, 406 U.S.      to Buena Vista and that the financial statements included in
128, 152–53 (1972), and Smith v. Ayres, 845 F.2d 1360, 1363         these reports violated GAAP because they failed to account
(5th Cir.1988)). Therefore, in the current case, in contrast        for this contingent liability.
to Nathenson, if here pled, Plaintiffs would be entitled to a
rebuttable presumption of reliance rendering the fraud-on-          Absent a duty to disclose, the failure to disclose information,
the-market theory of reliance extraneous.                           even if that information is material, is not actionable. Basic
                                                                    Inc. v. Levinson, 485 U.S. 224, 239 n. 17 (1988) (“Silence,
 *10 Even if Plaintiffs were to rely on the fraud-on-               absent a duty to disclose, is not misleading under Rule 10b–
the-market theory of reliance rather than the rebuttable            5.”). Plaintiffs allege that GAAP and Item 303 of Regulation
presumption of reliance, the Court finds that Nathenson             S–K required disclosure of the Buena Vista dispute. Statement
would be distinguishable if Plaintiffs had sufficiently pled that   of Financial Accounting Standards No. 5 (“SFAS No. 5”)
(1) the stock price dropped on December 18, 2002 as a result        requires a charge to income if both of the following conditions
of the amended earnings estimates, (2) the earnings estimates       are met:
had to be revised to take into account the contingent liability
related to the Buena Vista dispute, and (3) the market did not        a. Information prior to issuance of the financial statements
react to the public disclosure of the Buena Vista dispute on          indicates that it is probable that an asset had been impaired
January 2, 2003, because the market had already absorbed              or a liability had been incurred at the date of the financial
the effects of the negative information when it reacted to the        statements. It is implicit in this condition that it must
restated earnings estimates, which were predicated in part on         be probable that one or more future events will occur
the Buena Vista dispute.                                              confirming the fact of the loss.

                                                                       *11 b. The amount of the loss can be reasonably
However, Plaintiffs' Amended Complaint pleads neither a
                                                                      estimated.
presumption of reliance nor a reason why the stock price was
unaffected by the public disclosure of the Buena Vista dispute.     Additionally, if no accrual is made for a loss contingency
Therefore, the Court agrees with Defendants that Plaintiffs'        because one or both of the above conditions are not met, SFAS
pleading of reliance with respect to the failure to disclose        No. 5 provides:
the Buena Vista dispute is insufficient. The Court therefore
dismisses Plaintiffs' Amended Complaint, without prejudice,
to the extent it is premised on the failure to disclose the Buena
                                                                                [D]isclosure of the contingency shall
Vista dispute. In other portions of this Opinion, the Court will
                                                                                be made when there is at least a
identify additional deficiencies in the Amended Complaint
                                                                                reasonable possibility that a loss or
with respect to this claim.
                                                                                an additional loss may have been


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             incurred. The disclosure shall indicate                plead fraud with particularity. The Fifth Circuit describes this
             the nature of the contingency and shall                requirement as follows:
             give an estimate of the possible loss
             or range of loss or state that such an                   [A] plaintiff pleading a false or misleading statement or
             estimate cannot be made. Disclosure                      omission as the basis for a section 10(b) and Rule 10b–5
             is not required of a loss contingency                    securities fraud claim must, to avoid dismissal pursuant to
             involving an unasserted claim or                         Rule 9(b) and 15 U.S.C. §§ 78u–4(b)(1) & 78u–4(b)(3)(A):
             assessment when there has been no
                                                                         (1) specify ... each statement alleged to have been
             manifestation by a potential claimant
                                                                         misleading, i.e., contended to be fraudulent;
             of an awareness of a possible claim
             or assessment unless it is considered                       (2) identify the speaker;
             probable that a claim will be asserted
             and there is a reasonable possibility                        *12 (3) state when and where the statement was made;
             that the outcome will be unfavorable.
                                                                         (4) plead with particularity the contents of the false
                                                                         representations;

Finally, Item 303 of Regulation S–K requires the disclosure              (5) plead with particularity what the person making the
of known trends, demands, commitments, events, and                       misrepresentation obtained thereby; and
uncertainties that are reasonably likely to have a materially
adverse effect on a company's liquidity, net sales, capital              (6) explain the reason or reasons why the statement is
resources, revenues, or income from continuing operations.               misleading, i.e., why the statement is fraudulent.
17 C.F.R. § 229.303.
                                                                      This is the “who, what, when, where, and how” required
Plaintiffs' Amended Complaint fails to allege that, during the        under Rule 9(b) in our securities fraud jurisprudence and
Class Period, it was probable or reasonably possible that the         under the PSLRA. Additionally, under 15 U.S.C. § 78u–
Buena Vista dispute would result in a loss, that the amount           4(b)(1), for allegations made on information and belief, the
of the loss could be reasonably estimated, or that the dispute        plaintiff must:
was reasonably likely to have a materially adverse effect on
                                                                         (7) state with particularity all facts on which that belief
Blockbuster's liquidity, net sales, capital resources, revenues,
                                                                         is formed, i.e., set forth a factual basis for such belief.
or income from continuing operations. Therefore, Plaintiffs
have failed to allege that Blockbuster had a duty to disclose         ABC Arbitrage, 291 F.3d at 350.
the Buena Vista dispute during the Class Period. Although the
Court is dismissing without prejudice Plaintiffs' claims to the     An allegation is “made on information and belief” when
extent they are premised on the failure to disclose the Buena       it is not based on a plaintiff's personal knowledge. Id.
Vista dispute, this is an additional defect with respect to those   at 351. Since Plaintiffs' allegations are made “based upon
claims of which Plaintiffs must take account when repleading,       the investigation of their counsel” rather than on Plaintiffs'
to determine if the claim can legitimately be asserted.             personal knowledge, Plaintiffs must set forth a factual basis
                                                                    for their allegations. Defendants contend that Plaintiffs'
                                                                    Amended Complaint fails to satisfy the pleading requirements
                                                                    of the PSLRA. The Court will analyze each category of
        VI. PSLRA PLEADING REQUIREMENTS
                                                                    alleged fraud in turn to determine whether the PSLRA
In order to state a claim under section 10(b) of the 1934           pleading requirements are satisfied.
Act and Rule 10b–5, a plaintiff must allege, in connection
with the purchase or sale of securities, (1) a misstatement
                                                                    A. Alleged fraudulent scheme relating to the destruction of
or omission (2) of material fact (3) made with scienter (4)
                                                                    VHS inventory
on which the plaintiff relied (5) that proximately caused the
                                                                    In Blockbuster's 2001 Form 10–K, Blockbuster announced
plaintiff's injury. ABC Arbitrage, 291 F.3d at 348. The PSLRA
                                                                    that it had completed the implementation of the
and Federal Rule of Civil Procedure 9(b) require a plaintiff to
                                                                    merchandising campaign as of December 31, 2001. Plaintiffs
                                                                    contend that, under the internal name of MOP, the


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merchandising campaign continued into 2002. Plaintiffs               make sense” that shrinkage would have increased in the fourth
additionally contend that the financial statements for the           quarter of 2002. Am. Compl. ¶ 111. Another store manager
first half of 2002 were inaccurate because they did not              stated that “shrinkage happened continually and that it was
take into account the costs of the continuing merchandising          unlikely that Blockbuster would record a loss on shrinkage in
campaign, that the improperly deferred costs were reflected          any one quarter.” Am. Compl. ¶ 111. A former Blockbuster
in the financial statements for the second half of 2002 as           district manager, whose district had the highest rate in the
merchandise sales costs, and that Blockbuster's proffered            United States of shrinkage, stated that it did not make sense
reason for the increase in merchandise sales costs, i.e.,            for shrinkage to spike in the fourth quarter of 2002 and that
“shrink,” or theft, was false.                                       historically the fourth quarter was not the quarter reflecting
                                                                     the highest reported shrinkage. Am. Compl. ¶ 111.
Plaintiffs have pled a sufficient factual basis for Plaintiffs'
allegation that MOP continued in 2002. According to a former         Plaintiffs' pleading is insufficient because there are no facts
manager from California, MOP “began late in 2001 and was             alleged from which one could conclude that the employees
ongoing throughout 2002.” Am. Compl. ¶ 32(1). According to           quoted were privy to how or when the costs of MOP were
a former Texas store manager, MOP started at the end of 2001         accounted for on Blockbuster's financial statements or to the
and continued into 2003. Am. Compl. ¶ 32(4). Another Texas           level of company-wide shrinkage in 2002. In a case where
store manager stated that MOP continued into the spring of           the confidential sources are not named and the other facts do
2002. Am. Compl. ¶ 101. A former Maryland store manager              not provide an adequate basis for believing that the alleged
stated that he received e-mails throughout 2002, instructing         statements were false, the personal sources must be identified
him to destroy VHS tapes under MOP. Am. Compl. ¶ 32(5).              “with sufficient particularity to support the probability that
                                                                     a person in the position occupied by the source as described
However, Plaintiffs have failed to plead a sufficient                would possess the information pleaded.” ABC Arbitrage, 291
factual basis for the contention that MOP was the same               F.3d at 353. Here, without further description of a district
merchandising campaign that the 2001 Form 10–K stated                manager's job, it is not probable that a district manager
was completed as of December 31, 2001. The Amended                   would be privy to how the costs of MOP were reflected in
Complaint states: “A former district manager in California           Blockbuster's financial statements. It is similarly not probable
stated that the program became known as ‘the MOP                     that two store managers and one district manager would
[Merchandise Opportunity Program], began in late in 2001             know the rates of company-wide shrink in the fourth quarter
and was ongoing throughout 2002.” ’ Am. Compl. ¶ 32(1).              of 2002. Therefore, the Court dismisses without prejudice 2
This oblique link between the campaign described in the 2001         Plaintiffs' claims premised on an alleged fraudulent scheme
Form 10–K and MOP is insufficient under the PSLRA.                   relating to the destruction of VHS inventory.

 *13 Plaintiffs have additionally failed to plead a sufficient       2      To the extent the Court dismisses Plaintiffs' claims
factual basis for their allegations that the financial statements
                                                                            for pleading defects, the dismissal is without
for the first half of 2002 were inaccurate because they
                                                                            prejudice. However, in so doing, the Court does not
did not take into account the costs of the continuing
                                                                            intend to suggest that Plaintiffs should re-urge the
merchandising campaign, that the improperly deferred costs
                                                                            claims upon repleading. Plaintiffs shall determine
of the merchandising campaign were reflected in the financial
                                                                            whether it is possible to cure the identified pleading
statements for the second half of 2002 as merchandise sales
                                                                            defects and shall only reassert those claims, if any,
costs, and that Blockbuster's proffered reason for the increase
                                                                            that can be pled in compliance with the PSLRA.
in merchandise sales costs was false.

Plaintiffs quote a former district manager from California           B. Alleged fraud relating to the competition posed by mass
as stating: “[Blockbuster] was doing a program where they            merchants of DVDs
basically cut half of the product in every store and (sic) selling   Plaintiffs have failed to plead adequately that Defendants
it for no price at all. In order to do that, they hid product in     failed to disclose the competition posed by mass merchants
a different line in the P & L.” Am. Compl. ¶ 32(1). Plaintiffs       of DVDs. Rather than hiding the competition posed by mass
also quote a former store manager who managed eight stores           merchants, the statements quoted by Plaintiffs in the First
during his tenure with Blockbuster as stating that it “doesn't       Amended Complaint explicitly recognize that competition.
                                                                     Additionally, Plaintiffs have failed to adequately plead why


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Defendants' statements related to this competition were           higher than the gross profit margin on VHS rentals, when the
misleading or fraudulent. The statements recognize the            gross profit margin on DVD rentals was actually only 3 or
competition and highlight Blockbuster's plan for combating        4 percentage points higher. Plaintiffs identify the following
that competion. Blockbuster “was under no duty to cast            statements as alleged misrepresentations:
its business in a pejorative, rather than a positive, light.”
Rosenzweig, 332 F.3d at 869. Therefore, Plaintiffs' claims          19. In 2001, “[W]e undertook a number of key initiatives
of misrepresentations and omissions related to the following          to strengthen our core business and drive growth
statements are dismissed without prejudice:                           in profitability, including re-merchandising our stores
                                                                      to expand our selection of higher margin DVDs
   *14 16. “We think that the retail business will continue           and dedicating more of our sales area to high-
    to grow and we think the rental business will continue            growth new game formats and promising new business
    to grow.... I think one would be mistaken to think that           opportunities.” Am. Compl. ¶ 53.
    they're mutually exclusive. But when it gets right down
    to it, when you look at number of transactions, retail          20. “Blockbuster now has three DVD revenue sharing
    transactions are, you know, only a fraction of what rental        agreements, which help the company to lower inventory
    transactions are, and that's because the vast majority of         costs, increase product depth and share risk. These
    movies that are produced by Hollywood, most people                agreements do not include an exclusive window, but do
    only want to watch them once.... Do I really need to own          preserve the approximate 70% margin on DVD rentals.”
    this movie for, you know, what today is a $20 price point.        Am. Compl. ¶ 55.
    I don't think that dynamic changes very much, even if
                                                                    21. “In addition, our merchandise gross margin declined
    the price point went to $12.” Am. Compl. ¶ 54.
                                                                      due to an increase in DVD sales as a percentage
  17. “It's important to note that there is no downside               of total merchandise sales, primarily due to the
    implications to Blockbuster increasing its share of the           current competitive environment for retail DVD. These
    retail market. In the—in addition to the opportunity              decreases were partially offset by an increase in our
    for incremental sales, we make the same gross margin              rental gross margin, primarily due to an increase in the
    dollars on a DVD sale as we do on a rental. So we are             percentage of rental revenues attributable to DVD rental
    ambivalent as to how customers use us. Retail, rental,            product, which on average has a lower overall cost than
    new, used, DVD, VHS.” Am. Compl. ¶ 70(sic).                       other rental product.” Am. Compl. ¶ 75.

  18. In response to a question about how Blockbuster plans          *15 22. “We are maintaining our margins on DVD rentals
    to compete with their competitors who are selling DVDs            in the high 60s, and we are increasing our copy depth,
    making “a buck or nothing”: “So our view is the best              and we are not giving up our flexibility to market and
    way to combat that, quite frankly, is to use a rental             sell previously viewed DVDs, which we also feel is very
    promotional currency. So at Blockbuster the price of              important to our business.” Am. Compl. ¶ 80.
    that DVD might be $17.99 or $18.99 or $19.99. Couple
    that with a free rental offer. We think that converts         Statement 20 is from a February 12, 2002 report issued
    to a great value for the consumer without necessarily         by Salomon Smith Barney. Plaintiffs have failed to plead
    lowering the profit dollars on the transaction. So we feel    sufficient facts to impute to Defendants the “70% gross
    comfortable through managing the mix, through item            profit margin” statement in the analyst's report. “[T]o hold
    price management, through using promotional currency,         a defendant liable for misleading statements published by a
    that we can manage the margin dollars effectively and         third party, the plaintiff must at least identify the defendant
    still give the consumer a great value.” Am. Compl. ¶ 71.      who provided the information that the third party made
                                                                  public to the market.” In re Capstead Mortg. Corp. Sec.
                                                                  Litig., 258 F.Supp.2d 533, 562 (N.D.Tex.2003) (Lindsay, J.).
C. Alleged fraud relating to DVD rental margins                   Additionally, the plaintiff must plead facts “demonstrating
Plaintiffs allege that Defendants misrepresented that the gross   that Defendants exercised control over any of the analysts'
profit margin on DVD rentals was 70% when it was actually         comments.” In re Sec. Litig. BMC, 183 F.Supp.2d at 893.
lower, and that Defendants misrepresented that the gross          Here, since the speaker is not identified and no facts are pled
profit margin on DVD rentals was 10 percentage points             to show Defendants' control over the analyst's comments, the



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Court dismisses without prejudice Plaintiffs' claims based on              reports a 10 percentage point differential
Statement 20.                                                              between the gross profit margins for DVD and
                                                                           VHS rental products that are acquired through
Additionally, even if Statement 20 could be attributed to                  sell-through pricing arrangements and the gross
Defendants, Plaintiffs have failed to adequately plead that                profit margins for VHS rental products that are
this statement was false or misleading when made. Plaintiffs               acquired through revenue sharing arrangements.
allege that this statement was false when made because,                    Therefore, the February 12, 2003 conference call
in a February 12, 2003 press release, Blockbuster stated:                  statement discussing the differential between
“Rental margin declined to 66.6% in the fourth quarter of                  DVD rental margins and VHS rental margins,
2002 from 67.3% in the fourth quarter of 2001 as a result of               regardless of how the products were acquired,
the investment in incremental rental product in support of the             does not support an inference that the Hollywood
expected higher rental revenues, which did not materialize.”               Reporter statement was false when made.
Am. Compl. ¶ 87. However, this press release discusses the
                                                                 Finally, Plaintiffs have failed to plead any facts to support
combined rental margin for DVD and VHS, not the rental
                                                                 the allegation that Statements 19, 21, or 22 were false
margin for DVD alone, while the alleged 70% statement
                                                                 or misleading when made. In fact, Plaintiffs' Amended
refers to DVD rental margin alone. Therefore, this press
                                                                 Complaint supports the characterization of DVDs as “higher
release does not support an inference that Statement 20 was
                                                                 margin,” the statement that DVD rental product “on average
false when made.
                                                                 has a lower overall cost than other rental product,” and the
                                                                 statement that the margins on DVD rentals were “in the
Plaintiffs additionally allege that Defendants misrepresented
                                                                 high 60s.” Therefore, the Court dismisses without prejudice
that there was a 10 percentage point differential between DVD
                                                                 Plaintiffs' Amended Complaint to the extent it is premised on
and VHS rental margins, when it was later disclosed to be
                                                                 alleged misrepresentations contained in Statements 19, 21, or
only a 3 to 4 percentage point differential. Am. Compl. ¶ 36,
                                                                 22.
89. However, Plaintiffs do not allege any specific facts about
who made this statement, when it was made, or to whom it
was made. Since Plaintiffs have completely failed to plead       D. Alleged fraud relating to problems with Blockbuster's
the “who, what, when, where, how” details about this alleged     technology
statement, the Court dismisses without prejudice Plaintiffs'      *16 Plaintiffs claim that Blockbuster misrepresented
claims based on this alleged misrepresentation. 3                the capability of its inventory management and product
                                                                 distribution systems because its national point-of-sale
3                                                                (POS) system and distribution system were inadequate to
       In their Response, Plaintiffs attempt to cure
                                                                 support Blockbuster's business, and were in fact generating
       this defect by citing the following excerpt from
                                                                 increased costs. Plaintiffs identify the following alleged
       a February 12, 2002 article in the Hollywood
                                                                 misrepresentations:
       Reporter:
             According to Zine, Blockbuster has margins            23. The POS system allows Blockbuster “to determine on a
             of 70%-plus on DVDs by buying a DVD for                 store-by-store basis the number of copies of each newly
             $17 on average, renting it and then selling it          released movie that is to be offered by each U.S. store.”
             for $12 on average. VHS sell-through margins            Am. Compl. ¶ 46.
             are at 70% and VHS revenue sharing margins
             at 60%.                                               24. The centralized distribution system allows Blockbuster
          Even if Plaintiffs had included this statement in          “to process and distribute a greater quantity of products
          their Amended Complaint, Plaintiffs would have             while reducing costs and improving services to our
          failed to sufficiently allege that this statement          stores.” Am. Compl. ¶ 46.
          was false when made. Plaintiffs contend that
          the Hollywood Reporter statement was shown               25. In response to a question about how Blockbuster will
          to be false by the February 12, 2003 conference            manage the purchase of a couple hundred video game
          call discussion of the 3 to 4 percentage point             titles to be released in the second half of 2002: “As far as
          differential between DVD and VHS rental                    number of titles to manage, we're not especially troubled
          margins. The Hollywood Reporter statement                  by that. Let's face it, we manage thousands of titles every



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     year. So, it's really nothing new about that.” Am. Compl.
     ¶ 71.                                                         *17 Because Plaintiffs have failed to adequately plead that
                                                                  the statements about POS and the inventory management
In an attempt to plead with particularity facts showing that      system were false, the Court dismisses without prejudice
the above statements were false or misleading when made,          Plaintiffs' claims based on Statements 23–25.
Plaintiffs quote one former district manager from California
as stating: “[I]t was very frustrating as store manager to be
out of DVD movies within two hours of a release and then
                                                                               VII. INFERENCE OF SCIENTER
spend the rest of the week giving out hundreds upon hundreds
of coupons because of [Blockbuster's] in stock guarantee.”        The PSLRA also requires that a complaint “state with
Am. Compl. ¶ 48. This statement, of only one store manager,       particularity facts giving rise to a strong inference that the
does not tie the out-of-stock problem to the POS or product       defendant acted with the required state of mind.” 15 U.S.C.
distribution systems.                                             § 78u–4(b)(2). If this requirement is not met here, the Court
                                                                  must dismiss the Amended Complaint. 15 U.S.C. § 78u–4 ((b)
Second, Plaintiffs refer to a former district manager's           (3)(A).
statements about repricing and inventory during the
“remerchandising” program: “The manager explained that to         Misrepresentations and omissions are actionable if the
transfer a tape from a rental to a PVT takes some time since      plaintiff proves that the defendant acted with “severe
new bar codes (sic) labels have to be printed for and placed      recklessness.” Nathenson, 267 F.3d at 408 (“It seems clear to
on each tape. Under MOP, [Blockbuster] used a different           us that the PSLRA has not generally altered the substantive
method because it would take ‘forever’ to manually generate       scienter requirement for claims brought under section 10(b)
new bar codes and update the selling price for hundreds of        and Rule 10b–5, and therefore severe recklessness, as defined
movies at a time.... When the tapes were transferred back into    in Broad, remains a basis for such liability.”). Under Broad
the stores, they were reflected in [Blockbuster's] system with    v. Rockwell, severe recklessness is “limited to those highly
the designation of ‘MOP,’ rather than being reflected in the      unreasonable omissions or misrepresentations that involve
computer with the original title of the movie .” Am. Compl. ¶     not merely simple or even inexcusable negligence, but an
48. These statements about how repricing and inventory were       extreme departure from the standard of ordinary care, and
managed during the remerchandising program do not tend to         that present a danger of misleading buyers or sellers which
show that Blockbuster's POS and product delivery systems          is either known to the defendant or is so obvious that the
were inadequate to support Blockbuster's business.                defendant must have been aware of it.” Broad v. Rockwell,
                                                                  642 F.2d 929, 961 (5th Cir.1981). Defendants contend that
Third, Plaintiffs cite Blockbuster's 2002 Form 10–K, filed        Plaintiffs have failed to state with particularity facts giving
on March 27, 2003, which includes the following cautionary        rise to a strong inference that Defendants acted with “severe
statements: “Any Failure or Inadequacy of Our Information         recklessness” of the falsity of the alleged misrepresentations
Technology Infrastructure Could Harm Our Business....             and omissions.
[F]or approximately fifteen years, we have been adding
applications to our existing point-of-sale, or POS, system        Although allegations of motive and opportunity may
in order to add features and functionality relevant to            meaningfully enhance the strength of an inference of scienter,
our business, and we have not yet determined how we               allegations of motive and opportunity, without more, will not
will approach updates or upgrades to this system in the           fulfill the pleading requirements of the PSLRA. Goldstein
future. We may not be able to effectively upgrade and             v. MCI WorldCom, 340 F.3d 238, 246 (5th Cir.2003). The
expand our systems, or add new systems, in a timely               Fifth Circuit has distinguished those complaints alleging
manner or to integrate smoothly any newly developed or            opportunity and unrealized motive from those alleging actual
purchased technologies with our existing systems. These           insider trading. See Rosenzweig, 332 F.3d at 867 (“We note
difficulties could harm or limit our ability to improve our       additionally that there is no allegation that defendants sold
business.” Am. Compl. ¶ 90. This statement does not support       their Azurix shares, calling into question the alleged motive
Plaintiffs' allegation that, during 2002, the POS and inventory   to artificially inflate the stock price.”); Abrams v. Baker
management systems were inadequate or caused Blockbuster          Hughes Inc., 292 F.3d 424, 434 (5th Cir.2002) (“Absent an
any problems.                                                     allegation that the defendants profited from the inflated stock



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value of the offerings, such allegations fail.”). Therefore,        Antioco realized a profit of $6,725,739; Zine realized a profit
although “allegations of insider trading are essentially a form     of $955,525; and Travis realized a profit of $1,476,799.
of motive and opportunity allegations,” they may be sufficient
to support an inference of scienter when they are in suspicious     4      The Court notes that the last two rows of the
amounts, at suspicious times, and out of line with prior trading           chart on page 553 of Defendants' Appendix seem
practices. Southland Sec. Corp. v. INSpire Ins. Solutions Inc.,            to incorrectly tally the running totals of options
No. 02–10558, 2004 WL 626721, at *8 (5th Cir. Mar. 31,                     exercised during the Class Period, as the Court
2004) (citing Abrams, 292 F.3d at 435). Here, Plaintiffs have              understands the facts. In each row, a total of 96,000
alleged motive, opportunity, and insider trading.                          options had been exercised.
                                                                    Defendants argue that any suspicious motive suggested by
                                                                    these figures is negated because the Individual Defendants
                           1. Motive                                retained a large percentage of their stock options, and it
                                                                    was contrary to their self-interests to inflate the price in
 *18 Plaintiffs allege that the Individual Defendants were
                                                                    the short term at the expense of the long term price.
motivated to keep the stock price high so that they
                                                                    The Court agrees that, if the Individual Defendants had
could sell their holdings at a profit. E.g., Am Compl.
                                                                    actually lost more money than they gained as a result
¶ 102 (“[D]efendants were motivated not to disclose
                                                                    of the alleged fraud, the aggregate loss might defeat an
that Blockbuster's strategic re-merchandising program was
                                                                    inference of scienter. In the current case, however, what
ongoing during 2002 so that they could forestall the
                                                                    the Individual Defendants retained were primarily options,
Company's reporting of the adverse financial consequences
                                                                    not stock. Therefore, although the lower stock price after
associated with such program until after they sold millions of
                                                                    December 2002 decreased Defendants' potential profits from
dollars of Blockbuster stock at artificially inflated prices.”).
                                                                    an exercise of their options, Defendants did not actually lose
                                                                    money because they did not have to pay for the options.
                                                                    Therefore, the Individual Defendants' retention of their vested
                        2. Opportunity                              stock options does not foreclose an inference of fraud.
                                                                    Plaintiffs have stated with particularity facts supporting the
Plaintiffs allege that Defendants, as a result of their positions   allegation that the Individual Defendants engaged in trading
within the Company, must have known about the Buena                 in suspicious amounts and out of line with prior trading
Vista dispute, the ongoing merchandising program, the               practices.
competition posed by mass merchants, the gross profit
margins on DVD rentals, and the technology problems. Am.
Compl. ¶ 16. Throughout the Class Period, John Antioco
was Blockbuster's CEO and Chairman of the Board, Nigel                                4. Individualized Pleading
Travis was Blockbuster's President, and Larry Zine was
                                                                    As recently clarified by the Fifth Circuit in Southland
Blockbuster's Chief Financial Officer.
                                                                    Securities Corp. v. INSpire Insurance Solutions Inc., the
                                                                    “group pleading” doctrine conflicts with the scienter
                                                                    requirement of the PSLRA. Southland, 2004 WL 626721, at *
                       3. Insider trading                           6. Therefore, generalized pleading about motive, opportunity,
                                                                    and insider sales during the Class Period (even if in suspicious
Prior to the Class Period, none of the Individual Defendants        amounts and out of line with prior trading practices) are
sold any shares of common stock. Am. Compl. ¶ 50. During            insufficient to adequately plead scienter. Rather, Plaintiffs
the Class Period, Antioco, Zine, and Travis sold, respectively,     must “distinguish among those they sue and enlighten each
36%, 27%, and 31% 4 of their holdings. This percentage              defendant as to his or her particular part in the alleged
calculation takes into account vested stock options that were       fraud.” Id. (quoting Judge Means's district court opinion).
not exercised. During the Class Period, Antioco, Zine, and          In order to enlighten each Individual Defendant as to his
Travis sold, respectively, 69%, 100%, and 100% of their             particular part in the alleged fraud, Plaintiffs must provide
holdings of stock, excluding options. During the Class Period,      “specific factual allegations link[ing] the individual to the
                                                                    statement at issue.” Id. “Such specific facts tying a corporate



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officer to a statement would include a signature on the                    Therefore, the Court need only analyze whether
document or particular factual allegations explaining the                  Plaintiffs have pled an inference of scienter
individual's involvement in the formulation of either the                  with respect to the statements or omissions
entire document, or that specific portion of the document,                 of the Individual Defendants. Upon re-pleading,
containing the statement.” Id. Further, although statements                if Plaintiffs intend to impute to Blockbuster
issued on behalf of a corporation may be attributed to                     the scienter of individuals who are not named
the corporation without specific factual allegations linking               as parties, Plaintiffs shall identify the specific
an individual to the statement, a “defendant corporation                   statements or omissions with which each individual
is deemed to have the requisite scienter for fraud only if                 is connected and demonstrate how the individual's
the individual corporate officer making the statement has                  stock sales create an inference of scienter with
the requisite level of scienter.” Id. at *7. Therefore, in                 respect to those specific statements or omissions.
analyzing whether Plaintiffs' allegations raise an inference        6
of scienter with respect to the Individual Defendants and                  Defendants argue that, when examining the
Blockbuster, the Court must analyze whether Plaintiffs have                temporal proximity of an alleged misrepresentation
alleged a link between each Individual Defendant's alleged                 or omission and a stock sale, the Court
                                                                           should consider an alternative explanation for
insider trading and his particular part in the alleged fraud. 5
                                                                           the timing of the sale of stock: “As with
In performing this analysis, guided by the Fifth Circuit's
                                                                           other companies, Blockbuster maintains a trading
analysis in Southland, the Court will examine (1) the temporal
                                                                           window prohibiting insider transactions prior to
proximity of the alleged misrepresentation or omission and
                                                                           earnings announcements.” As recognized by the
the stock sale, 6 and (2) the price of the stock when it was               Fifth Circuit in Rubinstein, when deciding a motion
sold by the insider. See also Abrams, 292 F.3d at 435 (finding             to dismiss, the Court should not consider evidence
that Plaintiffs' allegations of insider trading did not create an          of alternative explanations for the timing of sales.
inference of scienter because sales were not alleged to be “at             Rubinstein, 20 F.3d at 170 n. 38 (“The defendants
times calculated to maximize personal profit”); Nathenson,                 claim in their brief and at oral argument that these
267 F.3d at 420 (finding that Plaintiffs' allegations of insider           sales were innocuous because they were made in
trading did not raise an inference of scienter because sales               response to tax considerations. While this may well
were “unrelated to any Company announcements”).                            turn out to be true, at this stage of the litigation
                                                                           we only have the Plaintiffs (sic) complaint before
5                                                                          us. Thus, it is impossible for us to consider this
        In order to plead an inference of scienter with
        respect to Blockbuster, Plaintiffs could attempt                   ‘evidence’ to ascertain whether this purported
        to impute to Blockbuster the scienter of officers,                 insider trading occurred at suspicious times or in
        directors, or employees of Blockbuster who are                     suspicious amounts.”). Therefore, the Court will
        not named as Individual Defendants in this action.                 not consider the Individual Defendants' alternative
        See Southland, 2004 WL 626721, at *7 (noting                       explanation for the timing of sales. Further, even if
        that the plaintiffs had not alleged that “any                      the Court were to take this alternative explanation
        individual INSpire director, officer, or employee                  into account, the Court notes that Antioco's sale
        other than the named individual defendants had                     of 100,000 shares in the week preceding the filing
        acted with scienter in or respecting the making or                 of Blockbuster's May 14, 2002 Form 10–Q and
        issuing of any of the complained of statements”                    Zine's sale of 25,000 shares the day before the
        and concluding that, as a result, it was only                      filing of Blockbuster's May 14, 2002 Form 10–Q
        necessary “to address the allegations claimed to                   tend to raise doubts about the proffered alterative
        adequately show such state of mind on the part of                  explanation.
        the individual defendants”). Here, Plaintiffs have
        alleged insider trading by numerous individuals             a. John Antioco
        who are not named as parties. However, Plaintiffs            *19 Between April 26, 2002 and April 30, 2002, Antioco
        have failed to plead with sufficient particularity          sold 141,840 shares, at share prices of $28.6973 and
        a connection between those individuals and any              $28.5151. On April 24, 2002, Blockbuster issued a press
        of the alleged misrepresentations or omissions.             release announcing its financial results for the first quarter



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of 2002. Plaintiffs have not pled specific factual allegations      In summary, Plaintiffs' allegations create an inference of
linking that press release to Antioco, and therefore, Antioco's     scienter with respect to Antioco's alleged misrepresentations
sale of stock shortly after its issuance does not raise an          and omissions in the April 24, 2002 conference call, April
inference of scienter with respect to that press release.           25, 2002 interview, and April 28, 2002 article, and that
On April 24, 2002, Antioco participated in a conference             inference of scienter is imputed to Blockbuster. However,
call with analysts; on April 25, 2002, Antioco gave an              with respect to all other misrepresentations or omissions,
interview to Bloomberg Business News; and, on April 28,             Plaintiffs' allegations fail to create an inference that Antioco
2002, Video Store published an article quoting Antioco.             acted with the requisite scienter.
Therefore, Plaintiffs have pled temporal proximity between
Antioco's stock sales and the statements or omissions
contained in the aforementioned conference call, interview,         b. Larry Zine
and article. Further, in light of Plaintiffs' allegation that        *20 On April 26, 2002, Zine sold 33,333 shares, at a share
Antioco's fraudulent statements or omissions contained in           price of $28.6973. On April 24, 2002, Blockbuster issued
the aforementioned conference call, interview, and article          a press release announcing its financial results for the first
inflated the stock price until December 18, 2002, the Court         quarter of 2002. Plaintiffs have not pled specific factual
notes the dramatic difference between the price of the stock        allegations linking that press release to Zine, and therefore,
when Antioco sold it, roughly $28.00 per share, and the             Zine's sale of stock shortly after its issuance does not raise
$13.13 price at the close of the market on December 18,             an inference of scienter with respect to that press release. On
2002. Therefore, in light of the alleged motive, opportunity,       April 24, 2002, Zine participated in a conference call with
suspicious amount of sales, unusual trading activity, temporal      analysts. Therefore, Plaintiffs have pled temporal proximity
proximity between the alleged fraud and the sales, and the          between Zine's stock sales and Zine's statements or omissions
price of the stock when Antioco sold it, the Court finds            contained in the aforementioned conference call. Further,
that Plaintiffs' allegations create an inference that Antioco,      because Plaintiffs allege that the fraudulent statements or
and thus Blockbuster, acted with the requisite scienter when        omissions contained in the aforementioned conference call
making the alleged misrepresentations and omissions in the          inflated the stock price until December 18, 2002, the Court
April 24, 2002 conference call, April 25, 2002 interview, and       notes the dramatic difference between the price of the stock
April 28, 2002 article.                                             when sold, approximately $28.00 per share, and the price at
                                                                    the close of the market on December 18, 2002, $13.13 per
Between May 10, 2002 and May 17, 2002, Antioco sold                 share. Therefore, in light of the alleged motive, opportunity,
275,000 shares, at share prices between $28.55 and $29.648.         suspicious amount of sales, unusual trading activity, temporal
On May 14, 2002, Blockbuster filed its Form 10–Q for the            proximity between the alleged fraud and the sales, and the
first quarter of 2002. Since Plaintiffs allege that the Form        price of the stock when sold, the Court finds that Plaintiffs
10–Q contained fraudulent misrepresentations and omissions          have alleged that, like Antioco, Zine (and thus Blockbuster)
that artificially inflated the stock price, Antioco's stock sales   acted with the requisite scienter when making the alleged
prior to May 14, 2002 do not raise an inference of scienter         misrepresentations and omissions in the April 24, 2002
with respect to the Form 10–Q. Antioco did not benefit from         conference call.
the alleged misrepresentations and omissions by selling his
stock prior to their alleged effect on the stock price. Further,    On May 13, 2002, Zine sold 25,000 shares, at a share price
Plaintiffs have not pled specific factual allegations linking the   of $28 .7781. On May 16, 2002 and May 17, 2002, Zine
                                                                    sold a total of 40,000 shares, for share prices of $29.6459
form 10–Q to Antioco, 7 and therefore, Antioco's sale of stock
                                                                    and $29.3576. On May 14, 2002, Blockbuster filed its Form
shortly after its filing does not raise an inference of scienter
                                                                    10–Q for the first quarter of 2002, signed by Zine. Since
with respect to the Form 10–Q.
                                                                    Plaintiffs allege that the Form 10–Q contained fraudulent
                                                                    misrepresentations and omissions that artificially inflated the
7       The Court does not reach the issue of whether, if           stock price, Zine's stock sales prior to May 14, 2002 do not
        Plaintiffs had alleged a link between the Form 10–          raise an inference of scienter with respect to the Form 10–Q.
        Q and Antioco as a result of Antioco's position as          However, Zine's sales on May 16, 2002 and May 17, 2002 are
        CEO and Chairman of the Board, such an allegation           temporally proximate to the filing of the Form 10–Q, which
        would be sufficient.                                        was signed by Zine. Further, because Plaintiffs allege that the
                                                                    fraudulent statements or omissions contained in the Form 10–


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Q inflated the stock price until December 18, 2002, the Court      or of any rule or regulation thereunder shall also be liable
notes the substantial difference between the price of the stock    jointly and severally with and to the same extent as such
when sold, approximately $29.00 per share, and the price at        controlled person to any person to whom such controlled
the close of the market on December 18, 2002, $13.13 per           person is liable....” 15 U.S.C. § 78t. There can be no liability
share. Therefore, in light of the alleged motive, opportunity,     under section 20(a) without a finding that a provision of the
suspicious amount of sales, unusual trading activity, temporal     Securities Exchange Act has been violated. Therefore, to the
proximity between the alleged fraud and the sales, and the         extent Plaintiffs' section 20(a) claim is premised on Plaintiffs'
price of the stock when sold, the Court finds that Plaintiffs      claims related to Statements 1–15, Plaintiffs' section 20(a)
have alleged that Zine, and thus Blockbuster, acted with the       claim is dismissed with prejudice. To the extent Plaintiffs'
requisite scienter when making the alleged misrepresentations      section 20(a) claim is premised on Plaintiffs' claims related
and omissions in the Form 10–Q.                                    to other alleged misrepresentations and omissions, Plaintiffs'
                                                                   section 20(a) claim is dismissed without prejudice.
In summary, Plaintiffs have pled an inference of scienter with
respect to Zine's alleged misrepresentations and omissions
in the April 24, 2002 conference call and the May
                                                                                      IX. LEAVE TO AMEND
14, 2002 Form 10–Q, and that inference of scienter is
imputed to Blockbuster. However, with respect to all other         The Court dismisses with prejudice Plaintiffs' claims
misrepresentations or omissions, Plaintiffs' allegations fail to   premised on Statements 1–10 because they are protected by
create an inference that Zine acted with the requisite scienter.   the PSLRA safe harbor for forward-looking statements, and
                                                                   Plaintiffs' claims premised on Statements 11–15 because they
                                                                   are immaterial as a matter of law.
c. Nigel Travis
 *21 On February 14, 2002, Travis sold 66,666 shares, at a
                                                                   The remainder of Plaintiffs' claims are dismissed because they
share price of $21.5066. On February 12, 2002, Blockbuster
                                                                   are inadequately pled. In Plaintiffs' Response to Defendants'
issued a press release announcing its financial results for the
                                                                   Motion to Dismiss, Plaintiffs do not seek leave to amend
2001 calendar year, Antioco gave an interview to Bloomberg
                                                                   Plaintiffs' Amended Complaint in the event that the Court
Business News, and Salomon Smith Barney issued a report
                                                                   finds Plaintiffs' pleading to be inadequate, and Defendants
rating Blockbuster's stock as “neutral.” Plaintiffs have not
                                                                   thus urge the Court to dismiss Plaintiffs' Amended Complaint
pled specific factual allegations linking the press release,
                                                                   without leave to amend. However, the Court finds that
interview, or report to Travis, and therefore, Travis's sale of
                                                                   justice would be better served if Plaintiffs were afforded the
stock shortly thereafter does not raise an inference of scienter
                                                                   opportunity to amend their complaint to comply with the
with respect to the press release, interview, or report. On
                                                                   PSLRA. Therefore, the Court dismisses Plaintiffs' remaining
July 29, 2002, Travis sold 40,000 shares, at a share price
                                                                   claims without prejudice and with leave to amend.
of $24.0439. On July 24, 2002, Blockbuster issued a press
release announcing its financial results for the second quarter
                                                                    *22 The Court warns Plaintiffs that the Court is unlikely
of 2002, and Antioco and Zine participated in a conference
                                                                   to grant Plaintiffs further opportunity to amend. The Court
call. Plaintiffs have not pled specific factual allegations
                                                                   suggests that Plaintiffs consider how their Second Amended
linking the press release or conference call to Travis, and
                                                                   Consolidated Complaint could be better drafted than their
therefore, Travis's sale of stock shortly thereafter does not
                                                                   Amended Complaint. Judge Lindsay's description of the
raise an inference of scienter with respect to the press release
                                                                   plaintiffs' complaint in Schiller is equally apt here: Plaintiffs'
or conference call. Plaintiffs' allegations fail to create an
                                                                   Amended Complaint “represents a labyrinth, requiring
inference that Travis acted with the requisite scienter.
                                                                   the court to piece together the elements of the claims
                                                                   from allegations made all over the complaint.” Schiller v.
                                                                   Physicians Res. Group, No. 2:97–CV–3158–L, 2002 WL
              VIII. SECTION 20(A) CLAIMS                           318441, at *5 (N.D.Tex. Feb. 26, 2002) (Lindsay, J.).

Section 20(a) of the Securities Exchange Act provides in           If they wish to do so, Plaintiffs shall file a Second
pertinent part: “Every person who, directly or indirectly,         Amended Consolidated Complaint on or before May 21,
controls any person liable under any provision of this chapter     2004. Defendants shall answer or otherwise respond by June



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                                                                   SO ORDERED.
18, 2004. If Defendants file a Motion to Dismiss Plaintiffs'
Second Amended Consolidated Complaint, Plaintiffs shall
respond within 25 days after the motion is filed, and              All Citations
Defendants shall reply within 15 days after the response is
filed. The Court is extremely unlikely to grant any motions,       Not Reported in F.Supp.2d, 2004 WL 884308, Fed. Sec. L.
agreed or otherwise, to extend these deadlines.                    Rep. P 92,806



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                     Case No. 10




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                                                                              to conserve and manage coastal and marine
                                                                              ecosystems and resources.” Id.
     KeyCite Yellow Flag - Negative Treatment
Declined to Follow by Ramirez v. Exxon Mobil Corporation, N.D.Tex.,   Defendants have moved for summary judgment, seeking to
August 14, 2018                                                       dismiss Plaintiffs' case in its entirety. 3 Plaintiffs have filed a
                                                                      motion for partial summary judgment, seeking judgment as
                     2016 WL 3090779                                  a matter of law with respect to the elements of falsity and
United States District Court, S.D. Texas, Houston Division.           scienter. For the reasons set forth below, the Court GRANTS
                                                                      IN PART and DENIES IN PART Defendants' motion
      IN RE: BP P.L.C. SECURITIES LITIGATION.
                                                                      for summary judgment, and DENIES Plaintiffs' motion for
               This Document Relates To:
                                                                      summary judgment in its entirety.
           In re: BP p.l.c. Securities Litigation
            (Federal Securities Class Action).                        3       Also pending are Defendants' motions to exclude
                    MDL NO. 4:10-MD-2185                                      the testimony of Chad Coffman and Gregg Perkin.
                              |                                               The Court will take up those motions in a separate
                      Signed 05/31/2016                                       memorandum and order at a later date.


                                                                      I. FACTUAL BACKGROUND 4
             MEMORANDUM AND ORDER                                     4     The facts contained herein are undisputed, unless
                                                                              otherwise noted.
KEITH P. ELLISON, UNITED STATES DISTRICT JUDGE

 *1 The Deepwater Horizon, an off-shore drilling rig leased              A. Overview of Flow Rate Estimation Methodologies
by BP, exploded around 10:00 p.m. on Tuesday, April                   BP employed three different types of techniques to measure
20th, 2010, resulting in the deaths of eleven workers and a           the flow rate of the leak: (1) hydraulic modeling; (2) surface
catastrophic oil spill. 1 In the days and weeks following the         expression estimation; and (3) velocimetry.
explosion, scientists at BP, several independent contractors,
and the National Oceanic and Atmospheric Association
(“NOAA”) 2 employed methodologies to estimate the rate                                   (1) Hydraulic Modeling
at which oil was leaking into the Gulf of Mexico. Plaintiffs
argue that BP publicly misrepresented the range of its internal       For the purposes of this case, “hydraulic modeling” refers to
flow-rate estimates on four different occasions, causing the          “the use of mathematical...techniques to simulate the behavior
market to conclude that the oil spill would be relatively small,      of fluids in systems and to make projections about those
when in fact BP's internal estimates suggested that the flow          systems.” 5 Simplistically, “a user of a hydraulic model
rate (and, by extension, the ultimate size of the spill) was          can typically specify two of three basic hydraulic variables
far more severe than BP publicly represented. Plaintiffs bring        in order to solve for the remaining, third variable. Those
their claims under Sections 10(b) and 20(a) of the Securities         three basic hydraulic variables are (i) inlet pressure, (ii)
Exchange Act.                                                         outlet pressure, and (iii) flow rate through the system.” 6
                                                                      In this case, the “system” to be modeled was the reservoir
1                                                                     through the wellbore and blow-out preventer (“BOP”) to the
        (Doc. Nos. 927, 928 (“Third Consolidated
        Amended Class Action Complaint” or “TAC”), at                 subsurface.
        ¶ 263; Doc. No. 996 (“Answer”), at ¶ 263.)
                                                                      5
2                                                                             (Def. Ex. 25 (“Ballard Rep.”), at 3.)
        The NOAA is an agency of the U.S.
        federal government. About our agency, NOAA,                   6       (Ballard Rep. at 4.)
        http://www.noaa.gov/about-our-agency. Its stated
                                                                       *2 There are many software programs which perform
        mission is “[t]o understand and predict changes
                                                                      hydraulic modeling, including: Prosper, GAP, PIPESIM,
        in climate, weather, oceans, and coasts, to share
        that knowledge and information with others, and               OLGA-ABC, and OLGA-WellKill. 7 The quality of the



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estimates produced by these programs, however, depends on          in its coloring. 14 Once the slick and its color gradations
how accurately the physical properties of the modeled system       are mapped, the total surface area of each color variant is
are defined. 8 Here, while some physical properties of the         multiplied by an assumed thickness (in microns) for that
system were known as a result of the drilling process, 9 others    variant. 15 Combining the volumes of each color variant
were not. 10 The sinking of the rig and wrenching of the riser     together provides an estimate of the total volume of oil

altered the well's geometry, 11 and it was unclear exactly what    contained within the slick. 16
breaches had occurred and what restrictions were present to
                                                                   14
impede flow. 12 As a result, it was impossible to define the              (Def. Ex. 24 (“Potter Rep.”) at 3; see also Pl. Ex.
system with absolute certainty.                                           46 (applying this methodology).)
                                                                   15
                                                                          (Potter Rep. 3; see also Pl. Ex. 46.)
7      (Def. Ex. 26 (“Perkin Rep.”), at 20.)
                                                                   16
                                                                          (Potter Rep. 3; see also Pl. Ex. 46.)
8      (Ballard Rep. at 4-7.)
                                                                   There are multiple surface estimation methodologies,
9                                                                  including ASTM, the Bonn Agreement, and Metcalf &
       As operator, BP had access to proprietary data
       relating to the reservoir, fluid properties, and the        Eddy. 17 The primary differences among these methodologies
       infrastructure of the well. (Pl. Ex. 6, at 52; Pl. Ex.      are (1) the number and description of color gradations within
       36, at 83; Pl. Ex. 42, at 144-47; Def. Ex. 15, at           the slick and (2) the thicknesses assigned to the respective
       14-15; Perkin Rep. at 20.)
                                                                   color gradations. 18
10     In addition to the unknown flow path and
       restrictions, system unknowns included the amount           17     (Potter Rep. 3.)
       of exposed reservoir; the “skin factor;” and the
                                                                   18
       well's Productivity Index (“PI”). (Pl. Ex. 42, at 153,             (See Potter Rep. 3-5.)
       376; Perkin Rep. at 20.)                                    Surface estimation is typically used to determine the amount
11                                                                 of oil contained within a slick: i.e., what is sitting on the
       (See Perkin Rep. at 20.)
                                                                   water. 19 But it can also be used to calculate the rate at
12     (Ballard Rep. at 8-9; Perkin Rep. at 20; Pl. Ex. 36,        which oil is being released on an ongoing basis. 20 In order
       at 84-85.)                                                  to accomplish an ongoing rate calculation, the volume of oil
Despite these unknowns, multiple individuals employed by           contained within the slick is combined with the volume of
BP (or contracted to BP) utilized hydraulic modeling in            oil assumed to be lost through dispersion and evaporation. 21
the post-explosion time period. In fact, of the three types        This total amount is then divided by the number of days that
of work product concerning flow rate produced in this              oil has been released to arrive at a daily flow rate.
time period, hydraulic modeling was the most extensively
deployed and appears to have been the work product that BP         19     (Pl. Ex. 42, at 60.)
and its contractors relied upon for substantive source control
                                                                   20
decisions. 13                                                             Plaintiffs have submitted “expert” testimony
                                                                          from Gregg Perkin to the effect that surface
13                                                                        estimation techniques were inapplicable to, and
       (See Pl. Ex. 18 (Barnett Dep.) at 63:15 – 64:5.)
                                                                          scientifically unreliable in, the case of a deepwater
                                                                          blowout. (Perkin Rep. at 53-55.) Defendants argue,
                    (2) Surface Estimates                                 convincingly, that Perkin is not qualified to offer
                                                                          this testimony.
Surface estimation involves estimating the volume of oil           21
contained within a slick based upon surface area and assumed              (Def. Ex. 24 (“Potter Rep.”), at 2-3.)
thickness. This technique is also called “mass balance” or
“surface expression.” Roughly, field observers conduct aerial
overflights of the slick in order to map its size and variations


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                                                                   (“FOSC”). 32 In the time period at issue, the FOSC was Rear
                   (3) Particle Image Velocimetry                  Admiral Mary Landry of the U.S. Coast Guard. 33

 *3 Particle Image Velocimetry—or simply velocimetry—              28
involves visual observation of the underwater plume. The                  (TAC at ¶ 45.)
plume's velocity can be estimated by visually tracking a           29     (Pl. Ex. 85, at 17-19.)
                                         22
particle within the plume over time.     Combined with the
                                                                   30
size of the hole and an assumption of the gas-to-oil ratio,               At that time, Suttles was Chief Operating Officer of
velocimetry returned a rough estimate of the flow of oil from             BP's Exploration and Production business segment.
the well.                                                                 (TAC at ¶ 45; Answer at ¶ 45.) When questioned
                                                                          at his May 19, 2011 deposition in MDL 2179, he
22                                                                        could not identify the exact BP corporate entity
         (Pl. Ex. 39, at 251.)
                                                                          which employed him. (Pl. Ex. 14, at 548-51.)

  B. April 20 to April 23: The Explosion and its                   31     (Pl. Ex. 1, at 29-31.)
  Aftermath
                                                                   32
After the Deepwater Horizon exploded on the night of                      (Pl. Ex. 85, at 18; Def. Ex. 10, at 64.)
Tuesday, April 20th, 23 the rig burned for approximately           33     (Pl. Ex. 85, at 14.)
36 hours before sinking at 10:20 a.m. on Thursday, April
                                                                   Up to this point, BP's flow rate estimates were limited—the
22nd. 24 When the rig sank, it wrenched and twisted the pipe
                                                                   leak was not even discovered until the evening of April 23rd.
attaching the rig to the wellhead (the “riser”). 25 The riser      According to BP, their surface expression work resulted in
came to rest on the seafloor. Initially, no ongoing releases       estimates in the hundreds of barrels, and engineers at BP
of hydrocarbons were detected from the riser or the blowout        had begun employing hydraulic modeling to determine ranges
preventer (“BOP”). Remote-operated vehicles (“ROVs”) first         of possible flow rates on the assumption that the well was
detected two leak points in the riser around 6 p.m. on Friday,
                                                                   leaking. 34
              26
April 23rd.        A third leak was detected on Wednesday, April
        27
28th.                                                              34
                                                                          (See Doc. No. 1128 (“Pl. Opp.”) at Appendix A.)

23       (TAC at ¶ 263; Answer at ¶ 263.)                            C. April 24th: Suttles's First Alleged
24                                                                   Misrepresentation
         (Def. Ex. 64.)
                                                                   On April 24, 2010, Suttles participated in a UAC press
25                                                                 conference. He prepared two pages of remarks. 35 These
         (Def. Ex. 64.)
                                                                   scripted remarks—along with a typed summary of the press
26       (Def. Ex. 64.)
                                                                   conference prepared by BP's Daren Beaudo 36 —are the
27                                                                 only evidence of what Suttles said at the press conference;
         (Pl. Ex. 3, at 2, 5.)
                                                                   according to the Associated Press, responding to a non-party
In the meantime, an organization known as the Unified              subpoena, no transcript or audio or video recording exists
Area Command (“UAC” or “Unified Command”) was
                                                                   of the April 24th press conference. 37 Suttles, when shown
                                                         28
established to organize and manage any spill response. The         the prepared remarks at his deposition, testified that they
UAC included representatives from the federal government           “look[ ] like my prepared remarks for the [April 24, 2010]
and affected state governments— particularly, the U.S.             press conference,” but he could not remember if he delivered
Coast Guard; the NOAA; and the Department of the
                                                                   the remarks verbatim. 38
Interior's Minerals Management Service (“MMS”)—and
from the private sector—particularly, BP. 29 Defendant Doug        35     (Pl. Ex. 2.)
Suttles 30 served as BP's representative on the UAC. 31 The
head of the UAC was the Federal On-Scene Coordinator               36     (Def. Ex. 110.)




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37     (Doc. No. 1082 (“MSJ”), at 14 n.8.)
                                                                   42      (Pl. Ex. 1, at 58:1-11.)
38     (Pl. Ex. 1 (Suttles Dep.) at 91:9-92:8, 107:2-15.)
                                                                   43      (Pl. Ex. 19; Def. Ex. 39.). Defendants state that,
 *4 In the prepared remarks, Suttles spoke in the collective
                                                                           “[t]he next day, Rainey's methodology estimated
“we.” He claims that he was speaking on behalf of the Unified
                                                                           flow rates...with a best guess of 5,092.” (Doc.
Command, 39 but his remarks can also be read—more fairly,
                                                                           No. 1123 (“Def. Opp.”) at 10-11.) But there is no
in the Court's estimation—to refer to the BP Group rather
                                                                           indication that Rainey presented these estimates to
than the combined UAC. 40 Speaking in this manner, he                      Suttles before he (Suttles) made his statement on
acknowledged the detection of leaks from the damaged riser:                the 29th. To the contrary, based on the evidence that
                                                                           Defendants have cited, it looks like Rainey himself
  [W]e have located the Transocean Deepwater Horizon
                                                                           did not receive the estimates until the afternoon of
  drilling rig. It lies on the seabed approximately 1300 feet
                                                                           April 29th. (See Def. Ex. 40.)
  northwest of the well site in 5,000 feet of water. The rig is
  intact and secure. We have also located the drilling riser,      44      (Pl. Ex. 19; Def. Ex. 39.)
  which connected the drilling rig to the blowout preventer.
                                                                   45      (Pl. Ex. 48 (Rainey Dep.) at 149:12-150:4.)
  In addition, we have detected ongoing releases of oil from
                                                                   BP employees and contractors also began hydraulic modeling
  the well, emanating from the end of the riser and a section
                                                                   work. While they acknowledged that there were too many
  of drill pipe, at a rate of approximately 1,000 barrels per
                                                                   unknowns to produce an estimate of the actual flow rate,
  day at the seabed. 41                                            they used the models to create ranges of potential flow rates
                                                                   based on varying assumptions/inputs. 46 The lower end of
39     (Pl. Ex. 1 (Suttles Dep.) at 108:2-5.)                      the assumptions were generally producing estimates in the
40                                                                 range of 5,800 to 25,000 bpd, with more extreme assumptions
       (E.g., Pl. Ex. 2, at 2 (“Working with Transocean
       – the owner and operator of the drilling rig – the          producing estimates that ranged much higher. 47
       MMS, and the Coast Guard, we are committed to
       finding the cause of this incident.”); id. at 3 (“Our       46
                                                                           (See Pl. Opp. at Appendix A (citing Estimates F to
       current efforts – in cooperation with Transocean,                   M).)
       the MMS, and the Coast Guard – are focused on
                                                                   47
       developing and implementing the most effective                      (See, e.g., Pl. Ex 22; Def. Ex. 58; Pl. Ex. 20; Def.
       way to stop the flow of oil.”).) At the very least,                 Ex. 59)
       this issue is a dispute of fact appropriately resolved
       at trial.                                                     E. April 28th: Suttles's Second Alleged
                                                                     Misrepresentation
41     (Pl. Ex. 2, at 2-3.)                                        The UAC held another press conference on April 28, 2010.
                                                                   Admiral Landry spoke first. She told the press that BP had
   D. April 25 to April 27th                                       located an “additional breach in the riser.” 48 She then stated:
BP continued its surface expression estimates, and the             “[W]hile BP believes and we believed and established a
estimates began to increase during this period of time. David      thousand barrel per day estimate of what is leaking from the
Rainey, Suttles's deputy incident commander, was tasked with       well, NOAA experts believe the outlook...can be as much
“playing point” on flow rate, 42 and he began researching          as 5,000 barrels.” 49 Suttles then spoke and confirmed that
and experimenting with surface estimation methodologies on         a new leak point had been discovered late that afternoon
April 26th. Employing a variation of the ASTM method,              (April 28th). He then stated: “This leak is just beyond the
on April 27th, Rainey produced estimates of 1,063 (low),           top of the blowout preventer in the pipework called the riser.
5,758 (best), and 14,266 bpd (high). 43 Employing the Bonn         Given the location, we do not believe this changes the amount
method, Rainey produced estimates of 2,784 (low), 17,328           currently estimated to be released.” 50 He did not expressly
(best), and 92,028 bpd (high). 44 There is evidence that he        state what that estimate was. Specifically, he neither reiterated
shared these figures with Suttles. 45                              the 1,000 barrels per day estimate from April 24th, nor did



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he reinforce the 5,000 barrel per day number suggested by
Admiral Landry.                                                      So I actually don't think we're saying something different.
                                                                     It's all about the uncertainty and inability to precisely
48                                                                   measure this. 54
        (Pl. Ex. 3, at 2:3-5.)
49                                                                 53
        (Pl. Ex. 3, at 2.)                                                (Pl. Ex. 3, at 4.)
50                                                                 54
        (Pl. Ex. 3, at 3.)                                                (Pl. Ex. 3, at 5.)
 *5 Reporters picked up on this ambiguity. One asked:
“Admiral, you said that the oil in NOAA's estimation is              F. April 29th: Suttles's Third Alleged
increasing by a factor of five, yet BP says it's not increasing      Misrepresentation
at all. Which one is it?” Admiral Landry responded by              Suttles appeared on television's The Early Show the following
emphasizing that the number was just an estimate. She              morning around 7:00 a.m. EST. 55 The show began its
stated that UAC—working with NOAA, BP, and MMS—                    coverage by stating that “Coast Guard officials” had disclosed
initially agreed that estimate was 1,000 barrels per day. 51       a third point of leak and had updated their estimate of the oil
“[H]owever, NOAA is telling me that now they prefer we use         flow from 1,000 barrels per day to 5,000 barrels per day. 56
5,000 barrels a day as an estimate for what has actually leaked    The Early Show reporter, Maggie Rodriguez, immediately
from this well and will continue to leak until we – until BP       questioned Suttles about the discrepancy between the Coast
secures the course.” 52                                            Guard's revised estimate and his insistence that the third point
                                                                   of leak did not change the amount of oil coming out of the
51                                                                 riser: “This morning, we're learning that the leak from this
        (Pl. Ex. 3, at 3.)
                                                                   week is five times worse than originally estimated. Yet, we
52                                                                 just heard you say in our report that you don't believe this
        (Id.)
                                                                   will change the amount that's estimated to be released in
Another reporter immediately asked Suttles for his comment,
                                                                   to the ocean. I'm not an expert. But how is it possible that
while a third suggested that Admiral Landry hadn't answered
                                                                   four thousand additional [barrels] leaking a day does not
the question: “You [i.e., Suttles] say it's a thousand and that
doesn't change, and you [i.e., Admiral Landry] say it's 5,000,     change the equation?” 57 Suttles gave the following lengthy
                                                                   response:
so...” 53 Suttles then stated:

  No, actually I don't think the Admiral and I have actually
  said different things. I think what the Admiral stated is
  that when we had the initial data, it's highly uncertain, as                  I should probably explain that on the
  I described there's no way to put a meter on this flow rate;                  – the difference between one and five
  so the only thing we can do is make very basic estimates                      thousand barrels a day and – and what
  at the subsurface, monitor it, and actually then start to see                 we tried to explain is that, what we're
  what we see on the surface. And that's what we're doing,                      seeing through the remote-operated
  but that range is actually quite wide [in terms of what] the                  vehicle cameras on the sea floor hasn't
  outcome could be.                                                             actually changed. So, physically those
                                                                                images are the same. And that of
  What I can tell you for certain is what we're observing at the                course is horribly difficult to estimate
  seabed is the same as what we were observing when we first                    what the flow is. But what we can see
  reported the two locations. The only difference is this new                   is the amount of oil on top of the water.
  leak point, but I do not disagree with the Admiral's estimate                 And based on the fact of what we're
  that it could be 5,000 barrels a day. It's clearly within the                 seeing on the surface, that's actually
  range of uncertainty. And actually the only thing we know                     we can almost measure. We can take
  for certain is what we see on the surface. And of course                      those aerial views. We think the range
  that's what we're trying to pick up.                                          has increased of what the estimate
                                                                                has been. So, I think that somewhere



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            between one and five thousand barrels                Summary judgment is authorized if the movant establishes
            a day is probably the best estimate we               that there is no genuine dispute about any material fact,
            have today. 58                                       and that it is entitled to judgment as a matter of law. 61
                                                                 Rule 56(c) requires “the entry of summary judgment, after
                                                                 adequate time for discovery and upon motion, against a
                                                                 party who fails to make a showing sufficient to establish
55     (Pl. Ex. 4, at 1.)                                        the existence of an element essential to that party's case,
56                                                               and on which that party will bear the burden of proof at
       (Pl. Ex. 4, at 3.)
                                                                 trial.” 62 The party moving for summary judgment bears the
57                                                               initial burden of identifying the evidence that it believes
       (Pl. Ex. 4, at 4.)
                                                                 demonstrates the absence of a genuine issue of material
58     (Pl. Ex. 4, at 4). Suttles sat for all three major
                                                                 fact. 63 If the party moving for summary judgment meets
       morning television shows on April 29th. In his
                                                                 this initial burden, Rule 56(c) requires the non-movant to
       interviews with The Today Show and Good
                                                                 go beyond the pleadings and show that specific facts exist
       Morning America, he made similar statements
       which suggested that the “best” or “reasonable”           over which there is a genuine issue for trial. 64 The party
       or “range” of estimates was between 1,000-5,000           opposing summary judgment must identify specific evidence
       barrels per day. (Def. Ex. 77.)                           in the record and articulate the precise manner in which that
                                                                 evidence supports his or her claim. 65 Factual controversies
   G. April 30 to May 5th                                        are to be resolved in favor of the non-movant, “but only
 *6 It appears that there were relatively few developments       when there is an actual controversy, that is, when both parties
during this period of time. Surface expression estimates had     have submitted evidence of contradictory facts.” 66 The court
largely stopped due to inclement weather and other logistical    should not, in the absence of proof, assume that the non-
difficulties. A few hydraulic modeling estimates were created,   movant could or would prove the necessary facts. 67
and they were largely in line with the estimates that had been
produced in the prior days.                                      61     Fed. R. Civ. P. 56(c).
                                                                 62
   H. May 5th: Hayward's Alleged Misstatement                           Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).
Anthony Hayward spoke with a Houston Chronicle reporter          63
                                                                        Id. at 323.
at BP's Houston offices on or shortly before May 5, 2010.
One day earlier, an unnamed BP executive—David Rainey            64
                                                                        Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th
—had told U.S. lawmakers in a closed-door briefing that the             Cir. 1994) (en banc).
damaged well could be spewing up to 60,000 barrels per day,
                                                                 65
12 times the official 5,000 per day estimate. Dr. Hayward               Forsyth v. Barr, 19 F.3d 1527, 1537 (5th Cir. 1994).
called this higher estimate “deeply theoretical” based on        66
                                                                        Little, 37 F.3d at 1075.
“an absolute worst-case scenario” of a totally unobstructed
well. 59 He acknowledged that the exact flow rate was            67
                                                                        Id.
unknown, and that “a guesstimate is a guesstimate.” He then
stated: “[T]he guesstimate remains 5,000 barrels a day.” 60         B. Elements of Plaintiffs' Claims
                                                                 Plaintiffs assert claims under §§ 10(b) and 20(a) of the
59                                                               Securities Exchange Act. Section 10(b) of the Exchange Act
       (Pl. Ex. 5, at 2.)
                                                                 makes it unlawful to “use or employ, in connection with
60                                                               the purchase or sale of any security...any manipulative or
       (Pl. Ex. 5, at 3.)
                                                                 deceptive device or contrivance in contravention of such rules
II. APPLICABLE LEGAL STANDARDS                                   and regulations as the Commission may prescribe.” 68 The
                                                                 SEC's implementing rule, Rule 10b-5, provides that it is
  A. Standard for Resolving Motions for Summary                  unlawful “[t]o make any untrue statement of a material fact or
  Judgment


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to omit to state a material fact necessary in order to make the    for summary judgment, Plaintiffs aver that the evidence is
statements made, in light of the circumstances under which         sufficient to warrant judgment in their favor as a matter of law
they were made, not misleading.” 69 To prevail on a claim          on the issues of falsity and scienter.
under § 10(b) of the Exchange Act, a plaintiff must prove the
following elements:                                                72     (Doc. No. 1085 (“MPSJ”) at 2.)

     *7 (1) a material misrepresentation or omission by the        Defendants generally respond in two ways. First, they
      defendant (i.e., falsity);                                   say, Plaintiffs have failed to present evidence that BP
                                                                   produced any internal flow rate estimates that rendered
  (2) scienter;                                                    the representations false or misleading as of the time the
                                                                   statements were made. Instead, Plaintiffs point only to “worst
  (3) a connection between the misrepresentation or omission
                                                                   case discharge” 73 estimates and other hydraulic modeling
     and the purchase or sale of a security;
                                                                   calculations that were not intended to calculate the actual
  (4) reliance upon the misrepresentation or omission;             flow rate. Second, even if Plaintiffs have presented evidence
                                                                   of contradictory flow rate estimates, Defendants' substantial
  (5) economic loss; and                                           evidence of Suttles's and Hayward's good faith negates any
                                                                   inference of scienter.
  (6) loss causation. 70
                                                                   73     A worst case discharge calculation is “based upon
68      15 U.S.C. § 78j(b).                                               the counterfactual assumption of unrestricted flow
69                                                                        at the mudline.” (Ballard Rep. at 10-11.)
        17 C.F.R, § 240.10b-5.
                                                                   The Court holds that neither party is entitled to judgment
70
        See Matrixx Initiatives, Inc. v. Siracusano, 131 S.        as a matter of law with respect to Suttles's alleged
        Ct. 1309, 1317 (2011).                                     misrepresentations on April 24th, April 28th, or April 29th.
To state a claim under § 20(a) of the Exchange Act, “a plaintiff   The Court need not reach the issues of falsity or scienter
must show (1) a primary violation by the controlled person,        with respect to Hayward's alleged misrepresentation because,
(2) control of the primary violator by the defendant, and (3)      for the reasons discussed in Section IV, infra, Plaintiffs have
that the defendant was, in some meaningful sense, a culpable       failed to establish loss causation for any of the stock drops
                                                                   that followed Hayward's statement.
participant in the controlled person's fraud.” 71 If a plaintiff
has not adequately alleged a primary violation, i.e., a viable
claim under another provision of the Exchange Act, then the           A. Falsity and Scienter Post–Omnicare
§ 20(a) claims must be dismissed.                                  The parties' first two rounds of summary judgment
                                                                   briefing featured lengthy debates regarding the appropriate
71                                                                 legal standard for evaluating the falsity of Suttles's
        Carpenters Pension Trust Fund of St. Louis v.
        Barclays PLC, 750 F.3d 227, 236 (2d Cir. 2014).            alleged misrepresentations. Defendants argued that Suttles's
                                                                   statements were expressions of opinions, and statements of
III. FALSITY AND SCIENTER                                          opinion are actionable only if the speaker did not in fact
Plaintiffs contend that Suttles misrepresented the range of        hold that opinion. 74 Plaintiffs, on the other hand, contended
BP's internal flow rate estimates in his public statements on      that Suttles's representations were statements of fact because
April 24th, April 28th, and April 29th, and that Hayward           the “truth or falsity of modeled flow rates is objectively
did the same in his comments to the Houston Chronicle on           determinable.” 75 Statements of fact are subject to a less
May 5th. 72 Broadly, Plaintiffs allege that the two executives     demanding legal standard. 76
represented that BP's best flow rate estimates ranged from
1,000 bpd to 5,000 bpd, when in fact many of BP's internal         74     (Def. Opp. at 28.)
estimates indicated that the flow rate could be as great as
100,000 bpd. And not only do Plaintiffs believe that they have     75     (Pl. Opp. at 22.)
presented sufficient evidence to defeat Defendants' motion



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76                                                                   a statement of BP's “best” estimate—Plaintiffs themselves
         In re Lehman Bros. Sec. & Erisa Litig., 131 F. Supp.
         3d 241, 251 (S.D.N.Y. 2015)                                 concede as much. 84

 *8 Fortunately, the Supreme Court addressed a remarkably
                                                                     81
similar issue in Omnicare v. Laborers Dist. Council Const.                  Bykowicz v. Pulte Home Corp., 950 F.2d 1046,
                             77                                             1052 (5th Cir. 1992) (“An estimate is defined as
Industry Pension Fund,        and both parties were able to
                                                                            “an opinion or judgment of the nature, character,
use their reply briefing to apply Omnicare to the case at
                                                                            or quality of a person or thing[;]...a rough or
bar. The Court first turns to whether, in light of Omnicare,
                                                                            approximate calculation.”) (citing Websters New
Suttles's representations should be deemed statements of facts
                                                                            Collegiate Dictionary 426 (9th ed. 1989)).
or opinions. Because the representations were statements of
opinion, the Court then discusses the legal standard that            82
                                                                            Omnicare, 135 S. Ct. at 1326 (holding that this
governs the elements of falsity and scienter post-Omnicare.                 language can “transform[ ] [a] factual statement
                                                                            into one of opinion”).
77       135 S. Ct. 1318 (2015).                                     83
                                                                            Guidance Endodontics, LLC v. Dentsply Int'l, Inc.,
                                                                            2011 WL 1336473, at *2 (D.N.M. Mar. 31, 2011)
     (1) Statements of Opinion versus Statements of Fact                    (A determination as to which estimate or piece of
                                                                            information is “best” is a matter of judgment or
Omnicare begins with a discussion of the standard for                       opinion); Omnicare, 135 S. Ct. at 1329 (“opinions
determining whether a statement is one of fact or opinion—                  sometimes rest on a weighing of competing facts”).
an issue that vexed the parties in this case considerably. A fact
                                                                     84
is “a thing done or existing” or “[a]n actual happening.” 78                (Pl. Opp. at 23 (Suttles's April 24th statement
An opinion, on the other hand, is “a belief[,] a view, [or a]               merely “purported to describe BP's then-current
                                                                            supposedly-best information available”).) Suttles's
sentiment which the mind forms of persons or things.” 79 But
                                                                            statement could potentially be construed as
“most important,” the Court continues, is that “a statement of
                                                                            representing that, as a matter of fact, BP had
fact...expresses certainty about a thing, whereas a statement
                                                                            measured the flow rate at 1,000 bpd— his statement
of opinion...does not.” 80                                                  was declarative and definitive in nature, and made
                                                                            no reference to other estimates. But the more
78                                                                          reasonable interpretation, as Plaintiffs seem to
         Omnicare, 135 S. Ct. at 1325.
                                                                            concede, is that BP had multiple estimates and
79
         Id.                                                                ostensibly chose the best one. The declarative and
80                                                                          definitive nature of his statement is relevant to
         Id.
                                                                            whether his opinion was misleading, however.
Defendants argue that each of Suttles's statements were
                                                                     Plaintiffs contend Suttles's representations are nevertheless
expressions of opinion. With respect to Suttles's statements
                                                                     statements of fact because “the truth or falsity of [his
on April 28th and 29th, their arguments are particularly
                                                                     statements] can be measured objectively against the flow rate
compelling. Estimates and projections are classic examples
                                                                     information [that was] actually available to Defendants.” 85
of opinions, 81 especially when cloaked in the context of
                                                                     But that characteristic is not the exclusive province of factual
language such as “I believe (or I think).” 82 Moreover, on           statements. Take, for example, the statement that “the 2008
the 28th and 29th, not only was Suttles expressly relaying           Texas Longhorn football team was better than the 2008
estimates of flow rate, he made clear that he was expressing         Oklahoma Sooner football team.” This statement can be
his opinion as to which of those estimates was “best,”
                                                                     evaluated against objective evidence—as a matter of fact, 86
                                                                83
adding yet another layer of subjectivity and judgment.               the Longhorns beat the Sooners 45-35 at the Cotton Bowl on
And his statement on April 24th, while unadorned with such           October 11, 2008—but few would dispute that the statement
express language of uncertainty or personal judgment, would          is a paradigmatic example of an opinion, however well
similarly have been understood by reasonable investors as
                                                                     founded. 87




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85                                                                         10(b) of the Securities Exchange Act. As discussed
       (Pl. Opp. at 23.)
                                                                           in detail in Section III.A.3, infra, however, this
86                                                                         distinction results in no practical differences. For
       See Omnicare, 135 S. Ct. at 1325 (a fact is “a thing
       done” or “an actual happening”).                                    the sake of convenience, the Court will refer
                                                                           to Omnicare as addressing claims brought under
87     It seems that Plaintiffs are under the impression that              Section 10(b) of the Securities Exchange Act.
       Suttles's representations were statements of fact
                                                                   The first avenue is rooted in the provision of Rule 10b-5 that
       because so many underlying facts cut against it.
       (See Pl. Opp. at 23-24.) But the lack of supporting         prohibits “untrue statements of a material fact.” 91 Although
       facts is relevant only to whether his statement (be         opinion statements are at the edge of this provision's reach,
       it of fact or opinion) was false or misleading, not         they are not wholly immune from liability: “every...statement
       to whether the statement itself was one of fact or          [of opinion] explicitly affirms one fact: that the speaker holds
       opinion.                                                    the stated belief.” 92 Thus, a speaker may be liable for a
 *9 Plaintiffs also claim that this Court has already held a       statement of opinion if the plaintiff can prove that “the speaker
very similar statement made by Lamar McKay to be one of            did not hold the belief she professed.” 93 This proposition is
fact, and argue that the Court should follow suit here. 88 But     relatively uncontroversial and was already widely accepted
this argument is based on a flawed premise; the Court did          by federal courts, including the Fifth Circuit. 94
not necessarily hold that McKay's statement was one of fact.
Instead, the Court expressed uncertainty as to how Defendants      91
                                                                           See Omnicare, 135 S. Ct. at 1327; 17 C.F.R. §
were attempting to characterize McKay's statement, and                     240.10b–5(b).
concluded that the statement was actionable regardless of
                                                                   92
whether it was one of fact or opinion. 89                                  Omnicare, 135 S. Ct. at 1327.
                                                                   93
                                                                           Id.
88
       (Doc. No. 1147 (“Pl. Reply”) at 6 (citing In re BP
                                                                   94
       P.L.C. Sec. Litig., 2013 WL 6383968, at *31 (S.D.                   See, e.g., Greenberg v. Crossroads Systems Inc.,
       Tex. Dec. 5, 2013).)                                                364 F.3d 657, 670 (5th Cir. 2004).

89                                                                 But Omnicare takes liability for opinions a step further
       See id. (noting that “Defendants may be attempting
                                                                   by turning to the omissions provision of Rule 10b-5: “It
       to argue that McKay testified as to his opinion” and
                                                                   shall be unlawful for any person...to omit...a material fact
       analyzing his statement accordingly).
                                                                   necessary...to make the statements made...not misleading.” 95
                                                                   In the context of opinions, reasonable investors “understand
 (2) Misleading Statements of Opinion under Omnicare               [such statements] to convey facts about...the speaker's basis
                                                                   for holding that view.” 96 Thus, although a speaker's opinion
With Suttles's representations properly identified as
                                                                   may be sincerely held, the statement may nonetheless be
statements of opinion, the question becomes what a plaintiff
                                                                   actionable under 10b-5's omissions provision if: (i) the
must prove to satisfy the falsity element of securities fraud
                                                                   speaker “omits material facts about the issuer's inquiry into or
claims. Omnicare addresses this question at length, outlining
                                                                   knowledge concerning a statement of opinion,” and (ii) “those
two potential avenues for plaintiffs to establish the falsity of
                                                                   facts conflict with what a reasonable investor would take from
an opinion. 90
                                                                   the statement itself.” 97

90
       Omnicare, 135 S. Ct. at 1327-1323. See also In              95      17 C.F.R. § 240.10b–5(b).
       re Lehman Bros. Sec. & Erisa Litig., 131 F. Supp.
       3d 241, 251-55 (S.D.N.Y. 2015) (providing an                96
                                                                           Omnicare, 135 S. Ct. at 1328.
       outstanding discussion of the standard for falsity
                                                                   97
       post-Omnicare). Technically speaking, Omnicare                      Id. at 1329.
       only addresses opinion statements in the context            The Supreme Court emphasized, however, that meeting this
       of Section 11 of the Securities Act, not Section
                                                                   standard is “no small task for an investor.” 98 An investor


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must do more than make conclusory allegations that the                       of Westland Police & Fire Ret. Sys. v. MetLife,
                                                    99
issuer “failed to reveal its basis” for the opinion. After all,              Inc., 2015 WL 5311196, at *1 n.3 (S.D.N.Y. Sept.
Rule 10b-5's omissions clause “is not a general disclosure                   11, 2015) (same); In re Amarin Corp. PLC., 2015
requirement; it affords a cause of action only when an issuer's              WL 3954190, at *7 n.14 (D.N.J. June 29, 2015)
failure to include a material fact has rendered a published                  (assuming without deciding that Omnicare applies
                                                                             in the Section 10(b) context); In re Merck & Co.,
statement misleading.” 100 Nor may the plaintiff merely
                                                                             Inc. Sec., Derivative & “ERISA” Litig., 2015 WL
“recit[e]...the statutory language” or offer bare “conclusory
                                                                             2250472, at *20 (D.N.J. May 13, 2015) (noting
allegation[s]” that the issuer “lacked reasonable grounds for
                                                                             that Omnicare “illuminates this Court's Section
the belief it stated.” 101 Rather, the plaintiff “must identify              10(b) scienter analysis” of defendant's allegedly
particular (and material) facts going to the basis for the                   misleading statements of opinion).
issuer's opinion—facts about the inquiry the issuer did or did
not conduct or the knowledge it did or did not have—whose            104
                                                                             See Firefighters Pension & Relief Fund of the City
omission makes the opinion statement at issue misleading                     of New Orleans v. Bulmahn, 2015 WL 7454598, at
to a reasonable person reading the statement fairly and in                   *25 (E.D. La. Nov. 23, 2015).
context.” 102                                                        105
                                                                             (See Doc. No. 1146 (“Def. Reply”) at 19.)

98                                                                   But Defendants' concessions end there. According to
        Id. at 1332.
                                                                     Defendants, “Omnicare did not address at all the scienter
99                                                                   element of a Section 10(b) claim because the Supreme Court
        Id.
100                                                                  analyzed Section 11, a strict liability statute.” 106 As a result,
        Id.                                                          say Defendants, Plaintiffs must present evidence that Suttles
101                                                                  subjectively disbelieved the flow-rate estimates to avoid
        Id. at 1333.
                                                                     summary judgment on scienter. 107
102
        Id. at 1332.
                                                                     106     (Def. Reply at 22.)
         (3) Applicability of Omnicare to Falsity                    107
                                                                             (See Def. Reply at 22-23.)
        and Scienter Analysis under Section 10(b)
                                                                     The Court disagrees. Since the Supreme Court's decision
 *10 Although Omnicare was decided in the context of                 in March of 2015, no fewer than six courts have invoked
Section 11 of the Securities Act, courts have overwhelmingly         Omnicare in their 10b-5 scienter analysis. 108 Indeed, the
applied its holdings in the context of alleged omissions under       Southern District of New York—whose precedent in matters
Section 10(b) of the Securities Exchange Act 103 —the Court          of security litigation is particularly persuasive—has done so
is aware of only one district court that held to the contrary. 104   on at least two occasions. 109 Once again, the Court sees no
Even Defendants generally seem to concede that Omnicare              reason to depart from the emerging majority position of these
governs falsity analysis for claims brought under Section            district courts. To the contrary, there is substantial reason to
10(b). 105                                                           follow their lead.


103                                                                  108
        See, e.g., In re Velti PLC Sec. Litig., 2015 WL                      In re Merck & Co., Inc. Sec., Derivative &
        5736589, at *38 (N.D. Cal. Oct. 1, 2015) (citing                     “ERISA” Litig., 2015 WL 2250472, at *1 (D.N.J.
        cases); see also In re Lehman Bros. Sec. & Erisa                     May 13, 2015); In re Velti PLC Sec. Litig., 2015
        Litig., 2015 WL 5514692, at *5 n.48 (S.D.N.Y.                        WL 5736589, at *38 (N.D. Cal. Oct. 1, 2015);
        Sept. 18, 2015) (“Omnicare was a Section 11                          Menaldi v. Och-Ziff Capital Mgmt. Grp. LLC,
        case. Nonetheless, its reasoning applies with equal                  2016 WL 634079, at *9 (S.D.N.Y. Feb. 17, 2016);
        force to other provisions of the federal securities                  Nakkhumpun v. Taylor, 782 F.3d 1142, 1159 (10th
        laws, including, as relevant to this case, Section                   Cir.), cert. dismissed, 136 S. Ct. 499 (2015); In re
        10(b)..., which uses very similar language.”); City                  BioScrip, Inc. Sec. Litig., 95 F. Supp. 3d 711, 733
                                                                             (S.D.N.Y. 2015); In re EveryWare Glob., Inc. Sec.


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        Litig., 2016 WL 1242689, at *15 (S.D. Ohio Mar.                      private securities fraud cases are generally strongly
        30, 2016).                                                           inferred from the same set of facts, and the two
                                                                             requirements may be combined into a unitary
109
        Menaldi v. Och-Ziff Capital Mgmt. Grp. LLC, 2016                     inquiry under the PSLRA.’ ”)
        WL 634079, at *9 (S.D.N.Y. Feb. 17, 2016); In re
                                                                     115
        BioScrip, Inc. Sec. Litig., 95 F. Supp. 3d 711, 733                  See Omnicare, 135 S. Ct. at 1329; see also
        (S.D.N.Y. 2015).                                                     Merck, 2015 WL 2250472, at *1 (concluding that
                                                                             defendants were not entitled to summary judgment
“[T]he required state of mind for scienter is an intent to
                                                                             on scienter where “The record contains evidence
deceive, manipulate, or defraud or severe recklessness.” 110
                                                                             upon which a reasonable jury could conclude
Severe recklessness is “limited to those highly unreasonable
                                                                             that Defendants not only lacked support for this
omissions or misrepresentations that involve not merely
                                                                             assertion of belief but, additionally, knew that it did
simple or even inexcusable negligence, but an extreme
                                                                             not “fairly align” with other information in their
departure from the standards of ordinary care, and that present
                                                                             possession.”)
a danger of misleading buyers or sellers which is either
known to the defendant or is so obvious that the defendant
                                                                       B. Suttles's April 24th Statement
must have been aware of it.” 111 The close relationship of            *11 Plaintiffs have provided evidence that, at a press
this language to the definition of falsity is unmistakable. Any      conference on April 24th, Suttles stated: “[W]e have detected
inquiry into the falsity of an opinion (which, as Omnicare           ongoing releases of oil from the well, emanating from the
confirms, looks to whether an omission renders a statement           end of the riser and a section of drill pipe, at a rate of
“misleading to an ordinary investor”) 112 goes hand in hand          approximately 1,000 barrels per day at the seabed.” 116
with analysis of scienter (which looks to whether a speaker          The Court concludes that Plaintiffs have provided sufficient
intended for his statement to be “misleading [to] buyers or          evidence of falsity and scienter to defeat Defendants' motion
sellers”). 113 In other words, falsity is the foundation of          for summary judgment, but insufficient evidence to warrant
scienter, not a wholly unrelated structure. 114 And to the           summary judgment in Plaintiffs' favor.
extent that the surface area of that foundation is expanded, so
too is the area upon which a plaintiff's theory of scienter can be   116     (Pl. Ex. 2, at 2-3.)
constructed. Accordingly, to establish scienter at the summary
                                                                     Plaintiffs have identified two types of “omit[ed] material
judgment stage post-Omnicare, a court looks to whether the
                                                                     facts about [Suttles] knowledge concerning [his April 24th]
record contains evidence upon which a reasonable jury could
conclude that the defendant “omit[ed] material facts about           statement of opinion.” 117 First, Plaintiffs have provided
[his] inquiry into or knowledge concerning a statement of            evidence of the fact that Suttles knew the flow rate
opinion” with the “intent to deceive, manipulate, or defraud         “could be considerably different” from the stated 1,000 bpd

or severe recklessness.” 115                                         estimate 118 or, put differently, that there was a “wide” range
                                                                     of potential flow rates. 119 Indeed, Suttles acknowledged
110                                                                  to the SEC that he knew the flow rate was somewhere
        Spitzberg v. Houston Am. Energy Corp., 758 F.3d
                                                                     between zero and the pre-drill theoretical limit of 160,000
        676, 684 (5th Cir. 2014).
                                                                     bpd, “[b]ut exactly where it is in [that range], no one had
111
        Id. (emphasis added).                                        ever dealt with this problem before.” 120 And the evidence
112                                                                  suggests that Suttles's understanding of this fact was not
        Omnicare, 135 S. Ct. at 1327-28.
                                                                     limited to the abstract. Plaintiffs have presented evidence that,
113                                                                  on the morning of April 24th, the Houston source control
        Spitzberg, 758 F.3d at 684.
                                                                     team provided Suttles with an estimate of “a few thousand”
114
        See In re Velti PLC Sec. Litig., No. 13-CV-03889-            barrels per day. 121 Even Charlie Henry, whom Defendants
        WHO, 2015 WL 5736589, at *33 (N.D. Cal.
                                                                     tout as the “government's foremost person on oil spills,” 122
        Oct. 1, 2015) (quoting In re Daou Sys., Inc., 411
                                                                     evidently told Suttles that the range of potential flow rates
        F.3d 1006, 1015 (9th Cir. 2005)) (“The Ninth
        Circuit has observed that ‘falsity and scienter in           “could be a thousand, could be 10,000.” 123




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117                                                                       see also Pl. Reply at 14 n.3 (explaining the lack of
        Omnicare, 135 S. Ct. at 1329.
                                                                          basis for the 1,000 bpd figure and citing evidence).)
118                                                                       Moreover, Plaintiffs have presented an email from
        (MPSJ at 21 (citing Pl. Ex. 1 (Suttles Dep.) at
        83:19-84:1).)                                                     an NOAA employee to, among others, Charlie
                                                                          Henry, summarizing the discussion among Landry,
119     (Def. Ex. 75 at 9:14-16).)                                        Suttles, and Henry that led to the 1,000 bpd
120                                                                       estimate. (Pl. Ex. 44.) According to the email, BP
        (Pl. Ex. 42 (Suttles SEC Tr.) at 263:12-19.)
                                                                          told Landry that the flow rate “is about 250 bbl per
121                                                                       day,” and Landry then asked Henry if he agreed.
        (Pl. Ex. 16; Pl. Ex. 1 (Suttles Dep.) at 123:22-125:8
        (admitting that the handwritten notes were his,                   (Pl. Ex. 44.) Henry responded that “it was more
        and that he took them during the call with the                    likely between 1,000 – 10,000 bbl per day.” (Pl.
        Houston source control team).) This same evidence                 Ex. 44.) From there, the three made a “ ‘handshake’
        —Suttles handwritten notes—also make reference                    agreement” to place the flow rate at 1,000 bpd, and
        to “70,000 bopd @ surface.” Id.                                   “it was off to the press brief.” (Pl. Ex. 44.)

122                                                                128
        (MSJ at 10.)                                                      See Section I.A.2., supra.

123                                                                 *12 Defendants cite to numerous excerpts from deposition
        (Pl. Ex. 43 (Henry Dep.) at 182:2-11; see also             testimony indicating that surface expression was the best
        Pl. Ex. 14 (Suttles Dep.) at 403:13-404:14 (Henry
                                                                   available means for evaluating flow rate, 129 and that may
        “said something like I only work in orders of
                                                                   well be true. But even if it was the best method available
        magnitude and – and something like 1,000”).)
                                                                   (relatively speaking), it was certainly not a good method
Second, Plaintiffs argue, not only was there a wide range          (absolutely speaking). As Henry noted in his April 26th
of potential flow rates, Suttles omitted the fact that there       estimation, “Estimating oil volume by the visual appearance
was little basis for picking one particular number within that     of the slick is a highly unreliable process. At best, one can
wide range over another. 124 For example, Suttles himself          calculate an answer to only an order of magnitude.” 130
                                                            125
acknowledged that the flow rate was “highly uncertain”             According to David Rainey, the NOAA's Bill Lehr “expressed
and that there was a “high degree of uncertainty in any            strong concern about the methodology in general,” saying that
estimate.” 126 Indeed, to the extent that the 1,000 bpd number     “it's just hugely uncertain. You're not going to get the right

was based on any of BP's actual estimates, 127 it was based        answer.” 131 Lehr himself testified that the surface expression
only on “surface expression” estimation. In other words, the       method is “highly unreliable” and will provide only a “very,
only estimates on which Suttles was relying were the results       very rough estimate” of the volume of oil on the surface, “and
of field observers conducting aerial overflights, mapping out      usually on the low side.” 132
different sheens and shades of the black oil in the area of
the spill, using those sheens and shades to make assumptions       129
                                                                          (See Def. Opp. at 7-8.)
about the thickness (in microns) of oil in that particular spot,
accounting for the amount of oil that had evaporated, and then     130    (Pl. Ex. 46.) This lends further credence to Henry's
calculating the flow rate based on how that data changed over             testimony that, when asked on April 24th, he
time. 128                                                                 estimated that the flow rate was between 1,000 bpd
                                                                          and 10,000 bpd.
124                                                                131
        (MPSJ at 20-22.)                                                  (Pl. Ex. 48 (Rainey Dep.) 151:3-152:19.) Plaintiffs
125                                                                       have presented evidence that Suttles was aware
        (Pl. Ex. 1 (Suttles Dep.) at 83:19-84:1.)
                                                                          of how the methodology worked. (See Pl. Ex.
126                                                                       42 (Suttles Dep.) at 107:3-21, 109:8-12 (“I was
        (Pl. Ex. 1 (Suttles Dep.) at 90:11-14.)
                                                                          familiar that people estimated a volume based on
127     As Henry testified, there was no scientific basis                 aerial assessment of a slick.”) Thus, even if Lehr's
        for the 1,000 bpd figure in particular. (Pl. Ex. 43               concerns were never relayed from Rainey to Suttles
        (Henry Dep.) at 212:8-18, 222:8-12; 225:19-24;                    —and given that Rainey and Suttles discussed the



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        methodology shortly thereafter, one would assume            Indeed, a speaker can “avoid exposure for omissions...[by]
        Rainey did so—the uncertainty and margin for                mak[ing] clear the real tentativeness of its belief.” 137 But
        error of surface expression methodology would               here, if anything, the context of Suttles's statement reinforces
        have been apparent to Suttles.                              the conclusions drawn from the statement itself. The
132                                                                 “surrounding text” included no “hedges” or “disclaimers”
        (Pl. Ex. 47 (Lehr Dep.) 246:16-247:8.)
                                                                    of any kind that would alert investors to the extraordinarily
These omitted facts do not “fairly align[ ]” with what
                                                                    tentative nature of BP's estimate. 138 While the presence of
a reasonable investor would have taken from Suttles's
                                                                    hedges and disclaimers are certainly capable of preventing a
statement: 133 “[W]e have detected ongoing releases of oil          statement from being misleading, the absence of hedges and
from the well...at a rate of approximately 1,000 barrels per        disclaimers can have the opposite effect.
day at the seabed.” 134 As the Supreme Court noted in
Omnicare, “a reasonable investor generally considers the            136
                                                                           Omnicare, 135 S. Ct. at 1330.
specificity of an opinion statement in making inferences
                                                                    137
about its basis.” 135 And here, Suttles not only spoke with                Id. at 1332.
specificity (e.g., “1,000 bpd” rather than providing a range of     138    Defendants have provided an email summary
possible flow rates), but portrayed some degree of precision
                                                                           of the press conference drafted by a BP press
and certainty in the estimate (“we have detected” rather than,
                                                                           officer, David Beaudo, that indicates Suttles
for example, “we estimate” or “we think”). His statement was
                                                                           may have hedged BP's estimate as “rough and
declarative and practically unequivocal. Yet this specificity
                                                                           preliminary.” (Def. Ex. 110.) At the summary
and certainty is belied by the omitted facts that the 1,000
                                                                           judgment stage, however, the Court cannot weigh
bpd estimate was based on a “highly unreliable” methodology
                                                                           competing evidence. Instead, facts and evidence
that resulted in a “high degree of uncertainty,” that the
                                                                           must be considered in the light most favorable
“wide” range of potential flow rates actually spanned an
                                                                           to the non-moving party. Breaux v. Halliburton
order of magnitude, and the fact that Suttles had received
                                                                           Energy Servs., 562 F.3d 358, 364 (5th Cir. 2009).
contradictory estimates from both the Houston source control
                                                                           As a result, based on the considerable evidence
team (“several thousand” bpd) and the NOAA's foremost
                                                                           that Plaintiffs have provided, the Court assumes
expert (1,000 to 10,000 bpd).
                                                                           for the purposes of summary judgment that
                                                                           Suttles's April 24th statement directly tracked his
133
        See Omnicare, 135 S. Ct. at 1329 (To establish                     prepared remarks. (See Pl. Reply at 14 n.30 (citing
        falsity under Omnicare, plaintiffs must prove that                 evidence).)
        the omitted facts “conflict with what a reasonable
                                                                     *13 Plaintiffs' evidence is also sufficient to create a genuine
        investor would take from the statement itself.”
                                                                    dispute of material fact as to scienter. Specifically, as
        A reasonable investor expects that a speaker's
                                                                    discussed at length in the preceding paragraphs, Plaintiffs
        “[statement of] opinion...fairly aligns with the
                                                                    have provided evidence indicating that: (1) Suttles knew that
        information in [his] possession at the time”).
                                                                    there was a “wide” range of potential flow rates; (2) Suttles
134                                                                 knew that the 1,000 bpd estimate was highly uncertain and
        (Pl. Ex. 2, at 2-3.)
                                                                    based on an inaccurate and imprecise methodology; and (3)
135
        Omnicare, 135 S. Ct. at 1329 n.8 (“Compare two              that Suttles knew that the flow rate estimates were market
        new statements from our ever-voluble CEO. In the            sensitive. 139 As Suttles testified, “[I]n my judgment, at
        first, she says: “I believe we have 1.3 million TVs in      the time, [I] recognized that this was highly uncertain, an
        our warehouse.” In the second, she says: “I believe         incredibl[y] unusual set of circumstances..., and that...people
        we have enough supply on hand to meet demand.”              had to recognize it was just an estimate and the actual
        All else equal, a reasonable person would think that
                                                                    number could be considerably different.” 140 Yet, speaking
        a more detailed investigation lay behind the former
                                                                    from prepared remarks, he provided investors with a specific
        statement.)
                                                                    estimate and stated it with some degree of certainty. A
Defendants correctly note that the benign or misleading             reasonable jury could conclude from this evidence that Suttles
nature of an opinion “always depends on context.” 136               either knew (or was severely reckless with respect to the



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probability) that omitting these facts would mislead investors     142
                                                                          Omnicare, 135 S. Ct. at 1330; see also In re Lehman
as to BP's flow rate estimates.
                                                                          Bros. Sec. & Erisa Litig., 131 F. Supp. 3d 241, 254
                                                                          (S.D.N.Y. 2015).
139
        See Pl. Ex. 45 at BP-HZN-2179MDL04909585-86.
                                                                   143
        At the very least, it was severely reckless. The flow             See In re Lehman Bros. Sec. & Erisa Litig., 131 F.
        rate was one of two factors contributing to the total             Supp. 3d 241, 253 (S.D.N.Y. 2015).
        amount of oil that would be spilled into the Gulf          Here, however, the market was unable to evaluate Suttles's
        as a result of the leak, and the amount of oil in the      statements through the lens of well-known “customs and
        Gulf was one of the largest factors in cleanup costs.      practices” in the oil industry—the leak was unprecedented.
140                                                                Indeed, when discussing the difficulty of estimating the flow
        (Pl. Ex. 1 (Suttles Dep.) at 83:19-84:1.)
                                                                   rate, Suttles admitted that “no one had ever dealt with this
The Court would be remiss, however, if it failed to emphasize      problem before.” 144 In other words, reasonable investors
the limited nature of its holding. For example, the Court is       had no frame of reference for the flow rate estimate that BP
not holding that, as a general rule, speakers must expressly       provided. Omissions that might not have been misleading
disclose the full range of every estimate—such a holding           under conventional circumstances (e.g., the Company X
would certainly be foreclosed by Omnicare. 141 Nor is the          hypothetical) were particularly misleading given the market's
Court holding that, as a general rule, Omnicare requires           relative lack of familiarity with the deepwater oil leaks.
speakers to disclose the certainty of a given estimate or the      Here, as of April 24th, a reasonable investor would not
methodology that produced it. To the contrary, the Court's         necessarily have known that BP's flow rate estimates spanned
holding is driven by the unique factual contours of the case—      an order of magnitude, nor that BP was using a “highly
specifically, the unusual asymmetry of information between         unreliable” surface expression methodology to produce them.
BP and its investors—which demand a bespoke pattern rather         And Plaintiffs have provided evidence that Suttles knew
than a blanket approach.                                           the market was dealing with an unprecedented situation, yet
                                                                   omitted critical facts that were “necessary...to make [his]
141                                                                statement[ ]...not misleading.” 145
        Omnicare, 135 S. Ct. at 1329 (“Reasonable
        investors understand that opinions sometimes rest
        on a weighing of competing facts....A reasonable           144
                                                                          (Pl. Ex. 42 (Suttles SEC Tr.) at 263:12-19; see also
        investor does not expect that every fact known to                 Pl. Ex. 1 (Suttles. Dep.) at 83:19-84:1 (“But as I
        an issuer supports its opinion statement.”)                       said earlier, I think that, in my judgment, at the
Most securities fraud cases involve types of estimates or                 time, recognized that this was highly uncertain, an
projections with which investors are familiar. For example,               incredible unusual set of circumstances”).)
suppose the CEO of Company X represents that the company           145    17 C.F.R, § 240.10b-5.
has been valued at $1 billion. A week later, a third party
values the company at $950 million, and several shareholders
sue the CEO for securities fraud. In this scenario, it would          (C) Suttles's April 28th and April 29th Statements
be fruitless for the investor to allege that the company failed     *14 Because Suttles's statements on the 28th and 29th
to disclose the uncertainty of the valuation, or that the $1       were substantively similar and were each made within the
billion figure was really just one number within a range of        span of about eight hours, they will be addressed together.
potential valuations. Courts have repeatedly acknowledged          Plaintiffs contend that Suttles's statements were misleading
that investors understand statements within “the customs           for two reasons. First, the statements were misleading because
                                                                   Suttles omitted facts that were within his knowledge that did
and practices of the relevant industry.” 142 In the financial
                                                                   not “fairly align[ ]” with what a reasonable investor would
industry, for example, investors not only understand that
reasonable estimates can vary within and among established         have taken from his statements. 146 Second, a reasonable
valuation models, they understand the degree to which those        investor would have expected Suttles's statements “to rest

reasonable estimates can vary. 143                                 on some meaningful...inquiry,” 147 yet Suttles's statements
                                                                   instead rested on a superficial inquiry that neglected key data
                                                                   produced by hydraulic modeling efforts. The Court agrees,
                                                                   and addresses Plaintiffs' arguments in turn.


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                                                                           “as much as 5,000 bpd,” so it is somewhat unclear
146                                                                        as to what, precisely, Suttles was agreeing. (Pl. Ex.
        Omnicare, 135 S. Ct. at 1329.
                                                                           3, at 2.)
147
        Id. at 1328.                                                154    (Pl. Ex. 3, at 4.)
                                                                    While a reasonable investor likely would not have concluded
 (1) Alignment of Omitted Facts with Suttles's Opinion              that Suttles endorsed the 5,000 bpd estimate as the upper
                                                                    bound of all of BP's estimates, at the very least, a reasonable
The context in which Suttles's statements were presented
                                                                    investor would have taken Suttles's statements, in the context
is critical to determining how a reasonable investor would
                                                                    of Landry's comments and the reporters' questions, to mean
have taken them. 148 Before Suttles spoke on April 28th,            that BP's best flow rate estimates ranged from 1,000 bpd and
Admiral Landry stated, “[W]hile BP believes and we believed
                                                                    5,000 bpd. 155 Indeed, that is precisely what Suttles expressly
and established a thousand barrel per day estimate of
                                                                    represented hours later in the early morning of April 29th: “I
what is leaking from the well, NOAA experts believe the
                                                                    think that somewhere between one and five thousand barrels
outlook...can be as much as 5,000 barrels.” 149 In other
                                                                    a day is probably the best estimate we have today.” 156
words, the statement from Landry would indicate to a
reasonable investor that: (1) BP “believes” (present tense)
                                                                    155
that the flow rate is 1,000 bpd; (2) while the NOAA                        Arguably, a reasonable investor would have
“believed” (past tense) that the flow rate was 1,000 bpd,                  inferred that Suttles was emphasizing the lower
NOAA experts now “believe” (present tense) that the flow                   end of the range. (Pl. Ex. 3 at 3-4 (BP does
rate could be higher than previously thought; and (3) the                  “not believe [the new leak] changes the amount
NOAA— but not BP—now estimates that the flow rate could                    currently estimated to be released,” and “The new
be “as much as” (i.e. an upper bound of) 5,000 bpd.                        location is upstream of that, it's before that; so
                                                                           that's the reason we don't believe the total flow is
148                                                                        different.”)
        See id. at 1330.
                                                                    156
149                                                                        (Pl. Ex. 4, at 3.)
        (Pl. Ex. 3, at 2.)
                                                                    Plaintiffs' have identified information that was within
Rather than concur with the NOAA's revised estimate,
                                                                    Suttles's knowledge, the omission of which made his opinion
however, Suttles arguably doubled down on the 1,000 bpd
figure following Landry's comments, saying that BP does             misleading to a reasonable investor. 157 As Defendants
“not believe [the new leak] changes the amount currently            acknowledge, 158 Plaintiffs' evidence indicates that Suttles
estimated to be released.” 150 The evidence suggests that           was in possession of two sets of BP-produced flow rate
reporters at the press conference similarly interpreted Suttles's   estimates as of April 28th and 29th: a range of estimates
                                                                    produced by David Rainey's application of the Bonn
statement. 151 It was only after reporters pressed Suttles on
                                                                    methodology, and a range of estimates that Rainey produced
the issue that he described the “highly uncertain” and “very
                                                                    by using his hybrid ASTM methodology. 159 The Bonn
basic” nature of the estimates, 152 ultimately concluding, “I
                                                                    method produced a “low” estimate of 2,783 bpd, a “best
do not disagree with the Admiral's estimate that it could be
                                                                    guess” of 17,328 bpd, and a “high” estimate of 92,028
5,000 barrels a day.” 153 That estimate is “clearly within the
                                                                    bpd. 160 For several reasons, some of which are more
                         154
range of uncertainty.”                                              compelling than others, Suttles and Rainey chose to disregard
                                                                    the Bonn estimates. 161 Thus, Rainey's ASTM estimates—
150     (Pl. Ex. 3, at 3.)                                          which produced a “low” estimate of 1,063, a “best guess” of
151                                                                 5,758, and a “high” estimate of 14,266 bpd—were the only
        (See Pl. Ex. 3, at 3.)                                      timely set of BP-produced flow rate estimates upon which
152                                                                 Suttles's representation could have been based. 162
        (Pl. Ex. 3, at 4.)
153     (Pl. Ex. 3, at 4.) Worth noting, however, is that the       157
                                                                           See Omnicare, 135 S. Ct. at 1332.
        Admiral actually said that the flow rate could be



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158                                                                       barrels a day is probably the best estimate we have
        (See Def. Opp. at 14.)
                                                                          today.”).)
159
        (See Pl. Ex. 48 (Rainey Dep.) 139:23-141:2,                165    (Def. Opp. at 21.)
        147:24-150:4.)
                                                                   166
160                                                                       Omnicare, 135 S. Ct. at 1328.
        (Pl. Ex. 19.)
                                                                   167
161                                                                       Defendants argue that the high end of Rainey's
        (Pl. Ex. 149:18-152:2; but see Doc. No. 1333
                                                                          hybrid ASTM methodology was actually based on
        (“Hr'g Tr.”) 153:12-154:7 (explaining that Rainey's
                                                                          more conservative assumptions (i.e., that it erred
        and Suttles's basis for disregarding the Bonn
                                                                          on the high side as compared to the true ASTM
        method was questionable).)
                                                                          methodology). (Def. Reply at 17 n.8.) But this is
162                                                                       still not necessarily a reason for Suttles to discard
        (Pl. Ex. 19.)
                                                                          it in favor of the low end of Rainey's findings.
 *15 But even the few facts upon which Suttles was
                                                                          If anything, it could be viewed as evidence
purportedly relying did not fairly align with his April 28th
                                                                          that Rainey thought the high end of the ASTM
and 29th statements. 163 By omitting these facts, Suttles's               methodology would have produced too low of a
representation was misleading in several ways. First, to                  figure, and that his hybrid better represented the
the extent that 1,000 bpd fell within the range of BP's                   range of potential flow rates.
“best estimate[s],” 164 so too would 14,266 bpd—each of
                                                                   168
those estimates was produced using Rainey's hybrid ASTM                   See Spitzberg, 758 F.3d at 684.
surface expression method. Defendants argue that there is          Second, by suggesting that 1,000 bpd was still within the
“no evidence that the assumptions used to calculate the            range of “best estimates,” Suttles understated the potential
higher numbers were more accurate or realistic,” 165 but           flow rate. Suttles himself has since admitted that, by April
this misses the point. Plaintiffs need not present evidence        29th, BP's “best estimate had moved from one to five.” 169
that the “high” estimate was more compelling than the low          Indeed, the only expressly-designated “best” estimates that
estimate. Omitting the “high” estimate would be misleading         Suttles had seen were 5,758 bpd (ASTM) and 17,328 bpd
to investors as long as the “high” and “low” estimates
                                                                   (Bonn). 170 Third, even the upper bound of Suttles's “best
were equally compelling. As Omnicare holds, investors
                                                                   estimate” range understated by 15% the “best” estimate on
expect that assertions rest on something more than “mere
                                                                   which Suttles was purportedly relying. 171 In short, the Court
intuition.” 166 Because Plaintiffs have presented evidence
                                                                   struggles to find any way in which the “information...in
that the “high” and “low” figures were produced under
                                                                   [Suttles's] possession” at the time “fairly align[ed] with” his
the ASTM methodology (i.e., the figures can be compared
                                                                   opinion. 172 And not only does Plaintiffs' evidence suggest
apples-to-apples), at the very least, Plaintiffs have created
                                                                   that Suttles's statements were misleading, it is certainly
a dispute of material fact as to the weight of the two
                                                                   sufficient to suggest that Suttles knew that his representations
estimates. 167 If those two estimates are proven to be of equal
                                                                   would be misleading (or was at least severely reckless in this
weight and Suttles merely cherry-picked the more favorable
                                                                   regard).
of the two, then the omission of the higher estimate would
be misleading to a reasonable investor. Moreover, it would
                                                                   169    (Pl. Ex. 42 (Suttles SEC Tr.) at 239:25-240:10,
suggest that Suttles acted with “intent to deceive.” 168
                                                                          259:12-263:3; see also Pl. Ex. 1 (Suttles Dep.)
                                                                          at 275:22-24 (“I believe what we were trying to
163     And this is to say nothing of Suttles's severe                    convey is our best estimate had moved to five.”).
        recklessness in failing to apprise himself of
                                                                   170
        additional, readily-available flow rate estimates,                (Pl. Ex. 19.)
        which is discussed in the following sub-section.           171
                                                                          (See Pl. Ex. 19 (providing a “best guess” of 5,758
164                                                                       bpd).)
        (Pl. Ex. 4, at 3 (indicating Suttles stated, “I think
        that somewhere between one and five thousand               172
                                                                          See Omnicare, 135 S. Ct. at 1329.



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Defendants seek safe harbor in the context of Suttles's            175
                                                                          (See MPSJ at 7-8.)
statements, which they contend “ma[de] clear the real
tentativeness of [his] belief,” absolving him of any               176    (Def. Opp. at 44.)
liability. 173 This argument is unavailing. No amount of           First, Defendants argue that BP's hydraulic models were
caveats or hedges gives a speaker license to cherry-pick           “worst case discharge” calculations based on counterfactual
favorable data based on little more than a whim, and               assumptions, rendering them of little use in estimating the
Plaintiffs have provided evidence that Suttles did so here.        actual flow rate. To some extent, Defendants are correct. For
His statements were ostensibly based on one set of flow rate       example, one of the calculations was based on the assumption
estimates, yet he disregarded the high-end of the range (for
                                                                   that there were “open hole” flowing conditions. 177 Three
reasons unknown), and then represented that the low end of
                                                                   other calculations were similarly intended to calculate only
the range was one of BP's best estimates.
                                                                   a worst case scenario, and the Court agrees that these types
                                                                   of calculations were of little relevance to Suttles's public
173     (Def. Reply at 4.)                                         statements. 178
This is markedly different from the type of scenario in which
the “tentativeness” safe-harbor outlined in Omnicare would         177
                                                                          (See Pl. Ex. 11 (indicating that Estimate C was
apply. For example, by way of comparison, suppose that                    based on counterfactual assumption that there were
Suttles had said, “BP's flow rate estimates are very tentative            “open hole” flowing conditions).)
and wide ranging, but I think our best estimate is 5,700
bpd.” In this scenario, Omnicare would likely afford him           178
                                                                          (See Def. Opp. (explaining that Estimates A, B, and
protection. Omitting the high end of the ASTM range would                 E are worst case discharge estimates).)
not be misleading because, in this hypothetical situation, he
                                                                   Second, Defendants argue that BP's hydraulic models were
similarly omitted the lower end, lending a degree of balance
                                                                   irrelevant because such models “require accurate data for
and symmetry to the representation—in other words, the
                                                                   several input variables,” and without all of those variables,
tentativeness of the statement cuts both ways. Here, that sense
                                                                   “it is impossible to use hydraulic modeling to reliably solve
of symmetry and balance is lacking entirely.
                                                                   for flow rate.” 179 For example, Defendants impugn the
                                                                   hydraulic modeling estimates produced on April 27th and
                                                                   April 28th because one of the inputs was the diameter of
                   (2) Meaningful Inquiry                          the orifice through which the oil was leaking, which was
                                                                   unknown at the time. Instead, the models were run using
 *16 Plaintiffs additionally argue that Suttles failed to
                                                                   a range of potential orifice diameters, and they produced a
conduct a meaningful inquiry into flow rate estimates, as
                                                                   range of potential flow rate estimates as a result. Thus, say
would have been expected by a reasonable investor. 174             Defendants, these estimates were “not estimates of the actual
Specifically, say Plaintiffs, BP's engineers and contractors had   flow rate, but rather estimates of what the flow rate might be
produced thirteen sets of internal flow rate estimates as of
                                                                   given certain assumptions....” 180
the times Suttles spoke on April 28th and 29th, yet Suttles
apprised himself of only two. 175 In fact, Suttles completely      179    (Def. Opp. at 15 (citing Def. Ex. 25 (Ballard
neglected all of BP's internal hydraulic modeling estimates.
                                                                          Report) at 4). While four of the hydraulic models
Defendants respond that these purported “estimates” have
                                                                          produced worst case discharge, Plaintiffs have
only a “superficial connection to [Suttles's] public statement,”
                                                                          provided evidence that the remaining models
and he was therefore under no obligation to seek them
                                                                          attempted to calculate the actual flow rate based
out. 176 Defendants' conclusion predominantly rests on two
                                                                          on a range of reasonable factual assumptions about
arguments.
                                                                          unknown variables. (See Pl. Reply at 10 n.4.)

174                                                                180
        Id. at 1329 n.6 (holding that, under the omissions                (Def. Opp. at 43-44 (emphasis in original).)
        provision, a speaker's subjective belief in the truth      But uncertainty does not render information completely
        of his opinion will not insulate him from liability        irrelevant. Every estimate or projection is based on variable
        “in the absence of the expected inquiry”).                 assumptions—otherwise, the “estimate” would not be an



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estimate at all, but rather an empirical statement of fact.        Moreover, the Court struggles to comprehend how
Indeed, the very nature of estimation involves looking at          Defendants can castigate BP's hydraulic modeling efforts
multiple data points produced from a range of assumptions          on the heels of touting the surface expression methodology
and drawing a reasonable range of conclusions accordingly.         on which Suttles exclusively relied. Defendants' aspersions
Ole Ryegg, a BP contractor who developed the OLGA                  on hydraulic modeling—that it relies on unknown variables
modeling system that BP used to model the Macondo well             and cannot “reliably solve for flow rate” 186 —seem to
flow, made a similar observation in the context of hydraulic       apply with equal (or perhaps even greater) force to BP's
modeling: “hydraulic modeling matches known downhole               surface expression methodologies, which are similarly based
well data to a description of the flowpath, identifying possible   on widely variable assumptions. For example, there are at
interpretations and eliminating those that cannot exist....In      least three surface expression methodologies, each of which
producing fields [of data], good data may be available and kill
                                                                   attributes different thicknesses to different shades of oil. 187
                                               181
operations can be planned with confidence.”                        In other words, the correlation between shades of oil and the
                                                                   thickness of the slick was an unknown variable—one that
181     (Pl. Ex. 143.)                                             was widely divergent across competing methodologies. 188
 *17 BP's engineers must have had some idea as to which            The Court sees little difference between field observers
orifice diameters were more likely than others. As Suttles told    making assumptions about the thickness of the oil, on the
the Coast Guard following the spill, “it doesn't take a very       one hand, and BP's expert engineers making assumptions
                                                                   about orifice size, on the other. (And all of this is to say
large opening to get a relatively large flow rate.” 182 So at
                                                                   nothing of the potential for human error and variance among
the very least, Suttles knew that the low end of the hydraulic
                                                                   the field observers who are conducting aerial overflights for
modeling estimates would have yielded useful information.
And on April 27th and 28th, BP engineers produced at least         the surface estimates. 189 ) If it is true that, as Defendants
four different sets of calculations based on different orifice     argue, the surface expression estimates were an adequate
                                                                   basis for Suttles's flow rate representations, it seems only
sizes. 183 For example, on April 28th, Trevor Hill stated
                                                                   logical that the hydraulic modeling work would have been
that, even if the diameter of the orifice was as small as .25
                                                                   similarly informative.
inches, the flow rate would be 2,523—more than two times
the low end of BP's range of purported “best estimates.” 184       186
                                                                          (Def. Opp. at 15; see also Ballard Rep. at 8 (“The
And according to Tim Locket's calculations on April 27th, an
                                                                          Macondo system was too undefined to generate a
orifice size of one inch would have resulted in a flow rate of
                                                                          reliable flow estimate using hydraulic modeling”)
22,000 bpd. 185
                                                                          (emphasis added).)

182                                                                187
        (Pl. Ex. 14 at 429:12-432:6.)                                     (Potter Rep. at 3-6.)

183                                                                188
        (See MPSJ at 8 (citing Estimates I, J, K, L).)                    (See Potter Rep. at 3-6.)

184                                                                189
        (Pl. Ex. 23.) Defendants also argue that many                     As Defendants themselves admit, “you and I could
        of the hydraulic model estimates actually support                 be in the same airplane looking at the same
        Suttles's flow rate statements. (Def. Reply at 30.)               thing, and I guarantee you we'd see something
        This is inaccurate. For example, Defendants state                 different.” (Def. Opp. at 32 (citing Def. Ex.
        that Trevor Hill estimated a flow rate of 5,800 on                7 (Perkin Dep.) at 184:1-7); see also Hr'g Tr.
        April 27th. But Plaintiffs neglect to mention that                100:6 (“There is no standardization to how people
        this was the low end of the range of estimates,                   describe these colors.”).)
        which also included potential flow rates of 12,900         Further to the point, not only is there evidence that the
        and 22,600. (Pl. Ex. 20.) Defendants similarly             hydraulic modeling estimates would have been of relative
        misconstrue the nature of several other hydraulic          value to Suttles, Plaintiffs have also presented evidence
        modeling estimates.                                        that the estimates were of actual value to BP's response
185                                                                efforts—both BP's engineers and contractors were relying on
        (Pl. Ex. 22.)
                                                                   hydraulic modeling estimates in their source control efforts



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—even Defendants concede as much in their briefing. 190 If          were far from perfect; 194 and (4) while on a conference
those estimates were reliable enough to inform the source           call on April 27th, Suttles heard that BP's engineers were
control team's decision making, then they were at least             calculating ranges of flow rates based on varying orifice sizes
arguably reliable enough to inform Suttles's public statements      and pressure curves. 195 Yet despite knowing of these readily
regarding BP's “best estimate” of the actual flow rate. 191         available estimates—and despite knowing that the one surface
                                                                    expression estimate on which he was exclusively relying was
190                                                                 highly unreliable— Suttles elected to forego reviewing this
        (See Def. Reply at 24 (noting that “Both parties'
        experts agree that...BP and its contractors used            flow rate information before speaking publicly about the flow
        hydraulic modeling to understand the possible               rate. 196
        impact of source control operations” and citing
        evidence); Def. Opp. at 15 (citing Ballard Rep.             192     (MPSJ Ex. 14 at 434:15-435:21 (noting that BP
        at 1); see also Pl. Ex. 18 (Barnett Dep.) at 63:15                  had “experts in flow assurance,” which involves
        – 64:5.) Even if, as Defendants' say, “the flow                     expertise regarding how oil “flow[s] through pipes
        rates used for...this work were necessarily and                     in deepwater.”); Pl. Ex. 42 (Suttles SEC Tr.) at
        intentionally biased to the high side,” (Def. Opp.                  151:22-152:4 (Suttles explained that he “knew that
        15), that is no reason to disregard the data entirely.              you could make this [flow rate] calculation in
        As Bill Lehr stated, surface expression modeling                    various ways”).)
        produces estimates that are “usually on the low
                                                                    193
        side,” (Pl. Ex. 47 (Lehr Dep.) 246:16-247:8,) yet                   (Pl. Ex. 16 (Suttles's handwritten note from call
        Suttles relied on it exclusively.                                   with Houston source control team that contains a
                                                                            reference to a flow rate estimate).)
191     Defendants argue that Plaintiffs have failed to
                                                                    194
        prove that the hydraulic modeling estimates would                   See Section III.B., supra.
        have been material to a reasonable investor.                195
        (Def. Reply 20.) Specifically, they point to                        (See Pl. Ex. 150 (conference call notes referencing
        testimony from Plaintiffs' loss causation expert,                   “ACTION” items for “Doug,” indicating that Doug
        Chad Coffman, stating that these estimates would                    Suttles was in fact on the conference call during
        have been “ ‘informative’ to the market only ‘if the                which hydraulic modeling efforts were discussed).)
        methodology underlying those estimates got you              196     (Pl. Ex. 14 at 4:35:15-23.) For these reasons,
        closer to an assumption as to what was actually
                                                                            Defendants' assertion that this holding would
        going on under the sea at that moment.” (Def.
                                                                            “require [corporate executives] to search for and
        Reply 20 (quoting Def. Ex. 13 (Coffman Dep.)
                                                                            disclose all information throughout the company
        at 121:3-23)). But for the reasons outlined in the
                                                                            (regardless of relevance) before they speak on a
        preceding paragraphs, Plaintiffs have presented
                                                                            subject” is misguided. (See Def. Reply at 26.) Here,
        evidence from which a jury could conclude that the
                                                                            Suttles knew that the information on which he was
        hydraulic modeling estimates would have gotten
                                                                            relying was far from reliable or conclusive, knew
        the market closer to what was “going on under the
                                                                            (at least generally) about the hydraulic modeling
        sea.” Defendants' argument fails as a result.
                                                                            estimates of flow rate, and knew that he was
 *18 Plaintiffs' argument that Suttles was at least severely                about to speak about flow rate. This is a far cry
reckless in failing to apprise himself of BP's hydraulic                    from situations where, for example, a plaintiff
modeling estimates is made all the more compelling                          sues a CEO for failing to investigate accounting
by evidence that Suttles knew that BP's engineers were                      regularities about which he had no notice.
producing the models. For example, Plaintiffs have provided
                                                                    This evidence is sufficient for Plaintiffs to avoid summary
evidence suggesting that Suttles: (1) was generally aware
                                                                    judgment. Suttles knew that he was going to speak about BP's
that BP had the engineering expertise to potentially model
                                                                    flow rate estimates at the April 28th press conference and
the flow rate; 192 (2) Suttles knew that the Houston source         on the April 29th morning shows. A reasonable jury could
control team was performing flow rate estimates; 193 (3)            conclude that it was at least severely reckless for Suttles to
Suttles knew that the estimates on which he was relying             essentially rely on one “highly unreliable” flow rate estimate



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instead of inquiring as to BP's numerous other calculations,        The evidence, however, suggests that a reasonable jury
particularly given that his statement was diverging from the        could conclude otherwise. As an initial matter, a reasonable
flow rate estimates produced by the NOAA. 197                       investor would have understood Suttles to be speaking on
                                                                    behalf of BP, not merely repeating the UAC's estimate. 199
197                                                                 More importantly, Suttles's estimates and comments actually
        Defendants counter that Suttles was relying not
                                                                    diverged from the NOAA's estimates, so the suggestion that
        only on the ASTM estimates, but also on the
                                                                    he was just a supporting character in the UAC's play rings
        fact that those estimates were corroborated by
        the NOAA's estimates. But the notion that the               hollow. 200
        NOAA's estimates corroborated Suttles's ASTM
        estimates overstates the facts (or is at least a            199    (Pl. Ex. 2, at 2-3.) During his prepared remarks,
        disputed fact). The NOAA repeatedly emphasized                     Suttles spoke in the collective “we.” His remarks
        that their estimates were accurate only to an                      can most fairly be read to refer to the BP Group
        order of magnitude and that surface expression                     rather than the combined UAC. (E.g., id. at 2
        methodology was highly unreliable. Indeed, the                     (“Working with Transocean – the owner and
        NOAA's estimates were arguably a red flag that                     operator of the drilling rig – the MMS, and the
        should have led Suttles to rely on more than                       Coast Guard, we are committed to finding the
        surface expression methodology, especially given                   cause of this incident.”); id. at 3 (“Our current
        BP's unique ability to model the conditions of the                 efforts – in cooperation with Transocean, the MMS,
        well system and leak.                                              and the Coast Guard – are focused on developing
                                                                           and implementing the most effective way to stop
   D. Hayward's May 5th Statement                                          the flow of oil.”).). Additionally, at the April
The Court need not reach the issues of falsity and scienter with           28th press conference, Landry drew a distinction
respect to Hayward's statement to the Houston Chronicle.                   between BP's estimates and the NOAA/UAC's
Plaintiffs have failed to provide evidence that Hayward's May              estimates: While “BP believes and we believed and
5th statement proximately caused any of their losses (i.e.,                established a thousand barrel per day estimate...,
Plaintiffs have not satisfied the loss causation element of their          NOAA experts believe the outlook...can be as
Section 10(b) claim). 198 As a result, Hayward is entitled                 much as 5,000 barrels.” As a result, it is reasonable
to judgment as a matter of law regardless of whether he                    to assume that Suttles was speaking on behalf of
intentionally made a false or misleading statement.                        BP, not the UAC. At the very least, this is a fact
                                                                           issue for the jury.
198                                                                 200
        As the Court discusses at length in Section IV, infra,             See Sections III.B and III.C, supra. In short, the
        Plaintiffs have provided evidence of loss causation                NOAA's representative told Suttles that the flow
        only as to the stock drops on April 29th and May                   rate “could be a thousand, could be 10,000,” (Pl.
        3rd, meaning that they could not have been caused                  Ex. 43 (Henry Dep.) at 182:2-11), yet Suttles
        by Hayward's statement on May 5th.                                 represented only the low end of that range publicly
                                                                           on April 24th. On April 29th, the NOAA's best
   E. Defendants' Evidence of Suttles Good Faith                           estimate had moved to 5,000 bpd, yet, once again,
 *19 Defendants additionally argue that any possible                       Suttles represented that BP's best estimate was
evidence of scienter is negated by substantial evidence                    lower: somewhere between 1,000 to 5,000 bpd. If
indicating that Suttles was acting in good faith. The Court                anything, this is evidence that Suttles was acting in
disagrees. At most, Defendants have demonstrated that                      bad faith by consistently providing estimates at the
Suttles's intentions are a disputed point of fact that should be           low end of the NOAA's range.
resolved at trial.
                                                                    Defendants additionally argue that Suttles operated with
                                                                    a high level of transparency throughout the post-spill
Defendants first contend that it was the UAC who announced
                                                                    timeframe. But Admiral Landry, who worked extensively
the 1,000 and 5,000 bpd estimates, and Suttles's merely
                                                                    with Suttles, provided testimony that calls Defendants'
acquiesced to those estimates in good faith reliance on
                                                                    position into question. For example, Landry indicated that
government experts (e.g., Charlie Henry of the NOAA).


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“Suttles attempted to downplay the flow rate,” particularly
on April 28th after the third leak point was detected in            • June 1 – News that BP failed to stop the oil spill using
                                                                       “Top Kill.”
the piping. 201 According to Landry, Suttles advocated for
increasing the flow rate estimate to only 2,500 bpd rather than     • June 9 – News that members of Congress sent a letter to
                                                 202                   BP advising that BP should suspend its dividend.
the 5,000 bpd figure produced by the NOAA.       Not only
did this 2,500 bpd figure cut against the few BP-produced
estimates with which Suttles was familiar—estimates which           • June 14 – News that BP's Board of Directors was meeting
were not shared with the UAC—it cut against the NOAA-                  to discuss alternatives to its Q2 dividend payment
produced estimates upon which Suttles is claiming to have              because of “anticipated costs and repercussions from the
                                                                       oil spill.”
relied in good faith. 203
                                                                  Defendants argue that Plaintiffs have failed to provide
201                                                               evidence of loss causation for any of these alleged
        (Pl. Ex. 85 (Landry Dep.) 82:8-84:12.)
                                                                  “corrective event days.” Accordingly, say Defendants,
202     (Pl. Ex. 85         (Landry   Dep.)   66:18-68:13,        summary judgment is appropriate. The Court agrees that
        96:1-96:18.)                                              Defendants are entitled to judgment as a matter of law with
203                                                               respect to the stock drops on May 10, June 1, June 9, and
        (Pl. Ex. 85 (Landry Dep.) 82:8-11.)
                                                                  June 14, but holds that Plaintiffs have met their burden of
 *20 Additionally, David Hayes, Deputy Secretary for the          identifying specific evidence from which a reasonable jury
U.S. Department of the Interior, expressly suggested that BP's    could conclude that Defendants' misrepresentations were the
communications were less than forthcoming. After receiving        proximate causes of the stock drops on April 29 and May 3.
an update from BP, Hayes emailed Suttles: “[There is] very
little granularity on the key points that we are focusing
on. Frankly, it looks like outside communication folks and          A. Loss Causation, Generally
lawyers have intervened since the template was circulated         “Loss causation requires proof of a causal connection
                                                                  between a misstatement and a subsequent decline in a stock's
yesterday.” 204
                                                                  price.” 205 Merely establishing that the stock's purchase
204                                                               price was artificially inflated is insufficient. 206 Instead, “the
        (Pl. Ex. 86 (BP-HZN-2179MDL01446171). See
                                                                  plaintiff must prove that when the ‘relevant truth’ about the
        also Pl. Ex. 85 (Landry Dep.) 69:10-71:8 (Suttles
                                                                  fraud began to leak out or otherwise make its way into the
        pushed back against Landry's attempts to be more
                                                                  marketplace it caused the price of the stock to depreciate,”
        transparent with the press).)
                                                                  directly devaluing the stockholder's shares, and “thereby

IV. LOSS CAUSATION                                                proximately caus[ing] the plaintiff's economic loss.” 207
Plaintiffs argue that they have identified six days on which
“corrective” information—that is, negative information            205
                                                                          Alaska Elec. Pension Fund v. Flowserve Corp.,
that revealed the truth about Defendants' fraudulent                      572 F.3d 221, 229 (5th Cir. 2009); see also Dura
representations—entered the market, causing the value of                  Pharmaceuticals, Inc. v. Broudo, 544 U.S. 336,
BP ADS to drop, and thereby proximately causing injury to                 342 (2005) (describing loss causation as a “causal
Plaintiffs. The corrective disclosures include:                           connection between the material misrepresentation
                                                                          and the loss”).
  • April 29 – News that BP increased its estimate of the flow
     rate from 1,000 bpd to 5,000 bpd.                            206
                                                                          Dura, 544 U.S. at 342.

  • May 3 – News that the size of the oil slick had tripled in    207
                                                                          Lormand v. US Unwired, Inc., 565 F.3d 228, 255
    size over the weekend.                                                (5th Cir. 2009) (citing Dura, 544 U.S. at 344); In re
                                                                          BP p.l.c. Sec. Litig., 2014 WL 2112823, at *6 n.4
  • May 10 – News that BP failed to stop the oil spill via a
                                                                          (S.D. Tex. May 20, 2014).
    “coffer dam” or “containment dome.”




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There are two components to establishing loss causation. 208        Defendants construe the relevant truth more narrowly.
First, the decline in stock price must follow “a disclosure         According to Defendants, the “relevant truth” is the fact
of negative truthful information that was related to the            that BP underrepresented its flow rate estimates. Disclosures
allegedly false, non-confirmatory positive statement made           are therefore corrective only if the market understands the
                                                                    disclosure as corrective of the flow rate.
earlier.” 209 For negative information to be “related to” a prior
misstatement, it need not “specifically reveal[ ] the fraud” by
                                                                    The Court agrees with Defendants. The general thrust of
correcting the prior misstatement “fact-for-fact.” 210 Instead,     Plaintiffs' argument is intuitively appealing, but a closer
the “disclosed information must reflect part of the ‘relevant       inspection reveals that their conception of the “relevant
truth’—the truth obscured by the fraudulent statements.” 211        truth” would lead to outcomes that cannot be harmonized
Second, it must be “more probable than not that...this negative     with the principles outlined by the Supreme Court in Dura
statement, and not other unrelated negative statements...           Pharmaceuticals. 215
                                               212
caused a significant amount of the decline.”
                                                                    215
                                                                           Dura Pharmaceuticals, Inc. v. Broudo, 544 U.S.
208
        Id. at *7.                                                         336 (2005).
209
        Flowserve Corp., 572 F.3d at 229.
210                                                                         (1) Plaintiffs' Conception of the “Relevant
        Id.
                                                                                Truth” and Corrective Disclosures
211
        Id. at 230.
                                                                    Plaintiffs' conception of the relevant truth is based on the
212                                                                 uncontroversial arithmetical proposition that Magnitude of
        Id. at 228 (quoting Greenberg v. Crossroad Sys.,
        364 F.3d 657, 666 (5th Cir. 2004)).                         the Spill = Duration of the Leak * Flow Rate of the
                                                                    Leak. 216 In other words, Plaintiffs' theory is premised on
   B. Scope of the “Relevant Truth” and Corrective                  the proposition that the potential magnitude of the spill is
   Disclosures                                                      a direct function of the flow rate; to misrepresent the latter
 *21 The parties' loss causation arguments are many and             necessarily obscures the truth about the former. And here, say
span dozens of pages, but most of their arguments arise             Plaintiffs, because Suttles was providing the market with each
out of a fundamental disagreement regarding the scope of            of the two requisite variables for calculating the magnitude of
the “relevant truth.” Plaintiffs define the concept broadly,        the spill (duration and flow rate), not only was he obscuring
contending that the “relevant truth” is any “truth that was         the truth about the magnitude of the spill, in effect, he was
obscured by the fraud, [including] instances where...a broader      implicitly misrepresenting it. 217 Thus, the “relevant truth”—
relevant truth follows from a misrepresentation because of          that is, the truth obscured by Defendants' fraud—is not only
the message that the statement conveys.” 213 And here,              that BP expressly underrepresented its estimates of the flow
Plaintiffs argue, by fraudulently misrepresenting BP's flow         rate, but also that, by doing so, BP implicitly underrepresented
rate estimates, BP implicitly misrepresented (or “obscured”)        the potential magnitude of the spill. 218
the true magnitude of the oil spill. 214
                                                                    216    (Pl. Supp. at 7.) The “magnitude of the spill” is the
213                                                                        amount of oil (measured in barrels) that is spilled
        (Doc. No. 1341 (“Pl. Supp.”) at 2.)
                                                                           into the Gulf of Mexico as a result of the leak from
214     (Pl. Supp. at 4.) For example, as one analyst put it,              the Macondo well.
        “[W]e do not see [the oil spill] materially impacting
                                                                    217
        BP's outlook. The leak is relatively small (1[,000]                (Pl. Supp. at 4.) For example, on April 25th, Suttles
        bopd] ); it would take a year of continuous leaking                publicly stated that it could take BP up to three
        to reach Exxon Valdez-type proportions.” (Pl. Ex.                  months to stem the flow of oil from the leak,
        94, Macondo spill overshadows solid 1Q10 results,                  and he reiterated this timeline throughout the class
        Bank of America Merrill Lynch April 28, 2010, at                   period. By extension, Plaintiffs argue, when Suttles
        1.)                                                                later stated that the flow rate was estimated to



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        be 5,000 bpd, he was implicitly representing that         Under Plaintiffs' definition, however, Plaintiffs could recover
        BP's estimation of the ultimate size of the spill         damages for stock drops that follow any disclosure that
        was 90,000 barrels of oil (1,000 bpd * 90 days =          reveals the true magnitude of the spill. In other words,
        90,000 barrels of oil). (See Hr'g Tr. at 49:11-50:2,      disclosures would be corrective not only if they relate to BP's
        58:13-25, 140:8-140:20.)                                  fraudulent flow rate estimates, but also if they relate to BP's
        There was much debate between the parties as to           non-fraudulent estimates of the duration of the spill. 220
        what, precisely, Suttles stated about the duration
        of the leak. Plaintiffs have vociferously contended       219
                                                                         (See Section IV.C., supra.)
        that Suttles represented it would take BP 90
        days to stop the leak, but this position is flatly        220    Plaintiffs concede that BP accurately represented
        contradicted by the very evidence that Plaintiffs                its estimates of the duration of the leak.
        cite in support. The evidence actually indicates
        that Suttles consistently provided the market with        Consider, for example, how Plaintiffs' loss causation
        a range of duration estimates throughout the class        framework applies to the June 1 disclosure that the “Top Kill”
        period: BP would first try to seal the leak with          containment method had failed. According to Plaintiffs, the
        a remote-operated vehicle (“ROV”), which would            failure of Top Kill revealed “that the duration...of the spill
        take a matter of about twenty-four hours; if the          would continue,” causing the market price of BP ADS to
        ROV failed, then BP would attempt to build a              decline by $5.93. 221 Although this disclosure said nothing of
        containment dome around the well, which would             flow rate—it speaks only to BP's estimates of the duration of
        take roughly two to four weeks; in the meantime,          the spill, which Plaintiffs concede was accurately represented
        BP would build relief wells that would take about         throughout the class period—the disclosure nonetheless
        three months to complete. Thus, the 90 day timeline       indicated to the market that the magnitude of the spill would
        to which Plaintiffs refer was merely the outer bound      be more severe than initially anticipated, and is therefore
        of the potential duration, not BP's hard and fast         corrective. 222
        estimate. (See, e.g., Pl. Ex. 90, Chevreux, April
        27, 2010, Clean Q1-10 net income 18% above                221    (Pl.' Opp. 72-73.)
        consensus (noting that BP was “trying to seal the
        leak with an ROV”; if the ROV fails, BP will              222    (Ps. Opp. 72-73.) It must be remembered that the
        build containment domes which will take “two                     bedrock of Plaintiffs' argument is the notion that
        to four weeks”; and BP will build a relief will,                 Magnitude of the Spill = Duration of the Leak *
        which could take “months”); Pl. Ex. 96, Bank of                  Flow Rate of the Leak. An increase in the duration
        America Merrill Lynch, Macondo Spill reaction                    of the spill leads to an increase in the magnitude
        looks overdone, April 30, 2010 (same); Pl. Ex. 105,              of the spill in the same way that an increased flow
        JPM Casenove Analyst Report, Macondo update –                    rate would lead to an increase in the magnitude
        first attempt with containment system fails, May 10,             of the spill. Because the relevant truth is that BP
        2010 (same)).                                                    underrepresented the magnitude of the spill, any
218                                                                      disclosure that reveals the true magnitude of the
        (Pl. Supp. at 4.)
                                                                         spill is corrective. Under Plaintiffs' theory, whether
 *22 This definition would substantially enhance Plaintiffs'             that disclosure relates to duration or flow rate
ability to recover damages for drops in the value of BP ADS.             matters not. (See Hr'g Tr. at 50:22-51:19.)
As explained in Section IV.C., Fifth Circuit law provides
                                                                  According to Plaintiffs, this loss causation framework
that plaintiffs may recover damages for any decline in stock
                                                                  “present[s] a classic ‘but for’ methodology that ‘seeks to
price that follows a corrective disclosure (i.e., a disclosure
                                                                  address the question of what a stock's price would be absent
that reveals the relevant truth). 219 Thus, as the scope of
                                                                  the alleged fraud.’ ” 223 If BP had accurately represented
the relevant truth expands, so too does the universe of
                                                                  its flow rate estimates initially, the market would have
disclosures that can qualify as “corrective.” For example,
                                                                  understood that the potential magnitude of the spill was
under Defendants' definition of the relevant truth, Plaintiffs
                                                                  substantial, and the value of BP ADS would have declined
could establish loss causation only for stock drops that follow
                                                                  accordingly. The failure of Top Kill, although unrelated to
disclosures related to BP's fraudulent flow rate estimates.



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flow rate, 224 demonstrates how the market responds to news                  supporting precedent.” (Doc. No. 1340 (“Order”)
that the spill is of a greater magnitude than BP's flow rate                 at 5.) In their supplemental briefing, Plaintiffs
estimates initially implied. Thus, Plaintiffs aver that they can             identified three cases in support of their position.
use “BP's failure to stop the oil flow as a proxy for measuring              (Pl. Supp. at 3-5 (citing Lormand, 565 F.3d at
what the ‘true value’ of what BP's stock would have been had                 249; Spitzberg, 758 F.3d at 680-81, 688; Flowserve,
Defendants' not misrepresented the severity of the spill from                572 F.3d at 231).) As Defendants correctly note,
                                                                             none of these cases addresses the type of theory
the outset.” 225
                                                                             that Plaintiffs are advocating here. (See Doc. No.
                                                                             1345 (“Def. Supp.”) at 14-18 (explaining that the
223
        (Pl. Opp. 73-74 (quoting In re Novatel Wireless                      relevant truth in each case involved the direct
        Secs. Litig., 2013 U.S. Dist. LEXIS 164725, at *10                   subject matter of the misrepresentation, making
        (S.D. Cal. Nov. 19, 2013).)                                          them inapplicable to Plaintiffs theory).)
224                                                                   227
        The relationship, or lack thereof, between flow rate                 There seems to be a dearth of case law discussing
        and the failure of Top Kill is discussed in Section                  the proper scope of the “relevant truth.” Instead,
        IV.C., infra.                                                        case law tends to focus on what constitutes a
225                                                                          corrective disclosure. For further discussion of the
        (Pl. Opp. 73; see also Pl. Opp. 68-69 and 77
                                                                             distinction between a corrective disclosure and the
        (applying this “proxy” theory to the disclosures
                                                                             relevant truth, see Order at 2-4.
        on May 10, June 9, and June 14); Doc. No.
        1124 (Pl. Opp. to Def. Mot. to Exclude) at 29
        (“Mr. Coffman has clearly testified that through                         (2) The Proper Scope of the Relevant
        his analysis he is calculating artificial inflation that                   Truth and Corrective Disclosures
        Defendants' misrepresentations impounded into the
        stock. Artificial inflation is measured through the           The Supreme Court's edict in Dura was clear: “the
        use of proxies in the form of later price declines            [securities laws] make actions available, not to provide
        that occurred after some portion of the truth came            investors with broad insurance against market losses,
        to light and provides an appropriate class-wide               but to protect them against those economic losses
        damages methodology.”).)                                      that misrepresentations actually cause.” 228 Here, Suttles
 *23 Defendants contend that “Plaintiffs' formulation of the          fraudulently misrepresented BP's flow rate estimates. Yet
relevant truth...[has] no support in the case law,” and they          Plaintiffs' definition of “the relevant truth” would allow them
appear to be correct—Plaintiffs have not provided any case            to use the market's reaction to BP's non-fraudulent duration
law that sets a precedent for their broad conception of the           estimates as a proxy for the economic loss that was caused
                                                                      by Suttles's flow rate misrepresentations. This approach
“relevant truth,” nor is the Court otherwise aware of any. 226
                                                                      —at least, as applied here—is incongruous with Dura’s
But, while true that Plaintiffs have provided no case law
                                                                      limiting principle. Plaintiffs have presented no evidence
endorsing their approach, Defendants have cited no case law
                                                                      from which a reasonable jury could find that the market's
that expressly forecloses it. 227 As a result, the Court must
                                                                      reaction to duration information is an adequate proxy for
evaluate the merits of Plaintiffs' definition of the relevant truth
                                                                      determining the “economic losses...actually cause[d]” by
in the more general context of the loss causation principles
                                                                      Suttles's misrepresentations of BP's flow rate estimates. 229
outlined in Dura.

                                                                      228
226                                                                          Dura, 544 U.S. 336 at 345 (emphasis added); see
        Following the motion hearing, the Court ordered
                                                                             also id. at 345-46 (investors must “prov[e] that the
        the parties to provide supplemental briefing on
                                                                             defendants' misrepresentations caused the loss for
        the proper scope of the “relevant truth.” The
                                                                             which plaintiff seeks to recover”).
        Court instructed, “To the extent that Plaintiffs
        think the ‘relevant truth’ should be defined                  229    Plaintiffs might argue that the “misrepresentation”
        more broadly than ‘the fact that Defendants                          relevant here is Suttles's implicit misrepresentation
        made false statements regarding BP's flow                            of the magnitude of the spill (e.g., 1,000 bpd
        rate estimates,’ Plaintiffs should...identify any


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        * 90 days = 90,000 barrels), not just his direct          that its revenue projection for Q1 is $5 million for CD sales,
        misrepresentation of flow rate. But even assuming         and $10 million for flash drive sales. The representation
        this contention has adequate factual support,             for flash drives is accurate, but the representation for
        (see n. 217, supra), the distinction is of no             CDs is fraudulent. In fact, the company projects only $1
        consequence in the context of Dura. Suttles               million in revenue for CD sales. Under Plaintiffs' theory, by
        implicitly misrepresented the magnitude of the spill      over-representing projected CD revenue by $4 million, the
        only to the extent that he misrepresented the flow        company has implicitly misrepresented its projection of total
        rate. His liability should be similarly limited.          revenue by $4 million, and that is the “relevant truth.” 232
Although ultimately unavailing, Plaintiffs' position is not
entirely without force. It is indisputable that a fraudulent      232
                                                                         (See Pl. Supp. at 4.)
flow rate estimate would “obscure[ ]” the truth about the
                                                                  A few weeks later, information leaks that the revenue
potential magnitude of the spill—even Defendants concede
                                                                  projection for CD sales has been revised from $5 million to $4
that Estimated Flow Rate * Estimated Duration of the Leak
                                                                  million, and the company's stock price drops. The following
= Estimated Magnitude of the Spill. 230 And Plaintiffs have       week, information leaks that the public has proven reluctant
provided reams of evidence indicating that the market was         to adopt the new flash drive technology, and that the revenue
indeed internalizing BP's flow rate estimates with an eye         projection for flash drives has been revised downward from
towards the ultimate size of the spill. 231 It seems relatively   $10 million to $7 million. Once again, the company's stock
simple to conclude that the market would react the same way       price falls as a result.
to an increased flow rate estimate as it would to an increased
duration estimate—either way, the projected size of the spill     Under Plaintiffs' theory of loss causation, both of these
is going to increase.                                             disclosures “reveal the relevant truth,” and shareholders are
                                                                  entitled to recover damages for each of the ensuing stock
230                                                               drops. After all, revenue is revenue. A downward revision of
        It is little more than tautology to say that, if
        Estimated Flow Rate * Estimated Duration of the           $4 million for CD revenue, on the one hand, should have a
        Leak = Projection of Total Barrels of Oil Spilled         substantively identical effect on stock price as a downward
        into the Gulf, then a fraudulent flow rate would          revision of $3 million in flash drive revenue and $1 million
        necessarily misstate the projected amount of oil          in CD revenue, on the other hand. Either way, the market is
        spilled into the Gulf.                                    responding to an aggregate downward revision of $4 million
                                                                  of total revenue. Thus, according to Plaintiffs, shareholders
231
        (See, e.g., Ex. 94, “Macondo spill overshadows            could use the stock drop that resulted from the flash drive
        solid 1Q10 results,” Bank of America Merrill              disclosures as a proxy for what would have happened if the
        Lynch April 28, 2010, at 1 (“The leak is relatively       company had accurately disclosed revenue projections for
        small (1[,000 bopd]; it would take a year of              CDs. 233
        continuous leaking to reach Exxon Valdez-type of
        proportions.”))                                           233    Or, to paraphrase Plaintiffs, the “stock price
 *24 But the attraction of Plaintiffs' argument is limited to            declines” resulting from the company's non-
its veneer of simplicity. When a revised flow rate estimate              fraudulent conduct (failure to sell more flash
(or any piece of news) is disclosed, the market does not                 drives) can be used “as a proxy for measuring
internalize the news in a vacuum. Instead, that one shard                what the ‘true value’ of what [the company's]
of information is examined within a pre-existing mosaic of               stock would have been had [the company]
interrelated data points and strategic considerations. In other          not misrepresented [the total revenue] from the
words, just because two variables have the same effect on a              outset.” (Cf. Pl. Opp. 73 (arguing that Plaintiffs
given output (e.g., magnitude of the spill) does not mean they           can use “BP's failure to stop the oil flow as a
have the same effect on a company's stock price. Consider the            proxy for measuring what the ‘true value’ of what
following hypothetical.                                                  BP's stock would have been had Defendants' not
                                                                         misrepresented the severity of the spill from the
A technology company manufactures and sells two products:                outset”).)
blank CD disks and flash drives. The company represents



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But this theory relies on a false equivalence. While true that      *25 On the other hand, perhaps the company's future
each input (CD revenue and flash drive revenue) has the            viability depends entirely on its new flash drive technology,
same effect on a given output (total revenue), their effects       and the market was very bullish on the technology's
on the company's stock price are markedly distinct. The            prospects. 235 When the market responds to news that flash
market moves based not just on what the projected decrease         drive revenue has been revised downward by $3 million, the
in a product's revenue means for total revenue, but on what        stock drops precipitously not only because projected total
the decrease signifies about the company's business more           revenue decreased by 20%, but because the viability of the
generally. For example, CDs are virtually obsolete. News           flash-drive product—and, as a result, the viability of the
that the company's CD sales are worse than the company             company itself—has been called into question.
publicly projected may be relatively insignificant to the
market. Indeed, the market may have already suspected that         235    The Court acknowledges that flash drives are no
Plaintiffs' projection was overly optimistic, meaning that
                                                                          longer a burgeoning new technology for storing
the artificial inflation in the stock price (i.e., the inflation
                                                                          data, but the concept is far easier to understand
that resulted from the fraudulent statement) was relatively
                                                                          than cloud computing. For the purposes of this
small. 234 As a result, so too would be the decline in stock              hypothetical, assume that flash drives are still the
price that follows a disclosure that corrects the fraudulent              cutting edge storage solutions that they were in the
projections of CD revenue.                                                early 2000s.

234                                                                Here, similarly, Plaintiffs seem to contend that, because
        For example, suppose that, instead of overstating          estimates of duration and flow rate have the same effect
        its revenue projection for CDs by $4 million,              on a given output (estimated magnitude of the spill), the
        the company overstated the projection by almost            two types of information have an interchangeable effect on
        $400 million. In this scenario, would the artificial       the market price of BP ADS. But even assuming that this
        inflation in the stock price be 100 times greater          approach is theoretically plausible under some hypothetical
        than in the original hypothetical? Of course               set of facts, those facts are not present here; Plaintiffs have
        not. Just because a company makes a projection             not provided evidence that the market effects of duration
        does not mean that the market necessarily                  estimates provide a proxy for estimating the losses “actually
        assumes the projection is infallible. Indeed, the          cause[d]” by Suttles's fraudulent flow rate estimates. Based
        market is not comprised of rubes or automatons.            on this conclusion alone, summary judgment is appropriate.
        Analysts independently evaluate representations
        using established financial metrics and in light           If anything, the evidence cuts against Plaintiffs' theory.
        of extensive industry-specific knowledge, and              Specifically, the evidence suggests that: (i) the market reacted
        they price companies' stocks accordingly. This             differently to disclosures of duration and flow rate estimates;
        is particularly true in the context of projections,        and (ii) the artificial inflation attributable to the flow rate
        which give rise to a wide range of potential               misrepresentations had fully dissipated by even the May 10th
        opinions. So, returning to our hypothetical, no            duration disclosure.
        reasonable investor—knowing what they know
        about the relevant markets and company's earnings
                                                                   Much like in the footnoted hypothetical above, 236 it appears
        history—would price the company's stock based on
                                                                   that the market treated BP's flow rate estimates somewhat
        the company's overly rosy $400 million revenue
                                                                   skeptically. After Suttles's revised estimate on April 29th, the
        projection. Instead, the stock would trade based
                                                                   market generally met news about flow rate with a shrug of its
        on a far more realistic assumption. As a result,
                                                                   shoulders. For example, on May 3rd, news broke that “the oil
        using the market's response to unrelated decreases
                                                                   slick over the water's surface appeared to triple in size over
        in revenue projections for flash drives (up to $400
                                                                   the past two days, which could indicate an increase in the rate
        million) would drastically overstate the loss that
        was actually caused by the company's overstated            that oil is spewing from the well.” 237 Reuters specifically
        CD revenue, which the market never fully believed          noted growing fears that “the amount of oil gushing from one
        in the first place.                                        of its wells...may be far greater” than previously represented
                                                                   by BP. 238 Yet BP's ADS price fell by only 4%. 239



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236                                                                       University of California, and two estimates Purdue
        See n. 234, supra.
                                                                          University).)
237
        (Pl. Ex. 99, “Gulf Oil Spill Swiftly Balloons, Could      Both BP's initial representations and subsequent disclosures
        Move East,” Associated Press, May 1, 2010, 11:26          about the duration of the leak, however, were far more
        p.m.)                                                     concrete. There was apparently general agreement within the
238                                                               market as to the methods that BP was employing, when they
        (See Pl. Ex. 89 (“Coffman Rep.”) at ¶155 and
                                                                  were employing them, and the fact that, if all else failed,
        ¶114 (citing BP shares fall again as oil leak fears
                                                                  BP would be able to drill a relief well within 90 days that
        escalate, Reuters, May 3, 2010) (emphasis added).)
                                                                  would stop the leak. 243 The effect of information regarding
239
        (See Coffman Rep. ¶114).                                  flow rate presumably had—and Plaintiffs have provided no
After May 3rd, the market's indifference to flow rate estimates   evidence suggesting that it did not have—a different effect on
was even more noticeable:                                         the stock price than new information regarding duration.

  • On May 13 and 14, the media reported that a Purdue            243
                                                                          (See, e.g., Pl. Ex. 90, Chevreux, April 27, 2010,
    University professor had estimated the flow rate at                   Clean Q1-10 net income 18% above consensus
      70,000 bpd. 240                                                     (noting that BP was “trying to seal the leak with an
                                                                          ROV”; if the ROV fails, BP will build containment
  • On May 15, The Wall Street Journal reported that the                  domes which will take “two to four weeks”; and
    5,000 bpd estimate was facing “growing skepticism,”                   BP will build a relief will, which could take
    and noting that the NOAA was “working on a worst case                 “months”); Pl. Ex. 96, Bank of America Merrill
    scenario assuming some 50,000 barrels a day of oil are                Lynch, Macondo Spill reaction looks overdone,
      pouring into the water.” 241                                        April 30, 2010 (same); Pl. Ex. 105, JPM Casenove
                                                                          Analyst Report, Macondo update – first attempt
  • On May 27th, the FRTG announced its preliminary flow-
                                                                          with containment system fails, May 10, 2010
     rate estimate of 12,000 to 19,000 bpd. Additionally,
                                                                          (same)).
     analysts at Societe Generale remarked that BP's formal
     estimate of 5,000 bpd had been “challenged,” and             In summary, notwithstanding the fact that flow rate and
     “independent experts [were] insist[ing] that BP [had]        duration estimates each affect the projections for the total
     underestimate[d] the flow rate,” which “might be             size of the spill, the magnitude of their effects on stock
                                                                  price differ. It would be folly to use the price drop caused
      anywhere between 20,000 and 95,000 b/d.” 242
                                                                  by revised duration estimates as a proxy for the effect of
 *26 Despite the disclosure of these third-party estimates—       Suttles's flow rate misrepresentations (i.e., for determining the
which included flow rate estimates that were one to two orders    “economic losses that [Suttles's] misrepresentations actually
of magnitude greater than BP's then-current estimate of 5,000     cause[d]”). Thus, Plaintiffs cannot create a genuine dispute
bpd—the price of BP's ADS did not decline by a statistically      of material fact as to the injury caused by Suttles's fraudulent
significant amount. Thus, it appears that BP's flow rate          flow rate misrepresentations by pointing to evidence that the
estimates resulted in relatively little artificial inflation to   market reacted negatively to news about BP's non-fraudulent
begin with, and the inflation quickly dissipated as the market    duration estimates. Doing so would diverge from Dura’s
increasingly lost confidence in BP's flow rate estimates.         insistence that a Plaintiff recover only for “economic losses
Indeed, by as early as mid-May, it appears the market had no      that the misrepresentations actually caused.” 244 Because
confidence in BP's estimates.                                     Plaintiffs' definition of the “relevant truth” would necessarily
                                                                  lead to a result that conflicts with Dura, the Court must reject
240                                                               it. Instead, the “relevant truth” in this case is the fact that
        (Def. Ex. 30 (“James Report”) ¶ 147 n.170.)
                                                                  Defendants underrepresented BP's flow rate estimates.
241     (Def. Ex. 92 at 2.)
                                                                  244
242                                                                       Dura, 544 U.S. at 345.
        (Pl. Ex. 112 (citing independent estimates from
        John Amos, SkyTruth, Florida State University, the
                                                                    C. Corrective Events



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With the relevant truth defined, the question becomes whether        this news of a potential dividend-cut “further revealed the
Plaintiffs have identified any corrective disclosures—that           severity and financial impact of the spill,” and conclude that
is, disclosures of negative information that revealed the            this showing is sufficient to establish loss causation. 250 The
relevant truth, thereby causing the price of BP ADS to               Court disagrees.
decline. 245 As the Fifth Circuit has repeatedly cautioned,
however, “a corrective disclosure [need not] squarely and            248     (Coffman Rep. ¶ 162.)
                                                    246
directly contradict earlier misrepresentations.”       Instead,
                                                                     249
“indirect” disclosures of fraud may suffice, provided that                   (Coffman Rep. ¶ 164.)
“the plaintiff...‘provide[s] proof that the market recognized a      250
                                                              247
                                                                             (Pl. Opp. at 75; see also Coffman Rep. ¶¶ 163, 165.)
relationship between the event disclosed and the fraud.’ ”
                                                                     While true that disclosures may be indirectly corrective,
245                                                                  Plaintiffs still must provide evidence that the market
        See Flowserve Corp., 572 F.3d at 229.                        understood the link between the indirect disclosure and the
246                                                                  earlier misrepresentation. 251 But here, there is no indication
        Spitzberg v. Houston Am. Energy Corp., 758 F.3d
        676, 688 (5th Cir. 2014)                                     that the market understood BP's dividend cut to relate in any
                                                                     way to the flow rate of the leak. To the contrary, Plaintiffs'
247
        In re DVI, Inc. Sec. Litig., 2010 WL 3522090,                own evidence indicates that the market viewed the dividend
        at *6 (E.D. Pa. Sept. 3, 2010) (citing McKowen               cut as a response to increasing political pressure. 252
        Lowe & Co. v. Jasmine, Ltd., 2005 WL 1541062,
        at *8 (D.N.J. June 30, 2005); see also In re Ikon,           251
        131 F.Supp.2d at 690, aff'd, 231 Fed.Appx. 216                       In re DVI, 2010 WL 3522090, at *6.
        (3d Cir. 2007); In re Retek Inc., 621 F.Supp.2d at           252
                                                                             (See Coffman Report ¶ 162; Pl. Ex. 127 (“We
        699 (adopting McKowen approach)); In re Williams
                                                                             believe suspending the quarterly dividend could
        Securities Litigation, 496 F.Supp.2d 1195, 1266
                                                                             reduce the current political pressure and public
        (N.D. Okla. 2007), aff'd 558 F.3d 1130 (10th Cir.
                                                                             anger in the US at BP....”); Pl. Ex. 123 (“Present
        2009).
                                                                             and future dividends look secure even if political
                                                                             pressure could force a short terms suspension of
                                                                             payments.”).)
             (1) Stock Price Declines on May
             10, June 1, June 9, and June 14                         Plaintiffs alternatively argue that, even if the dividend-related
                                                                     disclosures are not corrective, they can cite to an additional
 *27 Plaintiffs have provided no evidence that the market            disclosure that speaks directly to flow rate: on June 9th, the
understood the disclosures of negative information on these          USGS released an updated flow rate estimate of 20,000 and
days to be corrective of BP's fraudulent flow rate estimates.
                                                                     40,000 barrels per day. 253 Defendants correctly object to this
Plaintiffs have failed to satisfy the first component of loss
                                                                     argument on two grounds. As an initial matter, the USGS
causation, and Defendants are entitled to judgment as a matter
                                                                     estimate “is entirely new and not supported by Coffman's
of law on the issue of loss causation for the price drops of BP
                                                                     expert report,” and “neither Plaintiffs' complaints nor their
ADS on May 10, June 1, June 9, and June 14.
                                                                     expert ever identified higher flow-rate estimates announced
                                                                     on June 9 as the cause of BP's stock-price declines that
                                                                     day.” 254 Moreover, the evidence of this updated flow-rate
              (i) Stock Price Declines on June
                                                                     estimate is an analyst report dated June 11, 255 and the USGS
               9 and June 14 (Dividend Cut)
                                                                     press release upon which the report was based is dated June
Coffman attributes the stock-price declines on June 9 to news        10. 256 Thus, the estimate could not possibly have caused
that Congressional representatives criticized BP for planning        BP's stock price to decline on June 9.
to pay its quarterly dividend, 248 and attributes the declines
on June 14 to news that BP's Board of Directors met to discuss       253     (Pl. Opp. at 74-75.)
                                       249
alternatives to paying the dividend.         Plaintiffs argue that



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254                                                                         been told, my opinion is that the market would
        (Def. Reply at 41.)
                                                                            have had much better information with which to
255                                                                         evaluate whether or not the dividend was going to
        (Pl. Opp. at 75 n.227 (citing Pl. Ex. 122).)
                                                                            be cut”) (quoting Pl. Ex. 131 (Coffman Dep.) at
256
        (See Def. Reply Ex. 7.)                                             197:20-198:1).)
Finally, Plaintiffs also seem to advance the theory that                    Also worth noting is that, as Defendants correctly
Defendants have misconstrued the legal standard for loss                    argue, this raises materialization-of-the-risk issues.
causation:                                                                  These issues are discussed in Section V.B., infra.
                                                                     260
  “Fifth Circuit law does not require that Plaintiffs show                  BP Sec. Litig., 2014 WL 2112823, at *6 n. 4 (S.D.
  that the dividend cut revealed the truth about the flow                   Tex. May 20, 2014) aff'd sub nom. Ludlow v. BP,
  rate; instead, through their expert's analysis, Plaintiffs need           P.L.C., 800 F.3d 674 (5th Cir. 2015).
  only demonstrate that had BP truthfully revealed the higher        261
                                                                            Flowserve, 572 F.3d 221, 229 (5th Cir. 2009)
  flow rates, analysts would have accurately calculated the
                                                                            (“Loss causation requires proof of a causal
  spill costs to BP in late April...and been better equipped to
                                                                            connection between a misstatement and a
  determine that the dividend could be at risk.” 257                        subsequent decline in a stock's price.”)(emphasis
                                                                            added); Amedisys, 769 F.3d at 320 (“To establish
257                                                                         proximate causation, the plaintiff must allege that
        (Pl. Opp. at 78 n.243).
                                                                            when the ‘relevant truth’ about the fraud began
 *28 Plaintiffs' provide no authority or explanation to support
                                                                            to leak out or otherwise make its way into the
their argument. If anything, case law expressly contradicts
                                                                            marketplace, it caused the price of the stock to
their interpretation. 258 As the Court understands it, Plaintiffs'          depreciate and, thereby, proximately caused the
are arguing that, but for Suttles's misrepresentations, the                 plaintiff's economic harm.”); Dura, at 342 (“an
market would have been able to accurately price the                         inflated purchase price will not itself constitute or
risk of a dividend cut into the value of BP ADS. 259                        proximately cause the relevant economic loss”). To
But even assuming this is true, it shows only that BP's                     the extent that Plaintiffs are exclusively drawing
misrepresentation caused an artificial inflation in the price               from common law conceptions of proximate cause,
of BP stock. As the Supreme Court has made clear, the fact                  those comparisons are inapposite. Merrill Lynch &
that a misrepresentation artificially inflates the stock price is           Co. Inc. v. Allegheny Energy, Inc., 500 F.3d 171,
insufficient evidence of loss causation. 260 Instead, the loss              183 (2d Cir. 2007) (“The concept of loss causation
causation inquiry focuses on whether a release of corrective                elucidated in Dura is closely related to the common
information causes a decrease in the previously-inflated stock              law doctrine of proximate cause. Dura culls from
                                                                            the common law the black letter law that a fraud
price (i.e., whether the shareholder suffers an actual loss), 261
                                                                            plaintiff must show that he acted on the basis of
and Plaintiffs have provided no such evidence here.
                                                                            the fraud and suffered pecuniary loss as a result of
                                                                            so acting. Without doubt, these principles govern
258
        Compare (Pl. Opp. 78, n.243. (“Fifth Circuit                        defendant's fraud claim, but Dura's conclusion that
        law does not require that Plaintiffs show that                      overpayment alone cannot prove loss causation, as
        the dividend cut revealed the truth about a                         the district court incorrectly believed, is based on
        flow rate”)) with Flowserve, 572 F.3d at 229                        the tailored application of these principles set out
        (the “disclosed information must reflect part of                    by the Supreme Court in the securities context.
        the ‘relevant truth’—the truth obscured by the                      Such application does not govern here.”); see also
        fraudulent statements.”).                                           Thomas Lee Hazen, 4 Law Sec. Reg. § 12:93.
259
        (See Pl. Opp. 78, n. 243 (“had BP truthfully
        revealed the higher flow rates, analysts would                  (ii) Stock Price Decline on June 1 (Top Kill Failure)
        have accurately calculated the spill costs...and been
        better equipped to determine that the dividend               Coffman attributes the stock price decline on June 1 to news
        could be at risk”); (Pl. Opp. 76 (“Had the full truth        that the “Top Kill” containment method was unsuccessful. 262



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Specifically, Plaintiffs argue, “The market learned something              talking about flow rate, that is a tougher case,”
on [this] day[ ]. The market learned that there would be                   and instead resorting to the argument that “the
more oil flowing from the well.” 263 But this argument is                  related truth is a broader concept,” which the Court
deficient as a matter of law for the same reason that the                  rejected in Section IV.B., supra).)
June 9th/14th disclosures are legally deficient: Plaintiffs have    267
                                                                           (See Pl. Opp. at 73.)
provided no evidence that the market interpreted the failure
of Top Kill to mean that the flow rate was greater than BP
initially represented. 264                                          (iii) Stock Price Decline on May 10 (Containment Dome)

262                                                                 Coffman attributes the stock price decline on May 10th to
        (Coffman Rep. at ¶ 159.)
                                                                    news that the “Containment Dome” containment method
263                                                                 was unsuccessful. Once again, Plaintiffs are relying on the
        (Hr'g Tr. at 47:21-24.)
                                                                    same theory that they unsuccessfully asserted in support
264                                                                 of the June 9th and 14th disclosures, as well as the June
        See In re DVI, 2010 WL 3522090, at *6.
 *29 At most, Plaintiffs have shown that, following the             1st disclosure. 268 There is nothing unique about Plaintiffs'
failure of Top Kill, analysts increased their estimates of the      evidence regarding the failure of the containment dome
                                                                    (or the market's reaction to the failure) that would change
magnitude and financial consequences of the spill. 265 But
this proves nothing with respect to the flow rate. The success      the analysis here. 269 Plaintiffs have provided no evidence
or failure of Top Kill pertained to the duration of the flow,       that the market interpreted the failure of Top Kill to mean
not the rate at which oil is flowing. In other words, while         that the flow rate was actually higher than BP initially
true that the failure of Top Kill caused analysts to increase       represented. 270
the projected magnitude of the spill, it is not necessarily true
that they attributed the increased magnitude to an increase         268
                                                                           (See Pl. Opp. at 68 (citing Pl. Ex. 131 (Coffman
             266
in flow rate.      And Plaintiffs provide no evidence that the             Dep.) (“What I am trying do is model essentially
market otherwise saw a link between Top Kill and BP's flow                 had the market been told the truth, they would
rate estimates. They say only that, had the market known the               have had a much better picture of the financial
true flow rate, it would have been better able to assess the risk          consequences that BP was ultimately going to
that Top Kill would fail. 267 Even assuming this argument is               face as a result of this spill, and one of those
true, it is insufficient to create a genuine dispute of material           consequences was revealed when top kill and
fact with respect to loss causation.                                       containment dome failed.”)); see also Hr'g Tr. at
                                                                           65:20-66:5.)
265                                                                 269
        See, e.g., Pl. Ex. 131, Coffman June 3, 2014                       The only difference of note is that Plaintiffs seem
        Dep. Tr. (“Q. So to flip that, corrective event                    to articulate a different loss causation standard in
        days are days when there is a statistically                        this sub-section. Here, they say that “the relevant
        significant stock price decline and the disclosures                inquiry is whether the failure of containment efforts
        on that day you believe are tied to disclosures                    made it more probable than not that the earlier
        of additional information about the severity or                    statements in question were, in fact, false.” (Pl.
        financial consequences of the spill, correct? A. I                 Opp. at 70 (citing Amedisys, 769 F.3d at 321).)
        think that's fair....I think the — we've talked at                 This is incorrect. As Defendants argue, this is
        length how the containment dome and top kill                       the pleading standard for loss causation. The
        are ultimately related to spill severity but don't                 Amedisys quote that Plaintiffs cite occurs in the
        specifically mention the flow rate. And then the                   context of a discussion on “the controlling standard
        dividends are more of the financial consequence                    for pleading proximate causation in a private
        aspect of this.”)                                                  securities fraud-on-the-market case.” Amedisys,
266                                                                        769 F.3d at 321 (citing Spitzberg, 758 F.3d at 687–
        Plaintiffs seem to implicitly concede as much. (See
                                                                           88 (concurring with Lormand on the applicable
        Hr'g Tr. 47:25-48 (admitting that “if the view is
        it needs to be a one-for-one correction and we're


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        standard for pleading corrective disclosure)). See         Plaintiffs have properly identified as corrective events,
        also Lormand, 565 F.3d at 256 n.19.                        Defendants contend that several “unrelated negative
                                                                   statements” (or “confounding information”) were released
270     At the hearing, Plaintiffs stated that there is no         on April 29th and May 3rd, and those unrelated statements
        difference between (i) news that the containment           contributed to the BP ADS price drop. Summary judgment is
        dome had failed and (ii) the news released on May          warranted, say Defendants, because Plaintiffs have failed to
        3rd that the size of the oil slick had expanded.           disentangle the effects of this confounding information from
        (Hr'g Tr. 68:2-13.) This is incorrect. On May 3rd,         the effects of the fraud-related statements. In other words,
        information was released that the oil slick had            Plaintiffs have provided no evidence showing that it was the
        expanded by a certain amount over a certain period         corrective disclosures—and not the confounding information
        of time, and Plaintiffs have provided evidence             —that caused a “significant amount of the decline” in BP
        that analysts inferred that this “could indicate an
                                                                   ADS. 273
        increase in the rate that oil is spewing from the
        well.” (Pl. Ex. 99; see also Hr'g Tr. at 79:8-13.) As
                                                                   273
        Defendants correctly argue, Plaintiffs have failed to             See Flowserve, 572 F.3d at 229.
        provide any evidence that the market understood a          Plaintiffs refute Defendants' arguments in two ways. First,
        similar link between the failure of the containment        they reject Defendants' premise that confounding information
        dome and the flow rate of the leak. (Hr'g Tr. at           was present on any of the post-spill corrective event days.
        79:14-80:7.)                                               According to Plaintiffs, “Coffman considered all news
                                                                   on [each corrective event] day and found that no such

   (2) Stock Price Declines on April 29th and May 3rd              confounding information exists. 274 Second, Plaintiffs argue
                                                                   that, even if confounding information existed, Coffman
 *30 Plaintiffs have satisfied the first component of loss         offered an “alternative analysis” at his deposition that
causation for April 29th and May 3rd by identifying                adequately disentangled the effects of the confounding
disclosures of negative information that were corrective of        information. 275
BP's misrepresented flow rate estimates. 271 To satisfy the
second component of loss causation, however, Plaintiffs must       274
                                                                          (See, e.g., Pl. Opp. at 67 (Citing Ex. 89, Coffman
identify specific evidence showing that it is “more probable              Report ¶ 155 and ¶ 112).)
than not that it was [the fraud-related] negative statement,
and not other unrelated negative statements, that caused a         275
                                                                          (Pl. Opp. at 67; see also Def. Ex. 82.)
                                                       272
significant amount of the decline [in stock price].”

                                                                           (i) Presence of Confounding Information
271
        (See Pl. Ex. 3 and Pl. Ex. 4 (The NOAA, via the
        UAC, disclosed that the flow rate could be “as             Plaintiffs' arguments that there was no confounding
        much as 5,000 barrels per day,” and BP stated that         information on April 29th or May 3rd are unpersuasive.
        its best estimate was a flow rate of 1,000 to 5,000        Indeed, the March 17, 2014 report of Plaintiffs' own
        bpd, correcting the previous estimate of 1,000 bpd);       expert, Chad Coffman, essentially concedes that the market
        Pl. Ex. 99 (May 3rd news article disclosing that           responded to negative information that was completely
        the size of the oil slick had tripled in size over a       unrelated to BP's fraudulent flow rate statements.
        two day period, and noting that it “could indicate
        an increase in the rate that oil is spewing from           Coffman opined on both the pre-spill claims and post-spill
        the well”).) Defendants conceded as much at the            claims in his expert report. Because Plaintiffs' damages
        hearing. (Hr'g T. at 12:11-13:3.)                          theory for the pre-spill claims was substantially broader than
272                                                                their damages theory for the post-spill claims, 276 Coffman
        Greenberg v. Crossroads Sys., Inc., 364 F.3d 657,
                                                                   identified more corrective events for the pre-spill claims than
        666 (5th Cir. 2004).
                                                                   for the post-spill claims. For example, Coffman identified
Defendants argue that Plaintiffs have failed to do so.             three corrective disclosures on May 3rd in the pre-spill
In addition to the fraud-related negative statements that          section of his report: (i) news that the oil slick in the Gulf



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had tripled in size; (ii) Admiral Allen's statement that it's      showing that the corrective disclosure was more than just
impossible to know the actual flow rate; and (iii) news            present at the scene.” 281 And here, say Defendants, Coffman
that the Senate increased the liability cap for spill-related      made no attempt to disaggregate the confounding information
economic damages. 277 Coffman further concluded that these         when he prepared his initial report. Coffman himself admitted
three pieces of negative information combined to cause             as much at his deposition. 282
                                     278
an aggregate price drop of $2.19.          Yet Coffman claims
the same $2.19 price drop in the post-spill section of his         280
                                                                          Greenberg v. Crossroads Sys., Inc., 364 F.3d 657,
report, despite the fact that the liability cap news was in no            666 (5th Cir. 2004)
way corrective of BP's alleged post-spill misrepresentations
                                                                   281
regarding the flow rate. 279 This is a textbook example of                (Def. Brief at 69 (quoting Oscar Private Equity
confounding information.                                                  Investments v. Allegiance Telecom, Inc., 487 F.3d
                                                                          261, 271 (5th Cir. 2007), abrogated on other
276                                                                       grounds by Erica P. John Fund, Inc. v. Halliburton
        Plaintiffs theorized that any foreseeable
                                                                          Co., 563 U.S. 804 (2011)); see also Operating
        consequence of the spill revealed BP's undisclosed
                                                                          Engineers Const. Indus. & Miscellaneous Pension
        process-safety risks to the pre-spill class. For
                                                                          Fund (LOCAL 66), 579 F.3d 401, 409 (5th Cir.
        the post-spill class, Defendants have identified as
                                                                          2009).
        corrective any foreseeable consequences from BP's
        misrepresentation of the flow rate.                        282    (Def. Ex. 13 Coffman Dep. 274:19-275:2,
277                                                                       276:4-18.)
        (Coffman Rep. ¶ 109-13.)
                                                                   Instead, Plaintiffs note that Coffman provided an “alternative
278     (Coffman Report ¶ 114.)                                    analysis...in rebuttal to Defendants experts” that would allow
279
        (Compare Coffman Report ¶ 114 (claiming $2.19              a jury to remove the effects of confounding information. 283
        price drop for disclosures corrective of pre-spill         In the “Alternative Analysis,” Coffman notes that the fraud-
        misrepresentations) with Pl. Opp. at 65 (claiming          related (i.e., properly corrective) information was released
        $2.19 price drop for disclosures corrective of             during pre-trading hours on April 29th and May 3rd. 284
        post-spill misrepresentations).) Tellingly, when           The confounding information identified by Defendants, on
        Coffman describes the corrective events of May 3rd         the other hand, was not released until the afternoon of April
        in the post-spill section of his report, he expressly      29th and May 3rd 285 —well after the market had largely
        references only the oil slick news and Admiral
                                                                   absorbed the fraud-related information. 286 Thus, there is a
        Allen's statement as corrective events. (See Pl.           substantial period of time on each day during which the stock
        Ex. 89, Coffman Report at Exhibit C (identifying           price was untainted by confounding information. Coffman's
        only Admiral Allen's statement and oil slick news          “Alternative Analysis” runs a regression analysis on this
        as corrective) and ¶ 154 (“In summary, satellite           untainted period of time, calculating the price drop of BP ADS
        surveillance indicated the Spill was larger than
                                                                   that occurred before the confounding information came into
        expected and that BP could not give an exact
                                                                   the marketplace. 287
        estimate of the rate of the Spill.”).)

                                                                   283
                                                                          (See Pl. Opp. at 67; Def. Ex. 82 (the Alternative
      (ii) Disaggregating the Confounding Information                     Analysis).)

 *31 The presence of confounding information is not an             284
                                                                          (See Def. Ex. 82.)
insurmountable problem per se, but it does mean that
                                                                   285
Plaintiffs need to present evidence that the fraud-related                Specifically, the first piece of confounding
information—and not the confounding information—was                       information on April 29th was released at 12:06
responsible for “a significant amount of the decline” in                  PM. The first piece of confounding information on
the stock price. 280 As Defendants correctly note, the Fifth              May 3rd was released at 2:28 PM.
Circuit requires Plaintiffs to “offer some empirically-based



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286                                                                      Inc., 356 F.3d 1326, 1332 (10th Cir. 2004) (“We
        (See Def. Ex. 82.)
                                                                         agree with the Millers that an expert's initial Rule
287                                                                      26 report cannot always anticipate every possible
        (See Def. Ex. 82.)
                                                                         challenge to the report. Accordingly, on occasion
Defendants seem to concede that the Alternative Analysis is
                                                                         it may be appropriate to permit the party using
sufficient to show loss causation, but they briefly argue that
                                                                         the expert to submit supplements to the report in
the analysis should be excluded as an untimely supplement,
                                                                         response to assertions by opposing experts that
citing several cases. 288 Suttles's expert report was due on             there are gaps in the expert's chain of reasoning.
March 17, 2014, yet Suttles provided his Alternative Analysis            A court's failure to permit such supplementation
on June 3, 2014 during his deposition.                                   could even constitute an abuse of discretion in some
                                                                         circumstances.”)
288     (Def. Mem. Supp. at 77; Hr'g Tr. at 80:9-20.)             290
                                                                         See, e.g., In re Pfizer Inc. Sec. Litig., 2014
The Court declines to exclude the Alternative Analysis.                  WL 3291230, at *1-2 (S.D.N.Y. July 8, 2014)
As Plaintiffs correctly respond, Coffman proffered his                   (Rejecting supplemental analysis on judicial
supplementation well within the period for expert discovery,             economy grounds because it “came long after the
and any resulting judicial economy concerns and prejudice                close of expert discovery, Dr. Fischel's delivery
to Defendants are limited. 289 This stands in contrast to the            of two supplemental reports, and depositions and
cases cited by Defendants. 290 Moreover, it appears that at              motion practice in which Dr. Fischel had been
least one of Defendants' experts, Ray Perryman, was able                 given opportunities to proffer the relevant analyses.
to review the Alternative Analysis prior to his deposition,              Indeed, in his deposition, Dr. Fischel disclaimed
and Perryman indicated at his deposition that Coffman's                  having made any analysis with respect to the impact
                                                                         of the excluded Pharmacia statements.”); Buxton,
“suggested modification...is quite reasonable.” 291 Indeed,
                                                                         2007 WL 2254492, at *6 (“Here, plaintiff offered
the analysis contained in Coffman's supplement seems to
                                                                         Dr. Ramsey's Supplemental Affidavit almost eight
be in line with the temporal methodology employed by Dr.
                                                                         months after the deadline for her expert reports and
Christopher James, another expert whom Defendants engaged
                                                                         seven months after service of defendants' expert
to opine on loss causation and damages.
                                                                         reports, not to mention on the eve of defendants'
                                                                         final summary judgment briefing.”).
289     Neither party addressed this issue at any length.
                                                                  291
        Defendants' argument consisted of one sentence                   (Pl. Ex. 132 (Perryman Dep.) 115:23-116:1.)
        and a citation to four cases, some of which
        addressed rebuttal opinions, see, e.g., Cooper Tire       V. DAMAGES
        & Rubber Co. v. Farese, 2008 WL 5104745 (N.D.              *32 Defendants argue that Plaintiffs have failed to present a
        Miss. Nov. 26, 2008), and some of which addressed         satisfactory theory of damages for two reasons: (1) Plaintiffs'
        supplemental disclosures, see, e.g., Buxton v. Lil'       damages model does not properly calculate the but-for price
        Drug Store Products, Inc., 2007 WL 2254492,               of BP ADS; and (2) Plaintiffs are applying a materialization-
        at *6 (S.D. Miss. Aug. 1, 2007) aff'd, 294                of-the-risk theory, yet are incorrectly claiming as damages
        Fed.Appx. 92 (5th Cir. 2008). As a result, the            100% of the stock price movement on the date of correction.
        precise legal grounds on which Defendants are
        seeking to exclude the Alternative Analysis is
        somewhat unclear. Based on their comments at the             A. Legal Standard
        hearing, it appears that Defendants contend that the      “Traditionally, economic loss in Section 10(b) cases has
        Alternative Analysis is an untimely supplemental          been determined by use of the ‘out-of-pocket’ measure
        disclosure (as opposed to an untimely rebuttal            for damages. Under that measure,...damages consist of
        report). (Hr'g Tr. at 80:9-20.) Accordingly, the          the difference between the price paid and the ‘value’ of
        disclosure should not be stricken if Coffman's            the stock when bought.” 292 “Recovering out-of-pocket
        failure to make a timely disclosure was harmless.         damages...requires elimination of that portion of the price
        Hoffman v. L & M Arts, 2013 WL 81578, at *1               decline that is the result of forces unrelated to the wrong...so
        (N.D. Tex. Jan. 8, 2013). See also Miller v. Pfizer,      as to limit recovery to actual damages on account of the


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act complaint of.” 293 Plaintiffs are therefore required “to      identified were relatively modest, and therefore would likely
provide a method to discern by just and reasonable inference      fit within any reasonable conception of the but-for world.
the amount of plaintiff's loss solely caused by the defendant's   For example, the April 29th disclosure modeled the market's
                                                                  reaction to news that the flow rate was likely somewhere
fraud.” 294 Consequential damages are not permitted. 295
                                                                  between only 1,000 to 5,000 bpd. Thus, regardless of how the
                                                                  but-for world is defined—which is a fact issue either way—
292
        Acticon AG v. China N.E. Petroleum Holdings Ltd.,         Plaintiffs have provided an adequate damages model.
        692 F.3d 34, 38 (2d Cir. 2012) (internal quotes
        omitted).                                                 Defendants' second attack on Coffman's claimed but-for price
293                                                               is similar to the argument that they repeatedly made in the
        Miller v. Asensio & Co., 364 F.3d 223, 232 (4th Cir.
                                                                  loss causation section: Coffman failed to disaggregate the
        2004).
                                                                  effects of non-fraud related events on BP's ADS price, and his
294                                                               model therefore seeks damages for price declines that were
        Id. at 232.
                                                                  “the result of forces unrelated to the wrong.” 299 For example,
295
        BP Sec. Litig., 2014 WL 2112823, at *12.                  the effects of the Senate's liability cap announcement are
                                                                  included in the $17.10 figure, but that announcement is
  B. Calculation of But-For Price                                 completely unrelated to Suttles's alleged misrepresentation of
Defendants argue that Plaintiffs failed to properly calculate a   BP's flow rate estimates. As discussed at some length above,
but-for price for two distinct reasons. First, say Defendants,    however, Coffman eliminated the effects of the confounding
calculating a but-for price requires articulating a but-for       information on April 29th and May 3rd in his Alternative
world, and Coffman has failed to do so. 296 For example, at       Analysis. As a result, with respect to those two dates,
his deposition, Coffman could not identify what, if anything,     Plaintiffs have provided “a method to discern by just and
Suttles and Hayward should have said in order to not              reasonable inference the amount of plaintiff's loss solely
mislead investors about the flow rate. 297 Instead, Coffman       caused by the defendant's fraud.” 300
merely speculated that, if Suttles had properly disclosed BP's
calculations of potential spill rates, the price of BP ADS        299
                                                                         See Miller, 364 F.3d at 232.
would have dropped by the full amount of the subsequent
                                                                  300
declines.                                                                See id. at 232.

296                                                                  C. Materialization of the Risk
        (MSJ at 84.)
                                                                   *33 Plaintiffs theorize that they are entitled to damages for
297                                                               the stock drops that resulted from news that Top Kill failed
        (MSJ at 84 (citing Def. Ex. 13 (Coffman Dep.) at
        200:24-201:24).)                                          (May 10), that the containment dome failed (June 1), and that
                                                                  BP might cut its dividend (June 9 and June 14). As discussed
This argument is unavailing. As Plaintiffs correctly respond,
                                                                  at length in Section IV, supra, the Court holds that Defendants
Coffman defined the but-for world as one in which BP
                                                                  have failed to establish loss causation as to the price declines
accurately disclosed the fact that the range of flow rate
                                                                  on these dates. But Defendants argue that summary judgment
estimates reached into “the multiple tens of thousands.” 298
                                                                  is warranted as to these dates for an additional reason: even
He then modeled the artificial inflation caused by BP's
                                                                  assuming that the news on these days was “related to”
understated flow rate estimates by measuring the dissipation
                                                                  the misrepresented flow rate (i.e., that Plaintiffs established
in BP's ADS price as corrective information made its way into
                                                                  loss causation), Plaintiffs' damages model is flawed. As this
the market.
                                                                  Court explained at class certification, “when the corrective
                                                                  event is the materialization of an understated risk, the stock
298     (Pl. Ex. 131 (Coffman Dep.) at 93:23-24.)                 price movement on the date of correction (i.e., on the
Defendants understandably take issue with the notion that         date that the risk materialized) will not equate to inflation
Suttles should have disclosed flow rates in the “multiple tens    on the date of purchase unless the probability of the risk
of thousands,” but their arguments on this point are of little    materializing was 100 percent.” 301 Here, argue Defendants,
consequence. The corrective disclosures that Plaintiffs have      Plaintiffs are applying a materialization-of-the-risk theory,



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yet are incorrectly claiming as damages 100% of the stock                     misrepresented.”) with Coffman Rep. at ¶ 218
price movement on the date of correction. The Court agrees.                   (purporting to not employ a materialization-of-the-
Indeed, the Court warned Plaintiffs of this very problem in its               risk methodology, yet opining that the post-spill
                                                                              investors “can recover losses that are suffered as
class certification memorandum and order. 302
                                                                              the truth comes to light through the foreseeable
                                                                              consequences of that misrepresentation.”).
301
        BP Sec. Litig., 2014 WL 2112823, at *10.
302                                                                   VI. CONCLUSION
        BP Sec. Litig., 2014 WL 2112823, at *10 n.17.
                                                                      For the reasons set forth above, the Court GRANTS
Take, for example, Coffman's damages theory for the BP ADS            IN PART and DENIES IN PART Defendants' motion
price decline on May 10. Coffman premised his loss causation          for summary judgment. Specifically, the Court holds that
and damages models on the understanding that “Defendants              Plaintiffs have established that there is a genuine dispute
knew or recklessly disregarded that the containment dome              of material fact with respect to: the falsity and scienter of
and other containment methods were highly unlikely to                 Suttles's statements on April 24th, April 28th, and April 29th;
succeed in containing the Spill given that...BP's internal            loss causation for the decline in value of BP ADS on April
modeling of the spill rate was far higher than had been               29th and May 3rd; and damages for the decline in value of BP
publicly disclosed, and those containment efforts viability           ADS on April 29th and May 3rd.
were dependent on the spill rate.” 303 In other words, if
BP had properly disclosed its flow rate estimates, at most,           Defendants are entitled to judgment has a matter of law,
investors would have known that it was highly likely that             however, to the extent that Plaintiffs' claims rely on the
the containment dome would fail, and that BP's ADS price              decline in value of BP ADS on May 10, June 1, June 9, or June
would decline as a result. Put differently, while it may              14. As a result, Defendant Hayward is entitled to judgment as
have been “highly likely” that the containment dome would             a matter of law as to Plaintiffs' Section 10(b) claim because
fail, even Coffman admits that the chances of failure were            Plaintiffs have failed to provide sufficient evidence that his
less than 100%. Plaintiffs are consequently not permitted             alleged misrepresentation proximately caused Plaintiffs' loss.
to claim 100% of the stock decline as damages upon the
materialization of that understated risk. Their damages claims         *34 The Court also DENIES Plaintiffs' motion for summary
on May 10, June 1, June 9, and June 14 all suffer from this           judgment in its entirety. Although Plaintiffs have provided
flaw, and are rejected accordingly.                                   sufficient evidence to create triable issues of fact, their
                                                                      evidence is insufficient to warrant judgment as a matter of law
303                                                                   in their favor.
        (Coffman Rep. at ¶ 157. See also Pl. Opp. 78 n.
        243 (“Plaintiffs need only demonstrate that had BP
                                                                      IT IS SO ORDERED.
        truthfully revealed the higher flow rates, analysts
        would have accurately calculated the spill costs
                                                                      SIGNED on this the 31st day of May, 2016.
        to BP in late April and early May and been
        better equipped to determine that the dividend
        could be at risk.). Compare Coffman Rep. at ¶                 All Citations
        16 (expressly employing a materialization-of-the-
        risk methodology that purported to show that “[pre-           Not Reported in Fed. Supp., 2016 WL 3090779, Fed. Sec. L.
        spill] investors suffered a loss stemming from a              Rep. P 99,108
        foreseeable consequence of the risk Defendants

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                     Case No. 11




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                                                                              Swedish public pension fund with over $100 billion
                                                                              in assets under management. (Id. ¶ 40.)
     KeyCite Yellow Flag - Negative Treatment
                                                                      2
Declined to Extend by Chicago & Vicinity Laborers' District Council           Defendants Armstrong, Haas, Choi, and Grewal
Pension Fund v. Amplitude, Inc., N.D.Cal., January 13, 2025                   are collectively hereinafter referred to as the
                                                                              “Executive Defendants.” Defendants Andreessen,
                     2024 WL 4053009
                                                                              Ehrsam, Haun, Kramer, Rajaram, and Wilson are
                NOT FOR PUBLICATION
                                                                              collectively hereinafter referred to as the “Director
         United States District Court, D. New Jersey.
                                                                              Defendants.” Defendants Coinbase, Armstrong,
                IN RE COINBASE GLOBAL,                                        Haas, Jones, and the Director Defendants
                                                                              are collectively hereinafter referred to as the
              INC. SECURITIES LITIGATION
                                                                              “Securities Act Defendants.”
            Case No. 2:22-cv-04915 (BRM) (LDW)
                              |                                       I. BACKGROUND
                  Signed September 5, 2024
                                                                         A. Factual Background
                                                                      For the purposes of the Motion to Dismiss, the Court accepts
                                                                      the factual allegations in the SAC as true and draws all
                           OPINION
                                                                      inferences in the light most favorable to Plaintiffs. SeePhillips
Martinotti, District Judge                                            v. Cnty. of Allegheny, 515 F.3d 224, 228 (3d Cir. 2008). The
                                                                      Court also considers any “document integral to or explicitly
 *1 Before the Court is a Motion to Dismiss (ECF No.                  relied upon in the complaint.” In re Burlington Coat Factory
78) Plaintiffs’ Second Amended Consolidated Class Action              Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997) (quoting Shaw
Complaint 1 (“SAC”) (ECF No. 68) pursuant to Federal Rules            v. Digit. Equip. Corp., 82 F.3d 1194, 1220 (1st Cir. 1996)).
of Civil Procedure 9(b) and 12(b)(6) filed by Defendants
Coinbase Global, Inc. (“Coinbase” or the “Company”),                  This is a federal securities putative class action on behalf of
Brian Armstrong (“Armstrong”), Alesia J. Haas (“Haas”),               persons and entities that purchased or otherwise acquired: (i)
Emilie Choi (“Choi”), Paul Grewal (“Grewal”), Jennifer                Coinbase common stock from April 14, 2021 through June
Jones (“Jones”), Marc Andreessen (“Andreessen”), Frederick            5, 2023, inclusive (the “Class Period”), and were damaged
Ernest Ehrsam III (“Ehrsam”), Kathryn Haun (“Haun”),                  thereby; and (ii) Coinbase common stock in or traceable
Kelly Kramer (“Kramer”), Gokul Rajaram (“Rajaram”),                   to Coinbase's Registration Statement and/or Prospectus
                                                                      (collectively, the “Offering Materials”). (ECF No. 68 at
and Fred Wilson (“Wilson”) (collectively, “Defendants”). 2
                                                                      1.) Generally, Plaintiffs allege Defendants misrepresented,
Plaintiffs filed an Opposition (ECF No. 79), and Defendants
                                                                      concealed, and/or omitted significant, material aspects of
filed a Reply (ECF No. 80). Having reviewed the parties’
                                                                      Coinbase's business during the Class Period which enabled
submissions filed in connection with the Motion and having
                                                                      Defendants to reap financial benefits such as cashing out
declined to hold oral argument pursuant to Federal Rule
                                                                      existing shares at inflated values following Coinbase's public
of Civil Procedure 78(b), for the reasons set forth below
and for good cause having been shown, Defendants’ Motion              listing. 3 (See generally id.)
to Dismiss (ECF No. 78) is GRANTED IN PART and
DENIED IN PART.                                                       3       In Counts III–V, Plaintiffs allege the Securities Act
                                                                              Defendants acted negligently. (See generally id.)
1       Lead Plaintiff Sjunde AP-Fonden (“Lead                         *2 Coinbase is a cryptocurrency platform launched in 2012
        Plaintiff”) and Additional Plaintiffs Ryan R. Firth           that enables its customers to buy, sell, and store digital
        and Zvia Steinmetz (collectively, “Additional                 assets. 4 (Id. ¶¶ 1, 43.) The platform was originally designed
        Plaintiffs”) bring this putative class action on              only for Bitcoin, but has exponentially expanded in recent
        behalf of themselves, a proposed class, and a                 years, and now supports over 240 crypto assets. (Id. ¶ 50.)
        proposed subclass. (ECF No. 68.) Lead Plaintiff is a          Coinbase generates “substantially all” of its revenue from the
                                                                      transactions fees its retail customers pay to trade crypto assets.



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(Id. ¶¶ 2, 68–69.) During the Class Period, Coinbase's success                the Company's board of directors to remove any
depended on its ability to increase its customer base and its                 lock-up restrictions, and ultimately, the Company's
transaction-fee revenue. (Id. ¶¶ 3, 70.) One of the Company's                 board of directors elected to proceed with no lock-
main obstacles to growth was persuading customers that the                    up period. (Id.)
platform was a safe place to invest. (Id. ¶¶ 4, 93.) Many             On April 14, 2021, Coinbase “made a rousing debut on Wall
potential customers were deterred by cryptocurrency's unsafe          Street,” with shares opening at $381 per share which was
and unregulated reputation, underscored by: (i) customers’            over $100 above its initial reference price. (Id. ¶¶ 8, 122–
losses on other cryptocurrency exchanges due to insolvency            24.) The Executive Defendants and other Coinbase insiders
or hacking; and (ii) the fact no government entity insures            collectively sold over $5 billion in common stock through
crypto assets against such losses. (Id. ¶¶ 4, 94–95.) As a result,
                                                                      the Direct Listing. (Id. ¶¶ 8, 125–26.) Armstrong, Choi, 6
Coinbase's ability to grow its customer base was dependent on
assuring potential customers that Coinbase could keep assets          and Haas 7 made over $290 million, $223 million, and
safe. (Id. ¶¶ 4, 93.) Defendants recognized this dependence           $99 million in sales proceeds, respectively, in the first two
and repeatedly emphasized Coinbase was a “trusted” place              days of the Direct Listing. (Id. ¶¶ 125, 387.) Armstrong
to safely store customer assets. (Id. ¶¶ 89, 129.) Analysts           was motivated to keep Coinbase's stock price high as the
thereafter noted Coinbase's advantage as a “trusted platform          Company had to maintain certain stock prices for 60 trading
with a focus on security.” (Id. ¶ 91.)                                days in order for Armstrong to unlock “tranches” of stock
                                                                      options under his compensation plan. (Id. ¶¶ 81–84, 386.)
4                                                                     On July 8, 2021, Armstrong received the first tranche valued
        Digital assets, or “crypto assets,” “are umbrella
                                                                      at over $697 million. (Id. ¶ 386.) In total, Armstrong, Choi,
        terms for any asset built using blockchain
        technology. A blockchain is a secure digital ledger           Haas, and Grewal 8 netted gross proceeds of approximately
        or peer-to-peer database that maintains a record of           $323 million, $429 million, $115 million, and $65 million,
        all transactions that occur on the network.” (Id. ¶           respectively, from shares sold during the Class Period. (Id. ¶
        51.)                                                          125.)

On January 28, 2021, Coinbase announced plans to go public            6       Choi served as Coinbase's Chief Operating Officer
through a direct listing (the “Direct Listing”). 5 (Id. ¶¶ 5,
                                                                              (“COO”) and President throughout the Class
72.) Armstrong—a co-founder, the chief executive officer,
                                                                              Period. Choi has served as the Company's COO
and chairman of the Company's board—was highly motivated
                                                                              since June 2019, and as the Company's President
to complete the Direct Listing as doing so would allow him
                                                                              since November 2020. (ECF No. 46.)
to cash out his shares and entitle him to a compensation
package valued at over $3.7 billion. (Id. ¶¶ 6, 81–82.) During        7       Haas has served as Coinbase's Chief Financial
this time, Defendants knew investors were focused on the                      Officer since April 2018, and was a signatory to the
stability and security of Coinbase's transaction fee revenues;                Company's filings submitted to the U.S. Securities
therefore, Defendants made numerous representations about                     Exchange Commission (the “SEC”) during the
Coinbase's ability to generate revenue and the attendant risks                Class Period. (Id. ¶ 45.)
to its business in the Offering Materials contemporaneously
                                                                      8
filed with the Direct Listing. (Id. ¶ 9.)                                     Grewal served as Coinbase's Chief Legal Officer
                                                                              from July 2020 through the end of Class Period.
5                                                                             (Id. ¶ 47.) Grewal did not sell any shares during the
        In a direct listing, an alternative to an initial public
                                                                              first two days of the Direct Listing. (Id. ¶ 125.)
        offering (“IPO”), the shareholders of the company
        sell existing shares of the company directly to the
        public. (Id. ¶¶ 5, 73.) A traditional IPO usually                 B. Defendants’ Alleged Misrepresentations and
        includes a “lock-up” period which restricts insiders              Omissions 9
        from selling until a certain time period has passed,          9       Plaintiffs’ allegations challenging Defendants’
        whereas in a direct listing, the company's board                      actions pursuant to the Securities Exchange
        of directors decides whether to enforce a lock-up                     Act of 1934 (the “Exchange Act”) can be
        period on the company's insiders. (Id. ¶ 74.) Here,                   effectively grouped into three categories of
        members of Coinbase's management petitioned                           Coinbase's failure to disclose, misrepresent, and/


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       or misleadingly conceal: the potential loss of             the risk to customers’ assets by commingling those assets with
       customers’ assets in the event of a bankruptcy;            others in an omnibus account. (Id.)
       Coinbase's engagement in proprietary trading;
       and regulatory risks associated with Coinbase's            On March 24, 2022, the SEC published Staff Accounting
       business. These three categories detailed below            Bulletin 121 (“SAB 121”), which provided that there were
       form the basis of Plaintiffs’ request for relief.          “significant legal questions surrounding” how customers’
       The Court will hereinafter refer to these three            crypto assets “would be treated in a court proceeding
       categories as the “Bankruptcy Risk Statements”,            arising from an adverse events (e.g., fraud, loss, theft, or
       the “Proprietary Trading Statements”; and the              bankruptcy).” (Id. ¶ 131.) The SEC advised “[t]hese risks
       “Regulatory Statements.” They will be collectively         can have a significant impact on the entity's operations and
       referred to as the “Challenged Statements.”                financial condition.” (Id.) Further, the SEC recommended that
       Defendants provided an Appendix which listed 81            public companies address the potential risks associated with
       challenged statements from the SAC and grouped             a bankruptcy in public filings. (Defs.’ Ex. 23, SAB 121 (ECF
       them into similar categories. (ECF No. 78-2.) The          No. 78-26 at 4)); see also ECF No. 68 ¶ 132.)
       Court reviewed each of the challenged statements,
       but only provides summaries of these categories.           Shortly thereafter, on May 10, 2022, Coinbase filed its
                                                                  quarterly Form 10-Q report which revised the Asset Safety
                                                                  Disclosures and disclosed the asset safety risk in compliance
           1. The Bankruptcy Risk Statements                      with SAB 121. (Id. ¶ 231.) As a result of this disclosure,

 *3 During the Class Period, Defendants warned investors          Coinbase's stock price declined more than 26%. 10 (Id. ¶
in a series of disclosures (the “Asset Safety Disclosures”)       233.) Plaintiffs allege Defendants knew this asset safety risk
that “[o]ur failure to safeguard and manage our customers’ ...    was highly material to investors, as evidenced by Coinbase's
assets could adversely impact our business, operating results     concession that it was likely customers would find “custodial
and financial condition.” (Id. ¶¶ 96–97, 258–59, 270, 273,        services more risky,” resulting in a “discontinuation or
276, 284.) Coinbase acknowledged it faced two risks in            reduction in use of [Coinbase's] platform” if the asset safety
safeguarding customers’ assets: (i) hacking; and (ii) the         risk had been disclosed earlier. (Id. ¶¶ 103, 121.) Further,
“loss or destruction of private keys.” (Id.) Plaintiffs allege    after the Company filed the May 10, 2022 Form 10-Q report,
Defendants misleadingly concealed a third risk to the security    Armstrong conceded that Coinbase: “should have updated
of customers’ assets: risks associated with a potential           our retail terms sooner” to provide retail customers with “the
bankruptcy of Coinbase. (Id. ¶¶ 11, 98.) Specifically, in         same protections” as institutional customers (id. ¶¶ 121, 232);
the event Coinbase filed bankruptcy, its customers’ assets        “didn't communicate proactively when this risk disclosure
could become part of the bankruptcy estate rendering those        was added,” (id.); knew that even the “protections” included
customers’ assets as unsecured credits with little chance of      for institutional clients “have not been tested in court” and did
recovering their deposits. (Id.)                                  not guarantee safety (id. ¶¶ 101, 111, 232).


In 2019, Defendants investigated whether its institutional        10      Analysts attributed the decline to the updated Asset
customers’ assets would become part of the Company's                      Safety Disclosures. (Id. ¶¶ 234–37.)
estate if the Company became insolvent. (Id. ¶¶ 13, 105–
09.) Following the investigation, Coinbase submitted a
comment letter to the SEC (the “SEC Comment Letter”),                       2. The Proprietary Trading Statements
which demonstrates Defendants’ understanding that the
                                                                  Prior to the Class Period, the market was concerned
commingling of customers’ assets could lead to adverse
                                                                  Coinbase might engage in proprietary trading of crypto assets
consequences in the event of a bankruptcy. (Id.) Thereafter,
                                                                  —i.e., trading with Coinbase's own money. (Id. ¶¶ 17–18.)
Defendants took affirmative steps to mitigate the potential
                                                                  When asked whether Coinbase did or would proprietarily
bankruptcy risks to institutional customers’ assets by not
                                                                  trade, Defendants issued unequivocal denials in March and
commingling assets and invoking the protection of the
                                                                  December 2021. (See, e.g., id. ¶¶ 18, 138–39 (Coinbase “does
Uniform Commercial Code. (Id. ¶¶ 14–16, 112–20.) Plaintiffs
                                                                  not proprietarily trade against our clients.”); id. ¶ 140 (“[W]e
allege Defendants knew Coinbase had not taken steps to
                                                                  do not plan to engage in regular trading of crypto assets.”);
protect its retail customers; instead, Defendants had increased


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id. ¶¶ 18, 142 (Coinbase “do[es] not engage in proprietary        continuously and knowingly concealed that Coinbase listed
trading.”). In various SEC filings during the Class Period,       crypto assets from 2019 through 2021 that it knew were
Coinbase disclosed that it purchased crypto as assets as “long-   likely securities to grow its business and boost revenues.
term” investments, and also to “fulfill customer transactions,”   (Id. ¶¶ 25, 182–83, 379.) Since 2017, the SEC has made it
but did “not plan to engage in regular trading of crypto          clear that many crypto assets qualify as securities, and that
assets.” (Id. ¶¶ 294–97, 300–08, 312–15, 325–38.)                 platforms where these securities trade must register with the
                                                                  SEC to avoid an enforcement action. (Id. ¶¶ 154–66, 169–70.)
 *4 On September 22, 2022, the Wall Street Journal (“WSJ”)        The SEC has brought multiple enforcement actions against
published an article (the “WSJ Article” or the “September 22,     companies for failure to register crypto asset securities. (Id.
2022 WSJ Article”) revealing Coinbase's alleged proprietary       ¶¶ 172–76.)
trading venture which resulted in Coinbase's stock price
dropping 6.9%. (Id. ¶¶ 32, 241–43; Defs.’ Ex. 1, September        In 2019, Coinbase co-founded the Crypto Rating Council
22, 2022 WSJ Article (ECF No. 78-4).) The WSJ reported            (the “CRC”) to create a framework for assessing whether
Coinbase formed a proprietary trading unit in July 2021           a crypto asset was likely a security. (Id. ¶¶ 179–81.)
and hired at least four Wall Street traders with the intent to    The Company stated that it examined each asset before
use the Company's own cash to trade crypto on behalf of           it was listed to determine whether it was a security. (Id.)
clients. 11 (Id. ¶ 144.) By early 2022, the proprietary trading   Additionally, Coinbase told investors that it was rigorously
unit had built sophisticated trading systems and used those       applying the framework and only “permit[ting] trading on
systems to trade $100 million raised through a structured note.   our core platform of those crypto assets for which we
(Id. ¶ 147.) Although this unit was allegedly profitable for      determine there are reasonably strong arguments to conclude
Coinbase, the WSJ detailed that the Company “discouraged”         that the crypto asset is not a security.” (Id. ¶ 188.) Analysts
employees “from sharing information about the new trading         lauded Coinbase's “compliance infrastructure” and called the
business or discussing it in internal communications.” (Id. ¶     Company's “rigorous[ ] adher[ence]” “a key differentiating
242.) Thereafter, on the same date, Coinbase issued a blog        factor.” (Id. ¶¶ 189–90 (alteration in original).)
post which provided “Coinbase does not operate a proprietary
trading business or act as a market maker.” (Defs.’ Ex. 6,        By the spring of 2022, the SEC had begun actively
September 22, 2022 Blog Post (ECF No. 78-9 at 41).) The           investigating Coinbase for securities law violations. (Id. ¶
Company also noted it “does, from time to time, purchase          150.) In July 2022, the SEC and the United States Department
cryptocurrency as principal, including for our corporate          of Justice charged a former Coinbase manager with insider
treasury and operational purposes. [But] [w]e do not view         trading of crypto securities on Coinbase's platform. (Id. ¶
this as proprietary trading because its purpose is not for        196.) Thereafter, on July 21, 2022, the Company stated:
Coinbase to benefit from short-term increases in value of the     “Coinbase does not list securities. End of story.” (Id. ¶ 197.)
cryptocurrency being traded.” (Id.; see also ECF No. 68 ¶         Coinbase further noted that the Company “has a rigorous
244.) Market commentators reacted negatively to the WSJ           process to analyze and review each digital asset—a process
article and reported that “Coinbase's foray into prop trading     that the SEC itself has reviewed.... [W]e remain confident
could fray the lines of trust between the company's executives    that Coinbase's rigorous review process keeps securities off
and its investors.” (Id. ¶¶ 32, 245–46.)                          Coinbase's platform.” (Id. ¶ 197.)


11                                                                Four days after Coinbase's denials, Bloomberg News reported
       Based on the WSJ Article, Plaintiffs allege Haas
                                                                  that the SEC was investigating whether Coinbase “let
       took part in the creation of the proprietary trading
                                                                  Americans trade digital assets that should have been
       unit. (Id. ¶¶ 144, 242.)
                                                                  registered as securities.” (Id. ¶¶ 31, 200, 238.) Coinbase's
                                                                  stock price then declined 21%. (Id. ¶ 201.) Defendants
                                                                  responded by assuring investors; Grewal stated that “we
               3. The Regulatory Statements
                                                                  are confident that our rigorous diligence process—a process
The final category of Defendants’ challenged actions are          the SEC has already reviewed—keeps securities off our
related to Plaintiffs’ claim that Defendants downplayed the       platform.” (Id. ¶ 202.)
likelihood that the SEC would bring an enforcement action.
(Id. ¶¶ 178, 342, 345, 357.) Plaintiffs allege Defendants



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In reality, the SEC had begun to take a “totally different tone,”   investors and the U.S. capital markets.” (Id. ¶¶ 34, 253, 405.)
and told Defendants that “we think everything other than            Thereafter, Coinbase's stock fell over 12%. (Id. ¶ 255.)
Bitcoin is a security.” (Id. ¶¶ 151, 378.) Defendants met with
the SEC over 30 times between June 2022 and March 2023
and provided witnesses for testimony including a witness to           C. Allegations Related to Claims Brought Pursuant to
                                                                      the Securities Act of 1933 (the “Securities Act”)
testify as to Coinbase's staking services. 12 (Id. ¶¶ 209, 378.)
                                                                    In Counts III–V, Plaintiffs bring claims arising under the
Armstrong later conceded that they were aware of the SEC's
position by mid-2022. (Id.)                                         Securities Act. 13 In these claims, “Plaintiffs assert strict
                                                                    liability and negligence claims.” (Id. ¶ 437.) Plaintiffs assert
12                                                                  the Securities Act Defendants are “statutorily liable under
        In a “staking program,” crypto asset owners agree
                                                                    Sections 11 and 12(a)(2) of the Securities Act for the
        to lock up their holdings to obtain a reward or
                                                                    materially inaccurate statements contained in the Offering
        earn interest, similar to a certificate of deposit.
                                                                    Materials.” (Id. ¶ 438.) Plaintiffs submit the claims in
        (Id. ¶ 23 n.1.) In Coinbase's staking program,
                                                                    Counts III–V “do not sound in fraud, and Plaintiffs expressly
        “crypto owners transfer their assets to Coinbase
                                                                    disclaim any allegations of fraud or intentional misconduct in
        which pools and subsequently ‘stakes’ the assets
                                                                    connection with these non-fraud claims.” (Id. ¶ 441.)
        for rewards. The Company takes a commission
        based on the rewards a customer receives, generally
                                                                    13
        between 15% and 35%.” (Id.)                                        Count IV is only raised by Additional Plaintiffs.
                                                                           (Id. ¶ 523.)
 *5 In January 2023, the SEC privately informed Defendants
it was pursuing an enforcement investigation against                On February 25, 2021, Coinbase filed its initial Registration
the Company. (Id. ¶¶ 209, 378.) Although Defendants                 Statement. (Id. ¶ 444.) Thereafter, on March 23, 2021,
knew Coinbase faced “an imminent enforcement action,”               Coinbase filed its final amendment to the Registration
Defendants continued to minimize the risks of a regulatory          Statement. (Id.) The Company's Registration Statement was
action. (Id. ¶¶ 209–15.) After the SEC shut down a rival            declared effective by the SEC on April 1, 2021. (Id. ¶ 445.)
company's staking program, Coinbase claimed its staking             The Form S-1 was signed by Armstrong, Haas, Jones, and the
services were “fundamentally different” and that “Coinbase's        Director Defendants. (Id.) Shortly thereafter, Coinbase filed
staking services are not securities.” (Id. ¶¶ 210–15.) On March     its Prospectus with the SEC, incorporating and forming part of
22, 2023, Coinbase disclosed it had a received a Wells Notice       the Registration Statement. (Id. ¶ 446.) Coinbase stated: “You
from the SEC and that the potential securities fraud violations     should read this prospectus and any prospectus supplement
related to a “portion of our listed digital assets” and “our        before deciding to invest in our Class A common stock.” (Id. ¶
staking service.” (Id. ¶¶ 33, 219, 247–48.) Based off this          447.) The Securities Act Defendants also told investors to rely
news, Coinbase's stock price dropped 14%. (Id. ¶¶ 33, 249.)         on the information provided by the Company in the Offering
                                                                    Materials. (Id. ¶ 448.) Coinbase registered for the resale of
On June 6, 2023, the SEC filed a complaint (the “SEC                up to 114,850,769 shares of Class A common stock held by
Complaint”) alleging that Coinbase had made crypto                  registered shareholders. (Id. ¶ 449.)
securities available on its platform assets “even where
it recognized [they] had the characteristics of securities,”        Plaintiffs allege that they “acquired Coinbase common stock
and failed to register “with the SEC ... thus evading               pursuant and/or traceable to the Offering Materials.” (Id. ¶
the disclosure regime that Congress has established for             518.) Lead Plaintiff specifically alleges it made two purchases
our securities markets.” (Id. ¶¶ 221–25, 253–54.) The               totaling 33,696 shares on November 30, 2021, when 74%
SEC investigation revealed that Coinbase added assets               of the shares outstanding were registered pursuant to the
“even where it recognized [they] had the characteristics of         Offering Materials. (Id. ¶ 40.) Additional Plaintiffs allege
securities.” (Id. ¶¶ 25, 183, 222, 379.) The SEC Complaint          they purchased Coinbase stock on April 14, 2021, the
detailed Coinbase's conduct in “elevat[ing] its interest in         first day of Coinbase's Direct Listing, at prices near the
increasing its profits over investors’ interests, and over          opening price and when 88% of shares outstanding were
compliance with the law and the regulatory framework that           registered pursuant to the Offering Materials. (Id. ¶¶ 41–
governs the securities markets and was created to protect           42.) Collectively, Additional Plaintiffs allege they bought 350
                                                                    shares of Coinbase common stock. (Id.)



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 *6 The claims brought pursuant to the Securities Act              Plaintiffs bring two causes of action under the Exchange
allege the Offering Materials “contained untrue statements of      Act (the “Exchange Act Claims”): Count I (Violations of
material fact, and omitted material facts, about the Company's     Section 10(b) of the Exchange Act and SEC Rule 10b-5
business and operations, including: (i) substantial, material      Promulgated Thereunder Against Coinbase and the Executive
risks associated with Coinbase's ability to safeguard its          Defendants); and Count II (Violations of Section 20(a) of the
customers’ crypto assets; and (ii) Coinbase's involvement          Exchange Act Against the Executive Defendants). Plaintiffs
in proprietary trading of cryptocurrency on its own                also bring three causes of action under the Securities Act (the
exchange.” (Id. ¶ 439; see also id. ¶¶ 452–91.) Further,           “Securities Act Claims”): Count III (Violations of Section 11
Counts III–V are “are also premised upon the Securities Act        of the Securities Act Against the Securities Act Defendants);
Defendants’ negligent failure to conduct a reasonable due          Count IV (Violations of Section 12(a)(2) of the Securities
diligence investigation into the accuracy and completeness of      Act Against the Securities Act Defendants); and Count V
the representations contained in the Offering Materials.” (Id.     (Violations of Section 15 of the Securities Against Armstrong,
¶ 440.) Plaintiffs also allege the Offering Materials did not      Haas, Jones, and the Director Defendants).
disclose information that was required to be disclosed under
SEC Regulation S-K. (Id. ¶¶ 492–99.)                               On December 21, 2023, the parties filed the complete briefing
                                                                   related to Defendants’ Motion to Dismiss the SAC. 14 (ECF
                                                                   Nos. 78–80.) Defendants’ Motion to Dismiss the SAC is
   D. Procedural History
                                                                   docketed as ECF No. 78 with the Brief in Support docketed
On July 16, 2021, the original class action complaint was
                                                                   as ECF No. 78-1, Plaintiffs’ Opposition is docketed as ECF
filed in this matter, previously bearing the caption Patel v.
                                                                   No. 79, and Defendants’ Reply is docketed as ECF No. 80.
Coinbase Global, Inc. et al., Case No. 2:22-cv-04915-BRM-
LDW. (ECF No. 1.) The original class action complaint
                                                                   14
named Coinbase, Armstrong, and Haas as defendants and                      By Letter Order dated September 20, 2023, Judge
brought two claims pursuant to the Exchange Act. (Id.) On                  Wettre granted the parties’ request for a 20%
September 27, 2022, another prospective plaintiff filed a class            extension of the page limits under Local Civil Rule
action complaint—naming Choi as an additional defendant—                   7.2. (ECF No. 70.) The parties requested extensions
in a separate action entitled Laffon v. Coinbase Global, Inc. et           in light of the SAC “which is 193 pages in 12-point
al., Case No. 2:22-cv-05744-BRM-LDW. Thereafter, several                   font, and its complexity.” (Id.)
Motions for Consolidation, Appointment as Lead Plaintiff,
and Approval of Lead Counsel were filed. (ECF Nos. 12, 13,         II. LEGAL STANDARD
18, 20, 21, 22.) On December 12, 2022, the Honorable Leda
D. Wettre, U.S.M.J. consolidated Patel and Laffon, appointed          A. Rule 12(b)(6)
Sjunde AP-Fonden as Lead Plaintiff, approved Sjunde AP-             *7 In deciding a motion to dismiss pursuant to Federal Rule
Fonden's selection of Lead Counsel and Liaison Counsel,            of Civil Procedure 12(b)(6), a district court is “required to
and ordered that Case No. 2:22-cv-04915-BRM-LDW shall              accept as true all factual allegations in the complaint and draw
constitute the Master File bearing the caption In re Coinbase      all inferences from the facts alleged in the light most favorable
Global, Inc. Securities Litigation. (ECF Nos. 49, 50.)             to [the non-moving party].” Phillips, 515 F.3d at 228. “[A]
                                                                   complaint attacked by a Rule 12(b)(6) motion to dismiss
On February 22, 2023, Plaintiffs filed the Consolidated Class      does not need detailed factual allegations.” Bell Atl. Corp.
Action Complaint naming Coinbase, Armstrong, Haas, and             v. Twombly, 550 U.S. 544, 555 (2007) (citations omitted).
Choi as defendants and bringing two claims pursuant to the         However, “a plaintiff's obligation to provide the ‘grounds’
Exchange Act. (ECF No. 59.) Thereafter, on May 10, 2023,           of his ‘entitle[ment] to relief’ requires more than labels and
Plaintiffs filed the First Amended Consolidated Class Action       conclusions, and a formulaic recitation of the elements of
Complaint (“FAC”) raising claims against Defendants. (ECF          a cause of action will not do.” Id. (quoting Papasan v.
No. 62.) The FAC brought two claims pursuant to the                Allain, 478 U.S. 265, 286 (1986)). A court is “not bound
Exchange Act, and three claims pursuant to the Securities Act      to accept as true a legal conclusion couched as a factual
of 1933 (the “Securities Act”). (Id.)                              allegation.” Papasan, 478 U.S. at 286. Instead, assuming the
                                                                   factual allegations in the complaint are true, those “[f]actual
On July 20, 2023, Plaintiffs filed the 193-page, operative SAC     allegations must be enough to raise a right to relief above the
raising claims against Defendants. (ECF No. 68.) Specifically,     speculative level.” Twombly, 550 U.S. at 555.


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                                                                    private securities class actions.... Nonetheless, ‘Rule 9(b)’s
“To survive a motion to dismiss, a complaint must contain           particularity requirement is comparable to and effectively
sufficient factual matter, accepted as true, to ‘state a claim      subsumed by the requirements of [15 U.S.C. § 78u–4(b)(1)
for relief that is plausible on its face.’ ” Ashcroft v. Iqbal,     of] the PSLRA.’ ” Rahman v. Kid Brands, Inc., 736 F.3d 237,
556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at              242 n.3 (3d Cir. 2013) (alteration in original) (quoting Avaya,
570). “A claim has facial plausibility when the plaintiff pleads    564 F.3d at 253).
factual content that allows the court to draw the reasonable
inference that the defendant is liable for the misconduct            *8 Pursuant to Rule 9(b), when alleging fraud, “a party must
alleged.” Id. at 678 (citing Twombly, 550 U.S. at 556).             state with particularity the circumstances constituting fraud
This “plausibility standard” requires the complaint to allege       or mistake, although intent, knowledge, and other conditions
“more than a sheer possibility that a defendant has acted           of a person's mind may be alleged generally.” In re Lipitor
unlawfully,” but it “is not akin to a ‘probability requirement.’    Antitrust Litig., 868 F.3d 231, 249 (3d Cir. 2017) (quoting
” Id. (citing Twombly, 550 U.S. at 556). “[D]etailed factual        Fed. R. Civ. P. 9(b)); see alsoUnited States ex rel. Moore &
allegations” are not required, but “more than an unadorned,         Co., P.A. v. Majestic Blue Fisheries, LLC, 812 F.3d 294, 307
the-defendant-unlawfully-harmed-me accusation” must be              (3d Cir. 2016) (“A plaintiff alleging fraud must ... support
pleaded; it must include “factual enhancement” and not              its allegations ‘with all of the essential factual background
just conclusory statements or a recitation of the elements          that would accompany the first paragraph of any newspaper
of a cause of action. Id. (citations omitted). In assessing         story—that is, the who, what, when, where and how of the
plausibility, the court may not consider any “[f]actual claims      events at issue.’ ”) (quoting In re Rockefeller Ctr. Props., Inc.
and assertions raised by a defendant.” Doe v. Princeton Univ.,      Sec. Litig., 311 F.3d 198, 217 (3d Cir. 2002)). Accordingly, “a
30 F.4th 335, 345 (3d Cir. 2022).                                   party must plead [its] claim with enough particularity to place
                                                                    defendants on notice of the ‘precise misconduct with which
“Determining whether a complaint states a plausible claim           they are charged.’ ” United States ex rel. Petras v. Simparel,
for relief [is] ... a context-specific task that requires the       Inc., 857 F.3d 497, 502 (3d Cir. 2017) (quoting Lum v. Bank of
reviewing court to draw on its judicial experience and              Am., 361 F.3d 217, 223–24 (3d Cir. 2004), abrogated in part
common sense.” Iqbal, 556 U.S. at 679. “[W]here the well-           on other grounds byTwombly, 550 U.S. at 557.
pleaded facts do not permit the court to infer more than the
mere possibility of misconduct, the complaint has alleged           Likewise, to properly allege that a defendant made a false or
—but it has not ‘show[n]’—‘that the pleader is entitled to          misleading statement under the heightened pleading standard
relief.’ ” Id. (quoting Fed. R. Civ. P. 8(a)(2)). Indeed, after     of the PSLRA, a private securities complaint “must: (1)
Iqbal, conclusory or “bare-bones” allegations will no longer        ‘specify each statement alleged to have been misleading [and]
survive a motion to dismiss: “[t]hreadbare recitals of the          the reason or reasons why the statement is misleading’ ...;
elements of a cause of action, supported by mere conclusory         and (2) ‘state with particularity facts giving rise to a strong
statements, do not suffice.” Id. at 678. To prevent dismissal,      inference that the defendant acted with the required state of
all civil complaints must set out “sufficient factual matter”       mind.’ ” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S.
to show that the claim is facially plausible, “allow[ing] the       308, 321 (2007) (alteration in original) (quoting 15 U.S.C. §§
court to draw the reasonable inference that the defendant is        78u-4(b)(1), (b)(2)). Therefore, the PSLRA “requires that a
liable for the misconduct alleged.” Id. The Supreme Court's         complaint state with particularity both the facts constituting
ruling in Iqbal emphasizes that a plaintiff must show that the      the alleged violation, and the facts evidencing scienter, i.e.,
allegations of his or her complaints are plausible. Seeid. at       the defendant's intention to deceive, manipulate, or defraud.”
670.                                                                Rahman, 736 F.3d at 241–42 (citation and internal quotation
                                                                    marks omitted).

   B. Heightened Pleading Standard                                  “To plead falsity, Rule 9(b) and the PSLRA each demand
The Private Securities Litigation Reform Act of 1995                specificity.” City of Warren Police & Fire Ret. Sys. v.
(the “PSLRA”) provides heightened pleading rules that a             Prudential Fin., Inc., 70 F.4th 668, 680 (3d Cir. 2023).
plaintiff must satisfy in securities class actions. Institutional   “Although the pleading standards in Rule 9(b) and the PSLRA
Invs. Grp. v. Avaya, Inc., 564 F.3d 242, 252 (3d Cir.               can be generally reconciled harmoniously for allegations of
2009). “The PSLRA replaced [Federal Rule of Civil                   falsity, the PSLRA's requirements for allegations of scienter
Procedure 9(b)] as the applicable pleading standard in


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control over the more lenient standard in Rule 9(b) for            U.S.C. § 78j(b). SEC Rule 10b-5(b) applies this provision and
mental-state allegations.” Id. at 681 n.1 (emphasis in original)   provides that it is unlawful “[t]o make any untrue statement
(citing Avaya, 564 F.3d at 253 (“The PSLRA's requirement           of a material fact or to omit to state a material fact necessary
for pleading scienter ... marks a sharp break with Rule            in order to make the statements made, in the light of the
9(b).”)); Tellabs, 551 U.S. at 323–24); compareFed. R. Civ.        circumstances under which they were made, not misleading ...
P. 9(b) (permitting “[m]alice, intent, knowledge, and other        in connection with the purchase or sale of any security.”
conditions of a person's mind [to] be alleged generally”),         17 CFR § 240.10b-5(b). “The private right of action under
with15 U.S.C. § 78u-4(b)(2)(A) (requiring a particularized         Section 10(b) and Rule 10b–5 ... creates liability for false or
statement of the “facts giving rise to a strong inference that     misleading statements or omissions of material fact that affect
the defendant acted with the required state of mind”).             trading on the secondary market.” Burlington Coat Factory,
                                                                   114 F.3d at 1417. To state a claim for securities fraud under
                                                                   Section 10(b) and SEC Rule 10b-5, “plaintiffs must allege
III. DECISION                                                      (1) a material misrepresentation or omission, (2) scienter,
Defendants argue the SAC fails to plead a claim under              (3) a connection between the misrepresentation or omission
Section 10(b) of the Exchange Act. (ECF No. 78-1 at 14–            and the purchase or sale of a security, (4) reliance upon the
42.) Specifically, Defendants submit the SAC fails to allege:      misrepresentation or omission, (5) economic loss, and (6) loss
a material misstatement or omission (id. at 14–31); a strong       causation.”City of Edinburgh Council v. Pfizer, Inc., 754 F.3d
inference of scienter (id. at 32–40); and loss causation           159, 167 (3d Cir. 2014) (citations omitted).
(id. at 40–42). Defendants also assert the SAC does not
sufficiently plead claims under the Securities Act as Plaintiffs
lack standing, and in the alternative, Plaintiffs have failed
to sufficiently plead required elements for claims under                      1. Determinations As to Whether
Sections 11 and 12 of the Securities Act. (Id. at 42–48.)                    Plaintiffs Have Adequately Alleged
Defendants conclude by arguing Counts II and V of the SAC                  Material Misrepresentations or Omissions
should be dismissed because Plaintiffs have not adequately
                                                                   Defendants argue the Bankruptcy Risk Statements are not
pled predicate claims. (Id. at 48.) The Court addresses each
                                                                   adequately alleged misrepresentations or omissions because:
argument in turn.
                                                                   (i) they do not mention bankruptcy, and therefore could not
                                                                   have concealed or misled investors; (ii) “the SAC fails to
  A. Defendants’ Motion to Dismiss Count I of the SAC              allege a single fact suggesting any bankruptcy risk, let alone
  (Violations of Section 10(b) of the Exchange Act and             a risk to customer assets in a bankruptcy, existed at the
  SEC Rule 10b-5 Promulgated Thereunder Against                    time the challenged statements were made”; and (iii) several
                                                                   statements are non-actionable puffery or opinion. (ECF No.
  Coinbase and the Executive Defendants) 15
                                                                   78-1 at 14–20; see also ECF No. 80 at 2–6.) Defendants
15     Although all of the Defendants are not named                assert the Proprietary Trading Statements are not actionable
       as the applicable group of defendants for this              because: (i) they are based on the WSJ Article, which was
       claim, the parties’ briefing exclusively referred to        anonymously sourced, and therefore not sufficiently reliable;
       either individual defendants or Defendants as a             (ii) the WSJ Article does not contradict any challenged
       whole. The Court will therefore interchangeably             statement; (iii) Plaintiffs failed to allege contemporaneous
       refer to the applicable group of defendants                 falsity; and (iv) forward-looking statements are immune
       as “Defendants,” or this count's actual named               under the PSLRA's safe harbor provision. (ECF No. 78-1
       defendants. For example, the Court will at times use        at 20–25; see also ECF No. 80 at 6–8.) Next, Defendants
       “Defendants,” as the parties did, or “Coinbase and          submit the Regulatory Statements are not actionable false
       the Executive Defendants.”                                  or misleading statements as Defendants: (i) did not have a
 *9 Section 10(b) of the Exchange Act makes it unlawful for        duty to disclose their alleged understanding of the SEC's
any person “to use or employ, in connection with the purchase      actions; (ii) did not misleadingly minimize the risk of the
or sale of any security ... any manipulative or deceptive device   SEC's investigation; and (iii) merely provided nonactionable
or contrivance in contravention of such rules and regulations      opinions. (ECF No. 78-1 at 25–31; see also ECF No. 80 at
as the Commission may prescribe as necessary or appropriate        8–11.)
in the public interest or for the protection of investors.” 15


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In opposition, Plaintiffs counter the SAC sufficiently alleges       independent obligation to address—it cannot omit material
materially false and misleading statements. (ECF No. 79              facts related to that issue so as to make its disclosure
at 13–30.) Plaintiffs assert the Bankruptcy Risk Statements          misleading.”); In re Bristol-Meyers Squibb Sec. Litig., Civ.
are actionable because: (i) Defendants’ statements about             A. No. 00-1990, 2005 WL 2007004, at *23 (D.N.J. Aug.
asset security created an affirmative duty for Defendants            17, 2005) (“[A] defendant may choose silence or speech
to fully disclose the risk that customers’ assets would face         based on the then-known factual basis, but cannot choose
in the event of a bankruptcy; (ii) the omission of the               half-truths.” (citation omitted)). Notably, “the question of
risk to customers’ assets was material; and (iii) they do            whether disclosure was required is best left to the trier of fact,
not constitute puffery or opinion. (Id. at 13–22.) Plaintiffs        since whether a prior disclosure is inaccurate, incomplete, or
contend Defendants’ arguments as to the Proprietary Trading          misleading in light of all of the evidence is a mixed question
Statements are misplaced because: (i) the WSJ Article is a           of law and fact.” In re: Enzymotec Sec. Litig., Civ. A. No.
proper basis for misleading and false statements; and (ii) the       14-5556, 2015 WL 8784065, at *15 (D.N.J. Dec. 15, 2015)
PSLRA's safe harbor provision does not apply. (Id. at 22–            (citing Weiner v. Quaker Oats Co., 129 F.3d 310, 317 (3d Cir.
25.) As to the Regulatory Statements, Plaintiffs submit they         1997)).
are actionable, materially false and misleading statements
because: (i) Coinbase listed crypto assets that its own review
process determined were likely securities; (ii) the SEC had
                                                                                   i. The Bankruptcy Risk Statements
indicated to Defendants that most assets on the platform were
securities; (iii) Defendants admitted that Coinbase faced “an        The Court first addresses the materiality of the concealed
imminent enforcement action”; (iv) Defendants had a duty to          bankruptcy risk to customers’ assets. Defendants argue
disclose material facts related to the potential SEC action. (Id.    Plaintiffs’ claims premised upon the Bankruptcy Risk
at 25–30.)                                                           Statements fail because Coinbase was not at risk of
                                                                     bankruptcy. (ECF No. 78-1 at 16–19; ECF No. 80 at 3–5.)
“[A] fact or omission is material only if ‘there is a substantial    Plaintiffs counter that their “claim is not that Coinbase failed
likelihood that it would have been viewed by the reasonable          to disclose an imminent risk of bankruptcy. Rather, Coinbase
investor as having significantly altered the “total mix” of          and the Executive Defendants failed to disclose that, in the
information’ available to the investor.” In re NAHC, Inc. Sec.       event of a bankruptcy—a common experience among crypto
Litig., 306 F.3d 1314, 1330 (3d Cir. 2002) (quoting Basic Inc.       peers—Coinbase's customers were at risk of losing their
v. Levinson, 485 U.S. 224, 231–32 (1988)). “[M]ateriality is a       assets.” (ECF No. 79 at 17.) Plaintiffs’ framing of this issue
mixed question of law and fact, and the delicate assessments         is persuasive. To the extent Defendants assert that the risks
of the inferences a reasonable shareholder would draw from a         associated with a bankruptcy are not material, Defendants’
given set of facts are peculiarly for the trier of fact.” Shapiro    position is contradicted by the Company's admissions in
v. UJB Fin. Corp., 964 F.2d 272, 281 n. 11 (3d Cir. 1992),           the May 10, 2022 Form 10-Q report. In this SEC filing,
cert. denied, 506 U.S. 934 (1992) (citing TSC Indus., Inc.           the Company disclosed the relevant asset safety risks and
v. Northway, Inc., 426 U.S. 438, 450 (1976)). Consequently,          conceded that this disclosure “may result in customers finding
“[o]nly if the alleged misrepresentations or omissions are so        our custodial services more risky and less attractive and
obviously unimportant to an investor that reasonable minds           any failure to increase our customer base, discontinuation
cannot differ on the question of materiality is it appropriate for   or reduction in use of our platform and products by
the district court to rule that the allegations are inactionable     existing customers as a result could adversely impact our
as a matter of law.” Id. (citing TSC Indus., 426 U.S. at 450).       business, operating results, and financial condition.” (ECF
                                                                     No. 68 ¶ 231.) In this admission, the Company effectively
 *10 “There is no affirmative duty to disclose all material          acknowledged the “substantial likelihood” that the omission
information, but such a duty may arise when a company                of the bankruptcy risk was material to investors. NAHC,
chooses ‘to speak about a material subject to investors.’ ”          306 F.3d at 1330. Further, the materiality of this information
In re Amarin Corp. PLC Sec. Litig., No. 21-2071, 2022 WL             was evidenced by the disclosure's significant impact on the
2128560, at *3 (3d Cir. June 14, 2022) (quoting Edinburgh            market. SeeIn re Able Labs. Sec. Litig., Civ. A. No. 05-2681,
Council, 754 F.3d at 174); see alsoWilliams v. Globus Med.,          2008 WL 1967509, at *15 (D.N.J. Mar. 24, 2008) (“[T]he
Inc., 869 F.3d 235, 241 (3d Cir. 2017) (“Once a company              significant decrease in stock price immediately following
has chosen to speak on an issue—even an issue it had no              the disclosure of the adverse information satisfies the Third



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Circuit's standard for pleading materiality.”). Based on the             communicate proactively when this risk disclosure
foregoing, the Court finds the Bankruptcy Statements are                 was added”).
material.                                                          *11 Additionally, the Court is guided by Item 303 of SEC
                                                                  Regulation S-K which requires disclosure of “any known
Plaintiffs have also properly alleged that Coinbase and the       trends or uncertainties that have had or that are reasonably
Executive Defendants had a duty to disclose the bankruptcy        likely to have a material favorable or unfavorable impact on
risk to customers’ assets. In the Asset Safety Disclosures,       net sales or revenues or income from continuing operations.”
Coinbase and the Executive Defendants candidly detailed the       17 C.F.R. § 229.303(b)(2)(ii). Defendants correctly note
need to safeguard customers’ assets. (See ECF No. 68 ¶¶ 96–       that “Item 303 does not create an ‘affirmative duty of
97, 258–59, 270, 273, 276, 284.) The Company specified only       disclosure’ that, if violated, would ‘automatically give rise
two risks—hacking and the “loss or destruction of private         to a material omission under Rule 10b-5.’ ” (ECF No. 78-1
keys”—in safeguarding customers’ assets. (Id.) Elsewhere,         at 15 n.3 (citing Oran v. Stafford, 226 F.3d 275, 288 (3d
the Executive Defendants repeatedly emphasized the security       Cir. 2000)). Notwithstanding, Coinbase and the Executive
that Coinbase offered. (Id. ¶¶ 89, 129.) However, Defendants      Defendants’ failure to disclose the known uncertainty of the
knew they had not taken steps to protect the Company's retail     risks that bankruptcy posed to asset safety in violation of
customers’ assets from potential bankruptcy risks. (Id. ¶¶        Item 303 rendered the Asset Safety Disclosures materially
14–16, 112–20.) By placing the safety of customers’ assets        misleading. SeeIn re Galena Biopharma, Inc. Sec. Litig., 336
“in play,” through the statements described above, Coinbase       F. Supp. 3d 378, 392 (D.N.J. 2018) (“[A]n omission in the
was “bound to speak truthfully” and disclose the risks that       context of Item 303 can give rise to a Rule 10b-5 claim if
its retail customers’ assets faced. Shapiro, 964 F.2d at 282;     the Item 303 omission renders other statements materially
seeIndustriens Pensionsforsikring A/S v. Becton, Dickinson &      misleading.” (emphasis in original)); cf.Oran, 226 F.3d at
Co., 620 F. Supp. 3d 167, 186 (D.N.J. 2022) (“Defendants          288 (“Because plaintiffs have failed to plead any actionable
may not describe ‘a favorable picture’ of a material issue        misrepresentation or omission under [Rule 10b-5], SK-303
‘without including the details that would have presented a        cannot provide a basis for liability.”)
complete and less favorable one.’ ” (quoting SEB Inv. Mgmt.
AB v. Endo Int'l, PLC, 351 F. Supp. 3d 874, 897 (E.D. Pa.         The Court concludes this section by addressing Defendants’
2018))). In noting that hacking and lost keys were risks to       argument that several of the Bankruptcy Risk Statements
safeguarding customers’ assets, Coinbase and the Executive        are non-actionable puffery and opinion. (See ECF No. 78-1
Defendants had a duty to provide the complete picture             at 19–20; see also ECF No. 80 at 6.) The statements that
of known risks to customer’ assets. 16 Instead, Coinbase          Defendants argue are puffery and opinion each tout the
and the Executive Defendants concealed their knowledge of         trust that customers have in Coinbase due to its ability
the potential bankruptcy risks to safeguarding customers’         to safely secure customers’ crypto assets. (See ECF No.
assets. 17                                                        68 ¶¶ 268, 279, 281–82, 289–90.) “[V]ague and general
                                                                  statements of optimism ‘constitute no more than “puffery”
16                                                                and are understood by reasonable investors as such.’ ” In re
        Defendants’ argument, that bankruptcy courts have
                                                                  Advanta Corp. Sec. Litig., 180 F.3d 525, 538 (3d Cir. 1999)
        found that customers’ crypto assets are not part of
                                                                  (quoting Burlington Coat Factory, 114 F.3d at 1428 n.14). “A
        a cryptocurrency platform's estate, is misguided.
                                                                  statement is considered puffery only when it is immaterial.”
        (See ECF No. 78-1 at 18–19.) The legal landscape
                                                                  Enzymotec, 2015 WL 8784065, at *14. An opinion “is
        that has played out following the period when
                                                                  misleading if it: (i) was not sincerely believed when made;
        the Bankruptcy Risk Statements were made is not
                                                                  (ii) contains an expressly embedded, untrue factual assertion;
        relevant to the Court's analysis.
                                                                  or (iii) reasonably implies untrue facts and omits appropriate
17                                                                qualifying language.” City of Warren Police, 70 F.4th at 686.
        Armstrong's admissions following the May 10,
        2022 Form 10-Q report are illuminating. (See ECF
        No. 68 ¶¶ 121, 232 (conceding that Coinbase:              The Court finds that the subject statements here, to the
        “should have updated our retail terms sooner”             extent they highlight Coinbase's alleged ability to safely store
        to provide retail customers with “the same                customers’ assets, are actionable as they contain “embedded”
        protections” as institutional customers; and “didn't      falsities and concern a central part of Coinbase's business.
                                                                  See id.; see alsoW. Palm Beach Police Pension Fund v. DFC


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Glob. Corp., Civ. A. No. 13-6731, 2015 WL 3755218, at *13           and internal quotation marks omitted)). Generally, when
(E.D. Pa. June 16, 2015) (“Far from being a vague statement         considering confidential witness allegations, it is proper to
of intention or optimism, fraudulent comments regarding ...         “evaluat[e] the ‘detail provided by the confidential sources,
a fundamental aspect of [defendant's] business are of vital         the sources’ basis of knowledge, the reliability of the sources,
importance to investors.”). However, to the extent the subject      the corroborative nature of other facts alleged, including
statements emphasize customers’ trust in Coinbase, the Court        from other sources, the coherence and plausibility of the
finds these portions to be non-actionable puffery and opinion.      allegations, and similar indicia.’ ” Avaya, 564 F.3d at 263
SeeAdvanta Corp., 180 F.3d at 538; City of Warren Police,           (quoting Cal. Pub. Emps.’ Ret. Sys. v. Chubb Corp., 394 F.3d
70 F.4th at 686 (“An opinion statement ... is not necessarily       126, 147 (3d Cir. 2004)).
misleading when an issuer knows, but fails to disclose, some
fact cutting the other way.”).                                      Although the WSJ Article provides alleged details as to the
                                                                    background of the formation of Coinbase's proprietary trading
Accordingly, the portion of Defendants’ Motion seeking              unit and a specific trade that was executed (ECF No. 68 ¶¶
to dismiss Count I, to the extent it is premised upon the           144, 147; ECF No. 78-4 at 1–3), the Court finds that the WSJ
Bankruptcy Statements that tout customers’ trust in the             Article, and by extension, the dependent allegations contained
Company, is GRANTED, as these assertions constitute                 in the SAC do not satisfy the heightened pleading standard.
puffery and opinion. The remaining portions of Defendants’          In MylanN.V., the district court found that allegations reliant
Motion to Dismiss Count I for failure to properly allege            upon both an anonymously sourced book and Bloomberg
that the Bankruptcy Risk Statement are actionable, material         articles met the pleading standard because: the authors’
misrepresentations and omissions are DENIED.                        reporting was detailed and derived from comprehensive
                                                                    “independent investigative efforts”; the “unnamed witnesses
                                                                    [were] described with enough particularity to give the Court
                                                                    confidence that the information they provided was reliable”;
           ii. The Proprietary Trading Statements
                                                                    and “most of the allegations from the [operative] complaint
The theory of recovery generally alleged in the                     that borrow from the [book] relate to reporting that could be
Proprietary Trading Statements is that Defendants materially        plausibly corroborated by a review of documents examined
misrepresented and/or omitted the fact that they were               by [the book's author] and the authors of the Bloomberg
engaged in proprietary trading. It is undisputed that Plaintiffs’   articles.” 2023 WL 3539371, at *8. Conversely, the WSJ
allegations as to the existence of Coinbase's proprietary           Article here does not provide corroborative sources, sufficient
trading venture explicitly rely upon the September 22, 2022         detail about the confidential sources, or any indication that it
WSJ Article, seeBurlington Coat Factory, 114 F.3d at 1426,          is based on independent investigative efforts. In fact, the WSJ
which describes its sources with phrases such as “people close      Article does not provide any additional information, such as
to the matter” and “people at the company.” (ECF No. 78-4           the sources’ job titles or the bases of the sources’ knowledge.
at 1.)
                                                                    Courts have rejected similar claims based on unsubstantiated,
 *12 To satisfy the heightened pleading standard in a               anonymous sources. See, e.g., In re Vale S.A. Sec. Litig., Civ.
securities-fraud case, “media sources must be sufficiently          A. No. 15-cv-9539, 2017 WL 1102666, at *27 (S.D.N.Y. Mar.
detailed to indicate [ ] their reliability and be based on an       23, 2017) (dismissing securities fraud claims that “relie[d]
independent investigative effort.” In re Mylan N.V. Sec. Litig.,    on ‘unattributed’ statements in the [WSJ] ... for failure to
Civ. A. No. 20-955, 2023 WL 3539371, at *6 (W.D. Pa. May            satisfy the Fed. R. Civ. P. 9(b) pleading standard” because the
18, 2023) (alteration in original) (quoting In re Loewen Grp.       newspaper article relied upon an “unidentified” employee as
Inc. Sec. Litig., Civ. A. No. 98-6740, 2004 WL 1853137, at          its source and neither the article nor the complaint provided
*6 (E.D. Pa. Aug. 18, 2004)); seeIn re Optionable Sec. Litig.,      further information about the source); see alsoChan v. New
577 F. Supp. 2d 681, 690 (S.D.N.Y. 2008) (“[N]ewspaper              Oriental Educ. & Tech. Grp. Inc., Civ. A. No. 16-9279,
articles should be credited only to the extent that other factual   2019 WL 2865452, at *7 (D.N.J. July 3, 2019) (finding the
allegations would be—if they are sufficiently particular and        subject “article [did] not meet the heightened particularity
detailed to indicate their reliability. Conclusory allegations      required of claims under Section 10(b) and Rule 10b-5” as
of wrongdoing are no more sufficient if they come from              the article was “devoid of [relevant] information,” and did not
a newspaper article than from plaintiff's counsel.” (citation       provide “the who, what, when, where, and how”); cf.Loewen



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Grp., 2004 WL 1853137, at *6 (applying the heightened
pleading standard associated with claims under the PSLRA
                                                                                   iii. The Regulatory Statements
and declining to consider allegations from an unnamed source
where plaintiffs did not provide “sufficient information about      *13 Next, the Court addresses the parties’ arguments
the source,” as Plaintiffs did “not say for whom the source        related to the Regulatory Statements. Defendants’ primary
worked or in what capacity”).                                      argument is that they did not have a duty to disclose their
                                                                   alleged understanding of the SEC's actions. (ECF No. 78-1
Therefore, the Court finds Plaintiffs have not adequately          at 26–29.) In this category of the Challenged Statements,
pled that the Proprietary Trading Statements are material          Plaintiffs allege Coinbase and the Executive Defendants
misstatements and omissions because the WSJ Article does           misrepresented and omitted that Coinbase listed crypto assets
not provide the sufficient level of detail required by the         that were likely securities from 2019 through 2021 thereby
heightened pleading standard and does not indicate an              concealing the likelihood of a SEC enforcement action. (ECF
independent investigative effort. Accordingly, the portion         No. 68 ¶¶ 25, 178, 182–83, 342, 345, 357, 379.) Plaintiffs
of Defendants’ Motion to Dismiss Count I, to the extent            allege Defendants told investors in 2022 that “Coinbase does
it is premised upon the Proprietary Trading Statements, is         not list securities. End of story.” (Id. ¶ 343); see alsoid. ¶ 348
GRANTED. 18 Because the Court finds Plaintiffs have not            (“[T]he company does not list securities.”). Grewal, speaking
adequately alleged material misrepresentations and omissions       on behalf of Coinbase, assured investors that “Coinbase
in the Proprietary Trading Statements, the Court will not          has a rigorous process to analyze and review each digital
address the remaining issues and arguments related to the          asset before making it available on our exchange—a process
Proprietary Trading Statements and Count I. SeeChan, 2019          that the SEC itself has reviewed.” (Id. ¶ 343.) Previously,
WL 2865452, at *7 n.6 (“In view of the amended complaint's         Defendants had stated Coinbase only listed assets “for which
failure to adequately plead material misrepresentations or         we determine there are reasonably strong arguments to
scienter, the Court need not reach whether loss causation          conclude that the crypto asset is not a security.” (Id. ¶
is sufficiently pleaded.”); Vale S.A., 2017 W.L. 1102666, at       188.) Defendants further represented: “[w]e are confident that
*27 (“Because the speaker of the statements quoted in the          our rigorous diligence process ... keeps securities off our
Wall Street Journal is not identified, these allegations must be   platform.” (Id. ¶ 346.)
dismissed, before even arriving at Defendants’ loss causation
arguments on this point.”).                                        The Court finds Plaintiffs have adequately alleged that
                                                                   Defendants misleadingly described a favorable picture of
18                                                                 the improbability that the SEC would file an enforcement
       The Court notes Defendants identified another
                                                                   action by repeatedly emphasizing that the crypto assets
       basis that warrants dismissal of Plaintiffs’ claims
                                                                   they listed were not securities. Although “disclosure is not
       premised upon a subset of the Proprietary Trading
                                                                   a rite of confession, and companies do not have a duty
       Statements. Plaintiffs did not raise allegations
                                                                   to disclose uncharged, unadjudicated wrongdoing,” City of
       as to when the plans for Coinbase's proprietary
                                                                   Pontiac Policemen's and Firemen's Ret. Sys. v. UBS AG,
       trading venture were supposedly made. Therefore,
                                                                   752 F.3d 173, 184 (2d Cir. 2014) (citations and internal
       Plaintiffs did not adequately allege the point
                                                                   quotation mark omitted), Defendants still had an obligation
       at which the Proprietary Trading Statements
                                                                   to “include the details that would have presented a complete
       actually were false. SeeIn re Lululemon Sec.
                                                                   and less favorable one.” Becton, 620 F. Supp. 3d at 186; see
       Litig., 14 F. Supp. 3d 553, 571 (S.D.N.Y.
                                                                   alsoWilliams, 869 F.3d at 241 (“Once a company has chosen
       2014), aff'd, 604 F. App'x 62 (2d Cir. 2015)
                                                                   to speak on an issue—even an issue it had no independent
       (“[W]ithout contemporaneous falsity, there can be
                                                                   obligation to address—it cannot omit material facts related
       no fraud.” (citation omitted).) As Defendants state,
                                                                   to that issue so as to make its disclosure misleading.”). The
       “a test trade made at some point in 2022 cannot
                                                                   Regulatory Statements are misleading as Plaintiffs allege
       show contemporaneous falsity for any statements
                                                                   Coinbase decided to list crypto assets from late 2019 through
       that came before it including all of the 2021
                                                                   2021, that its own review process determined had “high
       statements.” (ECF No. 78-1 at 24.)
                                                                   ‘risk’ scores,” and thus were likely to be securities.” (ECF
                                                                   No. 68 ¶¶ 25, 182–83, 379; see alsoid. ¶ 182.) Further, a
                                                                   subset of the statements were misleading in that Defendants



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concealed that the SEC had indicated to Defendants by               most assets it listed were likely securities, thus increasing the
mid-2022 that most crypto assets on Coinbase's platform were        risk that the SEC would bring an enforcement action.” (ECF
likely securities. (Id. ¶¶ 151, 378.) Therefore, the Court finds    No. 79 at 28 n.16.) Further, this argument is contradicted by
that Plaintiffs have adequately pled Defendants had a duty to       Plaintiffs’ allegations that Defendants knew Coinbase faced
disclose material facts related to the likelihood that the crypto   “an imminent enforcement action,” yet continued to minimize
assets listed were securities and, as a result, the likelihood      the risks of a regulatory action. (ECF No. 68 ¶¶ 209–15.)
that the SEC would file an enforcement action. Cf.Becton,
620 F. Supp. 3d at 187 (“The fact that the FDA had not              Accordingly, the portion of Defendants’ Motion to Dismiss
issued a formal warning letter ... does not mean that the           Count I, to the extent it is premised upon the Regulatory
[defendant] was free to issue misleading statements that failed     Statements, is DENIED.
to recognize the serious, immediate, and known risks posed
by a near-certain enforcement action.”); Frater v. Hemispherx
Biopharma, Inc., 996 F. Supp. 2d 335, 350 (E.D. Pa. 2014)
                                                                          2. Plaintiffs Have Sufficiently Alleged Scienter
(“[W]hen the FDA tells a company about problems with a
product, and the company nonetheless continues to make              Defendants also argue the SAC does not sufficiently
confident predictions about a product, courts have inferred         allege a strong inference of scienter. (ECF No. 78-1 at
scienter and falsity.”) (quoting In re MannKind Sec. Actions,       32–40.) Specifically, Defendants assert Plaintiffs fail to
835 F. Supp. 2d 797, 811 (C.D. Cal. 2011)). 19                      allege: (i) Defendants’ motive; (ii) conscious misbehavior
                                                                    or recklessness; and (iii) circumstantial evidence of fraud.
19                                                                  (Id.) In opposition, Plaintiffs counter the SAC adequately
        Additionally, the Court is not swayed by
                                                                    alleges Defendants’ scienter because: (i) “Defendants knew,
        Defendants’ argument that the Regulatory
                                                                    or at the very least were reckless to disregard, information
        Statements did not misleadingly minimize
                                                                    indicating that Coinbase's customers were at risk of asset loss
        the potential of an SEC investigation.
                                                                    in the event of bankruptcy”; (ii) Defendants knew Coinbase
        Although Defendants warned of “regulatory
                                                                    listed crypto assets that were likely securities; and (iii)
        uncertainty” (ECF No. 68 ¶ 205), generic warnings
                                                                    the SAC provides particularized allegations that Defendants
        of a risk do “not suffice when undisclosed facts on
                                                                    were motivated to artificially inflate Coinbase's stock. (ECF
        the ground would substantially affect a reasonable
                                                                    No. 79 at 30–41.) In reply, Defendants reiterate Plaintiffs
        investor's calculations of probability.” Meyer v.
                                                                    did not adequately plead scienter because Plaintiffs fail to
        Jinkosolar Holdings Co., 761 F.3d 245, 251
                                                                    allege Defendants’ motive to commit fraud, and conscious
        (2d Cir. 2014). As to Defendants’ contention
                                                                    misbehavior or recklessness. (ECF No. 80 at 11–15.) As to
        that a portion of the Regulatory Statements—
                                                                    motive, Defendants assert, “no facts suggest that the timing
        statements promoting Coinbase's review process
                                                                    of the 10b5-1 plans was linked to any attempt to increase
        and providing that the Company does not list
                                                                    Coinbase's stock price ‘immediately before the scheduled
        securities—are nonactionable opinions, the Court
                                                                    sales,’ ... to the contrary, the trading plans caused Defendants
        disagrees and finds these statements are actionable
                                                                    to sell at some of the lowest prices of the putative class
        as they did not “fairly align[ ] with the information
                                                                    period.” (Id. at 12) (quoting Emps.’ Ret. Sys. of Gov't of the
        in [their] possession.” Omnicare, Inc. v. Laborers
        Dist. Council Constr. Indus. Pension Fund, 575              V.I. v. Blanford, 794 F.3d 297, 309 (2d Cir. 2015).) 20
        U.S. 175, 189 (2015); see alsoCity of Warren
        Police, 70 F.4th at 686; W. Palm Beach Police, 2015         20      In their reply brief, Defendants raise arguments that
        WL 3755218, at *13.                                                 Plaintiffs’ allegations are improper group pleading
 *14 To the extent Defendants claim they did not have a duty                as “Plaintiffs must allege with particularity
to “speculate” as to the SEC's actions (ECF No. 78 at 26–                   on a defendant-by-defendant and statement-by-
29), the Court finds this argument is misplaced as Plaintiffs’              statement basis that the challenged statements were
claim is better qualified as seeking recourse for the misleading            made with deliberate recklessness,” and “Plaintiffs
nature of the Regulatory Statements in concealing “that the                 cannot allege ‘corporate scienter.’ ” (Id. at 11–12)
Company had listed assets that its own internal process had                 (citing Winer Fam. Tr. v. Queen, 503 F.3d 319,
flagged as likely securities, and that the SEC had told it that             337 (3d Cir. 2007); In re Great Atl. & P. Tea Co.,



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        Inc. Sec. Litig., 103 F. App'x 465, 469 (3d Cir.             at *32 (D. NJ. Sept 30, 2011), aff'd, 484 F. App'x 742 (3d
        2004); In re Hertz Glob. Holdings, Inc. Secs. Litig.,        Cir. 2012)). “Demonstrating that a defendant had a motive,
        Civ. A. No. 13-7050, 2017 WL 1536223, at *23                 such as personal financial gain, to commit a securities fraud
        (D.N.J. Apr. 27, 2017), aff'd sub nom.,In re Hertz           violation is a ‘relevant consideration’ that ‘may weigh heavily
        Glob. Holdings, 905 F.3d 106 (3d Cir. 2018)). The            in favor of a scienter inference[.]’ ” Hertz Glob. Holdings,
        Court did not consider these arguments because               905 F.3d at 119 (quoting Tellabs, 551 U.S. at 325); see
        Defendants improperly raised them for the first              alsoRahman, 736 F.3d 237, 246 (3d Cir. 2013) (“Though it
        time in their reply brief. SeeSkretvedt v. E.I. DuPont       is not necessary to plead motive to establish that a defendant
        De Nemours, 372 F.3d 193, 202–03 (3d Cir. 2004)              acted with scienter, its presence can be persuasive when
        (“[A]n issue is waived unless a party raises it in           concluding a holistic review of the evidence.”). However,
        its opening brief, and for those purposes a passing          “motive and opportunity” do not “serve as an independent
        reference to an issue will not suffice to bring that         route to [establishing] scienter.” Avaya, 564 F.3d at 277.
        issue before this court.”); see alsoDana Transp.             “[A] plaintiff properly pleads scienter by alleging facts
        v. Ableco Fin., Civ. A. No. 04-2781, 2005 WL                 that ‘constitute circumstantial evidence of either reckless
        2000152, at *6 (D.N.J. Aug. 17, 2005) (holding that          or conscious behavior.’ ” Gold v. Ford Motor Co., 577 F.
        it is axiomatic in federal practice that arguments           App'x 120, 123 (3d Cir. 2014) (quoting Avaya, 564 F.3d at
        raised for the first time in a reply brief should            276–77). A plaintiff relying upon circumstantial evidence to
        be disregarded). Defendants’ arguments can be                support a strong inference of scienter “must sufficiently plead
        re-raised, if applicable, in a motion to dismiss             ‘defendants’ knowledge of facts or access to information
        Plaintiffs’ amended pleading.                                contradicting their public statements ... [i.e., that] defendants
                                                                     knew or, more importantly, should have known that they were
 *15 To satisfy the particularity requirement of the PSLRA,
                                                                     misrepresenting material facts related to the corporation.”
the plaintiff must plead “facts giving rise to a strong inference
                                                                     Roofer's Pension Fund, 2018 WL 3601229, at *18 (quoting
that the defendant acted with the required state of mind.”
15 U.S.C. § 78u-4(b)(2)(A). Scienter, “the intent to deceive,        In re Campbell Soup Co. Sec. Litig., 145 F. Supp. 2d 574, 599
manipulate, or defraud either knowingly or recklessly,” is the       (D.N.J. 2001)).
required state of mind. PAMCAH-UA Loc. 675 Pension Fund
v. BT Grp. PLC, No. 20-2106, 2021 WL 3415060, at *1 (3d
Cir. Aug. 5, 2021) (citations omitted); see alsoTellabs, 551            1. Plaintiffs Have Adequately Alleged Defendants
U.S. at 319 (noting scienter is “a mental state embracing intent       Made the Bankruptcy Risk Statements with Scienter
to deceive, manipulate, or defraud (quoting Ernst & Ernst v.
Hochfelder, 425 U.S. 185, 193 n.12 (1976)). “The inquiry ...         Plaintiffs have adequately set forth allegations that constitute
is whether all of the facts alleged, taken collectively, give rise   circumstantial evidence by alleging Defendants’ reckless and
to a strong inference of scienter, not whether any individual        conscious actions in making the Bankruptcy Risk Statements.
allegation, scrutinized in isolation, meets that standard.”Id. at    Plaintiffs allege the following: (i) Defendants submitted
323 (emphasis in original). To survive a motion to dismiss,          the SEC Comment Letter demonstrating Defendants’
plaintiffs must plead facts that allow “a reasonable person          understanding that the commingling of customers’ assets
[to] deem the inference of scienter cogent and at least as           could lead to adverse consequences in the event of a
compelling as any plausible opposing inference one could             bankruptcy (ECF No. 68 ¶¶ 13, 105–09); (ii) Defendants
draw from the facts alleged.” Id. at 324. “The inference ...         took affirmative steps to mitigate the potential bankruptcy
need not be irrefutable, i.e., of the smoking gun genre, or even     risks to institutional customers’ assets (id. ¶¶ 14–16, 112–
the most plausible of competing inferences.” Id.                     20); (iii) Armstrong eventually conceded that Defendants
                                                                     “should have updated our retail terms sooner” to provide
“In the Third Circuit, ‘[s]cienter may be established by             retail customers with “the same protections” as institutional
setting forth facts that constitute circumstantial evidence of       customers (id. ¶¶ 121, 232). Based on these allegations, the
either recklessness or conscious behavior and supported by           Court finds Plaintiffs have alleged reckless and/or conscious
evidence of motive and opportunity to commit fraud.’ ”               behavior that supports a strong inference of scienter as
Roofer's Pension Fund v. Papa, Civ. A. No. 16-2805, 2018             plaintiffs “have specifically alleged defendants’ knowledge
WL 3601229, at *16 (D.N.J. 2018) (quoting In re Anadigics,           of facts or access to information contradicting their public
Inc., Sec. Litig., Civ. A. No. 08-5572, 2011 WL 4594845,             statements.” Campbell Soup, 145 F. Supp. 2d at 699 (quoting



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Novak v. Kasaks, 216 F.3d 300, 308 (2d Cir. 2000)). Further,       nonetheless continues to make confident predictions about a
Plaintiffs have established a strong inference of scienter by      product, courts have inferred scienter and falsity.”).
alleging “defendants knew or, more importantly, should have
known that they were misrepresenting material facts related
to the corporation.” Id. (quoting Novak, 216 F.3d at 308).
                                                                        3. Plaintiffs’ Allegations that Defendants Were
                                                                    Financially Motivated to Artificially Inflate Coinbase's
 *16 Additionally, Plaintiffs’ allegations—that retail fees
                                                                    Stock Further Support a Strong Inference of Scienter
make up a substantial portion of Coinbase's revenue and
that Defendants acknowledged asset security was vital to           The Court also finds Plaintiffs’ allegations as to Armstrong's
their efforts in retaining retail clients—are further persuasive   financial motivations further support a finding that Plaintiffs
here. SeeAvaya, 564 F.3d at 268 (acknowledging that “since         have sufficiently alleged the Bankruptcy Risk and Regulatory
competition, pricing policies, and pricing concessions are         Statements were made with scienter. (See, e.g., ECF No.
‘core matters’ of central importance to [defendant] and its        68 ¶¶ 6, 81–82 (alleging Armstrong was highly motivated
principal executives, a ‘core operations inference’ supports       to complete a successful Direct Listing as doing so would
scienter”); see alsoIn re Allergan Generic Drug Pricing Sec.       entitle him to a compensation package valued at over $3.7
Litig., Civ. A. No. 16-9449, 2019 WL 3562134, at *12
                                                                   billion) 21 ; id. ¶¶ 81–84, 386 (noting Armstrong was also
(D.N.J. Aug. 6, 2019) (finding scienter was supported when
                                                                   entitled to “tranches” of stock options if the Company
challenged statements were on a subject that constituted a
“substantial portion” of the defendant's revenue); In re Cell      maintained stock prices following the Direct Listing). 22
Pathways, Inc., Sec. Litig., Civ. A. No. 99-725, 2000 WL           Additionally, stock sales that are “unusual in scope or
805221, at *7 (E.D. Pa. June 20, 2000) (finding “where the         timing ... may support an inference of scienter.” Advanta
alleged fraud relates to the core business of the company,         Corp., 180 F.3d at 540 (citing Burlington Coat Factory,
knowledge of the fraud may be imputed to the individual            114 F.3d at 1424; Shaw, 82 F.3d at 1224). Here, in
defendants” (citation omitted)).                                   the first two days that Coinbase's stock was listed, the
                                                                   Executive Defendants sold over 1.6 million shares netting
                                                                   gross proceeds over $600 million. (ECF No. 68 ¶ 125.) During
                                                                   the Class Period, the Executive Defendants sold over 2.8
       2. Plaintiffs Have Adequately Alleged the                   million shares of Coinbase netting gross proceeds of nearly
    Regulatory Statements Were Made with Scienter                  one billion dollars. (Id.)

Relevant to the Regulatory Statements, Plaintiffs allege:
                                                                   21
Coinbase co-founded the CRC (ECF No. 68 ¶¶ 179–81);                       Plaintiffs also allege Armstrong's base salary was
Defendants knew that Coinbase listed crypto assets which                  just $1 million (id. ¶ 84). Cf.In re Suprema
were likely securities (id. ¶¶ 25, 182–83, 379); Defendants               Specialties, Inc. Sec. Litig., 438 F.3d 256, 277
knowingly downplayed the likelihood that the SEC would                    (3d Cir. 2006) (noting that a factor relevant
bring an enforcement action (id. ¶¶ 178, 342, 345, 357);                  to inferring scienter is “whether the profits
the SEC told Defendants that “we think everything other                   were substantial relative to the seller's ordinary
than Bitcoin is a security” (id. ¶¶ 151, 378); Armstrong                  compensation” (citing Burlington Coat Factory,
conceded Defendants were aware of the SEC's position by                   114 F.3d at 1423)).
mid-2022 (id. ¶¶ 209, 378); despite Defendants knowledge           22
                                                                          SeeNo. 84 Emp.-Teamster Joint Council Pension
of “an imminent enforcement action,” they continued to
                                                                          Tr. Fund v. Am. W. Holding Corp., 320 F.3d
minimize the risks of a regulatory action (id. ¶¶ 209–215).
                                                                          920, 944 (9th Cir. 2003) (finding particularized
Accordingly, the Court also finds Plaintiffs have adequately
                                                                          allegations of scienter as executives were
alleged Defendants actions support a strong inference of
                                                                          “motivated to inflate [the company]’s financial
scienter as plaintiffs “have specifically alleged defendants’
                                                                          results and stock prices because their eligibility
knowledge of facts or access to information contradicting
                                                                          for stock options and executive bonuses were
their public statements.” Campbell Soup, 145 F. Supp. 2d at
                                                                          based principally on the company's financial
699; cf.Frater, 996 F. Supp. 2d at 350 (“When the FDA tells
                                                                          performance”).
a company about problems with a product, and the company




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 *17 Based on the foregoing, the Court finds Plaintiffs’            at *18 (citing EP Medsystems, 235 F.3d at 884 (“Whether the
additional evidence of scienter contributes to a finding of         plaintiff has proven [loss] causation is usually reserved for
scienter. While these individual allegations may not give rise      the trier of fact.”)); seeGross v. GFI Grp., Inc., 162 F. Supp.
to an inference of scienter on their own, “all of the facts         3d 263, 269 (S.D.N.Y. 2016) (“[Plaintiff]’s burden to plead
alleged, taken collectively, give rise to a strong inference of     loss causation is ‘not a heavy one,’ and when it is unclear
scienter.” Tellabs, Inc., 551 U.S. at 323 (emphasis in original).   whether the plaintiff's losses were caused by the fraud or some
Accordingly, the Court finds Plaintiffs have adequately             other intervening event, ‘the chain of causation is ... not to
alleged scienter. Defendants’ Motion to Dismiss Count I for         be decided on a Rule 12(b)(6) motion to dismiss.’ ” (quoting
failure to allege scienter is DENIED.                               Loreley Fin. (Jersey) No. 3 Ltd. v. Wells Fargo Sec., LLC, 797
                                                                    F.3d 160, 187 (2d Cir. 2015))).

                                                                    Here, Plaintiffs have sufficiently set forth a causal link
   3. Plaintiffs Have Properly Alleged Loss Causation
                                                                    between the Bankruptcy Risk Statements and their alleged
Defendants assert the SAC fails to allege loss causation            losses by alleging Coinbase's May 10, 2022 Form 10-Q
“because Plaintiffs do not allege any corrective disclosure         report, which belatedly disclosed the previously concealed
of a previously concealed truth that caused Coinbase's stock        asset safety risks posed by a bankruptcy, caused Coinbase's
price to decline.” (ECF No. 78-1 at 40 (citation and internal       stock price to drop more than 26%. 23 (ECF No. 68 ¶¶ 231,
quotation marks omitted); see also ECF No. 80 at 16.) In            233.) Similarly, Plaintiffs have plausibly alleged a causal link
opposition, Plaintiffs counter the SAC adequately alleges loss      between the Regulatory Statements and their alleged losses
causation. (ECF No. 79 at 41–44.)                                   by alleging multiple stock price drops were connected to the
                                                                    misleading nature of the Regulatory Statements. (See id. ¶¶
“Under the PSLRA, a plaintiff asserting a claim under Section       197, 200–01, 219, 238, 247–49, 253–55.)
10(b) bears the burden of proving ‘loss causation,’ i.e.,
‘that the act or omission of the defendant ... caused the           23     The Court is not persuaded by Defendants’
loss for which the plaintiff seeks to recover damages.’ ”
                                                                           argument that the risks to customers’ assets
Takata v. Riot Blockchain, Inc., Civ. A. No. 18-02293, 2020
                                                                           associated with a bankruptcy had “already been
WL 2079375, at *17 (D.N.J. Apr. 30, 2020) (quoting 15
                                                                           disclosed” prior to May 10, 2022. (ECF No. 78-1
U.S.C. § 78u-4(b)(4)). “Allegations of loss causation are
                                                                           at 40–41; see also ECF No. 80 at 16.) The Court
not subject to the heightened pleading requirements of Rule
                                                                           agrees with Plaintiff's framing of this issue and
9(b) and the PSLRA: all that is required is that plaintiff
                                                                           finds that dismissal is not warranted on this basis.
provide ‘some indication of the loss and the causal connection
                                                                           (See ECF No. 79 at 42 n.25 (quoting Roofer's
that the plaintiff has in mind,’ consistent with Rule 8(a).”
                                                                           Pension Fund, 2018 WL 3601229, at *9 (“[T]he
Dudley v. Haub, Civ. A. No. 11-05196, 2013 WL 1845519,
                                                                           truth on the market defense is intensely fact-
at *18 (D.N.J. Apr. 30, 2013) (quoting Dura Pharms., Inc.
                                                                           specific and is rarely an appropriate basis for
v. Broudo, 544 U.S. 336, 347 (2005)). The Third Circuit
                                                                           dismissing a § 10(b) complaint.”).
applies a “practical approach [to loss causation], in effect
applying general causation principles.” McCabe v. Ernst &            *18 Further, as Plaintiffs need only “provide some
Young, LLP, 494 F.3d 418, 426 (3d Cir. 2007) (quoting EP            indication of the loss and the causal connection,” Dura
Medsystems, Inc. v. EchoCath, Inc., 235 F.3d 865, 884 (3d Cir.      Pharms., 544 U.S. at 347, the Court finds Plaintiffs have
2000)). Thus, “to show that a misrepresentation or omission         sufficiently alleged a causal link by generally alleging
proximately caused an economic loss,” a plaintiff need only         the Bankruptcy Risk Statements and Regulatory Trading
to allege “the misrepresentation [or omission] touches upon         Statements artificially inflated prices and by specifically
the reasons for the investment's decline in value.” Id. at 428      alleging a causal link between the reveals of the concealed,
(quoting Huddleston v. Herman & MacLean, 640 F.2d 534,              material information and the Company's stock price drops.
549 (5th Cir. 1981), aff'd in part and rev'd in part on other       SeeJones v. Intelli-Check, 274 F. Supp. 2d 615, 635–36
grounds, 459 U.S. 375 (1983)).                                      (D.N.J. 2003) (holding plaintiffs adequately pled causation
                                                                    where plaintiffs relied on generalized allegations); see alsoEP
Importantly, “[t]he issue of loss causation is usually not          Medsystems, 235 F.3d at 885 (“Although ... the allegation that
resolved on a motion to dismiss.” Dudley, 2013 WL 1845519,          it ‘sustained substantial financial losses as a direct result of



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the aforementioned misrepresentations and omissions on the        and the Regulatory Statements. Accordingly, Defendants’
part of [defendant company]’ could have more specifically         Motion to Dismiss Count II of the SAC is DENIED.
connected the misrepresentation to the alleged loss, i.e.,
investment in a company with little prospects, when we draw       24
                                                                         As held above, supra Section III.A.1.i., the
all reasonable inferences in plaintiff's favor, we conclude              Bankruptcy Statements that touted customers’ trust
that [plaintiff] has adequately alleged loss causation.”); In            in the Company are not actionable misstatements
re iAnthus Cap. Holdings, Inc. Sec. Litig., Civ. A. No.                  as these assertions constitute puffery and opinion.
20-3135, 2022 WL 4539119, at *20 (S.D.N.Y. Sept. 28, 2022)
(finding allegations sufficiently pled loss causation because
                                                                     C. Defendants’ Motion to Dismiss Count III
the allegations were “more than simply pleading inflated
                                                                     (Violations of Section 11 of the Securities Act Against
prices,” instead the allegations “put defendants on notice of
                                                                     the Securities Act Defendants)
the loss to the class and the causal connection lead plaintiff
                                                                  Defendants assert Plaintiffs’ claims under Section 11 of the
has in mind”). Accordingly, Defendants’ Motion to Dismiss
                                                                  Securities Act should be dismissed for lack of standing
Count I of the SAC for failure to adequately allege loss
                                                                  because Plaintiffs have not adequately pled that they
causation is DENIED.
                                                                  purchased Coinbase shares traceable to the Company's
                                                                  Registration Statement. (ECF No. 78-1 at 43–45; ECF No.
To summarize the holdings from Section III.A., Defendants’
                                                                  80 at 16–17.) Additionally, Defendants argue Plaintiffs fail
Motion to Dismiss Count I is GRANTED IN PART
                                                                  to adequately plead the required elements of a Section 11
and DENIED IN PART. Defendants’ Motion to Dismiss
                                                                  claim. (ECF No. 78-1 at 46–47; ECF No. 80 at 17–18.) In
Count I, to the extent it is premised upon the Proprietary
                                                                  opposition, Plaintiffs argue they have adequately pled claims
Trading Statements and the Bankruptcy Statements that
                                                                  under Section 11 of the Securities Act because they have
tout customers’ trust in the Company, is GRANTED. The
                                                                  pled standing and the required elements. (ECF No. 79 at 44–
remaining portions of Defendants’ Motion to Dismiss Count
                                                                  47.) As to standing, Plaintiffs submit they have plausibly
I are DENIED.
                                                                  alleged that they purchased Coinbase stock traceable to the
                                                                  misleading Offering Materials. (Id. at 44–46.)
   B. Defendants’ Motion to Dismiss Count II of the
   SAC (Violations of Section 20(a) of the Exchange Act
   Against the Executive Defendants)
                                                                                   1. Section 11 Standing 25
Defendants assert Plaintiffs’ claims for control person
liability under Sections 20(a) of the Exchange Act should         25     The parties frame their arguments as related to the
be dismissed because Plaintiffs fail to plead an underlying
                                                                         issue of Plaintiffs’ “standing” under Section 11 and
violation of Section 10(b). (ECF No. 78-1 at 48; ECF No. 80
                                                                         Section 12 of the Securities Act, but the arguments
at 18.) To state a claim under Section 20(a) of the Exchange
                                                                         may be “more properly characterized as arguments
Act, the plaintiff must allege: “(1) an underlying violation by
                                                                         about the scope of the cause of action because
the company; and (2) circumstances establishing defendant's
                                                                         they do not, as standing does, go to this Court's
control over the company's actions.” Intelli-Check, Inc.,
                                                                         subject matter jurisdiction.” Lozada v. TaskUs, Inc.,
274 F. Supp. 2d at 645. Liability under Section 20(a) “is
                                                                         Civ. A. No. 22-1479, 2024 WL 68571, at *15 n.19
derivative of an underlying violation of Section 10(b) by
                                                                         (S.D.N.Y. Jan. 5, 2024) (citing Am. Psychiatric
the controlled person.” Rahman, 736 F.3d at 247 (quoting
                                                                         Ass'n v. Anthem Health Plans, Inc., 821 F.3d 352,
Avaya, 564 F.3d at 252). “Thus, for a controlling person
                                                                         359 (2d Cir. 2016)) (“[A] plaintiff must have a
to be liable, the person over whom control was exercised
                                                                         cause of action under the applicable statute. This
must have committed a primary violation of the securities
                                                                         was formerly called statutory standing.” (internal
laws.” In re Intelligroup Sec. Litig., 527 F. Supp. 2d 262, 280
                                                                         quotation marks omitted)). Notwithstanding, the
(D.N.J. 2007) (citations omitted). Here, the Court has held
                                                                         Court will utilize the same terminology the parties
that Plaintiffs have sufficiently pled underlying violations of
                                                                         used in their briefing.
Section 10(b) against the Executive Defendants in Count I of
                                                                   *19 Under Section 11 of the Securities Act, standing
the SAC premised upon the Bankruptcy Risk Statements 24
                                                                  is available to purchasers “who acquired securities issued
                                                                  ‘pursuant to’ or ‘traceable to’ the specific offering documents


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that are alleged to be false or misleading.” De Vito v. Liquid      (finding sufficient allegations where plaintiff merely alleged
Holdings Grp., Inc., Civ. A. No. 15-6969, 2018 WL 6891832,          it purchased subject assets that were “issued pursuant to or
at *15 (quoting Suprema Specialties, 438 F.3d at 274 n.7);          traceable to” the registration statement); Lozada, 2024 WL
see alsoSlack Techs., LLC v. Pirani, 598 U.S. 759, 770              68571, at *16 n.21 (same); In re EveryWare Glob., Inc.
(2023) (holding Section 11 requires “a plaintiff to plead and       Sec. Litig., 175 F. Supp. 3d 837, 866 (S.D. Ohio 2016),
prove that he purchased shares traceable to the allegedly           aff'd sub nom. on other grounds, IBEW Loc.No. 58 Annuity
defective registration statement”). 26 Notably, “[t]he pleading     Fund v. EveryWare Glob., Inc., 849 F.3d 325 (6th Cir. 2017)
requirement for Section 11 standing is satisfied by general         (finding Plaintiffs had standing where plaintiffs alleged they
allegations that plaintiff purchased pursuant to or traceable       purchased shares on the first day of the defendant company's
to [a] false registration statement.” Alta Partners, LLC v.         secondary offering at prices near the opening price, “and
Forge Glob. Holdings, Inc., Civ. A. No. 23-2647, 2024               that 1,7500,000 [sic] shares were sold in the [secondary
WL 1116682, at *7 (S.D.N.Y. Mar. 13, 2024) (quoting In              offering] in comparison to the pre-existing public float of
re Wachovia Equity Sec. Litig., 753 F. Supp. 2d 326, 373            2,023,000 shares”); see alsoIn re Salomon Analyst Level 3
(S.D.N.Y. 2011)); citing City of Omaha Police and Fire Ret.         Litig., 350 F. Supp. 2d 477, 496 (S.D.N.Y. 2004) (collecting
Sys. v. Evoqua Water Techs. Corp., 450 F. Supp. 3d 379,             cases stating the rule that “at least one named plaintiff must
403 (S.D.N.Y. 2020) (“[Plaintiff] alleges that it purchased         have standing to pursue each claim alleged” for a class
[defendant's] stock pursuant or traceable to the offerings....      action suit); but seeKrim v. pcOrder.com, Inc., 402 F.3d 489,
This is enough to confer standing at this stage to assert a         492 n.6, 494 (5th Cir. 2005) (disagreeing with appellants’
[Section] 11 claim.”).                                              argument that standing under Section 11 can be established
                                                                    “by proffering nothing more than statistics indicating a high
26                                                                  mathematical probability, based on the number of shares
        In Slack, the United States Supreme Court did
                                                                    purchased by each individual and the number of [public
        not specify what allegations would be adequate to
                                                                    offering] shares in the market, that at least some of their
        pleading standing. See id.
                                                                    shares were issued pursuant to the challenged registration
In the SAC, Plaintiffs allege they “acquired Coinbase               statement”). Accordingly, Defendants’ Motion to Dismiss
common stock pursuant and/or traceable to the Offering              Count III for lack of standing is DENIED.
Materials.” 27 (Id. ¶ 518.) Additional Plaintiffs 28 specifically
allege: they purchased Coinbase stock on April 14, 2021,
the first day of Coinbase's Direct Listing, at prices near the       2. Plaintiffs Have Sufficiently Alleged Section 11 Claims
opening price (id. ¶¶ 41–43); and 88% of shares outstanding
were registered pursuant to the Offering Materials when they         *20 Under Section 11 of the Securities Act, an individual
purchased the Company's stock (id.). Lead Plaintiff alleges it      that has acquired the relevant security may bring a private
purchased the Company's stock on November 30, 2021, when            action for damages “if [the] registration statement, as of
74% of the shares outstanding were registered pursuant to the       its effective date: (1) ‘contained an untrue statement of
Offering Materials. (Id. ¶ 40.)                                     material fact’; (2) ‘omitted to state a material fact required
                                                                    to be stated therein’; or (3) omitted to state a material fact
27                                                                  ‘necessary to make the statements therein not misleading.’
        To the extent this is an issue of standing, “the court
                                                                    ” Cal. Pub. Emps.’ Ret. Sys., 394 F.3d at 167 (quoting 15
        must accept as true all material allegations set forth
                                                                    U.S.C. § 77k(a)). “As the Supreme Court has explained,
        in plaintiffs’ complaint and must construe those
                                                                    Section 11 ‘was designed to assure compliance with the
        facts in favor of the plaintiffs.” Mariana v. Fisher,
                                                                    disclosure provisions of the Act by imposing a stringent
        338 F.3d 189, 205 (3d Cir. 2003) (citation omitted).
                                                                    standard of liability on the parties who play a direct role
28                                                                  in a registered offering.’ ” Suprema Specialties, 438 F.3d at
        SeeHevesi v. Citigroup Inc., 366 F.3d 70, 83 (2d
        Cir. 2004) (“[T]he PSLRA does not in any way                269 (quoting Herman & MacLean v. Huddleston, 459 U.S.
        prohibit the addition of named plaintiffs to aid the        375, 381–82 (1983) (footnote omitted)). Indeed, “Section 11
        lead plaintiff in representing a class.”).                  is a ‘virtually absolute liability provision[ ], which do[es]
                                                                    not require plaintiffs to allege that defendants possessed any
The Court finds Plaintiffs have plausibly alleged that they
                                                                    scienter.’ ” Id. (quoting In re Adams Golf, Inc. Sec. Litig., 381
purchased shares pursuant and/or traceable to the Offering
                                                                    F.3d 267, 274 n.7 (3d Cir. 2004)).
Materials. SeeAlta Partners, 2024 WL 1116682, at *7


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                                                                          to succinctly address this issue. Cf.United States v.
Defendants argue the Court should apply Rule 9(b)’s                       Hoffecker, 530 F.3d 137, 163 (3d Cir. 2008) (“A
heightened pleading standard because “a core theory of fraud              skeletal ‘argument,’ really nothing more than an
permeate[s] the entire” complaint. 29 (ECF No. 78-1 at 46                 assertion, does not preserve a claim. Especially not
(quoting Cal. Pub. Emps.’ Ret. Sys., 394 F.3d at 167).) The               when the brief presents a passel of other arguments,
Court disagrees. The Third Circuit's decision in Suprema                  as [defendant]’s did. Judges are not like pigs,
Specialties is instructive here. In SupremaSpecialties, the               hunting for truffles buried in briefs.” (alteration in
Third Circuit applied its prior decision in Cal. Pub. Emps.’              original) (quoting United States v. Dunkel, 927 F.2d
Ret. Sys and held that the district court erroneously found               955, 956 (7th Cir. 1991))).
plaintiffs’ Section 11 and Section 12(a)(2) claims were             *21 Plaintiffs correctly contend that “the conduct pled for
sounded in fraud. 438 F.3d at 269–74. The lead class               the Securities Act [C]laims is [ ] similar to the core theory
plaintiff in that case “described its suit as arising out of a     of fraud pled for the Exchange Act [C]laims.” (ECF No.
‘massive fraud’ at [the defendant company], stemming in            78-1 at 46 n.15 (citing ECF No. 68).) However, even where
particular from the allegedly material misrepresentations in       “a core theory of fraud permeates,” this aspect alone is not
the registration statements” that the defendant company filed      dispositive. SeeSuprema Specialties, 438 F.3d at 272–273.
in connection with a public offering. Id. at 270. Further, the     Instead, as noted above, “Securities Act claims do not sound
lead class plaintiff “prefaced its Section 11 and Section 12(a)    in fraud if ordinary negligence is expressly pled in connection
(2) count with an explicit disclaimer—‘[t]his claim is not         with those claims.” Id. at 272. In this matter, Plaintiffs do
based on and does not sound in fraud’—prior to setting for         not provide extensive ordinary negligence allegations, but
the factual allegations that support each claim for relief.” Id.   they do expressly plead ordinary negligence by alleging
at 271 (alteration in original). The Third Circuit distinguished   the Securities Act Defendants did not exercise reasonable
Cal. Pub. Emps.’ Ret. Sys. and Shapiro, and held:                  care. (See ECF No. 68 ¶ 440 (“The Securities Act Claims
                                                                   against the Securities Act Defendants are also premised upon
  We now hold that where, as here, individual defendants
                                                                   the Securities Act Defendants’ negligent failure to conduct
  are accused in separate claims of the same complaint of
                                                                   a reasonable due diligence investigation into the accuracy
  having violated Section 11, Section 12(a)(2), and Section
                                                                   and completeness of the representations contained in the
  10(b), the Securities Act claims do not sound in fraud if
                                                                   Offering Materials. Had the Securities Act Defendants not
  ordinary negligence is expressly pled in connection with
                                                                   acted negligently, and had they conducted reasonable due
  those claims. In such a case, the fraud allegations cannot
                                                                   diligence investigations before the Direct Listing, they would
  be said to “contaminate” the Section 11 and Section 12(a)
                                                                   have uncovered that the Offering Materials contained untrue
  (2) claims if the allegations are pled separately. We applied
                                                                   statements of fact and omitted material facts.”).)
  Rule 9(b) to the Section 11 and Section 12(a)(2) claims
  in Shapiro because “plaintiffs did not allege ordinary
                                                                   Further, just like the lead class plaintiffs in Suprema
  negligence” and we could “see no way to construct a
                                                                   Specialties, Plaintiffs expressly pled negligence in the
  negligence cause of action.” Shapiro, 964 F.2d at 288. Here,
                                                                   opening paragraphs of the Securities Act Claims. (See
  ordinary negligence is alleged in the Section 11 and Section
                                                                   ECF No. 68 ¶ 437 (“Plaintiffs assert strict liability and
  12(a)(2) claims, and those claims are pled separately from
                                                                   negligence claims.”); id. ¶ 441 (noting the claims in Counts
  the Section 10(b) fraud claims against the same defendants.
                                                                   III–V “do not sound in fraud, and Plaintiffs expressly
  That is enough to avoid triggering Rule 9(b). A contrary
                                                                   disclaim any allegations of fraud or intentional misconduct
  result would effectively preclude plaintiffs from filing suit
                                                                   in connection with these non-fraud claims”).) Additionally,
  under Section 11 and Section 12(a)(2) as well as Section
                                                                   Plaintiffs clearly separated their claims under the Exchange
  10(b)(5). There is no suggestion that Congress intended
                                                                   Act and the Securities Act, and did not incorporate allegations
  such an incongruous approach.
                                                                   from the Exchange Act Claims into the Securities Act Claims.
Id. at 272–73.                                                     (See generally id.) Although this may represent “artful”
                                                                   pleading, seeSuprema Specialties, 438 F.3d at 273, the Court
29                                                                 finds the disclaimers and the structure of the SAC along
       The parties submitted limited arguments on this             with the express allegation(s) of ordinary negligence support
       issue. (See ECF No. 78-1 at 46; ECF No. 79 at 47;           a finding that the SAC's pleading of the Securities claim
       ECF No. 79 at 17.) Therefore, the Court attempts            does not trigger the heightened pleading standard. SeeIn re


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Cendant Corp. Litig., 60 F. Supp. 2d 354, 364 (D.N.J. 1999)                exchange adequately support the Securities Act
(“Unlike the complaint in Shapiro, this complaint does not                 Claims under the liberal pleading standard of Rule
incorporate allegations of scienter and fraud into the § 11                8. Therefore, the Court does not address this theory
claim. Rather, here the § 11 claim is [pled] before any of the             of recovery here.
other claims. Although the plaintiffs have [pled] that certain
defendants acted fraudulently in violation of § 10(b), the § 11       D. Defendants’ Motion to Dismiss Count IV
claim is limited to negligence.”).                                    (Violations of Section 12(a)(2) of the Securities Act
                                                                      Against the Securities Act Defendants)
The Court, therefore, applies the liberal notice requirements       *22 Defendants contend Count IV should be dismissed as
of Federal Rule of Civil Procedure 8 to Plaintiffs’ Securities     Plaintiffs fail to properly plead standing. (ECF No. 78-1 at
Act Claims. SeeSuprema Specialties, 438 F.3d at 270 (“Where        45–46.) Defendants submit: (i) the tracing requirement for
a plaintiff's Section 11 or Section 12(a)(2) claims are not        Section 11 claims also applies to Section 12; (ii) because
grounded in allegations of fraud, the liberal notice pleading      Plaintiffs cannot satisfy the tracing requirement, i.e., that they
requirements of Rule 8 apply.” (citing Adams Golf, 381 F.3d        purchased registered shares, they cannot establish standing
at 273 n.5).) Rule 8 requires “a short and plain statement of      as “there is no obligation to distribute a prospectus for
the claim showing that the pleader is entitled to relief.” Fed.    transactions in unregistered shares,” (id. at 45); and (iii) “as an
R. Civ. P. 8(a)(2). Applying this liberal pleading standard, the   aftermarket purchaser, Lead Plaintiff lacks standing because
Court finds Plaintiffs have sufficiently alleged claims under      it did not purchase registered shares from a person who sold
Section 11. 30 (See ECF No. 68 ¶¶ 452–91.) Accordingly,            ‘by means of’ the prospectus” (id.) (quoting 15 U.S.C. §
Defendants’ Motion to Dismiss Count III is DENIED.                 771(a)(2)). (ECF No. 78-1 at 45–46; see also ECF No. 80
                                                                   at 17.) Alternatively, Defendants argue Plaintiffs have not
30                                                                 sufficiently pled a Section 12 claim. (ECF No. 78-1 at 47–
       The parties relied in large part upon their arguments
                                                                   48; ECF No. 80 at 18.) Defendants assert: (i) Plaintiffs’
       detailed above, supra Section III.A; therefore, the
                                                                   Section 12 claim is based on the same, inadequately alleged
       Court does not make lengthy findings here. (ECF
                                                                   misstatements as their Section 11 claim; (ii) “Plaintiffs fail
       No. 78-1 at 46 (“Plaintiffs’ allegations fail to
                                                                   to allege that either Coinbase or any of the Securities Act
       show that Defendants made any material false
                                                                   Defendants are ‘statutory sellers.’ ” (Id.) (quoting Pinter v.
       statements, see supra Section I.A., and therefore
                                                                   Dahl, 486 U.S. 622 (1988)).
       should be dismissed for the same reasons as
       the Exchange Act [C]laims.” (citations omitted));
                                                                   In opposition, Plaintiffs submit they have adequately pled
       ECF No. 79 at 47 (“[F]or the reasons set forth
                                                                   Section 12 standing. (ECF No. 79 at 46–47.) Specifically,
       in Sections I.A.1–3 supra, the Complaint pleads
                                                                   Plaintiffs assert “Defendants erroneously claim that Section
       that Defendants made material statements under
                                                                   12 applies only to registered shares.... Section 12(a)(2)
       either standard.”); ECF No. 80 at 18 (“[U]nder
                                                                   extends to any share offered or sold by means of a misleading
       either Rule 8 or 9(b), Plaintiffs fail to plead
                                                                   prospectus, regardless of whether the share is registered.” (Id.
       falsity. Supra Section I.A.”).) Even if the Court
                                                                   at 46 (citations omitted).) Plaintiffs further argue the SAC
       applied Rule 9(b)’s heightened pleading standard,
                                                                   sufficiently alleges the required elements of a Section 12
       Plaintiffs’ claims premised upon the Securities
                                                                   claim. (Id. at 48.)
       Act Defendants’ omission of risks associated with
       Coinbase's ability to safeguard its customers’
       crypto assets would survive. See supra Section
       III.A.1.i. As to the Proprietary Trading Statements,                          1. Section 12 Standing 31
       the Court held Plaintiffs’ relevant allegations
       did not satisfy the heightened pleading standard            31      As Count IV is raised by Additional Plaintiffs,
       applicable for Section 10(b) claims under the                       the Court limits its analysis to whether Additional
       Exchange. See supra Section III.A.1.ii. However,                    Plaintiffs have standing. (ECF No. 68 ¶ 523.)
       the parties did not address whether Plaintiffs’
                                                                   “Section 12(a)(2) claims concern the purchase of securities
       allegations that the Offering Materials omitted
                                                                   pursuant to a materially false or misleading prospectus or oral
       material facts as to Coinbase's involvement in
                                                                   communication.” Suprema Specialties, 438 F.3d at 276 n.7.
       proprietary trading of cryptocurrency on its own


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Section 12 liability “cannot attach unless there is an obligation
to distribute the prospectus in the first place (or unless there is   32      The Securities Act's definition of “person” includes
an exemption).” Gustafson v. Alloyd Co., Inc., 513 U.S. 561,                  “a corporation.” 15 U.S.C. § 77b(a)(2).
571 (1995).
                                                                       *23 Here, Additional Plaintiffs provide the following
The Court is not persuaded by Defendants’ argument that               allegations: Jones and the Director Defendants “participated
Section 12 applies only to registered shares. (See ECF No. 79         in the review, approval, and making of the statements
at 46 (citing Thomas Lee Hazen, Federal Securities Law §              in the Offering Materials,” (ECF No. 68 ¶¶ 428–34);
III.E.2.a n.308 (4th ed.) (“Although not expressly contained          Armstrong, Haas, Jones, and the Director Defendants signed
in the statute, the Supreme Court has ‘read’ a public offering        the Registration Statement (ECF No. 68 ¶¶ 428–34, 445);
limitation into actions under § 12(a)(2).Gustafson v. Alloyd          Armstrong, Haas, Jones, Andreessen, Ehrsam, Haun, and
Co., 513 U.S. 561 (1995). Although the Court has thus limited         Wilson sold a substantial amounts of shares (id. ¶¶ 428–
§ 12(a)(2) to public offerings, it is not limited to registered       31, 434, 451); Armstrong, Haas, Jones, and the Director
offerings.”); In re Gap Stores Sec. Litig., 79 F.R.D. 283, 306        Defendants were financially motivated (id. ¶¶ 74, 81, 428–
(N.D. Cal. 1978) (holding Section 12(a)(2) “applies to the sale       31, 434, 451); “[t]he Securities Act Defendants were sellers,
of all securities, registered and unregistered”)).)                   offerors, and/or solicitors of purchasers of the Company's
                                                                      common stock offered pursuant to the Direct Listing. The
Based on the reasoning detailed above, supra Section III.C.1.,        Offering Materials were used to induce investors, such as
the Court finds Additional Plaintiffs have sufficiently alleged       [Additional Plaintiffs] ... to purchase in Coinbase's common
standing under Section 12(a)(2) by alleging they purchased            stock in the Direct Listing,” (id. ¶ 524); “[t]he Securities Act
Coinbase shares pursuant and/or traceable to the Prospectus           Defendants’ acts of solicitation included participating in the
(see ECF No. 68 ¶¶ 41, 42). Cf.Suprema Specialties, 438               preparation of the false and misleading Offering Materials.
F.3d at 276 n.7 (accepting “as true plaintiffs’ allegations           Thus, the Securities Act Defendants solicited [Additional
that they made their stock purchases in or traceable to the           Plaintiffs] ... to buy Coinbase common stock,” (id. ¶ 525).
[defendant company's] public offerings” for a Section 12(a)
(2) claim where there was an issue of whether plaintiffs’ stock       Applying the liberal pleading standard under Rule 8,
purchases came from the secondary market). Accordingly,               supra Section III.C.2., the Court finds Additional Plaintiffs
Defendants’ Motion to Dismiss Count IV for lack of standing           have adequately alleged the Securities Act Defendants
is DENIED.                                                            constitute sellers under Section 12(a)(2) of the Securities
                                                                      Act. SeeWestinghouse, 90 F.3d at 717 (“Taken in the light
                                                                      most favorable to plaintiffs, however, the complaint does
                                                                      allege that the [company] defendants ‘solicited plaintiffs’
               2. Additional Plaintiffs Have                          to purchase [the company's] securities and that in so doing
          Sufficiently Alleged a Section 12 Claim                     they were motivated by a desire to serve their own financial
                                                                      interests. Contrary to the district court's statement, these
Section 12(a)(2) establishes civil liability for any person 32        are factual allegations—allegations plaintiffs will have to
who “offers or sells” a security “by means of a prospectus            prove—and not bare legal conclusions.”); Craftmatic Sec.
or oral communication, which includes an untrue statement             Litig. v. Kraftsow, 890 F.2d 628, 637 (3d Cir. 1989) (“It
of material fact or omits to state a material fact necessary in       cannot be said at this juncture that plaintiffs can prove no
order to make the statements, in light of the circumstances           set of facts that would entitle them to relief.” (citations
under which they were made, not misleading.” 15 U.S.C. §              omitted)); “In re Measurement Specialties, Inc., Civ. A.
77l(a)(2). A plaintiff must adequately allege a defendant is a        No. 02-1071, 2003 WL 27398420, at *12 (D.N.J. Sept. 29,
“seller.” SeeIn re Westinghouse Sec. Litig., 90 F.3d 696, 716         2003) (finding the complaint sufficiently alleged defendants
(3d Cir. 1996). The Third Circuit has held that a seller, under       were sellers where “an inference can be drawn from the
Section 12(a)(2), “may be one who passes title to the buyer           totality of the circumstances alleged in the complaint,”
for value (a direct seller) or one ‘who successfully solicits the     even though the complaint did not “expressly allege that
purchase, motivated at least in part by a desire to serve his         defendants solicited plaintiff to purchase stock,” and did not
own financial interests or those of the securities owner’ (a          “include a specific allegation that defendants ‘directly and
solicitor seller).” Id. (quoting Pinter v. Dahl, 486 U.S. 622,        actively participated in the solicitation of the immediate sale,’
643 (1988)).                                                          ” (quoting Westinghouse, 90 F.3d at 717 n.19)).


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                                                                        *24 For the reasons set forth above, Defendants’ Motion
                                                                       to Dismiss (ECF No. 78) is GRANTED IN PART and
Accordingly, Defendants’ Motion to Dismiss Count IV is
                                                                       DENIED IN PART. Defendants’ Motion to Dismiss Count I
DENIED.
                                                                       of the SAC, to the extent it is premised upon the Proprietary
                                                                       Trading Statements and the Bankruptcy Statements that
   E. Defendants’ Motion to Dismiss Count V (Violations                tout customers’ trust in the Company, is GRANTED. The
   of Section 15 of the Securities Act Against Armstrong,              remaining portions of Defendants’ Motion to Dismiss are
   Haas, Jones, and the Director Defendants)                           DENIED. Plaintiffs may, within thirty (30) days of the date
Defendants assert Plaintiffs’ claims for control person                of this Opinion, file a third amended consolidated class
liability under Section 15 of the Securities Act should be             action complaint curing the deficiencies addressed herein. 33
dismissed because Plaintiffs fail to plead an underlying               Defendants may respond to the third amended consolidated
violation under Section 11 of the Securities Act. (ECF No.             class action complaint, if filed, as appropriate and consistent
78-1 at 48; ECF No. 80 at 18.) To state a claim under                  with applicable federal and local rules. An appropriate Order
Section 15 of the Securities Act, “the plaintiff must allege           follows.
(1) a primary violation of the federal securities laws by a
controlled person or entity; (2) control of the primary violator       33      Plaintiffs request leave to amend. (ECF No. 79 at
by the defendant; and (3) that the controlling person was in
                                                                               48.) Federal Rule of Civil Procedure 15(a) allows
some meaningful way a culpable participant in the primary
                                                                               a party to amend its pleadings after obtaining the
violation.” Carmack v. Amaya Inc., 258 F. Supp. 3d 454, 466
                                                                               Court's leave or the written consent of its adversary.
(D.N.J. 2017) (quoting Dutton v. Harris Stratex Networks,
                                                                               Under this liberal rule, the Court must “freely
Inc., 370 F.R.D. 171, 178 (D. Del. 2010)).
                                                                               give leave when justice so requires.” Fed. R. Civ.
                                                                               P. 15(a)(2). This lenient standard ensures that “a
The Court has held Plaintiffs sufficiently pled underlying
                                                                               particular claim will be decided on the merits
violations of Section 11 and Section 12(a)(2) against
                                                                               rather than on technicalities.”Dole v. Arco Chem.
Armstrong, Haas, Jones, and the Director Defendants.
                                                                               Co., 921 F.2d 484, 487 (3d Cir. 1990) (citation
Accordingly, Defendants’ Motion to Dismiss Count V of the
                                                                               omitted). Given that this is the first motion to
SAC is DENIED. SeeIn re Schering-Plough Corp./Enhance
                                                                               dismiss the Court has addressed, the Court will
Sec. Litig., Civ. A. No. 08-397, 2009 WL 2855457, at *7
                                                                               permit Plaintiffs leave to file a third amended
(D.N.J. Sept. 2, 2009) (denying motion to dismiss Section 15
                                                                               consolidated class action complaint.
claim because the complaint adequately alleged the individual
defendant “committed primary violations of Sections 11 and
                                                                       All Citations
12(a)(2) of the Securities Act”).
                                                                       Slip Copy, 2024 WL 4053009, Fed. Sec. L. Rep. P 101,922
IV. CONCLUSION

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                                                                     Statements Attributed to Defendants” (“Motion to Exclude
                                                                     Plaintiffs' Experts' Opinions as to Truth or Falsity”) [Doc.
      KeyCite Yellow Flag - Negative Treatment                       No. 151]; Defendants' “Motion to Exclude Opinions of
Distinguished by In re Valeant Pharmaceuticals International, Inc.
                                                                     Plaintiffs' Expert, Dr. Marion Kainer” (“Motion to Exclude
Securities Litigation, D.N.J., May 22, 2023
                                                                     Kainer”) [Doc. Nos. 152 and 163]; Defendants' “Motion
                    2005 WL 8155579                                  to Exclude Opinions of Plaintiffs' Experts Dr. Doppelt and
      Only the Westlaw citation is currently available.              Dr. Eastlund” (“Motion to Exclude Doppelt and Eastlund”)
               United States District Court,                         [Doc. No. 153]; Plaintiffs' “Motion to Exclude Opinions of
              N.D. Georgia, Atlanta Division.                        Defendants' Expert Lance D. Trainor, M.D.” (“Motion to
                                                                     Exclude Trainor”) [Doc. Nos. 181 and 182]; Defendants'
   IN RE CRYOLIFE, INC. SECURITIES LITIGATION                        “Motion to Exclude Opinions of Plaintiffs' Expert Candace
                                                                     L. Preston” (“Motion to Exclude Preston”) [Doc. No. 184];
       CIVIL ACTION FILE NO. 1:02-CV-1868-BBM                        and Plaintiffs' “Motion to Exclude Opinions of Defendants'
                          |                                          Expert, James L. Benson” (“Motion to Exclude Benson”)
                  Signed 06/17/2005                                  [Doc. No. 230].

                                                                     1      Apparentlydueto issues arising out of filing the
                            ORDER                                           documents under seal, Plaintiffs' Motion to Compel
                                                                            Documents from Experts appears twice on the
BEVERLY B. MARTIN, UNITED STATES DISTRICT
                                                                            court's docket. The same is true of Defendants'
JUDGE
                                                                            “Motionto Exclude Expert Opinions of Plaintiffs'
 *1 This securities fraud action is currently before the                    Expert, Dr. Marion Kainer” [Doc. Nos. 153
court on a bevy of motions filed by the parties. Both                       and 163] and Plaintiffs' “Motion to Exclude
the consolidated class action plaintiffs (“Plaintiffs”) and                 Opinions of Defendants' Expert Lance D. Trainor,
defendants CryoLife, Inc. (“CryoLife”), Steven G. Anderson                  M.D.” [Doc. Nos. 181 and 182].
(“Anderson”), D. Ashley Lee (“Lee”), James C. Vander                 Finally, the court is presented with several administrative
Wyk (“Vander Wyk”), and Albert E. Heacox (“Heacox”)                  motions, including Defendants' “Motion to Amend the
(collectively, “Defendants”) have moved for summary                  Scheduling Order Pending Resolution of Defendants'
judgment. In addition to Defendants' Motion for Summary              Motions to Exclude Plaintiffs' Experts' Opinions [and]
Judgment [Doc. No. 194] and Plaintiffs' Motion for Partial           Request for Scheduling Conference” (“Motion to Amend
Summary Judgment [Doc. No. 197], the court is presented
                                                                     the Scheduling Order”) [Doc. No. 149]; 2 the parties'
with eighteen other motions that purport to address a variety
                                                                     “Joint Motion to Extend Page Limits for Summary
of matters.
                                                                     Judgment Briefing” [Doc. No. 172]; 3 Defendants' Motion
Specifically, Plaintiffs have filed two discovery motions,           for “Oral Argument on Their Motion for Summary
including a “Motion for Leave to Subpoena Documents                  Judgment” (“Motion for Oral Argument”) [Doc. No. 195]; 4
and Testimony From a Non-Party Law Firm and Motion to                Defendants' “Motion to File Under Seal [Volume 4 of
Compel Documents from Defendants All Relating To An                  Their Exhibits In Support of Their Motion for Summary
Advice of Counsel Defense” (“Advice of Counsel Motion                Judgment]” [Doc. No. 196]; 5 Plaintiffs' “Motion for Leave
to Compel”) [Doc. No. 135] and a “Motion to Compel                   to File Supplemental Brief to Address Intervening Supreme
Documents From Defendants' Experts Dr. Nolte and Dr.
                                                                     Court Authority” [Doc. No. 231]; 6 and Plaintiffs' “Motion
Trainor” (“Motion to Compel Documents from Experts”)
                                                                     for Leave to File Supplemental Brief to Address Intervening
[Doc. Nos. 165 and 168]. 1 The parties have also filed several
                                                                     Eleventh Circuit Authority” [Doc. No. 232]. 7
motions pertaining to the admissibility of expert witness
testimony, including Defendants' “Motion for an Evidentiary
                                                                     2
Daubert Hearing” (“Motion for Daubert Hearing”) [Doc.                       Defendants' Motion to Amend the Scheduling
No. 150]; Defendants' “Motion to Exclude Plaintiffs' Experts'               Order is DENIED AS MOOT, because Defendants
Opinions as to the Truth or Falsity of Certain Public                       filed their Motion for Summary Judgment on
                                                                            March 11, 2005 in compliance with the court's


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       Scheduling Order of October 14, 2004 (the                   Officer; Vander Wyk was CryoLife's Vice President of
       “October 14 Scheduling Order”). However, the                Regulatory Affairs and Quality Assurance; and Heacox was
       court would be remiss if it did not note that its           CyroLife's Senior Vice President for Laboratory Operations.
       October 14 Scheduling Order expressly stated that
       the deadlines therein were “set in stone, and shall         CryoLife processes, “cryopreserves,” and distributes viable
       not be extended.” Order of October 14, 2004 at              human soft tissue for use in cardiovascular, vascular,
       3. Even given some of the remarkably improper               and orthopedic surgical transplants. CryoLife's stock is
       arguments made by both parties throughout this              publicly traded on the New York Stock Exchange. Plaintiffs
       litigation (see infra), the court will not accept           allege that Defendants intentionally, or at least with
       that its October 14 Scheduling Orderwas somehow             severe recklessness, deceived investors by concealing and
       unclear in this regard. Defendants' insistence on           misrepresenting various facts about CryoLife's operations.
       filing their Motion to Amend the Scheduling Order,          The specific misrepresentations alleged by Plaintiffs are
       however well-intentioned, is illustrative of both           discussed infra. Generally, Plaintiffs allege that Defendants
       parties' ongoing disregard of this court's obligation       misled investors throughout 2001 and 2002 by concealing
       to manage the litigation before it. It is the court's       the truth about CryoLife's unsafe tissue processing practices;
       view that if the court's deadlines and rules had            regulatory violations; lack of cooperation with Food and Drug
       been more closely followed by the parties, this case        Administration (“FDA”) and Centers for Disease Control and
       (one out of 195 civil cases) would not be solely            Prevention (“CDC”) investigations; and contaminated tissue
       responsible for over 10% of the court's current             inventory.
       pending civil motions list.
                                                                   The FDA and CDC focused attention on CryoLife in
3      The parties' Joint Motion to Extend Page Limits for         the aftermath of the death of Brian Lykins (“Lykins”) in
       Summary Judgment Briefing is GRANTED.                       November 2001. Lykins was a twenty-three year old male
4                                                                  who underwent elective knee surgery wherein he received
       Defendants' Motion for Oral Argument is
                                                                   human soft tissue provided by CryoLife. As it happened, two
       DENIED. As a general matter, motions are
                                                                   other patients died from knee surgery in nearby hospitals
       “decided by the court without oral hearing.” L.R.
                                                                   at around the same time, and accordingly Lykins' death
       7.1(E), N.D. Ga. Additionally, given the mass of
                                                                   was widely publicized. Investigation ultimately revealed
       filings in this case and the thousands of pages of
                                                                   that Lykins died from a clostridium infection arising out
       documents in the record, the court finds it difficult
                                                                   of his knee surgery. The court takes judicial notice that
       to imagine that the parties have anything else
                                                                   “[c]lostridium is a genus of bacteria ... made up of obligate
       relevant to say.
                                                                   anaerobic or microaerophilic, gram positive, spore-forming,
5                                                                  rod-shaped bacilli, with spores of greater diameter than the
       Defendants' Motion to File Under Seal is
       GRANTED.                                                    vegetative cells.” W.B. Saunders, Clostridium (Dictionary),
                                                                   Merck Source (2002), at http://www.mercksource.com.
6      Plaintiffs' Motion for Leave to File Supplemental           Cultures were subsequently obtained from the CyroLife
       Brief to Address Intervening Supreme Court                  donor who had supplied Lykins' knee tissue (the “Lykins
       Authority is GRANTED.                                       donor”), and those cultures tested positive for clostridium.
7                                                                  Another recipient of tissue from the Lykins donor developed
       Plaintiffs' Motion for Leave to File Supplemental
                                                                   septic arthritis and a high fever in mid-November 2001,
       Brief to Address Intervening Eleventh Circuit
                                                                   symptoms which the parties do not appear to dispute are
       Authority is GRANTED.
                                                                   consistent with a clostridium infection. Many of the alleged
                                                                   misstatements and omissions that are the subject of this
I. Factual and Procedural Background                               lawsuit, discussed in greater detail infra, arise out of the
 *2 This is a class action lawsuit against CryoLife and its four   aftermath of Lykins' death and the reactions thereto by
principal officers (Anderson, Lee, Vander Wyk, and Heacox)         CryoLife, the FDA, and the CDC.
for alleged violations of the Securities Exchange Act of
1934 (“Exchange Act”). At all times pertinent, Anderson was        As the court has discussed in earlier Orders, the first
CryoLife's President, Chief Executive Officer, and Chairman;       complaint in this action was filed almost three years ago,
Lee was CryoLife's Vice President and Chief Financial


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on July 3, 2002. The Amended Consolidated Class Action                       filed on March 11, 2005. See Pls.' Mot. for Partial
Complaint (“Complaint”) was filed on January 15, 2003.                       Summ. J. at 35 (“Respectfully submitted this 11th
Discovery commenced on July 16, 2003, almost two years                       day of March 2005.”). Nevertheless, the Clerk
ago. Fact discovery was initially set to expire on June 16,                  of the Court's file stamp reflects that Plaintiffs'
2004, but it was subsequently extended to August 28, 2004                    Motion was filed with the court on March 14, 2005,
by consent of the parties, in spite of the court's belief                    and the court's docket reflects the same. Although
that “discovery could have been concluded much more                          the Federal Rules of Civil Procedure do provide
expeditiously than the schedule proposed by the parties.”                    a three-day time extension for a party who “is
Order of April 13, 2004 at 6. Fact discovery ultimately closed               required to do some act or take some proceedings
on August 28, 2004. The court extended expert discovery                      within a prescribed period” after the party is
through February 9, 2005 and instructed the parties to file                  served by the opposing party, that extension is not
their summary judgment motions on or before March 11,                        applicable here because Plaintiffs were not taking
2005. Order of October 14, 2004 at 2. In its October 14                      action “after the service of [any] notice or other
Scheduling Order, the court stated that “[t]hese deadlines are               paper [by the opposing party] ... under Rule 5(b)(2)
set in stone, and shall not be extended.” Id. at 3 (emphasis                 (B), (C), or (D).” Fed. R. Civ. P. 6(e). Accordingly,
added).                                                                      Plaintiffs' Motion for Partial Summary Judgment
                                                                             was to be filed with the court on or before March
 *3 Defendants filed their Motion for Summary Judgment                       11, 2005, and the court finds that it was not so filed.
on March 11, 2005. Generally speaking, Defendants argue                      See Order of October 14, 2004 at 2.
that (1) Plaintiffs are unable to point to any admissible             In addition to their summary judgment motions, the parties
record evidence showing that the Defendants' alleged                  have filed several motions pertaining to their proffered expert
misrepresentations were in fact false; (2) even if there are          witnesses. Defendants ask the court to exclude the opinions
genuine issues of material fact as to the falsity of Defendants'      of Dr. Marion Kainer (“Kainer”), Dr. Samuel H. Doppelt
statements or omissions, Plaintiffs are unable to point to any        (“Doppelt”), and Dr. D. Ted Eastlund (“Eastlund”), as well as
admissible record evidence showing that Defendants made               the opinions of Plaintiffs' damages expert, Candace L. Preston
those statements or omissions with the requisite state of mind        (“Preston”), under Federal Rule of Evidence 702 (“Rule 702”)
or scienter; and (3) even if Plaintiffs can establish genuine         and Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579
issues of material fact as to falsity and scienter, Plaintiffs        (1993). Defendants have also filed a separate motion wherein
cannot point to any admissible record evidence showing                they ask the court to exclude testimony from Kainer, Doppelt,
that Defendants' statements or omissions proximately caused           and Eastlund as to the truth or falsity of various statements
investors any loss. Plaintiffs, of course, argue that there are       allegedly made by Defendants. Defendants seek a Daubert
genuine issues of material fact on the issues of falsity, scienter,   hearing on their various motions to exclude Plaintiffs' experts.
and causation.                                                        Plaintiffs, meanwhile, seek to exclude the opinions of Dr.
                                                                      Lance D. Trainor (“Trainor”) and the opinions of Defendants'
Meanwhile, Plaintiffs filed their Motion for Partial Summary          regulatory expert, James S. Benson (“Benson”).
Judgment on March 14, 2005. 8 Plaintiffs argue that as a
matter of law, the record evidence establishes that Defendants,       Finally, Plaintiffs have filed two discovery motions. In
with the requisite scienter, made several materially false            Plaintiffs' first discovery motion, filed October 18, 2004,
statements upon which investors relied and which caused               Plaintiffs ask the court for leave to subpoena documents
investors loss. Notably, the great majority of the alleged            and testimony from the law firm Arnall Golden Gregory
misstatements on which Plaintiffs seek summary judgment               regarding advice given to CryoLife concerning the FDA's
are not addressed by Defendants' Motion for Summary                   legal authority to regulate CryoLife's tissue processing
Judgment. According to Defendants, this is because Plaintiffs'        activities. In the same motion, Plaintiffs ask the court to
Motion for Partial Summary Judgment improperly seeks                  compel Defendants to produce documents that Plaintiffs
summary judgment on various alleged misstatements that                claim Defendants are improperly withholding on the basis
Plaintiffs did not plead in the Complaint.                            of attorney-client privilege. Plaintiffs' second discovery
                                                                      motion, filed February 24, 2005, asks the court to compel
8                                                                     Defendants' experts Trainor and Dr. Frederick S. Nolte
        The court acknowledges that Plaintiffs' Motion for
        Partial Summary Judgment purports to have been


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(“Nolte”) to produce documents that Plaintiffs allege have                    applied the principles and methods
been improperly withheld.                                                     reliably to the facts of the case.


II. Applicable Legal Standards
                                                                 Fed. R. Evid. 702. Under Daubert and its progeny, the
   A. Summary Judgment                                           court must “act as a gatekeeper to insure that speculative
 *4 Summary judgment is proper “if ... there is no genuine       and unreliable opinions do not reach the jury.” McClain
issue as to any material fact” and “the moving party is          v. Metabolife Int'l, Inc., 401 F.3d 1233, 1237 (11th Cir.
entitled to judgment as a matter of law.” Fed. R. Civ.           2005). This requires the court to undertake “ ‘a preliminary
P. 56(c). In considering a motion for summary judgment,          assessment of whether the reasoning or methodology
“[t]he evidence of the non-movant is to be believed, and all     underlying the testimony is scientifically valid and of whether
justifiable inferences are to be drawn in his favor.” Anderson   that reasoning or methodology properly can be applied to the
v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). “Credibility   facts in issue.’ ” Id. (citation omitted). “The most common
determinations, the weighing of the evidence, and the drawing    method for fulfilling [the court's gatekeeper] function is a
of legitimate inferences from the facts are jury functions,      Daubert hearing, although such a process is not specifically
not those of a judge.” Id. However, the non-movant must          mandated.” Goebel v. Denver & Rio Grande W. R.R.,
do more than “simply show that there is some metaphysical        215 F.3d 1083, 1087 (10th Cir. 2000). “ ‘[T]he burden of
doubt as to the material facts.” Matsushita Elec. Indus. Co.     establishing qualification, reliability, and helpfulness rests on
v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). “The            the proponent of the expert opinion....’ ” McClain, 401 F.3d
mere existence of a scintilla of evidence in support of the      at 1238 (citation omitted). Finally, the court notes that it has
[non-movant's] position will be insufficient; there must be      “considerable leeway” in making reliability determinations
evidence on which the jury could reasonably find for the [non-   under Daubert, and that the decision of whether to admit
movant].” Anderson, 477 U.S. at 252. Accordingly, the non-       or exclude an expert witness is within the court's sound
movant may not avoid summary judgment with evidence that         discretion. Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152
is “merely colorable or is not significantly probative.” Raney   (1999); McClain, 401 F.3d at 1238.
v. Vinson Guard Serv., Inc., 120 F.3d 1192, 1196 (11th Cir.
1997). Nevertheless, “[i]f the record presents factual issues,
                                                                    C. Discovery Motions
the court must not decide them; it must deny the motion and
                                                                 Under the Local Rules of this court, “a motion to compel
proceed to trial.” Clemons v. Dougherty County, 684 F.2d
                                                                 a disclosure or discovery must be filed within the time
1365, 1369 (11th Cir. 1982).
                                                                 remaining prior to the close of discovery or, if longer, within
                                                                 ten (10) days after service of the disclosure or discovery
  B. Expert Witnesses                                            response upon which the objection is based.” L.R. 37.1(B),
Federal Rule of Evidence 702 provides:                           N.D.Ga. Additionally, “the control of discovery is committed
                                                                 to the sound discretion of the trial court.” Mut. Serv. Ins. Co.
                                                                 v. Frit Indus., Inc., 358 F.3d 1312, 1322 (11th Cir. 2004).

            If scientific, technical, or other
            specialized knowledge will assist the                III. Analysis
            [jury] to understand the evidence
            or to determine a fact in issue, a                      A. Discovery Motions
            witness qualified as an expert by                    The court once again notes that fact discovery closed in this
            knowledge, skill, experience, training,              action on August 28, 2004; that the parties had over one
            or education, may testify thereto in the             year of fact discovery despite the court's opinion that fact
            form of an opinion or otherwise, if (1)              discovery could have been concluded much more quickly;
            the testimony is based upon sufficient               and that although the court extended expert discovery through
            facts or data, (2) the testimony is                  February 9, 2005 in its October 14 Scheduling Order, it
            the product of reliable principles and               did so under the express condition that the new deadline
            methods, and (3) the witness has                     was “set in stone, and shall not be extended.” The court
                                                                 additionally notes that its October 14 Scheduling Order



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bifurcated expert discovery, such that Plaintiffs' initial expert   pay Defendants' reasonable attorney's fees and costs incurred
designations and reports were due to Defendants on or before        in responding to Plaintiffs' Advice of Counsel Motion to
October 11, 2004; 9 Defendants were to depose Plaintiffs'           Compel.
experts by November 10, 2004; Defendants' designations
and reports for any rebuttal experts were due to Plaintiffs         For substantially the same reasons, Plaintiffs' Motion to
on or before December 10, 2004; Plaintiffs were to depose           Compel Documents from Experts is DENIED as untimely.
Defendants' rebuttal experts by January 10, 2005; and               According to Plaintiffs' Motion, Defendants' allegedly
Plaintiffs' designations of rebuttal experts or supplements to      deficient responses to subpoenas were served on December
earlier expert reports were due to Defendants on or before          20 and December 27, 2004. According to Plaintiffs' Motion,
January 25, 2005. Id. at 2. By February 9, 2005, Defendants         Plaintiffs realized that the subpoena responses were deficient
were to conduct “any remaining expert discovery, including          by January 7, 2005 at the latest. Even taking January 7, 2005
deposing Plaintiffs' rebuttal experts, if any ... deposing          as the date of “service of the disclosure or discovery response
Plaintiffs' affirmative experts regarding their supplemental        upon which the objection is based,” 10 ten days thereafter
reports, if any, and serv[ing] any supplemental rebuttal expert     was still within the expert discovery period. Accordingly,
reports.” Id.                                                       Plaintiffs' Motion should have been filed on or before
                                                                    February 9, 2005, see L.R. 37.1(B), N.D. Ga., and it was not
9                                                                   filed until February 24, 2005. Plaintiffs' Motion to Compel
        The partieshadlong-since commenced expert
        discovery and themselves proposed the initial               Documents from Experts is thus DENIED. 11
        October 11, 2004 designation deadline;
        accordingly, the court accepted the October 11,             10     In actuality, the latest possible date of “service of
        2004 deadline despite entering the Scheduling                      the disclosure or discovery response upon which
        Order on October 14, 2004.                                         the objection is based” is December 27, 2004, the
 *5 Plaintiffs' Advice of Counsel Motion to Compel, filed                  date upon which Defendants served Plaintiffs with
on October 18, 2004, is DENIED as untimely. According                      the allegedly deficient responses to the second set
to Plaintiffs' Motion, this discovery dispute arose on August              of subpoenas directed to Nolte and Trainor. L.R.
31, 2004 at the absolute latest. Even if the court were to                 37.1(B), N.D. Ga. (emphasis added).
take a generous reading of Local Rule 37.1(B) and allow             11     Because the court supposes that Plaintiffs might
Plaintiffs ten days from August 31, 2004 to file their Motion
                                                                           have thought that the relevant date of “service”
instead of requiring that it have been filed prior to August
                                                                           implicated by Local Rule 37.1(B) was actually
28, 2004 (the close of fact discovery), Plaintiffs' Motion still
                                                                           February 9, 2005, the court will not require
should have been filed by September 14, 2004. Thus, at
                                                                           Plaintiffs to pay Defendants' attorney's fees and
best, Plaintiffs' Motion is over one month tardy. Plaintiffs
                                                                           costs incurred in responding to Plaintiffs' Motionto
do not explain why Local Rule 37.1(B) does not bar their
                                                                           Compel Documents from Experts. The court,
Motion despite Defendants' argument in this regard; instead,
                                                                           however, rejects the notion that the relevant date
Plaintiffs only assert that they are entitled to the discovery
                                                                           of “service” here could have been February 9,
and that granting the discovery will “not extend the schedule
                                                                           2005. Although Defendants hand-delivered a letter
for expert discovery or dispositive motions.” Accordingly,
                                                                           to Plaintiffs on February 9, 2005 that apparently
Plaintiffs' Advice of Counsel Motion to Compel is DENIED.
                                                                           concluded the parties' month-long attempt to
Additionally, in light of Plaintiffs' apparently callous attitude
                                                                           resolve this discovery dispute in good faith, the
towards the court's deadlines; the court's long struggle to
                                                                           letter is irrelevant for purposes of Local Rule
make the parties conform to any sort of discovery schedule in
                                                                           37.1(B). See supra note 10. While the court
this action; the massive number of filings in this case which
                                                                           appreciates Plaintiffs' attempts to resolve this
have required the court's extensive and ongoing attention in
                                                                           dispute without immediately involving the court,
addition to Plaintiffs' blatantly untimely Motion; and the fact
                                                                           once those efforts proved unsuccessful, Plaintiffs
that the court previously warned the parties multiple times to
                                                                           were required to file any motion to compel arising
be “circumspect[ ] in submitting any future discovery dispute
                                                                           out of the discovery dispute prior to the close of the
to the court,” see Order of April 14, 2004 at 7 n. 4; Order
                                                                           relevant discovery period.
of October 26, 2004 at 3, 6, Plaintiffs are ORDERED to



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                                                                   Kainer cannot offer opinions as to the truth or falsity
    B. Expert Witnesses                                            of any statements allegedly made by Defendants (pled in
Preliminarily, Defendants' Motion for Daubert Hearing is           the Complaint or otherwise), because such opinions would
GRANTED. As noted supra, a Daubert hearing is the most             constitute inadmissible conclusions of law and improperly
common way for a district court to fulfill its expert witness      invade the province of the jury; and (3) even if Kainer
gatekeeper responsibility, and the court believes that it would    is somehow generally qualified to offer opinions as to the
be helpful in this instance (for both parties' motions to          truth or falsity of four statements that were pled in the
exclude). Although Plaintiffs assert that “such a hearing will     Complaint, that testimony should nevertheless be excluded as
waste valuable Court, expert, and counsel time, and will delay     unsupported and unreliable.
a trial in this case,” the court cannot imagine that either of
the parties can claim with a straight face at this juncture that   Preliminarily, as noted supra, Defendants filed separate,
any particular action by the court might delay this litigation.    individual motions to exclude the expert testimony of
Additionally, the court assures the parties that the Daubert       Doppelt, Eastlund, and Kainer on Daubert grounds.
hearing most certainly will not delay the trial of this case.      Defendants nevertheless took the liberty (without the court's
Given the remarkable length to which the schedule of this          permission) of filing their Motion to Exclude Plaintiffs'
litigation has been stretched due to the torrent of filings and    Experts' Opinions as to Truth or Falsity and raising certain
the parties' insistence on protracted discovery, the court will    Daubert issues therein (specifically, the competency of
simply not tolerate any further substantial delays. Indeed,        Plaintiffs' experts to testify about what constitutes falsity
the parties are ADVISED that the Daubert hearing is hereby         under the federal securities laws, as well as the scientific
scheduled for Tuesday, June 28, 2005 and Wednesday, June           basis for certain of Kainer's opinions). Local Rule 26.2(C)
29, 2005, the next open dates on the court's calendar.             does not contemplate more than one Daubert motion per
                                                                   expert witness; nor does Local Rule 7.1(D) contemplate the
 *6 Thus, the court will defer a decision on Defendants'           parties avoiding the page limits on a Daubert motion by
Motion to Exclude Kainer [Doc. No. 152], Defendants'               filing multiple motions to exclude expert witnesses. See L.R.
Motion to Exclude Doppelt and Eastlund, Plaintiffs' Motion         7.1(D), N.D. Ga.; L.R. 26.2(C), N.D. Ga. The court once
to Exclude Trainor [Doc. No. 182], Defendants' Motion              again ADVISES the parties that it does not look kindly
to Exclude Preston, and Plaintiffs' Motion to Exclude              upon attempted end runs around the Local Rules. However,
Benson until the Daubert hearing. For purposes of docket           because—as Plaintiffs point out—Defendants' Motion is
maintenance, Defendants' Motion to Exclude Kainer [Doc.            more properly considered as a motion in limine seeking to
No. 163] and Plaintiffs' Motion to Exclude Trainor [Doc. No.       exclude evidence (as opposed to a motion to exclude an expert
181] are DENIED WITHOUT PREJUDICE to their identical,              witness under Daubert), the court will not reject Defendants'
companion (i.e., non-redacted) motions [Doc. Nos. 152 and          Motion out of hand. Plaintiffs' argument is essentially that
182]. 12                                                           evidence of the non-pled misstatements is admissible—even
                                                                   if not actionable—to show fraud under Federal Rule of
12                                                                 Evidence 404(b). The court will defer this core question until
       The court notes that the remaining version of
       Defendants' Motion to Exclude Kainer [Doc. No.              an appropriate time before trial, when the court fully expects
       152] is missing two pages (pages 10 and 16). As             the parties to raise other motions in limine. The court is able
       those two pages are available in full to the court          to take this course of action because, in ruling on the parties'
       in the redacted version of Defendants' Motion to            motions for summary judgment, the court does not consider
       Exclude Kainer [Doc. No. 163], the court will               Plaintiffs' experts' opinions as to the truth or falsity of the
       simply refer to pages 10 and 16 of the redacted             thirty statements that Defendants challenge in their Motion.
       version of Defendants' Motion if and when it is
       necessary.                                                   *7 The court notes that Plaintiffs do not contest Defendants'
                                                                   argument that the majority of the thirty statements at issue
The court does not, however, believe that a hearing is
                                                                   here are not pled in the Complaint. 13 Indeed, Plaintiffs assert
required on Defendants' Motion to Exclude Plaintiffs' Experts'
                                                                   that they “are not attempting to amend the Complaint,” and
Opinions as to Truth or Falsity. Essentially, Defendants
                                                                   that they “will not seek to add new claims at trial based on
argue therein (1) that Doppelt, Eastlund, and Kainer cannot
offer opinions as to purportedly false statements that were        these statements.” 14 Rather, as discussed, Plaintiffs instead
not pled in the Complaint; (2) that Doppelt, Eastlund, and         argue that evidence of Defendants' similar acts of fraud, and


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Plaintiffs' experts' opinions about those acts of fraud, are               Opinions as to Truth or Falsity and for the alleged
admissible to prove Defendants' scienter with regard to the                misstatements that are the subject of Plaintiffs'
alleged misstatements that are in the Complaint. See Fed. R.               Motion for Partial Summary Judgment—will hold
Evid. 404(b). Again, the court will defer this question as more            Plaintiffs to their assertion that they “are not
appropriate for a pre-trial motion in limine; 15 however, the              attempting to amend the Complaint.” See also 15
court wishes to make clear that it will not permit Plaintiffs to           U.S.C. § 78u-4(b); Fed. R. Civ. P. 15; discussion
amend their Complaint or to recover on statements not pled                 infra at Section III(C)(2).
in the Complaint. See supra note 14; see also discussion infra     15      Accordingly, although Defendants' Motion is
at Section III(C)(2).
                                                                           DENIED IN PART, such denial is WITHOUT
                                                                           PREJUDICE as to Defendants' right to seek (at
13     The court nevertheless acknowledges Plaintiffs'                     the appropriate time) a pre-trial ruling on the
       point that Defendants incorrectly assert that                       admissibility of alleged misstatements that are not
       twenty-six of the thirty statements at issue were                   included in the Complaint.
       not pled in the Complaint. In actuality, twenty-
                                                                   Additionally, despite its decision to defer the ultimate
       three of the thirty statements were not pled in
                                                                   question of the admissibility of alleged misstatements not in
       the Complaint. Specifically, referencing Exhibit A
                                                                   the Complaint, the court finds it appropriate to now resolve
       to Defendants' Motion, the court notes that the
                                                                   the smaller issues raised by Defendants' Motion to Exclude
       statements from the “[1]2/7 press release,” the
                                                                   Plaintiffs' Experts' Opinion as to Truth or Falsity. First, the
       “1/29 press release,” and the “May 2002 White
                                                                   court rejects Defendants' argument that Plaintiffs' experts
       Paper” are asserted to be false and misleading
                                                                   cannot testify to the truth or falsity of any given statement
       in Plaintiffs' Complaint, despite Defendants' claim
                                                                   without “ipso facto” rendering an inadmissible conclusion of
       to the contrary. In fact, Defendants move for
                                                                   law. The court acknowledges that as a general proposition a
       summary judgment on those statements, and in
                                                                   witness “may not testify to the legal implications of conduct.”
       their Motion for Summary Judgment, Defendants
                                                                   Montgomery v. Aetna Cas. & Sur. Co., 898 F.2d 1537, 1541
       acknowledge that those statements are included in
                                                                   (11th Cir. 1990). However, “[a]n expert may testify as to his
       Plaintiffs' Complaint. Yet Defendants' reply brief
                                                                   opinion on an ultimate issue of fact.” Id. (emphasis added);
       in support of their Motionto Exclude Plaintiffs'
                                                                   see also Fed. R. Evid. 704. Although Defendants are correct
       Experts' Opinions as to Truth or Falsity does not
                                                                   as a matter of law that Plaintiffs' experts may not provide
       address the complete inaccuracy of Defendants'
                                                                   pure legal conclusions, the court finds that Plaintiffs' experts
       Exhibit A in this regard. Perhaps if this were the
                                                                   can opine as to the truth or falsity of statements without
       only occurrence of such distortion of the record
                                                                   providing legal conclusions. For example, Plaintiffs' experts
       in this case, the court might not be so concerned.
                                                                   may have specialized or scientific knowledge that would
       Unfortunately, as detailed infra, it is not the only
                                                                   assist the jury in evaluating the truth or falsity of Defendants'
       such occurrence. See generally Fed. R. Civ. P. 11.
                                                                   alleged statement that “[s]wabbing [donors] ... may produce
14     The court finds these two assertions by Plaintiffs          false positives which will limit the use of donated tissue.” 16
       to be extremely noteworthy, as Plaintiffs' Motion           The average juror will not know whether such a statement
       for Partial Summary Judgment seeks summary                  is false or misleading; however, Kainer claims to have
       judgment on several statements that are not pled in         specialized knowledge that allows her to opine that swabbing
       the Complaint, including, by the court's count, at          can help determine the presence of contamination that is not
       least four statements that Defendants attack in their       susceptible to CryoLife's “antimicrobial cocktail,” 17 and that
       Motion to Exclude Plaintiffs' Experts' Opinions             such contaminants (including clostridium, which Plaintiffs
       as to Truth or Falsity. Although the court defers           allege was consistently missed by CryoLife's screening
       the question of whether or not evidence of the              techniques) are not considered false positives. If Kainer
       (non-pled) allegedly false statements is admissible
                                                                   ultimately qualifies as an expert, 18 she would certainly
       under Federal Rule of Evidence 404(b) in order
                                                                   be permitted to testify as to her opinion of the truth or
       to show Defendants' alleged fraud, the court—
                                                                   falsity of this and other similar statements, to the extent that
       both for the alleged misstatements attacked in
                                                                   the statements themselves are admissible. Plaintiffs' experts
       Defendants' Motion to Exclude Plaintiffs' Experts'



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are not seeking to (and will not be permitted to) testify                  Eastlund to testify about any legal conclusions as
as to whether Defendants made statements that are “false                   to liability.”
and misleading under the federal securities laws.” Instead,         *8 Finally, the court rejects Defendants' argument that
Plaintiffs' experts may offer opinions about the objective         Kainer should not be permitted to testify as to the truth or
truth or falsity of statements based on their specialized or       falsity of four statements that are in the Complaint because
scientific knowledge. For the same reasons, the court rejects      there is no reliable scientific basis for her opinions thereon.
Defendants' arguments that Plaintiffs' experts cannot testify      The first statement at issue is from CryoLife's December
to the truth or falsity of statements without impermissibly        14, 2001 press release, wherein CryoLife stated: “We are
invading the province of the jury and that Plaintiffs' experts     pleased to report that all other recipients [of tissue from the
are not competent to testify as to the truth or falsity of
                                                                   Lykins donor] are doing well with no evidence of Clostridium
statements because they have not been shown to possess any
                                                                   sordellii 20 infection.” Kainer opines that this statement is
specialized knowledge about securities laws or standards.
                                                                   misleading because another recipient of tissue from the
Simply put, if they appropriately qualify at the Daubert
                                                                   Lykins donor (the “second patient”) indisputably developed
hearing, Plaintiffs' experts will be permitted to testify to the
                                                                   a fever, septic arthritis, and was given antibiotics to combat
truth or falsity of a given statement based on their specialized
                                                                   a possible clostridium infection. Defendants, however, argue
or scientific knowledge. Such testimony will aid the jury. If
                                                                   that Kainer's opinion is based on incomplete data because
it should become necessary at trial, the court can exclude any
                                                                   Kainer consulted the second patient's medical records to form
pure legal conclusion testimony. 19
                                                                   her opinion, but the second patient's medical records have not
                                                                   been produced in discovery and are accordingly inadmissible.
16     The court makes no finding as to the admissibility          Defendants also argue that Kainer's opinion is based on
       of this statement. Plaintiffs will not be permitted to      incomplete data because no cultures were ever taken from the
       recover on this statement, as it is not pled in the         second patient, so that there is no laboratory confirmation of
       Complaint. The court merely cites the statement as          the alleged clostridium infection. However, Kainer testified in
       an example of how Plaintiffs' experts' testimony on         her deposition that her opinion is based both on conversations
       the truth or falsity of certain statements might be         with the second patient's treating physician and her review
       helpful to the jury, as a general proposition.              of the second patient's medical records, and Kainer further
17                                                                 testified that she no longer had copies of the second patient's
       During the relevant time period, CryoLife                   medical records in her possession because they were “at
       apparently soaked its donors in a “antimicrobial            the CDC.” Although Defendants argue that “Kainer cannot
       cocktail” (immersing the tissue in an antibiotic            rely upon such records” because she “did not produce”
       mixture) as part of its tissue processing procedures.       them “despite subpoenas directed to her seeking all such
       According to Plaintiffs, the antimicrobial cocktail         information and documents,” the court was presented with
       is not effective against spore-forming organisms            no motion to compel on the subject, and Kainer complied
       such as clostridium.                                        with the requirements of Federal Rule of Civil Procedure 26
18                                                                 that she delineate the “data or other information considered.”
       The court makes no finding in this regard at this
                                                                   Fed. R. Civ. P. 26(a)(2)(B). Defendants point to no case
       time, instead electing to wait until the Daubert
                                                                   in support of their argument that Kainer's opinion must
       hearing. However, the court notes that Kainer was
                                                                   be excluded because Plaintiffs did not produce the second
       an Epidemic Intelligence Service Officer with the
                                                                   patient's medical records. Assuming that Kainer otherwise
       CDC for two years; spearheaded a lengthy CDC
                                                                   qualifies as an expert at the Daubert hearing, she will be able
       investigation of CryoLife upon Lykins' death; and
                                                                   to give her opinion that the statement at issue is misleading
       is the co-author of a New England Journal of
                                                                   because, among other things, the normal treatment time for
       Medicine article discussing a study that concluded
                                                                   a post-operative septic knee infection and fever is six weeks;
       that the risk of infection from CryoLife tissue vis-a-
                                                                   the second patient did not respond to the initial, standard
       vis its competitors' tissue was significantly higher
                                                                   treatment that he was given but his fever began to subside
       due to CryoLife's processing methods.
                                                                   when he was treated with an antibiotic that specifically
19                                                                 treats clostridium infections; and septic arthritis and fever are
       The court notes that Plaintiffs assert that they
       “have not and will not offer Kainer, Doppelt, and           consistent with a clinical diagnosis of clostridium infection.




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20                                                                do Plaintiffs), although the court is not clear as to why it
       The court gathers that there are different types
                                                                  was necessary to address this minor issue at this point in
       of clostridium bacteria, including clostridium
                                                                  time. Kainer will be only permitted to testify as a fact witness
       sordellii and clostridium septicum. It appears
                                                                  about what she told Vander Wyk on behalf of the CDC.
       undisputed that Lykins died of a clostridium
                                                                  The court notes, however, that Kainer might still permissibly
       sordellii infection. As far as the court can tell,
                                                                  opine that the statement at issue—whether or not the CDC
       the parties have failed to explain the distinction
                                                                  recommended any processing protocol changes to CryoLife
       between these different types of clostridium
                                                                  in the aftermath of its inspection of CryoLife—is false. See
       (beyond Defendants' unsupported assertion in their
                                                                  Fed. R. Evid. 701 (laywitnesses may offer opinions that are
       Motion for Summary Judgment that clostridium
                                                                  “rationally based on the perception of the witness”).
       sordellii is “an entirely different species” from
       clostridium septicum ). See infra at Section III(C)
                                                                   *9 Finally, Defendants object to Kainer's attack on
       (1)(a).
                                                                  CryoLife's statements in a June 24, 2002 press release and
Defendants next attack Kainer's opinion that another              a June 25, 2002 conference call. The statements pertain to
statement in the December 14, 2001 press release was              the FDA's March 2002 investigation of CryoLife following
misleading—specifically, CryoLife's statement therein that
                                                                  reports of endocarditis 21 in patients who received transplants
upon examination of other tissue from the Lykins donor,
                                                                  of CryoLife heart valves. Specifically, the statements at issue
“[t]he CDC confirmed that the tissue examined contained
                                                                  are that
the rare bacterium Clostridium sordellii. The tissue examined
by the CDC had not been released for transplant and was             CryoLife stated in the press release that reports from
examined by [the CDC] subsequent to its implant expiration          hospitals clearly demonstrated no evidence of infection in
date.” Kainer opines that this statement is misleading because      either of the two heart valves that the government had been
it implicitly attaches significance to the fact that the CDC        investigating. In the conference call, CryoLife claimed that
examined the other tissue from the Lykins donor “subsequent         “during the [FDA] inspection [pertaining to the reported
to its implant expiration date.” Defendants argue that Kainer's     infections in heart valves] it was demonstrated that there
opinion endeavors to impermissibly invade the role of the jury      were no such infections. So just because there is a report of
to determine what is or is not misleading under the securities      infections does not mean there is one.
laws. However, for reasons similar to those discussed supra,
the court finds that Kainer can assist the jury by explaining     According to Kainer, these statements are false because
exactly why Defendants' statement might be misleading as a        CryoLife received reports evincing endocarditis in at least
matter of science. Assuming that she otherwise qualifies as       one of the heart valves in April and May. Defendants claim
an expert, Kainer can testify that the CDC was no more or         that Kainer has no knowledge of CryoLife receiving such
less likely to detect clostridium on the Lykins donor whether     reports, and indeed, Kainer's report cites to no record evidence
it tested the donor prior to its implant expiration date or       in support of her claim that CryoLife received such reports.
subsequent to its implant expiration date. In fact, the court     However, Kainer asserts that she has knowledge in this
is unclear as to exactly how the jury might come to that          regard, and accordingly, if Kainer does in fact have personal
important bit of scientific knowledge without the assistance      knowledge that CryoLife received such reports, she may
of expert testimony.                                              testify thereto in her capacity as a fact witness. The court notes
                                                                  that a July 6, 2002 Wall Street Journal Online article quotes
Defendants also object to Kainer's attack on CryoLife's           Kainer as stating that in March 2002, CryoLife was in receipt
statement from the December 14, 2001 press release that           of information that supported a diagnosis of endocarditis in
“[n]either the [FDA] nor the CDC, after conducting thorough       one patient, which indicates that Kainer does have personal
inspections of the CryoLife processing facilities, have           knowledge in this regard. See infra at Section III(C)(1)(h).
recommended or suggested changes in CryoLife's processing
protocols of human tissues.” Kainer asserts that this is          21      The court takes judicial notice that endocarditis
false because she herself communicated recommendations                    is “aninfection of the inner lining of the heart
to CryoLife, through Vander Wyk, on behalf of the CDC.                    or its valves ... usually caused by bacteria
Defendants concede that Kainer may testify to such matters                and ... more likely to occur in people who have
as a fact witness, but that she may not testify to such matters           heart valve defects or have had heart surgery
as an expert witness. The court agrees with Defendants (as


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        to treat valve disease.” Heart Disease: Glossary              commerce, or of the mails or of any facility of any national
        of Terms, WebMDHealth (Charlotte E. Grayson,                  securities exchange,
        M.D. ed. June 2004), at http://mywebmd.com/
        content/pages/9/1675_57847.                                   (a) To employ any device, scheme, or artifice to defraud,

Accordingly, Defendants' Motion to Exclude Plaintiffs'                (b) To make any untrue statement of a material fact or to
Experts' Opinions as to Truth or Falsity is GRANTED                   omit to state a material fact necessary in order to make the
IN PART AND DENIED IN PART, without prejudice to                      statements made, in the light of the circumstances under
Defendants' right to later move in limine to exclude from             which they were made, not misleading, or
evidence alleged misstatements that are not in the Complaint.
Plaintiffs will not be permitted to recover on any alleged            (c) To engage in any act, practice, or course of business
misstatements not pled in the Complaint, as discussed in              which operates or would operate as a fraud or deceit upon
greater detail infra at Section III(C)(2). See also supra note        any person, in connection with the purchase or sale of any
14 and accompanying text. As a general matter, however,               security.
Plaintiffs' experts will be permitted to opine as to the truth or
                                                                    17 C.F.R. § 240.10b-5. “ ‘A successful cause of action
falsity of a statement where such opinions are based on the
                                                                    under Section 10(b) or Rule 10b-5 requires that the plaintiff
experts' specialized or scientific knowledge and will assist the
                                                                    prove (1) a misstatement or omission (2) of a material
jury. Additionally, Kainer may testify as to the truth or falsity
                                                                    fact (3) made with scienter (4) upon which the plaintiff
of the four specific statements discussed supra in the fashion
                                                                    relied (5) that proximately caused the plaintiff's loss.’ ”
described by the court, assuming that she otherwise qualifies
                                                                    Theoharous v. Fong, 256 F.3d 1219, 1224 (11th Cir. 2001)
as an expert at the Daubert hearing where necessary. 22             (citation omitted). Scienter is “a mental state embracing
                                                                    intent to deceive, manipulate, or defraud.” Ernst & Ernst v.
22                                                                  Hochfelder, 425 U.S. 185, 193 n.12 (1976). A showing of
        Defendants' Daubert-based challenges to Kainer's
        testimony raised in Defendants' Motion to Exclude           “severe recklessness” will satisfy the scienter requirement in
        Plaintiffs' Experts' Opinions as to Truth or Falsity        a Rule 10b-5 case. See Bryant v. Avado Brands, Inc., 187 F.3d
        are DENIED. The court will not accept two                   1271, 1283 (11th Cir. 1999).
        separate Daubert motions attacking the same
        witness and thereby permit an end run around the
        court's Local Rules governing the length of briefs.                     Severe recklessness is limited to
                                                                                those highly unreasonable omissions
   C. Summary Judgment                                                          or misrepresentations that involve not
 *10 Plaintiffs' Complaint alleges violations of Section 10(b)                  merely simple or even inexcusable
of the Exchange Act (“Section 10(b)”) and Section 20(a) of                      negligence, but an extreme departure
the Exchange Act (“Section 20(a)”), as well as Securities and                   from the standards of ordinary care,
Exchange Commission (“SEC”) Rule 10b-5 (“Rule 10b-5a”)                          and that present a danger of misleading
promulgated thereunder. See 15 U.S.C. § 78j(b) (Section                         buyers or sellers which is either known
10(b) ); 15 U.S.C. § 78t(a) (Section 20(a) ); 17 C.F.R. §                       to the defendant or is so obvious that
240.10b-5 (Rule 10b-5).                                                         the defendant must have been aware of
                                                                                it.
Section 10(b) makes it unlawful “[t]o use or employ, in
connection with the purchase or sale of any security ...
any manipulative or deceptive device or contrivance in              Id. at 1282 n. 18 (citations and quotation marks omitted).
contravention of such rules and regulations as the [SEC] may        Evidence that a defendant had the motive and opportunity
prescribe....” 15 U.S.C. § 78j(b). Rule 10b-5, promulgated by       to commit fraud may be used, along with other evidence, to
the SEC, provides that:                                             show wilfulness or recklessness, but motive and opportunity
                                                                    evidence alone cannot satisfy the scienter element. Id. at
  It shall be unlawful for any person, directly or indirectly,
                                                                    1285-86.
  by the use of any means or instrumentality of interstate




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Finally, under Section 20(a), any person who “controls” an               statements ... especially ... Dr. Heacox.” The court
entity that violates a provision of the Exchange Act is jointly          disagrees, as Dr. Heacox himself testified that
and severally liable for the violation. 15 U.S.C. § 78t(a).              he would generally review some edits of press
For the individual Defendants to be liable under Section                 releases pertaining to laboratory operations prior
20(a), it must be shown that (1) CryoLife committed a so-                to their release, and several of the statements
called “primary” violation of Rule 10b-5; (2) the individual             at issue in the Complaint pertain to CryoLife's
Defendants had the power to control the general affairs                  laboratory operations. Additionally, the court
of CryoLife at the time CryoLife committed its primary                   rejects Defendants' vague and unspecific argument
violation; and (3) the individual Defendants “ ‘had the                  that Plaintiffs have failed to demonstrate that
requisite power to directly or indirectly control or influence           the other individual Defendants were involved in
the specific corporate policy which resulted in the primary              disseminating the allegedly false or misleading
liability.’ ” Brown v. Enstar Group, Inc., 84 F.3d 393, 396              statements. “[I]t is the movant's responsibility—not
(11th Cir. 1996) (citation omitted).                                     the Court's—to search the record and identify those
                                                                         portions which support the motion for summary
                                                                         judgment.” Anderson v. Raddison Hotel Corp.,
                                                                         834 F. Supp. 1364, 1369 n.3 (S.D. Ga. 1993).
       1. Defendants' Motion for Summary Judgment
                                                                         Finally, Defendants argue that they are entitled to
 *11 Defendants ask the court to grant them summary                      summary judgment on the Section 20(a) claims
judgment on three specific grounds. First, Defendants argue              because Plaintiffs cannot prove a primary violation
that Plaintiffs are unable to point to any record evidence               by CryoLife (i.e., because Plaintiffs' Rule 10b-5
establishing that any of the statements at issue in the                  claims fail). Thus, if the court concludes that any
Complaint were false when made. Second, Defendants argue                 primary violation claim against CryoLife survives
that even if Plaintiffs can establish a genuine issue of                 summary judgment, the Section 20(a) claim will
material fact as to the falsity of certain of the statements             survive summary judgment as well.
at issue in the Complaint, Plaintiffs are unable to point to
any record evidence establishing that those statements were
                                                                      a. December 7, 2001 press release (four statements)
made with the requisite level of scienter. Finally, Defendants
argue that Plaintiffs are unable to point to any record           Plaintiffs assert that four statements from CryoLife's
evidence establishing that Defendants' alleged misstatements      December 7, 2001 press release violate Rule 10b-5. The
or omissions caused any loss. 23 The court will evaluate          first statement at issue is CryoLife's assertion that its
Defendants' falsity and scienter arguments for each individual    “processing protocols in its clean-room environment assure
statement at issue, and then the court will address the general   the highest standard of quality control.” Plaintiffs assert that
loss causation issue.                                             this statement is false and misleading for several reasons.
                                                                  First, the American Association of Tissue Banks (“AATB”),
23                                                                a voluntary peer group organization of individuals involved
       The court recognizes that Defendants, in passing,
       make certain other arguments for summary                   in tissue banking activities, had promulgated guidelines in
       judgment. First, Defendants argue generally at             2001 that required its members to obtain pre-processing
       the beginning of their Motion that summary                 cultures to identify microorganisms that might contaminate
       judgment is proper because “[t]he allegedly                incoming tissue. CryoLife was not an AATB member,
       omitted facts were already known to the market.”           and CryoLife does not appear to contest that in 2001 it
       However, Defendants point to only a few specific           did not comply with AATB standards, including AATB's
       misstatements that were allegedly known to the             pre-processing recommendations. CryoLife does, however,
       market prior to their disclosure. The court will           vigorously contest that AATB's standards constituted the
       address those statements where applicable. Second,         tissue processing industry standards or that there were any
       Defendants argue in a footnote that Plaintiffs have        tissue processing industry standards at the time of the alleged
       failed to carry “their burden of demonstrating that        misstatement. Indeed, CryoLife seeks to exclude Doppelt and
       each of the individual Defendants was involved in          Eastlund's proposed expert testimony to that effect. As the
       the dissemination of allegedly false or misleading         court has deferred the issue of whether Doppelt and Eastlund
                                                                  will be permitted to testify until the Daubert hearing, the


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court does not consider for purposes of this motion Doppelt         in December 2001 CryoLife knew of problems in its
and Eastlund's opinion that CryoLife was not in compliance          tissue processing operations, and the evidence of CryoLife's
with tissue processing industry standards in December 2001,         discontinuation of pre-processing testing in 1997, raise an
or Dopplet and Eastlund's opinion that AATB's standards             issue of material fact as to whether the statement at issue was
were the tissue processing industry standards in December           false when made.
2001. However, the mere fact that there existed a voluntary
peer organization of tissue processing industry participants,       As for whether the statement was made with the requisite
of which CryoLife was not a member and whose guidelines             scienter, the court first notes that, despite Defendants'
CryoLife did not follow in December 2001, cuts against the          exhortations to the contrary, scienter is generally a jury
truth of CryoLife's statement that its processing protocols         question—even in securities fraud cases. See Sammons v.
assured the highest standard of quality control. More               Taylor, 967 F.2d 1533, 1545 (11th Cir. 1992) (a question
importantly, Plaintiffs' expert Timothy R. Wells (“Wells”),         of motive, if presented in a more than conclusory way,
whom Defendants have not moved to exclude, testified in his         can often “make a disposition upon summary judgment
deposition as follows:                                              inappropriate”); Croley v. Matson Navigation Co., 434 F.2d
                                                                    73, 77 (5th Cir. 1970) 24 (“The court should be cautious in
  *12 Q: Do you have any basis to believe that as of
                                                                    granting a motion for summary judgment when resolution
  December 2001 that anyone at CryoLife believed that
                                                                    of the dispositive issue requires a determination of state of
  CryoLife had problem in its tissue processing operations?
                                                                    mind.”); In re Worlds of Wonder Sec. Litig., 35 F.3d 1407,
  ....                                                              1412 (9th Cir. 1994) (noting, in a securities fraud case, that
                                                                    scienter is a fact-specific issue that should ordinarily be left
  The Witness: I do have that belief.... [P]rior to this, there     to the jury); Schoch v. Dade City Ret. Hous., Inc., No.
  had been communications to CryoLife from the CDC, and             87-388 Civ. T-10(B), 1989 WL 67745, at *1 (M.D. Fla. Feb.
  in fact, they had filed reports with the FDA of problems          9, 1989) (noting in a Rule 10b-5 and Section 20(a) case
  [of] infections. So clearly, there was knowledge on the part      that “summary judgment is generally inappropriate to decide
  of CryoLife.                                                      questions of scienter, knowledge and intent”). Moreover, as to
                                                                    the specific statement at issue, the court again notes that Wells
Dep. of Timothy R. Wells at 91-92. Additionally, it                 testified at his deposition that in December 2001, CryoLife
is undisputed that in 1997, CryoLife discontinued pre-              had “knowledge” of problems with its tissue processing
processing testing, and there is record evidence that in            operations.
1998, the FDA conducted an inspection of CryoLife after a
CryoLife knee tissue recipient suffered a clostridium infection     24
due to tissue contamination. For all of the foregoing reasons,              In Bonner v. City of Prichard, 661 F.2d 1206 (11th
the court finds that there is a genuine issue of material fact as           Cir. 1981) (en banc), the Eleventh Circuit adopted
to the truth or falsity of CryoLife's statement that in December            as binding precedent all decisions of the former
2001, its “processing protocols in its clean-room environment               Fifth Circuit handed down prior to October 1, 1981.
assure[d] the highest standard of quality control.”                  *13 Defendants argue that Plaintiffs have nevertheless
                                                                    failed to establish a genuine material fact as to scienter
Defendants also argue that Plaintiffs improperly characterize       because Plaintiffs' sole evidence of scienter is expert
the statement about Defendants' “clean-room environment”            witness testimony that Defendants argue is inadmissible.
as a broad guarantee of Defendants' tissue quality. Defendants      Additionally, Defendants assert that even if Plaintiffs' experts'
argue that the statement at issue only focuses “on CryoLife's       testimony is admissible, at best that testimony creates a
aseptic handling techniques as employed in the clean-room           battle of expert witnesses over the question of whether
environment and [is] not [a] broad, general guarantee[ ] of         Defendants were unreasonable in their scientific judgments
tissue safety.” The court does not agree with Defendants            of the adequacy of CryoLife's tissue processing. According to
that Plaintiffs mischaracterize the statement at issue as a         Defendants, if qualified expert witnesses can disagree about
broad guarantee of tissue safety. The statement at issue is         the reasonableness of tissue processing and testing techniques
Defendants' assertion that they could “assure the highest           (or the lack thereof), Defendants cannot have been “severely
standard of quality control,” via their processing protocols        reckless” in stating that their processing protocols assure the
in their clean-room environment. Wells' testimony that              highest standard of quality control.



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                                                                             recalls in evaluating CryoLife's statement that
The court disagrees with Defendants. Most crucially, as                      CryoLife's “processing protocols in its clean-room
noted supra, Defendants do not seek to prevent Wells from                    environment assure the highest standard of quality
testifying, and he testified at his deposition that CryoLife had             control,” the court need not rule on the merits of
knowledge of problems with its tissue processing operations                  Defendants' arguments at this time. Moreover, even
as of December 2001. Moreover, as for Defendants' “battle                    if the market was aware of CryoLife's voluntary
of the experts” argument, the court acknowledges that In re                  recalls on December 7, 2001, the court is not
Miller Indus., Inc. Sec. Litig., 120 F. Supp. 2d 1371, 1382-83               certain that awareness would necessarily include an
(N.D. Ga. 2000) (Thrash, J.), can be read to hold that a “battle             awareness that CryoLife's processing protocols did
of the experts” on the reasonableness of a decision requires                 not in fact assure the highest standard of quality
summary judgment for a defendant on the question of scienter.                control.
However, to the extent that In re Miller so holds, this court          *14 The next statement at issue in the December 7, 2001
does not agree, and instead the court finds that disposing of a       press release is CryoLife's assertion that “[i]n the past 17
claim because expert witnesses disagree as to whether a given         years, CryoLife has processed some 250,000+ pieces of
course of action was “severely reckless” would improperly             human tissue from more than 60,000+ donors, without a
usurp the jury's responsibility to evaluate witness credibility.
                                                                      single known incidence of Clostridium sordellii bacterial
See Allison v. McGhan Med. Corp., 184 F.3d 1300, 1321
                                                                      infection.” Plaintiffs assert that this statement is false and
(11th Cir. 1999) (noting that trial judges must carefully act
                                                                      misleading because the FDA's Manufacture and User Facility
as gatekeepers of expert testimony, but also noting that an
                                                                      Device Experience Database (“MAUDE”) 26 shows that in
overly searching inquiry “would inexorably lead to evaluating
                                                                      1998, a patient received soft knee tissue from CryoLife
witness credibility and weight of the evidence, the ageless
                                                                      and developed a clostridium infection. Specifically, the
role of the jury”). Indeed, in the principal case relied on by
                                                                      MAUDE report states: “Wound culture collected 4/7/98. Final
the In re Miller court, Securities and Exchange Commission
                                                                      report showed ‘clostridium species identified as clostridium
v. Price Waterhouse, 797 F. Supp. 1217 (S.D.N.Y. 1992),
it was only after a bench trial—wherein the court itself              septicum - beta lactamase negative....’ [The] [a]llograft 27
properly evaluated the credibility of the expert witnesses, as        was cultured at time of implant 3/27/98. Reported back
the fact finder—that the court concluded that “no finding of          4/22/98 as ‘clostridium sordelli[i] - beta lactamase negative.’
fraud or recklessness [could] rationally be made in this case”        ” Defendants' sole argument that the statement at issue is
because “the Court heard diametrically opposing views from            not actionable is that “[t]he MAUDE report shows that the
experts as to the reasonableness of [the] accounting and audit        infection was caused by Clostridium septicum—an entirely
judgments.” Price Waterhouse, 797 F. Supp. at 1241; In re             different species from Clostridium sordellii.” The court
Miller, 120 F. Supp. 2d at 1382-83. The court sees no reason          disagrees with Defendants for two reasons. First, Defendants
why, if there is a “battle of the experts” at trial, the jury could   cite no evidence in support of their assertion that clostridium
not permissibly choose to completely disregard Defendants'            sordellii is “an entirely different species” from clostridium
experts' testimony as not credible. Accordingly, for all the          septicum, and the court cannot simply take Defendants' word
foregoing reasons, the court concludes that genuine issues of         for it. 28 Indeed, had the court simply taken at face value
material fact as to falsity and scienter exist with regard to         Defendants' dismissive argument that the statement at issue
CryoLife's December 7, 2001 statement that its “processing            is not actionable because “[t]he MAUDE report shows that
protocols in its clean-room environment assure the highest            the infection was caused by Clostridium septicum,” the court
standard of quality control.” 25                                      would have missed the last sentence of the MAUDE report
                                                                      —left completely unaddressed by Defendants—that a culture
25                                                                    of the transplant allograft revealed clostridium sordellii.
        Finally, the court briefly addresses Defendants'
                                                                      Defendants' failure to disclose or address this important
        argument that Plaintiffs' evidence that CryoLife
                                                                      piece of information is inexcusable and violates Defendants'
        tissue was subject to ninety-six voluntary recalls
                                                                      counsel's duty of candor to the court. Regardless, given that
        over three years was “overstated,” and that, at any
                                                                      the MAUDE report indicates that a CryoLife allograft tested
        rate, the FDA published all voluntary recalls so
                                                                      positive for clostridium sordellii in 1998, the court finds
        that such information was already known to the
                                                                      that there is a genuine issue of material fact as to the truth
        market. Because the court did not rely on Plaintiffs'
                                                                      or falsity of CryoLife's assertion that prior to the Lykins
        purported evidence of CryoLife's voluntary


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incident, it had never previously experienced an incident of      The next statement at issue from the December 7, 2001 press
clostridium sordellii bacterial infection. As for whether the     release is the following:
scienter element is present, the court notes that the MAUDE
report indicates that CryoLife was made aware of the findings
therein, and the court further notes that the FDA apparently                  Based      on     [CryoLife's]    recent
inspected CryoLife in 1998 in the aftermath of this incident.                 conversations with state and federal
Moreover, Defendants do not argue the issue of whether                        public health agencies, they are unable
this statement was made with the requisite scienter, and thus                 at this time to tell us how the
they concede the point. Accordingly, CryoLife's statement                     Clostridium sordellii bacterium was
in the December 7, 2001 press release that “[i]n the past                     introduced into [Lykins'] body and
17 years, CryoLife has processed some 250,000+ pieces                         they have revealed no conclusion
of human tissue from more than 60,000+ donors, without                        regarding the source of the infection in
a single known incidence of Clostridium sordellii bacterial                   [Lykins]. The CDC is testing a similar
infection,” survives summary judgment on the falsity and                      tissue from the [Lykins] donor, but the
scienter issues. 29                                                           final results are not known at this time.

26      According to the FDA's website, “MAUDE
        data represents reports of adverse events                 Plaintiffs argue that this statement was false and misleading
        involving medical devices.” Manufacturer and              and made with the requisite scienter because prior to
        User Facility Device Experience Database, at              December 7, 2001, the CDC had already concluded that the
        http://www.fda.gov/cdrh/maude.html.                       Lykins donor was infected with clostridium and informed
                                                                  CryoLife of that conclusion. Defendants argue, however, that
27      The court takes judicial notice that an allograft is      the CDC itself stated in a Morbidity and Mortality Weekly
        “a transplanted organ or tissue from a genetically        Report (“MMWR”) issued on December 7, 2001 that only
        non-identical member of the same species. Most            “preliminary” results had been obtained from the Lykins
        human tissue and organ transplants are allografts.”       donor, indicating mere growth of a clostridium “species”
        Allograft, Wikipedia: The Free Encyclopedia, at           as opposed to clostridium sordellii. In fact, according to
        http://en.wikipedia.org/wiki/Allograft.                   Defendants, “[i]t was not until January 3, 2002 ... that the
28                                                                CDC stated in writing its final conclusion that [the Lykins
        In fact, the court notes that CryoLife's own              donor was infected with] Clostridium sordellii.”
        “CryoLife Update” newsletter from May 2002
        —in which CryoLife outlined steps that it was             As an aside, the court notes that Defendants' argument that
        “taking” to “reduce the risk of orthopaedic               the CDC did not state its final conclusion in writing until
        allograft-associated bacterial infections”—does           January 3, 2002 is of no relevance because in CryoLife's
        not differentiate between different types of              own December 14, 2001 press release, CryoLife announced
        clostridium, and instead states that CryoLife             that the CDC had completed its testing of tissue from the
        would not release tissue for distribution “[i]f any       Lykins donor and “confirmed that the tissue ... contained the
        Clostridium [was] identified....” Ex. 33 to Defs.'        rare bacterium Clostridium sordellii.” In fact, on December
        Mot. for Summ. J. (emphasis added).                       11, 2001, Kainer sent Vander Wyk an email on behalf of
29                                                                the CDC stating that “[t]he Clostridium from the [donor]
        Throughout Section III(C)(1), the court may
                                                                  has now been identified as ... sordelli[i].” More importantly,
        state that various statements “survive summary
                                                                  the court finds that there are genuine issues of material fact
        judgment,” or words to that effect. The court
                                                                  as to whether the statement at issue is false or misleading,
        implies no ruling on the loss causation issue
                                                                  because there is record evidence suggesting that the CDC had
        when it states that a particular statement “survives
                                                                  at least preliminarily concluded prior to December 7, 2001—
        summary judgment”; rather, the court simply
                                                                  i.e., reached some conclusion, rather than “no conclusion”—
        means that Defendants' challenges to the statement
        on falsity and scienter grounds fail for summary          that the Lykins donor was the source of Lykins' infection. 30
        judgment purposes.                                        There is also record evidence tending to show that the CDC
                                                                  informed CryoLife of its conclusion prior to December 7,


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2001. Specifically, a chronology kept by Kainer indicates that      genuine issues of material fact as to whether this statement
on November 28, 2001, the CDC concluded that the donor              was knowingly false or misleading when made.
tissue contained clostridium. Vander Wyk's diary indicates
that on that same day, he received a call from Kainer reporting     31      Additionally, the court notes that if Kainer qualifies
on the donor's tissue growth, and Kainer's chronology further               as an expert at the Daubert hearing, it is her opinion
indicates that on December 3, 2001, she visited CryoLife and                is that the ordinary treatment time for a post-
advised Vander Wyk that the second recipient of tissue from                 operative septic knee infection is six weeks, such
the Lykins donor had contracted septic arthritis. Accordingly,              that a patient first treated for such an infection on
the court finds that there are genuine issues of material fact as           November 21, 2001 would ordinarily not have even
to whether CryoLife's December 7, 2001 statement that state                 completed treatment until on orabout January 2,
and federal public health agencies had reached “no conclusion               2002 (to say nothing of when that patient might
regarding the source” of Lykins' infection was knowingly                    have fully recovered).
false when made.

30                                                                       b. December 14, 2001 press release (four statements)
        Additionally, the court again notes that although
        Defendants assert that there is a meaningful
                                                                    Plaintiffs also assert that four statements in CryoLife's
        distinction between clostridium sordellii and other
                                                                    December 14, 2001 press release were false and misleading
        types of clostridium, Defendants cite no record
                                                                    in violation of Rule 10b-5. First, CryoLife stated in its
        evidence in support of this proposition. See
                                                                    December 14, 2001 press release—as it essentially did in
        Anderson, 834 F. Supp. at 1369 n.3; see also supra
                                                                    its December 7, 2001 press release—that “[i]n the seventeen
        note 20.
                                                                    years since its founding CryoLife has processed tissue from
 *15 The final statement at issue from CryoLife's December          over 60,000 donors without a single known incident of
7, 2001 press release is a statement regarding the health of        Clostridium sordellii infection.” Plaintiffs' claim arising out
the eight other patients who were implanted with tissue from        of this statement survives summary judgment for the same
the Lykins donor. CryoLife asserted that “[p]hysician follow-       reasons that Plaintiffs' claim arising out of CryoLife's nearly-
ups on these patients have indicated they are all doing well.”      identical December 7, 2001 statement survives summary
Plaintiffs argue that statement was knowingly false when            judgement. As discussed supra, the 1998 MAUDE report
made because, as noted above, Kainer's chronology indicates         raises genuine issues of material fact as to whether CryoLife
that on December 3, 2001, she personally informed Vander            had suffered an incident of clostridium sordellii infection
Wyk that one of the recipients of the Lykins donor tissue had       prior to the Lykins incident, and whether CryoLife knew
contracted septic arthritis. Defendants respond that the March      about that incident.
15, 2002 MMWR “makes clear” that the patient's “symptoms
subsided by November 23, 2001, such that Defendants'                The second statement at issue in the December 14, 2001
statement on December [7, 2001] that all other recipients           press release is also essentially identical to a statement in
[were all] ‘doing well’ was entirely accurate.” However, the        the December 7, 2001 press release. Specifically, in its
court observes that although the March 15, 2002 MMWR                December 14, 2001 press release, CryoLife stated that “all
does state that the patient's 103.5 degree fever subsided on        other recipients of tissue from the [Lykins donor] are doing
or about November 23, 2001, the MMWR also states that               well with no evidence of Clostridium sordellii infection.” The
“[t]he patient is recovering,” which implies that even as           court finds that there are genuine issues of material fact as
of March 15, 2002, the patient had not fully recovered. 31          to the actionability of this statement for the same reasons
More fundamentally, despite the fact that CryoLife knew by          that Plaintiffs' claim arising out of the similar December 7,
December 3, 2001 at the latest that a second recipient of tissue    2001 statement survives summary judgment—there is record
from the Lykins donor had contracted post-operative septic          evidence tending to suggest that it was materially misleading
arthritis, that fact is mentioned nowhere in the December           for CryoLife to assert that all other recipients of tissue from
7, 2001 press release. Instead, CryoLife merely asserted            the Lykins donor were “doing well,” given that at least one
that after talking to the doctors for each of the eight other       recipient of the tissue contracted septic arthritis and may well
recipients of tissue from the Lykins donor, each recipient          have still been “recovering” in March 2002, let alone on
was “doing well.” The court thus concludes that there are           December 14, 2001. 32



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                                                                   a finding of clostridium sordellii might be more likely when
32                                                                 tissue is examined subsequent to its implant expiration date.
       For this reason, the court need not address
       Defendants' argument that this statement is not
       actionable because there was in fact “no evidence           The last statement at issue in the December 14, 2001 press
                                                                   release is CryoLife's assertion therein that “[n]either the
       of Clostridium sordellii infection” in the other
                                                                   [FDA] nor the CDC, after conducting thorough inspections
       recipients of Lykins donor tissue. However, the
                                                                   of the CryoLife processing facilities, have recommended
       court notes that septic arthritis is apparently
                                                                   or suggested changes in CryoLife's processing protocols of
       consistent with a clostridium sordellii infection,
                                                                   human tissues.” As discussed supra, Kainer purports to have
       such that it was arguably misleading for CryoLife
                                                                   personal knowledge in her capacity as a fact witness that this
       to state that there was “no evidence” of a
                                                                   statement was false when made. Moreover, the court notes
       clostridium sordellii infection. CryoLife was on
                                                                   that although Defendants argue that “the record is clear” that
       notice by December 3, 2001 that one of the
                                                                   CryoLife did not receive Kainer's December 14, 2001 email
       recipients of Lykins donor tissue had contracted
                                                                   recommendations on behalf of the CDC until December 17,
       septic arthritis. Regardless, because there are
                                                                   2001, Vander Wyk's diary, read in conjunction with Kainer's
       genuine issues of material fact as to whether the
                                                                   chronology, indicates that Vander Wyk and Kainer had a
       other recipients of tissue from the Lykins donor
                                                                   telephone discussion on December 14, 2001 wherein Kainer
       were all “doing well” as of December 14, 2001, this
                                                                   conveyed “initial” CDC recommendations to Vander Wyk
       statement survives summary judgment.
                                                                   before his lunch meeting to discuss the December 14, 2001
 *16 The next statement at issue in the December 14, 2001          press release. Thus, the court finds that there are genuine
press release does not have a counterpart in the December          issues of material fact as to whether CryoLife's statement
7, 2001 press release. Specifically, in the December 14,           that neither the FDA nor the CDC had recommended any
2001 press release, CryoLife made the following statement          changes in CryoLife's human tissue processing protocols as
with regard to the CDC's tests on additional tissue from the       of December 14, 2001 was knowingly false when made.
Lykins donor: “The CDC confirmed that the tissue examined
contained the rare bacterium Clostridium sordellii. The tissue     Defendants also argue that this last statement from the
examined by the CDC had not been released for transplant           December 14, 2001 press release—CryoLife's assertion
and was examined by [the CDC] subsequent to its implant            that neither the FDA nor the CDC had conveyed any
expiration date.” Plaintiffs contend that this statement is        recommendations to CryoLife for processing protocol change
misleading because, as a matter of science, a finding of           as of December 14, 2001—is inactionable as a matter of
clostridium sordellii would be no more or less likely if           law because Plaintiffs' damages expert (Preston) testified at
tissue were examined before its implant expiration date or         her deposition that the statement “itself caused no damage.”
after its implant expiration date. See supra Section III(B).       However, Defendants take Preston's testimony out of context.
Preliminarily, the court notes that Defendants did not move        Preston's full testimony was “that statement itself caused
for summary judgment on this specific statement, which is          no damage, [but] when people find out the result of that
in the Complaint. See Complaint ¶ 70. Accordingly, unless          [statement], it causes damages.” Plaintiffs argue that the
the court fully grants Defendants summary judgment on              March 15, 2002 MMWR ultimately revealed this statement
the loss causation issue, this statement survives Defendants'      to be false, and accordingly that is the relevant date for loss
Motion for Summary Judgment. Moreover, as discussed                causation purposes. The court observes that the March 15,
supra, presuming Kainer qualifies as an expert in her field,       2002 MMWR does indeed list several recommendations that
she will be permitted to testify as to whether she believes this   the CDC contends it “provided” to CryoLife “in response
statement to be misleading because as a matter of science, a       to the initial case investigation and the subsequent reports
finding of clostridium sordellii is no more likely when tissue     of Clostridium ... infections.” The record does not appear
is examined subsequent to its implant expiration date. Finally,    to reflect that the CDC's recommendations to CryoLife
given the individual Defendants' educational backgrounds           were revealed to the market prior to March 15, 2002, and
(Vander Wyk, for instance, has a Ph.D. in microbiology) and        accordingly, the court rejects Defendants' argument that the
the fact that CryoLife is in the tissue processing business, the   December 14, 2001 statement about CDC recommendations
court finds that there is a genuine issue of material fact as
                                                                   is inactionable as a result of Preston's testimony. 33
to whether CryoLife was severely reckless in implying that



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33                                                                   were properly followed—the statement is not actionable and
        The court's finding in this regard is limited to
                                                                     summary judgment is appropriate thereon.
        Defendants' argument that this specific statement is
        inactionable because Preston supposedly testified
                                                                      *17 The second statement from the January 29, 2002 press
        that the statement caused no loss. The court draws
                                                                     release challenged by Plaintiffs is CryoLife's assertion that
        no conclusions at this time regarding the general
                                                                     “none of the eight other recipients of tissue from [the Lykins
        admissibility of Preston's testimony.
                                                                     donor] has become infected with sordellii and all are doing
                                                                     well.” For the same reasons discussed supra with regard
     c. January 29, 2002 press release (two statements)              to CryoLife's similar statements in the December 7, 2001
                                                                     and December 14, 2001 press releases, the court finds that
Plaintiffs challenge two statements from CryoLife's January          there are genuine issues of material fact as to whether this
29, 2002 press release. Plaintiffs first attack CryoLife's           statement was knowingly false when made, and accordingly
statement that the CDC and FDA concluded “that CryoLife              the statement survives summary judgment. 34
procedures, which met or exceeded typical industry processes
for aseptic handling, were properly followed.” Similar to their      34
argument with regard to the December 7, 2001 statement                      This statement is essentially identical to the
that “CryoLife's processing protocols in its clean-room                     companion “doing well” statements in the
environment assure the highest standard of quality control,”                December 7, 2001 and December 14, 2001 press
Defendants argue that the statement at issue focuses “only                  releases, but the court notes that Plaintiffs do not
on CryoLife's aseptic handling techniques as employed                       appear to expressly plead this statement in the
in the clean-room environment and [is] not [a] broad,                       Complaint. Given the court's general holding infra
general guarantee[ ] of tissue safety.” The court finds that                that Plaintiffs cannot recover on statements not pled
Defendants' argument is sound with regard to the January                    in the Complaint, the court would under ordinary
29, 2002 statement, though as discussed supra, the court                    circumstances hold that this statement is thus out
rejects Defendants' argument with regard to the clean-                      of the case. However, the parties appear to agree
room environment statement of December 7, 2001. The                         that this statement was properly pled by Plaintiffs,
distinction is this: The December 7, 2001 statement can                     as Defendants move for summary judgment on
fairly be read as an assurance of general high quality control              the statement and also assert that their Motion for
standards due (in whole or in part) to CryoLife's processing                Summary Judgment addresses only those claims
protocols in its clean-room environment. The January 29,                    actually pled by Plaintiffs. Accordingly, the court
2002 statement, however, can only be fairly read to state (1)               will proceed as though this statement appears in the
that CryoLife's aseptic handling procedures met or exceeded                 Complaint.
industry standards; and (2) that the CDC and FDA concluded
that those procedures were properly followed. In their
                                                                           d. March 15, 2002 press release (two statements)
opposition to Defendants' Motion for Summary Judgment,
Plaintiffs respond to Defendants' argument by stating that           Plaintiffs complain of two alleged misstatements in
CryoLife's “actual deficiencies (and regulatory violations)          CryoLife's March 15, 2002 press release. The first
had nothing to do with its aseptic practices,” tacitly conceding     statement was made by CryoLife in response to the CDC's
that CryoLife was not deficient with regard to its aseptic           announcement in the March 15, 2002 MMWR that upon
handling procedures and practices. Pls.' Resp. in Opp'n to           soliciting additional reports of allograft-associated infections
Defs.' Mot. for Summ. J. at 13 (emphasis added). Although            in otherwise healthy patients with no known risk factors for
Plaintiffs assert in a footnote that Defendants' “injection of the   surgical site infections, the CDC received twenty-six such
term ‘aseptic’ processing into public statements was nothing         reports. CryoLife stated in its March 15, 2002 press release
more than a calculated subterfuge of the facts,” Plaintiffs          that:
cite to no evidence in support of that assertion. Accordingly,
given Plaintiffs' tacit concession as to the truth of the
actual statement at issue—that CryoLife's aseptic handling
                                                                                  The report of twenty six infections
procedures met or exceeded industry standards and that the
                                                                                  in tissue transplants released by the
CDC and FDA concluded that those specific procedures
                                                                                  CDC this morning relates to tissue



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             processed by four or five tissue banks                Plaintiffs argue that the statement is false because as of March
             across the U.S. and represents events                 15, 2002, CryoLife had not followed at least two of the CDC's
             dating back as far as 1998. Some of the               December 14, 2001 recommendations, one of which was
             infections are likely not to be due to                a recommendation that CryoLife implement pre-processing
             the tissue itself and may be infections               testing. Defendants argue that Plaintiffs have insufficient
             transmitted from other sources.                       evidence of falsity because, among other reasons, “such
                                                                   scientific processing changes could not be made overnight
                                                                   and had to be examined.” Defendants also argue that CryoLife
Defendants argue that they are entitled to summary judgment        disclosed to the market on March 15, 2002 that it could
on this statement because it only “pointed out the fact that       not at that time implement all of the CDC's suggestions,
the reported infections discussed in the MMWR did not              and that accordingly, the statement at issue was true in
exclusively involve tissue processed by CryoLife and noted         that CryoLife had implemented all CDC suggestions that it
that some of the reported infections were likely not to have       could “at [the] time.” The court, however, disagrees with
been caused by the implanted tissues.” Plaintiffs, however,        Defendants. Specifically, the court again notes that in 1997,
assert that as of March 13, 2002, Defendants were aware that       CryoLife discontinued pre-processing testing. Given that
(1) fourteen out of the twenty-six infected patients received      CryoLife had previously engaged in pre-processing testing, it
tissue processed by CryoLife and (2) of the thirteen of the        is not unreasonable to argue that three months of discussion
twenty-six patients who were infected with some type of            about the merits of pre-processing testing (from December
clostridium, eleven of those thirteen received tissue processed    14, 2001 to March 15, 2002) was enough time for the merits
by CryoLife. Accordingly, Plaintiffs argue that CryoLife's         of such testing to be “examined.” In light of this, and further
statement in the March 15, 2002 press release was knowingly        given that Defendants did not even address this statement
false.                                                             in their Motion for Summary Judgment, the court finds that
                                                                   CryoLife's March 15, 2002 statement that it had “taken
The court finds summary judgment is proper on this                 all suggestions from the CDC seriously and implemented
statement. As a technical matter, Plaintiffs do not appear         those that it [could] at [that] time” should survive summary
to contest that the twenty-six patients received tissue from       judgment. 35
more than one tissue bank; nor do Plaintiffs appear to
contest that less than 100% (i.e., “some”) of the reported         35      Similarly, although Defendants conclusorily argue
infections were caused by something other than the implanted
                                                                           in their reply that “any alleged misstatements
tissues. Instead, Plaintiffs merely assert that the statement
                                                                           omissions [sic] by Defendants with respect to
is “misleading because CryoLife knew that CDC had found
                                                                           the CDC recommendations were immaterial and
that there was significant evidence implicating CryoLife's
                                                                           caused no loss,” Defendants did not raise this
tissue.” Even granting Plaintiffs' point that the statement
                                                                           point in their Motion for Summary Judgment and
is somewhat misleading in that it minimizes the fact that
                                                                           accordingly the court does not address it beyond
CryoLife's tissue was implicated in a high percentage of the
                                                                           the court's discussion of Defendants' general loss
twenty-six infections, the court cannot say that Defendants
                                                                           causation argument infra.
acted with the requisite scienter in making the statement. As
a technical matter, the veracity of CryoLife's assertion about
the CDC's report appears uncontested, such that even if the             e. March 16, 2002 newspaper article (one statement)
statement is somewhat misleading, the court cannot say that
Defendants made the statement with severe recklessness.            According to a March 16, 2002 Atlanta-Journal Constitution
                                                                   article, during a March 15, 2002 conference call, “CryoLife
 *18 The second statement at issue in the March 15, 2002           executives reiterated that the Company is doing everything
press release is CryoLife's assertion that it “has taken all       possible to ensure the purity of tissues used in transplants.”
suggestions from the CDC seriously and implemented those           Defendants argue that this statement cannot be actionable
that it can at this time.” Preliminarily, the court notes that     because it is inadmissible hearsay and Plaintiffs have no
Defendants do not address this statement in their Motion for       evidence that any Defendant actually made the statement.
Summary Judgment, although the statement is addressed in           Plaintiffs argue in response that “[t]he fact that the quote
Defendants' reply. As for the truth or falsity of the statement,   appeared in a newspaper is evidence that the statement was



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in fact conveyed to the market and constituted part of the mix                   it exists. Ordinarily, if the FDA finds
of information upon which the stock price was determined.”                       the company's response acceptable,
Plaintiffs miss the point, however, which is that the court has                  the FDA will take no further action.
been pointed to no admissible evidence that the statement                        If the FDA finds the company's
was ever actually made. Indeed, the version of the statement                     response unacceptable, the FDA may
provided by Plaintiffs is not even a quote; rather, it is                        take further action such as the issuance
the newspaper reporter's paraphrase of a quote or quotes                         of a regulatory letter.
from the conference call. Because Plaintiffs lack admissible
evidence that the statement at issue was actually made by any
Defendant, summary judgment on the statement is proper.             *19 Kapoor, 16 F. Supp. 2d at 943. As Plaintiffs point out,
                                                                   however, regardless of whether a Form 483 serves to initiate
                                                                   a dialogue between a company and the FDA, Kapoor does not
       f. April 23, 2002 press release (one statement)             hold that the issuance of a Form 483 is not an indication of
                                                                   FDA noncompliance. In fact, there is authority to the contrary
It is undisputed that between March 25, 2002 and April             —even from the same court that issued the Kapoor decision.
12, 2002, the FDA conducted an inspection of CryoLife's            See Anderson v. Abbott Labs., 140 F. Supp. 2d 894, 900
facilities, and in the aftermath of that inspection, on or about   (N.D. Ill. 2001) (stating that at the conclusion of an FDA
April 12, 2002, the FDA issued what it calls a “Form 483.”         inspection, the FDA served the defendant “with a Form 483,
The implications of the FDA's issuance of the Form 483,            noting further regulatory violations”); Arla Labs., Inc. v. Am.
however, are of course contested and pertain to the statement      Cyanamid Co., No. 92 C 2252, 1999 WL 160710, at *2 (N.D.
from CryoLife's April 23, 2002 press release that is at issue      Ill. Mar. 11, 1999) (noting that after FDA inspection, the
herein.                                                            FDA issued observations in a Form 483 that “pertained to
                                                                   the conditions at Arla's plant, Arla's compliance with various
Specifically, CryoLife stated in its April 23, 2002 press          regulations, and the competence of Arla's employees”); see
release that it “complies with current regulatory requirements     also United States of America v. Barr Labs., Inc., 812 F.
of the [FDA] in the handling and processing of human               Supp. 458, 465-66 (D. N.J. 1993) (“After a compliance
tissues.” Plaintiffs assert that this statement was knowingly      investigation, FDA inspectors must issue a Form 483 ... in
false when made because the FDA's issuance of the Form             which they record their observations about the firm's more
483 on April 12, 2002 was equivalent to an FDA notification        serious ... violations.”); United States of America v. Baxter
to CryoLife of noncompliance with certain FDA regulatory           Healthcare Corp., 901 F.2d 1401, 1415 (7th Cir. 1990) (Pell,
requirements. Defendants, however, argue that a Form 483           J., dissenting) (stating that a Form 483 is the “FDA's method
is merely a form on which individual FDA inspectors record         of informing the inspected facility of the agency's belief of a
their “observations,” and that a Form 483 is not tantamount        violative practice”); 36 Ex. 37 to Defs.' Mot. for Summ. J. at 3
to an FDA finding of regulatory violation. Defendants cite to      (the FDA warning letter, issued to CryoLife on June 17, 2002
Fujisawa Pharm. Co. v. Kapoor, 16 F. Supp. 2d 941 (N.D.            in the aftermath of this inspection, speaks of “[t]he specific
Ill. 1998) in support of their argument that the issuance of a     violations noted in this letter and in the [Form] 483”). The
Form 483 is only “a preliminary step in an ongoing dialogue        court finds that in light of this authority, and in light of the fact
between a regulated company and the FDA.” Specifically, in         that Kapoor does not expressly hold that receipt of a Form
Kapoor, the court stated that                                      483 is not equal to a finding of noncompliance with FDA
                                                                   regulations, there is a genuine issue of material fact as to the
                                                                   truth or falsity of CryoLife's assertion that it complied with
             Form 483s list observations made                      all FDA regulatory requirements as of April 23, 2002.
             by an FDA inspector during an
             inspection of a plant. When a company                 36      The court nevertheless observes that Plaintiffs
             receives a Form 483, it usually
                                                                           incorrectly and improperly classify Baxter
             submits a written response to the FDA
                                                                           Healthcare Corp. as a case in which the “Seventh
             disputing or explaining the inspector's
                                                                           Circuit noted” that a Form 483 is the “FDA's
             observations, or promising to correct
                                                                           method of informing the inspected facility of the
             the problem if the company agrees that



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       agency's belief of a violative practice.” Baxter                 identified. If any Clostridium is identified, all tissue
       Healthcare Corp., 901 F.2d at 1415. The quoted                   processed from that donor recovery site will not be
       language is from the dissent of Senior Circuit Judge             released for distribution.
       Pell and does not constitute any type of observation
       or holding of the “Seventh Circuit.” The court once               *20 3. Current inventory of tissue (both tissue
       again directs the parties' attention to Rule 11 of the           available for distribution and tissue in quarantine) will
       Federal Rules of Civil Procedure. See Fed. R. Civ.               be reviewed with regard to warm ischemic time and
       P. 11.                                                           refrigeration time. Any tissue falling outside of the warm
                                                                        ischemic or refrigeration time described above will not
Additionally, given that the Form 483 was issued to CryoLife
                                                                        be made available for distribution.
on April 12, 2002, the court finds that there is a genuine
issue of material fact as to whether CryoLife was severely         Ex. 34 to Defs.' Mot. for Summ. J. (emphasis added).
reckless in asserting that it complied with all FDA regulatory     Plaintiffs assert that this statement was false when made
requirements as of April 23, 2002. The court notes that the        because CryoLife did not implement pre-processing testing
April 23, 2002 press release does expressly mention the Form       on orthopaedic tissues until after September 2002. Defendants
483, but the press release dismisses the Form 483 as merely “a     do not contest that CryoLife had not implemented pre-
number of observations that do not encompass requirements          processing testing in May 2002. 37 Instead, Defendants argue
for significant change to CryoLife.” In light of the fact          only that “the May 2002 representation stated only that such
that observation number eleven in the Form 483 pertains to         testing was a step that ‘will be taken’; it did not say that such
problems with CryoLife's tissue processing operations, and         testing was already in place as of May 2002,” and accordingly,
in light of the fact that CryoLife (in addressing the March        the statement is “accurate and inactionable.”
15, 2002 press release) argues in this very litigation that
“scientific processing changes [can]not be made overnight          37
and [first] ha[ve] to be examined” (i.e., such changes are                 The court acknowledges that Defendants assert
significant), the court finds that the statement from the April            elsewhere that CryoLife implemented such testing
23, 2002 press release survives summary judgment.                          as of June 3, 2002; however, the point for this
                                                                           statement is that Defendants do not dispute that
                                                                           such testing was not in place when the May 2002
                                                                           “CryoLife Update” was published.
        g. May 2002 website posting (one statement)
                                                                   The court finds Defendants' argument in this regard to be
In a May 2002 posting to its website, entitled “CryoLife           emblematic of the manner in which a great deal of this
Update: Donor Criteria and Processing Changes—May 2002”            case has been litigated: incorrect, a waste of time, and quite
CryoLife asserted:                                                 possibly worthy of sanctions. Despite Defendants' use of
                                                                   quotation marks around the phrase “will be taken,” that phrase
  While CryoLife continues to work to validate a processing        appears nowhere in the May 2002 “CryoLife Update.” The
  technology to sterilize allograft tissue while maintaining       court acknowledges that the second “additional step” states
  its tissue integrity, we are taking the following additional     that “[p]rior to antimicrobial treatment, a microbiological
  steps that may reduce the risk of orthopaedic allograft-         sample of representative tissue shall be taken from each
  associated bacterial infections as outlined in the [CDC's]       donor recovery site of orthopaedic tissue,” but all three
  MMWR dated March 15, 2002.                                       “additional steps” listed in the May 2002 “CryoLife Update”
                                                                   are unquestionably modified by the clause “we are taking,”
     1. Warm ischemic time shall not exceed 15 hours unless
                                                                   as one can see from the court's full reproduction of the
     the body is refrigerated within 12 hours. As in the
                                                                   statement, supra. Thus, at the very least, the May 2002
     past, under no circumstances will CryoLife accept donor
                                                                   “CryoLife Update” implies that at that time, CryoLife had
     tissue that has been recovered after 24 hours.
                                                                   already commenced implementation of the “additional steps”
     2. Prior to antimicrobial treatment, a microbiological        listed therein. Defendants' argument that the May 2002
     sample of representative tissue shall be taken from           “CryoLife Update” “stated only that such pre-processing
     each donor recovery site of orthopaedic tissue. The           testing was a step that ‘will be taken’ ” in the future is
     sample shall be incubated and tested for anaerobic            simply wrong. It is also a violation of Rule 11 of the Federal
     microorganisms. Any resulting growth shall be                 Rules of Civil Procedure. 38 See Fed. R. Civ. P. 11. The


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court accordingly rejects Defendants' sole argument as to why      court notes that Anderson testified in his deposition that the
summary judgment is supposedly proper on this statement.           1997 warning letter was sent directly to him as President and
                                                                   CEO of CryoLife. Dep. of Steven G. Anderson at 153-54.
38                                                                 Given that summary judgment is generally inappropriate on
       The court notes that despite the fact that Plaintiffs
                                                                   scienter, and further given that the 1997 warning letter was
       raise the argument adopted by the court herein
                                                                   sent directly to Anderson himself, the court finds that there
       in their opposition to Defendants' Motion for
                                                                   is a genuine issue of material fact as to whether CryoLife's
       Summary Judgment, Defendants do not even
                                                                   statement that it had “never before received a warning letter”
       address the point in their reply brief. The court
                                                                   was severely reckless when made. Anderson and Vander Wyk
       is not certain whether this should be taken as
                                                                   may certainly testify at trial that they did not recall the 1997
       an indication that Defendants inadvertently made
                                                                   warning letter at the time they drafted the June 24, 2002 press
       their “will be taken” argument in their Motion
                                                                   release, but the jury is entitled to evaluate their credibility and
       for Summary Judgment and now waive the point,
                                                                   reject their explanation.
       or whether Defendants, having been caught red-
       handed in an intentional misrepresentation of the
                                                                   Defendants also argue that this statement is inactionable
       record, choose to simply hide behind their silence.
                                                                   because when it was made public, there was no market
       Either way, Defendants' conduct is unacceptable.
                                                                   reaction. Specifically, on June 27, 2002, the Wall Street
                                                                   Journal Online reported CryoLife's receipt of the 1997
       h. June 24, 2002 press release (four statements)            warning letter, and on July 5, 2002, CryoLife itself disclosed
                                                                   its receipt of the 1997 warning letter in a corrective press
In the aftermath of the FDA's issuance of its Form 483 in          release. According to Defendants, because there was no
April 2002, the FDA ultimately—on June 17, 2002—issued             market reaction on either June 27, 2002 or July 5, 2002,
a warning letter to CryoLife. See Kapoor, 16 F. Supp. 2d           the statement is not actionable as a matter of law because
at 943 (“If the FDA finds the company's response [to the           Plaintiffs cannot show that the statement caused any loss.
issuance of a Form 483 to be] unacceptable, the FDA may take       See, e.g., Robbins v. Koger Props., Inc., 116 F.3d 1441,
further action such as the issuance of a regulatory letter.”).     1447 (11th Cir. 1997) (plaintiff must show a substantial link
The June 17, 2002 warning letter essentially dovetails with        between misrepresentation and investment's decline in value).
the observations recorded in the April 12, 2002 Form 483.          According to Preston, however, the relevant price adjustment
                                                                   occurred on July 8, 2002, the first “full” trading day after
 *21 In response to the June 17, 2002 warning letter,              CryoLife issued the corrective press release. Preston's opinion
CryoLife issued a press release on June 24, 2002. Therein,         is that July 5, 2002 was only a half day of trading and that
CryoLife made four statements attacked by Plaintiffs in            trading on that day was exceptionally light because the market
this case. The first statement at issue from the June 24,          had been closed on July 4, 2002 and July 5, 2002 preceded
2002 press release is CryoLife's assertion that “since its         a traditional holiday weekend. The court takes judicial notice
inception, [CryoLife had] never before received a warning          that July 4, 2002 was a Thursday; that July 5, 2002 was a
letter [from the FDA].” Defendants apparently do not dispute       Friday; and that July 8, 2002 was a Monday.
the falsity of this statement. In 1997, Ideas for Medicine,
Inc., a CryoLife subsidiary, received an FDA warning letter.       Although the court reserves the right to revisit its decision
According to Defendants, however, “[t]he record is clear ...       after the Daubert hearing if necessary, the court at this time
that no one involved in the drafting of the June 24 press          concludes that Preston's opinion in this regard is sufficient
release remembered the earlier warning letter when drafting        to create a genuine issue of material fact as to whether
the June 24 press release.” Defendants argue that “[a]t most,      loss was caused by CryoLife's statement that it had never
this was excusable neglect, which is not securities fraud.”        before received an FDA warning letter. Of course, should the
                                                                   court at the Daubert hearing ultimately exclude Preston from
The court disagrees with Defendants as to the supposed             testifying as an expert, the court would likely find summary
clarity of the record. Although the court acknowledges that        judgment for Defendants to be appropriate on this statement,
Anderson and Vander Wyk aver in their affidavits that they         given that Defendants' damages expert—whom Plaintiffs do
“had previously been aware of the 1997 warning letter ... [but]    not seek to exclude—is of the opinion that the relevant days of
did not recall it at the time of the June 24 press release,” the



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market observation are June 27, 2002 and July 5, 2002 rather      their Motion for Summary Judgment or in their reply in
than July 8, 2002.   39                                           support of their Motion for Summary Judgment, although
                                                                  interestingly, that fact did not stop Defendants from asserting,
39                                                                via a chart attached to their reply brief, that they do
       The court notes, however, that Preston has
                                                                  address the statement in several places. See Ex. 61 to
       apparently been permitted to testify as an expert
                                                                  Defs.' Reply in Support of Their Mot. for Summ. J.
       witness on damages issues in securities law cases
                                                                  (“Exhibit 61”). In fact, Defendants' Exhibit 61 asserts that
       in several other federal courts. See Pls.' Resp. in
                                                                  Defendants address CryoLife's statement about the CDC's
       Opp'n to Defs.' Mot. to Exclude Preston at 6-7 and
                                                                  recommendations at pages 22-23, 25-26, and 35-36 of their
       infra note 45.
                                                                  Motion for Summary Judgment and at pages 11-13 of their
 *22 The next statements at issue from the June 24, 2002          reply, but several of those pages contain no discussion
press release are CryoLife's assertions that (1) CryoLife         about either CryoLife's statement that it was addressing the
“carefully considered the CDC's report of March 15, 2002 and      CDC's recommendations or CryoLife's statement that it was
adopted those recommendations which were scientifically           addressing the FDA's observations, and at best, the cited
useful and technically feasible,” and (2) as of June 24, 2002,    pages only contain discussion about CryoLife's response to
CryoLife had “either corrected the [FDA's] observations or        the FDA's observations. Accordingly, CryoLife's statement
will work closely with the FDA to correct them as soon as         that as of June 24, 2002 it had “carefully considered the CDC's
possible.” 40 According to Plaintiffs, these statements were      report of March 15, 2002 and adopted those recommendations
knowingly false when made because as of June 24, 2002,            which were scientifically useful and technically feasible”
CryoLife had still not re-adopted pre-processing testing,         remains in the case, and the court once again finds itself
despite the fact that CryoLife had previously engaged in          forced to direct the parties' attention to Rule 11 of the Federal
pre-processing testing until 1997. Plaintiffs also point to the   Rules of Civil Procedure. Defendants' Exhibit 61 (at least with
FDA's August recall of CryoLife's inventory as evidence           regard to “statement 25a”) is inaccurate and misleading.
of the falsity of the second statement, and on the question
of scienter, Plaintiffs point to a May 15, 2002 letter from       As for Defendants' argument that CryoLife was, as of June
Vander Wyk to the FDA on behalf of CryoLife wherein               24, 2002, in good faith addressing the FDA's observations
CryoLife asserted “that the [FDA] has no legal authority to       as noted in the April Form 483 and the June warning letter,
support many of the” observations in the Form 483 and further     the court agrees with Plaintiffs that the FDA's August 2002
asserted that “the FDA has not yet established the legal basis    correspondence with CryoLife raises a genuine issue of
for such an inspection.” Plaintiffs' argument is essentially      material fact as to whether CryoLife had as of June 24,
that if in the aftermath of the FDA's issuance of the Form        2002 corrected or was “as soon as possible” going to correct
483 CryoLife was actively questioning the FDA's authority         the FDA's observations. The FDA's August 12, 2002 letter
to support the observations, CryoLife cannot have sincerely       specifically states that CryoLife's May 15, 2002, June 25,
addressed or intended to address the FDA's observations.          2002, and July 2, 2002 letters “do not adequately address
                                                                  most of the violations in the Warning Letter or ... the [Form]
40                                                                483 observations not specifically mentioned in the Warning
       The court was unable to locate the second of these
                                                                  Letter.” Additionally, on August 13, 2002, the FDA issued its
       statements in the Complaint. However, Defendants
                                                                  recall order letter for CryoLife's vascular non-valved cardiac
       treat the statement as properly pled, and the court
                                                                  and orthopaedic tissue processed by CryoLife since October
       will accordingly follow suit. See supra note 34.
                                                                  3, 2001. In the recall letter, the FDA advised CryoLife that
Defendants argue that it is “beyond dispute” that as of June      it was the FDA's “view that CryoLife has not promptly
24, 2002 CryoLife was in good faith addressing certain of         implemented appropriate corrective measures to address the
the FDA's observations and was working to address others. In      serious deficiencies that have been brought to [CryoLife's]
support of their argument, Defendants cite the May 15, 2002       attention,” including the “CDC's recommendations” and
letter to the FDA as well as other correspondence between         the FDA's observations. Moreover, in light of CryoLife's
CryoLife and the FDA.                                             argument to the FDA that the FDA lacked authority to support
                                                                  its observations, and further given the FDA's subsequent
First, the court notes that Defendants neglect to address the     classification of CryoLife's letters of May 15, 2002, June 25,
statement about the CDC's recommendations anywhere in             2002, and July 2, 2002 as essentially unacceptable, the court



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also finds that there are genuine issues of material fact as to
whether CryoLife was severely reckless in stating that as of
June 24, 2002 it had “corrected the [FDA's] observations or
                                                                            i. June 25, 2002 conference call (one statement)
will work closely with the FDA to correct them as soon as
possible.”                                                            On June 25, 2002, CryoLife conducted an analyst conference
                                                                      call in order to “discuss the issues associated with the [FDA's]
 *23 The final statement at issue in the June 24, 2002 press          warning letter” of June 17, 2002. Plaintiffs challenge one
release pertains to CryoLife's distribution of heart valves.          statement from the conference call as false when made;
Specifically, in its June 24, 2002 press release, CryoLife            specifically, Vander Wyk's response to the question of
addressed reports of endocarditis allegedly associated with           whether any of the “current issues with the FDA ... could
two CryoLife-distributed heart valves, stating: “The ... FDA          [adversely affect CryoLife's] inventory.” Vander Wyk stated,
inspection at CryoLife, completed in April 2002, followed a           in pertinent part:
report of two allograft heart valve infections. Subsequently,
CryoLife received pathology data from the implanting
hospitals' own laboratories that clearly demonstrated that                         The inventory of tissue that we are
there was no evidence of infection in either valve.” However,                      holding for the procurement agencies,
on July 5, 2002, CryoLife corrected the June 24, 2002                              I am not aware is under suspicion at all.
statement, stating that “subsequent communications” with                           The FDA does, have, always, if you
the CDC revealed “signs of fungal infection were isolated                          will, standard legal language in every
on a culture of the explanted [heart] valve.” According to                         warning letter that they ever issue that
Defendants, the June 24, 2002 statement was true when made                         says that a company's operations are
because—as Plaintiffs acknowledge—a cusp of the valve did                          obviously at risk and there is always
in fact test negative for fungal infection at the hospital and that                a potential for action on inventory, but
report was sent to CryoLife. Additionally, Defendants argue                        that is if the issues are not resolved.
that the CDC's subsequent disclosure to CryoLife that there                        CryoLife intends to resolve the issues,
was evidence of fungal infection in the valves is not sufficient                   is capable of resolving the issues, and
to render the June 24, 2002 statement false when made.                             has made a commitment to do that. My
                                                                                   opinion right now is that there is no
However, Plaintiffs argue that the June 24, 2002 statement                         reflection upon that current inventory.
was false when made, because (as reported in a July 6,
2002 Wall Street Journal Online article and discussed supra
at Section III(B) ), Kainer can apparently testify that on
                                                                      As discussed supra at Section III(C)(1)(h) with regard to
March 22, 2002, the CDC provided CryoLife with “the
                                                                      the June 24, 2002 press release, there are genuine issues
relevant information” tending to show fungal infection in
                                                                      of material fact as to whether CryoLife in late June in
the heart valve. In fact, the July 6, 2002 article reports that
                                                                      fact “intend[ed] to resolve the issues” raised by the FDA.
CryoLife confirmed to the CDC that it received the patient's
                                                                      More specifically, as acknowledged by Defendants in the
operation report in March, and that report at least contained
                                                                      June 25, 2002 conference call, the June 17, 2002 warning
evidence of fungal infection. Given that Kainer can testify
                                                                      letter expressly advises CryoLife of the possibility of adverse
about information pertaining to the patient's endocarditis that
                                                                      action against its inventory: “You should take prompt action
she allegedly provided to CryoLife on behalf of the CDC
                                                                      to correct these deviations. [The] FDA may take additional
in March 2002, the court finds that there are genuine issues
                                                                      regulatory action without further informal notice, including,
of material fact as to whether CryoLife's June 24, 2002
                                                                      but not limited to, seizure, injunction, civil penalties, and/or
statement that the pathology data “clearly demonstrated that
                                                                      an Order for Retention, Recall, and/or Destruction.” Given
there was no evidence of infection” was knowingly false
                                                                      that there are issues of material fact as to whether CryoLife
when made. See also Aug. 12, 2002 Letter from FDA to James
                                                                      intended to resolve the issues raised by the FDA in the
Vander Wyk (stating that the CDC “has informed us that they
                                                                      Form 483 and the warning letter, and given the language
notified you on March 22, 2002 that test results from the
                                                                      of the warning letter itself, there are genuine issues of
hospital where the [heart] valve was implanted confirm that
                                                                      material fact as to whether the June 25, 2002 statement
the recipient ... had acquired fungal endocarditis”).
                                                                      that CryoLife's inventory was not under suspicion “at all”


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was false when made. Moreover, it is apparently undisputed        the market [such that] any alleged omission regarding such
that in January 2002 the CDC requested that CryoLife              risk is inactionable.” The court, however, rejects Defendants'
conduct testing of a portion of its inventory to determine        argument. Defendants' disclosure of the “standard legal
whether the inventory contained additional contaminated           language” in FDA warning letters indeed conveyed to the
tissues. Even accepting Defendants' argument that the CDC         market that a recall was possible. However (as discussed),
“lacked regulatory authority to order a recall of CryoLife's      there are genuine issues of material fact as to whether
tissues,” the court nevertheless disagrees with Defendants        the statement was severely recklessly misleading by virtue
that the CDC's request in this regard thus “did not indicate      the statement's omission of (a) CryoLife's arguable intent
likely future adverse action on the inventory.” Given that the    not to comply fully with the FDA's observations, despite
CDC and the FDA unquestionably worked closely together to         its assertion directly to the contrary; and/or (b) the CDC's
investigate CryoLife in the aftermath of the Lykins incident,     January 2002 request for an examination of CryoLife's
the CDC's January 2002 request that CryoLife conduct              inventory. Accordingly, “the truth regarding the risk of a
inventory testing, viewed in the light most favorable to          recall” was not fully known to the market at the time of
Plaintiffs, is evidence that CryoLife's inventory was “under      the June 25, 2002 statement, and the statement remains
suspicion” for a recall in June 2002. See, e.g., Aug. 12,         actionable.
2002 Letter from FDA to James Vander Wyk (stating that
the CDC “has informed us that they notified you on March
22, 2002 that test results from the hospital where the [heart]
                                                                        j. July 23, 2002 conference call (two statements)
valve was implanted confirm that the recipient ... had acquired
fungal endocarditis”); Aug. 13, 2002 Letter from FDA to           In a July 23, 2002 analyst conference call regarding
Steven G. Anderson (noting that the CDC and the FDA               second quarter earnings, CryoLife asserted that “the FDA
conducted a “joint inspection” of CryoLife in December            observations are being addressed” and also asserted that it
2001 and criticizing CryoLife for failing to implement CDC        had implemented “pre-processing bacterial testing.” Plaintiffs
recommendations). The evidence that as of June 24, 2002,          assert that these statements were knowingly false when made,
CryoLife may not have actually intended to address the            arguing that deposition testimony from Heacox tends to
FDA's observations, combined with the evidence tending to         show that CryoLife did not implement pre-processing testing
show that as early as January 2002 CryoLife may have been         until September 2002, and further arguing, as discussed
on notice of a possible threat to its inventory, also allows      supra, that in July 2002 CryoLife had neither addressed
Plaintiffs to survive summary judgment on the question of         nor intended to address the FDA observations. Defendants
scienter. 41                                                      argue that CryoLife actually implemented pre-processing
                                                                  testing by June 2002 and, as discussed, argue that CryoLife
41                                                                was imminently addressing or had addressed all FDA
        The court acknowledges that Wells (Plaintiffs' own
                                                                  observations. The court need not decide which side has the
        regulatory expert) was unwilling to testify that
                                                                  better of the falsity and scienter arguments for the July
        Defendants should have known that a recall was
                                                                  23, 2002 statements, however. More specifically, Defendants
        “likely,” instead only testifying that Defendants
                                                                  argue in their Motion for Summary Judgment that Preston
        should have known that a recall was “possible.”
                                                                  (Plaintiffs' damages expert) is of the opinion that the July 23,
        This is evidence tending to show that Defendants
                                                                  2002 statements actually decreased the percentage inflation
        were not severely reckless in asserting that
                                                                  of the CryoLife stock price, and that as a result, Plaintiffs
        CryoLife's inventory was not under suspicion in
                                                                  cannot show that the July 23, 2002 statements caused any loss.
        June 2002; however, it is for the jury to determine
                                                                  Plaintiffs in response simply state that “evidence concerning
        which evidence is more persuasive on the question
                                                                  the July 23, 2002 deceptions [is] admissible, even if no
        of scienter. See, e.g., Sammons, 967 F.2d at 1545.
                                                                  particular losses are attributed to them.” However, Plaintiffs
        For these same reasons, Plaintiffs' Motion for
                                                                  do not bother to show why any “particular losses” should
        Partial Summary Judgment on this statement is
                                                                  be attributed to the July 23, 2002 statements, and as a
        DENIED. See infra at Section III(C)(2).
                                                                  result, summary judgment is appropriate thereon. 42 See
 *24 Finally, Defendants argue that the June 25, 2002
                                                                  Theoharous, 256 F.3d at 1224.
statement is not actionable because Defendants' disclosures
made “the truth regarding the risk of a recall ... known to



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42     As discussed supra, the court does not at this time
       decide the question of whether evidence of other                           l. 2000 and 2001 Form 10-Ks
       alleged misstatements is admissible for the purpose
       of proving fraud.                                            *25 Finally, Plaintiffs challenge statements made by
                                                                   CryoLife in its 2000 and 2001 Annual Report on Form 10-
                                                                   Ks (“Form 10-Ks”). A company's Form 10-K, filed with the
      k. August 14, 2002 press release (one statement)             SEC, is intended to provide a comprehensive overview of
                                                                   the company's business and financial condition. CryoLife's
In its August 14, 2002 press release, announcing                   2000 Form 10-K was filed with the SEC on April 2, 2001.
receipt of the FDA recall order on August 13, 2002,                CryoLife's 2001 Form 10-K was filed with the SEC on March
CryoLife made the following statement: “The [CDC]                  29, 2002.
made several recommendations to CryoLife, many of
which were already included in [CryoLife's] procedures.            Although Plaintiffs reproduce massive sections of each
Others were adopted well in advance of the FDA's                   of CryoLife's Form 10-Ks in the Complaint, the upshot
order, including recommended refrigeration protocols,              of Plaintiffs' claim is that CryoLife misleadingly asserted
preprocessing microbiological cultures and tissue discard          in its Form 10-Ks that it was in compliance with FDA
criteria.” Plaintiffs assert that this statement was knowingly     regulations. According to Plaintiffs, those statements are
false when made because CryoLife did not adopt the                 “false and misleading because the FDA confirmed CryoLife's
CDC's pre-processing or tissue discard recommendations             regulatory violations during inspections in 1998, 1999, 2001
until September 2002. As they did in defending the July 23,
                                                                   and 2002.” 43 Plaintiffs argue that because the FDA's April
2002 statements, Defendants argue that CryoLife actually
                                                                   2002 Form 483, June 2002 warning letter, and August 2002
implemented pre-processing testing by June 2002, such that
                                                                   recall letter all discuss past noncompliance by CryoLife that
the August 14, 2002 statement was factually accurate. In
                                                                   existed at the time the 2000 and 2001 Form 10-Ks were filed,
response, Plaintiffs point to Heacox's deposition testimony,
                                                                   there is a genuine issue of fact as to whether the statements
wherein he testified that “the date that sits in [his] mind” for
                                                                   at issue in the 2000 and 2001 Form 10-Ks were false when
when CryoLife began to use a compulsory tissue discard list
                                                                   made.
is September 2002.

                                                                   43
Although Defendants argue that Heacox's testimony does not                The court notes that although Plaintiffs also
pertain to when CryoLife instituted pre-processing testing,               assert that the Form 10-Ks misleadingly state that
that argument is irrelevant because Heacox's testimony                    CryoLife was “inspected by the FDA and four
unquestionably does pertain to the matter of when CryoLife                states,” Plaintiffs point to no evidence in support of
implemented a compulsory tissue discard list. Specifically,               that allegation, and accordingly summary judgment
though Heacox was not 100% certain of the date CryoLife                   is proper thereon.
commenced compulsory tissue discard, he testified that the         Even accepting Plaintiffs' contention that there is a genuine
“date that sits in [his] mind is the September [2002] date that    issue of material fact as to the truth or falsity of the
I know of.” Defendants argue that Heacox “could not recall”        statements in the Form 10-Ks, the court finds that Plaintiffs
when CryoLife instituted tissue discard, but the transcript        fail to demonstrate a genuine issue of material fact that the
of Heacox's testimony clearly indicates that, to the best of       allegedly misleading statements in the Form 10-Ks were
his recollection, such discard occurred in September 2002.         made with severe recklessness. Specifically, Plaintiffs do not
This is sufficient to raise a genuine issue of material fact as    persuasively address the fact that the Form 10-Ks were both
to the falsity of CryoLife's August 14, 2002 statement that        filed with the SEC prior to the FDA's issuance of the Form
“well in advance” of that date it had adopted the CDC's tissue
                                                                   483, the warning letter, and the recall letter. 44 Although
discard criteria. Additionally, the court finds that there are
                                                                   those documents arguably show that CryoLife's assertions of
genuine issues of material fact as to whether this statement
                                                                   regulatory compliance in April 2001 and March 2002 were
was made with severe recklessness, given that CryoLife was
                                                                   inaccurate, the court fails to see how those documents also
unquestionably aware of the CDC's recommendations in one
                                                                   show that CryoLife was severely reckless to assert regulatory
form or another for several months by August 14, 2002.
                                                                   compliance in April 2001 and March 2002. As of those
                                                                   dates, it is undisputed that CryoLife had not received a Form


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483 since 1999. Although the FDA inspected CryoLife in              thereof “more than ‘touch[ ] upon’ the causes of investors'
December 2001, no Form 483 was issued in the aftermath              losses.” Moreover, Preston's deposition testimony and expert
of that inspection. The FDA issued no Form 483 until April          reports indicate that she will testify (if she otherwise qualifies)
2002. Accordingly, summary judgment is appropriate on the           simply that the alleged misstatements “caused” Plaintiffs'
statements in CryoLife's Form 10-Ks.                                loss. Preston does not purport to (and, in fact, will not be
                                                                    permitted to) opine that loss causation is present in this case
44                                                                  merely because Defendants' misrepresentations “touch upon”
        Indeed, the court notes that the 2000 Form 10-K
                                                                    investors' losses.
        was filed well in advance of the Lykins incident.

                                                                    45      The court notes that Plaintiffs inconsistently (and
       m. Motive and opportunity evidence of scienter                       improperly) argue for and against the “touch upon”
                                                                            theory of causation. Compare Pls. Mot. for Partial
The court at this time makes no finding as to the viability
                                                                            Summ. J. at 20 (“To demonstrate loss causation,
of Plaintiffs' motive and opportunity evidence. Plaintiffs
                                                                            ‘plaintiff must show that the misrepresentation
have adduced sufficient evidence of scienter to survive
                                                                            touches upon the reasons for the investment's
summary judgment where noted by the court, and Plaintiffs
                                                                            decline in value.’ ”) (citation and internal quotation
have adduced insufficient evidence of scienter to survive
                                                                            marks omitted); with Pls.' Supplemental Mem. of
summary judgment (even if they had the benefit of motive and
                                                                            Law to Address Intervening Supreme Ct. Authority
opportunity evidence) where the court has granted summary
                                                                            at 2 n.1 (“Defendants claim that ‘Plaintiffs have
judgment on that basis. See Bryant, 187 F.3d at 1285-86.
                                                                            [mis]read [Eleventh Circuit case law] to permit
                                                                            proof of loss causation through evidence that
                                                                            an alleged misstated or omitted fact touches
                       n. Loss causation                                    upon the subject matter of a later disclosure that
                                                                            precedes a stock drop.’ Plaintiffs have done no
Finally, the court addresses Defendants' loss causation                     such thing, having altogether omitted any ‘touches
argument. As recently explained by the Supreme Court,                       upon’ analysis from their Opposition.”) (citation
loss causation is “a causal connection between the material                 and internal quotation marks omitted). Regardless,
misrepresentation[s] and the loss.” Dura Pharms., Inc. v.                   Dura clarifies that a misrepresentation must do
Broudo, 125 S. Ct. 1627, 1631 (2005). In Dura, the Supreme                  more than “touch upon” a plaintiffs' loss.
Court rejected the Ninth Circuit's conclusion that a securities
                                                                    As for loss causation generally, it appears otherwise
fraud plaintiff only need establish that the price of the stock
                                                                    undisputed that if Preston qualifies as an expert at the Daubert
at issue was “ ‘on the date of purchase ... inflated because of
                                                                    hearing, her opinions provide Plaintiffs with sufficient
the misrepresentation.’ ” Id. (citation omitted). A securities
                                                                    evidence of loss causation to survive summary judgment.
fraud plaintiff must show that the stock price dropped “after
                                                                    According to Defendants' final brief on the issue:
the truth became known” and that the drop in stock price
(i.e., the plaintiff's loss) was caused by the untruth. Id. at
1634. An artificially inflated purchase price “may prove
to be a necessary condition of any such loss,” so that the                       To be sure, Ms. Preston appears to be
“misrepresentation ... ‘touches upon’ [the] later economic                       of the opinion that some misstatements
loss.” Id. at 1632. But “[t]o ‘touch upon’ a loss is not to cause                or omissions caused loss, and she so
a loss, and it is the latter that the law requires.” Id.                         stated various times in her reports and
                                                                                 her depositions. The problem is that
 *26 In addition to seeking to exclude Preston's testimony                       Plaintiffs ... have not shown that Ms.
on the various bases that will be addressed at the                               Preston's opinions in this regard [meet
Daubert hearing, Defendants also argue that Preston's                            the requirements of] Federal Rule of
analysis improperly finds loss causation where the alleged                       Evidence 702 [and] Daubert.
misrepresentations only “touch upon” Plaintiffs' loss. 45
However, Preston's rebuttal expert report reflects Preston's
opinion that the alleged misstatements and the disclosures



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                                                                         issue of whether the statement was made with the
Defs.' Resp. to Pls.' Mot. for Leave to File Supplemental                requisite level of scienter.
Br. to Address Intervening Supreme Ct. Authority at 2.
                                                                  *27 The Private Securities Litigation Reform Act of 1995
Accordingly, although the court is willing to revisit the
                                                                 (“PSLRA”) “insists that securities fraud complaints ‘specify’
question of loss causation should Preston ultimately not
                                                                 each misleading statement; that they set forth the facts ‘on
qualify as an expert, at this time, summary judgment is not
                                                                 which [a] belief’ that a statement is misleading was ‘formed’;
appropriate thereon. 46
                                                                 and that they ‘state with particularity facts giving rise to a
                                                                 strong inference that the defendant acted with the required
46     The court again notes with some interest, however,        state of mind.’ ” Dura, 125 S. Ct. at 1633 (citing the PSLRA,
       that Preston has been permitted to testify as an          15 U.S.C. §§ 78u-4(b)(1), (2) ) (emphasis added). This
       expert witness in front of several other federal          requirement is well-settled, and as illustrated by the Supreme
       courts, including at least once on behalf of the          Court's use of the word “insists,” it is non-negotiable. See
       SEC. See Pls.' Resp. in Opp'n to Defs.' Mot. to           also Phillips v. Scientific-Atlanta, Inc., 374 F.3d 1015, 1016
       Exclude Preston at 6-7. The court also notes that,        (11th Cir. 2004) (“The statute states that the complaint ‘shall
       although the parties have not briefed the question,       specify each statement alleged to have been misleading....’
       some courts have apparently reserved the issue of         ”) (emphasis added); Anderson, 140 F. Supp. 2d at 903-04
       causation for a separate hearing after a finding          (holding that because statements in securities fraud class
       that the other elements are present. See 4 Alan           action “were not pled” in Complaint, the court “need not
       R. Bromberg & Lewis D.Lowenfels, Securities               discuss them” and further holding that under the PSLRA,
       Fraud and Commodities Fraud § 7:499 (2d ed.               “plaintiffs must, at the very least, identify which statement is
       2004) (“Such a procedure ... helps to promote             made misleading by defendants' omission. Their failure to do
       settlement and avoid confusion of the different           so is fatal to those claims”).
       possible functions of causation.”).
                                                                 Plaintiffs assert that “[a]ll of the alleged false statements [on
                                                                 which they move for summary judgment] pertain to” issues
     2. Plaintiffs' Motion for Partial Summary Judgment          raised in the Complaint, such as CryoLife's tissue processing
                                                                 procedures and the government investigation of CryoLife, but
Plaintiffs themselves seek summary judgment on several
                                                                 that is not the point. The statements themselves are not in the
other allegedly misleading statements made by Defendants.
                                                                 Complaint, and that is unquestionably required for recovery
Specifically, Plaintiffs ask the court to grant them summary
                                                                 under the PSLRA. Plaintiffs' argument that “Defendants have
judgment on statements allegedly made in CryoLife's March
                                                                 been on notice of all of the statements that are the subject
15, 2002 conference call (and reduced to writing in CryoLife's
                                                                 of Plaintiffs' Motion [for Partial Summary Judgment] for
March 2002 “CryoLife Update”); a statement from the April
                                                                 many months” is unavailing for the same reason. The PSLRA
23, 2002 press release; and a statement from an April 24, 2002
                                                                 requires that for a statement to be actionable, it must be
conference call. 47 However, because essentially none of the     pled in the Complaint. In light of the fact that Plaintiffs'
statements upon which Plaintiffs seek summary judgment           attorneys purportedly specialize in securities fraud cases,
are in the Complaint, summary judgment for Plaintiffs is         Plaintiffs' Motion for Partial Summary Judgment (beyond the
inappropriate on those statements. Indeed, Plaintiffs are        one statement from the June 25, 2002 conference call that is
precluded from recovering on any statements not pled in the
                                                                 in the Complaint) thus borders on the frivolous. 48 Plaintiffs'
Complaint.
                                                                 Motion for Partial Summary Judgment is thus DENIED. 49
47     Plaintiffs also seek summary judgment on                  48
       CryoLife's June 25, 2002 assertion in an investor                 The court additionally finds Plaintiffs' Motion
       conference call that its inventory was not under                  for Partial Summary Judgment to be particularly
       FDA suspicion at that time. As discussed supra                    improper in light of the assurances Plaintiffs made
       at note 41, Plaintiffs' Motion for Partial Summary                to the court in their response to Defendants' Motion
       Judgment on this statement is DENIED because                      to Exclude Plaintiffs' Experts' Opinions as to Truth
       there are genuine issues of material fact on the                  or Falsity. See supra note 14 and accompanying
                                                                         text.



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                                                                      Motion to Exclude Trainor [Doc. No. 182], Defendants'
49     Finally, beyond the substantive failures of                    Motion to Exclude Preston [Doc. No. 184], and Plaintiffs'
       Plaintiffs' Motionfor Partial Summary Judgment,                Motion to Exclude Benson [Doc. No. 230] until the Daubert
       the court also denies the Motion on the grounds                hearing, except as otherwise noted herein. Additionally, for
       that it is untimely. See supra note 8. For future              purposes of docket maintenance, Defendants' Motion to
       reference, in case there was any confusion, the                Exclude Kainer [Doc. No. 163] and Plaintiffs' Motion to
       court advises the parties that when a deadline is “set         Exclude Trainor [Doc. No. 181] are DENIED.
       in stone,” that means it is non-negotiable.
                                                                       *28 Defendants' Motion to Amend the Scheduling Order
IV. Summary                                                           [Doc. No. 149] is DENIED AS MOOT. The parties' Joint
And thus, over eighty pages after it began, the court has             Motion to Extend Page Limits for Summary Judgment
addressed each and every motion currently pending on the              Briefing [Doc. No. 172] is GRANTED. Defendants' Motion
docket in this case. To recap: Plaintiffs' Advice of Counsel          for Oral Argument [Doc. No. 195] is DENIED. Defendants'
Motion to Compel [Doc. No. 135] is DENIED, with Plaintiffs            Motion to File Under Seal [Doc. No. 196] is GRANTED.
to pay Defendants' reasonable attorney's fees and costs               Plaintiffs' Motion for Leave to File Supplemental Brief to
incurred in responding to the Motion. Plaintiffs' Motion to           Address Intervening Supreme Court Authority [Doc. No.
Compel Documents from Experts [Doc. Nos. 165 and 168]                 231] and Plaintiffs' Motion for Leave to File Supplemental
is DENIED. Defendants' Motion for Daubert Hearing [Doc.               Brief to Address Intervening Eleventh Circuit Authority
No. 150] is GRANTED. The Daubert hearing is scheduled for             [Doc. No. 232] are GRANTED.
Tuesday, June 28, 2005 and Wednesday, June 29, 2005. 50
                                                                      Finally, for the foregoing reasons and in the manner described
50                                                                    herein, Defendants' Motion for Summary Judgment [Doc. No.
       Inlight of the parties' dispute about the necessity for
                                                                      194] is GRANTED IN PART AND DENIED IN PART, and
       a Daubert hearing, the court is reluctantly willing
                                                                      Plaintiffs' Motion for Partial Summary Judgment [Doc. No.
       to revisit the scheduling of the hearing prior to its
                                                                      197] is DENIED. The parties' consolidated pretrial order is
       actual commencement, via teleconference with the
                                                                      due within twenty (20) days after the court's Daubert rulings,
       parties.
                                                                      and no extensions will be granted. (That deadline is “set in
Defendants' Motion to Exclude Plaintiffs' Experts' Opinions           stone.”)
as to Truth or Falsity [Doc. No. 151] is GRANTED IN PART
AND DENIED IN PART, without prejudice to Defendants'
                                                                      IT IS SO ORDERED, this 17 th day of June, 2005.
right to later move in limine to exclude from evidence alleged
misstatements that are not in the Complaint but that Plaintiffs
might seek to introduce into evidence on the question of              All Citations
scienter. The court defers ruling on Defendants' Motion
to Exclude Kainer [Doc. No. 152], Defendants' Motion to               Not Reported in Fed. Supp., 2005 WL 8155579
Exclude Doppelt and Eastlund [Doc. No. 153], Plaintiffs'

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                                                                Baumstein, Esquire, and Kimberly A. Haviv, Esquire of
                     2015 WL 6039690                            White & Case LLP.

                                                                Kenneth J. Nachbar, Esquire and Lindsay M. Kwoka, Esquire
Editor's Note: Additions are indicated by Text and deletions
                                                                of Morris, Nichols, Arsht & Tunnell LLP, Wilmington,
by Text .
      Only the Westlaw citation is currently available.         Delaware. Counsel for Defendants Kleiner Perkins Caufield
         United States District Court, D. Delaware.             & Byers LLC and Ray Lane. Of Counsel: Michael D. Celia,
                                                                Esquire, Laurie Carr Mims, Esquire, and Sophie A. Hood,
      IN RE FISKER AUTOMOTIVE HOLDINGS,                         Esquire of Keker & Van Nest LLP.
          INC. SHAREHOLDER LITIGATION

                    Civ. No. 13-2100-SLR                             * * REVISED MEMORANDUM OPINION * *
                               |
                   Signed October 15, 2015                      ROBINSON, District Judge

Attorneys and Law Firms                                         I. INTRODUCTION
                                                                 *1 By an order dated June 30, 2014, the court consolidated
Norman M. Monhait, Esquire and P. Bradford deLeeuw,             three securities fraud lawsuits filed against defendants Henrik
Esquire of Rosenthal, Monhait & Goddess, P.A., Wilmington,      Fisker, Bernhard Koehler, Joe DaMour, Peter McDonnell,
Delaware. Counsel for Plaintiffs. Of Counsel: Kurt Olsen,       Kleiner Perkins Caufield & Byers LLC, Ray Lane, Keith
Esquire of Klafter Olsen & Lesser LLP and Todd S.               Daubenspeck, Richard Li Tzar Kai, and Ace Strength,
Collins, Esquire and Barbara A. Podell, Esquire of Berger &
                                                                Ltd. (collectively “defendants”). 1 (D.I. 23) On July 23,
Montague, P.C.
                                                                2014, plaintiffs 2 filed an amended consolidated complaint
M. Duncan Grant, Esquire and Christopher B. Chuff., Esquire     (“complaint”) alleging violations of the Securities Act of
of Pepper Hamilton LLP, Wilmington, Delaware. Counsel           1933 (the “Securities Act”) and the Securities Exchange Act
for Defendant Keith Daubenspeck. Of Counsel: Min Choi,          of 1934 (the “Exchange Act”). (D.I. 24) Presently before
Esquire of Pepper Hamilton LLP.                                 the court are defendants' motions to dismiss the consolidated
                                                                complaint. (D.I. 29; D.I. 31; D.I. 33; D.I. 36; D.I. 38; D.I.
Vernon R. Proctor, Esquire of Proctor Heyman Enerio             43) Plaintiffs filed a motion for judicial notice of certain
LLP, Wilmington, Delaware. Counsel for Defendant Peter          documents. (D.I. 54) The court has jurisdiction pursuant to
McDonnell. Of Counsel: Steven J. Rosenberg, Esquire of          Section 22 of the Securities Act (15 U.S.C. § 77v), Section
Steven J. Rosenberg, P.C.                                       27 of the Exchange Act (15 U.S.C. § 78aa), and 28 U.S.C. §
                                                                1331.
William B. Chandler III, Esquire and Ian R. Liston, Esquire
of Wilson Sonsini Goodrich & Rosati, P.C., Wilmington,
                                                                1
Delaware. Counsel for Defendants Henrik Fisker and                     The present action filed on December 27, 2013; CK
Bernhard Koehler. Of Counsel: David J. Berger, Esquire and             Investments LLC v. Fisker, Civ. No. 14-118 filed on
Steven Guggenheim, Esquire of Wilson Sonsini Goodrich &                January 31, 2014; and PEAK6 Opportunities Fund
Rosati, P.C.                                                           L.L.C. v. Fisker, Civ. No. 14-119 filed on January
                                                                       31, 2014. All citations are to the present action, Civ.
J. Clayton Athey, Esquire of Prickett, Jones & Elliott, P.A.,          No. 13-2100, unless otherwise indicated.
Wilmington, Delaware. Counsel for Defendant Joe DaMour.
                                                                2
Of Counsel: Peter M. Stone, Esquire and Panteha Abdollahi,             Defined below.
Esquire of Paul Hastings LLP.
                                                                II. BACKGROUND
Samuel A. Nolen, Esquire and Katharine C. Lester, Esquire
of Richards, Layton & Finger, P.A., Wilmington, Delaware.          A. The Parties
Counsel for Defendants Richard Li Tzar Kai and Ace Strength     Plaintiffs PEAK6 Opportunities Fund L.L.C. and MCP Fisker
Ltd. Of Counsel: Glenn M. Kurtz, Esquire, Douglas P.            are Illinois-based entities. Plaintiff 8888 Investments GmbH
                                                                is a Swiss-based entity. Plaintiff 12BF Global Investments,



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Ltd. is a company organized under the laws of the                (“Ace Strength”) is an investment vehicle through which
Cayman Islands with limited liability. Plaintiff ASC Fisker      defendant Richard Li Tzar Kai (“Li”) invested in Fisker
L.L.C. is a Florida-based entity. Plaintiff CK Investments       Automotive. Ace Strength was a controlling shareholder of
LLC (“CK Investments”) is a Maryland-based entity. The           Fisker Automotive. Li was a member of Fisker Automotive's
following entities are based in Texas: Plaintiff Atlas           Board of Directors at all relevant times. Defendant Keith
Management, the general partner and investment advisor to        Daubenspeck (“Daubenspeck”) was a Director of Fisker
plaintiff Atlas Fund (collectively, “Atlas”); plaintiff Hunse    Automotive and cofounder of Advanced Equities, Inc.
Investments, L.P. (“Hunse Investments”); plaintiff Southwell     (“Advanced Equities”), which was one of several investment
Partners, L.P. (“Southwell”); plaintiff Sandor Master Capital    banks or vehicles that Fisker Automotive used to raise
Fund (“Sandor”); and plaintiff Pinnacle Family Office            capital. Defendant Peter McDonnell (“McDonnell”) was the
Investments, L.P. (“Pinnacle”). Plaintiffs SAML Partners         senior managing director of the investment banking group
(“SAML Partners”) and Kenneth & Kimberly Roebbelen               at Advanced Equities and was responsible for, inter alia,
Revocable Trust of 2001 (“KKRR Trust”) are California-           marketing Fisker Automotive's Series D-1 offering. (Id. at ¶¶
based entities. Plaintiffs David W. Raisbeck (“Raisbeck”) and    27-35)
Dane Andreeff (“Andreeff”) are residents of Florida. Plaintiff
John S. Lemak (“Lemak”) is a resident of Texas. Plaintiff
Brian Smith (“Smith”) is a resident of Utah. (D.I. 24 at ¶¶         B. Fisker Automotive
9-25)                                                            In 2003, Fisker and Koehler founded Fisker Coachbuild
                                                                 LLC to create “new exterior car designs while utilizing
Non-party Fisker Automotive is a Delaware corporation            existing luxury car engineering.” (D.I. ¶ 37) On August 7,
which had its principal place of business in Anaheim,            2007, Quantum Fuel Systems Technologies Worldwide, Inc.
California. Non-parties Middlebury Group LLC, Middlebury         (“Quantum Fuel Systems”) and Fisker Coachbuild, LLC,
Ventures II/III, LLC, and/or Ridgemakers SPV II/III, LLC         launched Fisker Automotive to build plug-in hybrid cars and
                                                                 in the process sold $5.5 million in Series A financing. Fisker
(collectively, “Middlebury”) 3 are Delaware limited liability
                                                                 Automotive anticipated initial deliveries of a four-door sports
companies, which were also used by Fisker Automotive to
                                                                 sedan by December 2009. (Id. at ¶¶ 38-39) In January 2008,
raise capital. (Id. at ¶¶ 26, 36)
                                                                 Fisker Automotive completed a $20 million Series B round of
                                                                 financing, with Kleiner Perkins contributing more than $10
3      Plaintiffs Atlas, CK Investments, Raisbeck, Hunse         million and Lane joining Fisker Automotive's Board. (Id. at
       Investments, Southwell, Sandor, Lemak, Pinnacle,          ¶¶ 41-42)
       Andreeff, SAML Partners, KKRR Trust, and Smith
       are collectively the Middlebury plaintiffs.               On or about December 31, 2008, Fisker Automotive applied
 *2 Defendant Henrik Fisker (“Fisker”) was a co-founder          for a loan with the U.S. Department of Energy (“DOE”) under
and Director of Fisker Automotive. He was also Fisker            the DOE's Advanced Technology Vehicles Manufacturing
Automotive's Chief Executive Officer from its inception          Loan Program (“the ATVM loan”). (Id. at ¶¶ 44) On or about
through February 2012. Defendant Bernhard Koehler                March 2, 2009, Fisker Automotive raised approximately
(“Koehler”) was a co-founder of Fisker Automotive's              $68.5 million in Series C financing, including another
predecessor entity, Fisker Coachbuild, LLC, and was Fisker       investment from Kleiner Perkins. (Id. at ¶ 45) On August
Automotive's Chief Operating Officer at all relevant times.      23, 2009, Koehler wrote an email to the DOE inquiring
Defendant Joe DaMour (“DaMour”) was Fisker Automotive's          about the status of the ATVM loan application, because of
Chief Financial Officer at all relevant times through July       financial concerns. (Id. at ¶ 46) On September 18, 2009,
2012, after which he acted as a “special adviser” to             the DOE issued a $528.7 million Conditional Commitment
Fisker Automotive. Defendant Kleiner Perkins Caufield &          Letter and allocated $169.3 million for Fisker Automotive
Byers (“Kleiner Perkins”) is a venture capital firm with         to complete its first vehicle, the Fisker Karma (“Karma”),
its headquarters in Menlo Park, California, and was a            and $359 million to complete a low cost plug-in hybrid,
controlling shareholder of Fisker Automotive. Defendant          the Fisker Nina. Fisker Automotive had to complete several
Ray Lane was a Managing Partner of Kleiner Perkins               “milestones” to avoid default, including raising additional
and was Fisker Automotive's Chairman of the Board of             outside capital by certain dates and beginning commercial
Directors at all relevant times. Defendant Ace Strength Ltd      production of the Karma vehicle by February 2011 (“February
                                                                 2011 Karma production milestone”). (Id. at ¶¶ 47-51)


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                                                                  business and anticipate that we will continue to incur losses
On or about January 13, 2010, Fisker Automotive and A123          for the future.” (Id. at ¶ 57; D.I. 53, ex. Eat 44) It also
Systems, Inc. (“A123”) entered into a supply agreement            disclosed that “loss of key certain key personnel without DOE
for automotive batteries. A123 also agreed to invest              consent” could trigger a default on the ATVM loan. (D.I.
approximately $20.5 million in Fisker Automotive. (Id. at ¶       53, ex. Eat 44) It further included an “exculpation among
49) On January 20, 2010, an article 4 based on interviews         purchasers” clause stating that the purchasers are relying
with Fisker and Lane stated: “Lane said Fisker [Automotive]       solely on Fisker Automotive and “its officers and directors”
will grab the investing momentum surrounding the company          in making the decision to invest. (D.I. 53, ex. G at 18) By
to complete the $150 million funding round in ‘the next           May 2011, Kleiner Perkins owned a 12.61 % equity stake
month or two.’ ” (Id. at ¶ 50) On or about May 5, 2010,           in Fisker Automotive and Ace Strength 10.15%. (D. I. 24
Fisker Automotive raised an additional $145 million in Series     at ¶ 59) On May 13, 2011, an article 5 stated that “Lane,
A-1 venture capital from investors, including Kleiner Perkins     a managing partner at storied venture capital firm Kleiner
and Advanced Equities (the latter raising approximately $27       Perkins Caufield & Byers, said Fisker Automotive also plans
million from 347 private investors a few weeks later). (Id. at    to go public in the future ....” (Id. at ¶ 60)
¶ 52)
                                                                  5
                                                                         Luxury hybrid electric car maker Fisker
4
       Car Maker Taps Funding Karma, Wall Street                         Automotive raises an extra $100M, VentureBeat,
       Journal, January 20, 2010 (based primarily on                     May 13, 2011.
       interviews with Fisker and Lane).                           *3 Fisker Automotive continued to draw approximately
In March 2011, Fisker Automotive made a non-public                $29 million on the ATVM loan from February through May
presentation to DOE officials, representing that it met the       2011. (Id. at ¶ 64) In May 2011, after Fisker Automotive
February 2011 Karma production milestone for the ATVM             had completely drawn down the Fisker Karma portion of the
Loan, when in fact it had not. (Id. at ¶ 53) On or about          ATVM Loan, the DOE issued a non-public “drawstop notice”
March 23, 2011, Fisker Automotive raised an additional $190       to the Federal Financing Bank preventing Fisker Automotive
million in private equity including investments from Kleiner      from making any further draws on the Fisker Nina phase
Perkins and Advanced Equities. (Id. at ¶ 54) In April 2011,       of the loan. (Id. at ¶ 61) In June 2011, Fisker Automotive
Fisker Automotive solicited qualified investors in connection     informed the DOE that it had not met the February 2011
with a $100 million offering of Series C-1 Preferred Stock        Karma production milestone, contrary to its March 2011
(the “April 2011 Offering”). The related offering documents,      representation. On or about June 6, 2011, Fisker Automotive
including a Confidential Private Placement Memorandum             raised another $115 million in venture capital, including
dated March 31, 2011 (“March 2011 CPPM”), were available          investments from Advanced Equities, Kleiner Perkins and a
to plaintiffs and other investors. (Id. at ¶ 56) The March 2011   new investor, New Enterprise Associates. (Id. at ¶ 62)
CPPM described related party transactions and stated that
“Daubenspeck, AEFC and its affiliates, including [Advanced        In July 2011, Fisker Automotive began preparations for a new
Equities], have an economic interest in Fisker's success          round of financing. On July 27, 2011 (on behalf of Fisker
as well as the success of the Offering.” (Id. at ¶ 56;            Automotive), McDonnell, Fisker, Koehler and DaMour held
D.I. 53, ex. Eat 42) It also contained a statement on             a conference call with analysts and investors designed to
the cover page—“Preliminary Draft—Terms may Change                solicit investors “for a new round of private equity financing
Subject to Board and Shareholder Approval.” (D.I. 53, ex.         to raise approximately $150 million by issuing Series D-1
E) During the same timeframe, Middlebury circulated a             shares of Fisker Automotive.” (Id. at ¶ 66) DaMour discussed
Confidential Private Placement Memorandum (“April 2011            the ATVM loan, but did not mention that funds had been
Middlebury CPPM”) to the Middlebury plaintiffs soliciting         cut off. He explained that the interest rates were low and
qualified investors. Potential investors, including plaintiffs,   refinancing would not be needed. 6 A replay of the call
could examine Fisker Automotive's “Series C-1 Transaction         and a PowerPoint presentation by Fisker Automotive was
Documents” through a website link with the password               made available to plaintiffs and other investors. (Id. at ¶¶
included in the April 2011 Middlebury CPPM. (D.I. 24 at
                                                                  66-67) On August 21, 2011, an article 7 stated that “Fisker
¶ 57) The April 2011 Middlebury CPPM stated that Fisker
                                                                  Automotive is using a flurry of hype surrounding its first
Automotive had “incurred losses in the operation of our
                                                                  car—the $98,000 Karma hybrid—to ask for another $200


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million from investors ....” (Id. at ¶ 68) On September 15,       successfully raised more than $650 million in private sector
2011, Fisker Automotive began twelve rounds of sales of           investment to support its ongoing operations since closing
Series D-1 stock (ending on December 2, 2011), raising a total    its DOE loan.” (Id. at ¶ 70) On October 26, 2011, Fisker
of approximately $86 million based on offering documents          Automotive (with McDonnell, Fisker, Koehler, and DaMour
distributed in August 2011. The Amended and Restated              participating) held a conference call with investors. Plaintiffs
Series D-1 Preferred Stock Purchase Agreement (“December          summarized the call as “investors expressed concerns about
2011 stock purchase agreement”) states: “The Knowledge of         the ATVM Loan in light of the recent bankruptcy filing of
the Company shall mean the Knowledge of Henrik Fisker,            DOE loan guarantee recipient, Solyndra. Defendant Henrik
Bernhard Koehler, and Joseph DaMour.” (Id. at ¶ 69) The           Fisker stated that there was no risk of losing the DOE
December 2011 stock purchase agreement also contained an          loan.” (Id. 71)
“exculpation among purchasers” stating that the purchasers
are relying solely on Fisker Automotive and “its officers and      *4 On November 1, 2011, Fisker Automotive confidentially
directors” in making the decision to invest. (D.I. 53, ex. H at   informed the DOE that it would run out of cash within
21)                                                               three days without additional government loan money or
                                                                  an injection of private equity. (Id. 72) On November 4,
6                                                                 2011, A123 announced it was lowering its 2011 revenue
       Specifically, DaMour stated:
         We've already raised over $600 million worth             guidance range “due to an unexpected reduction in orders
         of equity and when you combine that with the             for battery packs from Fisker Automotive ....” (Id. 73) In
         Department of Energy loans, which we secured,            November 2011, two articles 8 based on interviews with Lane
         which are $530 million—that's $1.1 billion of            stated that Fisker Automotive would meet its 2012 production
         total capital already secured for the business.          goals. According to Lane, “[i]ln production of a first vehicle,
         ...                                                      everything doesn't go the way you plan .... Next year, we'll do
         But importantly, a significant cash cushion              exactly what we plan.” (Id. 74-75) On November 30, 2011,
         which provides significant security and comfort          Fisker Automotive confidentially informed the DOE that a
         to our suppliers and our dealers and all the other       modest investment increase of $37 million at mid-month had
         major partners we have that run the business             nudged its available cash up to a still-thin $20 million. (Id. 76)
         with us. So in sum, we know we are very well
         capitalized today.                                       8
                                                                          Fisker on track to make electric sports cars, despite
       (D.I. 24 at ¶ 67)                                                  delays, Calgary Herald (Alberta), November
7                                                                         18, 2011 and Fisker says Karma will meet
       Fisker asks investors for $200M more: Funding is
                                                                          15,000 production target for 2012, AutoblogGreen,
       being called a ‘pre-IPO’ round, The News Journal
                                                                          November 26, 2011.
       (Wilmington, Delaware), August 21, 2011.
                                                                  On December 8, 2011, Fisker Automotive's Board of
On October 20, 2011, the DOE posted a press release on
                                                                  Directors unanimously approved a 40% “pay to play”
its website touting the ATVM loan program and Fisker
                                                                  capital call imposed on all Fisker Automotive investors
Automotive. (D.I. 24 at ¶ 70) The DOE press release
                                                                  (the “December 2011 Capital Call”), based on “an obscure
stated in part, “[w]ith the help of a $529 million loan,
                                                                  provision in the April 2011 Offering documents called a ‘pay
Fisker is producing high performance vehicles with an
advanced hybrid electric powertrain that could significantly      to play’ capital call provision.” 9 Investors faced penalties
improve performance and fuel economy.” It explained that          of “having each share of preferred stock converted to one-
the two-part loan provides $169 million for the Fisker            half share of common stock, as well as the severe dilution
Karma (developed in “Fisker [Automotive]'s US facilities,         of their existing interests in Fisker Automotive” if they did
including its headquarters in Irvine, California which has 700    not comply. (Id. 79) On Sunday, December 11, 2011, Greg
employees and plans to continue hiring”) and $359 million for     Osborn (“Osborn”) of Middlebury sent an email to certain
the Fisker Nina (which will be produced in a now “shuttered       investors detailing the “pay to play” plan and attempting
General Motors plant in Delaware” and employ “more than           to appease the investors. (Id. at ¶¶ 80-81) The email stated
2,500 workers”). It also stated that “Fisker [Automotive]'s       that “Daubenspeck, a Fisker Board member and Chairman
production schedule was delayed by regulatory issues that         of Advanced Equities [will] join our call” the next day. (Id.
were outside of its control, but [Fisker Automotive] has          at ¶ 81) On December 15, 2011, Fisker Automotive made



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available to plaintiffs and other investors offering documents
associated with the December 2011 Capital Call, including the
Amended and Restated Series DI Preferred Stock Purchase                           *5 [t]he Board of Directors then
Agreement (“December 2011 Capital Call documents”). The                          instructed its officers to solicit the
December 2011 Capital Call documents provided that Fisker                        approval of the requisite vote of the
Automotive's                                                                     stockholders of the Company, mail
                                                                                 this Information Statement, and obtain
                                                                                 indications of interest from interested
            Board of Directors and the Audit                                     stockholders. The Company received
            Committee of the Company's Board of                                  the requisite vote of the stockholders
            Directors have reviewed and discussed                                to approve the Series D-1 Financing
            the terms of the Series D-1 Financing                                Capital Call on December 14, 2011.
            Capital Call ... and have determined
            that the terms of the Series D-1
            Financing Capital Call ... are in the                  (D.I. 53, ex. J at 55-56)
            best interests of the Company and its
            stockholders.                                          9        It is unclear in the complaint to which specific
                                                                            documents this refers.

(D.I. 53, ex. F at 1) A letter from Fisker (the “December 2011     On a conference call with investors December 15, 2011,
Fisker Letter) explained:                                          Fisker Automotive (represented by McDonnell, Fisker,
                                                                   Koehler, and DaMour) discussed the ATVM Loan status. The
  We have had several delays to the Karma program                  complaint states that “[o]n that call, ... DaMour discussed
  due to component part shortages, obtaining emissions             the ATVM [l]oan, stating that ‘[Fisker Automotive is]
  and regulatory clearances and fine tuning the Karma to           currently not drawing [on the ATVM loan] and that was
  get it ready for customers. Consequently, we did not             a mutual agreement between [Fisker Automotive] and the
  realize revenue as expected in 2011. We now believe that         government as [Fisker Automotive] work[s] to finalize the
  raising equity is a prudent course of action. Improving          revised covenants and milestones, but as you see, [Fisker
  our cash position will allow us to continue to build             Automotive] ha[s] $340 million remaining to be drawn and
  momentum behind the Karma production and sales launch            that will be drawn through the 2012 and first half 2013
  and maintain the 2013 launch timing of the Nina sedan.           timeframe.’ ” (Id. at ¶ 86) “[l]n response to investor questions
                                                                   about the ATVM Loan, ... Fisker reiterated that ‘there is not
  Management and the Board of Directors have determined            a risk that [the DOE] will not continue to fund because they
  that it is in the best interest of Fisker Automotive to          have already given us a commitment by letter that they are
  raise equity through the D-1 Financing Capital Call that is      committed to Fisker Automotive.’ ” (Id. at ¶ 87) Moreover,
  described in detail in the attached Information Statement. ...   plaintiffs allege:
  I encourage you to carefully review the Information
  Statement and consider a further investment in Fisker                DaMour ... stated “with the money we raised in this
  Automotive. Importantly, three of our major venture capital          round, [Fisker Automotive] can continue with the [Karma]
  investors, Kleiner Perkins, NEA and Pacific Century,                 indefinitely,” even if Fisker Automotive received no
  support this action and have already made, or committed              further funds from the DOE or other outside capital.
  to make, their capital calls, together totaling more than $57        And, in response to specific questions regarding Fisker
  million.                                                             Automotive's business plan and whether the funding from
                                                                       this $300 million Series D round would be sufficient to fund
(Id. 83) The Executive Summary accompanying the                        Fisker Automotive's business plan without another capital
December 2011 Fisker Letter described the “Board Approval              call or some other additional funding, Defendant DaMour
Process” as using an Audit Committee and discussing the                stated “this is the last ... private raise, and surely the last
Capital Call in “working group calls and meetings.” After              capital call .... The $300 [million] is enough to fund the
considering “a number of factors,”




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  complete plan as we have explained .... We are at the point             loan achievement goals to allow some cash to be drawn
  now that the ... [Karma] is fully funded.”                              down. “To date we have received $193 million of the
                                                                          $529 million Department of Energy loan, mostly for the
(Id. at ¶ 89) Plaintiffs allege that “Fisker ‘responded to                Karma program, and received our last reimbursement in
a question about concerns of battery fires in light of the                May 2011,” Fisker spokesman Roger Ormisher said in a
Chevrolet Volt's reported battery fire problems by stating that           statement Monday. “We are renegotiating some terms of
it ‘is not a risk for us, we have a different chemistry [a] liquid        the DOE agreement for the $336 million balance of the
cooled battery.’ ” (Id. at ¶ 88)                                          loan related to the Project Nina program.” Ormisher said
                                                                          the exact terms of the loan conditions are confidential. “The
On December 21, 2011, the National Highway Traffic Safety                 DOE can sometimes take a little bit of time,” Ormisher
Commission (“NHTSC”) acknowledged (through a “non-                        said. “We can't keep going and going and going without
public letter” to Fisker Automotive) a “report of a ‘safety               that money.”
recall campaign which [would] be conducted under Federal
law’ of 239 Fisker Karmas due [to] a battery problem that            (Id.) On February 22, 2012, Fisker Automotive (represented
could cause a fire” (“Karma recall notice”). (Id. at ¶ 90)           by McDonnell, Fisker, Koehler, and DaMour) held a
On December 29, 2011, the day after the first deadline to            conference call to update investors regarding its status
invest in the December 2011 Capital Call, Fisker Automotive          and a change in the Series D-1 round of financing
publicly announced its recall of 239 Fisker Karmas due to the        whereby Fisker Automotive wanted to raise an additional
battery fire issue. (Id. at ¶¶ 90-92) On December 30, 2011,          $100 million by the end of March. The complaint states
an article 10 reported that “Fisker spokesman Roger Ormisher         that “Fisker acknowledged recent negative press regarding
[ (“Ormisher”) ] said customers were alerted of the faulty           the ATVM Loan, and characterized Fisker's problems
batteries last week ....” (Id. at ¶ 92) The article also explained   as ‘essentially driven by more political views around
that the source of the problem is “misaligned hose clamps            whether the government should be lending money or not.
that could cause coolant leaks, and potentially a dangerous          And unfortunately, we have become somewhat a political
electrical short circuit.” According to the article, the NHTSC       football ....’ ” (D.I. 24 at ¶ 97) Further, “Fisker Automotive's
notice stated, “[i]f coolant enters the battery compartment, an      Board of Directors had made a decision that it was in
electrical short could occur, possibly resulting in a fire.” (D.I.   Fisker Automotive's ‘better interests ... in the future to pay
34, ex. A)                                                           back the [DOE] and basically get alternative financing,’ ”
                                                                     in order to be “self-sustaining as a company” with just the
10                                                                   Karma. But Fisker “also stated that they would continue
        Jonathan Starkey, Fisker issues Karma recalls, The
                                                                     negotiating with the DOE to obtain the remaining funds
        News Journal (Wilmington, Delaware), December
                                                                     under the ATVM Loan.” (Id. at ¶¶ 98-99) On February 28,
        30, 2011.
                                                                     2012, Fisker Automotive announced Fisker's resignation as
 *6 A January 4, 2012 non-public report prepared by the              Fisker Automotive's CEO to be replaced by Tom LaSorda
DOE Loans Program Office discussed Fisker Automotive's               (“LaSorda”). The confidential ATVM Loan contained a “Key
missed launch dates and potential alternatives. (D.I. 24 at ¶¶       Personnel” covenant requiring Fisker to be “responsible for
93-94) Specifically, the report stated that Fisker Automotive        the management of the borrower.” (Id. at ¶ 100)
had $200 million in payables as of November 30, 2011, of
which $120 million were overdue—with only $20 million in             11
                                                                               Fisker slows work at former GM site, lays off
cash on hand and could be out of money as early as December
                                                                               26, The News Journal (Wilmington, Delaware),
15, 2011. (Id. 93) On February 7, 2012, an article 11 reported                 February 7, 2012.
layoffs of workers refurbishing the manufacturing plant in
                                                                     In March 2012, Fisker Automotive notified its investors
Wilmington, Delaware and of workers at Fisker Automotive's
                                                                     of another “pay to play” capital call (the “March 2012
California headquarters. According to the article, “Fisker
                                                                     Capital Call”), which raised $392 million. (Id. at ¶¶ 101-103)
officials characterized the layoffs as part of the complicated
process of getting a billion-dollar car company off the              On April 19, 2012, an article 12 reported more layoffs in
ground.” (Id. 95) The article further reported:                      Delaware. (Id. at ¶ 104) A Fisker Automotive spokesman
                                                                     stated “[w]e have always had a flexible business model.
  A Fisker spokesman said Monday that negotiations are               The plant is now ready for the next phase of installing
  under way with the Energy Department to modify the                 new production equipment.” (Id.) On June 26, 2012, an


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article 13 detailed Fisker Automotive's continued attempt to         raised that amount. Fisker Automotive raised $50 million by
raise more equity, having sold 1,700 Karma vehicles. (Id.            early September. (Id. at ¶ 110) On or around September 19,
at ¶ 105) The article quoted Lane as stating: “I'm looking           2012, Osborn sent plaintiffs and other investors a pay to play
at about $400 million in revenue this year. That would               capital call (the “September 2012 Capital Call”) for Series E
make [Fisker Automotive] the fastest growing start-up ever.”         preferred stock, raising approximately $104 million. (Id. at ¶¶
The article also stated that “[t]he situation with the DOE,          111-12)
said Lane, ‘caused [Fisker Automotive] to accelerate capital
                                                                     On or about October 16, 2012, A123 filed for bankruptcy
raising.’ ” (Id.) On July 6, 2012, an article 14 “reported
                                                                     protection. Shortly thereafter, Fisker Automotive stopped
that Jim Yost, a former executive at Ford Motor Co. and
                                                                     production of the Karma, laid off another 40 employees,
Dana Holdings Corporation, had replaced Defendant DaMour
                                                                     and retained an investment banking advisory firm to find a
as Fisker Automotive's CFO and that DaMour would ‘stay
                                                                     “strategic partner” to save itself. On March 13, 2013, Fisker
on as a special advisor to [Fisker Automotive].’ ” (Id. at
                                                                     resigned from the Board of Directors. Fisker Automotive
¶ 106) A confidential DOE presentation dated August 2,
                                                                     then hired the law firm of Kirkland & Ellis, PC to advise
2012 stated that the DOE had spoken to Lane regarding the
                                                                     it on a possible bankruptcy filing. In April 2013, Fisker
financial status of Fisker Automotive and was told that Fisker
                                                                     Automotive laid off another 160 employees (75% of its
Automotive “was down to $12 million in cash and ... expected
                                                                     remaining workforce). (Id. at ¶¶ 113-115)
to run out of cash ‘within a month.’ ” (Id. at ¶ 107)

                                                                     On April 17, 2013, PrivCO, a private research firm, made
12     The Detroit Free Press, April 19, 2012.                       available a detailed report (“the PrivCo Report”) based on
13                                                                   documents obtained through Freedom of Information Act
       Fisker Pursues $87M Capital Raise, Debt Deal,
                                                                     requests detailing Fisker Automotive's decline. On April 21,
       Amid DOE Loan Suspension, The Wall Street
                                                                     2013, the U.S. Government reported that it had seized $21
       Journal Venture Capital Dispatch Blog, June 26,
                                                                     million in cash from Fisker Automotive to fulfill the first loan
       2012.
                                                                     payment. On April 24, 2013, a U.S. House of Representatives
14                                                                   Subcommittee On Economic Growth, Job Creation And
       In 4WheelsNews.
                                                                     Regulatory Affairs Of The Committee On Oversight And
 *7 On August 14, 2012, LaSorda was replaced as CEO by               Government Reform held a hearing to investigate Fisker
the former head of the Chevy Volt hybrid program, Tony               Automotive (the “House Fisker Hearing”). (Id. at ¶¶ 116-122)
Posowatz. (Id. at ¶ 108) The complaint alleges that:                 Lane resigned from Fisker Automotive's Board of Directors
                                                                     in May 2013. (Id. at ¶ 123) On September 17, 2013, the DOE
  On August 16, 2012, Reuters published an interview of
                                                                     put the remaining $168 million owed on the ATVM Loan out
  Ray Lane in which he stated [Fisker Automotive] was
                                                                     to bid in a public auction. (Id. at ¶ 124) On November 22,
  seeking to raise an additional $150 million to increase
                                                                     2013, Fisker Automotive filed for bankruptcy protection. (Id.
  cash on Fisker Automotive's balance sheet and to fund
  development of Fisker Automotive's next model car. Lane            at ¶ 125) 15
  held out the prospect of an upcoming IPO, which would
  save Fisker Automotive's investors, stating that “[o]nce           15     From the record at bar, at least $1.4 billion
  Fisker [Automotive] breaks even, [it] could pursue an                     was invested in Fisker Automotive prior to its
  initial public offering or a sale to a strategic investor, which          bankruptcy filing.
  could come in late 2013.”
                                                                        C. Claims
(Id. at ¶ 109) In late August 2012, Fisker Automotive
                                                                     The complaint alleges violations of § 12(a)(2) of the
issued offering documents in connection with a Series E
                                                                     Securities Act against all defendants except Kleiner Perkins
round of financing/preferred stock (“2012 Series E offering
                                                                     and Ace Strength; violations of § 15 of the Securities Act
documents”), seeking to raise at least $30 million in bridge
                                                                     against defendants Kleiner Perkins, Lane, Fisker, Koehler,
loan financing which would convert into Series E Preferred
                                                                     DaMour, Daubenspeck, Li and Ace Strength; violations
stock if the full amount was actually raised. The DOE agreed
                                                                     of § 10(b) of the Exchange Act and Rule 10b-5 against
to waive Fisker Automotive's covenant violations and not
                                                                     all defendants except Kleiner Perkins and Ace Strength;
declare the ATVM Loan in default if Fisker Automotive
                                                                     and violations of § 20(a) of the Exchange Act against


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defendants Kleiner Perkins, Lane, Fisker, DaMour, Koehler,        court “to draw on its judicial experience and common sense.”
Daubenspeck, Li and Ace Strength. (D.I. 24 at ¶¶ 126-165)         Iqbal, 556 U.S. at 663-64.


III. MOTION TO DISMISS                                              B. Discussion

   A. Standard
 *8 A motion filed under Federal Rule of Civil Procedure                        1. Omissions and misstatements
12(b)(6) tests the sufficiency of a complaint's factual
                                                                  Plaintiffs assert “the following material omissions which
allegations. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555
                                                                  [d]efendants had a duty to disclose in connection with
(2007); Kost v. Kozakiewicz, 1 F.3d 176, 183 (3d Cir. 1993).
                                                                  [d]efendants' efforts to solicit [p]laintiffs and other investors
A complaint must contain “a short and plain statement of
                                                                  to purchase Fisker Automotive Securities in violation of [§]
the claim showing that the pleader is entitled to relief, in
                                                                  12(a)(2) and Rule 10b-5” (D.I. 52 at 20): (1) the failure to
order to give the defendant fair notice of what the ... claim
                                                                  disclose that Fisker Automotive did not meet the February
is and the grounds upon which it rests.” Twombly, 550 U.S.
                                                                  2011 Karma production milestone, the representation to the
at 545 (internal quotation marks omitted) (interpreting Fed.
                                                                  DOE that Fisker Automotive did meet such milestone in
R. Civ. P. 8(a)). Consistent with the Supreme Court's rulings
                                                                  the March 2011 presentation, and the failure to disclose the
in Twombly and Ashcroft v. Iqbal, 556 U.S. 662 (2009), the
                                                                  DOE's drawstop decision in May 2011 (D.I. 24 at ¶¶ 53,
Third Circuit requires a two-part analysis when reviewing
                                                                  64, 149-51); (2) the failure to disclose the Karma recall
a Rule 12(b)(6) motion. Edwards v. A.H. Cornell & Son,
                                                                  notice, acknowledged by NHTSA on December 21, 2011
Inc., 610 F.3d 217, 219 (3d Cir. 201 O); Fowler v. UPMC
                                                                  during the December 2011 Capital Call, one week before the
Shadyside, 578 F.3d 203, 210 (3d Cir. 2009). First, a court
                                                                  December 2011 Capital Call closed (id. at ¶¶ 90-91, 152);
should separate the factual and legal elements of a claim,
                                                                  (3) the failure to disclose during the December 2011 Capital
accepting the facts and disregarding the legal conclusions.
                                                                  Call Fisker Automotive's precarious cash position, i.e., that
Fowler, 578 F.3d. at 210-11. Second, a court should determine
                                                                  Fisker Automotive had $200 million in payables as of no
whether the remaining well-pied facts sufficiently show that
                                                                  later than November 30, 2011, of which $120 million were
the plaintiff “has a ‘plausible claim for relief.’ ” Id. at 211
                                                                  overdue—with only $20 million in cash on hand and could
(quoting Iqbal, 556 U.S. at 679). As part of the analysis, a
                                                                  be out of money as early as December 15, 2011 (id. at ¶¶
court must accept all well-pleaded factual allegations in the
                                                                  93, 153); and (4) the failure to disclose in connection with
complaint as true, and view them in the light most favorable to
                                                                  the March 2012 Capital Call and September 2012 Capital
the plaintiff. See Erickson v. Pardus, 551 U.S. 89, 94 (2007);
                                                                  Call offerings that Fisker's resignation from the day-to-day
Christopher v. Harbury, 536 U.S. 403, 406 (2002); Phillips
                                                                  management of Fisker Automotive as CEO in February 2012
v. Cnty. of Allegheny, 515 F.3d 224, 231 (3d Cir. 2008). In
                                                                  caused Fisker Automotive to be in default of the ATVM Loan
this regard, a court may consider the pleadings, public record,
                                                                  “Key Personnel” covenant requiring him to be “responsible
orders, exhibits attached to the complaint, and documents
                                                                  for the management of the borrower” (id. at ¶¶ 100, 154).
incorporated into the complaint by reference. Tellabs, Inc.
v. Makar Issues & Rights, Ltd., 551 U.S. 308, 322 (2007);
Oshiver v. Levin, Fishbein, Sedran & Berman, 38 F.3d 1380,
1384-85 n.2 (3d Cir. 1994).                                                       2. Section 12(a)(2) claims 16

The court's determination is not whether the non-moving           16      Against all defendants except Kleiner Perkins and
party “will ultimately prevail” but whether that party is                 Ace Strength. (D.I. 24 at ¶¶ 126-139)
“entitled to offer evidence to support the claims.” United
States ex rel. Wilkins v. United Health Grp., Inc., 659 F.3d       *9 To state a claim under § 12(a)(2), 17 plaintiffs must
295, 302 (3d Cir. 2011). This “does not impose a probability      allege that they purchased securities pursuant to a materially
requirement at the pleading stage,” but instead “simply           false or misleading prospectus or oral communication. In re
calls for enough facts to raise a reasonable expectation that     Adams Golf, Inc. Sec. Litig., 381 F.3d 267, 273-74 (3d Cir.
discovery will reveal evidence of [the necessary element].”       2004) (internal citations and quotations omitted). Where a
Phillips, 515 F.3d at 234 (quoting Twombly, 550 U.S. at 556).     plaintiff's § 12(a)(2) claims are not grounded in allegations
The court's analysis is a context-specific task requiring the     of fraud, scienter is not required to be pied and “the liberal



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notice pleading requirements of Rule 8 apply.” In re Suprema                  “storm warnings” may be useful to
Specialties, Inc. Sec. Litig., 438 F.3d 256, 270 (3d Cir. 2006)               the extent that they identify a time
(citing In re Adams Golf, 381 F.3d at 273 n.5).                               when the facts would have prompted
                                                                              a reasonably diligent plaintiff to
17                                                                            begin investigating. But the limitations
       Section 12(a)(2) provides that any defendant who
                                                                              period does not begin to run
         offers or sells a security ... by means of
                                                                              until the plaintiff thereafter discovers
         a prospectus or oral communication, which
                                                                              or a reasonably diligent plaintiff
         includes an untrue statement of a material fact
                                                                              would have discovered “the facts
         or omits to state a material fact necessary in
                                                                              constituting the violation,” including
         order to make the statements, in the light of the
                                                                              scienter—irrespective of whether the
         circumstances under which they were made, not
                                                                              actual plaintiff undertook a reasonably
         misleading (the purchaser not knowing of such
                                                                              diligent investigation
         untruth or omission), and who shall not sustain
         the burden of proof that he did not know, and in
         the exercise of reasonable care could not have
         known, of such untruth or omission, shall be             Merck, 559 U.S. at 653.
         liable ... to the person purchasing such security
         from him.                                                Snippets of Fisker Automotive's financial struggles were
       15 U.S.C. § 771.                                           presented in various news articles and confidential
                                                                  memoranda published in 2011 and 2012, including references
                                                                  to the ATVM loan status. (D.I. 24 at ¶¶ 57, 90-91, 100,
        a. Timeliness of plaintiffs' § 12(a)(2) claim             105; 0.1. 53, ex. E at 44) However, the PrivCo Report
                                                                  (published on April 17, 2013) and the House Fisker Hearing
Section 13 of the Securities Act provides that “[n]o action       (held on April 24, 2013) disclosed previously unknown
shall be maintained to enforce any liability created under [§     material, including the OOE's termination of funding in
12(a)(2) ] of this title unless brought within one year after     June 2011, Fisker Automotive's $200 million in past due
the discovery of the untrue statement or the omission, or after   bills, the NHTSA Recall Notice, and the Key Personnel
such discovery should have been made by the exercise of           Milestone in the ATVM loan. (D.I. 24 at ¶¶ 116, 118;
reasonable diligence.” 15 U.S.C. § 77m. A discovery standard      D.I. 52 at 37) While defendants argue that each of these
governs § 13 of the Securities Act, that is, a claim “accrues     issues was discoverable through news articles and the private
‘(1) when the plaintiff did in fact discover, or (2) when         offering documents, the PrivCo Report and hearing testimony
a reasonably diligent plaintiff would have discovered, ‘the       contained unpublished documents and brought to light non-
facts constituting the violation’—whichever comes first.’ ”       public information regarding the ATVM loan. (D.I. 24 at ¶¶
Pension Trust Fund for Operating Engineers v. Mortgage            116-122) The court concludes that the claims are not time-
Asset Securitization Transactions, Inc., 730 F.3d 263, 273        barred.
(3d Cir. 2013) (quoting Merck & Co. v. Reynolds, 559
U.S. 633, 637 (2010)). Therefore, “a fact is not deemed
‘discovered’ until a reasonably diligent plaintiff would have
sufficient information about that fact to adequately plead it                b. Statutory sellers under § 12(a)(2)
in a complaint ... with sufficient detail and particularity to
                                                                   *10 In Craftmatic Sec. Litig. v. Kraftsow, 890 F.2d 628 (3d
survive a 12(b)(6) motion to dismiss.” Pension Trust Fund,
                                                                  Cir. 1989), the Third Circuit adopted the Supreme Court's
730 F.3d at 275 (citing City of Pontiac General Employees'
                                                                  analysis in Pinter v. Dahl, 486 U.S. 622 (1988), holding
Retirement System v. MBIA, Inc., 637 F.3d 169, 175 (2d Cir.
                                                                  that “liability under § 12(2) extends not only to those who
2011)).
                                                                  pass title to the purchaser, but also to those who successfully
                                                                  solicit the purchase, motivated by their own or the securities
                                                                  owner's financial interests.” Id. at 636. In evaluating whether
            In determining the time at which                      participation falls within such scope, the language of § 12
            “discovery” of those “facts” occurred,                “focuses the inquiry on the relationship between the purchaser
            terms such as “inquiry notice” and                    and the participant, rather than on the latter's degree of



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involvement in the transaction.” Id. (citing Pinter, 486 U.S.
at 651-52). More specifically, liability should not be imposed
“on persons whose actions were merely a ‘substantial factor’                      Defendants, with the exceptions of
in causing the purchase,” instead “[t]he purchaser must                           Kleiner Perkins and Ace Strength
demonstrate direct and active participation in the solicitation                   which are named as control persons
of the immediate sale to hold the issuer liable as a § 12(2)                      in Count II below, were sellers and
seller.” Id. (citations omitted).                                                 offerors and/or solicitors of purchasers
                                                                                  of the Fisker Automotive Securities
Plaintiffs alleged in Craftmatic that:                                            offered, including to [p]laintiffs.
                                                                                  Plaintiffs purchased these securities as
                                                                                  a result of the material omissions ....
             Each of the defendants ... solicited
             plaintiffs ... to buy Craftmatic common
             stock ... and in so acting were                         (D.I. 24 at ¶ 128) The complaint identifies Daubenspeck as
             motivated by a desire to serve their                    a Director of Fisker Automotive and cofounder of Advanced
             own financial interests or the financial
                                                                     Equities, Inc. (“Advanced Equities”), 18 which was one of
             interests of the owner(s) of Craftmatic
                                                                     several investment banks or vehicles that Fisker Automotive
             securities, and they ... conspired with
                                                                     used to raise capital. (Id. at ¶ 34) With respect to the December
             and aided and abetted one another
                                                                     2011 Capital Call, Osborn wrote an email on December 11,
             in connection with the preparation of
                                                                     2011, purportedly based on his conversations with Fisker
             the false and misleading Prospectus
                                                                     Automotive representatives, to the Middlebury Plaintiffs and
             and Registration Statement used in
                                                                     others stating that “Daubenspeck, a Fisker Board member and
             conjunction with the sale of Craftmatic
                                                                     Chairman of Advanced Equities [will] join our call” the next
             securities.
                                                                     day. (Id. at ¶ 81) The complaint also references the private
                                                                     memorandum dated March 31, 2011 used to solicit investors,
                                                                     which describes related party transactions and states that
Id. at 637. Such allegation was “sufficient to survive a Rule        “Daubenspeck, AEFC and its affiliates, including [Advanced
12(b)(6) motion to dismiss[, as i]t cannot be said at this           Equities], have an economic interest in Fisker's success as
juncture that plaintiffs can prove no set of facts that would        well as the success of the Offering.” (Id. at ¶ 56; D.I. 53, ex.
entitle them to relief.” Id. Similarly, in In re Westinghouse, the   E at 42)
Third Circuit held that while the complaint was “not clearly
drafted, ... [t]aken in the light most favorable to plaintiffs,      18      The SEC censured Advanced Equities for
however, the complaint does allege that the Westinghouse
                                                                             fraudulent practices and Advanced Equities then
defendants ‘solicited plaintiffs’ to purchase Westinghouse
                                                                             ceased operations and is now defunct. (D.I. 24 at
securities and that in so doing they were motivated by a desire
                                                                             ¶ 34)
to serve their own financial interests.” In re Westinghouse
Securities Litigation, 90 F.3d 696, 717 (3rd Cir. 1996). The          *11 The complaint identifies Koehler as a participant and
Third Circuit reversed the district court's dismissal of the         Fisker and DaMour as speakers in several conference calls
claims even though “[p]laintiffs d[id] not, for example, make        with analysts and/or investors. The purpose of the conference
clear which defendants are alleged to be direct sellers as           calls was to solicit investors in Fisker Automotive securities.
opposed to solicitor sellers ... or allege how the Westinghouse      Certain calls were recorded for future distribution to potential
defendants, assuming they are alleged to be solicitor sellers,       investors. (D.I. 24 at ¶¶ 69, 66, 71, 86, 96) The December
directly and actively participated in the solicitation of the        2011 Fisker Letter encouraged investing. 19 (Id. at ¶ 83) The
immediate sales.” Id.                                                Executive Summary described the “Board Approval Process”
                                                                     as using an Audit Committee and discussing the Capital Call
The complaint at bar states that:                                    in “working group calls and meetings.” After considering “a
                                                                     number of factors,”




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                                                                       20     The court does not base its decision on the news
             [t]he Board of Directors then                                    articles containing general statements regarding
             instructed its officers to solicit the                           raising capital and going public.
             approval of the requisite vote of the
                                                                       21
             stockholders of the Company, mail                                The court addresses Li infra.
             this Information Statement, and obtain
             indications of interest from interested
             stockholders. The Company received                                             c. Public offerings
             the requisite vote of the stockholders
                                                                       Section 12(a)(2) provides liability for misstatements made
             to approve the Series D-1 Financing
                                                                       “by means of a prospectus or oral communication.” Gustafson
             Capital Call on December 14, 2011.
                                                                       v. Alloyd Co., 513 U.S. 561, 567 (1995); see also, In re Adams
                                                                       Golf, Inc. Sec. Litig., 381 F.3d 267, 273 (3d Cir. 2004). “[T]he
                                                                       word ‘prospectus’ is a term of art referring to a document
(D.I. 53, ex. J at 55-56) Lane was a Managing Partner of               that describes a public offering of securities by an issuer or
Kleiner Perkins and was Fisker Automotive's Chairman of                controlling shareholder” and “must include the ‘information
the Board of Directors. (D.I. 24 at ¶ 31) Li was a controlling         contained in a registration statement.’ ” Gustafson, 513 U.S.
shareholder through Ace Strength (Id. at ¶ 32) and was on              at 584, 569.
the Board of Directors, which approved the December 2011
“pay-to-play” capital call. (Id. at ¶ 81)

                                                                                    An offering is considered private
19      Stating in part:                                                            only if limited to investors who
          I encourage you to carefully review the                                   have no need for the protection
          Information Statement and consider a further                              provided by registration. To determine
          investment in Fisker Automotive. Importantly,                             if an offering is sufficiently limited
          three of our major venture capital investors,                             courts focus on such factors as:
          Kleiner Perkins, NEA and Pacific Century,                                 (1) the number of offerees; (2)
          support this action and have already made, or                             the sophistication of the offerees,
          committed to make, their capital calls, together                          including their access to the type of
          totaling more than $57 million.                                           information that would be contained
        (D.I. 24 at ¶ 83)                                                           in a registration statement; and (3) the
Taking the allegations in the complaint in the light most                           manner of the offering.
favorable to plaintiffs, the court concludes that as to
defendants Daubenspeck, Fisker, Koehler and DaMour,
plaintiffs have alleged sufficient facts regarding solicitation.        *12 See, e.g., United States v. Arutunoff, 1 F.3d 1112, 1118
As to Lane, the offering documents point to decisions                  (10th Cir. 1993).
regarding solicitation made by the Board, of which Lane is
chairman. This, together with Lane's position as Managing              The complaint alleges that the “offering materials including
Partner of Kleiner Perkins (a major investor in Fisker                 Prospectuses/Private Placement Memoranda and other
Automotive) is sufficient to allege solicitation at the motion         offering documents made available to purchasers of Fisker
to dismiss stage. 20 While plaintiffs have not used the precise        Automotive Securities” omitted material information. (D.I.
language “motivated by their own or the securities owner's             24 at ¶ 129) The following offering materials are identified in
financial interests,” plaintiffs' factual allegations are sufficient   the complaint: The March 2011 CPPM (id. at ¶ 56); the April
to support such motivation as the defendants stood to gain             2011 Middlebury CPPM (id. at ¶ 57); the December 2011
from Fisker Automotive's success though their positions as             stock purchase agreement (id. at ¶ 69); Information Statement
                                                                       dated December 14, 2011 (id. at ¶¶ 82-85); the March 2012
Directors of Fisker Automotive. 21 The court concludes that
                                                                       D-1 offering documents (id. at ¶¶ 101-102); and the 2012
plaintiffs have sufficiently pied that defendants were § 12(2)
                                                                       Series E offering documents (id. at ¶ 110). The March 2011
sellers.


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CPPM and April 2011 Middleburry CPPM are “Confidential            the [p]laintiffs rely, shows that this was a private transaction
Private Placement Memorand[a].” (Id. at ¶¶ 56-57) The April       involving six investors.”).
2011 Middlebury CPPM makes clear that the shares “have
not been registered under the Securities Act.” (D.I. 53, ex.      23     Section 15 of the Securities Act provides for joint
E) The December 2011 information statement is marked                     and several liability on the part of one who controls
“Strictly Confidential & Proprietary.” (Id. at ex. F) The                a violator of § 12. Accordingly, a violation of §
March 2012 Capital Call D-1 offering documents are labeled               15 only applies when a primary violation of § 12
“Confidential & Proprietary.” (D.I. 24 at ¶ 102) Certain                 has been found. In re Suprema Specialties, Inc.
offering materials required a password. (Id. at ¶¶ 56-57)                Sec. Litig., 438 F.3d 256, 284 (3d Cir. 2006). As
                                                                         plaintiffs have failed to set forth a primary violation
Fisker Automotive solicited only “qualified investors.” (Id. at          of § 12(a)(2), plaintiffs' controlling person claims
¶¶ 56-58) For example, the AEI investor acknowledgement                  under § 15 must also be dismissed.
states that the “investor is an ‘accredited investor’ within
the meaning of Rule 501 (A) of Regulation D under the
[S]ecurities Act of 1933 ....” 22 (D.I. 53, ex. L; see also,                  3. Section 10(b) and Rule 10b-5 24
ex. G at 17; ex. H at 21; ex. K at 2-3) While the news
articles mentioned the possibility of an upcoming IPO, no         24     Against all defendants except Kleiner Perkins and
such offering was made to the public. Plaintiffs aver that the           Ace Strength. (D.I. 24 at ¶¶ 145-159)
number of investors is in the hundreds—“Fisker Automotive
                                                                   *13 According to § 10(b) of the Exchange Act, it is
raised an additional $145 million in Series A-1 venture capital
                                                                  unlawful:
from Kleiner Perkins, Palo Alto Investors and Advanced
Equities (which raised approximately $27 million from 347
private investors);” however, the investment information was
provided to the venture capital firms, not to the private                      To use or employ, in connection
investors. (Id. at ¶ 52)                                                       with the purchase or sale of any
                                                                               security registered on a national
22                                                                             securities exchange or any security
       Rule 501 (a) defines “accredited investor,” which
                                                                               not so registered, or any securities-
       are more sophisticated investors, such as banks,
                                                                               based swap agreement (as defined
       companies and high net worth individuals. 17
                                                                               in section 2068 of the Gramm-
       C.F.R. § 230.501(a).
                                                                               Leach-Bliley Act), any manipulative
The court concludes that the offerings were made via private                   or deceptive device or contrivance
placement memoranda to sophisticated investors and were                        in contravention of such rules and
not public offerings. The motion to dismiss is granted                         regulations as the Commission may
as to the § 12(a)(2) claims. 23 See e.g., Vannest v. Sage,                     prescribe as necessary or appropriate
Rutty & Co., 960 F. Supp. 651, 654-55 (W.D.N.Y. 1997)                          in the public interest or for the
(concluding that there was no public offering where the                        protection of investors.
private placement memorandum expressly (and repeatedly)
stated that the offering was not subject to registration
requirements and that the securities are intended to be sold      15 U.S.C. § 78j(b). Rule 10b-5, promulgated by the Securities
only to purchasers qualified by the Rule 506 regulations.);       and Exchange Commission to implement § 10(b), makes it
In re J W.P. Inc. Securities Litigation, 928 F. Supp. 1239,       unlawful:
1259 (S.D.N.Y.1996) (“Courts in this district have held that
under Gustafson, private placement memoranda like those             (a) To employ any device, scheme, or artifice to defraud,
at issue are not ‘prospectuses’ for the purposes of a claim
                                                                    (b) To make any untrue statement of a material fact or to
under § 12(2)”); Walish v. Leverage Grp., Inc., Civ. No. 97-
                                                                    omit to state a material fact necessary in order to make the
CV-5908, 1998 WL 314644, at *5 (E.D. Pa. June 15, 1998)
                                                                    statements made, in the light of the circumstances under
(“The complaint does not allege that the sale was a public
                                                                    which they were made, not misleading, or
offering of securities and the ‘defacto prospectus,’ on which



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                                                                   allegedly misleading statement, the reason or reasons why
  (c) To engage in any act, practice, or course of business        the statement is misleading, and, if an allegation is made on
  which operates or would operate as a fraud or deceit upon        information and belief, all facts supporting that belief with
  any person, in connection with the purchase or sale of any       particularity.” Id. at 259 (citing 15 U.S.C. § 78u-4(b)(1)).
  security.                                                        This is the falsity requirement. Second, “with respect to each
                                                                   act or omission alleged to violate [§ 10(b) ],” a plaintiff is
17 C.F.R. § 240. 10b-5.
                                                                   required to “state with particularity facts giving rise to a
                                                                   strong inference that the defendant acted with the required
In order to state a claim for securities fraud under § 10(b)
                                                                   state of mind.” Id. (citing 15 U.S.C. § 78u-4(b)(2)). This is
and Rule 10b-5, a plaintiff must allege: “(1) a material
                                                                   the scienter requirement.
misrepresentation or omission by the defendant [i.e., falsity];
(2) scienter; (3) a connection between the misrepresentation
                                                                   25
or omission and the purchase or sale of a security; (4) reliance          The PSLRA's heightened pleading requirements
upon the misrepresentation or omission; (5) economic loss;                were constructed in order to restrict abuses in
and (6) loss causation.” In re DVI, Inc. Sec. Litig., 639                 securities class-action litigation, including: (1)
F.3d 623, 630-31 (3d Cir. 2011). A statement or omission is               the practice of filing lawsuits against issuers of
material if there is “a substantial likelihood that a reasonable          securities in response to any significant change in
shareholder would consider it important in deciding how                   stock price, regardless of defendants' culpability;
to [act].” In re Aetna, Inc. Sec. Litig., 617 F.3d 272, 283               (2) the targeting of ‘deep pocket’ defendants;
(3d Cir. 2010) (citing TSC Indus., Inc. v. Northway, Inc.,                (3) the abuse of the discovery process to coerce
426 U.S. 438, 449 (1976)). “A material misrepresentation                  settlement; and (4) manipulation of clients by class
or omission is actionable if it significantly altered the                 action attorneys.
total mix of information made available.” Id. (citations and              Horizon Lines, 686 F. Supp. 2d at 414.
quotations omitted). Material misstatements are contrasted          *14 Both of these provisions require that facts be pied “with
with subjective analyses and general or vague statements of        particularity.” With respect to the falsity requirement,
intention or optimism which constitute no more than mere
corporate puffery. In re Aetna, 617 F.3d at 283; City of
Roseville Employees' Ret. Sys. v. Horizon Lines, Inc., 713
                                                                               the particularity standard echoes Rule
F. Supp. 2d 378, 390 (0. Del. 2010). “Scienter is a mental
                                                                               9(b) of the Federal Rule[s] of Civil
state embracing intent to deceive, manipulate, or defraud, and
                                                                               Procedure, which is comparable to
requires a knowing or reckless state of mind.” Inst. Investors
                                                                               and effectively subsumed by the
Group v. Avaya, Inc., 564 F.3d 242, 252 (3d Cir. 2009)
                                                                               requirements of ... the PSLRA.
(citations and quotations omitted).
                                                                               Like Rule 9(b), the PSLRA requires
                                                                               plaintiffs to plead the who, what,
Shareholders filing a securities fraud lawsuit under the
                                                                               when, where and how: the first
Exchange Act are subject to the heightened pleading standard
                                                                               paragraph of any newspaper story.
codified by the Private Securities Litigation Reform Act
                                                                               Additionally, if an allegation regarding
(“PSLRA”). Avaya, Inc., 564 F.3d at 253; City of Roseville
                                                                               [a] statement or omission is made on
Employees' Ref. Sys. v. Horizon Lines, 686 F. Supp. 2d 404,
                                                                               information and belief, a plaintiff must
414 (D. Del. 2009) (“The PSLRA imposes a dramatically
                                                                               state with particularity all facts on
higher standard on a plaintiff drafting a complaint than that
                                                                               which that belief is formed.
of traditional notice pleading.”); Brashears v. 1717 Capital
Mgmt, Nationwide Mut. Ins. Co., 2004 WL 1196896, at
*4 (D. Del. 2004) (“[B]y enacting the current version of
                                                                   Horizon Lines, 686 F. Supp. 2d at 414 (citing Avaya, Inc., 564
the [PSLRA], Congress expressly intended to substantially
                                                                   F.3d at 253) (internal quotations and citations omitted). The
heighten the existing pleading requirements.”) 25 (internal
                                                                   scienter requirement, on the other hand, “marks a sharp break
quotations omitted). “The PSLRA provides two distinct
                                                                   from Rule 9(b).” Avaya, 564 F.3d at 253. “Unlike Rule 9(b),
pleading requirements, both of which must be met in order
                                                                   under which a [plaintiff] could plead scienter generally, §
for a complaint to survive a motion to dismiss.” Avaya, Inc.,
                                                                   78u-4(b)(2) requires any private securities complaint alleging
564 F.3d at 252. First, the complaint must “specify each


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that the defendant made a false or misleading statement ...         benefiting from those transactions while in a position of
[to] state with particularity facts giving rise to a strong         ‘trust and confidence’ and/or in a fiduciary relationship with
inference that the defendant acted with the required state of       [p]laintiffs.” (D.I. 52 at 43) While defendants argue that
mind.” Horizon Lines, 686 F. Supp. 2d at 414 (citations and         they did not engage in “trading,” to the extent defendants
quotations omitted).                                                made statements regarding Fisker Automotive in an effort
                                                                    to entice plaintiffs into becoming shareholders, defendants
Aside from these two requirements, the PSLRA imposes                had a duty to disclose material information. 26 See Tse v.
additional burdens with respect to allegations involving            Ventana Med. Sys., Inc., Civ. No. 97-37-SLR, 1998 WL
forward-looking statements. The PSLRA's Safe Harbor                 743668, at *8 (D. Del. Sept. 23, 1998) (finding a duty to
provision, 15 U.S.C. § 78u-5(c), “immunizes from liability          disclose when “defendants were asking plaintiffs to become
any forward-looking statement, provided that: the statement is      equity shareholders in the acquiring corporation, defendant
identified as such and accompanied by meaningful cautionary         [Ventana]. Accordingly, as ‘insiders,’ defendants assumed an
language; or is immaterial; or the plaintiff fails to show the      affirmative duty to disclose material information.”).
statement was made with actual knowledge of its falsehood.”
Avaya, 564 F.3d at 254.                                             26     The court does not reach plaintiffs' duty to
                                                                           disclose argument based on the third prong, prior
                                                                           misleading statements.
                      a. Duty to disclose

 *15 “[N]on-disclosure of material information will not give                                  b. Falsity
rise to liability under Rule 10b-5 unless the defendant had an
affirmative duty to disclose that information. ‘Silence, absent     Plaintiffs allege material omissions in certain statements and
a duty to disclose, is not misleading under Rule 10b-5.’ ”          documents made by “defendants.” (D.I. 24 at ¶¶ 147-48)
See Oran v. Stafford, 226 F.3d 275, 78-86 (3d Cir. 2000).           In Winer Family Trust v. Queen, 503 F.3d 319 (3d Cir.
There is no affirmative duty to disclose information unless         2007), the Third Circuit made clear that “the group pleading
1) there is insider trading, 2) a statute requires disclosure, or   doctrine is no longer viable in private securities actions after
3) a previous disclosure becomes inaccurate, incomplete, or         the enactment of the PSLRA.” Id. at 337. More recently,
misleading. Id. In the context of insider trading, liability for    the Supreme Court in Janus Capital Group, Inc. v. First
securities nondisclosure “is premised upon a duty to disclose       Derivative Traders, --- U.S. ----, 131 S.Ct. 2296 (2011),
arising from a relationship of trust and confidence between         explained that:
parties to a transaction.” See Chiarella v. United States, 445
U.S. 222, 235 (1980). As the Supreme Court acknowledged in
Chiarella, corporate insiders, particularly officers, directors,                 For purposes of Rule 10b-5, the
or controlling stockholders, assume an affirmative duty of                       maker of a statement is the person
disclosure when trading in shares of their own corporation. Id.                  or entity with ultimate authority over
at 226-27 (citing In re Cady, Roberts & Co., 40 S.E.C. 907,                      the statement, including its content
1961 WL 3743 (1961)). “[I]nsiders must disclose material                         and whether and how to communicate
facts which are known to them by virtue of their position but                    it. Without control, a person or
which are not known to persons with whom they deal and                           entity can merely suggest what to
which, if known, would affect their investment judgment.”                        say, not “make” a statement in its
In re Cady, 1961 WL at* 3. This duty extends not only to                         own right. One who prepares or
existing shareholders but also to nonshareholders when sales                     publishes a statement on behalf of
of securities are made to them. See id. at * 5. Such a duty                      another is not its maker. And in the
ensures that corporate insiders “will not benefit personally                     ordinary case, attribution within a
through fraudulent use of material, nonpublic information.”                      statement or implicit from surrounding
Chiarella, 445 U.S. at 230.                                                      circumstances is strong evidence that a

Plaintiffs allege “a duty to disclose the material omitted facts
as insiders engaging in sales and purchases or otherwise



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            statement was made by—and only by                     solicitations. The court concludes that this is sufficient to
            —the party to whom it is attributed.                  pass muster at the motion to dismiss stage. See e.g., In re
                                                                  Merck & Co., Inc. Securities, Derivative, & ERISA Litigation,
                                                                  Civ. Nos. 05-1151 (SRC), 05-367(SRC), 2011 WL 3444199
Id. at 2302. The Supreme Court specifically declined to           at *25 (D. NJ Aug. 8, 2011) (citing Suez Equity Investors,
equate “create” with “make,” stating that “in Stoneridge, we      L.P. v. Toronto-Dominion Bank, 250 F.3d 87, 101 (2d Cir.
rejected a private Rule 10b-5 suit against companies involved     2001)) (denying motion to dismiss where officer “signed SEC
in deceptive transactions, even when information about            forms and was quoted in articles and reports in his [official]
those transactions was later incorporated into false public       capacity .... pursuant to his responsibility and authority to act
statements.” Id. at 2303-04 (citing Stoneridge Investment         as an agent of Merck”).
Partners, LLC v. Scientific-Atlanta, Inc., 552 U.S. 148, 161
(2008)).                                                          28      Provided by plaintiffs as exhibits.
                                                                  29      Without discovery, the court struggles to envision
                                                                          how plaintiffs could ascertain which individuals
                 i. Offering documents 27                                 were responsible for the creation of these types of
                                                                          documents.
27     Plaintiffs allege that all defendants except
       McDonnell had a duty to disclose related to the
       offering documents.                                                            ii. Conference calls 30
Plaintiffs allege that the offering documents expressly state
                                                                  30
that Fisker Automotive's Board of Directors had control                   Plaintiffs allege that McDonnell, Fisker, Koehler,
and authority over the offering documents, by reference                   and DaMour had a duty to disclose in connection
to statements in the April 2011 Middlebury CPPM and                       with the conference calls.
December 2011 stock purchase agreement regarding the              *16 The Third Circuit has explained that
“exculpation among purchasers” clause (D.I. 53, ex. G and
H); the statement on the cover page of the March 2011               the plain language of § 10(b) and corresponding Rule
CPPM—“Preliminary Draft—Terms may Change Subject                    1Ob-5 do not contemplate the general failure to rectify
to Board and Shareholder Approval” (id., ex. E); and the            misstatements of others. Moreover, in Central Bank,
statements in the December 2011 Capital Call documents              the Supreme Court determined that the scope of §
and Executive Summary (that the Board of Directors and              10(b) does not encompass aiding and abetting liability
the Audit Committee reviewed and discussed the terms of             because the statute “prohibits only the making of a
the Series D-1 Financing Capital Call). (Id., ex. Fat 1) The        material misstatement (or omission) or the commission
documents associated with the solicitation of investments and       of a manipulative act.” Consequently, incorporating into
various Capital Calls 28 are not signed. Fisker signed the          the statute an obligation to rectify others' misstatements
Series C-1 preferred Stock Purchase Agreement dated April           (though lacking even the aiding and abetting mens rea
27, 2011 on behalf of Fisker Holdings, Inc. (Id., ex. G) In         requirement of the initial statement made) would be
the case at bar, the court is not called upon to determine          illogical in light of the Supreme Court's holding.
whether a director signing certain documents had “authority
                                                                  U.S. v. Schiff, 602 F.3d 152, 167 (3d Cir. 2010) (citing Central
over the content of the statement and whether and how to
                                                                  Bank of Denver, N.A. v. First Interstate Bank of Denver,
communicate it,” sufficient to be deemed to have “made”
                                                                  N.A., 511 U.S. 164 (1994)) (internal citations omitted).
the statement. See e.g., WM High Yield Fund v. O'Hanlon,
                                                                  This analysis is also consistent with the Supreme Court's
964 F. Supp. 2d 368, 390 (E.D. Pa. 2013). Instead, the
                                                                  decision in Janus, discussed above. The court concludes that
court is presented with documents containing statements
                                                                  participation in a conference call, without speaking, cannot
indicating that the Board was likely involved in their creation
                                                                  confer liability under Rule 10b-5 for the misstatements or
and dissemination. 29 As discussed below, certain Board           omissions of the speaker. As plaintiffs do not allege that
members participated in conference calls on behalf of Fisker      Koehler and McDonnell spoke on the conference calls, no
Automotive discussing these documents and the associated          liability for misstatements made by others may attach.



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                                                                    complaint quotes a portion of such letter and describes it
Plaintiffs identify certain statements made by DaMour and           as “repeat[ing] the theme that the ‘pay to play’ capital
Fisker (such statements are presented in the complaint in           call was merely a prudent business decision.” (D.I. 24
the context of the larger transcripts). 31 The salient facts are    at ¶ 83) However, the letter explicitly refers investors to
presented in detail above. (D.I. 24 at ¶¶ 67, 70-71, 86-87, 89,     the “Information Statement” and plaintiffs have alleged
93-94, 97-99, 110) The Third Circuit has “explained that for        that the defendants distributed December 2011 Capital Call
‘misrepresentations in an opinion’ or belief to be actionable,      documents together with the December 2011 Fisker Letter
plaintiffs must show that the statement was ‘issued without a       and the Information Statement. As the December 2011 Fisker
genuine belief or reasonable basis’....” In re Merck & Co., Inc.    Letter is not a standalone document, the court declines to
Sec., Derivative & ““ERISA” Litig., 543 F.3d 150, 166 (3d           analyze it in a vacuum.
Cir. 2008) (citations omitted). DaMour and Fisker's positive
statements regarding the ATVM loan, while reflecting the
fact that Fisker Automotive was working with the DOE to                            iv. Statements in news articles
negotiate terms, contradict the actual frozen status of the loan.
That the DOE's press release reported positively on Fisker          In the briefing, plaintiffs allege that two particular statements
Automotive's progress does not validate DaMour and Fisker's         by Lane in news articles were misleading.
statements. DaMour and Fisker's statements regarding Fisker
Automotive's cash position (presenting Fisker Automotive as
well capitalized, without mentioning payables and continuing                     However, Fisker Chairman Ray Lane
without the DOE loan) conflict with the actual state of affairs,                 says that the issues in 2011 were a
that Fisker Automotive had payables, some of which were                          combination of difficulties faced by
overdue. As to the battery fires, Fisker disputes the falsity                    any start up—such as problems with
of his response based on the cause of the fires. However,                        the electrical system that didn't appear
the timing of the recall belies Fisker's conclusion that there                   until production was underway—and
were no “concerns of battery fires.” The court concludes that                    some one-off disasters. For example,
plaintiffs have sufficiently alleged that Fisker and DaMour's                    a flood soaked the initial shipment of
statements were misleading.                                                      leather delivered for the car's interior,
                                                                                 leaving Fisker with 250 vehicles that
31                                                                               were ready to go, except for seats,
        Defendants argue that plaintiffs have not identified
        in the complaint with specificity which statements                       dashboards, steering wheels and every
        from the conference calls are misleading and may                         other surface that needed to be covered
        not now do so through the briefing. Com. of Pa. ex                       in cowhide.
        rel. Zimmerman v. PepsiCo, Inc., 836 F.2d 173, 181
        (3d Cir. 1988) (“[l]t is axiomatic that the complaint
        may not be amended by the briefs in opposition to           (D.I. 24 at ¶ 75) (emphasis added) This statement 32 cannot
        a motion to dismiss.”). However, in the interests           be reconciled with the standard articulated in Janus, i.e.,
        of efficiency (because an amendment would be                that statements attributable to an individual are those which
        granted) and as defendants have substantively               the individual has “ultimate authority over ..., including
        responded to the arguments, the court reviews the           its content and whether and how to communicate it.” The
        identified statements.                                      above paraphrased or summarized statement is not wholly
                                                                    attributable to Lane. Indeed, the author of the article had
                                                                    control over which portions of the interview to use and how
           iii. The December 2011 Fisker Letter                     to present any information received from Lane. The same
 *17 Plaintiffs also allege that Fisker's statement in the          analysis applies to plaintiffs' second citation 33 as no portion
December 2011 Fisker Letter explaining the reasons for the          is directly attributable to Lane.
December 2011 Capital Call omitted any reference to the
$200 million in outstanding bills, i.e., Fisker Automotive's
true cash position, rendering such statement misleading. The



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32                                                                        leather,’ Lane said.” Such statement is unrelated to
       Fisker says Karma will meet 15, 000 production
                                                                          the issues at bar.
       target for 2012, AutoblogGreen, November 26,
       2011.                                                        *18 The article cited by plaintiffs above 37 also stated:
33
       Fisker Pursues $87M Capital Raise, Debt Deal,                 In the first quarter, the company said it drew in $100
       Amid DOE Loan Suspension, The Wall Street                     million in revenue. ‘I'm looking at about $400 million in
       Journal Venture Capital Dispatch Blog, June 26,               revenue this year. That would make it the fastest growing
       2012.                                                         start-up ever,’ Lane said. These projections, he added,
          For a while, Irvine, Calif.-based Fisker was               don't include sales in China and Middle East, where the
          operating under the assumption that it has                 company is building relation-ships with dealerships. Fisker
          $529 million in federal loans, but last year               Automotive, however, is not profitable, said Lane.
          the Department of Energy, which handles the
          loans, suspended issuing new checks because              Discussing investments, the article stated “[w]e've added
          the car company missed some milestones.                  warrants as a sweetener,’ said Lane.” The article continued:
          Fisker delayed the release of Karma and sold
          fewer Karmas than it promised under the                    The situation with the DOE, said Lane, “caused us to
          DOE loan agreement. As a result of the loan                accelerate capital raising.” That is leading to certain
          suspension, Fisker stopped additional work on a            compromises. Advanced Equities has recently been
          plant in Delaware where it was planning to build           served a Wells Notice from the Securities & Exchange
          the cars and laid off some employees.                      Commission, which indicates the SEC may enforce action
       (Id. at ¶ 105) (emphasis added)                               against it.

The complaint generally alleges that “Lane's, Fisker's,              Asked why Kleiner Perkins is continuing to use Advanced
DaMour's, Koehler's and/or McDonnell's statements                    Equities' services in light of the SEC investigation, Lane
described at ¶¶ 56, 60, 63, 66-67, 71, 74-75, 86-89,                 said: “They are good at what they do.”
96-99 and 105” failed to disclose certain facts. (Id. at ¶
149) The following material (from the cited paragraphs)            (Id. at ¶ 105) Lane's statement regarding revenue is followed
is directly attributable to Lane and related to plaintiffs'        by the admission that Fisker Automotive is not profitable.
                                                                   The quoted statements do not conflict with the alleged facts,
arguments. 34 , 35 An article 36 discussing the production
                                                                   therefore, the court concludes that such statements are not
of the Karma states: “ ‘In production of a first vehicle,
                                                                   actionable.
everything doesn't go the way you plan,’ Lane said in a recent
interview. ‘Next year, we'll do exactly what we plan.’ ” (Id.
                                                                   37
at ¶ 74)                                                                  Fisker Pursues $87M Capital Raise, Debt Deal,
                                                                          Amid DOE Loan Suspension, The Wall Street
34                                                                        Journal Venture Capital Dispatch Blog, June 26,
       Again, rather than entertain an amended complaint.
                                                                          2012. Other quotations do not relate to the issues
35                                                                        at bar. “ ‘We have 1,700 cars sold now,’ said Ray
       Paragraphs 56, 66-67, 71, 86-89, 96-99 relate
       to offering documents and conference calls. The                    Lane ....” Discussing financing operations and its
       articles cited in ¶¶ 60 and 75 do not contain                      next car model, Atlantic, the article stated
       direct quotations. The article in 63 states, “[q]uote:                “You don't make money until volumes are up,”
       ‘Reduce demand for oil by 5 to 10 percent, and                        said Lane. The company needs to build the
       you start to control pricing.’ ” This statement is                    Atlantic, which would increase its volumes, and
       unrelated to the issues at bar.                                       amortize its fixed costs across more units, as
                                                                             well as allow Fisker to negotiate better deals
36
       Fisker on track to make electric sports cars, despite                 with suppliers. “We can't move forward without
       delays, Calgary Herald (Alberta), November 18,                        the debt,’ said Lane, referring to the Atlantic
       2011. The article also states: “ ‘The leather was                     program.”
       useless. We had 250 cars parked and waiting for                       ...
                                                                             The company has been using equity, the most
                                                                             expensive capital, to pay for the development


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           of Atlantic to date. “We spent $130 million                 it had achieved, and would continue to achieve, substantial
           on the Atlantic,” Lane said. “No one wants to               growth in revenue and profits. These statements ... were
           spend” [sic] more equity,” he said. That is the             materially false and misleading in that they failed to disclose
           reason Fisker is in discussions with a syndicate            the existence of the fraudulent scheme ...” Id. at 1163. The
           of private lenders, led by the Royal Bank of                Tenth Circuit held that “[s]tatements such as these, while
           Canada, he added.                                           struggling valiantly to bring the alleged conduct within the
        (Id. at                                                        definition of ‘omission,’ indicate that what [plaintiff] really
                                                                       protests are the affirmative misrepresentations allegedly made
                                                                       by defendants.” Id.
                           c. Reliance
                                                                       The allegations at bar present a mix of both omissions
In Affiliated Ute Citizens v. United States, 406 U.S. 128
                                                                       (e.g., not disclosing the status of the ATVM loan) and
(1972), the Supreme Court examined reliance in the context
                                                                       misrepresentations (e.g., statements regarding working with
of cases seeking to predicate Rule 10b-5 liability upon
                                                                       the DOE to resolve issues with the ATVM loan). Considering
omissions and concluded that in cases “involving primarily
                                                                       all of plaintiffs' allegations, the court concludes that plaintiffs
a failure to disclose [material facts], positive proof of
                                                                       are principally complaining of the misrepresentations, i.e.,
reliance is not a prerequisite to recovery.” Id. at 153-54.
                                                                       presenting Fisker Automotive's status as stable and funded,
“[R]eliance will be presumed from the materiality of the
                                                                       when it was failing. The Affiliated Ute presumption of
information not disclosed. Conversely, no presumption arises
                                                                       reliance does not apply.
in cases of alleged misrepresentations.” Johnston v. HBO Film
Management, Inc., 265 F.3d 178, 192 (3d Cir. 2001); Sharp
                                                                       The burden of reliance “requires a plaintiff to demonstrate
v. Coopers & Lybrand, 649 F.2d 175, 187 (3d Cir. 1981)
                                                                       that defendants' conduct caused him ‘to engage in the
(overruled on other grounds by Mccarter v. Mitcham, 883
                                                                       transaction in question.’ ” Newton v. Merrill Lynch, Pierce,
F.2d 196, 202 (3d Cir. 1989)). The proper approach to reliance
                                                                       Fenner & Smith, Inc., 259 F.3d 154, 174 (3d Cir. 2001), as
in cases involving both omissions and misrepresentations “is
                                                                       amended (Oct. 16, 2001) (citations omitted). In this regard,
to analyze the plaintiff's allegations, in light of the likely proof
                                                                       the complaint at bar identifies the offering documents and
at trial, and determine the most reasonable placement of the
                                                                       alleges that such documents were false and misleading.
burden of proof of reliance.” Sharp, 649 F.2d at 188.
                                                                       In the briefing, plaintiffs point out that the “prospectuses/
                                                                       offering memoranda alleged in the Complaint ... required
 *19 Applying Affiliated Ute, the Court of Appeals for the
                                                                       investors to sign a Subscription Agreement, warranting that
Tenth Circuit explained:
                                                                       they had read the agreement and were ‘not relying on any
                                                                       representation other than that contained [t]herein.’ ” (D.I. 52
                                                                       at 77) Defendants argue that plaintiffs continued to invest
             Any fraudulent scheme requires some                       after several of the misstatements at issue were presented in
             degree of concealment, both of the                        news articles. The various disclosures—the snippets available
             truth and of the scheme itself.                           in news articles, the information from the conference calls,
             We cannot allow the mere fact                             and the information contained in the offering documents
             of this concealment to transform                          —are intertwined. The court concludes that plaintiffs have
             the alleged malfeasance into an                           sufficiently pied reliance. C.f., Gallup v. Clarion Sintered
             omission rather than an affirmative                       Metals, Inc., 489 Fed.Appx. 553, 557 (3d Cir. 2012) (citing
             act. To do otherwise would permit                         Rochez Bros., Inc. v. Rhoades, 491 F.2d 402, 410 (3d Cir.
             the Affiliated Ute presumption to                         1974)) (Finding no evidence of reliance at the summary
             swallow the reliance requirement                          judgment stage, when plaintiffs did not read the financial
             almost completely.                                        statements and reports, which omitted information, therefore,
                                                                       plaintiffs decisions “were entirely unaffected by the contents
                                                                       of [defendant's] financial statements.”).
Joseph v. Wiles, 223 F.3d 1155, 1163 (10th Cir. 2000)
(citations omitted). In Wiles, the plaintiff alleged that
defendant “continually reported in its public statements that



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                                                                   to launch and sustain Fisker Automotive, with defendants
                                                                   standing to gain from Fisker Automotive's success through
                     d. Scienter* * 38 * *                         their positions as Directors, leads to a strong inference that
                                                                   defendants acted with an intent to manipulate investors. For
38     As the court previously found that only risker and          these reasons, defendants' motions to dismiss the § 10(b)
       DaMour “made” statements, the scienter analysis             claims are denied.
       is limited to these defendants .
 *20 Scienter is a “mental state embracing intent to deceive,
manipulate, or defraud,” and requires a knowing or reckless          4. Section 20(a)* * 38 * *
state of mind. Avaya, 564 F.3d at 252 (internal citations          38     Against Kleiner Perkins, Lane, Fisker, DaMour,
omitted). “A reckless statement is one involving ... an                   Koehler, Daubenspeck, Li and Ace Strength.
extreme departure from the standards of ordinary care, and
                                                                   Section 20(a) of the Exchange Act imposes joint and several
which presents a danger of misleading buyers or sellers
                                                                   liability on any person who “directly or indirectly controls
that is either known to the defendant or is so obvious
                                                                   any person liable” under any provision of the Act, “unless the
that the actor must have been aware of it.” Id. at 267
                                                                   controlling person acted in good faith and did not directly or
n.42. The court must be mindful of the heightened pleading
                                                                   indirectly induce the act or acts constituting the violation or
standards prescribed by the PSLRA throughout its analysis
                                                                   cause of action.” 15 U.S.C. § 78t(a); In re Suprema, 438 F.3d
of defendants' state of mind. See Tellabs, 551 U.S. at 324
                                                                   at 284 (citing 15 U.S.C. § 78t(a)). Plaintiffs “must prove that
(defining PSLRA's characterization of “strong” inference as
                                                                   one person controlled another person or entity and that the
one that is “powerful or cogent”). The court must look to
                                                                   controlled person or entity committed a primary violation of
the totality of the allegations in order to determine whether
                                                                   the securities laws.” In re Suprema, 438 F.3d at 284 (citation
defendants acted with the required level of intent. See Avaya,
                                                                   omitted). Accordingly, liability under § 20(a) is derivative of
564 F.3d at 272-73. Although the pleadings need not present
                                                                   an underlying violation of those sections by the controlled
an irrefutable inference of scienter, plaintiffs' allegations
                                                                   person.
as to defendants' intent must remain “strong in light of
other explanations.” Tellabs, 551 U.S. at 324. Accordingly,
                                                                   The court has found that plaintiffs have adequately alleged
the court must examine plaintiffs' complaint to determine
whether it has adequately pied that the misrepresentations and     a primary violation of § 10(b) by the various defendants. 39
omissions attributed to defendants give rise to an inference       As to the control element, Daubenspeck, DaMour and Li
of scienter that is at least as compelling as any nonculpable      were members of Fisker Automotive's Board of Directors
explanations presented by the defendants. See id.                  and plaintiffs have alleged that the Board was responsible
                                                                   for the creation and dissemination of various confidential
The Third Circuit has held that a securities fraud plaintiff may   memoranda regarding the offerings and Capital Calls.
not merely allege “motive and opportunity” as the requisite        DaMour participated in conference calls regarding Fisker
scienter necessary to survive a motion to dismiss. Avaya, 564      Automotive. Daubenspeck cofounded Advanced Equities, an
F.3d at 277. Although motive may be a factor in analyzing          investment bank used by Fisker Automotive to raise capital.
defendant's state of mind, plaintiff's complaint must also         As to Ace Strength, plaintiffs have alleged that Li invested
include some element of volition on the part of the defendant.     in Fisker Automotive through Ace Strength, such that Ace
See id.                                                            Strength was a controlling shareholder of Fisker Automotive.
                                                                   The court concludes that plaintiffs have adequately pied
As discussed above, Fisker and DaMour made positive                “actual control” as to these defendants.
statements regarding the ATVM loan after it had
been frozen, and conflicting statements regarding Fisker           39     Kleiner Perkins, Lane, Fisker and Koehler only
Automotive's cash position. Fisker additionally made                      challenged the § 20(a) claim as failing to allege a
statements downplaying the potential for battery fires.                   primary violation. (D.I. 58; D.I. 62)
Plaintiffs relied on the representations in the offering
documents, which allegedly contained misstatements and             IV. PERSONAL JURISDICTION
omissions. The totality of the circumstances, which can be
succinctly described as ardently soliciting investors in order       A. Standard



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 *21 Rule 12(b)(2) directs the court to dismiss a case when it
lacks personal jurisdiction over the defendants. Fed.R.Civ.P.
12(b)(2). When reviewing a motion to dismiss pursuant to                         The District Courts of the United
Rule 12(b)(2), a court must accept as true all allegations of                    States ... shall have exclusive
jurisdictional fact made by the plaintiffs and resolve all factual               jurisdiction of this title or the rules
disputes in the plaintiffs' favor. Traynor v. Liu, 495 F. Supp.                  and regulations thereunder, and of all
2d 444, 448 (D. Del. 2007). Once a jurisdictional defense has                    suits in equity and actions at law
been raised, the plaintiffs bear the burden of establishing, with                brought to enforce any liability or
reasonable particularity, that sufficient minimum contacts                       duty created by this title or the rules
have occurred between the defendants and the forum to                            and regulations thereunder. Any suit
support jurisdiction. See Provident Nat'l Bank v. Cal. Fed.                      or action to enforce any liability or
Sav. & Loan Ass'n, 819 F.2d 434, 437 (3d Cir. 1987). To meet                     duty created by this title or rules and
this burden, the plaintiffs must produce “sworn affidavits                       regulations thereunder, or to enjoin
or other competent evidence,” since a Rule 12(b)(2) motion                       any violation of such title or rules and
“requires resolution of factual issues outside the pleadings.”                   regulations, may be brought in [the
Time Share Vacation Club v. Atlantic Resorts, Ltd., 735 F.2d                     district wherein any act or transaction
61, 67 n. 9 (3d Cir. 1984).                                                      constituting the violation occurred] or
                                                                                 in the district wherein the defendant is
In determining whether a court may exercise personal                             found or is an inhabitant or transacts
jurisdiction, a court must examine the relationship among                        business, and process in such cases
the defendants, the forum, and the litigation. Pinker v. Roche                   may be served in any other district of
Holdings Ltd., 292 F.3d 361, 368 (3d Cir. 2002). Where                           which the defendant is an inhabitant or
the plaintiffs' cause of action is related to or arises out of                   wherever the defendant may be found.
the defendants' contacts with the forum, the court is said to
exercise “specific jurisdiction.” IMO Indus., Inc. v. Kiekert
AG, 155 F.3d 254, 259 (3d Cir. 1998) (quoting Helicopteros
                                                                     15 U.S.C. § 78aa.* * 40 * *
Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414 n.8
(1984)). In federal court, the exercise of specific jurisdiction
                                                                     40
must satisfy the requirements of the Due Process Clause of                  Defendants did not oppose plaintiffs' motion to
the Fifth Amendment. See In re Real Estate Title & Settlement               take judicial notice of certain documents. (D.I. 54)
Servs. Antitrust Litig., 869 F.2d 760, 766 n. 6 (3d Cir. 1989).             Such documents are cited in the complaint (D.I.
In assessing the sufficiency of defendants' contacts with                   53, ex. B-H and JN); a matter of public record
the forum as required by the Due Process Clause, “a court                   (id., ex. A); and filed with the SEC (id., ex. I).
should look at the extent to which the defendants ‘availed                  The court takes judicial notice of such documents
[themselves] of the privileges of American law and the extent               as needed for the present motions. Pension Benefit
to which [they] could reasonably anticipate being involved                  Guar. Corp. v. White Consol. Indus., Inc., 998
in litigation in the United States.’ ” Pinker, 292 F.3d at 370              F.2d 1192, 1196 (3d Cir. 2006) (“[A] court may
(quoting Max Daetwyler Corp. v. Meyer, 762 F.2d 290, 293                    consider an undisputedly authentic document that
(3d Cir. 1985)); see also Hanson v. Denckla, 357 U.S. 235,                  a defendant attaches as an exhibit to a motion to
253 (1958). The final phase of assessing whether to exercise                dismiss if the plaintiff's claims are based on the
personal jurisdiction over defendants involves an analysis of               document.”); Oshiver v. Levin, Fishbein, Sedran
whether jurisdiction comports with “traditional notions of fair             & Berman, 38 F.3d 1380, 1385 (3d Cir. 1994)
play and substantial justice.” Int'l Shoe Co. v. Washington, 326            (“We may also consider matters of public record,
U.S. 310, 316, 66 S.Ct. 154, 90 L.Ed. 95 (1945).                            orders, exhibits attached to the complaint and items
                                                                            appearing in the record of the case.”); Oran v.
Jurisdiction over alleged violations of the Exchange Act is                 Stafford, 226 F.3d 275, 289 (3d Cir. 2000) (taking
governed by § 27 of the Act. See 15 U.S.C. § 78aa. Section                  “judicial notice of properly-authenticated public
78aa provides in pertinent part:                                            disclosure documents filed with the SEC”).




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   B. Discussion                                                    Plaintiffs assert that Li's position on Fisker's Board of
 *22 Plaintiffs allege that both Li and Ace Strength possess        Directors, identification in the Notice of Exempt Offering of
minimum contacts with the United States. Specifically,              Securities with Fisker Automotive's California address, along
plaintiffs allege that Li, a Hong Kong resident and member of       with his “active participation” and vote on the December
the Fisker Automotive Board of Directors, held a “controlling       2011 Capital Call, mandates specific jurisdiction. While these
interest” in Fisker Automotive through Ace Strength, a British      statements demonstrate that Li had some contact with the
Virgin Islands corporation which owned 10.15% of Fisker's           United States, plaintiffs do not allege that the cause of action
shares. (D.I. 24 at ¶¶ 32-33, 59) Plaintiffs aver that Li voted     —misrepresentations and omission in the disclosures—arises
for and/or approved the December 2011 Capital Call. (Id. at         out of or is related to said contact. See IMO Indus., Inc.,
¶¶ 79, 81) Plaintiffs also allege that the solicitations were       155 F.3d at 259. Plaintiffs have not pied facts showing that
directed at the United States and that “substantial acts” related   Li or Ace Strength exercised control over the challenged
to the disclosure allegations took place in the United States.      disclosures or engaged in “substantial acts” “purposefully
Li was identified as a Director and used Fisker Automotive's        directed” at the United States and sufficient to establish
address in a Notice of Exempt Offering of Securities. (D.I. 52
                                                                    minimum contacts. * * 42 * *, * * 43 * * Burger King Corp. v.
at 84; D.I. 53, ex. 1)41
                                                                    Rudzewicz, 471 U.S. 462, 472 (1985); Helicopteros, 466 U.S.
                                                                    at 414.
So long as defendants have minimum contacts with the
United States as a whole, § 78aa and § 77v confer personal
                                                                    42
jurisdiction over the defendant in any federal court. The due               Plaintiffs' citation to TCS Capital Management,
process requirement that                                                    LLC v. Apax Partners, L.P., 2008 U.S. Dist. LEXIS
                                                                            19854, 2008 WL 650385 (S.D.N.Y. Mar. 7, 2008)
                                                                            is inapposite. Though it was indeed “foreseeable”
             a defendant have “minimum contacts”                            that defendants' actions would have an “effect” in
             with a particular district or state ... is                     the United States, the jurisdictional issue in the
             not a limitation imposed on the federal                        case turned on the fact that the “director defendants
             courts under Section 27 in a federal                           were all primary violators by virtue of their having
             case. Due process concerns under the                           prepared and approved the allegedly false and/or
             Fifth Amendment are satisfied if a                             misleading Explanatory Report.” Id. at *29-33.
             federal statute provides for nationwide                43      Therefore, the court does not consider whether the
             service of process in federal court for
                                                                            exercise of specific jurisdiction “would comport
             federal question cases.
                                                                            with ‘fair play and substantial justice.’ ” D'Jamoos
                                                                            ex rel. Estate of Weingeroff v. Pilatus Aircraft Ltd.,
                                                                            566 F.3d 94, 106 (3d Cir. 2009) (citing Burger
FS Photo, Inc. v. PictureVision, Inc., 48 F. Supp. 2d 442, 445              King, 471 U.S. at 476).
(D. Del. 1999).
                                                                    While plaintiffs shoulder the burden of demonstrating
                                                                    sufficient jurisdictional facts, “courts are to assist the plaintiff
Specific jurisdiction cannot be solely based upon shares
                                                                    by allowing jurisdictional discovery unless the plaintiff's
in a United States corporation. Balden Techs., Inc. v. LS
                                                                    claim is ‘clearly frivolous.’ ” Toys “R” Us, Inc. v. Step Two,
Corp. 626 F. Supp. 2d 448, 457 (D. Del. 2009) (“[m]ere
                                                                    S.A., 318 F.3d 446, 456 (3d Cir. 2003) (quoting Mass. Sch. of
ownership of a [Delaware] corporation is not sufficient to
                                                                    Law at Andover, Inc. v. Am. Bar Ass'n, 107 F.3d 1026, 1042
confer personal jurisdiction over a non-resident defendant”).
                                                                    (3d Cir. 1997)). “If a plaintiff presents factual allegations that
A position of director is by itself insufficient to find specific
                                                                    suggest ‘with reasonable particularity' the possible existence
jurisdiction. Tracinda Corp. v. Daimlerchrysler AG, 197
                                                                    of the requisite ‘contacts between [the parties] and the forum
F. Supp. 2d 86, 99 (D. Del. 2002). Moreover, plaintiffs
                                                                    state,’ the plaintiff's right to conduct jurisdictional discovery
must “adequately specif[y defendants'] alleged role” to
                                                                    should be sustained.” Id. at 456 (quoting Mellon Bank (East)
establish specific jurisdiction. See id. at 96 (declining “to
                                                                    PSFS, Nat'l Ass'n v. Farino, 960 F.2d 1217, 1223 (3d Cir.
exercise jurisdiction over [d]efendant Kopper based solely on
                                                                    1992)). A court must determine whether certain discovery
Tracinda's controlling person claims”).
                                                                    avenues, “if explored, might provide the ‘something more'


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                                                                     44
needed” to establish personal jurisdiction. Toys “R” Us, 318                 Plaintiffs also assert that jurisdictional discovery
F.3d at 456. To receive jurisdictional discovery, plaintiffs                 is supported by the fact that Ace Strength is not a
must claim that their factual allegations establish with                     public company and that a great deal of information
reasonable particularity the possible existence of requisite                 is solely in their hands. See Rocke v. Pebble Beach
contacts. If they do not, to allow jurisdictional discovery                  Co., 541 Fed.Appx. 208, 212-13 (3d Cir. 2013)
would “allow plaintiff to undertake a fishing expedition based               (finding that a district court abused its discretion
only upon bare allegations.” Inno360 v. Zakta, LLC, 50 F.                    by failing to allow jurisdictional discovery where
Supp. 2d 587, 597 (2014). Notably, in addition, “the United                  the necessary information was solely in defendants'
States Supreme Court has held that courts should ‘exercise                   hands resulting in an “imbalance in access to
special vigilance to protect foreign litigants from the danger               information” between the parties).
that unnecessary, or unduly burdensome, discovery may place          45
[on] them.’ ” Telecordia Tech, Inc. v. Alcatel S.A., Civ. No.                Who may have participated in the preparation of
04-874 GMS, 2005WL1268061, at *8 (D. Del. May 27,                            offering documents, discussed above.
2015).
                                                                     V. CONCLUSION
 *23 In support of the request for jurisdictional discovery,         For the foregoing reasons, the court grants in part and
plaintiffs suggest that Ace Strength might have an alter-            denies in part defendants Daubenspeck, Fisker and Koehler,
ego or agency relationship with a company for which                  DaMour, and Kleiner and Lane's motions to dismiss the
this court has general jurisdiction and that Li might own            consolidated complaint (D.I. 29; D.I. 33; D.I. 36; D.I. 43);
                                                                     stays Ace Strength and Li's motion to dismiss (D.I. 38)
property in the United States. * * 44 * * (D. I. 52 at 86-87)
                                                                     pending the completion of jurisdictional discovery; grants.
Plaintiffs also contend that Li may have “traveled to the
                                                                     McDonnell's motion to dismiss (D.I. 31); and grants plaintiffs'
United States in connection with Fisker Automotive or the
                                                                     motion for judicial notice of certain documents (D.I. 54). An
offerings, particularly the pay-to-play offerings,” and that
                                                                     appropriate order shall issue.
such information might provide further relevant information
pertaining to specific jurisdiction. (D.I. 52 at 87) These
contentions, along with Li's status as a Director of Fisker          All Citations
                 45
Automotive, * * * * raise a colorable showing of personal
jurisdiction sufficient to allow jurisdictional discovery.           Not Reported in Fed. Supp., 2015 WL 6039690



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                     Case No. 14




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                                                                 reclassifications of certain clients were both fraudulent and
                    2017 WL 4355570                              disclosed to the public. 2
       United States District Court, N.D. California.
                                                                 1      Plaintiff's first complaint focused on allegations
                IN RE NIMBLE STORAGE
                                                                        that defendants misled the public by failing to
                SECURITIES LITIGATION
                                                                        disclose Nimble's: (i) limiting its investments in
                 Case No. 15-cv-05803-YGR                               Sales and Marketing (“S/M”); (ii) diversion of
                              |                                         investments from its commercial segment to its
                     Signed 10/02/2017                                  enterprise segment; and (iii) failure to penetrate
                                                                        clients for its enterprise segment in a meaningful
                                                                        fashion.

     ORDER GRANTING MOTION TO DISMISS                            2      With regard to statements indicating that Nimble
                                                                        was “on track” to meet certain goals, the Court
                      Re: Dkt. No. 141                                  found that whether such statements were actionable
                                                                        would rise and fall with the first two categories of
Yvonne Gonzalez Rogers, United States District Court Judge              statements regarding the commercial and enterprise
                                                                        segments.
 *1 Plaintiff Arkansas Teacher Retirement System, as lead
                                                                 Now before the Court is defendants' motion to dismiss the
plaintiff, brings this consolidated third amended complaint
against defendants Nimble Storage, Inc. (“Nimble”), Suresh       TAC. 3 Having carefully reviewed the pleadings, the papers
Vasudevan, Anup Singh, Varun Mehta, and Dan Leary                and exhibits submitted on this motion, and oral arguments
for alleged violations of the federal securities laws. (Dkt.     heard on September 26, 2017, and for the reasons set forth
No. 139, “TAC.”) Specifically, plaintiff claims that all         more fully below, the Court GRANTS defendants' motion
defendants violated section 10(b) of the Exchange Act            and DISMISSES WITH PREJUDICE plaintiff's TAC. 4
and Rule 10-b5 promulgated thereunder for allegedly
making fraudulent statements regarding Nimble's prospects        3      The Court adopts the background section and
and financial condition between November 24, 2014 and
                                                                        discussion of general legal standards in its order
November 19, 2015 (the “Class Period”). Additionally,
                                                                        granting defendants' motion to dismiss the first
plaintiff brings control person claims against defendants
                                                                        amended complaint, and includes additional facts
Vasudevan and Singh under section 20 of the Exchange Act.
                                                                        and allegations as necessary herein. (See Dkt. No.
                                                                        113.)
The Court has twice dismissed plaintiff's complaints. 1 In
                                                                 4
its order dismissing plaintiff's second amended complaint,              In connection with their motion to dismiss,
the Court found that plaintiff had failed to allege adequately          defendants submitted a request for judicial notice
that defendants misled the public by: (a) failing to inform             (“RJN”) for the following documents (Dkt. No.
investors that Nimble's commercial segment was weakening                143): (i) Exhibit A, excerpts of Nimble's Form 8-Ks
throughout the Class Period; (b) suggesting that Nimble's               filed with the Securities and Exchange Commission
enterprise segment was growing while simultaneously                     (“SEC”), dated November 25, 2014, February
misclassifying commercial clients as enterprise clients; and            26, 2015, May 26, 2015, August 25, 2015, and
(c) informing the public that Nimble remained on-track                  November 19, 2015; (ii) Exhibit B, excerpts of
to “breakeven” while knowing that its commercial and                    Nimble's Form 10-K filed with the SEC, for period
enterprise segments were struggling. The Court dismissed                ending January 31, 2015; (iii) Exhibit C, excerpts
with prejudice plaintiff's claims relating to defendants'               of Nimble's earnings calls, dated November 25,
statements about Nimble's commercial segment prior to                   2014, February 26, 2015, May 26, 2015, and
August 25, 2015, and gave leave to amend as to the remaining            August 25, 2015; (iv) Exhibit D, excerpts of
claims. Specifically, with respect to statements regarding the          Nimble's Form 10-Qs filed with the SEC, for the
enterprise segment, the Court gave leave to amend to the                quarters ended July 31, 2014, April 30, 2015, and
extent that plaintiff could adequately allege that defendants'          July 31, 2015; (v) Exhibit E, Daniel Leary Forms 4s



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        between March 11, 2014 and October 21, 2015; (vi)                 on January 31, 2016, and similarly, each quarter
        Exhibit F, Varun Mehta Forms 4s between March                     ending on the last day of April, July, and October
        11, 2014 and September 11, 2015; (vii) Exhibit                    2015, and January 2016, respectively. Thus, 3Q16
        G, Anup V. Singh Forms 4s between February                        would have ended on October 31, 2015.
        28, 2014 and December 1, 2015; and (vii) Exhibit          6
        H, Suresh Vasudevan Forms 4s between March                        Plaintiff also alleges that certain statements
        11, 2014 and December 11, 2015. Plaintiff does                    regarding Nimble's “win rates” and its goal to
        not oppose defendants' RJN. The Court previously                  breakeven by the end of 4Q16 were misleading
        took judicial notice of these same documents in its               because they implied that Nimble's commercial
        prior orders granting defendants' prior motions to                and enterprise segments were growing and strong.
        dismiss. (Dkt. No. 113 at 1–2 n.1; Dkt. No. 134 at 2              The Court addresses such statements as appropriate
        n.2.) For the same reasons stated therein, the Court              within the context of defendants' statements
        GRANTS defendants' RJN here.                                      regarding its commercial and enterprise businesses.


I. DISCUSSION
                                                                      1. Statements Regarding Nimble's Enterprise Segment
   A. SECTION 10(B) AND RULE 10B-5 CLAIM
                                                                  In its prior order dismissing plaintiff's claims pertaining
 *2 Defendants raise the following grounds upon which they
                                                                  to statements about Nimble's enterprise segment, the Court
argue plaintiff's claims should be dismissed: (i) plaintiff has
                                                                  granted leave to amend “only to the extent that plaintiff can
failed to plead with particularity any false or misleading
                                                                  adequately allege that the reclassifications were fraudulent
statements; (ii) certain statements are forward-looking and
                                                                  and such fraudulent reclassifications were disclosed to
protected by the Private Securities Litigation Reform Act's
                                                                  the public.” (Dkt. No. 134 at 8.) Specifically, the Court
(the “PSLRAs”) safe harbor; and (iii) plaintiff has failed to
                                                                  found persuasive that, amidst defendants' general statements
plead a strong inference of scienter. Because the Court finds
                                                                  regarding the strength of the enterprise segment, defendants
that plaintiff has yet again failed to plead with particularity
                                                                  also provided to the market specific numbers detailing how
that any of the alleged statements are false or misleading,
                                                                  many clients they had within the Global 5000, defined as
the Court need not address specifically defendants' arguments
                                                                  the largest 5000 enterprises at any given time, and plaintiff
related to the PSLRA safe harbor or scienter, and proceeds
                                                                  failed to allege that any such numbers were inaccurate. (Id.
with the analysis below only as to their first ground for
                                                                  at 6–7.) Sales and profit data, “when accurately reported,
dismissal.
                                                                  [are] rarely subject to misinterpretation, even if the disclosure
                                                                  is accompanied by generally optimistic statements about the
In response to the Court's order dismissing plaintiff's second
                                                                  future by corporate officers.” See In re Verifone Sec. Litig.,
amended complaint, plaintiff has, generally, alleged that
                                                                  784 F. Supp. 1471, 1481 (N.D. Cal 1992) (further stating
defendants misled the public with regard to statements about
                                                                  that “[p]rofessional investors, and most amateur investors
the strength of (i) its enterprise business generally and (ii)
                                                                  as well, know how to devalue the optimism of corporate
its commercial business and enterprise business, limited to
                                                                  executives, who have a personal stake in the future success of
the third quarter of 2016 (“3Q16”). 5 The Court considers         the company”).
whether the new allegations in the TAC are now sufficient, in
light of the Court's guidance in its previous orders dismissing   Plaintiff, again, does not plead that any of the disclosed
plaintiff's claims. 6                                             numbers were inaccurate. Rather, plaintiff offers Confidential
                                                                  Witness (“CW”) 14, 7 who corroborates that Nimble was
5                                                                 reclassifying “its top end commercial accounts as enterprise
        As described in its order on defendants' motion
        to dismiss the First Amended Complaint, Nimble's          accounts” and avers that “if a Commercial account was
        fiscal year ends on January 31 of each year.              reclassified as an enterprise account, that account would
        Relevant to the claims here, its 2015 fiscal year         have been counted as a ‘win’ during that quarter and
        ended on January 31, 2015, with each of its quarters      announced to the market as such.” (TAC ¶ 202.) Plaintiff
        (Q1, Q2, Q3, and Q4) ending on the last day               does not allege particularized facts demonstrating how these
        of April, July, and October 2014, and January             “wins” were announced to the market, other than defendants'
        2015, respectively. Nimble's 2016 fiscal year ended       general statements touting the success and growth of the


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enterprise segment. Plaintiff argues that the Court should                and fall with statements regarding the enterprise
infer falsehood based upon CW 14's declarations regarding                 and commercial segments.
reporting reclassifications as wins, in addition to statements     Plaintiff, however, raises a new claim that statements made in
from CW 3 and CW 8 reporting that reclassifications were           3Q16 regarding enterprise momentum had to have been false
occurring in their areas to make it appear that the enterprise     because, as plaintiff alleges, defendants must have known
segment was thriving. (Id. at ¶¶ 202, 204, 207.)                   by the first day of that quarter how the quarter would end,
                                                                   including how both commercial and enterprise deals were
7      CW 14 worked as a field marketing manager in                progressing. (Id. at ¶¶ 281, 293.) Defendants argue that this
       several regions from 2011 through January 2017,             new theory is in violation of the exceedingly narrow grounds
       including in California, Hawaii, Arizona, Nevada,           for amendment the Court granted plaintiff with respect to
       and South Carolina.                                         defendants' statements about the enterprise segment. The
                                                                   Court agrees. Nevertheless, as articulated in its prior order,
 *3 However, plaintiff's theory as to how such “wins” were
                                                                   claims arising out of defendants' statements in 3Q16, at least
reported to the market are based on announcements Nimble
                                                                   with respect to the commercial segment, could have been
made generally about the strength of the enterprise segment,
                                                                   possible in light of the large revenue miss and Vasudevan's
which were often accompanied with disclosures regarding
                                                                   subsequent concession that Nimble faced pressure throughout
the actual numbers of Global 5000 or Global 500 companies
                                                                   the third quarter. For the same reasons, the claims arising out
Nimble had added to its roster. As the Court has previously
                                                                   of defendants' statements in 3Q16 with regard to Nimble's
found, in light of defendants' disclosure of the actual numbers
                                                                   enterprise segment may have also existed. The Court will thus
of Global 5000 clients they were acquiring throughout the
                                                                   address defendants' statements in 3Q16 with regard to the
Class Period, defendants' more general statements of growth
                                                                   enterprise segment together with its statements with regard
are not actionable. See In re Verifone Sec. Litig., 784 F. Supp.
                                                                   to the commercial segment because they raise substantially
at 1481. The Court previously dismissed these claims for
                                                                   similar issues.
that very reason, explaining that plaintiff must allege that
the actual numbers disclosed by defendants were false. As
in its second amended complaint, plaintiff stops just short of
alleging the falsity of the numbers disclosed. For instance,           2. Statements Regarding Nimble's Business in 3Q16
in an August 25, 2015 shareholder letter, plaintiff quoted
the following language, and indicated in bold and italics          Given the Court's narrowing of the issues in this litigation
the parts which plaintiff considered false and misleading:         and the fact that the Class Period ends on November 19, 2015
“Continued Enterprise momentum. Our penetration of                 after corrective disclosures were given to the investing public,
Global 5000 enterprises continues to scale and we now have         the relevant statements that remain are contained only in the
more than 70 customers within the Global 500.” (TAC ¶              following: (i) a shareholder letter released by defendants on
281.) Accordingly, the Court finds that plaintiff has failed to    August 25, 2015 (see TAC ¶¶ 278, 281, 283, 285); (ii) an
allege any false or misleading statements regarding Nimble's       earnings call on August 25, 2015 (id. at ¶¶ 287, 289, 291,
enterprise segment, and that further amendment with respect        293, 295, 298); and (iii) a Wells Fargo Report, published on
to the same would be futile.                                       September 22, 2015 (id. at ¶¶ 303, 306). 9

Accordingly, the Court GRANTS defendants' motion and               9      Defendants argue that that the Wells Fargo Report,
DISMISSES WITH PREJUDICE plaintiff's claims relating
                                                                          which documents and opines on an analyst
to defendants' statements about the growth of the enterprise
                                                                          meeting with Mehta and Singh, cannot give rise
segment prior to 3Q16. 8                                                  to actionable statements. “A defendant may be
                                                                          held liable for ‘ma[king] false and misleading
8                                                                         statements to securities analysts with the intent
       Similarly, the Court finds that allegations related
       to defendants' statements prior to 3Q16 predicting                 that the analysts communicate those statements to
       that Nimble would breakeven by the end of                          the market.’ ” In re OmniVision Techs., Inc. Sec.
       the fiscal year are also DISMISSED WITH                            Litig., 937 F. Supp. 2d 1090, 1105 (N.D. Cal. 2013)
       PREJUDICE, as the Court previously found that                      (citations omitted). “When statements in analysts'
       whether these statements would be actionable rise                  reports clearly originated from the defendants,



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       and do not represent a third party's projection,                   held liable for failing to educate the public about
       interpretation, or impression, the statements may                  [the] potential impact on [the] company of publicly
       be held to be actionable even if they are not                      known facts’ ”). Mehta's statement here merely
       exact quotations.” Id. (quoting Nursing Home                       provides his opinions regarding faults he identifies
       Pension Fund, Local 144 v. Oracle Corp., 380                       in competing all-flash array systems. Plaintiff does
       F.3d 1226, 1235 (9th Cir. 2004)). Here, there                      not adequately explain how such statements are
       are essentially three statements at issue in the                   false or misleading, nor does plaintiff contend
       Wells Fargo report: (i) “Our sense is the growth                   that Mehta's statements about competing all-flash
       story is still on track”; (ii) a conclusion that                   array systems are untrue. Thus, the Court also
       Nimble “continues to have confidence in its ability                DISMISSES WITH PREJUDICE claims as to
       to achieve FQ4 breakeven driven by revenue                         that statement.
       growth”; and (iii) a description of Mehta's belief           *4 These statements fall broadly under the following
       regarding flaws he sees in all-flash array systems.         categories: First, there are statements that relate specifically
       While the latter two appear sufficiently to be              to Nimble's enterprise segment during 3Q16. (See id. at ¶
       attributable to Mehta and Singh, the analyst's              281 (“Continued Enterprise momentum. Our penetration of
       opinion regarding their “sense” of Nimble's growth          Global 5000 continues to scale....”); ¶ 283 (“Rapid growth in
       story is not actionable because it explicitly provides      Global 5000 Enterprises.... These product enhancements and
       the analyst's view or impression of the situation,          sales investments are yielding strong bookings growth from
       rather than merely describing what Singh or Mehta
                                                                   Global 5000 enterprise.”); see also id. at ¶¶ 285, 293, 306.) 10
       actually said. Thus, the Court DISMISSES WITH
                                                                   Second, many of the statements tout the success of Nimble's
       PREJUDICE plaintiff's claims as to the analyst's
                                                                   business generally, including its commercial segment. (See
       “sense” of Nimble's growth story.
                                                                   id. at ¶ 278 (providing revenue guidance of $86 to $88
       Additionally, plaintiff alleges the following
                                                                   million); see also id. at ¶ 295.) And third, many statements
       statement in paragraph 306 is misleading: “Mr.
                                                                   indicate that Nimble is on track to breakeven, which plaintiff
       Mehta believes that data management will be
                                                                   claims must be premised on Nimble's supposed success in its
       a key differentiator in the industry and sees
                                                                   commercial and enterprise segments. (See id. at ¶¶ 278 (“[W]e
       issues with 1) the all-flash only array market
                                                                   remain on track to achieve our goal of non-GAAP operating
       as it tends to be silos that don't integrate as
                                                                   income break-even by the end of the current fiscal year.”), 303
       well with other arrays, has capacity limitations
                                                                   (“NBML also continued to have confidence in its ability to
       because of dedupe, an inability to move data,
                                                                   achieve FQ4 breakeven driven by revenue growth (FQ4 tends
       and high costs per MIPS (million instructions per
                                                                   to be the strongest seasonally)”); see also id. at ¶¶ 295, 298.)
       second).” Plaintiff claims that this is misleading
       because Nimble's fibre channel also contained
                                                                   10
       imperfections, Nimble was not growing its base                     Plaintiff also alleges that defendants' statements
       of large enterprise in a meaningful manner, and                    about certain “win rates” are false and misleading,
       Nimble was relabeling commercial accounts as                       because at the time those statements were made,
       enterprise accounts to hide this fact. However,                    Nimble's commercial and enterprise pipelines
       as discussed in a previous order, the market was                   were already weakening. (See, e.g., TAC ¶¶ 287
       well-aware of fibre channel's missing features, and                (“[O]ur win rates have continued to remain very
       an analyst even commented that these product                       consistent....”); 289 (“[O]ur win rates have been
       deficiencies could slow Nimble's entry into the                    as strong against [adaptive security appliance]
       enterprise market. (Dkt. No. 113 at 14 (citing                     competition as incumbents.”); 291 (“[O]ur win
       Howard Gunty Profit Sharing v. Quantum Corp.,                      rates have been unchanged.”); see also id. at ¶¶ 288,
       No. 96-CV-20711-SW, 1997 WL 514993, at *4                          290, 292.) As an initial matter, the Court rejects
       (N.D. Cal. Aug. 14, 1997) (finding that defendants                 defendants' arguments that the statements at issue
       need not have disclosed certain product features                   here are mere puffery. Unlike vague statements
       and consumer preferences because “information                      touting the strength of its win rates generally,
       about consumer preferences is indeed available to                  the statements at issue here are more comparative
       the investing public ... and [d]efendants cannot be                and concrete, and susceptible to verification. See



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       Shankar v. Imperva, Inc., No. 14-CV-1680-PJH,                    Marketing throughout the Class Period, avers that
       2016 WL 2851859, at *4–5 (N.D. Cal. May 16,                      Nimble encountered challenges in trying to penetrate the
       2016) (finding vague statements such as “very                    enterprise space, and corroborated that Nimble would
       strong” to be puffery but finding actionable claims              reclassify its “top end commercial accounts as enterprise
       that defendant would “win four out of five times”).              accounts,” and that such reclassification would be
       However, for the same reasons discussed herein                   “counted as a ‘win’ ” in Nimble's “internal Salesforce
       as to the other statements made during this time                 and Cloud 9 systems.” (Id. at ¶ 202.)
       period, plaintiff has failed to plead particularized
       facts demonstrating that these statements were false           • CW 15, a field marketing manager throughout the Class
       or misleading when made.                                          Period, averred that Nimble's analytical tools would have
                                                                         indicated that Nimble was going to miss its guidance.
Previously, the Court found that plaintiff's claims for
statements made in 3Q16 could be actionable, in light of         Additionally, each of the CWs above, as well as others listed
Nimble's own acknowledgement that it experienced a decline       in previous versions of the complaint, alleged that Nimble
in both its commercial and enterprise segments during 3Q16,      utilized highly advanced predictive technology, reviewed
resulting in the missed revenue guidance. (Dkt. No. 134 at 4.)   frequently by defendants, which would have demonstrated to
However, the Court dismissed such claims because plaintiff       defendants, at least by the end of the first month of the quarter
had failed to plead adequately that the statements were false    what deals would close and whether defendants would meet
or misleading at the time they were made.                        their revenue guidance. 11

Now, plaintiff offers in its TAC additional allegations from     11
four new CWs, which it claims are sufficient to satisfy its                The TAC continues to contain vague, and at times
pleading requirements under the PSLRA, at least as to the                  conflicting, statements regarding when Nimble's
statements made in 3Q16. The additional CWs offer the                      predictive technology would have shown that
following:                                                                 Nimble would fail to meet the revenue guidance
                                                                           announced at the beginning of 3Q16. (See TAC ¶¶
  • CW 12, the former director of internal audit throughout                169 (CW 2 averring that it was “clear to everyone
     the Class Period, avers that “Nimble knew months in                   at Nimble before that last month” which deals
     advance that they were going to miss 3Q16 guidance,”                  would close); 170 (CW 10 averring that Nimble
     explaining that Nimble “expected to hit 20% of their                  knew it would “miss guidance for 3Q16 from the
     quarterly forecast in the first month of the quarter                  beginning of the year”); 172 (CW 12 averring that
     (August 2015), 30% in the second month of the quarter                 defendants knew “months in advance” that they
     (September 2015), and 50% in the final month of the                   would miss 3Q16 guidance); 179 (CW 3 averring
     quarter (October 2015),” but that in the months leading               that the technology allowed Nimble to “project by
     up to the 3Q16 miss (announced in November 2015),                     the end of the first month of a quarter whether or
     “nothing was hitting targets.” (TAC ¶ 172.) CW 12                     not quarterly goals would be met”).)
     further recalled a growing concern among the executive      The Court finds that the additional allegations provided by the
     management “in the months leading up to the guidance        four confidential witnesses are insufficient to save plaintiff's
     miss when it became clear that the Company would not        complaint, for the following reasons:
     reach its guidance.” (Id. at ¶ 174.)
                                                                 First, for the same reasons the Court found that CW 14's
  • CW 13, the Vice President for the “East” region from
                                                                 allegations were insufficient in the context of plaintiff's claims
    January 2015 through May 2016, avers that his region
                                                                 relating to the enterprise segment, the Court also finds that
    encountered a slow first two months in 3Q16, i.e., in
                                                                 CW 14's allegations do not support claims for statements
    August and September 2016. (Id. at ¶ 175.) Additionally,
                                                                 made in 3Q16. Additionally, CW 14 does not aver that the
    CW 13 states that Nimble had to use backlog from 1Q16
                                                                 reclassifications were in any way improper.
    to make up for 2Q16 booking shortfalls in the East to
    make guidance for that quarter.
                                                                 Second, CW 12's allegations provide no specificity as to
   *5 • CW 14, the director and then the senior                  when it became apparent that weaknesses in the commercial
    director of Worldwide Channels GTM Strategy and              and enterprise segments would significantly impact Nimble's


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guidance on revenue and its projections for breakeven. CW           simply does not allege enough. Not one of the CWs alleges
12 only asserts that “in the months leading up to the 3Q16          that any of these reports forecasted for defendants that they
miss, nothing was hitting targets” and at some point, the           would miss their guidance, and, if any did provide such
Nimble executives knew it would be “impossible to achieve           forecasts, when these reports began doing so. 13 This is
guidance for 3Q16.” (Id. at ¶ 172.) However, given that the         particularly telling in light of the fact that certain CWs
only two dates in 3Q16 on which statements were given were          averred that they themselves used the predictive technology
August 25, 2015 and September 22, 2015, greater specificity         and received daily reports. (See, e.g., TAC ¶ 125.) Given
is necessary to determine whether the statements were false         the limited number of statements provided in 3Q16 and the
or misleading at the time they were made. Furthermore, as           lack of any statements during the last month of that quarter,
discussed above, the only actionable statement with regard to       specificity as to when defendants' statements became “false
the September 22, 2015 analyst report pertained to whether          and misleading” is necessary to state a claim under the
Nimble would breakeven by the end of 4Q16, and the                  PSLRA. To support plaintiff's theory, the Court would have
analyst acknowledged that the fourth quarter tended to be the       to make inference upon inference without any particularized
strongest seasonally. (Id. at ¶ 303.) Thus, even if defendants      facts demonstrating what information the reports actually
knew by September 22, 2015 that it would be impossible for          contained. The Court cannot do so under the demanding
Nimble to meet its revenue guidance, no such statements were        standards set forth by the PSLRA.
made on September 22, 2015, and there exist no particularized
facts suggesting that Nimble would also fail to breakeven by        13
                                                                           Additionally, assuming arguendo that plaintiff
the end of 4Q16. 12                                                        could have satisfied its pleading burden in this
                                                                           regard, the lack of specificity as to what the
12      Additionally, CW 12 indicated that defendants                      reports actually showed, and when, undermine
        expected 50% of 3Q16's revenue to be gained                        the TAC's ability to allege a strong inference
        during October 2015. (TAC ¶ 172.) Thus, even                       of scienter, given that none of plaintiff's fifteen
        accepting that Nimble encountered a weak August                    CWs is willing to allege such facts, and other
        and September in 2015, defendants could still have                 circumstances—such as defendants' retention of
        expected to make up the difference in October,                     a high percentage of their stock—also do not
        especially in light of CW 12's averment.                           support such an inference. See Metzler Inv. GMBH
 *6 Third, CW 13's allegation that Nimble utilized backlog                 v. Corinthian Colleges, Inc., 540 F.3d 1049, 1061
bookings from 1Q16 to supplement 2Q16's shortfall in his                   (9th Cir. 2008) (plaintiffs' allegations must raise a
region says nothing about whether booking shortfalls existed               “strong inference that the defendant acted with an
in other regions during that quarter, how much backlog had                 intent to deceive, manipulate, or defraud”) (citing
to be utilized, and whether other regions still had backlog                15 U.S.C. § 78u–4(b)(2) and Ernst & Ernst v.
after 2Q16. Nor does a booking shortfall in 2Q16 necessarily               Hochfelder, 425 U.S. 185, 193 (1976)); Tellabs,
indicate weakness entering 3Q16. Such lack of specificity is               Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308,
insufficient for purposes of the PSLRA. See In re Foundry                  323–24 (2007) (“A complaint will survive ... only
Networks, Inc. Sec. Litig., No. 00-CV-4823-MMC, 2003 WL                    if a reasonable person would deem the inference
22077729, at *7 (N.D. Cal. Aug. 29, 2003) (dismissing claims               of scienter cogent and at least as compelling as
related to use of shipping backlogs because plaintiffs failed to           any opposing inference one could draw from the
allege with particularity the “amount of revenue implicated,”              facts alleged.”); see also Applestein v. Medivation,
explaining that plaintiffs failed to “provide any facts about the          Inc., No. 10-CV-998-EMC, 2011 WL 3651149, at
source of such information, stating only, and generally, that              *8 (N.D. Cal. Aug. 18, 2011) (finding the fact
‘the early shipments depleted the order backlog for Foundry's              that defendants “maintained more stock than they
product in the fourth quarter of 2000 by approximately $5.2                sold” during the class period “strongly rebuts an
million’ ”).                                                               inference of scienter”). However, because plaintiff
                                                                           has failed to allege adequately any false or
Fourth, and finally, CW 15's corroboration of the seemingly                misleading statements, the Court need not reach
uncontroversial fact that Nimble employed highly predictive                that issue here.
technology, which defendants most likely reviewed routinely,



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                                                                        DISMISSES WITH PREJUDICE plaintiff's section 20(a)
Accordingly, the Court GRANTS defendants' motion to
                                                                        claim.
dismiss. Given that this is plaintiff's third attempt at amending
its complaint after over a year and a half of litigating this
action, the Court finds that there exists no indication that            II. CONCLUSION
plaintiff would be able to amend to cure the deficiencies               For the foregoing reasons, the Court GRANTS defendants'
described herein, or in the Court's prior orders dismissing             motion and DISMISSES WITH PREJUDICE plaintiff's
plaintiff's complaints. Thus, the Court DISMISSES WITH                  TAC.
PREJUDICE plaintiff's remaining claims under Section
10(b) and Rule 10-b5 promulgated thereunder.                            This Order terminates Docket Number 141.

                                                                        The Clerk shall close the file.
   B. SECTION 20(A) CLAIM
 *7 Defendants do not contest that Vasudevan and Singh
                                                                        IT IS SO ORDERED.
are “controlling” individuals under the statute. Thus, the
Section 20(a) claims against the same are dependent on
whether plaintiff's claims under Section 10(b) and Rule 10b-5           All Citations
survive. The Court has found that plaintiff has failed to
plead adequately any claims under Section 10(b) and Rule                Not Reported in Fed. Supp., 2017 WL 4355570, Fed. Sec. L.
10b-5, and dismissed the same with prejudice. Accordingly,              Rep. P 99,898
the Court GRANTS defendants' motion in this regard and

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                                                                         Bus., Inc. v. Symington, 51 F.3d 1480, 1484 (9th
                    2023 WL 2749193                                      Cir. 1995).
      Only the Westlaw citation is currently available.          Defendant Okta is a data security company that “provides
       United States District Court, N.D. California.            identity and access management (‘IAM’) software that helps
                                                                 companies secure user authentication into applications, and
     IN RE OKTA, INC. SECURITIES LITIGATION,                     for developers to build identity controls into applications,
                                                                 website web services, and devices. Okta primarily markets
                   Case No. 22-cv-02990-SI
                                                                 the Okta Identity Cloud as a one-stop solution that provides
                              |
                                                                 data security for an organization's workforce.” Id. ¶¶ 2–
                    Signed March 31, 2023
                                                                 3. Okta is a “ ‘growth company,’ i.e., a company that
                                                                 prioritizes growth over profits.” Id. ¶ 4. The complaint
                                                                 alleges that Okta has yet to report any net income since
     ORDER GRANTING IN PART AND DENYING                          its initial public offering in 2017. Id. ¶ 51. Also named as
    IN PART DEFENDANTS' MOTION TO DISMISS                        defendants in this case are Okta's Chief Executive Officer
                                                                 and Co-Founder Todd McKinnon; current Chief Financial
                      Re: Dkt. No. 56                            Officer Brett Tighe; and current Executive Vice Chairman,
                                                                 Chief Operating Officer, and Co-Founder Frederic Kerrest
SUSAN ILLSTON, United States District Judge                      (collectively, the “individual defendants”). Id. at 1.

 *1 On March 17, 2023, the Court held a hearing on
                                                                 Lead Plaintiff alleges that defendants made numerous false
defendants' motion to dismiss the amended complaint. For the
                                                                 and misleading statements and omissions in filings with
reasons set forth below, the Court GRANTS IN PART and
                                                                 the Securities and Exchange Commission (“SEC”); in press
DENIES IN PART the motion, and GRANTS Lead Plaintiff
                                                                 releases and in interviews with the media; at technology
leave to amend. Any amended complaint shall be filed by
                                                                 conferences; and during quarterly investor calls throughout
April 28, 2023.
                                                                 the Class Period.

                                                                 Defendants move to dismiss the complaint, asserting that
                    INTRODUCTION                                 Okta consistently warned investors of the challenges it faced
                                                                 with the acquisition of Auth0 and the integration of its sales
This securities fraud case is brought by Lead Plaintiff          team. Dkt. No. 56 (“Mot.”) at 1. Defendants also argue
Nebraska Investment Council, on behalf of itself and a           that Lead Plaintiff misapprehends the January 2022 security
putative class of those who purchased the publicly traded        incident, and that hackers were unsuccessful in actually
Class A common stock of Okta, Inc. (“Okta”) during the           breaching Okta's or its customers' systems, and that Okta
period from September 1, 2021, through September 1, 2022,        “promptly reported everything it knew about the intrusion[.]”
inclusive (“Class Period”). Dkt. No. 48 (“AC”) at 1. 1 This      Id. Defendants contend, inter alia, that none of the statements
action arises from two main events and their aftermath: Okta's   challenged were false or misleading when made, that Lead
acquisition of Auth0, Inc. (“Auth0”) in May 2021, and a data     Plaintiff has not pled fraud with particularity, and that many of
security incident that occurred in January 2022 but that was     the challenged statements are inactionable puffery, forward-
not disclosed until late March 2022.                             looking, or opinions. Defendants further argue that Lead
                                                                 Plaintiff fails to plead that the individual defendants acted
1                                                                with the requisite scienter.
       References to the complaint are to the Amended
       Class Action Complaint, filed October 13, 2022,
       at Docket No. 48. For purposes of this motion to
       dismiss, the Court treats as true Lead Plaintiff's                              BACKGROUND
       allegations in the complaint and construes these
       allegations in the light most favorable to Lead           I. Acquisition of Auth0 in May 2021 and Resulting
       Plaintiff, the nonmoving party. See Parks Sch. of         Problems
                                                                  *2 On March 3, 2021, prior to the start of the Class Period,
                                                                 Okta announced that it would acquire Auth0 in a stock


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transaction valued at approximately $6.5 billion. AC ¶ 58.          Auth0 sales teams, moving the integration up to the start of the
Auth0 “provided customer identity and access management             new fiscal year in February 2022. Id. ¶ 73. McKinnon stated:
(‘CIAM’) software, as opposed [to] the IAM software that
Okta primarily provided for an employer's workforce.” Id.
¶ 5. Additionally, where Okta focuses “on pre-built, pre-                        We've made the decision to accelerate
configured solutions[,] ... Auth0 is more focused on purpose-                    the timeline for integrating the sales
built application developers.” Id. ¶ 59. In a press release, Okta                organizations under Susan St. Ledger's
explained that the Auth0 acquisition would “complement                           leadership to the beginning of the new
Okta's growth in the CIAM market.” Id. ¶ 58.                                     fiscal year in February. This move will
                                                                                 allow the unified sales team to sell both
On May 3, 2021, Okta announced the successful completion                         platforms and benefits customers by
of the Auth0 acquisition. Id. ¶ 61. Plaintiff alleges, however,                  providing more options to meet their
that “soon after the close of the acquisition, Okta began to                     unique use cases....
experience severe problems with the integration of Auth0”
but failed to disclose these problems to investors. See id. ¶
8. According to CW2, a former Auth0-turned-Okta Senior              Id.
Vice President, “the integration process began as promising,
but ultimately ‘did not go well at all’ and was a ‘complete         The complaint alleges that “[a]s the Class Period progressed
nightmare.’ ” Id. ¶¶ 39, 78.                                        and Auth0 employees continued to exit the Company, Okta
                                                                    created and adopted an integration plan.” Id. ¶ 77. According
These problems primarily took the form of employee attrition        to CW2, “the first phase of the integration plan originally
and difficulty integrating the sales teams. The complaint           involved the integration of the go-to-market (GTM) teams at
alleges that “[i]mmediately after the acquisition of Auth0,         each company (this included the sales and marketing teams),
Okta began to shed senior employees.” Id. ¶ 63. According to        which was set to occur on February 1, 2022 ....” Id. ¶ 78.
CW4, a former Account Executive, “Auth0 employees started           CW2 stated that this integration plan called for retaining
to leave Okta ‘not long after May or June’ 2021.” Id. ¶¶ 41,        200 to 300 Auth0 employees as “specialists” who would
66. Around August 2021, former Auth0 CEO (now Okta's                train and educate Okta employees on Auth0 products for
President of Customer Identity) Eugenio Pace announced              approximately one year. Id. ¶¶ 79, 81. Auth0 employees
in an internal letter that senior leadership was leaving the        would continue to sell Auth0 products, while Okta employees
company. Id. ¶ 65 & n.13. Auth0 executives who departed             would continue selling Okta products, “with additional sales
around this time included the Chief Legal Officer, the Chief        staff brought on to help meet goals.” Id. ¶ 79. CW2 stated
Human Resources Officer, and the Chief Financial Officer. Id.       that both Okta and Auth0 senior executives signed off on the
Auth0's former Chief Revenue Officer decided to stay at Okta        integration plan and that weekly calls occurred throughout the
for a few months following the acquisition but “made it clear       planning period. Id. ¶ 80.
that he was leaving the company.” Id. ¶ 65. CW5, an Account
Executive during the Class Period, stated that Okta's Chief          *3 In late 2021, according to CW2, Okta's “finance team
Revenue Officer (Steve Rowland) and the new President of            determined there was ‘no way’ that the integration plan was
Worldwide Field Operations (Susan St. Ledger) “ ‘pushed             ‘humanly possible’ for FY2024 and ‘completely shut it ...
out’ all of the ‘founding fathers’ of Okta as well as other
                                                                    down.’ ” 2 Id. ¶ 81. Now, the Auth0 sales employees would
employees that helped build the Company—approximately
                                                                    be “generalists” rather than specialists, and Okta and Auth0
75-80% of the VPs and SVPs.” Id. ¶¶ 42, 67, 80. CW6, a
                                                                    employees would be expected to sell each other's products,
Senior Solutions Engineer employed by Okta from February
                                                                    despite having no knowledge of or training on each other's
2019 through December 2021, described a “ ‘mass exodus’ of
                                                                    products. Id. ¶¶ 81–82. “CW2 recalled being informed of the
salespeople – both Okta and Auth0 employees – after Auth0
                                                                    decision to scrap the integration plan around December 2021,
was acquired, around fall 2021.” Id. ¶¶ 43, 68.
                                                                    but employees were not informed until several weeks later
                                                                    in approximately mid-January 2022, two weeks before the
On September 1, 2021, the first day of the Class Period,
                                                                    integration was supposed to go into effect.” Id. ¶ 83.
Defendant McKinnon announced in an earnings call that the
company was accelerating the timeline to unify the Okta and



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2                                                                       the process successfully as our ability to acquire and
        It is unclear whether the reference in the complaint
                                                                        integrate larger or more complex companies, products or
        to FY2024 is a typo, as the allegations state that the
                                                                        technologies in a successful manner is unproven. If we
        integration plan was to go into effect at the start of
                                                                        are not able to successfully integrate Auth0's businesses
        fiscal year 2023.
                                                                        with ours or pursue our customer and product strategy
Meanwhile, Okta publicly touted the success of its acquisition          successfully, the anticipated benefits of the Acquisition
of Auth0. In a press release issued September 1, 2021,                  may not be realized fully or may take longer than expected
Defendant McKinnon is quoted as stating, “In our first quarter          to be realized. Further, it is possible that there could be a
as a combined company with Auth0, we're off to a fantastic              loss of our and/or Auth0's key employees and customers,
start.” Id. ¶¶ 71, 134. In an earnings call that same day,              disruption of either company's or both companies'
McKinnon stated, “It's been less than four months since we              ongoing businesses or unexpected issues, higher than
closed the acquisition of Auth0, but we've already made a               expected costs and an overall post-completion process
lot of progress and learned quite a bit.... [W]hen you think            that takes longer than originally anticipated.
about us plus Auth0, it is going very well.” Id. ¶¶ 72,
135. A few weeks later, at the Piper Sandler Virtual Global          *4 Id. ¶¶ 138 (Form 10-Q dated Sept. 2, 2021), 153
Technology Conference, Defendant Kerrest stated, “So the            (Form 10-Q dated Dec. 2, 2021) (emphases in complaint);
integration has gone very well. We're about 4 months in.            see also id. ¶¶ 159 (Form 10-K dated Mar. 7, 2021), 165
We're pretty good at execution. So we had some pretty good          (Form 10-Q dated June 3, 2022). 3 Lead Plaintiff alleges that
goals for ourselves, but I think we've been beating even            “[t]hese risk disclosures were false and misleading because
those, which is great.” Id. ¶ 140. Likewise, on September 15,       Defendants knew or recklessly disregarded that these risks
2021, Defendant McKinnon stated at the Citi Global Virtual          had already materialized. Specifically, Defendants knew or
Technology Conference, “We're benefiting a lot on that from         recklessly disregarded the fact that senior Auth0 and key Okta
our -- we have the acquisition of Auth0, we completed               employees had already left the Company.” Id. ¶ 139; see also
back in May. We're really getting into the integration now.”        id. ¶¶ 154, 160, 166.
Id. ¶ 142. Plaintiff alleges that these statements were false
and misleading because defendants knowingly or recklessly           3        Lead Plaintiff explains that the statements
omitted the material fact that the company had already lost
                                                                             highlighted in bold and italics in the complaint
senior Auth0 and key Okta employees who were critical to
                                                                             are those that Lead Plaintiff alleges were false or
the success of the integration. Id. ¶¶ 137, 141.
                                                                             misleading. AC ¶ 133.
Plaintiff also contends that Okta's risk disclosures filed with
the SEC during the Class Period were false and misleading.          II. Security Incident in January 2022
The risk disclosures all contained the following statements:        According to the complaint, Okta, which prides itself on
                                                                    making data security a priority, “was not properly securing
    The acquisition of Auth0 (the “Acquisition”) could cause        its administrative tools for monitoring customer tenants.” 4
    disruptions to our business or business relationships,          AC ¶¶ 97–98. CW6 explained that Okta had a “SuperUser
    which could have an adverse impact on results of                tool” that “provided access to any customer in any Okta
    operations....                                                  tenant anywhere in the world” and which “allowed pre-
                                                                    sale engineers and customer support employees to control
    We may not realize potential benefits from
                                                                    and monitor customer tenants.” Id. ¶ 98. However, “there
    the Acquisition because of difficulties related to
                                                                    was no formal request or vetting process for becoming a
    integration, the achievement of synergies, and other
                                                                    SuperUser.” Id. ¶ 99. According to CW6, the newer and less
    challenges.
                                                                    experienced managers in the company handed out SuperUser
    Prior to the consummation of the Acquisition, we and            access “like candy.” Id. The complaint states that “CW6 went
    Auth0 operated independently, and there can be no               on to suggest that the SuperUser tool should have been more
    assurances that our businesses can be combined in a             closely guarded against hackers[,]” such as by restricting
    manner that allows for the achievement of substantial           employees from accessing the tool from their home laptops
    benefits. Any integration process may require significant       or through tighter controls on home laptops themselves.
    time and resources, and we may not be able to manage            Id. ¶ 100. CW7 similarly “advised that it seemed too easy
                                                                    for anyone to access these administrative tools.” Id. ¶ 102.


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According to CW7, there “wasn't much of a vetting process”
to become a SuperUser, and the SuperUser tool required no            • An application, data security or network incident may
additional training or security measures. Id.                        allow unauthorized access to our systems or data or
                                                                     our customers' data, disable access to our service, harm
4                                                                    our reputation, create additional liability and adversely
         “Tenants” in this context are comparable to “virtual        impact our financial results.
         servers” that Okta customer support personnel
         had access to for troubleshooting and monitoring          Id. Plaintiff alleges these statements “were materially false
         purposes. AC ¶ 98 n.16.                                   and misleading because these risks had already materialized.
The complaint additionally alleges that “Okta failed to require    Specifically, Okta had experienced the January 2022 Breach
third parties, such as sub-processors and Solutions Engineers,     due to unsecured administrative tools used for monitoring
to comply with the security requirements that are fundamental      cloud tenants and the failure to require sub-processors to
to Okta's business.” Id. ¶ 103. “For example, Okta adopted,        comply with Okta's fundamental security requirements.” Id.
and strongly recommended that its customers adopt, a ‘Zero         ¶ 160.
Trust’ security architecture.” Id. “Zero Trust” meant that
security did not operate on the assumption that there was          On March 21, 2022, “LAPSUS$ posted screenshots on their
a “trusted” internal network and an “untrusted” external           telegram channel showing what they claimed was Okta's
network but that Okta would “securely enable access for            internal company environment.” Id. ¶ 105. On March 22,
the various users ... regardless of their location, device or      2022, at 4:23 a.m., Defendant McKinnon posted the following
network.” Id.                                                      statement on his Twitter account:

                                                                     In late January 2022, Okta detected an attempt to
On January 21, 2022, hackers known as LAPSUS$ “were
                                                                     compromise the account of a third party customer support
able to access Okta resources after they compromised one
                                                                     engineer working for one of our subprocessors. The matter
of the Company's third-party support vendors[.]” Id. ¶ 104.
                                                                     was investigated and contained by the subprocessor. (1 of
According to the complaint, the hackers were “able to access
                                                                     2)
Okta resources to view information from the Company's
active customer tenants. However, ... notwithstanding their          We believe the screenshots shared online are connected to
knowledge of the data breach, Defendants failed to disclose          this January event. Based on our investigation to date, there
the January 2022 Breach for another two months.” Id.                 is no evidence of ongoing malicious activity beyond the
                                                                     activity detected in January. (2 of 2)
On March 7, 2022, Okta filed its Form 10-K for fiscal year
2022 with the SEC. Id. ¶ 159. In it, Okta provided the             Id. ¶ 106. Okta's stock price fell $2.98 per share, or 1.76%, to
following risk language related to data security:                  close at $166.43 on March 22, 2022. Id. ¶ 107.

    Security is a mission-critical issue for Okta and for our      Later in the day on March 22, Okta's Chief Security Officer
    customers. Our approach to security spans day-to-day           David Bradbury issued several blog posts on the security
    operational practices from the design and development          incident. According to the complaint, “[i]n this post, Bradbury
    of our software to how customer data is segmented and          admitted that Okta first detected the January 2022 Breach in
    secured within our multi-tenant platform. We ensure that       January.” Id. ¶ 108. In a follow-up post, Bradbury stated that
    access to our platform is securely delegated across an         “approximately 2.5%” of Okta's customers had “potentially
    organization....                                               been impacted and whose data may have been viewed or

     *5 The Okta Identity Cloud is monitored not only at the       acted upon.” 5 Id. Raymond James downgraded Okta from
    infrastructure level but also at the application and third-    “strong buy” to “market perform,” stating, “[w]hile partners
    party integration level. Synthetic transaction monitoring      were willing to trust Okta's track record, the handling of this
    allows our technical operations team to detect and resolve     latest security incident adds to our mounting concerns.” Id.
    issues proactively....                                         ¶ 109. As a result of the Raymond James downgrade and
                                                                   Okta's update after the close of market, Okta's stock price fell
    ... A summary of our risks includes, but is not limited to,    $17.88 per share, or 10.74%, to close at $148.55 on March 23,
    the following: ...                                             2022. Id. ¶ 110. The complaint alleges, “On March 25, 2022,



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Okta acknowledged that it sat on this information for almost           about what we could do better, how we could make sure
two months before stating, ‘We want to acknowledge that we             that our support environment was not insecure, to make
made a mistake.’ ” Id. ¶ 111.                                          sure that we communicate better, to make sure that we are
                                                                       instill [sic] this trust. At the end of the [sic], I think we've
5                                                                      been able to do that.
         A CNN article published March 23, 2022,
         estimated that because Okta had over 15,000                   ...
         customers, 2.5% would equate to hundreds of
         clients potentially impacted. AC ¶ 108.                       We're committed to making this a $4 billion a year
                                                                       company by fiscal year, fiscal year 26. So, that's, that's
III. Customer Responses                                                coming up quickly. So, we have to invest to grow to
Several of the confidential witnesses described the fallout            that scale and we've always done it with a balance of
after the security incident was revealed. According to CW3,            efficiency. We've always made sure that our, that our
a Corporate Account Executive whose territory covered half             growth rate and our [sic] and our cash flow generation was
of Dallas, “the Company was saying that they were losing               balanced towards that goal. So, we think we're drawing
sales because of the breach, and CW3 noted that the breach             the right balance to capture this market opportunity. And
did come up with every customer she spoke with, and                    I think over time you're going to see a very highly scaled
the Company distributed ‘talking points’ to employees on               profitable company that's going to help customers and
how to ‘downplay’ the breach. CW3 described the breach                 capitalize on this big market opportunity.
as ‘one of many hurdles’ that were necessary to clear to
achieve a successful sale.” AC ¶ 113. “Similarly, CW4                Id. ¶¶ 167–68 (underlined [sic]'s added by the Court).
recalled that prospective customers were deciding against
doing deals with Okta after the breach.” Id. ¶ 114. CW4 was
                                                                     IV. Disclosure of Attrition and Integration Challenges
an Account Executive based in Europe who was employed by
                                                                     On August 31, 2022, after the close of the trading day,
the company until the first quarter of fiscal year 2023. Id. ¶ 41.
                                                                     Okta held its second quarter earnings call. AC ¶ 126. Lead
CW8, a Senior Account Executive whose clients were based
                                                                     Plaintiff alleges that it was on this call that “Defendants
in the New York City area, also “advised that Okta customers
                                                                     finally disclosed issues related to the integration of Auth0.”
reacted negatively to the data breach that Okta disclosed
                                                                     Id. Explaining the “mixed” financial results for that quarter,
in March 2022.” Id. ¶¶ 45, 115. Following the breach,
                                                                     Defendant McKinnon stated, in part:
Okta customers were unwilling to expand their contracts
and “express[ed] that they were no longer comfortable                  And the third area we examined was impact from the
spending additional money with Okta[.]” Id. ¶ 115. The                 integration of the Okta and Auth0 sales teams, which
negative customer reaction impacted CW8's ability to meet              occurred at the beginning of this fiscal year. When
quotas; although “CW8 could not quantify the amount of                 talking about Auth0, it's important to revisit the strategic
lost business, ... she suggested it might have been ‘tens of           rationale of why we acquired Auth0. Individually, Okta and
thousands of dollars’ in lost business.” Id. This compounded           Auth0 were leading identity providers. Together, we offer
Okta's struggles in the wake of the faltering Auth0 integration.       the most comprehensive identity platform in the market
                                                                       that is unmatched competitively and creates powerful
 *6 On June 8, 2022, Defendant McKinnon gave a CNBC                    long-term network effects for us and for our customers.
interview, where he discussed customer reaction to the                 Organizations around the globe are looking for scalable
security incident and what the company had done to repair              and secure ways to digitally interact with our customers.
those relationships. During the interview, McKinnon stated:            Together with Auth0, we win the customer identity market
                                                                       faster and accelerate our vision of establishing Okta as a
    And anytime there's any kind of hack, whether it's to a third
                                                                       primary cloud.
    party or what any kind of talk of a breach, there's a lot
    of concerns in the [sic] in the customer base because this         Integrations are always difficult and touch every part
    is about trust. So, the first thing we did is we had these         of an organization. While we are making progress,
    conversations. We talked to over 1000 customers face to            we've experienced heightened attrition within the go-
    face over, [sic] over video and had these conversations. I         to-market organization as well as some confusion in
    personally talked [sic] over 400. And got a ton of feedback        the field, both of which have impacted our business



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  momentum. In order to improve our performance                       Defendants McKinnon and Tighe also told investors on the
  going forward, we've implemented a number of action                 call that Okta was reevaluating its current year billings
  items. For starters, we're committed to stem attrition              outlook and its FY26 targets. McKinnon stated:
  within our go-to-market team. This is a top priority
  for me and my staff, and we're in lockstep on                         Yes, it's a great question. On the first part of your
  actions to take. This includes making changes to                      question, so the $4 billion FY '26 target, if we're going
  our organizational structure to better align on our                   to achieve that, when we're going to achieve that, we
  strategy, increased sales training and enablement and                 have to have a successful customer identity cloud. And
  also improving the comp structure for the go-to-market                so as we reevaluate in the short-term how to keep that
  team to ensure they feel set up for success.                          momentum going, I think it's prudent to make sure that
                                                                        we reevaluate that target given the short-term changes
*7 Id.                                                                  that we're optimizing for the customer at a cloud. And
                                                                        then -- and we're committed to coming back to everyone on
In response to a question about the integration of the Auth0            the next earnings call with a very detailed refined version
and Okta sales teams, McKinnon replied:                                 of that -- of those commitments and that target, I think it's
                                                                        very important. So, that's the first thing.
  Yes, for sure. Thanks for the question. I think there's -- in
  terms of -- I'll start first with sales organization. The big         And then on the second thing, the sequence of events here,
  change on the sales organization was at the beginning of              I think, which is important for everyone to understand
  this fiscal year, so Feb 1, and that's where we took the Auth0        is that the sales teams were integrated this year. So, it's
  sales team that sold as an independent group all through last         really 6 months of information and learnings that we have
  year for the first three quarters of the -- after the acquisition     to iterate on this thing.
  and we combine them together with the Okta sales team.
                                                                        It's not -- last year, Auth0 ran as a separate sales team,
  And so, the idea there is that hundreds and hundreds                  and they had a great year. So, we know there's market
  of Okta reps sell the whole portfolio, Okta plus Auth0.               fit. We know we can grow this thing. It's just about the
  And then the Auth0 reps that came over sold the Okta                  integration of the sales teams and what that drove in terms
  portfolio and Auth0 portfolio. So that was a really                   of attrition, and some of the things we've talked about
  significant step in the integration. In terms of -- one thing         in terms of optimizing how we get that back on track to
  I want to clarify is that Freddy [Kerrest] doesn't manage the         achieve this strategic imperative, which is we have to be
  sales team.                                                           the winner and the opportunity is tremendous in this long-
                                                                        term customer identity market.
                               ***
                                                                      *8 Id. ¶ 128. Defendant Tighe stated:
  I think the headwinds are really about how do you take
  those hundreds and hundreds of reps and make them                     ... We will continue providing a full year billings outlook
  productive selling both customer identity cloud and                   for FY '23 before discontinuing any reference to billings
  workforce identity cloud, and there's a couple of things              in FY '24. We are lowering our calculated billings
  that go into that. The first thing is that we really have to          outlook for the year by approximately $140 million due
  reach a new buyer for Okta, which is -- Okta traditionally            to the outlook headwinds outlined earlier. We now expect
  was about CIOs and CISOs. But for customer identity to be             calculated billings for FY '23 to be approximately $2.04
  successful, we have to reach VPs of technologies, CTOs,               billion to $2.05 billion, representing growth of 27% when
  all of the chief marketing officers, chief digital officers, the      viewed on a like-for-like basis or 19% on an as-reported
  whole suite of C-suite executives that will -- if we win them         basis.
  all and we have an identity platform for all those use cases,
  we can better achieve our goal of being the primary cloud             Given our near-term outlook, coupled with the
  and the primary piece of their strategic landscape going              uncertainties of the evolving macro environment, we are
  forward.                                                              reevaluating our FY '26 targets at this time. Having said
                                                                        that, we will continue to balance growth and profitability,
Id. ¶ 127.                                                              and we look forward to updating you on our long-term
                                                                        outlook on the Q3 earnings call.



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Id. ¶ 129.                                                       Id. (underlined [sic]'s added by the Court). The price of Okta's
                                                                 stock fell an additional $8.55 per share that day, or over
The complaint states, “On this news, the price of Okta's stock   12.3%, to close at $60.60 by the close of trading on September
fell dramatically overnight to [sic] $22.25 per share, or over   1, 2022. Id. ¶ 24.
24.3%, to open at $69.15 on September 1, 2022.” Id. ¶ 130.

On September 1, 2022, Defendant McKinnon was                     V. Filing of This Lawsuit
interviewed on TechCheck, where, according to the                On May 20, 2022, plaintiff City of Miami Fire Fighters'
complaint, “he reaffirmed that Okta was having issues            and Police Officers' Retirement Trust filed suit against Okta
obtaining new customers.” Id. ¶ 202. McKinnon stated,            and five individual defendants regarding the January 2022
                                                                 data security incident. Dkt. No. 1 (alleging class period of
                                                                 March 5, 2021, to March 22, 2022, inclusive). On August
                                                                 26, 2022, the Court appointed Nebraska Investment Council
             Yeah, we have had a little bit of
                                                                 as Lead Plaintiff. Dkt. No. 39. On October 13, 2022, Lead
             higher-than-average attrition in the
                                                                 Plaintiff filed an amended class action complaint, which is
             sales team and that driving [sic]
                                                                 now the operative complaint, adding allegations regarding the
             some of the near-term mixed results.
                                                                 Auth0 integration. See Dkt. No. 48. Alleging that defendants
             I think when you look at the quarter
                                                                 committed fraud by making materially false statements and
             though I think there are sales people
                                                                 omissions throughout the Class Period, Lead Plaintiff brings
             being successful at Okta. We had a
                                                                 this securities fraud claim pursuant to Sections 10(b) and
             record number of $1,000,000 plus
                                                                 20(a) of the Securities Exchange Act of 1934 (the “Exchange
             deals in the quarter and so on
                                                                 Act”) and Rule 10b-5(b) promulgated thereunder by the SEC.
             we had great customer retention
                                                                 Defendants now move to dismiss for failure to state a claim
             our net retention percussion which
                                                                 under Federal Rules of Civil Procedure 9(b) and 12(b)(6).
             is really emblematic of customer
             success is 120% plus so there's a
             lot of success going on but when
             you think about trying to reach this                                   LEGAL STANDARDS
             new buyer and bringing two sales
             forces together and [sic] and sort of                *9 To survive a motion to dismiss brought under Federal
             trying to broaden that appeal in this               Rule of Civil Procedure 12(b)(6), “a complaint must contain
             C suite of every organization in the                sufficient factual matter, accepted as true, to state a claim to
             world that's challenging in [sic] a                 relief that is plausible on its face.” Telesaurus VPC, LLC v.
             little bit more challenging than we                 Power, 623 F.3d 998, 1003 (9th Cir. 2010) (quoting Ashcroft
             thought it would be so we're gonna                  v. Iqbal, 556 U.S. 662, 678 (2009)). When evaluating a motion
             work through those issues can [sic]                 to dismiss, the Court need not accept as true conclusory
             move forward. I think on your macro                 allegations, unwarranted deductions of fact, or unreasonable
             question, we are seeing a little bit of             inferences. In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055
             macro change a little bit of lengthening            (9th Cir. 2008). Securities fraud class actions must also “meet
             sale cycles but, I think big picture wise           the higher, exacting pleading standards of Federal Rule of
             that's [sic] that's a very small part of            Civil Procedure 9(b) and the Private Securities Litigation
             our mixed results, and we have a lot                Reform Act (PSLRA).” See Tellabs, Inc. v. Makor Issues &
             of these corrective actions we're taken             Rights, Ltd., 551 U.S. 308, 313–14 (2007).
             [sic] in short term are going to yield
             to a lot of positive momentum in the                Rule 9(b) requires a party alleging fraud or mistake to “state
             future.                                             with particularity the circumstances constituting fraud or
                                                                 mistake.” Fed. R. Civ. P. 9(b). The PSLRA further requires
                                                                 that allegations based on false or misleading statements must
                                                                 also “specify each statement alleged to have been misleading,
                                                                 the reason or reasons why the statement is misleading, and,


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if an allegation regarding the statement or omission is made         to each of the individual defendants.” Oregon Pub. Emps. Ret.
on information and belief, the complaint shall state with            Fund v. Apollo Grp. Inc., 774 F.3d 598, 607 (9th Cir. 2014).
particularity all facts on which that belief is formed.” 15
U.S.C. § 78u-4(b)(1)(B). Additionally, the complaint must             *10 The Supreme Court's decisions in Tellabs, 551 U.S. at
“state with particularity facts giving rise to a strong inference    315–18, and Matrixx Initiatives, 563 U.S. at 37–49, dictate
that the defendant acted with the required state of mind” for        that courts not co-mingle the inquiries of falsity and scienter.
“each act or omission.” Id. § 78u-4(b)(2)(A).                        Glazer Capital Mgmt., L.P. v. Forescout Techs., Inc., No.
                                                                     21-16876, 2023 WL 2532061, at *11 (9th Cir. Mar. 16,
To state a claim under Section 10(b) of the Exchange Act and         2023). “[T]his means that we do not impute the strong
SEC Rule 10b-5, the complaint must plausibly allege: “(1) a          inference standard of scienter to the element of falsity; we
material misrepresentation or omission by the defendant; (2)         do not require a ‘strong inference of fraud.’ Falsity is subject
scienter; (3) a connection between the misrepresentation or          to a particularity requirement and the reasonable inference
omission and the purchase or sale of a security; (4) reliance        standard of plausibility set out in Twombly and Iqbal, and
upon the misrepresentation or omission; (5) economic loss;           scienter is subject to a particularity requirement and a strong
and (6) loss causation.” Weston Family P'ship LLP v. Twitter,        inference standard of plausibility.” Id.
Inc., 29 F.4th 611, 619 (9th Cir. 2022) (citing Halliburton Co.
v. Erica P. John Fund, Inc., 573 U.S. 258, 267 (2014)).              If the Court dismisses a complaint, it must decide whether to
                                                                     grant leave to amend. The Ninth Circuit has “repeatedly held
To establish falsity under the first element, the                    that a district court should grant leave to amend even if no
misrepresentation or omission must either “directly contradict       request to amend the pleading was made, unless it determines
what the defendant knew at that time” (i.e., is false) or “omit[ ]   that the pleading could not possibly be cured by the allegation
material information” (i.e., is misleading). Khoja v. Orexigen       of other facts.” Lopez v. Smith, 203 F.3d 1122, 1130 (9th Cir.
Therapeutics, Inc., 899 F.3d 988, 1008–09 (9th Cir. 2018).           2000) (citations and internal quotation marks omitted).
Not all omissions are actionable. Id. at 1009. “Disclosure is
required ... only when necessary ‘to make ... statements made,
in the light of the circumstances under which they were made,
                                                                                             DISCUSSION
not misleading.’ ” Matrixx Initiatives, Inc. v. Siracusano, 563
U.S. 27, 44 (2011) (quoting 17 CFR § 240.10b–5(b)). For a            I. Exchange Act Claims
statement or omission to be misleading, it must “affirmatively       In the analysis that follows, the Court discusses
create an impression of a state of affairs that differs in a         only the disputed elements of Section 10(b): material
material way from the one that actually exists.” Brody v.            misrepresentation or omission, and scienter.
Transitional Hosp. Corp., 280 F.3d 997, 1006 (9th Cir. 2002)
(citation omitted). “To fulfill the materiality requirement there
must be a substantial likelihood that the disclosure of the             A. Employee Attrition and the Auth0 Integration
omitted fact would have been viewed by the reasonable                Lead Plaintiff challenges as false or misleading roughly 15
investor as having significantly altered the ‘total mix’ of          statements regarding the Auth0 integration. See Opp'n at 12
information made available.” Miller v. Thane Int'l, Inc., 519        (citing AC ¶¶ 134–36, 138, 140, 142, 150–51, 153, 155–57,
F.3d 879, 889 (9th Cir. 2008) (quoting TSC Indus., Inc. v.           162–63, 165). The Court concludes that these allegations fail
Northway, Inc., 426 U.S. 438, 449 (1976)) (cleaned up).              to point to a violation of the PSLRA because they suffer from
                                                                     a lack of specificity, particularly with regard to timing, or else
The “required state of mind” for scienter covers “ ‘intent           they do not give rise to a strong inference of scienter.
to deceive, manipulate, or defraud,’ [and] also ‘deliberate
recklessness.’ ” Schueneman v. Arena Pharms., 840 F.3d 698,
705 (9th Cir. 2016) (citations omitted). To determine whether         1. Statements in September and Early December 2021
scienter has been adequately pled, the Court must determine
whether “all of the facts alleged, taken collectively, give rise     First, the complaint lacks particularized detail about the
to a strong inference of scienter.” Tellabs, 551 U.S. at 310.        timing of the events that would show that statements made
Plaintiffs who “seek to hold individuals and a company liable        in September and early December 2021 regarding employee
on a securities fraud theory” must “allege scienter with respect     attrition and the Auth0 integration were false or misleading



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when made. The complaint challenges nine statements that           Period in September 2021, i.e., after these executives had
defendants made during that period. See Dkt. No. 61                already departed. See id. ¶¶ 65, 77. It is further unclear from
(“Opp'n”) at 12 (citing AC ¶¶ 134–36, 138, 140, 142, 150–          the timeline whether the “mass exodus” of sales employees
51, 153). The dates of these alleged misstatements range           occurred prior to any of the statements that Okta made in
from September 1, 2021, through December 2, 2021. But              September and early December 2021.
the complaint lacks particularized allegations regarding what
happened and when. What we know from the complaint is that         The vagueness around timing means that plaintiff has failed
three Auth0 executives left around August 2021. AC ¶ 65. A         to state with particularity facts giving rise to a reasonable
fourth executive decided to stay for the first few months after    inference that the statements regarding the Auth0 integration
the acquisition but, at some unspecified time, he “made it clear   from September and early December 2021 were false or
he was leaving the Company.” See id. CW5 states that Okta's        misleading when made. The Ninth Circuit recently held
Steve Rowland and Susan St. Ledger “ ‘pushed out’ all of           as much in Glazer Capital Management, L.P. v. Forescout
the ‘founding fathers’ of Okta as well as other employees that     Technologies, Inc. There, the appellate court explained that
helped build the Company—approximately 75-80% of the
VPs and SVPs,” but CW5 does not say who these employees
are and when they left. 6 See id. ¶¶ 67, 80. CW4 recalls                        [a]lthough the CWs asserted that
“that Auth0 employees started to leave Okta ‘not long after                     numerous layoffs occurred at some
May or June’ 2021.” Id. ¶ 66. The complaint alleges, via                        point in 2019, these statements
CW6, that there was a “mass exodus of salespeople” from                         are unclear as to the actual
both Okta and Auth0 “around fall 2021.” Id. ¶ 68. According                     timeline at which company-wide
to the complaint, “CW1 also recalled hearing that the board                     layoffs occurred. Plaintiffs' belief that
was reviewing attrition figures in light of the companies'                      company-wide lay-offs had already
cultural differences and was ‘very concerned.’ CW1 clarified                    begun at the time the statements were
that this probably happened around the fall of 2021.” Id. ¶                     made [on March 4, May 9, or August
221. The complaint alleges: “As the Class Period [beginning                     7, 2019] is simply not supported by
September 1, 2021,] progressed ... Okta created and adopted                     the CWs' vague statements that layoffs
an integration plan” that would go into effect in February                      occurred in ‘spring 2019,’ ‘summer
2022. Id. ¶¶ 77–78. Then, “late in 2021,” Okta's finance                        2019,’ or just ‘2019.’
team determined there was “no way” the original integration
plan was “humanly possible” for FY2024 and shut it down.
Id. ¶ 81. CW2 found out about the decision to abandon the          2023 WL 2532061, at *19 (analyzing allegations on a motion
integration plan “around December 2021,” and employees             to dismiss). Likewise here, the only statement regarding
were informed in mid-January 2022, two weeks before the            employee attrition that is tied to a particular time period
integration would go into effect. Id. ¶ 83.                        after the original integration plan was created is the statement
                                                                   of CW6 that there was a “mass exodus” of salespeople
6                                                                  “around fall 2021.” 7 See AC ¶ 68. “Around fall 2021” is
       The complaint states that Defendants McKinnon
       and Kerrest are “co-founders” of Okta. See AC ¶¶            not sufficiently particularized to render statements made in
       32, 34. They remain at the company.                         September and early December 2021 false or misleading
                                                                   when made.
 *11 Plaintiff's theory is that the loss of senior Auth0 and
key Okta employees, as well as the “mass exodus” of the
                                                                   7
salesforce, caused Okta to abandon its original integration               The “mass exodus” language is also attributed to
plan, and thus defendants' statements that the integration was            CW5, but CW5 does not say which employees were
going well were false or misleading. Even taking all of Lead              leaving and when. See AC ¶ 90.
Plaintiff's allegations as true, it appears that the departure     Accordingly, the Court GRANTS, without prejudice,
of the three Auth0 executives around August 2021 had no            defendants' motion to dismiss, with regard to statements made
impact on the integration plan because, according to plaintiff's   in September and early December 2021 regarding employee
own chronology of events, the original integration plan wasn't     attrition and the Auth0 integration.
even created and approved until after the start of the Class



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                                                                              systems that we're using to run the
                                                                              business. Those are all running on
               2. Earnings Call Statements
                                                                              one platform. So we have one pane
               on March 2 and June 2, 2022
                                                                              of glass and good visibility into all
The complaint also alleges misstatements by the individual                    that and how it's working. There's a
defendants on quarterly earnings calls on March 2 and June 2,                 couple more pieces we need to finish
2022. See AC ¶¶ 155–57, 162–63. Plaintiff alleges these were                  up in terms of ticking and tying some
misstatements because the mass exodus of employees meant                      of the systems on the back end, but
that Okta could not maintain a team of specialized staff for                  those are just making sure that we're
Auth0 products, and that Okta and Auth0 salespeople did not                   working as one organization going
have the knowledge required to sell each other's products. Id.                forward.
¶¶ 158, 164.

On March 2, 2022, Defendant Tighe stated,                        *12 Id. ¶ 156.

                                                                 On the same call, McKinnon stated,
             My second priority is ensuring that
             we continue the seamless integration
             of Auth0 across all facets of the                                What we're getting is we're getting
             company. Now that the back office                                synergy on the -- really on the sales
             and go-to-market teams have been                                 side. So we have -- all of the Okta
             fully integrated, we will continue to                            reps now can sell all the products. So
             refine our systems and processes to                              we increased the capacity. We can --
             ensure that the tremendous growth                                we increased what they can actually
             opportunity we see will be realized. We                          sell. So there's tons of upside from
             are off to a great start and recognize                           that. But Eugenio has a big job to do
             there is still a lot of work to do.                              with the Auth0 product unit, driving
                                                                              that. They just delivered -- you heard
                                                                              the results. They delivered over 80%
Id. ¶ 155.                                                                    growth, and we expect them to produce
                                                                              a lot in the year ahead.
Defendant Kerrest stated, in response to a question about the
sales force integration,
                                                                 Id. ¶ 157.


             Yes. We are -- thanks a lot for                     Three months later, on an earnings call on June 2, 2022,
             the question, Jonathan. We are very                 Defendant McKinnon responded to a question regarding the
             excited about the integration of Auth0.             sales integration process as follows:
             We're very excited that it's been done
                                                                   ... We just celebrated the 1-year anniversary of joining
             in just under a year from where we
                                                                   forces with Auth0, which is great. And as we've said in the
             are because we actually announced
                                                                   past, the key here is keeping the momentum going in both
             the acquisition a year ago tomorrow.
                                                                   Okta and Auth0. Both businesses were doing very well, and
             As – to start with, I think the most
                                                                   that's the continued focus. We've made a lot of progress
             important point is the go-to-market
                                                                   as a combined company. Many parts of the back office
             organization, which we unified under
                                                                   functions were integrated over the course of FY'22, which
             Susan's leadership on February 1. You
                                                                   is great. And we started Q1 with the combination of go to
             heard Todd talk about one team, which
                                                                   -- combining the go-to-market organizations.
             I think is a great position to be in.
             We've put together a lot of the core


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                                                                  of working together before Okta employees began selling
  I think there's no real finish line when it comes to            Auth0 products. See id. ¶¶ 81–83. According to CW2, neither
  integrations. But I think we're really focused on addressing    Okta nor Auth0 employees had knowledge of each other's
  this massive customer identity access management market         products and did not receive training or education on each
  in a way that, frankly, no other vendor can in terms of         other's products. Id. ¶ 92.
  independence and neutrality, we have the only 2 modern
  public cloud solutions and certainly no in-house IT can. So      *13 Having chosen to publicly tout the integration of
  I think we've made great progress. There's still a little bit   the sales team, it was incumbent on defendants “to do
  to do, but we're in good shape.                                 so in a manner that wouldn't mislead investors, including
                                                                  disclosing adverse information that cut[ ] against the positive
Id. ¶ 162.
                                                                  information.” See Schueneman, 840 F.3d at 705–06 (quoting
                                                                  Berson v. Applied Signal Tech., Inc., 527 F.3d 982, 987 (9th
On the same call, Defendant Tighe stated:
                                                                  Cir. 2008)) (internal quotation marks omitted). For instance,
                                                                  Defendant Kerrest's statement that “[t]here's a couple more
                                                                  pieces we need to finish in terms of ticking and tying some of
             And any integration or acquisition
                                                                  the systems on the back end” makes it sound like the company
             and integration of 2 companies, the
                                                                  was just tying up loose ends, not that they needed to retrain the
             sales integration is one of the biggest
                                                                  entire salesforce in the basic functions of their jobs. See AC
             milestones there are. And for this
                                                                  ¶ 155. Defendant Tighe similarly referred to the integration
             integration between Auth0 and Okta,
                                                                  as “seamless” and implied that “[n]ow that the back office
             2 great sales teams being brought
                                                                  and go-to-market teams have been fully integrated,” all that
             together, it's no different, right? It
                                                                  remained to do was “refine our systems and processes[,]”
             was a great milestone for us. It was a
                                                                  which a reasonable investor would not understand to mean
             big one for us, and we're pleased with
                                                                  retraining hundreds of employees. See id. ¶ 155. Defendant
             the progress, thus far.
                                                                  McKinnon's statement that they had “increased the capacity”
                                                                  of the sales reps and that there's “tons of upside from that”
                                                                  because “all of the Okta reps now can sell all the products”
Id. ¶ 163.                                                        likewise omits the material fact that the reps were not in
                                                                  fact capable of selling the products because they lacked the
Suspending for the moment the question of why Okta                knowledge and training to do so. See id. ¶ 157.
scrapped the original integration plan, the complaint alleges
with particularity that around December 2021 the company          The Court disagrees with defendants' characterization of
decided to abandon the integration plan it had had in place       these statements as inactionable corporate puffery. “The
for months, and that on just two weeks' notice Auth0 and          statements went beyond mere optimism by providing a
Okta sales employees found out they would sell each other's       concrete description” of the sales team integration. See
products while lacking the training to do so. CW2 was             Glazer Capital Mgmt., 2023 WL 2532061, at *15 (cleaned
Senior Vice President and General Manager of the Americas,        up). Defendants represented that the teams were now “fully
who worked for the company from August 2018 until July            integrated,” whereas Lead Plaintiff alleges that “neither Okta
2022. Id. ¶ 39. CW2 was “intimately involved” in the Auth0        employees nor Auth0 employees had knowledge of each
integration, spending “eight hours per day over a period of       other's products” at this point. AC ¶¶ 155, 164.
six or seven months putting together the integration plan.” Id.
CW2 recalled that the original plan involved retaining Auth0      Nor do these allegations suffer from a lack of scienter.
employees for approximately one year, while they continued        Whether or not the newly integrated sales team that Okta
to sell Auth0 products and train and educate Okta employees       touted was in fact trained to sell the products they were
on those products. Id. ¶¶ 78–79. Meanwhile, Okta employees        tasked to sell, following the $6.5 billion acquisition of Auth0,
would continue selling Okta products. Id. ¶ 79. However,          is of such prominence “that it would be absurd to suggest
after Okta scrapped this plan around December 2021, sales         that top management was unaware of [it].” See Berson, 527
employees were given just half a month's notice before they       F.3d at 989 (citation and internal quotation marks omitted).
would begin selling each other's products, rather than one year   The Court finds the statements the individual defendants



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made on the March 2 and June 2, 2022 earnings calls to             any allegation that Okta represented that these executives
be actionable under the facts alleged in the complaint and         would stay on, or that their departure was not part of the
DENIES defendants' motion to dismiss claims based on these         acquisition plan. See AC ¶¶ 65, 67. The same is true of
statements.                                                        the allegation (untethered to any time period) that Okta
                                                                   executives “pushed out” all of the (unnamed) “ ‘founding
                                                                   fathers’ of Okta as well as other employees that helped
                                                                   build the Company—approximately 75-80% of the VPs and
       3. Risk Disclosures in March and June 2022
                                                                   SVPs.” See id. ¶ 67. In fact, as we know, two of Okta's co-
What remains, then, of the Auth0 integration statements are        founders, McKinnon and Kerrest, stayed on in their roles at
Lead Plaintiff's allegations that Okta's risk disclosures in SEC   the company. See id. ¶¶ 32, 34.
filings in March and June 2022 were materially false or
misleading. In its Form 10-K filed March 7, 2022, and in its        *14 With regard to the loss of salespeople and Auth0
Form 10-Q filed June 3, 2022, Okta made the following risk         employees generally, the complaint is not sufficiently specific
disclosure regarding the acquisition of Auth0:                     to raise a reasonable inference that the March and June 2022
                                                                   risk disclosures were materially false or misleading when
                                                                   made. CW2 explained that Okta intended to retain 200 to 300
             Further, it is possible that there could              Auth0 sales employees and to bring on additional sales staff.
             be a loss of our and/or Auth0's                       Id. ¶¶ 79, 81. But the complaint gives no concrete sense of
             key employees and customers,                          how many employees were lost and on what timeline. For
             disruption of either company's or                     instance, the complaint lacks context for CW1's statement that
             both companies' ongoing businesses                    “only about 15% of the Auth0 employees who moved to Okta
             or unexpected issues, higher than                     during the acquisition are still at the Company,” or for CW2's
             expected costs and an overall post-                   statement that “there are ‘very, very few’ Auth0 people left.”
             completion process that takes longer                  Id. ¶¶ 89, 92. Neither of these confidential witnesses specify
             than originally anticipated.                          the time period they are referring to, and both CW1 and CW2
                                                                   have since left the company. See id. ¶¶ 38 (CW1 departed in
                                                                   April 2022), 39 (CW2 departed in July 2022). It is unclear
                                                                   from the allegations whether they meant that there were few
AC ¶¶ 159, 165. Lead Plaintiff alleges that this was materially
                                                                   Auth0 people left as of the filing of the amended complaint
false or misleading because defendants knew that the risk
                                                                   or at some earlier time.
warned of had already materialized, i.e., that defendants
“knew or recklessly disregard the fact that the Company had
                                                                   Without more specifics, the Court cannot find that
lost senior Auth0 and key Okta employees, who were critical
                                                                   the complaint pleads with particularity that the risk
to the Auth0 integration and that, as a result, the Company
                                                                   disclosure statements regarding possible employee attrition
could no longer maintain a team of specialized staff for Auth0
                                                                   “affirmatively create[d] an impression of a state of affairs
products.” Id. ¶ 154.
                                                                   that differ[ed] in a material way from the one that actually
                                                                   exist[ed].” See Brody, 280 F.3d at 1006.

                      a. Misstatements

Although it is a close call, the Court agrees with defendants                               b. Scienter
that the allegations here regarding employee attrition are not
                                                                   Moreover, the complaint does not allege with particularity
sufficiently particularized to meet the pleading threshold of
                                                                   what the individual defendants knew regarding employee
Federal Rule of Civil Procedure 9(b) and the PSLRA.
                                                                   attrition and when. Although the defendants would certainly
                                                                   have known about the departure of high-level executives, it
With regard to the loss of senior executives, as already
                                                                   is not clear when the attrition of line-level sales employees
explained above, the complaint alleges that three Auth0
                                                                   would have risen to the point at which the individual
executives departed before Okta even created the original
                                                                   defendants would have found out or would have been reckless
integration plan, so it cannot be that their departure is what
                                                                   in not knowing.
caused the integration plan to fail. The complaint also lacks


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                                                                      many employees. On this, CW2 stated simply that “the
The complaint is silent about the individual defendants'              finance team determined that there was ‘no way’ that the
knowledge of employee attrition until the quarterly call on           integration plan was ‘humanly possible’ for FY2024 and
August 31, 2022, when Defendant McKinnon stated, “While               ‘completely shut it [the integration plan] down.’ ” Id. ¶ 81.
we are making progress, we've experienced heightened                  And although CW2's perspective was that the integration plan
attrition within the go-to-market organization as well as some        “was ripped out at the eleventh hour,” the complaint also
confusion in the field, both of which have impacted our               states that the reason employees were not notified about the
business momentum.” See AC ¶ 194.                                     change until mid-January was so as not to disrupt the fiscal
                                                                      year end. See id. ¶ 83 (internal quotation marks omitted).
This statement does not, as plaintiff argues, provide proof of        This might be a different situation if Okta had told investors
defendants' earlier scienter. The Ninth Circuit's decision in         it was going to retain specific executives while hiding that
Ronconi v. Larkin is instructive. 253 F.3d 423 (9th Cir. 2001),       those executives had already left or would do so soon. See
abrogated on other grounds as explained in Glazer Capital,            Moradpour v. Velodyne Lidar, Inc., No. 21-cv-1486-SI, 2022
2023 WL 2532061, at *11. There, the plaintiffs alleged                WL 2391004, at *13–14 (N.D. Cal. July 1, 2022). There are
that the defendants' statements attributing low third quarter         no allegations that Okta told investors that it would retain a
earnings to post-merger issues amounted to a “later statement         certain percentage of its workforce and then hid that it had
by the defendant along the lines of ‘I knew it all along.’ ” Id. at   not met those figures. Nor are there allegations that Okta
432. The Ninth Circuit disagreed, explaining, “The statement          was secretly plotting to terminate employees while publicly
does not support an inference that company insiders knew              saying they would retain them.
or with deliberate recklessness disregarded that the problems
would be so substantial.... [T]he later statement admits only          *15 In sum, drawing all reasonable inferences in Lead
that the below-expectation earnings in the third quarter were         Plaintiff's favor, what Lead Plaintiff describes is: following
a result of the prior integration of the companies' sales             the acquisition of Auth0 in May 2021, some executives
force, which concedes no intentional or deliberately reckless         departed; and over some period of time (“around fall 2021,”
falsehood or deception at all.” Id. Here too, Defendant               according to CW6) the company was not able to retain its
McKinnon's August 31, 2022 statement attributing mixed                line-level salesforce; and in December 2021 Okta's finance
financial results in part to “heightened attrition” does not          team pulled the plug on the original sales team integration
support the inference that the individual defendants acted            plan. Then on August 31, 2022, Defendant McKinnon
with intent or deliberate recklessness in issuing the earlier         cited “heightened attrition” as one of the factors causing
risk disclosures containing general warnings about possible           “headwinds” with the integration, which resulted in the
attrition.                                                            company lowering its calculated billings outlook for the
                                                                      year by $140 million and reevaluating its FY26 targets.
Plaintiff also makes an argument for corporate scienter               See AC ¶¶ 126–29. These allegations are not sufficiently
through the knowledge of Okta executives Susan St. Ledger             particularized to create a strong inference that the individual
and Steve Rowland. Opp'n at 34 (citing AC ¶¶ 67, 80). Yet the         defendants knew or recklessly disregarded material facts
complaint is silent as to what these executives knew regarding        regarding employee attrition when they signed off on the risk
attrition of the company's salesforce, other than stating that        disclosures on March 7 and June 3, 2022.
they were involved in weekly status updates and “signed off
on everything” regarding the integration plan. See AC ¶ 80.           That Lead Plaintiff alleges no suspicious stock sales by
                                                                      senior executives also cuts against the inference of scienter,
Even viewing the allegations of the complaint holistically,           particularly where the complaint is lacking overall in
the Court finds scienter regarding employee attrition lacking.        allegations creating a strong inference of scienter as to
Plaintiff's theory is that the loss of key executives and the         employee attrition. Cf. In re Alphabet, Inc. Sec. Litig., 1 F.4th
mass exodus of salespeople caused defendants to have to               687, 707 (9th Cir. 2021), cert. denied sub nom. Alphabet
abandon their original integration plan. But the complaint            Inc. v. Rhode Island, 212 L. Ed. 2d 233, 142 S. Ct. 1227
does not actually provide details to show this happened.              (2022) (“Allegations of suspicious stock sales or information
The complaint implies—but does not actually allege with               from confidential witnesses are not needed where, as here,
specificity—that the decision in late 2021 to abandon the             other allegations in the complaint raise a strong inference of
initial integration plan was because of the departure of too          scienter.”).



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Accordingly, the Court GRANTS the motion to dismiss                  So if you really get to this -- to get to this real Zero Trust
claims regarding employee attrition as contained in the March        capability, one of the things you have to do is you have to
and June 2022 risk disclosures, with leave to amend these            make sure that you know, you have an inventory and you
allegations.                                                         have an accurate representation of all the machines. So you
                                                                     have to have like a catalog of the machines. And then that's
                                                                     sometimes daunting enough. But then you have to make
   B. Data Security Incident                                         sure that you don't just -- you allow that machine to only do
With regard to Okta's data security and the January 2022             the minimum amount of things that it should be -- it should
incident, the complaint identifies five statements as false or       have to do.
misleading. See Opp'n at 12 (citing AC ¶¶ 143, 145, 159, 167–
68). The Court finds these allegations fail to plausibly allege       *16 You can't just access anything on the network. You
either falsity or scienter and so do not give rise to a claim        can't just potentially be a launching-off point for other
under the PSLRA as currently stated in the complaint.                attacks throughout your network. It has to be locked down
                                                                     to exactly what it has to be able to do. And to do that, you
                                                                     -- 9 times out of 10, you have to know the people that can
                                                                     do certain things from that machine. And that's the tricky
         1. Okta's Commitment to Data Security                       part because a lot of these machines, they have a certain
                                                                     role that they do just in terms of processing kind of no user-
First, the statements Lead Plaintiff highlights regarding Okta's
                                                                     related process and information around. But then they're
“commitment” to data security are not actionable. See AC
                                                                     left -- the administration accounts or the admin or the
¶¶ 145 (“security is of the utmost importance to us”),
                                                                     super user accounts are left open because it's easy for the
159 (“security is a mission-critical issue for Okta and for
                                                                     engineers to drop in there and, like, do some admin things
our customers”). 8 Such statements “amount to vague and              and maintain some network things.
generalized corporate commitments, aspirations, or puffery
that cannot support liability under Section 10(b) and Rule           And that's why -- that specific problem. Imagine the server
10b-5(b).” See In re Alphabet, Inc. Sec. Litig., 1 F.4th at 708      in the server closet. You did a good job at Zero Trust. You
(in suit alleging cybersecurity vulnerability, statements about      took an inventory of the assets. You know this machine
Google's commitment to privacy and data security “do not rise        only should be able to access this other physical area of the
to the level of ‘concrete description of the past and present’       network. You've really locked it down. But then you can
that affirmatively created a misleading impression of a ‘state       log into that with an admin count and get anywhere.
of affairs that differed in a material way from the one that
actually existed.’ ”) (citation omitted).                          AC ¶ 143. The complaint argues McKinnon's statements were
                                                                   false and misleading “because they omitted the material facts
8                                                                  that Okta was not properly securing its administrative tools
       Plaintiff concedes that it misattributed the
                                                                   for monitoring customer tenants and that the Company failed
       statement quoted in paragraph 145 of the
                                                                   to require its sub-processors to comply with the Company's
       complaint, and that the statement was made by an
                                                                   fundamental security requirements.” Id. ¶ 144. Yet plaintiff's
       Okta customer rather than an Okta VP. See Opp'n
                                                                   assertion is not supported with specific factual allegations in
       at 19 n.8.
                                                                   the complaint.

                                                                   The complaint relies on two confidential witnesses who stated
      2. September 15, 2021 Conference Statement
                                                                   that Okta could have done better in securing SuperUser
Lead Plaintiff also challenges more specific representations       access. CW6 was a Senior Solutions Engineer at Okta
that defendants made regarding data security. However, the         from February 2019 through December 2021 and who had
complaint lacks particularized allegations showing that these      SuperUser access. Id. ¶ 43. CW6 “suggest[ed] that the
statements were materially false when made. For instance,          SuperUser tool should have been more closely guarded
Lead Plaintiff challenges the following statement (in bold and     against hackers” and that “best practice” would have been
italics) that Defendant McKinnon made at the Citi Global           to add additional safeguards such as requiring SuperUsers
Technology Virtual Conference on September 15, 2021:               to access the tool only from a secure administrative station



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and not from their home laptops. Id. ¶ 100. CW7, an Okta            For all of these reasons, without more information the Court
Senior Solutions Engineer who stopped working for the               cannot find the complaint sufficiently alleges the statement
company in March 2021, “advised that, in her opinion, Okta          McKinnon made on September 15, 2021, was false or
did not properly secure its administrative tools for controlling    misleading when made.
different cloud tenants[.]” 9 Id. ¶¶ 44, 102.

9                                                                                3. March 7, 2022 Risk Disclosure
        The complaint does not state that CW7 had
        SuperUser access.
                                                                    Plaintiff also challenges the risk disclosure that Okta made in
For several reasons, the accounts of CW6 and CW7 are                its Form 10-K, filed with the SEC on March 7, 2022. In its
not sufficient to support the assertion that Okta failed to         lengthy risk disclosures, Okta made the following statement
require its sub-processors to comply with Okta's fundamental        related to data security: “An application, data security or
security requirements. For one, neither witness states what         network incident may allow unauthorized access to our
the complaint says they do—that Okta did not require its            systems or data or our customers' data, disable access to our
sub-processors to comply with Okta security requirements.           service, harm our reputation, create additional liability and
Moreover, the opinion of CW7 is of little utility, where            adversely impact our financial results.” AC ¶ 159.
CW7 stopped working for Okta in March 2021, roughly ten
months before the security incident occurred. See id. ¶ 44. In      Plaintiff argues this statement was false and misleading
fact, CW6 herself explained that SuperUser access became            because the risk warned of had already materialized:
more restrictive after June 2021. According to the complaint,       “Specifically, Okta had experienced the January 2022 Breach
CW6 recalled that “prior to June 2021, Okta had granted             due to unsecured administrative tools used for monitoring
Solutions Engineers full SuperUser access, meaning they had         cloud tenants and the failure to require sub-processors to
full read and write access to customer tenants. However,            comply with Okta's fundamental security requirements.” Id.
CW6 recalled that Okta restricted Solutions Engineers'              ¶ 160. In their motion to dismiss, defendants argue that not
SuperUser access to read-only after June 2021 ....” Id. ¶           every security incident requires disclosure, and they dispute
147. Finally, it is unclear how the SuperUser allegations           plaintiff's use of the term “breach.” Instead, defendants state
relate to the January 2022 incident, as nowhere does the            that the complaint provides “no specific factual allegations
complaint allege that the incident resulted from the breach of a    that Okta was aware of a breach—let alone a material one—
SuperUser account. Plaintiff's brief argues that “the Company       by March 2022.” Mot. at 13.
experienced a significant data security breach that was caused
by Okta's failure to secure its administrative tools, such as the   Setting aside for now the parties' dispute regarding falsity,
‘SuperUser’ tool,” but the complaint itself does not say this.      the claim must be dismissed for lack of scienter. Defendants
See Opp'n at 7 (citing AC ¶¶ 98–104) (emphasis added). At           argue, and the Court agrees, that the complaint fails to allege
the hearing, plaintiff's counsel conceded this, clarifying that     sufficient facts showing what, if anything, the individual
plaintiff does not allege that SuperUser status was available       defendants knew about the January 2022 incident at the time
to third party sub-processors such as the one whose account         Okta's Form 10-K was filed on March 7, 2022. None of
was compromised in January 2022. Rather, plaintiff's counsel        the CWs allege that the individual defendants knew about
stated that the SuperUser example shows that defendants were        the incident by March 7, 2022. What the complaint states is
on notice that Okta was susceptible to a data breach.               that the incident became public on March 21, 2022, when
                                                                    hackers posted screenshots “showing what they claimed was
 *17 More fundamentally, it is not clear from the excerpt           Okta's internal company environment.” AC ¶ 105. On March
quoted in the complaint exactly what Defendant McKinnon             22, 2022, at 4:23 a.m., Defendant McKinnon posted on his
is talking about at the September 15, 2021 conference.              Twitter account:
He could be opining on ZeroTrust as a concept, talking
about aspirations that Okta has, or describing a specific data        In late January 2022, Okta detected an attempt to
security approach that Okta has already implemented. And              compromise the account of a third party customer support
as defendants point out, the statement does not even mention          engineer working for one of our subprocessors. The matter
sub-processors. See Mot. at 11.                                       was investigated and contained by the subprocessor. (1 of
                                                                      2)



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                                                                    Finally, viewing the allegations of the complaint holistically,
  We believe the screenshots shared online are connected to         the Court still finds scienter lacking. Plaintiff essentially
  this January event. Based on our investigation to date, there     theorizes that because data security was the bread and butter
  is no evidence of ongoing malicious activity beyond the           of the company, it would be impossible for the individual
  activity detected in January. (2 of 2)                            defendants not to have known about the data incident when
                                                                    it happened. When conducting a holistic review of the
Id. ¶ 106. Later that same day, Okta's Chief Security Officer
                                                                    complaint, courts “must also ‘take into account plausible
issued a blog post that, according to 28 plaintiff, “admitted
                                                                    opposing inferences’ that could weigh against a finding
that Okta first detected the January 2022 Breach in January.”
                                                                    of scienter.... Even if a set of allegations may create an
Id. ¶ 108. The complaint also alleges that “[o]n March 25,
                                                                    inference of scienter greater than the sum of its parts, it
2022, Okta acknowledged that it sat on this information for
                                                                    must still be at least as compelling as an alternative innocent
almost two months before stating, ‘We want to acknowledge
                                                                    explanation.” Zucco Partners, LLC v. Digimarc Corp., 552
that we made a mistake.’ ” Id. ¶ 111.
                                                                    F.3d 981, 1006 (9th Cir. 2009) (quoting Tellabs, 551 U.S. at
                                                                    323). Here, the Court cannot say that the allegations of the
The complaint thus provides no particularized facts to support
                                                                    complaint are at least as compelling as the alternative innocent
the assertion that the individual defendants were aware of the
                                                                    explanation, which is that a one-time attempted compromise
January security incident by March 7, 2022. In its opposition,
                                                                    of a third-party customer support engineer account that was
Lead Plaintiff argues that “CW3 explained during an All-
                                                                    “investigated and contained by the subprocessor” simply did
Hands Meeting following the January 2022 Breach, [that]
                                                                    not raise significant enough concerns when it happened to
Defendants informed Okta employees that Okta ‘quickly’
                                                                    warrant alerting the company's CEO, CFO, and COO. See AC
knew the breach occurred and shut the compromised account
                                                                    ¶ 106. This case is a far cry from In re Alphabet, Inc. Securities
down.” Opp'n at 28. This misrepresents what is stated in the
                                                                    Litigation, on which plaintiff relies. That case involved an
complaint. The complaint states, “According to CW3, the data
                                                                    ongoing security glitch that the company learned had been
breach that occurred in January 2022 and was disclosed in
                                                                    leaving the private data of hundreds of thousands of users
March 2022 was discussed at the first All-Hands Meeting
                                                                    exposed for three years, and the complaint alleged that Google
following the breach being publicized by news outlets[,]”
                                                                    executives received an internal memo from legal and policy
i.e., after March 22, 2022. See AC ¶ 113 (emphasis added).
                                                                    staff warning that disclosure of the security vulnerability
Thus, CW3's allegations do not show that the individual
                                                                    would “almost guarantee[ ]” that Google's CEO would be
defendants knew of the incident prior to March 7, 2022. Nor
                                                                    brought to testify before Congress. 1 F.4th at 695–96. Here,
do later statements from Okta's CEO that “Okta detected an
                                                                    the complaint lacks specific allegations regarding when the
attempt to compromise the account of a third party customer
                                                                    individual defendants learned of the security incident, nor
support engineer” in January 2022 raise a strong inference
                                                                    does the incident on its face come close to the scale of the
that defendants were aware of the event in January. The
                                                                    security concerns at issue in Alphabet.
complaint neither paints a picture of “widespread deception”
nor does it “sufficiently allege the individual Defendants
acted with scienter.” See Oregon Pub. Emps. Ret. Fund, 774
F.3d at 608.                                                            4. Statements re: Customer Trust on June 8, 2022

 *18 Plaintiff also argues that it has adequately pled scienter     Finally, plaintiff challenges statements that Defendant
under the core operations theory. Opp'n at 30, 32. “Proof           McKinnon made in a CNBC interview on June 8, 2022.
under this theory is not easy. A plaintiff must produce either      Discussing the security incident that went public in March
specific admissions by one or more corporate executives             2022, McKinnon stated,
of detailed involvement in the minutia of a company's
                                                                      And anytime there's any kind of hack, whether it's to a third
operations, such as data monitoring, ...; or witness accounts
                                                                      party or what any kind of talk of a breach, there's a lot
demonstrating that executives had actual involvement in
                                                                      of concerns in the [sic] in the customer base because this
creating [the fraud].” Police Ret. Sys. of St. Louis v. Intuitive
                                                                      is about trust. So, the first thing we did is we had these
Surgical, Inc., 759 F.3d 1051, 1062 (9th Cir. 2014) (citations
                                                                      conversations. We talked to over 1000 customers face to
omitted). Here, plaintiff has pled neither.
                                                                      face over, [sic] over video and had these conversations. I
                                                                      personally talked [sic] over 400. And got a ton of feedback



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  about what we could do better, how we could make sure              business, but she suggested it might have been ‘tens of
  that our support environment was not insecure, to make             thousands of dollars’ in lost business.” Id.
  sure that we communicate better, to make sure that we are
  instill [sic] this trust. At the end of the [sic], I think we've   These allegations lack particularity regarding how much sales
  been able to do that.                                              Okta lost and when. With the exception of a single statement
                                                                     from CW8 estimating lost business in the tens of thousands of
  ...
                                                                     dollars, 10 see id., nowhere does the complaint identify with
  We're committed to making this a $4 billion a year                 particularity which sales or how many were lost as a result of
  company by fiscal year, fiscal year 26. So, that's, that's         the data security incident. Moreover, both CW4 and CW8 left
  coming up quickly. So, we have to invest to grow to                the company around the time of the data security disclosure.
  that scale and we've always done it with a balance of              CW4 worked as an Account Executive at Okta “until the
  efficiency. We've always made sure that our, that our              first quarter of fiscal 2023,” which began February 1, 2022.
  growth rate and our [sic] and our cash flow generation was         Id. ¶ 41. CW8 worked as a Senior Account Executive “until
  balanced towards that goal. So, we think we're drawing             spring 2022.” Id. ¶ 45. Without more detail regarding when
  the right balance to capture this market opportunity. And          they departed, it is unclear that CW4 and CW8 would have
  I think over time you're going to see a very highly scaled         been positioned to know the status of sales when McKinnon
  profitable company that's going to help customers and              gave his interview in early June. And CW3, who stayed
  capitalize on this big market opportunity.                         at the company until August 2022, does not allege having
                                                                     personally lost a single sale as a result of the data security
*19 Id. ¶¶ 167–68 (underlined [sic]'s added by the Court).           incident. See id. ¶¶ 40, 113.

Plaintiff alleges these statements were materially false and         10      The Court assumes, though the complaint does not
misleading when made “because Okta was actually losing
                                                                             specify, that this figure references lost business on
sales as a direct result of the January 2022 Breach, which only
                                                                             CW8's own sales accounts.
compounded the severe problems the Company was having
with the Auth0 integration.” Id. ¶ 169. Plaintiff clarifies this     For these reasons, the complaint as it stands fails to show
argument in the opposition brief, charging that McKinnon's           that the statements McKinnon made on June 8, 2022, were
statement was false and misleading because “the January              materially false or misleading when made.
2022 Breach had harmed Okta's reputation and sales, as
customers no longer trusted the Company and were unwilling
                                                                        C. Section 20(a)
to increase their contracts or spend more money with Okta.
                                                                     A claim under Section 20(a), which provides for control
[AC] ¶¶ 113-15.” Opp'n at 23.
                                                                     person liability, “must demonstrate: (1) a primary violation
                                                                     of federal securities laws and (2) that the defendant exercised
The complaint as it stands is not sufficiently particularized
                                                                     actual power or control over the primary violator.” (internal
to show a false or misleading statement when made. For
                                                                     quotation marks and citation omitted). A control person claim
evidence that the company was losing sales, plaintiff relies on
                                                                     under Section 20(a) requires a predicate primary violation.
accounts from CW3, CW4, and CW8. CW3 reported “that the
                                                                     See Webb v. Solarcity Corp., 884 F.3d 844, 858 (9th Cir. 2018).
Company was saying that they were losing sales because of
the breach,” “that the breach did come up with every customer
                                                                      *20 Where the Court has found that plaintiff has sufficiently
she spoke with,” and that “the Company distributed ‘talking
                                                                     stated a Section 10(b) claim (i.e., with regard to the March
points’ to employees on how to ‘downplay’ the breach.” AC ¶
                                                                     2 and June 2, 2022 earnings call statements regarding the
113. CW4 “recalled that prospective customers were deciding
                                                                     progress of the integration), the Court also finds that plaintiff
against doing deals with Okta after the breach.” Id. ¶ 114.
                                                                     has stated a claim under Section 20(a). For the remainder
And CW8 “advised that Okta customers reacted negatively
                                                                     of the claims, where the Court has found no Section 10(b)
to the data breach that Okta disclosed in March 2022.” Id.
                                                                     violation is sufficiently alleged, the Court likewise finds
¶ 115. Although “CW8 could not recall whether customers
                                                                     plaintiff has failed to state a claim under Section 20(a).
were canceling contracts outright[,]” CW8 did recall that
the negative customer reaction “impacted her ability to meet
quotas.” Id. “CW8 could not quantify the amount of lost              II. Request for Judicial Notice


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                                                                        motion as to omissions the individual defendants made
Along with their motion and reply briefs, defendants also filed
                                                                        regarding the Auth0 integration on the March 2 and June 2,
a request for judicial notice. Dkt. Nos. 57, 58, 69. As a general
                                                                        2022 earnings calls.
rule, the Court may not consider any materials beyond the
pleadings when ruling on a Rule 12(b)(6) motion. Lee v. City
                                                                        The second amended complaint shall be due no later than
of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001). However,
                                                                        April 28, 2023.
courts considering a motion to dismiss that is governed by
the PSLRA may consider “documents incorporated into the
                                                                        When amending the complaint, Lead Plaintiff shall also
complaint by reference, and matters of which a court may take
                                                                        attach a chart that lays out, concisely and with particularity,
judicial notice.” Tellabs, 551 U.S. at 322.
                                                                        including paragraph citations to the second amended
                                                                        complaint: which statements Lead Plaintiff alleges were
At this time, the Court declines to rule on defendants' request
                                                                        materially false or misleading; who made the statements;
for judicial notice, as the Court did not rely on any of these
                                                                        when the statements were made; and the facts (including
documents in resolving the present motion.
                                                                        dates) that Lead Plaintiff alleges render the statement false or
                                                                        misleading.

                       CONCLUSION                                       IT IS SO ORDERED.

For the foregoing reasons and for good cause shown, the
Court hereby GRANTS IN PART and DENIES IN PART                          All Citations
defendants' motion to dismiss, with leave to amend. The
motion is GRANTED, except that the Court DENIES the                     Not Reported in Fed. Supp., 2023 WL 2749193


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                     Case No. 16




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                                                                          and Mark Rollins. (See, Amended Consolidated
                    2005 WL 8158825                                       Complaint (“Complaint”) ¶¶ 31(a)-(j).)
      Only the Westlaw citation is currently available.            The two sub-classes are represented by Lead Plaintiff
       United States District Court, S.D. California.              Heywood Waga and three individual named Plaintiffs--John
                                                                   Sutliff, M. Clifford Balch, Jr., and Alan Hylton. The sub-
             IN RE: PEREGRINE SYSTEMS,                             classes include those who obtained Peregrine's stock when it
             INC. SECURITIES LITIGATION                            merged with Harbinger and Remedy Corporations. Heywood
                                                                   Waga and John Sutliff represent all persons and entities who
               CASE NO. 02CV870-BEN (RBB)
                                                                   held shares in Harbinger, but later acquired Peregrine's stock
                            |
                                                                   when Peregrine acquired Harbinger on or about June 16, 2000
                    Signed 03/30/2005
                                                                   (“the Harbinger Sub-Class”). M. Clifford Balch, Jr. and Alan
                                                                   Hylton represent those who held shares of Remedy, but then
                                                                   acquired Peregrine stock when Peregrine acquired Remedy
          ORDER GRANTING IN PART AND                               on or about August 27, 2001 (“the Remedy Sub-Class.”).
          DENYING IN PART DEFENDANTS'                              These Plaintiffs seek recovery under Sections 11 and 15 of the
       MOTIONS TO DISMISS (Docket Nos. 443,                        Securities Exchange Act of 1933, 15 U.S.C. §§ 77k, 77o, as
      452, 457, 468, 472, 474, 476, 481, 491, and 536)             well as Sections 14(a) and 20(a) of the 1934 Act, 15 U.S.C.
                                                                   §§ 78n(a), 78t(a).
ROGER T. BENITEZ, United States District Judge

                                                                   There were initially thirty one (31) related cases, which
                               I.                                  were consolidated. The initial consolidated complaint was
                                                                   dismissed with leave to amend. The operative Amended
                                                                   Consolidated Complaint will be referred to as “Complaint.”
                     INTRODUCTION.
                                                                   The Complaint names as Defendants Peregrine management,
 *1 This is a class action on behalf of all those who bought or    board executives, and auditors. 2 All Defendants separately
acquired Peregrine Systems, Inc. (“Peregrine”) stock between       and/or jointly move to dismiss. 3 Individual Defendants
July 22, 1999 and May 3, 2002. (“Class Period”). During            will be referred to by their last names; the auditors--
the Class Period, Peregrine overstated its financial results for   Arthur Andersen LLP and AWSC Société Coopérative, en
the fiscal years 2000, 2001, and the first three quarters of       liquidation, will be referred to as “Arthur Andersen” and
2002. On May 6, 2002, Peregrine announced it had discovered        “AWSC” respectively. Except when distinguishing among
accounting irregularities during these fiscal years. Plaintiffs    the Defendants, the Court uses “Defendants” to refer to
now seek damages based on the dramatic fall of Peregrine's         all of Defendants collectively. When referring to Plaintiffs'
stock following this statement.                                    Opposition, that reference is limited to the Opposition as to
                                                                   the particular Defendant's or Defendants' Motion.
Plaintiffs are divided into one main class and two sub-classes.
The main class is represented by Lead Plaintiff the Loran          2      The Complaint also names as Defendants
Group. 1 The Loran Group includes all those who purchased
                                                                          Peregrine's Business Associates-KPMG, Inc.,
or acquired Peregrine stock during the Class Period. The
                                                                          BearingPoint, and Larry Rodda. These Defendants
Loran Group seeks recovery under Sections 10(b) and 20(a)
                                                                          have been dismissed and are no longer parties to
of the Securities Exchange Act, 15 U.S.C. §§ 78j(b)78t(a),
                                                                          this action. (See, Order dated January 19, 2005;
and the Securities Exchange Commission's Rule 10b-5, 17
                                                                          docket No. 594.)
C.F.R. § 240.10b-5.
                                                                   3      Defendant Douglas S. Powanda withdrew his
1                                                                         Motion on January 26, 2005. (Docket No. 597.)
       The Loran Group consists of lead plaintiffs
       David Levy, Leighton Powell, David Schenkel,                 *2 At least three Defendants--Gless, Spitzer, Cappel--have
       John Virden, Conrad Willemse, Bill Holman,                  pled guilty to securities fraud. Peregrine has also consented
       Bob Benesko, Michael Slavitch, Richard Maheu,               to entry of a Final Judgment in an action brought by the




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Securities Exchange Commission (“SEC”). SEC's complaint
alleged:                                                          However, Plaintiffs adequately state a: (1) Section 14(a) claim
                                                                  against Gless, Gardner, and Arthur Andersen; and (2) Section
                                                                  11 claim against Gardner, Gless, Moores, Cole, Hosley, Noell,
            This case involves a massive financial                van den Berg, Watrous, and Arthur Andersen.
            fraud by defendant Peregrine Systems,
            Inc., a publicly traded San Diego-
            based software company. The purpose                                                  II.
            of the fraud was to inflate Peregrine's
            revenue and stock price. To achieve
            its unlawful purpose, Peregrine                                                   FACTS.
            filed materially incorrect financial
                                                                  “As required by Federal Rule of Civil Procedure 12(b)(6), the
            statements with the Commission for
                                                                  facts are presented in the light most favorable to the Plaintiffs.
            11 consecutive quarters between April
                                                                  Under the incorporation by reference doctrine, [the Court]
            1, 1999 and December 31, 2001 ...
                                                                  also consider[s] documents submitted by Defendants that
            In February 2003, Peregrine restated
                                                                  were referenced in the [C]omplaint and whose authenticity
            its financial results for its fiscal years
                                                                  has not been questioned.” No. 84 Employer-Teamster Joint
            2000 and 2001, and for the first
                                                                  Council Pension Trust Fund v. America West Holding Corp.,
            three quarters of fiscal 2002. Peregrine
                                                                  320 F.3d 920, 925 (9th Cir. 2003); seealso, United States v.
            reduced previously reported revenue
                                                                  Ritchie, 342 F.3d 903, 908 (9th Cir. 2003) (“[A] document ...
            of $1.34 billion by $509 million....
                                                                  may be incorporated by reference into a complaint if the
                                                                  plaintiff refers extensively to the document or the document
                                                                  forms the basis of plaintiff's claim.”); Parrino v. FHP, Inc.,
Accordingly, there is no question that Peregrine committed        146 F.3d 699, 705-706 (9th Cir. 1998) (“A district court
fraud. Now, the question is “who can be held liable for it.” In   ruling on a motion to dismiss may consider documents whose
re Homestore.com. Inc. Securities Litigation, 252 F.Supp.2d       contents are alleged in a complaint and whose authenticity no
1018, 1020 (C.D. Cal. 2003) (Emphasis original). In this          party questions, but which are not physically attached to the
regard, the Court has already found that Plaintiffs state a       plaintiff's pleading.”); Lee v. City of Los Angeles, 250 F.3d
Section 10(b) claim against Gardner, Gless, Spitzer, and          668, 688 (9th Cir. 2001) (“If the documents are not physically
Cappel. The Court has also found that Plaintiffs adequately       attached to the complaint, they may be considered if the
state claims for control liabilities under Sections 20(a) and     documents' authenticity is not contested and the plaintiff's
15(a) against Gardner and Gless. These Defendants do not          complaint necessarily relies on them.”). But, “this is a narrow
move to dismiss on those claims. (See, e.g., Gardner's Motion     exception.... It is not intended to grant litigants license
at 3:7.) Thus, the Court's discussion of those claims will be     to ignore the distinction between motions to dismiss and
limited to the remaining Defendants.                              motions for summary judgment.” Levenstein v. Salafsky, 164
                                                                  F.3d 345, 347 (7th Cir. 1998). The Court will also “consider
As to the remaining Defendants and claims, after reviewing        material which is properly submitted [or attached] as part of
all the papers submitted and hearing oral arguments, for          the complaint....” Parrino v. FHP, Inc., 146 F.3d 699, 705-06
the reasons that follow, the Court finds that Plaintiffs fail     (9th Cir. 1998).
to state a: (1) Section 10(b) claim against Nelson, Luddy,
Moores, Noell, Cole, van den Berg, Hosley, Savoy, Watrous,         *3 The Court will not rely on or recite “legal conclusions
Dammeyer, Stulac, Arthur Andersen, and AWSC; (2) Section          cast in the form of factual allegations if those conclusions
14(a) claim against Moores, Cole, Hosley, Noell, van den          cannot reasonably be drawn from the facts alleged.” Clegg v.
Berg, Watrous, Stulac, and AWSC; (3) Section 20(a) control        Cult Awareness Network, 18 F.3d 752, 755 (9th Cir. 1994).
liability claim against Moores, Nelson, Noell, Cole, van den      Judicial notice will be taken of the criminal records filed in
Berg, Hosley, Watrous, Savoy, Dammeyer, Stulac and AWSC;          this Court against certain Peregrine executives, and the Court
(4) Section 11 claim against AWSC, and (5) Section 15(a)          will refer to them as needed. See, United States v. Wilson, 631
claim against Moores, Savoy, Cole, Noell, Watrous, Arthur         F.2d 118, 119 (9th Cir. 1980) (“[A] court may take judicial
Andersen and AWSC.                                                notice of its own records in other cases, as well as the records


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of an inferior court in other cases.”); U.S. ex rel. Robinson       Audit Committee; Dammeyer became a director on June
Rancheria Citizens Council v. Borneo, Inc., 971 F.2d 244,           29, 2001 and also served as the Chairman of the Audit
248 (9th Cir. 1992) (Courts “may take notice of proceedings         Committee from October 24, 2001; Arthur Andersen served
in other courts, both within and without the federal judicial       as the accountant and auditor from July 1996 to April 5,
system, if those proceedings have a direct relation to matters      2002; Stulac, an employee and partner of Arthur Andersen,
at issue.”); F.T.C. v. J.K. Publications, Inc., 99 F. Supp. 2d      provided accounting and auditing services; and AWSC
1176, 1198 n. 61 (C.D. Cal. 2000) (Taking judicial notice of        audited and reviewed international segments of Peregrine's
information contained in the criminal dockets of the Central        business which were incorporated in Peregrine's published
District of California).                                            financial results. 9

                                                                    4
  A. Defendants.                                                            Gardner was recently indicted by the SEC.
At the outset, Peregrine is not a defendant in this action, as it   5       On April 16, 2003, the SEC filed a Complaint
voluntarily filed for protection under Chapter 11 of the United
                                                                            against Gless which alleged that he violated,
States Bankruptcy Code. See, 11 U.S.C. § 362.
                                                                            inter alia, Section 10(b) of the Exchange
                                                                            Act by knowingly or recklessly making
Turning to the Defendants, the following is the position, or
                                                                            misrepresentations and omissions of fact with the
relation, each had with Peregrine during the Class Period:
                                                                            intent of materially misstating Peregrine's publicly
Gardner was the President, Chief Executive Officer, director,
                                                                            reported financial results. That same day Gless pled
and Chairman of the Board of Directors until his termination
                                                                            guilty to a criminal information charging him with
on May 3, 2002 4 ; Gless served as Chief Accounting Officer,                a conspiracy, beginning no later than June 1999, to
Chief Financial Officer and director until May 5, 20 02 5 ;                 commit, among other offenses, securities fraud.
Spitzer was hired by Peregrine as Vice President, Alliances,
                                                                    6
later became Vice President, Managed Service Providers,                     On June 16, 2003, the SEC filed a complaint
and returned to his former position as Vice President,                      against Spitzer in this Court alleging that from at
                                                                            least December 1999, he knowingly or recklessly
Alliances until he was terminated on June 28, 2002 6 ; Cappel
                                                                            participated in a scheme by which Peregrine
acted as Treasury Senior Manager and later the Director
                                                                            materially misrepresented its publicly reported
of Treasury until June 2002. 7 Cappel's duties included
                                                                            financial results, including its revenue, in violation
financing accounts receivables, international collections, and
                                                                            of, inter alia, Section 10(b) of the Exchange Act.
forecasting cash and Days Sales Outstanding (“DSO”) 8 ;                     That same day, a criminal information was filed
Nelson served as Vice President, Corporate Secretary,                       against Spitzer charging securities fraud, to which
General Counsel, Vice President, Corporate Development,                     he pled guilty.
and Senior Vice President, IMG Operations; Luddy served
                                                                    7
as Vice President, Research and Development, and Chief                      On November 22, 2002, the SEC filed a Complaint
Technology Officer; Moores was a director, and served as                    against Cappel alleging that she committed bank
the Chairman of the Board of Directors from March 1990                      fraud by selling falsified and illusory Peregrine
until July 2000. Moores also chaired the Compensation                       receivables to banks. That same day, Cappel pled
Committee. Moores left Peregrine in February 2003; Noell                    guilty to a criminal information charging her with
was a director and served on the Audit and Compensation                     a scheme beginning no later than June 1999
Committees; Cole was a director; van den Berg was                           to defraud a federally insured bank by making
a director and served on the Audit Committee until his                      false statements, misrepresenting the true financial
resignation in October 2000; Hosley was a director and                      condition of Peregrine, and fabricating invoices.
served on the Audit Committee until his resignation on              8       DSO is the average number of days that a company
June 15, 2000; Savoy became a director on June 15, 2000,
                                                                            needs to collect its accounts receivable.
the date of the Harbinger acquisition, on whose Board
he served, through the end of the Class Period. He also             9       Defendant Douglas S. Powanda withdrew his
served on the Audit Committee from October 17, 2000 to                      Motion without prejudice on January 26, 2005.
October 17, 2001; Watrous was director and served on the



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       Therefore, his relation to the case will not be             Peregrine's partner program, resellers bought product from
       discussed in this Order. (Docket No. 597.)                  Peregrine only when an end user was already identified
                                                                   and ready to buy. In these transactions, “sell-in” and “sell-
   B. Why the Fraud Was Committed.                                 through” were synonymous. Over time, Peregrine sought to
 *4 At all relevant times, Peregrine developed and marketed        increase its sales and earnings through large sell-in channel
software products that enabled business customers to reduce        deals without identified or committed end users.
infrastructure costs and increase efficiency. Peregrine also
developed and marketed business-to-business and integration        Generally Accepted Accounting Principles 10 , or “GAAP”,
software to reduce the costs of electronic commerce.               prohibits recognition of any revenue from sales to channel
                                                                   partners unless specific criteria are met. Peregrine represented
By the beginning of the Class Period, Peregrine sought to          in its filings with the SEC that it recognized revenues
grow through acquisitions and other strategic alliances. This      consistent with GAAP. In the Form 10-K Peregrine filed with
expanded Peregrine's product menu for asset management,            the SEC on or about June 29, 1999 (shortly before the Class
fleet management, facilities management, rail management           Period), Peregrine set forth its revenue recognition policy on
and telecommunication management. Peregrine used its stock         sales of license agreements:
to pay for the acquisitions and strategic alliances.

Income from software licensing substantially represented                        Revenues from license agreements
Peregrine's revenues and played a significant role in                           are recognized currently, provided
determining the market value of its stock. The higher                           that all of the following conditions
the price of Peregrine stock, the fewer the number of                           are met: a noncancellable license
shares Peregrine would have to issue for each acquisition.                      agreement has been signed, the
Peregrine's executives--who owned a substantial number of                       product has been delivered, there are
Peregrine stock- also did not want the value of their holdings                  no material uncertainties regarding
diluted by issuing too many new shares.                                         customer acceptance, collection of
                                                                                the resulting receivable is deemed
Accordingly, Peregrine chose to report high revenues so                         probable and risk of concession
that investors could expect record sales and earnings growth                    is deemed remote, and no other
to continue quarter after quarter. With an increasing share                     significant vendor obligations exist.
price, Peregrine was able to complete at least thirteen
(13) acquisitions or strategic alliances during the Class
Period, with an announced value exceeding $3.4 billion. The
                                                                    *5 Peregrine made a similar representation about its revenue
most significant of its acquisitions included: (i) the June
                                                                   recognition policy in each of its quarterly and annual reports
2000 acquisition of Harbinger Corporation, which provided
                                                                   filed with the SEC during the Class Period.
software enabling e-transaction management and other e-
business products and services; (ii) the December 2000
                                                                   10
acquisition of IBM's Tivoli Service Desk and customer                     Generally Accepted Accounting Principles, or
base enabling; and (iii) the August 2001 acquisition of                   GAAP, are “a series of general principles followed
Remedy Corporation, a supplier of IT service management                   by accountants.” United States v. Basin Elec.
and customer relationship management software. These                      Power Coop., 248 F.3d 781, 786 (8th Cir.
acquisitions were stock for stock mergers.                                2001). More specifically, GAAP “are the official
                                                                          standards adopted by the American Institute of
                                                                          Certified Public Accountants (the ‘AICPA’), a
  C. How the Fraud Was Committed.                                         private professional association, through three
                                                                          successor groups it established: the Committee on
   1. Improper Revenue Recognition.
                                                                          Accounting Procedure, the Accounting Principles
Peregrine had two kinds of software customers: end users
                                                                          Board (the ‘APB’), and the Financial Accounting
and resellers. Peregrine initially sold software almost entirely
                                                                          Standards Board (the ‘FASB’).” Ganino v. Citizens
to end users. In or about 1996, Peregrine started partnering
                                                                          Utils. Co., 228 F.3d 154, 160 n. 4 (2d Cir. 2000).
with resellers to broaden its product distribution. Early in


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To achieve the appearance of increasing revenue, Peregrine          committed re-seller sales as revenue -- after they signed-
began to violate its own revenue recognition policy. On             off on the IBM deal that day in Powanda's office -- things
its reseller deals, Peregrine prematurely recognized revenue        really started to go downhill for Peregrine. Powanda was
when it entered into an agreement with the reseller. Under          actually ready to fire Spitzer when he said that Spitzer will
the agreements, however, the reseller either had no obligation      get the commitments and we will book them -- this was in
to pay Peregrine or the payment was contingent on a further         the March-April 1999 time frame.
sale to end users. In other words, Peregrine recognized
revenue before one or more conditions under GAAP were              *6 Another former Director of the Alliance Group similarly
met--(i) before the fee owed to Peregrine was not fixed           recalled a meeting in late 1998 involving Powanda and
and determinable; (ii) before collectability of the fee was       Nelson, and Farley. During the meeting, they stated that from
probable; or (iii) while the resellers' obligation to pay for     now on it would be company policy to book “commitments”
the product was still contingent on subsequent sale of the        from resellers as revenue irrespective of whether the reseller
product to an end user. Peregrine also recognized revenue         had a firm commitment from an end user.
on “swap” transactions. Swap transactions lack economic
substance. They involve the contemporaneous buy and sale          Gardner, Gless, Nelson, Powanda and Spitzer then authorized
of a product, designed solely to increase reported revenue.       Peregrine's sales personnel to enter into transactions with
                                                                  resellers where there was no obligation to pay Peregrine until
Peregrine's decision to prematurely recognize revenue dated       the product was sold-through. Revenue on such transactions
back to late 1998 and early 1999. During that time, Peregrine's   was recorded in full right away.
board authorized recording of revenue based on the sell-
in method. In 1999, for example, a meeting took place             Gardner negotiated many of the larger pre-commitments from
in Powanda's office. Gardner and the then Chief Financial         resellers which were improperly booked as revenue. After
Officer Farley (now deceased) were present. During the            the revenue had been booked, Gardner and Gless oversaw
meeting, there was a discussion as to whether revenue would       Peregrine's efforts to assist sales by the resellers to end users
be recognized currently on a transaction with IBM Global          so as to be able to collect money from the resellers on sell-
Services. Gardner told Powanda that Peregrine would book          through.
IBM's pre-commitments as revenue so that Peregrine could
meet revenue goals.                                               Gardner was actively involved in the improper revenue
                                                                  recognitions. As a former Peregrine employee, who was a
A former Peregrine employee, who was a Director of the            Director of the ICW Group, recounts:
InfraCenter Workgroup (“ICW Group”), a group within the
Alliance Group, recalls:                                            In March of 2000 in a conversation with Spitzer, he talked
                                                                    about the intent of the company to prematurely book pre-
  I was involved directly in a conversation in early 1999 with      commitments as revenue. Spitzer stated that “I am just
  Doug Powanda, who I reported to specific to I believe IBM         following orders from Gardner and I am getting paid
  Global Services which is one of the very first deals where        commissions on the pre-commitments as they are booked
  channel stuffing was involved -- Powanda stated to me that        -- and I won't take the fall -- every quarter I vest my 28,000
  Farley had told him that “we can begin to recognize pre-          option shares.”
  commitment sales in Q4, January-March 1999” -- Powanda
  told me that “we can really start to use it” referring to         I remember asking Spitzer where the deals were coming
  booking pre-commitments ... When I commented [to] him             from that made our quarters when we are getting e-mails
  that we can't do this since I believed it to be wrong based       constantly to the effect that we are going to miss the quarter
  on my prior experience with these matters, ... Powanda just       and then we make it at the last minute -- Spitzer told me
  naively shrugged his shoulders.                                   that he was getting paid on these deals and that they were
                                                                    coming from Gardner - Spitzer told me that the deals that
  I also remember that both Farley and Gardner popped               Gardner got involved in were all big and over $500,000.
  their heads into Powanda's office during this meeting and
  acknowledged that we [should] go ahead with the IBM             Peregrine's practice of improperly booking revenue spread
  commitment. It was from this point in early 1999 that           worldwide. As one former Peregrine employee, who was a
  Peregrine had made the wholesale decision to book pre-          Director of the ICW Group, recalled:



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                                                                               into revenue by the company. O-E
                                                                               Systems was one account; Barnhill for
            Powanda brought the practice of                                    $1.25 million was another -- Peregrine
            booking pre-commitments to Europe                                  put this company in a box by extracting
            - he was head of European sales and                                an unattainable commitment from
            later worldwide sales, then Europe                                 them and then acquired them when
            again - Dominic O'Reilly and Jerry                                 they failed to pay; and Corporate
            Crook were involved - Europe was                                   Software was another -- there was a
            heavily involved with the booking                                  list of these accounts. When I started
            prematurely of pre-commitments in                                  to call these partners they became very
            1999 and 2000. O'Reilly was Gardner's                              angry telling me that they were getting
            buddy from a previous life - or                                    billed net 30 days for the balance of
            company.                                                           their unpaid commitments when they
                                                                               were told by Spitzer, Steve Gardner
                                                                               and others from Peregrine at the time
                                                                               of the commitments that they did not
Also, on April 14, 1999, the Board officially adopted the
                                                                               have to pay for software that they were
use of the sell-in method of accounting. That is the Board                     unable to sell-through.
abandoned the “sell-through” method of accounting and
switched to the practice of recognizing revenue on agreements
where there was no obligation to pay-the sell-in method.
Accordingly, Peregrine would recognize revenues when it
                                                                     2. Quarters Were Improperly Kept Open
“sold” software to resellers, despite the resellers' lack of
                                                                  Peregrine engaged in other improper accounting practices to
commitments from end users to buy the product. This was
                                                                  maintain the appearance of revenue growth. Peregrine held its
the heart of Peregrine's revenue recognition fraud which led
                                                                  books open for its reporting quarters past the end of the fiscal
to the false and misleading statements issued during the class
                                                                  period, sometimes for as long as seven (7) days. By holding
period.
                                                                  open the quarters, Peregrine added additional sales into the
                                                                  affected periods to artificially inflate its reported revenue. In
To make matters worse, Peregrine could not collect on
                                                                  its restatement, Peregrine admitted this:
the accounts receivable unless sell-through to the end user
had occurred. For example, in the March/April 2000 time
period, Peregrine made an effort to collect from 20 to 25
reseller partner accounts including accounts at O-E Systems,                   In addition, Peregrine previously
Barnhill and Corporate Software. The total value of these                      recorded numerous transactions as
unpaid pre-commitments was more than $10 million. When                         revenue in a given period, although
these resellers were contacted, they expressed anger, telling                  the sales order was not completed
Peregrine collectors that they were being billed net 30 days                   until after the end of the fiscal
for the balance of their unpaid “commitments” despite the fact                 period. Revenue has been restated to
that Gardner and other executives from Peregrine had told                      record these transactions in the proper
them, at the time that the pre-commitments were made, that                     periods.
they did not have to pay for software until it was sold-through
to the end user.
                                                                  This practice of keeping the quarters open was widely known
 *7 As a former Peregrine employee who was a Director of          at Peregrine. As a former member of the Alliance Group
the ICW Group and involved in the collection effort recalled:     recalls:

                                                                    Starting in 1999, Spitzer would tell me each quarter that if
            It was Spitzer who told me directly that                I had any outstanding deals pending, that I had a few extra
            the pre-commitments had been taken                      days after the month's end in the quarter to process them -
                                                                    other Alliance managers were told the same thing.


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  Also, in 1999, it was routine at the end of a quarter to see       I remember specifically at the end of the fiscal year 2001,
  John Moores, who had an office next door to our offices            March 2001 that Andy Cahill, a senior sales manager,
  roam the halls of our building with Farley and Powanda.            wandered into Inside Sales--he knew and understood that
  Moores and the others wanted to know how the quarter               we were still working on deals for the quarter when the
  ended.                                                             quarter should have been closed.

Another former Director of the Alliance Group stated that
there were repeated occurrences where,                                3. Improper Balance Sheet Accounting
                                                                   As noted above, Peregrine booked revenue on contingent
  “We were not at the number for the quarter by the end            sales agreements. Peregrine thus accumulated funds in
  of the month and then mysteriously we would hear that            accounts receivable. This increased Peregrine's DSO. DSO
  we had made the quarter. Quarters were held open as a            represents the average number of days a company takes to
  practice each and every quarter over my six and one-half         collect on its accounts receivable. Analysts and investors then
  year tenure with the company ranging from 2-5 days after         use the DSO to assess the quality of a company's receivables
  the calender end of the quarter. It was an ongoing joke in the   and revenue.
  company and was referred to as being the 34 th or 35 th of
  the month. It got worse quarter by quarter after 2000 when       Defendants manipulated Peregrine's DSO. Specifically,
  the prevailing attitude in the company was that we had to        Gless, after consulting with Gardner, instructed Cappel
  make our quarters at all costs.”                                 to remove receivables from Peregrine's balance sheet by
                                                                   “selling” them to banks. Accordingly, at the end of each
One other former employee of Peregrine, who worked in sales        quarter, Cappel would calculate the dollar amount of
at the ICW Group, recalled:                                        receivables that had to be “sold” to banks to reach a target
                                                                   range set by Gardner and Gless for the DSO, and “sold”
                                                                   the requisite amount for cash. The receivables were then
            I can recall specifically by e-mail and                removed from Peregrine's balance sheet. This practice was
            through verbal directives coming from                  not disclosed in Peregrine's public statements, and created
            Bill Moore, Doug Powanda and Maree                     the appearance that Peregrine's customers were paying on a
            Chung, that we were going to keep                      more timely basis than they actually were. The practice also
            the quarter open for 3 days, 4 days                    concealed the contingent sales into which Peregrine entered.
            and sometimes 7 days specifically
            referring to each quarter ending in                    For example, toward the end of the quarter ending June 30,
            March 2000, June 2000, September                       1999 (first quarter of fiscal year 2000) Peregrine had “sold”
            2000 and December 2000, The relayed                    all available accounts receivable but still had not reached its
            intent was to bring in more sales so that              targeted DSO. Thus, Cappel and Gless prepared invoices for
            the company could meet its earnings                    transactions, which had not yet closed, for $12 million, and
            targets for the previous quarter....                   then sold them to banks as receivables. When some of the
                                                                   contracts ultimately did not close, Peregrine was left with a
                                                                   shortfall of several million dollars.

 *8 Another former employee, who also worked in sales,
                                                                   In June 2001, Cappel told Gless that Peregrine would miss the
recalled:
                                                                   targeted DSO for the quarter. With Gless's approval, Cappel
  Leaving the quarter open happened on a regular basis ...         created a false invoice in the amount of $19.58 million and
  it was almost on a “wink-wink” basis. It was standard            sold it to a bank. Peregrine's cash flow was thereby overstated
  operating procedure. My earliest recollection was in 2001.       and its accounts receivable were understated.
  The quarter would stay open if we had not made our
  number or if we were close to making our number - I              Peregrine also distorted and falsified its DSO and balance
  remember that quarters were left open from 2001 until            sheet by improperly accounting for cash collected from its
  when I left the company ...                                      customers. Peregrine had agreed with its banks that Peregrine
                                                                   would collect on receivables that it “sold” to the banks, and


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remit payment within a certain time. Peregrine, however,             so with respect to a $3 million receivable of Barnhill as of
would reduce its accounts receivable when it “sold” the              March 31, 2000. In a June 6, 2002 letter to the SEC, KPMG,
accounts to a bank while still retaining the monies from             Peregrine's business associate, stated that they had advised
the collections on these accounts until such time as it had          Peregrine “and its audit committee that the classification of
to pay them to its banks. When Peregrine collected from              the write offs of accounts receivable or revenue reversals
the customers whose receivables had been “sold” to banks,            recorded as an “ ‘Acquisition costs and other’ expense in
Cappel would again reduce Peregrine's accounts receivable,           [Peregrine's] statement of operations was not in accordance
thus resulting in what Cappel called a “double dip.”                 with generally accepted accounting principles.”

 *9 Peregrine also failed to include its liability to the bank for   As admitted by Peregrine in its restatement, “[m]any accounts
these “sales” and would record the cash received as its own          receivable balances arising from improperly recorded revenue
instead of holding it in trust for the bank. Peregrine would then    transactions ... were inappropriately charged to bad debt
remit the payments to the banks in the next quarter and reverse      expense, cost of acquisitions or accrued liabilities. The
the “double dip” entries. These “double dips” occurred almost        restated results reflect those transactions as reductions in
every quarter beginning in September 1999. The double dips           previously reported revenue.”
resulted in artificially reduced accounts receivable as well as
an artificial increase in Peregrine's reported cash.
                                                                        5. Understatement Of Stock Option Compensation
For example, on December 11, 2001, a Peregrine customer              Peregrine also understated the represented value of its
made an early payment of $13.8 million on a receivable which         stock option compensation by about $100 million. In its
Peregrine had sold to a bank. The customer's payment was not         restatement, Peregrine admitted:
due until February 13, 2002. Peregrine's contract required it to
                                                                       Based on Peregrine's past practice, many employee stock
receive and hold payments in trust and remit them within two
                                                                       options contained exercise prices that were below the
weeks. Instead, Peregrine did neither. As a result, its accounts
                                                                       common stock market values on the dates the options
receivable for the quarter were understated by $13.8 million
                                                                       were granted. Under APB Opinion No. 25, the Company
as was its liability to the bank.
                                                                       should have recorded compensation cost equal to the
                                                                       aggregate difference between the fair value of the stock
Peregrine's transactions with its banks did not constitute a
                                                                       and the exercise price of the options granted. The
“sale” of the receivables. Rather, these transactions were
                                                                       Company also accelerated the vesting periods for certain
nothing more than borrowings from the banks. Peregrine
                                                                       options which had previously been granted to employees.
routinely borrowed money from lenders and treated the funds
                                                                       Under FASB Interpretation No. 44, “Accounting for
as proceeds from the sale of assets as opposed to borrowings.
                                                                       Certain Transactions Involving Stock Compensation, an
The amount of the undisclosed liabilities reached up to $180
                                                                       Interpretation of APB Opinion No. 25” (“FIN 44”), the
million during the Class Period and exceeded $100 million
                                                                       acceleration of vesting of stock options after June 30, 2000
by the end of the Class Period. This significantly understated
                                                                       could cause an accounting charge for the affected options.
Peregrine's liabilities.
                                                                       The consolidated financial statements, as restated, now
                                                                       reflect the appropriate accounting for stock options.
In its restatement, Peregrine admitted that “these factoring
arrangements should have been recorded as loans instead
of sales of receivables.” Accordingly, Peregrine restated its           6. Failure To Implement And Maintain Adequate
balance sheet to reflect the accounts receivable and related            Internal Accounting Controls
bank loans. As of March 31, 2000 and 2001, Peregrine's                *10 Peregrine failed to implement and maintain adequate
undisclosed liability on these loans was approximately $90           internal accounting. According to the Complaint, Peregrine's
million and $180 million, respectively.                              accounting did not comply with The Foreign Corrupt
                                                                     Practices Act (“FCPA”), 15 U.S.C. § 78m(b)(2). FCPA was
                                                                     designed to ensure accurate record-keeping to strengthen the
   4. Concealment Of Write Off Of Receivables
                                                                     accuracy of corporate books and records.
Peregrine also violated GAAP by including the write off of
receivables in the expense category of “Acquisition costs and
other,” and in other accounts. For example, Peregrine did


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Moreover, the Complaint alleges, SEC Rule 13b-2,                  software license sales and our professional services activity
promulgated under FCPA, was enacted to: (i) assure that           in the first fiscal quarter....”
an issuer's books and records accurately and fairly reflect
its transactions and the disposition of assets, (ii) protect      All Defendants, except Savoy and Dammeyer, read and
the integrity of the independent audit of issuer financial        approved the press release. Nelson was the principal
statements that are required under the Exchange Act, and          draftsman of the press release.
(iii) promote the reliability and completeness of financial
information that issuers are required to file with the            On July 21, 1999, Peregrine management, led by Gardner,
Commission or disseminate to investors pursuant to the            held a conference call with investors and analysts. During
Exchange Act.                                                     the call, Peregrine management reported on Peregrine's
                                                                  previously released financial results for the quarter. Peregrine
To comply with the FCPA, GAAP and SEC rules, and                  management also reported that it saw strength in its product
to accomplish the objectives of accurately recording,             lines, distribution channels and geographic regions, that
processing, summarizing and reporting financial data, a           international revenues had increased 195% or 47% of total
public company is required to establish and maintain              reported revenue and that DSO finished the quarter at 76 days
adequate internal financial and accounting controls. Contrary     within Peregrine expectations.
to the requirements of the FCPA, GAAP and SEC rules,
Defendants failed to implement and maintain adequate              *11 On July 22, 1999, the brokerage firm CIBC World
internal accounting and financial controls and Arthur             Markets (“CIBC”) reported Peregrine's previously released
Andersen and AWSC had knowledge of such deficiencies.             financial results 11 and that Peregrine management had
The Complaint also alleges Peregrine's lack of adequate           indicated: “Peregrine saw strength across its product lines,
internal accounting was a “red flag” for Defendants.              distribution channels and geographies.” The report also stated
                                                                  that “International revenues soared an incredible 195% to
                                                                  make up 47% of the mix as Peregrine focused its attention
   D. The Resulting False Statements.
                                                                  on the world market” and that DSO finished the quarter at 76
Peregrine reported eleven (11) quarterly revenue increases
                                                                  days. CIBC raised its earnings estimates and rated Peregrine's
during the Class Period. Peregrine also reported annual
                                                                  stock a “strong buy.”
revenue increases for the years 2000 and 2001. These
statements appeared in press releases, SEC filings and
                                                                  11
analysts' reports. According to the Complaint, all the                   Unless otherwise noted, all analyst reports repeated
statements “were materially false and misleading because                 Peregrine's financial statements included in the
Peregrine's reported revenue was materially overstated, there            respective press release.
was no disclosure of a material change in its accounting          On July 22, 1999, First Union Capital Markets (“First Union”)
policy as applied to the first quarter of fiscal year 2000, its   also issued a report. In it, First Union repeated Peregrine's
accounts receivable were understated, its cash balances were      previously released financial results and raised its earnings
overstated, its liabilities were understated and its DSO were     estimates. First Union rated Peregrine a “buy.”
understated....” (Seee.g., Complaint ¶ 512.) The Complaint
also sets forth other reasons that are specific to some of        Peregrine's stock closed at $15.34 per share on July 22, 1999.
the statements, which will be set forth below. The alleged
misstatements from each quarter are discussed in turn.            On August 13, 1999, Peregrine filed its Form 10-Q with the
                                                                  SEC. Gless signed the 10-Q as Vice President of Finance and
                                                                  Chief Accounting Officer. The 10-Q included Peregrine's July
   1. 1st Quarter of 2000 (April 1, 1999 to June 30, 1999)
                                                                  21, 1999 press release. The 10-Q also included Peregrine's
On July 21, 1999, Peregrine issued a press release stating it
                                                                  revenue recognition policy:
had achieved “record” quarterly revenues of $51.6 million for
the first quarter of fiscal year 2000, ending June 30, 1999.
Peregrine further stated that “[o]verall results were driven by
a 131 percent increase in license revenue over the comparable
                                                                               Revenues from direct and indirect
quarter in the prior year.” Gardner was quoted: “We are
                                                                               license agreements are recognized
extremely pleased with the outstanding growth in both our


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            currently, provided that all of the                             service revenue growth to some of our
            following conditions are met: a                                 partners....
            noncancelable license agreement has
            been signed; the product has been
            delivered; there are no material
                                                               All Defendants, except Savoy and Dammeyer, read and
            uncertainties regarding customer
                                                               approved the press release. Nelson was the principal
            acceptance; collection of the resulting
                                                               draftsman of the press release.
            receivable is deemed probable; risk
            of concession is deemed remote; and
                                                               On October 20, 1999, Peregrine management, led by Gardner,
            no other significant vendor obligations
                                                               held a conference call with investors and analysts. During the
            exist. 12                                          conference, Peregrine management reported on Peregrine's
                                                               previously released financial results for the quarter. Peregrine
                                                               management also stated that they continued to see strength
All Defendants, except Savoy, read and approved the 10-Q,      for all of Peregrine's products in all geographical regions,
                                                               that Peregrine was working on a number of very large
12                                                             orders which would have a material positive impact on
       Unless otherwise noted, any further reference
       to Peregrine's revenue recognition policy is a          future revenues and earnings and that the balance sheet had
       reference to this quoted language.                      improved this quarter with $24.9 million in cash on hand.

Following the filing of the 10-Q, Defendant Gless traded        *12 On October 21, 1999, CIBC reported that Peregrine
an additional 11,250 shares and received proceeds totaling     management had indicated that Peregrine “executed
$383,750. Moreover, Defendant Gardner sold 100,000 shares      flawlessly in the quarter with strength across all product
for approximately $2,993,225 on August 4, 1999. Finally,       lines and geographies.” Management was also reported as
in mid-August, Spitzer, Powanda, Nelson, and Luddy             representing that there were a number of “mega deals” that
sold 27,500,16,250, 87,500, and 9,474 shares of Peregrine      were likely to close and which would have a “material positive
common stock respectively, while receiving gross proceeds of   impact on the top-and-bottom line in the quarter in which they
$866,250, $536,250, $2,919,870, and $307,616 respectively.     close” and that there was improvement in the balance sheet.
                                                               CIBC continued its “strong buy” rating.
   2. 2nd Quarter of 2000 (July 1, 1999 to September 30,
                                                               On October 21, 1999, First Union reported the Peregrine
   1999)
                                                               management's statements concerning the “mega deals,” and
On October 20, 1999, Peregrine issued a press release
                                                               that they were being described as between 20% to 25% of
announcing that it had achieved “record” quarterly results
                                                               a quarter's revenue. First Union again assessed Peregrine a
for the second quarter of 2000, ending September 30, 1999.
                                                               “strong buy.”
Peregrine stated the total revenues “increased 95 percent to
a record $57.8 million” from the same quarter a year ago.
                                                               Peregrine's stock closed at $20.875 per share on October 22,
Gardner was quoted:
                                                               1999.

                                                               On November 14, 1999, Peregrine filed its Form 10-Q with
            We are delighted with our continued
                                                               the SEC. Gless signed the 10-Q as Vice President of Finance
            rapid growth and with the ongoing
                                                               and Chief Financial Officer. The Form incorporated the
            development of customer demand
                                                               financial statements from the October 20, 1999 press release
            for our end-to-end Infrastructure
                                                               and Peregrine's revenue recognition policy. All Defendants
            Management solutions.... This quarter
                                                               (other than Savoy and Dammeyer) read and approved the 10-
            marked a significant maturation of our
                                                               Q.
            alliances on a global basis, leading to
            both increased software license sales
            via alliances and a shift in some                    3. 3rd Quarter of 2000 (October 1, 1999 to December
                                                                 31, 1999)



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On January 20, 2000, in a press release, Peregrine reported         CIBC continued to rate Peregrine as a “strong buy.” First
“record” quarterly results for the third quarter of fiscal year     Union also rated Peregrine a “strong buy.”
2000, ending December 31, 1999. Peregrine stated it had
achieved revenues of $67.5 million, a 67% increase from the         Peregrine's stock rose to $44.53 per share at the close of
same quarter a year ago. Gardner was quoted:                        trading on January 24, 2000.

  “[W]e had a number of large transactions and a remarkably         On February 11, 2000, Peregrine filed its Form 10-Q with the
  strong surge of both interest and initial sales from our          SEC. Gless signed the 10-Q as Vice President of Finance and
  new Get.It! and Get.Resources! employee self service and          Chief Accounting Officer. The 10-Q included the January 20,
  e-procurement products. In addition, we exceeded our              2000 press release and Peregrine's revenue recognition policy.
  expectations for the launch of our new midrange solution,         All Defendants (other than Savoy and Dammeyer) read and
  InfraCenter for Workgroups.”                                      approved the 10-Q.

All Defendants (Savoy and Dammeyer) read and approved
the press release. Nelson was the principal draftsman of the           4. 4th Quarter of 2000 (January 1, 2000 to March 31,
press release.                                                         2000) and Fiscal Year 2000
                                                                     *13 On April 26, 2000, Peregrine issued a press release,
On January 20, 2000, Peregrine management, led by                   stating it had “record” quarterly revenues of $76.3 million
Gardner, held a conference call with investors and analysts.        (a 66% increase compared with revenues in the comparable
At the conference, Peregrine management reported on                 prior year period) and “record” annual revenue of $253.3
Peregrine's previously released financial results for the           million (a 83% increase over prior year revenues). Gardner
quarter. Peregrine management also stated that customer             was quoted: “[t]he market remains strong” and “our products
acceptance of Peregrine's new Get.It! e-products far surpassed      continue to lead in their respective areas.”
expectations and that the balance sheet remained strong with
cash increasing and DSO remaining steady at an acceptable           All Defendants, except Savoy and Dammeyer, read and
level of 79 days.                                                   approved the press release. Nelson was the principal
                                                                    draftsman of the press release.
On January 21, 2000, CIBC reported “[t]he enthusiastic
reception of Peregrine's New Get.It! e-procurement products         On April 26, 2000, Peregrine management, led by Gardner,
far exceeded management's expectations, and generated $5            held a conference call with investors and analysts.
million in sales in just three weeks of release.” The report also   During the conference, Peregrine reported on Peregrine's
indicated “that the deal pipeline was more active than usual.”      previously released financial results for the quarter. Peregrine
CIBC also noted:                                                    management also stated that Peregrine had closed a very large
                                                                    order with EDS, that Peregrine had excellent visibility into the
                                                                    next quarter and that it expected a $40-$50 million revenue
             The balance sheet remained strong                      contribution from Get.It! for the year.
             this quarter, increasing $300,000 to
             $25.2 million with cash remaining at                   On April 27, 2000, CIBC reported that Peregrine management
             $0.38 per share. Accounts receivable                   had indicated:
             rose $8.5 million to $59.6 mi lion,
                                                                      Peregrine's 4Q00 results indicate that its core business
             with DSO remaining steady at 79, also
                                                                      remains strong. During the quarter, the company closed a
             within what management regards as an
                                                                      particularly large deal with EDS; the size of the deal was
             acceptable range. Deferred revenues
                                                                      not disclosed, but management implied that the company
             grew $9.8 million to $31.3 million,
                                                                      has “great visibility into the next quarter.” We regard this
             and were made up solely of customer
                                                                      as an extremely positive sign that there is no slowdown in
             support.
                                                                      Peregrine's business, which was a concern last quarter.

                                                                    The report also stated that “management comments referring
                                                                    to a $40-50 million revenue contribution from Get.It! for



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the year [which] would imply a significant ramp-up must be                     and continued to reflect customer
in store,” as well as management's indication “that it was                     recognition that Get.Resources!TM
seeing a strong rebound in mid-size deal flow ($100,000                        offers a unique lifecycle approach to
- $300,000)....” Expressing concern over possible logistical                   the e-procurement process associated
and integration difficulties associated with the acquisition of                with assets used inside our customers'
Harbinger, CIBC rated Peregrine's stock as “Hold.”                             businesses ... We were also very
                                                                               pleased to see strong performance
Peregrine's stock closed at $24.06 per share on April 28, 2000.                from our Infrastructure Management
                                                                               products, including several large
On May 10, 2000, Peregrine filed its Form 10-K with                            transactions and some key competitive
the SEC. It incorporated the financial statements that were                    wins[.]
included in the April 26, 2000 press release. The 10-K also
included Peregrine's revenue recognition policy. The 10-K
further included Arthur Andersen's unqualified audit report        All Defendants (other than Hosley and Dammeyer) read
on Peregrine's year end financial statements for the fiscal        and approved the press release. Nelson was the principal
2000. Gless, Gardner, Moores, Noell, van den Berg, Watrous         draftsman of the press release.
and Hosley signed the 10-K.
                                                                   On July 19, 2000, Peregrine management, led by defendant
On May 22, 2000, Peregrine filed Amendment No. 1                   Gardner, held a conference call with investors and analysts.
to its Form S-4 Registration Statement with the SEC.               During the conference, Peregrine management reported on
The Amendment contained a Joint Proxy Statement                    Peregrine's previously released financial results for the
and Prospectus. The Amendment solicited proxies from               quarter. Peregrine management also stated Peregrine's cash
Harbinger shareholders for approval of the proposed                position more than doubled to $70 million and that the
merger of Peregrine and Harbinger. The Joint Proxy talked          increase in accounts receivable (to $128 million) and DSO (to
about Peregrine's business, and included Peregrine's audited       122 days) was attributable to the Harbinger acquisition.
financial statements for the fiscal year 2000. The Joint Proxy
also stated that Peregrine's “selected consolidated financial      On July 20, 2000, CIBC reported Peregrine's previously
data derives from the consolidated financial statements of         released financial results. CIBC noted that Peregrine's
Peregrine Systems, Inc. and its subsidiaries,” and that “[t]hese   earnings per share of $0.10 had beaten CIBC's estimate of
financial statements have been audited by Arthur Andersen          $0.09. CIBC also reported that Peregrine management had
LLP, independent public accountants.” The Amendment/               indicated:
Registration Statement was signed by Gardner, Gless,
Moores, Cole, Hosley, Noell, van den Berg and Watrous.
Arthur Andersen and AWSC consented to the use of their                         On the balance sheet, cash more
audit report for the fiscal year 2000.                                         than doubled to $70 million from
                                                                               $34 million, which equates to $0.57
                                                                               per share, up from $0.29. Accounts
   5. 1st Quarter of 2001 (April 1, 2000 to June 30, 2000)
                                                                               receivable rose significantly to $128
 *14 On July 19, 2000, Peregrine issued a press release
                                                                               million from $70 million, with the
announcing “record” quarterly financial results for the first
                                                                               increase attributed to Harbinger. As
quarter of fiscal year 2001, ending June 30, 2000. According
                                                                               a result, days sales outstanding
to Peregrine, the results were “driven by a 95 percent increase
                                                                               rose to 122 from 82. Management
in software license revenues.” Peregrine announced that total
                                                                               indicated that it intends to address the
revenues had increased by 83% “to a record $94.3 million”
                                                                               receivables issue; consequently, DSO
from the same quarter a year ago. Gardner was quoted:
                                                                               should trend down sharply in the next
                                                                               quarter.

             Growth in the Get.It! Business
             was very strong this quarter,
                                                                   CIBC gave Peregrine's stock a “buy” rating.


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Peregrine's stock closed at $29.25 per share on July 21, 2000.
                                                                               We had a remarkable quarter of growth
On August 14, 2000, Peregrine filed its Form 10-Q with the                     in our infrastructure management
SEC. Gless signed the 10-Q as Vice President of Finance                        solutions and Get.It! employee self
and Chief Accounting Officer. The 10-Q incorporated the                        service solutions. This quarter saw
financial statements that were included in the July 19, 2000                   a large number of new products,
press release. The 10-Q also included Peregrine's revenue                      technology, and alliances come to
recognition policy. All Defendants (other than Hosley and                      fruition, further establishing the basis
Dammeyer) read and approved the 10-Q.                                          for continued growth into the future.

According to the Complaint, “[n]either the announcement
nor related SEC filings disclosed material nonpublic adverse
                                                                   All Defendants (other than Hosley and Dammeyer) read and
information, including (i) that the Company had continuing
                                                                   approved both press releases (except van den Berg with regard
concerns about its sales teams, whose productivity was at
                                                                   to the October 24, 2000 press release and Arthur Andersen
a three-year low, (ii) that its mid-size market continued
                                                                   with regard to the October 3, 2000 press release).
to seriously under performance, (iii) that it had no sales
backlog for the coming ‘always difficult’ quarter, (iv) that
                                                                   On October 24, 2000, Peregrine management, led by
it was running out of cash and could not complete a
                                                                   defendant Gardner, held a conference call with investors and
public offering because there was substantial doubt as to
                                                                   analysts. During the call, Peregrine management reported
whether the Company would meet its earnings target for the
                                                                   on Peregrine's previously released financial results for
second quarter of fiscal year 2001 ending September 30,
                                                                   the quarter. In addition, Peregrine management stated that
2000.” (Complaint ¶ 180.) The Complaint also alleges the
                                                                   Peregrine expected to be cash flow positive during the second
statements “were materially false and misleading because
                                                                   half of the year and that accounts receivable rose to $165
Peregrine's reported revenue was materially overstated, there
                                                                   million while DSO fell from 122 days to 106 days.
was no disclosure of a material change in its accounting
policy as applied to the first quarter of fiscal year 2001, its
                                                                   On October 25, 2000, CIBC issued a report, the contents of
accounts receivable were understated, its cash balances were
                                                                   which are not alleged in the Complaint, except that CIBC
overstated, its liabilities were understated and its DSO were
                                                                   rated Peregrine's stock a “buy.”
understated....” (Id. at 557.)

                                                                   Peregrine's stock closed at $23.00 per share on October 26,
   6. 2nd Quarter of 2001 (July 1, 2000 to September 30,           2000.
   2000)
 *15 On October 3, 2000, Peregrine issued a press release          On November 14, 2000, Peregrine filed its Form 10-Q with
on the second quarter of fiscal year 2001, ending September        the SEC. Gless signed the 10-Q as Vice President of Finance
30, 2000. Peregrine stated its financial results would “meet       and Chief Accounting Officer. The 10-Q incorporated the
or exceed consensus earnings per share estimates of $.11           financial statements from the October 24, 2000 press release
per share and total revenue of $142 million.” Peregrine            as well as Peregrine's revenue recognition policy.
issued another press release on October 24, 2000 announcing
“record” quarterly results for the second quarter of fiscal year   All Defendants (other than Hosley, van den Berg, and
2001, with revenues of $142.7 million. The press release           Dammeyer) read and approved the 10-Q.
noted that “[t]he record second quarter results were driven
by a 136% increase in software license revenues over the           According to the Complaint, “[n]either the announcement
comparable prior year period.” The release also noted that         nor related SEC filings disclosed material nonpublic adverse
“total revenues for the second quarter increased 147%” ...         information, including: (i) that results for the Company's mid-
compared with revenues in the comparable prior year period.        size transaction market remained extremely unsatisfactory,
In addition, Gardner was quoted:                                   (ii) that it relied on ‘huge deals,’ which were contingent,
                                                                   with alliance partners to meet its forecasts, (iii) that the
                                                                   productivity of its sales force continued to deteriorate, (iv)


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that it had to grant ‘extraordinary terms’ to get key deals
done, (v) that the Company had to ‘borrow from the future to        Internationally, Peregrine knocked the cover off the ball.
make the quarter,’ and (vi) that there was a desperate need for     License revenue increased over 37% sequentially to $40.8
cash.” (Complaint ¶ 184.)                                           million. Driving this growth were several large deals in
                                                                    the quarter in the infrastructure and e-markets groups.
                                                                    Management believes that what the company witnessed in
   7. 3rd Quarter of 2001 (October 1, 2000 to December              the quarter is quite sustainable and is shifting resources to
   31, 2000)                                                        Europe and Asia.
On January 24, 2001, Peregrine issued a press release on
its “record” quarterly financial results for the third quarter    CIBC rated Peregrine's stock a “buy.”
of fiscal year 2001. The press release stated that Peregrine
had total revenues of $156.6 million. The release also stated     Peregrine's stock rose to $29.81 per share at the closing of
that “[t]otal revenues ... climbed by 132%” compared with         trading on January 29, 2001.
revenues in the comparable prior period. Peregrine also stated
that these results were “driven by a 114% increase in software    Peregrine also filed its 10-Q with the SEC, which included
license revenues over the comparable prior year period....”       its revenue recognition policy. All Defendants (other than
Gardner was quoted: “[d]espite uncertainty and turbulence in      Hosley, van den Berg, and Dammeyer) read and approved the
the economy, particularly in the United States, we exceeded       10-Q. The Complaint is silent as to who signed the 10-Q.
our objectives for the December quarter.”
                                                                  According to the Complaint, “[n]either the announcement
All Defendants (other than Hosley, van den Berg, and              nor related SEC filings disclosed material nonpublic adverse
Dammeyer) read and approved the press release.                    information, including: (i) that the Company's direct business
                                                                  in North America was a ‘disaster,’ (ii) that the continued
On the same day, Peregrine management, led by defendant           ‘heavy reliance’ on alliance and channel partner contingent
Gardner, held a conference call with investors and analysts.      deals made its CEO ‘cautious’ concerning the future, and (iii)
During the conference, Peregrine management reported on           that the productivity of the sale force was unsatisfactory and
Peregrine's previously released financial results for the         materially below plan. In addition, the Company completed a
quarter. In addition, Peregrine management stated that the        desperately needed $270 million private convertible securities
balance sheet improved as DSOs fell to 97 days from 106 days      offering in the quarter.” (Complaint ¶ 186.)
last quarter and that Peregrine expected to make additional
progress on this front by the end of the fourth quarter.
                                                                     8. 4th Quarter of 2001 (January 1, 2001 to March 31,
The management also stated that international revenues had
                                                                     2001) and Fiscal Year 2001
increased over 37%.
                                                                  On April 4, 2001, Peregrine issued a press release on its
                                                                  revenues and earnings for the fourth quarter of fiscal year
 *16 On January 25, 2001, CIBC reported Peregrine's
                                                                  2001, ending March 31, 2001. The release stated that “[f]or
previously released financial results. It also reported that
                                                                  the fiscal fourth quarter end[ing] March 31, 2001, [Peregrine]
Peregrine management had indicated:
                                                                  expects to report license revenues of approximately $105
  During the quarter the balance sheet strengthened.              million, total revenues of approximately $170 million and
  Accounts receivables were flat at $165 million while DSOs       earnings per share of $0.16....” Gardner is quoted: “[d]espite
  fell to 97 from 106 last quarter as the company stepped         challenging economic conditions worldwide, we were able
  up its collection activities. Management expects to make        to meet our objectives for the quarter and deliver strong
  additional progress on this front and expects DSOs to fall      profitable results, the sixteenth consecutive quarter we have
  to the low 90s by the end of the fourth-quarter. Deferred       done so.” After the press release, Peregrine's stock gained
  revenue increased 22% sequentially ($15 million) to $83         $5.25 per share, closing at $19.06 per share on April 5, 2001.
  million. Management attributed the increase to some recent
  wins in its EMG operation.                                      All Defendants (other than Hosley, van den Berg, Dammeyer,
                                                                  Arthur Andersen, and AWSC) read and approved the press
                              ***                                 release.




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On April 26, 2001, Peregrine issued a press release                           which consists almost exclusively of
confirming the preliminary results it had announced on April                  service related activities (maintenance,
4. It stated that revenue for the fourth quarter of fiscal year               network usage, etc.) climbed $12
2001 was “a record $171.0 million, an increase of 124 percent                 million $14% sequentially) to $95
from the same quarter a year ago.” The press release also                     million. Cash increased in the quarter
stated that revenue totaled $564.7 million—a 123% increase                    by about $38 million to $287
from the year before. In the April 26 release, Gardner was                    million. Management attributed the
also quoted:                                                                  growth to financing activity in the
                                                                              quarter, option exercises, acquisitions
   *17 Our results this quarter in the face of challenging                    (Extricity brought some cash) as well
  economic conditions demonstrate the value of our                            as a moderate amount of cash flow
  solutions ... As we enter fiscal 2002, we remain confident                  from operations.
  in our market position and the opportunity we address ...

  We were particularly pleased with the strength of
  our sales through managed services providers and our            CIBC rated Peregrine's stock a “strong buy.”
  professional services partners. As we continue to meet
  major milestones in our corporate development and               Peregrine's stock closed at $25.78 per share on April 30, 2001.
  build our solutions portfolio, these relationships become
  increasingly important to our ability to extend our reach to    On June 29, 2001, Peregrine filed its Form 10-K with the SEC.
  new customers and markets.                                      Gless, Gardner, Moores, Noell, Watrous and Savoy signed
                                                                  the 10-K. The Form incorporated the financial statements that
Peregrine's stock closed at $25.60 per share on April 27, 2001.   appeared in the April 26, 2001 press release and Peregrine's
                                                                  revenue recognition policy.
All Defendants (other than Hosley, van den Berg, and
Dammeyer) read and approved the April 26, 2001 press              Arthur Andersen and AWSC audited Peregrine's financial
release.                                                          statements in the 10-K. The 10-K also included Arthur
                                                                  Andersen's unqualified audit report on Peregrine's fiscal 2001
On April 26, 2001, Peregrine management, led by defendant         financial statements.
Gardner, held a conference call with investors and
analysts. During the call, Peregrine management reported          On July 23, 2001, Peregrine filed Amendment No. 1
on Peregrine's previously released financial results for          to its Form S-4 Registration Statement with the SEC.
the quarter. In addition, Peregrine management stated that        The Amendment included a Joint Proxy Statement and
Peregrine met its earnings per share guidance and that key        Prospectus, the purpose of which was to solicit proxies from
balance sheet metrics improved or remained steady (such           Remedy Corporation shareholders to approve the proposed
as a cash increase of $38 million) with DSOs remaining            merger of Peregrine and Remedy. The Proxy also included
essentially flat at 95 days.                                      Peregrine's financial statements (and audit reports) for the
                                                                  previous three fiscal years. The Proxy also stated:
On April 27, 2001, CIBC reported that Peregrine management
had indicated:
                                                                              Peregrine's selected consolidated
                                                                              financial data is presented below
            Not only was the company able                                     as of March 31, 2001, 2000,
            to meet its EPS expectation, but                                  1999, 1998 and 1997 and for
            key balance sheet metrics also                                    each of the years in the five-year
            improved or held steady. Even                                     period ended March 31, 2001, and
            though accounts receivables showed                                derives from the consolidated financial
            a moderate $15 million increase in                                statements of Peregrine Systems, Inc.
            the quarter, DSOs were essentially                                and its subsidiaries, which financial
            flat at 95. Deferred revenue,                                     statements have been audited by



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             Arthur Andersen LLP, independent                                      geographic mix, and a return to
             public accountants.                                                   strength in key vertical markets).



 *18 Gardner, Gless, Moores, Savoy, Cole, Noell and                   Bear Steams gave Peregrine a “buy” rating.
Watrous signed the Amendment. The Complaint also alleges
that Arthur Andersen and AWSC agreed to the use of their              On July 25, 2001, CIBC reported that Peregrine management
audit reports for the fiscal years 2000 and 2001.                     had indicated: “Peregrine's revenues of $172 million came in
                                                                      ahead of expectations, which the Street had pegged at $165
                                                                      million.” The report also stated that “Management noted that
   9. 1st Quarter of 2002 (April 1, 2001 to June 30, 2001)            the strong verticals during the quarter were financial, telecom,
On July 24, 2001, Peregrine issued a press release on its             high tech, and government and that the mix was a return to a
financial results for the first quarter of fiscal year 2002, ending   more typical mix, after the financial vertical was very weak
June 30, 2001. Peregrine stated that revenues for the quarter         in the March quarter. Excluding acquisitions, the company
were a “record $172.0 million, an increase of 82% from the            indicated that year over year revenue growth was about 50%.”
same quarter a year ago.” Gardner was quoted: “We were                CIBC rated Peregrine a “strong buy.”
pleased to post significant top-line [revenue] growth in this
challenging economic environment[.]”                                  On July 25, 2001, U.S. Bancorp Piper Jaffray (“Piper
                                                                      Jafffay”) reported that Peregrine management had exceeded
All Defendants (other than Hosley and van den Berg) read and          the revenue expectations and that Peregrine management
approved the press release.                                           indicated “[t]he Company expects to approach DSOs of
                                                                      80-90 days in the coming quarter.” Relying on management's
The Complaint alleges that after the press release, on August         representations and Peregrine's publicly released financial
1, 2001, Luddy sold 46,981 shares of Peregrine common stock           results, Piper Jaffray rated Peregrine's stock a “strong buy.”
for a total of approximately $1,317,397.
                                                                      Peregrine stock rose to $27 per share at the close of trading
On July 24, 2001, Peregrine management, led by Gardner,               on July 26, 2001.
held a conference call with investors and analysts.
During the conference, Peregrine management reported on               On August 14, 2001, Peregrine filed its Form 10-Q with
Peregrine's previously released financial results for the             the SEC. Gless signed the 10-Q as Executive Vice President
quarter. In addition, Peregrine management stated that it was         and Chief Accounting Officer. The Form included the
comfortable with analysts projections of 30%-40% revenue              financial statements from the July 24, 2001 press release and
growth and 25%-35% earnings per share growth based on                 Peregrine's revenue recognition policy.
the strength of its business and that DSOs were 99 days and
expected to decrease in the next quarter to 80-90 days.                *19 All Defendants (Hosley and van den Berg) read and
                                                                      approved the 10-Q.
On July 24, 2001, Bear Steams & Co., Inc. (“Bear Steams”)
reported Peregrine's previously released financial results and        The Complaint further alleges that Gardner sold 2,250 shares
that Peregrine management had indicated it saw “positive              on September 4, 2001 resulting in proceeds of $61,875.
growth in Asia Pacific, Africa, and Eastern Europe.” The
report also stated:
                                                                         10. 2nd Quarter of 2002 (July 1, 2001 to September 30,
                                                                         2001)
                                                                      On October 3, 2001, Peregrine issued a press release
             In sharp contrast to the norm,
                                                                      announcing preliminary financial results for the second
             management reiterated revenue and
                                                                      quarter of fiscal year 2002, ending September 30, 2001.
             EPS guidance of 30-40% top line
                                                                      The press release stated that “Peregrine expects to report
             growth and 25-35% EPS growth for
                                                                      quarterly revenue of approximately $175 million. Based on
             the full FY02, citing strength in
                                                                      these revenues, the company expects to report net income of
             all areas of business (product mix,



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approximately $.05 per share, excluding acquisition costs and   On October 24, 2001, CIBC reported Peregrine's previously
restructuring charges.” Gardner was quoted:                     released financial results and that Peregrine management had
                                                                indicated:


            Like many companies in our industry,
            the tragic events of September 11 and                           Guidance for the remainder of this
            the subsequent effect on the global                             year and next year remain unchanged.
            economy impacted our September                                  The Company expects revenue of $450
            quarter results. However, even during                           million in the second half and a snap
            these challenging times, we were                                back in operating margins, which were
            able to generate approximately $175                             8% this quarter, vs. 17% last year.
            million in total revenue, demonstrating                         Management indicated that operations
            the strength of our product portfolio                           appeared to be returning to a more
            and the value proposition we deliver to                         normal pace after a virtual standstill
            our customers ...                                               in late September. Peregrine expects to
                                                                            finish the fiscal year with $140 million
                                                                            to $150 million in cash.

All Defendants (except Hosley, van den Berg, Arthur
Andersen and AWSC) read and approved the press release.
                                                                 *20 On October 24, 2001, Bear Steams reported Peregrine's
On October 24, 2001, in a press release, Peregrine confirmed    previously released financial results and that Peregrine
the preliminary financial results it had announced for the      management had indicated: “Management affirmed guidance
second quarter of fiscal year 2002. It also stated that total   -- we are maintaining estimates.”
revenues were a “record” $175 million, an increase of
23% from that reported in the second quarter of fiscal          On October 25, 2001, Thomas Weisel Partners (“Weisel”)
2001. According to the Complaint, “[t]he press release          reported Peregrine's previously released financial results
characterized the results as ‘disappointing relative to our     and that Peregrine management had indicated “management
original expectations,’ but made no mention of the continuing   commentary was encouraging.”
material problems afflicting Peregrine's business, including
(i) the need to collect contributions from employees to make    On October 25, 2001, Piper Jaffray reported Peregrine's
its earnings estimate for the quarter ending December 31,       previously released financial results and that Peregrine
2001 and (ii) the tight cash situation and the need to raise    management had stated that Peregrine reported revenues in
additional capital.” (Complaint ¶ 194.)                         line with expectations, finished the quarter with $142 million
                                                                in cash and DSOs for Peregrine, excluding Remedy, remained
All Defendants (other than Hosley and van den Berg) read and    essentially flat at 99 days.
approved Peregrine's October 24, 2001 press release.
                                                                CIBC, Bear Steams, Weisel and Piper Jaffray each rated
On October 24, 2001, Peregrine management, led by               Peregrine a “buy.”
defendant Gardner, held a conference call with investors
and analysts. During the conference, Peregrine management       Peregrine's stock closed at $16.46 per share on October 26,
reported on Peregrine's previously released financial results   2001.
for the quarter. In addition, Peregrine management stated
that guidance for the remainder of the current and following    On November 21, 2001, Peregrine filed its Form 10-Q with
year remain unchanged, that Peregrine expected to finish the    the SEC. Gless signed the Form 10-Q as Executive Vice
fiscal year with $140-$150 million in cash and that DSOs for    President and Chief Accounting Officer. The 10-Q included
Peregrine on a stand alone basis were 99 days and 113 days      the financial statements that appeared in the October 24, 2001
when including recently acquired Remedy.                        press release and Peregrine's revenue recognition policy. All
                                                                Defendants (other than Hosley and van den Berg) read and
                                                                approved the 10-Q.


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                                                                  that Peregrine finished the quarter with approximately $107
                                                                  million in cash.
   11. 3rd Quarter of 2002 (October 1, 2001 to December
   31, 2001)                                                       *21 On the same day, CIBC reported the “[Peregrine]
On January 2, 2002, Peregrine issued a press release              appears to be on the right track” and rated Peregrine's stock
on Peregrine's preliminary results for the third quarter of       a “buy.” Piper Jaffray and Bear Steams also rated Peregrine's
fiscal year 2002, ending December 31, 2001. The press             stock as “outperform” and “attractive,” respectively.
release stated that Peregrine anticipated total revenues of
approximately $175 million.                                       Peregrine's stock closed at $7.95 per share on January 25,
                                                                  2002.
All Defendants (other than Hosley, van den Berg, Arthur
Andersen and AWSC) read and approved the press release.           On February 14, 2002, Peregrine filed its Form 10-Q with
                                                                  the SEC. The Form was signed by Gless as Executive
On January 3, 2002, Peregrine management, led by Gardner,         Vice President and Chief Accounting Officer. The Form
held a conference call with investors and analysts. During the    incorporated the financial statements that appeared in the
conference, Peregrine management reported on Peregrine's          January 24, 2002 press release. All Defendants (other than
previously released preliminary financial results for the         Hosley and van den Berg) read and approved the 10-Q.
quarter.
                                                                  “On February 19, 2002, Peregrine announced that its Board
On the same day, CIBC, Piper Jaffray and Bear Steams all          had adopted a Stockholder Rights Plan under which Peregrine
reported Peregrine's preliminary financial results and gave       would issue a dividend of one right for each share of its
Peregrine's stock a “buy”, “outperform” and “attractive”          common stock held by stockholders of record as of the close
rating respectively.                                              of business on March 12, 2002. The press release went on to
                                                                  state, ‘[t]he plan was not adopted in response to any specific
Peregrine's stock closed at $9.40 per share on January 4, 2002.   attempt to acquire the company.’ This was a false statement,
                                                                  as the plan was adopted in specific regard to then ongoing
On January 24, 2002, in a press release, Peregrine confirmed      merger negotiations with BMC Software.” (Complaint ¶ 200.)
that revenues for the third quarter of fiscal year 2002
were $175.2 million. All Defendants (other than Hosley
and van den Berg) read and approved the press release.               E. Restatement of Peregrine's Financial Statements
“While admitting being ‘disappointed in the results,’ the         On April 5, 2002, in a press release, Peregrine announced
press release attributed the problems solely to ‘global           that it was replacing Arthur Andersen as its independent
economic weakness, particularly in Europe.’ The press             auditor with KPMG. Gardner was quoted: “we have the
release quoted Gardner as stating, ‘We are committed to           highest regard for our audit team's work ethic,” but “in light
returning to operating profitability, and we are continuing to    of the current uncertainties at Arthur Andersen [relating to
take appropriate steps to improve our revenue performance         Enron], we felt it was in the best interest of our company and
and contain our expenses.’ The press release omitted any          shareholders to retain KPMG as our independent auditors at
mention of the crisis internally at Peregrine, including          this time.”
violations of covenants on the Company's line of credit and
consideration of significant restructuring of the company's       After the close of trading on April 30, 2002, Peregrine issued
business and widespread violation of GAAP arising from            a press release announcing that it would delay the release
improper revenue recognition.” (Complaint ¶ 199.)                 of its financial results for the fourth quarter and year-end
                                                                  2002 due to the “continued audit activities by KPMG, the
On January 24, 2002, Peregrine management held a                  company's independent auditors.” The results were supposed
conference call with investors and analysts. During the           to be announced on May 2, 2002.
conference, Peregrine management reported on Peregrine's
previously released financial results for the quarter. In         Before the market opened on May 6, 2002, Peregrine issued
addition, Peregrine management stated that its DSO remained       a press release, stating: (i) the discovery of accounting
essentially flat at 100 up one day from the prior quarter and     irregularities; (ii) an internal accounting investigation; and
                                                                  (iii) the resignation of Gardner and Gless.


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                                                                   under any set of facts that could be proved consistent with
Peregrine's stock price fell approximately 67% in response         the allegations.”); Langford v. Atlantic City, 235 F.3d 845,
to this disclosure. On May 3, 2002, Peregrine stock closed         847 (3d Cir. 2000) (The issue is not “whether the plaintiffs
at $2.57 per share. On the next trading day (May 6, 2002),         will ultimately prevail” but “whether they are entitled to offer
Peregrine common stock closed at $0.89 per share on                evidence to support their claims.”); Phelps v. Kapnolas, 308
extremely heavy volume.                                            F.3d 180, 184-85 (2d Cir. 2002) (“Indeed it may appear on
                                                                   the face of the pleading that a recovery is very remote and
On May 23, 2002, Peregrine announced it would be restating         unlikely but that is not the test.”). However, it is not “proper
its financial statements for 2000 and 2001 and each of the first   to assume that [a plaintiff] can prove the facts it has not
three quarters of 2002.                                            alleged or that the defendants have violated [laws] in ways
                                                                   that have not been alleged.”Associated General California,
On September 22, 2002 Peregrine, “[c]iting the financial and       Inc. v. California State Council of Carpenters, 459 U.S. 519,
legal issues raised by the company's inability to file audited     526 (1983).
financial reports for the 2000, 2001 and 2002 fiscal years,
among other reasons,” announced in a press release that it had
filed a voluntary petition to reorganize under Chapter 11 of
                                                                                                 IV.
the U.S. Bankruptcy Code.

On February 28, 2003, Peregrine restated its financial                       CLAIMS AND LIABILITIES UNDER
statements for 2000 and 2001 and the first three quarters of                  SECTION 10(b) and RULE 10b-5.
2002 with the SEC. Peregrine admitted that it improperly
                                                                   As a preliminary matter, and as noted above, the Court
recognized more than $500 million in revenue, and that it
                                                                   has already found that Plaintiffs adequately state a Section
materially misrepresented its balance sheet and statement of
                                                                   10(b) claim against Gardner, Gless, Spitzer, and Cappel.
liabilities by understating its debt by as much as $130 million.
                                                                   (See, Court's Order dated November 21, 2003 at 78:13-14:
                                                                   The Complaint “states with adequate particularity Section
                                                                   10(b) claims against Defendants Gardner, Gless, Spitzer, and
                              III.                                 Cappel.”). Thus, the Court's discussion will be limited to the
                                                                   remaining Defendants. Determining whether Plaintiffs state a
                STANDARD OF REVIEW.                                claim under Section 10(b) against these Defendants, requires
                                                                   application of the following principles.
 *22 Defendants move to dismiss under Fed.R.Civ.P. 12(b)
(6). “A Rule 12(b)(6) motion tests the legal sufficiency of a
claim.” Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001);         A. Pleading Standards.
seealso, Neitzke v. Williams, 490 U.S. 319, 326 (1989) (“Rule
                                                                      1. Pleading Elements.
12(b)(6) authorizes a court to dismiss a claim on the basis of
                                                                   Section 10(b) is designed “to insure honest securities markets
dispositive issue of law.”). “A claim may be dismissed only
                                                                   and thereby promote investor confidence.” United States v.
if ‘it appears beyond doubt that the plaintiff can prove no set
                                                                   O'Hagan, 521 U.S. 642, 658 (1997); seealso, Affiliated Ute
of facts in support of his claim which would entitle him to
                                                                   Citizensof Utah v. United States, 406 U.S. 128, 151 (1972)
relief.’ ” Id. (Citations omitted).
                                                                   (Section 10(b) was designed “to substitute a philosophy of
                                                                   full disclosure for the philosophy of caveatemptor and thus
Under this standard, the Court's review is limited. Even
                                                                   to achieve a high standard of business ethics in the securities
if recovery is very remote and unlikely, Plaintiffs are still
                                                                   industry.”). In this regard, Section 10(b) prohibits:
entitled to offer evidence to support their claims. See, United
States v. City of Redwood City, 640 F.2d 963, 966 (1981)
(“[E]ven if the face of the pleadings indicate that recovery
                                                                                any person ... to use or employ ... any
is very remote, the claimant is still entitled to offer evidence
                                                                                manipulative or deceptive device or
to support its claims.”); seealso, Kwai Fun Wong v. U.S.,
                                                                                contrivance in contravention of such
373 F.3d 952, 969 (9th Cir. 2004) (“[A] court may dismiss
a complaint only if it is clear that no relief could be granted


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            rules and regulations as the [SEC] may               that Defendant was not required to disclose it unless his
            prescribe....                                        or her failure to do so altered a statement that Defendant
                                                                 made. See, Basic v. Levinson, 485 U.S. 224, 239 n.17
                                                                 (1988) (“Silence, absent a duty to disclose, is not misleading
15 U.S.C. § 78j(b).                                              under Rule 10b-5”); Dirks v. SEC, 463 U.S. 646 (1983)
                                                                 (Mere possession of confidential inside information is not
“Rule 10b-5 is the regulation [SEC] promulgated under            sufficient to trigger duty to disclose); Hayes v. Gross,
Section 10(b).” Nursing Home Pension Fund, Local 144 v.          982 F.2d 104, 106 (3d Cir. 1992) (“[A]n allegation of
Oracle Corp., 380 F.3d 1226, 1229 (9th Cir. 2004). “The          mismanagement on the part of a defendant will not alone
scope of Rule 10b-5 is coextensive with the coverage of §        support a claim under § 10(b) or Rule 10b-5; nor will an
10(b).” S.E.C. v. Zandford, 535 U.S. 813, 816 fn.1 (2002).       allegation that a defendant failed to disclose the existence
“[T]herefore, [the Court may at times] use § 10(b) to refer to   of mismanagement.... [H]owever, ... a complaint does allege
both the statutory provision and the Rule.” Id.                  an actionable misrepresentation if it alleges that a defendant
                                                                 was aware that mismanagement had occurred and made a
 *23 Rule 10b-5 prohibits three types of conduct. See,           material public statement about the state of corporate affairs
17 C.F.R. § 240.10b-5(a)-(c). First, under the Rule, “it is      inconsistent with the existence of the mismanagement.”); In
unlawful ... ‘[t]o employ any device, scheme, or artifice to     re Seagate Technology II Securities Litigation, 843 F.Supp.
defraud.’ ” No. 84 Employer-Teamster Joint Council Pension       1341, 1369 (N.D. Cal. 1994) (“In considering fraud-on-the-
Trust Fund v. America West Holding Corp., 320 F.3d 920, 932      market claims brought for omissions of material information,
(9th Cir. 2003), quoting17 C.F.R. § 240.10b-5(a). The Rule       it is important to note that generally, the corporation has
“further provides that it is unlawful ‘[t]o make any untrue      no affirmative duty of disclosure.”); Friedman v. Rayovac
statement of a material fact or to omit to state a material      Corp., 291 F.Supp.2d 845, 854 (W.D. Wis. 2003) (“Unless
fact necessary in order to make the statements made, in the      defendants made public statements that would be misleading
light of the circumstances under which they were made, not       in the absence of disclosure, they would not be required to
misleading.’ ” Id., quoting§ 240.10b-5(b). Lastly, the Rule      reveal any of the company's sales practices.”); Time Warner,
prohibits “any act, practice, or course of business which        Inc. Securities Litig., 9 F.3d 259, 267 (2d Cir. 1993) (“[A]
operates or would operate as a fraud or deceit upon any          [defendant] is not required to disclose a fact merely because
person....” 17 C.F.R. § 240.10b-5(c).                            a reasonable investor would very much like to know that
                                                                 fact.”). There, “even if a reasonable investor would want to
“The majority of securities fraud claims under Section           know an omitted fact, there is no duty to disclose it unless
10(b) are brought pursuant to Rule 10b-5(b) for false or         omitting it alters the meaning of a statement that was made.”
misleading statements or omissions.” In re Global Crossing,      Friedman v. Rayovac Corp., 295 F.Supp.2d at 988 (Emphasis
322 F.Supp.2d at 328. To plead a case under this provision,      original). Accordingly, the Complaint fails to state a claim
a plaintiff must allege the defendant made a materially          under Section 10(b) to the extent it merely alleges that a
false statement or omitted a material fact, with scienter, on    Defendant failed to act on, or disclose, knowing material
which the plaintiff relied and was damaged. See, Paracor         adverse information about Peregrine's accounting when that
Finance, Inc. v. General Elec. Capital Corp., 96 F.3d 1151,      Defendant never made a statement.
1157 (9th Cir. 1996). “The plaintiff must [also] prove both
actual cause (‘transaction causation’) and proximate cause       13     “There is [also] an affirmative duty of disclosure
(‘loss causation’).” Ambassador Hotel Co., Ltd. v. Wei-Chuan            if ... there is insider trading ...” In re Ford Motor Co.
Investment, 189 F.3d 1017, 1025 (9th Cir. 1999). Defendants             Securities Litigation, 184 F.Supp. 2d 626, 631-632
can, therefore, be liable for both affirmative misstatements            (E.D. Mich. 2001): U.S. v. Smith, 155 F.3d 1051,
and misleading omissions.                                               1067 (9th Cir. 1998) (“Under the ‘traditional’ or
                                                                        ‘classical theory’ of insider trading liability, § 10(b)
But, Section 10(b) and Rule 10b-5(b) do not impose a                    and Rule 10b-5 are violated when a corporate
general duty to disclose material information. Instead, under           insider trades in the securities of his corporation
Section 10(b), a duty to disclose material information only             on the basis of material, nonpublic information.”);
arises when a defendant makes a statement. 13 So, even if a             quoting, United States v. O'Hagan, 521 U.S. 642
Defendant was aware of Peregrine's accounting improprieties,            (1997). However, as the Court previously found,



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       Plaintiffs cannot state a claim based on allegations
       of insider trading. This is because Plaintiffs' case        Claims under 10b-5(a) and (c) and 10b-5(b) are distinct,
       is based on “fraud on the market” theory. See,              with distinct elements. Unlike 10b-5(b), which requires a
       Heliotrope General, Inc. v. Ford Motor Co., 189             false statement or omission, claims under 10b-5(a) and (c)
       F.3d 971, 975 (9th Cir. 1999). (Seealso, Complaint          “are not so restricted.” Affiliated Ute Citizens of Utah
       ¶ 48.) Moreover, the Complaint does not allege              v. U.S., 406 U.S. 128, 153 (1972); seealso, In re Splash
       that any of the Plaintiffs traded shares at the same        Technology Holdings, Inc. Sec. Litig., 2000 WL 1727377
       time as the Defendants. Standing to assert a duty to        at *13 (N.D. Cal. 2000) (“Whereas 10b-5(b) focuses on
       disclose extends only to contemporaneous traders            fraudulent statements, 10b-5(a) and (c) are not by their terms
       during the alleged insider trading. See, 15 U.S.C.          restricted to statements.”). Rather, subsections (a) and (c)
       § 78t-1 (Limiting standing for insider trading              of the Rule “encompass the use of ‘any device, scheme or
       claims to plaintiffs that “contemporaneously”               artifice,’ or ‘any act, practice, or course of business’ used
       bought or sold securities of the same class); In re         to perpetuate a fraud on investors.” In re Global Crossing,
       Seagate Technology II Securities Litigation, 843            322 F.Supp.2d at 336-37. Seealso, Santa Fe Industries, Inc. v.
       F.Supp. at 1370 (“Because plaintiffs here were              Green, 430 U.S. 462, 477 (1977) (“No doubt Congress meant
       not contemporaneous traders during the alleged              to prohibit the full range of ingenious devices that might be
       insider trading, they have no standing to assert the        used to manipulate securities prices”); Herman & MacLean v.
       duty to disclose imposed upon insider traders.”).           Huddleston, 459 U.S. 375, 386 (1983) (“In furtherance of its
       Therefore, the allegations in the Complaint, in             objective, § 10(b) makes it unlawful to use ‘any manipulative
       particular paragraphs 157-177, do not state a               or deceptive device or contrivance’ in connection with the
       claim and are irrelevant to the Court's analysis of         purchase or sale of any security” (Emphasis in original) );
       Defendants' liability under Section 10(b).                  Superintendent of Insurance v. Bankers Life and Casualty
                                                                   Co., 404 U.S. 6, 11 n. 7 (1971) (“ ‘[Section] 10(b) and
 *24 “However, if a defendant makes a statement on a
                                                                   Rule 10b-5 prohibit all fraudulent schemes in connection
particular issue, and that statement is false or later turns out
                                                                   with the purchase or sale of securities, whether the artifices
to be false, the defendant may be under a duty to correct
                                                                   employed involved a garden type variety of fraud, or present
any misleading impression left by the statement.” Grossman
                                                                   a unique form of deception.’ ”) (Emphasis original). “Market
v. Novell, Inc., 120 F.3d 1112, 1125 (10th Cir. 1997).
                                                                   manipulation, employment of a manipulative device, and
“Thus, if and when a speaker learns that a prior statement
                                                                   engaging in manipulative schemes such as a scheme to
was misleading when made, a duty to correct arises.” In
                                                                   artificially inflate or deflate stock prices, falsifying records
re International Business Machines Corporate Securities
                                                                   to reflect non-existent profits, and creating and distributing
Litigation, 163 F.3d 102, 109 (2nd Cir. 1998). The defendant
                                                                   false research reports favorably reviewing a company are
must, however, be “certain the recently discovered adverse
                                                                   other types of conduct prohibited by § 10(b) and Rule 10b-5
facts are accurate before making a corrective disclosure.” In
                                                                   that do not fall within the category of misleading statements
re MobileMedia Securities Litigation, 28 F.Supp.2d 901, 937
                                                                   and omissions.” In re Enron Corp. Securities, Derivative &
(D.N.J. 1998); Acito v. IMCERA Group, Inc., 47 F.3d 47,
                                                                   ERISA Litigation, 235 F.Supp.2d at 579.
52-53 (2d Cir. 1995). Plaintiffs do not assert any such claim
against any of the Defendants.
                                                                   To state a claim under these provisions, Plaintiffs must allege:
                                                                   “(1) they were injured; (2) in connection with the purchase or
Turning once again to the elements, “Section 10(b) and Rule
                                                                   sale of securities; (3) by relying on a market for securities; (4)
10b-5 are not limited to misrepresentations or omissions
                                                                   controlled or artificially affected by defendant's deceptive or
of material fact.” No. 84 Employer-Teamster Joint Council
                                                                   manipulative conduct; and (5) the defendants engaged in the
Pension Trust Fund v. America West Holding Corp., 320
                                                                   manipulative conduct with scienter.” In re Global Crossing,
F.3d 920, 937 (9th Cir. 2003); seealso, SEC v. Zandford, 535
                                                                   322 F.Supp.2d at 329. (Citations omitted). “Schemes used
U.S. at 820 (“[N]either the SEC nor this Court has ever held
                                                                   to artificially inflate the price of stocks by creating phantom
that there must be a misrepresentation about the value of a
                                                                   revenue fall squarely within” the proscribed conduct. Id. at
particular security in order to run afoul of the Act.”). Even
                                                                   337.
absent a fraudulent statement, a defendant can be liable under
subsections (a) and (c) of Rule 10b-5 for participation in a
fraudulent scheme or course of business. Id.



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 *25 While claims under 10b-5(a) and (c) and 10b-5(b) are                      the careful limits on 10b-5 recovery
distinct, there are circumstances under which they overlap--                   mandated by our earlier cases.
a scheme to publish or issue misleading statements about the
financial condition of the corporation to inflate stock prices.
Under such circumstance, a defendant may be held liable           Id. at 180 (Citations omitted).
not only under Rule 10b-5(b) for the misstatements, but also
under Rule 10b-5(a) or (c) for the scheme to publish the          14     Before Central Bank, courts uniformly allowed
statements. See, Cooper v. Pickett, 137 F.3d 616, 624-625
                                                                         aiding and abetting liability under Section 10(b).
(9th Cir. 1997) (Defendant, “through false statements to
                                                                         See, Id. at 169 (Listing cases); seealso, In re
analysts, and those analysts, by issuing reports based on
                                                                         Homestore.com, Inc. Securities Litigation, 252
statements they knew were false, together engaged in a
                                                                         F.Supp.2d 1018,1038 (C.D. Cal. 2003) (“Prior to
scheme to defraud the shareholders” under Rule 10b-5(a),
                                                                         Central Bank, the lower federal courts had nearly
and under Rule 10b-5(b) for “Merisel is liable for its
                                                                         uniformly recognized an implied right of action for
own false statements to the analysts.”). However, “[i]f the
                                                                         aiding and abetting liability under Section 10(b)
claimed fraudulent schemes or practices consisted simply
                                                                         and Rule 10b-5.”).
of misleading statements or omissions, then they would fall
entirely within the ambit of Rule 10b-5(b), and no separate       Central Bank also foreclosed a claim for conspiracy to violate
(a) and (c) actions would lie.” Swack v. Credit Suisse First      Rule 10b-5, in addition to aiding and abetting. See, e.g.,
Boston, 2004 WL 2203482 at *10 (D. Mass. 2004).                   McGann v. Ernst & Young, 95 F.3d 821, 823 (9th Cir. 1996)
                                                                  (“[T]he rationale of Central Bank precludes a private right
                                                                  of action under § 10(b) for ‘conspiracy’ liability.”); In re
   2. Primary Liability, As Opposed to Secondary, Must            GlenFed, Inc. Securities Litigation, 60 F.3d 591, 592 (9th Cir.
   be Alleged; No Conspiracy Theory.                              1995) (Same).
No matter what subsection of Rule 10b-5 Plaintiffs proceed
under, they “may not maintain an aiding and abetting suit         To be primarily liable under Rule 10b-5(b), Defendants must
under § 10(b).” Central Bank of Denver, N.A. v. First             have “substantial participation or intricate involvement” in
Interstate Bank of Denver, N.A. (“Central Bank”), 511 U.S.        the preparation of fraudulent statements “even though that
164, 191 (1994). 14 Thus, to survive dismissal, Plaintiffs        participation might not lead to the actor's actual making of the
must sufficiently allege Defendants were primary, as opposed      statements.” Howard v. Everex Systems, Inc., 228 F.3d 1057,
to secondary, violators of Section 10(b) or Rule 10b-5. Id.       1061 n.5 (9th Cir. 2000); seealso, In re Software Toolworks,
In other words, Defendants can only be held liable under          50 F.3d 615, 628-629 n.3 (9th Cir. 1994) (Accountant may
Section 10(b) or Rule 10b-5, if they themselves “employ[ed]       become a primary violator under antifraud provision of
a manipulative device or ma[d]e a material misstatement           Section 10(b) where it reviews and plays a “significant
(or omission) on which [Plaintiffs] relie[d]....” Id. at 191.     role in drafting and editing” two letters, one not identifying
Otherwise, liability would attach “when at least one element      the accounting firm, sent by the issuer client to the SEC;
critical for recovery under Section 10(b) is absent: reliance.”   a reasonable fact finder could find that the accountants
Id. at 180. As Central Bank explained:                            “as members of the drafting group, ... had access to all
                                                                  information that was available and deliberately chose to
                                                                  conceal the truth”); In re ZZZZ Best Securities Litigation,
            A plaintiff must show reliance on the                 864 F.Supp. 960, 970 (C.D. Cal. 1994) (Where accounting
            defendant's misstatement or omission                  firm was “intricately involved” in the creation of false and
            to recover under 10b-5. Were we to                    misleading documents and the “resulting deception,” it may
            allow the aiding and abetting action                  be liable as a primary violator of Section 10(b) ); Cashman v.
            proposed in this case, the defendant                  Coopers & Lybrand, 877 F.Supp. 425, 432-34 (N.D. Ill. 1995)
            could be liable without any showing                   (Primary liability maybe established against accountants
            that the plaintiff relied upon the aider              “centrally involved” in preparation of alleged false or
            and abettor's statements or actions.                  misstated information for prospectuses or promotional
            Allowing plaintiffs to circumvent the                 material issued to investors that the accounting firm certified,
            reliance requirement would disregard                  audited, prepared or reported.); McNamara v. Bre-X Minerals



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Ltd., 57 F.Supp.2d 396, 426 (E.D. Tex. 1999) (“[I]f a               ‘make[s]’ a statement so as to be liable as a primary violator
defendant played a ‘significant role’ in preparing a false          under § 10(b)”).
statement actually uttered by another, primary liability will
lie”); In re Homestore.com. Inc. Securities Litigation, 252         Turning to Rule 10b-5(a) and (c), for primary liability to
F.Supp.2d 1018, 1039 (C.D. Cal. 2003) (“[P]ersons ‘outside’         attach, “each [D]efendant [must] commit[ ] a manipulative
a corporation have been held liable as primary violators in         or deceptive act in furtherance of the scheme.” Cooper v.
private actions brought by shareholders of that corporation         Pickett, 137 F.3d at 624 (“Central Bank does not preclude
if those persons substantially and directly participated in the     liability based on allegations that a group of defendants
creation of false or misleading statements to the investing         acted together to violate the securities laws, as long as
public.”). “Allegations that [a Defendant] ‘prepared, directed      each defendant committed a manipulative or deceptive act in
or controlled,’ helped create’ or ‘materially assisted in’          furtherance of the scheme.”); seealso, In re Global Crossing,
preparing false statements” [Peregrine] issued “place [his          322 F.Supp.2d at 336; In re Enron Corp. Securities. Derivative
or her] involvement well beyond the realm of ‘aiding and            & ERISA Litigation, 235 F.Supp. 2d 549, 693 (S.D. Tex.
abetting’ liability precluded by Central Bank.” In re Global        2002) (“[U]nder Rule 10b-5(a) and (c), where a group of
Crossing, 322 F.Supp.2d at 334.                                     Defendants allegedly participated in a scheme to defraud
                                                                    the public and enrich themselves in connection with the
 *26 Defendants can also be primarily liable under Rule             purchase or sale of securities, any Defendant that itself, with
10b-5(b) if they “made misleading statements [to others]            the requisite scienter, actively employed a significant material
with the intent that [they] communicate those statements            devise, contrivance, scheme or artifice and defraud or actively
to the market.” Cooper v. Pickett, 137 F.3d 616, 624 (9th           engaged in a significant, material act, practice, or course of
Cir. 1997). “In such circumstances, it was the defendant's          business that operated as a fraud or deceit upon any person
original statement which misled investors-the person who            in connection with the purchase or sale of any security may
communicated the statement to investors served as a mere            be primarily liable”). So “a complaint alleging that more than
conduit for [the] defendant's statement.” Copland v. Grumet,        one defendant participated in a ‘scheme’ to defraud must
88 F.Supp.2d 326, 333 (D.N.J. 1999).                                allege a primary violation of § 10(b) by each defendant.” In re
                                                                    Enron Corp. Securities, Derivative & ERISA Litigation, 235
Corporate defendants, furthermore, may be directly liable           F.Supp.2d at 591.
under 10b-5(b) for providing false or misleading information
to analysts where the corporate defendant intentionally used        Although there is no secondary liability, Section 20(a) of the
the analysts to disseminate false information to the public.        1934 Act and Section 15 of the 1933 Act, impose liability
In such a case, the defendants are not charged with aiding          on persons who control those who have committed violations
and abetting or secondary liability, but rather with primary        of federal securities law. See, No. 84 Employer-Teamster
liability. Cooper v. Pickett, 137 F.3d at 624, Warshaw v. Xoma      Joint Council Pension Trust Fund v. America West Holding
Corp., 74 F.3d 955, 959 (9th Cir. 1996) (“The Complaint             Corp., 320 F.3d 920, 945 (9th Cir. 2003) (“In order to prove a
asserts that [defendant] intentionally used these third parties     prima facie case under Section 20(a), a plaintiff must prove:
to disseminate false information to the investing public. If this   (1) a primary violation of federal securities law and (2) that
is true, [defendant] cannot escape liability simply because it      the defendant exercised actual power or control over the
carried out its alleged fraud through the public statements of      primary violator.”); seealso, Hollinger v. Titan Capital Corp.,
third parties”).                                                    914 F.2d 1564, 1578 (9th Cir. 1990) (“Although § 15 is not
                                                                    identical to § 20(a), the controlling person analysis is the
Lastly, “the signing of [the company's] filing does establish       same.”). Thus, even where Plaintiffs' claims are insufficient to
that [an individual] made ‘statements’ within the meaning of        establish primary liability against a particular Defendant, they
the act and the rule.” In re Homestore.com. Inc. Sec. Litig.,       may be sufficient to state a claim for control person liability
252 F. Supp. 2d at 1033: seealso, Howard v. Everex, 228             against that Defendant. See, Central Bank, 511 U.S. at 184.
F.3d 1057, 1061-63 (9th Cir. 2000) (Finding that “signers
of documents should be held responsible for the statements
in the document ... a corporate official ... who, acting with          3. Pleading Requirements Under The Private
scienter, signs a SEC filing containing misrepresentations,            Securities Litigation Reform Act (“PSLRA”).
                                                                     *27 Plaintiffs must also comply with the PSLRA. Enacted
                                                                    in 1995, PSLRA “imposes a heightened pleading standard


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for alleging violations under the Securities Exchange Act                lead to serious injury to reputation for which our
of 1934.” In re Read-Rite Corp., 335 F.3d 843, 845-846                   legal system effectively offers no redress.” H.R.
(9th Cir. 2003); seealso, Desaigoudar v. Meyercord, 223 F.3d             Conf. Rep. 104-369 at 41. The purpose of the
1020, 1021 (9th Cir. 2000) (“[T]he PSLRA ... modified the                information and belief requirement--indeed, the
liberal, notice pleading standard found in the Federal Rules             purpose of all of the PSLRA's heightened pleading
of Civil Procedure,” such that the courts “now examine a                 requirements--was to weed out meritless lawsuits
securities fraud complaint to determine whether the plaintiff            at the pleading stage.
has complied with the more stringent pleading standards          Thus, where material misstatements or omissions are alleged
of the PSLRA.”); In re Silicon Graphics Inc. Securities          under Rule 10b-5(b), a complaint must “specify each
Litigation, 183 F.3d 970, 973 (9th Cir. 1999) (In 1995,          statement alleged to have been misleading [and] the reason
“Congress enacted PSLRA.”). 15                                   or reasons why the statement is misleading.” In re Vantive
                                                                 Corp. Securities Litigation, 283 F.3d 1079, 1085 (9th Cir.
15                                                               2002); 15 U.S.C. § 78u4(b)(1). If allegations are made on
       “The purpose of this heightened pleading
       requirement was generally to eliminate abusive            information and belief 17 , “a plaintiff must provide, in great
       securities litigation and particularly to put an end      detail, all the relevant facts forming the basis for her belief.” In
       to the practice of pleading ‘fraud by hindsight.’ ”       re Silicon Graphics Inc. Securities Litigation, 183 F.3d at 985;
       In re Vantive Corp. Securities Litigation, 283 F.3d       seealso, 15 U.S.C. § 78u4(b)(1) (“[I]f an allegation regarding
       1079, 1084-1085 (9th Cir. 2002). However, “[t]he          the statement or omission is made on information and belief,
       PSLRA was designed to eliminate frivolous or              the complaint shall state with particularity all facts on which
       sham actions, ... not actions of substance.” Nursing      that belief is formed.”).
       Home Pension Fund, Local 144 v. Oracle Corp.,
       380 F.3d 1226, 1235 (9th Cir. 2004).                      17      “Allegations are deemed to have been made
“Before the passage of the PSLRA, the pleading requirements              on information and belief until the plaintiffs
in private securities fraud litigation were governed by                  demonstrate that they have personal knowledge of
Fed.R.Civ.P. 9(b), which required only that ‘falsity’ be pled            the facts.” In re Vantive Corp. Securities Litigation,
with particularity; scienter could be averred generally. The             283 F.3d 1079, 1085 (9th Cir. 2002).
PSLRA changed the pleading requirements ... by requiring          *28 Similarly, in cases where a fraudulent scheme is alleged,
that a complaint plead with particularity both falsity and       i.e., claims under Rule 10b-5(a) and (c), a plaintiff must
scienter.” Lipton v. Pathogenesis Corp., 284 F.3d 1027, 1034     specify “what manipulative acts were performed, which
(9th Cir. 2002). 16                                              defendants performed them, when the manipulative acts were
                                                                 performed, and what effect the scheme had on the market for
16                                                               the securities at issue.”In re Global Crossing, 322 F.Supp.2d
       Specifically, the PSLRA imposes at least two
       pleading requirements on securities actions,              at 330; In re Blech Sec. Litig., 961 F.Supp. 569, 580 (S.D.N.Y.
       referred to as paragraph (b)(1) and paragraph (b)         1997).
       (2). Paragraph (b)(1) applies to securities claims
       “in which the plaintiff alleges that the defendant”       “[T]he PSLRA [also] requires that the Complaint state with
       either “made an untrue statement of a material fact”      particularity facts giving rise to a strong inference that the
       or “omitted to state a material fact.” 15 U.S.C. §        defendant acted with the required state of mind, or scienter.”
       78u-4(b)(1). Paragraph (b)(2) applies to claims “in       Nursing Home Pension Fund, Local 144 v. Oracle Corp.,
       which the plaintiff may recover money damages             380 F.3d at 1230; 15 U.S.C. § 78u-4(b)(2); seealso, In re
       only on proof that the defendant acted with a             Silicon Graphics Inc. Securities Litigation, 183 F.3d at 975
       particular state of mind.” 15 U.S.C. § 78u-4(b)           (“The ‘required state of mind’ in § 78u-4(b)(2) refers to the
       (2). The requirements of the PSLRA must be read           scienter....”); Ernst & Ernst v. Hochfelder, 425 U.S. 185, 193
       consistently with its purpose. See, Barrett v. Van        n.12 (1976) (“[T]he term ‘scienter’ refers to a mental state
       Pelt, 268 U.S. 85, 90-91(1925). Congress enacted          embracing intent to deceive, manipulate, or defraud.”).
       the information and belief pleading requirement
       because “[n]aming a party in a civil suit for fraud       This requires pleading “in great detail, facts that constitute
       is a serious matter. Unwarranted fraud claims can         strong circumstantial evidence of deliberately reckless or



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conscious misconduct.” In re Silicon Graphics Inc., 183 F.3d        Joint Council Pension Trust Fund v. America West Holding
at 974; seealso, Nursing Home Pension Fund, Local 144 v.            Corp., 320 F.3d at 945 (“In sum, although recognizing that
Oracle Corp., 380 F.3d at 1230 (“The required state of mind is      some of Plaintiffs' allegations are individually lacking, we
one of ‘deliberate recklessness.’ Recklessness only satisfies       hold that the allegations in their totality are sufficient to meet
scienter under § 10(b) to the extent that it reflects some degree   the stringent pleading standard set forth in the PLSRA.”).
of intentional or conscious misconduct.”).
                                                                     *29 “Where pleadings are not sufficiently particularized
Great detail means a plaintiff “must provide a list of              or where, taken as a whole, they do not raise a strong
all relevant circumstances in great detail.” Id. at 984.            inference of scienter, a Rule 12(b)(6) dismissal is proper.”
Deliberate recklessness, or conscious misconduct, is a “highly      Lipton v. Pathogenesis Corp., 284 F.3d at 1035; seealso, No.
unreasonable omission, involving not merely simple, or even         84 Employer-Teamster Joint CouncilPension Trust Fund v.
inexcusable negligence, but an extreme departure from the           America West Holding Corp., 320 F.3d at 931-932 (“If a
standards of ordinary care, and which presents a danger             plaintiff fails to plead either the alleged misleading statements
of misleading buyers or sellers that is either known to the         or scienter with particularity, his or her complaint must be
defendant or is so obvious that the actor must have been aware      dismissed.”).
of it.” DSAM Global Value Fund v. Altris Software, Inc., 288
F.3d 385, 389 (9th Cir. 2002). “To allege a ‘strong inference       In sum, under the PSLRA, “the [C]omplaint must contain
of deliberate recklessness,’ plaintiffs must state facts that       allegations of specific ‘contemporaneous statements or
come closer to demonstrating intent, as opposed to mere             conditions’ that demonstrate the intentional or the deliberately
motive and opportunity.” Id.; seealso, Linton v. Pathogenesis       reckless false or misleading nature of the statements when
Corp., supra, 284 F.3d at 1035 (“[P]laintiffs who plead the         made.” Ronconi v. Larkin, 253 F.3d 423, 432 (9th Cir. 2001).
required state of mind in general terms of mere ‘motive             “If a plaintiff fails to plead either the alleged misleading
and opportunity’ or ‘recklessness’ fail to meet the PSLRA's         statements or scienter with particularity, the complaint
heightened pleading requirements.”).                                must be dismissed.” In re Syncor Intern. Corp. Securities
                                                                    Litigation, 327 F.Supp.2d 1149, 1156 (C.D. Cal. 2004).
“Scienter is [the] essential element of a § 10(b) claim.”
In re Read-Rite Corp., 335 F.3d 843, 846 (9th Cir. 2003);           However, “[a]lthough pleading securities fraud after the
seealso, Lipton v. Pathogenesis Corp., 284 F.3d 1027, 1035          PSLRA can no longer be described as merely ‘notice
n.15 (9th Cir. 2002) (“Scienter is an essential element of          pleading,’ courts must be careful not to set the hurdles so
a § 10(b) or Rule 10b-5 claim.”). “In assessing whether             high that even meritorious actions cannot survive a motion
Plaintiffs have sufficiently pled scienter [the Court] must         to dismiss. Such a regime would defeat the remedial goals
consider whether the total of plaintiffs' allegations, even         of the federal securities laws.” In re PetSmart, Inc. Securities
though individually lacking, are sufficient to create a strong      Litigation, 61 F.Supp.2d 982, 988 (D. Ariz. 1999): seealso,
inference that defendants acted with deliberate or conscious        Ernst & Ernst v. Hochfelder, 425 U.S. 185, 200 (1976). In
recklessness.” Nursing Home Pension Fund, Local 144 v.              particular, whether a statement is misleading and whether
Oracle Corp., 380 F.3d at 1230; seealso, No. 84 Employer-           adverse facts are adequately disclosed are generally questions
Teamster Joint Council Pension Trust Fund v. America                that should be left to the trier of fact. See, Fecht v. Price Co.,
West Holding Corp., 320 F.3d at 932 (The Court “must                70 F.3d 1078, 1081 (9th Cir. 1995). “[O]nly if ‘reasonable
determine whether particular facts in the complaint, taken as       minds’ could not disagree that the challenged statements were
a whole, raise a strong inference that defendants intentionally     not misleading should the district court dismiss under 12(b)
or with deliberate recklessness made false or misleading            (6).” Warshaw v. Xoma Corp., 74 F.3d 955, 959 (9th Cir.
statements.”). “In determining whether a strong inference           1996).
of scienter exists, [the Court] must consider all reasonable
inferences, whether or not favorable to the plaintiff.” Id.;
seealso, Gompper v. VISX, Inc., 298 F.3d 893, 897 (9th                4. No Claim Can Be Sustained Under the Group
Cir. 2002) (Noting the “inevitable tension ... between the            Published Doctrine.
customary latitude granted the plaintiff on a [12(b)(6) ]           The “group published” or “group pleading” doctrine
motion to dismiss ... and the heightened pleading standard set      presumes that false and misleading information conveyed
forth under the PSLRA”); seealso, No. 84 Employer-Teamster          in documents, including press releases, are made by the
                                                                    collective action of the officers of the corporation. See,


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In re GlenFed. Sec. Litig., 60 F.3d 591, 593 (9th Cir.              act or omission’ sufficient to give ‘rise to a strong inference
1995) (“In cases of corporate fraud where the false                 that the defendant acted with the required state of mind,’
and misleading information is conveyed in prospectuses,             ”) (Emphasis in original). Relying, in part, on Allison v.
registration statements, annual reports, press releases, or other   Brooktree Corp., the Fifth Circuit, the first circuit court to
‘group published information,’ it is reasonable to presume          address the issue, recently found that the “group pleading”
that these are the collective actions of the officers.”). The       doctrine did not survive the PSLRA. See, Southland Secs.
doctrine thus “allows Plaintiffs to attribute statements to         Corp. v. Inspire Ins. Solutions, Inc., 365 F.3d 353, 363-366
individual defendants based upon their corporate titles, rather     (5th Cir. 2004). The Fifth Circuit concluded that group
than pleading facts that show that a defendant actually             pleading cannot be reconciled with the PSLRA's requirement
made, authored, or communicated a statement.” In re Syncor          that Plaintiffs must plead specific facts as to each act or
Intern. Corp. Securities Litigation, 327 F.Supp.2d 1149,            omission by the defendants and demonstrate that defendants
1171 (C.D. Cal. 2004). To rely upon this presumption,               possess the requisite scienter. Id. at 365. Other courts have
“plaintiffs' complaint must contain allegations that ... [the       ruled that the doctrine is no longer applicable because it is
defendant] either participated in the day-to-day corporate          inconsistent with the PSLRA's requirement that scienter must
activities or had a special relationship with the corporation,      be pleaded with particularity for each defendant. SeeCoates
such as participation in preparing or communicating group           v. Heartland Wireless Communications, Inc., 26 F.Supp.2d
information at particular times.” In re GlenFed., 60 F.3d at        910, 916 (N.D. Tex. 1998) (“It is nonsensical to require
593.                                                                that a plaintiff specifically allege facts regarding scienter
                                                                    as to each defendant, but to allow him to rely on group
Since PSLRA's enactment, courts have struggled to determine         pleading in asserting that the defendant made the statement
the continued viability of the group published doctrine. The        or omission.”).
Ninth Circuit has not decided the issue, and the district
courts are split. Compare, In re Secure Computing Corp.,            “It has also been suggested that the group-published
184 F.Supp.2d 980, 991 (N.D. Cal. 2001) (Reaffirming its            information doctrine is no longer viable because it is
finding that the group published information presumption            inconsistent with the overall spirit of the PSLRA in general,
survives the PSLRA); In re Splash Techs. Holdings, Inc.             and the PSLRA's discovery stay provision at § 78u-4(b)(3)
Sec. Litig., 2000 WL 1727377 at *24-25 n.18 (N.D. Cal.              (B) in particular.” In re Lockheed Martin Corp. Securities
2000) (Assuming that the group pleading doctrine survived           Litigation, 272 F.Supp.2d 928, 935 (C.D. Cal. 2002). “Group
the PSLRA); Stanley v. Safeskin Corp., 2000 WL 33115908             pleading arguably allows plaintiffs to name, as defendants,
at *4 (S.D. Cal. 2000) (Rejecting argument that group               people or corporations who cannot be tied by specific facts
pleading doctrine did not survive the PSLRA); withAllison v.        to allegedly false or misleading statements without discovery.
Brooktree Corp., 999 F.SUPP. 1342, 1350-51 (S.D. Cal. 1998)         But, ‘Congress clearly intended that complaints in [post-
(Ruling that the PSLRA is fundamentally inconsistent with           PSLRA] securities actions should stand or fall based on the
the group published information doctrine); In re Ashworth,          actual knowledge of the plaintiffs rather than information
Inc. Securities Litigation, 2000 WL 33176041 at *12 (S.D.           produced by the defendants after the action has been filed.’
Cal. 2000) (Same); In re Syncor Intern. Corp. Securities            ” Id., quotingMedhekar v. Linked States Dist. Court, 99 F.3d
Litigation, 327 F.Supp.2d 1149, 1172 (C.D. Cal. 2004)               325, 328 (9th Cir. 1996).
(Same).
                                                                    The group-published doctrine is also inconsistent with the
 *30 In Allison v. Brooktree Corp., this Court found that           PSLRA as it requires courts to accept a plaintiff's belief
the group-published information doctrine is inconsistent            regarding the individual liability of a corporate officer even
with the PSLRA because the doctrine allows facts to be              when the belief is based on the officer's job title alone.
presumed while “the PSLRA specifically requires that the            The doctrine could essentially be a mechanism for pleading
untrue statements or omissions be set forth with particularity      an officer's involvement in the issuance of a corporate
as to ‘the defendant.’ ” Id. at 1350 (“[T]he continued              statement based on information and belief. The PSLRA
vitality of the judicially created group-published doctrine is      permits pleading on information and belief, but, as noted
suspect since the PSLRA specifically requires that the untrue       above, only if the complaint states with particularity all
statements or omissions be set forth with particularity as to       facts on which the belief is formed. See, 15 U.S.C. §
‘the defendant’ and that scienter be plead in regards to ‘each      78u-4(b)(1). Implicit in this requirement is a mandate that



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the stated facts provide an adequate basis for the asserted           published doctrine permits an inference of wrongdoing
belief. Thus, a plaintiff can attribute to a particular defendant a   not based on Defendant's conduct, but based solely
false or misleading statement contained in a group-published          on Defendant's status as an officer or director of a
document based on information and belief as long as the               corporation. This is in contravention of the PSLRA's pleading
plaintiff satisfies the corresponding PSLRA requirements.             requirements. Under the PSLRA, “a complaint seeking to
For example, if the alleged misleading statement appears in           attribute information published by an organization to an
a press release issued by a company discussing financial              individual defendant should state, with particularity, facts
performance, a plaintiff could plead on information and belief        indicating that the individual defendant was directly involved
that the chief financial officer is responsible for making            in the preparation of the allegedly misleading statements.”
the statement if the plaintiff can plead with specificity             In re Lockheed Martin Corp. Securities Litigation, 272
why the officer's position directly involves such duties or           F.Supp.2d at 936.
why a specific corporate policy requires that chief financial
officer make such releases. Coates v. Heartland Wireless              Plaintiffs must allege facts tying each of the alleged
Communications, Inc., 26 F.Supp.2d at 916 n. 2 (Holding that          misstatements and omissions to each of the Defendants.
“[b]ecause a plaintiff can plead on the basis of information          See, In re Boeing Securities Litigation, 40 F.Supp.2d 1160,
and belief, he need not rely on group pleading.”). Under              1166 (W.D. Wash. 1998) (“[A] plaintiff must attribute the
no circumstances should the group-published information               misleading statements upon on which his claim is based to
doctrine relieve plaintiffs of their burden to plead scienter.        a particular defendant.”); In re Silicon Graphics, Inc. Sec.
See, 15 U.S.C. § 78u-4(b)(2); In re Digital Island Sec. Litig.,       Litig., 970 F.Supp. 746, 752 (N.D. Cal. 1997) (“[T]he plaintiff
223 F.Supp.2d 546, 553 (D. Del. 2002) (“[C]ourts have                 is obligated to distinguish among those they sue and enlighten
reasoned that the requirement under the PSLRA that scienter           each defendant as to his or her part in the alleged fraud.”).
be pled with particularity as to each defendant would be
rendered meaningless should group pleading survive”).
                                                                         B. Section 10(b) Liability Under Rule 10b-5(a) and (c).
 *31 Courts favoring the continued application of the group-          As noted above, subsections (a) and (c) of Rule 10b-5 prohibit
published information doctrine offer only modest support              “the use of ‘any device, scheme or artifice,’ or ‘any act,
for their positions. Some courts simply point out that the            practice, or course of business’ used to perpetuate a fraud on
doctrine has nothing to do with scienter and reaffirm the             investors.” In re Global Crossing, 322 F.Supp.2d at 336-37.
reasonableness of the doctrine's underlying presumption. See,         To state a claim under these provisions, Plaintiffs must allege:
BankAmerica Corp. Secs. Litig., 78 F.Supp.2d 976, 988 (E.D.           “(1) they were injured; (2) in connection with the purchase or
Mo. 1999) (“[T]he doctrine has nothing to do with scienter.           sale of securities; (3) by relying on a market for securities; (4)
Rather, it is a reasonable presumption that the contents              controlled or artificially affected by defendant's deceptive or
of company-published documents and press releases are                 manipulative conduct; and (5) the defendants engaged in the
attributable to officers and directors with inside knowledge of       manipulative conduct with scienter.” In re Global Crossing,
and involvement in the day-to-day affairs of the company.”).          322 F.Supp.2d at 329. (Citations omitted). Only elements (4)
At least two courts in the Ninth Circuit, including one in this       and (5) are at issue.
District, partially based their decision to continue recognizing
group pleading because the Ninth Circuit's opinion in Silicon         Manipulative conduct in Section 10(b) “connotes intentional
Graphics failed to question the enduring viability of the             or willful conduct designed to deceive or defraud investors
doctrine. See, Stanley v. Safeskin Corp., 2000 WL 33115908,           by controlling or artificially affecting the price of securities.”
at *4 (S.D. Cal. 2000) (“The Ninth Circuit in Silicon Graphics        Ernst & Ernst v. Hochfelder, 425 U.S. at 199. This includes
neither accepted nor refuted the district court's reliance on this    “practices, such as wash sales, matched orders, or rigged
doctrine.”); In re Stratosphere Corp. Sec. Litig., 1 F.Supp.2d        prices, that are intended to mislead investors by artificially
1096, 1108 (D. Nev. 1998) (Citing the defendant's failure to          affecting market activity.” Santa Fe Indust. v. Green, 430
offer case authority for the doctrine's abolition as a second         U.S. 462, 476 (1977) (Citations omitted). Courts have also
reason for its decision).                                             found that “[s]chemes used to artificially inflate the price of
                                                                      stocks by creating phantom revenue fall squarely within” the
Accordingly, to the extent Plaintiffs rely on the group               manipulative conduct proscribed under Section 10(b). In re
pleading doctrine, that reliance is rejected. The group               Global Crossing, 322 F.Supp.2d at 337. Lastly, a defendant
                                                                      could be liable under Rule 10b-5(a) or (c) for a scheme to


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publish false or misleading statements. See, Cooper v. Pickett,     that he “insisted” that Peregrine recognize revenue on a
137 F.3d 616, 624-625 (9th Cir. 1997) (Defendant, “through          contingent deal, and that he “signed” a deal involving side
false statements to analysts, and those analysts, by issuing        letters. Such allegations are insufficient to give rise to primary
reports based on statements they knew were false, together          liability under Central Bank. In In re Global Crossing, Ltd.
engaged in a scheme to defraud the shareholders” under Rule         Securities Litigation, the complaint alleged defendant had
10b-5(a), and under Rule 10b-5(b) for “Merisel is liable for        “masterminded” the improper accounting schemes “used to
its own false statements to the analysts.”).                        circumvent GAAP and inflate the Company's revenues, that
                                                                    it actively participated in structuring each swap, that it was
 *32 Here, as to the remaining Defendants, the Complaint            intimately involved in all of [the] accounting functions, and
only appears to charge Nelson and Luddy with violating Rule         that it directly participated in the creation of the misleading
10b-5(a) and (c). However, as alleged, the Complaint fails to       ‘pro forma’ numbers that concealed these practices from
state a claim against these Defendants.                             investors.” 322 F.Supp.2d at 336. The court found that
                                                                    defendant's “allegedly central role in these schemes, as their
As to Nelson, the Complaint appears to charge him with              chief architect and executor” is enough for “potential liability
“[s]chemes used to artificially inflate the price of stocks         as a primary violator under Section 10(b).” Id.; see also,
by creating phantom revenue.” In re Global Crossing, 322            SEC v. U.S. Environmental, Inc., 155 F.3d at 109 (Finding
F.Supp.2d at 337. The Court must first determine whether            primary act where defendants, among other manipulative
Nelson was a primary actor, i.e., “committed a manipulative         acts, “traded [company] shares among themselves ‘for the
or deceptive act in furtherance of the scheme.” Cooper v.           purpose of creating the appearance of an actual market for
Pickett, 137 F.3d at 624. “Those who actually ‘employ’ the          trading [company] shares’ and thus raising [the company's]
scheme to defraud investors are primary violators, while            stock price.”). No such allegations have been made here.
those who merely participate in or facilitate the scheme are
secondary violators.”In re Homestore.com, Inc. Securities            *33 The Complaint also fails to state a claim against Luddy.
Litigation, 252 F.Supp.2d at 1040. Further, “whether a              Again, the Complaint fails to allege Luddy ever engaged
defendant was a primary violator rather than an aider and           in any act proscribed under Rule 10b-5(a) and (c). The
abettor turns on the nature of his acts, not on his state of        only allegations against Luddy are that he “recommended
mind when he performed them.” In re Global Crossing. Ltd.           the commercial release to” British Telecome (“BT”) when
Securities Litigation, 322 F.Supp.2d at 330; seealso, SEC           “Peregrine was not in a position to deliver a commercially
v. U.S. Environmental, Inc., 155 F.3d at 111 (“[W]hether            viable product to BT.” (Complaint Exh. E at 16.) Under
Romano was a primary violator rather than an aider and              Central Bank and PSLRA, such allegations are insufficient
abetter turns on the nature of his acts, not on his state of mind   to state a claim. See, Cooper v. Pickett, 137 F.3d at 624 (For
when he performed them.”).                                          primary liability to attach under subdivisions (a) and (c) “each
                                                                    [Defendant [must] commit[ ] a manipulative or deceptive act
Against this backdrop, the Complaint fails to allege Nelson         in furtherance of the scheme.”); In re Global Crossing, 322
was a primary actor. The Complaint first alleges “Nelson            F.Supp.2d at 330 (For claims under Rule 10b-5(a) and (c),
was pushing to renegotiate the deal [involving Peregrine and        under PSLRA, a plaintiff must specify “what manipulative
Crossmark] in an attempt to artificially increase reported          acts were performed ... and what effect the scheme had on
revenues for the June 2001 quarter at Peregrine.” (Complaint        the market for the securities at issue.”). Accordingly, the
Exh. E at 10.) The Complaint then alleges “[i]n violation           Complaint fails to state a claim against Nelson and Luddy
of GAAP, Nelson insisted that ... Peregrine recognize the           under Rule 10b-5(a) and (c).
full [revenue for the] software license fee immediately in
the June 2001 quarter despite the fact that the transaction
was nothing more than a contingent transaction” and that              C. Section 10(b) Liability Under Rule 10b-5(b) For
Peregrine in fact did so. (Id. at 11.) The Complaint also alleges     Misleading Statements or Omissions.
Nelson “signed the agreement on behalf of Peregrine” in a           Most of the Complaint is devoted to Defendants' alleged
deal involving IBM “which gave rise to improper revenue             misstatements or omissions. As noted in Section II (D), supra,
recognition.” (Complaint Exh. E at 42-43.) Accordingly, the         Peregrine reported eleven (11) quarterly revenue increases as
only conduct alleged against Nelson is that he was somehow          well as annual revenue increases for years 2000 and 2001.
involved in the renegotiations of an alleged contingent deal,       These statements appeared in press releases, analysts' reports,
                                                                    and SEC filings. To survive dismissal, the Complaint must


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allege, with respect to each Defendant: (1) a primary act;
(2) falsity; (3) scienter; (4) reliance; and (5) causation. Only    *34 Under PSLRA, Nelson can only be held liable for press
elements (1) through (3) are at issue. Accordingly, the Court      releases following quarters one through four in 2000 and
will first determine, as alleged, which of the Defendants was      the first quarter of 2001; statements from the press releases
a primary actor with respect to: (1) Peregrine's press releases;   attributed to Gardner, cannot be imputed to Nelson or any
(2) analysts' reports; and (3) Peregrine's SEC filings. The        other Defendant.
Court will then determine whether the Complaint adequately
pleads falsity. Lastly, the Court will determine whether the       Moreover, Defendants who allegedly “read and approved”
Complaint adequately alleges scienter.                             the press releases are not primary actors. Allegations that
                                                                   a Defendant “read” and “approved” the press releases are
                                                                   insufficient to show a primary act. See, id. at 333-34; In re
  1. Primary Actors.                                               Autodesk Inc. Sec. Litig, 132 F.Supp.2d 833, 845 (N.D. Cal.
                                                                   2000) (“For claims against corporate insiders, a plaintiff must
   a. Press Releases.
                                                                   allege that the defendants were involved in the preparation
Peregrine issued press releases on its financial results at
                                                                   of the allegedly misleading statement.”); In re Rent-Way
the end of each quarter for the fiscal years 2000, 2001 and
                                                                   Securities Litigation, 209 F.Supp.2d 493, 503 (W.D. Pa.
the first three quarters of 2002. The press releases typically
                                                                   2002) (“Central Bank precludes holding PwC liable based on
would report the total revenue for the quarter, the increase
                                                                   its review and approval of Rent-Way's unaudited 1999 and
in revenue as compared to the same quarter a year ago, and
                                                                   2000 quarterly reports. Significantly, these statements were
a quote from Gardner. For example, at the end of the first
                                                                   prepared and issued solely by Rent-Way, and consequently
quarter of 2000, Peregrine issued a press release stating it
                                                                   contained no misrepresentations attributable to PwC upon
had achieved “record” quarterly revenues of $51.6 million.
                                                                   which investors could have relied.”); In re Kendall Square
Peregrine further stated that “[o]verall results were driven by
                                                                   Research Corp. Sec. Litig., 868 F.Supp. 26, 28 (D. Mass.
a 131 percent increase in license revenue over the comparable
                                                                   1994) (“Because [defendant] did not actually engage in the
quarter in the prior year.” Gardner was quoted: “We are
                                                                   reporting of the financial statements ... but merely reviewed
extremely pleased with the outstanding growth in both our
                                                                   and approved them, the statements are not attributable to
software license sales and our professional services activity
                                                                   [defendant] and thus [defendant] cannot be found liable
in the first fiscal quarter....”
                                                                   for making a material statement.”); In re Oak Tech. Sec.
                                                                   Litig., 1997 WL 448168 at *11 (N.D. Cal. 1997) (finding
The Complaint alleges some of the Defendants “read and
                                                                   allegations that members of the Audit Committee “reviewed
approved” these press releases. (See, e.g. Complaint ¶
                                                                   and approved the issuance of Oak's false financial statements”
515.) The Complaint also alleges Nelson was the “principal
                                                                   to be insufficient); Danis v. USN Communications, Inc., 121
draftsman of the press releases” up to October 2000.
                                                                   F.Supp.2d 1183, 1193 (N.D. Ill. 2000) (“Plaintiffs cannot
(Complaint ¶ 298.) Therefore, Nelson allegedly drafted the
                                                                   establish that Deloitte violated Rule 10b-5 by examining
press releases following quarters one through four in 2000 and
                                                                   USN's 1997 unaudited financial report. Aiding and abetting
the first quarter of 2001.
                                                                   fraud is not sufficient for Rule 10b-5 liability.”).

As alleged, under PSLRA and Central Bank, only Nelson is
                                                                   Accordingly, the Complaint sufficiently alleges that Nelson
a primary violator of Section 10(b) but only as to the press
                                                                   was a primary actor in that he drafted the press releases
releases following quarters one through four in 2000 and the
                                                                   following quarters one through four in 2000 and the first
first quarter of 2001. Under Central Bank, to be a primary
                                                                   quarter of 2001.
actor, a Defendant must have a “substantial participation or
intricate involvement” or “prepared, directed or controlled”,
or “materially assisted in” preparing the press releases.            b. Analysts' Statements.
Howard v. Everex Systems, Inc., 228 F.3d at 1061: In re            At the end of each quarter, Peregrine management, led by
GlobalCrossing, 322 F.Supp.2d at 334. According to the             Gardner, held a conference call with investors and analysts
Complaint, Nelson was a “principal draftsman of the press          and reported on Peregrine's performance. For example, the
releases” following quarters one through four in 2000 and          Complaint alleges, at the end of the third quarter of 2000,
the first quarter of 2001. At this stage, such allegations are     Peregrine management, led by Gardner, held a conference
sufficient.                                                        call with investors and analysts. At the conference, Peregrine


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management reported on Peregrine's previously released              liability; the complaint alleges that Merisel is liable for
financial results for the quarter. Peregrine management also        its own false statements to the analysts”). Liability may
stated that customer acceptance of Peregrine's new Get.It! e-       also attach if Defendants “put their imprimatur, express or
products far surpassed expectations and that the balance sheet      implied, on the [analysts'] projections.” In re Syntex Corp.
remained strong with cash increasing and DSO remaining              Securities Litigation, 95 F.3d 922, 934 (9th Cir. 1996):
steady at an acceptable level of 79 days.                           seealso, Allison v. Brooktree Corp., 999 F.Supp. 1342, 1349
                                                                    (S.D. Cal. 1998) (“In the context of analyst statements,
Following the conference, CIBC reported “[t]he enthusiastic         Rule 9(b) is satisfied where it is alleged ‘that the insider
reception of Peregrine's New Get.It! e-procurement products         provided misleading information to an analyst, that the
far exceeded management's expectations, and generated $5            analyst relied on this information in preparing a report and
million in sales in just three weeks of release.” The report also   that the insider somehow endorsed or approved the report
indicated “that the deal pipeline was more active than usual.”      prior to or after its publication.’ ”); PicardChemical, Inc.
CIBC also noted:                                                    Profit Sharing Plan v. Perrigo Co., 940 F.Supp. 1101, 1126
                                                                    (W.D. Mich. 1996) (“Under Rule 9(b), statements made
                                                                    originally by independent market analysts are not actionable
             The balance sheet remained strong                      unless a plaintiff can plead with particularity who among
             this quarter, increasing $300,000 to                   defendants supplied the information, how it was supplied,
             $25.2 million with cash remaining at                   and how defendants could have controlled the content of the
             $0.38 per share. Accounts receivable                   statement”). Viewed from either angle, Plaintiffs fail to state
             rose $8.5 million to $59.6 million,                    a claim for these statements.
             with DSO remaining steady at 79, also
             within what management regards as an                   Although Plaintiffs identify some statements made
             acceptable range. Deferred revenues                    during the conference call, Plaintiffs allege only that
             grew $9.8 million to $31.3 million,                    “contents of the analyst reports [were] based on
             and were made up solely of customer                    information provided [or representations made] by Peregrine
             support.                                               management.” (Complaint ¶ 530.) Plaintiffs, however, fail
                                                                    to allege any particular Defendant made any particular
                                                                    statements “with the intent that the analysts communicate
                                                                    those statements to the market.” Cooper v. Pickett, 137
 *35 CIBC continued to rate Peregrine as a “strong buy.”
                                                                    F.3d at 624; seealso, Copland v. Grumet, 88 F.Supp.2d 326,
First Union also rated Peregrine a “strong buy.”
                                                                    333 (D.N.J. 1999): c.f.In re Secure Computing Corporation
                                                                    Securities Litigation, 184 F.Supp.2d 980, 990 (N.D. Cal.
The Complaint then alleges Defendants, excluding some,
                                                                    2001) (“For each analyst statement alleged to be attributable
“either knew or were deliberately reckless in not knowing that
                                                                    to Defendants, Plaintiffs sufficiently plead the conduit theory
the financial information provided to investors and securities
                                                                    of liability. Plaintiffs allege a specific false and misleading
analysts in the ... conference call was materially false
                                                                    statement by Defendants regarding the financial status of
and misleading” and that “defendants knew that securities
                                                                    Secure, directly communicated to analysts at a specific
analysts would rely on their materially false and misleading
                                                                    place and time, followed on the very next day by analysts'
statements in writing their research reports which would be
                                                                    recommendations to buy Secure stock. These allegations
disseminated to the investing public.” (See, e.g. Complaint ¶
                                                                    identify the dates of Defendants' misleading and false
531.) As alleged, no Defendant is liable for these statements.
                                                                    statements, their locations, the speakers, the content of the
                                                                    statements, and the dates (in each case the following day),
“[C]orporate defendants may be directly liable under 10b-5
                                                                    contents and speakers of the analysts' statements. These
for providing false or misleading information to third-
                                                                    allegations are sufficient to plead liability for the analysts'
party securities analysts” if they intended “the analysts
                                                                    statements.”). Also, “[t]he courts that have considered
communicate those statements to the market.” Cooper v.
                                                                    whether a plaintiff can proceed against an individual or
Pickett, 137 F.3d at 624; seealso, id. (“Merisel is alleged
                                                                    corporate defendant based on an allegation of a statement
to have made misleading statements to the analysts with
                                                                    attributed to the corporate defendant's ‘management’ have
the intent that the analysts communicate those statements
                                                                    held such allegations are insufficient to survive a motion to
to the market. This is not aiding and abetting or secondary



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dismiss.” In re Pinnacle Systems, Inc., 2002 WL 31655187            The S-4 Registration Statements solicited proxies from
at *4 (N.D. Cal. 2002); seealso, Klein v. General Nutrition         Harbinger and Remedy shareholders regarding Peregrine's
Cos., 186 F.3d 338, 345 (3rd Cir. 1999) (Holding allegation         proposed merger with those corporations. These Statements
that corporate defendant's ‘management’ made statements             included information on Peregrine's business and Peregrine's
to analyst insufficient to survive motion to dismiss because        audited financial statements. The Harbinger proxy included
‘[t]he complaint fails to attribute the statement to any            Peregrine's financial statements for 2000, while the Remedy
specific member of [ ] management”); In re Visual Networks,         proxy included Peregrine's financial statements for 1999,
Inc. Sec. Litig., 217 F.Supp.2d 662, 668 (D. Md. 2002)              2000, and 2001. The proxies also stated that Peregrine's
(Holding allegation that ‘senior management’ made statement         “selected consolidated financial data derives from the
to analyst insufficient to survive motion to dismiss; observing     consolidated financial statements of Peregrine Systems, Inc.
‘[p]laintiffs do not point to, and the court has been unable to     and its subsidiaries,” and that “[t]hese financial statements
find, a single case where statements to analysts from ‘senior       have been audited by Arthur Andersen LLP, independent
management,’ and not named individuals, provide the basis           public accountants.” (Complaint ¶¶ 547 and 592.) According
for a PSLRA claim”).                                                to the Complaint, Arthur Andersen and AWSC consented to
                                                                    the use of the false audit reports in these Statements.
 *36 Nor have Plaintiffs alleged that any Defendant endorsed
the analysts' statements. As “Defendants never endorsed or          The Complaint alleges Nelson “was ... responsible for
adopted the statements of analysts; they never put their            drafting and filing SEC Forms 10-K and 10-Q” although it
imprimatur on the projections.” In re Syntex Corp. Securities       does not identify for which years or quarters. (Complaint
Litigation, 95 F.3d at 934. At best, as alleged, “the[ ]            ¶ 298.) The Complaint then identifies the Defendants who
statements were the culmination of a one-way flow of                signed these SEC filings:
information, from [Peregrine] representatives to analysts
and from the analysts to their customers.” Id. (Dismissing          Gless signed the 10-Q forms. The Complaint is silent,
on such allegations). Thus, Defendants “did not adopt or            however, as to who signed the 10-Q for the third quarter of
entangle [themselves] in the analysts' statements Accordingly,      2001,
Plaintiffs have failed to state a claim for liability based on
analysts' statements.” Id.; seealso, In re Miller Industries Sec.   Gless, Gardner, Moores, Noell, van den Berg, Watrous and
Litig., 12 F.Supp.2d 1323, 1329 (N.D. Ga. 1998)(“To hold a          Hosley signed the 10-K for the Fiscal Year 2000,
defendant company liable for statements made by securities
analysts, a plaintiff must show that the defendant sufficiently     Gless, Gardner, Moores, Noell, Watrous and Savoy signed 10-
entangled itself with the analysts' forecast to render the          K for the Fiscal Year 2001,
predictions attributable to the defendant,”); Elkind v. Liggett
& Meyers, Inc., 635 F.2d 156, 162 (2d Cir. 1980) (Same).            Gardner, Gless, Moores, Cole, Hosley, Noell, van den Berg
                                                                    and Waltrous signed Amendment No.1 to the S-4 Registration
                                                                    Statement on Harbinger merger proposal, and
   c. SEC Filings.
During the class period, Peregrine filed nine (9) 10-Q forms        Gardner, Gless, Moores, Savoy, Cole, Noell and Watrous
in 2000, 2001, and 2002 as well as two (2) 10-K forms               signed Amendment No.1 to the S-4 Registration Statement on
in 2000 and 2001 with the SEC. Peregrine also filed two             Remedy merger proposal.
Amendment No.1s to its S-4 Registration Statements with the
SEC regarding mergers with Harbinger and Remedy.                    As alleged, the Complaint fails to adequately allege that
                                                                    Nelson was a primary actor in that he made a statement in the
The 10-Q and 10-K forms included Peregrine's press releases         SEC filings. The Complaint merely alleges Nelson “was ...
and financial statements for the quarter preceding the filing       responsible for drafting and filing SEC Forms 10-K and 10-
and Peregrine's general revenue recognition policy. The 10-         Q.” (Complaint ¶ 298.) Such allegations are not sufficient to
K forms also included an unqualified audit report by Arthur         show a primary act on Nelson's part. Unlike other Defendants,
Andersen on Peregrine's year end financial statements for           Nelson did not sign the SEC filings. “Plaintiffs, therefore,
each respective fiscal year.                                        must allege that [Nelson] substantially participated or was
                                                                    intricately involved in preparing the statements.” In re Cylink



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Securities Litigation, 178 F.Supp.2d 1077, 1085 (N.D. Cal.          (a) eight (8) 10-Q 18 forms filed in 2000, 2001, and the
2001); seealso, Howard v. Everex Systems, Inc., 228 F.3d            first three quarters of 2002, (b) 10-K for the Fiscal Year
at 1061 n.5; Cooper v. Pickett, 137 F.3d at 624. No such            2000, (c) 10-K for the Fiscal Year 2001, (d) Amendment
allegations have been made.                                         No.1 to the S-4 Registration Statement on Harbinger merger
                                                                    proposal, and (e) Amendment No. 1 to the S-4 Registration
 *37 By contrast, any and all Defendants who signed                 Statement on Remedy merger proposal; (2) Gardner for the
these SEC filings made statements making them primary               statements in the: (a) 10-K for the Fiscal Year 2000, (b)10-
actors under Section 10(b) and Rule 10b-5. See, In re               K for the Fiscal Year 2001, (c) Amendment No.1 to the S-4
Homestore.com, Inc. Sec. Litig., 252 F. Supp. 2d at 1033            Registration Statement on Harbinger merger proposal, and
(“[T]he signing of [the company's] filing does establish that       (d) Amendment No.1 to the S-4 Registration Statement on
[an individual] made ‘statements’ within the meaning of the         Harbinger merger proposal; Moores for the statements in the:
act and the rule.”); Howard v. Everex, 228 F.3d at 1061-63          (a) 10-K for the Fiscal Year 2000, (b) 10-K for the Fiscal Year
(“[S]igners of documents should be held responsible for             2001, (c) Amendment No.1 to the S-4 Registration Statement
the statements in the document ... a corporate official ...         on Harbinger merger proposal, and (d) Amendment No.1 to
who, acting with scienter, signs a SEC filing containing            the S-4 Registration Statement on Remedy merger proposal;
misrepresentations, ‘make[s]’ a statement so as to be liable        Noell for the statements in the: (a)10-K for the Fiscal Year
as a primary violator under § 10(b).”); In re Enron Corp.           2000, (b) 10-K for the Fiscal Year 2001, (c) Amendment
Securities, Derivative & ERISA Litigation, 258 F.Supp.2d at         No.1 to the S-4 Registration Statement on Harbinger merger
587 (“A corporate official ... who on behalf of the corporation     proposal, and (d) Amendment No.1 to the S-4 Registration
signs a document that is filed with the SEC that contains           Statement on Remedy merger proposal; van den Berg for
material misrepresentations, such as a fraudulent Form 10-          the statements in the: (a) 10-K for the Fiscal Year 2000,
K, regardless of whether he participated in the drafting of the     and (b) Amendment No. 1 to the S-4 Registration Statement
document, ‘makes’ a statement and may be liable as a primary        on Harbinger merger proposal; Waltrous for the statements
violator under § 10(b) for making a false statement.”).             in the: (a)10-K for the Fiscal Year 2000, (b) 10-K for the
                                                                    Fiscal Year 2001; (c) Amendment No.1 to the S-4 Registration
Similarly, Arthur Andersen was a primary actor in issuing           Statement on Harbinger merger proposal, and (d) Amendment
unqualified audit reports on Peregrine's 2000 and 2001              No.1 to the S-4 Registration Statement on Remedy merger
financial statements, which were included in Peregrine's 10-        proposal; Hosley for the statements in the: (a) 10-K for the
Ks for 2000 and 2001. Further, Arthur Andersen, along with          Fiscal Year 2000, and (b) Amendment No.1 to the S-4; Savoy
AWSC, were primary actors for consenting to the use of their        for the statements in the: (a) 10-K for the Fiscal Year 2001,
audit reports in the two S-4 Registration Statements regarding      and (b) Amendment No.1 to the S-4 Registration Statement
Harbinger and Remedy merger proposals. See, Central                 on Remedy merger proposal; Cole for the statements in the:
Bank, 511 U.S. at 191 (“Any person or entity, including             (a) Amendment No. 1 to the S-4 Registration Statement on
a[n] accountant ... who makes a material misstatement (or           Harbinger merger proposal, and (b) Amendment No.1 to
omission) ... may be liable as a primary violator under             the S-4 Registration Statement on Remedy merger proposal;
10b-5.”); Vosgerichian v. Commodore Intern, 862 F.Supp.             Arthur Andersen for the statements in the: (a) 10-K for
1371, 1378 (E.D. Pa. 1994) (Dismissing claims against               the Fiscal Year 2000, (b) 10-K for the Fiscal Year 2001,
accountant based on misrepresentations made by client, but          (c) Amendment No.1 to the S-4 Registration Statement on
holding that accountant's unqualified opinion could be the          Harbinger merger proposal, and (b) Amendment No.1 to the
basis of primary liability); In re Kendall Square Research          S-4 Registration Statement on Remedy merger proposal; and
Corp. Sec., 868 F.Supp. 26, 28-29 (D. Mass. 1994) (Same).           AWSC for the statements in the: (a) Amendment No.1 to the
                                                                    S-4 Registration Statement on Harbinger merger proposal,
Thus, under Section 10(b) and Rule 10b-5(b), all Defendants         and (b) Amendment No.1 to the S-4 Registration Statement
who signed the SEC filings were primary actors in that they         on Remedy merger proposal.
made statements. Further, Arthur Andersen and AWSC were
primary actors in issuing, or consenting to the use of, the         18     They were actually nine (9) 10-Q forms filed with
audit reports. However, under PSLRA and Central Bank,
                                                                           the SEC. However, as noted, the Complaint is silent
each Defendant's potential liability is limited to the respective
                                                                           as to who signed the 10-Q form for the third quarter
statements they made: (1) Gless for the statements in the:
                                                                           of 2001. See, Lee v. City of Los Angeles, 250


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       F.3d 668, 688 (9th Cir. 2001) (“[W] hen the legal           fact. It is not enough that a statement is false or incomplete,
       sufficiency of a complaint's allegations is tested by       if the misrepresented fact is otherwise insignificant.” Basic
       a motion under Rule 12(b)(6), review is limited to          Inc. v. Levinson, 485 U.S. at 238; seealso, Freedman v.
       the complaint.”).                                           Louisiana-Pacific Corp., 922 F.Supp. 377, 388 (D. Or. 1996)
                                                                   (“[W]hether an omission is material and whether a statement
   d. Conclusion.                                                  is misleading are two interrelated, but separate, fact-specific
 *38 Only primary actors can be held liable under Section          inquiries”). Plaintiffs have satisfied these requirements.
10(b) and Rule 10b-5. See, Central Bank, 511 U.S. 164.
A Defendant is a primary actor under Rule 10b-5(b), if             First, Plaintiffs adequately identify each and every statement,
that Defendant had “substantial participation or intricate         including Peregrine's quarterly press releases and SEC
involvement” in the preparation of fraudulent statements           filings, they allege was misleading. The Complaint then
Howard v. Everex Systems, Inc., 228 F.3d at 1061 n.5; or           sets forth why the statements were misleading. Specifically,
“made misleading statements [to others] with the intent that       the Complaint alleges the statements omitted crucial
[they] communicate those statements to the market.” Cooper         material information regarding Peregrine's changed revenue
v. Pickett, 137 F.3d at 624; or signed the statement. See,         recognition policy, and that Peregrine falsely reported its
Howard v. Everex, 228 F.3d at 1061-63.                             accounts receivable, liabilities, DSO, and cash balances.
                                                                   (See, e.g., Complaint ¶¶ 512 and 545: The 10-Q and 10-
Against this backdrop, with respect to the press releases, only    K filings “were materially false and misleading because
Nelson was a primary actor in that he drafted them following       Peregrine's reported revenue was materially overstated, there
quarters one through four in 2000 and the first quarter of 2001.   was no disclosure of a material change in its accounting
No Defendant was a primary actor with respect to the analyst       policy as applied to the first quarter of fiscal year 2000, its
reports. As for the SEC filings, only the Defendants identified    accounts receivable were understated, its cash balances were
above in bold are primary actors.                                  overstated, its liabilities were understated, and its DSO were
                                                                   understated....”).
Accordingly, as alleged, the Complaint fails to state a
claim under Section 10(b) and Rule 10b-5 against Luddy,             *39 Plaintiffs further allege the reasons why Peregrine's
Dammeyer and Stulac. Specifically, the Complaint fails to          change in its revenue-recognition practice was fraudulent or
allege these Defendants either employed a scheme to defraud        misleading. According to the Complaint, Peregrine began
or made any statements.                                            to account for its revenues from indirect sales in a much
                                                                   more “aggressive” fashion than it previously had done by
As for the other Defendants, whether they can be held              prematurely recognizing millions in revenues and recording
liable, depends on whether the Complaint adequately alleges        revenues on software licenses to resellers even though the
falsity, scienter, causation, reliance and damages. See, Paracor   resellers were not obligated to pay for those licenses until
Finance, Inc. v. General Elec. Capital Corp., 96 F.3d 1151,        they sublicensed the product to the ultimate consumer.
1157 (9th Cir. 1996); Central Bank, 511 U.S. at 191. Only          The result, the Complaint alleges, was that Peregrine's
falsity and scienter are at issue. Each is discussed in turn,      indirect sales' figures were inflated and materially misleading.
                                                                   Plaintiffs further allege “Peregrine materially misrepresented
                                                                   its balance sheet and statement of liabilities by failing
   2. Falsity.                                                     to include significant obligations to financial institutions.
The Complaint adequately alleges the above statements-             These obligations arose out of Peregrine's undisclosed
press releases and SEC filings-were false or misleading. As        business practice of factoring substantial portions of its
mentioned above, to adequately plead falsity under PSLRA,          accounts receivable and treating those borrowings as sales
Plaintiffs must “specify each statement alleged to have been       of receivables, in violation of GAAP.” (Complaint ¶ 24.)
misleading, the reason or reasons why the statement is             Plaintiffs also allege that, in violation of GAAP, Peregrine
misleading, and, if an allegation regarding the statement or       regularly treated loans as sales of accounts receivables.
omission is made on information and belief, the complaint          This practice, Plaintiffs allege, enabled Peregrine to conceal
shall state with particularity all facts on which that belief      its contingent sales and understate its debt on financial
is formed.” 15 U.S.C. § 78u-4(b)(1). Plaintiffs “must [also]       statements and the accounts receivables on its balance sheet
show that the statements were misleading as to a material          by as much as $180 million. Understatement of its accounts



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receivables decreased Peregrine DSO, misleading investors          circumstances of the alleged fraud so that defendants can
and analysts about the quality of Peregrine's reported revenue.    prepare an adequate answer”).
Moreover, using Peregrine's actual restatements to the public,
the Complaint sets forth the representations made, what            Plaintiffs have not generally averred that the statements
financial figures were given, and what the alleged true            were misleading. Nor are the proffered reasons speculative
financial figures were. Plaintiffs have thus explicitly pled       or vague. Rather, Plaintiffs have provided reasonable
the specific material misstatements and omissions, and,            explanations as to why they believe specific statements
for each misstatement or omission, have stated why they            or omissions were false or misleading. “Properly pled,
are misleading. In essence, Plaintiffs allege that Peregrine       overstating of revenues may state a claim for securities
reported and recognized millions in revenue before it actually     fraud, under GAAP, revenue must be earned before it
earned it under GAAP, in some cases having never earned            can be recognized.” Hockey v. Medhekar, 30 F.Supp.2d
it. Plaintiffs also provide charts and figures setting forth       1209, 1216 (N.D. Cal. 1998); seealso, Provenz v. Miller,
the discrepancy between the revenues Peregrine recognized          102 F.3d 1478, 1484 (9th Cir. 1996). Plaintiffs' specific
and what it should have recognized under GAAP. Plaintiffs'         references to improper revenue recognition under the GAAP,
allegations thus “specify each statement alleged to have been      including improper balance sheet accounting on contingent
misleading, [and] the reason or reasons why the statement is       sales agreements and failure to include liabilities to banks, are
misleading.” 15 U.S.C. § 78u-4(b)(1).                              sufficiently particular, and that is all that the PSLRA requires.
                                                                   See, Queen Uno Ltd. Partnership v.Coeur D'Alene Mines
Plaintiffs also include corroborating details of the internal      Corp., 2 F.Supp.2d 1345, 1354 (D. Colo. 1998) (“Neither Rule
reports, cite to specific reports, mention the dates or contents   9(b) nor the Reform Act requires that Plaintiffs do more.”).
of reports and allege their sources of information about
the reports. In other words, Plaintiffs have alleged with          Whether Plaintiffs' explanations are accurate is not an issue
particularity statements that were false and/or misleading         at this stage. See, Mayer v. Mylod, 988 F.2d 635, 639 (6th
when made; they have also demonstrated contemporaneous             Cir. 1993) (Explaining, in reversing dismissal of a securities
facts which demonstrate the falsity of the defendants'             fraud complaint alleging deceptive corporate statements,
statements. See, In re GlenFed Sec. Litig., 42 F.3d 1541, 1548     “[w]hether the statements here were true or false is not
(9th Cir. 1994) (En banc) (A complaint may satisfy falsity         an issue to be decided under Rule 12(b)(6)”). At a later
by “pointing to inconsistent contemporaneous statements or         stage, the issue of the reasonableness of Defendants' belief
information ... which were made by or available to the             in their statements, or the accuracy of Plaintiffs' accounting
defendants.”); seealso, Glaser v. Enzo Biochem, Inc., 303          explanations, may arise again. At this stage, however, it
F.Supp.2d 724, 735 (E.D. Va. 2003) (“The Court finds that this     is simply not within the Court's purview to make such
allegation is pled with enough specificity because Plaintiffs      determinations.
provide the reasons the statement is false and state with
particularity the facts underlying the misrepresentation.”).       *40 To be sure, the Supreme Court has noted,

Plaintiffs likewise identify the substance of the false or
misleading statements and plead the corroborating details                       GAAP is not the lucid or encyclopedic
indicating how, when, and under what circumstances the                          set of pre-existing rules that [it might
statements were communicated to the public. See, In re                          be perceived] to be. Far from a single-
Secure Computing Corp. Sec. Litig., 184 F.Supp.2d 980,                          source accounting rule book, GAAP
990 (N.D. Cal. 2001). Attachments to the Complaint also                         encompasses the conventions, rules,
identify various transactions where Peregrine prematurely                       and procedures that define accepted
and improperly booked revenue. The Complaint further                            accounting practice at a particular
identifies the dates, identities of transacting third party                     point in time. GAAP changes and,
companies, the products, and the amount of the transaction.                     even at any one point, is often
Therefore, the PSLRA has clearly served its purpose by                          indeterminate. The determination that
putting the Defendants on notice of the specific misstatements                  a particular accounting principle is
and omissions that are at issue. See, Cooper v. Pickett,                        generally accepted may be difficult
137 F.3d at 627 (“Overall, the complaint identifies the



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             because no single source exists for all                  decision making.” No. 84 Employer-Teamster Joint Council
             principles.                                              Pension Trust Fund v. America West Holding Corp., 320
                                                                      F.3d 920, 934 (9th Cir. 2003) (Citations omitted). “[T]here
                                                                      must be a substantial likelihood that the disclosure of the
Shalala v. Guernsey Mem'l Hosp., 514 U.S. 87, 100 (Citation           omitted fact would have been viewed by the reasonable
omitted). Indeed, GAAP “tolerate[s] a range of ‘reasonable’           investor as having significantly altered the ‘total mix’ of
treatments, leaving the choice among alternatives to                  information made available. In other words, materiality
management.” Thor Power Tool Co. v. Comm'r, 439 U.S.                  depends on the significance the reasonable investor would
522, 544 (1979). But although financial accounting is a               place on the withheld or misrepresented information.” Id.;
“process that involves continuous judgments and estimates,”           seealso, Basic, Inc. v. Levinson, 485 U.S. 224, 231-32
it nevertheless has “as its foundation the principle of               (1988) (A fact is material if there is a substantial likelihood
conservatism, with its corollary that possible errors in              “that the disclosure of the omitted fact would have been
measurement should be in the direction of understatement              viewed by the reasonable investor as having significantly
rather than overstatement of net income and net assets.”              altered the ‘total mix’ of information made available”). All
Shalala v. Guernsey Mem'l Hosp., 514 U.S. at 100 (Citation            investing is based to some degree on investors' perceptions
omitted). “Even assuming ... [Peregrine's] accounting ...             of how the company is doing financially. Defendants would
was arguably consistent with the terms of certain specific            not be responsible if its investors' perceptions were based
accounting standards, this would not insulate [Defendants] ...        solely on Defendants' predictions about Peregrine's financial
as a matter of law from liability under securities laws,              prospects, or if Defendants disclosed the basis for Peregrine's
because under both GAAP and the securities laws, business             recognition of revenue. That is not the case, however. Rather,
entities and their accountants are required to provide whatever       the allegations are that Defendants misstated Peregrine's
additional information would be necessary to make the                 finances which formed a false basis for its investors'
statements in their financial reports fair and accurate, and          perceptions. If Peregrine's public disclosures of its financial
not misleading.” In re Global Crossing, 322 F.Supp.2d at              viability was based on fraudulent accounting or proscribed
340, citing17 C.F.R. § 230.408 (Requiring that “in addition           under GAAP, Plaintiffs justifiably relied on such disclosures
to the information expressly required to be included in a             in deciding to invest. See, Lindelow v. Hill, 2001 WL 830956
registration statement, there shall be added such further             at *3 (N.D. Ill. 2001) (“[T]he disclosure required by the
material information, if any, as may be necessary to make             securities law is measured not by literal truth, but by the
the required statements, in the light of the circumstances            ability of the material to accurately inform rather than mislead
under which they were made, not misleading.”). Plaintiffs             prospective buyers.”). If investors had been fully aware of
allege Peregrine, despite statements to the public that its           Peregrine's accounting methods, the market could better have
revenues were being recognized in accordance with GAAP,               weighed the value of the statements, and the securities would
it recognized revenue on contingent, swap, and barter                 have been appropriately priced. That is, if, as Plaintiffs allege,
transactions and did not tell the public about it. In any             Peregrine would have disclosed that its true recognition
event, again, “[w]hether or not [Peregrine's] practice of             policy and practice-Peregrine recognizing revenue before it
accounting ... was ever acceptable under the applicable               was earned under the GAAP-then such information no doubt
provisions of GAAP cannot be determined in advance of the             would “have been viewed by the reasonable investor as
development of the record. Eventual evidence on industry              having significantly altered the ‘total mix’ of information
practice or expert testimony are likely to shed light on this         made available.” Basic, Inc. v. Levinson, 485 U.S. at 231-32.
question, but at the current procedural phase, the plaintiffs'
assertion that they were not generally accepted must be taken          *41 Moreover, the alleged misrepresentations or omissions
as true.” In re Global Crossing, 322 F.Supp.2d at 339.                are “in-actionable as a matter of law only when reasonable
                                                                      minds cannot differ on the question of materiality. Whether
The Complaint also adequately alleges that the omissions              a statement is misleading and whether adverse facts are
were material. Defendants may be liable under Section 10 and          adequately disclosed are generally questions that should be
Rule 10b-5 if they made statements that a reasonable investor         left to the trier of fact.” Fecht v. Price Co., 70 F.3d 1078,
would consider in deciding whether to buy Peregrine's stock.          1081 (9th Cir. 1995); Kaplan v. Rose, 49 F.3d 1363, 1375 (9th
“[A] fact is material if there is a ‘substantial likelihood’ that a   Cir. 1994) (“ ‘[M]ateriality’ is a fact-specific issue[ ] which
reasonable investor would consider it important in his or her         should ordinarily be left to the trier of fact”). “Therefore,



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only if the adequacy of the disclosure or the materiality of        also, In re SCB Computer Technology, Inc. Sec. Litig., 149
the statement is so obvious that reasonable minds could not         F.Supp.2d 334, 357 (W.D. Tenn. 2001) (The “magnitude of an
differ are these issues appropriately resolved as a matter of       erroneous financial statement caused by allegedly fraudulent
law.”Fecht v. Price Co., 70 F.3d 1078, 1080-1081 (9th Cir.          representations, without more, cannot sustain a finding that
1995); Warshaw v. Xoma Corp., 74 F.3d 955, 959 (9th Cir.            an auditor acted with scienter.”); Reiser v. Price Water House
1996) (“[O]nly if ‘reasonable minds’ could not disagree that        Coopers LLP, 117 F.Supp.2d 1003, 1013 (S.D. Cal. 2000),
the challenged statements were not misleading should the            aff'd, 288 F.3d 385 (9th Cir. 2002).
district court dismiss under 12(b)(6).”). “Similarly, whether a
public statement is misleading, or whether adverse facts were       “[T]o establish scienter in a securities fraud case alleging
adequately disclosed is a mixed question to be decided by the       non-disclosure of potentially material facts, the plaintiff
trier of fact.” Fecht v. Price Co., 70 F.3d at 1081. Accordingly,   must demonstrate: (1) the defendant knew of the potentially
while not all investors may have considered all the alleged         material fact, and (2) the defendant knew that failure to reveal
omissions to be important in their decision making, other           the potentially material fact would likely mislead investors.”
investors could have. Id. The Complaint, therefore, sets forth      City of Philadelphia v. Fleming Companies, Inc., 264 F.3d
public statements and omissions that reasonable jurors could        1245, 1260-1261 (10th Cir. 2001). In other words, “a fact
find to be materially misleading. In sum, the Complaint             [must be] so obviously material that the defendant must
adequately alleges the existence of a fraudulent scheme             have been aware both of its materiality and that its non-
to inflate revenue by recognizing contingent, consignment,          disclosure would likely mislead investors.” Id. “[A]llegations
or even non-existent transactions as sales. This scheme             that the defendant possessed knowledge of facts that are later
culminated in the publication of false financial data in the        determined by a court to have been material, without more, is
company's publicity and SEC filings. The Court next turns           not sufficient to demonstrate that the defendant intentionally
to the allegations concerning particular Defendants and their       withheld those facts from, or recklessly disregarded the
complicity in the alleged fraud, i.e., scienter.                    importance of those facts to, a company's shareholders
                                                                    in order to deceive, manipulate, or defraud.”Id.; seealso,
                                                                    Schlifke v. Seafirst Corp., 866 F.2d 935, 946 (7th Cir. 1989)
   3. Scienter.                                                     (“The plaintiffs submit that the Bank's actual knowledge of
The Court must now determine whether, considered as a               the facts withheld amply establishes the necessary degree of
whole, the Complaint adequately pleads scienter on the part         scienter; however, this argument misconstrues the relevant
of each Defendant found to be a primary actor. See, Broudo v.       inquiry. The question is not merely whether the Bank had
Dura Pharmaceuticals, Inc., 339 F.3d 933, 940 (9th Cir. 2003)       knowledge of the undisclosed facts; rather, it is the danger
(“This court has made clear that allegations of scienter must       of misleading buyers that must be actually known or so
be collectively considered: Beyond each individual allegation       obvious that any reasonable man would be legally bound as
we also consider whether the total of plaintiffs' allegations,      knowing.”). Accordingly, allegations that a Defendant was
even though individually lacking, are sufficient to create          generally aware of facts that the Court has deemed material
a strong inference that defendants acted with deliberate or         at this stage, by itself, is not sufficient to show scienter.
conscious recklessness.”) (Emphasis in original; citations and
quotations omitted).                                                 *42 Further, “allegations that defendants should have
                                                                    anticipated future events and made certain disclosures earlier
Scienter is “a mental state embracing intent to deceive,            than they actually did do not suffice to make out a claim of
manipulate, or defraud,” which includes “recklessness.”             securities fraud.” City of Philadelphia v. Fleming Companies,
Provenz v. Miller, 102 F.3d 1478, 1490 (9th Cir. 1996) (“To         Inc., 264 F.3d 1245, 1260-1261 (10th Cir. 2001). As to
establish scienter, plaintiffs must show that defendants had        individual Defendant board or committee members, the
a mental state embracing an intent to deceive, manipulate,          Complaint must “allege specific contemporaneous conditions
or defraud. Plaintiffs can establish scienter by proving either     known to the [D]efendants that would strongly suggest
actual knowledge or recklessness.”).                                that the [D]efendants understood that their recognition of
                                                                    revenues ... would result in overstated revenues.” In re
“In and of itself, the magnitude of an erroneous financial          Vantive, 283 F.3d at 1091: seealso, Ronconi v. Larkin, 253
statement is insufficient to raise a strong inference that a        F.3d 423, 432 (9th Cir. 2001) (“[T]he [C]omplaint must
defendant acted with scienter.” In re Rent-Wav Securities           contain allegations of specific ‘contemporaneous statements
Litigation, 209 F.Supp.2d 493, 506 (W.D. Pa. 2002); see


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or conditions’ that demonstrate the intentional or the               scienter, “[t]he plaintiff must prove that ... the accounting
deliberately reckless false or misleading nature of the              judgments which were made were such that no reasonable
statements when made.”); Novak v. Kasaks, 216 F.3d 300,              accountant would have made the same decisions if confronted
308 (2nd Cir. 2000) (Allegations of recklessness include             with the same facts.”).
“defendants' knowledge of facts or access to information
contradicting their public statements” or “fact demonstrating        Against this backdrop, the Court will address the Complaint's
that defendants failed to review or check information they           allegations as to each Defendant to determine whether these
had a duty to monitor or ignored obvious signs of fraud”).           allegations by themselves, or as a whole, give rise to a strong
For example, Plaintiffs may allege “contemporaneous receipt          inference of scienter on the part of that Defendant. See, No.
of a report with information directly at odds with an alleged        84 Employer-Teamster Joint Council Pension Trust Fund v.
misrepresentation, the inference being that the conflicting          America West Holding Corp., 320 F.3d at 945 (“In sum,
data was timely read and remembered;” or “statements by              although recognizing that some of Plaintiffs' allegations are
witnesses that they told the actor the true facts before             individually lacking, we hold that the allegations in their
the false statement was made, the inference being that               totality are sufficient to meet the stringent pleading standard
the actor heard and remembered the information, saw                  set forth in the PLSRA.”). The Court's “task is ... to determine
the discrepancy, and made the statement anyway.” In re               whether the Complaint alleges facts that, if true, would,
Northpoint Communications Group, Inc., Sec. Litig., 184              by forming the basis for a strong inference, ‘convince a
F.Supp.2d 991, 997 (N.D. Cal. 2001) (Citation omitted).              reasonable person that the defendant knew a statement was
                                                                     false or misleading.’ ” City of Monroe Employees Retirement
“General allegations of defendants' ‘hands-on’ management            System v. Bridgestone Corp., ––– F.3d ––––, 2005 WL
style, their interaction with other officers and employees,          264130 at 25 (6th Cir. 2005), quoting, Adams v. Kinder-
their attendance at meetings, and their receipt of unspecified       Morgan, Inc., 340 F.3d 1083, 1105 (10th Cir. 2003).
weekly or monthly reports are [also] insufficient.” In re Daou
Systems, Inc. Securities Litigation, 397 F.3d 704, 718 (9th Cir.
2005). “However, specific admissions from top executives                a. Quarterly Review and Outlook Reports
that they are involved in every day detail of the company               Disseminated To The Board.
and that they monitored portions of the company's database            *43 The Complaint sets forth various quarterly review
are factors in favor of inferring scienter in light of improper      and outlook reports that Gardner allegedly disseminated to
accounting reports.” Id.; Nursing Home Pension Fund, Local           Peregrine's board members. (Complaint ¶¶ 137-206.) The
144 v. Oracle Corp., 380 F.3d 1226, 1234 (9th Cir. 2004) (“It        members included Moores, Nelson, Noell, Cole, Hosley,
is reasonable to infer that the Oracle executives' [admissions       van den Berg, Watrous, and Savoy. From the reports, the
of] detail-oriented management style led them to become              Complaint alleges, these Defendants learned that Peregrine's
aware of the allegedly improper revenue recognition of such          financial statements during the Class Period were false or
significant magnitude that the company would have missed             misleading.
its quarterly earnings projection but for the adjustments.”).
                                                                     The reports range from October 1998 to March 2002.
As to auditor Defendants--Arthur Andersen and AWSC--“the             Not all the reports, however, are relevant to Defendants'
mere publication of inaccurate accounting figures, or a              scienter. The Complaint charges Defendants with making
failure to follow GAAP, without more, does not establish             false or misleading statements in press releases and SEC
scienter. Rather, scienter requires more than a misapplication       filings following the end of fiscal years 2000, 2001 and
of accounting principles. The plaintiff must prove that the          the first three quarters of 2002. Therefore, Defendants'
accounting practices were so deficient that the audit amounted       alleged false or misleading statements first occurred on
to no audit at all, or an egregious refusal to see the obvious, or   July 21, 1999, when Peregrine issued its first press release,
to investigate the doubtful, or that the accounting judgments        and ended on February 14, 2002, when Peregrine filed
which were made were such that no reasonable accountant              its Form 10-Q for the third quarter of fiscal year 2002
would have made the same decisions if confronted with the            with the SEC. Further, as for the Defendants found to
same facts.” DSAM Global Value Fund v. Altris Software,              be primary actors, the latest statement attributed to them
Inc., 288 F.3d at 390; seealso, In re Worlds of Wonder Sec.          is Amendment No.1 to Peregrine's Form S-4 Registration
Litig., 35 F.3d 1407, 1426 (9th Cir. 1994) (In establishing          Statement regarding the Remedy merger. This statement was
                                                                     filed on July 23, 2001. Thus, only the reports that were issued


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on or before July 23, 2001 are relevant to a Defendant's
scienter. See, Ronconi v. Larkin, 253 F.3d at 432 (To show                (ii) Farley's April 1999 Meeting With The Board Of
scienter, “the complaint must contain allegations of specific             Directors.
‘contemporaneous statements or conditions’ that demonstrate             *44 The Complaint alleges that on April 14, 1999,
the intentional or the deliberately reckless false or misleading       Peregrine's “[t]hen Chief Financial Officer Farley presented
nature of the statements when made.”); Yourish v. California           to the Board the issue of whether to apply the more
Amplifier, 191 F.3d 983, 997 (9th Cir. 1999) (“It is clearly           aggressive sell-in method rather than the sell-through method
insufficient for plaintiffs to say that a later, sobering revelation   of accounting to the Company's channel sales.” (Complaint
makes an earlier, cheerier statement a falsehood.”); Osher v.          ¶ 143.) Farley, the Complaint alleges, “explained that it was
JNI Corp., 256 F.Supp.2d at 1159 (Defendant “allegedly made            only by using the sell-in method, that the Company would
false statements during the conference call on October 16,             meet its financial goals for the prior quarter (the fourth quarter
2000. It seems, however, that the ‘Sxxx’ email was circulated          of fiscal year 1999), which had ended three weeks earlier. He
after the alleged false statements. Thus, the email does not           [also] warned that, without adopting the new approach, the
necessarily establish that the fourth quarter was ‘not looking         Company would fail to meet stock market expectations.” (Id.
so great’ on October 16, 2000.”); In re Global Crossing, 322           ¶ 144.) According to the Complaint, Farley then “informed
F.Supp.2d at 346 (“[D]efendants cannot be held liable for              the ... Board” that the “sell-in [method] was not the ‘preferred
failing to anticipate future events....”); In re Homestore.com,        method.’ ” (Id. ¶¶ 8 and 9.) The Complaint then alleges,
Inc. Securities Litigation, 347 F.Supp.2d 769, 781 (C.D. Cal.          “[Defendants] then serving on the Board [Gardner, Moores,
2004) (“[T]he Court finds that these emails clearly relate to          Nelson, Noell, Cole, Hosley, van den Berg, and Watrous] ...
a transaction between AOL and Homestore during a time                  approved the use of the sell-in method of accounting.” (Id.
period in question in this case.”). With this limitation, the          ¶ 8.) As alleged, this meeting did not give rise to a strong
reports are discussed in turn.                                         inference of scienter on the part of any Defendant.

                                                                       According to the Complaint, in applying the “sell-in” method
   (i) October 1998 Report to Board of Directors.                      of accounting, Peregrine began to record or recognize revenue
The Complaint alleges in a “report dated October 1998,                 on contingent transactions in violation of GAAP. (Complaint
Gardner advised the Board members that with respect to                 ¶ 8 and 134: “As applied to channel sales, the sell-in method
channel sales there had been Tots of smoke, little fire,’ and          resulted in revenue recognition when software product was
revenue from channel sales was ‘absent.’ Gardner advised               delivered to the channel partner and thereby ‘sold into’ the
Board members that ‘We are going to move Channels under                distribution channel. Under GAAP, the channel partner was
Worldwide Sales and Marketing, focus on 3 relationships and            obligated to have a binding commitment from a third party
make it happen. This change will be made in the next few               to purchase the software at the time of delivery in order for
weeks....’ ” (Complaint ¶ 137.) This report does not raise             there to be proper revenue recognition under GAAP”). Also,
a strong inference of scienter. The Defendants are charged             according to the Complaint “by applying the more aggressive
with issuing false or misleading financial statements for              sell-in method for the prior quarter [fourth quarter of 1999],
the fiscal years 2000, 2001 and part of 2002. To establish             the Company would meet revenue expectations only by
scienter, Plaintiffs must “specifically allege[ ] [D]efendants'        cutting into revenue for the coming first quarter of fiscal year
knowledge of facts or access to information contradicting              2000 ending June 30, 1999.” (Id. ¶ 146.) However, there are
their public statements.” Novak, 216 F.3d at 308 The report            no allegations that, during the meeting, Defendants learned,
does not make any reference to revenue earned in these years.          or were otherwise informed, that the application of the “sell-
It simply speaks of Peregrine's general business, including            in” method would result in such consequences. That is the
sales planning and marketing strategy. It neither suggests, nor        Complaint “fails to allege” that from the meeting Defendants
provides any information, that Peregrine was engaged or was            learned any information “that would strongly suggest that the
going to engage in improper revenue recognition. See, In re            [D]efendants understood that their recognition of revenues”
NAHC Securities Litigation, 2001 WL 1241007 at *19 (E.D.               based on the sell-in method “would result in overstated
Pa. 2001) (“Where plaintiffs contend that the defendants had           revenues” during the Class Period. In re Vantive Corp.
access to contrary facts, they must specifically identify ...          Securities Litigation, 283 F.3d at 1091. At best, the allegations
statements containing this information.”).                             suggest that Defendants were informed that the application of
                                                                       the “sell-in” method somehow permitted Peregrine to meet
                                                                       its “financial goals” for the fiscal year 1999, which is not


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part of the Class Period. Similarly, although the Complaint         was not entitled to recognize revenue on [a] contract during
alleges Defendants were informed that the “sell-in” method          the fourth quarter of 1998”; the complaint must “clarify the
was “not” the “preferred method”, it fails to also allege that      precise reasons why [defendant] was not entitled to recognize
the method per se violated GAAP.                                    revenue on the ... contract during the fourth quarter of 1998.”);
                                                                    Coble v. Broadvision Inc., 2002 WL 31093589 at *8 (N.D.
To be sure, Peregrine's failure to disclose that its revenues       Cal. 2002) (“The mere fact that BroadVision sold products
were derived from the sell-in method made its financial             to Hewlett-Packard which Hewlett-Packard had not already
statements materially misleading. However, as noted above,          sold to end users is wholly insufficient to support a strong
“allegations that the defendant possessed knowledge of              inference, or even anything more than a weak inference,
facts that are later determined by a court to have been             of scienter. The allegations as to ‘creative revenue deals’
material, without more, is not sufficient to demonstrate that       are too vague and non-specific to support any reasonable
the defendant intentionally withheld those facts from, or           inference in favor of plaintiffs.”). “Allegations of a violation
recklessly disregarded the importance of those facts to, a          of GAAP provisions ..., without corresponding fraudulent
company's shareholders in order to deceive, manipulate, or          intent, are not sufficient to state a securities fraud claim.”
defraud.” City of Philadelphia v. Fleming Companies, Inc.,          Chill, 101 F.3d at 270. Reckless conduct or scienter in a
264 F.3d at 1260-1261; seealso, Schlifke v. Seafirst Corp.,         Section 10(b) claim “represents an extreme departure from
866 F.2d 935, 946 (7th Cir. 1989) (“The plaintiffs submit           the standards of ordinary care ... to the extent that the
that the Bank's actual knowledge of the facts withheld amply        danger was either known to the defendant or so obvious that
establishes the necessary degree of scienter; however, this         the defendant must have been aware of it.” Id. at 269. A
argument misconstrues the relevant inquiry. The question            “complaint alleging accounting irregularities fails to raise a
is not merely whether the Bank had knowledge of the                 strong inference of scienter if it alleges no facts to show that
undisclosed facts; rather, it is the danger of misleading buyers    Defendants knew or could have known of the errors, or that
that must be actually known or so obvious that any reasonable       their regular accounting procedures should have alerted them
man would be legally bound as knowing.”). Rather, the               to the errors sooner than they actually did.” Fidel v. Farley,
Complaint must allege a Defendant both: “(1) ... knew of            392 F.3d 220, 230 (6th Cir. 2004). “The assumption that
the potentially material fact, and (2) ... that failure to reveal   [Defendants] acted with deliberate recklessness ... requires
the potentially material fact would likely mislead investors.”      an impermissible inferential leap.” In re U.S. Aggregates,
City of Philadelphia v. Fleming Companies, Inc., 264 F.3d           Inc. SecuritiesLitigation, 235 F.Supp.2d 1063, 1075-1076
at 1260-1261. In other words, “a fact [must be] so obviously        (N.D. Cal. 2002). Accordingly, the information disclosed in
material that the defendant must have been aware both               meeting, even if true, falls short of establishing scienter.
of its materiality and that its non-disclosure would likely
mislead investors.” Id. “[A]llegations that defendants should
have anticipated future events and made certain disclosures            (iii) April 1999 Report To Board Of Directors.
earlier than they actually did do not suffice to make out a          *45 The Complaint alleges that a meeting took place “on
claim of securities fraud.” City of Philadelphia v. Fleming         the afternoon of April 22, 1999 ... to review both quarterly
Companies, Inc. 264 F.3d at 1261; seealso, In re GlenFed,           results and results for the recently-completed fiscal year
42 F.3d at 1548 (Finding “no reason to assume that what             [1999], including an ‘outlook and budget’ for fiscal year
is true at the moment plaintiff discovers it was also true          2000 and executive compensation issues.” (Complaint ¶
at the moment of the alleged misrepresentation....”) Here,          141.) According to the Complaint, in the meeting, a report
from the meeting, Defendants allegedly only learned of, and         entitled “Fiscal Year 1999 Review, including details of the 4th
adopted, the application of the sell-in method to Peregrine's       Quarter” was “disseminated.” (Id. ¶ 142.) The report read:
financial statements for the fourth quarter of 1999. As alleged,
                                                                      This was the first quarter that channels contributed
however, they did not learn that applying the sell-in method
                                                                      meaningfully to revenue. Steve Spitzer's team came
would result in recording revenue on contingent transactions
                                                                      through in a big way.
in violation of the GAAP. Nor is there any allegation that
Defendants were somehow privy to this fact. See, In re Secure                                      ***
Computing Corp. Securities Litigation, 120 F.Supp.2d 810,
819 (N.D. Cal. 2000) (Dismissing complaint because it “ha[d]          Given the favorable valuation of the company, it is time to
not alleged facts that adequately explain why [defendant]             proceed with a follow-on offering to raise additional cash



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  for acquisition purposes. We would propose a follow-on           and first three quarters of 2002. The Complaint must thus
  offering which would net $70 to $100 million in cash for the     plead the information in the meeting was different than “what
  company in the May 1999 time period. The total offering          [a Defendant] was telling the public at the same time.”In re
  size would depend upon the appetite for our equity in the        Silicon Graphics Inc. Securities Litigation, 183 F.3d at 1000
  market and the desires of other selling shareholders.            (Emphasis original). No information in the alleged meeting
                                                                   even hints at Peregrine's accounting or finances during those
(Id.) The Complaint then alleges “Gardner informed the             years. See, In re Syntex Corp. Sec. Litig., 95 F.3d 922, 929
Board members that in the area of ‘customer satisfaction’ an       (9th Cir. 1996) (“Plaintiffs have not pled facts indicating
external survey showed ‘a negative trend from the survey           that Defendants had inside knowledge that contradicted their
six months earlier.’ As to productivity of sales personnel,        public statement.”); c.f, In re Homestore.com, Inc. Securities
Gardner advised ... that ‘[o]ur median performer is not            Litigation, 347 F.Supp.2d 769, 781 (C.D. Cal. 2004) (“[T]he
producing enough and we have too many people who were              Court finds that these emails clearly relate to a transaction
on-quota all year who produced very little.’ In projecting         between AOL and Homestore during a time period in question
results for Fiscal Year 2000, Gardner informed the Board           in this case”).
members as follows: ‘We are targeting to exceed budget,
as a global organization with $300 million revenue and at
least $0.65 EPS for FY 2000; This is our 300/200 program.’           (iv) October 1999 Report To Board Of Directors.
In explaining the program to the Board members, Gardner            *46 The Complaint alleges Gardner issued a “report for the
relayed that ‘if we meet the goal of $300 million in revenue       Board's October 19, 1999 meeting” entitled “Fiscal Q2 2000
in FY2000 with an EPS of at least $0.65 per share, that            Review and Outlook.” (Complaint ¶ 148.) The report stated:
every employee will be fully vested at the end of one-year
in 300 options for Peregrine stock at an exercise price set
in April of 1999 ... Please approve the 300/200 program                         [T]his was the toughest quarter we
option grant and the attached budget submission.’ ” (Id.)                       have experienced since June of 1997.
The Complaint then alleges the “program was approved                            A decent performance from the West,
by the Board as proposed” and that “Gardner also advised                        a strong quarter (but still small) from
the Board of a major organizational change to achieve the                       Asia/Pacific Latin America and a very
300/200 goal, which involved putting defendant Powanda in                       strong channel performance allowed
charge of the ‘Operations Group,’ including sales, marketing,                   us to compensate for these major
professional services and customer support. Powanda's new                       deficiencies. We have now reached
title was Executive Vice President for Operations. One of the                   a level of channel activity that is
reasons offered by Gardner for Powanda's promotion, and                         concerning as we look to the future.
related increase in proposed compensation, was that he helped                   We have a large amount of inventory
to achieve the Company goal of increasing channel revenue                       in the channel that must be sold
from less than 5% in the first half of the year to over 15% in                  through, and this must be done as we
the second half.” (Id.)                                                         simultaneously continue to grow our
                                                                                direct businesses.
Lastly, the Complaint alleges that at the meeting, “Board
members also were told that defendant Arthur Andersen,
the Company's auditor, was not comfortable with any level          (Id.)
of channel activity which accounted for more than 25% of
revenue. In the just-completed fourth quarter of fiscal year       These allegations do not give rise to a strong inference of
1999, 22% of license revenue derived from channel sales and        scienter. From the allegations, at best, Defendants learned that
it was clear from Gardner's report to the Board that channel       Peregrine might be engaging in channel stuffing. “Channel
sales would represent an increasing percentage of license          stuffing is defined as the oversupply of distributors in one
revenue.” (Id. ¶ 145.)                                             quarter to artificially inflate sales, which will then drop
                                                                   in the next quarter as distributors no longer make orders
As alleged, this meeting did not raise an inference of scienter.   while depleting their excess supply” In re Ramp Networks,
Again, the Complaint charges Defendants with making                Inc. Securities, 201 F.Supp.2d 1051, 1077 (N.D. Cal. 2002).
misleading financial statements for fiscal years 2000, 2001,


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Thus, “[a] number of courts have held that ‘channel stuffing’
gives rise to a ‘very weak’ inference of scienter-if any                                         ***
at all-in § 10(b) actions because there are a number of
                                                                      Why was it the worst of times?
legitimate reasons for attempting to achieve sales earlier.”
Id.; seealso, In re Splash Tech. Holdings Securities Litig.,          We have a $2 million professional services revenue
160 F.Supp.2d. 1059, 1075-76 (N.D. Cal. 2001) (“[T]his                shortfall compared to plan with little or no warning. Half
Circuit has rejected ‘channel stuffing’ claims.”) (citations and      of the reason for this was Y2K, the remainder was the
quotations omitted); In re Trex Co., Inc. Securities Litigation,      shift toward selling through alliances, which had not been
212 F.Supp.2d 596, 608-609 (W.D. Va. 2002) (“Allegations of           adequately factored into the plan.... Our bread and butter
channel stuffing, standing alone, are insufficient to sustain the     business went to hell. The deals between $75K and $500K
state of mind requirement in a securities fraud claim because         just were missing in action. Some of this may also be Y2K
‘there may be a number of legitimate reasons for attempting           effect, most of it was undoubtably due to the huge sales
to achieve sales earlier’ than in the normal course.”), quoting,      force re-engineering we have undertaken. In other words,
Greebel v. FTP Software Inc., 194 F.3d at 185 (Concluding             we did this to ourselves ... I suspect we have one more
that channel stuffing allegations “[do] not support a strong          quarter, and perhaps two, of hand-holding and close upper
inference of scienter”). In other words, engaging in channel          management involvement in sales. Sales force productivity
stuffing is not inconsistent with earning high revenues and           is at a ridiculously low level. The US is substantially under
thus reporting high revenues in the financial statements.             $1 million per person and EMEA is right around $1 million/
“Plaintiffs have not alleged sufficient facts to show that            person, while we need both to be closer to $1.5 million per
Defendants knew or recklessly disregarded at the time of              person. Big deals and excellent individual performances
making the transactions that customers would be returning             were required to cover the shortfall, when they should have
products....” Johnson v. Tellabs, Inc., 262 F.Supp.2d 937,            been the icing on the cake.
957 (N.D. Ill. 2003). “Even if channel stuffing was rampant
at [Peregrine] during the [C]lass [P]eriod, this does not             The US was even worse. We had a bad forecast to begin
necessarily mean that [D]efendants' failure to disclose it made       with, a gradual improvement in the middle part of the
any of [D]efendants' statements false or misleading”, much            quarter, and then a $4 million melt-down in the last week
less prove they did so with scienter. Friedman v. Rayovac             of the quarter. Only the KPMG deal with Sodexho/Marriott
Corp., 295 F.Supp.2d at 987. Seealso, City of Philadelphia            and Gold mine saved the US performance.
v. Fleming Companies, Inc. 264 F.3d at 1261; Coble v.
                                                                    Why was it a time of foolishness?
Broadvision Inc., 2002 WL 31093589 at *8 (N.D. Cal. 2002)
(“The mere fact that BroadVision sold products to Hewlett-            ... I have come to the conclusion that we are at the awkward
Packard which Hewlett-Packard had not already sold to end             teenage stage of our existence. We are much bigger than
users is wholly insufficient to support a strong inference, or        we were but not big enough to be taken seriously...
even anything more than a weak inference, of scienter. The
allegations as to ‘creative revenue deals’ are too vague and          Our channel business is now a cause for concern. We
non-specific to support any reasonable inference in favor of          are victims of both our own success and a changing
plaintiffs.”).                                                        accounting and regulatory landscape. We have been much
                                                                      more successful

  (v) January 2000 Report To Board Of Directors.                      generating sales to channels and getting partners to buy into
 *47 According to the Complaint, “[o]n January 18, 2000,              our message and vision. We have not been as successful,
Gardner disseminated a report ... in connection with the              and in some cases unsuccessful, in getting the sell-through
January 20, 2000 Board meeting.” (Complaint ¶ 154.) The               that would remove the inventory of software from the
report stated:                                                        channels. Rather than a 3 to 6 month latency, the inventory
                                                                      is moving in closer to 9 months as partners ramp up. Due
  Once again, however, this was a very tough quarter.                 to several highly publicized incidents at other companies
  The opening lines from Dickens['] Tale of Two Cities                (Informix, Network Associates, HBOC), the rules are
  summarizes it best: “It was the best of times, it was the           tightening and practices are being re-examined. The net of
  worst of times. It was a time of wisdom. It was a time of
  foolishness.”


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  this is that we are now at a level of channel inventory that
  makes our auditors uncomfortable.                                 The positioning of Get.It! as a full employee self service
                                                                    solution and not just e-procurement gives us huge running
(Complaint ¶ 154.) The report also stated:                          room ahead. The positioning of Get.Resources! as a full
                                                                    life-cycle management solution and not just a purchasing
  Why was it the best of times?                                     solution also gave us

  We exceeded every expectation we could reasonably have          immediate differentiation versus Ariba.
  had from our launch of our employee self-service and e-
  procurement application: Get.It!                                  Our technology continues to chug along at a great pace. We
                                                                    are truly doing some cutting edge work with the business
  Our mid-range market entry, InfraCenter for Workgroups,           application XML and with the integration with wireless
  exceeded every expectation and garnered numerous                  and Palm clients. We are getting smarter and smarter about
  positive comments from customers and analysts. We now             how we can integrate all of out products without having to
  [have] the number one product in the mid-range space,             rewrite them all.
  based on analyst assessment.
                                                                    We did one very small acquisition this quarter: KKO.
  We hit some of the very large deals we were looking for:          KKO brings us a terrific submarket to our fleet
  $10 million with ICL for Get.It! And the ServiceCenter/           management solution. We now have RailAnywhere to
  AssetCenter combination to use throughout Europe                  extend FleetAnywhere into the rail and transit market. This
  for their outsourcing business and internal needs; $5             is an under-served market with huge potential and billions
  million with Goldmine for a combination of InfraTools,            of dollars of assets and asset maintenance cost. We should
  InfraCenter for Workgroups, and Knowlix iKnow as a                recoup our full investment with revenue that I believe will
  world-wide Master VAR; and over $5 million with KPMG              close this quarter at New Jersey Transit and Serna Group
  for Sodexho/Marriott for a combination of AssetCenter,            in the UK
  ServiceCenter, and FacilityCenter.
                                                                    We added come great partners this quarter who are
   *48 We had some incredibly strategic wins:                       changing the way we work our partners model....
  Excite@home selected Get.It! and AssetCenter beating
  the incumbent Remedy and Ariba competition. We beat             (Noells Exh. D at 1, 3.) This information does not raise
  Ariba and Oracle at ABM AMRO bank for Get.Resources!            a strong inference of scienter. The information gave both
  e-procurement. We have been quietly told that Morgan            a positive and negative projection of Peregrine's business.
  Stanley will use Get.It! instead of the $3 million investment   Courts have found that such documents are insufficient to
  they made in Ariba, who they were the lead underwriter for.     put a plaintiff on notice of fraud, much less “reveal the
  PriceWaterhouse Coopers selected us just after the quarter      potentially material fact would likely mislead investors”
  ended to be their worldwide Service Desk, and during the        or that “defendant must have been aware both of its
  quarter we booked close to $500K of business form various       materiality and that its non-disclosure would likely mislead
  parts of PwC, despite a huge competitive push from IBM/         investors.” Philadelphia v. Fleming Companies, Inc., 264
  Tivoli, PwC's audit client.                                     F.3d 1245, 1260-1261. Seealso, Bovee v. Coopers &
                                                                  Lybrand, 320 F.Supp.2d 646, 655 (S.D. Ohio 2004) (“In
  Why was it a time of wisdom?                                    reviewing the various forms of public disclosures made ... the
                                                                  Court concludes that, despite the many negative comments
  We did some really smart things this quarter. Get.It! was
                                                                  about MAW's financial wherewithal and corporate stability,
  better launched than any product we have ever had.... Better
                                                                  reassuring statements were also made that could have negated
  yet, we actually sold a lot of it, beating all expectations.
                                                                  the ‘storm warning’ effect of the disclosures. In this regard,
  Ariba, after 3 years, today has about 50 customers. In 4
                                                                  the Court notes ... it is not the ‘storm warning’ that triggers
  weeks, we are up to 6 customers....
                                                                  the limitations period.....”); In re Infonet Services Corp.
  I believe we will add at least 12 more this quarter, and        Securities Litigation, 310 F.Supp.2d at 1115 (Concluding that
  double that in Q1 of FY 2001, so we should cross-over           the “statements alone do not constitute adequate warnings
  Ariba sometime in the next 12 months ....                       of the upcoming storm, as the reports' warnings were
                                                                  accompanied by positive statements.”). Moreover, “[t]he



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existence of documents raising concerns about the company's        the Company would meet its earnings target for the second
business does not show that a positive outlook is reckless         quarter of fiscal year 2001 ending September 30, 2000.”
when revealed to be inaccurate in hindsight.” In re Northern       Rather, the report assured the board members that it was
Telecom Ltd. Securities Litigation, 116 F.Supp.2d 446, 465         possible to “fill the gap and make the numbers.” (Id. ¶ 178.)
(S.D.N.Y. 2000); seealso, In re Carter-Wallace, Inc. Securities
Litig., 220 F.3d 36, 40-42 (2d Cir. 2000) (Dismissing              Moreover, even if the Court attributes Plaintiffs' interpretation
allegations that defendants “turned a blind eye” to reports of     to the report, it still would not raise a strong inference of
adverse side effects of company's drug).                           scienter. For example, even if Defendants knew of, and failed
                                                                   to disclose that, there was a concern in Peregrine that its
                                                                   sales teams' productivity was at a three-year low, that would
   (vi) July 2000 Report To The Board Of Directors.                not make Peregrine's financial statements misleading. “If the
 *49 The Complaint alleges Gardner's “quarterly report for         challenged statement is not false or misleading, it does not
the summer 2000 Board meeting ... gave ... very negative           become actionable merely because it is incomplete.” In re
depiction of events at Peregrine” including: “(i) that the         Vantive Corp. Securities Litigation, 283 F.3d at 1085. Having
Company had continuing concerns about its sales teams,             concerns about its employee productivity did not mean that
whose productivity was at a three-year low, (ii) that its mid-     Peregrine could not earn “revenues of $94.3 million for the
size market continued to seriously under performance [sic],        quarter.” “The question is not merely whether [a Defendant]
(iii) that it had no sales backlog for the coming ‘always          had knowledge of the undisclosed facts; rather, it is the danger
difficult’ quarter, (iv) that it was running out of cash and       of misleading buyers that must be actually known or so
could not complete a public offering because there was             obvious that any reasonable man would be legally bound
substantial doubt as to whether the Company would meet             as knowing.” City of Philadelphia v. Fleming Companies,
its earnings target for the second quarter of fiscal year 2001     Inc., 264 F.3d at 1260. Moreover, Section 10(b) and Rule
ending September 30, 2000.” (Complaint ¶¶ 178 and 180.)            10b-5(b) do not impose a general duty to disclose information,
The Complaint then alleges that despite these facts, Peregrine     unless failing to do so materially altered a statement made. In
reported that it “had revenues of $94.3 million for the            re Seagate Technology II Securities Litigation, 843 F.Supp.
quarter, an 83% increase over the previous year's comparable       at 1369. Accordingly, the report does not establish a strong
period.” (Id.) As alleged, the report does not establish that      inference of scienter.
any Defendant knowingly or recklessly falsely reported that
Peregrine “had revenues of $94,3 million for the quarter, an
83% increase over the previous year's comparable period.”             (vii) October 2000 Report To The Board Of Directors.
                                                                   The Complaint alleges that “[i]n his October 16, 2000 report
At the outset, having reviewed Gardner's report in full,           to the Board members, Gardner reported:
as alleged in the Complaint, the Court cannot say that
Defendants learned what Plaintiffs allege they learned. In           Another quarter is behind us. As you know it was a nail-
other words, the report does not say what Plaintiffs attribute       biter, but in the end we pulled it off ... [w]e also had to
to it. For example, Plaintiffs allege that from the report           borrow from the future to make the present happen. In
Defendants learned Peregrine “was running out of cash.” But          other words, we had to grant some extraordinary terms on
the report also said that Peregrine “came out of the quarter         a few deals in the closing hours of the quarter to move
with about $70 million in cash ... [o]ur current projection is       business into the September time period. This will clearly
that we will end the quarter with $35 million.” (Id. ¶ 178.)         impact December and March, but I think the damage will
Furthermore, the report specifically stated that Peregrine “will     be manageable.
show approximately $94 million in top line revenue....” (Id.)
                                                                     *50 [S]ales productivity its far from where we want it ...
As for Plaintiffs' assertion that Peregrine “had no sales
                                                                     The average rep and the average deal is missing in action.
backlog for the coming ‘always difficult’ quarter”, the report
actually stated that “[i]f we close a few of these large deals       We don't have enough [cash] ... We need to raise cash now.
and we do not have another fall-out of the ‘bread-and-butter’
business forecast, we will fill the gap and make the numbers.      (Complaint ¶ 181.) This report did not raise a strong inference
We even have the potential to carry a backlog into the             of scienter. Despite the alleged negative information, the
December quarter....” (Id.) Further, there is no suggestion in     report also contained positive information. For example, the
the report “that ... there was substantial doubt as to whether     report also stated “[w]e won some great deals, even in the


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e-BCG side of the business. And from understanding our                defendant knew that failure to reveal the potentially material
true strengths, we will build the future ... The Get.It! product      fact would likely mislead investors.” City of Philadelphia
line continues to exceed every forecast. We will report better        v. Fleming Companies, Inc., 264 F.3d at 1260-1261. Here,
than $17 million in Get.it! revenue this quarter, up from             failing to disclose the alleged information in Gardner's report
$12 million last quarter and $6 million the quarter before.           did not make Peregrine's financial statement misleading
This will exceed all external expectations ...” (Noell's Exh.         or actionable. Gardner's statements in the report were too
E at 3.) “[A]s long as the public statements are consistent           “general for a reasonable investor to take into account when
with reasonably available data, corporate officials need not          making an investment decision.” In re Boston Technology,
present an overly gloomy or cautious picture of current               Inc. Securities Litigation, 8 F.Supp.2d 43, 63 (D. Mass. 1998).
performance and future prospects....” Novak v. Kasaks, 216            Thus, the information was not even material. Moreover, again
F.3d at 309 (internal citations omitted). Also, as noted above,       “[t]he existence of documents raising concerns about the
“[t]he existence of documents raising concerns about the              company's business does not show that a positive outlook is
company's business does not show that a positive outlook is           reckless when revealed to be inaccurate in hindsight.” In re
reckless when revealed to be inaccurate in hindsight.” In re          Northern Telecom Ltd. Securities Litigation, 116 F.Supp.2d at
Northern Telecom Ltd. Securities Litigation, 116 F.Supp.2d            465; seealso, Fitzer v. Security Dynamics Technologies, Inc.,
at 465. Moreover, even if Peregrine was having “difficulties,”        119 F.Supp.2d. 12, 20 (D. Mass. 2000) (Plaintiffs “cannot
Plaintiffs fail to allege the difficulties were so severe that        merely speculate in hindsight that because [defendant] ran
defendants knew, or must have known, that Peregrine could             into a sales slowdown and reduced revenue by the end of
not produce the revenues disclosed in its financial statements.       the Class Period” that earlier statements “of good corporate
Accordingly, this report did not raise a strong inference of          health ... must have been inaccurate”); Colby v. Hologic, Inc.,
scienter.                                                             817 F.Supp. 204, 215 (D. Mass. 1993) (“[D]efendants' ...
                                                                      alleged ‘materially adverse’ knowledge of [the corporate
                                                                      defendant's] decline in September is largely inferred from
   (viii) January 2001 Report To The Board Of Directors.              their November acknowledgment of ‘continued’ declining
The Complaint alleges that “[i]n his report to the Board for          sales. That sort of inferred omission by hindsight admission is
the third quarter of fiscal year 2001 ... in advance of the           rejected herein as a basis for a duty to disclose”). Accordingly,
January 26, 2001 Board meeting, Gardner reported that ‘there          Plaintiffs have not pleaded any particularized facts that would
were also some substantial business disappointments.’ ...             suggest that Defendants knew of or recklessly disregarded the
Company's ‘direct business in North America was a disaster,’          falsity of the Peregrine's financial statements.
with only slightly more than $13 million of business on a
plan of over $50 million and a forecast late in the final month
of the quarter of almost $40 million, Sales representative               (ix) April 2001 Report to Board of Directors.
productivity was 68% of plan, U.S. productivity less than              *51 According to the Complaint, on “April 16, 2001
50% of plan, ... [continued ‘heavy reliance on alliance and           Gardner disseminated a report to the Board members
channel partners' remained a concern, such that ... Gardner           regarding the fourth quarter of fiscal year 2001 ... and
was ‘cautious’ about the Company's prospects going into               the outlook for fiscal year 2002. In his report, ... Gardner
the fourth quarter.” (Complaint ¶ 185.) The Complaint then            stated that ‘the difficulty of the quarter leads us to be more
alleges Defendants acted with scienter when announcing                cautious about the next couple of quarters than we have been
Peregrine's “financial results for the third quarter of fiscal year   previously ... Gardner referred to the ‘massive expansion of
2001 ...” which stated that Peregrine “had revenues of $156.6         [Peregrine's] relationship with IBM' as the highlight of the
million for the quarter, a 132% increase over the previous            quarter. However, he observed that very large deals with Fleet
year's comparable period.” (Id. ¶ 186.)                               Boston, Morgan Stanley, and ABN AMRO Bank (each with
                                                                      greater than $10 million potential) were scrapped because the
As alleged, the report does not raise a strong inference that         customers ‘were not prepared to spend any money.’ He further
any Defendant knew or was reckless that Peregrine's financial         told the Board members that management ‘are very concerned
statement for the third quarter of fiscal year 2001 was false         about the irrational buyer behavior now being seen in the
or misleading. “[T]o establish scienter in a securities fraud         market....” (Complaint ¶ 187.)
case alleging non-disclosure of potentially material facts”,
the plaintiff must not only demonstrate” that “the defendant          As alleged, the report does not give rise to a strong
knew of the potentially material fact” but also that “the             inference of scienter. See, In re Northern Telecom Ltd.


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Securities Litigation, 116 F.Supp.2d at 465 (“The existence         the reports, who drafted them, ... which officers received
of documents raising concerns about the company's business          them,’ and ‘an adequate description of their contents.’ ” In
does not show that a positive outlook is reckless when              re Vantive, 283 F.3d at 1079, 1087-88 (Citations omitted);
revealed to be inaccurate in hindsight.”); Rothman v. Gregor,       seealso, Novak v. Kasaks, 216 F.3d at 309 (“Where plaintiffs
220 F.3d 81, 90 (2nd Cir. 2000) (“Generally, poor business          contend defendants had access to contrary facts, they must
judgment is not actionable under section 10(b) ... The fact         specifically identify the reports or statements containing
that management's optimism about a prosperous future turned         this information.”); San Leandro Emergency Medical Group
out to be unwarranted is not circumstantial evidence of             Profit Sharing Plan v. Philip Morris Companies, Inc., 75 F.3d
conscious fraudulent behavior or recklessness.”); Decker            801, 811 (2nd Cir. 1996) (“Plaintiffs' unsupported general
v. Massey-Ferguson, Ltd., 681 F.2d 111, 117 (2d Cir.                claim of the existence of confidential company sales reports
1982) (“[E]conomic prognostication, though faulty, does not,        that revealed the larger decline in sales is insufficient to
without more, amount to fraud.”) In re Symbol Techs. Class          survive a motion to dismiss.”); Arazie v. Mullane, 2 F.3d
Action Litig., 950 F.Supp. 1237, 1246 (E.D.N.Y. 1997) (“The         1456, 1467 (7th Cir. 1993) (“[R]eferences to unreleased or
evidence shows, at most, that Symbol's senior management            internal information that allegedly contradict[s] [defendants']
relied on internal forecasts that turned out, in hindsight, to be   public statements” should indicate such matters as “who
inaccurate. This is not fraud.”).                                   prepared the projected figures, when they were prepared,
                                                                    how firm the numbers were, or which [company] officers
                                                                    reviewed them.”). It is not enough to allege that there
   (x) July 2001 Report To The Board Of Directors.                  was “confidential non-public information” that contradicted
The Complaint alleges that “[a]t a July 18, 2001 Board              the false statement. Yourish v. California Amplifier, 191
meeting at the J.W. Marriott Hotel in New York City, ...            F.3d 983, 994 (9th Cir. 1999). Plaintiffs must also provide
[D]efendants were advised that the [Peregrine] had received         “some detail about the alleged information, other than that
an inquiry from the SEC regarding transactions with                 its substance contradicted the substance of the identified
Critical Path, a software company based in San Francisco            statement.” Id. at 995. Moreover, that there was a “possibility
that principally focused on Internet communications. They           that Peregrine would be linked publicly with the ongoing
learned that a national business magazine, Business Week,           federal investigation” is too speculative or tenuous to raise a
had contacted the Company in connection with an upcoming            strong inference that any Defendant knew that Peregrine was
article concerning Critical Path, raising the possibility that      involved in a fraud.
Peregrine would be linked publicly with the ongoing federal
investigation,” (Complaint ¶ 190.) These allegations are
insufficient to show a strong inference of scienter.                   (xi) October 2001 Report To The Board Of Directors.
                                                                     *52 The Complaint alleges “[o]n or about October 15,
At the outset, the report does not contradict any statements        2001, Gardner disseminated a report to the members of the
Defendants allegedly made. See, In re Syntex Corp.                  Board ... in connection with the Board meeting conducted
Sec. Litig., 95 F.3d at 929 (“Plaintiffs have not pled              on October 17, 2001. He informed the Board ... ‘[a]s of
facts indicating that Defendants had inside knowledge               right now, forecasts from our sales teams at the ‘commit’
that contradicted their public statement.”). Secondly, “[t]o        level are skittish and a bit below the level we need for even
contribute meaningfully toward a ‘strong inference’ of              the lowered guidance for the December quarter.’ Gardner
scienter, [ ] allegations attributed to unnamed sources             reported that the only way [Peregrine] would be able to meet
must be accompanied by enough particularized detail to              its earnings per share guidance was by starting, in January
support a reasonable conviction in the informant's basis            2002, to require employee contributions to benefits plans
of knowledge.” In re Northpoint Communications Group,               ‘for the first time ever.’ He advised the Board members:
Inc. Sec. Litig., 221 F. Supp. 2d 1090, 1097 (N.D. Cal.             ‘[t]his $30 million savings will permit us to make our EPS
2002). Here, the Complaint merely alleges that defendants           guidance against the lower revenue guidance.’ ” (Complaint
“were advised” without identifying who advised them.                ¶ 192.) Again, Gardner's statements in the report were too
Simply referring to BusinessWeek as a source is likewise            “general for a reasonable investor to take into account when
insufficient. “If a plaintiff is to rely on the existence           making an investment decision.” In re Boston Technology,
of reports as establishing knowledge, she must ‘include             Inc. SecuritiesLitigation, 8 F.Supp.2d at 63: seealso, City
adequate corroborating details,’ such as the ‘sources of her        of Philadelphia v. Fleming Companies, Inc., 264 F.3d at
information with respect to the reports, how she learned of         1260-1261 (“[T]o establish scienter in a securities fraud


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case alleging non-disclosure of potentially material facts,    statements. First, in a press release, it was stated that
the plaintiff must demonstrate: (1) the defendant knew of      Peregrine “anticipated total revenues of approximately $175
the potentially material fact, and (2) the defendant knew      million.” (Complaint ¶ 622.) The Complaint further alleges
that failure to reveal the potentially material fact would     “[o]n January 24, 2002, Peregrine issued a press release
likely mislead investors.”). Moreover, “[t]he existence of     confirming that total revenues for the third quarter of fiscal
documents raising concerns about the company's business        year 2002 were $175.2 million.” (Id. ¶ 630.) Lastly, the
does not show that a positive outlook is reckless when         Complaint alleges “[o]n February 14, 2002, Peregrine filed
revealed to be inaccurate in hindsight.” In re Northern        its Form 10-Q for the third quarter of fiscal year 2002 with
Telecom Ltd. Securities Litigation, 116 F.Supp.2d at 465.      the SEC, [which] incorporated the financial statements that
“[W]hat is [also] missing is an explanation of why these       appeared in the January 24, 2002 press release.” (Id. ¶ 638.)
particular problems contradicted the public statements made    There is nothing in the report “contradicting [Defendants']
by Defendants.” Osher v. JNI Corp., 308 F.Supp.2d 1168,        public statements.” Novak v. Kasaks, 216 F.3d at 308. Indeed,
1188 (S.D. Cal. 2004). The information concerns Earnings       the report stated that in all likelihood Peregrine “will end
Per Share numbers, not the revenue numbers-they are two        at approximately $175 to $180 million in revenue” for that
different metrics. The report does nothing to establish that   quarter. See, In re Syntex Corp. Sec. Litig., 95 F.3d at 929
Defendants' statements were false.                             (“Plaintiffs have not pled facts indicating that Defendants had
                                                               inside knowledge that contradicted their public statement”).

   (xii) December 2001 Report To The Board Of
   Directors.                                                     (xiii) Conclusion.
The Complaint alleges “[o]n December 31, 2001, Gardner         The foregoing reports fail to establish scienter on the part
[prepared] a report ..., which provided a summary of the       of any Defendant. The reports fail to show that Defendants
third quarter of fiscal year 2002 ending December 31,          had inside knowledge that contradicted their public statement.
2001.” (Complaint ¶ 195.) The report stated:                   At times, Plaintiffs have also failed to provide any detail
                                                               about the alleged information underlying the reports or that
                                                               their substance contradicted the substance of the identified
            This was a very tough quarter. The                 statements. That is there is no explanation of why the
            final numbers are not yet in and it will           particular problems Peregrine allegedly faced contradicted
            take a couple of weeks to get all the              the statements Defendants made. The allegations fail to even
            detailed information about expenses,               show that, from the reports, Defendants could have learned
            balance sheet items, and breakdown                 of information contradicting their public statements, much
            of revenue, but it is clear today that             less that they actually did learn such information (or that
            we missed our external revenue targets             they were deliberately reckless as to the falsity of their
            by a wide margin (about $40 million)               statements). In short, the reports “do not adequately establish
            and we missed our internal targets by              that [any Defendant] had knowledge of the supposedly
            a wider margin. My best guess is that              ‘true but concealed’ circumstances concerning [Peregrine's]
            we will end at approximately $175 to               problems[.]” In re Vantive, 283 F.3d at 1087. For these
            $180 million in revenue. For the first             reasons, and all the reasons set forth above, the quarterly
            time as a public company we will post              review and outlook reports fail to raise a strong inference of
            a loss in operating results per share.             scienter.
            We estimate that loss to be about $14 -
            $16 million or about $0.06 to $0.08 per
                                                                 b. Adequate Internal Accounting Controls.
            share. This was against an expectation
                                                                *53 The Complaint next alleges “[i]n light of the lack
            of a $0.10 profit.
                                                               of adequate internal accounting controls, the aggressive
                                                               growth of the Company and the lack of a functioning Audit
                                                               Committee, ... Noell, van den Berg, Hosley, Watrous, Savoy,
This report does not raise a strong inference of scienter.     and Dammeyer 19 , while on the Audit Committee, knew or
The Complaint alleges during the third quarter of 2002,        were deliberately reckless in not knowing of the fraudulent
certain Defendants made the following false or misleading



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accounting practices alleged herein.” (Complaint ¶ 215.) The         at these meetings, the identified Defendant attendees
Court disagrees.                                                     learned that “Peregrine was improperly recognizing revenue
                                                                     immediately in full, on sell-in transactions where there was
19                                                                   no binding commitment on the part of resellers.” (Complaint
       As explained above, the Complaint does not
                                                                     ¶ 220.) For example, the Complaint alleges “Noell and
       adequately allege that Dammeyer either employed
                                                                     Watrous attended an Audit Committee meeting on April
       a scheme to defraud or made any statements. Thus,
                                                                     25, 2001.” (Id.) “Also in attendance was ... Nelson and
       the issue of his scienter or mental state is irrelevant.
                                                                     representatives of ... Arthur Andersen including Stulac.” (Id.)
“A pleading of scienter may not rest on the inference that           In the meeting, the Complaint alleges, “Stulac specifically
defendants must have been aware of the misstatement based            suggested that it would be appropriate for [Peregrine] to move
on their positions within the company.” Abrams v. Baker              to revenue recognition based on sell-through as opposed to the
Hughes Inc., 292 F.3d 424, 432 (5th Cir. 2002); seealso, In          then operative sell-in method because he knew, and conveyed
re Homestore.com, Inc. Securities Litigation, 252 F.Supp.2d          to the Audit Committee members, based on Arthur Andersen's
1018, 1037 (C.D. Cal. 2003) (“Neither [defendant's] position         audit procedures for the quarterly reviews and year end
within the company, Vice President of Human Resources,               audit, that Peregrine was improperly recognizing revenue
nor her personal relationship with [upper management] can            immediately in full, on sell-in transactions where there was
lead to any inference of deliberate recklessness.”); In re Oak       no binding commitment on the part of resellers.” (Id.) The
Tech. Sec. Litig., 1997 WL 448168 at *11 (N.D. Cal. 1997)            Complaint then alleges “Watrous inquired at this meeting as
(“Allegations that outside directors merely held positions on        to how ‘aggressive’ Peregrine was with regard to revenue
committees responsible for the preparation and disclosure            recognition, and he was informed by Stulac that Peregrine
of a corporation's finances are insufficient to set forth the        was more aggressive than one of its leading competitors,
circumstances constituting fraud with particularity.”).              citing as an example SAP, which applied the sell-through
                                                                     method.” (Id.) For the reasons that follow, these allegations
“[B]lanket allegations of weak internal controls [also] do           are insufficient to raise a strong inference of scienter.
not alone suffice as a basis for inferring scienter.” In re
Rent-Way Securities Litigation, 209 F.Supp.2d 493, 508                *54 “[S]cienter [is] a mental state embracing intent to
(W.D. Pa. 2002); see also, Reiger v. Price Waterhouse                deceive, manipulate, or defraud.” In re Worlds of Wonder
Coopers LLP, 117 F.Supp.2d 1003, 1009 n. 5 (S.D. Cal.                Securities Litigation, 35 F.3d 1407, 1424 (9th Cir. 1994),
2000) (Allegations of “weak internal accounting controls”            quoting, Ernst & Ernst v. Hochfelder, 425 U.S. 185, 194 n. 12
at the audited company were “boilerplate ‘red flags’ ”               (1976). “Thus, the complaint must allege that the defendants
and could not support a strong inference of scienter).               made false or misleading statements either intentionally or
Similarly, “failure to follow professional standards by itself       with deliberate recklessness.” In re Daou Systems, Inc.
does not necessarily establish scienter, nor does the use            Securities Litigation, 397 F.3d 704, 718 (9th Cir. 2005).
of unreasonable accounting procedures.” In re Ikon Office            “[R]ecklessness only satisfies scienter under § 10(b) to the
Solutions, Inc. Securities Litigation, 131 F.Supp.2d 680, 703        extent that it reflects some degree of intentional or conscious
(E.D. Pa. 2001). Thus, allegations that the “members of              misconduct.” Nursing Home Pension Fund, Local 144 v.
the Committee were knowingly and/or deliberately reckless            Oracle Corp., 380 F.3d 1226, 1230 (9th Cir. 2004). “This
in their conduct of Committee business” does not establish           means that the Plaintiffs must allege specific facts showing
scienter. (Complaint ¶ 214.) “[T]he Complaint does not               that each Defendant acted with severe recklessness.” Druskin
identify what the Audit Committee members would have                 v. Answerthink, Inc., 299 F.Supp.2d 1307, 1323 (S.D. Fla.
learned from exercising these responsibilities that would have       2004).
put them on notice that the SEC filings that they signed were
inaccurate.” In re WorldCom, Inc. SecuritiesLitigation, 294          The Court must consider “whether the total of plaintiffs'
F.Supp.2d 392, 418 (S.D.N.Y. 2003).                                  allegations, even though individually lacking, are sufficient
                                                                     to create a strong inference that defendants acted with
                                                                     deliberate or conscious recklessness.”In re Daou Systems.
  c. Information or Reports Disseminated to the Audit
                                                                     Inc. Securities Litigation, 397 F.3d at 718. “In considering
  Committee.
                                                                     whether a strong inference of scienter has been pled, the
The Complaint next points to various audit committee
                                                                     [C]ourt must consider all reasonable inferences to be drawn
meetings, alleging that from the information discussed


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from the allegations, including inferences unfavorable to the       would have revealed the errors prior to their inclusion in
plaintiffs.” Id. at 718 (Emphasis in original); seealso, Nursing    public statements, ... the Complaint fails to allege facts that
Home Pension Fund, Local 144 v. Oracle Corp., 380 F.3d at           give rise to a strong inference of scienter under § 10(b) and
1230 (“In determining whether a strong inference of scienter        Rule 10b-5.” In re Comshare Inc. Securities Litigation, 183
exists, [the Court] must consider all reasonable inferences,        F.3d 542, 554 (6th Cir. 1999). That the Committee members
whether or not favorable to the plaintiff.”); Gompper v. VISX,      “had access to the documents that revealed [Peregrine's]
Inc., 298 F.3d 893, 897 (9th Cir. 2002) (Noting the “inevitable     improper revenue recognition ... [by itself] does not strongly
tension,.. between the customary latitude granted the plaintiff     compel an inference of intentional or deliberately reckless
on a [12(b)(6) ] motion to dismiss ... and the heightened           conduct....” DSAM Global Value Fund v. Altris Software,
pleading standard set forth under the PSLRA”).                      Inc., 288 F.3d 385, 390 (9th Cir. 2002). The Complaint
                                                                    fails to “allege facts sufficient to give rise to a strong
Under this standard, the committee Defendants were not              inference Defendants engaged in conduct which was highly
deliberately reckless, or did not act with an intent to             unreasonable and which represented an extreme departure
deceive or defraud the public. Specifically, according to the       from the standards of ordinary care.” In re Nice Systems,
Complaint, in a subsequent committee meeting, wherein the           Ltd. Securities Litigation, 135 F.Supp.2d 551, 587 (D.N.J.
same Defendants attended, and after learning that Peregrine         2001). 20
was “improperly” recognizing revenue, “Watrous specifically
stated that he was ‘concerned’ ... [and] asked Stulac, ‘on a        20     The Complaint also points to some other audit
scale of 1 to 10 with 10 being the most clean how Peregrine's
                                                                           committee meeting. For essentially the reasons
revenue recognition procedures would rank?’ ” (Complaint
                                                                           why the review and outlook reports did not
¶ 222,). To this, the Complaint alleges “Stulac responded
                                                                           establish scienter, the meetings also fail to show
they would rank in the ‘5-7’ range.” (Id.) Watrous, the
                                                                           scienter. Specifically, the Complaint fails to show
Complaint alleges, then “queried why Peregrine was not a
                                                                           that from the meetings, Defendants somehow
‘10’ [and] was told that the problems were attributable to:
                                                                           had inside knowledge that contradicted their
(i) software customers delaying purchases until late in the
                                                                           public statement, provide any detail about the
quarter to get discounts, (ii) as a result, the quarter ends were
                                                                           alleged information underlying the reports or that
extremely busy, (iii) the European controller position was
                                                                           their substance contradicted the substance of the
vacant, (iv) there was a failure on the part of Peregrine to
                                                                           identified statements, and allegedly occurred after
appropriately merge the overseas processes, (v) the European
                                                                           Defendants allegedly made their statements.
sales force ‘used more aggressive revenue recognition’, and
(vi) the frequent acquisitions made by Peregrine required the
merging of different accounting systems, which had not been           d. “Ron Hall's” Email.
accomplished.” (Id.) In other words, shortly after learning          *55 The Complaint alleges “[o]n October 3, 2001 21 ,
that Peregrine was recognizing revenue “improperly,” the            Ron Hall, a Peregrine sales executive in its Asia Pacific
committee Defendants acted reasonably, not recklessly.              division, sent [an] e-mail to ... [which] Gardner immediately
They promptly investigated. Moreover, the reasons they              forwarded ... to ... Moores.” (Complaint ¶ 336.) “The email
were told why Peregrine's revenue recognition procedure             stated:
“was not a 10” was not inconsistent or contrary to
the statements they made regarding Peregrine's financial              Attached are documents that should be of fundamental
statements. For example, the reasons did not anyway hint              interest to yourself and all copied recipients.
or suggest that Peregrine's revenue figures were based on
                                                                      They pertain directly to business activities in Asia
transactions involving side agreements, or contingent or
                                                                      Pacific, more specifically Australia. In all likelihood also
barter transactions. Nor were the reasons “so obviously
                                                                      Europe, where Dominic O'Riley was previously engaged
material that the defendant must have been aware both
                                                                      in executive management capacity.
of its materiality and that [their] non-disclosure would
likely mislead investors.” City of Philadelphia v. Fleming            The attached ‘Schedule A’ for Planwell Technology may
Companies, Inc., 264 F.3d at 1261. In sum, “[b]ecause                 well be familiar, as $2 million AUD [Australian dollars]
Plaintiffs have failed to plead facts that show that [committee       of revenue (perhaps more) was booked on September 30th,
Defendants] consciously disregarded [a] ‘red flag[ ]’ that            2001 under# SCA-AU-002918V01.



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                                                                   21     The Court recognizes that this email came after
  The underpinning Partner Addendum, contract #
                                                                          any of the Defendants made any of the statements
  01AB300901 may not be so familiar. I understand that you
                                                                          alleged to be false or misleading. As noted, as to the
  don't see all these partner agreements.
                                                                          Defendants found to be primary actors, the latest
  I strongly suggest you give these documents careful                     statement attributed to them is Amendment No.
  scrutiny, paying particular attention to page 8 of the                  1 to Peregrine's Form S-4 Registration Statement
  ‘Partner Addendum,’ the ‘Sales Guarantee’ clause. Then                  regarding the Remedy merger. This statement was
  inspect the overall wording and associated legality of                  filed on July 23, 2001. However, since Plaintiffs are
  the contract, the implied Peregrine responsibility and                  given leave to amend, and the potential importance
  associated consequent acceptable non-payment should                     of this email was raised during the hearing on
  targets not be achieved due to failure to meet this contracted          March 4, 2005, the Court will address it.
  responsibility. It might pay to look at the maintenance           *56 The above mentioned ‘contracts’ have a few
  terms, payment terms, territory, support implications and        similarities:
  other Peregrine responsibilities.
                                                                     1. They represent ludicrous and irresponsible targets and
  My legal background suggests that the overall contract             commitments - little wonder that no ‘Partner’ has paid up
  worthiness is questionable. At the least, certainly not what       front, particularly when you consider the current economic
  a shareholder (or an analyst) would pin faith on.                  climate and last year's ‘real’ software sales. I am reliably
                                                                     informed that these partners were touted figures between
  While in the process, it would be recommended you check
                                                                     $30 and $40 million sales in Australia for last year.
  the underpinning contracts for the following Australian
  Partner agreements, where large revenue amounts have               2. The payment terms are extremely loose, extensively
  already been recognised:                                           delayed and underpinned by the ‘guaranteed sales’ clause,
                                                                     which any good lawyer would use to avoid liability if
  IMS - booked for $10 million AUD in March, 2001 - $22
                                                                     things didn't work out as Peregrine have promised. Kinetica
  million dollars gross sales required to achieve target.
                                                                     haven't yet paid for deals that were booked in June, before
  Kinetica - booked for $1 million AUD in June, 2001 - $1.4          their partner ‘agreement’ was signed. Yet revenue has
  million gross sales required to achieve target.                    been booked and valuable resources are being expended
                                                                     supporting their activities. What's the chances of them
  TELE IP - booked for $2 million in September, 2001 - $3.2          paying up if targets aren't met?
  million gross sales required to achieve target.
                                                                     3. In the main, Partner ‘Addendums’ - the real contract
  Planwell Technology - attached, booked for $5 million              - aren't signed off by Peregrine US and are exposed to
  in September, 2001 - $10 million gross sales required to           non-compliance and potential litigation. ‘Unconscionable
  achieve target.                                                    Contract’ comes to mind.

  That's $36 million gross sales required for these partners to      Yet Mr. Walsh and Mr. O'Riley are pressuring Sales Reps in
  collectively achieve target. With implied and/or contracted        Asia Pacific and Australia to find MORE Partners - so long
  sales guarantees.                                                  as they commit bookable dollars up front. Their war cry is
                                                                     “anything less than $10 million AUD isn't worth doing the
  Of note, IMS ($22 million dollar AUD Target) haven't               business”.
  booked ONE SINGLE DEAL or burnt one dollar of
  revenue since they signed in March, 2001. I repeat, NO             Come on, what are Peregrine selling here, Amway?
  business in 6 months on a $22 million AUD commit!                  Vapourware? Where's the commercial substance to these so
                                                                     called ‘contracts.’
  Without the IMS ‘sale’ of $10 million nett AUD in March,
  2001, Australia would only have sold some $4 million               For the record, the $10 million dollar IMS deal that
  dollars gross software for all of last year! They're promising     Mr. Walsh ‘won his stripes for’ in March, has yielded
  $36 million this year?                                             absolutely NOTHING to date - not one cent worth of ‘real’
                                                                     business (apart from the initial revenue booking).



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                                                                   ‘redundancy,’ [he] sent an e-mail dated October 25, 2001 to
  I also note he Mr. Walsh doesn't manage the account and          his manager stating:
  has no involvement in it's progress. It's been offloaded to
  a very inexperienced Sales person. Next March should be            Attached is a very important document I sent to the US
  interesting when Peregrine try to get IMS to reload - or PAY       a short time ago - ... John Moores ... received [a] cop[y].
  for that matter. Still, Peregrine have booked the revenue.         I sent it because I believe what you're doing with Partner
  What will this do to Peregrine's partnering credibility? Or        contracts here is unethical, immoral and unconscionable.
  Stock value?                                                       There is also no justification to book revenue when no
                                                                     product has been ordered, there is a ‘sales guarantee’ and
  Were the attached documents, any of the other ‘contracts’          there is little likelihood of payment if things don't go as
  mentioned above, or this correspondence to fall into the           we predicted during discussions.... Here is the document,
  hands of the ‘Wall Street Journal’ or a curious analyst,           it's self explanatory. My closing comment that anyone who
  Peregrine Systems will be under serious and immediate              objected to the “channel stuffing” partner approach would
  scrutiny. That is not my intention, but as a well meaning          be laid off is ironically relevant.”
  Peregrine investor with Peregrine's best interests at heart, I
  feel compelled to demand your attention to these contracts       (Id. ¶ 21.) For the reasons that follow, the email does not
  and the revenue booked from them.                                establish a strong inference of scienter.

  This is a blatant example of what can be termed ‘Channel         At the outset, the Complaint does not allege Moores ever
  stuffing’, in their crudest form. The analysts have other        received, or was otherwise aware, of the October 25, 2001
  names.                                                           email. Notwithstanding, both the October 3rd and October
                                                                   25th emails are simply irrelevant to Moores' scienter; the
  Mr. Walsh and Mr. O'Riley have both been personally
                                                                   emails came after Moores made his alleged statements.
  warned as to the lack of substance to these contracts, yet
                                                                   As noted above, according to the Complaint, Moores is
  have chosen to ignore those warnings. I can only assume
                                                                   potentially responsible for four statements- - the Form 10-K
  that as responsible executives and directors of Peregrine,
                                                                   filed in May 2000, Amendment No. 1 to the S-4 Registration
  you would have no knowledge of the underpinning
                                                                   Statement on the Harbinger merger proposal again filed in
  contracts to the Schedule A's you receive on Partnering
                                                                   May 2000, Form 10-K filed in June 2001, and Amendment
  agreements.
                                                                   No.1 to the S-4 Registration Statement on the Remedy merger
  This Type of contract should immediately cease and real          proposal filed in July 2001. Thus, the last statement Moores
  revenue be recognised, i.e., where PRODUCT is actually           allegedly made was in June 2001.
  DELIVERED and payment is probable.
                                                                   To show scienter, the Complaint must plead “contrast[s]
   *57 Terry Walsh' and Dominic O'Riley's contracts with           between what [Moores] w[as] hearing internally about”
  Peregrine should immediately be reviewed due to breach           Peregrine's accounting practices and financial condition, “and
  of fiduciary duty.                                               what [he] was telling the public at the same time.” In
                                                                   re Silicon Graphics Inc. Securities Litigation, 183 F.3d at
  Reliable information suggests that a major Asia Pacific          1000 (Emphasis original). Accordingly, the Complaint must
  restructure will be announced on October 8 th , 2001. This       “point[ ] to inconsistent contemporaneous statements or
  will include the termination of a number of staff, mainly        information ... which were made by or available to” Moores.
  sales related. I assume these staff will include anyone that     In re GlenFed, 42 F.3d at 1548; seealso, In re Read-Rite
  has openly objected to the Channel stuffing. ‘Amway’             Corp., 335 F.3d 843, 847 (9th Cir. 2003) (“[W]e hold that the
  approach outlined above.                                         district court correctly concluded that Plaintiffs did not point
                                                                   to any specific evidence, such as contemporaneous reports
  I look forward to your urgent attention to this
                                                                   or statements of others, in support of their allegations of
  correspondence in the hope that this is not the case.”
                                                                   scienter.”). By contrast, the Complaint cannot successfully
(Complaint ¶ 336.) The Complaint also alleges when Hall            allege Moores knew that the statements were false or
“learned of his termination due to his branch office's alleged     misleading when he made them “merely by pointing to later
                                                                   inconsistent statements or conditions.” Id. (Emphasis added).
                                                                   “It is clearly insufficient for [P]laintiffs to say that a later,


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sobering revelation makes an earlier, cheerier statement a         contrary facts, they must specifically identify the reports
falsehood.” Yourish v. California Amplifier, 191 F.3d 983,         or statements containing this information.”); San Leandro,
997 (9th Cir. 1999); seealso, In re GlenFed, 42 F.3d at 1548       75 F.3d at 812 (“Plaintiffs' unsupported general claim of
(Finding “no reason to assume that what is true at the moment      the existence of confidential company sales reports that
plaintiff discovers it was also true at the moment of the          revealed the larger decline in sales is insufficient to survive
alleged misrepresentation....”); Aldridge v. A.T. Cross Corp.,     a motion to dismiss.”). Indeed, “[i]t is not sufficient for
284 F.3d 72, 83 (1st Cir. 2002) (“[T]he fact that the defendants   a [P]laintifff[s'] pleadings to set forth a belief that certain
published statements when they knew facts suggesting the           unspecified sources will reveal, after appropriate discovery,
statements were inaccurate or misleadingly incomplete is           facts that will validate [their] claim,” Id. “Silicon Graphics
classic evidence of scienter.”). Therefore, the emails, which      and the PSLRA require Plaintiffs to allege the specific
came in October 2001 and after Moores made his last                content of the documents upon which the plaintiff relied,
statement, are simply irrelevant and cannot establish Moores'      identifying who prepared and who reviewed them, and setting
scienter. See, Ronconi v. Larkin, 253 F.3d at 432 (To establish    out sources of ... information with respect to the reports.”
scienter, “the complaint must contain allegations of specific      In re Peerless Systems, Corp. Securities Litigation, 182
‘contemporaneous statements or conditions’ that demonstrate        F.Supp.2d 982, 994 (S.D. Cal. 2002) (Citations omitted).
the defendants knew or were deliberately reckless of the           Plaintiffs fail to allege how they learned that Ron Hall
false or misleading nature of the statements when made.”)          was the sender. If Plaintiffs are relying on a “confidential
(Emphasis added); seealso, Osher v. JNI Corp., 256 F.Supp.2d       source”, they must “reveal with particularity the sources of
at 1159 (Defendant “allegedly made false statements during         their information.... Naming sources is unnecessary so long
the conference call on October 16, 2000. It seems, however,        as the sources are described with sufficient particularity to
that the ‘Sxxx’ email was circulated after the alleged false       support the probability that a person in the position occupied
statements. Thus, the email does not necessarily establish         by the source would possess the information alleged and
that the fourth quarter was ‘not looking so great’ on October      the complaint contains adequate corroborating details” In re
16, 2000.”); In re Global Crossing, 322 F.Supp.2d at 346           Daou Systems, Inc. Securities Litigation, 397 F.3d at 712
(“[D]efendants cannot be held liable for failing to anticipate     (Citations and quotations omitted). As it now stands, however,
future events....”).                                               Plaintiffs' allegations are insufficient under the PSLRA.

 *58 Moreover, the emails are insufficiently pled under the        Lastly, the exhibit dispels any suggestion that there was
PSLRA. “Under the PSLRA ... the [P]laintiffs are required          a strong inference that Moores was deliberately reckless,
to allege in detail facts giving rise to a strong inference of     or acted with an intent to deceive or defraud the public.
scienter.” In re Vantive Corp. Securities Litigation, 283 F.3d     See, In re Worlds of Wonder Securities Litigation, 35
at 1091. They have failed to do so. Specifically, Moores           F.3d at 1424 (“[S]cienter [is] a mental state embracing
has submitted the email the Complaint alleges “Ron Hall”           intent to deceive, manipulate, or defraud.”); Nursing Home
sent in October 3, 2001. (Moores Motion Attached Exh. “P”;         Pension Fund. Local 144 v. Oracle Corp., 380 F.3d at 1230
Johnson Decl. ¶ 16.) As previously noted, “[a] district court      (“[R]ecklessness only satisfies scienter under § 10(b) to
ruling on a motion to dismiss may consider documents whose         the extent that it reflects some degree of intentional or
contents are alleged in a complaint and whose authenticity         conscious misconduct”). The exhibit reveals that less than
no party questions, but which are not physically attached          an hour after receiving the October 3, 2001 email, Moores
to the plaintiff's pleading.” Parrino v. FHP, Inc., 146 F.3d       forwarded the email to Gardner, then chairman and CEO of
699, 705-706 (9th Cir. 1998). Plaintiffs do not question the       Peregrine, inquiring about what the sender was “complaining
authenticity of the document.                                      about.” (Moores Motion Attached Exh. “P”.) The exhibit then
                                                                   reveals that Gardner informed Moores that Peregrine “will
The exhibit submitted reveals that the October 3, 2001 email       book a whopping $1.7 million [in the] quarter out of all
was anonymously sent. No where in the contents of the              of Asia Pacific (Japan, Australia, Singapore, China, etc.)”,
email is there any reference to Ron Hall. Plaintiffs must          and that “it [was] pretty clear that the amounts [the sender]
thus state “the sources of [their] information with respect        [was] referring to ha[d] no bearing on [Peregrine's] revenue
to the [emails], [and] how [they] learned of the [emails]....”     recognition policies.” (Id.) Gardner also assured Moores
Silicon Graphics, 183 F.3d at 985; Novak, 216 F.3d at              that he “will investigate” the matter. (Id.) The Complaint
309 (“Where plaintiffs contend defendants had access to            is silent as to what Moores did them after, and the Court



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cannot speculate that Moores acted recklessly. “The Reform         Although the Complaint provides details concerning the
Act does not permit district courts to speculate as to the         EXB swap transaction, it fails to provide sufficient basis of
existence of unpled and unidentified facts that could raise        knowledge. See, Novak, 216 F.3d at 309 (“Where plaintiffs
a strong inference of scienter.” Reiser v. Price Waterhouse        contend defendants had access to contrary facts, they must
Coopers LLP, 117 F.Supp.2d 1003, 1011 (S.D. Cal. 2000).            specifically identify the reports or statements containing
Accordingly, the alleged emails do not establish scienter.         this information.”). The Complaint fails to allege any facts
                                                                   forming the basis of Plaintiffs' belief. The Complaint also fails
                                                                   to allege facts indicating that Nelson “knew or must have been
  e. Improperly Recorded Transactions.                             aware of the improper revenue recognition ....” DSAM, 288
 *59 Attachments to the Complaint identify seventeen (17)          F.3d at 391.
improperly booked transactions. See, Parrino v. FHP, Inc.,
146 F.3d 699, 705-06 (The Court may “consider material             Moreover, as previously discussed, Nelson is only responsible
which is properly submitted [or attached] as part of the           for press releases following quarters one through four in
complaint....”). Nelson is implicated in four transactions. 22     2000 and the first quarter of 2001, which ended June
For the reasons that follow, the allegations regarding these       30,2000. The press release following the first quarter of
transactions fail to show scienter on the part of Nelson.          2001 was allegedly issued on July 19, 2000. The EXB
                                                                   transaction was recorded June 30, 2001, at close of second
22                                                                 quarter of 2002 and after Nelson allegedly made the false
       The Complaint identifies other Defendants--
       Gardner, Gless, Cappel, Spitzer, and Powanda                statements. See, Ronconi v. Larkin, 253 F.3d at 432 (To show
       who were allegedly involved in the transactions.            scienter, “the complaint must contain allegations of specific
       As noted, however, the Court has already found              ‘contemporaneous statements or conditions’ that demonstrate
       that, under Section 10(b), Plaintiffs adequately            the intentional or the deliberately reckless false or misleading
       state a claim against Gardner, Gless, Cappel, and           nature of the statements when made.”); Yourish v. California
       Spitzer, and thus will not discuss their involvement.       Amplifier, 191 F.3d at 997 (“It is clearly insufficient for
       Similarly, the Court will not discuss Powanda's             plaintiffs to say that a later, sobering revelation makes an
       liability as he withdrew his Motion. (Docket No.            earlier, cheerier statement a falsehood.”); In re GlenFed, 42
       597.)                                                       F.3d at 1548 (Finding “no reason to assume that what is
                                                                   true at the moment plaintiff discovers it was also true at the
                                                                   moment of the alleged misrepresentation....”). As such, the
   (i) eXchangeBridge
                                                                   EXB transaction does not show scienter.
EXchangeBridge, Inc. (“EXB”) provides electronic and
paper transaction processing services to the food brokerage
industry. (Complaint Attached Exh. “E” at 10.) As of                  (ii) Critical Path, Inc.
February 2001, Peregrine owned approximately 78% of the             *60 The Complaint next alleges revenue was improperly
preferred stock (with voting rights) in this corporation. (Id.)    recognized in a swap transaction involving Critical Path Inc.
Moreover, two members of Peregrine management, including           (“Critical Path”) in September 2000. (Complaint Attached
Nelson, constituted two-thirds of EXB's board of directors.        Exh. “E” at 17.) The Complaint then alleges “[e]-mail
(Id.) The Complaint alleges Nelson, on behalf of Peregrine,        correspondence ... shows that ... Nelson ... knew the
agreed to purchase an EXB note and another debt owed to            transaction was merely a swap for which revenue could
Crossmark, a customer of EXB, for $1.5 million in Peregrine        not be recognized.” (Id.) However, the only “e-mails”
stock. (Id.) In exchange for the purchase, Crossmark agreed to     Nelson allegedly received was first “ ‘the latest’ version of
“purchase” roughly $1.6 million of software from Peregrine         Critical Path documents on September 27, 2000” and then
through EXB. (Id.) According to the Complaint, “Nelson             another “e-mail ... attaching the ‘Final, Final’ version of the
insisted that EXB - and thus Peregrine - recognize the full $1.6   documents.” (Id. at 18.) These allegations are insufficient
million software license fee immediately in the June 2001          to show Nelson “knew or must have been aware of the
quarter despite the fact that the transaction was nothing more     improper revenue recognition ....” DSAM, 288 F.3d at 391.
than a contingent swap transaction.” (Id. at 11) Further, the      Moreover, the transaction was allegedly booked no sooner
Complaint alleges that EXB's CFO was fired after objecting         than September 2000, which again is after Nelson made his
to Nelson's accounting treatment. (Id.)                            alleged false or misleading statements.



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   (iii) IBM/Tivoli
The Complaint alleges “transactions with IBM gave rise to              f. Insider Trading,
improper revenue recognition.” (Complaint Attached Exh.             Plaintiffs allege that a strong inference of scienter exists
“E” at 42.) The only allegations against Nelson are that he         because of widespread insider trading on the part of various
“signed the agreement on behalf of Peregrine.” (Id. at 43.)         Defendants. “Insider trading in suspicious amounts or at
Needless to say, these allegations are insufficient to show         suspicious times is probative of bad faith and scienter.” In re
Nelson “knew or must have been aware of the improper                Apple Computer Securities Litigation, 886 F.2d 1109, 1117
revenue recognition....” DSAM, 288 F.3d at 391.                     (9th Cir. 1989); seealso, In re Daou Systems, Inc. Securities
                                                                    Litigation, 397 F.3d at 718 (“[T]he PSLRA neither prohibits
                                                                    nor endorses the pleading of insider trading as evidence
   (iv) CI Software Solutions                                       of scienter, but requires that the evidence meet the ‘strong
Lastly, according to the Complaint, “Peregrine entered              inference’ standard.”). But, “[i]nsider trading is suspicious
into several transactions with CI Software Solutions” (“CI          only when it is dramatically out of line with prior trading
Software”) for which Peregrine booked the orders as revenue         practices at times calculated to maximize the personal benefit
although CI Software was under no obligation to pay for the         from undisclosed inside information.” Silicon Graphics, 183
software until it was sold-through to the end-user. (Complaint      F.3d at 986. “Among the relevant factors to consider are:
Attached Exh. “E” at 50.) The revenue from one of the               (1) the amount and percentage of shares sold by insiders;
transactions was allegedly recorded “in the fourth quarter of       (2) the timing of the sales; and (3) whether the sales were
fiscal year 2000....” (Id.) The Complaint then alleges “Nelson      consistent with the insider's prior trading history.” Id. “The
knew” these transactions were “improper.” (Id.) As support,         central question, then, is whether the stock transactions in
the Complaint points to an email Nelson allegedly wrote on          question were so ‘suspicious’ or ‘unusual’ as to give rise
April 18, 2001: “The original Reseller Agreement between            to the strong inference of fraudulent intent.” Ressler v.
the companies was put in place largely because we were led          Liz Claiborne, Inc., 75 F.Supp.2d 43, 58 (E.D.N.Y. 1999).
to believe that CI [Software] would be successful in winning        “[M]ere pleading of insider trading, without regard to context
CSC as a Peregrine System customer for asset management,            or strength of inferences to be drawn, is not enough.... At a
which has yet to happen.” (Id.) These allegations fail to show      minimum, the trading must be in a context where defendants
Nelson “knew or must have been aware of the improper                have incentives to withhold material, nonpublic information,
revenue recognition ....” DSAM, 288 F.3d at 391. Indeed,            and it must be unusual, well beyond the normal patterns of
the email Nelson allegedly wrote suggests that he believed          trading by those defendants.” In re Securities Litigation BMC
“that Cl [Software] would be successful in winning CSC as a         Software, Inc., 183 F.Supp.2d 860, 900 (S.D. Tex. 2001).
Peregrine System customer ....”                                     “Even if these factors reveal stock sales to be ‘suspicious,’
                                                                    some courts will not infer scienter on the basis of stock
Moreover, the revenue from this alleged improper transaction        sales alone.” In re Copper Mountain Securities Litigation,
was recorded “in the fourth quarter of fiscal year 2000”, which     311 F.Supp.2d 857, 874 (N.D. Cal. 2004) (Citations omitted).
ended March 30,2000. There are, however, no allegations             Seealso, Ronconi, 253 F.3d at 435 (“[N]ot every sale of stock
that “point[ ] to inconsistent contemporaneous statements or        by a corporate insider shows that the share price is about
information ... which were made by or available to” Nelson          to decline. A corporate insider may sell stock to fund major
before March 30, 2000 or at the time of his alleged statement       family expenses, diversify his portfolio, or arrange his estate
following the fourth quarter of 2000 on April 26, 2000. In          plan. He may sell stock twice a year when the college tuition
re GlenFed, 42 F.3d at 1548; seealso, In re Silicon Graphics        for his children is due.”).
Inc. Securities Litigation, 183 F.3d at 1000 (The Complaint
must plead “contrast[s] between what [Defendant] w[as]               *61 Against this backdrop, the Court will determine whether
hearing internally about and what [he] was telling the public       a Defendant's alleged insider trading shows scienter on his
at the same time.”) (Emphasis original); In re Read-Rite            part. Before doing so, however, the Court notes the following
Corp., 335 F.3d at 847 (“[W]e hold that the district court          limitations. As previously noted, Plaintiffs cannot state a
correctly concluded that Plaintiffs did not point to any specific   claim based on allegations of insider trading. This is because
evidence, such as contemporaneous reports or statements of          Plaintiffs' case is based on the “fraud on the market” theory.
others, in support of their allegations of scienter”). As such,     See, Heliotrope General, Inc. v. Ford Motor Co., 189 F.3d 971,
the transaction does not give rise to scienter.                     975 (9th Cir. 1999). (Seealso, Complaint ¶ 48.) Moreover, the


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Complaint does not allege that any of the Plaintiffs traded
shares at the same time as the Defendants. Standing to assert     Based on these figures, Luddy's sales were not dramatically
a duty to disclose extends only to contemporaneous traders        out of line with his trading before the Class Period. His
during the alleged insider trading. See, 15 U.S.C. § 78t-1        sales were relatively consistent, and Luddy did not sell
(Limiting standing for insider trading claims to plaintiffs       significantly more stock during the Class Period than he
that “contemporaneously” bought or sold securities of the         did before it. In fact, Luddy sold virtually the same amount
same class); In re Seagate Technology II Securities Litigation,   of shares. Moreover, “[l]arge numbers of stock sales by
843 F.Supp. at 1370 (“Because plaintiffs here were not            themselves do not necessarily create a strong inference of
contemporaneous traders during the alleged insider trading,       fraud.” In re Syncor Intern, Corp. Securities Litigation, 327
they have no standing to assert the duty to disclose imposed      F.Supp.2d 1149, 1164 (C.D. Cal. 2004). Rather, as noted
upon insider traders.”). Therefore, the Complaint's allegations   above, the Court must find the stock sales to be “dramatically
that certain Defendants engaged in insider trading without        out of line with prior trading practices at times calculated
making disclosure of material information do not state a          to maximize the personal benefit from undisclosed inside
claim. (See, Complaint ¶ ¶ 16 and 177). Similarly, Plaintiffs     information.”Silicon Graphics, 183 F.3d at 986; Osher v.
cannot establish scienter based on allegations that from          JNI Corp., 256 F.Supp.2d 1144, 1163 (S.D. Cal. 2003)
February 15, 2000 to February 19, 2000, certain Defendants        (“[U]nusual or suspicious stock sales by corporate insiders
engaged in insider trading based on undisclosed information       constitute circumstantial evidence of scienter only if the
relating to Peregrine's acquisition of Harbinger. Plaintiffs      trading is ‘dramatically out of line with prior trading practices
do not allege any false or misleading statements relating         at times calculated to maximize the personal benefit from the
to Peregrine's acquisition of Harbinger. See, In re Vantive       undisclosed inside information.’ ”), The sales in which Luddy
Corp. Securities Litigation, 283 F.3d at 1094. Moreover, and      engaged during the Class Period adhered to the pattern of his
because the Complaint does not allege Defendants made any         prior sales and do not appear to be “unusual” in either their
statements regarding the Harbinger merger, they did not have      amount or their timing.
a duty to disclose anything about the proposed merger. See,
Friedman v. Royovac Corp., 295 F.Supp.2d at 988 (“[E]ven          The Complaint also fails to tie Luddy's sales with any of
if a reasonable investor would want to know an omitted            the alleged false or misleading statements. The “trading must
fact, there is no duty to disclose it unless omitting it alters   coincide with false or misleading statements-a missing link
the meaning of a statement that was made.”). With these           in this case. Absent additional evidence, it is not possible
limitations in mind, the Court will now determine whether         to draw a strong inference of scienter based on improper
each Defendant's alleged insider trading establishes scienter     trading on material, non-public information.” In re Navarre
on the part of any particular Defendant.                          Corp. Securities Litigation, 299 F.3d 735, 748 (8th Cir. 2002)
                                                                  (Citations omitted). “Finally, [Luddy] is not alleged to have
                                                                  uttered a word, or have participated in preparing statements,
   (i) Luddy's Insider Trading.                                   during the entire [C]lass [P]eriod. There accordingly is no
As previously noted, the Complaint fails to state a Section       basis for finding circumstantial evidence of fraud in [Luddy's]
10(b) claim against Luddy. Luddy has neither employed             stock sales.” In re Vantive Corp. Securities Litigation, 283
a scheme to defraud or made any false or misleading               F.3d at 1094; seealso, Silicon Graphics, 183 F.3d at 987-88
statements. Thus, the Court need not address whether Luddy's      (Insider's failure to utter any of the allegedly false statements
scienter, but will do so anyways.                                 helped dispel an inference of fraud that the plaintiffs asserted
                                                                  flowed from that insider's stock sales). (Seealso, Plaintiffs'
Luddy's alleged insider trading does not establish scienter       Opposition at 6:3-4: Luddy “is not quoted in press releases
on his part. The Complaint alleges Luddy sold 368,789             or did not personally speak to securities analysts....”); Chan
shares, and received gross proceeds totaling $11,823,660.44.      v. Orthologic Corp., 1998 WL 1018624 at *12 n. 9 (D. Ariz.
(Complaint ¶ 332.) Before the Class Period, the Complaint         1998) (“Plaintiffs cannot use allegations of insider trading
alleges, Luddy held 416, 144 shares and sold 397,196, or          to attribute misstatements to insiders who are not otherwise
95% of his holdings. (Id. ¶ 334.) During the Class Period,        identified as [responsible] for such misstatements.”); Head v.
Luddy held 465,763 shares and sold 465,763, or 100% of his        NetManage, Inc., 1998 WL 917794 at *5 (N.D. Cal. 1998)
Class Period holdings. (Id.) Approximately 75% of Luddy's         (Defendant's trades not suspicious, “particularly in light of the
proceeds from insider sales were derived from sales during
the Class Period.


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fact that he is not alleged to have personally made any of the    September 1, 1999 through February 8, 2001, there was a
false statements”).                                               black out on trading by Peregrine insiders based on a series
                                                                  of Company events. As a result, during the Class Period,
                                                                  although there were 699 public trading days, the black-out
   (ii) Van den Berg's Insider Trading.                           periods referenced above meant that officers and directors
 *62 According to the Complaint, “[b]efore the Class Period,      could trade during only 225 of those days.” (Complaint
van den Berg held 402,144 shares and sold 270,000, or 67%         ¶ 234.) “But, courts have repeatedly held that the mere
of his holdings. During the Class Period, on February 22,         existence of stock sales does not raise a strong inference of
2000, van den Berg held 78,744 shares and sold 40,000             fraudulent intent. Plaintiffs have the burden at the pleading
or 51% of his Class Period holdings. (Complaint ¶ 365.)           stage of explaining why the stock sales were unusual or
The Complaint further alleges “[a]ll 40,000 shares were           suspicious.” In re PETsMART, 61 F.Supp.2d at 1000. What
sold during [Peregrine's] imposed black-out period.” (Id.)        the Complaint fails to allege is what these “series of Company
As alleged, van den Berg's alleged insider trading does not       events” were and why or how they were significant to van
establish scienter.                                               den Berg's, or any other Defendant's, mental state. See,
                                                                  Ochs v. Shearson Lehman Hutton Inc., 768 F.Supp. 418, 427
“The mere fact that insider stock sales occurred does not         (S.D.N.Y. 1991) (“Knowledge is a state of mind. So is intent
suffice to establish scienter.” Shaw v. Digital Equipment         to defraud, or ‘scienter.’ ”).
Corp., 82 F.3d 1194, 1224 (1st Cir. 1996). To create an
inference of scienter, Plaintiffs must establish that the stock
sales during the Class Period were “suspicious” or “unusual.”        (iii) Nelson's Insider Trading.
In re Apple Computer Secs. Litig., 886 F.2d at 1117 (“Insider      *63 The Complaint alleges “[b]efore the Class Period
trading in suspicious amounts or at suspicious times is           Nelson held 386,500 shares and sold 133,500, or 35% of
probative of bad faith and scienter”). Van den Berg's insider     his holdings. During the Class Period, Nelson held 457,451
trading was isolated or limited to a single occurrence. This is   shares and sold 375,000 or 82% of his Class Period holdings.
not sufficient to enhance any inference of scienter. In other     Approximately 90% of Nelson's proceeds from insider sales
words, van den Berg's “trading history is too limited to give     were derived from sales during the Class Period.” (Complaint
rise to an inference of intent to defraud.” In re Securities      ¶ 315.) As the Complaint reflects, during the Class Period,
Litigation BMC Software, Inc., 183 F.Supp.2d at 901-902;          Nelson sold shares two times, August 1999 and February
seealso, In re Silicon Graphics, 183 F.3d at 987 (Stock sales     2001. In August 1999, Nelson sold 87,500 shares, which
cannot be viewed as ‘unusual’ where defendant “ha[s] no           consisted of 40% of his holdings at that time. In February
significant trading history for purposes of comparison”).         2001, Nelson sold 200,000 shares of a total 276,000, or
                                                                  72% of his total holdings. Based on these allegations, the
Moreover, no inference can be drawn that van den Berg             Court previously found that Nelson's trading did not establish
wanted to “maximize [his] personal benefit from undisclosed       scienter on his part. (See, Order dated November 21, 2003
inside information.” In re Silicon Graphics, 183 F.3d at 986.     at 67-69.) The Complaint makes no additional, or materially
The Complaint alleges van den Berg violated Section 10(b)         different, allegations. The insider trading allegations are
by making false or misleading statements about the financial      essentially identical to the claims of insider trading allegations
health of Peregrine in May 2000, including statements in: (a)     the Court previously dismissed. Thus, for the same reasons
10-K for the Fiscal Year 2000, which was published in May         stated in the Court's original Order, Nelson's alleged insider
10, 2000, and (b) May 22, 2000 Amendment No.1 to the S-4          trading does not establish scienter on his part.
Registration Statement on Harbinger merger proposal. (See,
Plaintiffs' Opposition at 7:23-25.) But ven den Berg allegedly
engaged in the insider trading before he made the statements-        (iv) Noell's Insider Trading.
in February 2000--not after. See, Wenger v. Lumisys, Inc., 2      Noell's alleged insider trading does not establish scienter
F.Supp.2d at 1251 (Stock sales not suspicious where “none         on his part. The Complaint alleges “[b]efore the Class
of the sales occurred at suspicious times such as immediately     Period, Noell held 515,428 shares and sold 274,000 or
before a negative earnings announcement”). Lastly, that van       53% of his holdings. During the Class Period, Noell held
den Berg allegedly traded during Peregrine's imposed black-       187,543 shares and sold 174,375, or 93% of his Class
out period, by itself, is insufficient to establish that his      Period holdings. Approximately 74% of Noell's proceeds
trading was “suspicious.” According to the Complaint, “from       from insider sales were derived from sales during the Class


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Period.” (Complaint ¶ 358.) According to the Compliant,             the SEC on May 22, 2000 and July 23, 2001 respectively.
however, Noell's trading during the Class Period occurred           “[S]tock sales are helpful only in demonstrating that certain
once in February 2000, and twice in February 2001. (Id. at          statements were misleading and made with knowledge or
356.) As alleged, Noell's “trading history is too limited to        deliberate recklessness when those sales are able to be related
give rise to an inference of intent to defraud.” In re Securities   to the challenged statements.” In re Vantive, 283 F.3d at
Litigation BMC Software, Inc., 183 F.Supp.2d at 901-902;            1093. None of Cole's alleged sales took place immediately
seealso, In re Silicon Graphics, 183 F.3d at 987 (Stock             following the dissemination of his alleged false or misleading
sales cannot be viewed as ‘unusual’ where defendant “ha[s]          statements, or otherwise linked to those statements. See,
no significant trading history for purposes of comparison”).        In re Navarre Corp. Securities Litigation, 299 F.3d at 748.
Moreover, Noell received at most $43 per share-well below           Moreover, Cole received at most $50 per share--well below
the peak stock price of $79. Accordingly, his alleged sales         the peak stock price of $79. Accordingly, his alleged sales
were not “calculated to maximize the personal benefit from          were not “calculated to maximize the personal benefit from
the undisclosed inside information.” Silicon Graphics, 183          the undisclosed inside information.”Silicon Graphics, 183
F.3d at 986.                                                        F.3d at 986. Cole's alleged insider trading does not establish
                                                                    scienter on his part.

   (v) Watrous' Insider Trading.
The Complaint alleges “[b]efore the Class Period, Watrous              (vii) Moores's Insider Trading.
held 20,000 shares and sold 10,000 or 50% of his holdings.           *64 The volume of shares Moores sold was greater than
During the Class Period, Watrous held 25,000 shares and             that of any other Defendant. According to the Complaint,
sold 15,000or 60% of his Class Period holdings. Almost 86%          “[b]efore the Class Period, Moores held 39,098,756 shares
of Watrous's proceeds from insider sales were derived from          and sold 17,123,768, or 44% of his holdings. During the Class
sales during the Class Period.” (Complaint ¶ 368.) Watrous          Period, Moores held 18,515,263 shares and sold 17,407,841,
alleged insider trading during the Class Period occurred            or 94% of his Class Period holdings. 72% of Moores'
only one time--February 25, 2000. (Id. ¶ 367.) As alleged,          total proceeds from insider sales of Peregrine stock were
Watrous's “trading history is too limited to give rise to an        derived from sales during the Class Period.” (Complaint
inference of intent to defraud.” In re Securities Litigation        ¶ 348.) However, “[l]arge numbers of stock sales by
BMC Software, Inc., 183 F.Supp.2d at 901-902; seealso, In           themselves do not necessarily create a strong inference of
re Silicon Graphics, 183 F.3d at 987 (Stock sales cannot be         fraud.” In re Syncor Intern. Corp. Securities Litigation,
viewed as ‘unusual’ where defendant “ha[s] no significant           327 F.Supp.2d at 1164; seealso, Wenger v. Lumisys, Inc.,
trading history for purposes of comparison”).                       2 F.Supp.2d 1231, 1251 (N.D. Cal. 1998)( “[S]tock sales
                                                                    alone cannot create a strong inference of scienter.”); In re
                                                                    Splash Technology Holdings, Inc. Securities Litigation, 160
   (vi) Cole's Insider Trading.                                     F.Supp.2d 1059,1081 (N.D. Cal. 2001) (“Although viable
The Complaint alleges “[b]efore the Class Period, Cole held         circumstantial evidence of scienter, stock sales alone cannot
2,523,284 shares and sold 330,000, or 13% of his holdings.          create a strong inference of scienter.”). Similarly, as noted,
During the Class Period, Cole held 2,339,534 shares and             “[i]nsider stock sales are not inherently suspicious; they
sold 1,304,000 or 56% of his Class Period holdings. Almost          become so only when the level of trading is ‘dramatically
86% of Cole's proceeds from insider sales were derived              out of line with prior trading practices at times calculated
from sales during the Class Period.” (Complaint ¶ 362.)             to maximize the personal benefit from undisclosed inside
Cole's alleged insider trading occurred during July 1999,           information.’ ” In re Vantive Corp., 283 F.3d at 1092 (quoting
August 1999, February 2000, February 2001, November                 Ronconi, 253 F.3d at 435). “[C]omplaints based on insider
2001, November 2002, and February 2002. See, Silicon                trading must allege more than that the defendant benefitted
Graphics, 183 F.3d at 986 (In determining whether stock sales       from trading because of a false statement or misleading
give rise to scienter, the court must consider “the timing of       omission; the insider trades have to be ‘unusual,’ either in the
the sales....”). The fraudulent conduct attributed to Cole are      amount of profit made, the amount of stock traded, the portion
his alleged misleading statements in Amendment No. 1 to             of stockholdings sold, or the number of insiders involved,
the S-4 Registration Statement on Harbinger merger proposal         before they will give rise to the required inference of scienter.”
and Amendment No. 1 to the S-4 Registration Statement on            Florida State Bd. of Admin. v. Green Tree Financial Corp.,
Remedy merger proposal. These statements were filed with            270 F.3d 645, 659 (8th Cir. 2001).


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                                                                     fail to attribute the alleged motive to any particular Defendant.
Even if stock sales alone sufficed, the sales here do not            Moreover, such motivations are far too common to support
appear unusual nor suspicious. As noted above, to determine          an inference of scienter. See, Linton v. Pathogenesis Corp.,
scienter, the Court must consider the timing of Moores's             284 F.3d 1027, 1038 (9th Cir. 2002) (“If scienter could
alleged sales. According to the Complaint, Moores sold his           be pleaded merely by alleging that officers and directors
shares during July 1999, February 2000, and February 2001.           possess motive and opportunity to enhance a company's
(Complaint ¶ 346.) The fraudulent conduct Moores allegedly           business prospects, virtually every company in the United
engaged in was making false or misleading statements in the:         States that experiences a downturn in stock price could
(a) 10-K for the Fiscal Year 2000, (b) 10-K for the Fiscal           be forced to defend securities fraud actions. [Defendants']
Year 2001, (c) Amendment No. 1 to the S-4 Registration               alleged desires to obtain favorable financing and to expand
Statement on Harbinger merger proposal, and (d) Amendment            abroad are in themselves ordinary and appropriate corporate
No. 1 to the S-4 Registration Statement on Remedy merger             objectives. Such routine business objectives, without more,
proposal. These statements were filed with the SEC on May            cannot normally be alleged to be motivations for fraud. To
10, 2000, June 29, 2001, May 22, 2000, and July 23, 2001. As         hold otherwise would be to support a finding of fraudulent
such, none of the alleged sales are related to, or immediately       intent for all companies that plan to lower costs and expand
following, the alleged making of the false or misleading             sales.”); Abrams v. Baker Hughes Inc., 292 F.3d 424, 434
statements. See, In re Navarre Corp. Securities Litigation, 299      (5th Cir. 2002) (“The plaintiffs allege that the defendants were
F.3d at 748; Wenger v. Lumisys, Inc., 2 F.Supp.2d at 1251            motivated to commit fraud by the need to raise capital, the
(Stock sales not suspicious where “none of the sales occurred        desire for enhanced incentive compensation and the desire
at suspicious times such as immediately before a negative            to sell stock at inflated prices. This court has held that
earnings announcement”). Moreover, Moores received at                similar allegations were insufficient to support an inference of
most about $53.00 per share-far below the peak stock price of        scienter.”); Nathenson v. Zonagon Inc., 267 F.3d 400, 420 (5th
$79. (Complaint ¶ 346.) Thus, his sales were not “calculated         Cir. 2001) (“[A]llegations that corporate officers and directors
to maximize the personal benefit from the undisclosed inside         would benefit from enhancing the value of their stock and/
information.” Silicon Graphics, 183 F.3d at 986. Accordingly,        or stock options and that the corporation would benefit by
as alleged, Moores' alleged insider trading do not establish         receiving more for its shares to be issued in [an upcoming]
scienter on his part.                                                public offering are ... insufficient to support a strong inference
                                                                     of scienter.”); Tuchman v. DSC Communications Corp., 14
                                                                     F.3d 1061, 1068-69 (5th Cir. 1994) (“Incentive compensation
   g. Allegations of Improper Motive To Commit Fraud.                can hardly be the basis on which an allegation of fraud
Defendants' motive to falsely report Peregrine's revenue is          is predicated ... [W]ere the opposite true, the executives
repeatedly referenced in the Complaint. (See, e.g., Complaint        of virtually every corporation ... would be subject to fraud
¶¶ 82-83). For example, Plaintiffs allege that Defendants            allegations. It does not follow that because executives have
had a motive to inflate the stock price because a high price         components of their compensation keyed to performance,
would help them pursue “acquisitions and strategic alliances         one can infer fraudulent intent.”); Tarica v. McDermott Int'l.
while using [Peregrine's] common stock as currency for these         Inc., 2000 WL 1346895 at *10 (E.D. La. 2000) (Corporate
purchases or alliances.” (Id. ¶ 83; see also, Id. ¶ 3: “The higher   acquisitions do not provide legally sufficient bases for
the price of Peregrine stock, the fewer the number of shares         scienter; they “are routine corporate events, and the courts
Peregrine would have to issue for each acquisition. That was         reject motive theories that would almost universally permit an
significant to the individually named defendants herein who          inference of fraud”).
served as officers or directors Peregrine because they owned
a substantial number of shares of Peregrine common stock
and did not want the value of their holdings diluted by the             h. Arthur Andersen and AWSC's Scienter.
issuance of too many new shares. Thus, in order to keep up the        *65 As previously noted, Arthur Andersen is potentially
price of the Company's stock, it was imperative that Peregrine       responsible for their alleged false audit opinions, or
meet Wall Street's expectations and continue to report strong        statements, in Peregrine's Form 10Ks filed in 2000 and
demand for its products so that investors could expect record        2001 as well as the two S-4 Registrations Peregrine filed in
sales and earnings growth to continue quarter after quarter.”)       connection with Harbinger and Remedy merger proposals.
Under the PSLRA, these generalized assertions of motive,             AWSC is potentially responsible only for the two S-4
without more, are inadequate to establish scienter. Plaintiffs       Registrations. According to the Complaint, “Arthur Andersen


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was engaged by Peregrine to provide independent auditing          (“An accountant's greatest asset is its reputation for honesty,
and accounting services throughout the Class Period” and          followed closely by its reputation for careful work. Fees for
AWSC assisted Arthur Andersen. (Complaint ¶¶ 402 and              two years' audits could not approach the losses [defendant]
456.) Most of the allegations against both Arthur Andersen        would suffer from a perception that it would muffle a client's
and AWSC are substantially identical, though the allegations      fraud.”).
against Arthur Andersen are more inclusive. Thus, for
purposes of efficiency, the Court will refer to Arthur Andersen   Second, because an independent accountant often depends
when analyzing scienter on the part of both Defendants.           on its client to provide the information base for the audit, it
                                                                  is almost always more difficult to establish scienter on the
To adequately allege scienter, the Complaint must now             part of the accountant than on the part of its client. See,
show that Arthur Andersen's “accounting practices were so         Bily v. Arthur Young & Co., 834 P.2d 745, 762 (1992) (“An
deficient that the audit amounted to no audit at all, or an       auditor is a watchdog, not a bloodhound. As a matter of
egregious refusal to see the obvious, or to investigate the       commercial reality, audits are performed in a client-controlled
doubtful, or that the accounting judgments which were made        environment.”); Novak v. Kasaks, 216 F.3d 300, 309 (2d
were such that no reasonable accountant would have made           Cir. 2000) (“[T]he failure of a non-fiduciary accounting firm
the same decisions if confronted with the same facts.” DSAM       to identify problems with the defendant-company's internal
Global Value Fund v. Altris Software, Inc., 288 F.3d 385,         controls and accounting practices does not constitute reckless
390 (9th Cir. 2002). The Complaint must allege “facts to          conduct sufficient for § 10(b) liability.”); Rothman v. Gregor,
establish that [Arthur Andersen] knew or must have been           220 F.3d 81, 98 (2d Cir. 2000) (Reversing dismissal of
aware of the improper revenue recognition, intentionally or       securities complaint in favor of corporation and its officers,
knowingly falsified the financial statements, or that the audit   but affirming dismissal as to independent accountant).
was such ‘an extreme departure’ from reasonable accounting
practice that [Arthur Andersen] ‘knew or had to have known’        *66 Lastly, the report generated by an independent
that its conclusions would mislead investors.” Id. at 390-391.    accountant often represents a “professional opinion based
Thus, recklessness on the part of an independent auditor          on numerous and complex factors.” Bily v. Arthur Young
entails a mental state so culpable that it “approximate[s] an     & Co., 834 P.2d at 763. “Although ultimately expressed in
actual intent to aid in the fraud being perpetrated by the        shorthand form, the report is the final product of a complex
audited company.” Decker v. Massey-Ferguson, Ltd., 681            process involving discretion and judgment on the part of the
F.2d 111, 121 (2d Cir. 1982); Pegasus Fund, Inc. v. Laraneta,     auditor at every stage. Using different initial assumptions and
617 F.2d 1335, 1341 (9th Cir. 1980) (Auditor's recklessness       approaches, different sampling techniques, and the wisdom
“must come closer to being a lesser form of intent [to            of 20-20 hindsight, few CPA audits [are] immune from
deceive or defraud] than merely a greater degree of ordinary      criticism.” Id.; seealso, In re GlenFed, Inc. Securities Litig.,
negligence.”) (Internal quotations omitted).                      42 F.3d 1541, 1549 (9th Cir. 1994) (En banc) (Recognizing
                                                                  that “flexible accounting concepts do not always (or perhaps
Aside from the foregoing pleading requirements, Plaintiffs        ever) yield a single correct figure.”); Lovelace v. Software
must also meet several additional obstacles. First, a large       Spectrum, Inc., 78 F.3d 1015, 1020-21 (5th Cir. 1996) (Same).
independent accountant will rarely, if ever, have any rational    “In sum, the lack of a rational economic incentive for an
economic incentive to participate in its client's fraud. Unlike   independent accountant to participate in fraud, the client's
the officers and directors of the companies it represents,        central role in providing information to the accountant, and
an independent accountant has no ability to line its pockets      the complex professional judgment required to perform an
through insider trading, and no incentive to cover up             audit, make it exceedingly difficult for a securities plaintiff to
corporate mismanagement. The accountant's success depends         plead facts suggesting that an independent accountant acted
on maintaining a reputation for honesty and integrity,            with the deliberate state of mind now required to withstand
requiring a plaintiff to overcome the irrational inference        a motion to dismiss Reiger v. Price Waterhouse Coopers,
that the accountant would risk its professional reputation to     LLP, 117 F.Supp.2d 1003, 1008 (S.D. Cal. 2000). Against this
participate in the fraud of a single client. See, In re Worlds    backdrop, the Complaint fails to show scienter on the part of
of Wonder Securities Litig., 35 F.3d 1407, 1427 n.7 (9th Cir.     Arthur Andersen or AWSC.
1994); Melder v. Morris, 27 F.3d 1097, 1103 (5th Cir. 1994);
DiLeo v. Ernst & Young, 901 F.2d 624, 629 (7th Cir. 1990)



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The Complaint first alleges that “[i]n its audit opinions,        calculations, unreasonable accounting procedures, or even
Arthur Andersen falsely. represented that Peregrine's             outright violations of professional standards, without more,
financial statements for fiscal years 2000 and 2001 were          simply do not establish scienter.” In re Ikon Office Solutions,
presented in accordance with GAAP and that Arthur                 Inc. Securities Litigation, 131 F.Supp.2d 680, 692 (E.D.
Andersen's audits had been performed in accordance with           Pa. 2001); seealso, In re Worlds of Wonder, 35 F.3d 1407,
GAAS.” (Complaint ¶ 402.) The Complaint also alleges              1426 (9th Cir. 1994) (“The mere publication of inaccurate
that “Arthur Andersen knew, or was deliberately reckless          accounting figures, or a failure to follow GAAP, without
with regard to the fact that Peregrine's financial statements     more, does not establish scienter.”). “Only where such
were not prepared in conformity with GAAP, causing Arthur         allegations are coupled with evidence that the violations or
Andersen's reports to be in violation of GAAS and SEC             irregularities were the result of the defendant's fraudulent
rules.” (Complaint ¶ 1412; seealso, ¶ 417: “Arthur Andersen's     intent to mislead investors may they be sufficient to state
intentional and/or deliberately reckless design of stock option   a claim.” City of Philadelphia v. Fleming Companies, Inc.,
plans and the accounting therefor ... violated GAAP....”).        264 F.3d 1245, 1261 (10th Cir. 2001); seealso, Abrams
These allegations are conclusory and insufficient to show         v. Baker Hughes, Inc., 292 F.3d 424, 432 (5th Cir. 2002)
scienter. Plaintiffs have not alleged knowing or severely         (“The party must know that it is publishing materially false
reckless publishing of materially false information by specific   information, or must be severely reckless in publishing such
factual allegations. Nor do Plaintiffs show what Arthur           information.”). No such allegations have been made.
Andersen's method of auditing was and whether it was
rejected by industry practice or an independent auditor's          *67 The Complaint next alleges “Arthur Andersen knew
opinion. “Therefore, [P]laintiffs have insufficiently pleaded     from its audit and review work, or was deliberately reckless
scienter based on conscious behavior or severe recklessness       with regard to the fact that [Peregrine] had material
with respect to [Arthur Andersen's] non-compliance with           weaknesses in its internal accounting control structure such
GAAP.” Mortensen v. AmeriCredit Corp., 123 F.Supp.2d              that no reliance could be placed on [Peregrine's] financial
1018, 1026-1027 (N.D. Tex. 2000); seealso, In re Comshare,        reporting system ... which in light of [Peregrine's] tremendous
Inc. Sec. Litig., 183 F.3d at 553 (“Although Plaintiffs           growth, was a blatant ‘red flag’ that Arthur Andersen
speculate that it is likely that Defendants knew of the GAAP      chose to ignore....” (Complaint ¶ 406, 422 and 423.) Again,
violations because they occurred over a long period of time,      these allegations are insufficient because they are not pled
claims of securities fraud cannot rest on speculation and         with the particularity required by the PSLRA. There are
conclusory allegations.”).                                        no specifics as to how “Arthur Andersen knew from its
                                                                  audit and review work ... that [Peregrine] had material
Moreover, “[t]he mere publication of inaccurate accounting        weaknesses in its internal accounting control structure.”
figures, or a failure to follow GAAP, without more, does          The Complaint must “plead, in great detail, facts that
not establish scienter.” In re Software Toolworks Inc., 50        constitute strong circumstantial evidence of deliberately
F.3d 615, 627 (9th Cir. 1994). “[S]cienter requires more          reckless or conscious misconduct.” DSAM Global Value
than a misapplication of accounting principles.” DSAM             Fund v. Altris Software, Inc., 288 F.3d at 388-389. If
Global Value Fund v. Altris Software, Inc., 288 F.3d at           allegations are made on information and belief 23 , “a plaintiff
390. “Courts [also] uniformly hold that allegations of GAAP       must provide, in great detail, all the relevant facts forming
and GAAS violations are insufficient, without more, to            the basis for her relief.” In re Silicon Graphics Inc. Securities
state a securities fraud claim.” Serabian v. Amoskeag Bank        Litigation, 183 F.3d at 985. “There are no allegations
Shares, Inc., 24 F.3d 357, 362 (1st Cir. 1994); seealso,          identifying specific conversations, Board meetings, or reports
Reiser v. Altris Software, 1999 WL 540893 at *7 (S.D.             where [Arthur Andersen] purportedly learned of the true
Cal. 1999) (“[A]llegations that an accountant or auditor          and adverse information.” In re Peerless Systems, Com.
conducted an inadequate audit by violating accounting or          Securities Litigation, 182 F.Supp.2d 982, 994 (S.D. Cal.
auditing principles do not, without more, adequately plead        2002). Notwithstanding, “a plaintiff cannot establish scienter
a strong inference of scienter.”); Chill v. General Elec.         by arguing that an independent auditor ignored a client's
Co., 101 F.3d 263, 270 (2d Cir. 1996) (“Allegations of a          lack of internal controls, failed to exercise additional scrutiny
violation of GAAP provisions or SEC regulations, without          despite knowing its client had reasons to engage in fraudulent
corresponding fraudulent intent, are not sufficient to state      accounting due to its need to raise additional financing and
a securities fraud claim.”). Indeed, “mistakes in accounting      desire to locate an acquirer or merger partner, and neglected



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to investigate obvious and easily discoverable fraud.” In re        increased fees.”); DiLco v. Ernst & Young, 901 F.2d 624, 629
SCB Computer Technology, Inc.Securities Litigation, 149             (7th Cir. 1990) (Rejecting allegations that accounting firm's
F.Supp.2d 334, 363 (W.D. Tenn 2001); seealso, Reiger v.             desire to gamer fees from clients was sufficient motive to
Price Waterhouse Coopers LLP, 117 F.Supp.2d at 1009 n.              commit fraud: “An accountant's greatest asset is its reputation
5 (“Plaintiffs also rely on boilerplate ‘red flags,’ present        for honesty, followed closely by its reputation for careful
in almost every securities fraud action, that the audited           work. Fees for two years' audits could not approach the
company had weak internal accounting controls and needed            losses [the accountant] would suffer from a perception that
to report strong revenues. These allegations do not meet            it would muffle a client's fraud.”); Melder v. Morris, 27
the particularity and strong inference requirements of the          F.3d 1097, 1103 (5th Cir. 1994) (Rejecting as economically
Reform Act, and do not warrant further comment”). “[E]ven           irrational plaintiff's claim accounting firm's purported motive
if [Arthur Andersen] failed to report such deficiencies ..., such   to gamer fees); In re Health Management, Inc. Sec. Litig.,
failure is not a basis for concluding that [Arthur Andersen]        970 F.Supp.192, 202 (E.D.N.Y. 1997) (Rejecting motive
misrepresented that its audit report complied with GAAS.”           and opportunity allegations against independent accounting
In re SmarTalk Teleservices Securities, Inc. Litigation, 124        firm because “receipt of professional fees is not a sufficient
F.Supp.2d 505, 524 (S.D. Ohio 2000)seealso, Monroe v.               motive to plead a ‘strong inference’ of scienter.”); Zucker
Hughes, 31 F.3d 772, 774-75 (9th Cir. 1994) (“Neither               v. Sasaki, 963 F.Supp. 301, 308 (S.D.N.Y. 1997) (“[M]ere
applicable professional standards nor any legal authority of        receipt of compensation and the maintenance of a profitable
which we are aware, however, treat deficiencies in internal         professional business relationship for auditing services does
controls of a company as material to the audit report itself.”).    not constitute a sufficient motive for purposes of pleading
                                                                    scienter.”); Kennilworth Partners L.P. v. Cendant Corp., 59
23                                                                  F.Supp.2d 417, 429 (D.N.J. 1999) (“[S]tatement[s that] could
        “Allegations are deemed to have been made
                                                                    be made in relation to the auditor of every corporation” are
        on information and belief until the plaintiffs
                                                                    not sufficient to raise the inference of scienter, because “if it
        demonstrate that they have personal knowledge of
                                                                    were sufficient ..., it might make every auditor liable in cases
        the facts.” In re Vantive Corp. Securities Litigation,
                                                                    of securities fraud.”).
        283 F.3d 1079, 1085 (9th Cir. 2002).
The Complaint next alleges “Arthur Andersen falsely                  *68 The Complaint then alleges “[i]t was known to Arthur
endorsed the propriety of Peregrine's financial statements          Andersen that [Peregrine's accounting] policy had been
because it desired to retain Peregrine as a client, to continue     changed for application to the fourth quarter of fiscal year
generating substantial fees from its engagement and to              1999, that it had been changed to provide for revenue
secure additional business from Peregrine, including lucrative      recognition immediately upon execution of a software
consulting business.” (Complaint ¶ 407; seealso, ¶ 409:             license agreement with resellers even though there was no
“Arthur Andersen [ ] earned substantial fees from Peregrine ...     commitment to pay and no identified end user committed
for consultation relating to business valuations, consultation      to pay, and to allow the Company to meet fourth quarter
related to tax matters, and assistance with due diligence           and year end published earnings and revenue forecasts.
and acquisition-related matters.”). Scienter can be pleaded         Arthur Andersen knew the new policy would continue to be
by alleging a defendant had a motive and opportunity to             applied going forward.” (Complaint ¶ 413.) The Complaint
commit fraud. Motive entails “concrete benefits that could          also alleges “Arthur Andersen ... was routinely consulted
be realized by one or more of the false statements and              by ... Gless regarding how to structure transactions with
wrongful nondisclosures alleged” while opportunity entails          customers so as to permit current and improper revenue
“the means and likely prospect of achieving concrete benefits       recognition. Arthur Andersen also knew of and approved the
by the means alleged.” Shields v. Citytrust Bancorp, Inc.,          failure of the Company to treat transactions with financial
25 F.3d 1124, 1130 (2nd Cir. 1994). Most courts have                institutions as borrowings rather than sales.” (Id. ¶ 406.)
held that an accounting firm's desire to maintain the fees          These allegations are conclusory. What is missing are
flowing from the relationship with its client, standing alone,      “specific facts demonstrating [Arthur Andersen's] knowledge
is not a sufficient “motive” to raise a strong inference of         or state of mind....” In re Homestore.com, Inc. Securities
scienter. See, In re Worlds of Wonder Sec. Litig., 35 F.3d          Litigation, 252 F.Supp.2d at 1043; seealso, Yadlosky v. Grant
at 1427 n.7 (“It is highly improbable that an accountant            Thornton, L.L.P., 120 F.Supp.2d 622, 631 (E.D. Mich. 2000)
would risk surrendering a valuable reputation for honesty           (“Plaintiff's allegation that the auditors knew or should have
and careful work by participating in a fraud merely to obtain


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known ‘that many of MCA's properties were illegally pledged         agreements, the Ninth Circuit found that such allegations
as collateral for more than one party’ lacks alleged factual        that an accountant failed to investigate established only a
support for the conclusion.”). The Complaint must “plead,           negligent audit rather than scienter. 50 F.3d at 627-28. In
in great detail, facts that constitute strong circumstantial        DSAM, it was alleged that the auditor egregiously failed
evidence of deliberately reckless or conscious misconduct.”         to detect millions of dollars in revenue that had been
DSAM Global Value Fund v. Altris Software, Inc., 288 F.3d           improperly recognized in violation of GAAP, the Ninth
at 388-389. It does not.                                            Circuit affirmed the district court's dismissal of the complaint.
                                                                    288 F.3d at 387. The court held that “mere allegations that
To be sure, the Complaint points to “an email dated April           an accountant negligently failed to closely review files or
12, 2001” alleging that it “identified revenue recognition          follow GAAP cannot raise a strong inference of scienter.”
issues” including identifying “contracts totaling $12,000,000       Id. at 390 (citing Software Toolworks, 50 F.3d at 628).
as involving improper revenue recognition.” (Complaint ¶            Even where the defendant accounting firm allegedly “had in
429.) Again, “[t]hese allegations are insufficient because they     its hands the very documentation that clearly showed [the
are not pled with the particularity required by the PSLRA.”         company's] violation of GAAP,” the Ninth Circuit affirmed
Osher v. JNI Corp., 308 F.Supp.2d 1168, 1187 (S.D. Cal.             the district court's finding of no scienter. DSAM, 288 F.3d
2004). Plaintiffs again fail to state “the sources of [their]       at 390-91 (“Appellants argue that Pricewaterhouse must have
information with respect to the [emails], [and] how [they]          consciously disregarded the improper revenue recognition
learned of the [emails]....” Silicon Graphics, 183 F.3d at          because it had access to the documents that revealed Altris'
985. Indeed, “[i]t is not sufficient for a plaintiffs'] pleadings   improper revenue recognition at the very time it conducted the
to set forth a belief that certain unspecified sources will         original audit. That fact does not strongly compel an inference
reveal, after appropriate discovery, facts that will validate       of intentional or deliberately reckless conduct as opposed to
[their] claim.”Id. “Silicon Graphics and the PSLRA require          ordinary carelessness.”).
Plaintiffs to allege the specific content of the documents
upon which the plaintiff relied, identifying who prepared            *69 In sum, Plaintiffs have failed to allege any facts to
and who reviewed them, and setting out sources of ...               establish that Arthur Andersen or AWSC knew or must have
information with respect to the reports.” In re Peerless            been aware of the improper revenue recognition, intentionally
Systems, Corp. Securities Litigation, 182 F.Supp.2d 982,            or knowingly falsified the financial statements, or that
994 (S.D. Cal. 2002) (Citations omitted). If Plaintiffs are         the audit was such an extreme departure from reasonable
relying on a “confidential source”, they must “reveal with          accounting practice that it knew or had to have known that its
particularity the sources of their information.... Naming           conclusions would mislead investors. The Complaint suffers
sources is unnecessary so long as the sources are described         from the same deficiency identified by the court in DSAM.
with sufficient particularity to support the probability that a     There, the plaintiff alleged that the defendant's auditor
person in the position occupied by the source would possess         “egregiously failed to see the obvious” GAAP violations in
the information alleged and the complaint contains adequate         the financial statements. 288 F.3d at 387. The plaintiff in
corroborating details.” In re Daou Systems, Inc. Securities         DSAM alleged specific “red flags” that should have put the
Litigation, 397 F.3d at 712 (Citations and quotations omitted).     defendant on notice of the GAAP violations. In particular,
The Complaint fails to meet these requirements.                     the fees for the transaction at issue were exorbitant, the
                                                                    transaction was recorded on the last day of the year, and
Moreover, the allegations are insufficient so show scienter.        the transaction was described as “special.” These facts all
Even allegations that an independent auditor possessed              suggested that the auditor should have undertaken further
documents that would have revealed improper revenue                 investigation before approving the transaction. Id. at 389.
recognition if they had been properly reviewed pursuant             Despite the admitted failure to comply with GAAP and the
to GAAP and GAAS, only “raise an inference of gross                 undisputedly suspicious nature of the transaction, the court
negligence, but not fraud.” Reiger v. Price Waterhouse              held that “the allegations of negligence are insufficient to
Coopers, LLP 117 F.Supp.2d at 1012. In Software Toolworks,          establish a strong inference of deliberate recklessness.” Id. at
the plaintiffs alleged that sales agreements were “poorly           391. Thus, under DASM, even an obvious failure to follow
documented, informal and conditional,” the transactions were        GAAP does not give rise to an inference of scienter.
risky, management was under pressure for favorable earnings
and the accountants obtained only oral confirmations of some



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The Complaint also fails to identify with sufficient                For the reasons set forth above, the Complaint fails to
particularity any letters, notes, memos, telephone calls, or        state a claim under Section 10(b) and Rule 10b-5 against
conversations that suggest that Arthur Andersen and AWSC            Nelson, Luddy, Moores, Noell, Cole, van den Berg, Hosley,
knew about Peregrine's revenue scheme. Plaintiffs' purported        Savoy, Watrous, Dammeyer, Stulac, Arthur Andersen, and
“red flags” consist of Arthur Andersen's possession of              AWSC. Specifically, the Complaint fails to allege Luddy,
documentation which, if properly reviewed under GAAP and            Dammeyer, and Stulac either employed a scheme to defraud
GAAS, would have revealed improperly recognized revenue.            or made any statements. As to other Defendants, while
At most, however, these allegations raise an inference of           the Complaint sufficiently alleges a primary act on their
gross negligence, but not fraud. Plaintiffs must allege facts       part in that they made statements, it fails to allege they
showing that the magnitude and obviousness of Peregrine's           did so with scienter. There are no allegations identifying
accounting errors was so severe that Arthur Andersen's              specific conversations, board meetings, or reports where
audit transcended mere negligence and represented either            these individuals purportedly learned of the true and
a disregard of the obvious errors or a refusal to identify          adverse information regarding Peregrine's fraud. Further,
the fraud. The Complaint does nothing more than allege              there are no allegations showing that any of these Defendants
violations of GAAP, which cannot alone establish scienter.          directed sales personnel to enter into contingent contracts, or
                                                                    otherwise directed the alleged improper revenue recognition.
Nor does the Complaint allege that Arthur Andersen or               Accordingly, in this regard, these Defendants' Motions are
AWSC had an extensive role in the management of a                   GRANTED.
Peregrine, thus putting on notice of the fraud. Moreover,
inferring scienter from the magnitude of Peregrine's fraud
invites a court to speculate as to the existence of specific
                                                                                                  V.
warning signs that show Arthur Andersen acted with scienter.
See, Reiser v. Price Waterhouse Coopers LLP, 117 F.Supp.2d
at 1013 (“Inferring scienter from the magnitude of fraud                       CLAIMS AND LIABILITY UNDER
invites a court to speculate as to the existence of specific                    SECTION 14(a) and RULE 14a-9.
(but unpled and unidentified) warning signs that show the
                                                                     *70 Plaintiffs Waga and Sutliff allege violations of Section
accountant acted with scienter. To travel from magnitude
                                                                    14(a) of the Exchange Act, 15 U.S.C. § 78n and Rule 14a-9,
of fraud to evidence of scienter, the court must blend
                                                                    17 C.F.R. § 240.14 against Gardner, Gless, Moores, Cole,
hindsight, speculation and conjecture to forge a tenuous
                                                                    Hosley, Noell, van den Berg, Watrous, Arthur Andersen,
chain of inferences.”); seealso, Zucker v. Sasaki, 963 F.Supp.
                                                                    AWSC, and Stulac on behalf of the Harbinger Subclass,
301, 308 (S.D.N.Y. 1997) (Holding that plaintiff failed to
                                                                    while Plaintiffs Balch and Hylton allege these violations
establish scienter where plaintiff's “allegations refer simply to
                                                                    against Gardner, Gless, Moores, Savoy, Cole, Noell, Watrous,
violations of basic auditing principles without reference as to
                                                                    Dammeyer, Arthur Andersen, AWSC, and Stulac on behalf of
how [auditor's] violations were the result of intentional deceit
                                                                    the Remedy Subclass. (Complaint ¶¶ 678, 698, 717 and 734.)
or how they rise to the level of recklessness”). Magnitude
of fraud only supports an inference of scienter when the
                                                                    Section 14(a) makes it unlawful
plaintiff alleges specific and detailed facts showing that the
magnitude either enhanced the suspiciousness of specifically
identified transactions or made the overall fraud glaringly
conspicuous. Id. Further, Arthur Andersen and AWSC's                            for any person ... in contravention of
relationship with Peregrine “does not impute the accountant                     such rules and regulations as the [SEC]
with knowledge of every idiosyncratic detail associated with                    may prescribe ..., to solicit or to permit
[Peregrine's] business.” Reiger v. Price Waterhouse Coopers                     the use of his name to solicit any
LLP, 117 F.Supp.2d at 1009. For all the foregoing reasons,                      proxy....
the Complaint fails to show Arthur Andersen or AWSC acted
with scienter.
                                                                    15 U.S.C. § 78n(a). Rule 14a-9(a) of the Proxy Regulations
                                                                    (17 C.F.R. § 240.14a-9) states that “No solicitation subject
  D. Conclusion.                                                    to this regulation shall be made ... which, at the time and



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in the light of the circumstances under which it is made,         It merely alleges AWSC consented to the use of Arthur
is false or misleading with respect to any material fact, or      Andersen's name or audit reports in the proxies. “Neither
which omits to state any material fact necessary in order         Section 14(a) nor Rule 14a-9 suggests that liability may
to make the statements therein not false or misleading....”       attach in an instance in which a defendant has not actively
Id. A misstatement or omission is material under Rule             solicited proxies, but merely has observed another doing so
14a-9 “if there is a substantial likelihood that a reasonable     on behalf of the same camp in the proxy dispute.” Caspary v.
shareholder would consider it important in deciding how to        Louisiana Land and Exploration Co., 579 F.Supp. 1105, 1110
vote.” TSC Industries, Inc. v. Northway, Inc., 426 U.S. 438,      (D.C.N.Y. 1983); seealso, Mendell v. Greenberg, 612 F.Supp.
449 (1976). 24                                                    1543, 1552 (D.C.N.Y. 1985) (“Since plaintiff does not allege
                                                                  that Drexel directly solicited any proxies or was a party to
24                                                                such solicitations, any claim of liability as a principal against
       Whether the proxies contained materially false
                                                                  Drexel is legally insufficient.”). For this threshold reason, the
       statements is not an issue. As discussed above, at
                                                                  Complaint fails to state a Section 14(a) claim against AWSC
       this stage, the Complaint adequately alleges the
                                                                  and Stulac.
       statements at issue, including Peregrine's financial
       statements included in the proxies, were misleading
                                                                   *71 All other moving Defendants assert the Complaint fails
       as they omitted material information.
                                                                  to allege, with sufficient particularity, that they acted with the
At the outset, the Complaint fails to adequately allege that      required state of mind. With the exception of Gless, Gardner,
Stulac and AWSC either “solicited] or.. permit[ed] the use        and Arthur Andersen, the Court agrees.
of [their] names to solicit any proxy....” 15 U.S.C. § 78n(a).
The Complaint bases Section 14 and Rule 14a-9 liability on        Unlike Section 10(b), pleading scienter is not required for
two proxies. The first proxy was “included in Peregrine's         stating a Section 14(a) and Rule 14a-9 claims. The required
May 22, 2000 Amendment 1 to its S-4 Registration                  standard is negligence. (See, Order dated November 21, 2003
Statement filed with the SEC and distributed to Harbinger         at 91: “[T]his Court finds that negligence is the appropriate
shareholders....” (Complaint ¶ 699.) The Complaint alleges        standard for § 14(a) actions.”); seealso, In re McKesson
Gardner, Gless, Moores, Cole, Hosley, Noell, van den Berg         HBOC, Inc. Securities Litigation, 126 F.Supp.2d 1248, 1267
and Watrous signed the proxy. (Id. ¶ 681.) The Complaint also     (N.D. Cal. 2000) (“Plaintiff concedes that the negligence
alleges “Arthur Andersen and AWSC consented to the use of         required for a Section 14(a) claim is a ‘state of mind.’ ”);
Arthur Andersen's name” in the proxy. (Id. ¶ 700.)                Bond Opportunity Fund v. Unilab Corp., 2003 WL 21058251
                                                                  at *4 (S.D.N.Y. 2003) (“Numerous other courts have held
The second proxy was “included in Peregrine's July 23, 2001       that the negligence standard also applies to § 14(a) claims
Amendment 1 to its S-4 Registration Statement filed with the      against individual defendants”). “In enforcing that standard,
SEC and distributed to Remedy shareholders....” (Id. ¶ 735.)      courts should apply the standard of due diligence rather than
The Complaint alleges Gardner, Gless, Moores, Savoy, Cole,        the standard of actual knowledge or gross negligence.” In re
Noell, Watrous, and Dammeryer signed the proxy. (Id. 720.)        Reliance Securities Litigation, 135 F.Supp.2d 480, 511 (D.
The Complaint also alleges “Arthur Andersen and AWSC also         Del. 2001).
consented [to] the inclusion and/or to the incorporation by
reference ... of Arthur Andersen's unqualified audit reports on   Like Section 10(b) claims, however, to adequately plead
Peregrine's consolidated financial statements....” (Id. ¶ 737.)   Section 14(a) and Rule 14a-9 claims, Plaintiffs “must comply
                                                                  with heightened pleading requirements of the PSLRA.” (Id. at
As alleged, the Complaint fails to state a claim against          92:5-6.) Thus, Plaintiffs must “state with particularity all facts
Stulac and AWSC. The Complaint is silent as to Stulac's           giving rise to a strong inference that the defendant acted with”
role with regard to the proxies, and the Court has already        negligence. 15 U.S.C. § 78u-4(b)(2); seealso, In re McKesson
found that “Stulac's name appears nowhere in the Registration     HBOC, Inc. Securities Litigation, 126 F.Supp.2d at 1267
Statements” and thus “cannot be held liable ... for false or      (“[A] Section 14(a) plaintiff must plead with particularity
misleading statements found therein.” (Order dated January        facts that give rise to a strong inference of negligence.”). Mere
21, 2004 at 5:22-25.) As for AWSC, the Complaint does not         allegations that Defendants “acted negligently and without
allege AWSC was named, or that it signed, or permitted the        due care in distributing, or causing to be distributed, the
use of its name, in the proxies or the Registration Statements.



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Joint Proxy Statement containing the false and misleading         by Peregrine.” (Complaint attached Exh. “F”.) Thus,
statements [and] omissions” will not suffice. Id.                 the Court can reasonably draw an inference that the
                                                                  transaction was recorded in the second quarter of 2001,
Here, there is no question that Gless acted with the requisite    ending September 30,2000. The Complain thus alleges
state of mind. In his plea agreement filed in the Court, and      with sufficient particularity facts giving rise to a strong
attached to the Complaint, Gless admitted that he “signed         inference that Gardner either knew or should have known that
and submitted the [ ] financial reports, knowing that they        Peregrine's financial statement for the second quarter of 2001,
contained materially false statements and omissions and           which was included in the Remedy proxy, was overstated by
intending to deceive and defraud the securities analysts,         about 3 million dollars and thus false or misleading. (See,
the SEC, the investing public, and others who rely upon           Complaint ¶¶ 592 and 721.)
them[.]” (Complaint Attached Exh. A, Gless Plea Agreement
9.) Seealso, Parrino v. FHP. Inc., 146 F.3d at 705-06 (District   However, the Complaint does not sufficiently allege that
court may “consider material which is properly submitted          Gardner acted with the requisite state of mind with respect to
[or attached] as part of the complaint....”). The Complaint       the Harbinger proxy. According to the Complaint, the proxy
also alleges that the proxies “incorporated Peregrine's audited   included “Peregrine's audited financial statements for the
financial statements.” (Complaint ¶¶ 547, 592, 676 and 715.)      fiscal year ending March 31, 2000”, i.e., financial statements
Thus, the Complaint adequately states a claim against Gless       for 2000. (Complaint ¶¶ 547 and 682.) The only alleged
for both proxies filed in connection with the Harbinger and       improper transaction Peregrine entered into that year was
Remedy mergers.                                                   with Corporate Software & Technology. According to the
                                                                  Complaint, Peregrine prematurely booked revenue on a $3.8
Similarly, the attachments to the Complaint show with             million transaction with Corporate Software “immediately
sufficient particularity that Gardner also acted with the         upon execution of the agreement.” (Complaint Attached
requisite state of mind, but only as to the Remedy                Exh. “K”.) Unlike the above Critical Path transaction, the
proxy. According to the Complaint, revenue was improperly         Complaint fails to show that the transaction was necessarily
recognized in a swap transaction involving Critical Path Inc.     entered into the generate artificial revenue despite the fact that
(“Critical Path”) at the end of September 2000. (Complaint        the transaction was improperly recorded as revenue. Thus,
Attached Exh. “E” at 17.) In his guilty plea, David Thatcher,     the Complaint fails to allege with sufficient particularity facts
the former president of Critical Path, stated that “[the]         giving rise to a strong inference that Gardner either knew or
transaction was driven by the need to report revenue....” (Id.)   should have known that Peregrine's financial statement for the
In order “[t]o avoid the appearance that the transaction was a    fiscal year 2000 was overstated.
software swap, Critical Path and Peregrine prepared separate
contracts for each purchase, each paid the full amounts owed,     Turning to Arthur Andersen, the Complaint alleges with
and made payment to each other on different days.” (Id.)          sufficient particularity that Arthur Andersen was negligent.
Moreover, Thatcher acknowledged speaking directly to              The Complaint alleges “plenty of warning signs existed that
Gardner about the software swap. (Id.: “I spoke with the CEO      should have alerted Arthur Andersen ... that severe problems
of Peregrine about the software swap.”) (Seealso, Complaint       existed with [Peregrine's] accounting. Auditor guidelines for
¶ 36.) Thatcher further noted that persons “working on the        items that should receive special consideration identified
deal were consciously avoiding disclosure of the true nature      almost the exact type of situation as the one that existed at
of the transaction.” (Id.) (Emphasis added). Additionally, the    Peregrine, such as significant sales volume occurring near
Complaint alleges that each company “swapped” software            the end of the quarter, unusual volume of sales to resellers,
at approximately $3 million from one another and booked           barter transactions and side agreements. Messages about ‘bad
the total value of the sale as revenue in violation of GAAP.      revenue,’ inquiries from the SEC, and complaints about
(Complaint attached Exhibit “F”.)                                 revenue recognition were either provided to Arthur Andersen,
                                                                  discovered by it or readily available to it had it sought to
 *72 While the Complaint does not specifically allege             look.” (Complaint ¶ 706.) The Complaint also alleges “Arthur
in which of the Peregrine's quarterly financial statements        Andersen [was] ... involved in designing [Peregrine's] stock
the Critical Path transaction was recorded, it does allege        option compensation plan, which allowed for the exercise
Peregrine entered into the transaction the end of September       prices to be below the common stock market values when the
2000 which “gave rise to improper revenue recognition             options were granted. This plan was also a part of Peregrine's



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restatement, and a further sign that should have alerted Arthur     accounting improprieties. Thus, Plaintiffs have failed to plead
Andersen ... that a problem existed at Peregrine.” (Id. ¶ 708.)     with particularity facts establishing a strong inference of
The Complaint further alleges Arthur Andersen “designed a           negligence.
stock option compensation plan for Peregrine employees that,
when applied, was a[ ] ... violation of GAAP” and specifically      In sum, the Complaint states a Section 14(a) claim against
explains why it was so. (Id. ¶ 417.) Still further, the Complaint   Gless and Arthur Andersen as to both the Harbinger and
alleges specific facts that put Arthur Andersen on notice that      Remedy proxies. As to Gardner, the Complaint only states
Peregrine was recording revenue in violation of GAAP. (Id.          a Section 14(a) claim as to the Remedy proxy. As to all
¶ 414.)                                                             other Defendants-Moores, Cole, Hosley, Noell, van den
                                                                    Berg, Watrous, AWSC, and Stulac, the Complaint fails to
At this stage, the “[C]ourt must accept as true Plaintiffs'         adequately state a Section 14(a) claim.
assertions that Arthur Andersen failed to abide by [GAAP]
requirements.” In re Sunterra Corp. Securities Litigation,
199 F.Supp.2d 1308, 1333 (M.D. Fla. 2002). While such
                                                                                                 VI.
allegations do not raise an inference of scienter, they do “raise
an inference of gross negligence” which goes beyong the
required standard. Reiger v. Price Waterhouse Coopers LLP,             CONTROL LIABILITY UNDER SECTION 20(a).
117 F.Supp.2d at 1012. Seealso, In re Reliance Securities
                                                                    The Complaint alleges Section 20(a) liability against Moores,
Litigation, 135 F.Supp.2d at 511 (“[C]ourts should apply the
                                                                    Nelson, Noell, Cole, van den Berg, Hosley, Watrous, Savoy,
standard of due diligence rather than the standard of actual
                                                                    and Dammeyer “based on their control of Peregrine.” (See,
knowledge or gross negligence.”).
                                                                    Complaint 669.) The Complaint further alleges Section 20(a)
                                                                    liability against “Moores based on his control of ... Gardner,
 *73 As to all other Defendants--Moores, Cole, Hosley,
                                                                    Gless, Nelson, Luddy, Noell, van den Berg, and Hosley, and
Noell, van den Berg, Watrous, Savoy, and Dammeyer--the
                                                                    against AWSC and Stulac based on their control of Arthur
Complaint fails to “state with particularity all facts giving
                                                                    Andersen. (See, Complaint ¶ 669, 672, 673, 689, 712, 725 and
rise to a strong inference that the [D]efendants acted with”
                                                                    748.)
negligence. 15 U.S.C. § 78u-4(b)(2). The Complaint relies on
the April 14, 1999 board meeting and the review and outlook
                                                                    Section 20(a) of the Exchange Act provides:
reports discussed above to show that these Defendants were
negligent. (Complaint ¶¶ 686, 687 and 715.) However, as
explained above, there is no particular information in the
alleged April 1999 meeting and the review and outlook                           Every person who, directly or
reports from which Defendants could have learned of the                         indirectly, controls any person liable
falsity of Peregrine's financial statements. Nor does the                       under any provision of this chapter or
Complaint point to any specific information Defendants                          of any rule or regulation thereunder
overlooked that would have warned them that Peregrine was                       shall also be liable jointly and
engaging in fraud. Bond Opportunity Fund v. Unilab Corp.,                       severally with and to the same extent
2003 WL 21058251 at *4 (“[W]here plaintiffs contend that                        as such controlled person to any person
the defendants had access to facts contrary to those stated in                  to whom such controlled person is
the proxy materials, they must specifically identify the reports                liable, unless the controlling person
or statements containing this information.”). “Under Section                    acted in good faith and did not directly
14(a), the Defendants are ‘only responsible for revealing                       or indirectly induce the act or acts
those material facts reasonably available to them.” ’ Hayes                     constituting the violation or cause of
v. Crown Central Petroleum Corp., 249 F.Supp.2d 725, 733                        action.
(E.D. Va. 2002) (Citations omitted). Moreover, that these
Defendants signed the proxies does not speak to their state
of mind. See, SEC v. U.S. Environmental, 155 F.3d at 111.           15 U.S.C. § 78t(a).
Plaintiffs have failed to describe with particularity actions
that these Defendants could have taken to discover the



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“To establish ‘controlling person’ liability, the plaintiff must    10(b) ... by issuance of materially false or misleading
show that a primary violation was committed and that the            statements.” (Complaint ¶ 671.) Although Peregrine is not
defendant ‘directly or indirectly’ controlled the violator.”        a party to this action, Plaintiffs adequately allege that Gless
Paracor Finance, Inc. v. General Elec. Capital Corp., 96 F.3d       and Gardner have violated Sections 10(b) and 14(a) of the
1151, 1161 (9th Cir. 1996). “[I]t is not necessary to show          Exchange Act. See, Nordstrom, Inc. v. Chubb & Son, Inc.,
actual participation or the exercise of actual power” over the      54 F.3d 1424, 1435 (9th Cir. 1995) (“In litigation involving
violator. Howard v. Everex Systems, Inc., 228 F.3d 1057,            Section 10(b) of the Securities Exchange Act and SEC Rule
1065 (9th Cir. 2000). That is “[p]laintiff need not show that       10b-5, even though a corporation is incapable of acting except
the defendant was a culpable participant in the violation....”      through individual directors and officers, the cumulative
Id.; seealso, Hollineer v. Titan Capital Corp., 914 F.2d 1564,      knowledge of its directors and officers is imputed to it....
1575 (9th Cir. 1990) (En banc) (“Today ... we hold that             [A] corporation's knowledge need not be possessed by a
a plaintiff is not required to show ‘culpable participation’        single officer or agent; the cumulative knowledge of all its
to establish that [defendant] was a controlling person under        agents will be imputed to the corporation.”); In re Stat-Tech
§ 20(a).”) (Emphasis original). 25 Thus, “[t]o establish the        Securities Litigation, 905 F.Supp. 1416, 1422 (D. Colo. 1995)
liability of a controlling person, the plaintiff does not have      (“Because a corporation can act only through its agents, the
the burden of establishing that person's scienter distinct from     rule is that the actions of corporate officers and directors are
the controlled corporation's [or the individual's] scienter.”       attributable to the corporate entity.”). Similarly, as discussed
Arthur Children's Trust v. Keim, 994 F.2d 1390, 1398 (9th           above, Plaintiffs adequately allege Arthur Andersen's primary
Cir. 1993); seealso, In re Cylink Securities Litigation, 178        liability under Section 14(a).
F.Supp.2d 1077, 1089 (N.D. Cal. 2001) (“Despite the urging
of at least one of the individual defendants, plaintiffs need not   Turning to the second prong: “Whether the defendant is a
allege the controlling person's scienter or that they ‘culpably     controlling person is an intensely factual question, involving
participated’ in the alleged wrongdoing.”). Similarly, “the         scrutiny of the defendant's participation in the day-to-day
question that must be answered on a motion to dismiss is            affairs of the corporation and the defendant's power to control
whether plaintiffs have adequately alleged that defendants          corporate actions.” Howard v. Everex Systems, Inc., 228
possessed power or influence over the controlled person, but        F.3d at 1065; seealso, Wool v. Tandem Computers, Inc.,
not whether such power or influence was in fact exercised           818 F.2d 1433, 1441 (9th Cir. 1987) (“[T]he concept of
in the transactions in question.” In re Musicmaker.com              control, in the context of the securities law, is an elusive
Securities Litigation, 2001 WL 34062431 at *16 (C.D.Cal.            notion for which no clear-cut rule or standard can be
2001).                                                              devised.”). “The SEC has defined ‘control’ to mean: ‘[T]he
                                                                    possession, direct or indirect, of the power to direct or cause
25                                                                  the direction of the management and policies of a person,
        The Ninth Circuit had a different controlling
                                                                    whether through ownership of voting securities, by contract,
        liability test as set out in Wool v. Tandem
                                                                    or otherwise.’ ” Howard v. Everex Systems, Inc., 228 F.3d
        Computers, Inc., 818 F.2d 1433, 1440 (9th Cir.
                                                                    at 1065, quoting17 C.F.R. $ 230.405. Moreover, Plaintiffs
        1987) (Plaintiff must allege that 1) the individual
                                                                    must plead the circumstances of the control relationship
        defendants had the power to control or influence
                                                                    with sufficient particularity. See, In re Oak Technology
        [the company] and 2) the individual defendants
                                                                    Securities Litigation, 1997 WL 448168 at *14 (N.D. Cal.
        were culpable participants in [the company's]
                                                                    1997) (“While Plaintiffs correctly note that section 20(a)
        alleged illegal activity). The second prong of this
                                                                    ‘premises liability solely on the control relationship,’ they fail
        test was overruled in Hollinger v. Titan Capital
                                                                    to recognize the requirement that the circumstances of that
        Corp., 914 F.2d at 1575 (9th Cir. 1990): seealso,
                                                                    ‘control relationship’ be pled with particularity.”); Wietschner
        Howard, 228 F.3d at 1066, n. 10.
                                                                    v. Monterey Pasta Co., 294 F.Supp.2d 1102, 1110 (N.D. Cal.
 *74 Plaintiffs here prevail on the first prong. As noted           2003); Howard v. Hui, 2001 WL 1159780 at *4 (N.D. Cal.
above, to “establish ‘controlling person’ liability” Plaintiffs     2001) (Same).
must first “show that a primary violation was committed”
under the Exchange Act, i.e., either Section 10(b) or Section       “[T]he status or position of an alleged controlling person, by
14(a). Paracor Finance, Inc. v. General Elec. Capital Corp.,        itself, is insufficient to presume or warrant a finding of power
96 F.3d at 1161. Plaintiffs allege “Peregrine violated Section      to control or influence.” Wool v. Tandem Computers Inc.,



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818 F.2d 1433, 1441 (9th Cir. 1987). Similarly, “[m]ere titles    a control relationship, active involvement in the Company's
are not adequate indicators of control authority.” Wanetick       day-to-day affairs, or control over the preparation and release
v. Mel's of Modesto, Inc., 811 F.Supp. 1402, 1407 (N.D.           of financial statements, Section 20(a) liability has not been
Cal. 1992). Rather, Plaintiffs must “show[ ] that [Defendants]    sufficiently alleged.” (Id.); seealso, In re Splash Technology
w[ere] active in the day-to-day affairs of [Peregrine] or         Holdings, Inc. Securities Litigation, 2000 WL 1727405 at
that [they] exercised ... specific control over the preparation   *16 ( [Defendant's] signature unquestionably suggests the
and release of the financial statements.”Howard v. Everex         possibility of control. Likewise, the complaint's general,
Systems, Inc., 228 F.3d at 1067 n. 13. Merely alleging that       conclusory allegations of [defendant's] access to unspecified
Defendants “ ‘reviewed and approved financial statements ...      inside information and his purported ability to prevent the
does not rise to a level of supervision or participation          issuance of the alleged false reports in this case suggest
sufficient for a § 20(a) violation.” Id. Nor is “ownership of     the possibility of control. Although close, these general
stock,” by itself, sufficient. Id.                                allegations do not constitute particular evidence of control.”).

Here, as to Moores, Nelson, Noell, Cole, van den Berg,            With regard to Moores, Plaintiffs further allege he controlled
Hosley, Watrous, Savoy, and Dammeyer, there are no                the identity of Peregrine's executives, kept contact with
particularized allegations that they were in active in day-       various board members regarding Peregrine's affaires, and
to-day affairs of Peregrine. As the Court previously found,       placed business associates on Peregrine's Audit Committee
“that the Board held nine meetings in Fiscal Year 2000 and        or Board. (See, Complaint ¶¶ 372, 375, 377, 378, 379,
nineteen meetings in Fiscal Year 2001 does not establish that     380.) These allegations are insufficient. “The control person
any individual board members were actively involved with          inquiry looks at the day-to-day affairs of the company,
Peregrine on a daily basis.” (Court's Order dated November        not pre-existing or even on-going personal or professional
21, 2003 at 96:22-24.) Nor are there sufficient allegations       relationships between the control person and the purported
to show that these Defendants were in any way involved            controllee.”In re Homestore.com, Inc. Securities Litigation,
in the alleged misleading press releases other than that          347 F.Supp.2d 790, 810 (C.D. Cal. 2004): seealso, Paracor
they “read and approved” them. Indeed, in many instances,         Fin., Inc. v. General Elec. Capital Corp., 96 F.3d 1151,
the Complaint even expressly excludes Savoy, Dammeyer,            1162 (9th Cir. 1996) (Internal quotations omitted) (Control
Hosley, and van den Berg from the individuals who                 inquiry revolves around the “management and policies of the
allegedly read and approved the statements. And, although         corporation....”). Plaintiffs also allege Moores was a founder
the Complaint alleges Nelson was the “principal draftsman         of Peregrine and owned substantial shares of Peregrine.
of the press releases,” (Complaint j 298), such allegations       (Complaint ¶¶ 370 and 373.) Again these allegations do
are insufficient. See, In re Splash Technology Holdings,          not necessarily mean that Moores exercised control over
Inc. Securities Litigation, 2000 WL 1727405 at * 16 (N.D.         the “management and policies” of Peregrine, nor that he
Cal. 2000). Equally insufficient are Plaintiffs' conclusory       directed its day-to-day affairs in any sense. As noted above,
allegations that these Defendants qualify as “controlling         “at least some indicia of such control is a necessary element
persons of Peregrine” by “virtue of their executive positions,    of ‘controlling person’ liability.” Paracor Finance, Inc. v.
Board membership, and stock ownership ... [and that]              General Elec. Capital Corp., 96 F.3d 1151, 1163 (9th Cir.
these [D]efendants had the power to influence and control         1996) (Dismissing on allegations that defendant “founded
(and did influence and control, directly or indirectly) the       [the Company] in 1974, sold it for $30 million in 1981, and
decision-making of [Peregrine], including the content and         returned as CEO and Chairman in 1985.”).
dissemination.” (Complaint ¶ 670.) See, In re Gupta Corp.
Securities Litigation, 900 F.Supp. 1217, 1242-1243 (N.D.          Plaintiffs also fail to state a control liability claim against
Cal. 1994).                                                       Stulac and AWSC. As explained above, to establish
                                                                  liability as a ‘controlling person,’ Plaintiffs must allege
 *75 To be sure, the Complaint does allege Moores, Noell,         with particularity facts demonstrating “the defendant's
Cole, van den Berg, Hosley, Watrous, Savoy signed some            participation in the day-to-day affairs of the corporation and
of the alleged false or misleading SEC filings. However,          the defendant's power to control corporate actions.” Howard,
as the Court found, under Ninth Circuit law, “[a]lthough a        228 F.3d at 1065. Further, “control” is defined as “[t]he
signature strongly suggests that an outside director could        possession, direct or indirect, of the power to direct or cause
exercise control, absent allegations of particularized facts of   the direction of the management and policies of a person[.]”



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17 C.F.R. § 230.405. No particularized allegations are made          matter,’ the Court is of the view that it encompasses briefs,
showing that either Stulac or AWSC “had the power to control         affidavits or any document submitted to the Court.”). Rule
or influence [Arthur Andersen].” Harmonic, 163 F. Supp.              12(f), therefore, does not provide a proper basis for striking
2d at 1086. Accordingly, Plaintiffs fail to state a Section          Defendants' motions.
20(a) claim against Moores, Nelson, Noell, Cole, van den
Berg, Hosley, Watrous, Savoy, Dammeyer, Sutlac, and Arthur            *76 Moreover, Plaintiffs' basis for moving to strike is
Andersen.                                                            without merit. Plaintiffs argue that Defendants should not
                                                                     permitted to move to dismiss because the Court upheld the
                                                                     Section 11 claims against them in the original complaint.
                                                                     However, when Plaintiffs amended their complaint, that
                              VII.
                                                                     complaint superseded the original one and is the operative
                                                                     complaint. See, Gonzalez v. Paine, Webber, Jackson & Curtis,
   CLAIMS AND LIABILITY UNDER SECTION 11.                            Inc., 493 F. Supp. 499, 501 (S.D.N.Y. 1980).

In Counts VI and VIII, the Complaint alleges Gardner, Gless,         Turning to the merits, “Section 11 provides for civil liability
Moores, Cole, Hosley, Noell, van den Berg, Watrous, Savoy,           for filing a false registration statement.” Falkowski v. Imation
Arthur Andersen and AWSC violated Section 11 of the 1933
                                                                     Corp., 309 F.3d at 1133. A registration statement “means
Act. For the reasons that follow, the Complaint adequately           a filing that includes the prospectus and other information
states a claim against all Defendants under Section 11, except       required by section 7 of the Securities Act.” 12 C.F.R. §
for AWSC.                                                            16.2(m). A prospectus is defined as “an offering document
                                                                     that includes the information required by section 10(a) of
At the outset, the Court denies Plaintiffs' request to strike        the Securities Act.” 12 C.F.R. § 16.2(1). Section 11 liability
Moores, Noell, van den Berg, Hosley, and Savoy's motions             attaches to “(1) every person who signed the registration
to dismiss. (Docket No. 536.) Plaintiffs appear to move              statement; (2) every person who was a director ... at the
to strike the motions under Fed.R.Civ.P. 12(f). Under that           time of the filing;” and (3) “every accountant ... who
Rule, the court “may order stricken from any pleading                has with his consent been named as having prepared or
any insufficient defense or any redundant, immaterial,               certified any part of the registration statement[.]” 15 U.S.C.
impertinent, or scandalous matter.” Id. “Under the express           § 77k; seealso, Herman & MacLean v. Huddleston, 459 U.S.
language of the rule, only pleadings are subject to motions          375, 381-82 (1983) (“Section 11 of the 1933 Act allows
to strike.” Sidney-Vinstein v. A.H. Robins Co., 697 F.2d 880,        purchasers of a registered security to sue certain enumerated
885 (9th Cir. 1983); seealso, Thomas & Thomas Rodmakers,             parties [the issuer, its directors or partners, underwriters and
Inc. v. Newport Adhesives & Composites, Inc., 209 F.R.D.             accountants who are named as having prepared or certified
159, 161 (C.D. Cal. 2002) (“Defendants move to strike the            the registration statement] in a registered offering when
declaration of Robert Tollison, plaintiffs' expert. At the outset,   false or misleading information is included in a registration
the Court notes that the present Motion is not properly a            statement.”). “Liability ... is virtually absolute, even for
motion to strike, which should be addressed to the pleadings         innocent misstatements.” Id.; seealso, In re Stac Electronics
only.”); Wimberly v. Clark Controller Co., 364 F.2d 225, 227         Securities Litigation, 89 F.3d 1399, 1404 (9th Cir. 1996) (“No
(6th Cir. 1966) (Rule 12(f) “specifically relates to matters         scienter is required for liability under § 11; defendants will
to be stricken from pleadings but does not make provision            be liable for innocent or negligent material misstatements
for testing the legal sufficiency of affidavits by a motion          or omissions.”). “A Section 11 plaintiff needs to plead only
to strike”); Dawson v. City of Kent, 682 F.Supp. 920, 922            that the registration statement contained a material omission
(N.D. Ohio 1988) (Rule 12(f) “relates only to pleadings and          or misrepresentation.” In re CBT Group PLC Securities
is inapplicable to other filings”), aff'd865 F.2d 257 (6th Cir.      Litigation, 2000 WL 33339615 at *2 (N.D. Cal. 2000),
1988); Ernest Seidelman Corp. v. Mollison, 10 F.R.D. 426,            citingKaplan v. Rose, 49 F.3d 1363, 1371 (9th Cir. 1994);
427 (S.D. Ohio 1950) (“Rule 12(f) is applicable only to              seealso, In re Twinlab Corp. Sec. Litig., 103 F.Supp.2d 193,
motions to strike portions of ‘pleadings.’ ”). Butsee, Mount         201 (E.D.N.Y. 2000) (“Section 11 ‘places a relatively minimal
Sinai Hospital v. Borg-Warner Corp., 527 F.Supp. 922, 926            burden on a plaintiff,’ requiring simply that the plaintiff
(D.C.N.Y. 1981) (“While Federal Rule of Civil Procedure              allege that he purchased the security and that the registration
12(f) authorizes the court on its own motion to order stricken       statement contains false or misleading statements concerning
‘any pleading’ that contains ‘impertinent, or scandalous


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a material fact”) quoting, Herman & MacLean v. Huddleston,        (Complaint ¶ 774.) Gardner, Gless, Moores, Savoy, Cole,
459 U.S. at 381-82.                                               Noell and Watrous singed the Registration. (Id. ¶ 777.) This
                                                                  Registration included Peregrine's financial statements from
Sections 11 is “not governed by the heightened pleading           Fiscal Years 2000 and 2001 along with Arthur Andersen's
standards of the PSLRA....” Falkowski v. Imation Corp., 309       unqualified audit opinion on those financial statements.
F.3d 1123, 1133-1134 (9th Cir. 2002). But, it is “subject         The Statement also included Peregrine's revenue recognition
to Federal Rule of Civil Procedure 9(b).” Id. However,            policy. According to the Complaint, this Statement was
“only allegations (‘averments’) of fraudulent conduct must        false for essentially the same reasons the Statement for the
satisfy the heightened pleading requirements of Rule 9(b).        Harbinger acquisition was false.
Allegations of non-fraudulent conduct need satisfy only the
ordinary notice pleading standards of Rule 8(a).” Vess v. Ciba-   As alleged, the Complaint fails to state a claim against
Geigy Corp. USA, 317 F.3d 1097, 1105 (9th Cir. 2003). “The        AWSC. As noted, Section 11 liability attaches to “every
only consequence of a holding that Rule 9(b) is violated with     accountant ... who has with his consent been named as having
respect to a § 11 claim would be that any allegations of          prepared or certified any part of the registration statement[.]”
fraud would be stripped from the claim. The allegations of        15 U.S.C. § 77k. The only allegations against AWSC are
innocent or negligent misrepresentation, which are at the heart   that it “consented to Arthur Andersen being named” in the
of a § 11 claim, would survive.” Id. (Emphasis in original).      registration statement. (Complaint ¶ 756.) No allegations are
“Thus, if particular averments of fraud are insufficiently pled   made that AWSC either signed or consented to be named
under Rule 9(b), a district court should ‘disregard’ those        as having prepared or certified the challenged Registration
averments, or ‘strip’ them from the claim. The court should       Statements. See, Herman & Mclean v. Huddleston, 459 U.S.
then examine the allegations that remain to determine whether     375, 386 n.22 (1983) (“[C]ertain individuals who play a part
they state a claim.” Id. This is not an issue, however, as the    in preparing the registration statement generally cannot be
Complaint sufficiently states a Section 11 claim under Rule       reached by a Section 11 action. These include ... accountants
9(b).                                                             with respect to parts of a registration statement which they are
                                                                  not named as having prepared or certified.”).
 *77 The Complaint bases Section 11 liability on two
registration statements. Count VI is based on the Form            As to all other Defendants named, however, the Complaint
S-4 Registration Statement Peregrine filed regarding the          adequately states a Section 11 claim under both Rules 9(b)
acquisition of Harbinger on May 22, 2000. This claim              and 8(a). Under Rule 8, all that is required is “a short and
is asserted against Gardner, Gless, Moores, Cole, Hosley,         plain statement of the claim showing that the pleader is
Noell, van den Berg, Watrous, Arthur Andersen and AWSC.           entitled to relief.” Id. The Complaint meets this standard.
According to the Complaint, Gardner, Gless, Moores, Cole,         According to the Complaint, each Defendant either signed
Hosley, Noell, van den Berg, and Watrous signed the               the registration statements, sat on the board at the time of
Registration. (Complaint ¶ 755.) The Registration included        their filing, or was an accountant who certified Peregrine's
Peregrine's financial statements for the fiscal year 2000 along   financial statements. See, Kaplan v. Rose, 49 F.3d 1363,1371
with Arthur Andersen's unqualified audit opinion on those         (9th Cir. 1994) (“Section 11 states that any signer of the
financial statements. (Id. ¶ 756.) The Statement also included    registration statement, any partner or director of the issuer,
Peregrine's policy on revenue recognition. According to           any professional involved in preparing or certifying the
the Complaint, the Statement was false because Peregrine's        statement, and any underwriter of a registration statement
financial statements were overstated, revenue was improperly      may be liable....”).
recognized on contingent transactions, and the financial
statements did not comport with GAAP, GAAS or Peregrine's         Rule 9(b) provides that “in all averments of fraud and
own revenue recognition polices. (Id. ¶ 759.)                     mistake, the circumstances constituting the fraud or mistake
                                                                  shall be pleaded with particularity.” Id. “A complaint
Count VIII of the Complaint is based on the Form                  meets this standard if it alleges the time, place and
S-4 Registration Statement Peregrine filed regarding the          content of the alleged fraudulent representation or omission;
acquisition of Remedy on July 23, 2001. This claim is asserted    the identity of the person engaged in the fraud; and
against Gardner, Gless, Moores, Cole, Hosley, Noell, van          ‘the circumstances indicating falseness’ of ‘the manner in
den Berg, Watrous, Savoy, Arthur Andersen and AWSC.               which [the] representations [or omissions] were false and



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misleading.’ ” Genna v. Digital Link Corp., 25 F.Supp.2d         Diasonics Securities Litigation, 599 F.Supp. 447, 459 (N.D.
1032, 1037-1038 (N.D. Cal. 1997), quoting, GlenFed, 42           Cal. 1984), quoting15 U.S.C. § 77o (“Section 15 of the
F.3d at 1547-48; Williams v. WMX Technologies, Inc.,             Securities Act of 1933 provides for ‘secondary liability’ for
112 F.3d 175, 177-78 (5th Cir. 1997) (To satisfy Rule            ‘every person who, by or through stock ownership, agency,
9(b)’s pleading requirements, the plaintiffs must “specify the   or otherwise, ..., controls any person liable under [Section
statements contended to be fraudulent, identify the speaker,     11]....”). Specifically, the Section 15(a) provides:
state when and where the statements were made, and explain
why the statements were fraudulent.”). Here, the Complaint
adequately sets forth why the statements were false, which                    Every person who, by or through stock
the Court has already found to be material and sufficient at                  ownership, agency, or otherwise, or
this stage. (See, Section IV(B)(3)(a).) The Complaint also                    who, pursuant to or in connection
both “alleges the time, place and content of the alleged                      with an agreement or understanding
fraudulent representation or omission” and “the identity of                   with one or more other persons by or
the person engaged in the fraud.” Genna v. Digital Link                       through stock ownership, agency, or
Corp., 25 F.Supp.2d at 1037-1038. (See, Complaint ¶ ¶ 754,                    otherwise, controls any person liable
755, 756, 776, 777, and 778.) The Complaint's allegations                     under sections 77k or 771 of this
are also specific enough “to give [D]efendants notice of the                  title, shall also be liable jointly and
particular misconduct which is alleged to constitute the fraud                severally with and to the same extent
charged so that they can defend against the charge and not                    as such controlled person to any person
just deny that they have done anything wrong.” Semegen v.                     to whom such controlled person is
Weidner, 780 F.2d 727. 731 (9th Cir. 1985). Seealso, Kaplan                   liable, unless the controlling person
v. Rose, 49 F.3d at 1371 (“The plaintiff in a § 11 claim                      had no knowledge of or reasonable
must demonstrate (1) that the registration statement contained                ground to believe in the existence
an omission or misrepesentation, and (2) that the omission                    of the facts by reason of which the
or misrepresentation was material, that is, it would have                     liability of the controlled person is
misled a reasonable investor about the nature of his or her                   alleged to exist.
investment.”).

*78 Accordingly, under both Rules 8(a) and 9(b), the             Id. “Although § 15 is not identical to § 20(a), the controlling
Complaint adequately states a Section 11 claim against           person analysis is the same.” Hollinger v. Titan Capital
Gardner, Gless, Moores, Cole, Hosley, Noell, van den Berg,       Corp., 914 F.2d 1564, 1578 (9th Cir. 1990); seealso, In re
Watrous, Savoy, and Arthur Andersen.                             Daou Systems, Inc. Securities Litigation, 397 F.3d at 725 (“
                                                                 ‘Controlling person’ under both of the above acts is given the
                                                                 same interpretation because section 20(a) [of the Exchange
                            VIII.                                Act] is an analogue of section 15 of the Securities Act.”). For
                                                                 the reasons set forth in the Court's analysis of Section 20(a),
                                                                 Plaintiffs fail to state a Section 15(a) claim against any of the
    CONTROL LIABILITY UNDER SECTION 15.
                                                                 named Defendants.
The Complaint alleges control liability under Section 15
against Gardner, Gless, Moores, Cole, Hosley, Noell, van den
Berg, Watrous, Arthur Andersen and AWSC. The Court has                                         IX.
already determined Plaintiffs adequately state a claim against
Gardner and Gless. As to the remaining Defendants, Plaintiffs
                                                                                        CONCLUSION.
fail to state a claim.
                                                                 For the reasons set forth above, IT IS HEREBY ORDERED:
“Section 15(a) of the 1933 Securities Act imposes joint
and several liability upon every person who controls any         (1) Gardner's motion to dismiss Section 14(a) claims as to the
person liable under [S]ections[ ] 11....”In re Daou Systems,     Remedy proxy statement is DENIED;
Inc. Securities Litigation, 397 F.3d at 725; seealso, In re


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                                                                      (13) Savoy's motion to dismiss is GRANTED as to the
(2) Gless' motion to dismiss is DENIED in its entirety;
                                                                      Section 10(b), Section 14(a), Section 20(a), and Section 15
                                                                      claims, but is DENIED with regard to Section 11;
(3) Nelson's motion to dismiss is GRANTED in its entirety;

                                                                      (14) Cole's motion to dismiss is GRANTED as to the Section
(4) Luddy's motion to dismiss is GRANTED in its entirety;
                                                                      10(b), Section 14(a), Section 20(a), and Section 15 claims, but
                                                                      is DENIED with respect to Section 11 claim;
(8) Moores' motion to dismiss is GRANTED as to the Section
10(b), Section 14(a), Section 20(a), and Section 15 claims, but
                                                                      (16) Arthur Andersen's motion to dismiss is GRANTED as
is DENIED with regard to Section 11;
                                                                      to Section 10(b), Section 15(a), but is DENIED as to Section
                                                                      14(a) and Section 11;
(9) Hosley's motion to dismiss is GRANTED as to the
Section 10(b), Section 14(a), and Section 20(a) claims, but is
                                                                      (17) Stulac's motion to dismiss is GRANTED in its entirety;
DENIED with regard to Section 11;

                                                                      (18) AWSC's motion to dismiss is GRANTED in its entirety;
(10) Noell's motion to dismiss is GRANTED as to the Section
10(b), Section 14(a), Section 20(a), and Section 15 claims, but
                                                                      (18) Plaintiffs Waga and Stuliff's motion to strike is DENIED;
is DENIED with regard to Section 11;
                                                                      and
(11) van den Berg's motion to dismiss is GRANTED as to the
                                                                      (19) Plaintiffs are GRANTED leave to amend their complaint
Section 10(b), Section 14(a), and Section 20(a) claims, but is
                                                                      within 60 days after this Order is stamped “filed.”
DENIED with regard to Section 11;

 *79 (12) Watrous' motion to dismiss is GRANTED as to the             All Citations
Section 10(b), Section 12(a)(2), Section 14(a), Section 20(a),
and Section 15 claims, but is DENIED with regard to Section           Not Reported in Fed. Supp., 2005 WL 8158825
11;

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                                                                to dismiss the Consolidated Class Action Complaint (the
                    2015 WL 1143081                             “Complaint,” ECF No. 54) for failure to plead fraud with
                United States District Court,                   the heightened specificity required by Rule 9(b) of the
                        S.D. Texas,                             federal procedure rules, and the Private Securities Litigation
                     Houston Division.                          Reform Act (“PSLRA”), 15 U.S.C. § 78u–4 et seq. (ECF
                                                                No. 55). 1 The plaintiff filed an opposing response (ECF No.
     LOCAL 210 UNITY PENSION AND WELFARE                        57), in which it alternatively requests leave to amend the
        FUNDS, Individually and on Behalf of all                Complaint if dismissal is granted, and the defendants timely
        Others Similarly Situated, et al, Plaintiffs,           replied (ECF No. 58). Having reviewed the pleadings, motion
                            v.                                  and responsive documents, the Court determines that the
          McDERMOTT INTERNATIONAL                               defendants' motion should be GRANTED and the plaintiff's
                 INC., et al, Defendant.                        request for leave to amend be DENIED.

              Civil Action No. 4:13–CV–2393.                    1      The Court treats the plaintiff's Complaint as an
                              |                                        amended one. Original class action complaints
                  Signed March 13, 2015.                               were filed in this district by Jerad Flood,
                                                                       under Cause No. 4:13–CV–02442, on August
Attorneys and Law Firms
                                                                       20, 2013, and by Local 210 Unity Pension
Damon Joseph Chargois, Mashayekh & Chargois, P.C.,                     and Welfare Funds, under the captioned case
Andrew M. Edison, Edison, McDowell & Hetherington, LLP,                number, on August 15, 2013. See Order Granting
Thomas Robert Ajamie, Ajamie LLP, Houston, TX, Michael                 Stipulation on Amended Complaint and Motion to
W. Stocker, Labaton Sucharow LLP, New York, NY, Danielle               Dismiss Briefing Schedule, Dec. 17, 2013, ECF
S. Myers, Jonah H. Goldstein, Ashley M. Robinson, Robbins              No. 44; Order Consolidating Action, Approving
Geller Rudman & Dowd, LLP, Blair A. Nicholas, David R.                 PAMCAH–UA Local 675 Pension Fund As Lead
Kaplan, Timothy A. Delange, Bernstein Litowitz Berger &                Plaintiff and Approving Selection of Counsel, Dec.
Grossman LLP, San Diego, CA, for Plaintiffs.                           5, 2013, ECF No. 36.

David D. Sterling, Baker Botts LLP, Mark Alan Junell, The       II. FACTUAL AND PROCEDURAL BACKGROUND
Junell Law Firm PC, Houston, TX, Nicholas I. Porritt, Levi
Korsinsky LLP, Washington, DC, for Defendants.                    A. McDermott's Business
                                                                The following facts are taken from the Complaint and
                                                                public disclosure documents on file with the SEC. 2
       MEMORANDUM OPINION AND ORDER                             McDermott, headquartered in Houston, Texas, is a global
                                                                engineering, procurement, construction and installation
KENNETH M. HOYT, District Judge.                                (“EPCI”) company focused on designing and executing
                                                                complex offshore oil and gas projects. As an EPCI services
I. INTRODUCTION
                                                                provider, the Company delivers fixed and floating production
 *1 In this consolidated securities fraud class action,
                                                                facilities, pipeline installations and subsea systems from
PAMCAH–UA Local 675 Pension Fund (the “plaintiff”)
                                                                concept to commissioning. McDermott conducts much of
brings suit against McDermott International, Inc.
                                                                its business through fixed-price contracts—i.e., contracts
(“McDermott” or the “Company”), Stephen M. Johnson
                                                                executed for a pre-determined amount based on project
(“Johnson”), former President and CEO of the Company,
                                                                cost and profit assessments—that are awarded through a
and Perry L. Elders (“Elders”), its Senior Vice President and
                                                                competitive bid process. All bids over $40 million are
CFO (collectively, the “defendants”) for alleged violations
                                                                reviewed by executive management, including Johnson and
of §§ 10(b) and 20(a) of the Securities Exchange Act of
                                                                Elders (the “individual defendants”). Executive officers
1934 (“Exchange Act”), as amended, 15 U.S.C. §§ 78j(b) and
                                                                additionally review developments on these projects on a
78t(a), and Securities and Exchange Commission (“SEC”)
                                                                monthly basis.
Rule 10b–5, 17 C.F.R. § 240.10b–5, promulgated thereunder.
Pursuant to FED. R. CIV. P. 12(b)(6), the defendants move



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2                                                                              projects, although reasonably reliable
       The Court takes judicial notice of the Company's
                                                                               when made, could change as a
       2012 annual report (Form 10–K) attached to
                                                                               result of the uncertainties associated
       the pending motion, cited in the Complaint, and
                                                                               with these types of contracts, and
       on file with the SEC. See Collins v. Morgan
                                                                               if adjustments to overall contract
       Stanley Dean Witter, 224 F.3d 496, 498–99
                                                                               costs are significant, the reductions
       (5th Cir.2000) (“[D]ocuments that a defendant
                                                                               or reversals of previously recorded
       attaches to a motion to dismiss are considered
                                                                               revenues and profits could be material
       part of the pleadings if they are referred to in
                                                                               in future periods.
       the plaintiff's complaint and are central to [its]
       claim.” (citing cases) (internal quotation marks
       omitted)); Lovelace v. Software Spectrum, Inc., 78
       F.3d 1015, 1018 & n. 1 (5th Cir.1996) (adopting            Moreover, if developed into actual events, project risks could
       rule of Kramer v. Time Warner, Inc., 937 F.2d 767,         affect the business, financial condition, results of operations
       774 (2d Cir.1991), that in securities fraud action,        or cash flows of the Company in a manner that causes the
       judicial notice may be taken of contents of public         trading price of company common stock to decline. These
       disclosure documents required to be filed with             risks are matters of public record.
       SEC).
Because fixed-price contracts typically take years to                B. Alleged Misrepresentations
complete, the Company often requires customers to make            The Complaint alleges that between November 6, 2012 and
progress payments. McDermott employs a percentage-of-             August 6, 2013, inclusive (the “Class Period”), the plaintiff
completion accounting method for determining contract             purchased shares of McDermott common stock and that the
revenue, which requires it to periodically review contract        stock value plummeted because the defendants concealed
price and cost estimates and make profit adjustments to           “pervasive” and “ongoing” failures related to the Company's
reflect work progress. Ultimately, successful and profitable      project bidding, execution and oversight. These failures,
completion of a project depends on several factors, including     the Complaint asserts, caused McDermott to experience
project bidding discipline, execution and oversight.              significant losses. Stock prices dropped 13% in May of 2013
                                                                  and another 21% in August of 2013 allegedly in response to
According to public disclosure documents, projects executed
                                                                  the disclosure of these negative events. 3 It is claimed that
under McDermott's fixed-price contracts entail inherent risks
                                                                  investors suffered losses in the hundreds of millions of dollars
that expose it to profitability losses. In fact, “[f]ixed-price
                                                                  as a result.
contracts entail more risk to [the Company] because they
require [it] to predetermine both the quantities of work to
                                                                  3
be performed and the costs associated with executing the                 In early November, 2012, McDermott's common
work.” Actual costs related to a project could exceed original           stock was priced just below $10 per share.
projections notwithstanding measures taken in the first                  The price peaked at more than $13 per share
instance to account for “anticipated changes in labor, material          on February 8, 2013. Between February 28,
and service costs.” Specifically, “cost and gross profit ...             2013, when the Company announced its 4Q2012
could vary materially from the estimated amounts because                 earnings, and March 1, 2013, the stock price
of supplier, contractor and subcontractor performance, [the              dropped from $12.72 to $10.70 per share, an
Company's] own performance, changes in job conditions,                   alleged 16% decline. Between May 8, 2013, when
unanticipated weather conditions, variations in labor and                the Company released its 1Q2013 earnings, and
equipment productivity and increases in the cost of raw                  May 9, 2013, the price dropped from $11.03 to
materials ... over the term of the contract.” Accordingly,               $9.59, an alleged 13% decline. Finally, following
                                                                         the announcement of 2Q2013 results on August 5,
                                                                         2013, the stock price dropped from $8.73 to $6.93
                                                                         overnight, representing an alleged 21% decline.
             *2     current     estimates      of
            [McDermott's] contract costs and                      The Complaint blames the defendants for causing these
            the profitability of [its] long-term                  losses by engaging in a course of fraudulent conduct that



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deceived the plaintiff and other class-member investors in
the process. Allegedly, the defendants artificially inflated               • “[W]e have done a number of other things in
McDermott's stock price by making overly optimistic, false                   the Atlantic region to turn it around” (quoting
and/or misleading statements and concealing truths about                     Johnson on Nov. 6, 2012 conference call reporting
McDermott's business, financial status and outlook. The                      3Q2012 earnings).
information concerned material losses on several problematic
                                                                           • “I'm [Johnson] quite bullish on the Atlantic region
projects and challenges related to project bidding and
                                                                              these days.” “I'm sticking with my view about
execution.
                                                                              2013 for the Atlantic region until I have a reason
                                                                              to adjust. And I don't have good reason to do that”
The individual defendants are quoted at length as proof that
                                                                              (quoting Johnson on Nov. 6, 2012 conference call
the two actively participated in the fraud. Their statements
                                                                              reporting 3Q2012 earnings).
are contained in paragraphs 32–96 of the Complaint
and summarized in the defendants' motion to dismiss.                       • There is “no particular project or discrete item that
Representative statements are reprinted here for convenience                  needs to be highlighted” and “no major project
and reference:                                                                issues to discuss” (quoting Johnson and Elders on
                                                                              Nov. 6, 2012 conference call reporting 3Q2012
    • “The positive results of our 2012 third quarter keep
                                                                              earnings).
      us on track for solid 2012 financial performance”
      (quoting Johnson in Nov. 5, 2012 (3Q2012) Press                      • Johnson “remain[ed] positive” that the Atlantic
                              4                                              segment would be profitable in 2013 (quoting
      Release (Form 8–K)).
                                                                             Johnson on Mar. 1, 2013 conference call reporting
4                                                                            4Q2012 earnings) (brackets in Complaint).
        Unless otherwise noted, emphasized allegations
        were emphasized in the Complaint.                                  • “I [Elders] think we're going to have a good year
                                                                              in 2013 in the Middle East” (quoting Elders on
    • The Company is on pace for “solid” performance (quoting                 Mar. 1, 2013 conference call reporting 4Q2012
       Johnson in Nov. 5, 2012 (3Q2012) Press Release                         earnings).
       (Form 8–K), and Johnson and Elders on Nov. 6, 2012
       conference call reporting 3Q2012 earnings).                         • “We're feeling pretty good that we fully estimated
                                                                              the cost to complete” the Malaysia project (quoting
        • It is “my [Johnson's] belief that it is highly likely that          Johnson on Mar. 1, 2013 conference call reporting
           we will return the Atlantic region to profitability                4Q2012 earnings).
           into 2013” and that the region “is likely to be one
           of the highest growth markets for the Company”                  • “McDermott is well positioned to meet the
           (quoting Johnson on Nov. 6, 2012 conference call                  growing customer demand in each of our market
           reporting 3Q2012 earnings).                                       segments” (quoting Johnson and Elders on Mar. 1,
                                                                             2013 conference call reporting 4Q2012 earnings).
        • The Atlantic Region's “competitive situation
          remains stable in our view” and “nothing is                      • The problems faced in the Atlantic and Asia
          changing in a material way up or down” (quoting                    Pacific segments are “isolated situations, and are
          Johnson on Nov. 6, 2012 conference call reporting                  not representative of our business as a whole”
          3Q2012 earnings).                                                  (quoting Johnson and Elders on Mar. 1, 2013
                                                                             conference call reporting 4Q2012 earnings).
         *3 • “We feel very good about our strength in
          the Middle East. We hold what we consider the                    • The 1Q2013 results reflect “isolated challenges”;
          strongest competitive position because of not only                 “we are absolutely focused on the resolution of
          our Jebel Ali facility, but also because of the                    those issues” (quoting Johnson and Elders on
          type of marine fleet we have” (quoting Johnson                     May 9, 2013 conference call reporting 1Q2013
          on Nov. 6, 2012 conference call reporting 3Q2012                   earnings).
          earnings).




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                                                                  The Complaint also alleges that the defendants made the
        • The loss in the Middle East is a “one-time situation”   following quarterly disclosures, characterized by the plaintiff
           and “there's nothing that we can see, or the           as “partial disclosures,” during the Class Period:
           project team can see, that would indicate any
           further problems with that program” (quoting             • “The fourth quarter 2012 results were negatively affected
           Johnson and Elders on May 9, 2013 conference call           by an aggregate of approximately $32 million of
           reporting 1Q2013 earnings).                                 project losses and increased costs on certain projects,
                                                                       including approximately $23 million in the Asia Pacific
        • The Company is dedicated to “implementing                    segment as a result of incremental costs associated
          a compre hens ive project execution operating                with anticipated productivity and project delays on one
          model that emphasizes our key project management             subsea project, which is expected to complete in late
          disciplines” “Key elements of the model include              2013. The Atlantic segment also was impacted by
          project planning, including risk identification and          increased cost estimates relating to two fabrication
          mitigation planning, interface management, as                projects totaling approximately $9 million, due to
          well as the incorporation of clearly defined                 lower than expected productivity, which are expected
          accountability across the organization.” The model           to complete in mid–2013” (quoting Feb. 28, 2013
          will enable the Company “to improve our execution            (4Q2012) Press Release (Form 8–K)).
          on even the most challenging projects” (quoting
          Johnson and Elders on May 9, 2013 conference call         • “The Company's operating income in the first quarter
          reporting 1Q2013 earnings).                                  2013 was $53.0 million, a decrease of $27.2 million
                                                                       compared to $80.2 million in the first quarter 2012.
         *4 Johnson is responsible for “bringing in project            The first quarter 2013 results were affected by operating
          execution personnel from outside McDermott to                losses in the Middle East and Atlantic segments, partially
          assure best practices from industry are brought to           offset by stronger operating income in our Asia Pacific
          bear on our projects” (quoting Johnson on May 9,             segment. In the first quarter 2013, operating losses
          2013 conference call reporting 1Q2013 earnings).             in the Middle East segment totaled approximately
                                                                       $18.5 million compared to operating income of $34.7
        • “I [Johnson] would say we are equal to best
                                                                       million for the corresponding prior year period, a
          in industry in terms of project planning, project
                                                                       decline primarily attributable to execution plan changes
          analysis, execution, forecasting, and control.
                                                                       on a project at an advanced stage of completion,
          And that has been rolled out through the past
                                                                       which resulted in cost increases associated with hook-
          12 months throughout the entire organization”
                                                                       up activities and the use of third-party vessels. In
          (quoting Johnson on May 9, 2013 conference call
                                                                       addition, the decline in operating income was due to
          reporting 1Q2013 earnings). 5                                lower asset utilization and project activity compared
5                                                                      to the prior year. The operating loss for the Atlantic
        Without identifying specific speaker(s), paragraphs
        65 and 88 of the Complaint quote the defendants                segment changed by approximately $4.4 million to a
        as making a number of additional statements about              loss of approximately $16.4 million due to increased
        general bidding discipline and revenue recognition.            support costs associated with lower marine asset
                                                                       utilization” (quoting May 8, 2013 (1Q2013) Press
The Complaint further alleges that the individual defendants
                                                                       Release (Form 8–K)).
are liable for suffered damages “[b]y virtue of their high
level positions” and direct involvement in the day-to-day            *5 • On August 5, 2013, McDermott filed a Form 8–
operations of the Company. These positions, the Complaint             K with the SEC, in which McDermott announced its
asserts, made Johnson and Elders “privy ... to confidential           financial results for the second quarter ended June 30,
propriety information concerning the Company and its                  2013. McDermott announced a substantial decrease in
business” and, therefore, responsible for the dissemination of        the Company's year-over-year financial results driven
any false and/or misleading statement or omission.                    primarily by $100 million in increased loss estimates
                                                                      on problematic projects. In its Asia Pacific segment, the
                                                                      Company incurred a $62 million charge “due to delays
    C. Alleged “Partial Disclosures” by McDermott
                                                                      on a deepwater pipelay project in Malaysia” caused



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     by late deliveries and McDermott's inability to timely
     reconfigure the vessel required to execute the project.         IV. STANDARD OF REVIEW
     This $62 million charge was in addition to the $23              A motion to dismiss for failure to plead with the heightened
     million the Company previously recognized in 4Q2012–            specificity required by Rule 9(b), as “reinforce[d]” by the
     costs, which, on March 1, 2013, defendant Johnson               PSLRA, is properly raised in a Rule 12(b)(6) motion to
     assured investors the Company was confident had                 dismiss for failure to state a claim. United States ex rel.
     been “fully estimated.” Defendant Johnson conceded              Grubbs v. Kanneganti, 565 F.3d 180, 186 n. 8 (5th Cir.2009);
     on August 6, 2013 that the Malaysia failure was a               Southland Sec. Corp. v. INSpire Ins. Solutions, Inc., 365 F.3d
     “significant bid miss” (citing Aug. 6, 2013 (2Q2013)            353, 362 (5th Cir.2004); Lovelace, 78 F.3d at 1017. The
     Press Release (Form 8–K)).                                      Court accepts as true all well-pleaded facts and construes
                                                                     them in the light most favorable to the plaintiff. Abrams
The defendants have not yet answered the Complaint. Instead,         v. Baker Hughs, Inc., 292 F.3d 424, 430 (5th Cir.2002).
they move to dismiss it for failing to plead fraud with              The Court does not, however, “strain to find inferences
specificity.                                                         favorable to the plaintiff,” nor does it “accept conclusory
                                                                     allegations, unwarranted deductions, or legal conclusions .”
                                                                     See Southland, 365 F.3d at 361 (internal quotation marks
III. PARTIES' CONTENTIONS                                            omitted); Westfall v. Miller, 77 F.3d 868, 870 (5th Cir.1996).
According to the defendants, several reasons justify                 Dismissal is proper when it “appears beyond doubt that the
dismissal: the misrepresentations alleged in the Complaint           plaintiff can prove no set of facts in support of [its] claim that
are non-actionable expressions of corporate optimism                 would entitle [it] to relief.” Collins, 224 F.3d at 498 (internal
about McDermott's financial performance, projects, bidding           quotation marks omitted).
discipline and future prospects; the Complaint alleges “fraud
by hindsight” and fails to explain how any of the challenged          *6 Rule 9(b) and the PSLRA require that the circumstances
statements were false when made; the Complaint neither               supporting a claim for securities fraud be pleaded “with
pleads scienter nor contains particularized allegations giving       particularity.” FED. R. CIV. P. 9(b); 15 U.S.C. § 78u–4(b);
rise to a strong inference of scienter, as required by Rule 9(b)     see Southland, 365 F.3d at 361–62. Rule 9(b) states:
and the PSLRA; and the Complaint's derivative claims under
§ 20(a) of the Exchange Act fail because primary claims under
§ 10(b) do not meet the established pleading requirements for                     In alleging fraud or mistake, a
fraud.                                                                            party must state with particularity the
                                                                                  circumstances constituting fraud or
Dismissal is improper, the plaintiff contends, because the                        mistake. Malice, intent, knowledge,
Complaint pleads specific facts demonstrating that the                            and other conditions of a person's mind
defendants engaged in a pattern of fraud during the Class                         may be alleged generally.
Period. In its view, the Complaint sufficiently alleges that
the defendants' quarterly statements on November 5–6,
2012, February 28–March 1, 2013, and May 8–9, 2013
                                                                     FED. R. CIV. P. 9(b). The PSLRA correspondingly provides,
were false when made; the temporal proximity between
                                                                     in relevant part, that a securities fraud complaint
the defendants' misleading statements and the disclosures
of the truth demonstrate falsity; and the defendants made
actionable misrepresentations related to the Company's core
                                                                                  shall specify each statement alleged
EPCI projects. The plaintiff also contends that the Complaint
                                                                                  to have been misleading, the reason
alleges facts that command a strong inference that the
                                                                                  or reasons why the statement is
defendants knew or were reckless in not knowing about the
                                                                                  misleading, and, if an allegation
ongoing problems facing McDermott's operations. In support
                                                                                  regarding the statement or omission is
of this argument, the plaintiff cites to the defendants' quarterly
                                                                                  made on information and belief, the
disclosure statements and points to its assertion that the
                                                                                  complaint shall state with particularity
individual defendants took part in monthly review meetings
                                                                                  all facts on which that belief is formed.
where these problems were likely discussed.



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15 U.S.C. § 78u–4(b)(1). In addition, the complaint “shall,           *7 (b) To make any untrue statement of a material fact or
with respect to each act or omission alleged to violate this           to omit to state a material fact necessary in order to make
chapter, state with particularity facts giving rise to a strong        the statements made, in the light of the circumstances
inference that the defendant acted with the required state of          under which they were made, not misleading, or
mind.” 15 U.S.C. § 78u–4(b)(2)(A).
                                                                      (c) To engage in any act, practice, or course of business
Read together, Rule 9(b) and the PSLRA direct the pleader to:            which operates or would operate as a fraud or deceit
                                                                         upon any person,
  (1) specify ... each statement alleged to have been
     misleading, i.e., contended to be fraudulent;                    in connection with the purchase or sale of any security.

  (2) identify the speaker;                                       17 C.F.R. § 240.10b–5. Based on these provisions, “[s]ection
                                                                  20(a) ... imposes joint and several liability upon persons who
  (3) state when and where the statement was made;                ‘control’ defendants that violate the Exchange Act. 15 U.S.C.
                                                                  § 78t(a).” Rosenzweig v. Azurix Corp., 332 F.3d 854, 862 (5th
  (4) plead with particularity the contents of the false          Cir.2003).
     representations;

  (5) plead with particularity what the person making the            A. Section 10(b)/SEC Rule 10b–5 Claim
     misrepresentation obtained thereby; and                      To state a claim under § 10(b)/SEC Rule 10b–5, a plaintiff
                                                                  must plead: a(1) misstatement or omission (2) of material fact
  (6) explain the reason or reasons why the statement is
                                                                  (3) in connection with the purchase or sale of a security, which
     misleading, i.e., why the statement is fraudulent.
                                                                  was made (4) with scienter, i.e. “a mental state embracing
ABC Arbitrage Plaintiffs Grp. v. Tchuruk, 291 F.3d 336, 350       intent to deceive, manipulate, or defraud,” and upon which
(5th Cir.2002). By Fifth Circuit nomenclature, these elements     (5) the plaintiff justifiably relied, (6) proximately causing
establish the “who, what, when, where, and how” required          injury to it. E.g., id. at 865–66 (internal quotation marks
under Rule 9(b) and the PSLRA. Id. A district court must          omitted). The pending motion argues that the Complaint fails
dismiss a § 10(b)/SEC Rule 10b–5 complaint that does not          to adequately plead materiality and scienter. 6 The Court
meet these requirements. 15 U.S.C. § 78u–4(b)(3)(A).              agrees.

                                                                  6
IV. ANALYSIS AND DISCUSSION                                                The Court addresses the parties' dispute over falsity
“Private federal securities fraud actions are based on federal             in its analysis of scienter.
securities statutes and their implementing regulations.”
Lormand v. U.S. Unwired, Inc., 565 F.3d 228, 238–39 (5th             1. Insufficient Allegations of Materiality
Cir.2009) (citing Dura Pharmas., Inc. v. Broudo, 544 U.S.         The defendants argue that the statements attributed to
336, 341, 125 S.Ct. 1627, 161 L.Ed.2d 577 (2005)). The            them are immaterial because they constitute puffery. “[A]
Complaint purports to state a claim under § 10(b)/SEC Rule        statement or omitted fact is material if there is a substantial
10b–5 as to all defendants, and a derivative claim under §        likelihood that a reasonable investor would consider the
20(a) as to the individual defendants. Under § 10(b), it is       information important in making a decision to invest.” E.g.,
unlawful for any person to “use or employ, in connection          ABC Arbitrage, 291 F.3d at 359 (internal quotation marks
with the purchase or sale of any security ... any manipulative    omitted); accord Rosenzweig, 332 F.3d at 865 (citing Basic
or deceptive device or contrivance in contravention of such       Inc. v. Levinson, 485 U.S. 224, 231, 108 S.Ct. 978, 99
rules and regulations as the [SEC] may prescribe.” 15 U.S.C.      L.Ed.2d 194 (1988)). As the defendants point out, all of the
§ 78j(b). Correspondingly, SEC Rule 10b–5 prohibits any           statements casted as “misrepresentations” fall into one of
person from using any means or instrumentality of interstate      four categories: (1) optimistic and vague statements regarding
commerce                                                          McDermott's future financial performance and profitability;
                                                                  (2) generalized statements about McDermott's positioning
  (a) To employ any device, scheme, or artifice to defraud,       in various segments (regions) of operation; (3) indefinite
                                                                  descriptions of the challenges facing the Company and the



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Company's response to those challenges; and (4) generalized       McDermott's future profitability that would lead a rational
descriptions of McDermott's bidding discipline and project        investor to rely on them. See ABC Arbitrage, 291 F.3d at
planning. None of these statements are “concrete factual or       359 (“ ‘[P]rojections of future performance not worded as
material misrepresentations” of the type that can be the basis    guarantees are generally not actionable under the federal
for a § 10(b)/SEC Rule 10b–5 claim. See Southland, 365 F.3d       securities law’ as a matter of law.”). They constitute
at 372 (internal quotation marks omitted).                        non-actionable puffery by all reasonable inferences. The
                                                                  defendants did not, as the plaintiff argues, “speak in concrete
In this Circuit, expressions of corporate confidence, including   terms with respect to actions they were currently taking,
“generalized, positive statements about [a] company's             and had already taken,” nor did they “assure” investors
competitive strengths, experienced management, and future         that the Company had remedied challenges in each of
prospects,” are immaterial and, thus, not actionable under        its segments. If realized, any number of risks detailed in
the federal securities laws. Rosenzweig, 332 F.3d at              McDermott's 2012 annual report could have compromised
869. 7 The vast majority of alleged statements express            goals that appeared attainable when announced, or derailed
nothing more than corporate optimism. These statements            Company plans altogether. The potential profitability losses
include announcements that the Company's positive 3Q2012          associated with these risks are spelled out in this report. As
results would “keep [it] on track for solid 2012 financial        extensively as the defendants are quoted in the Complaint,
performance” for the remainder of the year; the defendants        no allegation meaningfully reconciles the defendants' oral
“remain[ed] positive” and “belie [ved] that it [was] highly       representations with these risk disclosures. To the extent that
likely” that they could make profitable (in 2013) their           the plaintiff acknowledges the risks involved in McDermott's
operations in the Atlantic region, where they maintained          contracts, it glosses over their potential impact by clinging
a “stable,” “competitive situation”; they “fe[lt] good about      to the Company's touted “three-tiered approach to reviewing
[their] strength in the Middle East”; Johnson remained            projects (local, global and executive level review) in order to
“quite bullish” concerning McDermott's Atlantic presence;         mitigate risk.”
the Company was “well positioned to meet the growing
customer demand in each of [its] market segments”; and            Similarly, the allegations make no attempt to square the
the Company was “equal to best in industry in terms of            defendants' statements with the multi-million dollar losses
project planning, project analysis, execution, forecasting,       acknowledged in the Complaint and announced on February
and control.” The Complaint itself defeats its own pleading       28, 2013 (4Q2012 results) and May 8–9, 2013 (1Q2013
objective by characterizing the defendants' statements as         results). Yet, this is precisely the kind of analysis a
statements of “positivity,” albeit false from the plaintiff's     rational investor would likely have conducted before making
perspective.                                                      projections about McDermott stock. Remarks made by
                                                                  analysts in August, 2013 make the point all too clearly. The
7                                                                 Complaint states that at the same time analysts expressed
       The Court notes, without deciding, that under the
                                                                  surprise that McDermott was failing, they complained that
       PSLRA's “safe harbor” provision, a defendant is
                                                                  the disappointing results from the previous quarter dealt
       not liable for any “forward-looking” statement, as
                                                                  “yet another blow to management credibility” and that
       that term is defined by statute. 15 U.S.C. § 78u–
                                                                  McDermott had had issues in the past (emphasis added).
       5(c). Generally, a forward-looking statement is one
                                                                  They also inquired “why ... the rest of the business” was
       that is “identified as a forward-looking statement,
                                                                  falling apart at that particular juncture (emphasis added).
       and is accompanied by meaningful cautionary
                                                                  These statements suggest that analysts had been alerted
       statements identifying important factors that could
                                                                  to and were in fact monitoring McDermott's progress and
       cause actual results to differ materially from those
                                                                  setbacks, and not simply relying on the Company's optimistic
       in the forward-looking statement.” Id. § 78u–5(c)
                                                                  representations without considering known red flags. “It is
       (1)(A). It also includes a statement “made with
                                                                  difficult to form a ‘strong inference’ of scienter” from such
       actual knowledge ... that the statement was false or
                                                                  telling factual concessions. Rosenzweig, 332 F.3d at 868.
       misleading.” Id. § 78u–5(c)(l)(B). The parties have
       neither raised nor briefed this issue, however.
                                                                  In any event, to the extent that McDermott faced challenges,
 *8 The Court is hard pressed to conclude that any of             the defendants were “under no duty to cast [the Company's]
the above statements expresses or creates assurances about        business in a pejorative, rather than a positive, light.” Id. at



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869; Abrams, 292 F.3d at 433 (“[A]s long as public statements        February/March, 2013, and May, 2013 statements. The
are reasonably consistent with reasonably available data,            plaintiff bears the burden of pleading the reason or reasons
corporate officials need not present an overly gloomy or             why these statements are false or misleading. FED. R. CIV.
cautious picture of the company's current performance.”)).           P. 9(b); Southland, 365 F.3d at 361–62. To meet this burden,
Accordingly, the defendants could have, for example, asserted        the plaintiff essentially argues that the scienter pleaded in
that there were “no major project issues to discuss” and that        the Complaint is one of recklessness. It relies on a string
problems faced in certain segments were “isolated situations”        of “plausabilities” and “implausabilities” about what the
that were “not representative of our business as a whole,”           individual defendants knew or should have known based
without running afoul of § 10(b)/SEC Rule 10b–5.                     on their executive positions and day-to-day involvement in
                                                                     McDermott's business. These positions, it is alleged, afforded
                                                                     them at least monthly opportunities to participate in bid and
   2. Insufficient Allegations to Raise Inference of Scienter        project review meetings where problematic EPCI projects
 *9 The parties dispute whether the Complaint pleads                 were likely discussed.
scienter, or an inference of scienter, with the requisite
specificity. Scienter has been adequately pleaded if, taken          These contentions do not comport with the Fifth Circuit
together, the allegations directly or circumstantially show          jurisprudence, however, and the plaintiff cites no binding case
that a defendant has intentionally deceived, manipulated or          to support its faulty reasoning. The Fifth Circuit has held that
defrauded the public, or acted with severe recklessness in           “[a] pleading of scienter may not rest on the inference that
doing so. E.g., Rosenzweig, 332 F.3d at 866. In defining             [the] defendants must have been aware of the misstatement
severe recklessness, the Fifth Circuit has stated:                   based on their positions with the company.” E.g., Abrams,
                                                                     292 F.3d at 432. Moreover, falsity or scienter is not pleaded
  Severe recklessness is “limited to those highly
                                                                     with particularity, as the plaintiff suggests, by simply alleging
  unreasonable omissions or misrepresentations that involve
                                                                     that a corporate officer attended a meeting. See In re BP p.l.c.
  not merely simple or even inexcusable negligence, but
                                                                     Sec. Ltg., 922 F.Supp.2d 600, 632 & n. 31 (S.D.Tex.2013);
  an extreme departure from the standard of ordinary care,
                                                                     cf. Ind. Elec., 537 F.3d at 540 (reversing denial of motion
  and that present a danger of misleading buyers or sellers
                                                                     to dismiss due to lack of scienter and rejecting allegation
  which is either known to the defendant or is so obvious
                                                                     that defendants knew or should have known that their
  that the defendant must have been aware of it.” Allegations
                                                                     statements were false by virtue of monthly reports discussed
  of motive and opportunity, standing alone, are no longer
                                                                     at meetings). Here, the allegation has not been supported by
  sufficient to plead a strong inference of scienter, although
                                                                     particularized evidence that the individual defendants learned
  appropriate allegations of motive and opportunity may
                                                                     specific bad facts at specific meetings and later made a false
  enhance other allegations of scienter.
                                                                     statement with knowledge of the truth of those bad facts.
Abrams, 292 F.3d at 430 (citing Nat hens on v. Zonagen,              A corporate officer's defendant's “hands-on” management
Inc., 267 F.3d 400, 408, 410–12 (5th Cir.2001)). Guided by           style or intimate involvement with a matter is likewise not
Supreme Court and Fifth Circuit precedent, the Court takes           sufficient to infer scienter. See Ind. Elec., 537 F.3d at 535
the following three-step approach to determine whether a “           (“Bernhard's [CEO] management style, coupled with his
‘cogent and compelling,’ [and] not merely ‘reasonable’ or            alleged boast that ‘there is nothing in this company that I
‘permissible,’ “ inference of scienter exists: it assumes that the   don't know,’ are insufficient to support a strong inference of
allegations to be true; to the extent applicable, it “consider[s]    scienter.”); Goldstein v. MCI WorldCom, 340 F.3d 238, 251
documents incorporated in the complaint by reference and             (5th Cir.2003) (“[P]laintiffs' general allegation that Ebbers
matters subject to judicial notice”; and it “take[s] into account    was a ‘hands-on’ CEO and therefore must have been aware
plausible inferences opposing as well as supporting a strong         of the accounts receivable situation simply lacks the requisite
inference of scienter.” Ind. Elec. Workers' Pension Trust Fund       specificity.”); Abrams, 292 F.3d at 431–32.
IBEW v. Shaw Grp., Inc., 537 F.3d 527, 533 (5th Cir.2008)
(citing Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S.        *10 Equally unavailing is the attempt to manufacture
308, 321–24, 127 S.Ct. 2499, 168 L.Ed.2d 179 (2007)).                falsity by linking generalized, optimistic statements with
                                                                     disappointing earnings results announced weeks or months
The false and/or misleading statements alleged in the                later. Absent substantiation, these later results do not establish
Complaint relate to the defendants' November, 2012,                  that the earlier statements were false when made. For example



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on August 6, 2013, when the defendants announced that              *11 To the extent that any of the defendants' Class
the Company's Malaysia project was a “significant bid             Period statements is an admission at all, it is at most an
miss” requiring additional funding, this disclosure did not       admission of mismanagement. “[N]egligence, oversight or
contradict their prior assertion on February 28/March 1,          simple mismanagement [do not] rise to the standard necessary
2013 that they were “feeling pretty good that [they] fully        to support a securities fraud action.” Abrams, 292 F.3d at 433;
estimated the cost to complete the project.” On August            see Ind. Elec., 537 F.3d at 539 (“[T]he allegation of Shaw–
5, 2013, when the defendants made known that 2Q2013               Trac's problems may indicate corporate mismanagement,
losses in the Middle East segment were the result of “poor        but the securities laws do not protect investors against
project management, especially around changed conditions,”        negligence.”); In re Anadarko Petrol. Corp. Class Action
lack of oversight in project execution and “weaknesses” in        Litig., 957 F.Supp.2d 806, 818 (S.D.Tex.2013) (“Section
operating performance, these so-called admissions did not         10(b) and [SEC] Rule 10b–5 do not protect investors against
convert into a falsity their previous belief that the Company     negligence or corporate mismanagement.”).
was “going to have a good year in 2013 in the Middle
East.” Neither did the announcement discredit the earlier         Finally, virtually all of the challenged statements are cast
representation that there was nothing that would “indicate        in terms of personal opinions and beliefs about the future,
any further problems with that program.” Similarly, Johnson's     rather than facts. A claim of securities fraud that rests
August, 2013 announcement regarding operating losses and          on such opinion or belief is doomed to fail, however,
the restructuring of the Atlantic segment on account of           unless the evidence shows that “the speaker did not in
“increased support costs” and lower-than-expected utilization     fact hold that belief and the statement made asserted
did not negate his November, 2012 statements regarding his        something false or misleading about the subject matter .”
“bullish” outlook on the Atlantic segment and the Company's       Greenberg v. Crossroads Sys., Inc., 364 F.3d 657, 670
ability to maintain its position as a formidable bidding          (5th Cir.2004); see Rosenzweig, 332 F.3d at 869 (holding
contender in the region.                                          that statement by management that “[w]e anticipate funding
                                                                  capital expenditures ... through operating cash flows and
Even when construed in the light most favorable to the            long-term debt” was immaterial because it was “qualified”
plaintiff, the Complaint does nothing more than allege that in    as management's “anticipat[ion],” rather than fact); see also
McDermott's quarterly earnings calls, the defendants should       Nolte v. Capital One Fin. Corp., 390 F.3d 311, 315 (4th
have accurately predicted what the results of the next quarter    Cir.2004) (“[T]he Supreme Court held that in a securities
would be. “[C]ompany officials should not,” however, “be          fraud case, a statement of opinion may be a false factual
held responsible for failure to foresee future events.” Abrams,   statement if the statement is false, disbelieved by its maker,
292 F.3d at 433 (approving Second Circuit's observation in        and related to matters of fact which can be verified by
Novak v. Kasaks, 216 F.3d 300 (2d Cir.2000)). No allegation       objective evidence.” (citing Va. Bankshares, Inc. v. Sandberg,
supports an inference, much less a strong inference, that the     501 U.S. 1083, 1093, 111 S.Ct. 2749, 115 L.Ed.2d 929
defendants knew or should have known that there was no            (1991)). The Complaint makes no particularized showing that
basis for concluding that project objectives were achievable.     the defendants did not believe what they were saying when
This is a classic case of pleading “fraud by hindsight,”          they said it.
and the law makes no allowance for it. See Rosenzweig,
332 F.3d at 867–68 (affirming dismissal of securities fraud       Because the plaintiff fails to sufficiently plead materiality and
class action where certain factual underpinnings on which         scienter, its § 10(b)/SEC Rule 10b–5 claim must be dismissed.
plaintiffs relied were hindsight assessments of defendants'
performance); Lormand, 565 F.3d at 248–49 (defining “fraud
by hindsight” as the case where “a plaintiff alleges that the        B. Section 20(a) Claim
fact that something turned out badly must mean defendant          The plaintiff's § 20(a) claim is a derivative claim of § 10(b).
knew earlier that it would turn out badly” or where “there        Based on the failure of the primary claim, it too must be
is no contemporaneous evidence at all that defendants knew        dismissed.
earlier what they chose not to disclose until later”). Business
misjudgments are simply not fraud. Melder v. Morris, 27 F.3d
                                                                    C. Leave to Amend
1097, 1101 n. 8 (5th Cir.1994).
                                                                  The plaintiff makes a one-sentence request seeking leave to
                                                                  amend the Complaint for the second time. A district court has


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                                                                        virtue of the allowance of the amendment, [and] futility of the
discretion to grant or deny motions to amend pleadings. Fed.
R. C iv. P. 15(a) (leave to amend “shall be freely given when           amendment....’ Foman v. Davis, 371 U.S. 178, 182, 83 S.Ct.
justice so requires”). Although Rule 15(a) “evinces a bias in           227, 9 L.Ed.2d 222 (1962).”).
favor of granting” such a motion, Rosenzweig, 332 F.3d at 863
(internal quotation marks omitted), deference towards this              VI. CONCLUSION
bias is not warranted here since the Court afforded the plaintiff        *12 Based on the foregoing analysis and discussion,
an opportunity once already to cure pleading deficiencies               the defendants' motion to dismiss is GRANTED and the
in the original complaints. See supra note 1. The plaintiff             Complaint dismissed with prejudice.
has not presented any new information to cure the existing
deficiencies. Accordingly, the request for leave to amend is            It is so ORDERED.
denied and the Complaint is dismissed with prejudice. See
id. at 864–65 (“The Supreme Court lists five considerations
in determining whether to deny leave to amend a complaint:              All Citations
‘undue delay, bad faith or dilatory motive on the part of the
movant, repeated failure to cure deficiencies by amendments             Not Reported in F.Supp.3d, 2015 WL 1143081, Fed. Sec. L.
previously allowed, undue prejudice to the opposing party by            Rep. P 98,400


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                                                               *1 Three investors 1 filed putative class actions against
                    2022 WL 377415                            Spirit AeroSystems Holdings, Inc. (Spirit), a publicly traded
     Only the Westlaw citation is currently available.        company, and certain of its senior executives asserting
      United States District Court, N.D. Oklahoma.            claims under Section 10(b) and Section 20(a) of the
                                                              Securities Exchange Act of 1934, as amended by the Private
        MEITAV DASH PROVIDENT FUNDS                           Securities Litigation Reform Act of 1995 (PSLRA), 15
          AND PENSION LTD., Lead Plaintiff,                   U.S.C. § 78j(b) and 78t(a), and Rule 10b-5 promulgated
                            and                               thereunder, 17 C.F.R. § 240.10b-5. The court entered an
    Jacob Goldman, Individually and on behalf of all          order (1) consolidating the actions, designating Case No.
    other similarly situated, Gary Smith, Individually        20-CV-0054 as the base file; (2) appointing Meitav Dash
    and on behalf of all others similarly situated, and       Provident Funds and Pension Ltd. (Meitav) to serve as
                                                              lead plaintiff; and (3) approving the selection of lead
      Employees' Retirement System of the City of
                                                              counsel, additional counsel, and liaison counsel. Thereafter,
   Providence, City of Miami Fire Fighters' and Police
                                                              as ordered by the court, Meitav and consolidated plaintiffs,
   Officers' Retirement Trust, Consolidated Plaintiffs,
                                                              Gary Smith (Smith) and City of Miami Fire Fighters'
                             v.                               and Police Officers' Retirement Trust (Retirement Trust)
  SPIRIT AEROSYSTEMS HOLDINGS, INC., Thomas                   filed a Consolidated Class Action Complaint (consolidated
   G. Gentile, III, Jose Garcia, John Gilson, and Shawn       complaint), superseding all filed complaints. Defendants have
    Campbell, Defendants/Consolidated Defendants.             moved to dismiss the consolidated complaint. Doc. nos. 77,
                                                              78 and 79. Lead plaintiff and consolidated plaintiffs have
       Case No. 20-cv-00054-SPF-JFJ, Case No. 20-
                                                              responded, opposing dismissal. 2 Doc. no. 90. Defendants
     cv-00077-SPF-JFJ, Case No. 20-cv-00117-SPF-JFJ
                                                              have replied. Doc. nos. 91, 92 and 93. Subsequently, the case
                            |
                                                              was transferred to the undersigned. Upon due consideration
                    Signed 01/07/2022
                                                              of the parties' submissions and relevant law, the court makes
Attorneys and Law Firms                                       its determination. 3

Laurence M. Rosen, Phillip Kim, The Rosen Law Firm, P.A.,     1      Jacob Goldman, Gary Smith, and Employees'
Brian Calandra, Pomerantz LLP, David J. Schwartz, Francis
                                                                     Retirement System of the City of Providence.
Paul McConville, Irina Vasilchenko, James W. Johnson,
Labaton Sucharow LLP, John J. Esmay, Bernstein Litowitz       2      In their response, plaintiffs request that the
Berger & Grossmann LLP, New York, NY, James Michael                  court disregard or strike the “excessive, overlong
Reed, Hall Estill Hardwick Gable Golden & Nelson, Tulsa,             footnotes,” in doc. no. 77, specifically, n. 2, n. 21,
OK, for Lead Plaintiff/Consolidated Plaintiffs.                      and n. 26 and “six-page, single-spaced ‘Appendix
                                                                     A’ ” attached to doc. no. 77 on the ground
R. Richard Love, III, Conner & Winters LLP, John
                                                                     they violate the court's page limit order. Doc.
Christopher Davis, Johnson & Jones PC, Jessica Lynn
                                                                     no. 90, n. 6. Upon review and in its discretion,
Dickerson, Mary Quinn-Cooper, McAfee & Taft, Tulsa,
                                                                     the court declines plaintiffs' request. The court is
OK, Robert Ritchie, Vinson & Elkins LLP, Carrington
                                                                     not convinced the footnotes and Appendix A are
Giammittorio, Haynes and Boone, LLP, Daniel Gold,
                                                                     improper.
Shearman & Sterling LLP, Dallas, TX, Andrew Rodgers,
Patrick Joseph Smith, Smith Villazor LLP, New York, NY,       3      Although plaintiffs have requested oral argument,
Spencer Freeman Smith, McAfee & Taft, Oklahoma City,                 the court concludes that oral argument is not
OK, for Defendants/Consolidated Defendants.                          necessary. The present motions, focusing, as they
                                                                     must, on what is (and is not) down in black and
                                                                     white in the papers before the court, do not, by
                        ORDER                                        their nature, call for oral argument. That said, if the
                                                                     court had concluded that oral argument would aid
STEPHEN P. FRIOT, UNITED STATES DISTRICT JUDGE




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        its consideration of these motions, it would have set       Vice President for the 737 NG and 737 MAX programs, 4
        them for argument.                                          serving the company from March 2016 until January of 2020.

                                                                    4
                               I.                                          The 737 NG is the third generation of the Boeing
                                                                           737 airplane, and the 737 MAX is the fourth
                                                                           generation. The 737 MAX was announced in 2011
                            Parties                                        and began commercial flights in 2017.
Lead plaintiff Meitav is one of the leading investment
houses in Israel. Consolidated plaintiff Retirement Trust
                                                                                                  II.
provides retirement and disability benefits to participating
firefighters and police officers of the City of Miami, Florida.
Consolidated plaintiff Smith is a securities investor. Plaintiffs                            Background
bring this securities fraud action, individually and on behalf
                                                                    In October of 2018 and March of 2019, two 737 MAX
of all persons and entities who or which, during the
                                                                    jetliners crashed after take-off, killing all passengers on
period from October 31, 2019, through February 27, 2020,
                                                                    board. All 737 MAX jetliners were grounded on March
inclusive (the Class Period), purchased Spirit's publicly traded
common stock and suffered damages. Plaintiffs claim they            13, 2019, pending recertification by aviation authorities. 5
purchased Spirit's stock at artificially inflated prices during     Securities analysts following Spirit recognized that the
the Class Period and were damaged upon revelation of alleged        737 MAX jetliners' grounding would negatively impact
corrective disclosures or materializations of the risks.            Spirit's financial condition, particularly if Boeing altered its
                                                                    production schedule.
 *2 Defendant Spirit is a Delaware corporation with its
headquarters in Wichita, Kansas. It is one of the largest           5      It was later revealed that the crashes were caused
independent non-OEM (original equipment manufacturer)                      by a problem with certain software in the 737 MAX
commercial aerostructure designers and manufacturers in                    flight control computer–specifically, an automated
the world. Spun off in 2005 from a division of The                         system called the Maneuvering Characteristics
Boeing Company (“Boeing”), Spirit is the largest independent               Augmentation System, which was designed to
supplier of aerostructures (primarily fuselages) for Boeing's              automatically take over the plane and point the nose
commercial aircraft. Sales to Boeing accounted for roughly 79              downward if a sensor detected a “pitch-up” in flight
percent of Spirit's net revenues in fiscal years 2018 and 2019.            that had not been commanded.
During the Class Period, more than 50 percent of Spirit's
                                                                    On April 5, 2019, Boeing announced that it would reduce
revenues were dependent on Boeing's 737 MAX jetliners.
                                                                    its production rate of the 737 MAX jetliners from 52 to
Spirit's securities trade on the New York Stock Exchange
                                                                    42 aircraft per month. Later that day, Spirit announced
under the ticker symbol “SPR.” As of April 29, 2020, Spirit
                                                                    that it and Boeing had entered into a Memorandum of
had over 105 million shares of common stock outstanding,
                                                                    Agreement, wherein the companies agreed that, despite
“owned by hundreds or thousands of investors.” Doc. no. 49,
                                                                    Boeing's reduction of its production rate to 42 aircraft per
¶ 36.
                                                                    month, Spirit would maintain its prior production rate of 52
                                                                    aircraft shipsets (fuselage and other components) per month
Defendant Thomas C. Gentile, III (Gentile) serves as Spirit's
                                                                    to minimize supply chain disruptions. Spirit was to maintain
President and Chief Executive Officer and has occupied
                                                                    its production rate of 52 aircraft shipsets per month until May
those positions since August 1, 2016. Defendant Jose Garcia
                                                                    1, 2020, unless advised otherwise. Boeing would pay for all
(Garcia) is Spirit's former Senior Vice President and Chief
                                                                    52 aircraft shipsets each month and have Spirit store the 10
Financial Officer, having served the company in that capacity
                                                                    excess aircraft shipsets at its Wichita facility or at McConnell
from January 9, 2019, until January 29, 2020. Defendant
                                                                    Air Force Base, adjacent to the Wichita facility. When Boeing
John Gilson (Gilson) served as Spirit's Vice President and
                                                                    increased its production rate per month to 57 aircraft per
Corporate Controller from January 8, 2018, until January 29,
                                                                    month as originally planned prior to the crashes, Spirit would
2020. Defendant Shawn Campbell (Campbell) was Spirit's
                                                                    maintain its 52 aircraft shipsets per month production rate and
                                                                    satisfy Boeing's increased demand by slowly “burn[ing] off”


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its accumulated inventory of 737 MAX shipsets. Doc. no. 49,         the 52 aircraft shipsets per month production rate, concealing
¶ 76.                                                               Boeing's directive to cut the production rate in half.

Over the next few months, defendants publicly reiterated that       According to another former Spirit employee, designated in
Spirit intended to maintain its 52 aircraft shipsets per month      the consolidated complaint as FE 2, a senior Spirit executive
production rate and minimized the likelihood of any cuts in         announced at a daily internal meeting in mid-November of
the rate of production despite the continued grounding of the       2019 that Boeing had decided that Spirit should temporarily
737 MAX jetliners. Analysts believed defendants' assurances         halt 737 MAX production after the fourth quarter of 2019.
that Spirit had successfully navigated the issues surrounding       Plaintiffs claim Gentile and Garcia concealed this damaging
the 737 MAX program–critical to Spirit's financial success–         development by stating several days later at an analyst
and would continue to do so.                                        meeting hosted by Jefferies LLC that Spirit's 737 MAX
                                                                    production was to stay at the rate of 52 aircraft shipsets per
 *3 According to a former Spirit employee, 6 designated in          month until May 2020.
the consolidated complaint as FE 7, in either late September
or early October of 2019 at one of the frequent meetings            After the close of trading on December 16, 2019, Boeing
between Boeing and Spirit to discuss the production of              publicly disclosed that it was halting production of the
the 737 MAX, Boeing told Spirit to cut the production               737 MAX beginning in January 2020. Spirit's stock price
rate of 737 MAX shipsets in half. Campbell attended that            declined following Boeing's announcement. Plaintiffs claim
meeting. The confidential witness believed Garcia and Gilson        Gentile downplayed the impact of the revelation by falsely
also attended the meeting because they generally attended           reassuring Spirit's investors, among other things, that he was
such meetings, and the production rate schedule required            not expecting to have to implement layoffs, even though Spirit
their sign-off. The confidential witness learned about the          had begun planning for layoffs in October. However, a few
production rate cut from her direct supervisor, Angel Little,       weeks later, on January 10, 2020, Spirit publicly disclosed
and Campbell. According to the witness, Campbell disclosed          that it was laying off 2,800 employees at its Wichita facility
the production rate cut in a regular meeting of the business        due to the 737 MAX production halt. Spirit's stock price fell
operations team relating to production. The confidential            again. According to plaintiffs, Spirit's stock price declined
witness claims defendants began creating a plan to implement        again upon additional disclosures on January 30, 2020, and
the cut, including running related layoff analyses, and the         February 28, 2020, that the 737 MAX production rate in 2020
results of the analyses were approved by executives, including      would amount to a total of 216 aircraft shipsets—over 66
Campbell, and presented to Gentile just before the end of           percent lower than in 2019—and the company would not
October 2019.                                                       return to the prior 52 aircraft shipsets per month production
                                                                    rate until 2022.
6      Plaintiffs refer to several former Spirit employees
                                                                    In addition to misleading investors about the 737 MAX
       as “Confidential Former Employees.” E.g., Doc.
                                                                    production rate, plaintiffs claim that during the Class Period,
       no. 49, ¶ 45. For brevity, the court will refer to them
                                                                    defendants publicly misrepresented Spirit's compliance with
       simply as former employees.
                                                                    established accounting procedures and the effectiveness of
Another former Spirit employee, designated in the                   its internal controls over its financial reporting. According to
consolidated complaint as FE 8, claimed that in September or        the former Spirit employees designated in the consolidated
October of 2019, other suppliers that interfaced directly with      complaint as FE 9 and FE 10, there was a failure to
Boeing were apparently notified by Boeing that it planned to        place sufficient safeguards on the company's accounting
substantially reduce its 737 MAX production rate, and they          processes related to the determination of what is known as the
called FE 8, as a supply chain procurement agent, to ask for        “estimate at completion” (EAC), in connection with valuing
Spirit's updated forecasts for parts and materials based upon       and recording adverse claims for compensation made by
Boeing's lower production rate. FE 8 advised that she had not       Spirit's customers, such as Boeing, with respect to the 737
received an internal update from Spirit at that point.              MAX program. The employees claim Gentile, Garcia, and
                                                                    Gilson, who were involved in overseeing the EAC process,
Plaintiffs allege that on October 31, 2019, Gentile, Garcia,        failed to implement effective internal controls, and permitted
and Gilson made public statements that Spirit would maintain        Campbell to manipulate and understate Boeing Claims 7 to



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make the 737 MAX program appear more profitable than it            Act, 15 U.S.C. § 78t(a), which creates joint and several
really was.                                                        liability for a “control person” of a party found liable for
                                                                   violations of securities laws. Maher v. Durango Metals, Inc.,
7                                                                  144 F.3d 1302, 1305 (10th Cir. 1998).
       FE 9 stated that the Boeing Claims were claims
       “Boeing made against Spirit for, inter alia, the time
       and expense Boeing had to expend for disruptions
       due to delays and certain quality issues with                                            III.
       delivered shipsets.” Doc. no. 49, ¶ 159.
 *4 Plaintiffs claim the truth regarding the deficient internal                   Elements of Plaintiffs' Claims
controls over the EAC process emerged on January 30,
2020. On that date, Spirit disclosed it had not complied           Section 10(b) of the Securities Exchange Act and its
with its established accounting procedures relating to certain     implementing regulation, Rule 10b-5, Subsection (b),
contingent liabilities (customer claims) that were received        “prohibit making any material misstatement or omission
by the company after the end of the third quarter of               in connection with the purchase or sale of any security.”
2019. The company announced that Garcia and Gilson had             Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258,
tendered their resignations “[i]n light of these findings.” Doc.   267 (2014). The Supreme Court has “inferred from these
no. 49, ¶ 206 (emphasis omitted). According to a former            provisions an implied private cause of action permitting the
Spirit employee, designated as FE 11, Campbell was fired           recovery of damages for securities fraud.” Goldman Sachs
a week before Garcia and Gilson resigned. Subsequently,            Group, Inc. v. Arkansas Teacher Retirement System, 141
on February 28, 2020, the company stated the accounting            S.Ct. 1951, 1958 (2021) (citing Halliburton Co., 573 U.S. at
violations occurred due to a “material weakness” in the            267).
internal controls related to the EAC process for customer
claims and assertions. Id., ¶ 215 (emphasis omitted). The          Count I of the consolidated complaint alleges violations of
company further noted that the material weakness related to        Section 10(b) and Rule 10b-5, subsection (b), against Spirit,
76 percent of the company's contracts, that “noncompliance”        Gentile, Garcia, and Gilson. To state a claim under Section
with its established accounting procedures “is a critical          10(b) and Rule 10b-5(b), plaintiffs must allege:
item the [c]ompany must address” and that it resulted in
deficient “internal controls over financial reporting.” Id., ¶¶
28, 215. Spirit's stock price dropped after both the January                   (1) the defendant made an untrue
and February disclosures.                                                      or misleading statement of material
                                                                               fact, or failed to state a material
Plaintiffs allege defendants violated Section 10(b) of the                     fact necessary to make statements
Securities Exchange Act and Subsection (b) of Rule 10b-5                       not misleading; (2) the statement
by making false and materially misleading statements                           complained of was made in connection
concerning the 52 aircraft shipset production rate and                         with the purchase or sale of securities;
by making false and materially misleading statements                           (3) the defendant acted with scienter,
concerning the compliance with established accounting                          that is, with intent to defraud or
procedures and the effectiveness of Spirit's internal controls.                recklessness; (4) the plaintiff relied on
                                                                               the misleading statements; and (5) the
In addition, plaintiffs allege defendants violated Section 10(b)               plaintiff suffered damages as a result of
and Subsection (a) and Subsection (c) of Rule 10(b)(5) by                      his reliance.
carrying out a common plan, scheme, and unlawful course of
conduct which was intended to and did deceive the investing
public, artificially inflate the price of Spirit's common stock    Smallen v. The Western Union Company, 950 F.3d 1297,
and cause plaintiffs to purchase the stock at artificially         1304 (10th Cir. 2020) (emphasis omitted).
inflated prices.
                                                                   Defendants argue that plaintiffs have failed to sufficiently
Plaintiffs further assert claims against the individual            plead the first and third elements.
defendants under Section 20(a) of the Securities Exchange


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Count III of the consolidated complaint alleges violations of        When “faced with a Rule 12(b)(6) motion to dismiss a § 10(b)
Section 10(b) and Rule 10b-5, subsections (a) and (c), against       action, courts must, as with any motion to dismiss for failure
all defendants. “Unlike a claim under subsection (b) of Rule         to plead a claim on which relief can be granted, accept all
10b-5, a claim of liability for violations of subsections (a) and    factual allegations in the complaint as true.” Tellabs, Inc. v.
(c) does not require an allegation that the defendant made a         Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007). In
false or misleading statement; rather, liability is premised on a    addition, “courts must consider the complaint in its entirety, as
course of deceptive or manipulative conduct.” Takata v. Riot         well as other sources courts ordinarily examine when ruling
Blockchain, Inc., Civ. Action No. 18-02293 (FLW), 2020 WL            on Rule 12(b)(6) motions to dismiss,” including “documents
2079375, at *14 (D.N.J. Apr. 30, 2020). To state a claim under       incorporated into the complaint by reference, [ ] matters of
subsections (a) and (c) of Rule 10b-5, plaintiffs must allege        which a court may take judicial notice,” and “documents
that defendants committed a deceptive or manipulative act            referred to in the complaint if the documents are central to the
in addition to the other standard elements of a Section 10(b)        plaintiff's claim and the parties do not dispute the documents'
violation. Id.                                                       authenticity.” Id.; Jacobsen v. Deseret Book Co., 287 F.3d
                                                                     936, 941 (10th Cir. 2002) (citation omitted).
 *5 In their motions, defendants posit that plaintiffs have
failed to sufficiently plead deceptive or manipulative conduct.      Any complaint alleging securities fraud must satisfy the
Defendants also argue that plaintiffs have failed to plead the       heightened pleading requirements of Rule 9(b), Fed. R.
requisite reliance element.                                          Civ. P., and the PSLRA. Tellabs, 551 U.S. at 319-321.
                                                                     Rule 9(b) requires plaintiffs to “state with particularity the
Count II of the consolidated complaint asserts liability under       circumstances constituting the fraud.” Rule 9(b), Fed. R. Civ.
Section 20(a) of the Securities Exchange Act against the             P. “At a minimum, Rule 9(b) requires that a plaintiff set
individual defendants, Gentile, Garcia, Gilson, and Campbell.        forth the who, what, when, where and how of the alleged
To state a claim under Section 20(a), plaintiffs must allege (1)     fraud[ ] and must set forth the time, place, and contents of
a primary violation of the securities laws; and (2) control over     the false representation, the identity of the party making the
the primary violator by the alleged controlling person. City         false statements and the consequences thereof.” United States
of Philadelphia v. Fleming Companies, Inc., 264 F.3d 1245,           ex. rel. Sikkenga v. Regence Bluecross Blueshield of Utah,
1270 (10th Cir. 2001). If a plaintiff has not adequately alleged     472 F.3d 702, 726-27 (10th Cir. 2006), abrogated on other
a primary violation of the securities law, then the Section          grounds by Cochise Consultancy, Inc. v. United States ex rel.
20(a) claim is properly dismissed. Id.                               Hunt, 139 S.Ct. 791 (2019) (quotations and citations omitted).

Defendants argue that plaintiffs' Section 20(a) claims fail          Under the PSLRA, plaintiffs are required to “state with
because they have not adequately alleged a primary violation         particularity both the facts constituting the alleged violation,
of the securities laws.                                              and the facts evidencing scienter.” Tellabs, 551 U.S. at 313.
                                                                     The complaint must “specify each statement alleged to have
                                                                     been misleading, the reason or reasons why the statement is
                                                                     misleading, and, if an allegation regarding the statement or
                               IV.
                                                                     omission is made on information and belief, the complaint
                                                                     shall state with particularity all facts on which that belief is
                        Legal Standards                              formed.” 15 U.S.C. § 78u-4(b)(1). As to the scienter element,
                                                                     the PSLRA requires a plaintiff to, “with respect to each act or
Generally, “[t]o survive a motion to dismiss [under Rule 12(b)       omission alleged..., state with particularity facts giving rise to
(6), Fed. R. Civ. P.], a complaint must contain sufficient           a strong inference that the defendant[s] acted with the required
factual matter, accepted as true, to ‘state a claim to relief that   state of mind.” 15 U.S.C. § 78u-4(b)(2)(A). “The inquiry ...
is plausible on its face.’ ” Ashcroft v. Iqbal, 556 U.S. 662,
                                                                     is whether all of the facts alleged, taken collectively, give
678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S.
                                                                     rise to a strong inference of scienter, not whether any
544, 570 (2007)). “A claim has facial plausibility when the
                                                                     individual allegation, scrutinized in isolation, meets that
plaintiff pleads factual content that allows the court to draw
                                                                     standard.” Tellabs, 551 U.S. at 322-23 (emphasis in original).
the reasonable inference that the defendant is liable for the
                                                                     A complaint survives dismissal “only if a reasonable person
misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556).


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would deem the inference of scienter cogent and at least as         Boeing's Chief Executive Officer stated that Boeing's “best
compelling as any plausible opposing inference one could            current estimate” was for “a return of service of the MAX
draw from the facts alleged.” Id. at 324.                           that begins this quarter,” and that it expected the company
                                                                    to “maintain [its] current production rate of 42 [737 MAX]
                                                                    deliveries per month ... followed by incremental rate increases
                                                                    that would bring [Boeing's] production rate to 57 by late
                               V.
                                                                    2020.” Doc. no. 77-3, ECF p. 7. At the November 6, 2019
                                                                    investor conference, Boeing's Chief Financial Officer stated
            Consideration of Defendants' Exhibits                   that it was “still the plan” for Boeing “to move up from 42”
                                                                    737 MAX deliveries and “try to achieve [ ] 57” deliveries a
 *6 Defendants Spirit, Gentile and Campbell attach various          month “exiting 2020.” Doc. no. 77-2, ECF pp. 10-11. Despite
documents to their motion and request the court to consider         their response, defendants do not ask the court to consider
them without converting the motion into one for summary             the transcripts to establish what was publicly available to
judgment. 8 The documents consist of (1) transcripts of the         investors at the time of the alleged fraud. Rather, they
third quarter 2019 earnings conference call with analysts           seek the court's consideration of the transcripts to establish
and reporters held on October 23, 2019, and the Baird               that defendants' public statements on October 31, 2019
Global Industrial Conference held on November 6, 2019,              were not actionably misleading. According to defendants,
both involving Boeing (doc. nos. 77-3, 77-4); (2) Spirit's          at the time Gentile, Garcia and Gilson made their October
Form 10-K for the fiscal year ending December 31, 2019              31, 2019 statements, “the most authoritative and most
and Spirit's Form 10-Q for the quarterly period ending              recent statements they had received from Boeing indicated
September 26, 2019, both filed with the Securities and              that Boeing was not planning any reduction in 737 MAX
Exchange Commission (SEC) (doc. nos. 77-5, 77-7); (3) the           production.” Doc. no. 77, ECF p. 22 (emphasis in original).
Jefferies' analyst report dated November 24, 2019 (doc. no.         Defendants assert that this is what they told the market in
77-6); and (4) two Form 4, Statement of Changes in Beneficial       their October 31 statements, and therefore “Plaintiffs have
Ownership of Securities, filed with the SEC with respect to         fallen far short of alleging that [the] October 31 Statements
Gentile (doc. no. 77-8).                                            were misleading under the stringent Omnicare 9 standard.”
                                                                    Id. at ECF pp. 22-23. They also note that the statements render
8                                                                   implausible the former Spirit employee's account that Boeing
        Although Garcia and Gilson have filed separate
        dismissal motions (doc. nos. 78 and 79), they join          instructed Spirit to cut the 52 shipsets production rate in half.
        and incorporate by reference the motion to dismiss          Id. at ECF p. 22, n. 9. The court concludes that defendants'
        of defendants Spirit, Gentile and Campbell (doc.            submission of the transcripts is for the purpose of establishing
        no. 77). Garcia also joins and incorporates by              the truth of the matters asserted in them, rather than showing
        reference Gilson's motion to dismiss.                       what information was available to investors at the time, and
                                                                    therefore declines to consider the transcripts in adjudicating
Plaintiffs only object to the court's consideration of the
                                                                    defendants' dismissal motions. See, Tal v. Hogan, 453 F.3d
transcripts of the earnings call and conference involving
                                                                    1244, 1264 n. 24 (10th Cir. 2006) (documents may only be
Boeing. Specifically, they assert that defendants seek judicial
                                                                    considered to show their contents, not to prove the truth of the
notice of those transcripts for the purpose of establishing the
                                                                    matter asserted in them).
truth of the matters asserted in them, which is not permissible
under Tenth Circuit authority. In response, defendants counter
                                                                    9
that the court may properly consider the publicly available                 Omnicare, Inc. v. Laborers Dist. Council Const.
investor call transcripts because they are being used for the               Industry Pension Fund, 575 U.S. 175 (2015).
“purpose of showing that various disclosures were made               *7 As to the other documents (the SEC filings and
and available to investors.” Doc. no. 91, ECF p. 9 (quoting         analyst's report), whose consideration is unopposed, the
Chipman v. Aspenbio Pharma, Inc., Civil No. 11-cv-00163-            court concludes that they may properly be considered in
REB-KMT, 2012 WL 4069353, at *2 (D. Colo. Sept. 17,                 adjudicating defendants' motions.
2012)).

The court agrees with plaintiffs that it should not take judicial
notice of the transcripts. In the October 23, 2019 earnings call,


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                              VI.
                                                                                Spirit continues to produce at a rate
                                                                                of 52 aircraft per month in accordance
              Count I – Claims Under Section                                    with its agreement with Boeing.
            10(b) and Rule 10b-5, Subsection (b)

  A. Alleged False and Misleading Statements
                                                                    Doc. no. 49, ¶ 226 (emphasis omitted); doc. no. 77-1,
                                                                    statement #3.
            (i). Aircraft Shipset Production Rate
                                                                    During the earnings call relating to the quarter ending
                     a. October 31, 2019                            September 26, 2019, Gentile stated:

Plaintiffs allege that Garcia, Gilson and Gentile publicly            [W]e are continuing to produce at a rate of 52 aircraft per
made false and misleading statements on October 31, 2019,             month as we agreed with Boeing[.]”
reaffirming that Spirit would continue the 52 aircraft shipsets
                                                                                                 ****
per month production rate. Plaintiffs allege that defendants'
statements were false and misleading because Boeing had               Our current expectations are that we will continue to
already told Spirit in late September or early October 2019           produce at rate 52 ... Given current production and storage
to cut its 737 MAX production rate in half, and soon                  levels, our expectation is that we will not produce at a
after receiving that notification Spirit had begun planning to        rate higher than 52 through 2020, [20]21 and possibly into
take the steps needed to reduce its production accordingly.           2022.
The specific alleged false and misleading statements are as
follows.                                                                                         ****

Form 10-Q (for the quarter ending September 26, 2019),                If Boeing goes down more, we would sit down and talk
signed by Garcia and Gilson and filed with the SEC, stated            with them about what's the appropriate production level for
in relevant part:                                                     us ... Now what I would say though is that this period of
                                                                      time where we're at 52, gives us a chance to achieve some
  We expect that the annualized average monthly shipset               stability ... Now we're going to be at 52 for an extended
  deliveries over the course of the year to be at rate 52 subject     period of time.”
  to any reductions that Boeing may decide to implement.
                                                                    Doc. no. 49, ¶¶ 227, 228 and 229 (emphasis omitted); doc. no.
                               ****                                 77-1, statements #4, #5, and #6.

  For so long as the grounding of the B737 MAX fleet                Defendants contend plaintiffs have not sufficiently alleged
  continues, there may be further reductions in the production      that any of these statements were actionably misleading.
  rate, including a temporary shutdown in production. To            According to defendants, the alleged statements express
  the extent that the grounding of the B737 MAX fleet               expectations about the future rather than presently existing
  continues for an extended period of time and Spirit is            facts, and, therefore, constitute statements of opinion. To
  required to further reduce its production rate on the B737        render opinion statements actionable, defendants assert that
  MAX aircraft, Spirit's business, financial condition, results     plaintiffs must identify “ ‘particular (and material) facts’
  of operations and cash flows could be materially adversely        that were not disclosed and ‘that cannot be squared’ with
  impacted.                                                         the statement of opinion.” Doc. no. 77, ECF p. 18 (citing
                                                                    Omnicare Inc. v. Laborers Dist. Council Const. Industry
Doc. no. 49, ¶ 225 (emphasis omitted); doc. no. 77-1,
                                                                    Pension Fund, 575 U.S. 175, 191, 194 (2015)). Defendants
statements #1 and #2.
                                                                    maintain that plaintiffs cannot rely upon the account of
                                                                    confidential witness FE 7, a Business Operations Specialist,
The press release filed with the SEC on Form 8-K signed by
                                                                    to establish particular and material facts not disclosed by
Garcia stated in relevant part:
                                                                    defendants. Defendants contend that FE 7's account of Boeing


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directing Spirit in late September or early October 2019 to cut    at 1099. That evaluation will involve “(1) the level of detail
its production rate of 737 MAX shipsets in half does not meet      provided by the facts stated in a complaint; (2) the number
the PSLRA's stringent particularity requirement. Defendants        of facts provided; (3) the coherence and plausibility of the
assert that FE 7's account is vague, conclusory and based          facts when considered together; (4) whether the source of
upon multiple hearsay. They maintain that FE 7's account is        the plaintiff's knowledge about a stated fact is disclosed;
particularly deficient in that FE 7 does not claim to know the     (5) the reliability of the sources from which the facts were
ultimate source of her hearsay information. Defendants assert      obtained; and (6) any other indicia of how strongly the
that the consolidated complaint provides no information            facts support the conclusion that a reasonable person would
indicating who from Boeing gave the directive to Spirit to cut     believe that the defendant's statements were misleading.”
737 MAX production in half or whether that individual had          Id. “If, measuring the nature of the facts alleged against
authority to issue the directive to Spirit. Without knowing who    these indicia, a reasonable person would believe that the
from Boeing made the statement and exactly what was said,          defendant's statements were false or misleading, the plaintiff
defendants posit that it is impossible to discern whether the      has sufficiently pled with particularity facts supporting his
statement was a definitive directive or a mere discussion of       belief in the misleading nature of the defendant's statements.”
possibilities. Defendants contend that FE 7's account suggests     Id.
that the notification, if it occurred, was merely a discussion
of possibilities because the allegations show Spirit did not       Plaintiffs are not required to disclose the documentary or
make any immediate changes to its production, only a few of        personal sources from which they learned facts alleged in an
Spirit's employees were purportedly told about the directive,      information and belief complaint. Adams, 340 F.3d at 1103.
and FE 7 was tasked with running “exercises” about the             “[W]here a plaintiff does not identify the sources of the facts
number of resulting layoffs that would be required. Further,       stated in the complaint, the facts alleged in an information
defendants argue that while plaintiffs attempt to corroborate      and belief complaint will usually have to be particularly
FE 7's account with FE 8's account, FE 8's account of Spirit       detailed, numerous, plausible, or objectively verifiable by the
not changing its purchase orders suggests that Boeing did not      defendant before they will support a reasonable belief that the
issue any draconian directive of a production rate cut in late     defendant's statements were false or misleading.” Id.
September or early October 2019. Defendants contend that if
Spirit had been told to cut its production schedule, it would      In their consolidated complaint, plaintiffs do not identify
likely have updated its purchase orders to avoid obtaining         the source of their allegation that Boeing told Spirit in late
unnecessary materials from suppliers.                              September or early October of 2019 to cut its 737 MAX
                                                                   production in half. However, they describe the job title,
 *8 Where allegations regarding a statement or omission are        time spent in that position, the supervisors, and the specific
made on information and belief, “the complaint shall state         duties of the confidential witness FE 7. The level of facts
with particularity all facts on which that belief is formed.” 15   provided demonstrate that FE 7 was positioned to have
U.S.C. § 78u-4(b)(1)(B). Plaintiffs are required “to identify      known the information alleged about the production rate cut.
in the complaint specific facts that support the allegations       Plaintiffs set forth facts to show that Campbell, who was in
about the misleading nature of the defendant's statements.         charge of the 737 MAX program and had been present at
Generalized or conclusory allegations of fraud will not be         the meeting between Boeing and Spirit, informed FE 7 of
sufficient.” Adams v. Kinder-Morgan, Inc., 340 F.3d 1083,          Boeing's notification at a weekly meeting related to the 737
1098 (10th Cir. 2003). However, plaintiffs are not required to     MAX production, and because of that notification, FE 7 was
“plead with particularity every single fact upon which their       tasked by her direct supervisor, Angel Little, with providing
beliefs concerning false or misleading statements are based.”      data to assist others in analyzing “the appropriate level of
Id. at 1098-99 (quotation marks omitted). Plaintiffs “need         workers needed to continue production at the new lower rate.”
only plead with particularity sufficient facts to support those    Doc. no. 49, ¶ 104. The facts surrounding how FE 7 came to
beliefs.” Id. (quotation omitted, emphasis in original).           know the facts alleged with respect to the production rate cut
                                                                   are particularly detailed, numerous, plausible, and objectively
The court must evaluate “the facts alleged in a complaint          verifiable by defendants.
to determine whether, taken as a whole, they support a
reasonable belief that the defendant's statements identified by    Although the information provided by FE 7 that “at one
the plaintiff were false and misleading.” Adams, 340 F.3d          of the frequent meetings between Spirit and Boeing ...



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Boeing told Spirit to cut production of the 737 MAX in              rate (expecting the shipset deliveries over the course of the
half,” doc. no. 49, ¶ 102, is hearsay,     10
                                               “the fact that a     year to be at rate 52 subject to any reductions that Boeing
confidential witness reports hearsay does not automatically         may decide to implement) was demonstrably true. Gilson
disqualify [her] statement from consideration in the [falsity       points out that plaintiffs do not allege in their consolidated
or misleading] calculus.” Zucco Partners, LLC v. Digimarc           complaint that the shipset production rate for the remainder of
Corp., 552 F.3d 981, 998 n. 4 (9th Cir. 2009). Instead, the         2019 was less than 52 shipsets. Also, he points out that when
court must examine the witness's hearsay report to determine        the “so-called ‘truth’ ” was revealed, doc. no. 79, ECF p. 8,
if it is “sufficiently reliable, plausible, or coherent[.]” Id.     plaintiffs allege that Boeing announced it was suspending all
The court concludes that despite not specifically identifying       production of the 737 MAX aircraft “beginning in January
which manager at Boeing told Spirit to cut the production           2020.” Id. at ECF p. 9 (citing doc. no. 49, ¶ 189) (emphasis
rate in half, plaintiffs have provided supporting context and       omitted). Gilson asserts that there are no well-pled factual
details enabling the court to determine that the information        allegations suggesting the shipset production rate for 2019
is sufficiently reliable. The court is not convinced that FE 7's    was below 52 or that as of October 31, 2019, he did not expect
description of Boeing's notification is conclusory or vague as      the production rate for 2019 to be 52. Further, Gilson notes
argued by defendants. In the court's view, the facts alleged will   that FE 7's account, even if adequately pled, does not provide
support a reasonable belief that the defendants' statements         factual details suggesting that the cut would take place in
were false or misleading.                                           2019. However, viewing plaintiffs' factual allegations and
                                                                    all reasonable inferences therefrom in their favor, the court
10                                                                  concludes that plaintiffs have sufficiently pled that Gilson's
        The court agrees with defendants that a statement
                                                                    statement was in fact misleading.
        by Campbell revealing what Boeing told Spirit in
        the meeting constitutes hearsay.
                                                                    Gilson also argues that his expectation statement is protected
 *9 The court additionally concludes that FE 8's account,           under the PSLRA's safe-harbor provision for forward-looking
viewed in plaintiffs' favor, corroborates FE 7's account. And       statements. The court disagrees. The court concludes that
the court credits the allegations attributed to both FE 7 and       Gilson cannot claim protection under the PSLRA's safe-
FE 8 because the factual allegations demonstrate they were          harbor provision for forward looking statements because,
positioned to know the information provided, and despite            contrary to his arguments and as pointed out by plaintiffs, the
defendants' arguments, they form a plausible and coherent           subject statement was not cured by “meaningful” cautionary
narrative. The court concludes that plaintiffs' allegations are     language since he cautioned about a potential cut that
sufficient to satisfy the particularity requirements of the         allegedly had already been directed by Boeing to occur. See,
PSLRA (as well as Rule 9(b)).                                       FindWhat Investor Group v. FindWhat.com, 658 F.3d 1282,
                                                                    1299 (11th Cir. 2011) (stating “to caution that it is only
Next, defendants argue that even if the court were to credit        possible for the unfavorable events to happen when they have
FE 7's account, that account is not sufficient to render            already occurred is deceit.”). Further, the court concludes that
the October 31, 2019 statements actionably misleading.              the alleged facts and reasonable inferences therefrom, viewed
Defendants specifically rely upon the statements of Boeing's        in plaintiffs' favor, indicate that the production cut had already
CEO and CFO on October 23, 2019, that the company was               been ordered when the information was disseminated to FE
expecting to maintain its 42 aircraft per month production          7. The court therefore concludes that Gilson is not entitled to
rate, with an incremental or gradual increase to 57 aircraft        dismissal of plaintiffs' claims with respect to his October 31,
per month by late 2020. However, as discussed, the court            2019 statement.
has declined to take judicial notice of those statements.
Consequently, the court rejects defendants' arguments that           *10 In sum, the court concludes plaintiffs have sufficiently
October 31, 2019 statements with respect to Spirit's 737 MAX        pled that defendants' public statements on October 31, 2021
shipsets production rate are not actionably misleading given        were false or misleading.
the statements of Boeing's CEO and CFO on October 23,
2019.

                                                                                       (b). November 24, 2019
In his motion, Gilson asserts that the only statement
attributable to him regarding the 52 aircraft shipset production



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In the consolidated complaint, plaintiffs allege that on           present at the meeting, it does not reveal that they were
November 24, 2019, Jefferies LLC published a report                the only Spirit managerial personnel in attendance. In any
titled “Management Meeting Takeaways: Getting into the             event, even if they were the only personnel present, plaintiffs
Spirit,” which reported on the analyst's “takeaways” from          have not alleged any facts showing that Gentile or Garcia
a meeting with Spirit management, including Gentile and            controlled the content of the report and whether and how to
Garcia. Plaintiffs allege that based upon statements made          communicate it. The court concludes that the statements in
by Gentile and Garcia, the analyst reported “[Spirit] targets      the analyst report cannot be attributed to Gentile or Garcia
16.5% segment margins, despite stable 737 MAX rates” and           and therefore fail to support the Section 10(b) and Rule
“[t]he MAX is set to stay at a rate of 52/mo. until May 2020       10b-5 claims. See, In re Prudential Financial, Inc. Securities
w/a potential rate decision at that time.” Doc. no. 49, ¶ 235      Litigation, Master File No. 2:19-cv-20839-SRC-CLW, 2020
(emphasis omitted); doc. no. 77-1, statement #7.                   WL 7706860, at *14 (D.N.J. Dec. 29, 2020) (statements
                                                                   appearing in analyst reports not attributable to defendants). 11
Plaintiffs claim that the statements made by Gentile and
Garcia, as reported by Jefferies LLC, were materially false        11      Further, the court agrees with defendants that
and misleading or omitted material facts when made because
                                                                           the allegations in the consolidated complaint with
of Boeing's instruction to cut the shipset production rate
                                                                           respect to the statements as reported by Jeffries
in half, as described by FE 7 and FE 8, and because, as
                                                                           LLC do not satisfy the requirements of Rule 9(b)
revealed by confidential witness, FE 2, Boeing had decided
                                                                           and the PSLRA because plaintiffs do not allege
in mid-November of 2019 that Spirit was to temporarily stop
                                                                           the who (the speaker) and the when (when the
production of the shipsets at the end of the fourth quarter of
                                                                           statements were made).
2019.

Defendants argue that the alleged statements are not
                                                                                      (c). December 17, 2019
actionable under Rule 9(b) and the PSLRA because the
analyst report includes “no quotations from any Spirit              *11 Plaintiffs allege that on December 17, 2019, The Wichita
personnel, does not indicate the date on which the purported       Eagle reported on Boeing's shutdown announcement and a
meeting occurred, and does not provide a specific source of        subsequent meeting between Kansas Governor Laura Kelly
the information it purports to summarize and paraphrase.”          and Gentile. The newspaper article stated that “Kelly said she
Doc. no. 77, ECF p. 23. Moreover, defendants contend that the      talked with Spirit CEO Tom Gentile on Tuesday [December
statements are not actionable because purported paraphrases        17, 2019] and he's optimistic that production of the troubled
of statements made by unspecified Spirit personnel cannot          aircraft will resume soon.” Doc. no. 49, ¶ 237 (emphasis
be reconciled with the standard articulated in Janus Capital       omitted); doc. no. 77-1, statement #8. It also stated that “[t]he
Group, Inc. v. First Derivative Traders, 564 U.S. 135, 142-43      governor said Gentile told her he's not expecting to have to
(2011), regarding the maker of a statement.                        do layoffs, however, no workforce decisions have been made,
                                                                   Spirit officials said.” Id. at ¶ 238 (emphasis omitted); doc. no.
The court agrees with defendants that the alleged statements       77-1, statement #9.
in the analyst report are not actionable. There are insufficient
facts in the consolidated complaint to support plaintiffs'         Plaintiffs allege that Gentile's statements were false and
assertion that Gentile and Garcia made the alleged statements.     misleading because Gentile knew Boeing was unlikely to
The Supreme Court stated in Janus that “[f]or purposes             resume production any time soon given the continued 737
of Rule 10b-5, the maker of a statement is the person or           MAX grounding and that massive layoffs were imminent.
entity with ultimate authority over the statement, including       Plaintiffs allege that Gentile's statement about layoffs was
its content and whether and how to communicate it. Without         contrary to the internal reality that Spirit had already
control, a person or entity can merely suggest what to say,        been running layoff exercises because of the slowdown in
not ‘make’ a statement in its own right.” Id. at 142. The          production that Boeing had ordered in late September or early
report does not directly quote Gentile or Garcia in making         October of 2019.
the challenged statements. In addition, it does not directly
attribute the statements to either Gentile, or Garcia or to        Defendants argue that the statements from the news article
both. While the report indicates that Gentile and Garcia were      are not actionable because they paraphrase what the



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Kansas Governor Laura Kelly said about what Gentile                   accounting principles relating to contingent liabilities (Boeing
said. Defendants contend that plaintiffs cannot satisfy their         Claims) and the effectiveness of Spirit's internal controls
pleading burden by pointing to a third party's paraphrase             over financial reporting. The alleged false and misleading
of a defendant's statement. Even if the statements had been           statements are as follows.
direct quotes from Gentile, defendants contend the optimistic
statement is not actionable because it is mere “puffery,” doc.        The Form 10-Q for the quarter ending September 26, 2019,
no. 77, ECF p. 26, and the layoff statement is not actionable         signed by Garcia and Gilson and filed with the SEC, stated
because it is not false.                                              in relevant part:

The court agrees that the statements in the news article by             [T]he Company's financial statements ... have been
Governor Kelly about what Gentile said are not actionable.              prepared in accordance with accounting principles
The statements are not direct quotes of Gentile. While the              generally accepted in the United States of America
article attributes the content of the statements to Gentile,            (“GAAP”) and the instructions to Form 10-Q and Article
plaintiffs have not alleged sufficient facts to show that Gentile       10 of Regulation S-X.
had ultimate control over the content of those statements
                                                                                                     ****
and whether and how to communicate them. There are no
allegations that he was involved in reviewing or approving of           In the opinion of management, the accompanying
the news article. The court concludes that those statements are         unaudited interim condensed consolidated financial
not attributable to Gentile for purposes of the section 10(b)           statements contain all adjustments ... considered necessary
and Rule 10b-5 claims. See, Total Equity Capital, LLC. v.               to fairly present the results of operations for the interim
Flurry, Inc., No. 15-CV-4168 (JMF), 2016 WL 3093993, at *3              period.
(S.D.N.Y. June 1, 2016); In re Fisker Automotive Holdings,
Inc. Shareholder Litigation, Civ. No. 13-2100-SLR, 2015 WL                                           ****
6039690, at *17 (D. Del. Oct. 15, 2015) (statements in articles
                                                                        Our President and Chief Executive Officer and Senior Vice
not attributable to defendants).
                                                                        President and Chief Financial Officer have evaluated the
                                                                        effectiveness of our disclosure controls and procedures
The court additionally agrees with defendants that the
                                                                        as of September 26, 2019 and have concluded that these
“optimistic” statement (identified as statement #8) is not
                                                                        disclosure controls and procedures (as defined in Rules
actionable because it was immaterial; it was only a vague
                                                                        13a-15(e) and 15d-15(e) of the Securities Exchange Act
statement of corporate optimism not capable of objective
                                                                        of 1934) are effective to provide reasonable assurance that
verification. Grossman v. Novell, Inc., 120 F.3d 1112, 1119
                                                                        information required to be disclosed by us in the reports
(10th Cir. 1997) (“Vague, optimistic statements are not
                                                                        that we file or submit under the Securities Exchange Act
actionable because reasonable investors do not rely on them in
                                                                        of 1934, as amended, is recorded, processed, summarized
making investment decisions.”). Further, the court concludes
                                                                        and reported within the time period specified in the SEC
that plaintiffs have failed to sufficiently plead that the “layoff”
                                                                        rules and forms.
statement (identified as statement #9) was false or misleading.
Plaintiffs contend the statement “was directly contrary to the                                       ****
internal reality ... that Spirit had already been running such
layoff “exercises[.]” Doc. no. 49, ¶ 238. Although plaintiffs           There were no changes in our internal control over financial
allege that Spirit had performed layoff analyses, plaintiffs do         reporting during the quarter ended September 26, 2019,
not allege the content of those analyses and they do not allege         that have materially affected, or are reasonably likely
that any workforce decision as to layoffs had been made. The            to materially affect, our internal control over financial
court concludes that plaintiffs' allegations do not demonstrate         reporting.
that statement #9 was false or misleading.
                                                                      Doc. no. 49, ¶¶ 240, 242, 244, 245; doc. no. 77-1, Appendix
                                                                      A, statements #10, #16, #17, and #18.
   (ii). Accounting Practices and Internal Controls
 *12 Next, plaintiffs allege that on October 31, 2019, Gentile,
Garcia, and Gilson made materially false and misleading
statements concerning Spirit's compliance with established


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The Form 10-K for the year ending 2018, signed by Gentile,            others within those entities, particularly during the period
Garcia, and Gilson, and incorporated by reference in the Form         in which this report is being prepared; [and]
10-Q ending September 26, 2019, stated in part:
                                                                      (b) Designed such internal control over financial reporting,
                                                                      or caused such internal control over financial reporting to
                                                                      be designed under our supervision, to provide reasonable
            Management conducted an evaluation
                                                                      assurance regarding the reliability of financial reporting
            of the effectiveness of our internal
                                                                      and the preparation of financial statements for external
            control over financial reporting as of
                                                                      purposes in accordance with generally accepted accounting
            December 31, 2018. In making this
                                                                      principles.
            evaluation, we used the criteria set
            forth by the Committee of Sponsoring                                                   ****
            Organizations of the Treadway
            Commission (COSO) in Internal                             The registrant's other certifying officer and I have
            Control-Integrated Framework (2013                        disclosed, based on our most recent evaluation of internal
            Framework). Based on this evaluation,                     control over financial reporting ...
            our management concluded that
            our internal control over financial                       (a) All significant deficiencies and material weaknesses in
            reporting was effective as of December                    the design or operation of internal control over financial
            31, 2018.                                                 reporting which are reasonably likely to adversely affect
                                                                      the registrant's ability to record, process, summarize, and
                                                                      report financial information; and

Doc. no. 49, ¶ 246 (emphasis omitted); doc. no. 77-1,                 (b) Any fraud, whether or not material, that involves
Appendix A, statement #11.                                            management or other employees who have a significant
                                                                      role in the registrant's internal control over financial
In connection with the Form 10-Q for the quarter ending               reporting.
September 26, 2019, Gentile and Garcia signed a certification
pursuant to sections 302 and 906 of the Sarbanes-Oxley Act                                         ****
of 2002 (SOX certification) which stated in part:
                                                                      The information contained in the Report fairly presents, in
  Based on my knowledge, this report does not contain any             all material respects, the financial condition and results of
  untrue statement of a material fact or omit to state a material     operations of the Company.
  fact necessary to make the statements made, in light of the
                                                                    Doc. no. 49, ¶¶ 248, 249; doc. no. 77-1, Appendix A,
  circumstances under which such statements were made, not
                                                                    statements #12, #13, #14, and #15.
  misleading with respect to the period covered by this report.

  Based on my knowledge, the financial statements, and              Initially, defendants argue the alleged statements are not
  other financial information included in this report, fairly       actionable because the accounting issue the statements
  present in all material respects the financial condition,         purportedly concealed—deficiency in Spirit's internal
  results of operations, and cash flows of the registrant as of,    controls over its accounting processes—was “undisputedly
  and for, the periods presented in this report.                    immaterial.” Doc. no. 77, ECF p. 27 (emphasis omitted).
                                                                    The deficiency, defendants assert, was “ ‘that [Spirit] did not
   *13 The registrant's other certifying officer and I are          comply with its established accounting processes related to
  responsible for establishing and maintaining disclosure           certain potential contingent liabilities that were received by
  controls and procedures ... and have:                             Spirit after the end of [the] third quarter 2019’ ” and that ‘[a]s
                                                                    a result of such non-compliance, the Company concluded that
  (a) Designed such disclosure controls and procedures,             it should have recorded an incremental contingent liability of
  or caused such disclosure controls and procedures to              less than $8.0 million for the [third quarter of 2019].’ ” Id.,
  be designed under our supervision, to ensure that                 quoting doc. no. 49 at ¶¶ 206, 215. Defendants contend that,
  material information relating to the registrant, including        as plaintiffs in their consolidated complaint “concede,” the
  its consolidated subsidiaries, is made known to us by


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less than $8.0 million contingent liability was “immaterial”        Next, defendants argue that the statement regarding the
to Spirit's financial results. Id., citing ¶ 215. Because the       evaluation of the disclosure controls as of September 26,
$8.0 million contingent liability was immaterial to Spirit's        2019 (statement #10, doc. no. 77-1), and the statement
financial results, defendants maintain that any failure to          regarding the evaluation of the internal controls as of
disclose facts relating to the alleged weakness of Spirit's         December 31, 2018 (statement #11, doc. no. 77-1), are
internal controls was immaterial. Thus, defendants contend          not actionable. Defendants contend that plaintiffs have not
that plaintiffs cannot establish the alleged statements were        averred that management did not evaluate the disclosure
materially misleading.                                              and internal controls and determine them to be effective.
                                                                    According to defendants, plaintiffs merely take issue with
Plaintiffs respond that the consolidated complaint plainly          the effectiveness of the evaluations, which is an allegation
alleges that the undisclosed weakness in Spirit's internal          of corporate mismanagement. Defendants maintain that
controls was material. Plaintiffs point out that the                corporate mismanagement is not actionable under the federal
consolidated complaint alleges that defendants admitted the         securities laws as the court ruled in Andropolis v. Red Robin
materiality of the weakness in their 10-K Form for 2019             Gourmet Burgers, Inc., 505 F. Supp. 2d 662, 683 (D. Colo.
and that the weakness affected processes associated with            2007).
76 percent of Spirit's contracts. In addition, plaintiffs assert
that the consolidated complaint alleges it was defendants'          Plaintiffs counter that defendants have misread their
assurances of effective internal controls and not the size of       allegations. They contend that they have alleged that
errors in the financial results that were materially misleading.    defendants misrepresented the strength and quality of existing
Further, plaintiffs contend that courts have previously ruled       internal controls and concealed the existence of conduct
that the effectiveness of a company's internal controls is          actionable under the securities laws rather than alleging any
information a reasonable investor would consider significant        matters of business judgment or mismanagement on the part
in making an investment.                                            of defendants. Plaintiffs assert that the consolidated complaint
                                                                    alleges that defendants falsely assured investors that Spirit's
 *14 An omitted fact is material “if there is a substantial         internal controls were effective, when they knew they were
likelihood that a reasonable [investor] would consider it           not. According to plaintiffs, defendants' statements were half-
important” in making an investment decision. Basic Inc. v.          truths because they created the misimpression that Spirit's
Levinson, 485 U.S. 224, 231 (1988) (quotation marks and             internal controls were effective. Plaintiffs contend that the
citation omitted). “[T]o fulfill the materiality requirement        allegations of the consolidated complaint are distinguishable
there must be a substantial likelihood that the disclosure of       from those in the Andropolis case cited by defendants.
the omitted fact would have been viewed by the reasonable
investor as having significantly altered the ‘total mix’ of         The court, viewing the factual allegations and reasonable
information made available.” Id. at 231-32 (quotation marks         inferences in a light most favorable to plaintiffs, concludes
and citation omitted). “In the context of a Rule 12(b)(6)           that statements #10 and #11 are actionable. The court
motion, the court is reminded that materiality is a mixed           concludes plaintiffs' allegations with respect to the efficacy of
question of law and fact and ordinarily should be reserved          the disclosure and internal controls are distinguishable from
for the trier of fact.” In re Sprint Corp. Securities Litigation,   those in Andropolis and dismissal of plaintiffs' claims based
232 F. Supp. 2d 1193, 1215 (D. Kan. 2002) (citation omitted).       upon that ruling is not warranted. 12 Therefore, the court
“Only if defendants' statements are obviously immaterial            concludes that statements #10 and #11 are actionable.
may the court grant defendants' request for dismissal.” Id. at
1215-16 (citation omitted).                                         12      In reply, defendants argue that statement #10 is not
                                                                            actionable because it “is not about internal controls
Upon review, the court finds that dismissal is not appropriate
                                                                            at all, but rather disclosure controls, which the
on the ground of materiality. Viewing the factual allegations
                                                                            Complaint never addresses” and statement #11 is
in the consolidated complaint and reasonable inferences from
                                                                            not actionable because plaintiffs' allegations do not
those allegations in plaintiffs' favor, the court cannot conclude
                                                                            relate to “as of December 31, 2018.” Doc. no. 91,
that the alleged undisclosed weakness in Spirit's internal
                                                                            ECF pp. 14-15. The court declines to address these
controls is obviously immaterial.




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        arguments since they were raised for the first time         court thus turns to defendants' other arguments as to why the
        in reply.                                                   statements are not actionable.
 *15 In addition, defendants argue that the challenged
                                                                    As pointed out by defendants, statements #12 and #13 begin
statements made by Gentile and Garcia in the SOX
                                                                    with the phrase “[b]ased on my knowledge” and “[t]o the
certifications (statements #12, #13, #14, and #15 in doc.
                                                                    best of my knowledge.” The court agrees with defendants
no. 77-1), are not actionable. Defendants assert that courts
                                                                    that with that qualifier, the falsity of the statements depends
have ruled that SOX certifications are not independently
                                                                    on what Gentile and Garcia knew at the time. The court
actionable. Even if the SOX certifications were independently
                                                                    concludes that plaintiffs have not sufficiently alleged facts
actionable, defendants contend that plaintiffs have not alleged
                                                                    to show that Gentile and Garcia had actual knowledge those
anything to show that statements #12 through #15 were false
                                                                    SOX certifications (statements #12 and #13) were false or
at the time when they were made. Defendants assert that for
                                                                    misleading. In their response, plaintiffs point out that the
statements #12 and #13 to be false, plaintiffs must allege that
                                                                    consolidated complaint alleges that “Defendants discussed
Gentile or Garcia had “actual knowledge” that the Form 10-Q
                                                                    the EAC with Campbell at EAC reviews and other meetings,
was materially misleading. As to statement #14, defendants
                                                                    but willfully ignored whether Campbell's EAC calculations
contend that plaintiffs have failed to allege that defendants did
                                                                    were supported, reliable, or accurate.” Doc. no. 90, ECF p.
not design disclosure controls and internal controls. Lastly,
                                                                    59. This information was provided by a confidential witness,
with respect to statement #15, defendants assert that plaintiffs
                                                                    designated as FE 9 in the consolidated complaint. While FE 9
have not alleged that their disclosure was based on something
                                                                    indicated that Gentile and Garcia attended the EAC reviews
other than the recent evaluation of internal controls.
                                                                    and the Boeing Claims were raised in those reviews and were
                                                                    a “hot-button” issue, FE 9 does not provide any particularized
In response, plaintiffs cite case authority in which courts have
                                                                    facts to show that Gentile and Garcia knew about the alleged
determined SOX certifications to be actionable. Plaintiffs also
                                                                    material weakness in internal controls. There are no factual
contend, with respect to statements #12 and #13, that they
                                                                    allegations that Gentile and Garcia knew Campbell was
have alleged defendants' knowledge or recklessness relating
                                                                    understating the amount of the Boeing Claims. According to
to Campbell's misconduct with respect to the EAC process.
                                                                    FE 9, the discrepancies between the actual value of the Boeing
As to statement #14, plaintiffs assert that they have alleged
                                                                    Claims and the value that Campbell accounted for in the EAC
the statement is actionable as a misleading “half-truth”
                                                                    were not adequately discussed. Doc. no. 49, ¶ 182. However,
because it creates the misimpression that Spirit's controls
                                                                    there are no factual allegations that Gentile and Garcia knew
were effective, when they were not. Plaintiffs also assert that
                                                                    there were any discrepancies and that such discrepancies
statement #15 is also actionable as a misleading “half-truth”
                                                                    needed to be addressed. And while FE 9 indicated that
because defendants omitted key facts about the existence of
                                                                    “Campbell had the final decision-making authority on the
material weakness in the internal controls when they made the
statement.                                                          numbers for the claims estimates submitted in the EAC, id.,
                                                                    and that “Campbell had a ‘tight grip’ over the Boeing Claims
Upon review, the court declines to dismiss plaintiffs' claim        and usually was the only speaker at such meetings on the
based upon defendants' argument that SOX certifications are         issue,” id., at 183, there are no factual allegations that Gentile
not independently actionable. The Tenth Circuit has not ruled       and Garcia knew that Campbell was manipulating the Boeing
on the issue. However, plaintiffs have cited cases, including       Claims. As the consolidated complaint fails to allege any
City of Roseville Emps.' Ret. Sys. v. Horizon Lines, Inc., 686      knowledge of Campbell's misconduct by Gentile and Garcia,
F. Supp. 2d 404, 418 (D. Del. 2009), which have concluded           the court concludes that plaintiffs have failed to allege that
SOX certifications can be actionable. See also, In re Toronto-      the SOX certifications, based upon knowledge, designated as
Dominion Bank Securities Litigation, Civil No. 17-1665              statements #12 and #13, were false or misleading when made
(NLH/JS), 2018 WL 6381882, at *10 (D.N.J. Dec. 6, 2018)             by Gentile and Garcia.
(citing the Delaware decision). Without a definitive ruling
from the Tenth Circuit and district courts on both sides of the      *16 The court rejects defendants' challenges to statements
                                                                    #14 and #15. Viewing the allegations in a light most
issue, see, Rok v. Identiv, Inc., No. 15-cv-5775-CRB, 2017
                                                                    favorable to plaintiffs, the court concludes that plaintiffs have
WL 35496, at *9, n. 14 (N.D. Calif. Jan. 4, 2017) (citing
                                                                    sufficiently alleged statements #14 and #15 were false or
cases), the court finds that plaintiffs should be permitted to
                                                                    misleading statements.
rely upon the SOX certifications as bases for their claims. The



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Next, defendants challenge statement #16 in doc. no. 77-1
regarding accounting methodology and statement #17 in                  B. Scienter
doc. no. 77-1 regarding adjustments. These statements were          “[I]t is not enough for plaintiff[s] to point out misleading
made by Garcia and Gilson in the Form 10-Q for the                  statements of material fact. Under the heightened pleading
quarter ending September 26, 2019. Plaintiffs, in response,         standards of the PSLRA, plaintiff[s] must state with
address defendants' arguments relating to statement #16 but         particularity facts ‘giving rise to a strong inference’ that
do not specifically address defendants' substantive arguments       the defendants acted with scienter[.]” In re Level 3
relating to statement #17. The court, in its discretion, deems      Communications, Inc. Securities Litigation, 667 F.3d 1331,
defendants' motion confessed as to statement #17, and upon          1343 (10th Cir. 2012) (quoting Adams, 340 F.3d at 1105).
independent review, concludes that dismissal of plaintiffs'         Scienter is “ ‘a mental state embracing [1] intent to
claim based upon statement #17 is appropriate for the reason        deceive, manipulate, or defraud,’ or [2] recklessness.’ ”
provided by defendant – “ ‘Adjustments’ is an accounting            Smallen, 950 F.3d at 1304 (quoting Anderson v. Spirit
term of art, and [p]laintiffs fail to allege the issues later       Aerosystems Holdings, Inc., 827 F.3d 1229, 1236-1237 (10th
identified amounted to a failure to include such ‘adjustments’      Cir. 2016) (quoting Adams, 340 F.3d at 1105); In re Zagg,
in financial statements.” Doc. no. 77, ECF. p. 34 (footnote and     Inc. Securities Litigation, 797 F.3d 1194, 1201 (10th Cir.
citation omitted). As to statement #16, viewing the allegations     2015). “ ‘Intentional misconduct is easily identified since it
of the consolidated complaint in a light most favorable to          encompasses deliberate illegal behavior.” Smallen, 950 F.3d
plaintiffs, the court concludes that plaintiffs have sufficiently   at 1304 (quoting Fleming, 264 F.3d at 1260, quoting Novak
pleaded that statement #16 was false or misleading.                 v. Kasaks, 216 F.3d 300, 308 (2d Cir. 2000)). “Recklessness,
                                                                    on the other hand, is defined as ‘conduct that is an extreme
Finally, defendants challenge statement #18 in doc. no. 77-1,       departure from the standards of ordinary care, and which
which was made by Garcia and Gilson in the Form10-Q                 presents a danger of misleading buyers or sellers that is either
for the quarter ending September 26, 2019. Specifically,            known to the defendant or is so obvious that the actor must
defendants stated: “There were no changes in our internal           have been aware of it.’ ” Smallen, 950 F.3d at 1304-1305
control over financial reporting during the quarter ended           (quoting In re Zagg, 797 F.3d at 1201, quoting Fleming, 264
September 26, 2019, that have materially affected, or are           F.3d at 1258). In the securities fraud context, recklessness
reasonably likely to materially affect, our internal control over   is a high bar. It is something akin to conscious disregard.
financial reporting.” Defendants contend that this statement        Allegations of conduct that amount to negligence or even
says nothing about the sufficiency of Spirit's internal controls,   gross negligence will not suffice. In re Zagg, 797 F.3d at 1201.
only that they had not changed during the third quarter of
2019. Defendants point out that plaintiffs have not alleged that     *17 The PSLRA requires plaintiffs to, “ ‘with respect to
the internal controls changed.                                      each act or omission alleged ..., state with particularity facts
                                                                    giving rise to a strong inference that the defendant[s] acted
Plaintiffs contend that this statement, along with other            with the required state of mind’ in violating the securities
statements in the Form 10-Q and those incorporated by               laws.” Smallen, 950 F.3d at 1305 (quoting In re Level 3
reference as well as the SOX certifications attached to the         Communications, 667 F.3d at 1333) (emphasis in original).
10-Q, collectively created the misimpression that defendants'
internal controls had been, and still were, effective, when they    “Although an inference of scienter ‘need not be irrefutable,
were not.                                                           i.e., of the “smoking-gun” genre,’ it ‘must be more than
                                                                    merely plausible or reasonable.’ ” Smallen, 950 F.3d at
Upon review, the court agrees with defendants that plaintiffs       1305 (quoting Tellabs, 551 U.S. at 324). “Because the
have failed to sufficiently plead that statement #18 was a false    inference must be ‘powerful or cogent’ not only in its
or misleading statement of material fact. The court thus finds      own right but ‘strong in light of other explanations[’], [the
statement #18 is not actionable.                                    court] must ‘consider plausible, nonculpable explanations for
                                                                    the defendant's conduct, as well as inferences favoring the
In sum, the court finds that statements #10, #11, #14, #15 and      plaintiff[s].’ ” Id. (quoting Tellabs, 551 U.S. at 323-324).
#16 in doc. no. 77-1 are actionable and statements #12, #13,        “Under this standard, a complaint survives dismissal ‘only
#17 and #18 are not actionable.                                     if a reasonable person would deem the inference of scienter
                                                                    cogent and at least as compelling as any opposing inference


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one could draw from the facts alleged.’ ” Id. (quoting Tellabs,     subsequent layoff analyses were approved by Campbell and
551 U.S. at 324).                                                   presented to Gentile by late October 2019. These allegations,
                                                                    plaintiffs assert, support a strong inference of scienter because
                                                                    they show Gentile knew of the production cut at least
   (i). Gentile                                                     through the layoff analyses, which contradicted his public
Defendants contend that plaintiffs have failed to plead             statements. Plaintiffs also argue that it strains credulity that
particularized facts establishing that Gentile made any alleged     Gentile was not informed by Campbell, or by Garcia and
false and misleading statements with scienter. As to the            Gilson, who mostly likely attended the meeting with Boeing,
statements regarding the aircraft shipset production rate,          of the drastic production cut because of the importance
defendants acknowledge plaintiffs' allegations as to Gentile        of the 737 MAX program to Spirit's operations. Plaintiffs
having indicated at various times in 2019 the existence of          contend that the allegations regarding Boeing's close working
a close working relationship between Spirit and Boeing,             relationship with Spirit and the importance of the 737
and that Gentile was “hands on” and “very engaged” with             MAX program to Spirit's operations (accounting for over 50
the 737 MAX program. Doc. no. 77, ECF p. 36 (citing                 percent of annual revenue), viewed holistically with the other
doc. no. 49, ¶¶ 296-99, 306-08). However, those allegations,        scienter allegations, such as FE 7's account, supports a strong
defendants assert, do not aver with particularity that Boeing       inference of scienter with respect to Gentile's production
told Spirit anything regarding the production rate that             rate cut statements. Further, plaintiffs contend that Gentile's
contradicted Gentile's statements. According to defendants,         misleading statements about the production rate to analysts
plaintiffs' allegations are “a less plausible variation on the      show his scienter.
oft-rejected contention that a defendant ‘must have known’
of fraud because of [his] position in the company.” Id.,            As to misstatements regarding the effectiveness of Spirit's
ECF p. 37 (quotations omitted). In addition, defendants             internal controls over financial reporting, plaintiffs argue that
contend that Gentile's position and the fact he attended            Gentile knew or recklessly ignored the material weakness in
meetings discussing the EAC process do not contribute to            those controls. Plaintiffs rely upon the details given by FE 9,
a strong inference of scienter as to Gentile's statements           wherein she stated that she repeatedly confronted Campbell
regarding accounting issues and internal controls. Defendants       about using unvalidated, unsupported and unreasonably low
further argue that Gentile's SOX certifications add nothing         estimates of costs, including costs associated with the claims
substantial to the scienter calculus. Finally, defendants argue     submitted by Boeing in connection with the 737 MAX
that Gentile's stock sales during the Class Period are not          program, but he either bullied or ignored her. Plaintiffs also
indicative of scienter. They point out that Gentile's net           point out that FE 9 described how Gentile knew or recklessly
holdings of Spirit stock increased during the Class Period and      ignored Campbell's conduct through regular meetings such
the “F” transaction code for the stock sales indicated they         as the EAC reviews. FE 9 stated that the Boeing Claims had
were sold for the “[p]ayment of exercise price or tax liability.”   ballooned, and they were affecting Spirit's financial reporting
Id., ECF p. 39. Also, defendants assert that while Gentile sold     and were being used by Boeing in negotiations over other
a greater percentage of stock in 2020 than in the previous three    issues. According to plaintiffs, the ever-increasing Boeing
years, the stock sales did not go “well beyond” the patterns        Claims were a serious concern and were discussed at quarterly
of normal stock trading which courts have found to support          EAC Review meetings, monthly Executive Program Reviews
an inference of scienter. Id. (quotation omitted). And they         for Spirit's 737 program and separate briefings, all of which
point out plaintiffs have not alleged that any other individual     FE 9 attended, along with Campbell and Gentile. Plaintiffs
defendants engaged in any suspicious stock sales, which they        assert that FE 9's account also indicates that Gentile ignored
claim undercuts an inference of scienter.                           the alleged discrepancies between the Boeing Claims and
                                                                    Campbell's valuations. Additionally, plaintiffs argue that the
 *18 Plaintiffs argue that their allegations demonstrate that       false SOX certifications support a strong inference of scienter
Gentile was informed of Boeing's instruction to cut the             because Gentile knew his certifications were false. Plaintiffs
aircraft shipset production rate prior to his misstatements         further argue that the importance of the EAC process to
on October 31, 2019. In support, plaintiffs rely upon FE            Spirit's operations (affecting 76 percent of Spirit's contracts)
7's account. Plaintiffs state that FE 7 detailed how, in light      supports a strong inference of scienter.
of Boeing's instruction to cut production, she was tasked
with contributing data to reports to determine the number of
layoffs necessary to implement that cut. She indicated that the


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Plaintiffs also argue that Gentile's stock sales occurred on        at the new lower rate. The other members of the team were
February 6, 2020, just weeks before Spirit's admission that         responsible for different components of the layoff exercises,
it had a material weakness in internal controls over the EAC        and the results from their work “were then rolled up to”
process and the revelation of the full, devasting impact of         Brown and his direct reports, including Campbell, for review
the 737 MAX production halt on Spirit's financial prospects.        and approval. Id. at ¶ 104. FE 7 stated that assuming Mr.
Plaintiffs contend that the timing, as well as the amount,          Brown agreed with the results of the exercises, Brown would
of those sales support a strong inference of scienter for his       report the results to Gentile for approval. Id. According to
misstatements. Specifically, as to amount, plaintiffs assert that   FE 7, it took “two to three weeks to complete the first round
they have alleged that over the course of two days, Gentile         or iteration of such a layoff exercise” and the results were
disposed of 22 percent of his Spirit stock for proceeds totaling    thereafter presented to Gentile. Id. at ¶ 105. However, there
$3.3 million, and these sales were much larger than his sales       are no particularized allegations to show how FE 7 knew that
from 2016 to 2018. According to plaintiffs, the SEC filings         the results of the exercises had been “rolled up” to Brown
do not explain whether the stock was sold for tax reasons, but      for review and approval and were presented to Gentile just
regardless, plaintiffs contend the suspicious timing of those       before the end of October 2019. 13 FE 7's information appears
sales still supports an inference of scienter.                      to be based upon secondhand or hearsay information and
                                                                    there are no particularized allegations which would make that
Upon review, the court finds that plaintiffs have failed to         information sufficiently reliable, plausible, or coherent. See,
allege with particularity facts giving rise to a strong inference   Zucco Partners, 552 F.3d at 997, n. 4. The court concludes
that Gentile made his alleged false and misleading statements       that the information provided by FE 7 is not sufficient to
with an intent to deceive or defraud or with recklessness.          demonstrate that Gentile received or was aware of the layoff
As stated, plaintiffs rely upon FE 7's account to establish         exercises just before the end of October 2019, and, therefore,
that Gentile knew that his October 31, 2019 statements              knowingly or recklessly misled investors with his October 31,
regarding the aircraft shipset production rate were false and
                                                                    2019 statements. 14 See, e.g., id. at 996-997 (statements not
misleading. According to FE 7, Gentile received the results
                                                                    based on confidential witnesses' personal knowledge are not
of the layoff exercises implementing the production cut
                                                                    sufficient to raise a strong inference of scienter); Anderson,
“just before the end of October 2019.” Doc. no. 49, ¶ 105
                                                                    827 F.3d at 1240 (corroborating witness's account does
(emphasis omitted). However, the consolidated complaint
                                                                    not establish executives' knowledge because the witness's
does not provide facts with sufficient particularity to establish
                                                                    allegations do not establish that Spirit's executives had seen
that FE 7's statement is reliable and based on personal
                                                                    a cost-study report or were aware of regularly reported losses
knowledge. The consolidated complaint does not provide
factual averments sufficient to show that FE 7 was positioned       on projects). 15 , 16
to possess the information as to when Gentile received the
results of the layoff exercises. See, Zucco Partners, 552 F.3d      13      The court notes that the consolidated complaint
at 995 (“[C]onfidential witness statements may only be relied               fails to describe with particularity the contents of
upon where the confidential witnesses are described with                    the layoff analysis. See, Anderson, 827 F.3d at
sufficient particularity to support the probability that a person           1241 (“To create an inference of scienter based on
in the position occupied by the source would possess the                    [ ] reports, the plaintiffs must adequately describe
information alleged.”).                                                     the content of the reports[.]”). Also, it fails to
                                                                            allege whether Gentile had read the results or was
 *19 The consolidated complaint does not allege that FE                     aware of the results before the end of October
7 reported to Gentile. According to plaintiffs' allegations,                2019. Id. (confidential witness's allegations did not
FE 7 only had occasional contact with Gentile because of                    establish executives' knowledge because they did
weekly performance meetings which Gentile attended once or                  not establish the executives had seen the report or
twice per quarter. According to the consolidated complaint,                 were aware of the reported losses).
FE 7 reported equally to Angel Little (Little) and Bill Brown
                                                                    14
(Brown). Although Brown reported to Gentile, FE 7 stated                    The court notes that the consolidated complaint
that she was tasked by Little, not Brown, to provide data to                alleges that Gentile sent out weekly emails
support other members of her team so they could analyze the                 regarding Spirit's operations, including Spirit's
appropriate workforce level needed to continue production                   relationship with Boeing and the 737 MAX



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       production. According to FE 7, “in or around                knowledge of the matter.” Doc. no. 90 (quoting Hampton
       October 2019,” Gentile told employees in one                v. root9b Techs., Inc., Civil Action No. 15-cv-02152, 2016
       of the emails that “Spirit was keeping the same             WL 7971184, at *28 (D. Colo. Aug. 4, 2016), objections
       production schedule but said that there was a               to report and recommendation sustained on other grounds,
       changing environment with Boeing.” Doc. no. 49,             2016 WL 9735744 (D. Colo. Sept. 21, 2016). However, the
       ¶ 297. FE 7's account indicates that Gentile did not        court notes that the Tenth Circuit has not yet adopted the
       know of the alleged production rate cut in or around        “absurd” presumption, and the court is not convinced that
       October 2019.                                               the alleged facts constitute the “rare circumstances” in which
15                                                                 core operations allegations might “conceivably satisfy the
       In their consolidated complaint, plaintiffs also            PSLRA standard in a more bare form, without accompanying
       noted that according to another confidential                particularized allegations.” South Ferry LP, No. 2 v. Killinger,
       witness, FE 5, Gentile had daily communications             542 F.3d 776, 786 (9th Cir. 2008). Additionally, allegations of
       with Boeing. Doc. no. 49, ECF p. 50, n. 11; ¶               a close relationship between companies do not establish the
       296. The level of detail in the complaint, however,         kind of circumstantial evidence necessary to support a claim
       is insufficient to show that FE 5, who was four             of fraudulent intent. Vogel v. Sands Bros. & Co., Ltd., 126
       levels below Gentile, was positioned to know the            F. Supp. 2d 730, 743 (S.D.N.Y. 2001). The court also notes
       communications between Gentile and Boeing or                that, while the Tenth Circuit has stated a defendant's position
       the substance of those communications. FE 5's               in the company is a relevant fact when analyzing scienter, it
       account is not sufficient to demonstrate a strong           has also rejected “the notion that knowledge may be imputed
       inference of scienter. See, Zucco Partners, LLC,            solely from an individual's position within a company.” In
       552 F.3d at 996-997 (statements of confidential             re Zagg, Inc., 797 F.3d at 1205 (quoting Wolfe v. Aspenbio
       witnesses not based on personal knowledge are not           Pharma, Inc., 587 F. Appx. 493, 497 (10th Cir. 2014));
       sufficient to raise a strong inference of scienter);        see also, Anderson, 827 F.3d at 1245 (“We cannot infer
       Anderson, 827 F.3d at 1243 (relatively low-level            scienter based only on a defendant's position in a company
       employees could not provide evidence bearing on             or involvement with a particular project.”); Fleming, 264
       the executives' mental states).                             F.3d at 1264 (“[A]llegations that a securities fraud defendant,
16                                                                 because of his position within the company, must have
       The court rejects plaintiffs' argument that it strains
                                                                   known a statement was false or misleading are precisely the
       credulity that Campbell and the other individual
                                                                   types of inferences which [courts], on numerous occasions,
       defendants did not advise Gentile of the production
                                                                   have determined to be inadequate....”) (quotation marks and
       rate cut. As stated, under the heightened pleading
                                                                   citations omitted); see also, Anderson, 827 F.3d at 1246 (“
       standard of the PSLRA, plaintiffs must state with
                                                                   ‘Where a complaint relies on allegations that management
       particularity facts giving rise to a strong inference
                                                                   had an important role in the company but does not contain
       that defendants acted with the requisite state of
                                                                   additional detailed allegations about the defendants' actual
       mind. Smallen, 950 F.3d at 1305. The court notes
                                                                   exposure to information, it will usually fall short of the
       that Campbell did not report directly to Gentile.
                                                                   [securities laws' pleading] standard.’ ”) (quoting South Ferry
       Further, as herein discussed, there are insufficient
                                                                   L.P. No. 2, 542 F.3d at 784). Here, the court concludes that
       allegations to support a plausible inference that
                                                                   knowledge of the production rate cut should not be imputed
       Garcia and Gilson were present at the meeting
       where Boeing instructed Spirit to cut the production        to Gentile based upon plaintiffs' contentions. 17
       rate in half.
                                                                   17
The court rejects the proposition that Gentile's knowledge                Further, the court rejects plaintiffs' argument
should be inferred because the 737 MAX program was                        that Gentile's responses to analysts' questions
critical to Spirit's core operations, the company had a close             relating to the 737 MAX production rates raise
working relationship with Boeing, and Gentile was “hands                  a strong inference of scienter, since there are no
on” and “very engaged” with the 737 MAX program. With                     particularized facts that he knew of the production
respect to core operations, plaintiffs contend that the facts             rate cut in advance of those responses.
concerning the production cut were “of such prominence that         *20 Turning to the alleged false and misleading
it would be ‘absurd’ to suggest that management was without        statements relating to compliance with established accounting



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procedures and the effectiveness of internal controls, the court   statements regarding compliance with established accounting
concludes that FE 9's account is not sufficient to establish       procedures and the effectiveness of internal controls. 20
that Gentile's statements were made with an intent to deceive
or defraud or with recklessness. The consolidated complaint        18     The court notes that plaintiffs allege that despite
alleges that the material weakness was the result of Campbell
                                                                          her concerns, FE 9 signed off in good faith on the
intentionally underestimating the amount of Boeing Claims
                                                                          claims in the EAC. Doc. no. 49, ¶ 176 & n. 27.
for the 737 program in the EAC process, which made the
737 program appear more profitable than it was. FE 9 said          19     According to the consolidated complaint, the
that Boeing Claims had become a hot-button issue and were                 PRO-3033 policy provided procedures for
being used by Boeing in negotiations over other issues with               evaluating and validating the claims made by
Spirit and potential offsets for amounts paid to Spirit. The              Spirit's customers, such as Boeing, and how the
increasing claims, FE 9 stated, were a concern to Spirit                  value of those claims should be factored in the
management and were discussed at EAC review meetings,                     EAC. Doc. no. 49, ¶ 161.
attended by Gentile. According to FE 9, Gentile ignored the
discrepancies as to the actual value of the Boeing Claims          20     Plaintiffs also point to Gentile's execution of the
versus Campbell's valuation of the claims. However, there are             SOX certifications to support a strong inference of
no particularized allegations that Gentile was aware of any               scienter. The court finds “the presence of the SOX
such discrepancies and there are no particularized allegations            certifications unpersuasive because they are not
to support an inference that the valuation discrepancies were             accompanied by any ‘particularized facts to support
obvious. FE 9 said that the discrepancies were not adequately             an inference that [Gentile] knew [his] sworn SOX
discussed during the EAC reviews. According to FE 9, “this                statements were false at the time they were made.”
was because Defendant Campbell had the final decision-                    Smallen, 950 F.3d at 1311 n. 10 (quotation marks
making authority on the numbers for the claims estimates                  omitted). “[Plaintiffs'] bare assertion regarding
submitted in the EAC, and he was generally the only one                   [Gentile's] execution of the SOX certifications adds
to speak to upper management[.]” Doc. no. 49, ¶ 182.                      nothing substantial to the scienter calculus and, at
She also said that “Defendant Campbell had a ‘tight grip’                 best, support[s] an inference of negligence.” Id.
over the Boeing Claims and usually was the only speaker                   (quotation marks omitted); see also, In re Gold
at such meetings on the issue.” Id. at 183. But there are                 Resource Corporation Securities Litigation, 776
no particularized factual averments which, if true, would                 F.3d 1103, 1116 (10th Cir. 2015).
show that Gentile knew, or that it was so obvious he must
                                                                   “ ‘[M]otive can be a relevant consideration’ in making the
have known, that Campbell had the final decision-making
                                                                   scienter determination, and ‘personal financial gain may
authority on the Boeing Claims or was manipulating the
                                                                   weigh heavily in favor of a scienter inference.’ ” In re Level
Boeing Claims by underestimating them. 18 The fact that            3 Communications, 667 F.3d at 1345 (quoting Tellabs, 551
the Boeing Claims were generally discussed at the EAC              U.S. at 325). Unusual or suspicious stock sales by corporate
reviews does not establish that the discrepancies in valuation     insiders may provide circumstantial evidence of scienter.
of the Boeing Claims were discussed. And while FE 9 alleged        Zucco Partners, 552 F.3d at 1005. Nonetheless, plaintiffs'
that the PRO-3033 policy 19 was not genuinely followed,            allegations concerning Gentile's stock sales do not support
doc. no. 49, ¶¶ 161-162, there are no particularized facts         a strong inference of scienter. Even though Gentile sold
alleged to the effect that Gentile had any knowledge that          roughly 22.5 percent of his common stock shortly before the
the PRO-3033 policy was not genuinely followed. Nor are            disclosure, on February 28, 2020, of the material weakness in
there any particularized facts alleged to the effect that Andy     the internal controls, the sales are not unusual when viewed
Yacenda, one of Spirit's controllers for the 737 program, was      in context. Gentile's stock holdings increased during the
acquiescing in Campbell's decisions, as alleged by FE 9.           Class Period, and he retained a substantial percentage of
Further, there are no particularized facts averred to establish    his Spirit holdings. This consideration, in the court's view,
that Gentile was told or aware of any information that             rebuts any inference of scienter the court might otherwise
contradicted any of his statements. In the court's view, FE        draw regarding the stock sales. See, Smallen, 950 F.3d at
9's account does not support a strong inference of scienter        1310; In re Level 3 Communications, 667 F.3d at 1346-1347
by Gentile with respect to the alleged false and misleading        (increased holdings weaken an inference of scienter). In
                                                                   addition, the court notes that Gentile's stock, which was


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acquired on January 21, 2020, was sold after Spirit had             allege[ ].” In re Gold Resource Corporation Securities
publicly announced on January 30, 2020, that it did not             Litigation, 776 F.3d 1103, 1118 (10th Cir. 2015). The court
comply with its established accounting processes and that           therefore concludes that dismissal of plaintiffs' § 10(b) and
an internal review of its accounting process compliance             Rule 10b-5 claims against Gentile is appropriate.
was ongoing. See, Ronconi v. Larkin, 253 F.3d 423, 435
(9th Cir. 2001) (sales suspicious in timing when “calculated
to maximize the personal benefit from undisclosed inside              (ii).
information”). Further, the court notes that plaintiffs do not
                                                                       Garcia
allege that Garcia and Gilson sold any stock during the Class
                                                                    Defendants additionally contend that plaintiffs have failed
Period. “ ‘[T]he failure of other defendants to sell their stock
                                                                    to plead particularized facts establishing that Garcia made
undermine[s] [plaintiffs'] theor[y] that negative information
                                                                    any alleged false and misleading statements with scienter.
was withheld to obtain a higher sell price.’ ” Smallen, 950
                                                                    According to defendants, plaintiffs' allegations that Garcia,
F.3d at 1311 (quoting In re Scholastic, 252 F.3d 63, 75 (2d
                                                                    like Gentile, was positioned to know about the alleged
Cir. 2001)). Consequently, the court is not persuaded that
                                                                    improprieties in the EAC accounting process, and signed
Gentile's stock sales demonstrate that he had a motive to
                                                                    the SOX certifications, are insufficient to demonstrate
defraud investors with respect to the effectiveness of Spirit's
                                                                    a strong inference of scienter regarding the alleged
internal controls. 21                                               false and misleading statements about compliance with
                                                                    established accounting procedures and the effectiveness of
21                                                                  internal controls. Defendants assert that Garcia's resignation,
        Further, the court is not persuaded that Gentile's
        stock sales demonstrate he had a motive to defraud          following the announcement of Spirit's accounting issues,
        investors about the 737 MAX production rate.                also does not support a strong inference of scienter because
                                                                    the resignation is equally consistent with nonfraudulent
 *21 Viewing all of plaintiffs' allegations holistically, see,
                                                                    conduct.
In re Zagg, 797 F.3d at 1201, the court concludes that the
inference of scienter is neither cogent nor as compelling as the
                                                                    As to the alleged false and misleading statements about the
competing inference of nonfraudulent intent. Plaintiffs fail to
                                                                    737 MAX production rate, Garcia points out that there are no
provide particularized facts giving rise to a strong inference
                                                                    particularized facts averred which would support a conclusion
that Gentile intentionally misrepresented the production rate
                                                                    that Garcia attended or was aware of any meeting where
or the compliance with established accounting principles and
                                                                    Boeing discussed the 737 MAX production cut. Garcia points
the effectiveness of the internal controls. Plaintiffs also argue
                                                                    out that FE 7 did not attend the subject meeting discussing the
that their allegations are sufficient to show recklessness.
                                                                    production rate cut and there are no allegations that FE 7 was
This court disagrees. “[R]ecklessness in this context is a
                                                                    told who attended the meeting. Although FE 7 believed that
particularly high standard, something closer to a state of mind
                                                                    Garcia attended the meeting based upon her understanding
approximating actual intent.” In re Zagg, 797 F.3d at 1206
                                                                    that any revisions to the production schedule required his
(quotation marks and citations omitted). The more compelling
                                                                    “sign off,” Garcia points out that there are no allegations that
inference to be drawn from the allegations of plaintiffs'
                                                                    the production schedule changed or that he signed off on
consolidated complaint is, at most, one of negligence on
                                                                    any production changes. Garcia maintains that there are no
the part of Gentile, which is insufficient to avoid dismissal.
                                                                    particularized allegations which tie him to the meeting with
“[A]llegations of negligence or even gross negligence fall
                                                                    Boeing where the production rate cut was discussed. Further,
below the high threshold for liability under Section 10(b) of
                                                                    Garcia asserts that there are no particularized facts alleged to
the Exchange Act.” Smallen, 950 F.3d at 1305 (quotation
                                                                    support an inference that he knew about the layoff exercises,
omitted).
                                                                    for which FE 7 had been providing data.

In sum, the court concludes that the consolidated complaint
                                                                    Additionally, in his motion, Garcia asserts that there are no
fails to raise a strong inference that Gentile acted with
                                                                    particularized factual allegations that he had any motive to
scienter. The court is not persuaded that “a reasonable
                                                                    commit fraud or that he profited in any way from the alleged
person would deem an inference of scienter more cogent
                                                                    false and misleading statements. The absence of a profit
or compelling than an opposing inference of nonfraudulent
                                                                    motive, Garcia argues, means that the circumstantial evidence
intent with respect to the misrepresentations plaintiff[s]



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of scienter must be more compelling. Garcia contends that the        102. However, there are no particularized allegations of any
consolidated complaint fails on this score as well.                  change in the production rate schedule, referred to internally
                                                                     as the “Master Schedule,” or that Garcia signed off on any
Plaintiffs respond that FE 7's account of Boeing's instruction       change. The lack of any particularized allegations as to a
to Spirit to cut production shows that Garcia had knowledge          change in the Master Schedule undermines the only basis for
of that fact. Plaintiffs point out that FE 7 stated Garcia “most     plaintiffs' allegations that Garcia attended the meeting where
likely” attended the meeting and that FE 7 specified what            Boeing told Spirit to cut production in half. Further, there are
was said at the meeting–specifically that Boeing instructed          no particularized allegations that Garcia received the results
Spirit to cut production of 737 MAX shipsets in half. Doc. no.       of the layoff exercises for which FE 7 provided data. The
90, ECF pp. 65-67. According to plaintiffs, FE 7's account,          court concludes that FE 7's account is insufficient to establish
along with the core operations allegations, is sufficient to         that Garcia knew his statements about the aircraft shipset
establish a strong inference of scienter with respect to Garcia's    production rate were false and misleading or that he ignored
misstatements relating to the production rate.                       obvious signs that his statements were false and misleading.
                                                                     Lastly, the court concludes that plaintiffs' allegations as to
 *22 In addition, plaintiffs contend that Garcia knew of             the 737 MAX program's importance to Spirit's operations
or recklessly ignored Campbell's misconduct in estimating            and Garcia's position with the company are not sufficient
the costs associated with the Boeing Claims through regular          to establish a strong inference of scienter for the reasons
meetings such as the quarterly EAC reviews. Plaintiffs               previously discussed with respect to Gentile.
contend that Garcia ignored apparent discrepancies between
the actual value of the Boeing Claims and the value                  Turning to the alleged false or misleading statements
Campbell assigned to them in the EAC. Plaintiffs also                with respect to the compliance with established accounting
argue that Garcia's resignation strongly supports a scienter         procedures and the effectiveness of internal controls, the court
inference because it was suspicious in its timing and                concludes that FE 9's account is insufficient to establish that
circumstances. According to plaintiffs, they adequately link         Garcia acted with an intent to deceive or with recklessness.
Garcia's resignation to the alleged misconduct. Further,             There are no particularized allegations that Garcia knew or
plaintiffs point out that Spirit acknowledged that remedial          was aware of the discrepancies concerning the valuation
measures to address the EAC process deficiencies included            of the Boeing Claims or was aware that the PRO-3033
management changes. Plaintiffs also contend that Garcia's            policy was not being followed. In addition, there are no
SOX certifications support a strong inference of scienter            particularized allegations that Garcia ignored obvious signs of
because they have alleged Garcia knew his certifications were        the alleged manipulation of the costs associated with the 737
false. Lastly, plaintiffs contend that the importance of Boeing      program, including the Boeing Claims. The fact that Boeing
Claims and the EAC process to Spirit's bottom line supports          claims were discussed at the EAC meetings, which Garcia
a strong inference of scienter.                                      attended, does not suggest that Garcia knew or recklessly
                                                                     ignored an undervaluation of the Boeing Claims. And as
Upon review, the court concludes that plaintiffs have failed to      stated by Tenth Circuit, “mere attendance at meetings does
plead with particularity facts sufficient to give rise to a strong   not contribute to an inference of scienter.” Anderson, 827 F.3d
inference that Garcia acted with an intent to deceive or with        at 1246; see also, In re Level 3 Communications, 667 F.3d at
recklessness when making the alleged false and misleading            1344 (10th Cir. 2012) (concluding that the fact the defendants
statements. As to the alleged false and misleading statements        “monitored the integration process through regular meetings
concerning the 737 MAX production rate, the court concludes          and reports” was insufficient to “draw a strong inference”
that FE 7's account is insufficient to establish that Garcia was     of the defendants' scienter). Further, the court concludes that
aware of Boeing's instruction to cut production in half. FE          Garcia's knowledge should not be imputed based upon the
7 was not present at the meeting between Boeing and Spirit           alleged importance of the EAC process to Spirit's bottom line
where the production rate cut was purportedly discussed              or Garcia's position with the company.
and was not told by her direct supervisor, Mr. Little, or by
Campbell who attended the meeting. FE 7 also did not report           *23 As to the resignation of Garcia, which the company
to Garcia. According to FE 7, she believed Garcia attended the       identified as a remedial measure in the 2020 annual report,
meeting because production rate changes or the production            the court concludes, like the Tenth Circuit in In re Zagg,
rate schedule required his “sign-off.” Doc. no. 49, ¶¶ 52,           that the resignation is “at most an acknowledgement that



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the company identified a better way of doing things moving            Initially, defendants contend that plaintiffs' scienter
forward, not an indicator that fraudulent intent existed at the       allegations relating to Gilson fail for the same reasons that
time the alleged omissions occurred.” Id. at 1205; see also,          they fail as to Gentile and Garcia. Defendants maintain that
In re Hertz Global Holdings, Inc., 905 F.3d 106, 119 (3rd Cir.        plaintiffs' “positional” allegations and allegations with respect
2018) (“[P]leading scienter requires more than pleading a link        to Gilson's resignation do not establish scienter on Gilson's
between bad news and an executive's resignation. Changes in           part. Doc. no. 77, ECF p. 41.
leadership are only to be expected when leadership fails ...
[A]llegations [must] cogently suggest that the resignations           Defendants, however, recognize that the consolidated
resulted from the relevant executives' knowing or reckless            complaint includes additional scienter allegations with
involvement in a fraud.”). The allegations in the consolidated        respect to the misstatements regarding compliance with
complaint are not sufficient to demonstrate that Garcia's             established accounting procedures and the effectiveness
resignation resulted from his knowing or reckless disregard           of internal controls that are not alleged against Gentile
of noncompliance with established accounting procedures or            and Garcia. Defendants acknowledge that the consolidated
the material weakness in the internal controls.                       complaint alleges that FE 9 recalled a specific instance in
                                                                      “early or mid-2019” when she “ ‘discussed her concerns
Additionally, “[plaintiffs'] bare assertion regarding [Garcia's]      with Defendant Gilson.’ ” Doc. no. 77, ECF p. 41. The
execution of the SOX certifications adds nothing substantial          consolidated complaint specifically alleges that FE 9 “raised
to the scienter calculus and at best, support[s] an inference         her concerns about these failures in the EAC process with
of negligence.” Smallen, 950 F.3d at 1311 n. 10 (quotation            respect to customer claims to Defendant Gilson directly.”
omitted). Further, the court notes that “allegations of GAAP          Doc. no. 49, ¶ 178. The pleading alleges that, because of
violations or accounting irregularities, standing alone, are          her raising such concerns to Spirit's “Finance personnel”
insufficient to state a securities fraud claim.” Fleming Cos.,        and causing an internal “conflict,” FE 9 was called into a
264 F.3d at 1261 (quotation marks and citation omitted).              meeting in Gilson's office, arranged by the Finance personnel,
                                                                      to discuss these issues. At the meeting, FE 9 discussed her
Further, as to Garcia, plaintiffs fail to offer anything in the way   concerns with Gilson and other Finance personnel, but to no
of a motivation to mislead investors. “Although the absence           avail. FE 9 left the meeting completely disappointed with the
of an apparent motive does not necessarily defeat a finding           response of Gilson and the other Finance personnel because
of scienter, it does make such a finding more difficult to            they did not take any actions to remedy the problem and
sustain.” Employees' Retirement System of Rhode Island v.             they accused her team of not supporting “Program personnel.”
Williams Companies, Inc., 889 F.3d 1153, 1173 (10th Cir.              Id. According to FE 9, “given his responsibilities as Spirit's
2018). Moreover, it “mitigates an inference of scienter from          Controller, Defendant Gilson should have been ‘pounding the
the plaintiffs' other factual allegations.” Anderson, 827 F.3d        table’ upon hearing of such failures, but instead FE 9 was
at 1239.                                                              ‘shut down’ once again.” Id.

Viewing plaintiffs' allegations holistically, see, In re Zagg,         *24 Defendants contend, however, that plaintiffs'
797 F.3d at 1201, the court concludes that the inference of           allegations fall short with respect to scienter. Defendants
scienter is neither cogent nor as compelling as the competing         assert that the allegations do not reveal “anything that Gilson
inference of a nonfraudulent intent. The court is not persuaded       was actually told [at the] meeting.” Doc. no. 77, ECF p.
that “a reasonable person would deem an inference of scienter         41. Defendants maintain that without knowing what FE 9
more cogent or compelling than an opposing inference of               specifically said to Gilson, it is impossible to determine
nonfraudulent intent with respect to the misrepresentations           whether that information given as early as “early 2019,”
plaintiff[s] allege[ ].” In re Gold Resource Corporation, 776         undermined Gilson's statements made on October 31, 2019.
F.3d at 1118. The court therefore concludes that dismissal of         Defendants also point out that “FE 9 ultimately ‘signed off’ on
the Section 10(b) and Rule 10b-5(b) claims against Garcia is          the accounting entries ‘in good faith’ ‘despite her concerns.’
appropriate.                                                          ” Doc. no. 77, ECF p. 42 (quoting doc. no. 49, ¶¶ 176, n. 27,
                                                                      178). Further, defendants assert that plaintiffs' allegations are
                                                                      insufficient to establish scienter because FE 9 did not work
  (iii).                                                              at Spirit during the Class Period and her position with the
                                                                      company is not adequately alleged.
  Gilson


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                                                                     that Gilson acted with an intent to deceive or to defraud
Plaintiffs respond that their scienter allegations are sufficient    or with recklessness. Although plaintiffs contend that FE
as they show Gilson knowingly or recklessly misrepresented           9's resignation supports the assertion that Gilson acted with
the effectiveness of Spirit's internal controls. Plaintiffs          scienter, there are no particularized allegations that Gilson
contend that Gilson knew of or recklessly disregarded the            knew of the resignation or the reasons for her resignation.
material weakness in Spirit's internal controls. Plaintiffs          Further, the fact that a material weakness in the internal
specifically rely upon their allegations that FE 9 raised her        controls was later identified, resulting in Gilson's resignation,
concerns about Campbell directly to Gilson because of her            does not provide a strong inference that Gilson acted with an
concerns about the weaknesses in Spirit's EAC process, but           intent to deceive or to defraud or with recklessness at the time
Gilson ignored her. Plaintiffs contend that her confrontation        he made the alleged false and misleading statements.
with Gilson, as well as her resignation shortly after her
confrontation, support a strong inference of Gilson's scienter.       *25 In addition, as pointed out by Gilson, the consolidated
Plaintiffs also point to their allegations that Gilson attended      complaint fails to allege any motive on his part to commit
regular meetings such as the EAC Reviews where the Boeing            securities fraud. Although plaintiffs need not show that Gilson
Claims were discussed. Plaintiffs contend that even though           acted with a particular motive, the failure to allege facts
FE 9 left Spirit's employment before the start of the Class          indicating a motive for securities fraud mitigates an inference
Period, her allegations are nonetheless relevant because they        of scienter. See, Anderson, 827 F.3d at 1239.
provide insight into what Gilson knew at the start of the
Class Period. Further, plaintiffs assert that FE 9's position with   The court further agrees with defendants that plaintiffs'
Spirit is sufficiently alleged.                                      remaining scienter allegations concerning Gilson fail for the
                                                                     same reasons previously discussed with respect to Gentile and
Upon review, the court concludes that plaintiffs have failed         Garcia.
to sufficiently plead with particularity facts giving rise to a
strong inference that Garcia acted with an intent to deceive         Lastly, viewing plaintiffs' scienter allegations holistically, see,
or with recklessness. The court concludes that FE 9's account        In re Zagg, 797 F.3d at 1201, the court concludes that the
is not sufficient to establish a strong inference that Gilson's      inference of scienter is neither cogent nor as compelling as
alleged false and misleading statements with respect to              the competing inference of nonfraudulent intent. The court
compliance with established accounting procedures, and the           is not persuaded that “a reasonable person would deem an
effectiveness of internal controls, were made with intent to         inference of scienter more cogent or compelling than an
deceive or with recklessness. Plaintiffs fail to allege with         opposing inference of nonfraudulent intent with respect to the
particularity what was discussed at the meeting involving            misrepresentations plaintiff[s] allege[ ].” In re Gold Resource
FE 9, Gilson, and Finance personnel. Without particularized          Corporation, 776 F.3d at 1118. The court therefore concludes
allegations as to what was discussed, the consolidated               that dismissal of the Section 10(b) and Rule 10b-5(b) claims
complaint does not establish that Gilson was specifically            against Gilson is appropriate.
informed by FE 9 of Campbell's manipulation of the Boeing
Claims or any alleged material weakness in the internal
controls. Indeed, plaintiffs' allegations with respect to the          (iv)
meeting do not mention anything specifically about the
                                                                        Spirit
Boeing Claims. Doc. no. 49, ¶ 178. As pointed out by
                                                                     Plaintiffs also allege liability under Section 10(b) and Rule
defendants, plaintiffs allege only that FE 9 “raised her
                                                                     10b-5 on the part of Spirit. Corporations, like Spirit, have
concerns about these failures in the EAC process with respect
                                                                     no state of mind of their own. Instead, scienter of the
to customer claims.” Doc. no. 49, ¶ 178. Also, plaintiffs'
                                                                     corporations' agents must be imputed to them. See, Mizzaro
allegations indicate that other Finance personnel did not share
                                                                     v. Home Depot, Inc., 544 F.3d 1230, 1255 (11th Cir. 2008).
her concerns, id., and as pointed out by defendants, plaintiffs'
                                                                     In addition to the scienter allegations as to Gentile, Garcia,
allegations indicate that FE 9 signed off on the claims in the
                                                                     and Gentile, which the court has found to be insufficient
EAC “in good faith.” Id., ¶ 176 & n. 27. If other Finance
                                                                     to establish a strong inference of scienter, plaintiffs rely
personnel did not share FE 9's concerns and FE 9 signed off on
the claims in the EAC in good faith despite her concerns, those      upon their allegations with respect to Campbell. 22 Plaintiffs
concerns do not, in the court's view, provide a strong inference     assert that those allegations support a strong inference that
                                                                     Campbell acted with scienter. Defendants contend the scienter


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allegations as to Campbell are irrelevant on the issue of          misstatements. Further, there are no particularized allegations
Spirit's scienter because Campbell did not make or issue           that Campbell furnished anything to Garcia or Gilson before
any of the challenged statements. Plaintiffs counter that          their alleged misstatements. The court therefore concludes
Campbell's scienter is imputable to Spirit, despite the fact he    that Campbell's state of mind cannot be relied upon to
did not make or issue any of the alleged false or misleading       establish Spirit's scienter for the 737 MAX production rate
statements. They point out that the Tenth Circuit authorizes       statements.
corporate scienter to be evaluated by the state of mind
of the individual corporate official, who not only made            Regarding the statements with respect to compliance with
or issued a false and misleading statement, but who also           the established accounting procedures and the effectiveness
“furnish[ed] information or language for inclusion therein,        of internal controls, the consolidated complaint does allege,
or the like.” Doc. no. 90, ECF p. 77 (quoting Smallen,             based upon FE 9's account, that Campbell understated or
950 F.3d at 1313). Plaintiffs posit that given Campbell's          underestimated the amount of the Boeing Claims in the
critical role with the 737 MAX program and his ownership           EAC process. Doc. no. 49, ¶ 170; ¶ 304. The consolidated
of the EAC process for Spirit's 737 program, his scienter          complaint, however, does not plead particularized facts
should be imputed to Spirit. According to plaintiffs, Campbell     to demonstrate that Campbell furnished information for
furnished false information for inclusion in the alleged           inclusion in the false and misleading statements at issue in
misstatements regarding the 737 MAX production rate                this case. Nevertheless, even if the facts were sufficient for
because he instructed the Business Operation Team, including       the court to conclude that Campbell furnished information
FE 7, to create layoff analyses and similar planning reports       for inclusion in those statements, the court finds that the
to implement Boeing's production cut. In addition, they assert     consolidated complaint fails to allege particularized facts
that Campbell furnished false information for inclusion in the     supporting a strong inference that Campbell acted with
alleged misstatements regarding the effectiveness of internal      scienter (as opposed to negligence or gross negligence)
controls, including through quarterly EAC reviews. Plaintiffs      in furnishing that information. The factual allegations are
maintain that they have sufficiently alleged facts giving rise     insufficient to support that Campbell acted with an intent to
to a strong inference of scienter with respect to Campbell.        deceive, manipulate, or defraud investors or with recklessness
                                                                   when he furnished the information. 23 According to the
22                                                                 consolidated complaint, Campbell engaged in the incorrect
       No claim under Section 10(b) and Rule 10b-5(b)
       has been alleged against Campbell.                          accounting “to make himself look better by showing better
                                                                   numbers to the Spirit Executive Team on the 737 program.”
 *26 The Tenth Circuit has determined that corporate liability
                                                                   Doc. no. 49, ¶ 305. As a result, the court concludes that
for a Section 10(b) and Rule 10b-5 violation may be
                                                                   Campbell's state of mind cannot establish Spirit's liability
established by looking to “the state of mind of the individual
                                                                   under Section 10(b). See, Pipefitters Local No. 636 Defined
corporate official or officials who make or issue the statement
                                                                   Ben. Plan v. Zale Corp., 499 F. Appx. 345 (5th Cir.
(or order or approve it or its making or issuance, or who
                                                                   2012) (“[T]he most compelling inference was that [the vice
furnish information or language for inclusion therein, or
                                                                   president of marketing] acted with the intent to maintain the
the like).” Smallen, 950 F.3d at 1313 (emphasis added)
                                                                   good appearance of her department rather than to defraud
(quotation marks and citation omitted). Initially, the court
                                                                   investors by falsely inflating the value of [the company].”).
concludes that the consolidated complaint fails to allege
                                                                   The court therefore concludes that dismissal of the Section
particularized facts to establish that Campbell furnished
                                                                   10(b) and Rule 10b-5(b) claims against Spirit is appropriate.
information or language for inclusion in any of the alleged
false and misleading statements made with respect to the
                                                                   23
737 MAX production rates. The consolidated complaint does                 In the consolidated complaint, plaintiffs allege
allege that the layoff exercises were “rolled up” to Brown                that the timing and circumstances of Campbell's
and his direct reports, including Campbell, for review and                “resignation” support a strong inference of scienter.
approval, doc. no. 49, ¶ 104, but there are no allegations that           Relying upon FE 11, plaintiffs allege that Campbell
those exercises were furnished to Gentile for inclusion in any            was terminated and escorted from the premises
alleged false and misleading statements involving the 737                 a week before Garcia and Gilson resigned. Doc.
MAX production rate on October 31, 2019. As previously                    no. 49, ¶ 314. Plaintiffs also allege that FE 9's
discussed, the account of FE 7 is insufficient to demonstrate             account corroborates the reason for Campbell's
that Gentile even received that information prior to his alleged          termination. Id., ¶ 315. However, the court finds


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        FE 11 and FE 9's accounts are not sufficient to
        establish that Campbell was terminated and the               Plaintiffs respond that they have pled sufficient facts to
        reasons for that termination. FE 11 and FE 9 left            support liability under subsections (a) and (c). Initially,
        Spirit's employment in the fall of 2019. Id., ¶ 56,          they point out that the mere fact certain elements of
        ¶ 171.                                                       their claims under subsections (a) and (c) also support a
                                                                     misrepresentation claim under subsection (b) is not grounds
                                                                     for dismissal. They assert that scheme-liability claims may
                              VII.                                   involve conduct similar to that underlying a subsection (b)
                                                                     claim. In any event, plaintiffs contend that the consolidated
           Count III – Claims Under Section 10(b)                    complaint alleges defendants “engaged in a scheme to assure
           and Rule 10b-5, Subsections (a) and (c)                   the market that Spirit could provide timely information
                                                                     regarding any changes in production levels for 737 MAX
In addition to claims under subsection (b) of Rule 10b-5,            shipsets, and the revenue it could obtain from those sales,
plaintiffs allege claims under subsections (a) and (c). These        to minimize investor concerns relating to the uncertainties of
claims are alleged against all defendants. Subsections (a)           Spirit's revenue stream created by the 737 MAX grounding.”
and (c) make it unlawful to “employ any device, scheme, or           Doc. no. 90, ECF p. 82. According to plaintiffs, the
artifice to defraud” or to “engage in any act, practice, or course   alleged scheme included multiple actions distinct from the
of business which operates or would operate as a fraud or            alleged misrepresentations, including “(i) touting its close
deceit upon any person.” 17 C.F.R. § 240.10b-5(a) and (c).           relationship with Boeing in response to specific questions
While subsection (b) requires a plaintiff to establish that a        from analysts to set the expectation in investors that Spirit
false or misleading statement was made, subsections (a) and          would immediately be aware of, respond to, and inform
(c) “are not so restricted.” Affiliated Ute Citizens of Utah v.      investors of any requests for changes [ ]; (ii) deflecting
United States, 406 U.S. 128, 153 (1972). To state a claim for        concerns about the number of 737 MAX shipsets Spirit
a violation of subsections (a) and (c), a plaintiff must allege      was storing for Boeing [ ]; and (iii) making no effort
“(1) that the defendant committed a deceptive or manipulative        to inform investors when Boeing ordered Spirit to cut
act, (2) in furtherance of the alleged scheme to defraud, (3)        production in late September or early October 2019[ ].” Id.
with scienter, and (4) reliance.” In re Alstom SA Securities         These actions, plaintiffs contend, which are in furtherance of
Litigation, 406 F. Supp. 2d 433, 476 (S.D.N.Y. 2005) (citing         defendants' scheme are actionable under subsections (a) and
In re Global Crossing, Ltd. Securities Litigation, 322 F. Supp.      (c). Additionally, plaintiffs contend that they have sufficiently
2d 319, 336 (S.D.N.Y 2004)).                                         pled reliance upon defendants' scheme. Plaintiffs maintain
                                                                     that it was the deceptive acts of defendants, rather than
 *27 Defendants contend that plaintiffs' subsections (a)             a third party, that “mitigated uncertainty in the minds of
and (c) claims should be dismissed because those                     investors as to Spirit's shipset production and inflated the
claims are simply a repackaging of their subsection                  price for Spirit shares.” Id. They assert that the cases cited by
(b) claim because they rely upon defendants' alleged                 defendants in support of their reliance argument are factually
material misrepresentations as the basis for the claims.             distinguishable.
Defendants point out that plaintiffs have not identified any
material misrepresentation or sufficiently alleged that they         Upon review, the court concludes that the claims under
disseminated any material misrepresentation with scienter.           subsections (a) and (c) should be dismissed as to all
To the extent the claims are based on something besides a            defendants. “As with claims under subsection (b) of Rule
material misrepresentation, defendants argue that the claims         10b-5, claims under subsections (a) and (c) are subject to the
fail because the only conduct alleged to be deceptive in the         PSLRA, and, thus, a ‘strong inference’ of scienter must be
consolidated complaint was the purported misrepresentations.         pled ‘with particularity.’ ” Takata, 2020 WL 2079375, at *14
Further, defendants maintain that plaintiffs have failed to          (quoting 15 U.S.C. § 78u-4(b)(2)(A)). The court concludes
plead reliance, an essential element of subsections (a) and          that plaintiffs have failed to allege particularized facts giving
(c) claims. Defendants point out that aside from their               rise to a strong inference that any of the defendants acted with
alleged misrepresentations, none of their alleged conduct            scienter when committing the alleged actions. Even when
was publicly disclosed. Therefore, defendants contend that           plaintiffs' allegations are considered collectively, they do not,
plaintiffs could not have relied upon that non-public conduct.



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                                                                      rely heavily upon confidential witnesses to support their
in the court's view, create a cogent, compelling inference of
                                                                      allegations, but do not indicate that the confidential witnesses
scienter on the part of the defendants.
                                                                      can provide more information that was not alleged or that
                                                                      there are other confidential witnesses available to support
                                                                      their claims. Because plaintiffs have failed to adequately
                            VIII.                                     request amendment and to support that request and in the
                                                                      absence of any indication that they can cure the deficiencies
           Count II – Claims Under Section 20(a)                      of their consolidated complaint, specifically as to scienter,
                                                                      the court concludes that the consolidated complaint should be
As discussed, to state a claim under § 20(a) of the Securities        dismissed without leave to amend.
Exchange Act, plaintiffs must allege (1) a primary violation of
the securities laws; and (2) control over the primary violator
by the alleged controlling person. Fleming, 264 F.3d at 1270.
                                                                                                    X.
Because the consolidated complaint fails to state a primary
violation under Section 10(b) and Rule 10b-5, the court
concludes that the claims under Section 20(a) against the                                       Conclusion
individual defendants, Gentile, Garcia, Gilson, and Campbell
                                                                      Based upon the foregoing, Defendants Spirit AeroSystems
also fail.
                                                                      Holdings, Inc., Thomas C. Gentile, and Shawn Campbell's
                                                                      Motion to Dismiss Plaintiffs' Consolidated Class Action
                                                                      Complaint (doc. no. 77), Defendant Jose Garcia's Motion
                             IX.                                      to Dismiss Plaintiffs' Consolidated Class Action Complaint
                                                                      (doc. no. 78) and Defendant John Gilson's Motion to
                Request to Amend Complaint                            Dismiss Plaintiffs' Consolidated Class Action Complaint
                                                                      (doc. no. 79) are GRANTED. Plaintiffs' Consolidated Class
 *28 At the end of their response brief, plaintiffs request the       Action Complaint (doc. no. 49) is DISMISSED WITH
opportunity to amend the consolidated complaint if the court          PREJUDICE.
grants any part of defendants' motions. The court, however,
concludes that plaintiffs have failed to adequately request           The Clerk of Court is DIRECTED to file this order and the
leave to amend their consolidated complaint. Plaintiffs'              accompanying judgment in Case Nos. 20-cv-00054-SPF-JFJ,
“single sentence, lacking a statement for the grounds for             20-cv-00077-SPF-JFJ, and 20-cv-00117-SPF-JFJ.
amendment and dangling at the end of [their] memorandum,
[does] not rise to the level of a motion for leave to                 IT IS SO ORDERED this 7 th day of January, 2022.
amend.” Calderon v. Kan. Dept. of Social & Rehabilitation
Services, 181 F.3d 1180, 1186-87 (10th Cir. 1999). Plaintiffs
have not made any effort to indicate how amending the                 All Citations
consolidated complaint would cure the deficiencies in their
claims, specifically as to the scienter element. Plaintiffs           Not Reported in Fed. Supp., 2022 WL 377415


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                     Case No. 19




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                                                                          also filed supplemental briefs, ECF Nos. 55, 57,
                     2019 WL 3451153                                      pursuant to the Court's order, ECF No. 52. Plaintiffs
     Only the Westlaw citation is currently available.                    also filed a motion for leave to file a chart of
United States District Court, S.D. Texas, Houston Division.               false and misleading statements in support of their
                                                                          opposition to Defendants’ motion to dismiss. ECF
           MICROCAPITAL FUND LP, MicroCapital                             No. 42. Although Plaintiff represented that the
           Fund Ltd., and MicroCapital LLC, Plaintiffs,                   motion was opposed, Defendants did not file a
                               v.                                         response and the time to do so expired. The Court
                                                                          granted Plaintiff's motion. Order, ECF No. 63.
            CONN'S INC., Theodore M. Wright, Brian
            Taylor, and Michael J. Poppe, Defendants.              2      The District Judge referred this case for all pretrial
                                                                          purposes pursuant to 28 U.S.C. § 636. ECF Nos. 50,
                         No. 4:18-CV-1020
                                                                          61. Pursuant to 28 U.S.C. 636(b)(1)(B), a motion
                                  |
                                                                          to dismiss is a dispositive motion appropriate for a
                         Signed 07/24/2019
                                                                          Report and Recommendation. Plaintiffs’ motion is
                                  |
                                                                          not a dispositive motion and is appropriate for an
                         entered 07/26/2019
                                                                          Order.
Attorneys and Law Firms

Hillary B. Stakem, Steven W. Pepich, Mark Solomon,                                                I.
Robbins Geller et al, San Diego, CA, Willow E. Radcliffe,
Pro Hac Vice, Robbins Geller et al, San Francisco, CA, Jason                             BACKGROUND
Anthony Richardson, McDowell Hetherington LLP, Houston,
TX, for Plaintiffs.                                                  A. The Parties.
                                                                   This case shares a common factual background with a settled
Jennifer Barrett Poppe, Vinson & Elkins, Austin, TX, Stephen
                                                                   securities fraud class action (the “Class Action”) 3 and a
Sullivan Gilstrap, Vinson & Elkins LLP, Dallas, TX, for
Defendants.                                                        shareholder derivative suit against Conn's, 4 which sells
                                                                   household appliances in retail stores across the country and
                                                                   also has a credit arm of its business, providing in-house credit
                                                                   options, third-party financing programs, and third-party rent-
               REPORT AND RECOMMENDATION
                                                                   to-own payment plans to its customers. ECF No. 3 at ¶¶
Dena Hanovice Palermo, United States Magistrate Judge              3, 30, 43. The MicroCapital Plaintiffs were previously class
                                                                   members in the Class Action but opted out of the Class
 *1 Plaintiffs MicroCapital Fund LP, MicroCapital Fund             Action settlement and filed the instant lawsuit. See Letter, In
Ltd., and MicroCapital LLC (collectively “Plaintiffs”              re Conn's, No. 14-CV-548 (S.D. Tex. Sept. 20, 2018), ECF
or “MicroCapital”) filed this action for violations of             No. 189.
federal securities laws, common law fraud, and negligent
misrepresentation against Defendants Conn's, Inc. (“Conn's”        3
                                                                          Compare ECF No. 3 with Fourth Am. Compl., In re
or “Corporation”), Theodore Wright, Brian Taylor, and
                                                                          Conn's, Inc. Sec. Litig., No. 14-CV-548 (S.D. Tex.
Michael Poppe (collectively “Defendants”). Pls.’ Compl.,
                                                                          July 21, 2015), ECF No. 104.
ECF No. 3. Before the Court is Defendants’ motion to
                                                                   4
dismiss. 1 ECF No. 39. Having considered the record and                   See Compl., Hack v. Wright et al., No. 4:14-
authorities, the Court recommends that Defendants’ motion                 CV-3442 (S.D. Tex. Dec. 1, 2014), ECF No. 1.
to dismiss, ECF No. 39, should be granted in part and denied       Beginning in February 2014, Conn's made public
           2
in part.                                                           announcements that its Fourth Quarter Fiscal Year (“FY”)
                                                                   2014 bad debts in its credit segment exceeded its previously
1                                                                  issued FY 2014 guidance and it expected earnings per share
           Plaintiffs filed an opposition. ECF No. 47.
           Defendants filed a reply. ECF No. 49. Both parties      dilution in the Fourth Quarter in 2014 and in 2015. ECF No.
                                                                   3 at ¶¶ 181-82. Plaintiffs allege that Defendants engaged in


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wrongdoing between April 3, 2013 and February 20, 2014
(the “Relevant Period”). Id. at ¶ 2. Plaintiffs purchased Conn's      1. Plaintiffs’ securities fraud claim because Plaintiffs failed
stock during the Relevant Period. Id. at ¶¶ 27-29. Plaintiffs            to plead material misstatements or scienter with the
bring this case against Conn's and three Individual Defendants           particularity required by the Private Securities Litigation
who are former Conn's executives: Wright, Conn's Chief                   Reform Act of 1995 (“PSLRA”) and Federal Rule of
Executive Officer (“CEO”); Taylor, Conn's Chief Financial                Civil Procedure 9(b);
Officer (“CFO”); and Poppe, Conn's Chief Operating Officer
                                                                      2. Plaintiffs’ 20(a) control person liability claim because
(“COO”). Id. at ¶¶ 31, 33, 35. The complaint alleges they each
                                                                         Plaintiffs failed to plead a viable underlying securities
held these positions during the Relevant Period and have since
                                                                         fraud claim;
left Conn's. Id.
                                                                      3. Plaintiffs’ 20A insider trading claim because Plaintiffs
                                                                         failed to plead an underlying securities fraud claim and
   B. Plaintiffs’ Complaint.
                                                                         their purchases were not “contemporaneous” with the
 *2 In their 103-page complaint, Plaintiffs allege that Conn's
                                                                         Individual Defendants’ stock sales; and
lowered its underwriting standards and offered credit to
riskier customers—including those with zero credit scores             4. Plaintiffs’ state law claims because they are duplicative.
and very little verification—as a strategy to generate revenue.
Id. at ¶¶ 4, 42, 46, 49, 53-56, 58, 62, 161. Plaintiffs             ECF No. 39 at 7.
allege this led to financial problems including increases
in delinquencies, of which the Defendants were aware. Id.
at ¶¶ 66, 84, 132, 134. Plaintiffs allege that Defendants                                          II.
made false and misleading public statements (including press
releases, annual and quarterly financial reports, statements
during conference calls and conferences, and statements to                LEGAL STANDARD UNDER RULE 12(b)(6)
analysts) that misrepresented the extent of the underwriting
                                                                    A court may dismiss a complaint for “failure to state a claim
policy changes, overstated Conn's financial condition, and
                                                                    upon which relief can be granted.” FED. R. CIV. P. 12(b)
falsely attributed the financial problems to reasons other
                                                                    (6). “Motions to dismiss under Rule 12(b)(6) are viewed with
than the lower underwriting standards, thereby violating their
                                                                    disfavor and are rarely granted.” Lormand v. U.S. Unwired,
fiduciary duties and federal securities laws. Id. at ¶¶ 88-130.
                                                                    Inc., 565 F.3d 228, 232 (5th Cir. 2009) (citation omitted).
                                                                    “Under Federal Rule of Civil Procedure 8(a)(2), a pleading
Plaintiffs also allege that the false and misleading information
                                                                    must contain a ‘short and plain statement of the claim showing
presented to the public artificially inflated Conn's stock prices
                                                                    that the pleader is entitled to relief.’ ” Ashcroft v. Iqbal, 556
during the Relevant Period. Id. at ¶¶ 117, 141, 214, 215.
                                                                    U.S. 662, 677-78, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009).
Plaintiffs allege that they paid artificially inflated prices for
Conn's securities and suffered damages as a result. Id. at ¶¶
                                                                    The complaint must include more than mere “labels and
27-29, 89, 243. Plaintiffs bring claims for (1) securities fraud
                                                                    conclusions, and a formulaic recitation of the elements of
in violation of section 10(b) of the Securities Exchange Act
                                                                    a cause of action will not do.” Bell Atl. Corp. v. Twombly,
(“SEA”) and Securities and Exchange Commission (“SEC”)
                                                                    550 U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)
Rule 10b-5, (2) control person liability under section 20(a)
                                                                    (internal quotation marks and citations omitted). A complaint
of the SEA, (3) insider trading in violation of section 20A of
                                                                    must “contain sufficient factual matter ... to ‘state a claim
the SEA, (4) Texas common law fraud, (5) Texas common
                                                                    to relief that is plausible on its face.’ ” Iqbal, 556 U.S. at
law negligent misrepresentation, (6) Connecticut common
                                                                    678, 129 S.Ct. 1937 (quoting Twombly, 550 U.S. at 570, 127
law fraud, and (7) Connecticut common law negligent
                                                                    S.Ct. 1955). A claim is plausible “when the pleaded factual
misrepresentation. Id. at ¶¶ 230-78.
                                                                    contents allow the court to draw the reasonable inference that
                                                                    the defendant is liable for the misconduct alleged.” Bowlby v.
   C. Defendants’ Motion to Dismiss.                                City of Aberdeen, Miss., 681 F.3d 215, 219 (5th Cir. 2012).
Defendants seek to dismiss each of Plaintiffs’ claims under         “[A] complaint ‘does not need detailed factual allegations,’
Federal Rule of Civil Procedure 12(b)(6) for the following          but must provide the plaintiff's grounds for entitlement to
reasons:                                                            relief—including factual allegations that when assumed to



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be true ‘raise a right to relief above the speculative level.’ ”   among other things, the making of any ‘untrue statement of a
Culliver v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007) (quoting     material fact’ or the omission of any material fact ‘necessary
Twombly, 550 U.S. at 555, 127 S.Ct. 1955).                         in order to make the statements made, in the light of the
                                                                   circumstances under which they were made, not misleading.’
 *3 The ultimate question “is whether the complaint states         ” In re BP P.L.C. Sec. Litig., No. 4:12-CV-1256, 2013 WL
a valid claim when viewed in the light most favorable to the       6383968, at *17, 2013 U.S. Dist. LEXIS 171459, at *47
plaintiff.” Brown v. Bd. of Trustees Sealy Indep. Sch. Dist.,      (S.D. Tex. Dec. 5, 2013) (quoting 17 C.F.R. § 240.10b-5(b))
871 F. Supp. 2d 581, 590 (S.D. Tex. 2012). “[I]n considering       (Ellison, J.).
a motion to dismiss under Rule 12(b)(6), a complaint must
be liberally construed in favor of the plaintiff and all well-     To state a claim under section 10(b), the plaintiff must allege:
pleaded facts taken as true.” Duke Energy Int'l, 748 F. Supp.
at 665. “[C]ourts are required to dismiss, pursuant to [Rule
12(b)(6)], claims based on invalid legal theories, even though
they may be otherwise well-pleaded.” Farshchi v. Wells Fargo                    (1) a material misrepresentation or
Bank, N.A., No. H-15-1692, 2016 WL 2858903, at *2 (S.D.                         omission by the defendant; (2)
Tex. May 13, 2016) (citing Flynn v. State Farm Fire and Cas.                    scienter; (3) a connection between the
Ins. Co., 605 F. Supp. 2d 811, 820 (W.D. Tex. 2009)).                           misrepresentation or omission and the
                                                                                purchase or sale of a security; (4)
                                                                                reliance upon the misrepresentation or
                                                                                omission; (5) economic loss; and (6)
                              III.
                                                                                loss causation, i.e., a causal connection
                                                                                between the misrepresentation or
           SECURITIES FRAUD UNDER                                               omission and the loss. 5
        SECTION 10(b) OF THE SECURITIES
      EXCHANGE ACT AND SECURITIES AND
       EXCHANGE COMMISSION RULE 10b-5
                                                                   Id. at *48 (citing Lormand, 565 F.3d at 238-39).
  A. Legal Standard For Securities Fraud.
Under section 10(b) of the SEA,                                    5      Defendants only allege that the first two elements
                                                                          are not adequately pleaded. ECF No. 39 at 7.

             [i]t shall be unlawful for any person,
             directly or indirectly, by the use of any                   1. Material misrepresentations and omissions.
             means or instrumentality of interstate
                                                                   “Because Plaintiffs assert securities fraud claims, they must
             commerce or of the mails, or of
                                                                   satisfy the heightened pleading requirements of Rule 9(b).” In
             any facility of any national securities
                                                                   re BP P.L.C. Sec. Litig., 843 F. Supp. 2d 712, 746 (S.D. Tex.
             exchange ... [t]o use or employ, in
                                                                   2012) (citations omitted) (Ellison, J.). Not only does Rule 9(b)
             connection with the purchase or sale
                                                                   require fraud to be pleaded with particularity, but the PSLRA
             of any security registered on a national
                                                                   enhances the requirements of Rule 9(b). To meet the pleading
             securities exchange or any security
                                                                   requirements of the PSLRA, a plaintiff must
             not so registered ... any manipulative
             or deceptive device or contrivance
             in contravention of such rules and
                                                                                (1) specify each statement alleged to
             regulations as the [SEC] may prescribe
                                                                                have been misleading; (2) identify
             as necessary or appropriate....
                                                                                the speaker; (3) state when and
                                                                                where the statement was made; (4)
                                                                                plead with particularity the contents
15 U.S.C. § 78j(b). “SEC Rule 10b-5, promulgated pursuant
                                                                                of the false representation; (5) plead
to section 10(b), implements section 10(b) by forbidding,
                                                                                with particularity what the person


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             making the misrepresentation obtained                 “[T]he court may not construe allegations contained in the
             thereby; and (6) explain the reason                   Complaint against the defendants as a group as properly
             or reasons why the statement is                       imputable to any particular individual defendant unless
             misleading, i.e., why the statement is                the connection between the individual defendant and the
             fraudulent.                                           allegedly fraudulent statement is specifically pleaded.” In re
                                                                   BP, 2013 U.S. Dist. LEXIS 171459, at *52 (citation and
                                                                   quotation marks omitted). The court must look to the “state of
Id. (citing ABC Arbitrage Plaintiffs Grp. v. Tchuruk, 291 F.3d     mind of the individual corporate official or officials who make
336, 350 (5th Cir. 2002)).                                         or issue the statement....” Id. at *52 (citation and quotation
                                                                   marks omitted).
 *4 “To be actionable, a misrepresentation of a fact, or
an omission of a fact, must be material.” In re BP, 2013           The Supreme Court “outlined a three step approach to
U.S. Dist. LEXIS 171459, at *49. A misrepresentation or            reviewing scienter allegations in a motion to dismiss a federal
omission “is material if there is a substantial likelihood         securities fraud case pursuant to the PSLRA.” In re BP, 843 F.
that a reasonable shareholder would consider it important          Supp. 2d at 748 (citing Tellabs, Inc. v. Makor Issues & Rights,
in making an investment decision.” Id. (citing Basic Inc. v.       Ltd., 551 U.S. 308, 323, 127 S.Ct. 2499, 168 L.Ed.2d 179
Levinson, 485 U.S. 224, 231, 108 S.Ct. 978, 99 L.Ed.2d 194         (2007)).
(1988)). “Fraud based on an omission must sufficiently allege
a substantial likelihood that the disclosure of the omitted
fact would have been viewed by the reasonable investor as                       First, the allegations must, as in
having significantly altered the total mix of information made                  federal pleadings generally, be taken
available.” Carlton v. Cannon, 184 F. Supp. 3d 428, 457 (S.D.                   as true. Second, courts may consider
Tex. 2016) (quoting Matrixx Initiatives, Inc. v. Siracusano,                    documents incorporated into the
563 U.S. 27, 38, 131 S.Ct. 1309, 179 L.Ed.2d 398 (2011))                        complaint by reference and matters
(internal quotation marks omitted).                                             subject to judicial notice. 6 The facts
                                                                                must be evaluated collectively, not
                                                                                in isolation, to determine whether
                         2. Scienter.                                           a strong inference of scienter has
                                                                                been pleaded. ... Third, a court must
“In the context of federal securities fraud, scienter is defined                take into account plausible inferences
as an intent to deceive, manipulate, or defraud or that severe                  opposing as well as supporting a
recklessness in which the danger of misleading buyers or                        strong inference of scienter. The
sellers is either known to the defendant or is so obvious that                  inference of scienter must ultimately
the defendant must have been aware of it.” In re BP, 843 F.                     be “cogent and compelling,” not
Supp. 2d at 748 (citation and quotation marks omitted).                         merely “reasonable” or “permissible.”

  Severe recklessness is “limited to those highly
  unreasonable omissions or misrepresentations that involve
                                                                   Id. (citations omitted). “A complaint will survive ... only if
  not merely simple or even inexcusable negligence, but an
                                                                   a reasonable person would deem the inference of scienter
  extreme departure from the standards of ordinary care, and
                                                                   cogent and at least as compelling as any opposing inference
  that present a danger of misleading buyers or sellers which
                                                                   one could draw from the facts alleged.” Carlton, 184 F. Supp.
  is either known to the defendant or is so obvious that the
                                                                   3d at 459 (quoting Tellabs, 551 U.S. at 324, 127 S.Ct. 2499).
  defendant must have been aware of it.”
                                                                   While the court may look to each individual allegation, the
Id. at 748-49 (citation omitted). “Section 10(b) and Rule          court must still “follow this initial step with a holistic look at
10b-5 do not protect investors against negligence or corporate     all the scienter allegations.” Id. (citation omitted).
mismanagement.” Id. at 748 (citation omitted).
                                                                   6       Both parties attached to their briefing SEC filings,
                                                                           press releases, transcripts of earnings calls and



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       exhibits from those calls, stock prices, and other                 included in the complaint for context. The District
       documents referred to in the complaint. On a                       Judge dismissed the analyst statements from the
       motion to dismiss, courts may consider documents                   Class Action. See Mot. Hr'g Tr. at 49:6-50:2,
       that are referred to in the complaint and central to               74:2-25, In re Conn's, No. 4:14-CV-548 (S.D. Tex.
       the plaintiff's claims without converting the motion               July 14, 2015), ECF No. 102.
       to a motion for summary judgment. In re Franklin
       Bank Corp. Sec. Litig., 782 F. Supp. 2d 364, 384-85
       (S.D. Tex. 2011) (citing Scanlan v. Tex. A & M                      1. Statements upheld in the Class Action.
       Univ., 343 F.3d 533, 536 (5th Cir. 2003)) (Ellison,
                                                                   Plaintiffs challenge several statements that were upheld as
       J.), aff'd, 464 F. App'x 334 (5th Cir. 2012); accord
                                                                   actionable in the Class Action. See ECF No. 3 at ¶¶ 91,
       Carlton, 184 F. Supp. 3d at 451-52 (considering
       SEC filings, 10-Q and 10-K forms, and earnings              92, 94, 104, 106, 107, 108, 112, 113, 8 115, and 122; 9
       call transcripts attached to the motions to dismiss).       Order, In re Conn's, Inc., No. 4:14-CV-548 (S.D. Tex. May 5,
       In securities fraud cases, courts may also take             2016), ECF No. 125 (Ellison, J.); Mot. Hr'g Tr. at 73:1-89:10,
       judicial notice of documents that are filed with the        111:14-123:6, In re Conn's, No. 4:14-CV-548 (S.D. Tex. Apr.
       SEC. In re Franklin, 782 F. Supp. 2d at 385; see            8, 2016), ECF No. 117 (upholding statements in paragraphs
       also In re Century Aluminum Co. Sec. Litig., 749            66, 67, and 96 in the Class Action Fourth Amended
       F. Supp. 2d 964, 979-80 (N.D. Cal. 2010) (taking            Complaint); Mot. Hr'g Tr. at 3:25-29:20, 31:12-41:1, In re
       judicial notice of transcripts of analyst conference        Conn's, No. 4:14-CV-548 (S.D. Tex. Apr. 8, 2016), ECF No.
       calls and PowerPoint presentations to analysts); In         118 (upholding statements in paragraphs 96, 97, 99, 100, and
       re Sec. Litig. BMC Software, Inc., 183 F. Supp.             111 in the Class Action Fourth Amended Complaint). For
       2d 860, 882 (S.D. Tex. 2001) (courts may take               the same reasons the District Judge found these statements
       judicial notice of stock prices and documents of            actionable (and supported by scienter) in the Class Action, the
       public record).                                             Court recommends the same statements be found actionable
                                                                   (and supported by scienter) here. Defendants’ motion as to
 *5 “[T]he strong-inference pleading standard does not
license us to resolve disputed facts at this stage of the case.”   these statements should be denied. 10
Cent. Laborers’ Pension Fund v. Integrated Elec. Servs. Inc.,
497 F.3d 546, 551 (5th Cir. 2007) (citation omitted). “It does,    8      Only part of the statement in paragraph 113
however, permit the court to ‘engage in some weighing of                  was addressed and upheld in the Class Action
the allegations to determine whether the inferences toward                (“[T]hey're still the same type of customers
scienter are strong or weak.’ ” Id. (citation omitted).                   we've always gotten. We're still using the same
                                                                          underwriting tools and practices that we used
                                                                          before.”). Order, In re Conn's, No. 4:14-CV-548
   B. Alleged Misrepresentations And Omissions.                           (S.D. Tex. May 5, 2016), ECF No. 125; Mot. Hr'g
Because the volume of allegedly actionable statements is so               Tr. at 34:17-40:3, In re Conn's, No. 4:14-CV-548
large, the Court will not examine each statement individually             (S.D. Tex. Apr. 8, 2016), ECF No. 118; Fourth
but will group them as follows for ease of analysis:                      Am. Compl. at ¶ 100, In re Conn's, No. 4:14-
(1) statements that were upheld in the Class Action, (2)                  CV-548 (S.D. Tex. July 21, 2015), ECF No. 104.
statements that were struck in the Class Action, (3) statements           Part of the statement in paragraph 113 (“The short
regarding Conn's loosening of underwriting standards, (4)                 answer is no. We don't believe that the increase
statements regarding the cause of the deterioration of Conn's             in the percentage of sales that we're financing had
credit portfolio, (5) statements allegedly protected by the               anything to do with the issues that we faced in
PSLRA's safe harbor, and (6) Conn's financial statements. 7               collections ... And so we expect we'll get a similar
                                                                          result. So, no, we don't believe that that's a factor.”)
7                                                                         was not challenged in the Class Action and should
       The complaint also identifies several statements
       by analysts. ECF No. 3 at ¶¶ 98, 118, 120, 128,                    be upheld for reasons addressed infra at Section
       130. However, Plaintiffs do not appear to allege                   III.B.4. See ECF No. 3 at ¶ 113; ECF No. 57-1 at 21.
       that these statements are actionable. See ECF No.
       47-1. Therefore, the Court assumes they were only


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9                                                                 Tr. at 89:11-92:12, 98:13-99:17, 102:14-19, In re Conn's,
       Part of the statement in paragraph 122 (“...the
       Company made good progress in addressing the               No. 4:14-CV-548 (S.D. Tex. Apr. 8, 2016), ECF No. 117
       issues we experienced in the second quarter                (striking statements in paragraphs 68, 69, 82, and 83 in the
       with our credit collection system.”) was found             Class Action Fourth Amended Complaint); Mot. Hr'g Tr. at
       actionable in the Class Action and the other part          40:4-41:1, 41:5-8, In re Conn's, No. 4:14-CV-548 (S.D. Tex.
       (“We are on track to meet our timetable of 4 to            Apr. 8, 2016), ECF No. 118 (striking statements in paragraphs
       5 months from our last conference call to fully            111 and 113 in the Class Action Fourth Amended Complaint).
       address the effects of these issues on our portfolio.
       Delinquency should improve markedly over the               11
                                                                         See supra, n.9.
       next quarter.”) was struck. Order, In re Conn's, No.
                                                                  In the Class Action, the plaintiffs relied almost exclusively
       4:14-CV-548 (S.D. Tex. May 5, 2016), ECF No.
                                                                  on confidential witness (“CW”) allegations and the District
       125; Mot. Hr'g Tr. at 40:4-41:1, In re Conn's, No.
                                                                  Judge found those allegations insufficient to support these
       4:14-CV-548 (S.D. Tex. Apr. 8, 2016), ECF No.
                                                                  statements as actionable and therefore dismissed them.
       118; Fourth Am. Compl. at ¶ 111, In re Conn's, No.         Here, Plaintiffs corroborated the same CW allegations
       4:14-CV-548 (S.D. Tex. July 21, 2015), ECF No.             with references to Conn's internal documents. Nevertheless,
       104.                                                       Plaintiffs’ substantive arguments as to why the statements are
10                                                                false are similar as in the Class Action and warrant the same
       Part of the statement challenged in paragraph
       90 (“In February we made refinements to our                disposition. Compare ECF No. 57-1 at 7, 8, 13, 14, 28, 30
       decision process that resulted in declining higher-        with Mot. Hr'g Tr. at 89:11-92:12, 98:13-99:17, 102:14-19,
       risk accounts with credit scores above 525 and             In re Conn's, No. 4:14-CV-548 (S.D. Tex. Apr. 8, 2016),
       began underwriting applications with credit scores         ECF No. 117 and Mot. Hr'g Tr. at 40:4-41:1, 41:5-8, In re
       between 500 and 525.”) is nearly identical to              Conn's, No. 4:14-CV-548 (S.D. Tex. Apr. 8, 2016), ECF
       part of the statement challenged in paragraph              No. 118. Just because here there are more sources stating
       94, and should be upheld for the same reasons.             similar facts, that does not automatically transform those
       Compare ECF No. 3 at ¶ 90 with id. at ¶ 94.                same statements that were held to be non-actionable into
       Although Defendants argue they did not lower               actionable ones. See, e.g., In re BP, 2013 U.S. Dist. LEXIS
       Conn's standard minimum FICO score and scores              171459, at *76, 78-79, 82 (holding that alleged misstatements
       below 500 were accepted only in new stores                 which were struck in related Class Action remained non-
       temporarily, Plaintiffs alleged that Defendants did        actionable in subsequent suit where nothing in the complaint
       not disclose the full extent of how low FICO scores        “compel[led] a different conclusion”). Defendants’ motion as
       Conn's accepted in new stores. ECF No. 39 at 16;           to these statements should be granted. 12
       ECF No. 47 at 14; ECF No. 3 at ¶¶ 49, 53, 56, 58. To
       the extent Defendants argue that documents cited in        12     In paragraphs 102 and 125, Plaintiffs appear to
       the complaint disprove Plaintiffs’ allegations, the               challenge longer sections of the statements here
       Court cannot decide the ultimate falsity or truth                 than in the Class Action. Compare ECF No. 3 at
       of the statements on a motion to dismiss, only                    ¶¶ 102, 125 with Fourth Am. Compl. at ¶¶ 83,
       whether Plaintiffs pleaded specific facts that, if                113, In re Conn's, No. 4:14-CV-548 (S.D. Tex. July
       proved, could form the basis of a securities fraud                21, 2015), ECF No. 104. Nevertheless, the rest of
       claim. Rubinstein v. Collins, 20 F.3d 160, 173 (5th               the statements seem to go along with the ones the
       Cir. 1994).                                                       District Judge already struck in the Class Action so
                                                                         should be struck as well.

        2. Statements struck in the Class Action.
                                                                        3. Plaintiffs challenge statements concerning
 *6 Plaintiffs challenge several statements that were struck
                                                                           Conn's credit underwriting standards.
in the Class Action. See ECF No. 3 at ¶¶ 95, 96, 97, 102,
103, 122, 11 and 124-25; Order, In re Conn's, Inc., No. 4:14-     Plaintiffs challenge the following statements concerning
CV-548 (S.D. Tex. May 5, 2016), ECF No. 125; Mot. Hr'g            Conn's loosening of credit underwriting standards and its



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impact on delinquencies. The Court will discuss them              requirements for such customers in new stores. For example,
seriatim.                                                         Plaintiffs’ own allegations indicate that Conn's apparently still
                                                                  required at least one reference and a down payment and did
  • “And I would just emphasize again that that wasn't in         not require verification of phone numbers if the address was
     place after February 1; and the information that we          verified by Accurint or the customer's bureau in new stores.
     provided from February onward, it's not a factor at all.”    Id. at ¶¶ 62, 132(e); Pls.’ Ex. 4 at 21, ECF No. 47-3. These
     ECF No. 3 at ¶ 93 (Wright, Fourth Quarter FY 2013            new customers were not automatically approved through the
     Earnings Call on Apr. 3, 2013).                              auto approval algorithm. ECF No. 3 at ¶ 53. Furthermore,
                                                                  the District Judge already struck similar statements in the
The Plaintiffs challenge the statement in paragraph 93            Class Action referring to “raising” or “tightening” or using
because the lower underwriting standards continued beyond         “stricter” underwriting standards in part because they were
February 1, 2013. ECF No. 57-1 at 4-5. Plaintiffs point to
                                                                  too vague and non-specific to be actionable. 13
CW-4's allegations that “every customer was approved for
credit during the initial four to five months that a new Conn's     • “[W]e implemented changes in our underwriting process
store was opened....” ECF No. 3 at ¶ 42(m). Plaintiffs allege          during the quarter. These changes were based on analysis
that the lower underwriting standards began in the Christmas           performed over the past year to identify credit attributes
sales season, around November or December 2012, so four                that would allow us to enhance our decision model to
to five months later would be between February and May                 better identify quality credit customers.” Id. at ¶ 100
2013. Id. at ¶¶ 42(j), 56, 134(a); ECF No. 47 at 11, 13. The           (Poppe, First Quarter FY 2014 Earnings Call on June 6,
District Judge found another similar statement actionable in           2013).
the Class Action that Wright made during the same call that
lower underwriting standards applied only “for a brief period     13
                                                                          See Mot. Hr'g Tr. at 94:9-14, 102:20-111:13, In re
of time,” when in fact plaintiffs alleged these lasted for four
                                                                          Conn's, No. 4:14-CV-548 (S.D. Tex. Apr. 8, 2016),
to five months after new stores opened, crediting the CW
                                                                          ECF No. 117.
allegations. See Mot. Hr'g Tr. at 73:1-80:19, In re Conn's, No.
4:14-CV-548 (S.D. Tex. Apr. 8, 2016), ECF No. 117. This           Plaintiffs argue the statement in paragraph 100 is false
statement should be upheld as actionable for the same reasons.    because rather than “enhance” Conn's credit portfolio,
                                                                  Defendants weakened it by lowering underwriting standards
   *7 • “For certain credit applicants that may have              and knew that lower underwriting criteria increased risk and
    past credit problems or lack ... credit history, we           delinquencies. ECF No. 57-1 at 12. However, the District
    use ... stricter underwriting criteria. The additional        Judge already struck a similar statement in the Class Action
    requirements include verification of employment and           because the mere fact that Defendants lowered underwriting
    recent work history, reference checks and minimum             standards does not necessarily mean that they were not
    down payment levels.” Id. at ¶ 99 (Conn's, 2013 Form
                                                                  trying to enhance their credit operations. 14 Likewise here,
    10-K filed on Apr. 5, 2013).
                                                                  the lowering of underwriting standards is not necessarily
                                                                  inconsistent with having performed an analysis over the past
Plaintiffs allege the statement in paragraph 99 is false and
                                                                  year to identify attributes of quality credit customers.
misleading because Conn's did not use stricter underwriting
criteria, and instead lowered underwriting standards and
verification requirements, including for riskier customers.
ECF No. 57-1 at 10. Plaintiffs failed to adequately plead                      • When asked about credit metrics and
that this statement is false. While underwriting standards                       30-day delinquencies in new stores,
may have been lowered across the board for all applicants                        Wright responded it “[i]s still very
and more so for new customers in new stores, that does not                       early.” Id. at ¶ 101 (Wright, First
necessarily mean there were no verification requirements.                        Quarter FY 2014 Earnings Call on
While Plaintiffs allege there were “virtually” no checks on                      June 6, 2013).
riskier new customers in new stores and that verification
requirements were significantly reduced, ECF No. 3 at ¶¶
42(l), 49, 53-55, 62, 64, 132(e)-(f), (i), the allegations do
not quite go so far as to allege there were no additional


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14                                                                     correct the problems that were actually causing the increase
       See Mot. Hr'g Tr. at 92:13-23, In re Conn's, No.
                                                                       in delinquencies—credit underwriting—which would have a
       4:14-CV-548 (S.D. Tex. Apr. 8, 2016), ECF No.
                                                                       longer-term impact on delinquencies than a one-time systems
       117 (striking statement in paragraph 74 in the Class
                                                                       issue. Id. at 23 (citing ECF No. 3 at ¶¶ 4, 10, 12, 42, 61, 66-70,
       Action Fourth Amended Complaint that “[w]e are
                                                                       74, 76-77, 87, 134, 159-61).
       also focusing on improving the profit contribution
       of our credit operation by raising our underwriting
                                                                       Defendants contend that Plaintiffs failed to plead with
       standards.”).
                                                                       particularity facts that show these statements are false. ECF
 *8 Plaintiffs contend the statement in paragraph 101 is false         No. 55-1 at 34, 37, 39-40, 42, 52. Defendants contend that
because it was not too early to determine the negative impact          Plaintiffs failed to show that software issues had no impact
of the loosened underwriting standards, and Defendants                 on delinquency, and that some of the documents Plaintiffs
already knew from trend data that looser underwriting                  rely on in the complaint show that Defendants were trying to
standards were causing increased delinquencies. ECF No.                investigate the cause of rising delinquencies and there was in
57-1 at 12-13. Defendants contend Plaintiffs fail to plead             fact a systems issue that at least to some extent contributed to
with particularity how this statement is false or misleading,          collections issues because many customers’ phone numbers
particularly because Conn's acknowledged in the same call              were lost. Id.
that it continued to open new stores on a rolling basis. ECF
No. 55-1 at 20. The Court agrees with Defendants and also              These statements should be upheld as actionable. Even if
holds that the statement is too vague without more context to          these statements are true in part to the extent that the
be actionable. 15 Defendants’ motion should be denied as to            software issues had some impact on rising delinquencies,
the statement in paragraph 93 and granted as to the statements         Plaintiffs alleged facts that the lower underwriting standards
in paragraphs 99-101 in the complaint.                                 were the primary or at least a significant cause of rising
                                                                       delinquencies. 16 ECF No. 3 at ¶¶ 8, 10, 42(d), (k), 66,
15                                                                     68, 69(d). Plaintiffs also pleaded facts that this was evident
       Neither party attached the June 6, 2013 earnings
       call transcript. See, e.g., In re Aetna, Inc. Sec. Litig.,      before the misstatements were made. Id. at ¶¶ 10, 42(i),
       617 F.3d 272, 285 (3d Cir. 2010) (on a motion to                (r), 68, 69(d), 70, 72. In addition, the cause of the rise
       dismiss securities fraud action, the parties’ failure           in delinquencies is plausibly material because an investor
       to attach analyst call transcripts “precludes our full          would have considered that this altered the basic mix of
       consideration of the context in which the statements            information, including whether the problem was reasonably
       were made”).                                                    resolved and would have a shorter or longer-term impact
                                                                       on Conn's financial performance. Thus, the statements could
                                                                       have misled investors to the extent that Conn's failed to
    4. Plaintiffs challenge statements concerning the                  disclose the full picture and the primary cause of rising
 causes of financial problems in Conn's credit segment.                delinquencies that was not in fact remedied. See, e.g., Wieland
                                                                       v. Stone Energy Corp., No. 05-2088, 2007 WL 2903178, at
Plaintiffs challenge statements Wright and Poppe made
                                                                       *11 (W.D. La. Aug. 17, 2007) (denying motion to dismiss
during Conn's Second Quarter FY 2014 Earnings Call on
                                                                       because even though “the market knew of the general
September 5, 2013, and Wright made during Conn's Third
                                                                       problems regarding the company's proved reserve estimates,
Quarter FY 2014 Earnings Call on December 5, 2013, for
                                                                       there are factual issues concerning whether the full extent
falsely attributing the deterioration of Conn's credit portfolio
                                                                       and effect of those problems was known at that time.”).
to problems other than its underwriting policies (such as
                                                                       Furthermore, the District Judge upheld similar statements as
to collections issues and flawed implementation of the new
                                                                       actionable in the Class Action, so these should be upheld for
electronic Latitude system) and for falsely claiming Conn's
                                                                       the same reasons. 17 Defendants’ motion should be denied as
corrected those short-term issues (i.e. the systems issues).
                                                                       to statements in paragraphs 111, 113, 114, 116, 126-27 in the
ECF No. 3 at ¶¶ 111, 113, 114, 116, 126-27. Plaintiffs
                                                                       complaint.
contend these statements falsely concealed the true cause of
the rising delinquencies—the lower underwriting standards.
                                                                       16
ECF No. 57-1 at 20-22 (citing ECF No. 3 at ¶¶ 42(d),                           Defendants also contend the statement in paragraph
61-79, 134, 136-37, 193). Plaintiffs allege Defendants did not                 113 is not actionable because it is forward-looking.



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         ECF No. 55-1 at 37-38. While part of the statement
         (“And so we expect we'll get a similar result.”) is          (C) a statement of future economic performance, including
         forward-looking, it should be actionable because               any such statement contained in a discussion and
         the statements immediately before and after it                 analysis of financial condition by the management or in
         are actionable. See supra, section III.B.1. To the             the results of operations included pursuant to the rules
         extent Plaintiffs pleaded that those statements are            and regulations of the Commission;
         misleading, the future expectations based thereon
                                                                      (D) any statement of the assumptions underlying or relating
         are likewise misleading. This statement also
                                                                        to any statement described in subparagraph (A), (B), or
         lacks meaningful cautionary language. The only
                                                                        (C); [or]
         cautionary language was given at the beginning of
         the call, but this constitutes boilerplate language          (E) any report issued by an outside reviewer retained by an
         that is not meaningful. See infra n.20, Defs.’ Ex. 21          issuer, to the extent that the report assesses a forward-
         at 2, 13, ECF No. 39-16; Carlton, 184 F. Supp. 3d              looking statement made by the issuer[.]
         at 454.
                                                                    Id. (quoting 15 U.S.C. § 78u-5(i)(1)(A)). A defendant “shall
17
         See Order, In re Conn's, Inc., Sec. Litig., No. 4:14-      not be liable with respect to any forward-looking statement,
         CV-548 (S.D. Tex. May 5, 2016), ECF No. 125;               whether written or oral, if”:
         Mot. Hr'g Tr. at 111:14-123:6, In re Conn's, No.
         4:14-CV-548 (S.D. Tex. Apr. 8, 2016), ECF No.                (A) the forward-looking statement is—
         117 (upholding statements in paragraph 96 in the
                                                                         (i) identified as a forward-looking statement, and is
         Class Action Fourth Amended Complaint); Mot.
                                                                            accompanied by meaningful cautionary statements
         Hr'g Tr. at 3:25-29:20, 31:12-34:16, 40:4-41:1,
                                                                            identifying important factors that could cause actual
         In re Conn's, No. 4:14-CV-548 (S.D. Tex. Apr.
                                                                            results to differ materially from those in the forward-
         8, 2016), ECF No. 118 (upholding statements in
                                                                            looking statement; or
         paragraphs 97, 99, and 111 in the Class Action
         Fourth Amended Complaint).                                      (ii) immaterial; or

                                                                      (B) the plaintiff fails to prove that the forward-looking
 5. Defendants contend certain statements challenged                    statement—
 by Plaintiffs are protected by the PSLR's safe harbor.
                                                                         (i) if made by a natural person, was made with actual
                                                                            knowledge by that person that the statement was false
     a. Applicable legal standard for PSLRA's safe harbor.
                                                                            or misleading[.]
 *9 “With regard to misstatements, the PSLRA establishes
                                                                    Carlton, 184 F. Supp. 3d at 452-53 (quoting 15 U.S.C.
a ‘safe harbor’ protecting a forward-looking statement from
                                                                    § 78u-5(c)(1)). Under Fifth Circuit precedent, the safe
liability where such a statement is made by a natural person,
                                                                    harbor provision has independent prongs. Id. at 453 (citation
unless plaintiffs prove that it was made with actual knowledge
                                                                    omitted).
that the statement was false and misleading.” In re BP, 843
F. Supp. 2d at 747 (citing 15 U.S.C. § 78u-5(c)(1)(A)). A
statement is forward-looking if it is:
                                                                                Vague, optimistic statements are
  (A) a statement containing a projection of revenues, income                   not actionable. Allegations that
    (including income loss), earnings (including earnings                       amount to little more than corporate
    loss) per share, capital expenditures, dividends, capital                   “cheerleading” are puffery, projections
    structure, or other financial items;                                        of future performance not worded as
                                                                                guarantees, and are not actionable
  (B) a statement of the plans and objectives of management                     under federal securities law because
    for future operations, including plans or objectives                        no reasonable investor would consider
    relating to the products or services of the issuer;                         such statements material and because
                                                                                investors and analysts are too


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            sophisticated to rely on vague                           BP, 843 F. Supp. 2d at 774-75 (dismissing statements as
            expressions of optimism rather than                      too vague to be actionable). Plaintiffs point to no contrary
            specific facts.                                          information or report about what Conn's specific expectations
                                                                     were. Plaintiffs also argue that, to the extent Defendants’
                                                                     statements concern then-present and historical conditions,
In re BP, 843 F. Supp. 2d at 748 (citation omitted).                 they are not protected by the safe harbor. ECF No. 47 at 20-21.
                                                                     The Court agrees that this statement is not forward-looking;
                                                                     however, Plaintiffs must still plead why the statement is false
                                                                     and failed to do so.
                          b. Analysis.
                                                                     Defendants contend the following statements are opinions or
Defendants contend the following statements are forward-
                                                                     mere puffery:
looking:
                                                                       • “[T]he standard credit score is not a reliable predictor of
  • “[T]he amount of the loss for an individual loan, yes,
                                                                          credit performance at lower scores given our installment
     would increase with larger balances. But that doesn't
                                                                          lending structure to purchase home necessities.” ECF
     necessarily mean that the rate would increase. ... And we
     don't think the loss rate for portfolio should be materially         No. 3 at ¶ 90 (Poppe, Fourth Quarter FY 2013 Earnings
                                                                          Call on Apr. 3, 2013).
     different with a slightly larger average balance size. ...
     But we don't believe that the modest increase in average          • “It is important to note that standard credit scores are
     loan size is going to significantly affect the portfolio loss        not reliable predictors of customer performance at lower
     rates.” ECF No. 3 at ¶ 109 (Wright, Second Quarter FY
                                                                          scores.” Id. at ¶ 100 (Poppe, First Quarter FY 2014
     2014 Earnings Call on Sept. 5, 2013).
                                                                          Earnings Call on June 6, 2013).
   *10 • “Results so far indicate that performance of current-
                                                                       • Wright told Plaintiffs that Conn's problems related to
    year originations is within expectations.” Id. at ¶ 110
                                                                         “semi-retarded investors.” Id. at ¶ 119 (Wright, Sept. 20,
    (Poppe, Second Quarter FY 2014 Earnings Call on Sept.
                                                                         2013 e-mail to Plaintiffs’ Representative).
    5, 2013).
                                                                       • Wright denied an investor's comments that Conn's was
Plaintiffs contend the safe harbor does not apply because                growing at a reckless speed. Id. at ¶ 121 (Wright, Dec.
even forward-looking statements are actionable if made with              3, 2013 e-mail to Plaintiffs’ Representative).
knowledge of their falsity. ECF No. 3 at ¶¶ 227, 229.
Regarding the statement in paragraph 109, Plaintiffs contend           • “Many years of experience underwriting a single
it is false because Wright “created the false impression that            type of credit for our core customer limited variation
increase in the average customer balance was not materially              in underwriting practices over time, and experience
impacting Conn's credit portfolio losses....” ECF No. 57-1               collecting this specific type of credit, allows us to deliver
at 18. However, Wright compared different types of metrics               consistent performance.” Id. at ¶ 123 (Poppe, Third
and Plaintiffs do not appear to challenge the accuracy of the            Quarter FY 2014 Earnings Call on Dec. 5, 2013).
underlying numbers. Plaintiffs have not sufficiently pleaded
that this statement was false when made or that Wright knew          The Court agrees that these statements are opinions and
this to be false.                                                    therefore not actionable. The statement in paragraph 123,
                                                                     additionally, is optimistic puffery. “[I]t is well established that
Regarding the statement in paragraph 110, Plaintiffs contend         generalized positive statements about a company's progress
it is misleading because “Defendants did not disclose that           are not a basis for liability.” Carlton, 184 F. Supp. 3d at
Conn's had increased originations by lowering acceptable             493 (quoting Nathenson v. Zonagen, Inc., 267 F.3d 400, 419
FICO scores and reducing other underwriting criteria....” and        (5th Cir. 2001)) (statements that “we are seeing significant
“Defendants knew (but did not disclose) that performance             operational progress ... and we believe that we are turning the
of current loan originations had been and was expected to            corner toward steady-state operations” are vague assertions of
be poor....” Id. at 19-20. However, what might fall “within          corporate optimism); see also In re BP, 843 F. Supp. 2d at 775
expectations” is too vague to be actionable. See, e.g., In re        (“ ‘[G]eneralized positive statements about the company's
                                                                     competitive strengths, experienced management, and future


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prospects’ are immaterial.”) (citation omitted). Regarding         delinquencies, and therefore the financial reports must have
the statements in paragraphs 90 and 100, the District Judge        been inaccurate. Id. at ¶¶ 8, 10, 42, 50, 53, 54, 58, 62-69, 77,
struck a similar statement in the Class Action. 18 Defendants’     85, 86, 157-63.
motion should be granted as to the statements in paragraphs
90, 100, 109, 110, 119, 121, and 123 in the complaint.             Defendants contend the financial statements and SOX
                                                                   certifications are not actionable because: (1) Plaintiffs failed
18                                                                 to plead with particularity any facts showing the statements
        See Mot. Hr'g Tr. at 56:11-57:6, 91:9-92:12, In re
                                                                   are false, (2) Plaintiffs failed to plead particularized facts
        Conn's, No. 4:14-CV-548 (S.D. Tex. Apr. 8, 2016),
                                                                   showing how Conn's miscalculated debt reserves or otherwise
        ECF No. 117 (striking paragraph 69 in the Class
                                                                   violated GAAP, (3) Conn's to date has not been required
        Action Fourth Amended Complaint).
                                                                   to restate its financials, (4) none of the CW allegations or
                                                                   internal documents cited in the complaint discuss Conn's
                                                                   financial statements or suggest bad debt reserves were
     6. Plaintiffs challenge Conn's financial statements.
                                                                   understated, and (5) Plaintiffs failed to plead scienter. 20 ECF
 *11 Plaintiffs allege that Conn's Fourth Quarter FY 2013,         No. 55-1 at 13, 16-18, 24-26, 43-46, 53-55.
FY 2013, First Quarter FY 2014, Second Quarter FY 2014,
and Third Quarter FY 2014 financial reports in Conn's press        20      Defendants also contend that some of these are
releases, annual 10-K form, and quarterly 10-Q forms dated
                                                                           forward-looking and protected under the PSLRA's
April 3, 2013, April 5, 2013, June 6, 2013, September 5, 2013,
                                                                           safe harbor. ECF No. 39 at 21 n.9. However,
and December 6, 2013 are false. ECF No. 3 at ¶¶ 143-52.
                                                                           Plaintiffs cite several cases indicating that financial
Plaintiffs further allege that Wright's and Taylor's Sarbanes-
                                                                           statements such as 10-K and 10-Q forms filed with
Oxley (“SOX”) certifications were false when made on the
                                                                           the SEC are not subject to the safe harbor. ECF
above-referenced annual 10-K and quarterly 10-Q forms filed
                                                                           No. 47 at 20 n.18 (citing Slayton v. Am. Express
with the SEC. 19 Id. at ¶ 174.                                             Co., 604 F.3d 758, 767-68 (2d Cir. 2010); In re
                                                                           Connetics Corp. Sec. Litig., 542 F. Supp. 2d 996,
19                                                                         1007 (N.D. Cal. 2008); Baker v. MBNA Corp., No.
        “Under the Sarbanes-Oxley Act, senior executives
        of public companies must certify the accuracy                      05-272, 2007 WL 2009673, at *5 (D. Del. July 6,
        of quarterly and annual financial reports.” In re                  2007); In re Veeco Instruments, Inc., Sec. Litig.,
        ArthroCare Corp. Sec. Litig., 726 F. Supp. 2d 696,                 235 F.R.D. 220, 236 (S.D.N.Y. 2006); In re Midway
        724 (W.D. Tex. 2010) (citing 15 U.S.C. § 7241(a)).                 Games, Inc. Sec. Litig., 332 F. Supp. 2d 1152, 1171
                                                                           (N.D. Ill. 2004)).
Plaintiffs allege that Conn's understated and failed to properly
account for doubtful accounts and provision for bad debt,          While Plaintiffs are permitted to rely on circumstantial
which caused Conn's assets (or accounts receivable (“A/R”))        allegations as they do here, these allegations fall short of
and earnings per share (“EPS”) to be overstated. Id. at ¶ 141.     pleading that the financial statements are actionable. Plaintiffs
Plaintiffs allege the failure to properly establish a reserve      primarily draw their allegations from a letter the SEC sent
for uncollectible accounts violated Generally Accepted             to Defendants, requesting more information about why the
Accounting Principles (“GAAP”) and SEC accounting rules,           percentage of bad debt allowance to account balances 60+
which require Defendants to provide “reserves” for all             days past due decreased when the account balance of 60+ days
receivables where uncollectability is “probable” and can be        past due was increasing. ECF No. 3 at ¶¶ 163-65. However,
estimated. Id. at ¶¶ 141, 153, 157, 168. Plaintiffs allege         from the face of the complaint, the Court cannot infer that this
that Defendants failed to follow GAAP accounting practices         metric is necessarily false or materially so, nor whether this is
because even though delinquencies and the 60+ days past            even the most pertinent metric. While Plaintiffs need not go
due balances were rising, Conn's allowance for doubtful            so far to allege a specific amount for how much the allowance
accounts as a percentage of its receivables 60+ days past          for doubtful accounts or bad debt provision should have
due was decreasing. Id. at ¶¶ 157(d), 159-67. Plaintiffs           been increased, Plaintiffs have not alleged even an estimate
make numerous circumstantial allegations that Defendants           of how far off these numbers were to indicate whether the
extended credit to riskier customers, delinquencies were           understatement was material. 21 Furthermore, the fact that the
rising, lower underwriting standards caused the rise in            SEC requested more information or initiated an investigation



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does not necessarily mean that the financial reports were              to new customers caused the Relevant Period's increase
                                        22
fraudulently false or even false at all. Although the SEC              in delinquencies, and (3) provision for loan losses were
filed a complaint against Conn's and Poppe and they entered            adjusted to account for increases in delinquencies. Id. at
consent judgments, the Defendants expressed they were not              ¶¶ 170, 189-91.
admitting any of the allegations in the complaint. ECF Nos.
                                                                    • After the Relevant Period, Conn's established a Credit
62-1, 62-3 at 2, 62-4 at 2. 23                                        Risk and Compliance Committee and initiated a search
                                                                      for a Chief Risk Officer to deal with credit issues. Id. at
21                                                                    ¶¶ 172, 179.
        See, e.g., Ind. Elec. Workers’ Pension Trust Fund
        IBEW v. Shaw Grp., Inc., 537 F.3d 527, 536 (5th
                                                                    • In March 2014, Conn's staff sent an e-mail to Poppe
        Cir. 2008) (reversing denial of motion to dismiss
                                                                       stating that Conn's credit manual was outdated and had
        where plaintiffs “make no attempt to estimate by
                                                                       not been updated in over a year. ECF No. 3 at ¶ 177;
        how much the earnings were inflated”).
                                                                       Pls.’ Ex. 18 at 37-38, ECF No. 47-4. Plaintiffs claim this
22                                                                     shows Conn's lacked internal controls. ECF No. 3 at ¶
        In their opposition brief, Plaintiffs allege that in
        Conn's FY 2013 10-K form, Conn's conceded that,                177.
        pending the outcome of the SEC investigation,
                                                                  However, none of these later statements suggest that the
        there may be “a potential restatement of our
                                                                  financial statements made during the Relevant Period were
        financial statements.” ECF No. 47 at 24 n.25; Pls.’
                                                                  false or misleading. This amounts to pleading “fraud by
        Ex. 19 at 24, ECF No. 44-2. However, this was
        not in the complaint and this potential may never         hindsight” which is not an actionable claim. 24 In re Alamosa
        materialize. Even so, the fact of a restatement does      Holdings, Inc., 382 F. Supp. 2d 832, 866 (N.D. Tex. 2005);
        not mean the original form was fraudulent.                see also Abrams v. Baker Hughes Inc., 292 F.3d 424, 431-33
                                                                  (5th Cir. 2002) (where “plaintiffs have not pointed to any
23      Plaintiffs filed a request for the Court to take          particular reports or information ... that are contrary to the
        judicial notice of the SEC's complaint against            restatements[,]” allegations that senior executive defendants
        Conn's and Poppe and the consent judgments                received “unidentified daily, weekly, and monthly financial
        entered in that case. ECF No. 62. The Court               reports that apprised them of the company's true financial
        reviewed those documents and takes judicial notice        status” were insufficient to show scienter and that financial
        of the information contained in them. The Court           statements were false); Stockman v. Flotek Indus., Inc., No.
        granted Plaintiff's motion. Order, ECF No. 64.            H-09-2526, 2010 WL 3785586, at *15 (S.D. Tex. Sept.
        However, the SEC's complaint specifies that it is         29, 2010) (earnings guidance was not actionable where
        pleading a claim based on negligence and that the         plaintiffs failed to point to any specific internal projections
        SEC need not prove scienter. ECF No. 62-1 at 6, 11.       that contradict it).
        Thus, there is nothing that shows the Defendants
        were actually aware of the falsity of the financial       24     “The Fifth Circuit defines ‘fraud by hindsight’ as
        reports at the time.
                                                                         a ‘case where a plaintiff alleges that the fact that
 *12 In addition to the SEC investigation, Plaintiffs rely on            something turned out badly must mean defendant
the following post-Relevant Period allegations to show the               knew earlier that it would turn out badly’ or ‘a
financial reports were false when made:                                  case where there is no contemporaneous evidence
                                                                         at all that defendants knew earlier what they
  • In Conn's financial reports for FY 2015, Conn's
                                                                         chose not to disclose until later.’ ” Town of Davie
    significantly increased its allowance for doubtful
                                                                         Police Pension Plan v. Pier 1 Imports, Inc., 325
    accounts and bad debt provision. ECF No. 3 at ¶¶ 169,
                                                                         F. Supp. 3d 728, 741 (N.D. Tex. 2018) (quoting
    187.
                                                                         Lormand, 565 F.3d at 248-49); see also Anderson v.
  • In FY 2015 conference calls, Wright stated that over the             Spirit Aerosystems Holdings, Inc., 827 F.3d 1229,
     prior year, (1) Conn's tightened underwriting standards             1249 (10th Cir. 2016) (announcement of forward
     and discontinued certain marketing messages to new                  loss made more than two months after alleged
     customers, (2) growth in the portfolio and originations             misstatement did not contribute to inference of



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       scienter because it did not allege that defendant           to record losses for uncollectible receivables); In re Alamosa,
       was aware the alleged misstatement was false when           382 F. Supp. 2d at 852-55 (granting motion to dismiss
       made two months earlier, and at most “suggest[s]            allegations that defendants did not make sufficient allowances
       an honest mistake in predicting [defendant's] future        for uncollectible accounts). 27
       production and costs”); Southland Sec. v. INSpire
       Ins. Sols., 365 F.3d 353, 383 (5th Cir. 2004)               26     Plaintiff cited the following cases, which are
       (because fraud cannot be proved by hindsight,
                                                                          distinguishable. See Barrie, 397 F.3d at 257,
       subsequent decline, lawsuits, or resignations are
                                                                          264 (denying motion to dismiss in part where
       not persuasive of scienter because they “do not
                                                                          allegations of accounting fraud and GAAP
       show what any particular individual knew, or was
                                                                          violations were supported by sworn expert analysis
       severely reckless in not knowing, at the time” of the
                                                                          and CW allegations by witness who was directed
       alleged misstatements).
                                                                          by defendant to investigate accounting practices
 *13 Plaintiffs cite In re Triton for the proposition that “[t]o          and submitted an accounting to defendants
withstand a motion to dismiss, it is enough that plaintiffs               which defendants ignored); Parmelee v. Santander
alleged a violation of accounting standards and stated such               Consumer USA Holdings, Inc., No. 3:16-CV-782,
violation resulted in material misstatement.” ECF No. 47 at               2018 WL 276338, at *4-6 (N.D. Tex. Jan. 3,
22 n.22 (quoting In re Triton Energy Ltd. Sec. Litig., No.                2018) (denying motion to dismiss where company's
5:98-CV-256, 2001 U.S. Dist. LEXIS 5920, at *23 (E.D. Tex.                financial restatements gave rise to strong inference
Mar. 30, 2011)). However, Plaintiffs must still satisfy the               of scienter); In re ArthroCare, 726 F. Supp. 2d
heightened pleading standards under the PSLRA and cannot                  at 721-22 (same); In re Netbank, Inc., Sec. Litig.,
withstand a motion to dismiss with conclusory allegations. 25             No. 1:07-CV-2298, 2009 WL 2432359, at *7 (N.D.
                                                                          Ga. Jan. 29, 2009) (denying motion to dismiss
25                                                                        where defendants’ own internal analysis showed it
       In addition, some of the challenged statements are
       press releases with no individual speaker identified,              needed to increase loan loss reserves). Plaintiff also
       other than the corporation. ECF No. 3 at ¶¶ 143,                   cited a case that was decided before the PSLRA
       146, 148, 149, 151; see, e.g., Barrie v. Intervoice-               was passed to heighten pleading standards for
       Brite, Inc., 397 F.3d 249, 261 (5th Cir. 2005)                     securities fraud and is outdated. See In re Wells
       (affirming grant of motion to dismiss section 10(b)                Fargo Sec. Litig., 12 F.3d 922, 926 (9th Cir. 1993)
       claim as to press releases for which plaintiffs failed             (denying motion to dismiss where plaintiffs alleged
       to identify a speaker), opinion modified on denial                 defendants understated loan loss reserves by at
       of reh'g, 409 F.3d 653 (5th Cir. 2005) (same).                     least $350 million), superseded by statute as stated
       The Court construes the 10-K and 10-Q forms                        in Howard v. Everex Sys., Inc., 228 F.3d 1057,
       as being attributed to Wright and Taylor because                   1063-64 (9th Cir. 2000).
       they signed the forms. See, e.g., In re BP, 843             27
                                                                          See also, e.g., Shaw Grp., 537 F.3d at
       F. Supp. 2d at 749 (“[C]orporate statements can
                                                                          535-36 (reversing denial of motion to dismiss
       be connected to a particular officer if plaintiffs
                                                                          where complaint lacked facts common in “most
       allege the officer signed the document in which
                                                                          securities fraud cases, which are precipitated
       the statement appears....”) (citing Fin. Acquisition
                                                                          when the company announces such revelations
       Partners LP v. Blackwell, 440 F.3d 278, 287 (5th                   as a restatement in earnings due to accounting
       Cir. 2006)).                                                       mistakes.... [and] there was no mea culpa from the
Plaintiffs cite other cases in which courts denied motions to             company in the form of acknowledge wrongdoing
dismiss involving allegations of accounting fraud—including               or restated financial reports, ... nor any publicly
allegations that loan loss reserves were understated—but                  expressed reservations by the auditors....”).
these are distinguishable because those plaintiffs alleged
facts with greater particularity. 26 Thus, Defendants’ motion        C. Scienter.
should be granted as to the statements in paragraphs 143-52
in the complaint. See Southland, 365 F.3d at 383 (granting                                  1. Wright.
motion to dismiss allegations of inflated revenues and failure


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 *14 The Court recommended that 12 statements Wright                    its auto approval algorithm to automatically approve
made remain as actionable. See supra, section III.B. The                customers it previously would not have approved.
Court must still determine whether Plaintiffs adequately                Id. at ¶ 56. Plaintiffs also allege that, according to
pleaded scienter for those statements and holds that they               internal documents, algorithm modifications needed to
have. The Court relies on the District Judge's ruling on                be approved by the CEO (Wright) and COO (Poppe). Id.;
defendants’ motion to dismiss in the Class Action. See Order,           Pls.’ Ex. 2 at 11, ECF No. 47-3.
In re Conn's, No. 4:14-CV-548 (S.D. Tex. May 5, 2016),
ECF No. 125. Although the District Judge did not explicitly          • CW-4, a former Conn's District Manager, allegedly
explain his holding regarding scienter allegations, by partially       attended quarterly meetings with Wright at which the
denying the defendants’ motion to dismiss, the District Judge          amount of credit approved and utilized during store
implicitly found the Fourth Amended Complaint adequately               openings was discussed. ECF No. 3 at ¶ 71.
pleaded scienter as to Wright, at least for the statements
                                                                     • CW-5, the former Conn's Vice President of Credit,
that were found actionable, many of which are challenged
                                                                       alleged Conn's was a relatively “flat” organization,
here or are similar. Id. In the Class Action, the plaintiffs’
                                                                       so management was frequently involved in day-to-
scienter allegations for the Individual Defendants consisted of
                                                                       day issues like collections. Id. CW-5 allegedly met
CW allegations, post-Relevant Period statements, allegations
                                                                       with Conn's executives daily to discuss the status of
of insider trading, and allegations regarding Defendants’
positions and motive. See Fourth Am. Compl., In re Conn's,              collections and delinquencies. Id. 29
No. 4:14-CV-548 (S.D. Tex. July 21, 2015), ECF No. 104.
Here, Plaintiffs rely on the same allegations in addition to       28     Defendants contend that all of Plaintiffs’ CW
Conn's internal documents, the SEC investigation, Wright's                allegations should be struck because Plaintiffs
departure from Conn's, and his SOX certifications. ECF No.                copied those allegations from the Class Action
3. While the Court must ultimately consider the scienter                  Fourth Amended Complaint and did not
allegations collectively, the Court addresses each separately             independently verify them. ECF No. 39 at 14-15.
first for ease of discussion.                                             Defendants allege this violated Plaintiffs’ counsel's
                                                                          Rule 11 duties. Id. Plaintiffs respond that the
                                                                          CW allegations should be upheld because the
                                                                          District Judge already upheld them in the Class
             a. Confidential witness allegations.
                                                                          Action, and they cite authorities indicating that
Plaintiffs rely on the following CW allegations to plead                  copying allegations from other complaints is
                                                                          not impermissible, particularly when, as here,
scienter as to Wright (and Poppe): 28
                                                                          they are supported by other materials personally
  • CW-1, a former Conn's Senior Manager of Collections                   investigated by the plaintiff. ECF No. 47 at 29-31.
    Strategy, allegedly sent daily reports to both Wright                 Other than one Supreme Court case discussing
    and Poppe containing detailed analytics and metrics,                  Rule 11 generally, the parties do not cite any
    including first payment defaults (“FPDs”) and                         applicable authority from the Fifth Circuit or its
    delinquencies. Id. at ¶¶ 42(b), 70.                                   district courts. Nevertheless, Defendants’ concerns
                                                                          are mitigated because (1) the District Judge
  • CW-2, a former Conn's Credit Manager, alleged that                    already upheld the same CW allegations in the
    Wright and Poppe were aware that relaxed underwriting                 Class Action, (2) the MicroCapital Plaintiffs were
    standards adversely impacted the business because they                previously plaintiffs in the Class Action and the
    were hands-on in the credit department, came into the                 CW allegations were already alleged on their
    credit department three to four times per week, and had               behalf there before they opted out and filed their
    face-to-face meetings with credit managers. Id. at ¶¶                 own lawsuit, and (3) Plaintiffs certified that their
    42(i), 71. CW-2 allegedly reported these credit issues                complaint is based on various sources including
    directly to executives including Wright and Poppe. Id. at             internal Conn's documents and depositions of
    ¶ 42(i).                                                              Conn's current and/or former employees. ECF
                                                                          No. 3 at ¶ 1. Indeed, the complaint references
  • CW-3, a former Conn's credit underwriter, alleged Conn's
                                                                          in great detail other sources which corroborate
     lowered underwriting standards including by modifying


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       the CW allegations. “Rule 11 seems to allow                       information supporting an inference of scienter,
       incorporation of allegations from other complaints                such as when a relevant comment was made to the
       if they are combined with material the plaintiff                  confidential source.” Carlton, 184 F. Supp. 3d at
       has investigated personally that lend credence to                 460 (citations omitted).
       the borrowed allegations.” Homeward Residential,           Standing alone, the CW allegations fall short of raising a
       Inc. v. Sand Canyon Corp., 298 F.R.D. 116,                 strong inference of scienter because some courts have found
       126 (S.D.N.Y. 2014); cf. Main State Ret. Sys. v.           similar CW allegations that defendants received unspecified
       Countrywide Fin. Corp., No. 2:10-CV-302, 2011              reports or attended frequent meetings through which they
       WL 4389689, at *20 (C.D. Cal. May 5, 2011)                 learned information contrary to their alleged misstatements
       (granting motion to strike allegations lifted from
                                                                  insufficient. 31 However, while Plaintiffs do not describe in
       other complaints where plaintiffs’ counsel did not
                                                                  detail the content of each daily report given to Wright or
       claim to have taken any measures to independently
                                                                  the matters discussed in each meeting he attended, when
       investigate the bases for those allegations); In re
                                                                  considered holistically with other allegations in the complaint
       Connetics, 542 F. Supp. 2d at 1005-06 (granting
                                                                  —and because the District Judge implicitly credited the
       motion to strike paragraphs copied from SEC
                                                                  CW allegations in the Class Action— there is enough
       complaint where plaintiffs “make no effort to
                                                                  context to infer that the reports and other information shared
       inform the Court what other sources of information
                                                                  with Wright showed delinquencies were rising because of
       besides the SEC complaint and press release they
                                                                  lower underwriting standards. Therefore, when considered
       relied on in formulating their specific claims
                                                                  holistically, the CW allegations contribute to a strong
       against defendants.”). The CW allegations should
       not be struck.                                             inference of scienter against Wright. 32

29     Plaintiffs also point to statements that Conn's Vice       31
                                                                         See, e.g., Neiman v. Bulmahn, 854 F.3d 741, 748
       President of Credit Strategy made about Conn's bad
                                                                         (5th Cir. 2017) (for allegations concerning internal
       lending practices and deteriorating credit portfolio.
                                                                         reports to support a strong inference of scienter,
       ECF No. 3 at ¶¶ 10, 51, 61, 69(b), 77, 82, 134(b);
                                                                         there must be “corroborating details regarding the
       Pls.’ Ex. 14 at 20, ECF No. 47-4. However, his
                                                                         contents of allegedly contrary reports, their authors
       statements do not necessarily show scienter or the
                                                                         and recipients” and that defendant actually read
       Individual Defendants’ knowledge.
                                                                         them) (citations omitted); Southland, 365 F.3d
*15 “Confidential source statements are a permissible basis              at 370 (“An unsupported general claim of the
on which to make an inference of scienter.” 30 Carlton,                  existence of company reports reflecting contrary
184 F. Supp. 3d at 460 (quoting Cent. Laborers’ Pension                  information is insufficient to survive a motion
Fund, 497 F.3d at 552). However, even when confidential                  to dismiss.”); In re ArthroCare, 726 F. Supp.
source statements are adequately pleaded, the Fifth Circuit              2d at 719 (CW allegations, alone, did not raise
requires district courts to give less weight to and “ ‘discount          a strong inference of scienter where “[t]here is
allegations from confidential sources’ because they ‘afford              hardly a single instance in which one of the CWs
no basis for drawing plausible competing inferences.’ ” Id.              alleges they had a conversation with or overhead
(quoting Shaw Grp., 537 F.3d at 535).                                    a comment by either [defendant] and also states
                                                                         when and where the conversation occurred. Many
30                                                                       of the CWs simply state their own conclusions
       Though a plaintiff does not have to state the
                                                                         about what occurred ... For instance, CW 10 states
       names of the CWs, there must be sufficient
                                                                         that [defendant] attended ‘weekly staff meetings
       particularized details “to support the probability
                                                                         every Tuesday or Wednesday that were attended
       that a person in the position occupied by the
                                                                         by all the top executives and lasted for about 90
       source as described would possess the information
                                                                         minutes,’ and solely on this basis concludes that
       pleaded to support the allegations of false or
                                                                         all the executives in the meetings ‘knew what was
       misleading statements” such as “(1) the person's
                                                                         going on’....”).
       job description, (2) individual responsibilities, (3)
       specific employment dates, and (4) where and
       when the confidential source came to know the


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32                                                                which allowed him to benefit from artificially inflated stock
       See, e.g., Marcus v. J.C. Penney Co., Inc., No. 6:13-
                                                                  prices. ECF No. 3 at ¶¶ 11, 212-13. Plaintiffs allege Wright
       CV-736, 2015 WL 5766870, at *6 (E.D. Tex. Sept.
                                                                  sold 15,000 shares each on June 20, 2013 and December
       29, 2015) (allegations that defendants were aware
                                                                  17, 2013 for the first time since 2007, gaining proceeds
       of facts undermining their statements because
                                                                  of $1,932,450. Id. at ¶ 213. Plaintiffs allege the timing
       inventory purchases were the subject of monthly
                                                                  is suspicious because in June, “Defendants were setting
       meetings and regular review by defendants, in
       combination with other allegations, contributed to         expectations regarding the quality of Conn's credit[.]” Id. at ¶
                                                                  213. As for the December trade, it was purportedly suspicious
       a strong inference of scienter); Brody v. Zix Corp.,
                                                                  because it was made (1) less than two weeks after Wright
       No. 3:04-CV-1931, 2006 WL 2739352, at *7,
                                                                  denied Conn's was reckless in its growth, (2) immediately
       2006 U.S. Dist. LEXIS 69302, at *20 (N.D. Tex.
                                                                  after he assured investors that Conn's credit problems were
       Sept. 26, 2006) (CW allegations that defendants
                                                                  due to systems issues, (3) on the heels of his false statements,
       regularly received tracking reports which would
                                                                  and (3) eight weeks before the stock would fall due to news
       have alerted them to the fact that their statements
       were materially misleading contributed to a strong         of greater delinquency rates. Id. at ¶ 213.
       inference of scienter); In re Fleming Co. Inc. Sec.
                                                                  “Insider trading alone cannot create a strong inference of
       & Deriv. Litig., No. CIVA503MD1530, 2004 WL
                                                                  scienter, but it may meaningfully enhance the strength of the
       5278716, at *28-34 (E.D. Tex. June 16, 2004) (CW
                                                                  inference of scienter.” Oppenheim Pramerica Asset Mgmt.
       allegations that defendants received weekly reports
       and attended weekly meetings concerning data               S.A.R.L. v. Encysive Pharm., Inc., No. H-06-3022, 2007 WL
       on financial performance contributed to a strong           2720074, at *5 (S.D. Tex. Sept. 18, 2007). “Because corporate
       inference of scienter).                                    executives are often paid in stock and stock options, they
                                                                  will naturally trade those securities in the normal course
                                                                  of events, and courts will not infer fraudulent intent from
            b. Post-Relevant Period statements.                   the mere fact that some officers sold stock.” Carlton, 184
                                                                  F. Supp. 3d at 480 (quoting Shaw Grp., 537 F.3d at 543)
 *16 Plaintiffs allege post-Relevant Period statements Wright     (internal quotation marks omitted). Insider trading allegations
made demonstrate his knowledge during the Relevant Period.        may enhance the inference of scienter when the trades
ECF No. 3 at ¶¶ 17, 52, 72, 54-55, 189, 194-95. For example,      occur in suspicious amounts, at suspicious times calculated
Plaintiffs allege that Wright admitted in a September 22,         to maximize personal profit, or are out of line with prior
2014 investor and analyst meeting that “when we opened the        trading practices. Id. (citations omitted). On the other hand,
first four stores we opened back in 2013, we did [reduce          when a defendant regularly sells stock, does not sell stock
credit quality] ... a little bit and it took us about three       immediately following an alleged material misstatement,
months to figure out that was a really bad idea.” Id. at ¶        or sells stock but the price continues to climb, these
72. Wright also testified he recalled that in late 2012, Conn's   circumstances do not strengthen the inference of scienter. Id.
reduced verification and down payment requirements for            at 481; In re TETRA Tech., Inc. Sec. Litig., No. 4:08-CV-965,
customers in new stores. Id. at ¶ 54-55. These contribute to      2009 WL 6325540, at *7 (S.D. Tex. July 9, 2009), clarified,
an inference of scienter that by about March or April 2013,       2009 WL 6326865 (S.D. Tex. Aug. 10, 2009) (Ellison, J.).
Wright knew that Conn's lowered underwriting standards and
delinquencies were rising because of lower underwriting.          As to timing, while Plaintiffs allege Wright sold stock during
See, e.g., Lormand, 565 F.3d at 254 (post-Relevant Period         the Relevant Period and generally after making false and
admissions regarding defendants’ own state of mind at the         misleading statements, Wright does not appear to have sold
time of their misrepresentations raise a strong inference of      stock immediately after the alleged misstatements to take
scienter).                                                        advantage of a spike in stock prices, nor have Plaintiffs
                                                                  alleged that Wright sold stock at a time when the stock price
                                                                  peaked. To the contrary, Defendants assert that Wright's sales
                     c. Insider trading.                          were made when Conn's stock was not at its highest price and
                                                                  well before the February 2014 alleged corrective disclosures.
Plaintiffs also allege Wright sold stock based on his inside      ECF No. 39 at 28; see, e.g., Ronconi v. Larkin, 253 F.3d 423,
information about the deterioration of the credit portfolio,      435 (9th Cir. 2001) (stock sales did not raise an inference



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of scienter because they were made when stock prices were                   v. Asar, No. 17-50162, 768 Fed.Appx. 175, 2019
below the alleged Class Period high); Stockman, 2010 WL                     WL 1567766, at *7 (5th Cir. 2019).
3785586, at *28 (same).                                             While allegations of motive and opportunity alone will
                                                                    not support a strong inference of scienter, they may
 *17 Furthermore, while the cash value of the stock proceeds        “meaningfully enhance the strength of the inference of
seems high and Plaintiffs contend Wright had not sold stock
                                                                    scienter.” In re BP, 843 F. Supp. 2d at 749 (citation omitted).
since 2007, Defendants contend that Wright's stock sales
                                                                    However, “[i]ncentive compensation can hardly be the basis
represented a small percentage of his total shares. ECF No.
                                                                    on which an allegation of fraud is predicated. ... [W]ere the
39 at 27. Each sale constituted 9.55% and 7.49% of his total
                                                                    opposite true, the executives of virtually every corporation
shares. Id. Courts have held that such small percentages do         in the United States would be subject to fraud allegations.”
not raise a strong inference of scienter. See In re TETRA,          Carlton, 184 F. Supp. 3d at 481 (quoting Abrams, 292 F.3d
2009 WL 6325540, at *7 (“If the defendants sell only a small        at 434) (allegations that defendant was motivated to continue
percentage of their stock during the class period, the sales        receiving lucrative salary and compensation did not raise a
do not contribute to an inference of scienter.”); Oppenheim,        strong inference of scienter). In addition, “[c]orporate officers
2007 WL 2720074, at *5 (where defendants sold 17.59%                are not liable for acts solely because they are officers, even
and 13.79% of their total shares, sales did not contribute to       where their day-to-day involvement in the corporation is
a strong inference of scienter). These allegations contribute       pleaded.” In re BP, 843 F. Supp. 2d at 749 (citation omitted);
only slightly to an inference of scienter against Wright due to
                                                                    see also Carlton, 184 F. Supp. 3d at 478-79 (allegations
his trading history.
                                                                    that defendants must have known the misstatements were
                                                                    false based on their high-level positions within the company
                                                                    did not raise a strong inference of scienter). Plaintiffs’
                   d. Position and motive.                          allegations based on motive and Defendants’ positions at
                                                                    Conn's contribute little, if at all, to an inference of scienter.
Plaintiffs allege that Wright and each of the Individual
Defendants had knowledge given their positions in the
company, their experience and background including in
accounting, their focus on credit operations as part of their job                  e. Conn's internal documents.
duties, and their day-to-day involvement in the operations of
                                                                    Plaintiffs point to Conn's internal documents to plead that
the company. ECF No. 3 at ¶¶ 38-41, 200. Plaintiffs allege
                                                                    Wright knew the underwriting standards were being loosened
the Individual Defendants routinely represented to analysts
                                                                    and that the rise in FPDs was due primarily to new store
and investors that they monitored and were knowledgeable
                                                                    underwriting:
about Conn's finances including credit operations. Id. at ¶ 201.
Plaintiffs allege the Individual Defendants had motive and            • In a January 31, 2013 e-mail that Poppe sent to other
incentive to engage in the alleged fraud because they could              Conn's staff, Poppe stated that he discussed underwriting
receive performance-based bonuses and equity. 33 Id. at ¶¶               requirements for new stores with Wright and decided
206-08, 211.                                                             against “keeping the gates wide open like we were the
                                                                         past 2 months.” ECF No. 3 at ¶ 65; Pls.’ Ex. 7 at 32, ECF
33                                                                       No. 47-3.
        Defendants allege that Plaintiffs rely on group
        pleading, which is impermissible in the Fifth                  *18 • On March 30, 2013, Poppe sent an e-mail to Wright
        Circuit. ECF No. 39 at 24; In re BP, 2013 U.S.                  attributing the rising FPDs to underwriting standards in
        Dist. LEXIS 171459, at *51-52 (citing Shaw Grp.,                new stores and explaining that credit verifications were
        537 F.3d at 533-34). But, “[t]he fact that [some]               tightened to avoid fraud. ECF No. 3 at ¶ 10; Defs.’ Ex.
        allegations pertain to more than one person does not            17, ECF No. 40-4.
        make them group pleading[,]” particularly where,
        as here, it is sufficiently clear from the face of the        • On April 12, 2013, Poppe sent an e-mail to Wright
        complaint which scienter allegations apply to each              referring to their prior conversation about keeping lower
        Individual Defendant. Alaska Elec. Pension Fund                 underwriting standards (lower minimum FICO score
                                                                        cut-offs) in place for new stores permanently going



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     forward. ECF No. 3 at ¶ 73; Defs.’ Ex. 19 at 2, ECF No.       F.3d 390, 402 (6th Cir. 2009)). Now, Plaintiffs ask the Court
     40-6.                                                         to take judicial notice of the outcome and filed the SEC
                                                                   complaint and the consent judgments against Conn's and
  • In July 2013, Wright sent a memorandum to the Conn's           Poppe. ECF No. 62. Because the SEC's claims are based
     Board, noting that the “ ‘grand opening’ practices at the     on negligence and specifically acknowledge that the SEC
     new stores opened in November and December” had an            does not need to prove scienter, those documents provide no
     impact on credit performance and was at least one causal      support for the proposition of Defendants’ actual knowledge
     factor. ECF No. 3 at ¶ 134(a); Defs.’ Ex. 24 at 4, ECF        at the time. ECF No. 62-1 at 6, 11. Moreover, the complaint
     No. 40-10. 34                                                 was not asserted against Wright, but only Poppe. Therefore,
                                                                   this contributes little, if at all, to an inference of scienter.
34     Plaintiffs also make general statements that based
       on internal e-mails, “it was known internally at
       Conn's that the lowering of Conn's underwriting                                     g. Termination.
       standards to ‘significantly riskier’ customers ...
       ‘represent[ed] a straight loss for the lender.’ ” ECF        *19 Plaintiffs allege that Conn's announced on September
       No. 3 at ¶ 50; Defs.’ Ex. 25 at 3, ECF No. 40-11.           9, 2015—more than a year after the Relevant Period—that
       However, at least some of these internal e-mails            Wright would be replaced as CEO, but Plaintiffs do not allege
       and documents were not sent to or from any of the           any reason for his departure. ECF No. 3 at ¶ 20. Courts have
       Individual Defendants so they cannot show scienter          held that “[e]xecutive resignations are generally ‘unavailing
       as to Defendants. See Defs.’ Ex. 25 at 2-3, ECF No.         as proof of the commission of fraud.’ ” Carlton, 184 F. Supp.
       40-11; Pls.’ Ex. 14 at 20, ECF No. 47-4.                    3d at 478 (finding allegation of resignation alone insufficient
                                                                   to plead scienter) (citation omitted); accord In re ArthroCare,
While the Plaintiffs do not necessarily plead facts that
                                                                   726 F. Supp. 2d at 724-25 (same); see also Neiman, 854
Wright read the e-mails sent to him, the e-mails referring
                                                                   F.3d at 752 (resignation did not raise an inference of scienter
to conversations involving him and his memorandum to the
                                                                   where there were no allegations as to the reason); Rosenzweig
Board raise the inference that by early 2013, Wright knew
                                                                   v. Azurix Corp., 332 F.3d 854, 867 (5th Cir. 2003) (“the
Conn's lowered underwriting standards and this contributed
                                                                   successive resignations of key officials ... is more likely
to a rise in delinquencies. In addition, the omission of facts
                                                                   probative only of the fact that the company was failing.”).
that Wright read the e-mails is offset somewhat by the CW
                                                                   Thus, Wright's departure contributes little, if at all, to an
allegations and Wright's later statement that, after Conn's
                                                                   inference of scienter.
opened new stores in early 2013, it took “about three months
to figure out that was a really bad idea.” ECF No. 3 at ¶ 72.
Standing alone, these documents raise only a slight inference
of scienter against Wright, but when considered together with                    h. Sarbanes-Oxley certifications.
other allegations, contribute to a strong inference of scienter.
                                                                   Plaintiffs allege that Wright (and Taylor) signed SOX
                                                                   certifications on Conn's annual 10-K and quarterly 10-Q
                                                                   forms on April 5, 2013, June 6, 2013, September 5, 2013,
                     f. SEC investigation.                         and December 6, 2013, falsely certifying the financial reports
                                                                   were accurate. ECF No. 3 at ¶ 174. But Plaintiffs failed
Plaintiffs allege that Conn's disclosed on December 10, 2014
                                                                   to show the financial statements were actionable, so they
that the SEC began investigating Conn's. Id. at ¶¶ 19, 157(d),
                                                                   cannot show the SOX certifications raise an inference of
163-66, 172. However, “[g]overnment investigations can
                                                                   scienter. See supra, section III.B.6. Even assuming Plaintiffs
result from any number of causes, and the investors have not
                                                                   sufficiently pleaded that Defendants’ financial statements
pointed to any facts suggesting that the SEC investigation
                                                                   were actionable, Plaintiffs failed to allege scienter as to those
was the result of knowing or reckless behavior by the
Defendants[,]” nor have they alleged any facts regarding the       statements. 35
outcome of the investigation. Carlton, 184 F. Supp. 3d at
480 (allegations of SEC investigation did not raise a strong       35      Plaintiffs’  circumstantial   allegations    that
inference of scienter) (quoting Konkol v. Diebold, Inc., 590               Defendants knowingly increased Conn's credit risk



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      by lowering underwriting standards, knowingly               *20 While several of the aforementioned allegations fail
      increased sales and extended greater amounts               to raise a strong inference of scienter with particularity if
      of credit to new “riskier” customers, and knew             considered in isolation, the Court concludes they do when
      delinquencies were rising as a result do not go            considered collectively, albeit barely so. 36 For example, the
      far enough to show Defendants knew Conn's                  internal documents are the only sources that provide a specific
      financial statements were materially misstated at          date on which Wright would have known the information
      the time. ECF No. 3 at ¶¶ 4, 10, 42(i), (r), 50,           contained therein. But, taking Plaintiffs’ allegations as true,
      52, 64, 68, 69(c), (d), 70, 72, 84, 157(a)-(b),            these documents combined with the CW allegations, post-
      161, 162; ECF No. 57-1 at 9-12, 14-15, 23-26,              Relevant Period statements, and other allegations raise a
      30-32. “[I]t is well-settled that Sarbanes-Oxley           sufficiently strong inference of scienter that as early as April
      certifications, standing alone, are not indicative of      2013, Wright knew that underwriting standards were lowered,
      scienter—otherwise, scienter would be established          and this was a cause of the rising delinquencies.
      in every case where there was an accounting error
      or auditing mistake made by a publicly traded              36     Plaintiffs’    complaint     approaches      “puzzle
      company.” In re ArthroCare, 726 F. Supp. 2d
                                                                        pleading.” In re Alamosa, 382 F. Supp. 2d at
      at 724 (citations omitted). “The certifications are
                                                                        857 (collecting cases that dismissed complaints
      probative of scienter only if the person signing ...
                                                                        for “puzzle pleading”); accord In re Franklin, 782
      was severely reckless in certifying the accuracy of
                                                                        F. Supp. 2d at 384-85 (where “Plaintiffs group
      the financial statements.” In re Franklin, 782 F.
                                                                        together all of the defendants’ false statements
      Supp. 2d at 396 (citing Cent. Laborers’ Pension
                                                                        made during the ... conference call, press release,
      Fund, 497 F.3d at 550). “That is, there must
                                                                        and Form 8-K, and allege collective reasons
      be facts establishing that the person ... had a
                                                                        why the statements were materially false and
      ‘reason to know, or should have suspected, due
                                                                        misleading ... this does not satisfy the requirement
      to the presence of glaring accounting irregularities
                                                                        that, for each false or misleading statement,
      or other ‘red flags,’ that the financial statements
                                                                        they are to explain the reason or reasons why
      contained material misstatements or omissions.’
                                                                        the statement was misleading....”) (emphasis in
      ” Id. (citing Cent. Laborers’ Pension Fund, 497
                                                                        original). While Plaintiffs’ complaint passes this
      F.3d at 550) (SOX certifications failed to support
                                                                        threshold because in their section explaining why
      a strong inference of scienter); accord In re
                                                                        the statements are false, they cross reference the
      TETRA, 2009 WL 6325540, at *31. Post-Relevant
                                                                        paragraph numbers of alleged misstatements in
      Period financial statements that included increased
                                                                        the prior section and relevant facts in yet another
      bad debt provisions likewise do not show that
                                                                        section, the complaint could more clearly and
      Defendants knew any financial statements issued
                                                                        systematically identify each actionable statement
      during the Relevant Period were understated. See
                                                                        and why each is actionable. See, e.g., Singh
      ECF No. 3 at ¶¶ 169-73; 180-99; Pirnik v.
                                                                        v. 21Vianet Grp., Inc., No. 2:14-CV-894, 2017
      Fiat Chrysler Automobiles, N.V., No. 15-CV-7199,
                                                                        WL 4322483, at *2 (E.D. Tex. Sept. 13, 2017)
      2016 WL 5818590, at *8 (S.D.N.Y. Oct. 5,
                                                                        (denying motion to dismiss where for each
      2016) (rejecting allegations that defendants’ later
                                                                        alleged misstatement, the complaint explains in
      increase in reserve estimates gave rise to a strong
                                                                        the paragraph immediately after the alleged
      inference of scienter at the time of the alleged
                                                                        misstatement why it is misleading, and follows
      misstatements). This may be “sufficient to allege
                                                                        the same pattern for each statement), report and
      that the defendants were wrong; but misguided
                                                                        recommendation adopted, 2017 WL 4310154 (S.D.
      optimism is not a cause of action, and does
                                                                        Tex. Sept. 28, 2017). This would conserve judicial
      not support an inference of fraud.” Pirnik, 2016
                                                                        resources and mitigate the need for supplemental
      WL 5818590, at *8 (quoting Shields v. Citytrust
                                                                        briefing that the Court requested here. “However
      Bancorp, Inc., 25 F.3d 1124, 1129 (2d Cir. 1994)).
                                                                        easy the puzzle, assembling puzzles is not the duty
                                                                        of the Court.” In re Alamosa, 382 F. Supp. 2d at
                 i. Collective allegations.                             857.




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The Court must weigh competing inferences of scienter as to                 “all misrepresentations attributable to Individual
those statements the Court found actionable. Where there is                 Defendants are also treated as having been made
an inference of scienter at least as cogent and compelling as               by [Conn's], as ‘all of them appear from the face
opposing inferences—that Wright was at most negligent or                    of the Complaint to have been made pursuant to
committed no wrongdoing—such as here, “[a] tie favors the                   their positions of authority within the company.’ ”
plaintiff.” Carlton, 184 F. Supp. 3d at 484 (quoting Lormand,               In re BP, 843 F. Supp. 2d at 788 (citation omitted).
565 F.3d at 254) (when considered holistically, allegations                 “Thus, the actionable misrepresentations discussed
including CW allegations raised an inference that defendant                 above that are attributable to [Wright and Poppe]
acted with scienter which is at least as compelling as the                  are sufficient to give rise to an inference of scienter
inference that he acted without it). 37 Defendants’ motion                  with respect to [Conn's].” Id.
to dismiss Plaintiffs’ securities fraud claim against Wright         In addition to the CW allegations discussed above which
should be denied, to the extent some of his statements are           pertain to both Wright and Poppe, Plaintiffs rely on additional
actionable.
                                                                     CW allegations specific to Poppe to plead scienter. 39
                                                                     Plaintiffs also make other similar scienter allegations
37
        See also, e.g., Stone v. Life P'ners Holdings,               against Poppe as they did against Wright involving (1)
        Inc., 26 F. Supp. 3d 575, 611 (W.D. Tex.                     insider trading, 40 (2) motive to earn performance-based
        2014) (collectively, allegations of internal reports         compensation, (3) Poppe's departure and alleged firing on
        imputing knowledge, combined with other
                                                                     May 23, 2017, and (4) the SEC investigation. 41 ECF No. 3 at
        allegations, raised a strong inference of scienter); In
                                                                     ¶¶ 11, 19-20, 157(d), 163-66, 172, 206, 209, 211-13. As with
        re ArthroCare, 726 F. Supp. 2d at 725 (even though
                                                                     Wright, the CW allegations—when considered holistically
        some allegations of scienter, standing alone, did
                                                                     with other allegations in the complaint—contribute to a strong
        not raise a strong inference of scienter, collectively,
                                                                     inference of scienter while the latter allegations contribute
        the role of defendants in the company, insider
                                                                     little to an inference of scienter against Poppe.
        trading, SOX certifications, and other allegations
        gave rise to a strong inference of at least severe
                                                                     39
        recklessness for a certain time period); In re                      CW-1 reported that if the daily analytics reports
        TETRA, 2009 WL 6325540, at *38 (collectively,                       were not circulated by 10:00 a.m. each day, Poppe
        CW allegations that defendants attended relevant                    would call or e-mail asking for the report. ECF No.
        meetings to discuss insurance receivables and post-                 3 at ¶¶ 42(b), 70. CW-5 stated that data on FPDs
        class statements raised a strong inference that                     and delinquencies were discussed each day across
        defendants had knowledge).                                          everyone involved in collections, including Poppe.
                                                                            Id. at ¶¶ 42(r), 70.
                                                                     40
                           2. Poppe.                                        Plaintiffs allege Poppe sold 30,000 shares on April
                                                                            25, 2013 and 19,900 shares on October 21, 2013
 *21 The Court recommended that five statements by Poppe                    for the first time since 2007, gaining proceeds of
remain as actionable. See supra, section III.B. The Court must              $2,581,911. ECF No. 3 at ¶ 213. Plaintiffs allege the
still determine whether Plaintiffs adequately pleaded scienter              timing is suspicious because in April, “Defendants
as to those statements and holds that they have. The Court                  were setting false expectations regarding the
again relies on the fact that the District Judge implicitly found           Company's credit risks.” Id. As for the October
the Class Action Fourth Amended Complaint adequately                        trade, it was purportedly suspicious because it
pleaded scienter as to Poppe, at least for the statements that              was made “on the heels of Defendants’ false
were found actionable in the Class Action, many of which are                representations that Conn's credit issues related to
challenged here or are similar. 38 See Order, In re Conn's, No.             a one-time computer system issue and omission[.]”
4:14-CV-548 (S.D. Tex. May 5, 2016), ECF No. 125.                           Id. The timing allegations are somewhat more
                                                                            conclusory than the similar allegations against
38                                                                          Wright. Defendants allege that Poppe's stock sales
        While the parties did not brief Conn's
                                                                            cannot support a strong inference of scienter
        10(b) liability for the corporate Defendant,
                                                                            because (1) the sales constituted relatively small



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       percentages of Poppe's overall holdings (18.71%
       and 14.53%), (2) his April sales were made at                • E-mails throughout March 2013 suggest that Poppe knew
       $34 per share less than the peak price during the               that FPD rates were rising, particularly in new stores; he
       Relevant Period months before the February 2014                 and colleagues were trying to determine the cause; and
       corrective disclosures, and (3) they were made                  rising FPDs were attributed to new store underwriting.
       pursuant to a Rule 10b5-1 plan. ECF No. 39 at                   ECF No. 3 at ¶¶ 10, 68, 69(a); Pls.’ Ex. 8 at 36-37, ECF
       27-28 (citing Metzler Inv. GMBH v. Corinthian                   No. 47-3; Defs.’ Ex. 17, ECF No. 40-4; Defs.’ Ex. 18 at
       Coll., Inc., 540 F.3d 1049, 1067 n.11 (9th Cir.                 2, ECF No. 40-2.
       2008)). However, the 10b5-1 plan is an affirmative
                                                                    • E-mails from late April through May suggest that
       defense, which is irrelevant at the motion to dismiss
                                                                      Poppe was aware that credit performance was declining;
       stage. In re ArthroCare, 726 F. Supp. 2d 696,
                                                                      delinquency rates in new stores were poor and described
       722-23 (W.D. Tex. 2010). While Poppe's trading
                                                                      as “very shocking,” “disturbing,” and “off the rails;” and
       history makes these trades somewhat suspicious,
                                                                      that implementation of the new Latitude system did not
       the timing and percentage of his total holdings do
                                                                      have a large impact on phone numbers and therefore
       not. These allegations contribute only slightly to an
                                                                      likely did not affect delinquencies. ECF No. 3 at ¶¶ 53,
       inference of scienter against Poppe.
                                                                      74, 76, 134(c); Pls.’ Ex. 9-12, ECF No. 47-4; Defs.’ Ex.
41                                                                    22 at 3, ECF No. 40-8.
       As discussed above, the SEC complaint and
       consent judgment against Poppe is based on a
                                                                    • E-mails on June 11-12 and in July suggest that Poppe
       negligence standard and does not prove actual
                                                                       knew delinquencies and FPDs continued to worsen and
       knowledge at the time. ECF No. 62-1 at 6, 11. The
                                                                       the credit segment was still underperforming. ECF No.
       consent judgment also states that Poppe does not
                                                                       3 at ¶¶ 77, 134(a); Pls.’ Ex. 13 at 17, ECF No. 47-4; Pls.’
       admit any of the allegations in the complaint. ECF
                                                                       Ex. 17 at 27-35, ECF No. 47-4; Defs.’ Ex. 23 at 2-6, ECF
       No. 62-4 at 2.
                                                                       No. 40-9.

                                                                    • In an October 2013 e-mail, Poppe acknowledged that
              a. Conn's internal documents.                            September data on delinquencies was poor. ECF No. 3
                                                                       at ¶ 78; Pls.’ Ex. 15 at 22, ECF No. 47-4.
 *22 Plaintiffs also rely on numerous e-mails to and from
Poppe, some of which had analytics reports attached:
                                                                  These allegations raise a strong inference of scienter that
  • E-mails in November and December 2012 suggest                 Poppe knew before and throughout the Relevant Period
    that Poppe knew about lower underwriting standards            that underwriting standards were being lowered, credit
    being implemented in new stores, that Conn's credit           performance was deteriorating because of lower underwriting
    portfolio was shifting toward lower FICO scores, and          standards, and that the systems change was not responsible for
    that lower FICO scores were at least correlated with          performance deterioration (or at least not the primary cause).
    higher delinquency rates. Id. at ¶¶ 53, 61; Defs.’ Ex. 14
    at 2, ECF No. 40-1; Defs.’ Ex. 15 at 2, ECF No. 40-2;
    Defs.’ Ex. 26 at 2, ECF No. 40-12.                                               b. Collective allegations.
  • E-mails from January 2013 suggest that Poppe knew             When considered collectively, Plaintiffs’ allegations as to
    credit performance was declining; there were concerns         Poppe raise a strong inference of scienter for actionable
    about fraud in at least one new store, after which            statements he made. See, e.g., Carlton, 184 F. Supp. 3d at
    verification requirements were increased slightly for         476, 482-84; Stone, 26 F. Supp. 3d at 611; In re ArthroCare,
    new applicants with FICO scores under 520; changes            726 F. Supp. 2d at 725; In re TETRA, 2009 WL 6325540, at
    were made at the end of January to the underwriting           *38. Plaintiffs’ scienter allegations for Poppe are significantly
    process, which included offering credit to customers          stronger than for Wright due to the volume, time frame,
    with zero FICO scores in new stores, but “not keeping         and specificity of e-mails which raise a strong inference
    the gates wide open like we were the past 2 months.”          that Poppe was informed about and actively engaged in
    ECF No. 3 at ¶¶ 53, 62, 64, 65; Pls.’ Ex. 3-7, ECF No.        discussions and efforts to lower underwriting standards,
    47-3; Defs.’ Ex. 16 at 2-3, ECF No. 40-3.


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monitor credit performance, and determine the cause of rising                 as such controlled person to any person
delinquencies. This inference is more compelling than any                     to whom such controlled person is
competing theories. Defendants’ motion to dismiss Plaintiffs’                 liable ... unless the controlling person
securities fraud claim against Poppe should be denied, to the                 acted in good faith and did not directly
extent some of his statements are actionable.                                 or indirectly induce the act or acts
                                                                              constituting the violation or cause of
                                                                              action.

                          3. Taylor.

 *23 The only statements Plaintiffs contend are actionable        In re BP, 2013 U.S. Dist. LEXIS 171459, at *54 (quoting
against Taylor are the SOX certifications and corresponding       15 U.S.C. § 78t(a)). “[T]o prove a violation of section 20(a),
financial statements he signed, which the Court found are not     a plaintiff must first prove an underlying securities fraud
actionable. See supra, section III.B.6. Therefore, Plaintiffs     violation and prove that the controlling person had actual
cannot establish scienter as to Taylor. 42 See In re BP, 843      power over the controlled person and induced or participated
F. Supp. 2d at 778 (dismissing defendant because where            in the alleged violation.” In re BP, 843 F. Supp. 2d at
the alleged misrepresentations attributable to defendant were     791 (citing Dennis v. Gen. Imaging, Inc., 918 F.2d 496,
not actionable, plaintiffs cannot demonstrate scienter as to      509 (5th Cir. 1990)). “Section 20(a) is a secondary liability
that defendant). Defendants’ motion to dismiss Plaintiffs’        provision[.]” In re BP, 2013 U.S. Dist. LEXIS 171459, at *54
securities fraud claim against Taylor should be granted.          (citing ABC Arbitrage, 291 F.3d at 348 n.57).


42                                                                Defendants’ only argument for why Plaintiffs’ section 20(a)
       Even if any statements attributable to Taylor
                                                                  claim should be dismissed is that Plaintiffs failed to plead a
       are actionable, Plaintiffs still failed to plead
                                                                  predicate violation under section 10(b). ECF No. 39 at 28.
       scienter. Plaintiffs’ only allegations of scienter as
                                                                  Because Plaintiffs failed to plead with particularity a primary
       to Taylor—(1) his sudden departure from Conn's in
                                                                  violation under 10(b) against Taylor, Plaintiffs’ section 20(a)
       December 2014, (2) motive to earn performance-
                                                                  claim against him fails and should be dismissed. See In
       based compensation, and (3) him signing the SOX
                                                                  re Sec. Litig. BMC Software, Inc., 183 F. Supp. 2d at 916
       certifications—do not raise a strong inference of
                                                                  (finding no secondary control liability where plaintiffs failed
       scienter, even when considered collectively. ECF
                                                                  to state a claim for securities fraud under Section 10(b)
       No. 3 at ¶¶ 18, 44, 174, 206, 210-11. Taylor was
                                                                  and Rule 10b-5); accord Carlton, 184 F. Supp. 3d at 495.
       also dismissed from the Class Action. See Mot.
                                                                  However, because Plaintiffs successfully pleaded a primary
       Hr'g Tr. at 74:2-13, In re Conn's, No. 4:14-CV-548
                                                                  violation under 10(b) against Wright and Poppe at least in
       (S.D. Tex. July 14, 2015), ECF No. 102.
                                                                  part, Plaintiffs’ 20(a) claims should remain to the extent the
                                                                  10(b) claims based on actionable misstatements remain. See
                                                                  In re TETRA, 2009 WL 6325540, at *38 (“Plaintiffs 20(a)
                             IV.
                                                                  claims remain only as to the claims based on misstatements”
                                                                  upheld as actionable); accord Carlton, 184 F. Supp. 3d at 495
 CONTROL PERSON LIABILITY UNDER SECTION                           (there is no basis for dismissing the control person claims
   20(a) OF THE SECURITIES EXCHANGE ACT                           against [defendant] because the § 10(b) claims against him
                                                                  have not been dismissed.”).
Section 20(a) of the SEA establishes control person liability:



            [e]very person who, directly or                                                     V.
            indirectly, controls any person liable
            under any provision of this chapter or                      INSIDER TRADING UNDER SECTION 20A
            of any rule or regulation thereunder                         OF THE SECURITIES EXCHANGE ACT
            shall also be liable jointly and
            severally with and to the same extent



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 *24 “Section 20A provides for a private right of                   2007) (same); In re AST Research Sec. Litig., 887 F. Supp.
action to buyers and sellers of securities who trade                231, 234 (C.D. Cal. 1995) (same). But, a strict same-day rule
‘contemporaneously’ with an insider in possession of material       means that
nonpublic information.” In re MicroStrategy, Inc. Sec. Litig.,
115 F. Supp. 2d 620, 662 (E.D. Va. 2000). To state a section
20A claim, a plaintiff must plead that a defendant: “(1)                        insiders could trade near the close
used material, nonpublic information, (2) knew or recklessly                    [of the trading day] and greatly
disregarded that the information was material and nonpublic,                    reduce the universe of potential
and (3) traded contemporaneously with the [plaintiff].” In                      successful plaintiffs. On the other
re Sec. Litig. BMC Software, Inc., 183 F. Supp. 2d at 916                       hand, interpreting “same day” to mean
(citations omitted). Both parties characterize the elements                     the 24-hour period after the insider's
as requiring Plaintiff to state (1) a primary securities fraud                  transaction presents a problem on
violation under section 10(b) of the SEA and (2) that Plaintiffs                motions to dismiss: most plaintiffs
traded “contemporaneously” with Wright and Poppe. ECF                           will only be able to determine the
No. 39 at 29; ECF No. 47 at 31; accord In re MicroStrategy,                     date—not the time—of the insider's
115 F. Supp. 2d at 662. Because the Court determined                            transactions.
that Plaintiffs stated a claim under section 10(b) for at
least some of Wright's and Poppe's alleged misstatements,
Plaintiffs have stated a predicate securities fraud violation and   In re Countrywide Fin. Corp. Sec. Litig., 588 F. Supp. 2d
the main issue is whether Plaintiffs’ stock purchases were          1132, 1205 (C.D. Cal. 2008) (finding stock purchases the
“contemporaneous.”                                                  day after defendants’ sales sufficiently contemporaneous);
                                                                    see also Middlesex Ret. Sys. v. Quest Software Inc., 527 F.
The parties dispute the meaning of “contemporaneous.”               Supp. 2d 1164, 1196 (C.D. Cal. 2007) (finding eight-day gap
Defendants contend that “contemporaneous” means that the            sufficiently contemporaneous).
stock must have been traded on the same day. ECF No. 39 at
30. Plaintiffs contend that their purchases of Conn's stock one     Because of this wide range, the In re Cobalt court “[could]
day after Poppe's April 25, 2013 sale, one day after Wright's       not conclude that an allegation of a six-day gap between
December 17, 2013 sale, three days after Poppe's October 21,        [defendant's] sale and [plaintiff's] purchase is too long as
2013 sale, and four days after Wright's June 20, 2013 sale are      a matter of law to constitute ‘contemporaneous’ trades....”
sufficiently “contemporaneous.” ECF No. 47 at 31.
                                                                    2017 WL 2599327, at *5. 43 This Court agrees. Defendants
                                                                    rely only on cases from other courts and have not cited any
Reflective of the cases the parties cited, the Southern District
                                                                    authority from the Fifth Circuit or its district courts that
of Texas has recognized that “[d]ifferent courts have found
                                                                    require application of a same-day-trading rule. Defendants
that ‘contemporaneity’ requires the insider and the investor/
                                                                    failed to establish as a matter of law that Plaintiffs’ section
plaintiff to have traded anywhere from on the same day,
                                                                    20A claim must be dismissed at this stage. Defendants’
to less than a week, to within a month, to ‘the entire
                                                                    motion to dismiss Plaintiffs’ section 20A claim should be
period while relevant and nonpublic information remained
                                                                    denied.
undisclosed.’ ” In re Cobalt Int'l Energy, Inc. Sec. Litig., No.
H-14-3428, 2017 WL 2599327, at *5 (S.D. Tex. June 15,
                                                                    43
2017) (citing In re Enron Corp. Sec. Deriv. & ERISA Litig.,                See also, e.g., In re Enron, 258 F. Supp. 2d at 600,
258 F. Supp. 2d 576, 599 (S.D. Tex. 2003)). Since section                  618 (Despite dismissing section 20A claims where
20A does not define “contemporaneous,” some courts have                    plaintiffs did not trade on the same day, “find[ing]
taken the same-day approach to “guard against ‘mak[ing]                    that two or three days, certainly less than a week,
the insider liable to all the world’ ” and in consideration for            constitute[s] a reasonable period to measure the
“the increasingly dynamic nature of the securities markets.”               contemporaneity....”); accord In re Enron Corp.
In re MicroStrategy, 115 F. Supp. 2d at 663-64 (collecting                 Sec., Deriv. & ERISA Litig., No. H-01-3624, 2016
cases) (requiring trades to be made on the same day to be                  WL 4095973, at *38 (S.D. Tex. Aug. 2, 2016), aff'd,
contemporaneous); accord In re Fed. Nat'l Mortg. Ass'n Sec.                725 F. App'x 278 (5th Cir. 2018), cert. denied, –––
Deriv. & ERISA Litig., 503 F. Supp. 2d 25, 47-48 (D.D.C.                   U.S. ––––, 139 S. Ct. 199, 202 L.Ed.2d 123 (2018).



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                                                                   44
                              VI.                                         See Flaherty v. Crumrine Preferred Income Fund,
                                                                          Inc. v. TXU Corp., 565 F.3d 200, 213 (5th Cir.
                                                                          2009) (although “common law fraud claims are
                  STATE LAW CLAIMS
                                                                          not subject to the heightened ‘strong inference’
 *25 Defendants argue that Plaintiffs’ Texas and Connecticut              of scienter standard imposed by the PSLRA, ...
common law claims for fraud and negligent misrepresentation               [they] are still subject to the pleading standard
should be dismissed because they are duplicative of Plaintiffs’           of Rule 9(b).”), cert. denied, 558 U.S. 873, 130
section 10(b) securities fraud claim and must satisfy the                 S.Ct. 199, 175 L.Ed.2d 125 (2009); see also
particularity requirements of Rule 9(b). ECF No. 39 at                    FED. R. CIV. P. 9(b) (“In alleging fraud or
28-29. Plaintiffs contend that their fraud and negligent                  mistake, a party must state with particularity
misrepresentation claims do not need to satisfy the heightened            the circumstances constituting fraud or mistake.
PSLRA pleading requirements, and even if they do, they                    Malice, intent, knowledge, and other conditions of
satisfy that standard. ECF No. 47 at 28-29. Plaintiffs also               a person's mind may be alleged generally.”).
contend that their negligent misrepresentation claims need         45
                                                                          See McCullough v. World Wrestling Entm't, Inc.,
only satisfy Rule 8 because these claims are based only on a
                                                                          172 F. Supp. 3d 528, 561 (D. Conn. 2016)
subset of allegations in their complaint. Id. at 29.
                                                                          (“In order to satisfy Rule 9(b)’s particularity
                                                                          requirement with regard to fraud claims, the
To the extent Plaintiffs stated a claim under section
                                                                          complaint must: ‘... (4) explain why the statements
10(b) satisfying the PSLRA's heightened pleading standards,
                                                                          were fraudulent.’ ”); see also Omni USA, Inc. v.
Defendants’ motion to dismiss Plaintiffs’ fraud and negligent
                                                                          Parker-Hannifin Corp., No. H-10-4728, 2012 WL
representation claims should be denied as to the same alleged
                                                                          1038642, at *3 (S.D. Tex. Mar. 27, 2012) (“To
misstatements in paragraphs 90-94, 104-08, 111-16, 122, and
                                                                          plead fraud under Texas law, a plaintiff must allege
126-27 in the complaint. See RYH Prop., LLC v. West, No.
                                                                          (1) the defendant made a misrepresentation to the
508-CV-172, 2009 WL 10676645, at *13 (E.D. Tex. Aug.
                                                                          plaintiff; (2) the representation was material; (3) the
3, 2009) (denying defendants’ motions to dismiss common
                                                                          representation was false....”) (quoting Shandong
law fraud claim where plaintiffs adequately pleaded federal
                                                                          Yinguang Chem. Indust. Joint Stock Co., Ltd. v.
securities fraud claims); Patriot Expl., LLC v. SandRidge
                                                                          Potter, 607 F.3d 1029, 1032 (5th Cir. 2010)); Simms
Energy, Inc., 951 F. Supp. 2d 331, 364-65 (D. Conn.
                                                                          v. Seaman, 308 Conn. 523, 548, 69 A.3d 880 (2013)
2013) (denying defendants’ motion to dismiss common law
                                                                          (Under Connecticut law, “[t]he essential elements
fraud and negligent misrepresentation claims where plaintiffs
                                                                          of an action in common law fraud ... are that: (1)
adequately pleaded federal securities fraud claims).
                                                                          a false representation was made as a statement of
                                                                          fact....”) (quoting Sturm v. Harb Dev., LLC, 298
   A. Plaintiffs’ Fraud Claims.                                           Conn. 124, 142, 2 A.3d 859 (2010)).
Regarding the remainder of Plaintiffs’ common law fraud
claims, Plaintiffs do not dispute that these must satisfy the         B. Plaintiffs’ Negligent Misrepresentation Claims.
particularity requirement of Rule 9(b), although they contend       *26 Ordinarily, negligent misrepresentation claims are not
there need not be a “strong inference” of scienter because state   subject to Rule 9(b). Am. Realty Trust, Inc. v. Hamilton
                                                                   Lane Advisors, Inc., 115 F. App'x 662, 668 (5th Cir.
of mind can “be alleged generally.” 44 ECF No. 47 at 28-29.
                                                                   2004). But Defendants argue that Rule 9(b) applies to
While the standard for scienter may be slightly more relaxed
                                                                   “claims for negligent misrepresentations where the factual
under Rule 9(b) than under the PSLRA, Plaintiffs must
                                                                   allegations underlying it and a fraud claim are the same.”
still plead with particularity why the alleged misstatements
                                                                   ECF No. 39 at 29; Omni, 2012 WL 1038642, at *2 (citing
are false under Rule 9(b). 45 To the extent Plaintiffs failed      Benchmark Elecs. v. J.M. Huber Corp., 343 F.3d 719, 723 (5th
to plead why the alleged misstatements in paragraphs 90,
                                                                   Cir. 2003)) (collecting cases). 46 Plaintiffs argue that their
95-97, 99-103, 109, 110, 119, 121-25, 143-52, and 174 in the
                                                                   negligent misrepresentation claims are based on different
complaint were false under the PSLRA, they likewise fail to
                                                                   facts from their fraud claims, pointing to language in their
plead why the same statements were false under Rule 9(b).
                                                                   complaint that for their negligent misrepresentation claims,


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they “incorporate each and every allegation contained above          favor of dismissal. ... [I]f it is unclear which allegations
as if fully set forth herein, except all allegations concerning      pertain to the fraud claim as opposed to the negligent
intentional reckless conduct, or that sound in fraud.” ECF No.       misrepresentation claim, the court risks interpreting the
3 at ¶¶ 251, 269.                                                    complaint in a manner inconsistent with the intent of
                                                                     the plaintiff. Finally, a court that endeavors to separate
46                                                                   intertwined fraud and negligence claims takes upon itself a
       Accord Biliouris v. Sundance Res., Inc., 559 F.
                                                                     burden that is better placed upon the party responsible for
       Supp. 2d 733, 737 (N.D. Tex. 2008) (granting
                                                                     the defective pleading. Rather than “sift through allegations
       motion to dismiss negligent misrepresentation
                                                                     of fraud in search of some lesser included claim,” or
       claim based on the same operative facts as fraud
                                                                     “rewrite ... a deficient complaint,” the court should dismiss
       claim).
                                                                     without prejudice.
While the Court doubts that such boilerplate language is
sufficient to show that different facts form the basis of          Id. at 752. This Court's review of Defendants’ cited cases
Plaintiffs’ negligent misrepresentation claims, Am. Realty         and the Fifth Circuit cases they rely on suggest that Fifth
Trust, Inc. v. Travelers Cas. & Sur. Co. of Am. interpreted        Circuit precedent on this matter does not go quite as far
relevant Fifth Circuit law to mean instead that negligent          as Defendants urge—that Rule 9(b) categorically applies to
misrepresentation claims                                           negligent misrepresentation claims whenever they are based
                                                                   on the same facts underlying fraud claims. See Hamilton
                                                                   Lane, 115 F. App'x at 668 (reversing dismissal of negligent
            do not become subject to heightened                    misrepresentation claim under Rule 9(b)).
            pleading simply because they are
            based on the same set of operative facts               Nevertheless, the Court is unable to effectively distinguish
            as corresponding fraud claims. Rather,                 between Plaintiffs’ fraud and negligent misrepresentation
            Rule 9(b) operates to require dismissal                claims without “engag[ing] in a line-by-line redaction
            of a negligent misrepresentation                       in order to excise inadequate averments of fraud from
            claim only when (1) a plaintiff                        accompanying claims of misrepresentation....” because the
            waives arguments to the contrary                       negligent misrepresentation claims appear to be based on
            or (2) the inadequate fraud claim                      the same alleged misstatements and Plaintiffs’ allegations for
            is so intertwined with the negligent                   why those statements are false. Am. Realty Trust, Inc., 362 F.
            misrepresentation claim that it is not                 Supp. 2d at 752.
            possible to describe a simple redaction
            that removes the fraud claim while                      *27 In addition, even if Plaintiffs need only satisfy Rule
            leaving behind a viable negligent                      8, to state a claim for negligent misrepresentation under
            misrepresentation claim.                               either Texas or Connecticut law, Plaintiffs must still allege
                                                                   that a false statement was made. 47 For the same reasons
                                                                   Plaintiffs failed to allege why the statements in paragraphs 90,
362 F. Supp. 2d 744, 749 (N.D. Tex. 2005). The court held          95-97, 99-103, 109, 110, 119, 121-25, 143-52, and 174 were
that,                                                              actionable for their section 10(b) claim, Plaintiffs likewise
                                                                   failed to allege those same statements were false even under
  in determining whether a negligent misrepresentation             the lower Rule 8 pleading standard. Thus, Defendants’ motion
  claim is subject to dismissal along with an impermissibly        to dismiss Plaintiffs’ state law claims should be granted in
  general fraud claim, the question is whether ... the             part and denied in part to the same extent as Plaintiffs’ section
  Court [can] describe a simple redaction that removes             10(b) claim.
  allegations of fraud from the complaint, but leaves the
  plaintiff's valid and intelligible negligent misrepresentation   47
                                                                           See McCullough v. World Wrestling Entm't, Inc.,
  claim intact.... Conversely, when it would be necessary
                                                                           172 F. Supp. 3d 528, 560 (D. Conn. 2016)
  to engage in line-by-line redaction in order to excise
                                                                           (“To plead a claim for negligent misrepresentation
  inadequate averments of fraud from accompanying claims
                                                                           under Connecticut law, a plaintiff must allege (1)
  of negligent misrepresentation, several factors counsel in
                                                                           that the defendant made a misrepresentation of



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       fact....”) (citations omitted); City of Houston Tex.        The Court recommends that Defendants’ motion to dismiss,
       v. Towers Watson & Co., No. 4:14-CV-2213, 2015              ECF No. 39, should be DENIED in part and GRANTED in
       WL 5604059, at *2 (S.D. Tex. Sept. 23, 2015)                part without prejudice as follows:
       (Under Texas law, “[t]o state a claim for negligent
       misrepresentation, a plaintiff must allege: ... (2)           1. Defendants’ motion to dismiss Plaintiffs’ claim for
       the defendant supplies ‘false information’ ....”)               securities fraud under section 10(b) and Rule 10b-5
       (quoting Fed. Land Bank Ass'n v. Sloane, 825                    claim and corresponding state law claims should be
       S.W.2d 439, 442 (Tex. 1991)).                                   denied as to the alleged misstatements in paragraphs
                                                                         90-94, 48 104-08, 111-16, 122, 49 and 126-27 in the
                                                                         complaint.
                             VII.
                                                                     2. Defendants’ motion to dismiss Plaintiffs’ claim for
                                                                       securities fraud under section 10(b) and Rule 10b-5
                    LEAVE TO AMEND
                                                                       claim and corresponding state law claims should be
Plaintiffs request that if the Court grants Defendants’ motion,        granted as to the alleged misstatements in paragraphs
they be granted leave to amend. ECF No. 47 at 32. “When                  90, 50 95-97, 99-103, 109, 110, 119, 121-25, 51 143-52,
a plaintiff's complaint fails to state a claim, the court should         and 174 in the complaint.
generally give the plaintiff at least one chance to amend
the complaint under Rule 15(a) before dismissing the action          3. Defendants’ motion to dismiss Plaintiffs’ claim for
with prejudice” unless it is clear the defects are incurable.          control liability under section 20(a) should be denied as
Freuler v. Parker, 803 F. Supp. 2d 630, 635 (S.D. Tex. 2011)           to Wright and Poppe and granted as to Taylor.
(citing Great Plains Trust Co. v. Morgan Stanley Dean Witter
                                                                        *28 4. Defendants’ motion to dismiss Plaintiffs’ claim for
& Co., 313 F.3d 305, 329 (5th Cir. 2002)), aff'd, 517 F.
                                                                         insider trading under section 20A should be denied.
App'x 227 (5th Cir. 2013). Courts have discretion to grant
leave to amend and may consider “undue delay, bad faith or           5. Defendant Taylor should be dismissed.
dilatory motive on the part of the movant, repeated failure to
cure deficiencies by amendments previously allowed, undue          48       This part of paragraph 90 should remain: “In
prejudice to the opposing party, and futility of amendment.”
                                                                            February we ... began underwriting applications
Id. (quoting Wimm v. Jack Eckerd Corp., 3 F.3d 137, 139 (5th
                                                                            with credit scores between 500 and 525.”
Cir. 1993)).
                                                                   49       This part of paragraph 122 should remain: “....the
While Defendants did not address Plaintiffs’ request for leave              Company made good progress in addressing the
to amend, they point out that Plaintiffs had access to hundreds             issues we experienced in the second quarter with
of thousands of documents and deposition testimony from                     our credit collection system.”
the Class Action before filing this action. ECF No. 39 at 8.
                                                                   50
Therefore, amendment might be futile. Plaintiffs also have                  Only this part of paragraph 90 should be struck:
not explained what additional facts they could plead to cure                “[T]he standard credit score is not a reliable
any deficiencies. ECF No. 47 at 32. But, based on the parties’              predictor of credit performance at lower scores
minimal briefing on this issue, the Court cannot conclude that              given our installment lending structure....”
amendment would in fact be futile. The operative complaint         51
is still the original complaint and Plaintiffs should be granted            Only this part of paragraph 122 should be struck:
at least one opportunity to amend.                                          “We are on track to meet our timetable of 4 to
                                                                            5 months from our last conference call to fully
                                                                            address the effects of these issues on our portfolio.
                                                                            Delinquency should improve markedly over the
                             VIII.                                          next quarter.”
                                                                   The Parties have fourteen days from service of this Report
                       CONCLUSION                                  and Recommendation to file written objections. 28 U.S.C.
                                                                   § 636(b)(1)(C); FED. R. CIV. P. 72(B). Failure to file timely



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objections will preclude review of factual findings or legal       All Citations
conclusions, except for plain error. Quinn v. Guerrero, 863
F.3d 353, 358 (5th Cir. 2017).                                     Not Reported in Fed. Supp., 2019 WL 3451153



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                     Case No. 20




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                                                                            amended complaint, raising these claims on behalf of itself
                                                                            and others similarly situated: persons who purchased or
     KeyCite Red Flag - Severe Negative Treatment                           otherwise acquired publicly-traded Impax securities between
Affirmed in Part, Reversed in Part and Remanded by New York Hotel
                                                                            February 20, 2014 and January 11, 2017. Dkt. No. 32 (“FAC”)
Trades Council & Hotel Association of New York City, Inc. Pension Fund v.
Impax Laboratories, Inc., 9th Cir.(Cal.), January 11, 2021
                                                                            ¶ 2. The Court dismissed the first amended complaint with
                                                                            leave to amend, Fleming v. Impax Labs. Inc., No. 16-
                     2019 WL 3779262                                        cv-06557-HSG, 2018 WL 4616291 (N.D. Cal. Sept. 7, 2018)
       Only the Westlaw citation is currently available.                    (“Order”), after which Plaintiff filed a second amended
        United States District Court, N.D. California.                      complaint asserting the same claims, Dkt. No. 71 (“SAC”).

       NEW YORK HOTEL TRADES COUNCIL                                        Pending before the Court is Defendants' motion to dismiss
      & HOTEL ASSOCIATION OF NEW YORK                                       Plaintiff's second amended complaint, briefing for which is
        CITY, INC. PENSION FUND, Plaintiff,                                 complete. Dkt. Nos. 72 (“Mot.”), 73 (“Opp.”), 76 (“Reply”).
                        v.                                                  After carefully considering the parties' arguments, the Court
    IMPAX LABORATORIES INC., et al., Defendants.                            GRANTS Defendants' motion WITHOUT LEAVE TO
                                                                            AMEND.
                    Case No. 16-cv-06557-HSG
                                 |
                        Signed 08/12/2019                                   I. LEGAL STANDARD

Attorneys and Law Firms                                                        A. Rule 12(b)(6) Standard
                                                                            Federal Rule of Civil Procedure (“Rule”) 8(a) requires that a
Jeremy A. Lieberman, Pro Hac Vice, J. Alexander Hood,                       complaint contain “a short and plain statement of the claim
II, Pro Hac Vice, Pomerantz LLP, New York, NY, Angel                        showing that the pleader is entitled to relief.” Fed. R. Civ. P.
Puimei Lau, Eric Ian Niehaus, Jeffrey James Stein, Spencer                  8(a)(2). A defendant may move to dismiss a complaint for
A. Burkholz, Robbins Geller Rudman Dowd LLP, San Diego,                     failing to state a claim upon which relief can be granted under
CA, Luke O. Brooks, Shawn A. Williams, Robbins Geller                       Rule 12(b)(6). “Dismissal under Rule 12(b)(6) is appropriate
Rudman & Dowd LLP, San Francisco, CA, Jennifer Pafiti,                      only where the complaint lacks a cognizable legal theory
Pomerantz LLP, Los Angeles, CA, for Plaintiff.                              or sufficient facts to support a cognizable legal theory.”
                                                                            Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097,
Christopher S. Turner, Pro Hac Vice, Latham & Watkins                       1104 (9th Cir. 2008). To survive a Rule 12(b)(6) motion, a
LLP, Washington, DC, Peter Allen Wald, Marcy Christina                      plaintiff must plead “enough facts to state a claim to relief
Priedeman, Morgan Edwin Whitworth, Latham & Watkins                         that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550
LLP, San Francisco, CA, for Defendants.                                     U.S. 544, 570 (2007). A claim is facially plausible when a
                                                                            plaintiff pleads “factual content that allows the court to draw
                                                                            the reasonable inference that the defendant is liable for the
      ORDER GRANTING MOTION TO DISMISS                                      misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678
         SECOND AMENDED COMPLAINT                                           (2009).

                                                                            In reviewing the plausibility of a complaint, courts “accept
                          Re: Dkt. No. 72
                                                                            factual allegations in the complaint as true and construe the
HAYWOOD S. GILLIAM, JR., United States District Judge                       pleadings in the light most favorable to the nonmoving party.”
                                                                            Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025,
 *1 Lead Plaintiff New York Hotel Trades Council &                          1031 (9th Cir. 2008). Nonetheless, courts do not “accept
Hotel Association of New York City, Inc. Pension Fund                       as true allegations that are merely conclusory, unwarranted
asserts violations of Sections 10(b) and 20(a) of the                       deductions of fact, or unreasonable inferences.” In re Gilead
Exchange Act, 15 U.S.C. § 78j(b) and Rule 10b-5 against                     Scis. Secs. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008) (quoting
Impax Laboratories Inc. (“Impax”), George Wilkinson, Larry                  Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir.
Hsu, Bryan Reasons, and Carole Ben-Maimon (collectively,                    2001)).
“Defendants”). On April 17, 2018, Plaintiff filed a first



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If the court concludes that a 12(b)(6) motion should be                 forward-looking statements, “a defendant will not be liable
granted, the “court should grant leave to amend even if                 for a false or misleading statement if it is forward-looking
no request to amend the pleading was made, unless it                    and either is accompanied by cautionary language or is made
determines that the pleading could not possibly be cured                without actual knowledge that it is false or misleading.” In re
by the allegation of other facts.” Lopez v. Smith, 203 F.3d             Quality Sys., Inc. Sec. Litig., 865 F.3d 1130, 1141 (9th Cir.
1122, 1127 (9th Cir. 2000) (en banc) (internal citations                2017) (citing In re Cutera Sec. Litig., 610 F.3d 1103, 1112–
and quotation marks omitted). But “where the Plaintiff has              13 (9th Cir. 2010)).
previously been granted leave to amend and has subsequently
failed to add the requisite particularity to its claims, the district
court's discretion to deny leave to amend is particularly               II. DISCUSSION
broad.” See Zucco Partners, LLC v. Digimarc Corp., 552 F.3d             Plaintiff's 196-page second amended complaint realleges
981, 1007 (9th Cir. 2009) (quotations and alteration omitted).          securities fraud claims based on (1) price fixing, and (2) price
                                                                        erosion. In dismissing the first amended complaint, the Court
                                                                        held that, as to the theory based on price fixing, Plaintiff
   B. Heightened Pleading Standards                                     adequately alleged falsity, but failed to allege both scienter
 *2 Section 10(b) of the Securities Exchange Act of                     and loss causation. Order at *2–5. As to the theory based
1934 provides that it is unlawful “[t]o use or employ,                  on price erosion, the Court held that Plaintiff failed to allege
in connection with the purchase or sale of any security                 both falsity and scienter, and thus the Court did not consider
registered on a national securities exchange or any security            whether Plaintiff adequately pleaded loss causation. Id. at 5.
not so registered ... any manipulative or deceptive device
or contrivance.” 15 U.S.C. § 78j(b). Under this section,
the Securities and Exchange Commission promulgated Rule                    A. Price Fixing
10b-5, which makes it unlawful, among other things, “[t]o               The Court previously held that Plaintiff failed to allege both
make any untrue statement of a material fact or to omit to              scienter and loss causation as to its price fixing allegations.
state a material fact necessary in order to make the statements         The Court again finds that Plaintiff has failed to plead loss
made, in the light of the circumstances under which they were           causation, and thus the Court does not consider whether
made, not misleading.” 17 C.F.R. § 240.10b-5(b). To prevail             the operative complaint has cured the defects to its scienter
on a claim for violations of either Section 10(b) or Rule               allegations.
10b-5, a plaintiff must prove six elements: “(1) a material
misrepresentation or omission by the defendant; (2) scienter;           The Court previously rejected the FAC's loss causation
(3) a connection between the misrepresentation or omission              pleadings for the following reasons:
and the purchase or sale of a security; (4) reliance upon the
misrepresentation or omission; (5) economic loss; and (6)
loss causation.” Stoneridge Inv. Partners, LLC v. Sci.-Atlanta,                      As a threshold matter, the mere
Inc., 552 U.S. 148, 157 (2008).                                                      existence of a regulatory investigation
                                                                                     is insufficient to show cognizable
“At the pleading stage, a complaint alleging claims under                            fraud. In contrast to the cases on
section 10(b) and Rule 10b-5 must not only meet the                                  which Plaintiff relies, Plaintiff fails
requirements of Rule 8, but must satisfy the heightened                              to identify a corrective disclosure
pleading requirements of both [Rule] 9(b) and the Private                            by Defendants that is linked to
Securities Litigation Reform Act (‘PSLRA’).” In re Rigel                             both: (1) the alleged misstatements
Pharm., Inc. Sec. Litig., 697 F.3d 869, 876 (9th Cir. 2012).                         and omissions regarding digoxin and
Under Rule 9(b), claims alleging fraud are subject to a                              pyridostigmine pricing; and (2) a
heightened pleading requirement, which requires that a party                         decrease in Impax's stock prices. As
“state with particularity the circumstances constituting fraud                       alleged, the negative market reaction
or mistake.” Fed. R. Civ. P. 9(b). Additionally, all private                         here merely reflects reported financial
securities fraud complaints are subject to the “more exacting                        losses relating to the entrance of new
pleading requirements” of the PSLRA, which require that the                          market competitors. Considering the
complaint plead with particularity both falsity and scienter.                        lack of any disclosure by Defendants
Zucco Partners, LLC, 552 F.3d at 990. With respect to                                suggesting actual fraud that is causally


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             linked with loss, Plaintiff's price fixing
             allegations fail at this stage.                       1      Plaintiff brought to the Court's attention a recent
                                                                          opinion from the District of New Jersey, which
                                                                          found sufficient similar loss causation arguments
 *3 Order at *5 (citations omitted). Again, however, the                  presented in a factually similar case: In re Allergen
SAC fails to identify a corrective disclosure linked to                   Generic Drug Pricing Securities Litigation, No.
alleged misstatements and omissions and a decrease in                     16-9449 (KSH) (CLW), 2019 WL 3562134 (D.N.J.
Impax's stock prices. See SAC ¶¶ 450–70. For example,                     Aug. 6, 2019) (“In re Allergen”). See Dkt. No.
the operative complaint suggests that Impax disclosed on                  84. As an initial matter, an out-of-circuit district
May 11, 2015 “that the DoJ had issued a grand jury                        court case is not binding on this Court. More
subpoena to Impax for four generic medications,” but then                 important, although Allergen referenced Loos and
contends that “[a]nalysts took note,” simply because some                 Lloyd, it was not bound by those cases' holdings,
attributed Impax's “substandard performance” to “ ‘increased              as is this Court. See 2019 WL 3562134, at *13.
competition for digoxin.’ ” Id. ¶¶ 452–54. Even if Impax's                And the Court cannot square In re Allergen’s
statement about the grand jury subpoena constituted a                     loss causation conclusion with this binding Ninth
disclosure, the operative complaint itself does not link it to            Circuit authority. Faced with that tension, the Court
Impax's stock price drop.                                                 must follow Loos and Lloyd.
                                                                   Accordingly, the Court finds Plaintiff has again failed to plead
The remainder of the SAC's loss-causation allegations
                                                                   loss causation. And because “Plaintiff has previously been
fall into one of two buckets: either they tie a purported
                                                                   granted leave to amend and has subsequently failed to add the
misstatement to stock price decreases, which misunderstands
                                                                   requisite particularity,” the Court finds that leave to amend is
that loss causation is about linking corrective disclosures to
                                                                   unwarranted. See Zucco Partners, LLC, 552 F.3d at 1007.
stock price changes, see, e.g., ¶¶ 459–61; or they characterize
disclosures of investigations as corrective disclosures, see
id. ¶¶ 463–64, which in and of itself fails to prove loss            B. Price Erosion
causation under Ninth Circuit law, see Loos v. Immersion           Plaintiff's price-erosion allegations relate to two
Corp., 762 F.3d 880, 890 & n.3 (9th Cir. 2014) (observing that     pharmaceutical products: diclofenac and budesonide. The
an investigation “simply puts investors on notice of a potential   Court's previous Order held that the FAC failed to allege (1)
future disclosure of fraudulent conduct”).                         a materially false or misleading statement, and (2) scienter.
                                                                   Order at *5. The Court did not consider loss causation. Id. at
At the hearing on this motion, Plaintiff's principal argument      *5 n.3. For reasons detailed below, the Court finds the SAC
against Loos’s application was that this case is more akin         has not cured the FAC's defects.
to the Ninth Circuit's more-recent decision in Lloyd v. CVB
Financial Corp., 811 F.3d 1200 (9th Cir. 2017). See, e.g., Dkt.
No. 79 at 18:14–19 (“We have -- we have the more that Lloyd
is -- that Lloyd calls for.”). The Court disagrees. In Lloyd,                              1. Diclofenac
the Ninth Circuit reaffirmed Loos’s core principle that the
                                                                    *4 The SAC alleges three categories of misrepresentations
announcement of an investigation is insufficient to allege loss
                                                                   or omissions related to Defendants' diclofenac sales: (1)
causation, but found that Loos did not preclude loss causation
                                                                   statements maintaining annual revenue guidance for 2016
where the announcement of an investigation “related to an
                                                                   on February 22 and May 10, purportedly when diclofenac
alleged misrepresentation” was “coupled with a subsequent
                                                                   revenues were lower than anticipated; (2) statements
revelation of the inaccuracy of that misrepresentation.” Lloyd,
                                                                   misrepresenting the extent of diclofenac price and market
811 F.3d at 1203. In other words, the “something more” in
                                                                   share declines on May 10 and June 21; and (3) failing to warn
the Lloyd complaint was “a subsequent corrective disclosure
                                                                   that Impax would record a $15 million shelf stock adjustment
by the defendant.” Id. at 1210. But the operative complaint
                                                                   related to diclofenac sales at the end of Q2 2016 on a June 21,
here nowhere details a “subsequent corrective disclosure”
                                                                   2016 conference call. SAC ¶¶ 352–97.
that might convert disclosures of investigations found lacking
under Loos into the types of disclosures found sufficient in
Lloyd. 1


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The Court finds that Plaintiff again has failed to plead falsity   anticipated by defendants as of May 10, 2016.”), 372 (arguing
as to diclofenac sales and thus does not consider whether the      that “revenue guidance on May 10, 2016 was unrealistic and
operative complaint has adequately pleaded scienter.               defendants lacked a reasonable basis for providing it”). While
                                                                   Plaintiff argues that those targets were unreasonable based on
                                                                   past performance, the same could be true of any such forward-
                                                                   looking statement. But the PSLRA demands more: Plaintiff
         a. Annual Revenue Guidance Statements
                                                                   must have alleged “actual knowledge” of falsity, which it
On February 22, 2016, Impax offered annual revenue                 has not done by averring that Impax simply “could have”
guidance of $990 million. SAC ¶ 353. Impax maintained that         anticipated a decline in sales. See SAC ¶ 369. The Court thus
guidance on May 10, but lowered it to $910 million on June         finds that Plaintiff has again failed to plead falsity as to the
21. Id. ¶ 371. Plaintiff argues that Impax made the following      annual revenue guidance statements.
actionable statement as to the May 10 revenue guidance:


                                                                     b. Statements on May 10 and June 21 Regarding the
             Growth in the first quarter was driven                 Extent of Diclofenac Price and Market Share Declines
             primarily by the increase in sales
             from products acquired last year in                   Plaintiff contends that Impax's market share of diclofenac
             the Tower transaction and higher                      “remain[ed] at or above 95% ... during 4Q15 and 1Q16,”
             sales of select generic products led                  but fell precipitously from April to August 2016. SAC
             by diclofenac sodium gel.... This                     ¶¶ 362, 369. Plaintiff further contends that diclofenac
             morning we are reaffirming our full-                  prices commensurately declined. Id. ¶¶ 357–59. Given these
             year guidance since we continue to                    changes, Plaintiff alleges that Defendants made several
             expect that growth in 2016 will be                    materially false statements regarding diclofenac market
             driven by ... steady growth from the                  trends and its effect on Impax as a whole.
             majority of our existing generic line
             and then growth from our branded                       *5 Defendants respond that, as the Court found with respect
             portfolio.                                            to the FAC, the SAC's statements on this subject all fall
                                                                   into the following categories: (1) non-actionable puffery,
                                                                   (2) accurate statements of past performance, or (3) non-
Opp. at 21 (citing SAC ¶ 366).                                     actionable opinion statements. See Mot. at 19–21. Plaintiff
                                                                   counters by relitigating the same points that failed on the first
Defendants argue that this statement falls within the PSLRA's      motion to dismiss. See Opp. at 21–23. For example, Plaintiff
safe harbor, which provides that forward-looking statements        argues that Impax's statements that it “defended share” and
accompanied by meaningful cautionary language are not              that sales were “about on target,” do not constitute puffery
actionable unless a plaintiff proves the statements were made      because they “concealed the true extent and impact of pricing
with “actual knowledge” of falsity. Mot. at 19 (citing 15          erosions, market shares and volume loss.” Id. at 22 n.14.
U.S.C. § 78u-5(c)(1) and In re Cutera Sec. Litig., 610 F.3d
at 1111–12). Plaintiff counters that this guidance statement       The Court agrees with Defendants that the SAC is not
falls outside of the PSLRA safe harbor because it also             meaningfully different from the FAC, such that there would
contained “materially false and misleading statements about        be any reason for the Court to change its prior holding
past diclofenac performance and current state of ‘steady           regarding the falsity of these statements. Presented with
growth’ in the generic business.” Opp. at 21 (citing In re         no new arguments or factual allegations in the operative
Quality Sys., 865 F.3d at 1142).                                   complaint, the Court finds that Plaintiff has again failed to
                                                                   plead falsity as to the statements on May 10 and June 21
                                                                   regarding the extent of diclofenac price and market share
Setting aside whether In re Quality Systems supports
                                                                   declines, for the reasons stated in the Court's prior Order.
Plaintiff's position—which the parties dispute—the core
flaw in Plaintiff's argument is that the SAC only charges
Impax with setting “unreasonable” targets. See, e.g., SAC
¶¶ 369 (“The continued decline could reasonably have been


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                                                                   of the asset value, with the bulk of the charge attributed to
                                                                   budesonide.” Opp. at 23–24.
c. Failing to Warn of $15 Million Shelf Stock Adjustment

The SAC alleges that Impax hosted a conference call on June         *6 As to falsity, Defendants argues that “[t]he SAC fails
21, 2016, to announce “the acquisition of generic products         to allege facts showing that Defendants' initial valuation
from Teva and Allergan.” SAC ¶ 387. On that call, Impax            of the acquisition was objectively or subjectively false,
adjusted its 2016 revenue guidance, citing “lower revenues         and all of the facts that allegedly contradicted Defendants'
on diclofenac gel and metaxalone as a result of the impact of      opinion statements were publicly available.” Mot. at 23. As
additional competition occurring during the second quarter.”       to scienter, Defendants find “entirely implausible” Plaintiff's
Id. ¶ 388. The SAC alleges that this statement was false, in       theory that “Defendants knew the acquisition was overpriced
part, for omitting that Impax was about to record shelf stock      by $251 million, yet went through with it anyway for no
adjustments of $15 million. Id. ¶¶ 389, 392.                       alleged reason.” Id.


Defendants argue that Plaintiff has failed to “explain why         Plaintiff responds that it was at least misleading for Impax
Impax was required to disclose the shelf-stock adjustment,”        to tout that it “used ‘all of the data,’ ‘built[them] into
noting that “[s]ilence, absent a duty to disclose, is not          [the] model,’ with ‘individual valuations on ... each of
misleading under Rule 10b-5.” Mot. at 21 (quoting Basic Inc.       the individual products,’ and made ‘an adjustment in the
v. Levinson, 485 U.S. 224, 239 n.17 (1988)). In response,          economics’ to account for competition to enable the Company
Plaintiff essentially contends that by disclosing that one         ‘to absorb any kind of price alteration and adjustments’
reason warranted an adjustment to revenue guidance, Impax          relating to budesonide,” when Impax did not have certain
led investors to believe that other reasons did not exist. Opp.    pricing data. Opp. at 25. As to scienter, Plaintiff claims that the
at 23.                                                             magnitude of the write off proves scienter. Id. (citing Rothman
                                                                   v. Gregor, 220 F.3d 81, 92 (2d Cir. 2000)).
The Court finds Plaintiff has failed to plead falsity as to
the shelf stock adjustment. First, Plaintiff fails to prove that   The Court finds that Plaintiff has again failed to plead scienter
Impax had a duty to disclose the adjustment, and cites to          and thus does not consider whether Plaintiff has adequately
no case law for the proposition that disclosing one adverse        pleaded falsity. As Defendants highlight, Plaintiff's theory
material fact implicitly denies that any other adverse material    relies on the unreasonable assumption that Impax willfully
fact exists. More important, Plaintiff fails to explain how the    knew that an acquisition was overpriced by $251 million.
shelf stock adjustment revelation made the June 21 statements      The far more reasonable—and non-culpable—inference,
themselves misleading. It is not enough for Plaintiff to allege    however, is that Defendants simply overvalued the acquired
that investors later “consider[ed] the omitted information         products. See Mot. at 25. Further, Plaintiff's sole authority
significant.” See Markette v. XOMA Corp., No. 15-cv-03425-         for its argument that the magnitude of a write-off proves
HSG, 2017 WL 4310759, at *7 (N.D. Cal. Sept. 28, 2017).            scienter is unavailing. In Rothman, the defendants' gross
But that is all Plaintiff contends.                                overestimation of their own performance resulted in a write-
                                                                   off, which bolstered plaintiff's scienter allegation. 220 F.3d at
                                                                   92. But overestimating one's own capabilities is categorically
                                                                   different from overestimating the subject of an acquisition.
                        2. Budesonide
                                                                   For the latter, there is a far more logical and non-culpable
As was true of the FAC, the SAC alleges that Defendants            inference—innocent mistake—that is less plausible when a
made misleading and/or false statements regarding Impax's          company overstates its own capabilities.
purchase of budesonide, as well as other generic drugs, from
Teva and Allergan. Plaintiff claims that, despite Impax's
awareness of increased competition and price degradation                            3. Price-Erosion Conclusion
in the budesonide market, senior officials at Impax falsely
represented budesonide's positive financial outlook and            For these reasons, the Court finds Plaintiff has again failed
easy integration into the company's existing drug portfolio.       to plead (1) falsity as to its price-erosion claims related to
According to Plaintiff, despite these statements, “months after    diclofenac, and (2) scienter as to its price-erosion claims
closing, Impax took a write-down that eviscerated almost half      related to budesonide. And because “Plaintiff has previously



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                                                                      For the foregoing reasons, the Court GRANTS Defendants'
been granted leave to amend and has subsequently failed to
                                                                      motion to dismiss WITHOUT LEAVE TO AMEND. The
add the requisite particularity,” the Court finds that leave to
                                                                      clerk is directed to close the file.
amend is unwarranted. See Zucco Partners, LLC, 552 F.3d at
1007.
                                                                      IT IS SO ORDERED.

III. CONCLUSION
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                                                                   Defendant Encysive Pharmaceuticals, Inc. (“Encysive”) is
                    2007 WL 2720074                                a biopharmaceutical company. Defendant Bruce Given is
      Only the Westlaw citation is currently available.            Encysive's President and Chief Executive Officer, and
               United States District Court,                       Defendant Richard Dixon is its Chief Scientific Officer.
              S.D. Texas, Houston Division.                        Defendant Stephen Mueller and Defendant Terrence Coyne
                                                                   were each Encysive's Vice President of Finance, Secretary,
            OPPENHEIM PRAMERICA ASSET                              and Treasurer during various portions of the relevant time
           MANAGEMENT S.A.R.L., on behalf of                       frame. Defendant Gordon Busenbark was Encysive's Chief
        itself and others similarly situated, Plaintiffs,          Financial Officer. Given and Dixon are also members of
                                                                   Encysive's Board of Directors.
                               v.
            ENCYSIVE PHARMACEUTICALS,
                                                                   Lead Plaintiff Oppenheim Pramerica Asset Management
                   INC., et al., Defendants.
                                                                   S.a.r.l (“OPAM”) is a European fund management company
                     No. Civ.A.H–06–3022.                          that purchased shares of Encysive stock during the Class
                                |                                  Period between February 19, 2004 and July 24, 2006.
                         Sept. 18, 2007.
                                                                   Encysive developed a drug called sitaxentan, to be marketed
Attorneys and Law Firms                                            under the trade name “Thelin,” for the treatment of
                                                                   Pulmonary Arterial Hypertension (“PAH”). Encysive applied
Richard Eugene Norman, Timothy Joseph Crowley, Crowley             for approval from the Food and Drug Administration
& Douglas, Thomas E. Bilek, The Bilek Law Firm LLP,                (“FDA”) and from regulatory authorities in Europe, Canada,
Patrick Andrew Zummo, Zummo & Midkiff LLP, Houston,                and Australia. Approval was granted in Canada, in Australia,
TX, Ann K. Ritter, James M. Hughes, Joseph F. Rice, Motley         and in Europe for all twenty-seven countries in the European
Rice LLC, Mount Pleasant, SC, James M. Evangelista,                Union. During the Class Period, the FDA issued two letters
Lauren S. Antonino, Motley Rice LLC, Atlanta, GA, Austin           stating that Thelin is “approvable,” but the agency has not
P Tighe, Jr., Feazell & Tighe LLP Bridgepoint 2, Austin, TX,       yet given final approval for Encysive to market Thelin in the
Howard G. Smith, Smith & Smith LLP, Bensalem, PA, Lionel
                                                                   United States. 1 The FDA has not, however, denied approval
Z. Glancy, Glancy Binkow Goldberg, Los Angeles, CA, for
                                                                   of Thelin.
Plaintiffs.

Gerard G. Pecht, Peter Andrew Stokes, Fulbright & Jaworski,        1      These letters were issued on March 24, 2006, and
Austin, TX, for Defendants.                                               July 24, 2006. On July 15, 2007, the FDA issued a
                                                                          third “approvable” letter.
                                                                   OPAM, for itself and on behalf of other similarly situated
              MEMORANDUM AND ORDER                                 investors in Encysive stock during the Class Period, filed
                                                                   this Complaint alleging that Encysive engaged in securities
ATLAS, J.
                                                                   fraud in violation of § 10(b) of the Securities Exchange Act,
 *1 This securities fraud case is before the Court on              15 U.S.C. § 78j(b), and Rule 10b–5 promulgated thereunder.
Defendants' Motion to Dismiss [Doc. # 82], to which                Plaintiffs assert that Encysive made false and misleading
Plaintiffs filed their Opposition [Doc. # 83], and Defendants      statements during the Class Period that caused the price
filed a Reply [Doc. # 84]. Based on the Court's                    of Encysive stock to be artificially inflated. Plaintiffs also
review of Plaintiffs' Consolidated Class Action Complaint          assert a claim against the individual Defendants as controlling
(“Complaint”) [Doc. # 76] and all other matters of record, and     persons under § 20(a) of the Securities Exchange Act, 15
the application of governing legal authorities, the Court grants   U.S.C. § 78t(a).
the Motion to Dismiss.
                                                                   Defendants filed their Motion to Dismiss. The Motion has
                                                                   been fully briefed and is now ripe for decision.
I. BACKGROUND

                                                                   II. STANDARD FOR MOTION TO DISMISS


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Rule 12(b)(6) of the Federal Rules of Civil Procedure permits      [injured him].” Central Laborers' Pension Fund v. Integrated
a defendant to seek dismissal of a claim if it fails to “state     Elec., 497 F.3d 546, 2007 WL 2367776, *2 (5th Cir. Aug.21,
a claim upon which relief can be granted.” FED. R. CIV.            2007) (quoting Fin. Acquisition Partners LP v. Blackwell,
P. 12(b)(6). A securities fraud cause of action can fail to        440 F.3d 278, 286 (5th Cir.2006)). The Private Securities
state a “claim upon which relief can be granted” if the            Litigation Reform Act (“PSLRA”) requires that each element
plaintiff fails to plead each element with particularity. See      be pled with particularity. See id.
Central Laborers' Pension Fund v. Integrated Elec., 497 F.3d
546, 2007 WL 2367776, *2 (5th Cir. Aug.21, 2007). The
United States Supreme Court has made clear that a plaintiff is        A. Material Misstatement or Omission
obligated to provide “more than labels and conclusions, and        Defendants argue that Plaintiffs have not alleged with
a formulaic recitation of the elements of a cause of action        adequate particularity a material misstatement or omission.
will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544,        “[I]f an allegation regarding the statement or omission is
127 S.Ct. 1955, 1964–65, 167 L.Ed.2d 929 (2007) (citing            made on information and belief, the complaint shall state
Papasan v. Allain, 478 U.S. 265, 286, 106 S.Ct. 2932, 92           with particularity all facts on which that belief is formed.” Id.
L.Ed.2d 209 (1986) (on a motion to dismiss, courts “are not        “Failure to do so results in dismissal of the complaint.” Id.
bound to accept as true a legal conclusion couched as a factual
                                                                   Plaintiffs identify statements made during the Class Period
allegation”)). 2 “Factual allegations must be enough to raise a
                                                                   by Defendants in press releases, corporate reports, and
right to relief above the speculative level.” Twombly, 127 S.Ct.
                                                                   conference calls with analysts. Many of the statements relate
at 1965. “Without some factual allegation in the complaint,
                                                                   to the clinical studies of Thelin and a comparison of Thelin
it is hard to see how a claimant could satisfy the requirement
                                                                   to a competing drug bosentan, marketed as Tracleer. For
of providing not only fair notice of the nature of the claim,
                                                                   example, in press releases during the summer of 2004,
but also grounds on which the claim rests.” Id. at 1965 n.
                                                                   Encysive described the continuing clinical program for
3 (internal quotation marks omitted). When the Complaint
                                                                   Thelin. In press releases during the fall of 2004, Encysive
contains inadequate factual allegations, “this basic deficiency
                                                                   compared Thelin with Tracleer and expressed the belief that
should ... be exposed at the point of minimum expenditure
                                                                   Thelin “has the potential” to be an important alternative for
of time and money by the parties and the court.” Id. at
                                                                   patients who developed liver problems when using Tracleer.
1966. “[A] district court must retain the power to insist upon
                                                                   Encysive continued to report the status and ultimate results
some specificity in pleading before allowing a potentially
                                                                   of clinical testing throughout the remainder of 2004 and all
massive factual controversy to proceed.” Id. at 1967 (quoting
                                                                   of 2005.
Associated Gen. Contractors of Cal., Inc. v. Carpenters, 459
U.S. 519, 528 n. 17, 103 S.Ct. 897, 74 L.Ed.2d 723 (1983)).
                                                                   There is no allegation that Encysive falsified or misstated
                                                                   the status and results of the various clinical tests involving
2
       Twombly was decided under the less stringent                Thelin. Indeed, Encysive fully disclosed problems that were
       pleading requirements of Rule 8(a) of the Federal           encountered with Thelin's efficacy and safety at different
       Rules of Civil Procedure. Because the Private               dosage levels. Instead, Plaintiffs allege that these statements
       Securities Litigation Reform Act (“PSLRA”)                  were false because the supporting trials were “inadequate.”
       requires that each element of the securities fraud          See, e.g., Complaint, ¶¶ 39, 78. Absent any particularized
       claim be pled with particularity similar to the             allegation that Encysive knew its trials were fraudulent, the
       more onerous pleading requirements of Rule 9,               allegation that the trials themselves were inadequate fails
       the Supreme Court's decision in Twombly applies             to allege a false statement. “[W]here a company accurately
       with at least equal force to the PSLRA pleading             reports the results of a scientific study, it is under no
       requirements.                                               obligation to second-guess the methodology of that study.
                                                                   Medical researchers may well differ with respect to what
III. ANALYSIS                                                      constitutes acceptable testing procedures, as well as how
 *2 In order to state a claim for securities fraud under §         best to interpret data garnered under various protocols.”
10(a) of the Securities Exchange Act, “a plaintiff must allege,    Nathenson v. Zonagen Inc., 267 F.3d 400, 420 (5th Cir.2001).
in connection with the purchase or sale of securities[:] (1)
a misstatement or an omission (2) of material fact (3) made        Other allegedly false or misleading statements Plaintiffs
with scienter (4) on which plaintiff relied (5) that proximately   identify in the Complaint relate to Encysive's plan to apply


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for priority review of Thelin by the FDA and the company's           clearly no more than that—statements of Encysive's hopes
hopes for a successful result. As to many of these statements,       and expectations.
however, Plaintiffs fail to allege a factual basis for the
conclusory allegation that the statement was false. For              Plaintiffs have alleged in bald, conclusory fashion that
example, Encysive issued a press release in February 2005            Defendants knew that Thelin would not obtain FDA approval,
stating that the company was “focused on filing a New Drug           would not be commercialized, and would not gain market
Application (NDA) with the [FDA] in April 2005 to seek               share from Tracleer. See id., ¶ 78. Plaintiffs have not,
marketing authorization.” See Complaint, ¶ 56. During a              however, alleged with any particularity facts supporting
conference call that same day, Defendant Given stated that           Defendants' alleged knowledge. These conclusory assertions
Encysive would “absolutely request priority review.” See id .,       of knowledge and falsehoods are insufficient to withstand
¶ 57. During an April 2005 conference call, Given noted that         Defendants' Motion to Dismiss.
cancer and HIV drugs frequently get priority review from the
FDA and expressed the view that PAH should get priority              Plaintiffs note that Encysive received an “approvable letter”
review as well because it has a higher mortality rate than HIV       on March 24, 2006, and another one in July 2006. Although
and many cancers. See id., ¶ 62. Plaintiffs allege no facts to       Plaintiffs concede that Encysive disclosed the receipt of each
indicate that these statements were false or that they omitted       letter immediately, Plaintiffs allege that Defendants made
material information.                                                misstatements or omissions because they declined to discuss
                                                                     the details of the letters with market analysts. When declining
 *3 The remaining statements identified by Plaintiffs in             to answer such questions from analysts, Encysive explained
connection with the FDA application are clearly forward              clearly that, in order to avoid assisting competitors with
looking projections as to which Defendants enjoy a “safe             their FDA applications, Encysive would keep the details
harbor.” “Under Section 21E of the PSLRA, a defendant                confidential. Encysive's decision not to discuss publicly the
will not be liable for forward-looking statements, where the         details of the “approvable” letters did not constitute a material
forward-looking statement is ‘identified as a forward-looking        misstatement or omission. 3
statement, and is accompanied by meaningful cautionary
statements identifying important factors that could cause            3       Plaintiffs have not alleged and cannot allege
actual results to differ materially from those in the forward-
                                                                             that this decision was unreasonable, given the
looking statement.’ ” Rosenzweig v. Azurix Corp., 332
                                                                             competitive market conditions. During the Class
F.3d 854, 866 (5th Cir.2003) (quoting 15 U.S.C. § 78u–
                                                                             Period, several other companies were testing
5(A)(ii) (“safe harbor provision”). Meaningful cautionary
                                                                             competing drugs to treat PAH.
statements are “company specific warnings based on a
realistic description of the risks applicable to the particular       *4 Plaintiffs have failed as a matter of law to identify any
circumstances, not merely a boilerplate litany of generally          statements by Defendants that constituted misstatements or
applicable risk factors.” Southland Securities Corp. v. INSpire      omissions in support of their securities fraud claims. As a
Ins. Solutions, Inc., 365 F.3d 353, 372 (5th Cir.2004). To           result, Defendants are entitled to dismissal of the Complaint.
avoid this safe harbor provision, the plaintiff must plead
with particularity facts showing that the forward-looking
statement was made with actual knowledge that it was false.             B. Scienter
See id. at 371. For example, in the February 2005 conference         Defendants argue that this case should be dismissed because
call referenced above, Defendant Given stated that Encysive          Plaintiffs have failed to allege scienter with adequate
believed it had a “good shot” at receiving priority review from      particularity. In any private securities fraud action under the
the FDA, but noted clearly that it was “an FDA decision of           PSLRA, the complaint shall, with respect to each alleged
course.” See Complaint, ¶ 57. During a later conference call in      misstatement or omission, “state with particularity facts
February 2005, Given stated that Encysive did not expect the         giving rise to a strong inference that the defendant acted
FDA to require additional clinical trials, but also stated clearly   with the required state of mind.” Id. (citing 15 U.S.C. §
that “you never know what's going to happen when you get             78u–4(b)(2)). The plaintiff must allege and prove that the
into a regulatory process.” See id., ¶ 59. Encysive's statements     defendant acted with scienter, which means intent or severe
of its expectations regarding the FDA approval process were          recklessness. Id. “Severe recklessness is limited to those
                                                                     highly unreasonable omissions or misrepresentations that
                                                                     involve not merely simple or even inexcusable negligence,


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but an extreme departure from the standards of ordinary care,      Moreover, the allegations in the Complaint do not raise an
and that present a danger of misleading buyers or sellers          inference of intent or severe recklessness that is at least as
which is either known to the defendant or is so obvious that       compelling as the opposing inference one could draw from
the defendant must have been aware of it.” Id.                     the facts alleged. For example, Encysive's applications for
                                                                   approval to market Thelin in Europe, Canada and Australia
When determining whether a plaintiff has alleged facts that        were approved, supporting Encysive's belief that the FDA
give rise to the requisite inference of scienter, “a court         application would similarly be approved. Encysive, as early
must consider plausible nonculpable explanations for the           as its 2003 Form 10–K filed in March 2004, clearly and
defendant's conduct, as well as inferences favoring the            unequivocally cautioned that “[i]f we are unable to clearly
plaintiff.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551      demonstrate that Thelin0 provides an acceptable risk-benefit
U.S. 308, 127 S.Ct. 2499, 2510, 168 L.Ed.2d 179 (2007).            profile as compared to currently approved therapies, we are
“The inference that the defendant acted with scienter need         not likely to receive regulatory approval to market” the
not be irrefutable, i.e., of the smoking-gun genre, or even the    drug. See Complaint, ¶ 46. Similar cautionary language was
most plausible of competing inferences ... Yet the inference of    included in the other public statements regarding the clinical
scienter must be more than merely reasonable or permissible        testing and the FDA approval process. As is noted above,
—it must be cogent and compelling, thus strong in light            Encysive invested significant resources in the development
of other explanations.” Id. (internal citations and quotations     of Thelin, indicating its genuine belief that the drug would
omitted). A complaint, therefore, will survive dismissal “only     receive FDA approval and be successfully marketed. The
if a reasonable person would deem the inference of scienter        allegations in the Complaint do not support a cogent inference
cogent and at least as compelling as any opposing inference        of scienter.
one could draw from the facts alleged.” Id.
                                                                   Plaintiffs also note that two of the individual Defendants sold
Plaintiffs in this case have not alleged facts that raise an       stock during the Class Period. “Insider trading can be a strong
inference that Defendants acted with the necessary scienter.       indicator of scienter if the trading occurs at suspicious times
Plaintiffs argue scienter is established by Encysive's failure     or in suspicious amounts.” See Central Laborers' Pension
to disclose “any information about the FDA's refusal to            Fund, 2007 WL 2367776 at *5 (citing Rubinstein v. Collins,
approve Thelin or why it wanted additional clinical trial          20 F.3d 160, 169 (5th Cir.1994)). “Suspicious in this context
data.” See Opposition, p. 17. This argument is rejected.           generally means that the sales are out of line with prior trading
First, the FDA has not refused to approve Thelin and               practices or at times calculated to maximize personal profit.”
Encysive promptly disclosed the FDA's approvable letters           Id. (citing Abrams v. Baker Hughes Inc., 292 F.3d 424, 435
seeking additional information. Second, as is discussed            (5th Cir.2002)). “Insider trading alone cannot create a strong
above, Encysive explained its reasons for not discussing           inference of scienter, but it may meaningfully enhance the
publicly the specifics of the FDA letters and that explanation     strength of the inference of scienter.” Id. (internal quotations
is cogent and compelling. Indeed, it is as reasonable as           and citation omitted). An insider's sales of only a small
Plaintiffs' belief that the decision to withhold those specifics   percentage of his total stock holdings does not contribute to
constituted knowledge of some misstatement or omission.            an inference of scienter. See id. In this case, Given, Encysive's
                                                                   CEO and the person who actually made the challenged
 *5 Plaintiffs also argue that they have adequately alleged        statements during the press conferences, did not sell any
scienter by showing that Encysive was motivated to engage          shares during the Class Period. Defendant Mueller sold
in securities fraud because it needed money from public            17.59% of his holdings and Defendant Dixon sold 13.79% of
stock offerings. It is rare that a company conducts a public       his holdings. Each had sold shares prior to the Class Period,
stock offering for any reason other than to raise money            and each retained the vast majority of their shares throughout
and, therefore, this does not raise an inference of scienter.      the Class Period. Because the sales were of small percentages
Additionally, Encysive used a large part of the money it           and only by two insiders, and because there is no other
acquired from the stock sales to finance the development of        inference of scienter, the stock sales by Mueller and Dixon do
Thelin, indicating Defendants' belief that Thelin's potential as   not create a cogent inference of scienter.
a successful and lucrative product for the company justified
the expenditures.                                                   *6 Absent allegations that raise an inference of scienter that
                                                                   is both cogent and at least as compelling as any opposing



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                                                                        result, it appears that additional attempts to amend to plead
inference one could draw from the facts alleged, Plaintiffs'
                                                                        securities fraud violations in this case would be futile. The
Complaint must be dismissed.
                                                                        Court will not further delay the final resolution of this dispute
                                                                        by allowing yet another amendment. Accordingly, it is hereby
   C. Section 20 Control Person Liability
As is discussed above, Plaintiffs have failed to plead                  ORDERED that Defendants' Motion to Dismiss [Doc. # 82] is
with adequate particularity facts to support either the                 GRANTED. The Court will issue a separate Final Dismissal
misstatements or the scienter element of a securities fraud             Order.
cause of action. Because they have failed to allege a primary
securities fraud violation, they necessarily fail to state a
claim for control person liability under § 20. See Financial                                    FINAL ORDER
Acquisition Partners LP v. Blackwell, 440 F.3d 278, 288 (5th
Cir.2006).                                                              For the reasons stated in the accompanying Memorandum and
                                                                        Order, it is hereby

IV. CONCLUSION AND ORDER                                                ORDERED that Defendants' Motion to Dismiss [Doc. # 82]
Plaintiffs have failed to allege with adequate particularity that       is GRANTED. This is a final, appealable order.
Defendants made false statements with the necessary scienter.
The pleading requirements of the PSLRA and the standard
described by the United States Supreme Court in Twombly                 All Citations
have not been met. The Consolidated Class Action Complaint
[Doc. # 76] is itself an amended pleading filed after three civil       Not Reported in F.Supp.2d, 2007 WL 2720074
cases, each with its own complaint, were consolidated. As a

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                                                                 “Plaintiffs”), against defendants, UHY LLP (“UHY”),
                     2019 WL 1205628                             and ten individual defendants (collectively, “Individual
     Only the Westlaw citation is currently available.           Defendants”): John D. Schiller (“Schiller”), D. West Griffin
United States District Court, S.D. Texas, Houston Division.      (“Griffin”), Hill A Feinberg (“Feinberg”), Norman M.K.
                                                                 Louie (“Louie”), William Colvin (“Colvin”), David M.
  Kristen PLAISANCE, Robbie Plaisance, Rickie Corley,            Dunwoody (“Dunwoody”), Cornelius Dupré II (“Dupré”),
     Charles F. Leekley, Brett Morris, Henry Negrette,           Kevin Flannery (“Flannery”), Scott A. Griffiths (“Griffiths”),
     Jim Nesbitt, Cindy Sparacino, Richard Sparacino,            and James LaChance (“LaChance”), for common law fraud
                                                                 and alleged violations of §§ 10(b) and 20(a) of the Securities
  Christian Schick, Jack Gostl, Santiago Cordovez, Floyd
                                                                 Exchange Act of 1934 (Exchange Act), 15 U.S.C. §§ 78j(b),
   Bone, Tom Howland, Michael Mernah, Ben A. Seale,
                                                                 78t(a) and Rule 10b-5 promulgated thereunder, 17 C.F.R.
   Joe Shupak, Marshall Whitmer, Bill Walters, Robert
                                                                 § 240.10b-5, during the period beginning on September
  Roig, Joseph C. Rosso, and Arthur D. Secor, Plaintiffs,        28, 2007, and ending on December 30, 2016, arising from
                            v.                                   statements and representations regarding Energy XXI Ltd.
       John D. SCHILLER, Jr., D. West Griffin, Hill              (“EXXI” or the “Company”). Plaintiffs also assert claims
         A Feinberg, Norman M.K. Louie, William                  for violations of § 20(a) of the Exchange Act, 15 U.S.C. §
          Colvin, David M. Dunwoody, Cornelius                   78t(a), and for breach of fiduciary duty against the Individual
        Dupré II, Kevin Flannery, Scott A. Griffiths,            Defendants all of whom served as members of EXXI's
       James LaChance, and UHY LLP, Defendants.                  Board of Directors. Pending before the court are UHY
                                                                 LLP's Motion to Dismiss (“UHY's MD”) (Docket Entry No.
                 Civil Action No. H-17-3741                      101), Defendant D. West Griffin's Motion to Dismiss the
                              |                                  Amended Complaint (“Griffin's MD”) (Docket Entry No.
                      Signed 03/14/2019                          102), Defendant Norman M.K. Louie's Motion to Dismiss
                                                                 the Amended Complaint (“Louie's MD”) (Docket Entry No.
Attorneys and Law Firms                                          103), Defendant John D. Schiller, Jr.’s Motion to Dismiss the
                                                                 Amended Complaint (“Schiller's MD”) (Docket Entry No.
Randall Scott Newman, Mark C. Rifkin, Wolf Haldenstein et
                                                                 104), and The Director Defendants’ Motion to Dismiss the
al, New York, NY, Deirdre Carey Brown, Hoover Slovacek
                                                                 Amended Complaint (“Director Defendants’ MD”) (Docket
LLP, Houston, TX, for Plaintiffs.
                                                                 Entry No. 105). For the reasons stated below, the defendants’
Barrett H. Reasoner, Ashley McKeand Kleber, David                motions to dismiss will be granted.
Michael Sheeren, Gibbs Bruns LLP, Houston, TX, Kenneth E.
Warner, Warner Partners, P.C, Clifford Thau, Vinson Elkins,
New York, NY, Jill Rickershauser Carvalho, Paul R. Bessette,              I. Procedural History and Alleged Facts
Tyler Wayne Highful, King and Spalding, Austin, TX, Jeffrey
S. Johnston, Vinson Elkins LLP, Houston, TX Richard Kent         Plaintiffs initiated this action on September 6, 2017, by-
Piacenti, Vinson and Elkins LLP, Dallas, TX, for Defendants.     filing in the Southern District of New York a Complaint
                                                                 for Violation of the Federal Securities Law, Common Law
                                                                 Fraud, and Breach of Fiduciary Duty (Docket Entry No.
      MEMORANDUM OPINION AND ORDER                               1), asserting claims for fraud and violation of § 10(b) of
                                                                 the Exchange Act and Rule 10b-5 promulgated thereunder
SIM LAKE, UNITED STATES DISTRICT JUDGE                           against all defendants, and claims for violation of § 20(a) of
                                                                 the Exchange Act and breach of fiduciary duty against the
*1 This action is brought by plaintiffs, Kristen Plaisance,      Individual Defendants. On December 1, 2017, the Southern
Robbie Plaisance, Rickie Corley, Charles F. Leekley, Brett       District of New York entered an Order pursuant to 28 U.S.C. §
Morris, Henry Negrette, Jim Nesbitt, Cindy Sparacino,            1404(a) transferring the action to this court (Docket Entry No.
Richard Sparacino, Christian Schick, Jack Gostl, Santiago        52). On February 12, 2018, defendants moved for dismissal
Cordovez, Floyd Bone, Tom Howland, Michael Mernah, Ben           (Docket Entry Nos. 85, 86, 89, 93, and 94). On March 29,
A. Seale, Joe Shupak, Marshall Whitmer, Bill Walters, Robert     2018, Plaintiffs filed an Amended Complaint for Violation
Roig, Joseph C. Rosso, and Arthur D. Secor (collectively,        of the Federal Securities Law, Common Law Fraud, and



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Breach of Fiduciary Duty (“Plaintiffs’ Amended Complaint”)          Plaintiffs allege that defendant Griffin served as EXXI's
(Docket Entry No. 97), in which they reassert the same              Chief Financial Officer (“CFO”) and Board member from
claims asserted in their initial complaint. On May 18, 2018,        the Company's inception through and including October 20,
defendants filed the pending motions to dismiss Plaintiffs’         2014, when EXXI announced Griffin's resignation in a press
Amended Complaint (Docket Entry Nos. 101-105). On July              release and a Current Report filed with the SEC on Form
16, 2018, plaintiffs filed responses to each of the pending         8-K/A on December 1, 2014, following BDO USA, LLP's
motions to dismiss (Docket Entry Nos. 111-115), and on              (“BDO”) acquisition of the Texas practice of UHY, which
August 29, 2018, defendants filed replies in support of their       provided independent public accounting services to EXXI. 5
motions to dismiss (Docket Entry Nos. 118-122).                     Plaintiffs allege that as CFO, Griffin signed EXXI's quarterly
                                                                    and annual reports filed with the SEC on Forms 10-Q, 10-K,
 *2 Plaintiffs’ Amended Complaint alleges that EXXI                 and 10-K/A, and that Griffin is responsible for the content of
was founded by Schiller and Griffin in 2005 to acquire,
                                                                    the reports that he signed. 6
explore, develop, and operate oil and natural gas properties
onshore in Louisiana and Texas and offshore in the
                                                                    5
Gulf of Mexico Shelf, funded by a $300 million initial                      Id. at 9 ¶ 39.
public offering of common stock traded on the London                6       Id. ¶¶ 37-38.
Stock Exchange Alternative Investment Market (“AIM”). 1
Plaintiffs allege that Schiller served as EXXI's President,         Plaintiffs allege that UHY was engaged to audit EXXI's
Chief Executive Officer (“CEO”), and member of the Board            financial statements and to express an opinion on whether
of Directors (“Board”) from the company's inception through         those financial statements fairly presented the financial
and including February 2, 2017, when EXXI announced the             condition of the Company. 7 Specifically, UHY was engaged
termination of Schiller's employment as President, CEO, and         to audit EXXI's financial statements for the years ended
member of the Board in a Current Report filed with the SEC          June 30, 2011, 2012, 2013, and 2014. 8 Plaintiffs allege
on Form 8-K. 2 From EXXI's founding in 2005 through and             that each audit opinion contained UHY's opinion that it
including October 15, 2015, Schiller also served as Chairman        audited EXXI's financial statements “in accordance with
of the Board. He was stripped of that title by the Board            the standards of the Public Company Accounting Oversight
on October 9, 2015, following an internal investigation that        Board (United States)” (the “PCAOB”), 9 that it “plan[ned]
found he borrowed funds from personal acquaintances or              and perform[ed] the audit to obtain reasonable assurance
their affiliates, some of whom provided services to EXXI or         about whether effective internal control over financial
its subsidiaries, and that in 2014 he personally borrowed $3
                                                                    reporting was maintained in all material respects,” 10 and that
million from defendant Louie before Louie was appointed to
                                                                    each audit stated: “ ‘In our opinion Energy XXI (Bermuda)
the Board effective December 15, 2014. 3 Plaintiffs allege          Limited and subsidiaries maintained, in all material respects,
that as EXXI's Board Chairman and CEO, Schiller signed the          effective internal control over financial reporting’ for the year
Company's annual reports filed with the SEC on Forms 10-
                                                                    in question.” 11
                4
K and 10-K/A.
                                                                    7       Id. at 19 ¶ 85.
1      Plaintiffs’ Amended Complaint, Docket Entry No.
                                                                    8
       97, p. 15 ¶¶ 64-65. All page numbers for docket                      Id.
       entries in the record refer to the pagination inserted       9       Id. at 20 ¶ 92.
       at the top of the page by the court's electronic filing
       system, CM/ECF.                                              10      Id. ¶ 93.
2                                                                   11
       Id. at 6 ¶ 20.                                                       Id. at 20-21 ¶ 94.
3                                                                   Plaintiffs allege that in addition to serving on EXXI's
       Id. ¶ 22.
                                                                    Board, defendant Colvin was Chairman of the Audit
4      Id. ¶¶ 20-21.                                                Committee and a member of the Nomination and Governance
                                                                    Committee; 12 defendant Flannery was a member of the



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Audit Committee and the Nomination and Governance                allege that on August 12, 2011, EXXI's common stock was
Committee;   13
             defendant Dunwoody was Chairman of the              listed for trading on the NASDAQ Global Select Market
Remuneration Committee and a member of the Audit                 under the symbol “EXXI.” 20 Plaintiffs allege that because
Committee; 14 defendant Griffiths served on the Audit            many institutional investors are prohibited from investing in
                                                                 companies that do not meet certain minimum requirements
Committee and the Compensation Committee; 15 defendant
                                                                 such as the requirements needed to be listed on the NASDAQ
Feinberg was Lead Independent Director, Chairman of the
                                                                 Global Select Market exchange, listing thereon gave EXXI
Nomination and Governance Committee, a member of the
Compensation Committee, and an ex officio member of the          greater access to capital and increased market liquidity. 21
                                                                 Plaintiffs assert their belief that after a reasonable opportunity
Audit Committee; 16 and defendant Dupré was Chairman
                                                                 for discovery, evidence will show that but for EXXI's use of
of the Compensation Committee and a member of the
                                                                 cash flow hedge accounting, EXXI would not have met the
Nomination and Governance Committee. 17                          minimum requirements for listing on the NASDAQ Global
                                                                 Select Market. 22
12      Id. at 11 ¶ 48.
13                                                               19
        Id. ¶ 49.                                                        Id. at 16-17 ¶ 72.

14                                                               20
        Id. at 11-12 ¶ 50.                                               Id. at 17 ¶ 73.

15                                                               21
        Id. at 12 ¶ 51.                                                  Id. ¶ 74.

16                                                               22
        Id. ¶ 52.                                                        Id. ¶ 76.

17                                                               Plaintiffs allege that from 2010 to 2013 EXXI made optimistic
        Id. at 12 ¶ 53.
                                                                 and positive statements about its ultimately unsuccessful
Plaintiffs allege that between 2006 and 2010, EXXI               ultra-deep exploration program, particularly the Davy Jones
completed five major acquisitions for aggregate cash             No. 1 and No. 2 wells, that were false and misleading when
consideration of approximately $2.5 billion of borrowed          made. 23
funds: (1) Marlin Energy, L.L.C. (“Marlin”) in February 2006
for approximately $448.4 million; (2) certain Louisiana Gulf     23
Coast producing properties from affiliates of Castex Energy,             Id. at 25-32 ¶¶ 108-43.
Inc. (“Castex Properties”) in June 2006 for approximately        Plaintiffs allege that in early 2014 defendants caused EXXI to
$312.5 million; (3) certain Gulf of Mexico shelf properties      acquire EPL, an independent oil and natural gas exploration
from Pogo Producing Company (“Pogo Properties”) in               and production company, and assert their belief that after
June 2007 for approximately $415.1 million; (4) certain          a reasonable opportunity for discovery evidence will show
Gulf of Mexico shelf oil and natural gas interests from          that Schiller pursued the acquisition without customary
MitEnergy Upstream LLC, a subsidiary of Mitsui & Co.,            and reasonable due diligence, and consequently that EXXI
Ltd. (“MitEnergy Interests”) in November 2009 for $276.2         overpaid for EPL, 24 that following the acquisition one
million; and (5) certain shallow water Gulf of Mexico shelf      of EPL's Board of Directors, defendant Griffiths, joined
oil and natural gas interests from affiliates of Exxon Mobil     EXXI's Board and changed EPL's method of accounting from
Corporation (“ExxonMobil Acquisition”) in December 2010          successful efforts to full cost accounting to match EXXI's
for $1.01 billion. 18                                            accounting method, 25 EXXI's reported goodwill rose from
                                                                 zero reported in EXXI's financial statements from the period
18                                                               ended March 31, 2014, shortly before the acquisition, to $329
        Id. at 16 ¶¶ 69-71.
                                                                 million reported by EXXI in its June 30, 2014, financial
 *3 Plaintiffs allege that on July 31, 2007, following EXXI's
acquisition of the Pogo Properties in June of 2007, EXXI         statements filed immediately after the acquisition. 26
announced that in addition to trading on the AIM in London,
its common stock was approved for trading in the United          24      Id. at 33-34 ¶¶ 147-155.
                                               19
States on the NASDAQ national exchange.             Plaintiffs



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25                                                                             restatement was a mere technical
       Id. at 35-36 ¶¶ 159-68.
                                                                               deficiency in documentation, when
26                                                                             the true reason for the restatement
       Id. at 37 ¶ 173.
                                                                               was that the Company was hedging
Plaintiffs allege that following EXXI's acquisition of EPL,
                                                                               for improper purposes, including
EXXI issued financial statements that were false and
                                                                               speculating on future oil and natural
misleading because EXXI failed to perform a quantitative
                                                                               gas prices or manipulating reported
goodwill impairment test and therefore failed to recognize
goodwill impairments for EPL or for its other oil and gas                      revenue and earnings. 33

properties 27 and failed to disclose the existence of a personal
loan from defendant Louie to defendant Schiller. 28
                                                                   30     Id. at 17-18 ¶ 77.
27     Id. at 38-49 ¶¶ 176-230.                                    31     Id. at 52 ¶ 249.
28     Id. at 56 ¶¶ 269-70.                                        32     Id. at 54 ¶ 257.
Plaintiffs allege that on or about December 14, 2014, EXXI
                                                                   33
common stock was cancelled for trading on the AIM in                      Id. at 54-55 ¶ 259.
London by action of the Board taken pursuant to a shareholder      Plaintiffs allege that on April 16, 2016, EXXI sought
vote at the annual meeting held on November 4, 2014. 29            protection from its creditors by filing a voluntary Chapter 11
                                                                   bankruptcy petition in the Southern District of Texas. 34
29     Id. at 18 ¶ 78.
                                                                   34
Plaintiffs allege that in September of 2015, following a                  Id. at 68-69 ¶ 328.
change in independent auditors, EXXI was required to restate       Plaintiffs allege that on April 20, 2016, EXXI was informed
more than four years of financial statements to eliminate          by the Listing Qualifications Department of NASDAQ that
the use of hedge accounting. 30 Plaintiffs allege that EXXI's      its stock would be delisted from the NASDAQ for failure to
financial statements for the years ended June 30, 2011,            meet the minimum listing qualifications. 35
2012, 2013, 2014, and 2015, filed with the SEC on August
26, 2011, August 9, 2012, August 21, 2013, August 28               35     Id. at 18 ¶ 79.
and December 23, 2014, and September 29, 2015, were
materially false and misleading because they stated that EXXI      Plaintiffs allege that on December 13, 2016, the Bankruptcy
did not use hedging for speculative or trading purposes. 31        Court for the Southern District of Texas approved EXXI's
Plaintiffs allege that “[u]ntil EXXI's financial statements were   amended plan of reorganization. 36
corrected on September 29, 2015, the Company's publicly
filed financial statements for at least the years ended June       36     Id. ¶ 81.
30, 2011, 2012, 2013, and 2014, and for all the intervening
quarters materially misstated and did not fairly and accurately
present the Company's financial condition and its results of                          II. Standards of Review
               32
operations.”        Plaintiffs also allege that
                                                                   Defendants argue that Plaintiffs’ Amended Complaint should
                                                                   be dismissed pursuant to Federal Rule of Civil Procedure
                                                                   12(b)(6) for failure to state a claim for which relief may be
                *4 EXXI's disclosure that it was                   granted. A Rule 12(b)(6) motion tests the formal sufficiency
               required to restate its financial                   of the pleadings and is “appropriate when a defendant attacks
               statements to eliminate cash flow                   the complaint because it fails to state a legally cognizable
               hedge accounting was materially false               claim.” Ramming v. United States, 281 F.3d 158, 161 (5th Cir.
               and misleading because it made                      2001), cert. denied sub nom. Cloud v. United States, 122 S.
               it appear that the reason for the                   Ct. 2665 (2002). The court must accept the factual allegations
                                                                   of the complaint as true, view them in a light most favorable


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to the Plaintiffs, and draw all reasonable inferences in the
Plaintiffs’ favor. Id. To defeat a motion to dismiss pursuant
to Rule 12(b)(6) a plaintiff must plead “enough facts to state      A. Federal Securities Law Claims
a claim to relief that is plausible on its face.” Bell Atlantic     Defendants argue that the securities claims asserted against
Corp. v. Twombly, 127 S. Ct. 1955, 1974 (2007). “A claim            them should be dismissed because Plaintiffs have failed
has facial plausibility when the plaintiff pleads factual content   to satisfy the pleading requirements for stating either a
that allows the court to draw the reasonable inference that the     primary claim under § 10(b) or Rule 10b-5, or a claim
defendant is liable for the misconduct alleged.” Ashcroft v.        for control person liability under § 20(a), and because the
Iqbal, 129 S. Ct. 1937, 1949 (2009) (citing Twombly, 127            factual allegations do not satisfy the pleading requirements of
S. Ct. at 1965). “The plausibility standard is not akin to a        Federal Rule of Civil Procedure 9(b) or the Private Securities
‘probability requirement,’ but it asks for more than a sheer        Litigation Reform Act (“PSLRA”) set forth at 15 U.S.C. §
possibility that a defendant has acted unlawfully.” Id. (quoting    78u-4(b).
Twombly, 127 S. Ct. at 1965). “Where a complaint pleads
facts that are ‘merely consistent with’ a defendant's liability,
                                                                      1. Applicable Law
it ‘stops short of the line between possibility and plausibility
of entitlement to relief.’ ” Id. (quoting Twombly, 127 S. Ct.
at 1966).                                                                            (a) Federal Securities Law

                                                                    Section 10(b) of the Exchange Act makes it unlawful for any
When considering a motion to dismiss courts generally are
                                                                    person:
limited to the complaint and its proper attachments. Dorsey
v. Portfolio Equities, Inc., 540 F.3d 333, 338 (5th Cir. 2008).
Courts may also rely on “ ‘documents incorporated into the
complaint by reference, and matters of which a court may                        To use or employ, in connection with
take judicial notice.’ ” Id. See also Lone Star Fund V (U.S.),                  the purchase or sale of any security ...
L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir.                          any manipulative or deceptive device
2010) (When considering a motion to dismiss, “[t]he court's                     or contrivance in contravention of
review is limited to the complaint, any documents attached                      such rules and regulations as the
to the complaint, and any documents attached to the motion                      [SEC] may prescribe as necessary or
to dismiss that are central to the claim and referenced by the                  appropriate in the public interest or for
complaint.”) (citing Collins v. Morgan Stanley Dean Witter,                     the protection of investors.
224 F.3d 496, 498-99 (5th Cir. 2000) ). In securities cases
courts may take judicial notice of the contents of public
disclosure documents that are required by law to be filed and       15 U.S.C. § 78j(b). Rule 10b-5 makes it unlawful for any
are filed with the SEC with the caveat that these documents         person, directly or indirectly:
may be considered only for the purpose of determining what
statements they contain; not for proving the truth of their           (a) To employ any device, scheme, or artifice to defraud,
contents. Lovelace v. Software Spectrum Inc., 78 F.3d 1015,
                                                                      (b) To make any untrue statement of a material fact or to
1018 & n.1 (5th Cir. 1996) (citing and adopting rule of
                                                                      omit to state a material fact necessary in order to make the
Kramer v. Time Warner Inc., 937 F.2d 767, 774 (2d Cir.
                                                                      statements made, in the light of the circumstances under
1991), and explaining that rule does not apply to other forms
                                                                      which they were made, not misleading, or
of disclosure such as press releases and announcements at
shareholder meetings).                                                (c) To engage in any act, practice, or course of business
                                                                      which operates or would operate as a fraud or deceit upon
                                                                      any person, in connection with the purchase or sale of any
                         III. Analysis                                security.

 *5 Defendants argue that all of the claims asserted against        17 C.F.R. § 240.10b-5. To recover damages for violations of
them should be dismissed because Plaintiffs have failed to          § 10(b) and Rule 10b-5, plaintiffs must prove
state a claim for which relief may be granted.



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                                                                   those they sue and enlighten each defendant as to his or
  “(1) a material misrepresentation or omission by the             her particular part in the alleged fraud”) ). Group allegations
  defendant; (2) scienter; (3) a connection between the            that “the defendants” or “the company” knew something do
  misrepresentation or omission and the purchase or sale           not meet that standard. Southland, 365 F.3d at 366. The
  of a security; (4) reliance upon the misrepresentation or        factual allegations contained in the entire complaint must
  omission; (5) economic loss; and (6) loss causation.”            be considered in determining whether plaintiffs’ allegations
                                                                   raise a strong inference of scienter. Id. To withstand a motion
Halliburton Co. v. Erica P. John Fund, Inc., 134 S. Ct.
                                                                   to dismiss, the facts alleged must permit an inference of
2398, 2407 (2014). See also Owens v. Jastrow, 789 F.3d
                                                                   intentional deception that is at least equally as compelling as
529, 535 (5th Cir. 2015) (same). To satisfy the materiality
                                                                   any alternative inference. Lormand v. US Unwired, Inc., 565
requirement, “there must be a substantial likelihood that the
                                                                   F.3d 228, 254 (5th Cir. 2009) (quoting Tellabs, 127 S. Ct. at
disclosure of the omitted fact would have been viewed by
                                                                   2499, 2510).
the reasonable investor as having significantly altered the
‘total mix’ of information made available.” TSC Industries,
                                                                   Plaintiffs must show a causal connection between the
Inc. v. Northway, Inc., 96 S. Ct. 2126, [449] (1976) (citing
                                                                   company's revealing of the truth regarding an earlier
Basic Inc. v. Levinson, 108 S. Ct. 978, [231] (1988) ). The
                                                                   misrepresentation and a subsequent decline in the company's
Fifth Circuit has stated that “[m]ateriality is not judged in
                                                                   stock price. See Alaska Electrical Pension Fund v. Flowserve
the abstract, but in light of the surrounding circumstances.”
                                                                   Corp., 572 F.3d 221, 229 (5th Cir. 2009). This corrective
Krim v. BancTexas Group, Inc., 989 F.2d 1435, 1448 (5th Cir.
                                                                   disclosure must be “related to” or “relevant to” the alleged
1993). Inclusion of cautionary language along with disclosure
                                                                   fraud, meaning the disclosed information must make the
of any firm-specific adverse facts or assumptions is relevant
                                                                   existence of the alleged fraud “more probable than it would
to the materiality inquiry, but “cautionary language as such is
                                                                   be without that alleged fact.” Public Employees’ Retirement
not per se dispositive of this inquiry.” Rubinstein v. Collins,
                                                                   System of Mississippi, Puerto Rico Teachers’ Retirement
20 F.3d 160, 168 (5th Cir. 1994).
                                                                   System v. Amedisys, Inc., 769 F.3d 313, 321 (5th Cir. 2014),
                                                                   cert. denied, 135 S. Ct. 2892 (2015). The corrective disclosure
Scienter is “a mental state embracing intent to deceive,
                                                                   “can be gradually perceived in the marketplace through a
manipulate, or defraud.” Tellabs, Inc. v. Makor Issues &
                                                                   series of partial disclosures.” Id. at 322. Partial disclosures are
Rights, Ltd., 127 S. Ct. 2499, 2507 (2007) (quoting Ernst
                                                                   viewed collectively and considered as a whole to determine
& Ernst v. Hochfelder, 96 S. Ct. 1375, 1381, n.12 (1976) ).
                                                                   when cumulative facts support a corrective disclosure that
Scienter does not require a specific intent to deceive; instead,
                                                                   meets the loss causation pleading standard. Id. at 325.
   *6 the scienter element of a federal securities fraud claim
  may be satisfied by proof that the defendant acted with          The parties agree that the applicable statute of limitations and
  severe recklessness, which is “limited to those highly           repose is 28 U.S.C. § 1658(b). 37 Under 28 U.S.C. § 1658(b)
  unreasonable omissions or misrepresentations that involve        an action for securities fraud must be brought no later than
  not merely simple or even inexcusable negligence, but an         two years after the discovery of the facts constituting the
  extreme departure from the standards of ordinary care, and       violation or five years after the occurrence of the violation,
  that present a danger of misleading buyers or sellers which      whichever is earlier. The period of repose begins to run
  is either known to the defendant or is so obvious that the       from the date of the misrepresentation or omission that forms
  defendant must have been aware of it.”                           the basis of the securities law violation. Hall v. Variable
                                                                   Annuity Life Insurance Co., Civil Action No. H-11-3639,
Tuchman v. DSC Communications Corp., 14 F.3d 1061,                 2012 WL 12877431, at *4 (S.D. Tex. May 31, 2012), aff'd,
1067 (5th Cir. 1994) (quoting Shushany v. Allwaste, Inc.,          727 F.3d 372 (5th Cir. 2013) (citing In re Exxon Mobil
992 F.2d 517, 521 (5th Cir. 1993) ). Plaintiffs “must allege       Corp. Securities Litigation, 500 F.3d 189, 199-200 (3d Cir.
facts sufficient to raise a strong inference of scienter with      2007) (“[W]e hold that the repose period applicable to §
respect to each individual defendant.” R2 Investments LDC v.       10(b) claims as set out in §§ 9(e) and 1658(b)(2) begins to
Phillips, 401 F.3d 638, 643 (5th Cir. 2005) (citing Southland      run on the date of the alleged misrepresentation.”). Because
Securities Corp. v. INSpire Ins. Solutions, Inc., 365 F.3d 353,
                                                                   Plaintiffs filed this action on September 6, 2017, 38 the date
365 (5th Cir. 2004) (holding that plaintiffs claiming securities
                                                                   of repose is September 6, 2012. Plaintiffs state that they “do
fraud against multiple defendants must “distinguish among
                                                                   not assert any claims for any false, misleading, or incomplete


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statements made prior to that date.” 39 Nevertheless, citing     Rule 9(b) provides that “[i]n alleging fraud or mistake, a party
Rubinstein, 20 F.3d at 170 n.41, Plaintiffs argue that “to the   must state with particularity the circumstances constituting
extent that untrue statements were made prior to September       fraud or mistake. Malice, intent, knowledge, and other
6, 2012, about which Defendants had a duty to correct –          conditions of a person's mind may be alleged generally.” Fed.
such as EXXI's 2011 annual report, which improperly utilized     R. Civ. P. 9(b). Plaintiffs must plead the elements of their
hedge accounting – the omission of a corrective disclosure in    Rule 10b-5 claims with particularity. See Goldstein v. MCI
                                                                 WorldCom, 340 F.3d 238, 245 (5th Cir. 2003) (citing Williams
subsequent statements made after that date are actionable.” 40
                                                                 v. WMX Technologies, Inc., 112 F.3d 175, 177 (5th Cir.),
                                                                 cert. denied, 118 S. Ct. 412 (1997) ). Particularity is required
37     See, e.g., Director Defendants’ MD, Docket                so that the complaint provides defendants with fair notice of
       Entry No. 105, pp. 29-30, and Plaintiffs’                 the plaintiffs’ claims, protects defendants from harm to their
       Memorandum of Law in Opposition to the                    reputation and goodwill, reduces the number of strike suits,
       Director Defendants’ Motion to Dismiss Amended            and prevents plaintiffs from filing baseless claims and then
       Complaint (“Plaintiffs’ Opposition to Director            attempting to discover unknown wrongs. See Tuchman, 14
       Defendants’ MD”), Docket Entry No. 115, p. 26.            F.3d at 1067.
38     See Complaint for Violation of the Federal
                                                                 Pleading fraud with particularity in this circuit requires
       Securities Law, Common Law Fraud, and Breach
                                                                 “the particulars of ‘time, place, and contents of the false
       of Fiduciary Duty, Docket Entry No. 1.
                                                                 representations, as well as the identity of the person
39                                                               making the misrepresentation and what [that person] obtained
       Plaintiffs’ Opposition to Director Defendants’ MD,
       Docket Entry No. 115, p. 26.                              thereby.’ ” Id. at 1068 (quoting Tel-Phonic Services, Inc. v.
                                                                 TBS International, Inc., 975 F.2d 1134, 1139 (5th Cir. 1992) ).
40                                                               See also Carroll v. Fort James Corp., 470 F.3d 1171, 1174 (5th
       Id.
                                                                 Cir. 2006) (quoting United States ex rel. Riley v. St. Luke's
 *7 In Rubinstein, 20 F.3d at 170 n.41, the Fifth Circuit
                                                                 Episcopal Hospital, 355 F.3d 370, 381 (5th Cir. 2004) (“In
acknowledged that defendants have a duty under Rule
                                                                 cases concerning fraudulent misrepresentation and omission
10b-5 to correct statements if those statements have become
                                                                 of facts, Rule 9(b) typically requires the claimant to plead
materially misleading in light of subsequent events, but
                                                                 the type of facts omitted, the place in which the omissions
the Rubinstein court neither held nor stated that material
                                                                 should have appeared, and the way in which the omitted facts
omissions made before the date of repose remain actionable
                                                                 made the representations misleading.”) ). “A dismissal for
because defendants have an ongoing duty to correct such
                                                                 failure to plead fraud with particularity as required by rule
omissions. Plaintiffs’ argument that material omissions made
                                                                 9(b) is a dismissal on the pleadings for failure to state a claim.”
before the date of repose are nevertheless actionable because
                                                                 Southland, 365 F.3d at 361 (citing Shushany, 992 F.2d at
defendants had an ongoing duty to correct those omissions
                                                                 520-520).
would negate the five-year statute of repose by allowing
plaintiffs to revive time-barred claims simply by asserting
that defendants had an ongoing duty to correct their material
omissions. Any claims based on misrepresentations or                      (c) Private Securities Litigation Reform Act
omissions allegedly made before September 6, 2012, are
therefore barred by the statute of repose. See Hall, 2012        In 1995 Congress amended the Exchange Act through the
WL 12877431, at *4 (citing Malhotra v. The Equitable Life        passage of the PSLRA, 15 U.S.C. § 78u-4(b)(1). In relevant
Assurance Society of the United States, 364 F. Supp. 2d          part the PSLRA provides:
299, 305-06 (E.D.N.Y. 2005) (granting defendants’ 12(b)(6)
                                                                   (1) Misleading statements and omissions
motion on the ground that the statute of repose began to run
on the day of the initial omission).                               In any private action arising under this chapter in which the
                                                                   plaintiff alleges that the defendant - -

                                                                      (A) made an untrue statement of a material fact; or
             (b) Federal Rule of Civil Procedure 9(b)




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        (B) omitted to state a material fact necessary in order        (2) identify the speaker;
        to make the statements made, in the light of the
        circumstances in which they were made, not misleading;         (3) state when and where the statement was made;

  the complaint shall specify each statement alleged to have           (4) plead with particularity the contents of the false
  been misleading, the reason or reasons why the statement is          representations;
  misleading, and, if an allegation regarding the statement or
                                                                       (5) plead with particularity what the person making the
  omission is made on information and belief, the complaint
                                                                       misrepresentation obtained thereby; and
  shall state with particularity all facts on which that belief
  is formed.                                                           (6) explain the reason or reasons why the statement is
                                                                       misleading, i.e., why the statement is fraudulent.
  (2) Required state of mind
                                                                       This is the “who, what, when, where, and how” required
        (A) In general
                                                                       under Rule 9(b) in our securities fraud jurisprudence
         *8 Except as provided in subparagraph (B), in any             and under the PSLRA. Additionally, under 15 U.S.C.
        private action arising under this chapter in which the         § 78u-4(b)(1), for allegations made on information and
        plaintiff may recover money damages only on proof that         belief, the plaintiff must:
        the defendant acted with a particular state of mind, the
                                                                       (7) state with particularity all facts on which that belief is
        complaint shall, with respect to each act or omission
                                                                       formed, i.e., set forth a factual basis for such belief.
        alleged to violate this chapter, state with particularity
        facts giving rise to a strong inference that the defendant
                                                                     In Indiana Electric Workers’ Pension Fund IBEW v. Shaw
        acted with the required state of mind.
                                                                     Group, Inc., 537 F.3d 527, 533 (5th Cir. 2008), the Court
  ...                                                                reiterated that the PSLRA heightened the pleading standards
                                                                     for private claims of securities fraud by requiring plaintiffs
  (3) Motion to dismiss; stay of discovery                           to allege with particularity why each one of defendants’
                                                                     representations or omissions was misleading under 15 U.S.C.
        (A) Dismissal      for   failure   to   meet    pleading     § 78u-4(b)(1), and by requiring plaintiffs to plead with
        requirements                                                 particularity those facts giving rise to a strong inference that
                                                                     the defendant acted with the required state of mind under
        In any private action arising under this chapter, the
                                                                     15 U.S.C. § 78u-4(b)(2). In Tellabs, 127 S. Ct. at 2510, the
        court shall, on the motion of any defendant, dismiss the
                                                                     Supreme Court held that a complaint will survive a motion
        complaint if the requirements of paragraphs (1) and (2)
                                                                     to dismiss “only if a reasonable person would deem the
        are not met.
                                                                     inference of scienter cogent and at least as compelling as any
15 U.S.C. § 78u-4(b).                                                opposing inference one could draw from the facts alleged.”
                                                                     However, in Lormand, 565 F.3d at 267, the Fifth Circuit held
In ABC Arbitrage Plaintiffs Group v. Tchuruk, 291 F.3d               that the PSLRA did not heighten pleading standards for all
336, 350 (5th Cir. 2002), the court coalesced the pleading           six elements of securities fraud. The Fifth Circuit explained
requirements in the PSLRA and Rule 9(b) into a succinct              that the plain text of 15 U.S.C. § 78u-4(b)(4) provides only
directive for litigants:                                             that “the plaintiff shall have the burden of proving that the act
                                                                     or omission of the defendant ... caused the loss for which the
  [A] plaintiff pleading a false or misleading statement or          plaintiff seeks to recover damages.” Id. at 255 n.18. Nothing
  omission as the basis for a section 10(b) and Rule 10b-5           in this language expressly or impliedly heightens the standard
  securities fraud claim must, to avoid dismissal pursuant to        of pleading to loss causation. Thus, when considering a
  Rule 9(b) and 15 U.S.C. §§ 78u-4 (b) (1) & 78U-4(b) (3)            motion to dismiss, courts are “not authorized or required to
  (A):                                                               determine whether the plaintiff's plausible inference of loss
                                                                     causation [under 15 U.S.C. § 78u-4(b) (4)] is equally or more
  (1) specify each statement alleged to have been misleading,        plausible than other competing inferences, as [they] must in
  i.e., contended to be fraudulent;



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assessing allegations of scienter under the PSLRA.” Id. at           plaintiffs do not argue otherwise. See Johnson v. CBD Energy
267.                                                                 Ltd., Civil Action H-15-1668, 2016 WL 3654657, at *10
                                                                     (S.D. Tex. July 6, 2016) (“an auditor's ‘statement regarding ...
 *9 The PSLRA contains a safe harbor provision that                  compliance inherently [is] one of opinion’ ”). Nevertheless,
protects individuals and corporations from liability for             without addressing the applicability of the Supreme Court's
certain forward-looking statements that later prove false.           Omnicare opinion, plaintiffs respond that UHY's
To qualify for this protection the statement at issue must
be “accompanied by meaningful cautionary statements                    argument ignores the fact that Plaintiffs have alleged
identifying important factors that could cause actual results          materially false and misleading statement[s] in UHY's own
to differ materially from those in the forward-looking                 audit reports. As alleged in the Amended Complaint, each
statement” or be “immaterial.” 15 U.S.C. § 78u-5(c)(1)                 of the Company's annual financial statements included an
(A)(i, ii). “To avoid the safe harbor, plaintiffs must plead           affirmative statement prepared by UHY that it audited
facts demonstrating that the statement was made with actual            the financial statements “in accordance with the standards
knowledge of its falsity.” Southland, 365 F.3d at 371 (citing          of the [PCAOB] (United States).” ¶ 92. Plaintiffs also
15 U.S.C. § 78u-5(c)(1)(B); Nathenson v. Zonagen Inc., 267             allege UHY represented that it planned and performed
F.3d 400, 409 (5th Cir. 2001) ).                                       the audits to obtain reasonable assurance about whether
                                                                       the Company maintained effective internal control over
                                                                       its financial reporting. ¶ 93. And UHY also affirmatively
  2. Application of the Law to the Alleged Facts                       represented in each audit report that EXXI maintained
                                                                       effective internal control over its financial reporting. ¶ 94.

                      (a) Defendant UHY                                As alleged in the Amended Complaint, and as explained
                                                                       above, those statement[s] were materially false and
UHY argues that the federal securities law claims asserted
against it should be dismissed because Plaintiffs’ Amended             misleading, and UHY had no basis for making them. 44
Complaint fails to allege facts capable of establishing an
                                                                     Asserting that UHY audited EXXI's annual financial
actionable misstatement or omission of fact arising from its
                                                                     statements included in EXXI's 2011, 2012, 2013, and 2014
audit opinions or a strong inference of scienter. 41 UHY also        annual reports filed with the SEC on Form 10-K, plaintiffs
joins in the arguments presented in the Director Defendants’
                                                                     allege that “[t]hose financial statements were erroneous,” 45
MD with respect to the securities fraud claims regarding
                                                                     because
group pleading, loss causation, and the statute of repose. 42

41      UHY's MD, Docket Entry No. 101, p. 12. See also
        UHY LLP's Reply in Support of the Motion to                               [a]s EXXI announced in a press
        Dismiss the Amended Complaint (UHY's Reply”),                             release and a Current Report
        Docket Entry No. 119, pp. 6-15.                                           on Form 8-K filed with the
                                                                                  SEC on September 8, 2015,
42      UHY's MD, Docket Entry No. 101, p. 7 n.2.                                 the Company's previously issued
                                                                                  consolidated financial statements for
                                                                                  the years ended June 30, 2011,
         (1) Alleged Misstatements and Omissions                                  2012, 2013 and 2014, along with its
                                                                                  consolidated financial statements for
Citing Omnicare, Inc. v. Laborers District Council
                                                                                  the quarters ended September 30, 2013
Construction Industry Pension Fund, 135 S. Ct. 1318 (2015),
                                                                                  and 2014, December 31, 2013 and
UHY asserts that its audit reports are statements of opinion,
                                                                                  2014, March 31, 2014 and 2015, and
not fact, and argues that the securities law claims asserted
                                                                                  June 30, 2014, should no longer be
against it should be dismissed because plaintiffs fail to allege
                                                                                  relied upon and would be reinstated. ¶
an actionable misstatement or omission of fact arising from
                                                                                  83. 46
its audit reports. 43 At least one court in this district has held
that audit reports are statements of opinion, not fact, and



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                                                                    general terms that the defendant improperly failed to reveal
43                                                                  the basis for his opinion, or failed to disclose “some fact
        Id. at 20.
                                                                    cutting the other way.” 135 S. Ct. at 1329 (explaining that
44                                                                  “[r]easonable investors understand that opinions sometimes
        Plaintiffs’ Memorandum of Law in Opposition
        to Defendant UHY LLP's Motion to Dismiss                    rest on a weighing of competing facts; indeed, the presence
        Amended Complaint (“Plaintiffs’ Opposition to               of such facts is one reason why [a speaker] may frame a
        UHY's MD”), Docket Entry No. 111, p. 17.                    statement as an opinion, thus conveying uncertainty”). Id. But
                                                                    the Supreme Court also recognized that reasonable investors
45      Id. at 5.                                                   expect a speaker's statement of opinion to fairly align with the
46                                                                  information in his or her possession at the time. Id.
        Id. at 5-6.
 *10 In Omnicare the Court clarified how trial courts               In their Amended Complaint Plaintiffs allege that
should evaluate whether a plaintiff has alleged an actionably
misleading statement of opinion. Omnicare provides “two
potential avenues for plaintiffs to establish the falsity of
an opinion.” In re BP p.l.e. Securities Litigation, 2016                         UHY's unqualified audit reports
WL 3090779, at *9. First, “every ... statement [of opinion]                      were materially false and misleading
explicitly affirms one fact: that the speaker holds the stated                   because, among other things: (a)
belief.” Omnicare, 135 S. Ct. at 1327. A speaker can be liable                   the audits were not conducted in
for an opinion statement if the speaker did not in fact hold                     accordance with PCAOB standards;
that opinion. Second, “depending on the circumstances,” a                        and (b) EXXI's financial statements
reasonable investor could                                                        did not fairly present the Company's
                                                                                 true financial position and results
                                                                                 of operations and did not comply
             understand an opinion statement to                                  with GAAP [Generally Accepted
             convey facts about the speaker's basis                              Accounting Principles]. 47
             for holding that view. Specifically, [a
             speaker's] statement of opinion may
             fairly imply facts about the inquiry the               In support of their allegations that UHY's audit reports were
             issuer conducted or the knowledge it                   materially false and misleading, Plaintiffs allege
             had. And if the real facts are otherwise,
             but not provided, the opinion statement                  102. The Company's financial statements did not comport
             will mislead by omission.                                with GAAP as they failed to disclose the millions of dollars
                                                                      in loans to Defendant Schiller from EXXI's vendors and
                                                                      from a confederate on the Board who was also an affiliate
Id. at 1322. Thus, even if a speaker's opinion is sincerely held,     of one of the Company's largest shareholders.

  the statement may nonetheless be actionable under 10b-5's           103. Contrary to the Audit Report, the audit was not
  omissions provision if: (i) the speaker “omits material facts       conducted in accordance with PCAOB standards. In
  about the issuer's inquiry into or knowledge concerning a           particular, PCAOB Standard AU § 316 sets forth certain
  statement of opinion,” and (ii) “those facts conflict with          fraud risks or red flags, including: (a) unsupported balances
  what a reasonable investor would take from the statement            or transactions; (b) inconsistent, vague or implausible
  itself.”                                                            responses from management arising from inquiries or
                                                                      analytical procedures; (c) lack of timely and appropriate
In re BP p.l.e. Securities Litigation, MDL No. 4:10-MD-2185,          documents; (d) missing documents; and (e) evasive or
2016 WL 3090779, at *9 (S.D. Tex. May 31, 2016)                       unreasonable responses of management to audit reports.
(quoting Omnicare, 135 S. Ct. at 1329). The Omnicare
Court emphasized that the latter avenue to liability does              *11 104. In conducting its audits of the financial
not allow a plaintiff to circumvent the particularity and             statements in EXXI's annual reports, Defendant UHY
materiality requirements of a fraud claim by alleging in              ignored the most obvious of red flags, the missing


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  documentation necessary to permit the Company to use                      would reasonably believe were not true based
  cash flow hedge accounting.    48                                         on that statement. The scienter issue is the
                                                                            individual's state of mind in stating the opinion.
47                                                                        245 F. Supp. 3d at 905.
        Plaintiffs’ Amended Complaint, Docket Entry No.
        97, p. 22 ¶ 100.                                           50     Plaintiffs’ Opposition to UHY's MD, Docket Entry
48                                                                        No. 111, p. 17.
        Id. at 24 §§ 102-04.
                                                                   51
Missing from the Plaintiffs’ Amended Complaint are                        Plaintiffs’ Amended Complaint, Docket Entry No.
allegations of fact capable of proving that UHY did not                   97, p. 3 ¶ 22, p. 4 ¶ 24, p. 10 ¶ 44.
subjectively believe its audit opinions when they were             52     See Plaintiffs’ Opposition to UHY's MD, Docket
issued. Therefore, to state a claim against UHY for its
                                                                          Entry No. 111, p. 16 n.7 (apparently contradicting
audit reports, Plaintiffs must allege, with particularity, facts
                                                                          the allegations in ¶ 102 of Plaintiffs’ Amended
capable of establishing that UHY knew, but omitted to
                                                                          Complaint by stating: “Plaintiffs do not allege that
include in its audit reports, material facts that contradict its
                                                                          UHY's audits were deficient because they failed to
opinion statements. See In re Plains All American Pipeline,
                                                                          uncover the loans.”).
L.P. Securities Litigation, 245 F. Supp. 3d 870, 905 (S.D.
                                                                   Also missing from Plaintiffs’ Amended Complaint are any
Tex. 2017). 49 The facts that Plaintiffs allege contradict
                                                                   allegations of fact capable of establishing that when UHY
UHY's audit opinions concern loans that defendant Schiller
                                                                   issued its audit reports, UHY knew or should have known
received from defendant Louie and EXXI vendors and
                                                                   that EXXI lacked documentation needed to support its use
lack of documentation needed to support EXXI's use of
                                                                   of cash flow hedge accounting. Asserting that “EXXI lacked
hedge accounting. 50 But missing from Plaintiffs’ Amended
                                                                   the specific required documentation to utilize cash flow hedge
Complaint are allegations of facts capable of establishing that
                                                                   accounting,” 53 Plaintiffs argue that
when UHY issued its audit reports, UHY knew or should
have known about Schiller's loans. Moreover, since Plaintiffs’
Amended Complaint expressly alleges that Schiller's loans
were undisclosed until October of 2015, long after UHY
                                                                                 *12 [i]n any adequate audit, UHY
issued the audit opinions about which Plaintiffs complain, 51                   would have requested or looked
the facts alleged in Plaintiffs’ Amended Complaint contradict                   for the required documentation as
their contention that UHY's audit reports were false and                        part of its audit procedures. Had
misleading because they omitted information about Schiller's                    UHY done so, it immediately would
loans. 52                                                                       have learned that EXXI lacked the
                                                                                required documentation for hedge
49                                                                              accounting. Had UHY performed any
        In Plains All American Judge Rosenthal explained
        that                                                                    adequate audit, the lack of specific
           [s]howing that a statement was false or                              required documentation would have
           misleading using this Omnicare prong blurs the                       been obvious to it. 54
           lines between the falsity and scienter elements
           of an Exchange Act claim. Determining whether
           a statement is false or misleading turns on             A careful review of Plaintiffs’ Amended Complaint, however,
           what the speaker knew, making it similar to the         only reveals allegations that UHY's audit reports were false
           scienter inquiry. But even though this Omnicare         when made because EXXI later restated some of its financial
           inquiry overlaps with the scienter inquiry, the         statements. 55
           two are not identical. Here, the issue is whether
           the plaintiffs have adequately pleaded that the         53
           defendants were aware of material facts that:                  Id. at 15.
           (1) contradicted or undermined their compliance         54     Id.
           opinion statements; and (2) that an investor



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55                                                                59
       See Plaintiffs’ Amended Complaint, Docket Entry                   Id. at 50-51 ¶¶ 237-43.
       No. 97, pp. 50-51 ¶¶ 239-243.                              Despite Plaintiffs’ assertion to the contrary, the Current
Plaintiffs allege that in December of 2014, following UHY's       Report on Form 8-K filed with the SEC in September of 2015
acquisition by BDO, EXXI engaged BDO as its successor             announcing the restatement did not state that EXXI had no
auditor, and that in September of 2015 EXXI filed a               documentation regarding what was being hedged. Instead,
Current Report on Form 8-K with the SEC announcing                EXXI's September 2015 Form 8-K states:
that the Company's previously issued consolidated financial
statements for the years ended June 30, 2011, 2012, 2013,
and 2014, and for the quarters ended September 30, 2013
and 2014, December 31, 2013 and 2014, March 31, 2014 and                      [I]n connection with preparing
2015, and June 30, 2014, should no longer be relied upon and                  its annual report on Form 10-
would be restated. 56 Plaintiffs allege that                                  K for the year ended June 30,
                                                                              2015 (the “2015 Form 10-K”)
  252. During the preparation of its annual report on Form                    management of Energy XXI Ltd.
  10-K for the year ended June 30, 2015, EXXI and its new                     (the “Company”) and the Audit
  auditor, BDO, determined that certain of the Company's                      Committee of its Board of Directors
  oil and gas hedges did not qualify for cash flow hedge                      (the “Audit Committee”) determined
  accounting treatment. EXXI and BDO determined that                          that the contemporaneous formal
  the Company's hedge documentation did not specify the                       documentation it had historically
  hedged items and, therefore, the designations failed to                     prepared to support its initial
  meet the documentation requirements for cash flow hedge                     designations of derivative financial
  accounting treatment.                                                       instruments as cash flow hedges
                                                                              in connection with the Company's
  253. As a result of that determination, EXXI was required                   crude oil and natural gas hedging
  to restate its previously issued consolidated financial                     program did not meet the technical
  statements to reflect the unrealized recognition of gains and               requirements to qualify for cash
  losses on derivative financial instruments ... 57                           flow hedge accounting treatment in
                                                                              accordance with ASC Topic 815,
But missing from Plaintiffs’ Amended Complaint are                            Derivatives and Hedging. The primary
allegations of fact capable of establishing that when UHY                     reason for this determination was
issued its audit reports, UHY knew or should have known                       that the formal hedge documentation
that EXXI lacked documentation required to use cash flow                      lacked specificity of the hedged
hedge accounting. Instead, asserting that “[t]he lack of                      items and, therefore, the designations
documentation regarding the hedged items could not be a                       failed to meet hedge documentation
result of a difference of opinion between the Company's                       requirements for cash flow hedge
auditors BDO and UHY as the Company disclosed that it
                                                                              accounting treatment. 60
had no documentation regarding what was being hedged,” 58
Plaintiffs allege that UHY's audit reports were false and
misleading because absent the missing documentation the
                                                                   *13 EXXI's disclosures in the September 2015 Form 8-K
audit reports could not have been conducted in accordance
                                                                  show that EXXI's management reached a judgment different
with PCAOB Auditing Standards or Generally Accepted
                                                                  from that previously reached regarding the level of specificity
Auditing Standards (“GAAS”). 59                                   required for the documentation of hedged transactions; the
                                                                  disclosures do not show that EXXI had no documentation
56                                                                regarding what was being hedged. Nor do EXXI's disclosures
       Id. at 51 ¶¶ 244-245.
                                                                  mention UHY or its auditing services as a reason for the
57     Id. at 53 ¶¶ 252-53.                                       restatements.
58     Id. at 50 ¶ 235 (emphasis in original).



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60                                                                   To adequately plead scienter Plaintiffs must allege
        September 2, 2015, Form 8-K, Exhibit A to UHY's
                                                                     circumstances supporting a strong inference that UHY had
        MD, Docket Entry No. 101-1, p. 2.
                                                                     actual knowledge, or recklessly disregarded, that its audit
Because Plaintiffs fail to allege facts capable of establishing      reports were false or misleading when made or were made
either that UHY did not sincerely believe the opinions stated        without a reasonable basis. See Lovelace, 78 F.3d at 1018-19.
in its audit reports, or that when UHY issued its audit reports      Circuit courts of appeal have found that the requirement of
UHY knew or should have known – but failed to disclose –             “recklessness” in securities fraud cases is especially stringent
material facts about its inquiry into or knowledge concerning        when a claim is made against an outside auditor like UHY.
the opinions stated in its audit reports, and that those facts       See PR Diamonds, Inc. v. Chandler, 364 F.3d 671, 693 (6th
conflict with what a reasonable investor would take from             Cir. 2004) (collecting cases). “Recklessness on the part of
the reports themselves, i.e., information about Schiller's           an independent auditor entails a mental state so culpable that
loans and about deficiencies in documentation required               it ‘approximate[s] an actual intent to aid in the fraud being
to support EXXI's use of cash flow hedge accounting,                 perpetrated by the audited company.’ ” Id. (quoting Decker v.
Plaintiffs have failed to allege facts capable of establishing       Massey-Ferguson, Ltd., 681 F.2d 111, 121 (2d Cir. 1982) ).
an actionable misstatement or omission of fact arising               Thus, Plaintiffs must allege facts capable of establishing not
from the opinions expressed in UHY's audit reports. See              merely that there was a deviation from accounting principles,
Omnicare, 135 S. Ct. at 1329. Moreover, for the reasons stated       but
below, the court concludes that even if the facts alleged in
Plaintiffs’ Amended Complaint were capable of establishing
an actionable misstatement or omission of fact in UHY's audit
                                                                                   *14 that the accounting practices
reports, Plaintiffs have failed to allege facts capable of raising
                                                                                  were so deficient that the audit
a strong inference that the misstatements or omissions were
                                                                                  amounted to no audit at all, or an
made with scienter.
                                                                                  egregious refusal to see the obvious,
                                                                                  or to investigate the doubtful, or that
                                                                                  the accounting judgments which were
                          (2) Scienter                                            made were such that no reasonable
                                                                                  accountant would have made the same
UHY argues that the Exchange Act claims asserted                                  decisions if confronted with the same
against it should be dismissed because Plaintiffs fail to                         facts.
allege facts capable of establishing a strong inference
of scienter. Asserting that EXXI restated its financial
statements for fiscal years 2011 through 2014, Plaintiffs
                                                                     Id. at 693-94 (quoting In re Worlds of Wonder Securities
argue that the restatements are compelling evidence of
                                                                     Litigation, 35 F.3d 1407, 1426 (9th Cir. 1994) ). See also In
UHY's scienter because “UHY knew, or was severely
                                                                     re Franklin Bank Corp. Securities Litigation, 782 F. Supp.
reckless in not knowing, that EXXI's consolidated annual
                                                                     2d 364, 402 (S.D. Tex. 2011); In re Dell Inc., Securities
financial statements were not prepared in accordance with
                                                                     Litigation, 591 F. Supp. 2d 877, 899 (W.D. Tex. 2008).
GAAP and did not fairly and accurately present the
Company's financial results.” 61 Plaintiffs argue that “UHY          A careful review of the Plaintiffs’ allegations of scienter
has provided no alternative or opposing explanation for              reveal little more than assertions that UHY's audit reports
certifying financial statements in which EXXI utilized cash          were false because EXXI later restated certain financial
flow hedge accounting without the requisite documentation            information. Courts in this circuit inferring scienter based
of specific hedged risks.” 62                                        in part on improper accounting do so only when other
                                                                     factors strongly support the inference. See In re ArthroCare
61                                                                   Corp. Securities Litigation, 726 F. Supp. 2d 696 (W.D.
        Plaintiffs’ Opposition to UHY's MD, Docket Entry
                                                                     Tex. 2010) (improper accounting practices and denials of
        No. 111, p. 8.
                                                                     media reports); In re Seitel, Inc. Securities Litigation, 447
62                                                                   F. Supp. 2d 693 (S.D. Tex. 2006) (improper accounting
        Id.
                                                                     practices and overstated revenues, memoranda and meeting
                                                                     minutes revealing that the defendants explicitly discussed the



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improper accounting methods, affirmatively chose to ignore            *15 Plaintiffs’ pleading on this issue consists of long
potential problems, and dismissed an auditor who confronted          explanations of the GAAP and GAAS accounting principles
them about the improper practices).                                  allegedly violated, followed by the conclusory statement that
                                                                     UHY clearly violated that principle based solely on the fact
Plaintiffs’ Amended Complaint does not allege media                  that the restatement was issued. 66 But the GAAS standards
reports or internal company documents that would permit              acknowledge that “even a properly planned ... audit may not
an inference that UHY knew of or recklessly disregarded              detect a material misstatement,” AU § 230.12; thus, the mere
evidence that EXXI's accounting misrepresented EXXI's                fact that the audits did not catch a later-revised accounting
financial condition. Instead, as reasons to infer UHY's              error in the financial statements is not conclusive. Arthrocare,
scienter, Plaintiffs point to the magnitude of the restatements,     726 F. Supp. 2d at 735 (citing In re Dell, 591 F. Supp. 2d
and to the reason for the restatements – i.e., lack of specificity   at 903). Absent facts specifying fraudulent intent or UHY's
in the documentation used to support EXXI's use of cash              state of mind, accounting errors “merely suggest that either
flow hedge accounting. 63 But the magnitude of misstated             management or the accountant missed something, and may
financials cannot support a strong inference of scienter absent      have failed to prepare or review the financial statements in
allegations of facts capable of establishing either that UHY         accordance with an accepted standard of reasonable care.”
knew or was severely reckless in not knowing of the improper         In re Baker Hughes Securities Litigation, 136 F. Supp. 2d
accounting, or that UHY ignored warning signs or red flags           630, 649 (S.D. Tex. 2001). The parties dispute the simplicity
indicating that such an inference is merited. See ArthroCare,        and obviousness of the misapplied accounting rules. 67 But
726 F. Supp. 2d at 724; Seitel, 447 F. Supp. 2d at 693.              reading the Plaintiffs’ Amended Complaint and the record
                                                                     in the Plaintiffs’ favor, the Amended Complaint does not
63                                                                   sufficiently allege that EXXI violated rules that were so clear
        Id. at 11-14.
                                                                     and obvious as to make its outside auditor either knowingly
Asserting that “the lack of supporting documentation of
                                                                     deceptive or severely reckless in certifying EXXI's figures on
EXXI's hedging activities [needed] to permit the Company
                                                                     the SEC filings. Plaintiffs’ factual allegations make it more
to utilize hedge accounting was a glaring red flag, giving
                                                                     plausible, or at least as plausible, to infer that UHY acted
UHY every reason to know that the financial statements
                                                                     negligently than to infer that UHY knowingly or recklessly
contained material misstatements or omissions,” 64 Plaintiffs        disregarded the presence of glaring accounting irregularities
argue that “[h]ad UHY performed any adequate audit, the lack         or other red flags in EXXI's financial statements.
of specific required documentation would have been obvious
to it.” 65 But Plaintiffs do not plead any specific facts capable    66     Plaintiffs’ Amended Complaint, Docket Entry No.
of showing what UHY's audits entailed, how or why they
                                                                            97, pp. 20-24 ¶¶ 92-104, pp. 49-51 ¶¶ 231-43.
were deficient, or why there is any reason to believe that the
alleged deficiencies were purposeful or reckless as opposed          67     See Plaintiff's Opposition to UHY's MD, Docket
to negligent mistakes. Arthrocare, 726 F. Supp. 2d at 735                   Entry No. 111, pp. 9-11.
(citing Dell, 591 F. Supp. 2d at 903). Instead, Plaintiffs rely
                                                                     Because Plaintiffs have failed to allege facts capable of
on the circular reasoning that UHY must have acted with
                                                                     establishing that when UHY issued its audit reports, UHY
scienter simply because it did not catch the lack of specific
                                                                     knew – or was severely reckless in not knowing – that its audit
documentation for cash flow hedge accounting later identified
                                                                     opinions contained statements that were false or misleading
as the reason for EXXI's restatements. These allegations may
                                                                     or that the audit opinions were so deficient that they amounted
support an inference of negligent mismanagement, but they
                                                                     to “no audit at all,” Plaintiffs’ allegations against UHY are
are not sufficient to make intentional or reckless fraud at
                                                                     not capable of raising a strong inference of scienter. See In
least as compelling as plausible nonculpable explanations.
                                                                     re Dell Inc., Securities Litigation, 591 F. Supp. 2d at 900.
See Lormand, 565 F.3d at 254 (quoting Tellabs, 127 S. Ct. at
                                                                     That UHY failed to discover in 2011 and 2014 accounting
2510).
                                                                     deficiencies that were not found until 2015 might arguably
                                                                     and at most support an allegation of negligence, but not of
64      Id. at 14-15.                                                fraud. 68 Accordingly, UHY's motion to dismiss the federal
65                                                                   securities law claims asserted against it will be granted and
        Id. at 15.
                                                                     those claims will be dismissed with prejudice.



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                                                                     BDO became EXXI's auditor and determined that EXXI's
68                                                                   financial statements for 2011 through 2014 should no longer
          For the reasons stated in § III.A.2(e)(3), below, the
          court concludes that Plaintiffs have failed to plead       be relied upon. 74 Asserting that
          facts capable of establishing loss causation.


                       (b) Defendant Griffin                                      *16 [t]he financial statements issued
                                                                                 during Griffin's tenure as CEO that had
Griffin argues that the Exchange Act claims asserted against                     to be restated after his resignation were
him should be dismissed because he did not make many                             the annual financial statements for the
of the alleged misstatements, because he left EXXI on                            four years ended June 30, 2011, 2012,
October 20, 2014 – more than two years before the last                           2013, and 2014, and the quarterly
alleged misstatement, and because Plaintiffs fail to plead facts                 financial statements for the quarters
capable of raising a strong inference of scienter with respect                   ended September 30, and December
to statements that he did make. 69 Griffin also joins in all                     31, 2013, March 31, 2014, and June 30,
of the arguments presented in the Director Defendants’ MD                        2014, 75
and in the arguments presented in Louie's MD with respect to
alleged “related party transactions.” 70 Plaintiffs respond that
Griffin's MD should be denied because he is liable for EXXI's        Plaintiffs argue that these financial statements were false and
false, misleading, and incomplete financial statements, and          misleading because they
because they have adequately alleged scienter with respect to
him. 71

69                                                                               were     not    prepared   according
          Griffin's MD, Docket Entry No. 102, p. 5.
                                                                                 to generally accepted accounting
70                                                                               principles (“GAAP”), including ASC
          Id. at 5 & n.1.
                                                                                 Topic 815, which requires the
71        Plaintiffs’ Memorandum of Law in Opposition to                         reporting entity to document exactly
          Defendant D. West Griffin's Motion to Dismiss                          what was being hedged, specifying
          Amended Complaint (“Plaintiffs’ Opposition to                          the exact items (i.e., the particular
          Griffin's MD”), Docket Entry No. 112, pp. 7-16.                        monthly well production) to utilize
                                                                                 hedge accounting.... While Griffin
                                                                                 was responsible for EXXI's financial
           (1) Alleged Misstatements and Omissions                               reporting, the Company lacked the
                                                                                 necessary documentation for its
Plaintiffs allege that Griffin served as EXXI's CFO and
                                                                                 hedging program to utilize cash
Board member from the Company's inception in 2005 through
                                                                                 flow hedge [accounting] but did so
and including October 20, 2014, when EIXXI announced
Griffin's resignation in a Press Release and a Current Report                    anyhow. 76
filed with the SEC on Form 8-K/A on December 1, 2014,
following BDO's acquisition of UHY's Texas practice, which
had provided independent public accounting services to               Griffin does not plausibly argue that the financial statements
       72
EXXI. Plaintiffs allege that as CFO, Griffin signed EXXI's           he signed that were ultimately restated did not contain
quarterly and annual reports filed with the SEC on Forms             statements that were false and misleading. 77 The court
10-Q, 10-K, and 10-K/A, and that Griffin is responsible for          concludes, therefore, that Plaintiffs have pled specific facts
the content of the reports that he signed and the financial          sufficient to hold Griffin liable for the financial statements
information contained in the Company's press releases. 73            that he signed. See Janus Capital Group, Inc. v. First
Plaintiffs allege that Griffin was responsible for preparing         Derivative Traders, 131 S. Ct. 2296, 2302 (2011) (“For
nearly all of the financial statements that were restated after      purposes of Rule 10b-5, the maker of a statement is the person



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or entity with ultimate authority over the statement, including           p. 36 ¶ 166). See also id. at 10 n.2 (asserting that
its content and whether and how to communicate it.”).                     “[s]ince Griffin was the Company's CFO, it is far
                                                                          more likely that he provided the ‘numbers’ to [the
72                                                                        employee who prepared the press releases] so that
       Plaintiffs’ Amended Complaint, Docket Entry No.
                                                                          they could be incorporated in the Company's press
       97, p. 9 ¶ 39.
                                                                          releases”).
73     Id. at 9 ¶¶ 37-38.
74     Plaintiffs’ Opposition to Griffin's MD, Docket                                      (2) Scienter
       Entry No. 112, p. 8 (citing Plaintiffs’ Amended
       Complaint, Docket Entry No. 97, p. 51 ¶ 245).               *17 Griffin argues that “[a]s explained in the Director
                                                                  Defendants’ Motion to Dismiss, Plaintiffs’ impermissible
75     Id. at 8.                                                  attempt to plead scienter based solely on Defendants’
                                                                  positions within EXXI and alleged GAAP violations
76     Id. (citing Plaintiffs’ Amended Complaint, Docket
                                                                  mandates dismissal of their Complaint.” 79 Griffin argues that
       Entry No. 97, pp. 17-18 ¶ 77).
                                                                  the only allegations as to his scienter are that
77
       Griffin's MD, Docket Entry No. 102, p. 10 (arguing
                                                                    (1) his “net worth was dependent upon his investment in
       that “[f]or the reasons explained in the Director
                                                                    EXXI stock and options,” Am. Compl. ¶ 42; se also id. ¶¶
       Defendants’ Motion to Dismiss and Defendant
                                                                    40-41; (2) he had an incentive to “protect his job,” id. ¶ 42;
       Norman M.K. Louie's Motion to Dismiss the
                                                                    and (3) he had access to unspecified “material non-public
       Amended Complaint, Plaintiffs have not alleged
       that any statement in those financial statements was         information,” e.g., id. ¶¶ 57, 59. 80
       false or misleading when made.”).
                                                                  Griffin argues that Plaintiffs fail to allege that he sold
The court concludes, however, that as to statements made in       any stock during the Class Period, and that Plaintiffs’
press releases, Plaintiffs are relying on the group pleading      factual allegations are internally inconsistent about his alleged
doctrine – a doctrine abolished by the Fifth Circuit in           motivations because they allege not only that his incentive
Southland, 365 F.3d at 365. In Southland the Fifth Circuit        was to protect his job, but also that he “ ‘resigned over a
held that the PSLRA requires plaintiffs to “enlighten each        disagreement regarding the Company's financial disclosures,
defendant as to his or her particular part in the alleged         including those related to its ultra-deep [water] investments
fraud,” so that “corporate officers may not be held responsible   and accounting for its acquisition of EPL.’ ” 81 Asserting that
for unattributed corporate statements solely on the basis         Plaintiffs’ theory of his scienter “rests on nothing more than
of their titles.” Id. Specific facts tying a corporate officer    baseless speculation, and is not ‘at least as compelling as any
to a statement would include a signature on the document          opposing inference one could draw from the facts alleged,’
or particular factual allegations explaining the individual's
                                                                  ” 82 Griffin argues that “[t]he far more compelling inference
involvement in the formulation of the entire document or
                                                                  is that, to the extent there was any wrongdoing occurring
specific portion of the document containing the statement.
                                                                  within EXXI, [his] resignation is evidence that he was not a
Id. Plaintiffs have not pled with particularity facts capable
of showing that statements made in any of the press releases      participant.” 83
about which they complain are attributable to Griffin. Instead,
Plaintiffs attempt to hold Griffin responsible for unattributed   79      Id. at 10.
corporate statements in the press releases based solely
                                                                  80
on his title as CFO. 78 Accordingly, the court concludes                  Id. at 11.
that Plaintiffs have not sufficiently pled specific factual       81      Id. at 12 (quoting Plaintiffs’ Amended Complaint,
allegations linking Griffin to allegedly false and misleading
                                                                          Docket Entry No. 97, p. 10 ¶ 43).
statements in EXXI's press releases.
                                                                  82      Id.
78     Id. at 9 (citing Plaintiffs’ Amended Complaint,            83      ld.
       Docket Entry No. 97, p. 29 ¶ 128, p. 34 ¶ 157, and



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Asserting that EXXI restated its financial statements for four   pleading requirements for scienter set forth in the PSLRA.”)
years, Plaintiffs argue that the restatements are compelling     (quoting Garfield v. NDC Health Corp., 466 F.3d 1255, 1266
evidence of Griffin's scienter because                           (11th Cir. 2006) ). In Central Laborers’ the Fifth Circuit
                                                                 adopted the Eleventh Circuit's test for when Sarbanes-Oxley
                                                                 certifications, i.e., signatures on SEC filings, could support an
                                                                 inference of scienter. 86 The “person signing the certification
            as EXXI's [CFO] – the senior officer                 [must have] had reason to know, or should have suspected,
            directly responsible for assuring                    due to the presence of glaring accounting irregularities or
            the accuracy of EXXI's financial                     other ‘red flags,’ that the financial statements contained
            reporting – Griffin undoubtedly knew                 material misstatements or omissions.” Id.
            the Company lacked the necessary
            documentation – i.e., it had no specific             86
            documents regarding the hedged items                         In Central Laborers’, 497 F.3d at 554, the Fifth
            – to utilize hedge accounting under                          Circuit explained that,
            ASC Topic 815. At the very least,                              [t]he Sarbanes-Oxley Act states that signing
            Griffin was severely reckless in not                           officers must certify that they are “responsible
                                                                           for establishing and maintaining internal
            knowing so. 84
                                                                           controls [and] have designed such internal
                                                                           controls to insure that material information
                                                                           relating to the [company] and its consolidated
Plaintiffs also argue that the following allegations support               subsidiaries is made known to such officers by
a strong inference of Griffin's scienter: (1) the amount of                others within those entities, particularly during
EXXI's restatements was significant; (2) EXXI's hedging                    the period in which the period reports are being
activities were unusually high; (3) Griffin knew or                        prepared.” 15 U.S.C. § 7241 (a) 4).
recklessly disregarded the fact that EXXI delayed recognizing
                                                                  *18 In ArthroCare, 726 F. Supp. 2d at 716, an
impairment of assets that it acquired from EPL despite
                                                                 individual defendant confronted with media reports providing
steadily declining oil and gas prices that caused EPL to write
                                                                 “blatant evidence” of the specific accounting fraud at
down those same assets ahead of EXXI; and (4) EXXI lost its
                                                                 issue nonetheless “continued to defend [the accounting]
entire investment in EPL in a year. 85
                                                                 stridently and deny the allegations.” Although the plaintiffs in
                                                                 ArthroCare alleged accounting errors in eight quarterly SEC
84     Plaintiffs’ Opposition to Griffin's MD, Docket            filings, and the defendant signed each filing, the court held
       Entry No. 112, p. 11 (emphasis in original).              that only the two quarterly filings immediately following the
85                                                               detailed media reports could support an inference of scienter.
       Id. at 14-15 (citing Plaintiffs’ Amended Complaint,       Id. at 724. In Seitel, 447 F. Supp. 2d at 693, the court held
       Docket Entry No. 97, p. 17 ¶¶ 75-76, pp. 42-43 ¶¶         that the defendant's signature on SEC filings supported a
       197-201, p. 46 ¶ 220.                                     strong inference of scienter because the plaintiffs alleged not
A complaint for violation of federal securities laws “will       only improper accounting practices but also: (1) overstated
survive [a motion to dismiss] ... only if a reasonable person    revenues of 15 percent for the year 2000 and 30 percent
would deem the inference of scienter cogent and at least as      for the first 9 months of 2001; (2) memoranda and meeting
compelling as any opposing inference one could draw from         minutes revealing that the defendants explicitly discussed
the facts alleged.” Tellabs, 127 S. Ct. at 2510. A defendant's   the improper accounting methods and affirmatively chose to
signature on an SEC filing with false or misleading statements   ignore potential problems; and (3) the dismissal of an auditor
or omissions cannot by itself support a strong inference of      who confronted the defendants over the improper practices.
scienter. See Central Laborers’ Pension Fund v. Integrated       Id.
Electrical Services Inc., 497 F.3d 546, 555 (5th Cir. 2007)
(“If we were to accept [this] proffered interpretation of        Plaintiffs allege that Griffin signed SEC filings that contained
Sarbanes–Oxley, scienter would be established in every case      false and misleading statements of EXXI's financial condition
where there was an accounting error or auditing mistake          because EXXI misapplied the accounting standard for
made by a publicly traded company, thereby eviscerating the      documenting use of cash flow hedge accounting. But “the



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mere publication of inaccurate accounting figures, or a            like the senior financial managers of every company, he had
failure to follow GAAP, without more, does not establish           control over EXXI's accounting policies and procedures. See
scienter. The party must know that it is publishing materially     Izadjoo v. Helix Energy Solutions Group, Inc., 237 F. Supp.
false information, or the party must be severely reckless in       3d 492, 516 (S.D. Tex. 2017) (find no scienter for officers
publishing such information.” Lovelace, 78 F.3d at 1020.           where there were no “glaring irregularities or red flags” to put
To infer scienter from accounting errors, courts typically         them on notice of material misstatements and omissions in
examine the magnitude, pervasiveness, and repetition of the        Sarbanes-Oxley certifications or earnings calls).
errors; the simplicity and obviousness of the misapplied rules;
and the defendant's apparent motives for misapplying these         87      See UHY's MD, Docket Entry No. 101, p. 16
rules. See, e.g., ArthroCare, 726 F. Supp. 2d at 721 (“ ‘[W]hen            (asserting without objection from Plaintiffs: “For
the number, size, timing, nature, frequency, and context of                fiscal years 2012 and 2013 the restated net
the misapplication [of accounting principles] or restatement               income was higher than the originally reported net
are taken into account, the balance of the inferences to be                income.”). See also UHY's Reply, Docket Entry
drawn from such allegations may shift significantly in favor               No. 119, pp. 9-12.
of scienter.”).
                                                                    *19 Plaintiffs cannot demonstrate scienter by relying either
Plaintiffs argue that the facts they have alleged raise a          on Griffin's position on the Board, Abrams, 292 F.3d at 432, or
strong inference of scienter as to Griffin because EXXI            on the fact that certain financial statements were restated. See
misapplied two accounting standards, i.e., the standards for       Central Laborers’, 497 F.3d at 546 (restatement of financial
documenting the use of hedge accounting and for reporting          data, by itself, does not create a strong inference of scienter).
asset impairment, the resulting restatements covered four          Plaintiffs’ factual allegations make it more plausible or at least
years, and the magnitude of the restatements was significant.      as plausible to infer that when signing the SEC filings at issue
Plaintiffs also allege that Griffin was motivated to inflate       Griffin negligently relied on EXXI's accountants and auditors
EXXI's profitability to help EXXI qualify for listing on           than to infer that he knowingly or recklessly disregarded the
the NASDAQ Global Markets. While the parties dispute               presence of glaring accounting irregularities or other red flags
the simplicity and obviousness of the misapplied accounting        in EXXI's financial statements. See Tellabs, 127 S. Ct. at
standards, Plaintiffs’ Amended Complaint does not allege           2510; Central Laborers’, 497 F.3d at 555. See also Abrams,
facts capable of establishing either that the standards being      292 F.3d at 433 (recognizing that accounting problems that
violated were so clear and obvious as to make Griffin either       lead to a restatement of a company's financials can “easily
knowingly deceptive or severely reckless in certifying EXXI's      arise from negligence, oversight or simple mismanagement,
SEC filings, or severely reckless by not knowing that EXXI's       none of which rise to the standard necessary to support
accounting was improper. Plaintiffs’ allegations regarding         a securities fraud action”). The court therefore concludes
the magnitude of EXXI's misstated financials do not support        that Plaintiffs’ factual allegations are not sufficient to raise
a strong inference of scienter because “the magnitude of           a strong inference of scienter as to Griffin. Accordingly,
the error does not show that the existence of the error was        Griffin's motion to dismiss the Exchange Act claims asserted
clear when it was made,” Schott v. Nobilis Health Corp.,           against him will be granted and those claims will be dismissed
211 F. Supp. 3d 936, 955 (S.D. Tex. 2016), and because             with prejudice.
EXXI's improper accounting did not uniformly benefit EXXI
or consistently line up with a motive to skew the accounting
results to favor EXXI's financial position. 87 See ArthroCare,                          (c) Defendant Louie
726 F. Supp. 2d at 724; Seitel, 447 F. Supp. 2d at 693.
Moreover, missing from Plaintiffs’ Amended Complaint are           Asserting that he joined EXXI's Board on December 15,
any allegations of specific facts connecting Griffin to the        2014, and that his term expired on December 1, 2015, 88
accounting violations that led to the restatement of EXXI's        Louie argues that the Exchange Act claims asserted against
financial statements. Nor are there any allegations that Griffin   him should be dismissed because he did not make many
engaged in insider trading or stood to benefit personally from     of the alleged misstatements, because Plaintiffs allege no
any of the alleged accounting errors. Plaintiffs offer no facts    facts requiring disclosure of his personal loan to Schiller, and
in support of their contention that Griffin signed the financial   because Plaintiffs rely on group pleading and fail to plead
statements at issue with scienter other than the fact that,        facts capable of raising a strong inference of scienter or loss



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causation. 89 Plaintiffs respond that Louie's MD should be
                                                                   45. During his short tenure on the Board, Defendant Louie
denied because he knew – but failed to disclose – that he
                                                                   signed the Company's Amended 2014 annual report filed
had loaned $3 million to Schiller, because he signed EXXI's
                                                                   on Form 10-K/A with the SEC on December 23, 2014. As
2014 amended Annual Report which had to be restated, and
                                                                   a signatory of the annual report issued in the name of the
because scienter and loss causation are adequately pled. 90        Company and not attributed to an individual author, Louie
                                                                   is responsible for the content of the annual report he signed.
88        Louie's MD, Docket Entry No. 103, p. 6. See also
                                                                   ...
          Plaintiffs’ Amended Complaint, Docket Entry No.
          97, p. 10 ¶¶ 44-45.                                      269. In the Current Report on Form 8-K, filed with the SEC
89                                                                 on December 15, 2014, announcing Defendant Louie's
          Louie's MD, Docket Entry No. 103, p. 9.
                                                                   appointment to the Board, Defendants caused EXXI to state
90                                                                 that there were no related party transactions between Louie
          Plaintiffs’ Memorandum of Law in Opposition
          to Defendant Norman M.K. Louie's Motion to               and the Company or any of its subsidiaries that would
          Dismiss (“Plaintiffs’ Opposition to Louie's MD”),        require disclosure pursuant to Item 404(a) of Regulation S-
          Docket Entry No. 113, pp. 7-12.                          K, 17 C.F.R. ¶ 229.404(a).

                                                                    *20 270. That statement in the Current Report on Form
          (1) Alleged Misstatements and Omissions                  8-K was materially incomplete and misleading because
                                                                   it failed to disclose that (a) Louie had loaned Defendant
Regarding Louie plaintiffs allege:                                 Schiller $3 million and the loan was outstanding at the time
                                                                   the Form 8-K was filed, (b) Louie was at least indirectly
  22. From EXXI's founding in 2005 through and including           interested in the hedge fund MK's ownership of EXXI
  October 15, 2015, Defendant Schiller ... served as               common stock, (c) Louie was at least indirectly interested
  Chairman of the Board. He was stripped of that title             in the M21K partnership between the Company and MK,
  by the Board on October 9, 2015, following an internal           and (d) Louie was at least indirectly interested in M21K's
  investigation that found he borrowed funds in 2007,              $123 million asset purchase from EXXI in 2014. All of
  2009, and 2014 from personal acquaintances or their              those transactions were related party transactions requiring
  affiliates, certain of whom provided the Company and
                                                                   disclosure pursuant to Item 404(a) of Regulation S-K. 91
  certain of its subsidiaries with services, and in 2014 he
  personally borrowed $3 million from Defendant Norman
                                                                 91
  Louie (“Louie”), before Louie was appointed to the Board               Plaintiffs’ Amended Complaint, Docket Entry No.
  effective December 15, 2014. At the time of the loan from              97, p. 6 ¶ 22, p. 10 ¶¶ 44-45, and p. 56 ¶¶ 269-70.
  Louie, Louie was a managing director at Mount Kellet           Louie does not argue the Form 10-K/A he signed that was
  Capital Management, LP, one of the Company's largest           ultimately restated did not contain statements that were false
  shareholders. The internal investigation was prompted by
                                                                 and misleading. 92 The court concludes, therefore, that the
  an SEC inquiry.
                                                                 plaintiffs have plead specific facts sufficient to hold Louie
  ...                                                            liable for the financial statement that he signed. See Janus,
                                                                 131 S. Ct. at 2302 (“For purposes of Rule 10b-5, the maker
  44. Defendant Louie was appointed to the Board, effective      of a statement is the person or entity with ultimate authority
  December 15, 2014, by Defendant Schiller and the rest of       over the statement, including its content and whether and how
  the Board without election by shareholders, to stand for       to communicate it.”).
  election by shareholders at the 2015 annual meeting. When
  Defendant Schiller's secret loan from Defendant Louie          92      Id. at 10 ¶ 45.
  was discovered, the Board determined not to nominate
  Defendant Louie for election as a director at the 2015         Louie argues, however, that Plaintiffs’ allegations fail to state
  annual meeting.                                                an Exchange Act claim against him for statements made
                                                                 in the December 15, 2014, Form 8-K because he did not
                                                                 sign that form and cannot be held liable for the statements



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contained therein, and because the statements in the Form 8-                       Likewise, Louie was highly motivated
K are all true as the transactions at issue were not related-                      to inflate the value of EXXI stock,
party transactions that Regulation S-K, 17 C.F.R. ¶ 229.404(a)                     which secured his secret loan to
require to be disclosed. 93 Plaintiffs do not dispute that Louie                   Schiller, if only to reduce his risk
did not sign the Form 8-K filed on December 15, 2014, and                          of loss if Schiller defaulted on the
therefore cannot be held liable as a maker of the statements                       loan. 97
contained therein. See Kerr v. Exobox Technologies Corp.,
Civil Action No. H-10-4221, 2012 WL 201872, at *11
(S.D. Tex. 2012) (defendant not liable under Rule 10b-5 for
                                                                      95
allegedly false statements in company's SEC filings, even if                  Plaintiffs’ Opposition to Louie's MD, Docket Entry
he supplied the statements at issue, because he did not sign                  No. 113, p. 7.
the filings). See also Janus, 131 S. Ct. at 2302 (“For purposes       96      Id. at 9-10.
of Rule 10b-5, the maker of a statement is the person or
entity with ultimate authority over the statement, including          97      Id. at 8.
its content and whether and how to communicate it.”). Nor
                                                                       *21 It is undisputed that “[w]hen an allegation of fraud is
do Plaintiffs dispute that the transactions at issue are not
                                                                      based upon nondisclosure, there can be no fraud absent a duty
“related party” transactions that Regulation S-K, 17 C.F.R. ¶
                                                                      to speak.” Chiarella v. United States, 100 S. Ct. 1108, 1118
229.404(a) require to be disclosed. 94
                                                                      (1980) (discussing disclosure requirements in the context of
                                                                      insider trading and finding that silence is only fraudulent
93      Louie's MD, Docket Entry No. 103, pp. 7-8.                    if there exists a duty to disclose). The Bristol Myers and
94                                                                    Bridgestone cases on which Plaintiffs rely stand for the well
        Id. at 7-9 (arguing that the transactions at issue were       established principle that once a party makes a disclosure,
        either not “related party” transactions, or that Louie        even if it is literally true, the party is under a duty to speak the
        did not have a material interest in them).                    full truth. See Bristol Myers, 586 F. Supp. 2d at 160 (“even
Citing In re Bristol Myers Squibb Co. Securities Litigation,          an entirely truthful statement may provide a basis for liability
586 F. Supp. 2d 148, 160 (S.D.N.Y. 2008), and City of Monroe          if material omissions related to the content of the statement
Employees Retirement System v. Bridgestone Corp., 399 F.3d            make it – or other statements made – materially misleading”);
651, 670 (6th Cir. 2005), plaintiffs argue, however, that their       Bridgestone, 399 F.3d at 670 (“If a company ‘chooses to
Exchange Act claims against Louie should not be dismissed             volunteer such information,’ though, ‘its disclosure must be
because the Form 8-K “statements regarding no related party           full and fair, and courts may conclude that the company was
transactions, which may have been literally true under the            obliged to disclose additional material facts ... to the extent
narrow definition of ‘related party,’ were, if not literally false,   that the volunteered disclosure was misleading’ ”). See also
highly misleading,” 95 and because the Form 10-K/A that               Rubinstein, 20 F.3d at 170 (“ ‘a duty to speak the full truth
Louie signed was one of EXXI's annual reports that had to be          arises when a defendant undertakes a duty to say anything’
                                                                      ”). But the statements Plaintiffs allege were misleading due
restated. 96 Plaintiffs argue that Louie's loan to Schiller and
                                                                      to Louie's failure to disclose his loan to Schiller and his
involvement with entities that owned EXXI stock
                                                                      relationship to entities that owned EXXI stock are statements
                                                                      made by EXXI on the Form 8-K signed by Griffin; not
                                                                      statements made by Louie.
             should have been disclosed to
                                                                      Plaintiffs fail either to cite any authority or to allege any
             investors because they adversely
                                                                      facts capable of establishing that Louie had a duty to disclose
             impacted Schiller's and Louie's ability
                                                                      information needed to correct the allegedly misleading
             to manage the Company prudently and
                                                                      statements made by EXXI and Griffin. See In re Franklin
             to ensure that the Company's public
                                                                      Bank Corp. Securities Litigation, 782 F. Supp. 2d 364,
             disclosures were truthful. Schiller's
                                                                      398 (S.D. Tex. 2011), aff'd, 464 F. App'x 334 (5th Cir.
             dire financial circumstances were a
                                                                      2012) (plaintiffs failed to allege facts capable of establishing
             strong motive for him to mislead
                                                                      that defendant was under a duty to correct a misleading
             investors – precisely as he did.



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statement made by a third-party analyst). Plaintiffs also fail       the law in this circuit has long been well established that
to allege facts capable of establishing that Louie was the           scienter in a particular case may not be based solely on
source of the information for the related-party statements in        motives universal to all corporate executives such as the
the Form 8-K about which Plaintiffs complain, that Louie             desire to maintain a high stock price. See Indiana Electrical,
knew those statements had been made in the Form 8-K, that            537 F.3d at 544. Plaintiffs’ factual allegations make it more
those statements were material to the Plaintiffs’ decision to        plausible or at least as plausible to infer that when signing
purchase or to hold (i.e., not to sell) EXXI stock, or that          the Form 10-K/A at issue Louie negligently relied on EXXI's
those statements imposed upon Louie a duty to disclose               accountants and auditors than to infer that he knowingly
the existence of his loan to Schiller or his relationship to         or recklessly disregarded the presence of glaring accounting
entities that owned EXXI stock. See In re Securities Litigation      irregularities or other red flags in EXXI's financial statements.
BMC Software, Inc., 183 F. Supp. 2d 860, 871 & n.21                  See Tellabs, 127 S. Ct. at 2510; Central Laborers’, 497 F.3d
(S.D. Tex. 2001) (recognizing that a party generally has             at 555. See also Abrams, 292 F.3d at 433 (recognizing that
no liability for misleading claims made about it by a third          accounting problems that lead to a restatement of a company's
party and no obligation to correct such statements, but that         financials can “easily arise from negligence, oversight or
a party may be liable for allegedly misleading statements            simple mismanagement, none of which rise to the standard
made by a third-party if sufficiently involved in preparation        necessary to support a securities fraud action”). The court
of those statements). Absent such allegations Plaintiffs may         concludes therefore that Plaintiffs’ factual allegations are not
not maintain an Exchange Act claim against Louie arising             sufficient to raise a strong inference of scienter as to Louie.
from either the related-party statements contained in EXXI's
December 15, 2014, Form 8-K, or from Louie's failure to
disclose his loan to Schiller or his position with respect to
                                                                                          (3) Loss Causation
entities that owned EXXI stock. See Basic Inc. v. Levinson,
108 S. Ct. 978, 987 n.17 (1988) (“Silence, absent a duty to           *22 Louie argues that even if Plaintiffs had alleged facts
disclose, is not misleading under Rule 10b-5.”).                     capable of establishing all the elements of their Exchange Act
                                                                     claims, they “have not alleged, nor can they, that there was
                                                                     any loss associated with this loan or its disclosure.” 98 Louie
                          (2) Scienter                               argues that under Dura Pharmaceuticals, Inc. v. Broudo, 125
                                                                     S. Ct. 1627, 1633-34 (2005),
Plaintiffs’ failure to allege facts capable of establishing that
Louie had a duty to disclose his loan to Schiller or his position      Plaintiffs must allege “that the market reacted negatively to
with respect to entities that owned EXXI stock precludes               a corrective disclosure, which revealed the falsity of [the
Plaintiffs from raising a strong inference of scienter with            Company's] previous representations....” ... The personal
respect to allegedly misleading statements and/or omissions            loan from Mr. Louie to Mr. Schiller was disclosed on
arising from the Form 8-K that EXXI filed on December 15,              September 29, 2015. See Ex. C Energy XXI Ltd, Annual
2014. See In re Centerline Holdings Co. Securities Litigation,         Report (Form 10-K) (Sept. 29, 2015) at 43. Immediately
678 F. Supp. 2d 150, 161-62 (S.D.N.Y. 2009) (defendants did            thereafter, EXXI's price increased. See Ex. D Energy XXI
not act with scienter regarding omissions “when there was no           Stock Prices (showing seven consecutive trading days
duty to disclose in the first place”). Nor have Plaintiffs alleged     of increases, reaching a high of $2.28 on October 8,
facts capable of raising a strong inference of scienter with           2015). Even assuming there was a prior misstatement
respect to the Form 10-K/A that Louie signed in December of            regarding the personal loan – which there was not –
2014 shortly after being named to the Board because missing            without any alleged loss caused by the disclosure of Mr.
from Plaintiffs’ Amended Complaint are any allegations of              Louie's personal loan, all of Plaintiffs’ claims relating to
specific facts connecting Louie to the accounting violations           the personal loan must fail. 99
that led to the restatement of EXXI's financials. Plaintiffs
offer no facts in support of their contention that Louie             Plaintiffs respond only that they “have sufficiently alleged
signed the Form 10-K/A at issue with scienter other than the         loss causation to withstand his motion to dismiss.” 100
fact that he was allegedly motivated to inflate the market
value of EXXI because his personal loan to Schiller was              98      Louie's MD, Docket Entry No. 103, p. 9.
purportedly secured by Schiller's EXXI shares. However,



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99                                                                 101
        Id.                                                                Schiller's MD, Docket Entry No. 104, p. 6.
100     Plaintiffs’ Opposition to Louie's MD, Docket Entry
        No. 113, p. 12.                                                     (1) Alleged Misstatements and Omissions
Under the PSLRA Plaintiffs must prove that a defendant's
                                                                   *23 Plaintiffs argue that
act or omission alleged to have violated federal securities
laws “caused the loss for which the plaintiff seeks to recover       [a]s Chairman and CEO, Schiller signed all of EXXI's
damages.” 15 U.S.C. § 78u-4(b)(4). In Dura Pharmaceuticals,          Annual Reports including its 2011, 2012, 2013, and 2014
125 S. Ct. at 1633-34, the Supreme Court held that loss              Annual Reports. ¶ 21. On September 8, 2015, the Company
causation incorporates traditional elements of proximate             announced that all four annual reports should not be relied
causation and economic loss. See Amgen Inc. v. Connecticut           upon and had to be restated to eliminate hedge accounting
Retirement Plans and Trust Funds, 133 S. Ct. 1184, 1192              from them. ¶¶ 83 & 89. The Company's Annual Reports
(2013) (confirming that loss causation continues to be an            for 2012, 2013, and 2014 also included materially false
element of a claim under § 10(b) ). Loss causation refers            or misleading information about the Company's ultra-deep
to a direct link between the misstatement and a plaintiff's          drilling activities (¶¶ 124-26, 132, & 242), and the 2014
loss, and generally requires a corrective disclosure relating to     Annual Report included materially false or misleading
the challenged representations, followed by a decline in the         information about EXXI's acquisition of EPL (¶¶ 172 &
stock's price. See Catogas v. Cyberonics, Inc., 292 F. App'x         174).
311, 314 (5th Cir. 2008) (“Plaintiffs must allege ... that the
market reacted negatively to a corrective disclosure, which          And third, Schiller is tied directly to the Company's
revealed the falsity of [defendant's] previous representations       misstatements regarding its oil and gas reserves in EXXI's
regarding the accounting for its stock options.”). Because           annual and quarterly financial statements. As Plaintiffs
Plaintiffs fail to allege in their Amended Complaint or to           allege, Schiller repeatedly pressured Company employees
argue in their brief in opposition to Louie's motion to dismiss      to include unsubstantiated estimates of natural gas reserves
that a corrective disclosure about Louie's loan to Schiller          purportedly discovered as a result of EXXI's ultra-deep
caused EXXI's stock price to fall, Plaintiffs have failed to         drilling program in the reserves reported in the quarterly
plead loss causation.                                                and annual financial statements. ¶ 141. That pressure
                                                                     undermined the integrity of the Company's financial
Because Plaintiffs have failed to allege facts capable of            statements. ¶ 142. 102
establishing that Louie made an actionable misstatement or
omission, with scienter, that caused the loss of which the         Plaintiffs argue that Schiller made false and misleading
Plaintiffs complain, Louie's motion to dismiss the Plaintiffs’     statements on three matters: EXXI's ultra-deep oil drilling
Exchange Act claims will be granted, and those claims will         activities, EXXI's accounting for the EPL acquisition, and
be dismissed with prejudice.                                       EXXI's financial condition resulting from its use of cash
                                                                   flow hedge accounting. 103 Schiller argues that the statements
                                                                   Plaintiffs attribute to him are not actionable because Plaintiffs
                    (d) Defendant Schiller                         have failed to allege facts capable of proving that the
                                                                   statements were, in fact, false or misleading. 104 Schiller also
Schiller argues that the Exchange Act claims asserted              argues that the statements for which Plaintiffs seek to hold
against him should be dismissed because Plaintiffs’ Amended        him liable are not actionable because they were generally
Complaint fails to allege facts capable of establishing that       forward looking statements of opinion or belief, and because
the statements attributed to him were false or misleading,         Plaintiffs have failed to plead facts capable of establishing
or that he acted with scienter. Schiller also joins the            that he did not genuinely hold the stated opinion or belief,
arguments made by Louie and by the Director Defendants that        that the opinion or belief contained embedded misstatements
Plaintiffs’ Amended Complaint fails to allege facts capable of     of fact, or that he omitted material facts about his inquiry
establishing loss causation, or that his loans from Louie were     into or knowledge of information that would conflict with
“related party transactions.” 101                                  what a reasonable investor would have understood from his
                                                                   comments. 105 See Omnicare, 135 S. Ct. at 1327-29.



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                                                                                time of the Davy Jones discovery.
102                                                                             ¶ 140. In that capacity, the former
        Id. at 24-25 (citing Plaintiffs’ Amended Complaint,
                                                                                employee was well positioned to
        Docket Entry No. 97, pp. 6 ¶ 21, pp. 18-20 ¶¶ 83
                                                                                know whether the Company possessed
        & 89, pp. 27-29 ¶¶ 124-26 & 132, pp. 31-32 ¶¶
                                                                                information to substantiate the stated
        141-42, p. 37 ¶¶ 172 & 174, and p. 51 ¶ 242).
                                                                                reserves. That former employee said
103                                                                             that when the Davy Jones 2 well was
        Plaintiffs’ Memorandum of Law in Opposition to
        Defendant John D. Schiller's Motion to Dismiss                          tested, it only produced water, not
        Amended Complaint (“Plaintiffs’ Opposition to                           natural gas... 107
        Schiller's MD”), Docket Entry No. 114, pp. 9-16.
104     Director Defendants’ MD, Docket Entry No. 105,
        p. 11.                                                    106     Plaintiffs’ Opposition to Schiller's MD, Docket
105                                                                       Entry No. 114, pp. 10-11, 18-19 (citing Plaintiffs’
        Id. at 12-13.
                                                                          Amended Complaint, Docket Entry No. 97, p. 6 ¶
                                                                          21, pp. 28-31 ¶¶ 127-29, 132-34, 136-37).
          (i) Statements About EXXI's Ultra-Deep                  107     Id. at 19 (citing Plaintiffs’ Amended Complaint,
           Drilling Activities Are Not Actionable
                                                                          Docket Entry No. 97, p. 31 ¶¶ 138-40).
Plaintiffs argue that they have plausibly alleged that Schiller
either made or caused EXXI to make false and misleading
                                                                               (A) November 7, 2012, Press Release
statements regarding EXXI's ultra-deep drilling activities
on five separate occasions: (1) a November 7, 2012, Press         Regarding the November 7, 2012, Press Release Plaintiffs
Release regarding the Davy Jones well production; (2)             allege:
EXXI's 2013 Annual Report filed with the SEC on August
21, 2013; (3) comments made at an Oil & Gas conference on           On November 7, 2012, EXXI issued a press release in
October 17, 2013; (4) EXXI's quarterly report for the second        which Defendants caused the Company to state as follows:
quarter of fiscal year 2014 filed with the SEC on Form 10-Q
on February 7, 2014; and (5) EXXI's quarterly report for the            Within the shallow-water ultra-deep exploration
third quarter of fiscal year 2014 filed with the SEC on Form            program with McMoRan, the Davy Jones discovery well
                                                                        is proceeding toward first production and the company is
10-Q on May 1, 2014. 106 Plaintiffs argue that
                                                                        participating in the Blackbeard West #2, Lomand North
                                                                        and Lineham Creek wells.

                                                                        The Davy Jones discovery well, the first shallow-water,
              *24 as Schiller knew, the Company's                       ultra-deep sub-salt completion on the Gulf of Mexico
             ultra-deep drilling activities were                        shelf, is being completed. The wellbore was cleaned out
             largely unsuccessful – only one of                         to enable testing of all 165 feet of perforated sands in the
             15 target wells identified by the joint                    Wilcox and the final steps of installing the wellhead are
             venture ever produced any oil (¶ 139)                      underway. Once these steps are complete, flow testing is
             – and he lacked any basis for the                          expected to commence...
             upbeat statements he repeatedly made.
             Plaintiffs substantiate their allegations                  Completion and testing of the Davy Jones offset
             that Defendants knowingly grossly                          appraisal well (Davy Jones #2) is expected to commence
             overstated the status of the ultra-deep                    following review of results from the Davy Jones
             drilling activities with information                       discovery well. 108
             provided by a former EXXI employee
             who was directly responsible for                     108     Plaintiffs’ Amended Complaint, Docket Entry No.
             managing EXXI's reserves and the
                                                                          97, pp. 28-29, ¶ 127.
             Company's reserve accounting at the



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Missing from Plaintiffs’ Amended Complaint are allegations             from Davy Jones No. 1. However, when the statement was
of facts capable of establishing that any of the statements in         made, Defendants knew that Davy Jones No. 1 was not
the November 7, 2012, Press Release were false or misleading           commercially viable. 110
when made, or that they were attributed to, formulated,
signed, or adopted by Schiller. Instead, Plaintiffs merely           Plaintiffs also allege that
allege that “[o]nly one of 15 target wells identified by the
joint venture ever produced oil.” 109 But the fact that EXXI's
ultra-deep drilling activities were ultimately not successful is
                                                                                   [a]s Chairman of the Board and Chief
not probative of falsity. See Carlton v. Cannon, 184 F. Supp.
                                                                                   Executive Officer of EXXI, Defendant
3d 428, 469 (S.D. Tex. 2016) (“[T]he plaintiffs have at most
                                                                                   Schiller signed the Company's annual
alleged fraud by hindsight. Courts treat this as insufficient
                                                                                   reports filed with the SEC on Form
because it is based on ‘the fact that something turned out
                                                                                   10-K and 10-K/A. As a signatory of
badly must mean [the] defendant[s] knew earlier that it would
                                                                                   the annual reports issued in the name
turn out badly.’ ”). Plaintiffs fail to allege contemporaneous
                                                                                   of the Company and not attributed
facts capable of showing that Schiller knew earlier material
                                                                                   to an individual author, Schiller is
information that he chose not to disclose until later. Id. (citing
                                                                                   responsible for the content of the
Abrams, 292 F.3d at 433 (“company officials should not
be held responsible for failure to foresee future events”).                        annual reports he signed. 111
Because Plaintiffs fail to allege facts capable of establishing
either that statements contained in the November 7, 2012,
Press Release were false or that any false statements are            110
attributable to Schiller, and because Plaintiffs neither allege              Id. at 29-30 ¶ 132.
nor argue that statements contained in the November 7, 2012,         111     Id. at 6 ¶ 21.
Press Release misled the market, the statements made in that
press release are not actionable under the Exchange Act.             Missing from Plaintiffs’ Amended Complaint are allegations
See In re Azurix Corp. Securities Litigation, 198 F. Supp.           of facts capable of establishing that on August 21, 2013, when
2d 862, 882 (S.D. Tex. 2002) (holding that statements were           EXXI's 2013 Annual Report was filed, work was not ongoing
“not actionable because plaintiffs have not pleaded any facts        to establish commercial production from Davy Jones No. 1,
indicating that the statements were untrue”), aff'd sub nom.         that Schiller knew or did not genuinely believe that work
Rosenzweig v. Azurix Corp., 332 F.3d 854 (5th Cir. 2003);            was ongoing to establish commercial production from Davy
Southland Securities Corp. v. INSpire Insurance Solutions,           Jones No. 1, or that Schiller had contradictory information,
Inc., 365 F.3d 353, 365 (5th Cir. 2004) (holding that facts          i.e., information that Davy Jones No. 1 was not commercially
tying an officer or director to a statement “would include a         viable. Absent allegations of such facts, the statements about
signature on the document or particular factual allegations          ultra-deep drilling activities in EXXI's 2013 Annual Report
explaining the individual's involvement in the formulation           are not actionable against Schiller. See In re Azurix Corp.
of either the entire document, or that specific portion of the       Securities Litigation, 198 F. Supp. 2d at 882.
document” containing the false or misleading statement).

109                                                                             (C) Statements at Oil & Gas Conference
        Id. at 31 ¶ 139.

                                                                     Regarding Schiller's October 17, 2013, statements at an Oil &
               (B) EXXI's 2013 Annual Report                         Gas Conference, Plaintiffs allege that

 *25 Regarding EXXI's 2013 Annual Report, Plaintiffs                   [a]t an Oil & Gas conference on October 17, 2013, Schiller
allege:                                                                said that Davy Jones No. 1 was “too deep and too narrow to
                                                                       flow gas” but Schiller falsely stated that Davy Jones No. 2
  In its 2013 Annual Report filed with the SEC on August               had a “high probability” of producing and that completion
  21, 2013, Defendants caused the company to state that                of Davy Jones 2 was expected to start in December,
  “work is ongoing to establish commercial production”                 2013. 112



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                                                                  or did not genuinely believe them. Plaintiffs’ assertion that
Plaintiffs allege that                                            Schiller lacked any reasonable basis for his “high probability”
                                                                  statement because he had no objective or empirical evidence
                                                                  to support that statement is unavailing because Plaintiffs
                                                                  fail to allege particularized facts capable of establishing that
             Defendant        Schiller's       “high              objective or empirical evidence existed that contradicted that
             probability” statement was false and                 statement. In Rosenzweig, 332 F.3d at 870, the Fifth Circuit
             misleading when it was made.                         reaffirmed its prior recognition in Rubinstein, 20 F.3d at 169,
             As Schiller knew on October 17,                      that “[s]imply alleging that the predictive statements ... did not
             2013, there was no objective or                      have a reasonable basis – that is, that they were negligently
             empirical evidence, such as test results             made – would hardly suffice to state a claim under Rule
             or preliminary production data, to                   10b-5.”
             support Schiller's “high probability”
             statement at that time (or ever).                     *26 Plaintiffs’ reference to an unidentified former EXXI
             Thus, on that date, Schiller lacked                  employee in support of their allegations that when Davy
             any reasonable basis for his “high                   Jones No. 2 was tested, it produced water, not gas, is
             probability” statement. 113                          unavailing because Plaintiffs have not alleged either when
                                                                  the test occurred or that it occurred before Schiller made the
                                                                  statements alleged to be false and misleading at the Oil & Gas
Plaintiffs also allege that                                       Conference on October 17, 2013. Nor have plaintiffs alleged
                                                                  any facts capable of establishing that Schiller knew about the
                                                                  test, knew the test demonstrated that Davy Jones No. 2 was
                                                                  incapable of producing gas, or knew that the test necessarily
             [a]ccording to a former EXXI                         meant that completion of Davy Jones No. 2 was not expected
             employee directly responsible for                    to start in December of 2013. Because Plaintiffs do not allege
             managing EXXI's reserves and the                     facts capable of establishing that Schiller's statements at the
             Company's reserve accounting at the                  Oil & Gas Conference on October 17, 2013, were false, or that
             time of the Davy Jones discovery,                    Schiller either knew those statements were false or did not
             when the Davy Jones No. 2 well                       genuinely believe them, and because Plaintiffs neither allege
             was tested, it only produced water,                  nor argue that any of those statements misled the market,
             not natural gas. This material adverse               Schiller's statements at the Oil & Gas Conference on October
             fact, though known by EXXI and the                   17, 2013, are not actionable under the Exchange Act. See In
             Individual Defendants, was not timely                re Azurix Corp. Securities Litigation, 198 F. Supp. 2d at 882.
             disclosed to investors, including
             Plaintiffs in particular. 114
                                                                               (D) Form 10-Qs Filed in Early 2014

                                                                  Regarding statements on EXXI's Form 10-Q filings for the
112     Id. at 30 ¶ 133.                                          second and third quarters of fiscal year 2014, Plaintiffs allege:
113     Id. ¶ 134.                                                  136. In EXXI's quarterly report for the period ended
114                                                                 December 31, 2013, filed on Form 10-Q with the SEC on
        Id. at 31 ¶ 140.
                                                                    February 7, 2014, Defendants caused the Company to state
Missing from Plaintiffs’ Amended Complaint are allegations          that “work is ongoing to establish commercial production”
of fact capable of establishing that Schiller's statements that     from Davy Jones 1 and that “[o] perations to commence
Davy Jones No. 2 had a “high probability” of producing              completion of the Davy Jones No. 2 well are expected
or that completion of Davy Jones No. 2 was expected to              during calendar year 2014.”
start in December of 2013, were false, or that when Schiller
made these statements he either knew that they were false           137. In EXXI's quarterly report for the period ended March
                                                                    31, 2014, filed on Form 10-Q with the SEC on May 1,


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  2014, Defendants failed to mention Davy Jones No. 1, but
  maintained that Davy Jones No. 2 was “in the process of
  being completed.” 115
                                                                            Davy Jones. As previously reported,
115                                                                         our operating partner, Freeport
        Id. at 30-31 ¶¶ 136-37.                                             McMoRan, has drilled two wells in
Plaintiffs argue that the statement in the Form 10-Q filed                  the Davy Jones field. The Davy
on February 7, 2014, that “work is ongoing to establish                     Jones No. 1 well is located on South
commercial production” from Davy Jones No. 1 was false                      Marsh Island Block 230 in 19 feet
because Schiller had stated at an October 17, 2013, Oil &                   of water and work is ongoing to
Gas Conference that Davy Jones No. 1 was “too deep and too                  establish commercial production from
narrow to flow gas.” 116 Schiller replies that Plaintiffs have              the well. The operator currently is
not alleged any facts capable of establishing that statements               developing a fit for purpose fracture
in the Form 10-Q filed on February 7, 2014, were false                      stimulation process. The Davy Jones
                                                                            No. 2 offset appraisal well, located
or misleading. 117 Asserting that Plaintiffs have selectively
                                                                            two and a half miles southwest of
cited only a portion of the Form 10-Q filed on February
                                                                            Davy Jones No. 1, confirmed 120
7, 2014, Schiller argues that when read in context together
                                                                            net feet of potential pay in multiple
with the surrounding statements, the statement that work
                                                                            Wilcox sands, indicating continuity
was “ongoing to establish commercial production from Davy
                                                                            across the major structural features
Jones 1,” which plaintiffs allege is false and misleading
                                                                            of the Davy Jones prospect, and also
because it conflicts with the statement he made on October
                                                                            encountered 192 net feet of potential
17, 2013, that Davy Jones No. 1 is too deep and too narrow
                                                                            hydrocarbons in the Tuscaloosa and
to flow gas is, in fact, consistent with his October 17, 2013,
                                                                            Lower Cretaceous carbonate sections.
statement. Schiller explains that Plaintiffs
                                                                            Operations to commence completion
  omit an important sentence in the February 7, 2014 Form                   of the Davy Jones No. 2 well
  10Q filing in which the company truthfully disclosed that                 are expected during calendar year
  “work is ongoing to establish commercial production”                      2014. 119
  from Davy Jones 1. Immediately following that sentence,
  the company stated in the 10Q: “The operator [Freeport
  McMoRan] is developing a fit for purpose fracture
                                                                 119   Energy XXI (Bermuda) Limited, Form 10-Q for
  stimulation process” for Davy Jones l.” 118
                                                                       the quarterly period ended December 31, 2013,
                                                                       p. 35, Exhibit 2 to Declaration of David M.
116     Plaintiffs’ Opposition to Schiller's MD, Docket                Sheeren, Docket Entry No. 122-3, p. 42. The court
        Entry No. 114, pp. 10-11.                                      may properly consider the full section of this
117                                                                    Form 10-Q at this stage of the case because in
        Defendant John D. Schiller, Jr.’s Reply in Support
                                                                       securities cases courts may take judicial notice of
        of His Motion to Dismiss the Amended Complaint
                                                                       the contents of public disclosure documents that
        (“Schiller's Reply”), Docket Entry No. 122, pp.
                                                                       are required by law to be filed and are actually
        12-13.
                                                                       filed with the SEC with the caveat that these
118                                                                    documents may be considered only for the purpose
        Id. at 13 (citing Energy XXI (Bermuda) Limited,
        Form 10-Q for the quarterly period ended                       of determining what statements they contain. See
        December 31, 2013, Exhibit 2 to Declaration of                 Lovelace, 78 F.3d at 1018 & n.1. See also Lone
        David M. Sheeren, Docket Entry No. 122-3).                     Star Fund V (U.S.), 594 F.3d at 387 (holding that
                                                                       when considering a motion to dismiss courts may
In pertinent part the Form 10-Q filed on February 7, 2014,
                                                                       consider documents that are “central to the claim
states:
                                                                       and referenced by the complaint”).




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 *27 Missing from Plaintiffs’ Amended Complaint are                 producing gas, or knew that the test would necessarily lead to
allegations of facts capable of establishing that when the Form     the cessation of ongoing efforts to complete Davy Jones No.
10-Q was filed on February 7, 2014, the work to complete            2. Absent factual allegations capable of establishing that when
Davy Jones No. 1 was not still ongoing, that the operator           EXXI filed the Form 10-Qs at issue on February 7, 2014,
was not attempting to develop a “fit for purpose fracture           and May 1, 2014, operations to commence completion of the
stimulation process” to that well, or that objective or empirical   Davy Jones No. 2 well were not expected during calendar
evidence existed that contradicted the statement that Plaintiffs    year 2014, and that when EXXI filed the Form 10-Q filed
allege was false. Because Plaintiffs do not allege facts capable    on May 1, 2014, Davy Jones No. 2 was not “in the process
of establishing that the statement that “work is ongoing to         of being completed,” or that Schiller knew either that work
establish commercial production” from Davy Jones No. 1              was not ongoing on that well or that the well was not capable
made in the Form 10-Q filed on February 7, 2014, was false,         of producing gas, Schiller cannot be held liable under the
because Plaintiffs neither allege nor argue that Schiller did       Exchange Act for the allegedly false statements regarding
not genuinely believe that statement or had information that        Davy Jones No. 2 contained in EXXI's Form 10-Qs filed on
contradicted it, and because Plaintiffs neither allege nor argue    February 7, 2014, or May 1, 2014. See In re Azurix Corp.
that the statement about the Davy Jones No. 1 well misled the       Securities Litigation, 198 F. Supp. 2d at 882.
market, that statement will not support a claim against Schiller
under the Exchange Act. See In re Azurix Corp. Securities           120     Plaintiffs’ Opposition to Schiller's MD, Docket
Litigation, 198 F. Supp. 2d at 882.                                         Entry No. 114, p. 11 (citing Plaintiffs’ Amended
                                                                            Complaint, Docket Entry No. 97, p. 31 ¶¶ 139-40).
Plaintiffs argue that the statements that “[o]perations to
commence completion of the Davy Jones No. 2 well are
expected during calendar year 2014” made in the Form 10-                     (ii) Statements About EXXI's Accounting
Q filed on February 7, 2014, and that Davy Jones No. 2                      For The EPL Acquisition Are Not Actionable
was “in the process of being completed” made in the Form
10-Q filed on May 1, 2014, were false because by 2014               Asserting that Schiller caused EXXI to buy EPL in 2014 to
specialized production equipment used for ultra-deep well           turn around the Company's stagnant growth and sagging stock
production had been removed from Davy Jones No. 2 and               price, 121 Plaintiffs argue that
relocated to a different site, and because an unidentified
former EXXI employee has allegedly provided information                *28 [a] year earlier, the Company decided that EPL
that when Davy Jones No. 2 was tested, it produced water, not         was overpriced. ¶¶ 14.9 & 160. However, Schiller was
                                                                      so desperate to deliver any purportedly good news to the
gas. 120 These allegations are not sufficient to state a claim
                                                                      market that he rushed the Company to complete the $2
for violation of the Exchange Act against Schiller because
                                                                      billion purchase – its largest by far – without conducting
Plaintiffs have failed to allege facts capable of establishing
                                                                      any due diligence. ¶ 153. The haste in which Schiller forced
when the specialized equipment was removed from the Davy
                                                                      EXXI to buy EPL was matched by the haste in which the
Jones No. 2 site or even that it was removed from the site
                                                                      purchase soured: less than a year after buying EPL, the
before EXXI filed the Form 10-Qs at issue on February 7,
                                                                      assets EXXI acquired had become worthless. ¶¶ 220-21.
2014, and May 1, 2014. Nor have Plaintiffs alleged facts
capable of establishing the type of specialized equipment             After EXXI acquired EPL, the Company and its subsidiary
that was removed, that removal of the equipment necessarily           reported financial results side-by-side. Quarter after
meant the Davy Jones No. 2 well could not be completed,               quarter, EPL wrote down assets as impaired, only to have
or that when the statements were made Schiller did not                EXXI delay doing so by one quarter. Each time, EXXI
genuinely believe them or had information that contradicted           wrote down the exact same impairment charge one quarter
them. Plaintiffs have similarly failed to allege facts capable        after EPL did so. EXXI has never explained the reason for
of establishing when the test that allegedly produced water
                                                                      its delayed recognition of the impairment charge. 122
instead of gas occurred or even that it occurred before EXXI
filed the Form 10-Qs at issue on February 7, 2014, and
                                                                    121
May 1, 2014. Nor have Plaintiffs alleged any facts capable                  Id. at 19-20 (citing Plaintiffs’ Amended Complaint,
of establishing that Schiller knew about the test, knew the                 Docket Entry No. 97, p. 33 ¶ 147). See also id. at
test demonstrated that Davy Jones No. 2 was incapable of                    11-15.



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122                                                               not allege facts capable of establishing that any of EXXI's
        Id. See also Plaintiffs’ Amended Complaint,
                                                                  statements about EPL were false, or that EXXI had a
        Docket Entry No. 97, pp. 32-49 ¶¶ 144-230.
                                                                  duty to explain the differences between its accounting for
Plaintiffs’ allegations that Schiller rushed the EPL              EPL's goodwill impairment and EPL's own accounting for
acquisition, caused EXXI to overpay for EPL, and was              impairment of its assets; because Plaintiffs fail to allege
so desperate to bring good news to the market that he             facts capable of establishing that Schiller either knew that
failed to do any due diligence, are not supported by              any statements about EPL attributable to him were false, or
allegations of particularized facts capable of establishing       did not genuinely believe any such statements; and because
that any statements about the EPL acquisition attributable to     Plaintiffs’ neither allege nor argue that any statements
Schiller were false or misleading, or that Schiller failed to     about EPL misled the market, the EPL statements about
disclose information needed to make his EPL statements not        which Plaintiffs complain are not actionable against Schiller
misleading. Even assuming that such facts were pled with          under the Exchange Act. See In re Azurix Corp. Securities
specificity, the “failure to engage in due diligence before       Litigation, 198 F. Supp. 2d at 882.
closing an acquisition does not automatically support an
inference of fraud.” Schiller v. Physicians Resource Group,
Inc., 2002 WL 318441, *11 (N.D. Tex. February 26, 2002)
(citing Brogen v. Pohlad, 933 F. Supp. 793, 799 (D. Minn.               (iii) EXXI's Financial Statements Are Actionable
1995) (failing “to adequately investigate the merits of a
                                                                   *29 Asserting that “EXXI lacked the necessary
potential acquisition and subsequent steps to remedy that
                                                                  documentation for its hedging activities to utilize hedge
omission may give rise to a claim for negligence; but it cannot
support a claim for securities fraud”) ).                         accounting,” 123 Plaintiffs argue that


Plaintiffs’ allegations that Schiller can be held liable under
the Exchange Act for false or misleading statements because
                                                                               [a]s a result, in September 2015,
EXXI recognized impairment charges for EPL one quarter
                                                                               shortly after EXXI's auditor was
after EPL did so without explaining the reason for its delayed
                                                                               acquired, the new auditor required the
recognition, are not supported by allegations of particularized
                                                                               Company to restate more than four
fact. Missing from Plaintiffs’ Amended Complaint are
                                                                               years of financial statements and to
allegations of facts capable of establishing the relevant
                                                                               make an adjustment to its accumulated
accounting standards, how those standards were violated, or
                                                                               deficit to eliminate the effects of cash
that Schiller knew or ignored glaring red flags that statements
                                                                               flow hedge accounting. ¶¶ 244-45. On
about EPL attributable to him were false or misleading
                                                                               September 8, 2015, EXXI announced
when made. Also missing from Plaintiffs’ Opposition to
                                                                               that its previously issued consolidated
Schiller's MD is any argument or authority for Plaintiffs’
                                                                               financial statements for the four years
contention that a corporate parent has a duty to explain
                                                                               ended June 30, 2011, 2012, 2013,
why its accounting for impairment of a subsidiary's assets
                                                                               and 2014, and for the seven quarters
differs from the subsidiary's own accounting for the same
                                                                               ended September 30, 2013 and 2014,
assets. See North Collier Fire Control and Rescue District
                                                                               December 31, 2013 and 2014, March
Firefighter Pension Plan and Plymouth County Retirement
                                                                               31, 2014 and 2015, and June 30, 2014
Association v. MPC Partners, Inc., No. 15 Civ. 6034 (RJS),
                                                                               – eleven financial statements in all
2016 WL 5794774, *3, 9-11, 24 (S.D.N.Y. 2016) (dismissing
                                                                               – should no longer be relied upon,
§ 10(b) claim that rested on allegations of how management
                                                                               and would be restated. ¶ 245. The
of parent company should have tested and impaired goodwill
                                                                               announcement stunned Plaintiffs and
related to subsidiary). See also Harris v. Amtrust Financial
Services, Inc., 135 F. Supp. 3d 155, 171 (S.D.N.Y. 2015)                       other EXXI investors. ¶ 247. 124
(“The fact that Lead Plaintiff cannot tick and tie the loss and
loss adjustment expense reported in AmTrust's consolidated
financial statement to the losses its individual subsidiaries     Plaintiffs argue that
reported to insurance regulators, without more, does not
plausibly allege a misstatement.”). Because Plaintiffs do


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                                                                   the Company's financial statements, the pressure from
  [a]s Chairman and CEO, Schiller signed all of EXXI's             Defendant Schiller and the confrontations it led to created
  Annual Reports including its 2011, 2012, 2013, and 2014          mistrust between the Company's internal accountants and
  Annual Reports. ¶ 21. On September 8, 2015, the Company
                                                                   senior management. 126
  announced that all four annual reports should not be relied
  upon and had to be restated to eliminate hedge accounting       *30 Because Plaintiffs expressly allege that “the
  from them. ¶¶ 83 & 89. The Company's Annual Reports            unsubstantiated estimates of natural gas reserves purportedly
  for 2012, 2013, and 2014 also included materially false        discovered as a result of EXXI's ultra-deep drilling program
  or misleading information about the Company's ultra-deep       were not included in any of the Company's financial
  drilling activities (¶¶ 124-26, 132, & 242), and the 2014
                                                                 statements,” 127 they are not statements for which Schiller
  Annual Report included materially false or misleading
                                                                 can be held liable under the Exchange Act. Schiller does
  information about EXXI's acquisition of EPL (¶¶ 172 &
                                                                 not plausibly argue, however, that the financial statements
  174).
                                                                 he signed that were ultimately restated due to EXXI's lack
  And third, Schiller is tied directly to the Company's          of specific documentation needed to support its use of cash
  misstatements regarding its oil and gas reserves in EXXI's     flow hedge accounting did not contain statements that were
  annual and quarterly financial statements. As Plaintiffs       false and misleading. The court therefore concludes that the
  allege, Schiller repeatedly pressured Company employees        Plaintiffs have pled specific facts sufficient to hold Schiller
  to include unsubstantiated estimates of natural gas reserves   liable for the financial statements that he signed and that were
  purportedly discovered as a result of EXXI's ultra-deep        restated because EXXI improperly utilized cash flow hedge
  drilling program in the reserves reported in the quarterly     accounting. See Janus, 131 S. Ct. at 2302.
  and annual financial statements. ¶ 141. That pressure
  undermined the integrity of the Company's financial            126    Plaintiffs’ Amended Complaint, Docket Entry No.
                       125                                              97, pp. 31-32 ¶¶ 141-42.
  statements. ¶ 142.
                                                                 127    Id. ¶ 142.
123     Id. at 15-16 (citing Plaintiffs’ Amended Complaint,
        Docket Entry No. 97, pp. 49-50 ¶¶ 234-35).
124                                                                                     (iv) Conclusions
        Id. at 16 (citing Plaintiffs’ Amended Complaint,
        Docket Entry No. 97, pp. 244-45, and 247).               For the reasons stated above, the court concludes that the
125                                                              purportedly false and misleading statements that Plaintiffs
        Id. at 24-25 (citing Plaintiffs’ Amended Complaint,      allege Schiller made about EXXI's ultra-deep oil drilling
        Docket Entry No. 97, p. 6 ¶ 21, pp. 18-20 ¶¶ 83          activities, and EXXI's accounting for the unsuccessful EPL
        & 89, pp. 27-30 ¶¶ 124-26 & 132, pp. 31-32 ¶¶            acquisition will not support Exchange Act claims against
        141-42, p. 37 ¶¶ 172 & 174, and p. 51 ¶ 242).            Schiller either because Plaintiffs have failed to allege facts
Regarding Schiller's alleged misstatements on EXXI's oil and     capable of establishing that the statements were false when
gas reserves Plaintiffs allege:                                  made, or that to the extent they were statements of opinion or
                                                                 belief, Schiller did not genuinely hold the opinions expressed,
  141. According to the former EXXI employee,                    the opinions contained embedded untrue statements of fact, or
  Defendant Schiller pressured Company employees to              Schiller omitted material facts about his inquiry or knowledge
  include unsubstantiated estimates of natural gas reserves      that would conflict with what a reasonable investor would
  purportedly discovered as a result of EXXI's ultra-deep        have understood from his statements. See Omnicare, 135
  drilling program in the amount of reserves reported in the     S. Ct. at 1327-29. The court concludes, however, that
  Company's quarterly and annual financial statements. This      the Plaintiffs have pled particularized facts capable of
  led to internal confrontations over accounting policies and    establishing Schiller's liability for false and misleading
  practices.                                                     statements contained in EXXI's financial statements that
                                                                 Schiller signed, that were filed with the SEC, and that were
  142. Although the unsubstantiated estimates of natural
                                                                 restated because EXXI improperly utilized cash flow hedge
  gas reserves purportedly discovered as a result of EXXI's
                                                                 accounting. See Janus, 131 S. Ct. at 2302.
  ultra-deep drilling program were not included in any of



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                                                                    company enhanced the scienter allegations. Recognizing
                                                                    “that normally an officer's position with a company does not
                                                                    suffice to create an inference of scienter,” id. at 424, the
                         (2) Scienter
                                                                    court found a number of special circumstances that taken
Schiller argues that “the Amended Complaint should be               together, sufficed to support a different result in that case: (1)
dismissed for failure to allege any inference of scienter, much     the company was small and had only three-dozen full-time
                                                                    employees; (2) it was essentially a one-product company;
less a strong one.” 128 He argues that Plaintiffs’ references to
                                                                    and (3) the alleged misrepresentations were about the patent
his desire to maintain a lavish lifestyle, his executive position
                                                                    protection for that single product, the company's most crucial
within EXXI, his signature on SEC filings that were restated,
                                                                    issue. Id. at 425.
and his loans from Louie and EXXI vendors are all inadequate
– individually or collectively – to raise a strong inference of
                                                                    The Fifth Circuit and other courts have been reluctant,
scienter. 129                                                       however, to apply the limited exception recognized in
                                                                    Nathenson. See Rosenzweig, 332 F.3d at 867-68 (rejecting the
128                                                                 plaintiffs’ argument that “the failure of Azurix's core business
        Schiller's MD, Docket Entry No. 104, p. 13.
                                                                    – water-privatization projects – supports the inference
129     Id. at 13-22. See also Schiller's Reply, Docket Entry       that defendants knew, or recklessly disregarded, Azurix's
        No. 122, pp. 16-21.                                         prospects for success” and holding that the plaintiffs must
Citing Nathenson v. Zonagen Inc., 267 F.3d 400 (5th Cir.            identify exactly who supplied the information or when they
2001), Plaintiffs respond that they have alleged                    knew the information”); Abrams, 292 F.3d at 432 (“A
                                                                    pleading of scienter may not rest on the inference that
  several “special circumstances” that strongly support             defendants must have been aware of the misstatement based
  an inference of Schiller's scienter. Those circumstances          on their positions within the company.”). Instead, the Fifth
  include: (i) Schiller's prominence as EXXI's founder,             Circuit has stated that only in the “rare case” will a strong
  Chairman, and CEO; (ii) the importance of the Company's           inference of scienter be drawn from an officer's position in
  ultra-deep drilling activities, its oil and gas reserves,         a company, and only when this factor combines with other,
  and the EPL acquisition to EXXI's net worth and future            “special circumstances.” Local 731 I.B of T. Excavators and
  prospects; (iii) the fact that Schiller himself made several      Pavers Pension Trust Fund v. Diodes, Inc., 810 F.3d 951,
  statements regarding the Company's ultra-deep drilling, its       959 (5th Cir. 2016). The Fifth Circuit reiterated that such
  reserves, and the EPL acquisition; (iv) Schiller's attempt        circumstances may include: (1) a small company in which
  to influence the Company's reserve estimates; and (v)             corporate executives are more likely to be familiar with day-
  Schiller's dependence on the market price for EXXI stock          to-day operations; (2) transactions “critical to the company's
  to meet his need for cash to fund his lavish lifestyle. Those     continued vitality”; (3) omitted information readily apparent
  circumstances – particularly Schillers’ need to control the       to the speaker; and (4) statements by the corporate officer that
  Company's disclosures to satisfy his urgent need for cash –       are internally inconsistent. Id.
  make his scienter “at the very least, equally as compelling
  as any alternative inference, and a tie favors the plaintiff.”    Plaintiffs neither allege nor argue that facts capable of
                                                  130               establishing any of the special circumstances recognized in
  Lormand, 565 F.3d at 254 (emphasis added).
                                                                    Nathenson or Diodes are present in this case. Plaintiffs’
Plaintiffs also point to the loans that Schiller took from Louie    allegations that between 2006 and 2010 EXXI completed
and from EXXI's vendors but failed to disclose to the Board         five major acquisitions for aggregate cash consideration of
or to the market as strong inferences of scienter. 131              approximately $2.5 billion demonstrates that EXXI differed
                                                                    substantially from the small, single product companies at
130     Plaintiffs’ Opposition to Schiller's MD, Docket             issue in Nathenson and Diodes. 132 Instead, as special
        Entry No. 114, p. 27 (emphasis in original).                circumstances capable of allowing a strong inference of
                                                                    scienter to be drawn from Schiller's position with the
131     Id. at 27-31.                                               Company, Plaintiffs point to Schiller's prominence as EXXI's
 *31 In Nathenson the Fifth Circuit held that the individual        founder, Chairman, and CEO known for his lavish lifestyle,
defendants’ positions within the defendant pharmaceutical           the importance of EXXI's ultra-deep drilling activities, the



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EPL acquisition, and oil and gas reserves to EXXI's net           721 (“[W]hen the number, size, timing, nature, frequency,
worth and future prospects, and the allegedly false and           and context of the misapplication [of accounting principles]
misleading statements that Schiller made about these subjects,    or restatement are taken into account, the balance of the
i.e., EXXI's ultra-deep drilling activities, EPL acquisition,     inferences to be drawn from such allegations may shift
and gas reserves. 133 Since, however, for the reasons stated      significantly in favor of scienter.”). Although Plaintiffs have
in § III.A.2(d)(1)(i)-(iii), above, the court has already         argued that the number, size, timing, nature, frequency, and
concluded that Plaintiffs have failed to plead facts capable      context of the misapplication [of accounting principles] and
of establishing that Schiller's statements about EXXI's ultra-    the restatement raise a strong inference of scienter as to
deep drilling activities, EPL acquisition, or reserves were       Griffin, EXXI's CFO, Plaintiffs have made no such argument
false or misleading, Plaintiffs’ attempt to infer a strong        as to Schiller. Instead, Plaintiffs merely point to the loans that
inference of scienter for and/or from making those statements     Schiller borrowed from fellow board member Louie and from
misses the mark. The only allegedly false and misleading          EXXI vendors but did not disclose. But for the reasons stated
statements that the court has found are actionable against        in § III.A.2(c)(1), above, the court has already concluded
Schiller are the financial statements included in the EXXI        that Plaintiffs have failed to allege any facts capable of
SEC filings that he signed and were later restated.               establishing that Louie – or now Schiller – had a duty to
                                                                  disclose those loans. Absent a duty to disclose, failure to
132                                                               disclose is not capable of raising a strong inference of scienter.
        Plaintiffs’ Amended Complaint, Docket Entry No.
                                                                  See Chiarella v. United States, 100 S. Ct. at 1118 (“When an
        97, p. 16 ¶¶ 69-71. Moreover, Schiller argues
                                                                  allegation of fraud is based upon nondisclosure, there can be
        without objection that EXXI had approximately
                                                                  no fraud absent a duty to speak.”).
        257 employees at the time of its bankruptcy, more
        than the companies falling under the Nathenson
                                                                  Moreover, missing from Plaintiffs’ Amended Complaint
        exception. See Schiller's Reply, Docket Entry
                                                                  are any allegations of specific facts connecting Schiller
        No. 122, p. 19 & n.9 (“In connection with
                                                                  to the accounting violations that led to the restatement of
        its bankruptcy petition, the company sought
                                                                  EXXI's financial statements. Nor are there any allegations
        emergency relief to pay these employees during
                                                                  that Schiller engaged in insider trading or stood to benefit
        the course of the bankruptcy. See Ex. 3 to the
                                                                  personally from any of the alleged accounting errors.
        Declaration of David M. Sheeren at p. 5 (disclosing
                                                                  Plaintiffs offer no facts in support of their contention that
        257 employees). The Court can properly take
                                                                  Schiller signed the financial statements at issue with scienter
        judicial notice of that adjudicative fact. Funk v.
                                                                  other than the fact that, like the senior managers of every
        Stryker Corp., 631 F.3d 777, 783 (5th Cir. 2011).”
                                                                  company, he had control over the Company. See Izadjoo,
        See also Carlton, 184 F. Supp. 3d at 479 (183
                                                                  237 F. Supp. 3d at 516 (find no scienter for officers where
        employees voids the Nathenson exception).
                                                                  there were no “glaring irregularities or red flags” to put
133                                                               them on notice of material misstatements and omissions in
        Plaintiffs’ Opposition to Schiller's MD, Docket
        Entry No. 114, p. 27.                                     Sarbanes-Oxley certifications or earnings calls). Plaintiffs
                                                                  cannot demonstrate scienter by relying either on Schiller's
 *32 A defendant's signature on an SEC filing with false or       position on the board, Abrams, 292 F.3d at 432, or on the fact
misleading statements or omissions cannot by itself support       that certain financial statements were restated. See Central
a strong inference of scienter. See Central Laborers’, 497        Laborers, 497 F.3d at 546 (restatement of financial data,
F.3d at 555. “[T]he mere publication of inaccurate accounting     by itself, does not create a strong inference of scienter).
figures, or a failure to follow GAAP, without more, does not      Plaintiffs’ factual allegations make it more plausible or at
establish scienter. The party must know that it is publishing     least as plausible to infer that when signing the SEC filings
materially false information, or the party must be severely       at issue Schiller negligently relied on EXXI's accountants
reckless in publishing such information.” Lovelace, 78 F.3d at    and auditors than to infer that he knowingly or recklessly
1020. See also ArthroCare, 726 F. Supp. 2d at 716; Seitel, 447    disregarded the presence of glaring accounting irregularities
F. Supp. 2d at 693. To infer scienter from accounting errors,     or other red flags in EXXI's financial statements. See
courts typically examine the magnitude, pervasiveness, and        Tellabs, 127 S. Ct. at 2510; Central Laborers, 497 F.3d at
repetition of the errors; the simplicity and obviousness of the   555. See also Abrams, 292 F.3d at 433 (recognizing that
misapplied rules; and the defendant's apparent motives for        accounting problems that lead to a restatement of a company's
misapplying these rules. See ArthroCare, 726 F. Supp. 2d at


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financials can “easily arise from negligence, oversight or                  and incorporates those arguments herein by
simple mismanagement, none of which rise to the standard                    reference.”).
necessary to support a securities fraud action”). The court          135
concludes therefore that Plaintiffs’ factual allegations are not            Plaintiffs’ Opposition to Director Defendants’ MD,
sufficient to raise a strong inference of scienter as to Schiller.          Docket Entry No. 115, p. 24.
                                                                     136    Id.
                                                                     137
                      (3) Loss Causation                                    Id.
                                                                     138
Schiller joins in and incorporates by reference arguments                   Id.
made by the Director Defendants and by Louie                         139    Id. at 25.
                                                                      *33 For the reasons stated in § III.A.2(c)(3), above, with
                                                                     respect to Louie, and in § III.A.2(e)(3), below, with respect
             that Plaintiffs failed to show that any                 to the Director Defendants, Plaintiffs have failed to plead loss
             of the alleged misstatements were                       causation with respect to Schiller.
             followed by corrective disclosures
             that caused the price of the stock
             to drop. Plaintiffs fail to plead loss                                 (4) Conclusions as to Schiller
             causation because they do not allege
             any causal connection between the                       Because Plaintiffs have failed to allege facts capable of
             supposed fraudulent conduct and their                   establishing that Schiller made an actionable misstatement
             purported losses. 134                                   or omission, with scienter, that caused the loss of which
                                                                     the Plaintiffs’ complain, Schiller's motion to dismiss the
                                                                     Plaintiffs’ Exchange Act claims will be granted, and those
Although they have not responded directly to Schiller's              claims will be dismissed with prejudice.
loss causation argument, Plaintiffs argue that they “have
sufficiently alleged loss causation to withstand [Schiller's]
motion to dismiss.” 135 Citing Lormand, 565 F.3d at 256-58,                              (e) Director Defendants
and asserting that “[l]oss causation ‘is subject to the pleading
                                                                     The Director Defendants argue that the federal securities
standard of Federal Rule of [Civil] Procedure 8(a)(2), rather
                                                                     law and fraud claims asserted against them should be
than the heightened pleading requirement of Rule 9(b),” 136
                                                                     dismissed because Plaintiffs’ Amended Complaint fails to
Plaintiffs argue that “[u]nder that relaxed pleading standard,
                                                                     plead an actionable misstatement or omission, scienter, or loss
[they] need only allege ‘a facially “plausible’ ” connection
                                                                     causation. The Director Defendants also argue that Plaintiffs’
between the misstatements or omissions and their loss.” 137          Amended Complaint
Citing North Port Firefighters’ Pension – Local Option Plan
v. Temple-Inland, Inc., 936 F. Supp. 2d 722, 761 (N.D. Tex.
2013), Plaintiffs argue that they “need not plead a fact-for-
fact disclosure to establish loss causation,” 138 and if the court                fails to the extent it asserts (1) claims
disagrees, Plaintiffs “respectfully request the opportunity to                    against the Director Defendants based
amend their complaint to add such factual allegations in                          on statements attributed to unspecified
                                                                                  “Defendants” or the Company when
further support of loss causation.” 139
                                                                                  those Director Defendants were not on
                                                                                  the EXXI board and (2) claims barred
134     Schiller's Reply, Docket Entry No. 122, p. 21.                            by the five-year statute of repose or the
        See also Schiller's MD, Docket Entry No. 104,
                                                                                  prohibition on holder claims. 140
        p. 6 (“Mr. Schiller joins in all of the arguments
        in The Director Defendants’ Motion to Dismiss



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140                                                              141
        Director Defendants’ MD, Docket Entry No.                       Plaintiffs’ Opposition to Director Defendants’ MD,
        105, p. 11. See also Reply Brief in Support                     Docket Entry No. 115, pp. 8-10 (citing Plaintiffs’
        of the Director Defendants’ Motion to Dismiss                   Amended Complaint, Docket Entry No. 97, pp.
        the Amended Complaint (“Director Defendants’                    11-13 ¶¶ 48-53 and p. 62 ¶ 290).
        Reply”), Docket Entry No. 121, pp. 6-12.                  *34 Plaintiffs argue that they have plausibly alleged that
                                                                 the Director Defendants caused EXXI to make a series
                                                                 of materially misleading statements about three different
        (1) Alleged Misstatements and Omissions
                                                                 matters: EXXI's ultra-deep oil drilling activities, EXXI's
Asserting that the Director Defendants are Feinberg, Colvin,     accounting for the unsuccessful EPL acquisition, EXXI's
Dunwoody, Dupré, Flannery, Griffiths, and LaChance,              improper use of cash hedge accounting, and Schiller's secret
Plaintiffs argue that                                            loan from defendant Louie. 142 Unlike the specific statements
                                                                 on these issues made by or attributed to Schiller, Plaintiffs
  [a]t relevant times, each of the Director Defendants served    argue that the statements regarding EXXI's ultra-deep drilling
  as a director of EXXI. In addition to serving on the Board,    activities for which they seek to hold the Director Defendants
  Defendant Colvin was Chairman of the Audit Committee
                                                                 liable were not attributed to any person. 143 Citing Southland,
  and a member of the Nomination and Governance
                                                                 365 F.3d at 365, Plaintiffs argue that “directors may be
  Committee. ¶ 48. Defendant Flannery was a member of
                                                                 held liable for false, misleading, or incomplete statements in
  the Audit Committee and the Nomination and Governance
                                                                 corporate documents that have no stated author or are not
  Committee of the Board. ¶ 49. Defendant Dunwoody was
                                                                 attributed to any individual if they are sufficiently linked to
  Chairman of the Remuneration Committee and a member
  of the Audit Committee. ¶ 50. Defendant Griffiths served       the document or statement in question.” 144
  on the Audit Committee and the Compensation Committee.
  ¶ 51. Defendant Feinberg was Lead Independent Director,        142    Id. at 12-22.
  Chairman of the Nomination and Governance Committee,
                                                                 143
  a member of the Compensation Committee, and an ex                     Id. at 12-13, & n.5.
  officio member of the Audit Committee. ¶ 52. Defendant         144    Id. at 12.
  Dupré was Chairman of the Compensation Committee and
  a member of the Nomination and Governance Committee.
  ¶ 53.
                                                                           (i) Statements About EXXI's Ultra-Deep
  By virtue of their Board positions and responsibilities, the              Drilling Activities Are Not Actionable
  Director Defendants were privy to and participated in the
                                                                 Plaintiffs argue that they have plausibly alleged that the
  creation, development, and reporting of the Company's
                                                                 Director Defendants caused EXXI to make false and
  financial condition; they had significant personal contact
                                                                 misleading statements regarding EXXI's ultra-deep oil
  and familiarity with the Company and its senior officers
                                                                 drilling activities in a November 7, 2012, Press Release
  and their fellow directors; and they were advised of and
                                                                 regarding the McMoRan and Davy Jones well production,
  had access to internal reports and other non-public data and
                                                                 and in EXXI's Form 10-Q filed on February 7, 2014, for the
  information about the Company's finances, operations, and
  sales. ¶ 290. The Director Defendants were aware of the        period ended December 31, 2013. 145 Plaintiffs’ allegations
  Company's dissemination of information to the investing        regarding the November 7, 2012, Press Release are quoted in
  public which they knew or recklessly disregarded was           § III.A.2(d)(1)(i)(A), above, and their allegations regarding
  materially false, misleading, and incomplete. Id.              the Form 10-Q filed on February 7, 2014, are quoted in §
                                                                 III.A.2(d)(1)(i)(D), above. For the reasons stated in those
  ... [T]he Amended Complaint more than sufficiently pleads      previous sections of this Memorandum Opinion and Order,
  claims under the [PSLRA], for common law fraud, and for        the court has already concluded that Plaintiffs’ Amended
  breach of fiduciary duty against the Director Defendants.      Complaint fails to allege facts capable of establishing that
  Their motion to dismiss the Amended Complaint should be        any of the statements in either the November 7, 2012,
  denied in its entirety. 141                                    Press Release, or the February 7, 2014, Form 10-Q about



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which Plaintiffs complain were false or misleading when                         of them in its stand-along financial
made. Plaintiffs’ Amended Complaint similarly fails to allege                   statements amply explains how and
facts capable of establishing that any of the statements                        why EXXI's accounting for the
about EXXI's ultra-deep drilling activities contained in either                 assets acquired from EPL in the
of these documents was attributed to, formulated, signed,                       Company's consolidated financial
adopted, or used by any of the Director Defendants as                           statements was false, misleading, and
conduits to the market. Absent such allegations, the Director                   incomplete. The adequately inform the
Defendants cannot be held liable for statements in either the                   Director Defendants of the particular
November 7, 2012, Press Release, or the February 7, 2014,                       misrepresentations. 149
Form 10-Q. See Azurix, 198 F. Supp. 2d at 882 (holding that
statements were “not actionable because plaintiffs have not
pleaded any facts indicating that the statements were untrue”);
                                                                   Citing Southland, 365 F.3d at 365, Plaintiffs argue that
Southland, 365 F.3d at 365 (holding that facts tying an officer
or director to a statement “would include a signature on
the document or particular factual allegations explaining the
individual's involvement in the formulation of either the entire                the Director Defendants are liable for
document, or that specific portion of the document”). Also                      the false, misleading, or incomplete
missing from Plaintiffs’ Amended Complaint are allegations                      statements in EXXI's financial
of fact capable of establishing that any of the statements                      statements because they are linked
contained in either the November 7, 2012, Press Release,                        to them by virtue of their ability to
or the February 7, 2014, Form 10-Q mislead the market.                          control EXXI's financial disclosures....
Accordingly, the court concludes that the Director Defendants                   In particular, the Director Defendants
cannot be held liable under the Exchange Act for allegedly                      who were members of the Audit
false and misleading statements about EXXI's ultra-deep                         Committee – Colvin (Chair), Flannery,
drilling activities made in either the November 7, 2012, Press                  Dunwoody, Griffiths, and Feinberg (ex
Release or the February 7, 2014, Form 10-Q.                                     officio) – are closely linked to the
                                                                                Company's financial statements. As
145                                                                             members of the Audit Committee,
        Id. 12-13 (citing Plaintiffs’ Amended Complaint,
        Docket Entry No. 97, pp. 28-29 ¶ 127, and 30 ¶ 136.                     those five Director Defendants
                                                                                recommended the annual appointment
                                                                                of the Company's auditor, reviewed
         (ii) Statements About EXXI's Accounting                                the scope of the audits, reviewed
        For The EPL Acquisition Are Not Actionable                              the Company's accounting principles,
                                                                                and reviewed the Company's financial
Asserting that after EXXI acquired EPL, EPL wrote down
                                                                                statements included in the annual and
assets as impaired, only to have EXXI delay doing so
                                                                                quarterly reports filed with the SEC.
by one quarter, 146 that in Plaintiffs’ Amended Complaint                       ¶ 54. They are undoubtedly liable
they “allege in detail the sequence of accounting for the                       for the false and misleading financial
impairment charges,” 147 and that “EXXI restated financial                      statements. 150
statements that were prepared after the Company acquired
EPL in June [of 2014,” 148 Plaintiffs argue that
                                                                   146    Id. at 13.
                                                                   147    Id.
              *35 [t]he side-by-side comparison
             of EXXI's recognition of impairments                  148    Id. at 14.
             in the Company's consolidated annual
             and quarterly financial statements                    149    Id.
             with EPL's more timely recognition


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150                                                                 *36 Plaintiffs allege that because EXXI used hedge
        Id. at 14-15.
                                                                   accounting without required documentation, “EXXI was
Plaintiffs’ argument that the Director Defendants can be           required to restate its financial statements for the fiscal
held liable under the Exchange Act for false or misleading         years ended June 30, 2011, 2012, 2013, and 2014, and
statements in EXXI's financial statements because EXXI             for the intermediate quarters from September 30, 2013
recognized impairment charges for EPL one quarter after EPL
                                                                   through March 31, 2015.” 151 Plaintiffs argue that “[t]he
did without explaining the reason for its delayed recognition
                                                                   Director Defendants cannot dispute that those erroneous
is not supported by allegations of particularized fact. Missing
                                                                   financial statements were materially false and misleading
from Plaintiffs’ Amended Complaint are allegations of facts
capable of establishing the relevant accounting standards,         when issued.” 152 Because Plaintiffs’ Amended Complaint
how those standards were violated, or that any of the Director     alleges that each of the Director Defendants signed the
Defendants knew – or ignored glaring red flags – that              Company's annual reports filed with the SEC on Forms 10-
EXXI's financial statements were false and misleading due          K and 10-K/A, 153 each of them can be held liable for false
to improper accounting for impairment of EPL's assets. Also        and misleading statements made in those annual reports. The
missing from Plaintiffs’ Amended Complaint is an allegation        Director Defendants do not dispute that they signed EXXI's
that any of EXXI's financial statements were restated to           annual reports filed with the SEC on Forms 10-K and 10-
correct misstatements arising from a failure to properly           K/A and that the annual reports for fiscal years ending June
account for the impairment of EPL's assets. Missing from           30, 2011, 2012, 2013, and 2014 that they signed and that
Plaintiffs’ Opposition to Director Defendants’ MD is any           were ultimately restated did not contain statements that were
argument or authority supporting their contention that a           false and misleading. 154 The court concludes, therefore,
corporate parent has a duty to explain why its accounting          that the Plaintiffs have pled specific facts sufficient to hold
for impairment of a subsidiary's assets differs from the           the Director Defendants liable for the financial statements
subsidiary's own accounting for impairment of the same             that they signed containing false and misleading statements
assets. See MDC Partners, 2016 WL 5794774, at *3, 9-11,            resulting from EXXI's use of hedge accounting. See Janus,
24 (dismissing § 10(b) claim that rested on allegations of         131 S. Ct. at 2302 (“For purposes of Rule 10b-5, the maker
how management of parent company should have tested and            of a statement is the person or entity with ultimate authority
impaired goodwill related to subsidiary). See also Harris,         over the statement, including its content and whether and how
135 F. Supp. 3d at 171 (“The fact that Lead Plaintiff cannot       to communicate it.”).
tick and tie the loss and loss adjustment expense reported
in AmTrust's consolidated financial statement to the losses        151    Id. at 16 (citing Plaintiffs’ Amended Complaint,
its individual subsidiaries reported to insurance regulators,
                                                                          Docket Entry No. 97, pp. 19-20 ¶ 89).
without more, does not plausibly allege a misstatement.”).
Because Plaintiffs do not allege facts capable of establishing     152    Id.
that the Director Defendants made or caused EXXI to make
any false or misleading statements about EPL and/or the            153    Plaintiffs’ Amended Complaint, Docket Entry No.
impairment of its assets, or that EXXI had a duty to explain              97, pp. 11-13 ¶ 46 (LaChance), ¶ 48 (Colvin), ¶ 49
the differences between its accounting for impairment of                  (Flannery), ¶ 50 (Dunwoody), ¶ 51 (Griffiths), ¶ 52
EPL's assets and EPL's own accounting for impairment of its               (Feinberg), and ¶ 53 (Dupré).
assets, and because Plaintiffs neither allege nor argue that any
                                                                   154
statements about EPL misled the market, the court concludes               Id. at 11 ¶ 46.
that the Director Defendants cannot be held liable under the
Exchange Act for allegedly false and misleading statements
                                                                   (iv) Statements About Schiller's Loans Are Not Actionable
about EPL and/or EXXI's accounting for impairment of EPL's
assets. See In re Azurix Corp. Securities Litigation, 198 F.       Plaintiffs allege that EXXI's Form 8-K filed with the SEC
Supp. 2d at 882.                                                   on December 15, 2014, was false and misleading because it
                                                                   “state[d] that there were no related party transactions between
                                                                   Louie and the Company or any of its subsidiaries that would
      (iii) EXXI's Financial Statements Are Actionable             require disclosure pursuant to Item 404(a) of Regulation S-
                                                                   K,” but failed to disclose that Schiller had taken a personal



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loan from Louie. 155 But for the reasons stated in § III.A.2(c)                   all these misstatements and omissions
(1), above, the court has already concluded that the statement                    of material fact easily gives rise
in the Form 8-K about which the Plaintiffs complain was                           to the requisite strong inference of
neither false nor misleading and therefore not actionable                         scienter. 157
under the Exchange Act.

155     Id. at 56 ¶¶ 269-70.                                         156    Plaintiffs’ Opposition to Director Defendants’ MD,
                                                                            Docket Entry No. 115, p. 23.
                        (v) Conclusions                              157    Id.
For the reasons stated above, the court concludes that the           Plaintiffs allege that the Director Defendants signed SEC
purportedly false and misleading statements that Plaintiffs          filings that contained false and misleading statements of
allege the Director Defendants caused EXXI to make about             EXXI's financial condition because EXXI misapplied the
ultra-deep drilling activities, accounting for the impairment of     accounting standard for documenting use of cash flow
EPL's assets, and Schiller's secret loan from defendant Louie        hedge accounting. But “the mere publication of inaccurate
will not support Exchange Act claims, but that Plaintiffs have       accounting figures, or a failure to follow GAAP, without
alleged an actionable claim against the Direct Defendants for        more, does not establish scienter. The party must know that
false and misleading statements contained in EXXI's financial        it is publishing materially false information, or the party
statements that they signed, that were filed with the SEC,           must be severely reckless in publishing such information.”
and that were restated because EXXI improperly utilized cash         Lovelace, 78 F.3d at 1020. See also Central Laborers, 497 F.3d
flow hedge accounting. See Janus, 131 S. Ct. at 2302.                at 555 (recognizing that a defendant's signature on an SEC
                                                                     filing with false or misleading statements or omissions cannot
                                                                     by itself support a strong inference of scienter). To infer
                                                                     scienter from accounting errors, courts typically examine the
                          (2) Scienter
                                                                     magnitude, pervasiveness, and repetition of the errors; the
Asserting that “[t]he facts of the restatements give rise to a       simplicity and obviousness of the misapplied rules; and the
strong inference of scienter[, ... as] do the facts of the related   defendant's apparent motives for misapplying these rules. See
                                                                     ArthroCare, 726 F. Supp. 2d at 721. Although Plaintiffs have
party transaction between Louie and Schiller,” 156 Plaintiffs
                                                                     argued that the number, size, timing, nature, frequency, and
argue that
                                                                     context of the misapplication of accounting principles and the
                                                                     restatement raise a strong inference of scienter as to Griffin,
                                                                     EXXI's CFO, plaintiffs have made no such argument as to
             the Director Defendants, particularly                   the Director Defendants. Instead, Plaintiffs merely point to
             the four directors on the Nomination                    the loans that Schiller borrowed from fellow Board member
             and Governance Committee, were                          Louie that the Director Defendants neither discovered nor
             severely reckless in not discovering                    disclosed. But for the reasons stated in §§ III.A.2(c)(1) and
             Louie's loan to Schiller before he                      III.A.2(d)(1)(iv), above, the court has already concluded
             joined the Board. And so, too, do the                   that Plaintiffs have failed to allege any facts capable of
             facts relating to the accounting for the                establishing that Louie or Schiller had a duty to disclose those
             EPL acquisition and EXXI's ultra-deep                   loans. Absent a duty to disclose, failure to disclose is not
             drilling activities. The differences in                 capable of raising a strong inference of scienter. See Chiarella
             accounting for impairment in EXXI's                     v. United States, 100 S. Ct. at 1118 (“When an allegation
             consolidated financial statements [for]                 of fraud is based upon nondisclosure, there can be no fraud
             EXXI when compared to the stand-                        absent a duty to speak.”).
             alone financial statements of its
             subsidiary, EPL, cannot be attributed                   *37 Moreover, missing from Plaintiffs’ Amended
             to any “overhaul” in accounting                         Complaint are any allegations of specific facts connecting the
             systems. Taken together, the sum of                     Director Defendants to the accounting violations that led to



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the restatement of EXXI's financial statements. Nor are there       158     Director Defendants’ MD, Docket Entry No. 105,
allegations that any of the Director Defendants engaged in                  p. 27. Defendants UHY and Schiller join the
insider trading or stood to benefit personally from any of the              Director Defendants’ argument on loss causation.
alleged accounting errors. Plaintiffs offer no facts in support             See UHY's MD, Docket Entry No. 101, p. 7 & n.2
of their contention that the Director Defendants signed the                 (“The arguments in the motion to dismiss of the
financial statements at issue with scienter other than the fact             Director Defendants are adopted for purposes of
that, like the directors of every company, they had control                 this motion to dismiss;” and n.2, “[w]ith respect
over the Company. See Izadjoo, 237 F. Supp. 3d at 516                       to the securities fraud claim, UHY incorporates
(find no scienter for officers where there were no “glaring                 the arguments regarding group pleading, loss
irregularities or red flags” to put them on notice of material              causation, and the statute of repose.”); Schiller's
misstatements and omission in Sarbanes-Oxley certifications                 MD, Docket Entry No. 104, p. 6 (“Mr. Schiller
or earnings calls). Plaintiffs cannot demonstrate scienter by               joins in all of the arguments in The Director
relying either on the Director Defendants’ position on the                  Defendants’ Motion to Dismiss and incorporates
Board or on certain board committees, Abrams, 292 F.3d                      those arguments herein by reference.”).
at 432, or on the fact that certain financial statements were
restated. See Central Laborers, 497 F.3d at 546 (restatement        159     Id. at 27-29.
of financial data, by itself, does not create a strong inference
                                                                    Plaintiffs respond that they “have sufficiently alleged
of scienter). Plaintiffs’ factual allegations make it more
                                                                    loss causation to withstand [the defendants’] motion[s] to
plausible or at least as plausible to infer that when signing
the SEC filings at issue Schiller negligently relied on EXXI's      dismiss.” 160 Citing inter alia Lormand, 565 F.3d at 256-58,
accountants and auditors than to infer that he knowingly            and asserting that “[l]oss causation is subject to the pleading
or recklessly disregarded the presence of glaring accounting        standard of Federal Rule of [Civil] Procedure 8(a)(2), rather
irregularities or other red flags in EXXI's financial statements.   than the heightened pleading requirement of Rule 9(b),” 161
See Tellabs, 127 S. Ct. at 2510; Central Laborers, 497 F.3d         Plaintiffs argue that “[u]nder that relaxed pleading standard,
at 555. See also Abrams, 292 F.3d at 433 (recognizing that          [they] need only allege a facially plausible connection
accounting problems that lead to a restatement of a company's       between the misstatements or omissions and their loss.” 162
financials can “easily arise from negligence, oversight or          Citing North Port Firefighters’ Pension – Local Option Plan
simple mismanagement, none of which rise to the standard            v. Temple-Inland, Inc., 936 F. Supp. 2d 722, 761 (N.D. Tex.
necessary to support a securities fraud action”). The court         2013), Plaintiffs argue that they “need not plead a fact-for-
concludes therefore that Plaintiffs’ factual allegations are not
                                                                    fact disclosure to establish loss causation,” 163 and if the court
sufficient to raise a strong inference of scienter as to the
                                                                    disagrees, Plaintiffs “respectfully request the opportunity to
Director Defendants.
                                                                    amend their complaint to add such factual allegations in
                                                                    further support of loss causation.” 164

                     (3) Loss Causation                             160     Plaintiffs’ Opposition to Director Defendants’ MD,
The Director Defendants argue that even if Plaintiffs could                 Docket Entry No. 115, p. 24.
satisfy the falsity and scienter elements of their Exchange         161     Id.
Act claims that “[a] third, independent basis compelling
dismissal is Plaintiffs’ failure to plead facts demonstrating       162     Id.
loss causation – that is, ‘a causal connection between the
                                                                    163
[alleged] material misrepresentation and the loss.’ ” 158 The               Id.
Director Defendants argue that the Plaintiffs have not alleged      164     Id. at 25.
that there was any loss associated with any of the statements
or categories of statements that Plaintiffs allege were false and   Under the PSLRA Plaintiffs must prove that a defendant's
misleading, i.e., statements about EXXI's ultra-deep drilling       act or omission alleged to have violated federal securities
activities, EPL, Schiller's loans, or EXXI's improper use of        laws “caused the loss for which the plaintiff seeks to recover
                                                                    damages.” 15 U.S.C. § 78u-4(b)(4). Loss causation refers to
hedge accounting. 159
                                                                    a direct link between the misstatement and a plaintiff's loss,



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and generally requires a corrective disclosure relating to the
challenged representations, followed by a decline in stock           280. Defendants’ false and misleading statements had
price after the truth is revealed. See Spitzberg v. Houston          the intended effect and caused EXXI stock to trade at
American Energy Corp., 758 F.3d 676, & n.18 (5th Cir. 2014)          artificially inflated levels at all relevant times and caused
(citing In re Williams Securities Litigation, 558 F.3d 1130,         Plaintiffs to refrain from selling EXXI stock.
1137 (10th Cir. 2009) ). In Dura Pharmaceuticals, 125 S. Ct.
                                                                     281. As investors and the market became aware of EXXI's
at 1633-34, the Court held that loss causation incorporates
                                                                     prior misstatements and omissions and that EXXI's actual
traditional elements of proximate causation and economic
                                                                     financial condition and business prospects were, in fact,
loss. See Amgen, 133 S. Ct. at 1192 (confirming that loss
                                                                     not as represented, EXXI's stock price reacted negatively,
causation continues to be an element of a claim under § 10
(b) ). The Fifth Circuit has held that the Rule 8(a) and 12(b)       substantially damaging Plaintiffs. 165
(6) plausibility pleading standard, not heightened pleading,
is sufficient to plead loss causation. Lormand, 565 F.3d at        165    Plaintiffs’ Amended Complaint, Docket Entry No.
258 (“[W]e conclude that Rule 8(a) (2) requires the plaintiff             97, p. 59 ¶¶ 278-81.
to allege, in respect to loss causation, a facially ‘plausible’
                                                                   Missing from Plaintiffs’ Amended Complaint are allegations
causal relationship between the fraudulent statements or
                                                                   that identify any corrective disclosure followed by a drop in
omissions and plaintiff's economic loss, including allegations
                                                                   the price of EXXI stock. Argument as to the existence of any
of a material misrepresentation or omission, followed by the
                                                                   such disclosures is also missing from the briefs that Plaintiffs
leaking out of relevant or related truth about the fraud that
                                                                   have filed in opposition to the defendants’ motions to dismiss.
caused a significant part of the depreciation of the stock and
plaintiff's economic loss ... or, as Twombly indicates, the
                                                                   Plaintiffs allege that in September of 2015 EXXI was required
complaint must allege enough facts to give rise to a reasonable
                                                                   to restate more than four years of financial statements to
hope or expectation that discovery will reveal evidence of
the foregoing elements of loss causation.” (internal citations     eliminate the use of hedge accounting. 166 Plaintiffs allege
omitted) ). A court is “not authorized or required to determine    that EXXI's financial statements for the years ending June
whether the plaintiff's plausible inference of loss causation is   30, 2011, 2012, 2013, 2014, and 2015, filed with the SEC on
equally or more plausible than other competing inferences,         August 26, 2011, August 9, 2012, August 21, 2013, August
as [it] must in assessing allegations of scienter under the        28 and December 23, 2014, and September 29, 2015, were
PSLRA.” Id. at 267.                                                materially false and misleading because they stated that EXXI
                                                                   did not use hedging for speculative or trading purposes. 167
*38 In pertinent part Plaintiffs allege:                           Plaintiffs allege that “[u]ntil EXXI's financial statements were
                                                                   corrected on September 29, 2015, the Company's publicly
       LOSS CAUSATION/ECONOMIC LOSS                                filed financial statements for at least the years ended[ ] June
                                                                   30, 2011, 2012, 2013, and 2014, and for all the intervening
  278. As alleged herein, Defendants engaged in a scheme
                                                                   quarters materially misstated and did not fairly and accurately
  to deceive the investing market generally, and Plaintiffs
                                                                   present the Company's financial condition and its results
  in particular, and a course of conduct that artificially
  inflated EXXI's stock price and operated as a fraud or           of operations.” 168 Plaintiffs do not allege that EXXI stock
  deceit on purchasers of EXXI stock by misrepresenting the        price declined as a result of the disclosure that four years
  Company's financial and operating condition and prospects        of financial statements would be restated. The Director
  as well as known trends in its industry.                         Defendants argue that Plaintiffs are unable to satisfy the
                                                                   requirement for pleading loss causation because EXXI's stock
  279. Once Defendants’ misrepresentations and fraudulent          price actually increased following disclosure in September of
  conduct were disclosed to the market, EXXI's stock price         2015 that certain of EXXI's financial statements would be
  reacted negatively as the artificial inflation was removed       restated and that Schiller had taken personal loans from Louie
  from it. As a result of their purchases of EXXI stock            and from EXXI vendors. 169
  alleged herein, and their decision to refrain from selling
  EXXI stock alleged herein, Plaintiffs suffered significant       166    Id. at 17-18 ¶ 77.
  economic losses.




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167                                                                 factual allegations in further support of loss causation.” 171
        Id. at 52 ¶ 249.
                                                                    Federal Rule of Civil Procedure 15(a)(2) states that “[t]he
168     Id. at 54 ¶ 257.                                            court should freely give leave [to amend] when justice so
169                                                                 requires.” “Although Rule 15[a] ‘evinces a bias in favor of
        Director Defendants’ MD, Docket Entry No. 105,
                                                                    granting leave to amend,’ it is not automatic.” Matter of
        pp. 28-29 (citing Exhibit 10, EXXI stock price
                                                                    Southmark Corp., 88 F.3d 311, 314 (5th Cir. 1996), cert
        table, Docket Entry No. 106-10).
                                                                    denied, 117 S. Ct. 686 (1997) (quoting Dussouy v. Gulf Coast
 *39 While the Fifth Circuit has recognized that courts can         Investment Corp., 660 F.2d 594, 597 (5th Cir. 1981) ). “A
take judicial notice of historical stock prices, see Catogas, 292   decision to grant leave is within the discretion of the trial
F. App'x at 316, the court need not do so here because it is        court. Its discretion, however, is not broad enough to permit
sufficient in considering the motions to dismiss that Plaintiffs    denial if the court lacks a substantial reason to do so.” Id.
have alleged no losses following the relevant disclosures in        (citing State of Louisiana v. Litton Mortgage Co., 50 F.3d
September of 2015. See Schott, 211 F. Supp. 3d at 946. Since        1298, 1302-1303 (5th Cir. 1995) (per curiam) ). Generally,
Plaintiffs have not alleged that the restatements caused their      a district court errs in dismissing a complaint for failure to
losses, the court does not factor the restatements into its         state a claim under Rule 12(b)(6) without giving the plaintiff
analysis of loss causation. Instead, Plaintiffs allege that         an opportunity to amend. Bazrowx v. Scott, 136 F.3d 1053,
                                                                    1054 (5th Cir.) (per curiam), cert. denied, 119 S. Ct. 156
                                                                    (1998). If, however, a complaint alleges the plaintiff's best
                                                                    case, there is no need for further amendment. Id. See also
             EXXI's disclosure that it was required                 Jones v. Greninger, 188 F.3d 322, 327 (5th Cir. 1999) (per
             to restate its financial statements to                 curiam) (dismissing plaintiff's pro se action because court
             eliminate cash flow hedge accounting                   could perceive of no viable claim plaintiff could include in an
             was materially false and misleading                    amended complaint based on the underlying facts). The Fifth
             because it made it appear that the                     Circuit has also held that in exercising its discretion, a court
             reason for the restatement was a mere                  may consider various criteria including, inter alia, the failure
             technical deficiency in documentation,                 to cure deficiencies by amendments previously allowed and
             when the true reason for the                           futility of the proposed amendment. See Whitaker v. City of
             restatement was that the Company                       Houston, Texas, 963 F.2d 831, 836 (5th Cir. 1992) (citing
             was hedging for improper purposes,                     Foman v. Davis, 83 S. Ct. 227, 230 (1962) ). Because
             including speculating on future oil                    Plaintiffs have already had an opportunity to file an amended
             and natural gas prices or manipulating                 complaint and because the court is persuaded that Plaintiffs
             reported revenue and earnings. 170                     have pleaded their best case, the Plaintiffs’ request for leave
                                                                    to amend will be denied.


But also missing from Plaintiffs’ Amended Complaint are             171    Plaintiffs’ Opposition to the Director Defendants’
facts capable of establishing that EXXI's stated reason for                MD, Docket Entry No. 115, p. 25.
the restatements was false, or that the stated reason for the
restatements was ever the subject of a corrective disclosure        B. Control Person Liability Claims
that was followed by a decline in stock price. Accordingly,          *40 Plaintiffs allege that the Individual Defendants are all
Plaintiffs have failed to plead loss causation.                     liable as “controlling persons” of EXXI under § 20(a) of
                                                                    the Exchange Act. Section 20(a) imposes joint and several
170                                                                 liability on “[e]very person who, directly or indirectly,
        Plaintiffs’ Amended Complaint, Docket Entry No.
        97, pp. 54-55 ¶ 259.                                        controls any person liable under any provision of this chapter
                                                                    or of any rule or regulation thereunder” for securities fraud.
At the end of their responsive briefing on the issue of loss
                                                                    15 U.S.C. § 78t(a). “Control person liability is secondary
causation, Plaintiffs request leave to amend “[t]o the extent
                                                                    only and cannot exist in the absence of a primary violation.”
the Court requires ... specificity notwithstanding the general
                                                                    Southland, 365 F.3d at 383. Because the court has concluded
pleading requirements of Rule 8(a)(2), Plaintiffs respectfully
                                                                    that the Plaintiffs’ primary claims under § 10(b) should be
request the opportunity to amend their complaint to add such
                                                                    dismissed, the § 20(a) claims will also be dismissed under


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Rule 12(b)(6) for failure to state a claim upon which relief can           Entry No. 105, pp. 31-33 and Plaintiffs’ Opposition
be granted. See Izadjoo, 237 F. Supp. 3d at 520.                           to the Director Defendants’ MD, Docket Entry No.
                                                                           115, p. 27.
                                                                   Plaintiffs’ common law fraud claims rest on the same alleged
C. Common Law Fraud Claims
                                                                   misstatements underlying their Exchange Act claims and fail
Plaintiffs assert claims for common law fraud against all of
                                                                   for the same reasons, i.e., Plaintiffs have not alleged facts
the defendants. 172 Under Texas law a claimant alleging fraud
                                                                   with particularity showing that any of the defendants made
must prove the following:
                                                                   false statements with scienter that caused injury. Accordingly,
                                                                   defendants’ motions to dismiss Plaintiffs’ common law fraud
                                                                   claims will be granted, and these claims will be dismissed.
             (1) that a material representation was
             made; (1) the representation was false;
             (3) when the representation was made,                 D. Breach of Fiduciary Duty Claims
             the speaker knew it was false or made                 Plaintiffs assert claims for breach of fiduciary duty against the
             it recklessly without any knowledge of                Individual Defendants. 173 In pertinent part Plaintiffs allege
             the truth and as a positive assertion; (4)            that the Individual Defendants breached their fiduciary duties
             the speaker made the representation                   of care and loyalty to the Company and its shareholders,
             with the intent that the other party                  including the Plaintiffs, inter alia “by making or causing
             should act upon it; (5) the party acted               the Company to make the materially false and misleading
             in reliance on the representation; and                statements about the Company's financial and operating
             (6) the party thereby suffered injury.
                                                                   condition and prospects alleged herein.” 174 Plaintiffs also
                                                                   allege that “[t]he Individual Defendants’ breaches of
                                                                   fiduciary duty were intertwined with the materially false and
Aquaplex, Inc. v. Rancho La Valencia, Inc., 297 S.W.3d 768,        misleading statements they made or caused the Company to
774 (Tex. 2009) (per curiam) (quoting In re FirstMerit Bank,       make about the Company's financial and operating condition
N.A., 52 S.W.3d 749, 758 (Tex. 2001) ). See also Flaherty
                                                                   and prospects alleged herein.” 175 Plaintiffs’ breach of
& Crumrine Preferred Income Fund, Inc. v. TXU Corp., 565
                                                                   fiduciary duty claims rest on the same alleged misstatements
F.3d 200, 212-13 (5th Cir. 2009) (same). Although Plaintiffs’
                                                                   underlying their Exchange Act claims and fail for the same
common law fraud claim is not subject to the heightened
                                                                   reasons, i.e., Plaintiffs have not alleged facts with particularity
“strong inference” standard for pleading scienter under
                                                                   showing that any of the defendants made false statements that
the PSLRA, Plaintiffs are nevertheless required to satisfy
                                                                   caused injury. Accordingly, defendants’ motions to dismiss
Rule 9(b), which requires them to state with particularity
                                                                   Plaintiffs’ breach of fiduciary duty claims will be granted, and
facts supporting each element of fraud. See Benchmark
                                                                   these claims will be dismissed.
Electronics, Inc. v. J.M. Huber Corp., 343 F.3d 719, 724 (5th
Cir. 2003). “ ‘At a minimum, Rule 9(b) requires allegations
                                                                   173
of the particulars of time, place, and contents of the false               Plaintiffs’ Amended Complaint, Docket Entry No.
representations, as well as the identity of the person making              97, pp. 67-69 ¶¶ 321-32.
the misrepresentation and what he obtained thereby.’ ” Id.         174     Id. at 68 ¶ 324.
(quoting Tel-Phonic Services, Inc. v. TBS International, Inc.,
975 F.2d 1134, 1139 (5th Cir. 1992) ). In other words, the         175     Id. at 69 ¶ 329.
claimant must plead the who, what, when, where, and how of
the fraud. Id.
                                                                                    IV. Conclusions and Order
172
        Plaintiffs’ Amended Complaint, Docket Entry No.
                                                                    *41 For the reasons explained above, the court concludes
        97, pp. 66-67 ¶¶ 313-320. Although Plaintiffs’
                                                                   that Plaintiffs have failed to state claims for violations
        Amended Complaint does not specify that this
                                                                   of §§ 10(b) and 20(a) of the Securities Exchange Act of
        claim is being asserted under Texas law, both
                                                                   1934 (1934 Act), 15 U.S.C. §§ 78j(b), 78t(a), and Rule
        defendants and Plaintiffs have cited and relied upon
                                                                   10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5, for
        Texas law. See Director Defendants’ MD, Docket


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                                                                       expended considerable time reading these
common law fraud, or for breach of fiduciary duty. 176
                                                                       papers and performing a significant amount of
Accordingly, UHY LLP's Motion to Dismiss (Docket Entry
                                                                       independent research to be as fully informed as
No. 101) is GRANTED. Defendant D. West Griffin's Motion
                                                                       possible when addressing the parties’ arguments.
to Dismiss the Amended Complaint (Docket Entry No. 102)
                                                                       While, because of the sheer volume of information
is GRANTED. Defendant Norman M.K. Louie's Motion to
                                                                       presented, it is not impossible that some arguments
Dismiss the Amended Complaint (Docket Entry No. 103)
                                                                       were overlooked, the parties should assume that
is GRANTED. Defendant John D. Schiller, Jr.’s Motion
                                                                       failure to expressly address a particular argument
to Dismiss the Amended Complaint (Docket Entry No.
                                                                       in this Memorandum Opinion and Order reflects
104) is GRANTED. The Director Defendants’ Motion to
                                                                       the court's judgment that the argument lacked
Dismiss the Amended Complaint (Docket Entry No. 105)
                                                                       sufficient merit to warrant discussion. Accordingly,
is GRANTED. Plaintiffs’ request for leave to amend is
                                                                       the court strongly discourages the parties from
DENIED.
                                                                       seeking reconsideration based on arguments they
                                                                       have previously raised or that they could have
176     The court has allowed the parties extraordinary                raised.
        leeway in submitting lengthy briefs and other
        written materials in connection with the pending       All Citations
        motions. As the length of this Memorandum
        Opinion and Order indicates, the court has             Not Reported in Fed. Supp., 2019 WL 1205628


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                                                                 1      On June 8, 2017, the Court appointed Sean Reilly
                    2018 WL 3559089                                     as lead plaintiff and the Rosen Law Firm as lead
      Only the Westlaw citation is currently available.                 counsel. Order, June 8, 2017, ECF No. 11.
       United States District Court, S.D. New York.
                                                                 2      Also pending before the Court is plaintiffs' motion
         Sean REILLY, individually and on behalf                        to strike certain documents submitted as exhibits to
          of all others similarly situated, Plaintiff,                  defendants' motion to dismiss. As described below,
                              v.                                        the motion to strike is granted in part and denied
      U.S. PHYSICAL THERAPY, INC., Christopher                          in part.
         J. Reading, Lawrance W. McAfee, Jon C.
       Bates, and Glenn W. McDowell, Defendants.                                     II. BACKGROUND
                     17 Civ. 2347 (NRB)                          The following allegations are drawn from plaintiffs' second
                               |                                 amended complaint (“SAC”) (ECF No. 26), and are assumed
                      Signed 07/23/2018                          to be true for the purposes of this motion. See Glob. Network
                                                                 Commc'ns, Inc. v. City of New York, 458 F.3d 150, 154 (2d
Attorneys and Law Firms
                                                                 Cir. 2006). We also consider any statements or documents
Counsel for Plaintiffs: Jacob A. Goldberg, Keith R. Lorenze,     incorporated into the AC by reference, legally required public
Phillip C. Kim, The Rosen Law Firm, P.A.                         disclosure documents filed with the Securities and Exchange
                                                                 Commission (“SEC”), 3 and documents possessed by or
Counsel for Defendants: Bruce G. Vanyo, Michael J. Diver,        known to the plaintiffs and upon which they relied in bringing
Jason C. Vigna, Katten Muchin Rosenman LLP.
                                                                 this action. 4 See ATSI Commc'ns, Inc. v. Shaar Fund, Ltd.,
                                                                 493 F.3d 87, 98 (2d Cir. 2007).

            MEMORANDUM AND ORDER
                                                                 3      Of particular relevance to this motion are:
NAOMI REICE BUCHWALD,                   UNITED       STATES             (1) USPH's Form 10-K for the period ending
DISTRICT JUDGE                                                          December 31, 2016, filed with the SEC on June 7,
                                                                        2017, Vigna Decl. Ex. B, ECF No. 31-2 (“2016 10-
                                                                        K”); (2) USPH's Form 10-K for the period ending
                   I. INTRODUCTION
                                                                        December 31, 2014, filed with the SEC on Mar. 12,
 *1 This federal securities class action was filed on behalf            2015, Vigna Decl. Ex. C, ECF No. 31-3 (“2014 10-
of all persons and entities who purchased or otherwise                  K”); (3) USPH's Form 10-K for the period ending
acquired the securities of defendant U.S. Physical Therapy,             December 31, 2013, filed with the SEC on Mar.
Inc. (“USPH” or the “Company”) between November 6,                      11, 2014, Vigna Decl. Ex. D, ECF No. 31-4 (“2013
2014 and March 16, 2017, inclusive (the “Class Period”).                10-K”); (4) USPH's Form 8-K, filed with the SEC
                                                                        on Mar. 16, 2017, Vigna Decl. Ex. H, ECF No.
Plaintiffs 1 alleged that USPH and four individual defendants,
                                                                        31-8 (“3/16/17 8-K”); (5) USPH's Form 10-K for
Christopher J. Reading, Lawrance W. McAfee, Glenn W.
                                                                        the period ending December 31, 2015, filed with
McDowell, and Jon C. Bates, violated Section 10(b) of the
                                                                        the SEC on Mar. 4, 2016, Vigna Decl. Ex. I, ECF
Securities Exchange Act of 1934 (the “Exchange Act”) and
                                                                        No. 31-9 (“2015 10-K”); (6) USPH's Form 10-Q
Rule 10b-5 promulgated thereunder, and that the individual
                                                                        for the period ending June 30, 2014, filed with
defendants violated Section 20(a) of the Exchange Act.
                                                                        the SEC on Aug. 7, 2014, Vigna Decl. Ex. K,
Before the Court is defendants' motion to dismiss pursuant to
                                                                        ECF No. 31-11 (“2Q 2014 10-Q”); (7) USPH's
Federal Rule of Civil Procedure 12(b)(6). 2 Because plaintiffs          Form 8-K, filed with the SEC on Mar. 10, 2016,
failed to adequately plead scienter, the motion to dismiss is           Vigna Decl. Ex. CC, ECF No. 31-29 (“3/10/16 8-
granted.                                                                K”); (8) USPH's Form DEF14A (Definitive Proxy
                                                                        Statement), filed with the SEC on Aug. 15, 2017,
                                                                        Vigna Decl. Ex. DD, ECF No. 31-30 (“2017


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        Definitive Proxy Statement”); (9) USPH's Form             injuries. SAC ¶ 24. Throughout the Class Period, defendant
        DEF14A (Definitive Proxy Statement), filed with           Christopher J. Reading served as USPH's CEO and Director,
        the SEC on Apr. 7, 2016, Vigna Decl. Ex. EE, ECF          defendant Lawrance W. McAfee served as CFO, Executive
        No. 31-31 (“2016 Definitive Proxy Statement”);            Vice President, and Director, defendant Glenn W. McDowell
        (10) USPH's Form DEF14A (Definitive Proxy                 served as COO, and defendant Jon C. Bates served as
        Statement), filed with the SEC on April 9, 2015,          Corporate Controller and Vice President. SAC ¶¶ 13-16.
        Vigna Decl. Ex. FF, ECF No. 31-32 (“2015
        Definitive Proxy Statement”); (11) USPH's Form            USPH has grown nationally over the last twelve years through
        8-K, filed with the SEC on Mar. 27, 2015, Vigna           strategic acquisitions of outpatient physical therapy clinics.
        Decl. Ex. GG, ECF No. 31-33 (“3/27/15 8-K”);              SAC ¶ 26. As of December 31, 2016, USPH operated 423
        and (12) USPH's Form 8-K, filed with the SEC on           of its 540 clinics as “Clinic Partnerships.” SAC ¶ 26. Under
        Mar. 27, 2014, Vigna Decl. Ex. HH, ECF No. 31-34          this arrangement, USPH owns a 1% general partnership and
        (“3/27/14 8-K”).                                          a 49-99% limited partnership interest in these clinics, with
                                                                  the therapists who manage the clinics owning the remaining
4       In particular, plaintiffs quoted at length from
                                                                  interest as limited partners. SAC ¶ 25. 5 USPH refers to the
        correspondence between USPH and the SEC,
                                                                  partnership interests owned by the managing therapists as
        including: (1) Letter from SEC Staff to Christopher
                                                                  “non-controlling interests.” SAC ¶ 25.
        Reading, dated Oct. 15, 2014, Vigna Decl. Ex. J,
        ECF No. 31-10 (“Ex. J”); (2) Letter from Lawrance
                                                                  5
        W. McAfee to SEC Staff, dated Oct. 29, 2014,                     USPH operates a minority of its clinics through
        Vigna Decl. Ex. M, ECF No. 31-13 (“Ex. M”);                      wholly-owned subsidiaries under profit-sharing
        (3) Letter from SEC Staff to Christopher Reading,                arrangements with therapists. SAC ¶ 25.
        dated Nov. 26, 2014, Vigna Decl. Ex. N, ECF No.           Under UPSH's agreements with some of its managing
        31-14 (“Ex. N”); (4) Letter from Lawrance W.              therapists, it is required to redeem the therapist's non-
        McAfee to SEC Staff, dated Dec. 18, 2014, Vigna           controlling interest if his or her employment ceases at any
        Decl. Ex. O, ECF No. 31-15 (“Ex. O”); (5) Letter          time after a specified number of years from the date that
        from SEC Staff to Christopher Reading, dated Jan.         therapist acquired his or her non-controlling interest. 2016
        6, 2015, Vigna Decl. Ex. P, ECF No. 31-16 (“Ex.           10-K at 5. Under other agreements, USPH has the right, but
        P”); (6) Correspondence between USPH and SEC              not the obligation, to purchase the therapist's non-controlling
        Staff, dated Dec. 12, 2016, Jan. 6, 2017, Jan. 13,        interest upon termination of his or her employment. Id.
        2017, Feb. 10, 2017, Feb. 23, 2017, and Mar. 3,
        2017, Vigna Decl. Ex. S, ECF No. 31-19 (“Ex. S”);
        Letter from SEC Staff to Lawrance W. McAfee,
        dated Mar. 10, 2017, Vigna Decl. Ex. T, ECF No.                        2. USPH's Accounting Practices
        31-20 (“Ex. T”). Plaintiffs also references excerpts                    for Non-Controlling Interests
        of the Transcript of USPH's Q4 2016 Earnings Call,
                                                                  The alleged securities fraud in this case concerns
        dated Mar. 16, 2017, Vigna Decl. Ex. Y, ECF No.
                                                                  USPH's accounting practices for its managing therapists'
        31-25 (“Ex. Y”).
                                                                  non-controlling interests. We begin by providing some
                                                                  background information on accounting practices for non-
    A. Factual Background                                         controlling interests, which, according to the Financial
                                                                  Accounting Standards Board (“FASB”), “can be complex.”
                          1. USPH                                 Accounting Standards Codification Topic 480, Subtopic 10,
                                                                  Section 99 at 7 (Fin. Accounting Standards Bd. 2009), Vigna
 *2 USPH is a Nevada corporation headquartered in Houston         Decl. Ex. V, ECF No. 31-22 (“Ex. V”). FASB Accounting
that is traded on the New York Stock Exchange. SAC ¶ 12.          Standard Codification (“ASC”) 480-10-S99 provides detailed
It operates outpatient physical therapy clinics that provide      guidance as to whether redeemable preferred stock should
pre- and post-operative care and treatment for orthopedic-        be classified as “temporary equity” or “permanent equity.”
related disorders, sports-related injuries, preventative care,    Id. At its most basic level, this ASC provides that “equity
rehabilitation of injured workers, and neurological-related       instruments with redemption features that are not solely



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within the control of the issuer” should be classified as              recognizes a gain or loss in net income when a subsidiary
temporary equity. Id. at 7. ASC 480-10-S99 does “not attempt           is deconsolidated. Such gain or loss is measured using the
to deal with the conceptual question of whether such a                 fair value of the non-controlling equity investment on the
security is a liability.” Id. at 2.                                    deconsolidation date.

By contrast, ASC 480-10-25 provides guidance as to whether             When the purchase price of a non-controlling interest
certain financial instruments should be classified as a                by the Company exceeds the book value at the time
liability or an equity. Accounting Standards Codification              of purchase, any excess or shortfall is recognized as
Topic 480 Subtopic 10, Section 25 (Fin. Accounting Stds.               an adjustment to additional paid-in capital. Additionally,
Bd. 2009), Vigna Decl. Ex. X, ECF No. 31-24 (“Ex. X”).                 operating losses are allocated to non-controlling interests
ASC 480-10-25 provides that “[a] mandatorily redeemable                even when such allocation creates a deficit balance for the
financial instrument shall be classified as a liability unless the     non-controlling interest partner.
redemption is required to occur only upon the liquidation or
                                                                       The non-controlling interests that are reflected as
termination of the reporting entity.” Id. at 1.
                                                                       redeemable non-controlling interests in the consolidated
                                                                       financial statements consist of those outside owners
USPH historically accounted for the managing therapists'
                                                                       that have certain redemption rights that are currently
non-controlling interests as either permanent or temporary
                                                                       exercisable, and that, if exercised, require that the
equity. SAC ¶ 28. If a managing therapist could require
                                                                       Company purchases the non-controlling interest of the
USPH to purchase his or her non-controlling interest,
                                                                       particular limited partner. At December 31, [of the
typically after a defined period of time set forth in a limited
                                                                       applicable year], the redeemable non-controlling interests
partnership agreement (the “Holding Period”), the Company
                                                                       reflect the book value of the respective non-controlling
reclassified the recorded value of the non-controlling interest
                                                                       interests. The redeemable non-controlling interests will be
as temporary equity under the line item “Redeemable Non-
                                                                       adjusted to the fair value in the reporting period in which
Controlling Interests” or “RNCI.” Id. The recorded value was
                                                                       the Company deems it probable that the limited partner
the fair value of the non-controlling interest on the date the
                                                                       will assert the redemption rights and will be adjusted each
Company acquired a controlling interest in the partnership
                                                                       reporting period thereafter. The adjustments are charged
adjusted for any earnings attributable to the partnership and
                                                                       to additional paid-in capital and are not reflected in the
distributions made after acquisition. Id. If the Company
                                                                       statements of net income. Although, the adjustments are
deemed it probable that the managing therapist would assert
                                                                       not reflected in the statements of net income, current
his or her redemption rights or the Company reached an
                                                                       accounting rules require that the Company reflects the
agreement to purchase some or all of the therapist's interest,
                                                                       charge in the earning per share calculation.
the redeemable non-controlling interest was adjusted to its
then-current redemption value. SAC ¶ 29. Each quarter,               2015 10-K at 44-45; 2014 10-K at 41; 2013 10-K at 46-47;
USPH would assess the probability that the redemption rights         SAC ¶ 90.
would be triggered, and accounted for the redeemable non-
controlling interests accordingly. SAC ¶ 30.

                                                                       3. USPH's 2014-2015 Correspondence with the SEC
 *3 USPH described its historical accounting practices
for redeemable non-controlling interests in the “Significant         USPH and the SEC exchanged correspondence beginning in
Accounting Policies” section of its 2013-15 10-Ks as follows:        October 2014 regarding the Company's accounting practices
                                                                     for its non-controlling interests. SAC ¶¶ 32-39. On October
  The Company recognizes non-controlling interests as
                                                                     15, 2014, the SEC sent a comment letter addressed to
  equity in the consolidated financial statements separate
                                                                     defendant Reading that asked, inter alia, whether it was proper
  from the parent entity's equity. The amount of net income
                                                                     for USPH to include a separate line item in its earnings per
  attributable to non-controlling interests is included in
                                                                     share reconciliation for earnings per share from revaluations
  consolidated net income on the face of the statements
                                                                     of its redeemable non-controlling interests, rather than to
  of net income. Changes in a parent entity's ownership
                                                                     include this item within its basic and diluted earnings per
  interest in a subsidiary that do not result in deconsolidation
                                                                     share from continuing operations. SAC ¶ 33; Ex. J at 4; see
  are treated as equity transactions if the parent entity
                                                                     2Q 2014 10-Q at 13. The letter referred to ASC 480-10-
  retains its controlling financial interest. The Company


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S99-3A-22, which discusses the appropriate earnings per           Beverages, Apparel, and Mining sent a letter to defendant
share treatment of certain non-controlling interests. SAC ¶ 33;   McAfee with a “comment” on USPH's Form 10-K:
see Ex. V at 13-14.

 *4 On October 29, 2014, USPH responded to the SEC's                          Please tell us the terms and
letter, stating that its reporting of the revaluation of the                  conditions under which the non-
redeemable non-controlling interests was in accordance with                   controlling interests are redeemable.
FASB ASC 480-10-S99-3A-22, and that its “reporting the                        Please tell us why the probability of
Revaluation as a separate line gives our investors the ability                a limited partner actually asserting
to compare our Company's current results from operations                      the redemption rights is relevant to
to prior periods as well as to the operating results of other                 your accounting for redeemable non-
companies within our sector.” SAC ¶ 34; Ex. M at 6. USPH's                    controlling interests. Please disclose
Form 10-Q for the period ended September 31, 2014, filed                      the circumstances under which
on November 7, 2014, did not mention any unresolved                           redeemable non-controlling interests
comments from the SEC. SAC ¶ 36. 6                                            are deemed probable of redemption.
                                                                              Please also disclose your accounting
6                                                                             for non-controlling interests that are
       USPH argues that issuers have a duty to disclose
                                                                              probable of becoming redeemable
       unresolved SEC comments only in a Form 10-K,
                                                                              in the future, if applicable. See
       not a Form 10-Q, and that the issue was resolved
                                                                              paragraphs 13 through 16 of ASC
       months before the Company's 2014 10-K was filed.
                                                                              480-10-S99.
       See Securities Offering Reform, Securities Act
       Release No. 33-8591 at 461-64 (effective Dec. 1,
       2005), Vigna Decl. Ex. L, ECF No. 31-12.
                                                                  SAC ¶ 71; Ex. S. at 2. As before, this letter cited
On November 26, 2014, the SEC responded, asking USPH to
                                                                  ASC 480-10-S99, which addresses classification of non-
provide details in support of its accounting for earnings per
                                                                  controlling interests as temporary equity or permanent equity.
share using “net income attributable to common stockholders
of $10,660 and not $9,574 which would reflect the adjustment
                                                                  On January 6, 2017, defendant McAfee responded to this
for the revaluation of the redeemable non-controlling
                                                                  letter by explaining as follows:
interests.” Ex. N at 3; see SAC ¶ 37. USPH had a discussion
with Ms. Angela Halac of the SEC on December 10, 2014,              In conjunction with the agreements typically entered
and sent a letter response on December 18, 2014. SAC ¶ 38.          into by the Company and its subsidiaries to purchase a
USPH indicated that it included the additional line item to be      controlling interest in acquired partnerships which own
transparent with its investors and “so they can easily see the      and operate multi-clinic physical therapy practices, the
components and computation of [the Company's] earnings-             Company enters into agreements with the non-controlling
per-share.” Id.                                                     interest limited partners (“NC Partner”) that, in the event
                                                                    the employment of the NC Partner ceases after a defined
On January 6, 2015, the SEC wrote USPH a letter stating             number of years from the acquisition date (the “Holding
that it had completed its review of USPH's filings and did          Period”), the Company is required to purchase the NC
not require any action at that time, but that its “comments or      Partner's interest in the partnership at a predetermined
changes to disclosure in response to [its] comments do not          multiple of earnings before interest, taxes, depreciation
foreclose the Commission from taking any action with respect        and amortization. In the event that the employment of
to the company....” Ex. P; see SAC ¶ 39.                            the NC Partner ceases prior to the end of the Holding
                                                                    Period, then the Company has the option to purchase the
                                                                    NC Partner's interest in the partnership at a predetermined
    4. USPH's 2016-2017 Correspondence with the SEC                 multiple of earnings before interest, taxes, depreciation
                                                                    and amortization, but the Company is not required to
On December 12, 2016, nearly two years after the SEC's prior        purchase the interest, regardless of which party initiates
letter, the SEC's Accounting Branch Chief of the Office of



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  the termination of employment or the reason for such            the Company is not required to purchase the interest,
  termination.                                                    regardless of which party initiates the termination of
                                                                  employment or the reason for such termination.
   *5 After the initial Holding Period has been satisfied,
  the redemption is not solely in control of the Company,         After the initial Holding Period has been satisfied, the
  i.e. the NC Partner or the Company can terminate the            redemption is not solely in control of the Company,
  employment of the NC Partner. Therefore, in accordance          i.e. the NC Partner or the Company can terminate the
  with paragraph 12 (c) of ASC 480-10-S99, the book               employment of the NC Partner. Therefore, in accordance
  value, which is the fair value on the date of acquisition       with paragraph 12 (c) of ASC 480-10-S99, the book
  adjusted for any earnings attributable and distributions        value, which is the fair value on the date of acquisition
  made subsequent to the date of acquisition, of the non-         adjusted for any earnings attributable and distributions
  controlling interest is reclassified to temporary equity        made subsequent to the date of acquisition, of the non-
  on the Company's consolidated balance sheet in the              controlling interest is reclassified to temporary equity
  section labeled “Redeemable non-controlling interests” at       on the Company's consolidated balance sheet in the
  the expiration of the Holding Period. Then, and in any          section labeled “Redeemable non-controlling interests” at
  subsequent reporting period that the Company deems it           the expiration of the Holding Period. Then, and in any
  probable that the NC Partner will assert their redemption       subsequent reporting period that the Company deems it
  rights or the Company reaches an agreement to purchase          probable that the NC Partner will assert their redemption
  some or all of the NC Partner interest, i.e. in the event       rights or the Company reaches an agreement to purchase
  the NC Partner continues to be employed but wants to            some or all of the NC Partner interest, i.e. in the event the
  sell a portion or all of his/her interests and the Company      NC Partner continues to be employed but wants to sell a
  agrees, the redeemable non-controlling interest is adjusted     portion or all of his/her interests and the Company agrees,
  to its redemption value and is adjusted in each reporting       the redeemable non-controlling interest is adjusted to its
  period thereafter in accordance with paragraph 15 (b) of        redemption value and is adjusted in each reporting period
  ASC 480-10-S99 until purchased by the Company. The              thereafter in accordance with paragraph 15 (b) of ASC
  adjustments are charged to additional paid-in capital and       480-10-S99 until purchased by the Company. Quarterly,
  are not reflected in the statements of net income. Although     the Company assessed the probability that the redemption
  the adjustments are not reflected in the statements of net      rights will be asserted based on discussions with the NC
  income, current accounting rules require that the Company       Partner regarding their employment status and accounts for
  reflects the charge in the earning per share calculation.       it accordingly. The adjustments are charged to additional
  Quarterly, the Company assesses the probability that the        paid-in capital and are not reflected in the statements of net
  redemption rights will be asserted based on discussions         income. Although the adjustments are not reflected in the
  with the NC Partner regarding their employment status and       statements of net income, current accounting rules require
  accounts for it accordingly.                                    that the Company reflects the charge in the earning per
                                                                  share calculation.’
  In response to the Staff's comment, the Company will
  revise the disclosure in its future filings to include the    SAC ¶ 72; Ex. S at 7-8.
  following information:
                                                                The SEC, unconvinced by USPH's explanation that it
  ‘In conjunction with the agreements typically entered into    accounted for the redeemable non-controlling interests
  by the Company to purchase a controlling interest in          differently during and after the initial Holding Period,
  acquired partnerships which own and operate multiclinic       responded a week later:
  physical therapy practices, the Company enters into
  agreements with the non-controlling limited partner (“NC
  Partner”) that, in the event that the employment of the NC
                                                                            As stated in paragraph 5 of ASC
  Partner ceases prior to a defined number of years from the
                                                                            480-10-S99-3A, the possibility that
  acquisition date (the “Holding Period”), then the Company
                                                                            any triggering event that is not solely
  has the option to purchase the NC Partner's interest in
                                                                            within the control of the issuer could
  the partnership at a predetermined multiple of earnings
                                                                            occur—without regard to probability
  before interest, taxes, depreciation and amortization, but
                                                                            —would require the instrument to be


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             classified in temporary equity. You                   reported by the Company as permanent and temporary equity,
             indicate that you are required to                     as well as additional paid-in capital and deferred taxes. SAC
             purchase the non-controlling limited                  ¶ 76.
             partners' interests in the event their
             employment ceases after the holding                   On March 10, 2017, the SEC raised the issue of whether the
             period. As a result, it appears that upon             Company's non-controlling interests should be classified as
             inception these agreements with non-                  liabilities instead of either permanent or temporary equities.
             controlling interest limited partners                 SAC ¶ 77. This letter asked whether the non-controlling
             have redemption provisions that may                   interests had any “put, call or redemption requirements” that
             not be solely within your control.                    were “mandatorily redeemable financial instruments as that
             Please tell us in greater detail why                  term is defined in ASC 480-10-20 and further described
             the non-controlling interests subject                 in ASC 480-10-25-4 to -7.” Id. If ASC 480-10-25-4 to 7
             to these redemption provisions are                    applied, it would require USPH to classify these mandatorily
             not presented in temporary equity at                  redeemable non-controlling interests as liabilities. See Ex. X
             inception pursuant to ASC 480-10-                     at 1 (“A mandatorily redeemable financial instrument shall be
             S99-3A.                                               classified as a liability unless the redemption is required to
                                                                   occur only upon the liquidation or termination of the reporting
                                                                   entity.”).
 *6 SAC ¶ 73; Ex. S at 10-11. The SEC questioned USPH's
consideration of the probability that a non-controlling interest   On March 16, 2017, USPH issued a Form 8-K warning
“will be redeemed,” as opposed to whether it “will become          investors not to rely on its financial statements for the years
redeemable,” which the SEC asserted was the proper analysis        ended December 31, 2014 and 2015, all quarters within
under paragraph 15 of ASC 480-10-S99-3A. SAC ¶ 73; Ex.             2014 and 2015, and the first three quarters of 2016. SAC
S at 11.                                                           ¶ 78; 3/16/17 8K at 4. Reporting a “material weakness in
                                                                   internal controls over financial reporting as they relate to this
USPH responded on February 10, 2017, conceding that                issue,” the Company stated that its “historical accounting for
its prior accounting for the non-controlling interests was         redeemable non-controlling interests of acquired partnerships
incorrect and concurring with the SEC's analysis “that the         was incorrect due to the fact that these partnership agreements
non-controlling interests subject to redemption provisions         contain a provision that makes the non-controlling interests
should be presented in temporary equity at the inception           mandatorily redeemable and, thus incorrectly classified.”
of the agreement and adjusted at the end of each reporting         SAC ¶ 78; 3/16/17 8K at 4. On March 16, 2017, the day this
period to its estimated redemption value.” SAC ¶ 74; Ex.           news was announced, USPH's common stock fell $3.85 per
S at 14. USPH asserted that the “cumulative impact of this         share, or 5.2%, to close at $69.90. SAC ¶ 82.
correction ... [was] immaterial to the consolidated financial
statements taken as a whole,” and stated that it would adjust       *7 The following day, USPH held its Q4 2016 conference
its 2014 and 2015 financial statements when it released its        call where defendant McAfee explained: “[A]s we looked at
2016 Form 10-K in March 2017. SAC ¶ 74; Ex. S at 14. USPH          it and the accountants look at it, what we realized was ...
provided the SEC with proposed additional disclosures and          since everybody's eventually is going to cease employment,
adjusted financial statements to reflect these changes. Ex. S      whether that they retire or incapacitated or die, that makes it
at 15-18.                                                          a mandatory redemption feature, which means that it needed
                                                                   to be treated differently on the balance sheet and the income
The SEC replied on February 23, 2017, asking USPH to               statement than the way we had. It's not that we ever try
“address the guidance in paragraphs 16(c) and 16(e) of ASC         to hide from anybody. We've told people for years how we
480-10-S99-3A, and to “describe how you are applying the           structure stuff. It was reviewed internally and externally. And
guidance in paragraph 22(b) of 480-10-S99-3A in accounting         it was just missed.” Ex. Y at 4; see SAC ¶ 81. McAfee
for your redeemable non-controlling interests.” SAC ¶ 75;          added that this accounting “error” would have “no impact
Ex. S at 19-22. USPH's March 3, 2017 response proposed a           on previously reported cash balances or net cash flow or
correction of its redemption value accounting for redeemable       EBITDA,” nor would it “change[ ] the real world economics
non-controlling interests, which would affect the amounts          of [the Company's] business.” Ex. Y at 4. USPH's stock price



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lost another $1.75 per share (2.5%) on Friday, March 17,          understated total liabilities, overstated net income, and did
2017, and continued to fall the following week, losing $0.25      not disclose that the Company's internal controls over
per share (0.3%) on March 20, 2017, and $3.15 per share           financial reporting were ineffective. SAC ¶¶ 42-70. USPH
(4.6%) on March 21, 2017, to close at $64.75. SAC ¶ 82.           acknowledges that it has restated its financial statements
                                                                  to correct these SEC filings and that its previously issued
On March 24, 2017, USPH acknowledged in a letter to               financial statements contained material misstatements. 2016
the SEC that, based on its review of ASC 480-10-20 and            10-K at 1, 43-45. 7
ASC 480-10-25-4 to-7, “the redemption feature included
in the partnership agreements should be considered a              7      USPH does not contest the “material
mandatorily redeemable financial instrument and accounted
                                                                         misrepresentation or omission” element of
for accordingly, as a liability. Based on this determination,
                                                                         plaintiffs' 10b-5 claim.
Management concluded that redeemable non-controlling
interests have been historically accounted for incorrectly.”
SAC ¶ 83. The Company reached this conclusion because
                                                                               7. Plaintiffs' Scienter Allegations
“[t]ermination of employment of such Individual is deemed
certain to occur at some point in the future, such as by reason
of death.” Id. Because accounting for the redeemable non-                                 a) Bonuses
controlling interests as liabilities instead of equities would
                                                                  During the Class Period, defendants Reading, McAfee, and
result in “quantitatively large” adjustments, the Company
                                                                  McDowell, the CEO, CFO, and COO of USPH, respectively,
“determined that the correction of this error is a material
                                                                  were eligible to receive four types of bonus awards: (1) the
change to its previously issued financial statements.” Id.
                                                                  Objective Cash Bonus Plan provided for a potential cash
                                                                  bonus of a fixed percentage of their base salaries based on
                                                                  the Company's fully diluted earnings per share “before any
         5. USPH's 2016 Form 10-K Restatement
                                                                  extraordinary items”; 8 (2) the Discretionary Cash Bonus
On June 17, 2017, USPH filed its belated 2016 10-K, which         Plan provided for a potential cash bonus as determined
included restated quarterly and annual financial statements       at the sole discretion of the Company's Compensation
for 2014 and 2015, restated financial data for 2012-15,           Committee; (3) the Objective Long-Term Incentive Plan
and revised analyses of its financial condition and results       (“LTIP”) provided for potential restricted stock awards to be
of operations for 2014 and 2015. SAC ¶ 85(a)-(d). In the          awarded at the discretion of the Compensation Committee,
2016 10-K, USPH “identified a material weakness in our            with the maximum permissible amount based upon the
control over financial reporting which resulted in a material     achievement of performance goals relating to fully diluted
misstatement in our previously issued consolidated financial      earnings per share “before any extraordinary items”; and
statements and a failure to meet our reporting obligations.”      (4) the Discretionary LTIP provided for potential restricted
SAC ¶ 86. This “material weakness” related to the Company's       stock awards as determined at the sole discretion of the
mandatorily redeemable non-controlling interests. Id. USPH        Compensation Committee. SAC ¶ 114; 3/16/16 8-K at 3;
stated that its “historical accounting for redeemable non-        3/27/15 8-K at 3; 3/27/14 8-K at 3.
controlling interests of acquired partnerships was incorrect”
because these “interests should be accounted for as a liability   8      “Extraordinary items” is not defined in USPH's
and not as temporary equity.” SAC ¶ 87.                                  filings. See 3/16/16 8-K; 3/27/15 8-K; 3/27/14 8-K.
                                                                   *8 Plaintiffs' allegations focus on the Objective Cash Bonus
                                                                  Plan and Objective LTIP. SAC ¶ 114. USPH's practice
          6. Defendants' Alleged Misstatements                    for these bonus awards was to announce the target range
                                                                  for earnings per share, and then award Objective Cash
Plaintiffs allege that defendants' materially false and           Bonuses and Objective LTIP by comparing the Company's
misleading statements during the Class Period include filing      actual earnings per share (with potential adjustments for
Form 10-Qs, Form 10-Ks, and press releases that did not           “extraordinary items”) with the target range. See SAC ¶ 114;
disclose violations of GAAP with respect to redeemable            3/16/16 8-K; 3/27/15 8-K; 3/27/14 8-K. Plaintiffs argue that
non-controlling interests, overstated earnings per share,         defendants had the incentive to artificially inflate earnings


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per share through their accounting treatment of the non-         bonuses in 2016. While the Company reported its 2016
controlling interests so as to increase these two “Objective”    earnings per share as $1.64, reflecting the restatement, it used
components of their bonuses.                                     an “adjusted diluted earnings per share” of $1.87 in 2016
                                                                 for the purpose of determining its Objective Cash Bonus
                                                                 and Objective LTIP. SAC ¶ 127. USPH awarded Reading,
                                                                 McAfee, and McDowell $230,622, $166,668, and $155,040
                     (1) 2014 Bonuses
                                                                 in Objective Cash Bonuses, and 16,350, 8,175, and 8,175
On March 27, 2014, USPH filed a Form 8-K with the                in Objective LTIP, respectively. SAC ¶ 128; 2017 Definitive
SEC that included a table for the Objective Cash Bonus           Proxy Statement.
calculation ranging from a bonus equal to 15% of base salary
for earnings per share of $1.51 to a bonus equal to 75% of
base salary for earnings per share of $1.70 or more. AC ¶ 116;                           b) Stock Sales
3/27/14 8-K. In USPH's 2015 Definitive Proxy Statement,
filed with the SEC ON April 9, 2015, the Company calculated      Plaintiffs allege that defendants Reading, McAfee, and
its earnings per share to be $1.71 and awarded defendants        McDowell sold shares from their USPH stock holdings that
Reading, McAfee, and McDowell Objective Cash Bonuses             were suspicious in timing and amount. SAC ¶¶ 142-52. None
equal to 75% of their base salaries ($721,250, $525,000, and     of these defendants had a 10b5-1 plan that predetermined the
$471,250, respectively), as well as Objective LTIP of 20,000,    sales of their personal stock holdings in the Company. SAC
10,000, and 10,000 shares. SAC 117, 119; 2015 Definitive         ¶ 142.
Proxy Statement at 14. Reading, McAfee, and McDowell
were also awarded Discretionary LTIP of 20,000, 10,000, and      After making four open market sales in the two years before
10,000 shares, respectively. 2015 Definitive Proxy Statement     the beginning of the Class Period in March 2014, defendant
at 14.                                                           Reading sold 20,000 shares in November 2014 (21% of his
                                                                 non-restricted shares), 9 25,000 shares in March 2015 (24%
                                                                 of his non-restricted shares), 25,000 shares in November 2015
                     (2) 2015 Bonuses                            (44% of his non-restricted shares), 15,000 shares on May 10,
                                                                 2016 (31% of his non-restricted shares), and 8,000 shares on
The next year, USPH set its goals for the objective bonus        September 19, 2016 (19% of his non-restricted shares). SAC
calculation higher, ranging from a bonus equal to 15% of         143-45. Plaintiffs do not allege that Reading has sold any
salary for earnings per share of $1.77 to 75% for earnings       USPH stock since September 19, 2016. SAC ¶ 145.
per share equal to or exceeding $2.00. SAC ¶ 121; 3/27/15 8-
K. The 2016 Proxy then calculated the adjusted fully diluted     9      Plaintiffs point out that these sales occurred just
earnings per share as $1.80, which meant that Reading,
                                                                        over a month after the Company received the SEC's
McAfee, and McDowell received Objective Cash Bonuses
                                                                        initial comment letter on October 15, 2014. AC ¶
equal to 21% of their base salaries ($124,950, $90,300, and
                                                                        143.
$84,000, respectively), as well as Objective LTIP of 6,720,
3,360, and 3,360 shares. SAC ¶ 122; 2016 Definitive Proxy        *9 Defendant McAfee sold 10,000 shares on November 7,
Statement at 14. Defendants received no Discretionary Cash       2014 (36% of his non-restricted shares), 10 10,000 shares
Bonus in 2015, but Reading received Discretionary LTIP of        on March 6, 2015 (46% of his non-restricted shares), 2,650
16,000 shares, and McAfee and McDowell each received             shares on March 16, 2015 (22% of his non-restricted shares),
8,000 shares. 2016 Definitive Proxy Statement at 14.             2,350 shares on March 20, 2015 (26% of his non-restricted
                                                                 shares), 2,000 shares on August 7, 2015 (13% of his non-
                                                                 restricted shares), 2,000 shares on August 25, 2015 (15%
                                                                 of his non-restricted shares), 4,000 shares on November 6,
                     (3) 2016 Bonuses
                                                                 2015 (25% of his non-restricted shares), 4, 000 shares on
For 2016, USPH set bonus targets equal to 15% of salary          December 16, 2015 (34% of his non-restricted shares), 5,000
for earnings per share of $1.86 and up to 75% of salary for      shares on March 4, 2016 (42% of his non-restricted shares),
earnings per share of $2.04 or more. SAC ¶ 126; 3/16/16 8K.      4,000 shares on May 6 and 9, 2016 (together, 38% of his non-
USPH made its restatement announcement before awarding           restricted shares), 2,000 shares on June 10, 2016 (30% of his


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non-restricted shares), 2,000 shares on August 5, 2016 (22%
of his non-restricted shares), 2,000 shares on August 22, 2016
                                                                                        c) Debt Covenants
(29% of his non-restricted shares), 2,000 shares on September
19, 2016 (41% of his non-restricted shares), 2,000 shares          In USPH's 2016 Form 10-K, the Company disclosed that
on November 10, 2016 (29% of his non-restricted shares),           the restatement caused it to violate certain debt covenants,
and 2,000 shares on November 22, 2016 (41% of his non-             stating:
restricted shares). SAC ¶¶ 146-48. Plaintiffs do not allege
that McAfee has sold any shares of his USPH holdings since
November 22, 2016. SAC ¶ 148.                                                  Although the restatement of prior
                                                                               financial statements caused the
10     This sale occurred approximately three weeks after                      Company to be in violation of our
       the receipt of the October 15, 2014 letter from the                     Amended Credit Agreement dated
       SEC. AC ¶ 146.                                                          December 5, 2013, the Company was
                                                                               able to obtain necessary waivers and
Defendant McDowell made only two open market sales in
                                                                               amendments, as applicable. On March
the two years before the beginning of the Class Period, and
                                                                               30, 2017, the Company entered into
then sold 19,621 shares on December 4 and 5, 2014, 11 4,299
                                                                               a Third Amendment to Amended
shares on March 16 and 17, 2015 (together, 97% of his non-
                                                                               and Restated Credit Agreement and
restricted shares), 8,598 shares on August 10, 2015 (100%
                                                                               Limited Waiver with its lenders. As of
of his non-restricted shares), 4,299 shares on November 10
                                                                               the date of this report, the Company
and 11, 2015 (100% of his non-restricted shares), 8,354 shares
                                                                               is in compliance with the covenants
on May 9, 2016 (103% of his non-restricted shares), 12 4,047                   in the Amended and Restated Credit
shares on August 9, 2016 (100% of his non-restricted shares),                  Agreement.
and 4,047 shares on November 15, 2016 (100% of his non-
restricted shares). SAC ¶¶ 149-51. Plaintiffs do not allege that
McDowell has sold any shares of USPH since November 15,            SAC ¶ 153; 2016 10-K at 51.
2016. SAC ¶ 151.

11                                                                   B. Procedural History
       Plaintiffs note that “these sales were sold under an
       S transaction code—an open market or private sale           The initial complaint in this action was filed by Maura
       —and yet were marked as restricted.” AC ¶ 149.              Culhane against USPH, Bates, McAfee, and Reading on
                                                                   March 31, 2017, and early notice was published the same
12                                                                 day on Globe Newswire to all putative class members in
       Defendants object to plaintiffs' usage of the
       percentage of “non-restricted shares” sold, noting          accordance with 15 U.S.C. § 78u-4(a)(3)(A)(i). Compl., Mar.
       that this calculation is misleading because plaintiffs      31, 2017, ECF No. 1. The Court then appointed Sean Reilly
       also allege that plaintiffs sold restricted stock           as lead plaintiff 13 and approved his selection of the Rosen
       during this time period. Defendants argue that              Law Firm as lead counsel. Order, June 8, 2017, ECF No.
       when calculated as a percentage of the individual           11. Plaintiffs filed an amended complaint, adding McDowell
       defendants' total holdings, no defendant ever sold          as a defendant. Am. Compl., Aug. 4, 2017, ECF No. 18.
       more than 41% of his total holdings at any given            After defendants filed a pre-motion letter previewing their
       time. See Vigna Decl., Ex. LL, ECF No. 31-38.               arguments for this motion to dismiss, the Court granted
Plaintiffs do not allege that defendant Bates made any stock       plaintiffs leave to file a second amended complaint. Order,
sales during this period.                                          Sept. 28, 2017, ECF No. 25. Plaintiffs then filed the SAC,
                                                                   alleging securities fraud under Section 10(b) of the Exchange
Notably, plaintiffs do not allege that any of the defendants       Act and Rule 10b-5 promulgated thereunder against all
sold a single share of USPH stock since December 12, 2016,         defendants and control person liability under section 20(a)
the beginning of the 2016-17 correspondence between the            of the Exchange Act against the individual defendants. SAC,
SEC and the Company.                                               Oct. 12, 2017, ECF No. 26. Defendants filed their motion to
                                                                   dismiss on December 1, 2017, arguing that plaintiffs failed to


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allege the requisite scienter for the 10(b) claim and failed to           information was in the public realm, see, e.g.,
state a control person claim against the individual defendants.           Benak ex rel. All. Premier Growth Fund v. All.
Defs.' Mot. to Dismiss, Dec. 1, 2017, ECF No. 30. Along with              Capital Mgmt. L.P., 435 F.3d 396, 401 n.15 (3d
their opposition to this motion, plaintiffs filed a motion to             Cir. 2006), such documents are not appropriately
strike certain documents exhibited in defendants' motion to               considered on a motion to dismiss for the substance
dismiss. Pls.' Mot. to Strike, Jan. 10, 2018, ECF No. 36.                 of their contents, see Kramer v. Time Warner Inc.,
                                                                          937 F.2d 767, 774 (2d Cir. 1991). Defendants
13                                                                        cite Exhibits E, F, G, and UU in support of
        Reilly was the only member of the putative class
                                                                          their substantive argument that accounting for non-
        to file a motion to be appointed lead plaintiff. See
                                                                          controlling interests is complex, see Mem. of Law,
        Mot. to Appoint Counsel & Lead Pl., May 30, 2017,
                                                                          Dec. 1, 2017, ECF No. 32 at 3, 4 n.4, 19-20, and
        ECF No. 8.
                                                                          we will not consider them for this purpose.
                                                                          The Court also will not consider the portions of
                       III. Discussion                                    Exhibit II that contain legal argument. See, e.g., Ex.
                                                                          II at 1 n.2 (“Plaintiff's allegations concerning those
  A. Legal Standard                                                       years ... are flawed in the same way.”).
                                                                          We clearly may consider the transcript attached
                                                                          as Exhibit Y, which is referred to in SAC ¶
                    1. Motion to Dismiss
                                                                          81. See ATSI, 493 F.3d at 98 (permitting the
 *10 On a motion to dismiss under Rule 12(b)(6), the                      Court to consider “documents incorporated into the
Court must accept as true all factual allegations in the                  complaint by reference”). Plaintiffs argue that SAC
complaint and draw all reasonable inferences in plaintiffs'               ¶ 81 is based on a different version of this transcript,
favor. City of Providence v. BATS Global Mkts., Inc., 878                 which they failed to submit to the Court, but they do
F.3d 36, 48 (2d Cir. 2017). Nevertheless, plaintiffs' factual             not question the authenticity or accuracy of Exhibit
allegations must “be enough to raise a right of relief above the          Y as a transcript of the conference call referred to in
speculative level, on the assumption that all of the allegations          the SAC. See Mem. of Law, Jan. 10, 2018, ECF No.
in the complaint are true.” Bell Atl. Corp. v. Twombly,                   37 at 10 (“This Court also should strike Defendants'
550 U.S. 544, 555 (2007) (internal citations omitted). In                 Exhibit Y because it adds nothing that bears on
addressing a motion to dismiss, a court may consider “any                 the resolution of the issues raised in Defendants'
written instrument attached to the complaint, statements or               motion to dismiss.”). Indeed, plaintiffs make no
documents incorporated into the complaint by reference,                   attempt to refute defendants' arguments regarding
legally required public disclosure documents filed with the               this exhibit in their reply brief.
SEC, and documents possessed by or known to the plaintiff[s]
and upon which [they] relied in bringing the suit.” ATSI, 493
                                                                        2. Securities Fraud Claims under Section 10(b)
F.3d at 98. 14
                                                                   Section 10(b), as effectuated by Rule 10b-5, makes it
14                                                                 “unlawful for any person ... [t]o make any untrue statement
        Plaintiffs filed a motion to strike six of the forty-
        seven exhibits that defendants filed in connection         of a material fact or to omit to state a material fact
        with their motion to dismiss: four articles by             necessary in order to make the statements made, in the
        PwC and WG&L describing the complexity of                  light of the circumstances under which they were made, not
        accounting for non-controlling interests (Vigna            misleading.” 17 C.F.R. § 240.10b-5(b). In order to state a
        Decl. Exs. E, F, G, and UU, ECF Nos. 31-5, 31-6,           claim under Section 10(b) and Rule 10b-5, the plaintiffs
        31-7, and 31-47), a table summarizing USPH's               must adequately plead the following elements: “(1) a material
        bonus calculations (Vigna Decl. Ex. II, ECF No.            misrepresentation or omission by the defendant; (2) scienter;
        31-35), and the transcript of a March 16, 2017             (3) a connection between the misrepresentation or omission
        conference call (Vigna Decl. Ex. Y, ECF No.                and the purchase or sale of a security; (4) reliance upon the
        31-25). We address these in turn.                          misrepresentation or omission; (5) economic loss; and (6)
        While courts routinely take judicial notice of             loss causation.” Stoneridge Inv. Partners, LLC v. Scientific-
        news articles in securities cases to assess whether        Atlanta, Inc., 552 U.S. 148, 157 (2008).


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 *11 Claims under Section 10(b) must satisfy the heightened           B. Analysis
pleading requirements of Rule 9(b) of the Federal Rules
of Civil Procedure by “stat[ing] with particularity the                     1. Section 10(b) and Rule 10b-5—Scienter
circumstances constituting fraud or mistake.” Fed. R. Civ.
P. 9(b); see ATSI, 493 F.3d at 99. A complaint alleging             Defendants challenge only the second element of a claim
securities fraud must also meet the requirements of the             under Section 10(b) and Rule 10b-5, arguing that plaintiffs
Private Securities Litigation Reform Act (“PSLRA”), which           failed to allege scienter because they have neither adequately
requires plaintiffs to “specify each statement alleged to have      alleged that defendants had the requisite motive and
been misleading, the reason or reasons why the statement is         opportunity to commit securities fraud nor adequately alleged
misleading, and, if an allegation regarding the statement or        conscious recklessness.
omission is made on information and belief, the complaint
shall state with particularity all facts on which that belief is
formed.” 15 U.S.C. § 78u-4(b)(1).                                                   a) Motive and Opportunity

Under the PSLRA, plaintiffs must “state with particularity          In the Second Circuit, “[s]ufficient motive allegations ‘entail
facts giving rise to a strong inference that the defendant[s]       concrete benefits that could be realized by one or more of
acted with the required state of mind.” 15 U.S.C. § 78u-4(b)        the false statements and wrongful nondisclosures alleged.’ ”
(2). “[A]llegations of GAAP violations or accounting                Kalnit v. Eichler, 264 F.3d 131, 139 (2d Cir. 2001) (quoting
irregularities, standing alone, are insufficient to state a         Novak, 216 F.3d at 307). However, “[m]otives that are
securities fraud claim. Only where such allegations are             generally possessed by most corporate directors and officers
coupled with evidence of ‘corresponding fraudulent intent,’         do not suffice; instead, plaintiffs must assert a concrete and
might they be sufficient.” Novak v. Kasaks, 216 F.3d 300,           personal benefit to the individual defendants resulting from
309 (2d Cir. 2000) (quoting Chill v. Gen. Elec. Co., 101            the fraud.” Kalnit, 264 F.3d at 139.
F.3d 263, 270 (2d Cir. 1996) (internal citations omitted) ).
In order to plead a strong inference of scienter, plaintiffs        Defendants argue that plaintiffs failed to plead any showing
must allege either “(1) that defendants had the motive and          of motive. 15 Plaintiffs respond that they have adequately
opportunity to commit fraud,” or “(2) strong circumstantial         pled motive based on their allegations in the SAC regarding
evidence of conscious misbehavior or recklessness.” ECA,            defendants' bonuses, stock sales, and debt covenants. We
Local 134 IBEW Joint Pension Tr. of Chicago v. JP Morgan            address each of these seriatim.
Chase Co., 553 F.3d 187, 198 (2d Cir. 2009).
                                                                    15
In analyzing scienter, we assess “whether all of the facts                 Defendants do not contest that they had the
alleged, taken collectively, give rise to a strong inference of            “opportunity” to commit fraud. Indeed, courts
scienter, not whether any individual allegation, scrutinized               frequently assume that corporations and their
in isolation, meets that standard.” Tellabs, Inc. v. Makor                 officers and directors have the opportunity to
Issues & Rights, Ltd., 551 U.S. 308, 323 (2007) (emphasis in               commit fraud if they so desired. See, e.g., In re
original). “To determine whether the plaintiff has alleged facts           Ambac Fin. Grp. Sec. Litig., 693 F. Supp. 2d 241,
that give rise to the requisite ‘strong inference’ of scienter, a          265 (S.D.N.Y. 2010) (collecting cases).
court must consider plausible, nonculpable explanations for
the defendant's conduct, as well as inferences favoring the
                                                                                             (1) Bonuses
plaintiff.” Id. at 323-24. The inference must be more than
merely reasonable or permissible; it must be “cogent and             *12 Plaintiffs allege that under USPH's Objective Bonus
compelling ... strong in light of other explanations.” Id. at       Plan, defendants Reading, McAfee, and McDowell earned
324. “A complaint will survive ... only if a reasonable person      higher bonuses than they would have absent USPH's
would deem the inference of scienter cogent and at least as
                                                                    accounting errors. 16 Plaintiffs assert that these compensation
compelling as any opposing inference one could draw from
                                                                    packages established a “direct link” with the alleged fraud and
the facts alleged.” Id.
                                                                    therefore provide the requisite strong inference of scienter.
                                                                    See Mem. of Law, Jan. 10, 2018, ECF No. 34 at 8.


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                                                                  Plaintiffs argue that the Second Circuit precedent in Acito,
16                                                                Kalnit, and ECA is inapposite, and that the allegations in
       Plaintiffs make no allegations regarding defendant
                                                                  the complaint instead “align” with the decisions in In re
       Bates's bonuses during the Class Period.
                                                                  Wellcare Management Group, Inc. Securities Litigation, 964
Motives common to any corporate officer are insufficient          F. Supp. 632, 639 (N.D.N.Y. 1997), and Florida State Board
to plead scienter. See ECA, 553 F.3d at 198. Therefore,           of Administration v. Green Tree Financial Corp., 270 F.3d
“incentive compensation can hardly be the basis on which an       645, 661 (8th Cir. 2001). We initially observe that neither
allegation of fraud is predicated.” Id. at 201 (quoting Acito     Wellcare nor Green Tree binds this Court. To the contrary, we
v. IMCERA Grp., Inc., 47 F.3d 47, 54 (2d Cir. 1995) ); see        join several other courts in concluding that Wellcare’s finding
also Kalnit, 264 F.3d at 139-40. “If scienter could be pleaded    motive because defendants' incentive compensation increased
solely on the basis that defendants were motivated because        because of their allegedly fraudulent conduct is inconsistent
an inflated stock price or improved corporate performance         with the Second Circuit's decisions in Acito and its progeny.
would increase their compensation, ‘virtually every company       See Lipow, 131 F. Supp. 3d at 161; In re Donna Karan Int'l
in the United States that experiences a downturn in stock price   Sec. Litig., 97 Civ. 2011 (CBA), 1998 WL 637547, at *19
could be forced to defend securities fraud actions.’ ” ECA,       (E.D.N.Y. Aug. 14, 1998).
553 F.3d at 201 (quoting Acito, 47 F.3d at 54); see also Wyche
v. Advanced Drainage Sys., Inc., 710 F. App'x 41, 473 (2d Cir.     *13 The Eight Circuit's decision in Green Tree is
2017) (“Bonus compensation is not the type of ‘concrete and       distinguishable on its facts. Plaintiffs in Green Tree alleged
personal’ benefit upon which a finding of motive to commit        that the defendant company's CEO was the highest paid
securities fraud can be based.”) (quoting Kalnit, 264 F.3d at     business executive in the entire United States based on an
139).                                                             employment contract that awarded him incentive pay of 2.5%
                                                                  of the company's pre-tax income in addition to his base salary.
Applying this rule, several courts in this Circuit have found     270 F.3d at 661. In the final year of this contract, the CEO
that even multi-million dollar bonuses that plaintiffs alleged    pocketed a $102 million bonus based on an overstatement
were directly tied to misstatements were insufficient evidence    of earnings that the company's later restatement reduced by
of motive. For example, in In re JP Morgan Chase Securities       $25.9 million. Id. The “unusual” structure and magnitude
Litigation, 363 F. Supp. 2d 595, 622 (S.D.N.Y. 2005),             of the CEO's compensation package and the timing of the
defendants' total bonuses of $15 million that were allegedly      alleged fraud that formed the basis of the decision in Green
dependent in part on the amount of business they conducted        Tree are plainly inapposite here given the relative modesty
with Enron were deemed “deficient, as they involve[d]             and typicality of defendants' bonus compensation. Id.
‘[m]otives that are generally possessed by most corporate
directors and officers.’ ” Id. (citing Kalnit, 264 F.3d at        Our conclusion that plaintiffs' allegations about defendants'
139). Similarly, Lipow v. Net1 UEPS Technologies, Inc.,           bonuses are deficient because they comprise motives
131 F. Supp. 3d 144, 153, 160-62 (S.D.N.Y. 2015), involved        generally possessed by most corporate directors and officers
total bonus payments of $5.4 million directly linked to           ends this analysis. Kalnit, 264 F.3d at 139. Given the law in the
defendants' securing a contract that was later deemed to be       Second Circuit regarding incentive compensation as the basis
illegal and invalid. The court rejected plaintiff's argument      for motive, the parties' disputes over the exact amount, if any,
that these bonuses went beyond the “usual financial incentive     that the Company's accounting errors affected defendants'
arrangements of compensation based on the company's               bonuses are essentially academic. These arguments, even if
earnings,” because “incentive compensation can hardly be          properly presented, “can hardly be the basis on which an
the basis on which an allegation of fraud is predicated.” Id.     allegation of fraud is predicated.” ECA, 553 F.3d at 198.
(quoting ECA, 553 F.3d at 201).

The same logic applies here. The bonuses paid to defendants,
which allegedly were higher than they would have been but                                 (2) Stock Sales
for the accounting treatment of the Company's redeemable
                                                                  Plaintiffs may sufficiently plead motive where they allege that
non-controlling interests, comprise general performance-
                                                                  “defendants misrepresented corporate performance to inflate
based compensation that cannot form the basis for motive to
                                                                  stock prices while they sold their own shares.” Kalnit, 264
commit securities fraud. See ECA, 553 F.3d at 201.
                                                                  F.3d at 139 (citing Novak, 216 F.3d at 307-08 (collecting



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cases) ). This analysis focuses on whether the stock sales were    Ex. M at 5; Ex. O at 3. The SEC appeared to accept this
unusual or suspicious in timing or amount. See Stevelman v.        explanation, stating on January 6, 2015 that it had “completed
Alias Research Inc., 174 F.3d 79, 85 (2d Cir. 1999); Acito, 47     [its] review of [USPH's] filings],” and posed no further
F.3d at 54; In re Iconix Brand Grp., Inc., No. 15 Civ. 4860        questions to the Company at that time. Ex. P at 2.
(PGG), 2017 WL 4898228, at *15 (S.D.N.Y. Oct. 25, 2017);
In re Lululemon Sec. Litig., 14 F. Supp. 3d 553, 584 (S.D.N.Y.      *14 Plaintiffs argue that when the SEC cited ASC 480-10-
2014), aff'd, 604 F. App'x 62 (2d Cir. 2015). Factors to be        S99-3A-22 in its October 2014 letter, it informed defendants
considered in this analysis include “the amount of profit from     that the non-controlling interests should be accounted for
the sales, the portion of stockholdings sold, the change in        as liabilities. This argument is unavailing. ASC 480-10-
volume of insider sales, and the number of insiders selling.”      S99-3A-22 by its explicit terms does “not attempt to
In re Scholastic Corp. Sec. Litig., 252 F.3d 63, 74-75 (2d Cir.    deal with the conceptual question of whether [a non-
2001), cert. denied, 534 U.S. 1071 (2001). “[T]he ‘motive’         controlling interest] is a liability.” Ex. V at 2. The 2014-15
showing is generally met when corporate insiders allegedly         correspondence related to the Company's presentation of its
make a misrepresentation in order to sell their own shares at a    financial statements and the propriety of its including a non-
profit.” ECA, 553 F.3d at 198 (citing Novak, 216 F.3d at 308).     GAAP measure in its Consolidated Income Statements. The
                                                                   SEC did not raise the question of whether the Company
We begin by analyzing the timing of defendants' stock              should have accounted for the non-controlling interests as
sales. Plaintiffs allege that defendants Reading, McAfee,          liabilities or cite ASC 480-10-25, the relevant accounting
and McDowell 17 sold significant portions of their stock           standards codification provision that differentiates between
on various occasions between the beginning of the Class            equity and liability, until March 10, 2017, more than three
Period and November 22, 2016, but do not allege that any           months after defendants' last stock trade. See Ex. T.
defendant sold a single share of USPH stock after that date.
Plaintiffs assert that the timing of defendants' stock sales was   Moreover, the 2014-15 correspondence was resolved without
suspicious because some of these sales occurred shortly after      USPH having to take any corrective action. See Ex. P. And
the Company received a letter from the SEC on October 15,          even if the SEC had required USPH to remove the separate
2014 and throughout the period when USPH was exchanging            line item for revaluation of redeemable non-controlling
correspondence with the SEC from October 2014 to January           interests from its Consolidated Income Statements, this
2015. We are persuaded by defendants' response that this           adjustment would have had no effect on the computation
correspondence never addressed the possibility of accounting       of the Company's net income nor, correspondingly, on its
for non-controlling interests as liabilities, which was only       earnings per share calculations. Plaintiffs' argument that the
raised in the 2016-17 correspondence, and thus did not bear        2014-15 correspondence established that USPH's accounting
directly on the issues that led to USPH's restatement.             treatment of its non-controlling interests was improper
                                                                   therefore has no basis in the underlying documents. 18 It was
17                                                                 only in 2016-17 that the SEC raised the question of whether
       Plaintiffs do not present any allegations regarding
       defendant Bates's stock sales during the Class              USPH's non-controlling interests should be accounted for as
       Period.                                                     liabilities. Indeed, plaintiffs concede that the SEC's 2016-17
                                                                   correspondence came “from a different angle” than the
The 2014-15 correspondence focused on whether it was               2014-15 correspondence. Mem. of Law, Jan. 10, 2018, ECF
proper for USPH to present separate line items in its              No. 34 at 4.
financial statements for basic and diluted earnings per share
related to the revaluation of redeemable non-controlling           18
interests and earnings per share from continuing operations.              While plaintiffs allege that the 2014-15
Ex. J at 3; see 2014 2Q 10-Q at 3, 4, 13. USPH                            correspondence addressed the same topic as the
explained that it was important to their investors to be                  2016-17 correspondence, we need not accept that
able to compare the components of its earnings-per-share                  allegation as true where it is inconsistent with the
calculations (both revaluation of redeemable non-controlling              underlying documents. See Menaldi v. Och-Ziff
interests and results from operations) across reporting periods           Capital Mgmt. Grp. LLC, 277 F. Supp. 3d 500, 510
and therefore that this data belonged in the Consolidated                 (S.D.N.Y. 2017) (“If the allegations of a pleading
Statements of Net Income, rather than merely a footnote.                  are contradicted by documents made a part thereof,
                                                                          the document controls and the court need not accept


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        as true the allegations of the pleading.”) (quoting In       on November 19 and 20, 2015), 148 (defendant McAfee
        re Trusteeships Created by Tropic CDO I Ltd., 92             sold 42% of his non-restricted shares on March 4, 2016 and
        F. Supp. 3d 163, 171 (S.D.N.Y. 2015) ).                      41% of his non-restricted shares on November 22, 2016),
                                                                     150-51 (defendant McDowell sold all or nearly all of his
The upshot of this analysis is that any stock sales that occurred
                                                                     non restricted shares on March 16 and 17, 2015, August
prior to the 2016-17 correspondence were not “suspicious in
                                                                     10, 2015, November 10 and 11, 2015, May 9, 2016, August
timing,” see Iconix, 2017 WL 4898228, at *15; Lululemon,
                                                                     9, 2016, and November 15, 2016). But without more, the
14 F. Supp. 3d at 584, because nothing in the record that
                                                                     amount of stock sold cannot be determinative. Otherwise,
suggests that the SEC questioned USPH's accounting for
                                                                     any corporate insider who divests his stock holdings would
redeemable non-controlling interests as equity instead of
                                                                     furnish opportunistic plaintiffs with the requisite scienter to
liability prior to November 22, 2016, the date of the last
                                                                     survive a motion to dismiss. To the contrary, courts routinely
alleged stock sale.
                                                                     find that raw sales numbers alone are insufficient to establish
                                                                     scienter. See, e.g., Singh v. Cigna Corp., 277 F. Supp. 3d
Further, even if the defendants could have anticipated the
                                                                     291, 318 (D. Conn. 2017) (“The selling of even considerable
SEC's inquiry in advance, their stock sales here were
                                                                     shares is not sufficient, standing alone, to infer scienter.”);
not “calculated to maximize the personal benefit from
                                                                     Lululemon, 14 F. Supp. 3d at 584-85; In re CRM Holdings,
undisclosed inside information.” City of Taylor Gen. Emp.
                                                                     Ltd. Sec. Litig., 2012 WL 1646888, at *23 (S.D.N.Y. May
Ret. Sys. V. Magna Int'l Inc., 967 F. Supp. 2d 771, 800
                                                                     10, 2012) (“The sale of a large volume of stock alone,
(S.D.N.Y. 2013) (quoting Sec. & Exch. Comm'n v. Rorech,
                                                                     however, is not enough to adequately plead scienter.”). More
720 F. Supp. 2d 367, 414 (S.D.N.Y. 2010) ). None of the
                                                                     fundamentally, there was nothing “unusual” or “suspicious”
defendants sold any stock in the final 100 days of the class
                                                                     about defendants' trades, even if they were relatively large,
period—the exact timing “when insiders would have ‘rushed
                                                                     because they occurred before defendants were on notice of
to cash out.’ ” City of Taylor, 967 F. Supp. 2d at 800 (quoting
                                                                     the SEC inquiry as to whether the Company's non-controlling
City of Brockton Ret. Sys. V. Shaw Grp. Inc., 540 F. Supp. 2d
                                                                     interests should be accounted for as equities or liabilities.
464, 475 (S.D.N.Y. 2008) ). Indeed, courts in this Circuit are
frequently skeptical that stock sales are indicative of scienter
where no trades occur in the months immediately prior to a
negative disclosure. See In re Gildan Activewear, Inc. Sec.                              (3) Debt Covenants
Litig., 636 F. Supp. 2d 261, 271 (S.D.N.Y. 2009) (“Plaintiffs'
allegations are empty vessels, as the trades occurred ... many       Plaintiffs' final scienter argument is based on defendants'
months before the release of any negative information that           alleged motive to avoid violations of certain debt covenants
caused Gildan's stock price to plumment.”); In re Take-Two           in USPH's credit agreements. This argument clearly fails. It
Interactive Sec. Litig., 551 F. Supp. 2d 247, 279 (S.D.N.Y.          is well settled that a company's desire to maintain a high
2008) (“The lapsing of ... approximately four months between         bond or credit rating does not qualify as a sufficient motive
these substantial sales and the revelation of the alleged falsity,   for fraud. San Leandro Emergency Med. Grp. Profit Sharing
inescapably attenuates any inference of scienter that may            Plan v. Philip Morris Cos., 75 F.3d 801, 814 (2d Cir. 1996);
be drawn in Lead Plaintiffs' favor.”); Malin v. XL Capital           In re GeoPharma, Inc. Sec. Litig., 399 F. Supp. 2d 432, 450
Ltd., 499 F. Supp. 2d 117, 154 & n.24 (D. Conn. 2007)                (S.D.N.Y. 2005) (“[C]ourts in this Circuit have consistently
(disregarding sales that occurred more than two months prior         held that allegations that a defendant was motivated to commit
to disclosure); In re Sina Corp. Sec. Litig., No. 05 Civ.            securities fraud by a desire to reduce its debt burden, or
2154 (NRB), 2006 WL 2742048, at *12 (S.D.N.Y. Sept. 26,              otherwise reduce borrowing costs, are insufficient to raise
2006) (sales do not give rise to an inference of scienter when       a scienter inference.”). The alleged motivation to maintain
they occurred more than a month before adverse disclosure);          compliance with the covenants in the Company's credit
In re Keyspan Corp. Sec. Litig., 383 F. Supp. 2d 358,                agreements is plainly inadequate to support an allegation of
385-86 (E.D.N.Y. 2003) (two-month gap between sales and              intent to commit fraud. See In re Cross Media Marketing
disclosure negated inference of scienter).                           Corp. Sec. Litig., 314 F. Supp. 2d 256, 265 (S.D.N.Y. 2004).
                                                                     Plaintiff's general allegations here would apply equally to
 *15 Plaintiffs next argue that defendants' stock sales were         any company with debt covenants in its credit agreements,
suspicious on the basis of their amount alone. See SAC ¶¶            and “[i]f scienter could be pleaded on that basis alone,
144 (defendant Reading sold 44% of his non-restricted shares         virtually every company in the United States that experiences



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a downturn in stock price could be forced to defend securities     circumstantial allegations must be correspondingly greater.”
fraud actions.” Acito, 47 F.3d at 54.                              Kalnit, 264 F.3d at 142 (quoting Beck v. Mfrs. Hanover Tr.
                                                                   Co., 820 F.2d 46, 50 (2d Cir. 1987) ). The Second Circuit
Plaintiffs argue in response that the Court should draw a          has held that recklessness for this purpose means “conscious
distinction between the general motivation to maintain a           recklessness—i.e., a state of mind approximating actual
high credit rating and USPH's specific motivation to avoid         intent, and not merely a heightened form of negligence.” S.
violating its debt covenants and defaulting on its debt.           Cherry St., LLC v. Hennessee Grp. LLC, 573 F.3d 98, 109
However, plaintiffs do not plead any specific terms of the         (2d Cir. 2009) (quoting Novak, 216 F.3d at 312) (emphases
Company's covenants that provide it with anything more than        in original). “Conscious recklessness” requires conduct that
the generic motivation to maintain a high credit rating, nor       “at the least ... is highly unreasonable and which represents
do they articulate why USPH was in greater peril of violating      an extreme departure from the standards of ordinary care to
its covenants than any other corporation with a credit facility.   the extent that the danger was either known to the defendant
See SAC ¶ 153.                                                     or so obvious that the defendant must have been aware of it.”
                                                                   S. Cherry, 573 F.3d at 109 (emphasis in original) (quoting In
Plaintiffs' reliance on Rothman v. Gregor, 220 F.3d 81 (2d Cir.    re Carter-Wallace, Inc. Sec. Litig., 220 F.3d 36, 39 (2d Cir.
2000), and Howard v. Everex Systems, Inc., 228 F.3d 1057           2000) ).
(9th Cir. 2000), is misplaced. The Second Circuit's conclusion
in Rothman that specific allegations that a company desired        In the context of violations of accounting rules, “
to keep its bond or credit rating high in order to consummate a    ‘[a]llegations that the accounting rules are straightforward
corporate transaction may be a sufficient motive for securities    and the company's accounting treatment was obviously
fraud does not salvage plaintiffs' generic allegations here, 220   wrong’ may create an inference of scienter.” S.E.C. v. Egan,
F.3d at 93, and the Ninth Circuit's decision in Howard “is at      994 F. Supp. 2d 558, 565 (S.D.N.Y. 2014) (quoting S.E.C. v.
odds with the Second Circuit caselaw,” Malin v. XL Capital         Espuelas, 579 F. Supp. 2d 461, 478 (S.D.N.Y. 2008) ) (internal
Ltd., 499 F. Supp. 2d 117, 157 n.25 (D. Conn. 2007).               quotation marks omitted). By contrast, “where accounting
                                                                   standards are neither simple nor easily applied, a plaintiff
Finally, plaintiffs assert that USPH's restatement of its          cannot rely on misapplication of the accounting rules alone.”
financial statements caused it to violate its credit agreement,    Egan, 994 F. Supp. 2d at 565 (citing In re Bristol-Myers
and defendants observe in response that the Company                Squibb Sec. Litig., 312 F. Supp. 2d 549, 566-67 (S.D.N.Y.
obtained violation waivers and has since refinanced its debt       2004) ).
on more favorable terms. Neither argument is relevant to our
analysis, which properly focuses on an ex ante assessment          It is readily apparent from the record in this case and
of defendants' motives, rather than an ex post assessment          the relevant Accounting Standards Codifications that the
of the actual effect of the restatement. See, e.g., Shields v.     accounting issues at the heart of this dispute are neither simple
Citytrust Bancorp, Inc., 25 F. 3d 1124, 1129 (2d Cir. 1994); In    nor easily applied. See Ex. V, Ex. X. A redeemable non-
re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1429        controlling interest may be classified as permanent equity,
n.16 (3d Cir. 1997) (“Securities laws approach matters from        temporary equity, or liability depending on its character. Ex.
an ex ante perspective.”).                                         V, Ex. X. “[P]referred securities that are redeemable for cash
                                                                   or other assets” must be “classified outside of permanent
                                                                   equity if they are redeemable (1) at a fixed or determinable
                                                                   price on a fixed or determinable date, (2) at the option of the
       b) Conscious Misbehavior and Recklessness
                                                                   holder, or (3) upon the occurrence of an event that is not solely
 *16 Having found that plaintiffs failed to allege the             within the control of the issuer.” Ex. V at 4. “Determining
requisite motive to defraud, we next turn to whether               whether an equity instrument is redeemable at the option
plaintiffs adequately plead strong circumstantial evidence of      of the holder or upon the occurrence of an event that is
defendants' conscious misbehavior or recklessness.                 solely within the control of the issuer can be complex.” Id.
                                                                   at 7 (emphasis added). The SEC provides that “all of the
“Where motive is not apparent, it is still possible to plead       individual facts and circumstances surrounding events that
scienter by identifying circumstances indicating conscious         could trigger redemption should be evaluated separately and
behavior by the defendant, though the strength of the              that the possibility that any triggering event that is not solely



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within the control of the issuer could occur—without regard        wrong” in situations where a company accounts for the sale
to probability—would require the instrument to be classified       of an asset and then a lease of the same asset a few months
in temporary equity.” Id. (emphasis in original). ASC 480-10-      later, Egan, 994 F. Supp. 2d at 566, or where it recognizes
S99-3A provides specific guidance as to potential features         revenue for sales that were entirely contingent on further
that might weigh in this analysis if the underlying interest       approval of the buyer, Espuelas, 579 F. Supp. 2d at 482. These
is classified as a freestanding financial instrument, equity       blatant violations of basic accounting principles are clearly
instrument subject to registration payment arrangements,           not analogous to the facts here.
share-based payment award, or convertible debt instrument
with a separately classified equity component, among others.       Further, USPH's independent auditor, Grant Thornton LLP,
Id. at 4-7.                                                        reviewed the accounting for non-controlling interests in each
                                                                   of the years for which the Company eventually restated its
 *17 ASC 480-10-25, which was not cited by the SEC                 financial statements. Each year Grant Thornton indicated
in its correspondence with the Company until March                 that it had “assess[ed] the accounting principles used ...
2017, provides that “[a] mandatorily redeemable financial          by management,” and concluded that USPH's consolidated
instrument shall be classified as a liability unless the           financial statements presented the Company's financial
redemption is required to occur only upon the liquidation          position fairly and “in conformity with accounting principles
or termination of the reporting entity.” Ex. X at 1. That          generally accepted in the United States of America.” 2015 10-
instrument could also become a liability if it “embodies           K at 36; 2014 10-K at 33. The fact that USPH's independent
a conditional obligation to redeem the instrument by               auditor repeatedly signed off on its financial statements
transferring assets upon an event not certain to occur ... if      further suggests that the Company's accounting for its non-
that event occurs, the condition is resolved, or the event         controlling interests was not “obviously wrong.” See Wyche
becomes certain to occur.” Id. Some of the terms companies         v. Advanced Drainage Sys., Inc., No. 15 Civ. 5955 (KPF),
are instructed not to consider are whether an instrument           2017 WL 971805, at *17 (S.D.N.Y. Mar. 10, 2017) (finding
has “a) a term extension option, b) a provision that defers        that the independent auditor's failure to identify GAAP
redemption until a specified liquidity level is reached, [or] c)   violations suggests “that the proper application of GAAP to
a similar provision that may delay or accelerate the timing of     the Company's finances was no easy task, even for a party
a mandatory redemption.” Id. “If a financial instrument will       with significant knowledge and expertise”); In re Turquoise
be redeemed only upon the occurrence of a conditional event,       Hill Res. Ltd. Sec. Litig., No. 13 Civ. 8846 (LGS), 2014 WL
redemption of that instrument is conditional and, therefore,       7176187, at *6 (“It is noteworthy that the outside auditors did
the instrument does not meet the definition of mandatorily         not question the corporate defendant's accounting practices.”)
redeemable financial instrument ... [h]owever, that financial      (quoting In re Bausch & Lomb, Inc. Sec. Litig., 592 F.
instrument would be assessed at each reporting period to           Supp. 2d 323, 341 (W.D.N.Y. 2008) ) (internal modifications
determine whether circumstances have changed such that             omitted). And plaintiffs here in no way suggest that the
the instrument now meets the definition of a mandatorily           Company's auditors were complicit in the alleged fraud. Cf.,
redeemable instrument.” Id. at 2. “If the event has occurred,      e.g., In re Winstar Commc'ns, No. 01 Civ. 3014 (GBD), 2006
the condition is resolved, or the event has become certain to      WL 473885, at *2 (S.D.N.Y. Feb. 27, 2006) (alleging that
occur, the financial instrument is reclassified as a liability.”   GAAP violations were committed with the consent of the
Id. at 2.                                                          company's auditors or at their design).

The complexity of these principles is self-evident to the Court.   Nor is there any allegation here that the Company concealed
Further support for this conclusion comes from the fact that       any relevant aspect of the non-controlling interests from its
the SEC exchanged at least eleven letters over the course of       auditors or the SEC to perpetuate an accounting fraud. To
nearly four years with USPH about various aspects of the           the contrary, the Company's Form 10-Ks in the years prior
Company's accounting for its non-controlling interests before      to the restatement included fulsome disclosure about the
the SEC even raised the issue of whether they might properly       nature of the non-controlling interests and the way USPH was
be classified as liabilities. See Exs. J, M, N, O, P, S.           (incorrectly, as it turned out) accounting for them. See 2015
                                                                   10-K at 44-45; 2014 10-K at 41; 2013 10-K at 46-47; supra
By stark contrast, courts in this district have found violations   Section II.A.2.
of accounting rules to be “straightforward” and “obviously



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 *18 Plaintiffs argue in response that the SEC's 2014-15             million. Winstar, 2006 WL 473885, at *2-5, 7-8, involved a
correspondence with USPH “concern[ed] the very GAAP                  wireless-broadband communications company that allegedly
that ultimately caused the Company to restate,” such that            falsified transactions to significantly inflate its revenues and
the Company was on notice for several years that it was              would have been insolvent but for the fraudulent accounting
accounting for these interests incorrectly. ECF No. 34               practices implemented. By contrast, the present case involves
at 18. However, as discussed above, the SEC's 2014-15                a disputed technical accounting issue, not a large-scale
correspondence never raised the question of whether the non-         accounting fraud that undermined the ongoing viability of
controlling interests should be classified as liabilities, nor did   the Company's core business. See, e.g., 2016 10-K at 31, 41
it reference the ASC provision under which UPSH eventually           (reporting an increase from $37,520,000 to $51,050,000 in
determined that it had made an accounting error.                     net cash provided by operating activities from the previous
                                                                     year, and stating that the “business is generating sufficient
Plaintiffs also rely on the “core operations doctrine,” which        cash flow from operating activities to allow us to meet our
provides that “[w]hen a plaintiff has adequately alleged that        short-term and long-term cash requirements, other than those
the defendant made false or misleading statements, the fact          with respect to future significant acquisitions”).
that those statements concerned the core operations of the
company supports the inference that the defendant knew or            More fundamentally, USPH's core operation is operating
should have known the statements were false when made.”              outpatient physical therapy clinics, not accounting for its
In re Atlas Air Worldwide Holdings, Inc. Sec. Litig., 324 F.         managing therapists non-controlling interests. See In re JP
Supp. 2d 474, 489 (S.D.N.Y. 2004); see generally Cosmas              Morgan Chase Sec. Litig., 363 F. Supp. 2d at 628 (“[P]laintiffs
v. Hassett, 886 F.2d 8, 13 (2d Cir. 1989). Plaintiffs concede        allege no facts suggesting that the accounting treatment of the
that this doctrine may provide “supplemental support” but            Mahonia transactions as trades rather than as loans was at the
does not “independently establish scienter,” see Lipow, 131          core of JPM Chase's business.”).
F. Supp. 3d at 163 (quoting New Orleans Emp. Ret. Sys. V.
Celestica Inc., 455 F. App'x 10, 14 n.3 (2d Cir. 2011) ), and         *19 Plaintiffs next argue that the Sarbanes-Oxley (“SOX”)
several courts in this Circuit have expressed “doubts as to          certifications signed by defendants Reading, McAfee, and
the doctrine's continuing import” after the enactment of the         Bates were probative of scienter. SOX certifications may
PSLRA, In re Rockwell Med., Inc. Sec. Litig., No. 16 Civ.            be probative of scienter if the complaint alleges “ ‘glaring
1691 (RJS), 2018 WL 1725553, at *14 (S.D.N.Y. Mar. 30,               accounting irregularities or other red flags,’ of which the
2018); In re Wachovia Equity Sec. Litig., 753 F. Supp. 2d 326,       certifying defendant had ‘reason to know.’ ” In re Take-
353 (S.D.N.Y. 2011) (“[T]he plain language of the PSLRA,             Two Interactive Sec. Litig., 551 F. Supp. 2d at 304-05
which requires facts supporting the scienter inference to be         (quoting Garfield v. NDC Health Corp., 466 F.3d 1255,
‘state[d] with particularity,’ would seem to limit the force         1266 (11th Cir. 2006) ). However, these certifications
of general allegations about core company operations.”); see         typically “add nothing substantial to the scienter calculus”
also Frederick v. Mechel OAO, 475 F. App'x 353, 356 (2d              because “allowing Sarbanes-Oxley certifications to create
Cir. 2012) (“[W]e have not yet expressly addressed whether,          an inference of scienter in every case where there was
and in what form, the ‘core operations’ doctrine survives as a       an accounting error ... by a public traded company would
viable theory of scienter.”).                                        eviscerate the pleading requirements for scienter set forth
                                                                     in the PSLRA.” Int'l Ass'n of Heat v. Int'l Bus. Machs.
In any event, the “core operations doctrine” typically applies       Corp., 205 F. Supp. 3d 527, 536 (S.D.N.Y. 2016) (quoting
only where “the operation in question constitute[s] nearly           Zucco Partners, LLC v. Digimarc Corp., 552 F.3d 981,
all of a company's business.” Rockwell, 2018 WL 1725553,             1003-04 (9th Cir. 2009) ). As discussed above, plaintiffs have
at *14 (quoting Thomas v. Shiloh Indus., Inc., No. 15 Civ.           not adequately alleged that defendants had any knowledge
7449 (KMW), 2017 WL 1103664, at *4 (S.D.N.Y. Mar. 23,                of “glaring accounting irregularities” when they executed
2017) ). The cases cited by plaintiff are illustrative. Atlas        the SOX certifications in the Company's 10-Ks. Rather,
Air, 324 F. Supp. 2d at 484, 491, involved a company                 the accounting guidance at issue here was complex, the
that leased aircraft to international airlines that allegedly        accounting treatment of the non-controlling interests was
failed to recognize the impairment of the value of those             difficult to apply, and the SEC did not raise the relevant ASC
planes, resulting in a restatement of its retained earnings          until March 2017. Plaintiffs therefore do not adequately allege
from $185 million to an accumulated deficit of $178



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                                                                        this chapter or of any rule or regulation thereunder ... unless
that the defendants' certifications were knowingly false when
                                                                        the controlling person acted in good faith and did not directly
made.
                                                                        or indirectly induce the act or acts constituting the violation
                                                                        or cause of action.” 15 U.S.C. § 78t(a). To establish a prima
                                                                        facie case of control person liability, a plaintiff must show a
                        c) Conclusion                                   primary violation by the controlled person. ATSI, 493 F.3d
                                                                        at 108. Because plaintiffs have failed to plead a primary
Plaintiffs argue in the alternative that their motive and
                                                                        violation by USPH, their Section 20(a) claims also fail. See
recklessness allegations support one another, so that these
                                                                        Slayton v. Am. Express Co., 604 F.3d 758, 778 (2d Cir. 2010).
allegations viewed in conjunction adequately plead scienter,
even if neither does standing alone. Plaintiffs are correct
that Tellabs instructs us “not to scrutinize each allegation
in isolation but to assess all the allegations holistically.”                                IV. CONCLUSION
551 U.S. at 326; see In re Silvercorp Metals, Inc.
                                                                        For the foregoing reasons, we grant defendants' motion to
Sec. Litig., 26 F. Supp. 3d 266, 275 (S.D.N.Y. 2014)
(“[C]ircumstantial evidence of reckless and misconduct that             dismiss in its entirety with prejudice. 19 The Clerk of Court is
strongly buttress the motive alleged ... turn what might be a           respectfully directed to terminate the motions pending at ECF
weak inference standing alone into a strong one.”). However,            No. 30 and ECF No. 36, enter judgment for defendants, and
inadequate allegations of motive and inadequate allegations             close this case.
of recklessness cannot be combined to demonstrate scienter—
zero plus zero cannot equal one. See Kalnit, 264 F.3d at 141.           19      Plaintiffs have not sought leave to amend, and
                                                                                the Court declines to offer them an opportunity
Here, defendants' incentive compensation cannot form the                        to do so. See Wyche, 2017 WL 971805 at *18;
basis for scienter, defendants did not sell a single share of                   Schwartz v. HSBC Bank USA, N.A., No. 14 Civ.
stock after the SEC raised the issue of whether the non-                        9525 (KPF), 2017 WL 95118, at *8 (S.D.N.Y. Jan.
controlling interests should be accounted for as liabilities,                   9, 2017); see also Shields v. Citytrust Bancorp,
the Company's debt covenants did not provide any motive to                      Inc., 25 F.3d 1124, 1132 (2d Cir. 1994) (“[W]e
commit fraud, the accounting standards at issue were complex                    do not deem it an abuse of the district court's
and difficult to apply, such accounting was not the Company's                   discretion to order a case closed when leave to
“core operation,” and defendants' SOX certifications were                       amend has not been sought.”). Plaintiffs have
not probative of scienter. Viewed holistically, plaintiffs'                     already amended their complaint twice, and no
allegations therefore fail to state with particularity facts that               aspect of the record provides any indication that
would give rise to a strong inference of scienter.                              repleading would remedy the deficiencies outlined
                                                                                in this opinion. See Knife Rights, Inc. v. Vance,
                                                                                802 F.3d 377, 389 (2d Cir. 2015) (leave to amend
                       2. Section 20(a)                                         may be denied if the amendment would be futile).
                                                                                Because plaintiffs have not requested to amend and
Plaintiffs also allege that the individual defendants, Reading,                 any further leave to amend would be futile, the
McAfee, Bates, and McDowell, are liable under Section                           Court dismisses this matter with prejudice.
20(a) of the Exchange Act because they acted as “controlling
persons” of USPH who participated in its alleged securities             All Citations
fraud. SAC ¶¶ 179-85. Section 20(a) provides for joint
and several liability for “[e]very person who, directly or              Not Reported in Fed. Supp., 2018 WL 3559089
indirectly, controls any person liable under any provision of

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                     2024 WL 3105004                                    A. Factual Background 1
                                                                    1
        United States District Court, S.D. New York.                        These facts are drawn primarily from the AC. For
                                                                            the purpose of resolving the motion to dismiss,
         Douglas REIN, individually and on behalf                           the Court assumes all well-pled facts to be true
          of all others similarly situated, Plaintiff,                      and draws all reasonable inferences in favor of
                              v.                                            plaintiffs. See Koch v. Christie's Int'l PLC, 699
         DUTCH BROS, INC. et al., Defendants.                               F.3d 141, 145 (2d Cir. 2012). The Court also
                                                                            considers documents incorporated into the AC
                       23 Civ. 1794 (PAE)                                   by reference, documents publicly filed with the
                                |                                           Securities Exchange Commission (“SEC”), see
                      Signed June 24, 2024                                  ATSI Commc'ns, Inc. v. Shaar Fund, Ltd., 493
                                                                            F.3d 87, 98 (2d Cir. 2007), transcripts of relevant
Attorneys and Law Firms
                                                                            earnings calls, Frankfurt-Tr. Inv. Luxemburg AG
Kim Elaine Miller, Kahn Swick & Foti, LLC, New York, NY,                    v. United Techs. Corp., 336 F. Supp. 3d 196, 205
for Plaintiff.                                                              (S.D.N.Y. 2018), and other “matters of which a
                                                                            Court may take judicial notice,” In re Pfizer, Inc.
Aric Hugo Wu, Cooley LLP, New York, NY, Patrick Gibbs,                      Sec. Litig., 538 F. Supp. 2d 621, 627 (S.D.N.Y.
Cooley LLP, Palo Alto, CA, for Defendants.                                  2008). As all documents attached to Defendants’
                                                                            declaration in support of dismissal fall into one
                                                                            or more of these categories, the Court considers
                    OPINION & ORDER                                         them in resolving this motion. See Dkt. 34 (“Wu
                                                                            Decl.”), Exs. 1, 2 (“3/11/22 Form 10-K”), 3
PAUL A. ENGELMAYER, District Judge:                                         (“9/16/21 Prospectus”), 4 (“5/12/22 Form 10-Q”),
                                                                            5 (“11/12/21 Form 10-Q”), 6 (“11/10/21 Form 8-
 *1 Lead plaintiff Douglas Rein brings this putative federal                K”), 7 (“11/10/21 Earnings Call Tr.”), 8 (“3/1/22
securities class action against Dutch Bros, Inc. (“Dutch                    Earnings Call Tr.”), 9 (“3/1/22 Form 8-K”), 10
Bros”) and its chief executive officer Jonathan Ricci and                   (“5/11/22 Form 8-K”), 11 (“5/11/22 Earnings Call
chief financial officer Charles L. Jemley (collectively,                    Tr.”), 12–16, 17 (“8/10/22 Earnings Call Tr.”), 18
“Defendants”) alleging violations of Sections 10(b) and 20(a)               (“1/11/22 ICR Interview Tr.”), 19.
of the Securities Exchange Act of 1934, 15 U.S.C. §§ 78j(b)
and 78t(a), and the implementing rule of the Securities and
Exchange Commission, 17 C.F.R. § 240b-5 (“Rule 10b-5”).                                    1. The Parties
On behalf of himself and others who purchased Dutch Bros
securities between November 10, 2021, and May 11, 2022              Dutch Bros is a publicly traded company incorporated under
(the “class period”), Rein claims that Defendants made a            Delaware law that operates and franchises drive-through
series of false and misleading statements during the class          coffee shops, which sell coffee and related products. AC ¶¶
period touting Dutch Bros’ performance and prospects, which         14, 22. On September 17, 2021, Dutch Bros went public,
allegedly understated the threat to the company's sales and         with an initial public offering (“IPO”) in which it issued
profitability presented by rising inflation affecting the cost of   approximately 24.2 million shares of Class A common stock
commodities key to its success.                                     at a public offering price of $23 per share. Id. ¶¶ 28, 3. As
                                                                    of its IPO, Dutch Bros had 471 shops in 11 states. Its IPO
Pending now is Defendants’ motion to dismiss the Amended            was intended to facilitate the company's “expansion to at least
Complaint (“AC”) for failure to state a claim under Federal         4,000 Dutch Bros locations in the United States.” Id. ¶ 23.
Rules of Civil Procedure 12(b)(6) and 9(b). For the following
reasons, the Court grants the motion and dismisses the AC in         *2 At all relevant times, Ricci was Dutch Bros’ president
its entirety.                                                       and chief executive officer, and Jemley was its chief financial
                                                                    officer. Id. ¶¶ 15–16.

I. Background


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Lead plaintiff Rein is an investor who, during the class period,
purchased Dutch Bros securities at what he alleges were            A confidential witness (“CW1”)—who worked for Dutch
“artificially inflated prices,” which declined after Dutch Bros,   Bros as a retail optimization manager—is cited in the AC as
on the last day of the class period, announced a decline in        stating that, as of December 2021, Dutch Bros was aware of
profitability. Id. ¶ 13.                                           its potential need to combat rising dairy prices. Id. ¶¶ 18–
                                                                   21. CW1 and his team “worked on operational changes that
                                                                   would be effective in the field” and “created processes for
                                                                   field training,” and designed “processes that would create
               2. Rising Commodities Prices
                                                                   efficiencies at the retail store-level.” Id. ¶ 19. CW1 stated
            Before and During the Class Period
                                                                   that, in or around December 2021, his team was tasked with
In the months leading up to, and during, the class period,         “troubleshooting the issue of rising dairy costs[.]” Id. ¶ 21.
inflation and commodities prices were rising in the United         This entailed steps such as “switch[ing] from purchasing
States. See id. ¶ 3. The Bureau of Labor Statistics’ Consumer      dairy by the gallon to purchasing it by the half gallon.”
Price Index for All Urban Consumers rose to 5.4% in                Id. CW1 stated that “finding additional sources of dairy,
September 2021, 7.5% in January 2022, and reached 8.3%             especially 2%, was important because the supply was also
by April 2022. Id. Dairy and petroleum, the commodities            an issue around this time, not just the cost.” Id. The AC
most central to Dutch Bros’ business, were subject to these        does not address whether Dutch Bros adopted these or other
trends. Id. The Department of Agriculture calculated the           suggestions.
National All-Milk Price Received at $18.30 in September
2021, $23.90 in January 2022, and $27 in April 2022.
The Department of Energy reported the Gasoline Average                          3. Dutch Bros’ Q1 2022 Earnings
Retail Price in September 2021 as $3.272, as $3.413 in                            Drop, Reported May 11, 2022
January 2022, $3.611 in February 2022, $4.322 in March
2022, and $4.213 in April 2022. Id. A September 2021 Wall           *3 Through at least the end of 2021, Dutch Bros’
Street Journal article noted that “[e]conomists anticipate that    performance remained stable. In the first quarter of 2022,
broader, longer-lasting inflationary pressures will emerge in      ending March 31, 2022, however, Dutch Bros experienced
coming quarters”; another, published November 2021, opined         “margin pressure”—that is, a decrease in its profit margins.
that “[t]hings are going to get worse before they get better.”     Cf., e.g., id. ¶¶ 102–111 (identifying Q1 losses in 2022 as
Id. ¶ 26.                                                          turning point).

During the class period, Defendants made statements                On May 11, 2022, the last day of the class period, after the
that were generally positive about Dutch Bros’ past and            markets closed, Dutch Bros issued its earnings release for the
forthcoming financial performance, notwithstanding that            first quarter of 2022. It revealed a big drop in performance.
inflation in general and commodities costs in particular were      See id. It reported a net loss that quarter of $16.3 million,
rising. These statements were made in, inter alia, SEC filings,    compared to $4.8 million in the first quarter of 2021, and
conference calls, and interviews. See id. ¶¶ 55–101.               an adjusted net loss of $0.02 per share, “below the market's
                                                                   estimated earnings of $0.01 per share.” Id. ¶ 102
In particular, Defendants stated that they believed that (1)
given the particular ingredients that Dutch Bros required,         In public statements that day, Defendants attributed these
Dutch Bros was not as susceptible to rising inflation rates and    losses to three factors:
supply chain issues as other companies, (2) a price increase
implemented just before the class period, and the option             “[Dutch Bros’] decision to be disciplined on the price
of future price increases, would help Dutch Bros weather             [they] took, which [they] believe[d] [wa]s less than half
the inflation it would face, and (3) inflation in gas, more          as much as many of [their] peers; faster inflation and cost
than dairy, prices, was the company's biggest concern, but           of goods, especially in dairy; the pull forward of deferred
consumers would not necessarily cease drive-through coffee           expenses related to the maintenance of shops; and normal
purchases as a result of rising gas prices. See id. The Court        new store inefficiency amplified by the volume of new and
below reviews the specific challenged statements to these            ramping units in quarter 1.”
effects.



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                                                                  forward a “more conservative” forecast of its earnings and
Id. ¶ 103. As to rising costs, Ricci stated on an earnings call   “same shop sales” in 2022. Id. ¶ 105.
that day:
                                                                  The next day, May 12, 2022, Dutch Bros’ share price fell by
                                                                  $9.26 or 26.9%. Id. ¶ 111. That share price was 59.7% below
            Unfortunately, in this past quarter,                  what it had been at the start of the class period on November
            a confluence of cost pressures                        10, 2021. Id.
            overwhelmed our decisions around
            price and resulted in near-term                       Throughout the second quarter of 2022, margin pressure
            margin compression. We anticipated                    continued. In its Q2 earnings call on August 10, 2022,
            higher expenditures. However, we                      Dutch Bros stated that, “[l]ike many of our peers, the macro-
            did not perceive the speed and                        economic environment is impacting various aspects of our
            magnitude of cost escalation within                   business, and our company-operated shop margins continue
            the quarter. Dairy, for example,                      to be pressured by record inflation in the second quarter.” Id.
            which makes up 28% of our                             ¶ 115. It reported a 3% price increase in the second quarter
            commodity based, rose almost 25%                      and stated that it was continuing to evaluate “further menu
            in Q1. While costs rose throughout                    pricing action as needed in the back half of the year.” Id. On
            the quarter, we experienced a                         that earnings call, however, Jemley stated that Dutch Bros was
            change in sales trajectory from mid-                  “starting to [overcome] the inflation that began to show in Q2
            March onward as macroeconomic                         of 2021.” Id. ¶ 116.
            headwinds accelerated and comps
            turned negative. We are monitoring
            these factors and have chosen to take
                                                                          4. The Individual Defendants’ Stock Sales
            a more conservative stance on our
            2022 outlook given macroeconomic                       *4 On approximately March 4, 2022—in the middle of
            uncertainty.                                          the class period—Ricci and Jemley's “Lock-Up Agreements”
                                                                  with Dutch Bros’ underwriters expired, freeing them to sell
                                                                  Dutch Bros’ shares they owned. See id. ¶ 6. Each executive
Id. ¶ 104. During the May 11, 2022 earnings call, Jemley          had entered into a Rule 10b5-1 trading plan three months
attributed the drop in sales to rising gasoline prices:           earlier: Ricci on December 7, 2021, and Jemley on December
                                                                  9, 2021. After the expiration of the lock-up periods, both
                                                                  defendants made sales pursuant to these plans. Ricci sold a
            [W]ithout claiming to be a                            total of 71,125 shares of Dutch Bros common stock, with
            macroeconomist, I will tell you that                  some sales on March 7, 2022, and the rest on May 9, 2022. Id.
            in mid-March when gas prices jumped                   ¶ 128. 2 Those sales represented about 3.3% of the 2,133,794
            the way they did, we saw an immediate                 fully vested shares of Dutch Bros common stock that Ricci
            flip on our daily sales. It was almost                had owned as of the expiration of the lock-up periods. Id. ¶
            to the day of the way that, that works.               129. Jemley sold 15,000 shares on March 4, 2022, and an
            So I think you could infer—and we                     additional 5,000 shares on April 5, 2022. Id. ¶ 132. Those
            believe that we've done some analysis                 sales represented about 2.1% of the 932,828 fully vested
            on the gas prices and influence related               shares of Dutch Bros common stock that Jemley had owned.
            to our daily sales, and we believe it has             Id. ¶ 133.
            influenced it. And we believe that if
            gas prices stay inflated, it will continue            2      The AC overstates, by a factor of two, Ricci's stock
            to influence it.
                                                                         sales. See AC ¶ 128. Rein's brief corrects this error.
                                                                         See Dkt. 35 at 20 n.13.

Id. ¶ 110. Based on these metrics and what it termed
“unanticipated” cost increases, Dutch Bros that day put


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                                                                  “Securities fraud claims are subject to heightened pleading
                                                                  requirements that the plaintiff must meet to survive a motion
    5. The Appointment of a New President and CEO
                                                                  to dismiss.” ATSI Commc'ns, Inc. v. Shaar Fund, Ltd., 493
In November 2022, Dutch Bros announced the appointment            F.3d 87, 99 (2d Cir. 2007); see also Tellabs, Inc. v. Makor
of a new president, Christine Barone; Ricci remained CEO.         Issues & Rights, Ltd., 551 U.S. 308, 321–23 (2007).
Id. ¶ 149. On August 8, 2023, Dutch Bros announced that
Barone would replace Ricci as CEO in January 2024. Id. ¶          First, a complaint alleging securities fraud must meet the
150.                                                              requirements of Federal Rule of Civil Procedure 9(b). See
                                                                  ECA & Local 134 IBEW Joint Pension Tr. of Chi. v. JP
                                                                  Morgan Chase Co., 553 F.3d 187, 196 (2d Cir. 2009)
   B. Procedural History                                          (“ECA”). Rule 9(b) states that “[i]n alleging fraud or mistake,
On March 1, 2023, plaintiff Jerry Peacock filed this action on    a party must state with particularity the circumstances
behalf of purchasers of Dutch Bros securities between March       constituting fraud or mistake.” Fed. R. Civ. P. 9(b).
1 and May 11, 2022. Dkt. 1. On May 1, 2023, Rein and two          “Allegations that are conclusory or unsupported by factual
others filed motions to serve as lead plaintiff and for their     assertions are insufficient.” ATSI Commc'ns, 493 F.3d at 99.
respective attorneys to serve as lead counsel. See Dkts. 12–21.
On August 3, 2023, the Court appointed Rein lead plaintiff         *5 Second, such a complaint must comply with the pleading
and his attorneys lead counsel. Dkt. 29. Thereafter, Rein filed   requirements of the Private Securities Litigation Reform Act
the now-operative AC, which moved the start of the class          (“PSLRA”), 15 U.S.C. § 78u–4(b). See ECA, 553 F.3d at
period earlier, to November 10, 2021. AC ¶ 2.                     196. In particular, where a plaintiff's claims depend upon
                                                                  allegations that the defendant has made an untrue statement
On September 28, 2023, Defendants filed their motion to           of material fact or that the defendant omitted a material fact
dismiss the AC, Dkt. 32, a memorandum of law in support           necessary to make a statement not misleading, the plaintiff
thereof, Dkt. 33 (“Def. Br.”), and a declaration and attached     “shall specify each statement alleged to have been misleading
exhibits, Dkt. 34 & Exs. 1–19. On October 26, 2023, Rein          [and] the reason or reasons why the statement is misleading.”
filed a brief in opposition. Dkt. 35 (“Pl. Br.”). On November     15 U.S.C. § 78u–4(b)(1). Thus, to plead a claim of securities
9, 2023, Defendants filed a reply. Dkt. 36 (“Def. Reply Br.”).    fraud, plaintiffs “must do more than say that the statements ...
                                                                  were false and misleading; they must demonstrate with
                                                                  specificity why and how that is so.” Rombach v. Chang, 355
II. Applicable Legal Standards
                                                                  F.3d 164, 174 (2d Cir. 2004). In addition, the plaintiff “shall,
   A. Standards for Resolving a Motion to Dismiss                 with respect to each act or omission ... state with particularity
To survive a motion to dismiss under Rule 12(b)(6), a             facts giving rise to a strong inference that the defendant acted
complaint must plead “enough facts to state a claim to relief     with the required state of mind.” 15 U.S.C. § 78u–4(b)(2).
that is plausible on its face.” Bell Atl. Corp. v. Twombly,
550 U.S. 544, 570 (2007). A claim will only have “facial
                                                                    B. Elements of Rein's Claims
plausibility when the plaintiff pleads factual content that
                                                                  Rein brings claims under §§ 10(b) and 20(a) of the Exchange
allows the court to draw the reasonable inference that the
                                                                  Act, and its implementing rule, Rule 10b-5. FAC ¶¶ 168–80.
defendant is liable for the misconduct alleged.” Ashcroft v.
Iqbal, 556 U.S. 662, 678 (2009). A complaint is properly
                                                                  Section 10(b) makes it unlawful to “use or employ, in
dismissed where, as a matter of law, “the allegations in
                                                                  connection with the purchase or sale of any security ...
a complaint, however true, could not raise a claim of
                                                                  any manipulative or deceptive device or contrivance
entitlement to relief.” Twombly, 550 U.S. at 558. Although
                                                                  in contravention of such rules and regulations as the
the court must accept as true all well-pled factual allegations
                                                                  Commission may prescribe.” 15 U.S.C. § 78j(b). Rule 10b-5
in the complaint and draw all reasonable inferences in the
                                                                  provides that it is unlawful “[t]o make any untrue statement
plaintiff's favor, Steginsky v. Xcelera Inc., 741 F.3d 365,
                                                                  of a material fact or to omit to state a material fact necessary
368 (2d Cir. 2014), that tenet “is inapplicable to legal
                                                                  in order to make the statements made, in light of the
conclusions,” Iqbal, 556 U.S. at 678.
                                                                  circumstances under which they were made, not misleading.”
                                                                  17 C.F.R. § 240.10b–5.



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To state a claim under § 10(b), a plaintiff must adequately        information made available.’ ” Matrixx Initiatives, 563 U.S.
plead “(1) a material misrepresentation or omission by             at 38 (quoting Basic, 485 U.S. at 231–32). As the Supreme
the defendant; (2) scienter; (3) a connection between the          Court has explained, a lower standard—such as defining a
misrepresentation or omission and the purchase or sale of a        “material fact” as any “fact which a reasonable shareholder
security; (4) reliance upon the misrepresentation or omission;     might consider important”—would lead corporations to “bury
(5) economic loss; and (6) loss causation.” Matrixx Initiatives,   the shareholders in an avalanche of trivial information[,] a
Inc. v. Siracusano, 563 U.S. 27, 37–38 (2011) (internal            result that is hardly conducive to informed decisionmaking.”
quotation marks and citation omitted).                             TSC Indus., Inc. v. Northway, Inc., 426 U.S. 438, 448–49
                                                                   (1976). The “materiality hurdle” is, therefore, “a meaningful
To state a claim under § 20(a), “a plaintiff must show (1) a       pleading obstacle.” In re ProShares Tr. Sec. Litig., 728 F.3d
primary violation by the controlled person, (2) control of the     96, 102 (2d Cir. 2013). However, because of the fact-intensive
primary violator by the defendant, and (3) that the defendant      nature of the materiality inquiry, the Court may not dismiss
was, in some meaningful sense, a culpable participant in           a complaint “on the ground that the alleged misstatements
the controlled person's fraud.” Carpenters Pension Tr. Fund        or omissions are not material unless they are so obviously
of St. Louis v. Barclays PLC, 750 F.3d 227, 236 (2d Cir.           unimportant to a reasonable investor that reasonable minds
2014) (quoting ATSI Commc'ns, 493 F.3d at 108) (quotation          could not differ on the question of their importance.” ECA,
marks omitted). If a plaintiff has not adequately alleged a        553 F.3d at 197 (quotation marks omitted).
primary violation, i.e., a viable claim under a provision of the
Exchange Act, then the § 20(a) claims must be dismissed. See       Still, some statements are “too general to cause a reasonable
id.                                                                investor to rely upon them” and thus inactionable under
                                                                   the securities laws as “puffery.” Id. at 206. For example.
                                                                   “[g]eneral expressions of corporate optimism are ‘too
                                                                   indefinite to be actionable under the securities laws.’ ” Boca
     1. False or Misleading Statements or Omissions
                                                                   Raton Firefighters and Police Pension Fund v. Bahas, 506 F.
To survive a motion to dismiss, the complaint must adequately      App'x 32, 38 (2d Cir. 2012) (quoting In re Int'l Bus. Machs.
plead “that the defendant made a statement that was                Corp. Sec. Litig., 163 F.3d 102, 108 (2d Cir. 1998)).
‘misleading as to a material fact.’ ” Matrixx Initiatives, 563
U.S. at 38 (emphasis omitted) (quoting Basic Inc. v. Levinson,
485 U.S. 224, 238 (1988)). Section 10(b) and Rule 10b-5                                    2. Item 303
“do not create an affirmative duty to disclose any and all
material information.” Id. at 44; see also Basic, 485 U.S. at      Also relevant here, Item 303 of SEC Regulation S-K (“Item
239 n.17. “Disclosure of ... information is not required ...       303”), 17 C.F.R. § 299.303, compels disclosure of “any
simply because it may be relevant or of interest to a reasonable   known trends or uncertainties that have had or that the
investor.” Resnik v. Swartz, 303 F.3d 147, 154 (2d Cir. 2002).     registrant reasonably expects will have a material favorable
An omission of information not affirmatively required to be        or unfavorable impact on net sales or revenues or income
disclosed is, instead, actionable only when disclosure of such     from continuing operations ... [as well as] events that
information is “necessary ‘to make ... statements made, in         are reasonably likely to cause a material change in the
light of the circumstances under which they were made, not         relationship between costs and revenues (such as known
misleading.’ ” Matrixx Initiatives, 563 U.S. at 44 (quoting        or reasonably likely future increases in costs of labor or
17 C.F.R. § 240.10b-5(b)); see also In re Vivendi, S.A. Sec.       materials or price increases or inventory adjustments)[,]” id.
Litig., 838 F.3d 223, 239–40 (2d Cir. 2016) (“pure omissions”      § 299.303(b)(2)(ii), as well as “any unusual or infrequent
of information, absent a duty to disclose, are not actionable;     events or transactions or any significant economic changes
however, “half-truths”—“statements that are misleading ... by      that materially affected the amount of reported income from
virtue of what they omit to disclose”—are).                        continuing operations[,]” id. § 299.303(b)(2)(i).

 *6 The materiality requirement, meanwhile, “is satisfied          Although Item 303 itself does not support an independent
when there is ‘a substantial likelihood that the disclosure of     cause of action, until recently, the law in this Circuit was
the omitted fact would have been viewed by the reasonable          such that “Item 303's affirmative duty to disclose in Form
investor as having significantly altered the total mix of          10–Qs [could] serve as the basis for a securities fraud claim



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under Section 10(b).” Stratte-McClure v. Morgan Stanley,           must identify particular (and material) facts going to the
776 F.3d 94, 101–02 (2d Cir. 2015). The Circuit had held that      basis for the issuer's opinion—facts about the inquiry the
failure to comply with an affirmative disclosure obligation,       issuer did or did not conduct or the knowledge it did or did
like Item 303, would cause a reasonable investor to assume         not have—whose omission makes the opinion statement at
the nonexistence of “known trends or uncertainties” of the         issue misleading to a reasonable person reading the statement
type Item 303 covers, rendering omissions along these lines        fairly and in context.” Id. (quoting Omnicare, 575 U.S. at
misleading. Id. However, on April 12, 2024, while this             194). As the Supreme Court has explained, “a reasonable
motion was pending, the Supreme Court held that “the failure       investor, upon hearing a statement of opinion from an issuer,
to disclose information required by Item 303 can support           ‘expects not just that the issuer believes the opinion (however
a [§ 10(b) or] Rule 10b–5(b) claim only if the omission            irrationally), but that it fairly aligns with the information in the
renders affirmative statements made misleading.” Macquarie         issuers possession at a time.’ ” Id. (quoting Omicare, 575 U.S.
Infrastructure Corp. v. Moab Partners, L. P., 144 S. Ct. 885,      at 188–89). “The core inquiry,” then, “is whether the omitted
892 (2024). It rejected the Circuit's prior reasoning as wrongly   facts would ‘conflict with what a reasonable investor would
shifting the focus of § 10(b) and Rule 10b-5(b) “from fraud        take from the statement itself.’ ” Id. (quoting Omnicare, 575
to disclosure.” Id. Thus, Item 303 can support a claim under       U.S. at 189).
these provisions only where there has been an otherwise-
misleading statement. See id. at 892 n.2.                          The Supreme Court has instructed that its ruling that
                                                                   material omissions of facts may render a statement of
                                                                   opinion actionable should not be given “an overly expansive
                                                                   reading,” and that establishing liability on such a theory
         3. Application to Statements of Opinion
                                                                   “is no small task for an investor” to meet. Id. at 210
Like objective statements of material fact, subjective             (quoting Omnicare, 575 U.S. at 194). “Reasonable investors
statements of opinion can be actionable as fraud. As the           understand that opinions sometimes rest on a weighing of
Supreme Court has clarified, and the Second Circuit has            competing facts, and ... [do] not expect that every fact known
recognized, such statements of opinion can give rise to            to an issuer supports its opinion statement.” Id. (quoting
liability in two distinct ways.                                    Omnicare, 575 U.S. at 189–90) (internal quotation marks
                                                                   omitted) (alterations and internal quotation marks omitted).
 *7 First, “liability for making a false statement of opinion      “[A] statement of opinion ‘is not necessarily misleading when
may lie if either ‘the speaker did not hold the belief she         an issuer knows, but fails to disclose, some fact cutting the
professed’ or ‘the supporting fact she supplied were untrue.’      other way.’ ” Id. (quoting Omnicare, 575 U.S. at 189).
” See Tongue v. Sanofi, 816 F.3d 199, 209–10 (2d Cir.
2016) (quoting Omnicare, Inc. v. Labs. Dist. Council Const.        Further, statements of opinion must be considered in the
Indus. Pension Fund, 575 U.S. 175, 186 (2015)). “It is             context in which they arise. Particularly in the context of
not sufficient for these purposes to allege that an opinion        formal documents filed with the SEC, “ ‘investors do not,
was unreasonable, irrational, excessively optimistic, [or] not     and are right not to, expect opinions contained in those
borne out by subsequent events.” In re Salomon Analyst Level       statements to reflect baseless, off-the-cuff judgments’; ‘[a]t
3 Litig., 350 F. Supp. 2d 477, 489 (S.D.N.Y. 2004). “The           the same time, an investor reads each statement within such
Second Circuit has firmly rejected this ‘fraud by hindsight’       a document ... in light of all its surrounding text, including
approach.” Podany v. Robertson Stephens, Inc., 318 F. Supp.        hedges, disclaimers, and apparently conflicting information.’
2d 146, 156 (S.D.N.Y. 2004) (citing Stevelman v. Alias             ” Id. (quoting Omnicare, 575 U.S. at 190). Moreover “ ‘the
Research, Inc., 174 F.3d 79, 85 (2d Cir. 1999)).                   investor takes into account the customs and practices of the
                                                                   relevant industry’ and ... ‘an omission that renders misleading
Second, “opinions, though sincerely held and otherwise             a statement of opinion when viewed in a vacuum may not do
true as a matter of fact, may nonetheless be actionable if         so once that statement is considered, as is appropriate, in a
the speaker omits information whose omission makes the             broader frame.’ ” Id. (quoting Omnicare, 575 U.S. at 190).
statement misleading to a reasonable investor.” Sanofi, 816
F.3d at 210 (citing Omnicare, 575 U.S. at 194–95). To
adequately allege that a statement of opinion was misleading                                  4. Scienter
through the omission of material information, “[t]he investor



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 *8 As noted, Rule 9(b) and the PSLRA require plaintiffs to
“state with particularity facts giving rise to a strong inference
                                                                                  5. The PSLRA Safe Harbor for
that the defendant acted with the required state of mind.”
                                                                                   Forward-Looking Statements
15 U.S.C. § 78u–4(b)(2). “For an inference of scienter to
be strong, ‘a reasonable person [must] deem [it] cogent and         The PSLRA amended the Exchange Act to provide a safe
at least as compelling as any opposing inference one could          harbor for forward-looking statements. See 15 U.S.C. §
draw from the facts alleged,’ ” and “the court must take into       78u–5(c). Forward-looking statements are defined as those
account plausible opposing inferences.” ATSI Commc'ns, 493          that contain, among other things, “a projection of revenues,
F.3d at 99 (quoting Tellabs, 551 U.S. at 324). The requisite        income, [or] earnings,” “plans and objectives of management
mental state is one “embracing intent to deceive, manipulate,       for future operations,” or “a statement of future economic
or defraud.” Tellabs, 551 U.S. at 319 (quotation marks and          performance,” Id. § 78u–5(i)(1). A forward-looking statement
citation omitted).                                                  is not actionable if it “is identified and accompanied by
                                                                    meaningful cautionary language or is immaterial or the
Plaintiffs “may satisfy this requirement by alleging facts (1)      plaintiff fails to prove that it was made with actual knowledge
showing that the defendants had both motive and opportunity         that it was false or misleading.” Slayton v. Am. Exp. Co., 604
to commit the fraud or (2) constituting strong circumstantial       F.3d 758, 766 (2d Cir. 2010). Because the statute is written in
evidence of conscious misbehavior or recklessness.” ATSI            the disjunctive, statements are protected by the safe harbor if
Commc'ns, 493 F.3d at 99. Where plaintiffs do not sufficiently      they satisfy any one of these three categories. Id. Materiality
allege that defendants had a motive to defraud the public, they     is defined above; the other two categories are defined as
“must produce a stronger inference of recklessness.” Kalnit v.      follows:
Eichler, 264 F.3d 131, 143 (2d Cir. 2001).
                                                                     *9 Meaningful cautionary language: To qualify as
Recklessness is “a state of mind approximating actual intent,       “meaningful,” cautionary language “must convey substantive
and not merely a heightened form of negligence.” S. Cherry          information about factors that realistically could cause results
St., LLC v. Hennessee Grp. LLC, 573 F.3d 98, 109 (2d Cir.           to differ materially from those projected in the forward-
2009) (citation and emphasis omitted). To qualify as reckless,      looking statements.” Id. at 771 (quoting H.R. Conf. Rep.
defendants’ conduct must have been “highly unreasonable”            104-369, at 43 (1995)). Language that is “vague” or
and “an extreme departure from the standards of ordinary            “boilerplate” does not suffice. Id. at 772. “To determine
care.” Novak v. Kasaks, 216 F.3d 300, 308 (2d Cir. 2000)            whether cautionary language is meaningful, courts must
(quoting Rolf v. Blyth, Eastman Dillon & Co., 570 F.2d 38, 47       first ‘identify the allegedly undisclosed risk’ and then ‘read
(2d Cir. 1978)) (quotation marks omitted).                          the allegedly fraudulent materials—including the cautionary
                                                                    language—to determine if a reasonable investor could have
A plaintiff can establish recklessness by adequately alleging       been misled into thinking that the risk that materialized and
that “defendants knew facts or had access to non-                   resulted in his loss did not actually exist.’ ” In re Delcath
public information contradicting their public statements”           Sys., Inc. Sec. Litig., 36 F. Supp. 3d 320, 333 (S.D.N.Y. 2014)
and therefore “knew or should have known they were                  (quoting Halperin v. eBanker USA.com, Inc., 295 F.3d 352,
misrepresenting material facts.” In re Scholastic Corp. Sec.        359 (2d Cir. 2002)). A plaintiff may establish that cautionary
Litig., 252 F.3d 63, 76 (2d Cir. 2001) (citing Novak, 216 F.3d      language is not meaningful “by showing, for example, that
at 308). In other words, defendants have acted recklessly if        the cautionary language did not expressly warn of or did not
they “understood that their public statements were inaccurate,      directly relate to the risk that brought about plaintiffs’ loss.”
or were ‘highly unreasonable’ in failing to appreciate that         Halperin, 295 F.3d at 359.
possibility.” In re Sanofi Sec. Litig., 87 F. Supp. 3d 510, 534
(S.D.N.Y. 2015) (quoting Novak, 216 F.3d at 308), aff'd sub         Actual knowledge: The scienter requirement for forward-
nom, Sanofi, 816 F.3d 199. “The key, of course, is the honest       looking statements—actual knowledge—is “stricter than
belief of the management in the truth of information issued         for statements of current fact. Whereas liability for the
to the public.” In re AstraZeneca Sec. Litig., 559 F. Supp. 3d      latter requires a showing of either knowing falsity or
453, 470 (S.D.N.Y. 2008), aff'd sub nom., State Univ. Ret. Sys.     recklessness, liability for the former attaches only upon
of Ill. V. Astrazeneca PLC, 334 F. App'x 404 (2d Cir. 2009).        proof of knowing falsity.” Slayton, 604 F.2d at 773 (quoting
                                                                    Inst. Invs. Grp. v. Avaya, Inc., 564 F.3d 242, 274 (3d Cir.



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2009)) (internal quotation marks omitted). And under the
heightened pleading standards, which apply to both scienter
                                                                                   1. Statements Made During
requirements, plaintiffs must “state with particularity facts
                                                                                 November 1, 2021 Earnings Call
giving rise to a strong inference that the defendant acted with
the required state of mind.” 15 U.S.C. § 78u–4(b)(2). “For an       On November 10, 2021, Dutch Bros issued a press release
inference of scienter to be strong, ‘a reasonable person [must]     detailing its performance in the third quarter of 2021, ending
deem [it] cogent and at least as compelling as any opposing         on September 30, 2021. That day, Dutch Bros held a
inference one could draw from the facts alleged.’ ” ATSI, 493       conference call with analysts and investors to discuss those
F.3d at 99 (quoting Tellabs, 551 U.S. at 324).                      results. The AC challenges the following four statements
                                                                    made on that earnings call:

III. Discussion                                                        *10 • Ricci said, addressing the number of shops Dutch
Defendants move to dismiss all claims on two broad grounds:             Bros opened in the third quarter of 2021: “A record
that (1) the challenged statements are not actionable, as each is       33 shops opened in this quarter, of which 30 were
either protected by the PSLRA safe harbor, a non-actionable             company-operated shops. The prior opening record was
statement of opinion, puffery, or an accurate statement of fact,        26 shops in the fourth quarter of 2020, We achieved
Def. Br. at 19–22; and (2) in any event, in the AC does not             this record despite the well documented industry supply
adequately plead scienter, Def. Br. at 22–25. 3                         chain challenges. The supply chain issues impacted
                                                                        everything from building materials to equipment to
3                                                                       product.” 11/10/21 Earnings Call Tr. 8; see also AC ¶ 56.
        Defendants also argue that the AC fails to
        plead fraud with the particularity Rule 9(b)                  • Jemley said, in response to a question about why shop
        requires. See Def. Br. at 10–11; Born v. Quad/                   margins had been lower in third quarter 2021 versus
        Graphics, Inc., 521 F. Supp. 3d 469, 477–                        the prior 12 months: “And you may have noted that we
        79 (S.D.N.Y. 2021) (complaint, which “rel[ied]                   did pulse prices in early November, We have not taken
        primarily on bolded text in half-page block                      any prices in our system of any significance since pre
        quotations to identify the allegedly misleading                  COVID. And so we've absorbed a little bit of general
        statements ... [and] ... include[d] a substantially              inflation, normal inflation, whether it's wage changes in
        similar paragraph containing some variation of                   markets that had legislated minimum wage, and they're
        the same five or so generalized, conclusory                      getting to their last tiers or other general wage inflation,
        statements,” failed Rule 9(b)). Finding the AC                   and we've been very thoughtful and careful about price
        deficient on other grounds, the Court does not                   escalation. And again, we've instituted a price increase
        reach this issue. Defendants also challenge the                  to defend our margins going forward. So you've got both
        AC's Section 20(a) claim as dependent on ill-pled                a seasonality aspect and then the lag of the current price
        primary violations of Section 10(b). Def. Br. at 25.             increase versus what's happened inflationally over the
        That argument, as explained below, has merit.                    last few quarters.” 11/10/21 Earnings Call Tr. 13; see
For the reasons that follow, defendants are correct on both              also AC ¶ 57.
points. The Court thus grants the motion to dismiss in its
entirety.                                                             • Jemley said, in response to a question about how to
                                                                        “think about the right [pricing] level in periods of
                                                                        outsized inflation”—whether to keep pricing higher to
  A. Allegedly Actionable Statements                                    hold margins or price more modestly to protect traffic:
The Amended Complaint identifies 26 distinct statements                 “Okay. So historically, over the years, 1% to 2% pricing.
—made in a range of fora—as allegedly materially false                  And as I mentioned, very low pricing since pre COVID.
or misleading. The Court addresses these chronologically,               The great thing, and Joth mentioned it in his script, that
sorting the communications at issue into eight groups.                  we have 12 ingredients. We have a—I don't want to
                                                                        simplify the supply chain and dismiss the great effort
                                                                        our teams make to get things to stores. But we don't
                                                                        have a complexity that others do, and therefore, we're
                                                                        not nearly as subject, at least to date, to the types of



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     inflationary pressures that others are having. We believe    Bros’ shop openings and its price increase in Q3 2021
     that that price increase we just took will defend our        were made misleading by the absence of a reference to
     margins again going into next year. And we want to           inflation. Even if “inflation was skyrocketing,” AC ¶ 60,
     just stay really focused on genuinely giving value to our    it would not make inaccurate the company's report as to
     customers, and we'll just monitor it, right? We don't have   the number of shops it had opened in that quarter. Nor can
     any hard and fast philosophy. It's an environment today      Dutch Bros’ acknowledgment that its lower shop margins
     where you've got to be able to pivot quickly, and that's     in 3Q 2021 were partially attributable to “what's happened
     the approach we'd like to take. I think we expect our        inflationally” be fairly cast as misleadingly positive for failing
     margins to generally hold up. They are industry-leading,     to identify the actual inflation rates. Cf. 11/10/21 Tr. 13. At
     and we're very grateful to have that, and we'll watch this   bottom, both statements recite apparently truthful statements
     over time.” 11/10/21 Earnings Call Tr. 14; see also AC       about past events. And “a violation of federal securities law
     157.                                                         cannot be premised upon a company's disclosure of accurate
                                                                  historical data.” Boca Raton Firefighters, 506 F. App'x at 38–
  • Jemley said, in response to a follow-up question on           39 (quoting In re Sofamor Danek Group, Inc., 123 F.3d 394,
    the previous answer asking what Dutch Bros’ “basket           401 n.3 (6th Cir. 1997)); see also Nadoff v. Duana Reader,
    of inflation was for commodity and labor in the third         Inc., 107 F. App'x 250, 252 (2d Cir. Aug. 17, 2004) (“Accurate
    quarter”: “The basket is low single digits. And inflation,    statements about past performance are self evidently not
    overall, it's very mild and tempered. And we don't say        actionable under the securities laws[.]”).
    that thinking we're immune to the struggles that could
    happen going forward. But we've been very fortunate.          As to the third statement, by Jemley, it is one of opinion:
    Dairy is not really up, that's a big component of our cost    Jemley's comment captures his expressed “belie[f] that that
    structure. We're forward out on coffee, very long. And        price increase [Dutch Bros had] just t[aken] [would] defend
    we have about a 3-bean blend that we can pivot around         [their] margins again going into next year.” 11/10/21 Tr. 14.
    and manage our costs. And so we feel—we don't see the         For this statement to be actionably false or misleading, the
    kind of pressure others are seeing.” 11/10/21 Earnings        AC would need to plead either that Jemley did not actually
    Call Tr. 14; see also AC ¶ 58.                                hold this opinion or that the facts in support he referenced
                                                                  were untrue. See Sanofi, 816 F.3d at 199. The AC relies
The AC pleads that the reason each statement is false or          on its contention that inflation and increased commodity
misleading is that Defendants failed to disclose, alongside       costs were already evident in November 2021. See AC ¶
it, that (1) they were “experiencing increased costs relating     60. But this argument does not say anything about whether
to commodities, including on dairy and petroleum,” (2) as         Jemley then genuinely believed that price increases could
a result, Dutch Bros was experiencing “increased margin           enable Dutch Bros to preserve its margins “going into [the]
pressure and decreased earning and profitability,” and (3)        next year.” 11/10/21 Tr. 14. And Jemley's post–class period
thus, “positive statements about [Dutch Bros’] business,          statement that inflation “began to show in Q2 of 2021”
operations, and prospects were materially misleading and/         does not connote a disingenuous belief that Dutch Bros
or lacked a reasonable basis.” AC ¶ 60. The AC notes that         could effectively preserve its margins through price increases.
in November 2021, at the time these statements were made,         See Sanofi, 816 F.3d at 211 (no liability where opinion
“inflation was skyrocketing,” and “dairy prices were already      statements did not conflict with information in possession at
rapidly rising (as opposed to being ‘not really up’), with        time statements were made). Further, the AC does not impugn
the USDA's 2021 all-milk price [ ] forecasted at $18.45 per       as false or misleading the facts Jemley cited in support of his
cwt [hundredweight] in October (up from $18.15 per cwt in         opinion: that Dutch Bros had relatively fewer inputs subject
September) and 2022 all-milk price [ ] forecasted at $19.20       to inflationary pressure or supply chain issues than others in
per cwt (up from $18.40 per cwt in September).” Id. It adds       the market, and that, “to date” in November 2021, these inputs
that, after the class period, Jemley “conceded that inflation     had not faced intense inflationary pressures. Id.; see also AC
actually ‘began to show in Q2 of 2021.’ ” Id.                     ¶ 60. That dairy and petroleum costs were rising is consistent
                                                                  with—if not the impetus for—Jemley's statement. See Gillis
 *11 These allegations, however, do not plead anything            v. QRX Pharma Ltd., 197 F. Supp. 3d 557, 589–90 (S.D.N.Y.
actionable under the PSLRA. As to the first two statements,       2016) (opinion statement not actionable under PSLRA where
the AC does not explain, let alone with particularity, how
Ricci and Jemley's apparently accurate reports about Dutch


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operative complaint did not allege any facts cited in stating
opinions were themselves false).
                                                                               2. Statements Made in November
                                                                                   12, 2021 Quarterly Report
Finally, as to the fourth statement, the AC does not adequately
plead that Jemley's statement about Dutch Bros’ “basket of         *12 Rein next challenges three statements from Dutch
inflation” was false or misleading. In selectively quoting         Bros’ third-quarter 2021 Form 10-Q, filed with the SEC on
the statement, the AC tellingly omits its factual crux: that       November 12, 2021. AC ¶¶ 61–64. These are:
Dutch Bros’ “basket of inflation” was in the low single
digits. Compare AC ¶ 58, with 11/10/21 Earnings Call Tr.             • Under the “Commodity Risks” subsection of the broader
14. The general, qualitative statements that followed—that              “Quantitative and Qualitative Disclosures about Market
inflation “overall” was “very mild and tempered,” and that              Risk” section, the form states: “Our profitability is
dairy prices specifically were “not really up”—must be                  dependent on, among other things, our ability to
read in conjunction with that quantitative disclosure. See 17           anticipate and react to changes in the costs of key
C.F.R. § 240.10b–5 (unlawful to “omit to state a material               operating resources, including beverage, energy and
fact necessary in order to make the statements made, in                 other commodities. We have been able to partially
light of the circumstances under which they were made, not              offset cost increases resulting from several factors,
misleading” (emphasis added)). No facts pled in the AC                  including market conditions, shortages or interruptions
contradict that factual statement. See generally AC ¶ 60. And           in supply due to weather or other conditions beyond
the AC does not plead that other species of data bearing                our control, governmental regulations and inflation,
on inflation—regarding the Consumer Price Index (“CPI”),                by increasing our menu prices, as well as making
or dairy products, or some other “basket” of goods—were                 other operational adjustments that increase productivity.
necessary to make Jemley's statement non-misleading. See                However, substantial increases in costs and expenses
Matrixx Initiatives, Inc., 563 U.S. at 44–45. On the facts pled,        could impact our operating results to the extent that such
that statement, made in response to an investor's question              increases cannot be offset by menu price increases.”
of “can you share maybe what your basket of inflation was               11/12/21 Form 10-Q at 46; see also AC ¶ 61.
for commodity and labor in the third quarter?” 11/10/21 Tr.
                                                                     • Under the “Impact of Inflation” subsection of the same
13, was not misleading. On the contrary, Jemley's answer
                                                                       section, the form states: “The primary inflation factions
gave reasonable investors additional context for his more
                                                                       affecting our operations are commodity and supplies,
subjective statements that inflation was “mild” and dairy
                                                                       energy costs, and materials used in the construction of
prices were “not really up.” See, e.g., In re Sanofi-Aventis
                                                                       company-operated shops. Our leases require us to pay
Sec. Litig., No. 07 Civ. 10279 (GBD), 2009 WL 3094957,
                                                                       taxes, maintenance, repairs, insurance, and utilities, all
at *5 (S.D.N.Y. Sept. 25, 2009), on reconsideration, 2010
                                                                       of which are generally subject to inflationary increases.
WL 2985912 (S.D.N.Y. July 27, 2010) (“[T]aken in context
                                                                       Finally, the cost of constructing our restaurants is subject
with the publicly available data, defendants’ conclusions
                                                                       to inflation, increasing the costs of labor and materials,
that the negative side effects were ‘relatively mild and self-
                                                                       and resulting in higher rent expense on new shops.
limiting’ and their other characterizations, amount to little
more than expressions of opinion which are not actionable              While we have been able to partially offset inflation
misstatements under Rule 10b–5.”); In re Xerox Corp. Sec.              and other changes in the costs of core operating
Litig., 935 F. Supp. 2d 448, 488 n.8 (D. Conn. 2013) (“[A]             resources by gradually increasing menu prices, coupled
company has no duty to disparage its own competitive                   with more efficient purchasing practices, productivity
position in the market where it has provided accurate hard             improvements and greater economies of scale, there can
data from which analysist and investors can draw their own             be no assurance that we will be able to continue to do so
conclusions about the company's condition[.]”). Accordingly,           in the future. From time to time, competitive conditions
the AC does not adequately plead that this statement was false         could limit our menu pricing flexibility. In addition,
or misleading.                                                         macroeconomic conditions could make additional menu
                                                                       price increases imprudent. There can be no assurance
                                                                       that future cost increases can be offset by increased
                                                                       menu prices or that increased menu prices will be fully
                                                                       absorbed by our guests without any resulting change



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      to their visit frequencies or purchasing patterns. In        courts must first ‘identify the allegedly undisclosed risk’ and
      addition, there can be no assurance that we will generate    then ‘read the allegedly fraudulent materials—including the
      same shop sales growth in an amount sufficient to offset     cautionary language—to determine if a reasonable investor
      inflationary or other cost pressures.” 11/12/21 Form 10-     could have been misled into thinking that the risk that
      Q at 46–47; see also AC ¶ 62.                                materialized and resulted in his loss did not actually exist.’
                                                                   ” In re Delcath Sys., Inc. Sec. Litig., 36 F. Supp. 3d 320,
    • Under the “Risk Factors” section, the form states: “We       333 (S.D.N.Y. 2014) (quoting Halperin v. eBanker USA.com,
      also purchase significant amounts of dairy products,         Inc., 295 F.3d 352, 359 (2d Cir. 2002)). Here, the allegedly
      particularly milk, to support the needs of our shops.        undisclosed risk is addressed squarely by the cautionary
      Additionally, and although less significant to our           language, as both address the potential impact on Dutch Bros’
      operations than coffee or dairy, other commodities,          future margins should petroleum and dairy costs continue to
      including but not limited to plant-based ‘milks,’ tea,       rise. In its Form 10-Q, Dutch Bros elaborated on its then-
      sugar, syrups, energy and packaging material, such as        strategy for handling inflation, but it repeatedly qualified
      plastics, corrugate, and canning materials, are important    that discussion with the caveat that increased petroleum,
      to our operations. Increases in the cost of dairy products   dairy, and other costs could defeat that strategy. Those
      and other commodities, such as petroleum which in turn       candid assessments are not actionable under the PSLRA.
      may increase the cost of our packing materials, or lack      See, e.g., In re NovaGold Res. Inc. Sec. Litig., 629 F.
      of availability, whether due to supply shortages, delays     Supp. 2d 272, 294 (S.D.N.Y. 2009) (meaningful cautionary
      or interruptions in processing, or otherwise, especially     language satisfied PSLRA safe-harbor requirement where it
      in international markets, could harm our business.”          warned that “[p]roject's economic viability [was] subject to
      11/12/21 Form 10-Q at 58; see also AC ¶ 63.                  risks regarding capital costs, the very risks which ultimately
                                                                   materialized.”); In re Turquoise Hill Res. Ltd. Sec. Litig, 625
 *13 The AC alleges that these statements were false or
                                                                   F. Supp. 3d 164, 216–217 (S.D.N.Y. 2022) (company-specific
misleading essentially for the same reasons as the statements
                                                                   warnings concerning significant uncertainty of “the timing
challenged in the November 10, 2021 Earnings Call. See AC
                                                                   and cost of the construction” of certain project sufficient
¶ 64.
                                                                   to invoke safe harbor in case alleging fraud based on the
                                                                   same); Olkey v. Hyperion 1999 Term Tr., 98 F.3d 2, 5 (2d
For substantially the same reasons as above, the AC falls far
                                                                   Cir. 1996) (defendant not liable where it gave “prominent and
short of pleading with the required particularity that these
                                                                   specific” cautions regarding “exactly the risk the plaintiffs
statements were false or misleading. On the contrary, based
                                                                   claim was not disclosed”). To the extent Reins claim is that
on the pleadings, each presented a measured assessment
                                                                   Dutch Bros’ failure to refer to specific inflationary rates
of the state of play as of the end of the third quarter of
                                                                   precludes the PSLRA safe-harbor defense, that is wrong.
2021: Dutch Bros had thus far coped with increased costs by
                                                                   The absence of that level of precision could not have misled
increasing prices, but this strategy was not assured of success
                                                                   a reasonable investor to think that the risk presented by
going forward, with rising dairy, coffee, and petroleum
                                                                   increased commodity costs did not exist. See In re Delcath
prices presenting a particular risk to “harm [Dutch Bros’]
                                                                   Sys., 36 F. Supp. 3d at 333.
business.” 11/12/21 Form 10-Q at 58. The AC characterizes
these excerpts as misleadingly “positive statements about the
                                                                    *14 Rein's attempt to salvage these claims by alleging
Company's business, operations, and prospects,” AC ¶ 64,
                                                                   Item 303 violations is unavailing, for multiple reasons.
but the qualified and caveated quality of nearly every full
                                                                   At the threshold, because the above statements are not
sentence in the Form 10-Q belies that characterization. 4          false or misleading, the Supreme Court's recent decision
                                                                   in Macquarie Infrastructure Corporation v. Moab Partners,
4                                                                  L.P., 144 S. Ct. 885 (2024), appears to bar such a claim,
         Tellingly in this respect, the AC omits to quote the
         bulk of Dutch Bros’ disclosures in its “Impact of         insofar as it precludes claims based solely on an alleged Item
         Inflation” subsection. See AC ¶ 62.                       303 violation. Id. at 889 (Item 303 cannot support a private
                                                                   action under Rule 10b-5(b) “even if the failure does not render
Moreover, these challenged statements fall comfortably
                                                                   any ‘statements made’ misleading). Moreover, the AC's Item
within the PSLRA safe-harbor, as they are both forward-
                                                                   303 arguments fail on their own terms. It alleges that Dutch
looking and replete with meaningful cautionary language.
                                                                   Bros’ inclusion of more specific disclosures in SEC filings
“To determine whether cautionary language is meaningful,


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after its financial troubles in the first quarter of 2022 shows             our team's done a great job of managing some of the
that the above earlier disclosures did not “sufficiently convey             challenges that they've had they've gotten creative[.]
the then-present risk that rising dairy and commodities prices              And we haven't had the issues I you know we look at
were significantly outstripping Dutch Bros’ pricing and/or                  supply chain and inflation, I think the one area we're
margins” during 2021. AC ¶¶ 99, 101. But that argument rests                probably most concerned about is freight[.] And we
on a logical fallacy. Dutch Bros’ first quarter 2022 SEC filings            seem to be doing pretty well on the cost of goods side
report a “jump” in dairy and gas prices in 2022 that outpaced               and working with our suppliers on that end but afraid,
the company's pricing model, with adverse consequences                      as we grow across the country I think we're realizing[.]
including margin pressure. Id. ¶¶ 98, 100. These filings thus               You know how much that impact is going to have you
revealed that the very risk that the company had identified in              know, on us and learning about what the long term
its third quarter 2021 report had transpired: that “substantial             might look like.” 1/11/2022 ICR Conference Tr. 7; see
increases in costs and expenses could impact our operating                  also AC ¶ 67.
results to the extent that such increases cannot be offset by
menu price increases.” Id. ¶ 61. If anything, Dutch Bros’ 2022       The AC asserts that these statements were materially false or
filings reflect the foresightedness of its 2021 filings.             misleading on essentially the same grounds as it challenges
                                                                     the November 2021 statements. The AC adds that:
The AC thus does not adequately plead that any statement in
the November 12, 2021 Quarterly Report are actionable.
                                                                                 [A]t the time each statement was
                                                                                 made, the macroeconomic conditions
                                                                                 plaguing the U.S. economy and, in
            3. January 10, 2022 Form 8-K &
                                                                                 turn, Dutch Bros’ business, were (as
         January 11, 2022 Conference Interview
                                                                                 opposed to “get[ting] a little bit
The AC alleges that the following statements in Dutch Bros’                      better”) getting far worse, as the
Form 8-K, filed with the SEC on January 11, 2022, and in                         FOMC and Federal Reserve Chair
an interview of Ricci the same day at an industry conference                     Powell had now explicitly recognized
commenting on the material in the Form 8-K, were materially                      inflation was not “transitory,” Powell
                                                                                 stated his expectation that elevated
false or misleading: 5
                                                                                 inflation would persist through “the
     • A press release submitted with the Form 8-K quoting                       middle of” 2022, and the CPI was up
       Ricci as “stating that Dutch Bros’ ‘2020 and 2021                         6.8% year-over-year in November. At
       shop classes are performing at or above our volume                        the time each statement was made,
       expectations and within our margin expectations,’ and                     dairy prices were also rapidly rising,
       that the Company expected ‘fourth quarter revenue                         with the USDA's 2021 all-milk price
       to exceed the upper end of the previously provided                        was forecasted at $18.60 per cwt in
       guidance, with mature shop level margins in line with                     December (up from $18.50 per cwt
                                                                                 in November) and 2022 all-milk price
       expectations.’ ” AC ¶ 65. 6
                                                                                 was forecasted at $20.75 per cwt (up
     • Ricci, when asked by an interviewer at the conference                     from $20.25 per cwt in November).
        to talk about “any supply chain challenges that you're                   Indeed, CW1 recalled that in or around
        facing” said: “You know we've certainly see things get                   December/late 2021, CW1's team was
        a little bit better as the ports have freed up on the west               tasked with finding solutions to the
        coast and [ ] You know doesn't mean we are having                        issues of rising dairy costs and tighter
        challenges, but we know nothing that's gotten in the                     dairy supply.
        way of our ability to serve the customer, you may get
        a cup that doesn't have any printing on it, because the
        ink isn't available or the lid on our cups used to be        *15 Id. ¶ 68.
        blue now they're white because you can't get them[.]
        You know color differently, but you know, fortunately,



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5                                                                 are not in tension with the challenged statements. See id.
       The AC, in ¶ 66, mistakenly refers to a statement
       which the parties now agree was made a year                Nowhere in the challenged comments from early 2022 did
                                                                  Dutch Bros suggest that dairy was not a concern on which it
       later, in January 2023, outside the class period. See
                                                                  was deploying resources. On the contrary, in the interview,
       Def. Br. at 17 n.8; Pl. Reply at 7 n.3 (“Plaintiff
                                                                  Ricci stated that “our team's done a great job of managing
       incorrectly attributed the language in ¶ 66 to
                                                                  some of the challenges that they've had they've gotten
       the 2021 ICR Conference when it was, in fact,
                                                                  creative” and that “we seem to be doing pretty well on the cost
       from a 2023 Conference. Plaintiff retracts that
       statement.”). The Court disregards this allegation.        of goods side and working with our suppliers on that end.” Id.
                                                                  ¶ 67. These comments fairly conveyed that the company was
6                                                                 addressing the cost of goods and that he believed the team
       The Court is unable to find the above-quoted
       language in the Form 8-K in the form produced              working on finding solutions to rising dairy costs had thus far
       by counsel on this motion. Regardless, because the         done a good job.
       AC alleges and defendants do not dispute that the
       statement was included in this filing, the Court            *16 The AC thus fails to adequately plead that these
       considers it.                                              comments were false or misleading.
There is, however, a mismatch between the fact that the AC
faults Dutch Bros for omitting (national inflationary trends)
and the statements it challenges (the press release and Ricci's                 4. March 1, 2022 Earnings Call
comments on Dutch Bros’ metrics and performance during
a discrete timeframe). “[R]evealing one fact about a subject      The AC next challenges two sets of statements made during
does not trigger a duty to reveal all facts on the subject,       a March 1, 2022 conference call with analysts and investors
so long as ‘what was revealed would not be so incomplete          to discuss the content of the Form 8-K that Dutch Bros filed
as to mislead.’ ” Richman v. Goldman Sachs Group, Inc.,           with the SEC that same day, which reported the company's
868 F. Supp. 2d 261, 274 (S.D.N.Y. 2012) (quoting In re           performance during the fourth quarter (and thus the entirety)
Bristol Myers, 586 F. Supp. 2d 148, 160 (S.D.N.Y. 2008)).         of 2021. AC ¶ 69. The first set consists of these:
Here, the company discussed shop margins for the fourth
                                                                    • During the call, Ricci said: “While we are not immune
quarter of 2021 in a press release (margins which the AC does
                                                                      to margin pressures but are managing it appropriately,
not contend were errantly reported or below the company's
                                                                      we continue to look for operational improvements and
targets, cf. AC ¶¶ 102–09) and referenced inflation in passing
                                                                      further opportunities in our market-based pricing model.
during an interview response with respect to how supply
                                                                      In addition, we will use segmentation, personalization
chain issues had affected the company. Addressing those
                                                                      and innovation to excite our customers about our
distinct points did not oblige Dutch Bros to comment on
                                                                      unique premium and, at times, higher-margin beverage
“macroeconomic conditions plaguing the U.S. economy.”
                                                                      offerings. In November, we successfully took a modest
AC ¶ 68; see also Jiajia Luo v. Sogou, Inc., 465 F. Supp.
                                                                      price increase of 2.9%. It was our first since prior to
3d 393, 409 (S.D.N.Y. 2020) (where statement did not
                                                                      the pandemic and was well received by our customers,
touch on certain compliance measures, not misleading to
                                                                      operators and franchisees.” 3/1/2022 Earnings Call at 6;
omit facts regarding those measures); In re Ferroglobe
                                                                      see also AC ¶ 70.
PLC Secs. Litig., 19 Civ. 629 (RA), 2020 WL 6585715,
at *7 (S.D.N.Y. Nov. 10, 2020) (“Ferroglobe's statements            • Jemley stated: “[A]s we moved through the pandemic,
about macro-trends within its industry did not require an              we were very careful not to escalate our menu prices.
accompanying disclosure about the ancillary issues of pricing          In November, we took a modest price increase, which
issues from that quarter. Nor did the mere mention of the              was our first measurable price increase in over a year for
concept of demand trigger a duty to disclose the Company's             our company shops. That price advance landed well for
current financial health.”).                                           us. It was appropriate relative to our desired positioning
                                                                       in the market .... Let's quickly look at the movement
The AC's references to statements by a confidential witness            in beverage, food and packaging costs and labor costs,
(CW1) do not alter this analysis. See AC ¶ 68. CW1's                   given those are the 2 most significant costs, and the
allegations—that the CW1's team was tasked with finding                industry in general has been challenged by these 2 areas
solutions to rising dairy costs and tighter dairy supply—              over much of 2021. Beverage, food and packaging costs


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     increased from 22.4% to 25.3% or 290 basis points. 120              fall before holiday, in the spring before summer. And so
     basis points of that increase is related to the change in           we're very mindful of that. I think we've been fortunate
     discounts. That leaves 170 basis points of real changes.”           to not have a lot of inflation drag, both in ‘21 and frankly,
     3/1/2022 Earnings Call at 8–9; see also AC ¶ 71.                    moving into early ‘22. And so we haven't felt compelled.
                                                                         We don't price to a margin. First of all, we want to price to
  • Jemley stated with respect to the fourth quarter of 2021:            what consumers are willing to pay. And so we're just—
     “Beverage, food and packaging costs increased from                  honestly, we're flexible and we're watching that closely,
     22.9% to 26.8% or 390 basis points. 190 basis points of             but we do, with the mindset of our relative position in
     this increase is related to the change in discounts. That           the market and the customer, not to seek to a margin
     leaves 200 basis points of real change or 30 basis points           level. But we are feeling good as we enter ‘22 with the
     more than the full year trends noted above. Two things to           trajectory of our margins, given everything going on.”
     point out: first, we incurred a bit more ingredient costs,          3/1/2022 Earnings Call at 15; see also AC ¶ 73.
     driven by inflation; and second, accelerating new shop
     development means we will have some cost efficiencies             • Jemley said, when asked “what guidance might be for
     as we open up new shops and establish logistics in new               the first quarter or the full year ’22 on that restaurant
     markets .... We made the conscious decision to accelerate            operating margin line” given inflationary pressures:
     growth in the fourth quarter and into 2022. And while we             “Yes. So we're fortunate that the 2 big costs, cost of
     always try to balance the profit growth equation in the              goods and labor, we don't have any real significant
     near term, we are also keen to focus on long-term high-              upward momentum in the labor line. So we're starting
     quality revenue that will yield lasting profit and growth.”          halfway better than everybody else, to begin with. And
     3/1/2022 Earnings Call at 9–10; see also AC ¶ 71.                    then secondly, we have a pretty simple pantry of goods.
                                                                          What we're really dealing with right now is freight and
The AC claims that these statements gave a falsely positive               logistics costs going up. But we're able to do, as we've
impression of the company's financial situation without                   shown in Q4 and the walk I gave you in COGS, we're
taking into inflationary pressure that it alleges was, by March           really able to handle that pretty effectively, and we'll get
1, 2022, “decimat[ing] the Company's projected earnings and               a full quarter of the price impact from November in our
margins.” AC ¶ 76.                                                        Q1. In terms of guiding a specific margin for Q1, I'd
                                                                          prefer not to do that, It is a—Q4 is the lowest seasonality,
These statements, each made during introductory remarks to                Q1 is the next lowest seasonality. And then we kind
a call summarizing fourth quarter and full-year performance,              of get into Q2. But I just think from a—other than
are not actionable. Each reported recent performance and                  the discount rollover from a year-over-year perspective,
associated data. The AC does not allege that any of the                   we're just not feeling compression in margins. And
data cited by Ricci and Jemley, or their limited commentary               the biggest thing for us is our labor costs are stable.”
on it, was inaccurate. The AC instead emphasizes that later               3/1/2022 Earnings Call at 16; see also AC ¶ 74.
statements by Dutch Bros situated its troubles combatting
inflation as starting during the first quarter of 2022. See id. But    • Jemley said, in response to a questioner “looking to better
that does not put in question the accuracy of the historical data         contextualize the guidance [Dutch Bros had provided]
set out by Jemley or Ricci with respect to Q4 or year-end 2021            for 1Q [2022]”: “Yes. It was softer in January. It was
performance. Accurate statements of historical data are not a             better in February, less outages. We're sitting ahead of
basis for Rule 10b-5 liability. See Boca Raton Firefighters,              the mid-singles right now. We're—like everybody, don't
506 Fed. App'x at 38–39.                                                  know where the world is going to go over the next 30
                                                                          days with all that's going on. And so we're just being
*17 The AC also challenges these statements from the                      a little tepid about how we look at things. It doesn't
March 1, 2022 Earnings Call:                                              really move the needle much. The biggest revenue driver
                                                                          is annualization of new stores and new stores getting
  • Jemley, when asked by a researcher if he anticipated                  added. So it gets a lot of talk track and it is important
     additional price increases beyond the relatively modest              to the underlying health of the business, but it's really
     one Dutch Bros had already implemented, stated: “So                  not that financially meaningful right now as fast as we're
     we look typically in a normal time frame. We're going to             growing the top line. That's why we don't -- we try not
     look at our pricing windows every 6 months, right, in the



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     to overthink it.” 3/1/2022 Earnings Call at 17; see also      See, e.g., AC ¶¶ 91 (mid-March 2022), 104 (quoting Ricci
     AC ¶ 75.                                                      as referencing mid-March as point when sales took a turn),
                                                                   110 (same). The opinion statements of guarded optimism on
The AC alleges that these statements were materially false         the March 1 call cannot be impeached as false or misleading
or misleading because Dutch Bros did not disclose the effect       based on events that had not yet occurred or information that
of increased dairy and petroleum costs: “[D]espite reassuring      was not yet known to the speaker. See Vivendi, S.A., 838
the market two-thirds of the way through 1Q22 that the             F.3d at 262 (“Fraud depends on the state of events when
1Q22 results would be positive, and, in particular, that the       a statement is made, not on what happens later.”) (quoting
Company's margins were healthy and not being compressed,”          Schleicher v. Wendt, 618 F.3d 679, 684 (7th Cir. 2010)).
the company later “reveal[ed], on May 11, 2022, that rising
inflation and commodities prices had, in truth, decimated the      The AC thus fails to plead actionable statements during this
Company's projected earnings and margins in 1Q22.” AC ¶            earnings call.
76.

 *18 This claim fails for multiple reasons. First, the AC
simplistically describes the above language as “reassuring                  5. March 9, 2022 Conference Interview
the market two-thirds of the way through 1Q22 that the
                                                                   The AC next contends that the following statements made at a
1Q22 results would be positive.” Id. Reading the statements
                                                                   March 9, 2022, Bank of America–sponsored conference were
on the call in full and in context, they were more nuanced
                                                                   materially false or misleading:
and qualified. Jemley noted that Dutch Bros had “been
fortunate to not have a lot of inflation drag, both in               • Asked whether he was worried about higher gas prices,
’21 and frankly, moving into early ’22,” but that positive             among other things, Jemley responded: “I think we are
assessment was supported by the company's performance                  concerned about the environment around us as citizens.
data and not contradicted by any data cited in the AC.                 But for Dutch Bros, we're not greatly concerned about
And the speakers’ guardedly optimistic statements about the            elevated energy prices and people's ability to still come
company's anticipated performance and margins were by and              and enjoy Dutch. We feel like that would be one of
large conditional. 3/1/2022 Earnings Call at 15–17. Jemley             the latter places that people would decide not to spend
stated that Dutch Bros was “feeling good as we enter ‘22 with          money on. Elevated energy affects our freight cost, but
the trajectory of our margins, given everything going on[,]” id.       its—but we don't see it affecting our sales demand in the
at 15 (emphasis added), adding that “from a year-over-year             near term.” AC ¶ 77.
perspective, we're just not feeling compression in margins,”
id. at 16 (emphasis added). But, he added that Dutch Bros            • Asked about Dutch Bros’ “moderate” pricing relative to
was remaining “flexible” as the company could not “know                 peer companies given rising costs, Jemley responded:
where the world is going to go over the next 30 days with all           “[B]ecause we have a beverage-only menu, we have the
that's going on,” id. at 16–17, and that the executives could           power of good margins going in. We are not using margin
evaluate the impact and efficacy of the company's pricing               on food, for example. So that set some context to why
strategy to deal with cost of goods increases only after they           we sort of feel like we can give people a great value
received “a full quarter” of data “regarding the price impact           at a reasonable price .... Secondly, from a margin shape
from November [2021] in our Q1[,]” id. at 16. Contrary to               perspective, and Joth will talk about our cadence of how
the AC's characterization, these statements were not blanket            we actually think about price increases, but everybody's
assurances of a positive future.                                        mind is around 2 things moving: one is commodity
                                                                        costs, and in our business that's cost of goods and labor.
Second, the AC is wrong to treat negative developments                  And really because we began this journey in a really
in 1Q22—in which Dutch Bros experienced accelerating                    good place with our culture and the take home pay that
“macroeconomic headwinds” that overtook its new-shop                    our people have and everything we do for our people
and price-oriented strategy for combatting inflation—as                 and about our people, we have not had wage escalation
undermining what was said on the March 1 earnings call. The             pressure .... So you take that—half of that pressure off
AC does not clearly situate these developments (and Dutch               the table from a margin perspective. And you really just
Bros’ recognition of them) as having occurred as of March 1.            dial the margin pressure into freight and logistics costs,
Rather, it appears to situate this development in mid-March.            in the cost of goods, which allowed us, we don't price


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     to margin, we price to consumers’ willingness to pay,         (statements of “optimism” about margins and expectations of
     but those things work together to really be able to take      good performance were puffery).
     a moderate reasonable price increase back in November
     to kind of put us in a good spot going into this year.” Id.   In challenging the March 9 statements, the AC notes a later
     ¶ 78.                                                         statement by Ricci, on May 11, 2022, that:

   *19 • Responding to the same question, Ricci stated:
    “[W]e're going to evaluate it every 6 months. We'll look
                                                                               [I]n mid-March when gas prices
    at it in the spring as we head into the late spring and
                                                                               jumped the way they did, we saw an
    summertime, and then we'll look at it again in the fall as
                                                                               immediate flip on our daily sales. It
    we head into the holiday season and really into winter.
                                                                               was almost to the day of the way
    And we'll evaluate our costs, we'll evaluate our dynamic
                                                                               that, that works. So I think you could
    pricing differences between our sizes. We'll look at what
                                                                               infer—and we believe that we've done
    we think our promotional menu will drive for us. And
                                                                               some analysis on the gas prices and
    we'll kind of look at it holistically versus just looking
                                                                               influence related to our daily sales, and
    at it as menu items that and a price increases. So we're
                                                                               we believe it has influenced it. And we
    going to take a lot of factors into consideration as we
                                                                               believe that if gas prices stay inflated,
    think about price. And yes, we're watching it every day.
                                                                               it will continue to influence it.
    We're talking about it a lot, but we're also going to be
    considerate to the consumer.” Id. ¶ 79.

                                                                   AC ¶ 80. The AC implies that this statement reveals that,
These statements are akin to those highlighted from the March
                                                                   as of March 9, 2022, gas prices had already jumped, and
1 Earnings Call, as is the AC's theory as to why they were
                                                                   Dutch Bros’ sales “flip” had already occurred, such that Ricci
materially false or misleading. In essence, Jemley and Ricci
                                                                   and Jemley's statements at the Bank of America Conference
again stated, as they had eight days earlier, that (1) Dutch
                                                                   were false or misleading. See id. But the AC does not
Bros was not immune to rising costs; (2) various factors,
                                                                   adequately plead facts supporting that thesis. Although March
with those cited here including a lack of wage pressure,
                                                                   9 surely approaches “mid-March,” the AC does not anywhere
fewer ingredient inputs, and a general optimism surrounding
                                                                   allege that by March 9, the company had experienced the
consumer behavior, made them guardedly optimistic that
                                                                   “jump” in gas prices or the downward “flip” in its daily
the company could weather rising costs without substantial
                                                                   sales, See id. Nor does it plead that by March 9 Jemley
price increases; and (3) Dutch Bros was monitoring the
                                                                   or Ricci had access to, or that Dutch Bros had generated,
situation. These statements are not actionable for the reasons
                                                                   data akin to that on which Ricci relied two months later in
given above. The one statement in this instance that is
                                                                   May 2022. Absent concrete allegations that facts then known
arguably new is Jemley's that the company “felt” consumers
                                                                   contradicted the statements defendants made on March 9,
would still want to “enjoy Dutch,” and be loath to cut out
                                                                   the AC fails to plead that these statements were actionable.
drive-through coffee, notwithstanding rising gas prices. That
opinion statement is not actionable; the AC does not impeach       See, e.g., Rombach, 355 F.3d at 174–75 (upholding dismissal
it as contrary to the speaker's actual views or contrary to        under Rule 9(b) and PSLRA based on failure to plead specific
                                                                   evidence contradicting challenged statements concerning
undisclosed known facts. It is also inactionable puffery. See,
                                                                   company's financial health); ATSI Comm'cns, Inc., 493 F.3d
e.g., Robeco Capital Growth Funds SICAV – Robeco Glob.
                                                                   at 106 (dismissing for failure to plead falsity element where
Consumer Trends v. Peloton Interactive, Inc., 665 F. Supp.
                                                                   complaint did not plead temporal facts sufficient to support
3d 522, 540 (S.D.N.Y. 2023) (general, optimistic statements
                                                                   this claim).
from defendant such as “[we] feel like [at home fitness] is a
trend that's here to stay” were “textbook” cases of corporate
puffery); Schaffer v. Horizon Pharma PLC, No. 16 Civ. 1763
(JMF), 2018 WL 481883 (S.D.N.Y. Jan. 18, 2018) (statements                             6. 2021 Form 10-K
that a defendant-company was “on track” and had a “unique
commercial business model” were inactionable puffery);              *20 On March 11, 2022, defendants filed Dutch Bros’ 2021
San Leandro Emergency Med. Grp. Profit Sharing Plan v.             Form 10-K with the SEC. The AC challenges the following
Philip Morris Cos., Inc., 75 F.3d 801, 811 (2d Cir. 1996)          statements in that filing.


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                                                                               practices, productivity improvements
  • Under the “Commodity Risks” subsection of the                              and greater economies of scale,
    “Quantitative and Qualitative Disclosures about Market                     there can be no assurance that
    Risk”, the form stated: “Our profitability is dependent                    we will be able to continue to
    on, among other things, our ability to anticipate and                      do so in the future. From time to
    react to changes in the costs of key operating resources,                  time, competitive conditions could
    including beverage, energy, and other commodities. We                      limit our menu pricing flexibility. In
    have been able to partially offset cost increases resulting                addition, macroeconomic conditions
    from several factors, including market conditions,                         could make additional menu price
    shortages or interruptions in supply due to weather                        increases imprudent. There can be no
    or other conditions beyond our control, governmental                       assurance that future cost increases can
    regulations and inflation by increasing our menu prices                    be offset by increased menu prices
    as well as making other operational adjustments that                       or that increased menu prices will be
    increase productivity. However, substantial increases in                   fully absorbed by our guests without
    costs and expenses could impact our operating results to                   any resulting change to their visit
    the extent that such increases cannot be offset by menu                    frequencies or purchasing patterns. In
    price increases.” 3/11/2022 Form 10-K at 75; see also                      addition, there can be no assurance
    AC ¶ 82.                                                                   that we will generate same shop
                                                                               sales growth in an amount sufficient
  • Under the “Impact of Inflation” subsection of the
                                                                               to offset inflationary or other cost
    “Quantitative and Qualitative Disclosures about Market
                                                                               pressures.
    Risk” section, the form stated: “The primary inflation
    factors affecting our operations are commodity and
    supplies, energy costs, and materials used in the
    construction of company-operated shops .... While              *21 3/11/2022 Form 10-K at 76 (emphasis added). The
    we have been able to partially offset inflation               portions that the AC cuts out overtly caution that the strategies
    and other changes in the costs of core operating              Dutch Bros had thus far deployed to “partially offset inflation
    resources by gradually increasing menu prices, coupled        and other changes in the costs of core operating resources”
    with more efficient purchasing practices, productivity        might fail in the future. Id. The AC does not address, let
    improvements and greater economies of scale ....”             alone explain, why these blunt risk disclosures, addressed at
    3/11/2022 Form 10-K at 76; see also AC ¶ 83.                  the very risk that it contends was concealed, are compatible
                                                                  with its claim of fraud. See, e.g., In re AppHarvest Sec.
The AC does not plead facts plausibly suggesting that these       Litigation, 2023 WL 4866233, at *41 (statements functioning
qualified statements were false or misleading, let alone          as risk disclosures not false or misleading where they “warned
materially so. The AC attempts this showing by seizing on         investors of the types of risks inherent to businesses similar
excerpts of the Form 10-K. It notes, for example, the start of    to [the defendant's]”).
a sentence that begins, “[w]hile [Dutch Bros] ha[d] been able
to partially offset inflation and other changes in the costs of   The 2021 Form 10-K thus is not fairly pled as actionable.
core operating resources” by increasing prices in addition to
other tweaks around the edges. AC ¶ 83 (quoting 3/11/2022
Form 10-K at 76) (emphasis added). But it omits the critical                   7. April 6, 2022 Podcast Interview
qualifiers that follow, such that the passage reads in full:
                                                                  The AC next challenges statements made by Ricci during a
                                                                  podcast interview published on April 6, 2022:
            While we have been able to
                                                                    • Ricci stated, when asked about Dutch Bros’ competitive
            partially offset inflation and other
                                                                       advantage over peer companies: “Our business is pretty
            changes in the costs of core
                                                                       simple, right? I mean, we keep a very simple ingredient
            operating resources by gradually
                                                                       base. We don't have ovens and kitchens and we're a
            increasing menu prices, coupled
                                                                       drive-thru business. We have very few walk-in locations
            with more efficient purchasing


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    of the 575 locations we have today. We're really focused            know we run a pretty efficient business with a lot of
    on doing what we do and doing it very, very well.                   throughput.” Id. ¶ 88.
    We don't complicate it. A lot of people have talked
    about supply chain problems. In those issues that you're        *22 The AC alleges that these statements were materially
    serving food and you have all of these 150 ingredients         false or misleading because they did not divulge relevant
    that maybe a classic QSR chain would have, we have             negative macroeconomic trends, and because by the time this
    basically 12 and then some extensions of that. So we're        interview was published, Q1 2022 had concluded—a quarter
    a simple model, we have a very simple menu. We have a          in which Dutch Bros later reported feeling the adverse effects
    core base of espresso and energy drinks and things like        of inflation on its profit margins. See id. ¶ 89.
    that.” AC ¶ 85.
                                                                   Ricci's first two statements are plainly not actionable. In the
  • Ricci stated, when asked about how the IPO affected            first, he broadly described the company's business model. The
    Dutch Bros: “Having done a few other public companies,         AC does not dispute any fact referenced therein, nor explain
    I think that the structure and the discipline that being a     why any was made misleading for failure to also address the
    public company creates, I think that makes you a better        subject of inflation. In the second, Ricci addressed how the
    company. The infrastructure that you're, you know,             IPO affected Dutch Bros, a subject even further afield from
    really required to hire, the reporting that you're required    the impact of present-day inflation. Cf. Richman, 868 F. Supp.
    to do, I think makes you better in everything else that you    2d at 274.
    do. It forces you to look further out, it forces you to plan
    ahead, it forces you to be committed to a gameplan and         The third and fourth statements do comment on conditions
    be able to resource that. We're growing into that. We've       later in time, with the third stating that the company hadn't
    put a lot of good people in place and we've added some         “seen the inflation or supply chain challenges that we've heard
    great resources to the company over the last couple of         about with other companies” and that relatively speaking, “we
    years to prepare for this, but I think we're still growing     sit in a pretty good spot.” The AC claims that these statements
    into that. I think our G&A still has some work to do.”         were misleading because, at some point towards the end of
    Id. ¶ 86.                                                      Q1 2022, Dutch Bros experienced a sharp increase in input
                                                                   costs as well as a drop in sales, putting pressure on its profit
  • Ricci stated, when asked to discuss how “supply chain          margins. See AC ¶¶ 102–111.
    stuff, labor cost, commodity costs” “affects you, or
    maybe not as much as your peers or in others in the            The passing reference to inflation in the third statement,
    industry”: “On the supply chain. You know, like I said         however, is eclipsed by the more involved discussion
    earlier, we work with a pretty small ingredient base           elsewhere in the podcast interview of Dutch Bros’ experience
    and so we're working very closely with a very small            (or lack thereof) with supply-chain issues. And the AC does
    amount of suppliers that are doing that. Now, we've had        not allege that that discussion was misleading. See Sanofi,
    the occasional trip up on a part for an ice machine or         816 F.3d at 210 (statement or omission must be “misleading
    something that we could get and we've had to respond           to a reasonable person reading the statement fairly and in
    accordingly and be able to pivot, which our team again         context”). Read in context, that the discussion of supply chain
    has done a great job of doing. We just certainly haven't       issues contained a brief reference to inflation does not make
    seen the inflation or supply chain challenges that we've       the statement misleading for not having taken on the subject
    heard about with other companies, and it goes back to          of commodities costs.
    simple, right? I mean, the more simple the business, the
    more effective, and fortunately we have the numbers to         Further, to the extent the AC means to allege that these
    back it up, and we sit in a pretty good spot.” Id. ¶ 87.       statements were misleading based on what was known to the
                                                                   company as of the moment in time the podcast aired, the AC
  • Ricci stated, when asked about Dutch Bros’ financial
                                                                   lacks the specific time references necessary to support this
    situation: “Margin-wise, we've been told that our margin
                                                                   claim. It does not allege when Ricci made the statements in
    numbers and our EBITDA numbers are industry-
                                                                   the recorded podcast, as opposed to its air date of April 6, see
    leading, and maybe we'll let other people fill in the
                                                                   AC ¶ 85. It does not allege that the podcast, the statements in
    blanks related to that. But I think because our supply
                                                                   which were largely big picture and historical, was made close
    chain and our logistics and everything is so simple, you
                                                                   in time to the air date. Nor does it that, whatever the date of


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Ricci's statements, Dutch Bros by then had experienced the             of Dutch Bros’ business model without disclosing the
adverse consequences that emerged late in Q1 (or tabulated             difficulties presented by inflation and other macroeconomic
its Q1 results). See Lopez v. Ctpartners Exec. Search Inc.,            trends, as surfaced late in Q1 2022. Id. ¶ 91.
173 F. Supp. 3d 12, 40 (S.D.N.Y. 2016) (statements materially
false and misleading only where alleged contradiction was              For much the same reasons as above, the AC does not plead
apparent at time of statement). To the extent that Ricci's             facts making this statement actionable, The AC does not
statements addressed the state of play before the “flip” in            plead when Ricci made the statements at issue, as opposed
margins, these statements are compatible with the company's            to the date the podcast became available, nor how that
results. See Boca Raton Firefighters, 506 F. App'x at 38–39.           date compared to the date when Ricci became aware of the
And to the extent that the AC faults Ricci's statements as             extent to which inflation had cut into Q1 profit margins.
falsely positive about future performance, they are forward            More important, the statement the AC challenges is forward-
looking, and not contradicted by well pled facts as to the             looking. Ricci projects how a “recent rise in coffee bean
speaker's knowledge at the time. See, e.g., Lopez, 173 F.              and gas prices” would affect Dutch Bros’ business in the
Supp. 3d at 39–41 (projections as to corporate earnings were           future. See id. ¶ 90. The AC does not plead that Ricci's
forward-looking and preliminary even though made after the             generally put projection—that the company's future business
relevant quarter had closed); In re Lottery.com, Inc. Sec.             would take “a bit of a hit” because “gas prices are high”
Litig., No. 22 Civ. 07111 (JLR), 2024 WL 454298, at *19                causing “road trip[ ]” to “go down a little bit,” but would not
(S.D.N.Y. Feb. 6, 2024) (same).                                        experience “much of a change”—was disbelieved by Ricci at
                                                                       the time it was made. See id. ¶¶ 90–91. This forward-looking
                                                                       statement is thus a non-actionable of opinion and a statement
                                                                       protected under the PSLRA safe-harbor. See Slayton, 604
                  8. April 7, 2022 Interview
                                                                       F.3d at 777 (forward-looking statements protected by PSLRA
 *23 Finally, the AC challenges a statement made by Ricci              safe-harbor where facts pled made it at least equally likely
contained in a podcast interview aired on the “Inside the              defendants did not know statements false at time made).
Ice House” podcast feed on April 7, 2022. In response to a
question as to whether Ricci saw “headwinds for your drive                                          ***
through [ ] from the recent rise in both coffee bean and gas
prices,” Ricci replied:                                                For the above reasons, the AC does not adequately plead
                                                                       that any statement it challenges was materially false or
  A third of our business is done in espresso-based drinks.            misleading. That defeats all claims, both as to primary liability
  Coffee, technically, makes up a pretty small percentage of           under Section 10(b) and Rule 10b-5, and secondary liability
  our overall cost of goods. We're not concerned about it. I           under Section 20(a). Bristol-Myers, 2023 WL 2308151, at *9.
  think when you live in the coffee world, you're used to the          For completeness, however, the Court assesses defendants’
  C price going way up and way down and you just kind                  challenge to the AC's scienter allegations.
  have to live in that commodity space, I think, related to fuel
  prices, most of our stands are, they are within a kind of a
  person's daily life, right? It's on the way to school or on             B. Scienter
  the way to work or something that you're not going to stop           To adequately plead scienter, the AC must include sufficient
  doing anyway. I think that from the kind of the bubble that          allegation to raise a “strong inference that the defendant acted
  people live in, most of our stands to kind of work within            with the required state of mind.” 15 U.S.C. § 78u–4(b)(2). The
  that bubble. We'll see a little bit of hit related to kind of road   AC's relevant allegations are as follows. It alleges that Ricci
  trips. On the west coast, we have a stand that I hear about          and Jemley had a monetary motive to artificially inflate Dutch
  all the time in Davis, California. That's, if you're driving         Bros’ share price, based on the quantity and timing of their
  from the Bay Area to Tahoe, everyone says, “Well, I stop             sales of stocks during the class period. See AC ¶¶ 136–139. It
  at that Dutch on my way to Tahoe,” Well, the road trip may           further alleges that a strong inference of scienter is shown by
  go down a little bit here as gas prices are high but I think for     the individual defendants’ high-level positions within Dutch
  daily living, I wouldn't expect us to see much of a change.          Bros, by statements they made during and after the class
                                                                       period, by allegations from CW1, and by Ricci's January 2024
AC ¶ 90. The AC contends that this statement was materially            departure. Id. ¶¶ 140–50. As to Dutch Bros, the AC pursues
false or misleading because it projected a positive picture            a theory of respondeat superior, based on the scienter of


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the individual defendants. Id. ¶¶ 151–52. These allegations,
however, do not support—more than the opposite inference—
that the defendants acted intentionally or recklessly. See ATSI
Commc'ns, 493 F.3d at 99.

 *24 The Court's analysis begins with the stock sales, which
the AC terms unusual. It alleges that Jemley and Ricci,
capitalizing on Dutch Bros’ artificially high share price, each
sold shares on two days between the end of their lock-up
agreements on March 4, 2022 and Dutch Bros’ “corrective
disclosures” on May 11, 2022, as follows.




                                                                  See Wu Decl., Exs. 14, 16. Significantly, Forms 4 supplied
                                                                  by defendants reveal that all of Jemley and Ricci's intra-class
                                                                  period sales were made pursuant to non-discretionary Rule
                                                                  10b-5-1 plans. See id., Exs. 13 (Ricci), 15 (Jemley).
                                                                  These trades do not raise a strong inference of scienter.
                                                                  “Factors considered in determining whether insider trading
                                                                  activity is unusual include the amount of profit from the sales,
                                                                  the portion of stockholdings sold, [and] the change in volume
                                                                  of insider sales[.]” City of Omaha Police & Fire Ret. Sys.
                                                                  v. Evoqua Water Techs. Corp., 450 F. Supp. 3d 379, 419
                                                                  (S.D.N.Y. 2020). It is undisputed that, during the class period,
                                                                  Ricci and Jemley sold 6.7% and 2.1% of their respective
                                                                  total holdings. See Def. Br. at 25 & n.11; PL Br. at 20 n.13;
                                                                  Def. Reply Br. at 9. These relatively modest figures are well
                                                                  below the proportion of a defendant's holdings which has
                                                                  been held sufficient to give rise to an inference of fraudulent
                                                                  intent. See, e.g., City of Coral Springs Police Officers’ Ret.
                                                                  Plan v. Farfetch Ltd, 565 F. Supp. 3d 478, 487–88 (S.D.N.Y.
                                                                  2021) (no inference of scienter where defendants sold off
                                                                  4% and 20%, respectively, of their holdings); Chapman v.
                                                                  Mueller Water Prod., Inc., 466 F. Supp. 3d 382, 411 (S.D.N.Y.


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2020) (same where defendant sold 65% of shares); Reilly v.         the individual defendants’ part to conceal the challenges that
U.S. Physical Therapy, Inc., No. 17 Civ. 2347 (NRB), 2018          inflation presented for Dutch Bros.
WL 3559089, at *15 (S.D.N.Y. July 23, 2018) (same where
defendant sold 44% of shares).                                      *25 Absent viable pleadings as to motive, the AC bears
                                                                   a “correspondingly greater burden in alleging conscious
Rein fairly notes that Ricci was limited at all relevant times,    misbehavior or recklessness.” In re Aratana, 315 F. Supp.
under SEC Rule 144, to selling a maximum of 210,526 shares         3d at 765 (quoting ECA, 553 F.3d at 198–99) (internal
in any three-month period, such that he sold about 67% of          quotation marks omitted). It does not carry that burden. The
the shares he could have sold. See PL Br. 21–22; cf. In re         AC's remaining argument as to scienter is that inflation and
Aratana Therapeutics Inc. Sec. Litig., 315 F. Supp. 3d 737,        other macroeconomic headwinds must have been damaging
763 (S.D.N.Y. 2018) (“[T]he decisive question in assessing         Dutch Bros’ business long before defendants admitted as
whether an insider's sales are indicative of scienter is how       much, and that defendants, by virtue of their executive
many shares the insider sold during the class period relative      positions, must have known this, making their more positive
to the total number of shares that he or she could have sold.”).   assessments during the class period “conscious misbehavior
But on the facts here, that point does not assist Rein, because    or recklessness.” See AC ¶¶ 140–50. But the AC lacks specific
Ricci forewent selling about 100,000 shares that he legally        allegations to this effect. It does not specify the contrary
could have sold, suggesting that, to a significant extent, he      information defendants ostensibly had at the time of the
“forwent [ ] the opportunity to turn a profit before disclosure    challenged statements.
of concealed bad news.” Id. And the AC does not allege
that Jemley was similarly limited, dimming any suspicious          That is fatal here. To adequately allege scienter
inference from his modest trading.                                 circumstantially, a complaint must “specifically identify the
                                                                   reports or statements containing this information,” In re
The AC therefore chiefly alleges that defendants’ trades were      Aratana, 315 F. Supp. 3d at 765. For example, “[w]ith respect
suspicious not based on their sized but based on their timing.     to sales data and reports, pleadings are sufficiently specific
Some of each individual defendant's stock sales, it notes,         where the plaintiffs have alleged who prepared the reports,
occurred later in the class period, in Jemley's case five weeks    how frequently they were prepared, and who reviewed them,”
(April 5, 2022) before the May 11, 2022, disclosure of its         Koplyay, 2013 WL 6233908, at *7. But the AC does not allege
lackluster first quarter 2022 performance, and in Ricci's case     that any contrary such reports or statements with respect
two days (May 9, 2022) before that date. But an inference          to Dutch Bros’ performance existed, let alone when they
of scienter derived from the timing of trades does not follow      were prepared and who was privy to them. The gist of its
here. As the Form 4s for Jemley and Ricci demonstrate, these       theory is instead the repeated ipse dixit that defendants must
trades were each made pursuant to non-discretionary Rule           have known that inflation was or would harm Dutch Bros’
105b-1 agreements, entered into long before the company's          performance more was being acknowledged. See, e.g., AC
struggles coping with inflation crystallized. See Wu Decl.,        ¶¶ 124, 125, 136–39, 144–48. But under the case law, a
Exs. 13, 15; see also AC ¶ 128 (Ricci entered into agreement       complaint's naked declaration to that effect does not suffice.
on December 7, 2021, and Jemley on December 9, 2021).              See, e.g., Rombach, 355 F.3d at 176 (affirming dismissal of
As the Second Circuit has held, “sales conducted pursuant          PSLRA claims for failure to plead scienter, as complaint could
to a 10b5-1 trading plan [cannot] be timed suspiciously[.]”        not plausibly allege scienter using a “pleading technique [that]
Ark. Pub. Emps. Ret. Sys. v. Bristol-Myers Squibb Co., 28          couple[s] a factual statement with a conclusory allegation
F.4th 343, 355–56 (2d Cir. 2022) (emphasis added). To be           of fraudulent intent.”) (quoting Shields v. Citytrust Bancorp,
sure, “the mere existence of a trading plan will not defeat        Inc., 25 F.3d 1124, 1129 (2d Cir. 1994)); In re Marsh
an otherwise strong inference of scienter where, as here,          & Mclennan Cos., Inc. Sec. Litig., 501 F. Supp. 2d 452,
the plans were entered into during the class period[,]” In re      484 (S.D.N.Y. 2006) (finding scienter allegations insufficient
Aratana, 315 F. Supp. 3d at 764. But the AC does not contain       where facts not pled to suggest defendants had knowledge
independent allegations supporting such an inference, but          of or access to specific information contradicting public
instead relies heavily on the timing of the stock sales. And the   statements); In re Skechers USA, Inc. Sec. Litig., 444 F.
AC does not allege that the 10b5-1 agreements were suspect.        Supp. 3d 498, 528 (S.D.N.Y. 2020) (“Scienter cannot be
The AC thus does not plausibly plead a financial motive on         inferred solely from the fact that, due to [a defendant's]
                                                                   board membership or executive managerial position, [he] had



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                                                                             with prejudice where plaintiff was “given adequate
access to the company's internal documentation as well as any
                                                                             notice and opportunity to amend the deficiencies
adverse information.”).
                                                                             in its complaint and failed to do so”); Trautenberg
The AC accordingly fails to adequately plead scienter. Such                  v. Paul, Weiss, Rifkind, Wharton & Garrison LLP,
is an independent basis supporting its dismissal.                            351 F. App'x 472, 474 (2d Cir. 2009) (summary
                                                                             order) (affirming dismissal with prejudice where
                                                                             plaintiff “did not move for leave to replead in
                                                                             opposition to [defendant's] motion to dismiss his
                      CONCLUSION                                             original complaint with prejudice”); Horoshko v.
                                                                             Citibank, N.A., 373 F.3d 248, 250 (2d Cir. 2004)
For the foregoing reasons, the Court grants defendants’
                                                                             (per curiam) (argument that district court abused
motion to dismiss in its entirety and dismisses this case with
                                                                             discretion “in not permitting an amendment that
prejudice. 7                                                                 was never requested” was “frivolous”). Closure in
                                                                             this litigation is particularly warranted, given that
7                                                                            related shareholder litigation has been stayed in
       Rein seeks leave to amend in the event of
       dismissal, PL Br. at 25, but he does not say why                      deference to this case. See Hudson v. Ricci, No 23
       “justice [would] so require” this. On the contrary,                   Civ. 5010 (PAE), Dkt. 12 (joint stipulation staying
       Rein has already amended once—the complaint                           shareholder derivative case).
       challenged here is an amended complaint—and                   *26 SO ORDERED.
       at the time Rein was given the opportunity to
       so file, the Court admonished him that “no
       further opportunities to amend will ordinarily be             All Citations
       granted.” See Dkt. 29 at 17; see, e.g., Document
       Techs., Inc. v. LDiscovery, LLC, 731 F. App'x                 Slip Copy, 2024 WL 3105004, Fed. Sec. L. Rep. P 101,884
       31, 34–35 (2d Cir. 2018) (affirming dismissal

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                                                                   premises. As explained in detail below, the Motions [#53,
                    2019 WL 1382823                                #55] are GRANTED. 2
         United States District Court, D. Colorado.
                                                                   1      [#53] is an example of the convention the Court
        Lawrence Henry SMALLEN and Laura Anne
                                                                          uses to identify the docket number assigned to
        Smallen Revocable Living Trust, individually
                                                                          a specific paper by the Court's case management
      and on behalf of all others similarly situated, and                 and electronic case filing system (CM/ECF). This
      UA Local 13 Pension Fund, individually and on                       convention is used throughout this Order.
       behalf of all others similarly situated, Plaintiffs,
                                                                   2
                               v.                                         This case has been referred to the undersigned for
           The WESTERN UNION COMPANY,                                     all purposes pursuant to D.C.COLO.LCivR 40.1(c)
                                                                          and 28 U.S.C. § 636(c), on consent of the parties.
         Hikmet Ersek, Scott T. Scheirman, Rajesh
                                                                          See [#25, #26].
         K. Agrawal, and Barry Koch, Defendants.

      Civil Action No. 17-cv-00474-KLM Consolidated
          with, Civil Action No. 17-cv-00648-KLM                                   I. Summary of the Case 3
                              |
                                                                   3
                      Signed 03/27/2019                                   At this stage of the litigation, the Court accepts
                                                                          the well-pled factual allegations of the Amended
Attorneys and Law Firms                                                   Complaint [#40], as distinguished from conclusory
                                                                          allegations, as true. Adams v. Kinder- Morgan,
Marc Ian Gross, Joseph Alexander Hood, II, Michael
                                                                          Inc., 340 F.3d 1083, 1088 (10th Cir. 2003). The
Grunfeld, Jeremy Alan Lieberman, Pomerantz LLP-New
                                                                          court does not “take as true the complaint's legal
York, New York, NY, for Plaintiffs.
                                                                          conclusions.” Dronsejko v. Thornton, 623 F.3d 658,
Chuan Cheng, Wheeler Trigg O'Donnell LLP, Holly Stein                     666 (10th Cir. 2011).
Sollod, Claire Elizabeth Wells Hanson, Holland & Hart LLP,         Western Union is a “money transfer service” which “provides
Denver, CO, David Franklin Graham, Hille von Rosenvinge            money movement and payment services worldwide.” Am.
Sheppard, Sidley Austin LLP, Chicago, IL, for Defendants.          Compl. [#40] ¶ 33. During the alleged Class Period (from
                                                                   February 24, 2012, to May 2, 2017), Defendant Hikmet
                                                                   Ersek (“Ersek”) was the Chief Executive Officer (“CEO”)
                           ORDER                                   of the Company. Id. ¶¶ 1, 26. Defendant Scott T. Scheirman
                                                                   (“Scheirman”) was the Company's Chief Financial Officer
KRISTEN L. MIX, United States District Judge                       (“CFO”) and an Executive Vice President from sometime
                                                                   prior to the Class Period until December 31, 2013, and a
 *1 This matter is before the Court on the Motion to
                                                                   Senior Advisor until February 28, 2014. Id. ¶ 27. Defendant
Dismiss the Consolidated Amended Complaint Pursuant
                                                                   Rajesh K. Agrawal (“Agrawal”) was President of Western
to Federal Rules of Civil Procedure 12(b)(6) and 9(b)
                                                                   Union Business Solutions from sometime prior to the Class
and the PSLRA [#53], 1 filed by Defendants Hikmet Ersek            Period through December 2013, was Interim CFO from
(“Ersek”), Scott T. Scheirman (“Scheirman”), Rajesh K.             January 2014 to July 2014, and CFO from July 2014 to after
Agrawal (“Agrawal”), and The Western Union Company                 the end of the Class Period. Id. ¶ 28. He also served as an
(“Western Union” or the “Company”), and on the Motion to           Executive Vice President during the entire Class Period. Id.
Dismiss the Consolidated Amended Complaint Pursuant                Defendant Barry Koch (“Koch”) was the Chief Compliance
to Federal Rules of Civil Procedure 12(b)(6) and 9(b) and          Officer from May 2013 until about November 2015. Id. ¶ 29.
the PSLRA [#55], filed by Defendant Barry Koch (“Koch”).
Plaintiffs filed a combined Response [#63] in opposition to        Plaintiffs are investors who acquired Western Union
the Motions [#53, #55], and Defendants filed separate Replies      securities during the Class Period allegedly “at artificially
[#70, #71]. The Court has reviewed the briefs, the entire case     inflated prices” during the Class Period and who were
file, and the applicable law, and is sufficiently advised in the   “damaged upon the revelation of the alleged corrective



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disclosures.” Id. ¶ 24. In short, Plaintiffs assert that, during     Plaintiffs state that as a result of Defendants’ conduct,
the Class Period, Defendants deliberately misled investors           they “suffered damages in connection with their respective
regarding Western Union's regulatory compliance regarding            purchases, acquisitions and sales of the Company's
anti-money laundering (“AML”) and anti-fraud practices. Id.          securities during the Class Period, upon the disclosure
¶¶ 15-19.                                                            that the Company had been disseminating misrepresented
                                                                     information concerning Western Union's compliance efforts
 *2 On January 19, 2017, Western Union “reached a                    to the investing public.” Id. ¶ 574. Plaintiffs therefore assert
settlement with several federal regulators [including the            two claims: (1) violation of § 10(b) of the Securities Exchange
Federal Trade Commission (“FTC”) ] in which it agreed                Act of 1934 and Rule 10b-5 thereunder against all Defendants
to pay” $586 million. Id. ¶ 2. As part of this settlement,           (“Claim One”), and (2) violation of § 20(a) of the Securities
which covered a period from 2004 through December 2012,              Exchange Act against the four individual Defendants, i.e.,
Western Union admitted to criminal violations including              Defendants Ersek, Scheirman, Agrawal, and Koch (“Claim
willfully failing to maintain an effective AML program               Two”). Id. ¶¶ 564-580.
and aiding and abetting wire fraud, 4 which resulted in a
Deferred Prosecution Agreement (“DPA”) between Western
Union and the Department of Justice (“DOJ”). Id. ¶¶                                     II. Standard of Review
130-31, 139. In part, Western Union admitted to failing “to
implement proper controls and discipline agents.” Id. As             A. Fed. R. Civ. P. 12(b)(6)
stated by the DOJ, “[r]ather than ensuring their high volume         The purpose of a motion to dismiss pursuant to Rule 12(b)
agents were operating above-board, Western Union rewarded            (6) is to test “the sufficiency of the allegations within the
them without regard to the blatant lack of compliance and            four corners of the complaint after taking those allegations
illegal practices taking place.” Id. As part of the settlement       as true.” Mobley v. McCormick, 40 F.3d 337, 340 (10th Cir.
agreement, Western Union agreed to implement a number of             1994); Fed R. Civ. P. 12(b)(6) (stating that a complaint may be
compliance steps, including “ensuring that the Company a)            dismissed for “failure to state a claim upon which relief can
conducts adequate due diligence on its agents; b) adequately         be granted.”). To withstand a motion to dismiss pursuant to
monitors agent activity for anti-fraud and AML violations;           Rule 12(b)(6), “a complaint must contain enough allegations
c) takes prompt disciplinary action against agents that pose         of fact ‘to state a claim to relief that is plausible on its
an unacceptable risk of money laundering and fraudulent              face.’ ” Robbins v. Oklahoma, 519 F.3d 1242, 1247 (10th
practices; d) reports suspicious or illegal activity by its agents   Cir. 2008) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.
as required by the AML laws; and e) establishes executive            544, 570 (2007) ); see also Shero v. City ofGrove, Okla., 510
review and bonus structures that account for compliance with         F.3d 1196, 1200 (10th Cir. 2007) (“The complaint must plead
U.S. law.” Id. ¶ 16.                                                 sufficient facts, taken as true, to provide ‘plausible grounds’
                                                                     that discovery will reveal evidence to support the plaintiff's
4                                                                    allegations.” (quoting Twombly, 550 U.S. at 570) ). “A claim
        Despite Defendants having only admitted wrong-
                                                                     has facial plausibility when the plaintiff pleads factual content
        doing through December 2012, Plaintiffs make
                                                                     that allows the court to draw the reasonable inference that the
        much of the fact that the FTC reviewed evidence
                                                                     defendant is liable for the misconduct alleged.” Ashcroft v.
        through October 2015 in making its findings of
                                                                     Iqbal, 556 U.S. 662, 678 (2009). “A pleading that offers labels
        fact, even though they admit that the FTC generally
                                                                     and conclusions or a formulaic recitation of the elements
        did not distinguish between pre- and post- 2012
                                                                     of a cause of action will not do. Nor does a complaint
        conduct. See, e.g., Response [#63] at 11-12.
                                                                     suffice if it tenders naked assertions devoid of further factual
On January 31, 2017, Western Union also settled charges              enhancement.” Id. (internal quotation marks omitted). “The
brought by the attorney generals of forty-nine states and the        court's function on a Rule 12(b)(6) motion is not to weigh
District of Columbia for an additional $5 million “to resolve        potential evidence that the parties might present at trial, but
their investigations into how fraudsters used Western Union's        to assess whether the plaintiff's complaint alone is legally
money transfer services to defraud customers.” Id. ¶ 526.            sufficient to state a claim for which relief may be granted.”
Between January 18, 2017, and February 1, 2017, the price of         Suttonv. Utah State Sch. for the Deaf & Blind, 173 F.3d 1226,
Western Union stock shares declined by 10.57%. Id. ¶ 527.            1236 (10th Cir. 1999) (citation omitted).




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                                                                         10b-5 thereunder must first “specify each statement alleged
B. Private Securities Litigation Reform Act of 1995                      to have been misleading, the reason or reasons why the
(“PSLRA”)                                                                statement is misleading, and, if an allegation regarding the
 *3 Because the PSLRA governs this case, the Court notes                 statement or omission is made on information and belief,...
and applies guidance from the Tenth Circuit Court of Appeals             [must] state with particularity all facts on which that belief
regarding interpretation of the Act's “stringent” pleading               is formed.” 15 U.S.C. § 78u-4(b)(1).
requirements. Pirraglia v. Novell, Inc., 339 F.3d 1182, 1186
(10th Cir. 2003).                                                      Pirraglia, 339 F.3d at 1186 (citation omitted). “To satisfy this
                                                                       statutory burden, a plaintiff must explain why the statement
Under the PSLRA, “Section 10(b) and Rule 10b-5 create                  was misleading, and allege with particularity his basis for
an implied private cause of action arising from fraud in               believing that the statement was false.” Hampton, 897 F.3d at
the purchase or sale of securities.” Hampton v. root9B                 1298 (internal quotation marks omitted).
Techs., Inc., 897 F.3d 1291, 1298 (10th Cir. 2018). Section
10(b) makes it unlawful for any person to “use or                        Second, in order to show that the defendant acted with
employ, in connection with the purchase or sale of any                   the requisite state of mind for securities fraud cases, i.e.,
security...any manipulative or deceptive device or contrivance           scienter, the complaint must also, “with respect to each act
in contravention of such rules and regulations as the                    or omission alleged to violate the [the 1934 Act], state with
Commission may prescribe as necessary or appropriate                     particularity facts giving rise to a strong inference that the
in the public interest or for the protection of investors.”              defendant acted with the required state of mind.” § 78u-4(b)
15 U.S.C. § 78j(b). Rule 10b-5 prohibits “any untrue                     (2).
statement of a material fact or [omission of] a material fact
                                                                       *4 Pirraglia, 339 F.3d at 1186 (citation omitted).
necessary in order to make the statements made, in the
light of the circumstances under which they were made, not
                                                                       When a complaint refers to an investigation of counsel as
misleading[,]...in connection with the purchase or sale of any
                                                                       the basis for a plaintiff's allegations, as is the case here, see
security.” 17 C.F.R. § 240.10b-5.
                                                                       Am. Compl. [#40] at 5, the Court “treats [the allegations
                                                                       of the complaint] as having been made on information and
To state a claim under § 10(b) and Rule 10b-5, a plaintiff must
                                                                       belief.” Adams v. Kinder-Morgan, Inc., 340 F.3d 1083, 1098
plausibly allege that “a defendant made statements that (1)
                                                                       (10th Cir. 2003). As indicated above, Plaintiffs must “state
contained false or misleading statements of material fact, (2)
                                                                       with particularity all facts upon which their belief is formed.”
related to the purchase or sale of a security, (3) were made
                                                                       Id. (citation omitted). The Tenth Circuit has interpreted the
with intent to defraud investors or conscious disregard of a
                                                                       statutory language about stating “all” facts to mean that
risk that shareholders would be misled (scienter), (4) led to
                                                                       Plaintiffs must plead sufficient facts “to determine whether,
reliance by the plaintiff, and (5) caused the plaintiff's loss (loss
                                                                       taken as a whole, they support a reasonable belief that the
causation).” Nakkhumpun v. Taylor, 782 F.3d 1142, 1146-47
                                                                       defendant's statements...were false or misleading.” Id. at
(10th Cir. 2015).
                                                                       1099.

The PSLRA, 15 U.S.C. § 78u-4(b), “adjusts the general
pleading standard applicable under Federal Rule of Civil
Procedure 12(b)(6), which requires a plaintiff to plead                             In deciding whether the factual
sufficient factual matter, accepted as true, to state a claim to                    allegations support a reasonable belief
relief that is plausible on its face.” Hampton, 897 F.3d at 1298                    that fraud occurred, courts should
(internal quotation marks omitted). “Specifically, under the                        evaluate the facts alleged as a whole,
PSLRA, a plaintiff must meet a heightened pleading standard                         evaluating the level of detail, number,
with regards to the first and third elements of a securities-                       and coherence and plausibility of the
fraud claim: that is, respectively, as to whether the statements                    allegations; whether the allegations
at issue were false or misleading, and whether the defendant                        are specific enough to be verified
acted with the requisite scienter.” Id.                                             or refuted by a defendant without
                                                                                    requiring the complaint to disclose
  Under the Reform Act, a private complaint that alleges                            how the plaintiff learned of such facts
  a violation of section 10(b) of the 1934 Act and Rule                             or experts to prove such facts at trial;


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             whether the sources of the facts are                    and decline to assess those witnesses’ credibility. Anderson v.
             disclosed and the reliability of those                  Spirit Aerosystems Holdings, Inc., 827 F.3d 1229, 1239 (10th
             sources; and any other factors that                     Cir. 2016) (citing Tellabs Inc. v. Makor Issues & Rights, Ltd.,
             might affect how strongly the facts                     551 U.S. 308, 322 (2007) ).
             alleged support a reasonable belief that
             the defendant's statements were false
             or misleading. To meet the standard,
                                                                                             III. Analysis
             plaintiffs are not required to disclose
             the documentary or personal sources                     In the interest of efficiency, the Court addresses the
             from which they learned the facts                       allegations asserted against Defendants Ersek, Scheirman,
             alleged in an information and belief                    Agrawal, and Western Union collectively but separately from
             complaint.                                              those asserted against Defendant Koch, who filed his Motion
                                                                     to Dismiss [#55] separately from the other Defendants.
                                                                     However, as instructed by Tenth Circuit precedent, the Court
Id. at 1102-03.                                                      has reviewed all of the allegations of the Amended Complaint
                                                                     [#40] and has assessed it holistically. See Hampton, 897
“There is a meaningful distinction between statements of             F.3d at 1298. The Court has examined the allegations of the
opinion and statements of fact; the former require a plaintiff       lengthy Amended Complaint [#40] in their entirety, 5 and is
to meet a higher pleading standard.” Hampton, 897 F.3d               not required to make explicit findings of fact and conclusions
at 1299. “Pure statements of opinion and statements of               of law on a Rule 12(b)(6) ruling. Adams, 340 F.3d at 1093.
optimism that are not capable of objective verification are not
material misstatements unless they inaccurately represent the        5      The Amended Complaint [#40] is 176 pages
speakers’ beliefs concerning then-present factual conditions.
                                                                            long and consists of 580 paragraphs. The Court
Id. (internal citations, brackets, and quotations marks
                                                                            appreciates the inclusion of a lengthy Table
omitted). “Statements of opinion or belief must rest on a
                                                                            of Contents, and understands that the stringent
factual basis that justifies them as accurate, the absence of
                                                                            pleading requirements of the PSLRA may not
which renders them misleading.” Id. (internal brackets and
                                                                            promote brevity and conciseness in drafting
quotation marks omitted).
                                                                            complaints. Nevertheless, the Amended Complaint
                                                                            is packed with redundant factual and legal
In Pirraglia v. Novell, Inc., the court first analyzed the
                                                                            allegations which, if omitted, would likely reduce
complaint's alleged false statements “to determine whether
                                                                            its length by more than half. Plaintiffs’ counsel do
plaintiffs specifi[ed] each statement alleged to have been
                                                                            themselves no favors by including such redundant
misleading, the reason or reasons why the statement [was]
                                                                            material, which significantly prolongs judicial
misleading, and, if an allegation regarding the statement or
                                                                            review. Because the filing of motions to dismiss is
omission [was] made on information and belief,...[whether
                                                                            common in securities fraud cases and because the
the complaint] state[d] with particularity all facts on which
                                                                            PSLRA mandates that cases must be stayed while
that belief [was] formed.” Id. at 1189 (internal quotations
                                                                            motions to dismiss are pending, filing of prolix
omitted). Second, the court “proceed[ed] to examine whether
                                                                            complaints works against the parties’ interests and
plaintiffs met the scienter requirement,” but only as to those
                                                                            should be avoided.
statements which the court found met the above particularity
requirements. Id. at 1190-91.
                                                                     A. Claim One: Defendant Koch
 *5 Regardless of the order in which the Court addresses             Defendant Koch was Western Union's Chief Compliance
the PSLRA's pleading requirements, the Court must decline            Officer from May 2013 until about November 2015. Am.
a defendant's invitation to conclude that facts alleged by the       Compl. [#40] ¶ 29. He reported to the Compliance Committee
plaintiffs are simply false, regardless of whether the plaintiffs’   of the Board of Directors (the “Board”) after its creation in
claims “seem far-fetched.” Pirraglia, 339 F.3d at 1193-94.           July 2013. Id. Plaintiffs note specifically that he attended
Moreover, the Court must accept the truth of the confidential        the Compliance Committee meetings held on July 17, 2013
witnesses’ accounts as pled in the Amended Complaint [#40]



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and September 9, 2013, and the full Board meeting held on       time, Western Union was responding to two investigations–
October 11, 2013. Id. ¶ 92.                                     one aimed directly at Western Union– by the Department
                                                                of Justice into “China Corridor agents” who facilitated the
At the July 17, 2013 Compliance Committee meeting also          laundering of hundreds of millions of dollars used for human
attended by Defendant Ersek, Defendant Koch “described          trafficking. Id. ¶¶ 131, 184, 251, 264-65. Plaintiffs argue:
a draft risk assessment that would be the ‘foundation’ for      “Touting the Company's commitment to combating human
the risk-based AML compliance program of Western Union's        trafficking and its agents’ role in those efforts while failing
core consumer-to-consumer money transfer business.” Id.         to disclose the Company's failings with respect to those
¶ 240. At the September 9, 2013 Compliance Committee            exact topics was therefore false and misleading.” Response
meeting attended by Defendants Ersek and Koch, “it was          [#63] at 54. They further argue: “Even though Western
announced that on July 31, 2013, management first submitted     Union[ ] only admitted to willful compliance failures as to the
a written action plan to the Monitor for his consideration,     China Corridor Agents through 2012, it was still misleading
providing an agreed-to methodology for measuring and            for Koch to fail to disclose those very recent violations
ensuring compliance with the Monitor's recommendations.” 6      that subjected the Company to the substantial risk of an
Id. ¶ 242.                                                      unprecedented forfeiture for a money services business.” Id.


6                                                               During his two and a half years as Chief Compliance Officer,
       The position of Monitor was a requirement of
                                                                Defendant Koch “regularly spoke at publicly advertised
       the Southwest Border Agreement (“SBA”) signed
                                                                industry conferences, representing Western Union, where he
       on February 11, 2010, whose job was to monitor
                                                                portrayed Western Union as an industry leader in compliance
       various aspects of Western Union's compliance
                                                                by discussing best practices for compliance programs and
       requirements set out in the SBA. See Am. Compl.
                                                                combating human trafficking.” Am. Compl. [#40] ¶ 247.
       [#40] ¶¶ 86, 235.
                                                                On February 17, 2014, he “presented on best practices
 *6 At the October 11, 2013 Board meeting attended              for detecting human trafficking at a conference hosted by
by Defendants Ersek, Scheirman, and “likely” Agrawal,           the Council of Europe and Organization for Security and
Defendant Koch “explained in a memorandum to the Board          Cooperation in Europe.” Id. On April 24, 2014, he “was one
(using language that was also included in the risk assessment   of three panelists on a publicly advertised webcast hosted by
itself) that an ‘AML Risk Assessment is the foundational        a law firm that addressed ‘[b]est practices for structuring and
document upon which [a financial institution's] risk-based      implementing compliance programs to identify and mitigate
AML Compliance program is based....Development and              multiple financial crimes risk.’ ” Id. On October 23, 2014,
issuance of an AML Risk Assessment is also a regulatory         he presented at the 8th Annual European AML Financial
expectation, evidenced in bank and [Money Services              Crime Conference. Id. Defendant Koch left Western Union's
Businesses] examination manuals, and is implicitly required     employment no later than November 2015. Id. ¶ 247.
by the AML ‘program requirement’ of [the Bank Secrecy
Act].’ ” Id. ¶ 243. According to his meeting                    The first required element of a claim under Rule 10b-5 is
                                                                that the defendant must have made an untrue or misleading
                                                                statement of material fact, or failed to state a material fact
memorandum, “the ‘[i]nherent’ ‘[g]eographic’ risk for           necessary to make statements not misleading. Grossman, 120
Western Union's consumer-to-consumer and business               F.3d at 1118. Plaintiffs direct the Court's attention to three
segments was ‘Very High.’ ” Id.                                 asserted false or misleading statements made by Defendant
On November 6, 2013, Western Union issued “a press release      Koch. Response [#63] at 53-54.
announcing that it would be joining the Blue Campaign,
an anti-human trafficking initiative spearheaded by the U.S.    First, in connection with Western Union's 8th Annual
Department of Homeland Security.” Id. ¶ 405. Defendant          AML, Anti-Fraud and Compliance Conference in September
Koch stated in the press release that “[e]nding human           2013, Defendant Koch stated: “Together with governments,
trafficking is possible only if everyone steps in and plays     regulators, law enforcement authorities and financial service
a role. We are committed to using the trust, reach and          companies, we're fully engaged in the fight against money
power of our brand along with our Agent network to engage       laundering and fraud.” Id. at 54 (citing Am. Compl. [#40]
the public and arm them with awareness and the resources        ¶ 395). Plaintiffs argue that this statement “was misleading
to spot the signs and report suspect activity.” Id. At this


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absent disclosure of the fact that government investigations       the Court to a multi-page discussion of puffery offered in
that were pending at the time posed the high risk of substantial   connection with the other Defendants’ statements. Response
liability for Western Union's compliance failures.” Response       [#63] at 55 n.24 (citing Response [#63] at 43-47).
[#63] at 54 (citing Am. Compl. [#40] ¶¶ 265, 268).
                                                                   The Court finds that the three statements attributed to
 *7 Second, as discussed above, in a November 6, 2013              Defendant Koch are nothing more than mere puffery
press release concerning Western Union's efforts to combat         consisting of vague corporate optimism. The first statement
human trafficking, Defendant Koch stated: “Ending human            (“Together with governments, regulators, law enforcement
trafficking is possible only if everyone steps in and plays a      authorities and financial service companies, we're fully
role. We are committed to using the trust, reach and power of      engaged in the fight against money laundering and fraud.”) is
our brand along with our Agent network to engage the public        similar to a statement analyzed in another securities case, In
and arm them with awareness and the resources to spot the          re Sturm, Ruger & Co., Inc. v. Securities Litigation, No. 3:09-
signs and report suspect activity.” Response [#63] at 53 (citing   cv-1293 (CFD), 2011 WL 494753, at *5 (D. Conn. Feb. 7,
Am Compl. [#40] ¶ 405). Plaintiffs argue that “[t]outing the       2011). There, the court found that the statement, “Employees
Company's commitment to combating human trafficking and            are fully engaged, and we see nothing but opportunities ahead
its agents’ role in those efforts while failing to disclose the    of us,” was an expression of puffery and corporate optimism
Company's failings with respect to those exact topics was          not giving rise to a securities violation. 2011 WL 494753,
therefore false and misleading.” Response [#63] at 54 (citing      at *5. Here, the Court finds that the assertion that Western
Am Compl. [#40] ¶¶ 110-13, 131, 183-99, 251, 264-65).              Union was “fully engaged in the fight” constitutes similarly
                                                                   inactionable puffery.
Third, in connection with Western Union's 2014 Annual Anti-
Money Laundering, Anti-Fraud and Compliance Conference,            Defendant Koch's second statement (“Ending human
Defendant Koch stated: “Western Union is committed to              trafficking is possible only if everyone steps in and plays
helping protect its customers against fraud and other financial    a role. We are committed to using the trust, reach and
crimes. It's the right thing to do for our customers and for       power of our brand along with our Agent network to
our business.” Response [#63] at 54 (citing Am. Compl.             engage the public and arm them with awareness and the
[#40] ¶ 436). Plaintiffs argue this statement was false and        resources to spot the signs and report suspect activity.”) and
misleading in light of “Defendants’ other statements touting       third statement (“Western Union is committed to helping
the Company's compliance practices and its reasons for its         protect its customers against fraud and other financial crimes.
compliance expenditures while failing to disclose current and      It's the right thing to do for our customers and for our
past compliance failures or the true reason for its increased      business.”) constitute similarly inactionable statements of
compliance costs.” Response [#63] at 54.                           puffery. Other courts have found that general language
                                                                   regarding a company's commitment to risk management is
Defendant Koch argues that these statements were mere              inactionable. For example, in In re Vale S.A. Securities
puffery. Motion [#56] at 7-8, 11-12, 13; Reply [#71] at 13-15.     Litigation, No. 1:15-cv-9539-GHW, 2017 WL 1102666, at
In another securities-fraud case, Grossman v. Novell, Inc.,        *24 (S.D.N.Y. Mar. 23, 2017), the court held that the
the allegedly “false and misleading” statements concerned          company's claim to be “committed to achieving the highest
the defendant's potential market-share gain, “compelling”          possible health and safety standards” was a “general, airy
opportunities, “smooth” mergers, and “accelerating” product        statement of commitment routinely found to constitute non-
development. 120 F.3d at 1116-17. The Tenth Circuit Court          actionable puffery.” In Matana v. Merkin, 989 F. Supp. 2d
of Appeals held that such “vague statements of corporate           313, 327 (S.D.N.Y. 2013), the court held that a statement that
optimism” were “not actionable because reasonable investors        the company “remain[ed] focused on preserving principal and
do not rely on them in making investment decisions.” Id.           committed to managing risk” was “not actionable in fraud”
at 1119. “Statements classified as ‘corporate optimism’ or         because the statement was puffery. In Woodard v. Raymond
‘mere puffing’ are typically forward-looking statements, or        James Financial, Inc., 732 F. Supp. 2d 425, 434-35 (S.D.N.Y.
are generalized statements of optimism that are not capable        2010), the court held that “Raymond James’ leadership
of objective verification.” Id The sum of Plaintiffs’ argument     believes that the managed growth strategy, commitment to
regarding whether Defendant Koch's statements are puffery          risk management and conservative lending practices...will
is a footnote summarily denying that they are and referring        continue to serve the company well in the coming year”



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was puffery consisting of “nothing more than a general
platitude that accompanies nearly every press release or
                                                                                  i. Filings with the Securities
public statement issued by a financial institution.”
                                                                                 Exchange Commission (“SEC”)

 *8 Thus, because the statements made by Defendant Koch             In support of this category of purportedly false/misleading
and argued by Plaintiffs to be false and misleading are actually    statements regarding government investigations, Plaintiffs
nonactionable puffery, the Court finds that Plaintiffs fail to      cite to the following allegations. Id. 1.
sufficiently allege facts regarding the first required element of
a claim under Section 10b and Rule 10b-5, i.e., that Defendant        “On February 24, 2012, Western Union filed an annual
Koch made an untrue or misleading statement of material fact,           report on Form 10-K with the SEC, signed by
or failed to state a material fact necessary to make statements         Defendants Ersek and Scheirman, announcing the
not misleading. See Grossman, 120 F.3d at 1118. Accordingly,            Company's financial and operating results for the
Claim One against Defendant Koch is dismissed.                          quarter and fiscal year ended December 31, 2011 (the
                                                                        “2011 10-K”).” Am. Compl. [#40] ¶ 304. “The 2011
                                                                        10-K...discussed ongoing governmental investigations,
B. Claim One: Defendants Ersek, Scheirman, Agrawal,                     consent agreements, and enforcement actions by
and Western Union 7                                                     regulators, but claimed that these investigations were too
7                                                                       preliminary for the Company to be able to predict their
     Due to the repetitive nature of many of the
                                                                        outcomes.” Id. ¶ 308.
        statements to which Plaintiffs direct the Court's
        attention, the Court notes that it does not separately        2. In March 2012, the Eastern District of Pennsylvania
        analyze every single statement but, rather, simply               (“EDPA”) served Western Union “with a federal grand
        analyzes a material and representative sample of                 jury [subpoena] seeking documents relating to Hong
        each category throughout Section III.B. However,
                                                                        Fai... .” 8 Id. ¶ 264. “As the Class Period progressed,
        the Court has considered the pleadings in their
                                                                        the Company received additional subpoenas from EDPA
        entirety. See Adams, 340 F.3d at 1093.
                                                                        and the government interviewed several current Western
                                                                        Union employees as part of this investigation.” Id.
   1. Purported False or Misleading Statements
With respect to Defendants Ersek, Scheirman, Agrawal,                 3. On March 20, 2012, the Central District of California
and Western Union, Plaintiffs direct the Court's attention               (“CDCA”) “served the Company with a federal grand
to the following purportedly fraudulent misrepresentations/              jury subpoena seeking documents relating to” U.S. Shen
omissions, which they divide into four categories: (1)
                                                                        Zhou International Company (“Shen Zhou”). 9 Id. ¶ 265.
statements describing ongoing government investigations; (2)
                                                                        “When CDCA served the Company with this subpoena,
statements explaining increased compliance expenditures; (3)
                                                                        it informed Western Union that the Company itself was
statements regarding legal compliance; and (4) statements
                                                                        ‘a target of an ongoing investigation into structuring and
touting compliance practices. Response [#63] at 36-53. In
                                                                        money laundering.’ ” Id.
this section, the Court addresses the first three categories,
reserving discussion of the fourth category for the scienter           *9 4. “On May 1, 2012, the Company filed its quarterly
analysis below.                                                         Form 10-Q with the SEC, signed by Defendants Ersek
                                                                        and Scheirman, announcing the Company's financial and
                                                                        operating results for the first quarter of 2012, which
               a. Government Investigations                             ended on March 31, 2012 (the “Q1 2012 10-Q”).” Id.
                                                                        ¶ 316. “The Company...described in its Q1 2012 10-Q
Plaintiffs argue that Defendants made untrue or misleading              several ongoing government investigations and claimed
statements of material fact, or failed to state material                that all of these investigations were too preliminary for
facts necessary to make statements not misleading,                      the Company to be able to predict their outcomes.” Id.
regarding ongoing government investigations, including the              ¶ 318.
investigations brought by four separate U.S. Attorney offices,
the FTC, and state attorneys general. Response [#63] at 47-51.        5. “[A]t the May 9, 2012 Investor Day conference,
                                                                        Mike Salop, Western Union's Senior Vice President



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    of Investor Relations, specifically addressed DOJ's               that the financial service[s] overall get more regulated
    investigation into Shen Zhou—the agent in California              and within that also we want to be best-in-class. We
    that was arrested and late[r] pled guilty to structuring          create this culture of compliance within our company.
    transactions—that the Company had announced in its                And we – so that's the environment we are in currently
    10-Q for the first quarter of 2012 and that Western               and we see that as a long-term competitive advantage.’
    Union was a target of. He represented that ‘[w]e believe          Then, at Ersek's request, Scheirman followed-up by
    the company has robust compliance and anti-money                  elaborating as follows: ‘[A]s Hikmet said that we are
    laundering policies and processes in place, and we look           committed to a strong culture of compliance and invest
    forward to demonstrating that fact to the U.S. Attorney's         in compliance programs. And let me give you a flavor
    office in Los Angeles.’ Salop went on to state that ‘[w]e         of maybe some things that have been ongoing not only
    are not aware of any evidence that suggests that the              in the first quarter, but prior quarters, too. We're doing
    company or any of its employees knowingly engaged in              things to really protect the customer and protect the
    any conduct with this former agent that would constitute          business. They might be things such as real-time risk
    a violation of the law.’ ” Id. ¶ 326. “He explained:              assessment when the transaction happens at the point-
    ‘We have been cooperating with the government in                  of-sale, verification programs related to high principal
    connection with this particular case for almost two years         transactions where we – whereby we call back the
    and assisted the government prior to the time the former          sender and make sure the transaction is appropriate. But,
    agent was arrested, just as we cooperate on a daily basis         as Hikmet mentioned, we believe this will be a long-
    with law enforcement departments throughout the U.S.’             term competitive advantage for us. Near term, there
    ” Id. ¶ 250.                                                      are some headwinds but it's the right investment to
                                                                      make in the business. We believe it'll be a competitive
  6. “On August 2, 2012, the Company filed its quarterly              advantage and we continue to work towards that....But
     Form 10-Q with the SEC, signed by Defendants Ersek               we will continue to comply with the letter and the
     and Scheirman, announcing the Company's financial and            spirit of the law and really see that as a competitive
     operating results for the second quarter of 2012, which          advantage long term.’ (Emphasis added). Ersek then
     ended on June 30, 2012 (the “Q2 2012 10-Q”).” Id.                explained that the Company was working to adapt to
     ¶ 341. “The Company...described in its Q2 2012 10-Q              the U.S. and global trend of increasing regulations.
     several ongoing government investigations and claimed            Scheirman added that the Company's efforts often went
     that all of these investigations were too preliminary for        above and beyond its technical legal requirements. He
     the Company to be able to predict their outcomes.” Id.           represented that ‘everything isn't necessar[ily] black-
     ¶ 344.                                                           and-white and a rule, but we work with regulators in
                                                                      countries around the world to try to do the right thing
  7. Filed February 22, 2013, the 2012 10-K signed
                                                                      for our business and for our customers.’ (Emphasis
    by Defendants Ersek and Scheirman essentially
                                                                      added).” Id. ¶ 374. “Later during this April 30, 2013
    repeated the information in the 2011 10-K in that
                                                                      conference call, Defendant Scheirman explained that
    it “discussed ongoing governmental investigations,
                                                                      ‘our goal is to comply with the letter and the spirit of
    consent agreements, and enforcement actions by
                                                                      the law, have best-in-class compliance programs, and
    regulators, but claimed that these investigations were too
                                                                      really protect our customers and protect our businesses.’
    preliminary for the Company to be able to predict their
                                                                      Defendant Ersek added, ‘I think the general financial
    outcomes.” Id. ¶¶ 365, 368.
                                                                      service industry is getting more regulated and we are
  8. “On April 30, 2013, the Company held a conference                very focused on that. I think we have a great compliance
     call in connection with the release of its earnings for          team in place and they are working hard. Generally, I
     the first quarter of 2013. During this call, an analyst          see also being a market leader here as a competitive
     noted the fact that Ersek had mentioned a few times              advantage.’ ” Id. ¶ 375.
     earlier in the call at a general level new compliance
                                                                    *10 9. “Specifically addressing the regulatory
     and regulatory actions in addition to the Southwest
                                                                     environment, Scheirman stated at [a] June 13, 2013
     Border Agreement that the Company had not disclosed
                                                                     William Blair conference that ‘the regulators start with
     previously and asked for more information about these
                                                                     the market leaders and we're clearly a market leader.
     activities. Ersek responded by explaining: ‘It is no secret
                                                                     And, again, we're going to partner with them because


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    we share the same goals of protecting our customers,
    protecting our business systems and so forth.’ ” Id. ¶ 386.    15. Filed on May 3, 2016, the Q1 2016 10-Q signed by
                                                                     Defendants Ersek and Agrawal contained “substantially
  10. On November 25, 2013, the Middle District of                   the same representations” but further “disclosed that
    Pennsylvania (“MDPA”) “served the Company with                   MDPA ‘indicated that it believes Western Union failed
    a grand jury subpoena seeking documents relating                 to timely terminate or suspend certain Western Union
    to complaints made to the Company by consumers                   agents who allegedly paid or forwarded thousands of
    anywhere in the world relating to fraud-induced money            fraud-induced transactions sent from the United States
    transfers since January 1, 2008.” Id. ¶ 268. “When               to various countries from at least 2008 to 2012.’ The
    MDPA served the Company with this subpoena, it                   Company, however, continued to claim that all of its
    informed Western Union that the Company itself was the           ongoing government investigations—including MDPA's
    subject of this investigation.” Id.                              —were too preliminary for the Company to be able to
                                                                     predict their outcomes.” Id. ¶¶ 482, 483.
  11. Filed February 24, 2014, the 2013 10-K signed by
    Defendants Ersek and Agrawal essentially repeated              16. Filed August 3, 2016, the Q2 2016 10-Q signed by
    the information in the 2011 and 2012 10-Ks in                    Defendants Ersek and Agrawal contained substantially
    that it “discussed ongoing governmental investigations,          the same information as the Q1 2016 10-Q and further
    consent agreements, and enforcement actions by                   “disclosed that MDPA ‘indicated that it believes Western
    regulators, but claimed that these investigations were too       Union failed to timely terminate or suspend certain
    preliminary for the Company to be able to predict their          Western Union agents who allegedly paid or forwarded
    outcomes.” Id. ¶¶ 410, 413.                                      thousands of fraud-induced transactions sent from the
                                                                     United States to various countries from at least 2008 to
  12. Filed July 31, 2014, the Q2 2014 10-Q signed                   2012,’ and that the ‘FTC staff has advised the Company
    by Defendants Ersek and Agrawal disclosed that the               that it has been directed to request authority from
    government had notified Western Union that it was a              the FTC to file a complaint against the Company in
    “target” of an investigation by the Southern District of         United States federal court if it is not able to reach an
    Florida (“SDFL”). Id. ¶¶ 275, 428, 430.                          agreement with the Company.’ The Company, however,
                                                                     continued to claim that all of these investigations—
  13. Filed February 20, 2015, the 2014 10-K signed by
                                                                     including MDPA's and FTC's—were too preliminary for
    Defendants Ersek and Agrawal essentially repeated the
                                                                     the Company to be able to predict their outcomes. The
    information in the 2011, 2012, and 2013 10-Ks in
                                                                     Company also contested the FTC's position by taking
    that it “discussed ongoing governmental investigations,
                                                                     the strong position that ‘[i]f the FTC files a complaint
    consent agreements, and enforcement actions by
                                                                     against the Company, the Company intends to defend
    regulators, but claimed that these investigations were too
                                                                     itself vigorously.’ ” Id. ¶¶ 488-89.
    preliminary for the Company to be able to predict their
    outcomes.” Id. ¶¶ 446, 449.                                    *11 17. Filed November 1, 2016, the Q3 2016 10-Q
                                                                    signed by Defendants Ersek and Agrawal contained
  14. Filed February 19, 2016, the 2015 10-K signed by
                                                                    substantially the same information as the Q2 2016
    Defendants Ersek and Agrawal, “discussed ongoing
                                                                    10-Q and further “disclosed that the FTC advised
    governmental investigations, consent agreements, and
                                                                    the Company ‘of its view that the Company violated
    enforcement actions by regulators. Although the 2015
                                                                    Section 5 of the Federal Trade Commission Act and
    10-K disclosed that MDPA ‘indicated that it believes
                                                                    the Telemarketing Sales rule by failing to take timely,
    Western Union failed to timely terminate or suspend
                                                                    appropriate, and effective measures to mitigate fraud in
    certain Western Union agents who allegedly paid or
                                                                    the processing of money transfers sent by consumers’
    forwarded thousands of fraud-induced transactions sent
                                                                    and that the FTC staff ‘believes that the Company
    from the United States to various countries from at least
                                                                    bears responsibility for principal amounts of what it
    2008 to 2012,’ the Company continued to claim that all
                                                                    alleges to be hundreds of millions of dollars in fraud-
    of these investigations—including MDPA's—were too
                                                                    induced money transfers, or a multiple thereof based
    preliminary for the Company to be able to predict their
                                                                    on the FTC's belief that fraud-induced money transfers
    outcomes.” Id. ¶¶ 473, 476.
                                                                    are underreported by consumers, dating back to 2004.’



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    The Company continued, however, to claim that all of           8   “Structuring” is an illegal practice in which a
    these investigations—including MDPA's and FTC's—                   party evades “the law's recording and reporting
    were too preliminary for the Company to be able to                 requirements by breaking large transfers into
    predict their outcomes. The Company also contested                 multiple transactions at smaller amounts below the
    the FTC's position by declaring that ‘[t]he Company
                                                                       legal reporting threshold.” Am. Compl. [#40] ¶ 63.
    strongly disagrees with the FTC's assertions regarding
                                                                       Hong Fai was a Western Union agent which:
    its potential liability and any scope thereof’ and that
                                                                       sent over $126 million in Western Union
    ‘[i]f the FTC files a complaint against the Company,
                                                                       transactions from December 2007 through March
    the Company intends to defend itself vigorously.’ ”
                                                                       6, 2012. This agent was not terminated until
    Id. ¶¶ 492-93; see also id. ¶ 263. Plaintiffs emphasize            March 19, 2012 even though Western Union
    that “even though multiple DOJ offices had already                 admitted to DOJ in the Joint Settlement that
    taken the position that Western Union committed                    “[a]s early as June 2007, [the Company] was
    serious compliance violations, even when Defendants                aware of ‘significant’ compliance failures at Hong
    disclosed in the Company's 10-Q for the third quarter              Fai involving structured transactions and failure
    of 2016, filed on November 1, 2016, that the Company               to file [Suspicious Activity Reports (“SARs”) ]
    ‘anticipate[d] entering into discussions with the United           for suspicious transactions.” This knowledge was
    States Department of Justice to potentially resolve the            based on over a dozen onsite or transaction
    four investigations’ being conducted by the EDPA,                  reviews that Western Union conducted. Western
    CDCA, MDPA, and SDFL, Defendants continued to                      Union admitted that these reviews showed that
    take the position that ‘[d]ue to the stage of these matters        the agent “repeatedly...violated certain elements of
    and the fact that no criminal charges or civil claims              the [Bank Secrecy Act, as amended by the USA
    have been brought, the Company is unable to predict the            Patriot Act in 2001 (31 U.S.C. § 5311, et seq.),
    outcome of these matters.’ ” Id. ¶ 282.                            and rules promulgated thereunder (collectively, the
                                                                       “BSA”) ] or certain aspects of Western Union
  18. As part of the January 2017 settlement agreement with
                                                                       policy.” Despite Hong Fai's known and repeated
    the DOJ, “Western Union admitted in the Statement
                                                                       violations that should have resulted in disciplinary
    of Facts...that its employees knew that its analyses
                                                                       action under Western Union policy, Western Union
    and internal reports show that the amount of losses
                                                                       did not terminate the agent until 2012, only after
    from fraudulent transactions sent through the Company
                                                                       law enforcement and Hong Fai's bank continued
    was much higher than the amount identified in the
                                                                       to raise concerns about illegal transactions and
    Company's [Consumer Fraud Reports (“CFRs”) ]
                                                                       Hong Fai's failure to file SARs. Western Union also
    database, because not every victim reported fraud to
                                                                       did not file any SARs identifying Hong Fai as a
    the Company.” Id. ¶ 155. “In addition, as the FTC
                                                                       suspicious subject until after it terminated Hong Fai
    found, fraud complaints in Western Union's database
                                                                       in 2012.
    represent only a small percentage of the actual fraud
                                                                       Id. ¶ 186; see also ¶¶ 187, 195.
    perpetrated through Western Union's money transfer
    system because (a) as recognized by Western Union's            9   “...Western Union admitted that between 2005
    own internal reports, the vast majority of fraud victims           and 2010, Shen Zhou, one of four particularly
    do not complain directly to the Company; (b) Western               egregious agents that sent structured transactions
    Union has failed to log in its complaint database all of the       to China, sent more than $310 million to China,
    complaints and reports about fraud that it has received or         approximately half of which were structured.” Am.
    the particular money transfers related to the complaints;
                                                                       Compl. [#40] ¶ 112. “The head of Shen Zhou
    and (c) in many countries, Western Union did not
                                                                       was arrested in 2010 for his structuring activities
    provide a fraud hotline or a toll-free phone number for
                                                                       and pled guilty in December 2013 to structuring
    victims to call to report fraud. Because of these multiple
                                                                       international money transfers.” Id. ¶ 188. “After he
    factors, the FTC determined that since 2004, Western
                                                                       was arrested, he told law enforcement authorities
    Union has likely been used to send billions of dollars in
                                                                       that a Western Union Sales employee told him
    fraud-induced payments to telemarketers and con artists
                                                                       that he could open another Western Union agent
    worldwide.” Id. ¶ 156.
                                                                       location in the same area. This Sales employee



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        even advised the agent on how to get away with                  concerning FTC's position that contradicted the basis for their
        this by cautioning him to use a relative's name                 public statements.” Id. at 49-50.
        instead of his own name when opening the new
        location.” Id. ¶ 196. “[A]t a meeting of the Board's            In support of their argument, Plaintiffs cite to several cases. Id.
        Governance Committee on September 22, 2010,                     at 48. First, in In re ITT Educational Services, Inc. Securities
        attended by Defendant Ersek, it was discussed in                Litigation, 34 F. Supp. 3d 298 (S.D.N.Y. 2014), contracts were
        reference to CDCA's investigation of Shen Zhou                  signed between ITT (a for-profit college) and three student
        that a “large” Western Union agent in California                loan lenders which required ITT to pay for its students’ loan
        was the subject of a criminal money-laundering                  default losses if those defaults reached a certain threshold.
        investigation and that Western Union was “working               When the lenders informed ITT that the threshold had been
        with law enforcement to investigate the underlying              reached and consequently began demanding “increasingly
        activity.” Id. ¶ 251.                                           large sums of money,” ITT continued to publicly represent
 *12 Plaintiffs do not contest that, “[s]tarting in the first           that its liabilities “[w]ould be [i]mmaterial.” The court held
quarter of 2012, Western Union's annual and quarterly filings           that the defendants’ public statements that “they were not
signed by Defendants Ersek and Scheirman and Agrawal                    expecting any significant liability under the [contracts] and
disclosed the existence of these investigations into the                that they could not predict the maximum potential liability
Company's AML and anti-fraud programs.” Response [#63]                  to which they were exposed” was actionable where the
                                                                        plaintiffs had alleged that the defendants “knew that their
at 47; see also id. (stating that “Defendants made many
                                                                        liability...would be substantial.” Here, the Court notes that
statements related to the ongoing government investigations
                                                                        there are no allegations in the present case similar to the
by four separate U.S. Attorney offices, the FTC, and
state attorneys general that would culminate in the Joint               fact in ITT that Defendants publicly stated that they were not
Settlement”). Plaintiffs also concede that, “[a]s the Class             expecting any significant liability; rather, they only stated that
Period progressed, Defendants continued to disclose the                 they could not predict the outcome of those investigations.
existence and topics of information requested in these and
other investigations” and further disclosed that “Western               Plaintiffs cite to three other cases in support of their argument.
Union was a ‘target’ or ‘subject’ of these investigations.” Id.         First, in City of Pontiac General Employees’ Retirement
                                                                        System v. Wal-Mart Stores, Inc., No. 12-CV-5162, 2014
Plaintiffs’ primary concern, though, is that Defendants “stated         WL 4823876 (W.D. Ark. Sept. 26, 2014), the court held
at all times that these inquiries were too preliminary to be            that the disclosure of an internal corruption investigation
able to predict their outcomes ‘[d]ue to the stage of these             was misleading because the defendants omitted their prior
matters and the fact that no criminal charges or civil claims           knowledge of events, thereby misleading investors as to
have been brought.’ ” Response [#63] at 47 (quoting Am.                 when the defendants learned of the suspected corruption.
Compl. [#40] ¶ 282). Plaintiffs argue that “[t]hese descriptions        Second, in In re Van der Moolen Holding N.V. Securities
of the many ongoing government investigations were false                Litigation, 405 F. Supp. 2d 388 (S.D.N.Y. 2005), the court
and misleading because Western Union's potential liability              held that a generic warning by the defendants regarding
was in fact substantial.” Response [#63] at 48. They state              potential regulatory risks was affirmatively and materially
that “Defendants downplayed the likely outcome of ongoing               misleading when the company already knew or was recklessly
government investigations when they knew of substantial                 ignorant that its business strategy relied on practices that
compliance failures that subjected Western Union to the high            violated New York Stock Exchange trading laws. Third, in
risk of significant liability.” Id. at 49. Plaintiffs also state that   SEB Asset Management S.A. v. Western Union Company,
“Defendants do not get credit for disclosing the existence of           No. 13-cv-03325-MSK-MJW, 2014 WL 5708522 (D. Colo.
these inquiries and providing generic warnings when they                Sept. 29, 2015), the court held that statements acknowledging
failed to disclose essential information showing that those             but downplaying the extent of Western Union's compliance
inquiries raised risks that were far-more substantial than they         problems in Mexico (statements like they “expected ‘some
                                                                        slow down’ ” and “expected ‘some challenges’ ”) gave rise
let on.” Id. They further argue that “Defendants failed to
                                                                        to a duty to disclose after the point in time at which the
disclose the FTC's reasons for concluding that consumers
                                                                        defendants “would have had a meaningful estimate” of how
underreported fraud” and that, regardless of Defendants’
                                                                        many agents failed to meet compliance requirements. Based
“subjective beliefs, they had a duty to disclose information
                                                                        on allegations from a confidential witness, the court held



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that details regarding an action the defendants themselves        duty upon publicly traded corporations to confess uncharged,
were thinking of taking (i.e., the termination of 7,000 agents)   unadjudicated claims of wrongdoing.”
should have been revealed even if Western Union had not yet
decided that it would terminate those agents, because just the    The Court agrees with Defendants that the statements
“potential termination of a large number of agents” gave rise     regarding ongoing government investigations during the
to a duty to disclose.                                            Class Period were not false or misleading. For example,
                                                                  in 2012, 2013, 2014, and 2015, the annual 10-K filings
 *13 In Response, Defendants argue that “they were not            each disclosed the investigations, stated that Western Union
required to hazard guesses simply based on the potential          “could face significant fines, damage awards or regulatory
severity of the outcome – even if that outcome may later have     consequences” and that the investigations “could have a
come to pass.” Reply [#70] at 58. They point out that “there      material adverse effect on the Company's business, financial
were numerous factors potentially affecting the resolution        condition, results of operations, and cash flows.” See [#57-3]
or outcome of the investigations” and that “Plaintiff simply      at 22; [#57-13] at 24-25, 35-36, 39; [#57-19] at 31-32,
ignores all of these variables.” Id. at 59.                       39; [#57-22] at 32-33, 41-42. Western Union disclosed
                                                                  that there were investigations and that the results of those
In support, Defendants cite to the following cases. Id. at 58.    investigations could be significant and material. Plaintiffs
First, in In re FBR Inc. Securities Litigation, 544 F. Supp.      argue that the statements were false and misleading because
2d 346 (S.D.N.Y. 2008), the court held that there was no          Western Union's potential liability was substantial and that
duty to disclose an “alleged regulatory violation related to      the “generic warnings” were insufficient. However, in their
a single, isolated event” in the absence of the risk having       Response [#47] they have not pointed to what specific
become a “near certainty.” Second, in Acito v. IMCERA             additional information they believe Western Union should
Group, Inc., 47 F.3d 47 (2d Cir. 1995), the Second Circuit        have disclosed, and on the basis of these pleadings, the
held that prior United States Food and Drug Administration        Court cannot determine that the investing public was deceived
“(FDA”) inspections which did not result in “any sanctions”       because Defendants stated that the investigations were too
or “other adverse consequences” were not material and that        preliminary to predict their outcomes. The allegations before
the defendants need not disclose upcoming FDA inspection          the Court, while certainly grave, fall far short of a finding
where an adverse result was not a “foregone conclusion.”          that the outcomes of the investigations were near certainties
Third, in In re Marsh & McLennan Companies, Inc. Securities       or foregone conclusions.
Litigation, 501 F. Supp. 2d 452 (S.D.N.Y. 2006), the court
held the defendants need not disclose where the result was         *14 Plaintiffs relatedly argue that Defendants should have
not “substantially certain to occur” but that statements such     disclosed “the FTC's reasons for concluding that consumers
as how the company “led the industry in terms of disclosure”      underreported fraud” and that Defendants “had a duty
were thus actionable. Fourth, in Anderson, 827 F.3d at 1229,      to disclose information concerning FTC's position that
the Tenth Circuit held that “the magnitude of the loss that       contradicted the basis for their public statements.” Response
Spirit ultimately sustained” did not necessarily constitute       [#63] at 49-50. In support, Plaintiffs cite to Omnicare, Inc.
securities fraud when the plaintiffs’ argument “amount[ed] to     v. Laborers District Council Construction Industry Pension
allegations of ‘fraud by hindsight.’ ” see also In re Sanofi      Fund, 135 S. Ct. 1318, 1326, 1329 (2015). However, the
Securities Litigation, 87 F. Supp. 3d 510 (S.D.N.Y. 2015)         cited portions of Omnicare do not precisely stand for the
(similarly cautioning against finding “fraud by hindsight”).      proposition as enunciated by Plaintiffs. While Omnicare
Fifth, in Société Générale Securities Services, GcmH v.           strongly suggests that a company should make clear, if it
Caterpiller, Inc., No. 17 cv 1713, 2018 WL 4616356, at            makes a statement, whether “the Federal Government [is]
*6 (N.D. Ill. Sept. 26, 2018), the plaintiff had “essentially     taking the opposite view,” nothing in the decision mandates
argue[d] that [the defendant] should have admitted a securities   that the company must fully lay out the opposing view's
or tax law violation while the investigations were ongoing        arguments and reasoning, as Plaintiffs appear to assert here.
and the failure to do so was both a material omission and a       135 S. Ct. at 1329; Response [#63] at 49-50. Further, to the
misstatement.” The court found “such a position untenable. If     extent that Plaintiffs argue that Defendants lied or misled
every investigation or executed search warrant was evidence       regarding whether it agreed with the FTC's position that
of wrongdoing then what purpose do hearings and trials            “consumers underreported fraud,” it is clear that Defendants
have[?].. . [S]ecurities laws generally do not impose such a      only stated that they disagreed with “potential liability



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and any scope thereof,” and not that they disagreed that
“consumers underreported fraud.” Response [#63] at 49;                At a May 8, 2013 Jefferies Global Technology, Media
Reply [#70] at 60; see also [#57-25] at 11.                           and Telecom Conference, Defendant Ersek stated that
                                                                      the “regulatory environment” is “one of our biggest
In short, the Court finds that the allegations here described         competenc[ies] here” as to the cross-border nature of the
by Plaintiffs do not constitute legally actionable false or           Company's business. The Jefferies analyst leading the
misleading statements.                                                discussion then picked up on these statements, as well
                                                                      as Defendants’ consistent statements elsewhere that its
                                                                      compliance efforts are a “competitive advantage,” and
   ii. 2013 & 2014 Statements by Defendants Ersek and                 asked if the “worst is over” in terms of “compliance-related
   Agrawal                                                            events.” Ersek responded that “compliance culture is in
Next, Plaintiffs direct the Court's attention to three statements     our DNA[ ]. Meanwhile, I think, creating this culture of
made by Defendants Ersek and Agrawal in 2013 and 2014.                compliance is something that it's very important” because
First, with respect to Defendant Ersek, they point to the             of the life-changing benefits of remittances that customers
following allegation:                                                 receive through the Company.

  On February 12, 2013, Western Union issued a press                *15 Id. ¶ 381.
  release announcing its financial results for the fiscal year
  and fourth quarter of 2012. On the Company's earnings             Third, with respect to Defendant Agrawal, Plaintiffs direct the
  conference call that was held the same day, an analyst asked      Court's attention to the following allegation:
  “what gives you confidence that there is nothing in the
  compliance or something that stings you that you don't              In the Company's earnings conference call for the first
  know about[?] I mean I guess one of the ways to think               quarter of 2014, held on May 1, 2014, Defendant Ersek
  about it I guess is there's probably – is there anything out        stated as to the Company's ongoing compliance costs
  there that can be as large as the situation that happened           that “from today's points of view, I think, the team is
  with [the Southwest Border Agreement] that can have that            doing a great job putting the teams right in place, that
  kind of an impact on price?” In response, Defendant Ersek           we have the compliance programs that it's competitive,
  represented: “The regulatory environment is challenging.            even a competitive advantage. And I can see that part
  Obviously we are in very regulated market, but all our              of that competitive advantage already in some countries
  investments, about $100 million a year we invest in anti-           like Mexico. ...And it's all over actually...and I think,
  money laundering and compliance, are really putting us as           we have a good program that we covered world[wide]
  an industry standard. Being a market leader puts us in an           with that investment....We did put programs, compliance
  industry standard, and we want to be a best-in-class and            programs, agent programs into place [in Mexico]. They're
  see that as a long-term as a competitive advantage. I think         working.” Then, in response to an analyst's question about
  regulators are looking also at us, and we do have a duty to         MDPA's investigation into Western Union's compliance
  satisfy customer needs and we are working very hard on              efforts, which the Company disclosed in its 2013 10-K,
  that.”                                                              Defendant Agrawal represented that “[i]t's early in the
                                                                      process and it's something that we're working through. We
Am. Compl. [#40] ¶ 360. Plaintiffs further allege that on this        have good monitoring systems in place. We have a multi-
same conference call “Defendants Ersek and Scheirman also             faceted program to prevent consumer fraud, and outreach
continued to characterize the Company's compliance-related            program with consumers. So, that's about all we can say
issues as limited to Mexico and Latin America as part of              right now and we're working through that.”
the Southwest Border Agreement, rather than the Company's
more comprehensive failure to comply with pre-existing basic        Id. ¶ 417.
AML and anti-fraud requirements.” Id. ¶ 361.
                                                                    Plaintiffs assert that “[b]y making these positive statements
Second, also with respect to Defendant Ersek, Plaintiffs direct     concerning ongoing regulatory investigations, Defendants
the Court's attention to the following allegation:                  were required—but failed—to give investors the full picture
                                                                    and disclose the underlying compliance failures that gave
                                                                    rise to the substantial risk of liability that Western Union



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faced.” Id. at 51. In response, Defendants cite to Employees
Retirement System of the City of Providence v. Embraer S.A.,
                                                                                      b. Compliance Expenditures
16 Civ. 6277 (RMB), 2018 WL 1725574 (S.D.N.Y. Mar. 30,
2018), in which the court agreed with the argument that “[t]he      Plaintiffs argue that Defendants made untrue or misleading
Amended Complaint is premised on the faulty notion that             statements of material fact, or failed to state material facts
Embraer was required to disclose details of the [United States      necessary to make statements not misleading, regarding
Foreign Corrupt Practices Act] violations and admit that it         compliance expenditures. Response [#63] at 51-53. In
had engaged in wrongdoing—before it had even been charged           addition to certain previously-quoted allegations which the
and before the investigations were even complete. However,
                                                                    Court has reviewed, 10 Plaintiffs cite to the following
the Second Circuit has held that disclosure is not a rite of
                                                                    allegations in support of this category of purportedly false/
confession and companies do not have a duty to disclose
                                                                    misleading statements. Id. 1.
uncharged, unadjudicated wrongdoing.”
                                                                      Two years prior to the Class Period (which begins
The Court finds that Plaintiffs overstate their case regarding          on February 24, 2012), “[a]t a meeting of Western
Defendants’ statements describing then-ongoing government               Union's Board of Directors on February 24-25, 2010,
investigations. First, regarding the February 12, 2013                  attended by Defendants Ersek [and] Scheirman, [i]t
statement by Defendant Ersek that the Company was a                     was...discussed...that Western Union conducted a test
“market leader,” Am. Compl. [#40] ¶ 360, Plaintiffs provide             of 1,014 of its U.S.-based agents that showed that
no allegations that, despite any problems Western Union                 27% of the agents visited during the review failed to
may have been experiencing, the company was not still                   meet compliance requirements. Based on these findings,
a market leader in this realm. For example, they could                  Western Union retrained only 188 agents and did not take
have alleged other companies which were actually market                 further steps to correct the issue outside of the sample
leaders at this time. Second, regarding the May 8, 2013                 that participated in the test.” Am. Compl. [#40] ¶¶ 95-96.
statement by Defendant Ersek that “compliance culture is
in our DNA,” the Court finds (despite Plaintiffs’ assertion           2. “In the [August 2, 2012] Q2 2012 10-Q, the Company
to the contrary, see Response [#63] at 50 n.20) that this                stated, in relevant part:
type of statement is nothing more than unverifiable puffery.
                                                                           Enhanced Regulatory Compliance
See Grossman, 120 F.3d at 1118. Third, Plaintiffs point to
Defendant Agrawal's May 1, 2014 statement that ““[i]t's early              We regularly review our compliance programs. In
in the process and it's something that we're working through.              connection with that review and growing global
We have good monitoring systems in place. We have a multi-                 regulatory complexity, and as we dialogue with
faceted program to prevent consumer fraud, and outreach                    governmental and regulatory authorities, we have
program with consumers.” When read in the full context                     made, and continue to make, enhancements to our
of Plaintiff's allegations, as provided above, it is clear that            processes and systems designed to detect and prevent
the point was made that there was an ongoing investigation,                money laundering, terrorist financing, fraud and other
and accordingly, the Court finds that Defendant Agrawal's                  illicit activity. These enhancements, along with other
subsequent statement constitutes nothing more sinister than                enhancements to improve consumer protection related
vague statements of corporate optimism, which are simply                   to the Dodd-Frank Act and other matters, have
not actionable under the securities laws. See Pirraglia, 339               resulted in, and in coming quarters we expect them
F.3d at 1189. In short, the Court finds that the allegations here          to continue to result in, changes to certain of our
described by Plaintiffs do not constitute legally actionable               business practices and increased costs. We believe
false or misleading statements.                                            some of these changes will have an adverse effect
                                                                           on our business, financial condition and results of
 *16 Accordingly, to the extent Claim One is based on                      operations.
this category of purportedly false and misleading statements
regarding government investigations, Claim One is dismissed              Id. ¶ 342.
against Defendants Ersek, Scheirman, Agrawal, and Western
Union.                                                                3. “[A]t th[e] November 7, 2012 Citi Financial
                                                                        Technology Conference, Defendant Scheirman blamed



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    the Company's compliance costs and issues on ‘glob[al]’            requirements. In addition, we continue to adapt our
    trends, stating that ‘[w]e now spend over $100 million a           business practices and strategies to help us comply
    year on compliance and just given how the compliance               with current and evolving legal standards and industry
    requirements are generally tightening around the globe,            practices, including heightened regulatory focus on
    that's one spend we'll probably continue to increase as            compliance with anti-money laundering or fraud
    we move forward.’ ” Id. ¶ 358.                                     prevention requirements....

  4. “On February 14, 2013, ...at the Goldman Sachs                    ***
    Technology & Internet Conference, Defendant Ersek
    explained that the Company was well-positioned to                  ...While we believe that Western Union is compliant
    build its digital platform because ‘we have the anti-              with its regulatory responsibilities, the legal, political
    money laundering system, we have everything there                  and business environments in these areas are rapidly
    that we don't have to deal with so we are really                   changing, and subsequent legislation, regulation,
    building on our existing fundamentals and new channel              litigation, court rulings or other events could expose
    on the send side called westernunion.com. That's the               Western Union to increased program costs, liability
    biggest advantage.’ Ersek also continued to describe the           and reputational damage.
    Company's efforts to ‘upgrade our compliance activities’
                                                                       ***
    as limited to the Southwest Border area and described
    these efforts as setting the ‘long term industry standard          Our agents’ or their subagents’ failure to comply with
    and a competitive advantage for us,’ rather than meeting           federal and state laws and regulations as well as laws
    minimum and basic legal requirements.’ ” Id. ¶ 363. 11             and regulations outside the United States could have
                                                                       an adverse effect on our business, financial condition
  *17 5. In the 2012 10-K, filed on February 22, 2013, the             and results of operations.
   Company stated, in pertinent part:
                                                                    Id ¶ 366.
       Our business is subject to a wide range of laws
       and regulations intended to help detect and prevent        6. “On July 30, 2013, the Company held a conference
       money laundering, terrorist financing, fraud and other        call in connection with the release of its earnings for
       illicit activity. Failure by us, our agents or their          the second quarter of 2013. In response to a question
       subagents to comply with those laws and regulations           about future compliance costs, Defendant Scheirman
       or their interpretation and increased costs or loss           stated that compliance costs would likely increase as
       of business associated with compliance with those             a result of the changing regulatory environment, rather
       laws and regulations could have an adverse effect             than because of the Company's failure to meet current
       on our business, financial condition and results of           compliance requirements. He stated...‘that having a
       operations....                                                robust compliance program and a strong culture of
                                                                     compliance is very important to us. And so broadly
       ...While we believe our fraud prevention efforts              as we think about the global landscape, the regulatory
       are effective and comply with applicable law, the             environment continues to move. So as I think about
       ingenuity of criminal fraudsters, combined with the           2014 and 2015, right now I'd expect our compliance and
       potential susceptibility to fraud by consumers during         regulatory costs to increase. But what's important about
       economically difficult times, make the prevention             that is that it protects the brand, it protects the customer,
       of consumer fraud a significant and challenging               it protects our agents. And longer term we believe that's
       problem....                                                   going to be a competitive advantage because of our scale
                                                                     and our scope of what we can do with compliance and
       ***
                                                                     the regulatory.’ Defendant Ersek then added that ‘I do
       We have developed and continue to enhance our                 see that as a competitive advantage. We have really the
       global compliance programs, including our anti-               culture in our company. And the most importantly, it
       money laundering program comprised of policies,               protects the consumer....We comply with all regulations
       procedures, systems and internal controls to monitor          world[wide] and try to be the best in class and leading
       and to address various legal and regulatory                   our industry here.’ ” Id. ¶ 388.



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                                                                      Michael Salop, the Company's Senior Vice President of
  *18 7. “On October 29, 2013, the Company reported its               Investor Relations, stated that ‘[a] lot of these things
   third quarter 2013 financial results. A main topic on the          are not necessarily black and white or haven't been
   Company's earnings conference call for the third quarter           historically. So when we work with regulators around the
   of 2013, held on that day was the Company's surprisingly           world and around the states and you get clarification on
   high increase in compliance costs for 2014. Defendant              what's needed and make agreement on what programs
   Ersek stated:                                                      you'll do, these things are kind of fluid. And so some of
                                                                      these are interpretations of older rules, some of these are
    As you are aware, regulatory requirements and
                                                                      new things, some of these are just clarifications with the
    expectations around financial service companies are
                                                                      regulators, some of them are own reviews, so there's a
    escalating around the world. Some banks have recently
                                                                      lot of different things going in here.’ ” Id. ¶ 399.
    faced large fines, and some have announced billions
    of dollars of incremental investments in compliance             8. “The reason for the market's negative reaction
    areas. The environments continue to evolve. In the U.S.,          was because of the Company's substantial increase
    for example, we recently initiated agent procedures at            in compliance costs, and corresponding decrease in
    our 50,000 agent locations to comply with the Dodd-               projected profits that resulted directly from those costs.
    Frank Remittance Transfer Rule. And I am pleased to               As Bloomberg reported on October 30, ‘Western Union
    report that the procedures were implemented in time               Plunges 19% as Compliance Costs Rise.’ Indeed,
    for the October 28 deadline. As we mentioned, earlier             Moody's Investors Service downgraded the rating of
    this year we have previously implemented new anti-                Western Union's senior unsecured debt on November 18,
    money laundering and fraud prevention enhancements in             2013 because of the Company's ‘unexpected increase in
    countries such as Spain and UK.                                   compliance related costs’ and the Company's projection
                                                                      that it would not have any operating profit in 2014
    Specifically addressing the Southwest Border
                                                                      as a result of those compliance costs.” Id. ¶ 503.
    Agreement, Ersek stated that ‘in the U.S., we are
                                                                      “These increased compliance costs were a direct result
    now working with our third monitor on the Southwest
                                                                      of the Company's compliance failures discussed above.
    Border Agreement. As noted in an 8-K filed today, we
                                                                      Although the Company did not disclose it at this time, it
    have agreed to an additional short-term extension to
                                                                      took these steps as a result of the ongoing government
    this agreement to continue discussing amendments. We
                                                                      compliance failures and investigations that resulted in
    could not conclude discussions on a long-term expansion
                                                                      the Joint Settlement.” Id. ¶ 504.
    under the previous timeframe for reasons including
    the recent passing of Arizona's primary attorney on             *19 9. The 2013 10-K, filed on February 24, 2014, largely
    the matter.’ ” Id. ¶ 397. “Defendant Ersek also stated           repeated the same statements in the 2012 10-K, see
    on this October 29, 2013 call that ‘75% of our                   § III.B.1.b.5., with the following pertinent additions/
    network [of agents] are banks and financial institutions,’       alterations:
    which ‘choose us because we have high standards
    on compliance.’ He also stated that the Company's                    Our business is subject to a wide range of laws and
    surprisingly high increase in compliance costs for the               regulations. Liabilities or loss of business resulting
    following year was ‘not specific to the Western Union.’              from a failure by us, our agents or their subagents
    Ersek stated that Western Union was ‘a market leader’                to comply with laws and regulations and regulatory
    setting the ‘industry standard.’ ” Id. ¶ 398. “At the end of         or judicial interpretations thereof, including laws and
    this October 29, 2013 conference [c]all, an analyst stated           regulations designed to detect and prevent money
    that Defendants’ comments earlier in the call ‘sound[ed]             laundering, terrorist financing, fraud and other illicit
    like what you guys are saying if you kind of roll up                 activity, and increased costs or loss of business
    all this commentary is that, it's essentially going to cost          associated with compliance with those laws and
    you more than you previously thought to comply with                  regulations has had and we expect will continue to
    regulations that you already knew about...as opposed                 have an adverse effect on our business, financial
    to new regulations having just popped up in the last                 condition and results of operations....
    couple of months since the last earnings call.’ After
    Defendant Ersek's equivocal response to this question,



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                                                                       us, our agents or their subagents in establishing
       ...While we believe our fraud prevention efforts                or maintaining relationships with banks needed to
       are effective and comply with applicable law, the               conduct our services, or if our agents or their
       ingenuity of criminal fraudsters, combined with the             subagents fail to comply with Western Union business
       potential susceptibility to fraud by consumers, make            and technology standards and contract requirements,
       the prevention of consumer fraud a significant and              our business, financial condition and results of
       challenging problem....                                         operations would be adversely affected...

       ...In 2013, the Company spent over $150 million on its       Id. ¶ 447.
       compliance and regulatory programs, including costs
       related to our amended settlement agreement with the       11. “At a June 9, 2015 William Blair Growth Stock
       State of Arizona....                                         Conference, Defendant Agrawal stated:

       ***                                                             Our cross-border platform is really what sits at
                                                                       the center of our global money transfer business
       If we are unable to maintain our agent, subagent                and I really believe that's unrivalled [sic] in its
       or global business payments networks under terms                capabilities ....Our strong regulatory and compliance
       consistent with those currently in place, or if our             capabilities: we've been investing in this area for
       agents or their subagents fail to comply with Western           quite some time and we continue to strengthen our
       Union business and technology standards and contract            capabilities here, and we believe it's going to be a
       requirements, our business, financial condition and             long-term competitive advantage for us in this global
       results of operations would be adversely affected....           and complex environment that we're operating in....

    Id. ¶ 411.                                                          *20 So the significant investment we've made in the
                                                                       compliance area is helping us stand apart from the rest
  10. A year later, the 2014 10-K, filed on February 20, 2015,
                                                                       of the market. And I believe that will be more and
    largely repeated the same statements in the 2013 10-K,
                                                                       more the case....
    see§ III.B.1.b.9., with the following pertinent additions/
    alterations:                                                       And nobody really has the great technology and
                                                                       compliance engine in the middle that I talked about.
       Our business is subject to a wide range and increasing
                                                                       That's very, very difficult to replicate for anybody.
       number of laws and regulations....
                                                                       Very few players in the market have that kind of
       ***                                                             capability.”

       ...As of December 31, 2014, these programs included          Id. ¶ 459.
       approximately 1,900 dedicated compliance personnel,
                                                                  12. “On the earnings call for the third quarter of 2015, held
       training and monitoring programs, suspicious activity
                                                                    on October 29, 2015, Defendant Ersek stated:
       reporting, regulatory outreach and education, and
       support and guidance to our agent network on                    We do see in some markets that competitors are
       regulatory compliance....In 2014 , the Company spent            finding it difficult to operate in the market because
       over $180 million on its compliance and regulatory              the regulatory environment is quite – asking a lot of
       programs, including costs related to our amended                questions and a lot of demands for them. And as you
       settlement agreement with the State of Arizona....              recall, we invested – started to invest about three years
                                                                       ago heavily into compliance. And obviously, we do
       ***
                                                                       see that pay back. And this year, investments will
       If we are unable to maintain our agent, subagent or             be about – it's currently running about 3.7% of our
       global business relationships under terms consistent            revenue.
       with those currently in place, including due to
                                                                       But it's kind of a competency now for us, running
       increased costs or loss of business as a result of
                                                                       the transaction through our compliance programs in a
       increased compliance requirements or difficulty for
                                                                       way that's like an engine makes us definitely in way


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      – a big competitive advantage. It means also that this           results of operations, and cash flows would be
      regulatory environment will be in 200 countries. The             adversely affected....
      compliance regulatory challenges won't be less in the
      future, that will continue. And we are committed to be          *21 Id. ¶ 474.
      in 200 countries where we operate and comply with
                                                                   14. “[A]t th[e] March 10, 2016 Investor Day Conference,
      the regulators. And it means also that we will be there,
                                                                     David Thompson, Western Union's Chief Technology
      and that could be long-term a competitive advantage.”
                                                                     Officer, stated:
    Id. ¶ 465.
                                                                       [W]e now have a state-of-the-art compliance
  13. A year later, the 2015 10-K, filed on February 19,               platform both based on technology and people
    2016, largely repeated the same statements in the 2014             or compliance professionals....And we built this
    10-K, see § III.B.1.b.10., with the following pertinent            technology to prevent fraud in our network, protect
    additions/alterations:                                             our customers....And this is a very powerful capability
                                                                       for us in monitoring the suspicious activity and
      ...Liabilities or loss of business resulting from a              monitoring aggregation rules for our customers.
      failure by us, our agents or their subagents to comply
      with laws and regulations and regulatory or judicial             These rules also prevent and help us detect human
      interpretations thereof, including laws and regulations          trafficking, terrorist financing, child exploitation,
      designed to protect consumers, or detect and prevent             and other activities that may not be allowed, like
      money laundering, terrorist financing, fraud and other           Internet gambling and associated activities. These
      illicit activity, and increased costs or loss of business        rules are also in place to allow us to screen against
      associated with compliance with those laws and                   government sanctions lists, and politically exposed
      regulations has had and we expect will continue to               lists provided by various governments. Now these are
      have an adverse effect on our business, financial                our proprietary tools that we've created that are a long-
      condition, results of operations, and cash flows....             term competitive advantage for Western Union, and
                                                                       are very powerful capabilities that we provide to our
      ***                                                              partners and our customers.

      ...As of December 31, 2015, these programs included              So, in summary, at Western Union, we've created new
      approximately 2,200 dedicated compliance personnel,              technologies and platforms and processes to serve our
      training and monitoring programs, suspicious activity            customers. And we're now really at a state where
      reporting, regulatory outreach and education, and                we've transformed our capabilities....And it's exciting
      support and guidance to our agent network                        to be a part of this transformation at Western Union
      on regulatory compliance....In 2015, we spent                    and deliver technologies that move money for better.”
      approximately $200 million on our compliance and
      regulatory programs....                                        Id. ¶ 480.

      ***                                                          15. “At a May 25, 2016 J.P. Morgan Global Technology
                                                                     Media and Telecom Conference, Defendant Ersek
      If we are unable to maintain our agent, subagent or            stated:
      global business relationships under terms consistent
      with those currently in place, including due to                  We came forward and made a big announcement that
      increased costs or loss of business as a result of               we're going to upgrade our, significantly we were
      increased compliance requirements or difficulty for              always very focused on compliance, but significantly
      us, our agents or their subagents in establishing                upgrade our compliance environment because the
      or maintaining relationships with banks needed to                world was changing....
      conduct our services, or if our agents or their
                                                                       Western Union is, especially with the environment,
      subagents fail to comply with Western Union
                                                                       helping the law enforcement governments to move
      business and technology standards and contract
                                                                       good money. That's why we invested in the
      requirements, our business, financial condition,
                                                                       compliance. I think we don't want that money


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       because the good money supports people, supports               ‘to promptly suspend and terminate agent locations
       governments, supports law enforcement, helps law               facilitating fraud. Instead, Western Union has continued
       enforcement...in a very efficient way. Money will              to profit from the activities of these agents.’ These
       move anyway, but it should move in a regulated way.            failures extended to agent ‘locations that appeared to be
                                                                      complicit in paying out fraud-induced money transfers
    Id. ¶ 486.                                                        or repeatedly failed to comply with Western Union's anti-
                                                                      fraud and AML programs, policies, and procedures.’ ”
  16. “[T]he Federal Trade Commission (“FTC”) found
                                                                      Id. ¶ 148.
    that for many years, Western Union knew that it
    failed to implement effective anti-fraud and AML
                                                                 10
    programs ‘to adequately and effectively detect and                  Am. Compl. [#40] ¶¶ 360-61 (see § III.B.1.a.ii.), ¶
    prevent consumer frauds employing Western Union's                   374 (see § III.B.1.a.i.8.), ¶ 483 (see §
    money transfer system.’ The Company had knowledge                   III.B.1.a.i.15.), ¶ 489 (see § III.B.1.a.i.16.), and ¶
    of these inexcusable compliance deficiencies based                  493 (see § III.B.1.a.i.17.).
    on, among other things, ‘[i]nformation contained in          11
    Western Union's internal reports, communications, and               The cited paragraph actually states, “[o]n February
    other records demonstrat[ing] that the company has                  14, 2013, 2012, at the Goldman Sachs Technology
    been aware of high levels of consumer fraud involving               & Internet Conference...,” but the context of this
    particular countries and agents, including network                  paragraph indicates that “2013,” not “2012,” is the
    agents Western Union itself owns.’ ” Id. ¶ 9.                       correct date.
                                                                 Plaintiffs argue that Defendants “falsely characterized the
  17. “As the Class Period progressed and Western                reason for Western Union's compliance expenditures during
    Union became further ensnared in the government              the Class Period.” Response [#63] at 51. They state that
    investigations that led to the Joint Settlement, the         “[a]ll of these statements were false and misleading because
    Company claimed to have begun taking steps to improve        —contrary to the reasons that Defendants gave—Western
    its compliance practices. The Statement of Facts that        Union's compliance expenditures were actually made in
    Western Union negotiated with DOJ to reach the Joint         response to government investigations into the compliance
    Settlement states that by September 2012—over six            failures that formed the basis for the Joint Settlement.” Id.
    months after the Class Period began—Western Union            “When giving these reasons, Defendants left out the key
    began taking certain steps to improve its anti-fraud and     reason for those efforts. Once Defendants chose to discuss
    AML compliance programs. But these efforts were too          Western Union's rationale for its increased compliance efforts,
    little, too late. As the DOJ Statement of Facts states,      they had a duty to do so forthrightly and without omitting
    the Company did not significantly increase the number        the most important reason.” Id. at 52. They state that
    of compliance employees or its compliance budget until       “Western Union's reason for its compliance expenditures is an
    2013 through 2015, well into the Class Period. Other         objectively verifiable fact,” and that “[t]he Joint Settlement
    remedial measures referenced in the Statement of Facts       makes clear that the actual reason for the Company's
    are not given specific dates, but rather, are described as   increased compliance costs was its reaction to the government
    ‘continu[ing]’ efforts. Western Union also admitted to       investigations and its awareness of its significant compliance
    DOJ that it willfully failed to implement an effective       failures.” Id.
    AML program and that it aided and abetted wire fraud
    through December 2012.” Id. ¶ 144.                           In support, Plaintiffs cite to Nakkhumpun v. Taylor, 782 F.3d
                                                                 1142 (10th Cir. 2015), in which the defendant had stated
  *22 18. “In addition, even if Western Union implemented
                                                                 publicly that there was only one reason why something had
   certain compliance measures beginning in late 2012,
                                                                 occurred, i.e., that a deal to purchase a portion of the company
   those efforts failed to cure the most serious compliance
                                                                 had purportedly fell through because the potential buyer was
   deficiency that the Company experienced. The FTC
                                                                 unable to get financing, when the plaintiff had alleged facts
   determined that although Western Union improved
                                                                 clearly showing there was a different reason, i.e., that the
   certain aspects of its anti-fraud program since 2012
                                                                 investor's CEO had “unambiguous[ly]” stated that the deal
   because of the FTC's ongoing investigation, the
                                                                 fell through because the company was not worth what his
   Company continued well past that time to fail
                                                                 company had initially thought. The Tenth Circuit held that the


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defendant had falsely “attributed the impasse to” financing         12     “[N]otwithstanding the usual rule that a court
difficulties rather than valuation concerns, and that even if the          should consider no evidence beyond the pleadings
defendant's stated reason was one of several possible reasons              on a Federal Rule of Civil Procedure 12(b)(6)
for an event, “[t]he existence of multiple explanations is what            motion to dismiss, the district court may consider
made [the defendant's] statement misleading.” Nakkhumpun,                  documents referred to in the complaint if the
782 F.3d at 1149.                                                          documents are central to the plaintiff's claim
                                                                           and the parties do not dispute the documents’
However, in reading the allegations as a whole, the Court                  authenticity.” Hampton v. root9B Techs., Inc.,
believes that Plaintiffs overstate the effect of Defendants’               897 F.3d 1291, 1297 (10th Cir. 2018) (internal
individual statements here. First, unlike Nakkhumpun, the                  quotation marks and brackets omitted). Thus, the
statements here do not “unambigious[ly]” state, or even                    Court can examine this document (and others cited
suggest, that there was only one reason for increased                      in this Order) as one that is centrally referred to
compliance expenditures. Second, there is no indication                    in the Amended Complaint and whose authenticity
in these allegations that “global trends” and “increasingly                is not disputed. Here, specifically, the Court notes
complex regulatory requirements” were not or could not                     that, although only one page of the transcript
have been additional reasons for increased compliance                      is provided by Defendants, Plaintiffs have not
expenditures. Third, as Defendants argue, the FTC statement                disputed the accuracy of the transcript or argued
cited by Plaintiffs (“[A]s a result of the FTC's investigation,            that a full transcript is required in order for the
Western Union has improved aspects of its anti-fraud                       Court to accurately review its contents.
program since 2012.”) refers to improvements, rather than
investments, refers only to anti-fraud programs and not             In short, the Court finds that Plaintiffs have failed to
to AML specifically or other compliance areas, and does             adequately allege that the statements in this category
not indicate that the FTC investigation was the only                regarding compliance expenditures were legally actionable
reason Western Union increased its compliance expenditures          untrue or misleading statements of material fact, or that
regarding anti-fraud programs. Reply [#70] at 63 (citing            Defendants failed to state material fact necessary to make
Response [#63] at 51).                                              these statements not misleading. Accordingly, to the extent
                                                                    Claim One is based on this category of purportedly
 *23 Fourth, the Court is not convinced by the citations            false and misleading statements regarding compliance
provided by Plaintiffs that Defendants characterized the            expenditures, Claim One is dismissed against Defendants
Company's compliance difficulties and increased efforts as          Ersek, Scheirman, Agrawal, and Western Union.
limited to issues raised by the SBA. Am. Compl. [#40] ¶¶ 361,
363, 447. The first statement cited by Plaintiffs discusses the
transcript of a February 12, 2013 conference call, but there                         c. Compliance Practices
is no indication here that Defendants Ersek and Scheirman
“continued to characterize the Company's compliance-related         Plaintiffs argue that Defendants also made untrue or
issues as limited to Mexico and Latin America as part of            misleading statements of material fact, or failed to state
the [SBA], rather than the Company's more comprehensive             material facts necessary to make statements not misleading,
failure to comply with pre-existing basic AML and anti-fraud        regarding compliance practices. Response [#63] at 41-47. In
requirements,” as argued by Plaintiffs. Id. ¶ 361; Defs.’ Ex.       addition to certain previously-quoted allegations which the
93 [#70-8] at 3. 12 The second statement cited by Plaintiffs        Court has also reviewed, 13 Plaintiffs cite to the following
discusses how pricing changes were related to issues raised         allegations in support of this category of purportedly false/
by the SBA. Id. ¶ 363 (quoting Defs.’ Ex. 94 [#70-9] at             misleading statements. Id.
13). The third statement cited by Plaintiffs clearly shows that
                                                                      1. “On March 13, 2012, [D]efendant Scheirman attended
the SBA was only a partial reason for increased compliance
                                                                         the Credit Suisse Global Services Conference. In
expenditures: “In 2014, the Company spent over $180 million
                                                                         response to a participant question about how the
on its compliance and regulatory programs, including costs
                                                                         Company would maintain its pricing advantages
related to our amended settlement agreement with the State
                                                                         in the face of competition from other companies
of Arizona....” Am. Compl. [#40] ¶ 447.
                                                                         offering similar services, Scheirman stated that Western



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    Union's ‘compliance programs’ were ‘really competitive         conference by stating that the complexity of the business,
    strengths for us.’ ” Am. Compl. [#40] ¶ 311.                   including the ‘regulatory environment’ was good because
                                                                   although ‘[i]t scares to death, the competitors to enter this
  2. “On May 9, 2012, Western Union hosted an                      market,’ Western Union has ‘the competencies’ to address
    Investor Day for analysts, media representatives and           these issues.” Id. ¶ 322. “Also during this Investor Day
    investors. Defendants Ersek and Scheirman made                 conference, Defendant Scheirman stated in his prepared
    positive statements during their presentation about            remarks that Western Union's ‘compliance and regulatory
    the Company's compliance and regulatory capabilities.          capabilities’ were among its ‘strengths’ that would allow
    For example, Defendant Ersek focused a portion of              the Company to ‘deliver strong returns’ for shareholders in
    his prepared remarks on describing the supposed                the coming years.” Id. ¶ 323.
    strengths of Western Union's compliance and regulatory
    capabilities. He stated:                                       3. “On May 16, 2012, Defendants Scheirman and Stockdale
                                                                      attended the J.P. Morgan Global Technology, Media
        *24 These strengths separate us from the                      and Telecom Conference. In response to an analyst's
       competitors. I believe they are a huge competitive             questions as to how Western Union could compete
       advantage. Our global network, our strong brand, our           with technology startups, Scheirman responded that
       global organization and resources and our regulatory           ‘clearly just our compliance capabilities’ were one of the
       and anti-money laundering capabilities, there are not          Company's main advantages over other companies.” Id.
       many companies worldwide which could show these                ¶ 328.
       capabilities to you....
                                                                   4. “On June 12, 2012, Western Union attended a William
       Our fourth competitive advantage is our global anti-           Blair & Co LLC Growth Stock Conference call for
       money launder[ing] and regulatory capabilities. The            analysts, media representatives and investors. During
       regulations around our business are really highly              his opening remarks, Defendant Ersek continued to
       complex, and we have regulatory complexity in all              represent that the Company's compliance efforts were
       our markets. We have to comply with various Acts               a competitive ‘strength.’ He specifically touted the
       and interdictions lists around the world, as well as           Company's AML program as a way of enabling
       maintain a very active risk management system to               customers to ‘trust’ in the Company. Ersek stated:
       detect and deter potential money laundering activities.
                                                                        Before I discuss about our future strategies, let me
       It sounds complex, and indeed it is complex, but we              talk about the core strengths of Western Union....And
       see that as a competitive advantage, as we comply                the fourth one is the regulatory and anti-money
       with various Act and interdictions lists around the              laundering capabilities of Western Union. All
       world in 200 countries....                                       thiscombination gives us a unique opportunity and
                                                                        unique fundamentalsfor Western Union ....
       To protect our customers, our brand, to comply with
       rules and regulations, globally we dedicate about 600             One of our very strong competitive advantages is our
       employees around the globe to these efforts, and                  regulatory environment, our regulatory and anti-
       we spend nearly about $60 million on anti-money                   money laundering competency capabilities. It scares
       laundering and regulatory environment.”                           to death the competition to enter this market, the
                                                                         regulatory environment. And I always say, I know
  Id. ¶ 321. “Later during this May 9, 2012 Investor Day
                                                                         it's sometimes tough, but I always say it's good
  conference, Defendant Ersek stated that Western Union
                                                                         that the regulatory environment and we, as Western
  had an advantage over technology companies because
                                                                         Union, have these capabilities to serve the customers
  ‘it's important to remember Western Union is today[’s]
                                                                         and give the trust to the customers they believe at
  market leader in money transfer business. We have built
                                                                         Western Union....
  an incredible network over the years, now with 500,000
                                                                  *25 It's not that easy to have a money license in Gabon and
  retail locations in 200 countries and territories. Our brand
                                                                 Brazil or other states I'm talking about, so it's a competitive
  is well known and trusted around the globe. We have
                                                                 advantage for Western Union and we are very proud of that.
  the regulatory and anti-money laundering capabilities to
                                                                 (Emphasis added).”
  operate in all countries.’ Ersek subsequently closed the



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                                                                     Conference in Denver, Colorado, near its headquarters,
Id. ¶ 333. “Later during this June 12, 2012 conference call,         on September 18-20. The Company described this
when an analyst asked about competition for sending money            conference as ‘one of the biggest events of its kind’ with
cross-border from companies such as PayPal, Defendant                the purpose of ‘teaching best practices in identifying
Ersek responded by again claiming that the Company's                 and preventing fraud and money laundering.’ Western
regulatory compliance efforts provided it with a competitive         Union's Chief Compliance Officer stated that ‘[o]ur
advantage. He stated, ‘You have to get the regulatory                conference started in 2006 and we had one goal at
environment, somebody has to do that. It's not easy to do            that time: educate Agents on [AML] best practices,
that. You have to build the anti-money laundering [program],         regulations, and law-enforcement trends. It's now one of
somebody has to do that. ...So that has been definitely              North America's largest [AML]/anti-fraud conferences
something we are very proud [that] we buil[t].’ ” Id. ¶ 334.         that helps professionals from a wide variety of industries
                                                                     better identify and protect their organizations, and
                                                                     consumers, from fraud.’ The Company also stated in its
   5. “On July 24, 2012, Western Union issued a press                press release that it is ‘dedicated to fighting fraud and
       release announcing its financial results from the second      helps consumers protect themselves from scammers.’ ”
       quarter of 2012. During the conference call that Western      Id. ¶ 347.
       Union hosted that day after releasing these results,
       Defendant Ersek began his prepared remarks at the           *26 7. “On October 30, 2012, the Company held a
       outset of the call by reiterating his message that the       conference call in connection with the release of its
       Company's ‘global compliance capabilities’ gave it a         earnings for the third quarter of 2012. During this
       ‘strong’ foundation and ‘competitive strength.’ ” Id.        call, Defendant Ersek stated during that conference
       ¶ 336. “Later during the July 24, 2012 conference            call that ‘we are investing more in being an industry
       call, Defendant Scheirman described the effect of the        leader, putting some compliance requirements [in place]
       Company's compliance efforts as part of the Southwest        for our customers, which are tougher and higher than
       Border Agreement. He stated that ‘[w]e expect global         it was in the past....We are the industry leader, we
       spending on compliance activities over the next couple       are leading that and I think we are protecting our
       of years will not change significantly from the 2012         customer.’ He also stated that ‘[w]e have made and will
       levels as the breadth and complexity of requirements         continue to make compliance-related enhancements and
       and sustainability around the globe continues to expand,     changes around the world to meet new and evolving
       but we view our ability to adapt to this environment         requirements....[W]e believe it is our responsibility
       as a long-term competitive advantage.’ ” Id. ¶ 337. “In      to maintain our industry leadership by implementing
       response to an analyst's question later during this July     rigorous compliance practices to protect our customers
       24, 2012 conference call concerning compliance costs,        and agents around the world.’ Defendant Ersek also
       Defendant Ersek responded that the Company was ‘very         reassured investors by representing that the Company
       focused here and we are very serious’ about ‘upgrading       could maintain its price premium in part because of
       our compliance.’ He continued:                               the advantage that its ‘great compliance’ program gave
‘[I]t's a competitive advantage, long term. I think we are          it. Defendant Ersek also noted certain ‘compliances
investing heavily here to be, really acting as an industry          changes’ [sic] limited to issues ‘related to our Southwest
leader. We are setting the tone here. And I think we are very       border agreement,’ and did not address the Company's
focused here and I see that there is definitely a competitive       more comprehensive compliance deficiencies that
advantage.’ ” Defendant Ersek subsequently repeated this            would not become known until January 19, 2017.” Id. ¶
message when he stated that ‘[a]s an industry leader,               351.
obviously, we are very active here upgrading, investing
heavily’ in order to address new regulatory and compliance         8. “On November 7, 2012, at the Citi Financial Technology
issues.” Id. ¶ 338.                                                   Conference, Defendant Ersek described Western Union's
                                                                      compliance efforts in response to the Southwest Border
                                                                      Agreement as going above and beyond the Company's
  6. “On September 18, 2012, Western Union issued a press             minimum legal requirements. He characterized Western
     release announcing that it was hosting the 7th Annual            Union ‘as an industry leader[ ] in this sector,’ where
     Anti-Money Laundering, Anti-Fraud and Compliance                 the Company ‘set[s] the standards hopefully.’ Ersek


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    also described the Company's compliance with the                 protecting the customers. The customers trust us.’
    Southwest Border Agreement as meeting a ‘quite high’             Toward the end of this call, Defendant Scheirman
    and ‘industry lead[ing]’ standard. According to Ersek,           explained, in response to an analyst's question about a
    the ‘southwest border issue is unique to Western Union.          particular compliance practice, that ‘the important point
    It's an agreement which has been signed in 2010 and we           is we very much have a culture of compliance and want
    are implementing the actions and I am very confident             to have best-in-class compliance programs, that's very
    that the team is doing the right thing....[A]s an industry       important for our brand, protecting our customers, our
    leader, in this sector, obviously we set the standards           agents and so forth.’ ” Id. ¶ 389.
    hopefully.’ ” Id. ¶ 357.
                                                                   *27 11. “On September 17, 2013, Western Union issued
  9. “At a June 13, 2013 William Blair & Company Growth             a press release announcing that it was hosting the
     Stock Conference, Defendant Scheirman stated:                  8th Annual Anti-Money Laundering, Anti-Fraud and
                                                                    Compliance Conference in its hometown of Engelwood,
      [W]e have a strong brand. Our brand resonates                 Colorado on September 17-18. The Company described
      very well with our target customer. Again, it                 this conference as ‘[o]ne of the largest events of its
      stands for speed, trust, convenience, reliability             kind, [bringing] together diverse perspectives from
      and value. ...And we have robust compliance and               industry experts in [AML], compliance and fraud who
      regulatory capabilities. And any time you move                share best practices with some of Western Union's
      money cross-border, you need to be very good at               largest agents.’ The Company's Chief Compliance
      operations and very good at the compliance and the            Officer said in the press release that ‘[t]ogether with
      regulatory environment. So it's very complex and it's         governments, regulators, law enforcement authorities
      hard to do. And we've got those capabilities....              and financial service companies, we're fully engaged in
                                                                    the fight against money laundering and fraud.’ Western
      We very much can leverage our brand, our global
                                                                    Union also took this opportunity to advertise that it
      operations and our compliance capabilities to [expand
                                                                    ‘invests millions each year to run compliance programs.
      the online business]....
                                                                    The company continues to increase its headcount of
      Western Union has strong foundational assets. A               employees who are dedicated to compliance, fighting
      brand that is very much trusted by our customers              fraud and helping to protect and empower consumers
      around the globe and that trust is so important               around the globe. This dedication expands to those who
      when you're dealing with financial services....And            are on the frontlines at approximately 520,000 Agent
      we talked about global operations and our regulatory          locations around the globe.’ ” Id. ¶ 395.
      and compliance capabilities. And any time you're
                                                                   12. “On Western Union's earnings conference call for the
      moving money cross-border, in 200 countries, 16,000
                                                                     fourth quarter and full year of 2013, held on February
      corridors, 135 currencies, it is so important to have
                                                                     11, 2014, Defendant Ersek continued to represent that
      strong regulatory and compliance capabilities and
                                                                     “we are very much focused on our compliance activities.
      operational abilities.”
                                                                     We are the industry leader; we are focused on that;
    Id. ¶ 385. “Specifically addressing the regulatory               we are driving it.’ He also stated that ‘the regulator[y]
    environment, Scheirman stated at this June 13, 2013              environment is...changing very fast, evolving and we
    William Blair conference that ‘the regulators start with         are on – I believe as a industry leader, we are setting
    the market leaders and we're clearly a market leader.            your best practices. We are driving it. We have the
    And, again, we're going to partner with them because             great Compliance Officer. He hired very great people.
    we share the same goals of protecting our customers,             We do invest – our CIO, David Thompson, is very
    protecting our business systems and so forth.’ ” Id. ¶ 386.      focused on the...technology, how we can involve –
                                                                     activate the technology to be more effective on the
  10. Defendant Ersek “stated on [a] July 30, 2013 earnings          compliance making. The most focus is on the know
    call, in response to a question about the Company's              your agent and know your customer. And so there is
    pricing, ‘[w]e, as Western Union, I believe deserve              some diligence activities and I believe, as we gave –
    the premium pricing. Our brand is very valuable.                 we were anticipating that in Q3.’ Ersek later explained
    Our compliance programs are very valuable. We are                that the increased compliance costs were ‘mainly also


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    know your agent and know your customer activities. We
    have to do more questions on your customers, ask the           *28 16. “Western Union's pricing challenges that
    customer, register the customers, doing diligence on the        SunTrust[’s Robinson Humphrey] discussed [in an
    customers. But, also on the agent side with the frontline       August 1, 2014 report] were also a result of its
    associates, we are doing more diligence, understanding          compliance failures. As explained above, Defendants
    who is serving our customers. They trust us and they            stated during the Class Period that the Company
    want to trust also to the front-line associates. We do some     would maintain its pricing advantages in the face of
    diligences there. And I think that's the main investment        competition from other companies because Western
    [that is] going to continue to happen in the future.’ ” Id.     Union's ‘compliance programs’ were ‘really competitive
    ¶ 408.                                                          strengths for us.’ Because the Company was now forced
                                                                    to substantially increase its compliance expenditures
  13. “At the Jefferies Global Technology, Media & Telecom          because of its severely deficient compliance program, it
    Conference on May 7, 2014, Defendant Ersek stated               could no longer justify its premium pricing.” Id. ¶ 516
    that the Western Union's recent substantial compliance          (internal citation omitted).
    costs were now ‘a competitive advantage...[because] law
    enforcement are really looking up to us [and] saying that,     17. “At a September 11, 2014 Deutsche Bank dbAccess
    hey, it will be great as the leader, you are leading the         Technology Conference, Defendant Agrawal stated:
    market and be [sic] the best practice.’ ” Id. ¶ 423.
                                                                       We believe that compliance can be a competitive
  14. “At a June 11, 2014 William Blair Growth Stock                   advantage for us. It already is a competitive
    Conference, Defendant Agrawal stated that ‘[w]e also               advantage, and I believe it can be a bigger competitive
    have compliance and regularity capabilities that are               advantage for us as we operate because it's very
    strong and continue to get even better in this increasingly        difficult for most other organizations to spend at the
    complex global environment.’ Toward the end of his                 level that we are, and we've been doing this for many
    prepared remarks, he then stated that ‘in summary,                 years. This is not just a 2014 effort, we've been in the
    we have very strong foundational assets in place. Our              compliance area and investing there for quite some
    global brand, our global operational and compliance                time....
    capabilities and our presence in 200 countries and
                                                                       [W]e've been making a tremendous amount of
    territories around the world gives us a strong position
                                                                       progress [with complying with the amended
    from which to operate.’ ” Id. ¶ 425. He further stated that
                                                                       Southwest Border Agreement]. The state has assigned
    “one of the five reasons that Western Union was ‘well
                                                                       a monitor to be able to monitor the activities and to
    positioned’ to strengthen its consumer money transfer
                                                                       assess progress around our progress in making these
    business was because of its ‘[c]ompliance and regulatory
                                                                       changes. And we've been making great progress.
    capabilities.’ ” Id. ¶ 426.
                                                                     In response to a question about competition from other
  15. “On July 31, 2014, the Company filed its quarterly
                                                                     companies, including Apple's announcement that it was
    Form 10-Q with the SEC, announcing the Company's
                                                                     moving into the payments business, Defendant Agrawal
    financial and operating results for the second quarter
                                                                     promoted Western Union's compliance capabilities as
    of 2013, which ended on June 30, 2014 (the “Q2 2014
                                                                     giving it an advantage over other companies:
    10-Q”).” Id. ¶ 428. “The Q2 2014 10-Q contained
    substantially the same representations described in the            And so, I think, we're really well-positioned....And
    Company's Q2 2012 10-Q....” Id. ¶ 429. “The Q2 2014                it's about the global compliance capability that we
    10-Q contained signed certifications pursuant to [the              have, that's not easy to replicate, the global operational
    Sarbanes-Oxley Act (“SOX”) ] by Defendants Ersek and               capabilities. So we have a lot of advantages that
    Agrawal, stating that the financial information contained          will keep us well-positioned I believe....So I really
    in the Q2 2014 10-Q was accurate and disclosed any                 believe that we are extremely well positioned. Nobody
    material changes to the Company's internal control over            else has the global compliance capabilities that we
    financial reporting.” Id. ¶ 430.                                   have, the global operational capabilities. We operate
                                                                       in every country of the world and that's not an easy




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        infrastructure to replicate. And so that's why I feel
        good about where we are.”                                 21. “On January 21, 2015, Western Union hosted the
Id. ¶ 432.                                                          European Business Forum and Compliance Conference
                                                                    in Brussels for the second time. As was publicly
                                                                    reported, including by Western Union and major news
  18. “On September 17, 2014, Western Union issued a press          publications, over 200 financial industry and regulatory
    release announcing its 9th Annual Consumer Protection           experts attended this conference to discuss ‘how to
    Compliance Conference. The Company described this               enable innovation in the payments industry to better
    conference as ‘[o]ne of the largest events of its kind,         meet consumer and business financial service needs
    [bringing] together diverse perspectives from industry          in Europe, while meeting regulatory compliance.’ The
    experts in [AML], compliance and fraud and human                Company stated that this conference ‘reflects the
    trafficking to share best practices with some of Western        company's commitment as a leader in the payments
    Union's largest Agents.’ Defendant Ersek delivered              industry to ensure customer needs are understood,
    a keynote address at this conference ‘emphasizing               while meeting regulatory compliance.’ The forum
    the importance of compliance.’ The Company's Chief              was ‘followed by a compliance conference attended
    Compliance Officer said in the press release that               by Western Union agents and partners from across
    ‘Western Union is committed to helping protect its              Europe to focus on best practice[s] in anti-money
    customers against fraud and other financial crimes. It's        laundering measures and fraud protection.’ Ersek stated
    the right thing to do for our customers and for our             in connection with this conference that ‘[i]t's vital that
    business.’ ” Id. ¶ 436.                                         consumers and businesses are protected when using
                                                                    financial services, especially payments and remittances,
   19. “On October 30, 2014, the Company filed its quarterly        and that's why Western Union is committed to regulation
     Form 10-Q with the SEC, signed by Defendants Ersek             to prevent financial crime. To meet this commitment, we
     and Agrawal, announcing the Company's financial and            continue to focus on our compliance efforts as a priority
     operating results for the third quarter of 2013, which         for our business.’ ” Id. ¶ 442.
     ended on September 30, 2014 (the “Q3 2014 10-Q”).”
     Id. ¶ 438. “The Q3 2014 10-Q contained substantially         22. “In its presentation from its February 10, 2015
     the same representations described in the Company's            earnings call for the fourth quarter and fiscal year 2014,
     Q2 2012 10-Q....” Id. ¶ 439. “The Q3 2014 10-Q                 the Defendant Ersek represented that one of Western
     contained signed certifications pursuant to SOX by             Union's four ‘key results’ that it delivered in 2014 was
     Defendants Ersek and Agrawal, stating that the financial       ‘[e]nhanced global compliance programs.’ ” Id. ¶ 444.
     information contained in the Q3 2014 10-Q was accurate
     and disclosed any material changes to the Company's          23. “On February 20, 2015, the Company filed an annual
     internal control over financial reporting.” Id. ¶ 440.         report on Form 10-K with the SEC, announcing the
 *29 20. “In the conference call for earnings from the              Company's financial and operating results for the quarter
third quarter of 2014, held on October 30, 2014, Defendant          and fiscal year ended December 31, 2014 (the “2014
Agrawal stated that ‘[w]e've been able to accomplish our            10-K”).” Id. ¶ 446. “[I]n describing the ‘wide range
key objectives on the compliance side, and we've also done          of laws and regulations enacted by the United States
it more efficiently.’ In addition, Defendant Ersek stated that      federal government, each of the states, many localities
the Company had an advantage over smaller competitors               and many other countries and jurisdictions, including
who were ‘having more trouble to compete in the market              the European Union,’ the Company specifically noted
because they can't comply with the anti-money laundering            ‘an increasingly strict set of legal and regulatory
requirements.’ Defendant Ersek then stated that although the        requirements intended to help detect and prevent
Company did not give guidance for the following year, he was        money laundering, terrorist financing, fraud, and other
‘excited about compliance investments, and that gives us a          illicit activity’ and described particular requirements
long-term competitive advantage and that helps us.’ ” Id. ¶         of the BSA. The Company also noted that ‘[m]any
434.                                                                states impose similar and, in some cases, more
                                                                    stringent requirements’ and that ‘[t]hese requirements
                                                                    also apply to our agents and their subagents.’ ”
                                                                    Id. ¶ 448. “The 2014 10-K also discussed ongoing



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      governmental investigations, consent agreements, and             In short, Plaintiffs argue that Defendants “had a duty to
      enforcement actions by regulators, but claimed that these        disclose those serious current compliance failures, as well as
      investigations were too preliminary for the Company to           ones from the recent past that subjected the Company to the
      be able to predict their outcomes.” Id. ¶ 449. “The 2014         material risk of substantial monetary sanctions.” Response
      10-K contained signed certifications pursuant to SOX by          [#63] at 41.
      Defendants Ersek and Agrawal, stating that the financial
      information contained in the 2014 10-K was accurate              In SEB Asset Management S.A., 2014 WL 5708522, the Court
      and disclosed any material changes to the Company's              considered some statements which were essentially identical
      internal control over financial reporting.” Id. ¶ 450.           in substance to some mentioned here. Those statements
                                                                       included the “frequent talking point” for Western Union that
  24. “On April 30, 2015, the Company filed its quarterly              its “operations in 200 countries and territories” involved
    Form 10-Q with the SEC, signed by Defendants Ersek                 compliance expenses and burdens that its competitors would
    and Agrawal, announcing the Company's financial and                find difficult to match. The Court found that Western
    operating results for the first quarter of 2015, which             Union's “decision to embrace the benefits of strict regulatory
    ended on March 31, 2015 (the “Q1 2015 10-Q”).”                     compliance may have been sudden and opportunistic, but
    Id. ¶ 452. “The Q1 2015 10-Q contained substantially               the Complaint has not alleged any facts to suggest that it
    the same representations described in the Company's                was misleading” because the statements about Western Union
    Q2 2012 10-Q....” Id. ¶ 453. “The Q1 2015 10-Q                     being an industry leader were limited to predictions of how
    contained signed certifications pursuant to SOX by                 Western Union “would be a leader or trend-setter in the
    Defendants Ersek and Agrawal, stating that the financial           future.” The Court noted that the “statements are patently true
    information contained in the Q1 2015 10-Q was accurate             on their face – compliance with hundreds of discrete national
    and disclosed any material changes to the Company's                and international regulations is difficult and costly, and those
    internal control over financial reporting.” Id. ¶ 454.             difficulties and costs also serve to discourage competitors
                                                                       from attempting to match the breadth of [Western Union's]
     *30 25 “At a May 19, 2015 JPMorgan Global Technology,
                                                                       market.”
      Media and Telecom Conference, Defendant Ersek stated
      that even though the Company had to lower prices
                                                                       The parties also discuss the impact of In re Level 3
      in Mexico, ‘overall, I will say that our brand, our
                                                                       Communications Securities Litigation, 667 F.3d 1331, 1339
      locations, our compliance programs, our trust does
                                                                       (10th Cir. 2012), on the issue of compliance practice
      deserve a premium and the customers pay for that. So,
                                                                       statements. Response [#63] at 45 n.16; Reply [#70] at
      they are happy with that.’ Ersek also stated that ‘our
                                                                       50-51. The Tenth Circuit there held that statements such as
      investment in the technology over the last three years,
                                                                       “[a] majority of the physical network interconnections are
      and our investment in compliance,...it's good to invest
                                                                       completed” and “[m]ost of the physical integration of WilTel
      in the compliance, it's a competitive advantage. Being
                                                                       is now complete” were not puffery, because they had “some
      regulated in 200 countries, it's a tough environment,
                                                                       basis in objective and verifiable fact.” In re Level 3, 667 F.3d
      it's good. We are investing there, it's a competitive
                                                                       at 1340-41. However, statements concerning “integration
      advantage. We know how to do that, and that is also
                                                                       efforts and the customer experience” and “general, forward-
      kind of a barrier for many to come and to operate in that
                                                                       looking expressions of confidence” regarding integration
      corridor....Being an industry leader, we are doing the first
                                                                       efforts were deemed insufficiently concrete or specific to be
      attempt, and you are always setting the standards, but
                                                                       actionable, even though they were made during a time when
      long-term, it will be done.’ ” Id. ¶ 456.
                                                                       the company knew that integration was not going well. Id. at
                                                                       1340.
13
         Am. Compl. [#40] ¶ 360 (see § III.B.1.a.ii.), ¶ 363
         (see § III.B.1.b.4.), ¶¶ 374-75 (see §                        The Court agrees with Defendants’ assessment of these
         III.B.1.a.i.8.), ¶ 381 (see § III.B.1.a.ii.), ¶ 388 (see      statements. They are all either “forward-looking statements
         § III.B.1.b.6.), ¶ 398 (see § III.B.1.b.7.), ¶ 417            predicting competitive advantages eventually to be gained
         (see § III.B.1.a.ii.), ¶ 447 (see § III.B.1.b.10.), and       from large, ongoing compliance investments” or “present-
         ¶ 459 (see § III.B.1.b.11.).                                  tense statements of opinions regarding the competitive
                                                                       advantages of having already established compliance



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infrastructure in more than 200 countries.” Reply [#70] at       “advantage” held by Western Union when compared to
42. As such, the Court finds that these statements lack a        competitors with respect to its digital presence); see also
demonstrable false basis and, in many cases, are mere puffery.   Defs.’ Exs. 29, 88, 89, 94 [#57-29, #70-3, #70-4, #70-9].
See Grossman, 120 F.3d at 1119-20 (“Vague, optimistic
statements are not actionable because reasonable investors do    Accordingly, to the extent Claim One is based on this
not rely on them in making investment decisions.”).              category of purportedly false and misleading statements
                                                                 regarding compliance practices, Claim One is dismissed
For example, Plaintiffs point to the September 11, 2014          against Defendants Ersek, Scheirman, Agrawal, and Western
statements by Defendant Agrawal that compliance “already         Union.
is a competitive advantage...we've been doing this for
many years. This is not just a 2014 effort, we've been
in the compliance area and investing there for quite some           2. Scienter
time” and that “[n]obody else has the global compliance          Plaintiffs argue that Defendants made untrue or misleading
capabilities that we have.” Am. Compl. [#40] ¶ 432; see          statements of material fact, or failed to state material facts
also Response [#63] at 46 n.17 (discussing statements where      necessary to make statements not misleading, regarding
Defendants “characterized the Company as the current and         legal compliance. Response [#63] at 36-41. Specifically, they
best industry and market leader”). Especially when read          argue:
in context, see Defs.’ Ex. 102 [#70-17], these statements
                                                                   Defendants’ statements of legal compliance were false
are materially similar to those discussed in SEB Asset
                                                                   and misleading because, as Western Union admitted to
Management S.A., 2014 WL 5708522, and Plaintiffs have
                                                                   DOJ, and as the FTC determined, the Company did not
provided no allegations from which the Court can reasonably
                                                                   comply with its AML and anti-fraud obligations during
infer that these statements were false, such as allegations
                                                                   the Class Period. Western Union's legal violations included
showing that Western Union had not been investing in
                                                                   admitted criminal liability for willfully failing to maintain
compliance prior to 2014 or that other competitors did indeed
                                                                   an effective AML program as required by the BSA and
have similar global compliance capabilities at that time, or
                                                                   willfully “failing to suspend and/or terminate complicit
that Western Union was not a market leader, despite any issues
                                                                   Agents” and “allowing them to continue to process fraud-
that Western Union may also have been experiencing. See,
                                                                   induced monetary transactions” through 2012; as well
e.g., Am. Compl. [#40] ¶ 205 (stating that Western Union only
                                                                   as civil liability for violating the FTC Act by failing
had one main competitor, MoneyGram International, Inc.,
                                                                   to detect and prevent consumer fraud and violating
without sufficiently elaborating on comparative allegations
                                                                   the Telemarketing Sales Rule by providing substantial
that could show some of Defendants’ statements were false
                                                                   assistance to parties that engaged in consumer fraud
or misleading).
                                                                   through the date of the Joint Settlement.

 *31 Further, as Defendants argue, many of these statements      Response [#63] at 37-38. They further argue that
mention the competitive advantages held by Western Union         “Defendants’ statements touting Western Union's legal
based on the global scope of its compliance infrastructure       compliance gave investors the impression that the Company's
and continuing investments. Reply [#70] at 46. At most, the      compliance practices were up to par. It was therefore
statements merely compare Western Union to its competitors       misleading for Defendants to fail to disclose the many ways
and are not “absolute assurances” regarding compliance           that Western Union engaged in activities that gave rise to
practices. Id. at 46-47. As one of many examples, this           the high probability of substantial government sanctions.” Id.
applies to the statement that, “longer term we believe [our      at 38. In other words, Plaintiffs assert that Defendants “did
increased compliance spending is] going to be a competitive      not disclose that Western Union already failed to comply
advantage because of our scale and our scope of what             with AML and anti-fraud laws and already faced the high
we can do with compliance and the regulatory [sic].” Am.         risk of substantial monetary sanctions when they made those
Compl. [#40] ¶ 388; see also, e.g., id. ¶¶ 333 (discussing       statements throughout the Class Period.” Id. at 39 (emphasis
“competitive advantage”), 334 (discussing the difficulty of      in original).
navigating the regulatory environment for both Western
Union and competitors), 336 (discussing “global compliance       Defendants essentially concede that the statements regarding
capabilities” as a competitive strength), 363 (discussing the    actual legal compliance were technically false or misleading



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except that they were couched in terms of the truthful opinions                  and (2) the defendant knew that failure
of the speakers according to the information they had at                         to reveal the potentially material fact
the time when the statements were made. Motion [#54] at                          would likely mislead investors....We
40 (citing Omnicare, 135 S. Ct. at 1326-27 (holding that                         also take into account evidence of
statements such as believing that the company's marketing                        motive and opportunity, for, while
practices were lawful were not false simply because the belief                   these factors are typically insufficient
later turned out to be incorrect). Thus, in order to succeed                     in themselves to show scienter, they
here, Plaintiffs must provide allegations that (1) the speakers                  may be important to the totality of the
did not subjectively hold the stated beliefs at the times when                   pleadings.
the statements were made or (2) objectively, the speakers
did not undertake any reasonable inquiry into the grounds
underlying the statements before making the statements.             Pirraglia, 339 F.3d at 1191 (internal quotation marks and
Omnicare, S. Ct. at 1327, 1332. Based primarily on Omnicare,        brackets omitted). Moreover:
Defendants argue that “in order adequately to allege that
the statements of opinion were false, Plaintiff[s] must plead
with particularity facts that create a strong inference—at                       The strength of an inference cannot
least as compelling as any competing innocent inferences                         be decided in a vacuum. The inquiry
—that each [Defendant] did not believe what he said but,                         is inherently comparative: How likely
instead, that each believed throughout the Class Period                          is it that one conclusion, as compared
that the Company was engaged in ongoing violations of                            to others, follows from the underlying
applicable legal requirements and believed that its compliance                   facts? To determine whether the
systems were fundamentally ineffectual.” Motion [#54] at                         plaintiff has alleged facts that give
42-43. Defendants assert that Plaintiffs have failed to provide                  rise to the requisite ‘strong inference’
adequate allegations demonstrating this. Id. at 43.                              of scienter, a court must consider
                                                                                 plausible, nonculpable explanations
 *32 The pleading requirements for scienter under the                            for the defendant's conduct, as well as
PSLRA have attracted special attention from the courts. “In                      inferences favorable to plaintiff.
a securities fraud case, the appropriate level of scienter is
a mental state embracing intent to deceive, manipulate or
defraud, or recklessness.” Adams, 340 F.3d at 1105. The
                                                                    Tellabs, 551 U.S. at 323-24.
Tenth Circuit has made clear that adequately pleading scienter
requires the plaintiffs to plead “facts with particularity giving
                                                                    As noted above, the state of mind necessary to sustain
rise to a strong inference that defendants acted with the
                                                                    allegations of securities fraud is either intent or recklessness.
requisite [state of mind],” and the trial court is instructed to
                                                                    “[P]laintiffs can adequately plead scienter by setting forth
“look to the totality of the pleadings” to determine whether the
                                                                    facts raising a strong inference of intentional or reckless
plaintiffs’ allegations permit such an inference. Pirraglia, 339
                                                                    misconduct.” City of Philadelphia v. Fleming Cos., Inc., 264
F.3d at 1190. In addition, “an inference is a logical conclusion
                                                                    F.3d 1245, 1259 (10th Cir. 2001) (emphasis in original).
drawn from the facts.” Adams, 340 F.3d at 1105. “A strong
inference of scienter” means “a conclusion logically based
upon particular facts that would convince a reasonable person
that the defendant knew a statement was false or misleading.”                    Recklessness, defined as conduct that
Id.                                                                              is an extreme departure from the
                                                                                 standards of ordinary care, and which
                                                                                 presents a danger of misleading buyers
                                                                                 or sellers that is either known to the
             To establish scienter in a securities
                                                                                 defendant or is so obvious that the
             fraud case alleging non-disclosure of
                                                                                 actor must have been aware of it, can
             potentially material facts, the plaintiff
                                                                                 also satisfy the scienter requirement
             must demonstrate:(1) the defendant
                                                                                 for Section 10b-5. Simple negligence,
             knew of the potentially material fact,



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             however, does not satisfy the scienter                  *33 Also worth nothing is that the Tenth Circuit has rejected
             requirement.                                           the notion that knowledge may be imputed to a high-ranking
                                                                    corporate officer because of his position alone:


Id. at 1258 (internal citations and quotations omitted).
Recklessness is “something akin to conscious disregard.” In                     [A]llegations that a securities fraud
re Level 3, 667 F.3d at 1343 n.12. “Negligence, and even gross                  defendant, because of his position
negligence, fall ‘below the high threshold for liability under                  within the company, must have
Section 10(b) of the Exchange Act.’ ” Sanchez v. Crocs, Inc.,                   known a statement was false or
667 F. App'x 710, 719 (10th Cir. 2016) (quoting Dronsejko v.                    misleading are precisely the types
Thornton, 632 F.2d 658, 668 (10th Cir. 2011) ).                                 of inferences which [courts], on
                                                                                numerous occasions, have determined
Regarding the adequacy of a complaint's allegations of                          to be inadequate to withstand
scienter, the court has made clear that at the 12(b)(6) stage,                  Rule 9(b) scrutiny. 14 Generalized
the court's role “is simply to determine whether the plaintiff                  imputations of knowledge do not
raises a strong inference of scienter....” Pirraglia, 339 F.3d at               suffice, regardless of defendants’
1188. Courts have refused “to draw inferences in the plaintiff's                positions within the company.
favor when doing so would allow [him] to make allegations
on information and belief without satisfying the particularity
requirements of the [PSLRA].” Id.
                                                                    Fleming, 264 F.3d at 1264 (citing In re: Advanta Corp. Sec.
                                                                    Litig., 180 F.3d 525, 539 (3d Cir. 1999) ). Nevertheless, the
In addition, the Tenth Circuit has provided other guidance
                                                                    seniority of management officials who are alleged to have
about the sufficiency of a complaint alleging securities
                                                                    engaged in fraudulent conduct “is a fact relevant in [the
fraud that is useful here. Regarding allegations of reckless
                                                                    court's] weighing of the totality of the allegations.” Adams,
misconduct, the Court has concluded that “allegations that
                                                                    340 F.3d at 1106. The cases have been careful to emphasize
defendants should have anticipated future events and made
                                                                    that “the important issue...is not whether [d]efendants knew
certain disclosures earlier than they actually did do not suffice
                                                                    the underlying facts, but whether [d]efendants knew that not
to make out a claim of securities fraud.” Fleming, 264 F.3d
                                                                    disclosing [them] posed substantial likelihood of misleading
at 1260 (quoting Novak v. Kasaks, 216 F.3d 300, 309 (2d Cir.
                                                                    a reasonable investor.” Fleming, 264 F.3d at 1264 (citing
2000) ). Further, “allegations that the defendant possessed
                                                                    Schlifke v. Seafirst Corp., 866 F.2d 935, 946 (7th Cir.
knowledge of facts that are later determined by a court to
                                                                    1989) (“[I]t is the danger of misleading buyers that must
have been material, without more, [are] not sufficient to
                                                                    be actually known or so obvious that any reasonable man
demonstrate that the defendant intentionally withheld these
                                                                    would be legally bound as knowing.” (emphasis in original) ).
facts from, or recklessly disregarded the importance of those
                                                                    Finally, “[t]he scienter of the senior controlling officers of
facts to, a company's shareholders in order to deceive,
                                                                    a corporation may be attributed to the corporation itself to
manipulate or defraud.” Fleming, 264 F.3d at 1260. In order
                                                                    establish liability as a primary violator of § 10(b) and Rule
to sufficiently allege recklessness, plaintiffs must present
                                                                    10b-5 when those senior officials were acting within the scope
facts to show the “defendant's knowledge of a fact that was
                                                                    of their apparent authority.” Adams, 340 F.3d at 1006.
so obviously material that the defendant must have been
aware both of its materiality and that its non-disclosure
                                                                    14
would likely mislead investors.” Id. at 1261. Moreover, vague              As pointed out by the Court in Fleming, “the
statements of corporate optimism are not actionable under the              scienter pleading requirements of the PSLRA
securities laws. Pirraglia, 339 F.3d at 1189. But “violation of            supercede the provisions of Rule 9(b) in securities
a corporation's internal policies can support a claim of scienter          fraud cases.” 264 F.3d at 1255 n.13.
when coupled with other evidence of intent to defraud, such         In assessing whether allegations of a defendant's motives to
as motive and opportunity.” Id. at 1192.                            mislead are sufficient to support a finding of the requisite
                                                                    scienter under the PSLRA, the Tenth Circuit has addressed
                                                                    only motives specifically and directly related to the alleged
                                                                    non-disclosure, finding that other alleged motives are not



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relevant to the inquiry. See Fleming, 264 F.3d at 1268 (noting      recklessly. To show knowledge, Plaintiffs must sufficiently
five asserted motives for the defendants’ alleged fraudulent        allege that Defendants Ersek, Scheirman, and Agrawal knew
conduct, but concluding that only one arguably supported the        about certain material information and that they knew that
plaintiffs’ allegations because it was “specifically and directly   failure to disclose this information would likely mislead
related to the underlying facts” of the alleged non-disclosure).    investors, thus showing intent. In the alternative, Plaintiffs
Moreover, it is also clear that “generalized motives shared         must allege that the misrepresentation or omitted information
by all companies and which are not specifically and uniquely        was so obviously material that Defendants Ersek, Scheirman,
related” to the defendant in particular, are “unavailing.” Id. at   and Agrawal must have been aware that non-disclosure
1269. Examples of such “shared business motives” are that           would likely mislead investors, thus showing recklessness.
the defendants desired to protect their own positions with the      See generally Zagg, Inc. Sec. Litig., 797 F.3d 1194, 1202 (10th
company, or that they wanted to protect the value of their          Cir. 2015). Although recklessness may be established where
own stock, or that they wanted to further the interests of          a defendant ignores obvious signs of fraud, “an unseen red
the company. “Allegations that merely charge that executives        flag cannot be heeded.” Sanchez, 667 F. App'x at 720-722
aim to prolong the benefits they hold are, standing alone,          (citing Gould v. Winstar Commc'ns, Inc., 692 F.3d 148, 158
insufficient to demonstrate the necessary strong inference of       (2d Cir. 2012); Stephenson v. PricewaterhouseCoopers, LLP,
scienter....Similarly insufficient are allegations that corporate   768 F. Supp. 2d 562, 574 (S.D.N.Y. 2011) ). “Possession
officers were motivated to defraud the public because an            of documents and other information which...should have
inflated stock price would increase their compensation.” Id. at     revealed red flags at most.. . raises an inference of gross
1270 (quoting Philips v. LCI Int'l, Inc., 190 F.3d 609, 622 (4th    negligence, but not fraud.” Id. (citing Ziemba v. Cascade
Cir. 1999) ); see also Level 3, 667 F.3d at 1346 (“Nor does         Int'l, Inc., 256 F.3d 1194, 1210 (11th Cir. 2001) (internal
plaintiff's assertion that defendants’ compensation hinged on       quotations omitted) ). Indeed, in order for recklessness to be
the performance of Level 3's stock price and the successful         adequately pled in a case asserting securities fraud claims
integration of WilTel lead us to infer scienter.”). In addition,    against auditors, the Tenth Circuit has indicated that plaintiffs
when the complaint “includes nothing in the allegations of          must cite “highly suspicious in-your-face facts that would
the defendants’ motives to indicate that they are anything          cry out” that the company's financial status was fraudulently
more than pure speculation,” the court should not accord them       misrepresented. Sanchez, 667 F. App'x at 723 (citing N.M.
much weight. Adams, 340 F.3d at 1104-05.                            State Inv. Council v. Ernst & Young LLP, 641 F.3d 1089, 1103
                                                                    (9th Cir. 2011) ).
 *34 Thus, in order to pass muster under the PSLRA, the
Amended Complaint [#40] must state with particularity facts         The crux of Plaintiffs’ theory is that “Defendants each
giving rise to a strong inference of scienter. “When the            had scienter as to the false and misleading nature of their
allegations are accepted as true and taken collectively, would      statements because they each knew or, at a minimum,
a reasonable person deem the inference of scienter at least as      recklessly disregarded” the following, as summarized by
strong as any opposing inference?” Level 3, 667 F.3d at 1343.       Plaintiffs:
Here, taken as a whole, the Court finds that the Amended
Complaint [#40] does not create an inference of scienter that         (i) Western Union's AML and anti-fraud efforts during
is at least as strong as any opposing inference. For the reasons      the Class Period did not comply with applicable laws
stated below, the Court concludes that Plaintiffs have failed         and regulations, including the BSA, the FTC Act, the
to adequately allege the scienter necessary to state claims for       [Telemarketing Sales Rules], the Telemarketing Act, the
securities fraud.                                                     criminal wire fraud statute, the Dodd-Frank Act, and/or
                                                                      state or international AML or anti-fraud laws; (ii) Western
At the heart of the scienter inquiry in a case like this              Union's AML and anti-fraud efforts during the Class
are the allegations about what information the individual             Period failed to comply with best practices and/or industry
Defendants knew and failed to report, and whether they                standard practices;
knew or should have known that their non-disclosures
                                                                      (iii) during the Class Period, Western Union failed to
were substantially likely to mislead a reasonable investor.
                                                                      discipline or take corrective action against its agents
See Fleming, 264 F.3d at 1264. In order to adequately
                                                                      or subagents that Defendants knew violated (or likely
plead scienter, Plaintiffs must allege that Defendants Ersek,
                                                                      violated), and in some cases were complicit (or likely
Scheirman, and Agrawal each acted either knowingly or
                                                                      complicit) in violating, the laws described in (i) above


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  and/or Company anti-fraud or AML policies, including
  by processing vast amounts of transactions that defrauded         With a pleading as lengthy and repetitive as the Amended
  (or likely defrauded) Western Union's customers and/              Complaint, the risks of attempting to list the allegations
  or by structuring (or likely structuring) vast amounts of         related to scienter are manifest and recognized by the
  transactions;                                                     Court. By sheer volume alone, one might conclude that
                                                                    the document must sufficiently allege Defendants’ intent to
   *35 (iv) Defendants failed to disclose Western Union's           commit fraud or their recklessness in doing so. Nevertheless,
  AML and anti-fraud compliance failures and certain related        after an extremely careful review of the 176-page, 580-
  government enforcement actions that took place prior to the       paragraph Amended Complaint, the Court cannot conclude
  Class Period;                                                     that Plaintiffs have provided sufficient allegations to meet the
                                                                    high bar of pleading scienter here.
  (v) government investigations and enforcement actions that
  were ongoing during the Class Period were nearly certain
                                                                    In addition to certain previously-quoted allegations which the
  —based on Western Union's compliance failures before
  and during the Class Period—to result in severe monetary          Court has reviewed, 15 Plaintiffs also cite to the following
  penalties and Western Union being required to undertake           allegations which, either alone or in combination with others,
  comprehensive and costly remedial actions;                        bear on the scienter issue in connection with legal compliance:
                                                                    1. “Throughout the Class Period, Western Union represented
  (vi) Western Union could not maintain its competitive             to investors that it
  premium pricing during the Class Period while
  implementing effective compliance policies; and                     complied with its AML and anti-fraud legal obligations.
                                                                      For example, in each 10-K that the Company filed during
  (vii) Western Union's AML and anti-fraud efforts during             the Class Period, Defendants represented, with minor
  the Class Period failed to comply with agreements                   variations, that ‘we believe our fraud prevention efforts
  that Western Union reached to resolve government                    are effective and comply with applicable law’ and that
  investigations and enforcement actions that were disclosed          ‘that Western Union is compliant with its [AML and
  prior to the Class Period.                                          other] regulatory responsibilities.’ ” Am. Compl. [#40]
                                                                      ¶ 76 (internal footnotes omitted). “Western Union also
Am. Compl. [#40] ¶ 539 (incorporating ¶ 303). However, a              acknowledged in these annual filings that failing to comply
careful reading of the cleverly-drafted Amended Complaint             with AML and anti-fraud laws and regulations posed one
makes clear that the overwhelming majority of allegations             of the most significant risks that the Company faced. In
of fraud depend on assertions that Defendants did not                 each of these filings, Defendants stated that ‘[o]ur business
believe that compliance efforts were legally sufficient in            is subject to a wide range of laws and regulations intended
making significant progress against major problems such               to help detect and prevent money laundering, terrorist
as money laundering in light of the large and ever-                   financing, fraud and other illicit activity. Failure by us, our
mutating problem the Company faced from fraudsters from               agents or our subagents to comply with those laws and
around the world. It goes without saying that the Amended             regulations could have an adverse effect on our business,
Complaint cannot create a strong inference of the state of            financial condition and results of operations’—or made
mind necessary to show securities fraud without sufficiently          substantially similar statements to the same effect.” Id. ¶
alleging that Defendants knew or recklessly disregarded these         77.
problems, i.e., that compliance efforts were dramatically
failing. But behind the Amended Complaint's dense curtain           *36 2. In the 2011 10-K, filed on February 24, 2012, the
of allegations relating to what was said when and about             Company stated in pertinent part:
unresolved government investigations, Plaintiffs make very
few particularized allegations about what the executives              Our business is subject to a wide range of laws and
themselves knew at any given time. At best, the totality of           regulations intended to help detect and prevent money
the allegations regarding Defendants’ conduct which bear on           laundering, terrorist financing, fraud and other illicit
their state of mind leaves more questions about their intent          activity. Failure by us, our agents or our subagents to
than answers, and such allegations do not demonstrate more            comply with those laws and regulations could have an
than, at most, gross negligence, which is insufficient to state a     adverse effect on our business, financial condition and
claim under Section 10(b). See Sanchez, 667 F. App'x at 719.          results of operations....


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                                                                    ‘that obviously – it's a huge competency for Western Union
  ...While we believe our fraud prevention efforts are              to deal with[ ]in 200 countries. So, regulations in Europe, in
  effective and comply with applicable law and best                 Australia, in Asia Pacific and across the world is something
  practices, the ingenuity of criminal fraudsters, combined         that we deal with across every single region and country.’
  with the potential susceptibility to fraud by consumers           ” Id. ¶ 329.
  during economically difficult times, make the prevention
  of consumer fraud a significant and challenging problem....       4. “On October 16, 2012, [Stewart] Stockdale spoke on
                                                                    behalf of Western Union at the University of Denver's
  ***                                                               Voices of Experience program. This speech was published
                                                                    online the following day, on October 17, 2012. Stockdale
  We have developed and continue to enhance our
                                                                    stated:
  global compliance programs, including our anti-money
  laundering program, which comprises policies, procedures,          *37 Western Union is uniquely positioned at going after
  systems and internal controls to monitor and to address           that underserved 2-billion person market worldwide. What
  various legal and regulatory requirements. In addition, we        makes us unique that allow[s] us to have these relationships
  continue to adapt our business practices and strategies to        and really our core competencies to reach consumers in 200
  help us comply with current and evolving legal standards          countries and territories is really these four pillars of our
  and industry practices....                                        strategy.... Three is the regulatory and AML capabilities of
                                                                    the Company in almost every jurisdiction around the world.
  ***
                                                                    ***
  ...While we believe that Western Union is compliant
  with its regulatory responsibilities, the legal, political and    What really is more difficult is to make sure that you're
  business environments in these areas are rapidly changing,        complying with all the laws around the world. And we
  and subsequent legislation, regulation, litigation, court         spend a ton of money. And we have over 600 people on
  rulings or other events could expose Western Union to             an ongoing basis monitoring the system on an ongoing
  increased program costs, liability and reputational damage.       basis. And you have to do that. One of the core capabilities
                                                                    is to being able to work with governments not only the
  ***
                                                                    U.S. government but the governments of Vietnam, the
  Our agents’ or subagents’ failure to comply with federal          governments of India, the governments of China to make
  and [state] laws and regulations as well as laws and              sure that this cash movement which is in the billions of
  regulations outside the United States could have an adverse       dollars is all being monitored on an ongoing basis.
  effect on our business, financial condition and results of
                                                                    Stockdale then stated, in the context of discussion [sic] the
  operations.
                                                                    Dodd-Frank regulations, that ‘all regulation’ ‘becomes a
  Id. ¶ 305. “In addition, in describing the ‘wide range of         competitive advantage for us...because if you're in front and
  laws and regulations enacted by the United States federal         you have the resources to implement and do it well.’ ” Id.
  government, each of the states, many localities and many          ¶ 349.
  other countries and jurisdictions, including the European
                                                                    5. In connection with the 2012 10-K (filed on February
  Union,’ the 2011 10-K specifically noted ‘an increasingly
                                                                    22, 2013), the Company stated, in part: “[I]n describing
  strict set of legal and regulatory requirements intended
                                                                    the ‘wide range of laws and regulations enacted by the
  to help detect and prevent money laundering, terrorist
                                                                    United States federal government, each of the states,
  financing, fraud, and other illicit activity’ and described
                                                                    many localities and many other countries and jurisdictions,
  particular requirements of the BSA. The Company also
                                                                    including the European Union,’ the Company specifically
  noted that ‘[m]any states impose similar and, in some
                                                                    noted ‘an increasingly strict set of legal and regulatory
  cases, more stringent requirements’ and that ‘[t]hese
                                                                    requirements intended to help detect and prevent money
  requirements also apply to our agents.’ ” Id. ¶ 306.
                                                                    laundering, terrorist financing, fraud, and other illicit
  3. “[A]t [a] May 16, 2012 J.P. Morgan Global Technology,          activity’ and described particular requirements of the BSA.
  Media and Telecom Conference, [Stewart] Stockdale stated          The Company also noted that ‘[m]any states impose similar
  that regulatory and compliance worldwide is something


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  and, in some cases, more stringent requirements’ and that           by the United States federal government, each of the states,
  ‘[t]hese requirements also apply to our agents.’ ” Id. ¶ 367.       many localities and many other countries and jurisdictions,
                                                                      including the European Union,’ the Company specifically
  6. “At a May 16, 2013 JPMorgan Global Technology,                   noted ‘an increasingly strict set of legal and regulatory
  Media and Telecom Conference, Defendant Scheirman                   requirements intended to help detect and prevent money
  stated that in the first quarter of the year, in ‘a few of          laundering, terrorist financing, fraud, and other illicit
  the markets, we continued to enhance our compliance                 activity’ and described particular requirements of the BSA.
  programs. And our goal is to be best-in-class with                  The Company also noted that ‘[m]any other countries and
  compliance. Live to the letter and the spirit of the law. And       states impose similar and, in some cases, more stringent
  so, we're doing things around fraud prevention, real-time           requirements’ and that ‘[t]hese requirements also apply to
  risk assessment at the point of sale, customer callbacks and        our agents and their subagents.’ ” Id. ¶ 475.
  high principal.’ Scheirman also stated that ‘the depth and
  extent of our compliance practices’ allows the Company              10. “DOJ's and FTC's actions against Western Union were
  to succeed in the online market because ‘sometimes folks            based on the Company's violations of the following AML
  might underestimate’ how important that is for cross-               and anti-fraud laws and regulations:
  border money transfers ‘[b]ut we're very good at that.’ ”
  Id. ¶ 383.                                                          a. Aiding and abetting wire fraud, pursuant to 18 U.S.C.
                                                                      §§ 2, 1343, from 2004 through December 2012 ‘by
  7. In the 2013 10-K (filed February 24, 2014), the Company          failing to suspend and/or terminate complicit Agents
  stated, in part: “In addition, in describing the ‘wide range of     [including subagents] and by allowing them to continue
  laws and regulations enacted by the United States federal           to process fraud-induced monetary transactions.’ Western
  government, each of the states, many localities and many            Union admitted it was guilty of this charge.
  other countries and jurisdictions, including the European
  Union,’ the Company specifically noted ‘an increasingly             b. Willfully failing to maintain an effective program
  strict set of legal and regulatory requirements intended            as required by the BSA, pursuant to 31 U.S.C. §§
  to help detect and prevent money laundering, terrorist              5318(g), 5322, and related regulations, from 2004 through
  financing, fraud, and other illicit activity’ and described         December 2012. Western Union admitted it was guilty of
  particular requirements of the BSA. The Company also                this charge.
  noted that ‘[m]any states impose similar and, in some
                                                                      c. Engaging in unfair acts or practices in violation of
  cases, more stringent requirements’ and that ‘[t]hese
                                                                      Section 5 of the FTC Act by failing to take timely,
  requirements also apply to our agents and their subagents.’
                                                                      appropriate, and effective action to detect and prevent
  ” Id. ¶ 412.
                                                                      fraud-induced money transfers through the Company's
   *38 8. “On the earnings conference call for the fourth             system.
  quarter and fiscal year 2015, held on February 9, 2016,
                                                                      d. Engaging in deceptive telemarketing in violation of the
  Defendant Ersek stated that Western Union's money
                                                                      Telemarketing Sales Rule by Western Union, its agents,
  transfer system ‘is unique’ and its success ‘is that it works
                                                                      or subagents providing substantial assistance or support to
  in 200 countries, it can pay out in 121 currencies, it can
                                                                      sellers or telemarketers who the Company or its agents
  adapt to regulatory systems of 200 countries and make
                                                                      or subagents knew or consciously avoided knowing (a)
  anti-money laundering, and process 22 transactions...per
                                                                      induced consumers to pay for goods and services through
  second.’ He later explained that ‘most of the agents
                                                                      the use of false or misleading statements and (b) requested
  are choosing the exclusivity because they know they
                                                                      or received payment in advance of consumers obtaining a
  have a quite stable partner, financially stable, good, anti-
                                                                      loan.”
  money laundering system, good settlement system, long
  run capability, great brand and they can drop money in 200          Id. ¶ 139.
  countries immediately.’ ” Id. ¶ 471.
                                                                    The Court notes with respect to this final allegation that
  9. In connection with the 2015 10-K (filed February               any admitted wrong-doing only covers the first fraction of
  19, 2016), the Company stated, in part: “In addition, in          the Class Period (i.e., February 24, 2012 through December
  describing the ‘wide range of laws and regulations enacted        2012), that the admitted wrong-doing does not directly



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involve securities laws, and that Plaintiffs have not adequately    scienter inference,” Level 3, 667 F.3d at 1345, the absence of
tied any admitted wrong-doing to the scienter of Defendants.        any cogent allegation of a financial benefit from the alleged
                                                                    fraud cuts the other way. In re Gold Resource Corp. Sec.
15                                                                  Litig., 776 F.3d 1103, 1117 n.8 (10th Cir. 2015).
       Am. Compl. [#40] ¶¶ 321-22 (see § III.B.1.c.2.), ¶
       366 (see § III.B.1.b.5.), ¶¶ 374-75 (see
                                                                    In short, Plaintiffs produce no convincing allegations of a
       III.B.1.a.i.8.), ¶¶ 385-86 (see § III.B.1.c.9.), ¶ 388
                                                                    motive for Defendants to engage in fraud beyond the standard
       (see § III.B.1.b.6.), ¶ 411 (see § III.B.1.b.9.), ¶ 425
                                                                    financial motives common to all for-profit businesses. Under
       (see § III.B.1.c.14.), ¶ 447 (see § III.B.1.b.10.), ¶
                                                                    these circumstances, it is more probable that the Western
       448 (see § III.B.1.c.23.), ¶ 456 (see § III.B.1.c.25.),
                                                                    Union executives “were overly optimistic and failed to give
       ¶ 465 (see § III.B.1.b.12.), and ¶ 474 (see §
                                                                    weight to financial red flags, for the plaintiffs supply little
       III.B.1.b.13.).
                                                                    reason to suspect malevolence rather than benign optimism.”
As explained above, the Court finds that not only are many          Spirit Aerosystems, 827 F.3d at 1238. “The absence of a
of these allegations inadequately particularized and merely         motive allegation...is not dispositive, but it is relevant, and
conclusory, but taken as a whole, they do not create a strong       in this case it counts against scienter.” Level 3, 667 F.3d at
inference that Defendants acted intentionally or recklessly.        1347; see also Tuchman v. DSC Commc'ns Corp., 14 F.3d
The Court is hard-pressed to draw any inference from these          1061, 1069 (5th Cir. 1994) (“Where a defendant's motive is
allegations that Defendants knew of or recklessly disregarded       not apparent, a plaintiff may adequately plead scienter by
the full scope and extent of the alleged illicit behavior           identifying circumstances that indicate conscious behavior
at Western Union, much less that they condoned it and               on the part of the defendant, though the strength of the
defrauded investors despite it. Needless to say, in the absence     circumstantial allegations must be correspondingly greater.”).
of such an inference, not to mention the strong inference
required by the PSLRA, Plaintiffs’ claims cannot proceed.           At the end of the day, the court must decide if a reasonable
                                                                    person construing the allegations as a whole would deem
 *39 Nor are Plaintiffs’ claims rescued by sufficient               the inference of scienter cogent and at least as compelling
allegations regarding Defendants’ motive and opportunity.           as any plausible opposing inference one could draw from
For example, Plaintiffs allege that Defendant Ersek sold            the facts alleged. Tellabs, 551 U.S. at 324 (emphasis added).
approximately 600,000 shares of Western Union stock during          In other words, the court must “compare the parties’
the Class Period for more than $12 million. Am. Compl. [#40]        dual explanations” for the alleged failures to disclose and
at 285. However, Plaintiffs fail to provide adequate context        decide which is more cogent and compelling. See, e.g.,Spirit
for these numbers, such as the price Defendant Ersek initially      Aerosystems, 827 F.3d at 1248. Defendants argue that “[t]he
paid for that stock, so the Court can reach any conclusion as       far more ‘cogent and compelling’ inference with respect to
to what kind of financial gain is actually at issue here. See       each of these Individual Defendants is that they genuinely
Motion [#54] at 85. Further, there are no allegations regarding     believed what they said when they made the challenged
what percentage of Defendant Ersek's total shares these stock       statements.” Motion [#54] at 16 (citing Tellabs, Inc., 551 U.S.
sales consisted of, or whether he was buying other types of         at 324). Taken as a whole, Defendants appear to assert that the
shares at the same time. See id.; see, e.g., Malin v. XL Capital    inference to be drawn from the failures to disclose alleged by
Ltd., 499 F. Supp. 2d 117, 153 (D. Conn. 2007), aff'd, 312 F.       Plaintiffs is that Defendants may have made errors in business
App'x 400 (2d Cir. 2009) (finding no inference of fraud in the      judgment, but they did not commit fraud against investors.
fact that a “[d]efendant...decreased his holdings by 30.84%,”       In the Court's view, this inference is equally strong as any
and noting that “[c]ourts have found no inference of scienter       inference regarding fraud.
in cases involving similar and even greater percentages of
sales”). Without these kinds of additional allegations, the         A final word about recklessness under the PSLRA. Plaintiffs
mere allegation that Defendant Ersek sold 600,000 shares of         assert that even if the facts alleged do not show that
Western Stock over a five year period for $12 million tells         Defendants knew, at the time when the omissions occurred,
the Court very little and adds nothing material to the scienter     that their statements would likely mislead investors, there
analysis. The same goes for Plaintiffs’ allegations regarding       is enough to conclude that they “acted with a reckless
other Defendants and company executives’ sales of shares            disregard of a substantial likelihood of misleading investors.”
during the class period. Am. Compl. [#40] ¶¶ 290-95. While          Nakkhumpun v. Taylor, 782 F.3d 1142, 1150 (10th Cir. 2015).
“personal financial gain may weigh heavily in favor of a


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They contend that the danger of misleading investors by                      agents’ rampant involvement in
not disclosing these facts was so obvious that Defendants                    money laundering and consumer fraud
must have been aware. But recklessness “is a particularly                    were discussed by senior managers
high standard” under the PSLRA. Dronsejko, 632 F.3d at                       within the Company. Defendants thus
668. The Tenth Circuit has noted that it is “something                       had knowledge of the Company's
closer to a state of mind approximating actual intent.”                      compliance violations based on both
Zagg, 797 F.3d at 1206. And Plaintiffs’ allegations about                    a) the mass of underlying information
recklessness are overwhelmingly conclusory. See, e.g., Am.                   showing those deficiencies as they
Compl. [#40] ¶¶ 539, 544, 547, 559, 566, 568, 570, 573. These                occurred (including the Company's
conclusory allegations of recklessness do nothing to advance                 own internal reports, analyses,
facts demonstrating that conduct. Plaintiffs’ statements made                and communications) and b) that
specifically about Defendants’ conduct are equally weak.                     information having been reviewed
For example, the closest Plaintiffs come to discussing                       in the course of the Company's
recklessness in connection with Defendants’ specific conduct                 producing it during the various lengthy
is as follows:                                                               government investigations that led to
                                                                             the Joint Settlement.


             *40 Defendants[’] knowledge or
            reckless disregard of the deficiencies              Id. ¶ 543. These and other statements and allegations of
            in Western Union's compliance                       fact made in connection with those statements simply do not
            program that contradicted their public              provide the necessary detail to show the level of recklessness
            statements is further supported by                  required to adequately allege scienter on the part of each
            their knowledge, as disclosed in                    Defendant. Simply stated, even if the Amended Complaint
            the Company's periodic SEC filings                  gives rise to some plausible inference of scienter, it is not the
            throughout the Class Period, of the                 strong inference required by the PSLRA. Tellabs, 551 U.S. at
            several federal and state government                314. Hence, Claim One is dismissed in full to the extent it is
            investigations, including by EDPA,                  asserted against Defendants Ersek, Scheirman, Agrawal, and
            MDPA, CDCA, SDFL, the FTC,                          Western Union. 16
            and state attorneys general, that
            ultimately resulted in the Joint                    16      The Court reiterates once more that it is well
            Settlement and the settlement with
                                                                        aware that Western Union has been the subject
            the state attorneys general that were
                                                                        of various investigations and has sometimes even
            announced in January 2017. As
                                                                        admitted to misdeeds of varying levels occurring,
            part of these investigations, Western
                                                                        in part, throughout the class period, as discussed
            Union produced many documents
                                                                        throughout this Order and as explained at length
            and witnesses to these regulatory
                                                                        in the Amended Complaint [#40]. However, while
            authorities and claimed to have
                                                                        certainly informative, the legal standards under
            cooperated in these investigations.
                                                                        which those investigations occurred and by which
            These investigations provided the
                                                                        Western Union's actions were measured are not the
            basis for DOJ's and FTC's findings that
                                                                        same as the standards for the securities law claims
            Western Union's own internal reports,
                                                                        made here under the PSLRA. In other words, as the
            analyses and communications showed
                                                                        Court has found, simply because Western Union
            that the Company failed to maintain
                                                                        may have legally erred in some ways in no way
            an effective compliance program, that
                                                                        automatically means that Western Union has also
            it knew its agents were complicit
                                                                        violated the PSLRA as claimed here.
            in money laundering and consumer
            fraud, and that it failed to discipline
            its agents for those violations.                    C. Claim Two: Defendants Ersek, Scheirman, Agrawal,
            These investigations also found that                and Koch



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                                                                       *41 Because Plaintiffs have failed to allege “a primary
Section 20 of the PSLRA provides that “[e]very person who,
                                                                      violation of the securities laws” as asserted under Claim One,
directly or indirectly, controls any person liable under any
                                                                      the Court finds that their Section 20(a) claim asserted under
provision of this chapter...[s]hall also be liable jointly and
severally with and to the same extent as such controlled              Claim Two is also not viable. See Maher, 144 F.3d at 1305.
person....” 15 U.S.C. § 78t(a). To state a prima facie case of        Hence, Claim Two is dismissed with respect to Defendants
control person liability, plaintiffs must allege: (1) a primary       Ersek, Scheirman, Agrawal, and Koch.
violation of the securities laws and (2) control over the
primary violator by the alleged controlling person. Maher             D. Amendment
v. Durango Metals, Inc., 144 F.3d 1302, 1305 (10th Cir.               Finally, the Court notes that Plaintiffs failed to make an
1998). To make a showing that a person is a “control                  argument that their Amended Complaint could be further
person,” plaintiffs must “point to facts which indicate that          amended yet again to correct any deficiencies. See generally
the defendants had possession, direct or indirect, of the
                                                                      Response [#63]. Consequently, the Court is not inclined to
power to direct or cause the direction of the management
                                                                      permit further leave to amend. See, e.g., In re Gold Res. Corp.
and policies of a person, whether through the ownership
                                                                      Sec. Litig., 776 F.3d at 1118-19 (stating that “[t]he district
of voting securities, by contract, or otherwise.” Adams, 340
                                                                      court did not abuse its discretion in dismissing the complaint
F.3d at 1108. Allegations that a person is the chief executive
                                                                      with prejudice where plaintiff's memorandum contained only
officer of a company likely satisfy the control person test,
                                                                      one sentence at the very end of his brief alternatively
and allegations that a person is the chief financial officer of
                                                                      requesting leave to amend in the event the district court should
a company may also do so when a plaintiff brings claims of
                                                                      decide to dismiss his complaint”).
securities fraud relating to official reports of the company's
financial performance. Id. “Section 20 of the Exchange Act
contains no requirement that plaintiffs must prove a control
                                                                                             IV. Conclusion
person's state of mind.” 17 Id. at 1109.
                                                                      For the reasons set forth above, the Motions [#53, #55] are
17                                                                    GRANTED. The claims are dismissed with prejudice and
       “Section 20 does state that a controlling person
       is not liable if he acted in good faith and did                the Clerk of Court is directed to enter Final Judgment in favor
       not induce the acts on which the liability of the              of Defendants and close this case.
       controlled person is founded. However, courts have
       held that these are affirmative defenses, to be
       pleaded and proved by defendants.” Adams, 340                  All Citations
       F.3d at 1109 n.5 (citing Kaplan v. Rose, 49 F.3d
                                                                      Not Reported in Fed. Supp., 2019 WL 1382823, Fed. Sec. L.
       1363, 1382-83 (9th Cir. 1994); Gould v. Am.- Haw.
                                                                      Rep. P 100,395
       S.S. Co., 535 F.2d 761, 779 (3d Cir. 1976) ).


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                                                                   The alleged facts are complex and span several years. 1 We
                      2023 WL 8649878                              therefore do not repeat the allegations in their entirety, though
        Only the Westlaw citation is currently available.          we have carefully considered them.
         United States Court of Appeals, Fifth Circuit.
                                                                   1       To the extent we recite the facts, they are as alleged
    UTAH RETIREMENT SYSTEMS, Plaintiff—Appellant,
                                                                           in the complaint. See Neiman v. Bulmahn, 854 F.3d
                              v.
                                                                           741, 746 (5th Cir. 2017).
         Mark MCCOLLUM; Christoph Bausch; Karl
                                                                   Weatherford International, P.L.C. (“Weatherford”) is a
      Blanchard; Krishna Shivram; Stuart Fraser; Douglas
                                                                   publicly traded oilfield service company that was founded
         M. Mills; Weatherford International, P.L.C.;
                                                                   in 1998. By October 2016, Weatherford had over $7.1
       Bernard Duroc-Danner, Defendants—Appellees.
                                                                   billion in debt and endured seven consecutive quarterly
                        No. 21-20312                               revenue declines. The market began to speculate that
                              |                                    Weatherford might be on the brink of bankruptcy. Around
                   FILED December 14, 2023                         that time, Weatherford publicly ushered in a series of
                                                                   cost-cutting measures, including layoffs and closures of
Appeal from the United States District Court for the Southern      several manufacturing plants, which were intended to make
District of Texas, No. 4:19-CV-3363                                Weatherford profitable again.

Attorneys and Law Firms                                            Despite those efforts, Weatherford's debt still continued to
                                                                   grow. So, on July 28, 2017, then-CEO Mark McCollum
James W. Johnson, Michael P. Canty, James T. Christie,
                                                                   introduced a formal “Transformation Plan,” encompassing
Philip J. Leggio, Michael H. Rogers (argued), Mark S.
                                                                   over 1,500 cost-cutting measures even more drastic than those
Willis, Labaton Sucharow, L.L.P., New York, NY, Thomas
                                                                   previously announced. The initiatives included ramping up
R. Ajamie, John Saul Edwards, Jr., Esq., Ajamie, L.L.P.,
                                                                   workforce reductions, consolidating facilities, centralizing
Houston, TX, for Plaintiff—Appellant.
                                                                   support functions, and regrouping eight product lines into
Peter A. Wald (argued), Latham & Watkins, L.L.P., San              four business units. The Transformation Plan also called for
Francisco, CA, Stephanie L. Holcombe, Eric Drennan Wade,           Weatherford to divest business units that were “not critical to
Porter Hedges, L.L.P., Houston, TX, Kristen W. Kelly, Gray         [its] strategy going forward.”
Reed & McGraw, L.L.P., Houston, TX, Roman Martinez,
Blake E. Stafford, Latham & Watkins, L.L.P., Washington,           Defendants then started a campaign to sell the Transformation
DC, Kevin McDonough, Latham & Watkins, L.L.P., New                 Plan to investors. Over the course of approximately
York, NY, for Defendants—Appellees.                                three years, Weatherford attempted to implement the
                                                                   Transformation Plan. Relevant to this appeal, former
Before Dennis, Southwick, and Wilson, Circuit Judges.              Weatherford employees (“FEs”) allege that, from October
                                                                   26, 2016, through May 10, 2019 (the “Class Period”),
Opinion                                                            “Defendants knew all along that the Transformation Plan was
                                                                   insufficient to dig Weatherford out of its debt.” By November
Per Curiam: *                                                      2018, Weatherford hired a restructuring advisor and by
                                                                   December 31, 2018, the Company retained restructuring
*        This opinion is not designated for publication. See       counsel. On February 1, 2019, when an analyst asked
         5th Cir. R. 47.5.                                         if Weatherford was considering bankruptcy, McCollum
 *1 This appeal stems from a district court's dismissal of a       responded, “I don't waste a lot of time thinking or planning
securities fraud class action lawsuit. Because we find Plaintiff   how to fail,” and that “the actions that we can take is [sic]
inadequately pleaded the element of scienter, we AFFIRM.           continuing to execute the [T]ransformation [P]lan and do
                                                                   that quarter in and quarter out and continue to improve the
                                                                   profitability, which ultimately will drive the cash flow of this
                                                                   organization and improve our credit metrics.” Weatherford
                I. FACTUAL BACKGROUND
                                                                   retained additional restructuring counsel in April 2019.



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                                                                   Under Federal Rule of Civil Procedure 9(b), allegations
On May 10, 2019, Weatherford issued a press release                of fraud must be pleaded “with particularity” as to “the
announcing that the company had executed a restructuring           circumstances constituting fraud.” FED. R. CIV. P. 9(b).
support agreement with a group of its senior noteholders and       Particularity “necessarily differs with the facts of each case,”
was seeking Chapter 11 bankruptcy protection since it “still       but it generally requires a plaintiff to allege “the particulars of
face[d] a high level of debt” and “w[ould] not be able to          time, place, and contents of the false representations, as well
generate sufficient liquidity to service all of its debt.” By      as the identity of the person making the misrepresentation and
all accounts, the Transformation Plan had failed. On May           what [they] obtained thereby.” Tuchman v. DSC Commc'ns
13, 2019, the New York Stock Exchange suspended trading            Corp., 14 F.3d 1061, 1067-68 (5th Cir. 1994) (internal
in Weatherford's stock, and on May 14, 2019, Weatherford           quotation marks and citation omitted). Under Rule 9(b),
began trading on the Over-the-Counter market. That same            however, “[m]alice, intent, knowledge, and other conditions
day, Weatherford's share price plummeted more than 86%,            of a person's mind may be alleged generally.” FED. R. CIV.
closing at $0.05 per share. Weatherford initiated bankruptcy       P. 9(b).
proceedings on July 1, 2019, implemented the restructuring
support agreement negotiated during the Class Period, and          Securities fraud claims brought by private litigants, like the
gave all ownership in Weatherford to noteholders and               ones here, are also subject to the pleading requirements
certain Weatherford management, including the individual           imposed by the Private Securities Litigation Reform Act
defendants—leaving only 1% to existing shareholders.               (“PSLRA”). See 15 U.S.C. § 78u-4. The PSLRA “was
                                                                   enacted in response to an increase in securities fraud lawsuits
 *2 This lawsuit was initiated. The lead Plaintiff, Utah           perceived as frivolous.” Newby v. Enron Corp., 338 F.3d
Retirement Systems, brings claims on behalf of purchasers of       467, 471 (5th Cir. 2003). It requires a plaintiff to “identify
the common stock of Weatherford during the Class Period.           each allegedly misleading statement with particularity and
Defendants are Weatherford and a handful of its former             explain why it is misleading.” Owens, 789 F.3d at 535
executives. Plaintiff alleges that Defendants, in violation        (internal quotation marks and citation omitted). Moreover,
of Sections 10(b) and 20(a) of the Securities Exchange             “if an allegation regarding the statement or omission is
Act of 1934 and SEC Rule 10-b(5), made materially                  made on information and belief, the complaint shall state
false and misleading representations and omissions about           with particularity all facts on which that belief is formed.”
Weatherford's “Transformation Plan.” The district court            15 U.S.C. § 78u-4(b)(1)(B). “At a minimum, the PSLRA
granted Weatherford's motion to dismiss Plaintiff's claims         pleading standard incorporates the ‘who, what, when, where,
with prejudice pursuant to Federal Rule of Civil Procedure         and how’ requirements of Rule 9(b).” Owens, 789 F.3d at
12(b)(6), which is now on appeal.                                  535 (quoting ABC Arbitrage Plaintiffs Grp. v. Tchuruk, 291
                                                                   F.3d 336, 349–50 (5th Cir. 2002)). Thus, pleadings that fail
                                                                   “to specify the alleged fraudulent statements, the speaker,
                                                                   when and where the statements were made, and why they are
              II. STANDARDS OF REVIEW
                                                                   fraudulent” must be dismissed. Fin. Acquisition Partners LP
“We review a district court's dismissal of federal securities      v. Blackwell, 440 F.3d 278, 287 (5th Cir. 2006).
law claims under Rule 12(b)(6) de novo.” Owens v. Jastrow,
789 F.3d 529, 535 (5th Cir. 2015). “A ‘complaint will survive
a Rule 12(b)(6) motion to dismiss if, accepting its factual                              III. DISCUSSION
allegations as true, the complaint plausibly states a claim for
relief.’ ” Okla. Firefighters Pension & Ret. Sys. v. Six Flags     Plaintiff's complaint alleges that Defendants violated Section
Ent. Co., 58 F.4th 195, 206 (5th Cir. 2023) (quoting Loc. 731      10(b) of the Exchange Act and SEC Rule 10b-5. “To state a
I.B. of T. Excavators & Pavers Pension Tr. Fund v. Diodes,         Section 10(b) and Rule 10b-5 claim, a plaintiff must allege:
Inc., 810 F.3d 951, 956 (5th Cir. 2016)). We will accept “all      ‘(1) a material misrepresentation or omission; (2) scienter (a
well-pleaded facts as true and view[ ] those facts in the light    wrongful state of mind); (3) a connection with the purchase
most favorable to the plaintiff[ ].” Moffett v. Bryant, 751 F.3d   or sale of a security; (4) reliance; (5) economic loss; and (6) a
323, 325 (5th Cir. 2014) (internal quotation marks and citation    causal connection between the material misrepresentation and
omitted).                                                          the loss.’ ” Okla. Firefighters Pension & Ret. Sys., 58 F.4th
                                                                   at 206 (further internal quotations omitted) (emphasis added)



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(quoting Mun. Emps.’ Ret. Sys. of Mich. v. Pier 1 Imports,
Inc., 935 F.3d 424, 429 (5th Cir. 2019)). We focus our analysis    Id. at 322-23 (citations omitted). “Congress required plaintiffs
on whether Plaintiff sufficiently pleaded scienter because our     to plead with particularity facts that give rise to a
adverse finding is dispositive of this appeal.                     ‘strong’—i.e., a powerful or cogent—inference.” Id. at 323.
                                                                   “To determine whether the plaintiff has alleged facts that
                             ***                                   give rise to the requisite ‘strong inference’ of scienter, a
                                                                   court must consider plausible, nonculpable explanations for
 *3 The PSLRA imposes an exacting standard for pleading            the defendant's conduct, as well as inferences favoring the
intent in the securities fraud context. It requires, “in any       plaintiff.” Id. at 323-24. All told, “the reviewing court must
private action ... [where] the plaintiff may recover money         ask: When the allegations are accepted as true and taken
damages only on proof that the defendant acted with a              collectively, would a reasonable person deem the inference of
particular state of mind,” that a complaint “state with            scienter at least as strong as any opposing inference?” Id. at
particularity facts giving rise to a strong inference that the     326.
defendant acted with” scienter “with respect to each act or
omission alleged.” 15 U.S.C. § 78u-4(b)(2)(A) (emphasis            Applying the Tellabs framework to the present case, it
added). “The required state of mind [for scienter] is an intent    is evident that Plaintiff has not alleged facts (as opposed
to deceive, manipulate, or defraud or severe recklessness.”        to conclusions not based on pleaded facts) from which
Ind. Elec. Workers’ Pension Tr. Fund IBEW v. Shaw Grp.,            a reasonable person could draw a “strong inference” that
Inc., 537 F.3d 527, 533 (5th Cir. 2008) (internal quotations       Defendants spoke or acted with scienter to mislead investors
omitted).                                                          during the Class Period. Chiseled to its core, Plaintiff's
                                                                   scienter theory is that Defendants “knew” throughout the
Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308         Class Period that bankruptcy was “inevitable.” When taken
(2007) controls our review of Plaintiff's scienter arguments.      as a whole, however, Plaintiff's proposed inference is not
In that case, the Supreme Court saw its task as one “to            “at least as compelling as any opposing inference of
prescribe a workable construction of the strong inference          nonfraudulent intent”—e.g., that Weatherford was “trying to
standard, a reading geared to the PSLRA's twin goals: to           fix its issues but was continually stymied by a weak oil
curb frivolous, lawyer-driven litigation, while preserving         market.” Id. at 314. Plaintiff has failed to sufficiently plead
investors’ ability to recover on meritorious claims.” Id. at 322   facts from which a reasonable person could draw a strong
(internal citations omitted). The Supreme Court established        inference that Defendants acted with the intent to deceive,
the following prescriptions:                                       manipulate, or defraud or with severe recklessness.

                                                                   Additionally, we consider Plaintiff's motive argument
                                                                   because, depending on the circumstances arising from the
             First, faced with a Rule 12(b)(6)
                                                                   underlying facts pleaded, motive and opportunity may be
             motion to dismiss a § 10(b) action,
                                                                   relevant to a showing of scienter “and ‘may, on occasion,
             courts must, as with any motion to
                                                                   rise to the level of creating a strong inference of reckless or
             dismiss for failure to plead a claim
                                                                   knowing conduct.’ ” Nathenson v. Zonagen Inc., 267 F.3d
             on which relief can be granted, accept
                                                                   400, 410-11 (5th Cir. 2001) (quoting In re Comshare, Inc.
             all factual allegations in the complaint
                                                                   Sec. Litig., 183 F.3d 542, 551 (6th Cir. 1999)). Motive alone,
             as true.... Second, ... [t]he inquiry
                                                                   however, is generally insufficient to plead a strong inference
             is whether all of the facts alleged,
                                                                   of scienter under the PSLRA. Id. at 410-12.
             taken collectively, give rise to a strong
             inference of scienter, not whether any
                                                                    *4 Here, the asserted motive argument is meritless. Plaintiff
             individual allegation, scrutinized in
                                                                   argues that Defendants were motivated and incentivized
             isolation, meets that standard. Third,
                                                                   throughout the Class Period to misrepresent to investors the
             in determining whether the pleaded
                                                                   true state of Weatherford's financial situation and to delay
             facts give rise to a “strong” inference
                                                                   the “inevitable” filing of bankruptcy because Defendants
             of scienter, the court must take into
                                                                   needed time to negotiate a Management Incentive Plan
             account plausible opposing inferences.
                                                                   (“MIP”) under which management could receive up to
                                                                   5% ownership in the reorganized company. But we have


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held “incentive compensation ‘can hardly be the basis on
                                                                        2
which an allegation of fraud is predicated’ ” because “the                      “Control person liability is secondary only and
vast majority of corporate executives” receive this type of                     cannot exist in the absence of a primary violation.”
compensation. Ind. Elec. Workers, 537 F.3d at 544 (quoting                      Southland Sec. Corp. v. INSpire Ins. Sols., 365
Tuchman, 14 F.3d at 1068). However, in a limited set of                         F.3d 353, 383 (5th Cir. 2004) (citing Lovelace v.
circumstances—when the potential bonus is extremely high                        Software Spectrum Inc., 78 F.3d 1015, 1021 n.8
and other allegations support an inference of scienter—                         (5th Cir. 1996)). Because Plaintiff insufficiently
performance-based compensation can establish motive. See                        pleaded a primary violation, its Section 20(a)
Barrie v. Intervoice-Brite, Inc., 397 F.3d 249, 261 (5th                        claims against the individual defendants must fail.
Cir. 2005). Here, the MIP merely gave the new board the                         Accordingly, we affirm the district court's dismissal
discretion to award equity compensation of up to 5% but did                     of those claims too.
not guarantee any concrete benefit to anyone. Further, the
complaint lacks factual allegations that tie together Plaintiff's
pleaded fraud theory with the asserted motive. Plaintiff argues                              IV. CONCLUSION
that Defendants needed to delay bankruptcy to negotiate the
                                                                        For these reasons, we AFFIRM the judgment of the district
MIP, but Plaintiff does not allege how the MIP would have
                                                                        court.
been different—or not existed at all—had the company gone
under sooner. The district court therefore did not err when
it dismissed Plaintiff's claims for failure to allege facts from        All Citations
which a reasonable person could draw a strong inference that
Defendants spoke and acted with scienter to mislead investors           Not Reported in Fed. Rptr., 2023 WL 8649878
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during the Class Period.

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                      2021 WL 3619863                                                           I.
         United States Court of Appeals, Fifth Circuit.
                                                                  Nobilis was a publicly traded healthcare development and
            Zhang YANG, Plaintiff—Appellant,                      management company with 30 locations across Texas and
                             v.                                   Arizona. Defendant Harry Fleming served as CEO from
    NOBILIS HEALTH CORPORATION; Harry Fleming;                    January 2017 until December 2018, and later served as
    David Young; Kenneth J. Klein, Defendants—Appellees.          chairman of the board. Defendant David Young served as
                                                                  the company's CFO from February 2017 until October 2018.
                         No. 20-20538                             And Defendant Kenneth Klein served as interim CFO from
                               |                                  October 2018 until January 2019.
                     FILED August 13, 2021
                                                                  The plaintiffs claim Nobilis struggled financially but
Appeal from the United States District Court for the Southern     deceptively concealed its declining position with half-true
District of Texas, USDC No. 4:19-cv-145                           press releases and flawed financial reports. In its March 2016
                                                                  10-K, Nobilis admitted that it had failed to employ personnel
Attorneys and Law Firms
                                                                  with the requisite knowledge or training in the application
Omar Jafri, Patrick V. Dahlstrom, Pomerantz, L.L.P.,              of Generally Accepted Accounting Principles (“GAAP”),
Chicago, IL, Sammy Ford, IV, Ahmad, Zavitsanos,                   and that it failed to appropriately oversee the company's
Anaipakos, Alavi & Mensing, P.C., Houston, TX, for                accounting and financial reporting departments. In particular,
Plaintiff-Appellant.                                              Nobilis confessed problems with “management of third-party
                                                                  billing and collections of aged receivables,” and noted its
Tyler Geoffrey Doyle, Rex Manning, Jacquelyn Rex, Crystal         efforts to remediate operational defects by hiring staff with
Robles, Smyser Kaplan & Veselka, L.L.P., Houston, TX, for         GAAP experience.
Defendants-Appellees.
                                                                  But according to the plaintiffs, the company's announced
Before Jolly, Duncan, and Oldham, Circuit Judges.                 remedial efforts were all smoke and mirrors. The plaintiffs
Opinion                                                           claim that the company continued to flout GAAP rules and
                                                                  failed to write down accounts receivable the company knew to
Per Curiam: *                                                     be uncollectable. Worse yet, the plaintiffs allege the company
                                                                  fraudulently blamed a change in GAAP rules for financial
*                                                                 failures and missed targets, rather than alerting investors
         Pursuant to 5th Circuit Rule 47.5, the court
                                                                  and analysts that the financial difficulties were caused by
         has determined that this opinion should not be
                                                                  uncollectable accounts receivable.
         published and is not precedent except under the
         limited circumstances set forth in 5th Circuit Rule
                                                                  The district court determined that the plaintiffs’ allegations
         47.5.4.
                                                                  fell short of the heightened scienter pleading requirements of
 *1 A putative class of stockholders of Nobilis Health            the PSLRA and thus dismissed the case for failure to state a
Corporation sued the company and three of its corporate           claim. The plaintiffs appealed. Our review is de novo. Heinze
officers, claiming the company engaged in unlawful and            v. Tesco Corp., 971 F.3d 475, 479 (5th Cir. 2020).
fraudulent misrepresentation of the company's financial
condition to inflate its stock price. The district court found
that the amended complaint failed to adequately plead scienter
under the Private Securities Litigation Reform Act of 1995                                     II.
(“PSLRA”) and dismissed the case for failure to state a claim.
                                                                  The elements of a private securities fraud claim based on
We affirm.
                                                                  violations of 15 U.S.C. § 78j(b) and 17 C.F.R. § 240.10b–
                                                                  5 are: (1) a material misrepresentation or omission by
                                                                  the defendant; (2) scienter; (3) a connection between the
                                                                  misrepresentation or omission and the purchase or sale of a



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security; (4) reliance upon the misrepresentation or omission;       uncollectable. For a confidential witness testimony to be
(5) economic loss; (6) loss causation. See Erica P. John Fund,       credited towards a finding of scienter, the complaint must
Inc. v. Halliburton Co., 563 U.S. 804, 809–10, 131 S.Ct. 2179,       indicate how or when the officers became aware of what
180 L.Ed.2d 24 (2011) (quotation omitted). Only scienter is          the confidential source allegedly knew. See Shaw Group,
relevant to this appeal.                                             537 F.3d at 542. The confidential testimony here doesn't
                                                                     do that. Stripped down, the testimony of the confidential
Analyzing scienter is a holistic enterprise that asks “whether       witnesses makes some conclusory allegations about corporate
all of the facts alleged, taken collectively, give rise to a         knowledge, but none of the testimony indicates how or when
strong inference of scienter.” Tellabs, Inc. v. Makor Issues         corporate officers became aware of the relevant information.
& Rights, Ltd., 551 U.S. 308, 323, 127 S.Ct. 2499, 168               See Owens, 789 F.3d at 545 (finding no scienter where the
L.Ed.2d 179 (2007). A court first considers “the contribution        complaint “contain[ed] no particularized allegations of ...
of each individual allegation to a strong inference of scienter.”    warnings to [defendants]” of alleged fraud); Shaw Group, 537
Owens v. Jastrow, 789 F.3d 529, 537 (5th Cir. 2015). If “any         F.3d at 545 (finding no scienter where the plaintiff failed to
single allegation, standing alone, create[s] a strong inference      plead facts showing that the defendants were “on notice” as
of scienter, the case should proceed”; but if not, the court         to their alleged misstatements).
must then follow the individualized analysis with a holistic
review of all scienter allegations together. Ibid. A complaint       The most particularized allegation from any of the
will survive only if the plaintiffs “plead facts that give rise to   confidential witnesses comes from confidential witness 3,
a ‘strong’—i.e., a powerful or cogent—inference” of intent           who claims that Young's state of mind can be inferred because
or severe recklessness. Tellabs, 551 U.S. at 323, 127 S.Ct.          he was present in the company's billing office over the course
2499. We begin with an individualized analysis of plaintiffs’        of several months. But simply alleging that Young was in a
allegations. Then we turn to a holistic review.                      particular office at a particular time does not permit this court
                                                                     to infer that Young was aware or severely reckless in failing
                                                                     to appreciate the uncollectablilty of particular accounts. Mere
                                                                     proximity to information does not automatically translate to
                               A.
                                                                     knowledge of it. See Nathenson v. Zonagen Inc., 267 F.3d 400,
 *2 The plaintiffs offer three pieces of information in              424 (5th Cir. 2001) (“An officer's position with a company
support of their scienter allegations. First, they allege that       does not suffice to create an inference of scienter.”).
Fleming and Young signed the company's 2018 Sarbanes-
Oxley (“SOX”) certifications in their official capacities as
corporate executives. But our court has been clear that SOX                                         B.
certifications standing alone are insufficient to make out a
compelling inference of scienter. See Cent. Laborers’ Pension        Because plaintiffs’ allegations individually do not support
Fund v. Integrated Elec. Servs. Inc., 497 F.3d 546, 555 (5th         a “powerful or cogent” inference of scienter, we turn next
Cir. 2007).                                                          to a holistic review of the complaint to determine “whether
                                                                     all of the facts alleged, taken collectively, give rise to a
Next, the plaintiffs allege that the GAAP violations coupled         strong inference of scienter.” Tellabs, 551 U.S. at 323, 127
with Young's position as CFO are sufficient to show he knew          S.Ct. 2499. Our review is particular to each defendant. See
or was severely reckless in ignoring the company's faltering         Southland Sec. Corp. v. INSpire Ins. Sols., Inc., 365 F.3d
financial state. But GAAP violations standing alone do not           353, 365 (5th Cir. 2004) (requiring plaintiffs suing under the
make out a cogent and compelling case for scienter. See Ind.         PSLRA to “distinguish among those they sue and enlighten
Elec. Workers’ Pension Tr. Fund IBEW v. Shaw Group, Inc.,            each defendant as to his or her particular part in the alleged
537 F.3d 527, 534 & n.3 (5th Cir. 2008) (“[A] failure to follow      fraud” (quotation omitted)).
GAAP, without more, does not establish scienter.” (quotation
omitted)).                                                           There are no particular scienter allegations against Klein other
                                                                     than that he, by virtue of his corporate position, must've
Last, the plaintiffs offer confidential-witness testimony from       been aware of the company's GAAP violations and the
three Nobilis employees who claimed that the company                 misrepresentations made in corporate releases. Plaintiffs urge
retained a backlog of unpaid claims executives knew to be            us, in our holistic review, to infer Klein's scienter based on



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his corporate position—but that isn't allowed. See Nathenson,
                                                                        †
267 F.3d at 424.                                                                The plaintiffs also ask us to forgive the insufficient
                                                                                scienter allegations in accordance with the special
 *3 The allegations against Fleming are similarly thin. The                     circumstances exception. In “rare case[s] ... motive
plaintiffs offer two allegations they claims to be sufficient                   and opportunity allegations alone can support a
to allege scienter as to Fleming: first, Fleming's position as                  strong inference of scienter.” Local 731 I.B. of
CEO, and second, Fleming's signatures on SOX certifications.                    T. Excavators & Pavers Pension Tr. Fund, 810
Taken together, Fleming's corporate position and SOX                            F.3d 951, 958 (5th Cir. 2016) (quotation omitted).
signature provide neither cogent nor powerful inference of                      Under that narrow exception, one must meet
scienter and are plainly insufficient. See ibid.; Cent. Laborers’               some combination of four considerations. First, the
Pension Fund, 497 F.3d at 552. These allegations simply                         company must be small. See Alaska Elec. Pension
reveal a truism—that Fleming was a corporate director who                       Fund v. Flotek Indust., Inc., 915 F.3d 975, 985 (5th
performed official duties including signing SOX certificates.                   Cir. 2019) (“[This court] has never found special
We know nothing about Fleming's frame of mind, nor can we                       circumstances permitting an inference of scienter
infer it based on the plaintiffs’ conclusory assumptions that                   based solely on a defendant's position when the
he acted with reckless disregard to alleged fraud.                              company was large.”). Second, the transaction
                                                                                at issue is critical to the company's continued
That leaves Young. Taken together, the amended complaint                        vitality. See Local 731 I.B., 810 F.3d at 968.
alleges that Young's scienter can be inferred on the basis                      Third, the misrepresentation is readily apparent to
of three allegations. First, Young's position as CFO; second,                   the speaker. See ibid. And last, the defendants’
Young's signature on the SOX certifications; and third,                         statements are internally inconsistent. See Plotkin
the allegation that Young visited the business office on                        v. IP Axess Inc., 407 F.3d 690, 700 (5th Cir. 2005).
several occasions to stimulate debt collection. There is                        The exception does not apply in this case because
not a single allegation that any confidential witness or                        Nobilis was a large company with hundreds of
any other person informed Young about their subjective                          employees, in 30 locations, and the exception does
views of the company's financial situation. So rather than                      not apply in such circumstances. See Alaska Elec.
presenting a “powerful or cogent” allegation of scienter,                       Pension Fund, 915 F.3d at 985.
Tellabs, 551 U.S. at 324, 127 S.Ct. 2499, the plaintiffs ask
                                                                        AFFIRMED.
us to imagine that Young acted with scienter based on his
day-to-day involvement with the company, and the fact he
was in proximity to people who allegedly had the relevant               All Citations
information. That's plainly insufficient to plead scienter. See
Fin. Acquisition Partners LP v. Blackwell, 440 F.3d 278, 287            Not Reported in Fed. Rptr., 2021 WL 3619863, Fed. Sec. L.
(5th Cir. 2006) (“Corporate officers are not liable for acts            Rep. P 101,210
solely because they are officers, even where their day-to-day
involvement in the corporation is pleaded.”). †

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